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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

GERVIL ST. LOUIS, a/k/a ST. LOUIS                   Civil Action No.: 3:13-cv-01132 (RNC)
GERVIL,

                           Plaintiff,
              v.

DOUGLAS PERLITZ; FATHER PAUL E.                     Consolidated with:
CARRIER, S.J.; HOPE E. CARTER; HAITI
FUND, INC.; FAIRFIELD UNIVERSITY; THE               3:13-cv-1225-RNC; 3:13-cv-1269-RNC;
SOCIETY OF JESUS OF NEW ENGLAND;                    3:13-cv-1437-RNC; 3:13-cv-1480-RNC;
SOVEREIGN MILITARY HOSPITALLER                      3:13-cv-1626-RNC; 3:13-cv-1627-RNC;
ORDER OF ST. JOHN OF JERUSALEM OF                   3:13-cv-1628-RNC; 3:13-cv-1629-RNC;
RHODES AND OF MALTA, AMERICAN                       3:13-cv-1630-RNC; 3:13-cv-1631-RNC;
ASSOCIATION, U.S.A., a/k/a ORDER OF                 3:13-cv-1632-RNC; 3:13-cv-1633-RNC;
MALTA, AMERICAN ASSOCIATION, USA;                   3:13-cv-1634-RNC; 3:13-cv-1635-RNC;
JOHN DOE ONE; JOHN DOE TWO; JOHN                    3:13-cv-1636-RNC; 3:13-cv-1637-RNC;
DOE THREE; JOHN DOE FOUR; JOHN DOE                  3:13-cv-1638-RNC; 3:13-cv-1639-RNC;
FIVE; JOHN DOE SIX; and JOHN DOE                    3:13-cv-1640-RNC; 3:13-cv-1641-RNC;
SEVEN,                                              3:13-cv-1642-RNC; 3:13-cv-1644-RNC;
                                                    3:13-cv-1645-RNC; 3:13-cv-1647-RNC;
                           Defendants.              3:13-cv-1648-RNC; 3:13-cv-1701-RNC;
                                                    3:13-cv-1767-RNC; 3:13-cv-1768-RNC;
                                                    3:13-cv-1769-RNC
This document applies to:
Jerome v. Perlitz et al., 3:13-CV-01437,
Bernardin v. Perlitz et al., 3:13-CV-01480,
Jean v. Perlitz et al., 3:13-CV- 01630,
Guillaume v. Perlitz et al., 3:13-CV- 01634,
Bien-Aime v. Perlitz et al., 3:13-CV- 01769         March 27, 2014


             MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFFS’
                    MOTION FOR PROTECTIVE ORDER

       The undersigned, counsel for defendant Father Paul E. Carrier, S.J., respectfully submits

this memorandum of law in opposition to plaintiffs’ motion for a protective order. The other

appearing defendants join in this opposition.
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       Courts in this district have long recognized that plaintiffs who bring suit in this forum

must submit to depositions in their chosen forum, unless they can show that some compelling

circumstance effectively prevents travel to Connecticut. E.g., Sykes Int’l, Ltd. v. Pilch's Poultry

Breeding Farms, Inc., 55 F.R.D. 138, 139 (D. Conn. 1972). Here, the plaintiffs ask the Court to

excuse them from in-forum depositions based on various claims of burden and hardship. See Pl.

Mem. at 6-9, 9-11. The plaintiffs’ claims, however, do not warrant entry of a protective order,

because none of them has the practical effect of preventing plaintiffs’ travel to the forum.

       For example, the plaintiffs contend that they cannot travel from Haiti to Connecticut

because they cannot secure the needed permission from immigration authorities. See Pl. Mem. at

7-8. But the plaintiffs’ supposed inability to travel is based on little more than speculation. The

plaintiffs have not even attempted to secure the necessary permission from immigration officials

to appear at depositions in Connecticut. Instead, they rely exclusively on an immigration

lawyer’s untested predictions that hypothetical visa applications by plaintiffs are likely to fail.

Those predictions are no substitute for authoritative decisions from the relevant officials. E.g.,

Olympic Sports Data Servs. Ltd. v. Maselli, No. 07-117, 2010 U.S. Dist. LEXIS 5206, at *3-4

(E.D. Pa. 2010) (protective order denied absent showing that plaintiff “attempted and failed” to

obtain visa). And that is particularly true here, where the “expert” analysis provided by the

plaintiffs’ immigration lawyer is also deeply flawed on the merits. See infra, 6-10.

       Similarly, the plaintiffs’ assertion that they are too “poor” and “destitute” to travel for

their depositions, see Pl. Mem. at 7-8, is equally meritless. The plaintiffs may be poor. But it is

clear on this record that all of their litigation expenses—from their filing fees to their

immigration-law expert—are almost certainly being advanced by their attorneys, who will

undoubtedly advance plaintiffs’ “travel and lodging” expenses to facilitate their appearance at

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depositions, Conn. Ethics Op. 00-21 (Sept. 25, 2000) (approving this practice for “indigent

clients”). See infra, 10-12.

        The plaintiffs also have not even attempted to show that there was no alternative forum

where they could have brought their claims. See infra, 12-14. Further, the plaintiffs’ claims that

conducting depositions in Haiti would be “practical” and “economical” is simply incorrect—

conducting 35 depositions of 35 plaintiffs in Haiti would be extremely burdensome and would

also raise serious complications under Haitian law. See infra, 14-15.

        The Court should deny the motion.

                                           ARGUMENT

A.    Absent extreme hardship, a litigant who chooses to file suit in this district must
      submit to a deposition in this district.

        A plaintiff’s “choice of forum” is entitled to substantial “deference,” see Iragorri v.

United Techs. Corp., 274 F.3d 65, 70-71 (2d Cir. 2001) (en banc), but with this deference comes

a cost—the plaintiff must be prepared to litigate his suit in the place where he has chosen to file

it. See generally 8A Wright & Miller, Federal Practice & Procedure § 2112 (3d ed.) (courts

generally mandate that a plaintiff “make himself … available for examination” within his chosen

forum). This means that a plaintiff who brings suit in this Court must ordinarily “appear in

Connecticut for his deposition,” or else face dismissal of his claims. Chiu v. Au, No. 3:03-CV-

1150, 2005 U.S. Dist. LEXIS 22783, at *11-13 (D. Conn. 2005) (Chatigny, J.) (case dismissed

where plaintiff “fail[ed] to come to Connecticut as ordered by the court”). Exceptions to this

rule are narrow, and require proof of “extreme hardship” and “compelling circumstances” that

effectively prevent the plaintiff from appearing in the forum. E.g., Clem v. Allied Van Lines Int'l




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Corp., 102 F.R.D. 938, 939-40 (S.D.N.Y. 1984).1 Absent some showing that requiring an in-

forum deposition would be tantamount to “‘denial of jurisdiction,’” a plaintiff who files suit in

this district must “come to [this district] … for the taking of [his] deposition[].” See Sykes Int’l,

Ltd. v. Pilch's Poultry Breeding Farms, Inc., 55 F.R.D. 138, 139 (D. Conn. 1972) (quoting Hyam

v. Am. Export Lines, Inc., 213 F.2d 221, 223 (2d Cir. 1954)).

       Consistent with these principles, “conclusory” or untested assertions that a plaintiff is

unable to appear in the forum have repeatedly been found insufficient to justify a protective

order. E.g., Price v. Priority Transp.,, No. 07-CV-6627, 2008 U.S. Dist. LEXIS 77326, at *3

(W.D.N.Y. 2008). The required showing must instead consist of “specific” testimony and

“documentary evidence” establishing that mandatory attendance in the forum would work an

“extreme hardship.” Dieng v. Hilton Grand Vacations Co., No. 2:10-cv-01723, 2011 U.S. Dist.

LEXIS 27206, at *2-4 (D. Nev. 2011); see MPD Accessories B.V. v. Target Corp., No. 12 Civ.

7259, 2013 U.S. Dist. LEXIS 46622, at *1-2 (S.D.N.Y. 2013).

       So for example, courts have repeatedly concluded that no “‘compelling circumstances’”

are present where (as here) foreign plaintiffs rely on untested predictions that they will have

trouble “obtaining visas” authorizing travel to the forum. Id. at *1-2(quoting Clem, 102 F.R.D.

at 939); see also Xavier v. Belfor USA Grp., Inc., No 06-0491, 2009 U.S. Dist. LEXIS 92179, at

*17-18, 21-23 (E.D. La. 2009) (requiring in-forum depositions notwithstanding lawyer’s

predictions that “Brazilian[], Ecuadorian[], Mexican[], [and] Peruvan[]” plaintiffs would have

problems obtaining visas based on “financial status, property holdings, and family ties”);

       1
          See also MPD Accessories B.V. v. Target Corp., No. 12 Civ. 7259, 2013 U.S. Dist.
LEXIS 46622, at *1-2 (S.D.N.Y. 2013) (same); Price v. Priority Transp., No. 07-CV-6627, 2008
U.S. Dist. LEXIS 77326, at *2-4 (W.D.N.Y. 2008); Alvin Schwartz, M.D., P.A., Emp’r/Emp.
Profit Sharing Plan v. O’Grady, No. 86 Civ. 4243, 1988 U.S. Dist. LEXIS 15566, *3-5
(S.D.N.Y. 1988) (same).
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compare Declaration of Attorney Graves (“Graves Decl.”) (similar predictions). Rather, a

plaintiff who claims that he cannot enter the United States for his deposition must demonstrate

his inability to travel with affirmative proof: He must show “that [he] had attempted and failed

to obtain a visa,” and that he “w[ill] continue to be so denied” in the future. Olympic Sports Data

Servs. Ltd. v. Maselli, No. 07-117, 2010 U.S. Dist. LEXIS 5206, at *3-4 (E.D. Pa. 2010)

(denying “motion for a protective order” but granting leave to refile in the event that plaintiff

“attempted and failed” to obtain permission to travel).

       Similarly, mere “claims of financial hardship” are also insufficient to show “compelling

circumstances” excusing the plaintiff from appearing at an in-forum deposition. MPD

Accessories, 2013 U.S. Dist. LEXIS 46622, at *1-2. Granted, evidence of the plaintiff’s

financial condition—including wages, savings, and other financial resources—may be relevant to

the analysis. But the ultimate question for the Court is not whether the plaintiff has limited

financial means; the ultimate question is whether those limited means have the “‘practical

effect’” of preventing travel to the forum. See Sykes Int’l, 55 F.R.D. at 139 (citation omitted).

If, despite plaintiff’s “financial” limitations, “travel to the forum … for [a] deposition” is neither

“practically impossible” nor “fundamentally unfair,” then the plaintiffs must submit to

examination in the forum. Viasphere Int'l, Inc. v. Vardanyan, Nos. C12-01536, -05645, 2013

U.S. Dist. LEXIS 25611, at *2-3 (N.D. Cal. 2013) (internal quotation marks and citations

omitted); see also Sykes Int’l, 55 F.R.D. at 139 (“‘practical effect’” of proffered difficulties must

be tantamount to “‘denial of jurisdiction’”) (citation omitted).2



       2
        The plaintiffs briefly suggest that, under Brockway v. VA Connecticut Healthcare
System, No. 3:10-CV-719, 2011 U.S. Dist. LEXIS 41193 (D. Conn. 2011), they need not
demonstrate any extreme hardship or compelling circumstances, and that the Court should
simply determine the location of the depositions under a generalized balancing test. Pl. Mem. at
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B.    Plaintiffs have presented no compelling circumstances excusing their failure to appear
      in the forum where they chose to sue.

        In this case, none of the three grounds raised in the plaintiffs’ motion—their purported

inability to obtain visas, their limited financial means, and the supposed unavailability of an

alternative forum—provides any “compelling circumstance[]” warranting out-of-forum

depositions. See Pl. Mem. at 7-9.

1.      Plaintiffs’ claims of potential visa issues are insufficient to demonstrate extreme hardship
        or compelling circumstances.

        a.     Hypothetical, never-tested difficulties in obtaining visas do not amount to
               compelling circumstances.

        The plaintiffs seek to compel depositions in Haiti because they are pessimistic about their

chances of obtaining visas (see Pl. Mem. at 2, 7-8, Graves Decl. ¶¶ 3-8), but as it stands now,

plaintiffs’ untested speculation on this issue is just that—untested speculation. MPD

Accessories, 2013 U.S. Dist. LEXIS 46622, at *1-2 (predictions of potential problems “obtaining

visas” insufficient to warrant protective orders). Both the plaintiffs’ memorandum of law and

the declaration of their immigration lawyer offer nothing more than predictions about how

immigration officials might exercise their discretion when confronted with hypothetical visa

applications that plaintiffs have never filed and (apparently) have no intention of ever filing. Pl.

Mem. at 7-8; Graves Decl. ¶¶ 3-5. At no point has any plaintiff sought permission to enter the



3, 9; see Brockway, 2011 U.S. Dist. LEXIS 41193, at *15 (noting court’s general “discretion to
alter the place of a noticed deposition” after weighing burdens and conveniences). Brockway,
however, had nothing to do with a plaintiff’s attempt to avoid being deposed within the forum;
the question in Brockway arose out of a pro se plaintiff’s attempt to take the depositions of “three
[of the defendant’s] witnesses” at the plaintiff’s own apartment. Id. at *14. Where, as here, a
plaintiff seeks to avoid a deposition in his chosen forum, a different standard applies: The
plaintiff must show compelling or “special circumstances” that effectively prevent travel to the
forum. See Aztec Energy Partners, Inc. v. Sensor Switch, Inc., No. 3:07CV775, 2008 U.S. Dist.
LEXIS 20970, at *6-7 (D. Conn. 2008); Sykes, 55 F.R.D. at 139.

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United States in order to testify in these proceedings. Nor have plaintiffs provided any

“documentation” of “failed” attempts “to obtain … visa[s].” Olympic Sports, 2010 U.S. Dist.

LEXIS 5206, at *1-2. In the absence of such evidence, the plaintiffs’ speculative predictions

about their inability to appear in the forum provide no basis for a protective order.

        Indeed, obtaining authoritative determinations on the plaintiffs’ ability to travel now, at

the early stages of this litigation, is particularly appropriate in a case like this one. As this case

progresses, the plaintiffs’ ability to travel to Connecticut—not just for their depositions, but also

for their independent medical examinations, and for trial—will likely be an important and

recurring issue. Finding out in the early going whether plaintiffs can secure permission to travel

to this country will allow the parties to plan accordingly and, if necessary, “preserv[e] trial

testimony through … videotaped deposition[s].” See Kodak Polychrome Graphics, LLC v.

Southwest Precision Printers, Inc., No. 3:05cv330, 2005 U.S. Dist. LEXIS 23359, at *9 (D.

Conn. 2005). Before any of that, however, some clarity on this issue is needed.

        In order to provide that clarity, the plaintiffs and their immigration lawyer should stop

prognosticating about hypothetical visa applications (see Pl. Mem. at 2, 7-8; Graves Decl. ¶¶ 3-

8), and start submitting actual visa applications (see Olympic Sports, 2010 U.S. Dist. LEXIS

5206, at *1-2). Until they do, the plaintiffs’ untested claims that traveling to Connecticut is

infeasible or legally impermissible are premature and too speculative to warrant entry of a

protective order.3


        3
          In light of the plaintiffs’ continuing failure to even seek permission to travel, the
plaintiffs should not be heard to complain that obtaining visas is “inefficient” because it will take
substantial “time” and require “several steps.” See Pl. Mem. at 8, 9. Obtaining the necessary
approvals could well take some time. It would have taken a lot less time, however, if the
plaintiffs had hired an expert immigration lawyer to help them apply for visas, instead of hiring
one to help them avoid applying for visas. See generally Graves Decl.

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       b.        Plaintiffs’ legal predictions about their inability to travel to the U.S. are also
                 dubious on the merits.

       In addition to being speculative and premature, the plaintiffs’ claims that they will be

unable to “come to the United States” for depositions, see Pl. Mem. at 2, are also highly suspect

on the merits.

       Plaintiffs’ argument on this point relies exclusively on the opinions of William Graves, a

Boston immigration lawyer who believes that plaintiffs will not be permitted to “travel to the

United States lawfully … to participate in depositions.” Graves Decl. ¶¶ 1, 8. In his declaration,

Mr. Graves surveys pertinent provisions of the Immigration and Nationality Act and the State

Department’s Foreign Affairs Manual. Id. ¶¶ 4-5. He then offers an analysis of how U.S.

officials in Haiti might apply these provisions in hypothetical visa applications brought by the

plaintiffs. See id. ¶¶ 6-8. As an initial matter, the Court should treat Mr. Graves’s arguments as

what they are—legal arguments, not admissible expert opinions. Arguments like these “belong[]

in [a] brief[], not in [an] experts’ report[].” RLJCS Enters, Inc.. v. Prof'l Ben. Trust Multiple

Emplr. Welfare Ben. Plan & Trust, 487 F.3d 494, 498 (7th Cir. 2007); see also Nichols v.

Universal Pictures Corp., 45 F.2d 119, 123 (2d Cir. 1930) (L. Hand, J.) (“Argument is argument

whether in the box or at the bar, and its proper place is the last.”). Even on its own terms,

however, there is nothing particularly expert about Mr. Graves’s analysis.

       The most significant problem with the analysis is that it is incomplete. For example, Mr.

Graves concludes that plaintiffs cannot “travel lawfully to the United States” because they

cannot obtain “B-1/B2 visitor visas.” See Graves Decl. ¶ 5-8. He also flags and notes the

inapplicability of a variety of other “non-immigrant and immigrant visas,” including visas based

on “extraordinary athletic” ability, sponsorship by “religious groups,” and other categories. Id. ¶

7. Based on this analysis, Mr. Graves concludes that the plaintiffs are unlikely to obtain the visas
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they need to travel to their depositions. Id. ¶ 8. Missing from all of this, however, is a crucial

point: Visas are not the only potential means for plaintiffs to gain entry into the United States.

       Although one would never know it from reading Mr. Graves’ declaration, federal

immigration law also provides for “parole into the United States temporarily.” 8 U.S.C. §

1182(d)(5)(A). And the statute’s implementing regulations specifically state that parole may be

appropriate for “[a]liens who will be witnesses in proceedings being, or to be, conducted by

judicial … bodies in the United States.” 8 C.F.R. § 212.5(b)(4). The requirements for parole are

strict and narrow, to be sure. Id. at § 212.5(b) (“humanitarian reasons” or “significant public

benefit”). But in past cases, plaintiffs’ lawyers have reported some success applying for parole

“to have their clients come to the United States to be deposed or to testify at trial.” See Global

Workers Justice Alliance, Challenges in Transnational Litigation: Representing Migrant

Workers in U.S. Courts 7 (2008).4 Given this history, Mr. Graves’ failure to so much as mention

parole in his declaration casts doubt on the reliability of all his opinions. If, testimony by legal

experts is to be permitted on this issue, then the expert lawyer should at least provide the Court

with a full and complete analysis of the relevant legal issues.

       Nor is parole the only material omission in Mr. Graves’ declaration. Mr. Graves’

assessment of plaintiffs’ chances for obtaining entry into the United States relies on the personal

circumstances and history of the plaintiffs, including their financial hardships and the fact that

they are Haitian nationals who attended a “residential school for destitute children in Haiti.”

Graves Decl. ¶¶ 2, 6. In light of Mr. Graves’ particular focus on these personal circumstances,


       4
         See also Karen Lee Ziner, Injured worker seeks more time to pursue case, PROVIDENCE
JOURNAL, Sept. 29, 2007, at A3 (reporting on case of undocumented Mexican worker who
secured “humanitarian parole” for five days to attend a pre-trial hearing and have his deposition
taken in his workers’ compensation action).

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Mr. Graves should have acknowledged that, in the past, identically situated individuals have

been granted permission to enter the United States in order to provide testimony. See Press

Statement, U.S. Department of Justice, Douglas Perlitz Sentenced to 235 Months in Federal

Prison (Dec. 21, 2010). (“Six victims traveled from Haiti to offer testimony at today’s

sentencing.”).5 If six victims were granted entry to testify against Mr. Perlitz at sentencing, then

these plaintiffs should at least be put to the burden of requesting entry to testify against Mr.

Perlitz here.

        Similarly, in discussing the factors pertinent to plaintiffs’ hypothetical visa applications,

Mr. Graves refers to several provisions in the State Department’s Foreign Affairs Manual. See

Graves Decl. ¶ 5. But once again, Mr. Graves fails to mention at least one particularly pertinent

provision on the facts of this case—the provision instructing consular officials that eligible aliens

may qualify as “B-1 visitors for business” when “they are traveling to the United States to …

[l]itigate.” U.S. Department of State Foreign Affairs Manual, 9 FAM 41.31 N8(4).6

        Taken together, these errors and omissions cast substantial doubt on the reliability of Mr.

Graves’ opinions. They thus serve to reinforce the conclusion that the plaintiffs’ untested

predictions about their ability to travel are no substitute for authoritative determinations by

immigration authorities.

2.      The Plaintiffs’ financial hardships do not amount to compelling circumstances here.

       The plaintiffs also claim that traveling to the United States for an in-forum deposition will

be “burdensome” because plaintiffs are “destitute,” with “no assets and no money.” See Pl. Mem.

at 7-8. The plaintiffs may well be destitute. But as the record in these cases undeniably shows,

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            Available at http://www.state.gov/m/ds/rls/153638.htm.
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            Available at http://www.state.gov/documents/organization/87206.pdf.
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the plaintiffs’ extreme personal poverty has nothing at all to do with their ability to bear the

expense of this litigation.

      Take, for example, plaintiff Wisky Jerome. Mr. Jerome has “no money,” he does “not own

anything,” and he earns less than $3 per day. Jerome Decl. ¶¶ 2, 3, 5; see Pl. Mem. at 8. In his

everyday life, the prospect of Mr. Jerome buying a plane ticket or “staying in any sort of hotel”

is, as plaintiffs accurately point out, nothing short of absurd. Pl. Mem. at 8. Yet when Mr.

Jerome filed his complaint in this case, he promptly paid the $400 filing fee, as did all of his co-

plaintiffs. See 13-cv-01437, dkt. entry no. 1 (“Filing Fee $400 receipt”). And when Mr. Jerome

wanted to avoid being deposed in this forum, he had no problem procuring the services of an

immigration lawyer to bolster his arguments. See Graves Decl. When it comes to this litigation,

at least, Mr. Jerome spares no expense.

      What this shows, of course, is that Mr. Jerome and his co-plaintiffs are not paying their

litigation expenses. Their attorneys are advancing costs in anticipation of what they hope will be

multi-million dollar judgments. When and if plaintiffs come to the forum, then, counsel will pay

the costs so that their “indigent client[s]” can “attend [the] depositions.” See Conn. Ethics Op.

00-21 (Sept. 25, 2000) (approving this practice); see also Conn. Rules of Prof’l Conduct R.

1.8(e). Requiring plaintiffs to appear for depositions in the forum where they have brought their

sizable claims works no hardship at all. See Sykes Int’l, Ltd. v. Pilch's Poultry Breeding Farms,

Inc., 55 F.R.D. 138, 139 (D. Conn. 1972) (requiring foreign plaintiff to appear for deposition in

the forum where he sought “to recover $1,000,000, ‘an amount sufficient to justify the expenses

of … journey to this district’”) (citation omitted); Daly v. Delta Airlines, Inc., No. 90 Civ. 5700,

1991 U.S. Dist. LEXIS, at *4-5 (S.D.N.Y. 1991) (“hardly unreasonable to expect that [foreign

plaintiff] make himself available in the district where he is litigating his million dollar claim”).

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       Indeed, from the plaintiffs’ perspective, the net financial burden of being deposed in

Connecticut should be minimal, if not nonexistent. If plaintiffs come to Connecticut, their

attorneys will have to advance the costs of plaintiffs’ travel expenses and lodging. If, on the

other hand, the depositions are held in Haiti, then plaintiffs’ counsel will have to advance the

costs of their own travel expenses and lodging. Cf. Hanly Decl. ¶¶ 5-6 (noting that Mr. Hanly’s

preferred Cap Haitien hotel offers “rates … competitive with hotel rates in the United States”).

The net cost to the plaintiffs—which they might eventually pay back out of any judgment they

obtain—should be minimal, and certainly does not amount to an extreme hardship warranting an

out-of-forum deposition.7

3.      The plaintiffs have not even attempted to show that they lacked an alternative forum.

       The plaintiffs’ suggestion that they should be excused from appearing in Connecticut

because they had no “genuine choice of forum,” see Pl. Mem. at 6-7, is equally unavailing. True

enough, the rule requiring in-forum depositions does “lose[] some weight” in cases where the




        7
         As the foregoing discussion demonstrates, the fact that the plaintiffs are obviously not
paying their litigation expenses up-front readily distinguishes this case from the decisions that
the plaintiffs cite for the proposition that “financial or other hardship” can excuse an in-forum
appearance. Pl. Mem. at 5-6 (quoting Normande v. Grippo, No. 01 Civ. 7441, 2002 U.S. Dist.
LEXIS 501, at *4-5 (S.D.N.Y. 2002) and citing additional cases). For example, in both
Normande and Connell v. City of N.Y., 230 F. Supp. 2d 432 (S.D.N.Y. 2002), the plaintiffs were
“proceeding pro se” and thus could not look to counsel to pay their litigation expenses.
Normande, 2002 U.S. Dist. LEXIS 501, at *1-2; Connell, 230 F. Supp. 2d at 432. Similarly, in
Abdullah v. Sheridan Square Press, 154 F.R.D. 591 (S.D.N.Y. 1994), traveling to the United
States would have worked a true and substantial hardship—it would have barred the plaintiff’s
“return to the United Kingdom to pursue his asylum application.” Id. at 593. The other cases
cited by plaintiffs on this point are also distinguishable. See Estate of Gerasimenko v. Cape Wind
Trading Co., 272 F.R.D. 385, 388-89 (S.D.N.Y. 2011) (finding that travel to the forum would
constitute actual financial hardship to plaintiff); Anguile v. Gerhart, No. 93-934, 1993 U.S. Dist.
LEXIS 21408, at *9 (D. N.J. 1993) (ordering plaintiff to submit to two depositions, one by
telephone and one in the forum “before commencement of trial”); Rehau, Inc. v. Colortech, Inc.,
145 F.R.D. 444 (W.D. Mich. 1993) (deposition of plaintiff’s employees, rather than the plaintiff
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plaintiff had no other forum to choose. E.g., Abdullah v. Sheridan Square Press, 154 F.R.D.

591, 592 (S.D.N.Y. 1994). But in this case, the plaintiffs do not claim—much less attempt to

show—that they were compelled to file suit in Connecticut. See Pl. Mem. at 6-7 (unelaborated

assertion that it is “unclear” whether the defendants could have been sued in Haiti).

     If the plaintiffs had elected to sue in Haiti, then their attempt to “obtain jurisdiction over

the Defendants,” see Pl. Mem. at 7, would have been a question for Haitian courts. And Haitian

law on personal jurisdiction has (at least traditionally) tracked the expansive approach of the

French Civil Code. See generally Clermont & Palmer, Exorbitant Jurisdiction, 58 Me. L. Rev.

473, 482 (2006) (“courts have read the Civil Code’s Article 14 as authorizing territorial

jurisdiction over virtually any action brought by a plaintiff of French nationality”).8 To be clear,

neither Father Carrier nor any of the other defendants who join in this opposition concede that

they would have been subject to a Haitian court’s jurisdiction or that any judgment by a Haitian

court in a case brought against them would be entitled to recognition and enforcement under the

law of Connecticut or, for that matter, the law of any other state or country. Nor have the

defendants sought to have the case in this Court dismissed under the doctrine of forum non

conveniens. But the burden is not on the defendants to show the availability of another forum; it

is on the plaintiffs to show the unavailability of another forum. They have failed to do so.

     Moreover, it is highly likely that plaintiffs’ decision to sue in this forum—and not in

Haiti—was the product of an informed and strategic choice. By filing suit in this Court,


itself); Jahr v. IU Int’l Corp., 109 F.R.D. 429 (M.D.N.C. 1986) (telephonic deposition of third-
party witness).
       8
         See also id. at 483 & n.45 (“Jurisdiction in the style of Article 14 emigrated with French
law to a number of other countries, such as Belgium, Gabon, Greece, Haiti, Luxembourg, the
Netherlands, Romania, and Senegal.”).

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plaintiffs have been able to avail themselves of a number of critical procedural advantages that

are virtually unique to the American judicial system. Cf. Smith Kline & French Labs. Ltd. v.

Bloch, 1 W.L.R. 730, 733 (Eng. C.A. 1982) (Lord Denning) (“As a moth is drawn to the light, so

is a litigant drawn to the United States.”). “American courts,” for example, “allow contingent

attorney’s fees” in cases like this one. Piper Aircraft Co. v. Reyno, 454 U.S. 235, 252 n.18

(1981). Courts in this country also generally do not “tax losing parties with their opponents’

attorney’s fees.” Id. These advantages are particularly beneficial to litigants, like the plaintiffs

here, of limited financial means. With the benefit of these crucial tools, the plaintiffs can hardly

claim that there is any other forum where they would rather be.

       The Court should deny the plaintiffs’ motion and direct them to appear in their forum of

choice.

C.     Plaintiffs have not shown that it would be “practical” or “economical” to conduct
       their depositions in Haiti.

       The plaintiffs have failed to demonstrate any “compelling circumstances” or “extreme

hardship” that would warrant out-of-forum depositions, see Clem v. Allied Van Lines Int’l Corp.,

102 F.R.D. 938, 939-40 (S.D.N.Y. 1984), and that failure is reason enough to deny their motion.

Even leaving that aside, however, plaintiffs are also incorrect in their claim that deposing the

plaintiffs in Haiti “would be practical and economical.” Pl. Mem. at 9-11.

       There are, at this writing, 35 complaints, brought by 35 plaintiffs, pending in the related

cases before this Court.9 The prospect of scheduling depositions in Haiti for all of those

plaintiffs, and then traveling back and forth to Haiti to complete them, is bound to be both


          9
         Thirty cases have been consolidated by order of this Court. 13-cv-01132, doc. no. 122.
In addition, five other related cases are also pending before the Court, but have not yet been
consolidated. See 13-cv-01881, 13-cv-01904, 13-cv-01906, 13-cv-01907, and 14-cv-00125.

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onerous and extremely costly, even if (as the plaintiffs’ attorney states) the hotels are

“comfortable” and the flights run from Miami a few times a week. See Hanly Decl. ¶ 3, 5. If

depositions were to go forward in Haiti, multiple parties represented by multiple attorneys would

have to shuttle back and forth from the United States to attend those depositions, and counsel

might also be required to fly in both court reporters and videographers on these trips. Clearly,

the more efficient and practical course would be to have each plaintiff make a single trip to

Connecticut, rather than having plaintiffs’ counsel, counsel for each of the defendants, and

support personnel make repeated trips to Haiti to conduct more than a full month’s worth of

depositions.

     Moreover, there may well be other logistical or even legal barriers to completing these

depositions in Haiti, over and above the expense of travel. The declaration submitted by

plaintiffs’ counsel suggests that the parties’ attorneys and staff could easily conduct all of

plaintiffs’ depositions from a hotel conference center in Haiti. See Hanly Decl. ¶ 2. But neither

counsel’s declaration nor plaintiffs’ memorandum provides any discussion of limitations that

Haitian law may place on the taking of sworn, American-style depositions within the country’s

borders. “As a general rule … depositions can be conducted abroad only if the law of the foreign

situs permits the deposition. Many foreign countries prohibit or restrict U.S. deposition on their

territory.” Gary B. Born & Peter B. Rutledge, International Civil Litigation in United States

Courts 980 (5th ed. 2011). The plaintiffs have not even attempted to show that Haitian law

permits the parties to take US-style depositions in Haiti, as they propose.10



       10
          It also bears mentioning that having a large party of U.S. nationals conduct weeks of
depositions in Haiti could be dangerous in a country where (according to the State Department)
“U.S. citizens have been victims of violent crime, including homicide and kidnapping.” U.S.
Department of State, Bureau of Consular Affairs, Haiti Travel Warning (March 12, 2014),
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D.     In the alternative, the Court should bar plaintiffs from offering live testimony at trial
       and should require the plaintiffs to pay defendants’ travel expenses for any
       depositions held in Haiti.

       For the reasons given above, this Court should deny the plaintiffs’ motion. If, however, the

Court is inclined to grant a protective order, then the Court should include within that order two

forms of alternative relief. First, the Court should include within any protective order a further

directive barring plaintiffs from testifying live and in person at trial. If this Court is willing to

accept plaintiffs’ untested claims that travel to Connecticut is “actually impossible,” see Pl.

Mem. at 8-9, then plaintiffs should at the very least be estopped from traveling to Connecticut for

testimony at a time when it may be more convenient or desirable for them to do so.

       Second, the Court should also order the plaintiffs to “cover the cost of Defendant[s’]

reasonably necessary travel expenses” for any depositions conducted in Haiti. See, e.g.,

Vanmoor v. Univ. Sur. Corp., No. 08-21384, 2010 U.S. Dist. LEXIS 144772, at *6-7 (S.D. Fla.

2010) (ordering payment of travel expenses where plaintiff’s inability to enter United States

prevented in-forum deposition). The plaintiffs have “chose[n] th[is] forum” for their suit, and

the defendants “should not be forced to shoulder a substantial financial burden” as a result of

plaintiffs’ purported inability to appear here. Id. at *5.

                                           CONCLUSION

       The Court should deny the motion.




available at http://travel.state.gov/content/passports/english/alertswarnings/haiti-travel-
warning.html.

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                              Respectfully submitted,

                              PAUL E. CARRIER, S.J.

                              By his attorneys:

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Dated: March 27, 2014




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                                    CERTIFICATE OF SERVICE

         I hereby certify that on March 27, 2014, a copy of the foregoing document was filed

electronically. Notice of this filing will be sent by e-mail to all parties by operation of the

Court’s electronic filing system and by first-class mail to all parties who are unable to accept

electronic filing as indicated on the Notice of Electronic Filing. Parties may access this filing

through the Court’s CM/ECF system.

         The undersigned further certifies that on March 27, 2014, a copy of the foregoing

document was sent by Regular U.S. Mail to counsel for defendants, who are unable to accept

electronic service, as follows:

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                                                     /s/ Amanda Moger Rettig




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                 UNITED STATES DISTRICT COURT
                 DISTRICT OF CONNECTICUT
                                      Civil Action No.
                                      3:13-cv-01132(RNC)
       ****************************
       GERVIL ST. LOUIS, a/k/a ST.    Consolidated with:
       LOUIS GERVIL,                  3:13-cv-1225-RNC
                                      3:13-cv-1269-RNC
                      Plaintiff,      3:13-cv-1437-RNC
                                      3:13-cv-1480-RNC
            v.                        3:13-cv-1626-RNC
                                      3:13-cv-1627-RNC
       DOUGLAS PERLITZ, FATHER        3:13-cv-1628-RNC
       PAUL E. CARRIER, S.J.; HOPE    3:13-cv-1629-RNC
       E. CARTER; HAITI FUND,         3:13-cv-1630-RNC
       INC.; FAIRFIELD UNIVERSITY;    3:13-cv-1631-RNC
       THE SOCIETY OF JESUS OF NEW    3:13-cv-1632-RNC
       ENGLAND; SOVEREIGN MILITARY    3:13-cv-1633-RNC
       HOSPITALLER ORDER OF ST.       3:13-cv-1634-RNC
       JOHN OF JERUSALEM OF RHODES    3:13-cv-1635-RNC
       AND OF MALTA, AMERICAN         3:13-cv-1636-RNC
       ASSOCIATION, U.S.A.; a/k/a     3:13-cv-1637-RNC
       ORDER OF MALTA, AMERICAN       3:13-cv-1638-RNC
       ASSOCIATION, U.S.A.; JOHN      3:13-cv-1639-RNC
       DOE ONE; JOHN DOE TWO; JOHN    3:13-cv-1640-RNC
       DOE THREE; JOHN DOE FOUR;      3:13-cv-1641-RNC
       JOHN DOE FIVE; JOHN DOE SIX    3:13-cv-1642-RNC
       and JOHN DOE SEVEN,            3:13-cv-1644-RNC
                                      3:13-cv-1645-RNC
                      Defendants.     3:13-cv-1647-RNC
                                      3:13-cv-1648-RNC
                                      3:13-cv-1701-RNC
                                      3:13-cv-1767-RNC
                                      3:13-cv-1768-RNC
                                      3:13-cv-1769-RNC
                                      3:13-cv-1881-RNC
                                      3:13-cv-1904-RNC
                                      3:13-cv-1906-RNC
                                      3:13-cv-1907-RNC
       ******************************
       This document applies to:
       All of the above referenced cases
       And those to be filed
       ******************************
       CONFIDENTIAL - SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
         SCHEDULED DEPOSITION OF JACQUES MACKENSON

                   Monday, January 11, 2016
                        9:30 a.m.

           Golkow Technologies, Inc. - 1.877.370.DEPS
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   1     SCHEDULED DEPOSITION OF JACQUES MACKENSON            1     APPEARANCES (Continued):
   2                                                          2
   3                                                          3     FOR THE DEFENDANT PAUL E. CARRIER, S.J.:
       Held At:                                               4       TIMOTHY P. O'NEILL, ESQ.
   4     Iberostar Costa Dorada                               5         MURPHY & KING
   5     Carretera Luperón, km 4                              6         One Beacon Street, 21st Floor
   6     Puerto Plata, Dominican Republic                     7         Boston, Massachusetts 02108
   7                                                          8         617-423-0400
   8
                                                              9         tpo@murphyking.com
   9   REPORTED BY:
                                                             10
  10   Maureen O'Connor Pollard
                                                             11     FOR THE DEFENDANT ORDER OF MALTA AMERICAN
  11   Realtime Systems Administrator
                                                             12     ASSOCIATION, U.S.A.:
  12   RMR, CLR, LSR #473, CSR #149108
                                                             13       BRADFORD S. BABBITT, ESQ.
  13
                                                             14         ROBINSON & COLE LLP
  14
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  17
                                                             17         860-275-8200
  18                                                         18         bbabbitt@rc.com
  19                                                         19
  20                                                         20
  21                                                         21
  22                                                         22
  23                                                         23
  24                                                         24
  25                                                         25


                                                 Page 3                                                   Page 5
   1    APPEARANCES:                                          1     APPEARANCES (Continued):
   2    FOR THE PLAINTIFFS:                                   2
   3      LU XIA, ESQ.                                        3     FOR THE DEFENDANT FAIRFIELD UNIVERSITY:
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   8        lxia@garabedianlaw.com                            8         860-275-0100
   9            -and-                                         9         jcerreta@daypitney.com
  10      ELLYN H. HURD, ESQ.                                10
  11         SIMMONS HANLY CONROY                            11     FOR THE DEFENDANT THE SOCIETY OF JESUS OF
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  15        ehurd@simmonsfirm.com                            15         Three Center Plaza, Suite 830
  16            -and-                                        16         Boston, Massachusetts 02108
  17      JO ANNA POLLOCK, ESQ.                              17         617-523-6010
  18         SIMMONS HANLY CONROY                            18         lknight@sloanewalsh.com
  19         One Court Street                                19
  20         Alton, Illinois 62002                           20     Interpreter: Nathalie Coupet
  21        jpollock@simmonsfirm.com                         21
  22                                                         22
  23                                                         23
  24                                                         24
  25                                                         25


                                                                                       2 (Pages 2 to 5)
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   1        PROCEEDINGS                                    1   should not be in a crowded resort to begin with.
   2                                                       2          The interpreter, as I understand it,
   3          MR. O'NEILL: I'll identify myself.           3   would have to be within a very close distance of
   4   Tim O'Neill for the Paul Carrier.                   4   the witness in order to perform the
   5          MR. CERRETA: John Cerreta, Day               5   interpretation, and she is unwilling, as far as
   6   Pitney, for Fairfield University.                   6   I can tell, to do that. That interpreter is
   7          MR. BRADFORD: Brad Babbitt for the           7   nodding in agreement with that.
   8   American Association of the Order of Malta.         8          I think it's basically unsafe. We're
   9          MS. KNIGHT: Lydia Knight for the             9   unclear how we could do it in the open air.
  10   Society of Jesus.                                  10          And so for Paul Carrier, we would ask
  11          MS. XIA: Lu Xia for Plaintiffs.             11   that we get some proof that this person is
  12          MS. POLLOCK: Jo Anna Pollock for            12   actively infectious with tuberculosis at some
  13   Plaintiff.                                         13   point. We accept the representations of
  14          MS. HURD: Ellyn Hurd for the                14   counsel, we believe we have to, and take that to
  15   Plaintiffs.                                        15   be the truth, and that it's not safe to go
  16          MR. O'NEILL: We are assembled today         16   forward with this deposition today under the
  17   for what was to be the deposition of Jacques       17   circumstances.
  18   Mackenson. And last night we were approached by    18          That's all I have to say.
  19   defense counsel, who are here --                   19          MR. CERRETA: John Cerreta for
  20          MS. POLLOCK: Plaintiffs' counsel.           20   Fairfield University.
  21          MR. O'NEILL: Plaintiff counsel,             21          I agree it's not safe to the lawyers,
  22   sorry.                                             22   to the court reporter, to the interpreter to go
  23          -- and they told us certain                 23   forward, and the better decision is to not go
  24   circumstances which I'll ask to put on the         24   forward with this deposition.
  25   record, and then we can address it.                25          MR. BRADFORD: This is Brad Babbitt.

                                             Page 7                                                  Page 9
   1           MS. POLLOCK: You want us to proceed,        1          I guess there's nothing more to be
   2   put on the record?                                  2   said. I agree we don't seem to have a logical
   3           MR. O'NEILL: Yes.                           3   solution to this issue, and given the
   4           MS. POLLOCK: So Jacques Mackenson was       4   representation by the witness, on which we have
   5   diagnosed and treated for tuberculosis a year       5   no way to disprove it or anything, we take this
   6   ago, in 2014. He has recently began presenting      6   witness with what was said.
   7   with symptoms consistent with an active case of     7          I don't think we can reasonably ask
   8   tuberculosis. None of us are medical providers.     8   for the interpreter, who would have to sit next
   9   We realized this yesterday in the preparation of    9   to or in close proximity to the witness, or the
  10   Jacques Mackenson that he still had an active      10   court reporter or videographer -- the lawyers, I
  11   cough and he has fever, so we raised our           11   think, theoretically we'd be far enough away --
  12   concerns to defense counsel and all of the         12   I don't think we can ask that of our
  13   people that would be in the room with him for      13   interpreters and the court reporter.
  14   his deposition, and have explored potential ways   14          MS. KNIGHT: Lydia Knight for the
  15   in which to accomplish his deposition.             15   Society of Jesus.
  16           MR. O'NEILL: Okay. We have, is             16          I agree, I don't think that we found a
  17   that --                                            17   safe or logistical way to conduct the deposition
  18           MS. POLLOCK: Go ahead.                     18   today, so therefore I don't think we should go
  19           MR. O'NEILL: This is again Timothy         19   forward today.
  20   O'Neill for Paul Carrier.                          20          MS. POLLOCK: Is it Defendants'
  21           We have asked and inquired about the       21   position that the deposition should be
  22   possibility of doing it in the open air. It        22   cancelled, or postponed so that appropriate
  23   seems, number one, it's still unclear that it      23   arrangements can be made in the future.
  24   would ever be safe. It seems that a person with    24          MR. CERRETA: Speaking only for
  25   active symptoms of infectious tuberculosis         25   myself, I think maybe we can defer that


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   1   decision, perhaps can have a follow-up              1   should be cancelled.
   2   discussion about whether it's confirmed that he     2          MR. BRADFORD: We proposed dates
   3   does have an active case of tuberculosis, and we    3   starting travelling on the 29th.
   4   can go forward from there.                          4          MR. CERRETA: I think the first day
   5           MS. POLLOCK: Sure.                          5   would be Monday the 29th.
   6           MR. O'NEILL: We're all basically            6          MR. BRADFORD: And into March, that
   7   unfamiliar with the medicine involved.              7   first week of March. I don't remember if
   8   Accepting that he's now active, how long will he    8   there's been a response from Plaintiffs'
   9   be active, how long will he be treated, is he       9   counsel, but maybe there has and I just missed
  10   being treated even, are all questions we have to   10   it.
  11   know.                                              11          MR. O'NEILL: So we look for the
  12           MS. POLLOCK: He is not being treated       12   cooperation from Plaintiffs' counsel to line up
  13   currently.                                         13   and then make the decision on Mackenson as part
  14           MR. O'NEILL: He's not being treated.       14   of the next group of depositions in late
  15   Well, that's even --                               15   February. That should give us time.
  16           MS. POLLOCK: We don't know that he         16          MS. POLLOCK: Sure. We will endeavor
  17   has it.                                            17   to try to get proof as to what is going on with
  18           MR. CERRETA: I think it's probably         18   his health condition, understanding that we may
  19   best just to defer that discussion.                19   not have that answer, you know, any time in the
  20           MR. BRADFORD: I would concur. I            20   immediately foreseeable future. But we will put
  21   think we can't -- there's too many unknowns        21   forth effort.
  22   right at the moment. A big one is I don't think    22          MR. O'NEILL: We're going forward with
  23   anybody around the table currently knows what      23   the depositions of Deriza, and who else?
  24   kind of distance makes -- would be safe, or what   24          MR. BRADFORD: Johnson Audate is
  25   kind of -- I agree there's too many things about   25   Wednesday.


                                            Page 11                                                Page 13
   1   it that I certainly don't know, and I don't         1           MS. XIA: Johnson is Tuesday.
   2   think we have that knowledge, any of us, to know    2           MR. O'NEILL: There are two more for
   3   whether we would have -- this is something we       3   this week.
   4   should do at a great remove or, gee, at the next    4           MR. BRADFORD: I have that for
   5   group it will be fine.                              5   Wednesday.
   6           MR. O'NEILL: Lydia?                         6            MS. POLLOCK: Does it matter?
   7           MS. KNIGHT: I agree with everybody.         7           MR. BRADFORD: It doesn't matter to
   8           MR. O'NEILL: So we'll postpone the          8   me.
   9   decision. And we know that an attempt is being      9            MS. POLLOCK: So for the record,
  10   made to do four depositions in -- no, five         10   tomorrow we'd proceed with Johnson's deposition,
  11   depositions in February, I believe, so this        11   if it's okay with defense counsel?
  12   would make it that we would have six more          12           MR. BRADFORD: That's fine.
  13   depositions to complete. But our job is to do      13            MR. O'NEILL: Okay.
  14   23. And perhaps we could work an arrangement in    14            MS. POLLOCK: Thank you.
  15   late February and figure out what to do with       15           MR. O'NEILL: Thank you.
  16   Mackenson.                                         16           (Whereupon, the statements were
  17           MS. POLLOCK: All right. I mean just        17           concluded at 9:37 a.m.)
  18   for the record, the Plaintiffs do object to any    18
  19   type of a cancellation of his deposition. There    19
  20   are ways to make appropriate arrangements in the   20
  21   future, we believe, and we appreciate that         21
  22   defense counsel is willing to explore those        22
  23   opportunities. And I think that's why we just      23
  24   need to --                                         24
  25           MR. O'NEILL: We're not saying it           25


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   1       C E R T I F I C A T E
   2
   3           I, MAUREEN O'CONNOR POLLARD, RMR, CLR,
   4   do hereby certify that the foregoing transcript
   5   is a true and accurate transcription of my
   6   stenographic notes taken on January 11th, 2016.
   7
   8
   9
  10
  11
  12       ___________________________________
  13       MAUREEN O'CONNOR POLLARD, RMR, CLR
  14       Realtime Systems Administrator
  15
  16
  17
  18
  19
  20
  21
  22
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                 UNITED STATES DISTRICT COURT
                 DISTRICT OF CONNECTICUT
                                      Civil Action No.
                                      3:13-cv-01132(RNC)
       ****************************
       GERVIL ST. LOUIS, a/k/a ST.    Consolidated with:
       LOUIS GERVIL,                  3:13-cv-1225-RNC
                                      3:13-cv-1269-RNC
                      Plaintiff,      3:13-cv-1437-RNC
                                      3:13-cv-1480-RNC
            v.                        3:13-cv-1626-RNC
                                      3:13-cv-1627-RNC
       DOUGLAS PERLITZ, FATHER        3:13-cv-1628-RNC
       PAUL E. CARRIER, S.J.; HOPE    3:13-cv-1629-RNC
       E. CARTER; HAITI FUND,         3:13-cv-1630-RNC
       INC.; FAIRFIELD UNIVERSITY;    3:13-cv-1631-RNC
       THE SOCIETY OF JESUS OF NEW    3:13-cv-1632-RNC
       ENGLAND; SOVEREIGN MILITARY    3:13-cv-1633-RNC
       HOSPITALLER ORDER OF ST.       3:13-cv-1634-RNC
       JOHN OF JERUSALEM OF RHODES    3:13-cv-1635-RNC
       AND OF MALTA, AMERICAN         3:13-cv-1636-RNC
       ASSOCIATION, U.S.A.; a/k/a     3:13-cv-1637-RNC
       ORDER OF MALTA, AMERICAN       3:13-cv-1638-RNC
       ASSOCIATION, U.S.A.; JOHN      3:13-cv-1639-RNC
       DOE ONE; JOHN DOE TWO; JOHN    3:13-cv-1640-RNC
       DOE THREE; JOHN DOE FOUR;      3:13-cv-1641-RNC
       JOHN DOE FIVE; JOHN DOE SIX    3:13-cv-1642-RNC
       and JOHN DOE SEVEN,            3:13-cv-1644-RNC
                                      3:13-cv-1645-RNC
                      Defendants.     3:13-cv-1647-RNC
                                      3:13-cv-1648-RNC
                                      3:13-cv-1701-RNC
                                      3:13-cv-1767-RNC
                                      3:13-cv-1768-RNC
                                      3:13-cv-1769-RNC
                                      3:13-cv-1881-RNC
                                      3:13-cv-1904-RNC
                                      3:13-cv-1906-RNC
                                      3:13-cv-1907-RNC
       ******************************
       This document applies to:
       All of the above referenced cases
       And those to be filed
       ******************************
       CONFIDENTIAL - SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
            VIDEOTAPED DEPOSITION OF KENSLEY PREVIL

                   Saturday, August 1, 2015
                         8:59 a.m.

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                                                     Page 2                                                Page 4
   1     VIDEOTAPED DEPOSITION OF KENSLEY PREVIL               1     APPEARANCES (Continued):
   2                                                           2     FOR THE DEFENDANT PAUL E. CARRIER, S.J.:
   3                                                           3       THEODORE J. FOLKMAN, ESQ.
       Held At:                                                4         MURPHY & KING
   4                                                           5         One Beacon Street, 21st Floor
   5     Barcelo Puerto Plata                                  6          Boston, Massachusetts 02108
   6     Carretera Luperón, km 5, Puerto Plata 547             7         617-423-0400
   7     Dominican Republic                                    8          tjf@murphyking.com
   8                                                           9
   9
                                                              10     FOR THE DEFENDANT HOPE E. CARTER:
  10   REPORTED BY:                                           11       JEFFREY W. KENNEDY, ESQ.
  11   Maureen O'Connor Pollard, RMR, CLR, LSR #473
                                                              12          MILANO & WANAT LLC
  12   Realtime Systems Administrator
                                                              13          471 East Main Street
  13
                                                              14          Branford, Connecticut 06405
  14
                                                              15         203-315-7000
  15
                                                              16          jkennedy@mwllc.us
  16
                                                              17
  17
  18                                                          18     FOR THE DEFENDANT ORDER OF MALTA AMERICAN
  19                                                          19     ASSOCIATION, U.S.A.:
  20                                                          20       BRADFORD S. BABBITT, ESQ.
  21                                                          21          ROBINSON & COLE LLP
  22                                                          22          280 Trumbull Street
  23                                                          23          Hartford, Connecticut 06103
  24                                                          24         860-275-8200
  25                                                          25          bbabbitt@rc.com


                                                     Page 3                                                Page 5
   1   APPEARANCES:                                            1     APPEARANCES (Continued):
   2   FOR THE PLAINTIFF:                                      2
   3     MITCHELL GARABEDIAN, ESQ.                             3     FOR THE DEFENDANT FAIRFIELD UNIVERSITY:
   4     LU XIA, ESQ.                                          4       JOHN W. CERRETA, ESQ.
   5        LAW OFFICES OF MITCHELL GARABEDIAN                 5         DAY PITNEY LLP
   6        100 State Street, Sixth Floor                      6         242 Trumbull Street
   7        Boston, Massachusetts 02109                        7         Hartford, Connecticut 06103
   8        617-523-6250                                       8         860-275-0100
   9        garabedianlaw@earthlink.com                        9         jcerreta@daypitney.com
  10        lxia@garabedianlaw.com                            10
  11           -and-                                          11     FOR THE DEFENDANT THE SOCIETY OF JESUS OF
  12     ELLYN H. HURD, ESQ.                                  12     NEW ENGLAND:
  13        SIMMONS HANLY CONROY                              13       LYDIA C. KNIGHT, ESQ.
  14        112 Madison Avenue                                14         SLOANE AND WALSH, LLP
  15        New York, New York 10016                          15         Three Center Plaza, Suite 830
  16        212-784-6400                                      16         Boston, Massachusetts 02108
  17        ehurd@simmonsfirm.com                             17         617-523-6010
  18           -and-                                          18         lknight@sloanewalsh.com
  19     G. MICHAEL STEWART, ESQ.                             19
  20        SIMMONS HANLY CONROY                              20     Videographer: Christopher Coughlin
  21        One Court Street                                  21
  22        Alton, Illinois 62002                             22     Interpreter: Nathalie Coupet
  23        mstewart@simmonsfirm.com                          23
  24                                                          24     Also Present:
  25                                                          25     Jean Elysée Pierre-Louis


                                                                                         2 (Pages 2 to 5)
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   1             INDEX                                          1      represent the American Association of the Order
   2   EXAMINATION                                    PAGE      2      of Malta.
   3   KENSLEY PREVIL                                           3             MR. KENNEDY: Good morning. Jeff
   4   BY MR. FOLKMAN                                 8         4      Kennedy for Hope Carter.
   5   BY MR. BABBITT                              63
   6   BY MR. FOLKMAN                                64         5             MR. GARABEDIAN: Good morning.
   7   BY MS. KNIGHT                              159           6      Mitchell Garabedian for Plaintiff.
   8   BY MR. CERRETA                              164          7             MR. STEWART: Michael Stewart on
   9   BY MR. KENNEDY                               174         8      behalf of Plaintiff.
  10   BY MR. STEWART                              184          9             MS. HURD: Ellyn Hurd on behalf of the
  11                                                           10      Plaintiff.
  12
                                                               11             THE VIDEOGRAPHER: The court reporter
  13        EXHIBITS
  14   NO.      DESCRIPTION                       PAGE         12      is Maureen Pollard, and she will now swear in
  15   1 Plaintiff Previl Kensley's                            13      the interpreter and the witness.
         Response to Certain Defendants'                       14
  16     First Set of Interrogatories......... 16              15             NATHALIE COUPET, Translator,
  17   2 Plaintiff Previl Kensley's                            16      having been duly sworn to translate the
         Response to Certain Defendants'                       17      questions and the answers to the best of her
  18     First Set of Interrogatories......... 20
  19   3 Printout of Stronger Pou-laria                        18      ability, translated as follows:
         Facebook pages.......................147              19
  20                                                           20              KENSLEY PREVIL,
       4   Printout of Kensley Previl's                        21      having been first duly sworn, was examined and
  21       Facebook page........................157            22      testified as follows through the translator:
  22                                                           23             DIRECT EXAMINATION
  23
  24                                                           24      BY MR. FOLKMAN:
  25                                                           25         Q. Good morning. Could you state your


                                                      Page 7                                                    Page 9
   1        PROCEEDINGS                                         1      name, please?
   2                                                            2             MR. GARABEDIAN: Excuse me. Before we
   3          THE VIDEOGRAPHER: We are now on the               3      go any further, I want to raise a housekeeping
   4   record. My name is Chris Coughlin, I'm a                 4      question.
   5   videographer for Golkow Technologies.                    5             Will defense counsel agree to give
   6          Today's date is August 1, 2015, and               6      Plaintiffs' counsel five days advance notice
   7   the time is 8:59 a.m..                                   7      before the first deposition that you confirm
   8          This video deposition is being held in            8      that you have a videographer, a stenographer,
   9   Puerto Plata, Dominican Republic in the matter           9      interpreters, and conference rooms set up for
  10   of Gervil, St. Louis, Plaintiff versus Douglas          10      the depositions? We appeared here,
  11   Perlitz, et al, Defendants, in the United States        11      everybody's -- we'll work with you on this, but
  12   District Court for the District of Connecticut,         12      on the 28th we appeared, there wasn't an
  13   Civil Action Number 3:13-cv-01132-RNC.                  13      interpreter. On the 30th we had an interpreter
  14          The deponent is Kensley Previl.                  14      recuse himself who apparently wasn't adequate.
  15          Will counsel please identify                     15      And now we're sitting in, because of the
  16   yourselves for the record.                              16      graciousness of the stenographer, we're sitting
  17          MR. FOLKMAN: Good morning. My name               17      in her hotel suite, hotel room. Now, who knows
  18   is Ted Folkman, I'm the lawyer for Father Paul          18      where the men's room is, and who knows if it's a
  19   Carrier, Pere Paul.                                     19      10 or 15 minute walk from here. But these are
  20          MS. KNIGHT: Good morning. Lydia                  20      avoidable issues.
  21   Knight on behalf of the Society of Jesus of New         21             And we'd like to just confirm -- we'd
  22   England.                                                22      like to receive confirmation from you that we
  23          MR. CERRETA: Good morning. John                  23      have those individuals in place. And if there's
  24   Cerreta for Fairfield University.                       24      an issue with a conference room, we can agree to
  25          MR. BABBITT: I'm Bradford Babbitt, I             25      use a different location. It's just


                                                                                        3 (Pages 6 to 9)
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   1   inconvenience. What are we going to do when we      1             MR. GARABEDIAN: Thank you. I want
   2   have unavoidable issues? I mean they're all         2      written notice.
   3   avoidable.                                          3             MR. FOLKMAN: You want five days
   4          So I'd like that fore-notice before we       4      written notice that we've arranged for
   5   start these depositions. Will you agree to          5      translators?
   6   contact me, or the Plaintiffs?                      6             MR. GARABEDIAN: That you've confirmed
   7          MR. FOLKMAN: Well, of course we'll           7      that you have translators in place, that you
   8   agree to work with you on this kind of thing.       8      have the videographer in place, that you have
   9   We're using the firm that I believe you used to     9      the stenographer in place, and that you've got
  10   arrange for the translations. If there's           10      the conference room in place.
  11   another firm that you think is better, we'd be     11             MR. FOLKMAN: Sure, I'd be happy to do
  12   happy to talk with you about that.                 12      that.
  13          MR. GARABEDIAN: You're the moving           13             MR. GARABEDIAN: For instance, you did
  14   party. We want these depositions to go forward     14      not book the conference room for today even
  15   just as you do, but the burden is on you to make   15      though you're supposed to. And that's just an
  16   sure everything is in place. And as I said, and    16      oversight. Fine. We'll work with you. We're
  17   I say this respectfully, we'll work with you,      17      working with you right now.
  18   and if there's a problem with an interpreter       18             MR. FOLKMAN: For the witness's
  19   five days beforehand or six days before, just      19      benefit, the bathroom is right across the way.
  20   call me, we'll try to work it out so that we're    20             MR. GARABEDIAN: How about the other
  21   not here -- everyone here has -- almost everyone   21      14 people in the room? We all have to go to the
  22   here has travelled internationally to be here,     22      bathroom.
  23   my clients have come in from Haiti, I've come in   23             MR. FOLKMAN: For your benefit also,
  24   from the United States, many people have come in   24      the bathroom is right across the way.
  25   from the United States. So I mean let's just       25             MR. GARABEDIAN: We're supposed to


                                            Page 11                                                   Page 13
   1   try to work this out so that we don't have this     1      stand in line?
   2   again.                                              2            MR. FOLKMAN: Okay. Is there anything
   3          These are avoidable issues, if we work       3      else you want to put on the record?
   4   together. And if you can look -- if you can         4            MR. GARABEDIAN: I want to stress I'll
   5   make calls confirming that you have these           5      work with you, but we can work this stuff out,
   6   individuals in place. What are we going to do       6      we don't have to do it like this. What happens
   7   when we have unavoidable issues?                    7      when we have an unavoidable problem?
   8          MR. FOLKMAN: I understand. We'll             8            MR. FOLKMAN: Okay.
   9   certainly -- if we're aware of any problems with    9            MR. GARABEDIAN: I want written notice
  10   people not showing up in advance, we'll let you    10      five days beforehand.
  11   know. That wasn't the case this --                 11            MR. FOLKMAN: Okay. I'd be happy to
  12          MR. GARABEDIAN: The burden is on you        12      give you written notice we've arranged for
  13   to confirm with these individuals, the             13      videographers, stenographers, interpreters, and
  14   videographer, the stenographer, the                14      rooms.
  15   interpreters, the hotel, that this is in place.    15            MR. GARABEDIAN: That you've confirmed
  16          MR. FOLKMAN: Okay. I understand what        16      with them that they will be here and that you
  17   you're saying. We'll work together.                17      have the room reserved.
  18          MR. GARABEDIAN: Beforehand please           18            MR. FOLKMAN: Yes.
  19   give me a call, and we'll work together. We        19            MR. GARABEDIAN: Okay.
  20   want these to go forward, too.                     20      BY MR. FOLKMAN:
  21          MR. FOLKMAN: Good. Okay.                    21         Q. Sorry about that, Mr. Previl.
  22          MR. GARABEDIAN: It's great                  22            Is Previl your family name?
  23   inconvenience for everyone, you, me, especially    23         A. Yes.
  24   my clients. Okay?                                  24         Q. And Kensley is your given name?
  25          MR. FOLKMAN: Okay.                          25         A. Yes.


                                                                             4 (Pages 10 to 13)
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   1      Q. Mr. Previl, do you understand that you        1      Q. You read a little bit?
   2   took an oath just now to tell the truth today in    2      A. Maybe.
   3   your testimony?                                     3      Q. Do you write Creole?
   4      A. Yes.                                          4      A. Not very well.
   5      Q. At some point during the day today,           5      Q. But a little bit?
   6   your lawyer, Mr. Stewart, may instruct you not      6      A. Yes.
   7   to answer a question, and if he does that you       7      Q. Can you type in Creole?
   8   should listen to what he says, okay, and not        8      A. No.
   9   answer the question?                                9      Q. Do you understand any English?
  10           THE WITNESS: Oui.                          10      A. No.
  11      Q. Other times he may say the word              11      Q. Do you understand any French?
  12   "objection," and if he says the word objection     12      A. No.
  13   you should still answer my question, if you can,   13      Q. I've asked the reporter to put a
  14   unless he tells you not to answer it. Okay?        14   sticker on marking this as Exhibit 1, and I'm
  15      A. Yes.                                         15   going to put it in front of you.
  16      Q. If you need to take any breaks today,        16          (Whereupon, Exhibit Number 1,
  17   just let me know and we'll take a break, as long   17          Plaintiff Previl Kensley's Response to
  18   as I haven't asked you a question. If I ask you    18          Certain Defendants' First Set of
  19   a question, I'm going to want you to answer it     19          Interrogatories, was marked for
  20   first, but other than that we'll take a break      20          identification.)
  21   whenever you need. Okay?                           21          MR. STEWART: You don't have to do
  22      A. No problem.                                  22   anything, just leave it there. He's got a
  23      Q. It's really important that you try to        23   sticker on it. I don't know why he said it that
  24   keep your voice up so that you can be heard on     24   way, but he's already marked it, you don't need
  25   the videotape, okay?                               25   to do anything.

                                            Page 15                                                Page 17
   1      A. Yes.                                          1   BY MR. FOLKMAN:
   2      Q. And it's also really important that           2      Q. Okay. Have you ever seen this
   3   you let me know if you don't understand a           3   document before?
   4   question I ask you so that I can try to rephrase    4      A. Yes.
   5   it. Okay?                                           5      Q. And your counsel is directing you to
   6      A. Yes.                                          6   the last page there. Is that your signature?
   7      Q. Will you do that?                             7      A. Yes.
   8      A. Yes.                                          8      Q. And did you sign it yourself, or did
   9         MR. FOLKMAN: Mike, can we have the            9   someone sign it for you?
  10   same stipulations we've had until now?             10      A. Somebody wrote it on a paper, piece of
  11         MR. STEWART: Yes.                            11   paper for me, and I copied it.
  12         MR. FOLKMAN: Thank you.                      12      Q. Somebody wrote your name down and you
  13   BY MR. FOLKMAN:                                    13   copied your name?
  14      Q. Have you taken any medicines today,          14      A. Yes.
  15   sir?                                               15      Q. Okay. And who was the person who
  16      A. No. I'm not sick.                            16   wrote your name down?
  17      Q. Have you taken any drugs or alcohol          17          MR. STEWART: Objection.
  18   today?                                             18          To the extent that you're asking him
  19      A. No.                                          19   about attorney/client privilege or conversation,
  20      Q. Is there any reason you know of that         20   instructing him not to answer.
  21   it would be difficult for you to answer my         21          Go ahead. So if it was with your
  22   questions truthfully today?                        22   attorneys or someone who works for your
  23      A. No, I don't know.                            23   attorneys, you don't answer the question, he'll
  24      Q. Okay. Sir, do you read Creole?               24   ask you a new question.
  25      A. I don't read very well.                      25          Okay. Next question.


                                                                          5 (Pages 14 to 17)
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   1   BY MR. FOLKMAN:                                   1        Q. And what are their names?
   2     Q. Did you sign the document on July 10,        2        A. Alexandra Ambroise, and Jovenel
   3   2014?                                             3      Previl.
   4      A. Yes.                                        4             MR. FOLKMAN: May we go off the record
   5     Q. You see that the first half of the           5      for a moment, please?
   6   document is written in English and the second     6             THE VIDEOGRAPHER: Going off the
   7   half is a translation into Creole. Was the        7      record. The time is 9:15.
   8   Creole read to you before you signed it?          8             (Off the record discussion.)
   9      A. Yes.                                        9             THE VIDEOGRAPHER: Back on the record.
  10     Q. Did you understand everything that was      10      The time is 9:19.
  11   read to you?                                     11      BY MR. FOLKMAN:
  12      A. Yes.                                       12        Q. Mr. Previl, I'm sorry that we had to
  13     Q. Was everything that was read to you         13      go off the record. It was my mistake, I had a
  14   correct?                                         14      copy of Exhibit 1 that I had gotten from my
  15     A. Yeah, but there could be mistakes,          15      office that didn't have all the pages. So
  16   too.                                             16      please excuse me for the mistake.
  17     Q. Do you know if there are any mistakes?      17             And I've put in front of you what is
  18     A. If you read to me I will tell you           18      the complete document, and we've marked it as
  19   whether there are mistakes, because I know       19      Number 2.
  20   everything I said.                               20             (Whereupon, Exhibit Number 2,
  21     Q. Okay. When the Creole was read to           21             Plaintiff Previl Kensley's Response to
  22   you, did someone read to you the questions and   22             Certain Defendants' First Set of
  23   then the answers?                                23             Interrogatories, was marked for
  24      A. Yes.                                       24             identification.)
  25     Q. And did you understand that the             25      BY MR. FOLKMAN:


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   1   answers were your answers?                        1         Q. And I'd like you just to look at the
   2      A. Yeah, but there might be mistakes.          2      last page. Can you tell me whether that's the
   3      Q. Okay. Do you have any nicknames, sir?       3      signature that someone -- that wrote down for
   4      A. Yes.                                        4      you and you copied onto the page?
   5      Q. What are they?                              5         A. It's Madame Calixte who showed me how
   6      A. Reginald.                                   6      to write my name.
   7      Q. Aside from Reginald, do you have any        7         Q. Okay. So you have two brothers,
   8   other nicknames?                                  8      Jovenel Previl and Alexandra Ambroise, is that
   9      A. No.                                         9      right?
  10      Q. What's your birth date?                    10         A. Yes.
  11      A. December 20, 1993 -- 21st.                 11         Q. Jovenel, is he the son of your mother
  12      Q. What's your mother's name?                 12      and your father?
  13      A. Micheline Etienne.                         13         A. No. He's my father's son.
  14      Q. And what's your father's name?             14         Q. And Alexandra Ambroise, is he the son
  15      A. Henry Claude Previl.                       15      of your mother but not your father?
  16      Q. Are both of your parents alive today?      16         A. He's my mother's son.
  17      A. Yes.                                       17         Q. Okay. Are your parents married -- is
  18      Q. Are your parents married?                  18      your father married to someone other than your
  19      A. No.                                        19      mother?
  20      Q. Have they ever been married?               20         A. Yes.
  21      A. No.                                        21         Q. And what is the name of his wife?
  22      Q. Let me ask you about your brothers and     22         A. Mimose, M-I-M-O-S-E, Orvil, O-R-V-I-L.
  23   sisters.                                         23         Q. And is your mother married to someone
  24          How many brothers do you have?            24      other than your father?
  25      A. I have two brothers.                       25         A. No, she's not married to anyone else.


                                                                           6 (Pages 18 to 21)
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   1   She just has children with other people, or         1   BY MR. FOLKMAN:
   2   somebody else.                                      2      Q. Have you ever had a girlfriend that
   3      Q. Okay. How many sisters do you have?           3   you lived with?
   4      A. Four.                                         4      A. No.
   5      Q. And what are their names?                     5      Q. Do you have a girlfriend now?
   6      A. Stephanie Previl, Schnaidine, three,          6      A. No.
   7   no, sorry, three. Oh, no, it's four.                7      Q. I want to ask you about where you've
   8      Q. Okay.                                         8   lived, the places that you've lived in your
   9      A. Schnaidine Previl, Stephanie Previl,          9   life.
  10   Taïsha Previl, Alexandra Ambroise.                 10          Until 2002, did you live with your
  11      Q. Okay. And just so that I understand,         11   mother?
  12   you have a brother named Alexandro Ambroise, and   12      A. No. When I was growing up, I was
  13   a sister named Alexandra Ambroise?                 13   growing up at my grandmother's.
  14      A. Yes.                                         14      Q. Okay. You never lived with -- did you
  15      Q. The three sisters whose last name is         15   ever live in your mom's house?
  16   Previl, are they the daughters of your father?     16      A. When I was a baby only.
  17      A. Yes.                                         17      Q. Okay. Did your parents live together?
  18      Q. Your sister Alexandra, she's the             18          MR. STEWART: Objection.
  19   daughter of your mother?                           19      A. Yes, when I was a baby.
  20      A. Yes, but Stephanie Previl is the             20   BY MR. FOLKMAN:
  21   daughter of my father and mother together.         21      Q. And where did they live?
  22      Q. Okay. Are you the oldest of all your         22      A. In a place called Cité Lescot,
  23   brothers and sisters?                              23   C-I-T-E, and then L-E-S-C-O-T, at the place of
  24      A. No.                                          24   my mother's mother.
  25      Q. Which ones are older than you are?           25      Q. Okay. You say you lived with them

                                              Page 23                                             Page 25
   1     A.   Stephanie Previl.                            1   only when you were a baby?
   2     Q.   And are the others all younger than          2      A. Yes.
   3   you?                                                3      Q. And where did you live after you lived
   4     A.    Yes.                                        4   with your parents as a baby?
   5     Q.    How old is Stephanie?                       5          THE TRANSLATOR: Where else --
   6     A.    23 years old.                               6      Q. Where did you live next after you
   7     Q.    Is she married?                             7   lived with your parents as a baby?
   8     A.    No.                                         8      A. Fort St. Michel, M-I-C-H-E-L, with my
   9     Q.    Do you have any living grandparents?        9   father's mother.
  10     A.    Yes, I have a grandmother.                 10      Q. That's Dieudonne Mercellin?
  11     Q.    And what is her name?                      11      A. Yes.
  12     A.    Dieudonne Marcellin.                       12      Q. How long did you live with her for?
  13          THE TRANSLATOR: D-I-E-U-D-O-N-N-E,          13      A. Up to now.
  14   last name M-A-R-C-E-L-L-I-N.                       14      Q. Where is Cité Lescot?
  15      Q. And whose mother is she, your mother's       15      A. Cap-Haïtien.
  16   or your father's?                                  16      Q. It's a neighborhood of Cap-Haïtien?
  17      A. My father's mother.                          17      A. Yes.
  18      Q. Have you had any children?                   18      Q. And where was Fort St. Michel?
  19      A. No.                                          19      A. It's an area in Cap-Haïtien also.
  20      Q. Have you ever been married?                  20      Q. A different neighborhood?
  21      A. No.                                          21      A. Yes.
  22      Q. Have you ever been in a relationship         22      Q. Is Cité Lescot near Blue Hills?
  23   with a woman?                                      23      A. No.
  24          MR. STEWART: Objection.                     24      Q. Is it near Bel Air?
  25      A. Yes, I had a girlfriend.                     25      A. Yes.


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   1      Q. Is Fort St. Michel near Bel Air?           1   alive?
   2      A. No.                                        2      A. Yes.
   3      Q. Is it near Blue Hills?                     3      Q. And what is her name?
   4      A. No.                                        4      A. Saintilia.
   5      Q. Is it near Carenage?                       5          THE TRANSLATOR: S-A-I-N-T-I-L-I-A.
   6      A. No.                                        6      Q. Is that her first name?
   7      Q. Did you move to the streets at some        7      A. No, since I was a child that's how I
   8   point?                                           8   knew her name was.
   9      A. Yes.                                       9      Q. That's the only name you know her by?
  10      Q. And when was that?                        10      A. No.
  11      A. I remember it in 2004.                    11      Q. You know her by other names?
  12      Q. And how long did you live on the          12      A. No, since I was a child, I've always
  13   street?                                         13   heard people call her like that.
  14      A. A long time in the streets, until         14      Q. Okay. Who lived in the house with you
  15   2011.                                           15   when you were living at that house until the age
  16      Q. Let me ask you to describe the places     16   of three in Cité Lescot?
  17   you lived.                                      17      A. Me, my grandmother, my mother, my
  18          Do you remember at all your parents'     18   father, my older sister, two uncles whose names
  19   home in Cité Lescot?                            19   are Barnardin, B-E-R-N-A-R-D-I-N, and Alonse,
  20      A. Yeah, I remember my grandmother, and      20   A-L-O-N-S-E.
  21   also my uncle.                                  21      Q. Are you related to Jose Barnardin?
  22      Q. From when you were a baby?                22      A. No.
  23      A. Yes. Yes, all the way up to when I        23      Q. When you moved to Fort St. Michel,
  24   was three years old.                            24   tell me about that house.
  25      Q. Okay. Do you remember what the house      25      A. There was one parking space, one


                                          Page 27                                                Page 29
   1   looked like?                                     1   gallery, one well to take -- to get water, four
   2     A. Yeah. Up to now I still go visit my         2   bedrooms. My grandmother was living in one, and
   3   grandmother.                                     3   the neighbors were living in the other three.
   4     Q. At the same house in Cité Lescot?           4      Q. And you lived in the bedroom with your
   5     A. Yes, because it belongs to my mother's      5   grandmother?
   6   mother.                                          6      A. Yes.
   7     Q. Okay. Your mother's mother?                 7      Q. And who else was living as part of
   8     A. Yes.                                        8   your family in that house?
   9     Q. So that's not Dieudonne Mercellin?          9      A. My older sister Stephanie.
  10     A. No.                                        10      Q. But neither of your parents?
  11     Q. Okay. How big is the house? How many       11      A. No.
  12   rooms does it have?                             12      Q. And why at that point weren't you
  13     A. Three bedrooms.                            13   living with your parents?
  14     Q. Three bedrooms?                            14          MR. STEWART: Objection.
  15     A. Three bedrooms.                            15          I'm sorry, go ahead.
  16     Q. Are there any other rooms in the           16      A. I don't know.
  17   house?                                          17   BY MR. FOLKMAN:
  18     A. Yes, there are other rooms, but it's       18      Q. You told me that after -- you told me
  19   the neighbor who lives in them. It's cut.       19   that you moved to the street, right?
  20     Q. Does your grandmother rent out part of     20      A. Yes.
  21   the house to the neighbor?                      21      Q. And you had left -- the last place you
  22     A. No. The three rooms are only for my        22   lived before you lived in the street was Fort
  23   grandmother, it's not rent out to anyone. The   23   St. Michel, right?
  24   part that is cut out is for their owner.        24          MR. STEWART: Objection.
  25     Q. Okay. Is your mother's mother still        25      A. Yes.


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   1   BY MR. FOLKMAN:                                     1         Q. And is your mother living today?
   2      Q. Why did you leave that house at Fort          2         A. Yes.
   3   St. Michel to live in the street?                   3         Q. And when was the last time you saw
   4          MR. STEWART: Objection.                      4       her?
   5      A. My grandmother didn't have any more --        5         A. For Mother's Day, last Sunday of the
   6   didn't have the means to pay for the house where    6       month of May.
   7   we could sleep anymore, so she didn't have any      7         Q. You went to visit her for Mother's
   8   more money, so I took to the street. She            8       Day?
   9   explained to me that my father and mother never     9         A. Yes.
  10   really cared about me since I was a child, that    10         Q. Where is she living now?
  11   my grandmother told me that they didn't really     11         A. Kite-O.
  12   take care of me, they would just leave me to be    12            THE TRANSLATOR: K-I-T-E-Y-O.
  13   in the courtyard with dogs playing with me, so     13         Q. Is that a neighborhood of Cap-Haïtien?
  14   she took me.                                       14         A. Yes.
  15          And I went to the street because I          15         Q. And where is your father living now?
  16   have my own mind. I went -- took to the street     16         A. Cité, C-I-T-E, Shovel, S-H-O-V-E-L.
  17   for my -- to be able to have a life.               17         Q. And is that a neighborhood of
  18   BY MR. FOLKMAN:                                    18       Cap-Haïtien also?
  19      Q. When your grandmother couldn't -- or         19         A. Yes.
  20   didn't have the means to pay for the house         20         Q. Before you moved to the street, did
  21   anymore, where did she go?                         21       you know any boys who lived in the street?
  22      A. She went to sleep at people's house          22            MR. STEWART: Objection.
  23   with my sister.                                    23         A. No.
  24      Q. And what is people's house?                  24       BY MR. FOLKMAN:
  25          MR. STEWART: Objection.                     25         Q. When you moved to the street, did you

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   1      A. I don't know.                                 1      meet any boys that you would hang out with?
   2   BY MR. FOLKMAN:                                     2             MR. STEWART: Objection.
   3      Q. Do you know where it is?                      3         A. No. I started sleeping in the streets
   4          MR. STEWART: Objection.                      4      by myself. After that I started throwing trash
   5      A. Yes.                                          5      for people, and that's when I found some
   6   BY MR. FOLKMAN:                                     6      friends, I made some friends.
   7      Q. Why did you not go to people's house          7      BY MR. FOLKMAN:
   8   with them?                                          8         Q. What were the names of your group of
   9      A. There was not enough space for all            9      friends?
  10   three of us. My grandmother said "since there's    10             Do you need to take a break? Let's go
  11   no -- not enough space for all of us, why don't    11      off the record.
  12   you go to your other grandmother," but they said   12             THE VIDEOGRAPHER: Going off the
  13   no. Since that grandmother had taken us, they      13      record. The time is 9:43.
  14   wouldn't accept us back anymore, since I would     14             (Whereupon, a recess was taken.)
  15   be in the street for good.                         15             THE VIDEOGRAPHER: Back on the record.
  16      Q. When was the last time you saw --            16      The time is 9:54.
  17   well, start again.                                 17      BY MR. FOLKMAN:
  18          Is your father alive today?                 18         Q. Mr. Previl, are you okay to go ahead?
  19      A. Yes.                                         19         A. Yes.
  20      Q. And when was the last time you saw           20         Q. I just want to reiterate, really, if
  21   him?                                               21      you need a break, please let me know. Don't
  22      A. I don't know. I don't remember.              22      feel you have to try to keep going. I know it's
  23      Q. Has it been years?                           23      not comfortable to be here. And we'll take as
  24      A. About one year since I've seen my            24      many breaks as you need. Okay?
  25   father.                                            25         A. Yes.


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   1      Q. So before we took a break, I had asked        1   buy food for the day.
   2   you to give me the names of the group of friends    2      Q. Did you ever go hungry when you were
   3   that you made in the street.                        3   living on the street?
   4          MR. STEWART: Objection.                      4      A. Yes, especially on Sundays.
   5      A. Alain Pierre, Emile Watson, Mackenson         5      Q. Why especially on Sundays?
   6   Jacques, Gerry McKenzie, James, Sipap.              6      A. Where we used to clean cars and sweep
   7   BY MR. FOLKMAN:                                     7   and throw away trash for people, and wash cars,
   8      Q. Okay. Were these boys around your             8   it wasn't -- there wasn't so much of that on
   9   age?                                                9   Sundays. Things were closed on Sundays. They
  10      A. No, some of them were older, some were       10   weren't working days.
  11   younger.                                           11      Q. Did you ever experience any violence
  12      Q. Are you still friends with any of them       12   when you were living in the street?
  13   today?                                             13      A. Yeah, when I used to sleep in Rue 17
  14      A. Yes, some of them are in                     14   near the bank, the police used to beat us for
  15   Port-au-Price, some of them are in other areas.    15   nothing.
  16   When we see each other, we say hello.              16      Q. And when you say "they used to beat
  17      Q. Did any of these boys attend PPT?            17   us," did they beat you particularly, or just
  18          MR. STEWART: Objection.                     18   others in your group?
  19      A. Yes. Alain brought me to PPT.                19          MR. STEWART: Objection.
  20      Q. Alain Pierre?                                20      A. All of us. The police would just show
  21      A. Yes.                                         21   up and block one end of the street, and then
  22      Q. And he attended himself?                     22   they would show up at the other end also, and
  23      A. Yes.                                         23   they would beat us, all of us together.
  24      Q. Any of the other boys?                       24   BY MR. FOLKMAN:
  25      A. All the guys whose name I mentioned,         25      Q. Did the police ever tell you why they


                                            Page 35                                                Page 37
   1   they all went to PPT.                               1   were beating you?
   2      Q. Okay. Were all the ones whose name            2      A. No, they just would shoot us when --
   3   you mentioned, do you know whether any of them      3   kick us when we were on the ground, and they --
   4   -- let me start again.                              4   I took a blow in my arm and my arm was not good
   5           Were any of the boys whose names you        5   for a while.
   6   mentioned also victims of Douglas Perlitz?          6      Q. Did they ever arrest you?
   7      A. I don't know about the others, but            7      A. No.
   8   just Mackenson Jacques told me about that.          8      Q. Have you ever been arrested?
   9      Q. The others never told you that they           9      A. No, I never did anything to be
  10   were sexually abused?                              10   arrested.
  11           MR. STEWART: Objection.                    11      Q. Did you go to see a doctor for your
  12      A. No, they never said things like that         12   arm?
  13   at all. They never talked about things like        13      A. No, because I was a child, and a
  14   that at all.                                       14   street child with no value. And besides that, I
  15   BY MR. FOLKMAN:                                    15   don't -- I didn't have money, and no doctor
  16      Q. Okay. When this group of friends was         16   would even receive me. As a street child I'm
  17   living in the street, what would you do for        17   always dirty, and I didn't have some -- anyone
  18   food?                                              18   to talk for me. I don't have anyone to talk for
  19      A. We used to clean cars, throw away            19   me.
  20   trash for people, and to clean cooking vessels     20      Q. Did you go to see a nurse or a miss?
  21   for people.                                        21          MR. STEWART: Hold on. What do you
  22      Q. And you made a little money doing            22   mean, "a miss"?
  23   these things?                                      23          MR. FOLKMAN: Some of the other
  24      A. Yeah. Even if I didn't do much, I            24   deponents have known the word miss and not
  25   didn't make a lot of money, but I had enough to    25   nurse.


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   1          MR. STEWART: Let's not use words             1      were people in your group using paint thinner?
   2   assuming that he knows what that word means.        2            MR. STEWART: Objection.
   3   BY MR. FOLKMAN:                                     3         A. No, we didn't take paint thinners,
   4      Q. Do you know what a miss means?                4      because we can't stand the smell.
   5      A. Yes.                                          5      BY MR. FOLKMAN:
   6      Q. Did you go to see -- is a miss a              6         Q. Was anybody in your group using other
   7   medical -- someone who does something with          7      drugs when you were living in the street?
   8   helping people medically?                           8            MR. STEWART: Objection.
   9      A. Yes.                                          9         A. No, just some of them used to smoke
  10      Q. Did you go to see a nurse or a miss          10      cigarettes. When it's cold at night, they used
  11   about your arm?                                    11      to smoke cigarettes.
  12      A. No. My friends and I, we would take          12      BY MR. FOLKMAN:
  13   sour oranges, we would cook -- we would put them   13         Q. And did anybody in your group when you
  14   on, grill them, and before I went to sleep they    14      were living in the street drink?
  15   would take my arm and put the -- and wrap it       15            MR. STEWART: Objection.
  16   with a cloth and the oranges. But up to now my     16            Be more specific. What do you mean
  17   arm still hurt.                                    17      "drink"?
  18      Q. When you say "up to now," do you mean        18            MR. FOLKMAN: Are you asking me or
  19   until this very day?                               19      him?
  20      A. Every year, whenever the date of when        20            MR. STEWART: I'm asking you.
  21   I got -- I received the blow, whenever that date   21      BY MR. FOLKMAN:
  22   arrives, I feel the pain.                          22         Q. Did anybody in your group when you
  23      Q. Do you feel the pain on other days of        23      were living on the street drink alcohol?
  24   the year?                                          24            MR. STEWART: Objection.
  25      A. No, just on the day of -- the day of         25            Go ahead and translate.


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   1   the anniversary of when I got the blow, I feel      1        A. I don't know. In my presence I've
   2   pain from morning until night.                      2      never seen that. I don't know if they drink.
   3      Q. Are you able to use your arm well?            3      BY MR. FOLKMAN:
   4      A. Yes.                                          4        Q. And you didn't drink alcohol?
   5      Q. Aside from the time with the police           5        A. No, I don't drink alcohol up to now.
   6   that you told me about, was there ever any other    6        Q. You lived in the street until when?
   7   violence that you experienced in the street?        7        A. Up to 2011.
   8          MR. STEWART: Objection.                      8        Q. And you never lived in the Village?
   9      A. No.                                           9            MR. STEWART: Objection.
  10   BY MR. FOLKMAN:                                    10        A. No. I used to go to Carenage, but
  11      Q. Was there a particular neighborhood in       11      never let children sleep at Carenage.
  12   the city where you would sleep?                    12      BY MR. FOLKMAN:
  13      A. Since they beat me up in Rue 17, I           13        Q. And in 2011, where did you move to?
  14   never went to sleep there anymore. I looked for    14        A. My grandmother found someone who
  15   another place where I could sleep.                 15      loaned her some money, and she rented a house in
  16          MR. FOLKMAN: And dix-sept, what is          16      Cité du Peuple.
  17   that, 17?                                          17            THE TRANSLATOR: C-I-T-E, another word
  18          THE TRANSLATOR: 17.                         18      D-U, another word P-E-U-P-L-E.
  19      Q. What neighborhood of the city is Rue         19        A. I went to live with my grandmother at
  20   17 in?                                             20      Cité du Peuple.
  21      A. There's a big bank, BRH, it's on the         21        Q. And is that still where you're living
  22   floor where people are changing -- exchanging US   22      today?
  23   dollars, there's a hotel across from it, we        23        A. Yes.
  24   sleep on the floor at the corner of that bank.     24        Q. Okay. And is it just you and your
  25      Q. When you were living on the street,          25      grandmother living together?


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   1          MR. STEWART: Objection.                  1   Just Stephanie.
   2      A. Me, my grandmother, and my sister.        2   BY MR. FOLKMAN:
   3   BY MR. FOLKMAN:                                 3      Q. The others are still little?
   4      Q. Your sister Stephanie?                    4      A. Yes.
   5      A. Yes.                                      5      Q. Okay. Let me ask about you. Have you
   6          MR. STEWART: Objection.                  6   ever had a job?
   7   BY MR. FOLKMAN:                                 7      A. I've tried to look, I've tried to
   8      Q. Let me ask you about jobs that people     8   look, but I don't have any diplomas.
   9   in your family have had.                        9      Q. You told us a few minutes ago that on
  10          Did your mom have a job?                10   the street you had done some odd jobs like
  11      A. Yes.                                     11   cleaning out cooking pans and that sort of thing
  12      Q. And what was her job?                    12   to get money for food, right?
  13      A. She used to sort out coffee and cocoa    13      A. Yeah, like cleaning pots and washing
  14   in a hanger in Nazon, N-A-Z-O-N.               14   cars, but I don't consider this to be a job.
  15      Q. And do you know how much money she       15   Anybody can come and do it, and they give it to
  16   made from her job?                             16   anyone.
  17      A. No.                                      17      Q. And aside from those things that you
  18      Q. Did your father have a job?              18   mentioned, you haven't had another job, right?
  19      A. Yes.                                     19      A. No.
  20      Q. And what was his job?                    20      Q. Were you trained as a welder?
  21      A. He used to drive public transportation   21      A. Yes.
  22   vans for people.                               22      Q. Have you ever looked for a job as a
  23      Q. And do you happen to know how much he    23   welder?
  24   would make at his job?                         24          MR. STEWART: Objection.
  25      A. No.                                      25      A. Yeah, I've tried to look for work, but

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   1      Q. Your sister Stephanie, does she work?     1   the workers don't want to take me because I
   2      A. No.                                       2   don't have a diploma.
   3      Q. Your brother Jovenel, does he work?       3   BY MR. FOLKMAN:
   4      A. No.                                       4      Q. Because you don't have a welding
   5      Q. Has Stephanie ever worked?                5   diploma?
   6      A. She's going to university.                6      A. The time I needed to be -- to stay at
   7      Q. What university does she attend?          7   the Village to get the diploma, that time
   8      A. University called UPNCH.                  8   passed. There was not enough time. The Village
   9      Q. Is that in Cap-Haïtien?                   9   closed before.
  10      A. Yes.                                     10      Q. Oh, okay. So people have refused to
  11      Q. And what is she studying?                11   hire you as a welder because you did not finish
  12      A. I don't know what she's studying. We     12   the program of school at the Village?
  13   never converse.                                13          MR. STEWART: Objection.
  14      Q. Has Jovenel ever had a job?              14      A. Yes. Yeah, they won't just take your
  15      A. No.                                      15   word for it, you can't just come up to people
  16      Q. Your brother Alexandro, has he ever      16   and say I can do this, to help my family out.
  17   had a job?                                     17   They will ask you to show your diploma.
  18      A. No.                                      18   BY MR. FOLKMAN:
  19      Q. How old is he?                           19      Q. You don't have the paperwork, the
  20      A. I don't know, but he hasn't reached --   20   papers you would need to get a job as a welder?
  21   he's not old enough to work.                   21          MR. STEWART: Objection.
  22      Q. Which of your siblings are old enough    22      A. They didn't give it to me at the
  23   to work?                                       23   Village.
  24          MR. STEWART: Objection.                 24   BY MR. FOLKMAN:
  25      A. Just my sister, but there's no work.     25      Q. Okay. Aside from welding, what other


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   1   kind of work have you looked for?                   1      four of us. It's a little group. Because I can
   2      A. Well, I tried to do that, but then I          2      sing, so they put me as a vice-president. It
   3   couldn't find work in welding, so I went to         3      was just among us.
   4   Lakou New York, which is the New York Courtyard.    4         Q. You sing with three other guys?
   5      Q. What is the New York Courtyard?               5         A. Yes.
   6      A. It's a place where we wash cars.              6         Q. And do you sing in front of audiences?
   7      Q. Did you get a job there?                      7         A. No, never in front of a public. We
   8         MR. STEWART: Objection.                       8      try to do this to see if we -- in our area, if
   9      A. It's not really a job, because you can        9      we could have -- find people to give us some
  10   spend the entire day there and you don't find      10      assistance, some help, but we didn't find
  11   anything.                                          11      anyone, so the group disbanded.
  12   BY MR. FOLKMAN:                                    12         Q. The other three young men who were in
  13      Q. So they don't pay you a salary, they         13      the group, were they at PPT?
  14   pay you -- you get paid whenever you wash a car?   14         A. No, it's just the children at the --
  15         MR. STEWART: Objection.                      15      the guys at Cité du Peuple, they knew I knew how
  16      A. Yeah. It's not that I'm employed with        16      to sing, so they said "why don't you sing? Why
  17   anybody, it's just that somebody comes up and      17      don't we put our heads together, and you be the
  18   she will pay me.                                   18      maestro." I said "oh, you want me to be the
  19   BY MR. FOLKMAN:                                    19      maestro, no problem." So there were elections.
  20      Q. And is that still what you're doing          20      And there was this guy who was even more popular
  21   today for work?                                    21      than I was, so he became the president, and I
  22      A. Well, it's been two months, I haven't        22      became the vice-president.
  23   done anything, because I have a stomachache, my    23         Q. What kind of music do you sing?
  24   stomach hurts, and even I haven't gone to the      24         A. So I sing everything, Konpa, Haitian
  25   hospital yet.                                      25      music, Justin Bieber, Chris Brown, Jason Derulo.


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   1      Q. Have you looked for other work aside          1         Q. Even though the group has broken up,
   2   from the New York Courtyard and work as a           2      are you still singing today?
   3   welder?                                             3             MR. STEWART: Objection.
   4          THE TRANSLATOR: Besides the New York         4             What do you mean "singing," like
   5   Courtyard?                                          5      professionally?
   6          MR. FOLKMAN: Mm-hmm.                         6             MR. FOLKMAN: For a hobby.
   7      A. I don't know how to do anything else.         7         A. When I don't feel good, I don't feel
   8   I don't have any trade formation, training.         8      well, music puts me in another style, another
   9      Q. Do you believe that you're qualified          9      mood.
  10   to do a job other than welding or washing cars?    10      BY MR. FOLKMAN:
  11      A. That's the only thing I can do, as I         11         Q. Let me ask you about your schooling.
  12   told you, is welding and washing cars, because     12      I want to ask, how many grades are there in
  13   I'm not going to ask someone to give me a job      13      Haitian school? How many years do you have to
  14   and I'm not able to do the job and I spoil that    14      go to school to get your diploma?
  15   person's business, mess up.                        15         A. 14 years.
  16      Q. Is there a place -- start over.              16         Q. Okay. When did you first go to
  17          Is there a business called Real N           17      school?
  18   Swag? R-E-A-L, second word N, Swag, S-W-A-G?       18         A. 1999.
  19          THE TRANSLATOR: Real N -- again,            19         Q. And where did you go?
  20   please?                                            20         A. National School for Boys, Félix Box.
  21          MR. FOLKMAN: Is there a business            21         Q. What grades did you do that?
  22   called Real N Swag.                                22         A. I did preschool until sixth grade,
  23          THE TRANSLATOR: S-W-A-G?                    23      sixth class, then I stopped, and when I went
  24          MR. FOLKMAN: Yes.                           24      back home I went back to that school again.
  25      A. No, it's not a business. It's the            25         Q. So you did six years from 1999 to --


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   1   or six classes from 1999 to 2004, is that true?     1      A. No. It's a school report that I found
   2      A. No, until 2006, because I was in the          2   at home that has the year 1999 on it, that's how
   3   street, and I went back home.                       3   I knew I was doing preschool at Félix Box in
   4      Q. Were you living on the street at any          4   1999.
   5   time that you were attending school at Félix        5      Q. Did you ever give that school report
   6   Box?                                                6   to your lawyers?
   7      A. I don't remember.                             7      A. No.
   8      Q. Did someone have to pay money for you         8      Q. Do you still have papers at home like
   9   to attend Félix Box?                                9   that report about your schooling?
  10      A. 100 gourdes.                                 10      A. No, it's been a while, you know, since
  11      Q. And who paid that?                           11   2000. I remember it, I saw the report card, but
  12      A. My grandmother.                              12   a lot of things happened and have happened since
  13      Q. And that was 100 gourdes for a year?         13   then. Water has been inundation, flooding, and
  14      A. Yes.                                         14   a lot of -- and a lot of things happen and you
  15      Q. Did you learn how to -- what did you         15   lose a lot of things, you take out things and
  16   learn how to do in school at Félix Box?            16   you lose a lot of things.
  17      A. Maybe for each one has its own in            17      Q. You started preschool in 1999. When
  18   life, I guess, and in my life maybe music is for   18   did you first -- when did you stop attending
  19   me in my life. I wasn't very good in school.       19   Félix Box the first time?
  20      Q. Did they teach music at the school?          20          MR. STEWART: Objection.
  21      A. No. Music, it's from birth. It's             21      A. I don't remember.
  22   when I was growing up I've always liked it.        22   BY MR. FOLKMAN:
  23      Q. Did they teach reading and writing at        23      Q. Okay. Do you remember what grade you
  24   the school?                                        24   were in when you stopped attending the first
  25      A. Yes.                                         25   time?


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   1      Q. And did they teach math at the school?        1           MR. STEWART: Objection.
   2      A. Yes.                                          2       A. Fourth class. Fourth year.
   3      Q. Did they teach history at the school?         3   BY MR. FOLKMAN:
   4      A. Yes.                                          4       Q. And why did you stop attending?
   5      Q. Was there any religious instruction at        5       A. Because 100 gourde for the school
   6   the school?                                         6   didn't cover everything, you still had the
   7      A. No.                                           7   uniform, shoes, and food. My grandmother didn't
   8      Q. Why did you stop attending the school         8   have money for all of that.
   9   at Félix Box?                                       9       Q. So what did you do for school after
  10      A. Well, I stopped because Félix Box            10   you left the Félix Box school in the fourth
  11   doesn't go -- have more classes beyond sixth       11   class?
  12   grade, the sixth year. I didn't go to school       12       A. I went back to Félix Box again to do
  13   anymore. I didn't go to Félix Box anymore.         13   the fifth and sixth year.
  14   They destroyed the school. They did it again,      14       Q. And that was in 2011, is that right?
  15   they rebuilt it, and they added more classes       15       A. I don't remember.
  16   now.                                               16       Q. Well, did you ever attend school at
  17      Q. There were -- you went to Félix Box          17   Carenage?
  18   for a few years, then you stopped, then you went   18       A. Yes, there's a school at Carenage, but
  19   back, is that true?                                19   it's like I could tell you that all the classes
  20      A. Yes.                                         20   are first grade.
  21      Q. Why did you stop going to Félix Box          21       Q. You didn't think it was a very good
  22   the first time?                                    22   school?
  23      A. In 1999?                                     23           MR. STEWART: Objection.
  24      Q. Well, you tell me, did you stop going        24       A. No, it's a good school for people who
  25   to Félix Box in 1999?                              25   don't know anything. It's a good school if you


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   1   want to learn how to write your name, but a         1           How many grades could you do if you
   2   really good school is to go to the Village.         2   were a student in the Village school?
   3      Q. And did you go to the Village school?         3           MR. STEWART: Objection.
   4      A. No. I went to training, trade                 4      A. I don't know. I was never a student
   5   training at the Village.                            5   at the Village.
   6      Q. Tell me about the trade training.             6   BY MR. FOLKMAN:
   7   What was that?                                      7      Q. Did you ever attend the Institute
   8      A. There were several trades classes. I          8   Nelson Mandella?
   9   went to welding.                                    9      A. Yeah, but there's a mistake.
  10      Q. And did you do any academic subjects         10      Q. What's the mistake?
  11   in the Village also, or just the trades?           11      A. They didn't put it in that document.
  12      A. Just welding.                                12      Q. Okay. So you did attend that school,
  13      Q. Okay. And then you went back to the          13   but it's not in your interrogatory answer?
  14   Félix Box school, right?                           14      A. My lawyer can say, because I was at
  15      A. No.                                          15   the Nelson Mandella school.
  16      Q. You never went back to the Félix Box         16      Q. Okay. Let's take a look at Exhibit 2,
  17   school after the Village?                          17   and I'm going to ask your lawyer to put in front
  18      A. I did first -- from first to fourth          18   of you Question 5, okay? And I'm going to read
  19   year at Félix Box, then I went back to the fifth   19   to you the question and the answer. All right?
  20   and sixth year. I don't remember in which year.    20           The question was "Please identify all
  21      Q. Was it before or after the Village           21   schools that you attended as a student." And
  22   closed?                                            22   your answer was, "The first school I went to was
  23      A. I don't recall. I don't remember.            23   Ecole Nationale des Garçons Félix Box on Rue
  24      Q. I think you told me that at the time         24   17-0 in 1999."
  25   Félix Box school ended after the sixth class?      25           Is that true?


                                            Page 55                                                 Page 57
   1          MR. STEWART: Objection.                      1      A. Yes.
   2          I'm going to instruct him not to             2      Q. Then you said, "I attended first grade
   3   answer that.                                        3   until sixth grade, but I quit for a while when I
   4          Redo that question. I don't --               4   was in fourth grade in 2004." Is that true?
   5   there's two things that I don't understand. At      5      A. Yes, yes.
   6   that time, I don't know what you mean by that.      6      Q. Then you said, "In 2006 I went to
   7   And the sixth class, I don't think it's been        7   Carenage." Is that true?
   8   referred to as the sixth class. It's a very         8      A. Yes.
   9   confusing question, Mr. Folkman. I'd ask that       9      Q. "I was not there very long," you said,
  10   you rephrase that, please.                         10   "and then I went to the vocational school at the
  11          MR. FOLKMAN: Okay.                          11   Village until it closed." Is that true?
  12          MR. STEWART: Thank you.                     12      A. Yes.
  13   BY MR. FOLKMAN:                                    13      Q. Then you said, "I went back to Ecole
  14      Q. When you attended the Félix Box school       14   Nationale des Garçons Félix Box in 2011 for
  15   for the second time, it only had six grades, is    15   fifth and sixth grades." Is that true?
  16   that true?                                         16      A. Yes.
  17      A. When I say six class, it's not that          17      Q. Now, you say you also went to the
  18   there were six rooms, it's just that it was six    18   Institute Nelson Mandella?
  19   grades.                                            19      A. Yes, I did, but I never got -- I
  20      Q. I understand.                                20   didn't get a report card because there was a
  21          How many grades were there at the           21   person was going to pay for me, but that person
  22   Village school?                                    22   died, so I never got a report card.
  23      A. I was at the Village until the day it        23      Q. How many grades did you finish at the
  24   closed.                                            24   Institute Nelson Mandella?
  25      Q. I understand.                                25      A. Just one.


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   1      Q. And what class was that?                      1      A. Yes.
   2      A. Seventh grade. Seventh grade.                 2      Q. And you attended the Nelson Mandella
   3   Seventh year, so that's --                          3   school after that, right?
   4           THE TRANSLATOR: He says 7ème, so            4      A. Yes, in 2012.
   5   seventh year.                                       5      Q. Okay. And you were living with your
   6      Q. Seventh year. How many -- were there          6   grandmother in 2012?
   7   more years that you could have stayed at the        7      A. Up to now, yes.
   8   Institute Nelson Mandella?                          8      Q. Okay. So why is it that you were
   9           MR. STEWART: Objection.                     9   sleeping on the floor of the hotel when Joseph
  10      A. Yes, from seventh until twelfth, until       10   saw you?
  11   the last class.                                    11          MR. STEWART: Objection.
  12   BY MR. FOLKMAN:                                    12      A. In 2012 I wasn't sleeping on the
  13      Q. Okay.                                        13   floor. It's that when he was sitting on the
  14           MR. FOLKMAN: Mike, do you want to --       14   floor, I used to sing for him. I used to know
  15   is it a break time? I saw you looking.             15   him from the time when I was sleeping on the
  16           MR. STEWART: I'm just checking him.        16   floor.
  17   We'll go until 11:00 o'clock. Can you go           17   BY MR. FOLKMAN:
  18   15 minutes?                                        18      Q. So you knew him a long time ago when
  19           MR. JEAN-PIERRE: Yes.                      19   you were on the street, is that true?
  20           MR. FOLKMAN: He's okay.                    20      A. Yes.
  21           MR. STEWART: We'll go 15 more              21      Q. Okay. And then in 2012 or
  22   minutes.                                           22   thereabouts, he offered to pay for to you go to
  23           MR. FOLKMAN: Just let me know.             23   the Institute Nelson Mandella?
  24   BY MR. FOLKMAN:                                    24      A. Yes.
  25      Q. Why did you leave the Institute Nelson       25      Q. And then you said he passed away, and

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   1   Mandella?                                           1   so he wasn't able to pay for you anymore?
   2      A. I just said the person that was going         2      A. No.
   3   to pay for me died. It's a guy called Joseph at     3      Q. Let me -- sometimes I ask a question,
   4   hotel, Rue 17, he died.                             4   and I know what you're saying, but it doesn't
   5      Q. Who is Joseph?                                5   come right on the transcript because of the
   6      A. I can't tell you -- I can't give you          6   double negative, so let me ask it one more time
   7   too many details about who he was. I can just       7   so it's not confusing. Okay?
   8   tell you he was the brother of the owner of the     8           Okay. So Joseph died, right?
   9   hotel at Rue 17.                                    9      A. Yes.
  10      Q. Did you know him?                            10      Q. And, therefore, you couldn't continue
  11          MR. STEWART: Objection.                     11   to attend the Institute Nelson Mandella, right?
  12      A. No, it's just that I was sleeping on         12      A. No.
  13   the floor in front of the hotel, and when he was   13           MR. FOLKMAN: Mike, do you want to --
  14   sitting alone I used to sing for him, he asked     14           MR. STEWART: When Joseph died, you
  15   me "to what class did you get to?" And I told      15   had no ability to pay for the school, is that
  16   him. And he said "I will help you."                16   correct?
  17   BY MR. FOLKMAN:                                    17      A. Yes.
  18      Q. Okay. You were living with your              18           MR. STEWART: So when Joseph died, you
  19   grandmother in City of the People in 2011,         19   could not afford to go to that school anymore,
  20   right?                                             20   correct?
  21      A. Yes.                                         21      A. No.
  22      Q. So why were you sleeping on the --           22           MR. STEWART: Am I correct?
  23   well, you just told us a minute ago that you       23      A. Yes.
  24   went back to the Félix Box school in 2011 for      24           MR. STEWART: Okay.
  25   fifth and sixth grades, right?                     25   BY MR. FOLKMAN:


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   1      Q. Thank you.                                    1          MR. STEWART: Thank you.
   2          Have you attended any other schools?         2      A. No, PPT used to be written on our
   3      A. No.                                           3   school T-shirts, I know that PPT is Project
   4      Q. Do you know why the Institute Nelson          4   Pierre Toussaint.
   5   Mandella isn't mentioned in your answer to the      5          MR. BABBITT: Okay. Thank you very
   6   question?                                           6   much.
   7      A. Just a mistake.                               7          MR. STEWART: They'll switch back now.
   8      Q. Okay.                                         8   He's going to ask you more questions.
   9      A. Can I go pee, please?                         9   BY MR. FOLKMAN:
  10          MR. FOLKMAN: Yes. Let's take a              10      Q. Mr. Previl, thanks for bearing with us
  11   break.                                             11   for that scheduling issue.
  12          THE VIDEOGRAPHER: Going off the             12          Have you wanted to attend school since
  13   record. The time is 10:50.                         13   you stopped attending the Nelson Mandella
  14          (Whereupon, a recess was taken.)            14   Institute?
  15          THE VIDEOGRAPHER: Back on the record.       15      A. Yes. I wanted to continue school,
  16   The time is 11:01.                                 16   yes.
  17          MR. STEWART: The parties have agreed        17      Q. Can you afford to continue school?
  18   to go out of order for a moment due to some        18      A. No.
  19   travel constraints, so Mr. Babbitt is going to     19      Q. Is there any school you know of in
  20   ask a few questions and then tender back to        20   Cap-Haïtien where you can continue your
  21   Mr. Folkman to finish his group direct. True?      21   schooling for free?
  22          MR. BABBITT: Absolutely. I                  22      A. It's just primary school. I finished
  23   appreciate the accommodation.                      23   primary school.
  24          MR. STEWART: Happy to.                      24      Q. There's no school at your level that
  25                                                      25   you could attend for free, is that true?


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   1   BY MR. BABBITT:                                     1      A. No.
   2     Q. Good morning. My name is Bradford              2      Q. No, there is no such school, is that
   3   Babbitt, I represent the American Association of    3   correct?
   4   the Order of Malta.                                 4      A. No, just the high schools, the high
   5         At any time before you attended the           5   schools are not for free.
   6   Village, did you hear of the name the American      6      Q. Okay. Who paid for -- Stephanie
   7   Association of the Order of Malta?                  7   graduated high school, is that true?
   8     A. No.                                            8      A. Yes.
   9     Q. At any time before you attended the            9      Q. And who paid for Stephanie to graduate
  10   Village, did you hear of the name Haiti Fund?      10   from high school?
  11     A. No, I don't know.                             11          MR. STEWART: Objection.
  12     Q. At any time before PPT closed, did you        12      A. I don't know, but it wasn't my
  13   hear the name the American Association of the      13   grandmother.
  14   Order of Malta?                                    14   BY MR. FOLKMAN:
  15     A. No, I don't know.                             15      Q. And do you know who is paying for her
  16     Q. And at any time before PPT closed, did        16   to attend the university?
  17   you hear the name Haiti Fund?                      17      A. No.
  18     A. No.                                           18      Q. Okay. Let me ask you about visits
  19     Q. In my question -- my last couple of           19   that you've made to doctors and clinics and
  20   questions I used the initials PPT. Are you         20   hospitals.
  21   familiar with the name Project Pierre Toussaint?   21          You've been to a hospital one time and
  22     A. PPT is Project Pierre Toussaint.              22   only one time, is that right?
  23     Q. Okay. Just wanted to verify that.             23      A. When I was at the project, yes. I
  24         Those are all the questions I have.          24   went to the hospital when I was at the project,
  25   Thank you very much.                               25   that was the first time. And then recently,


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   1   last year, I went to the hospital because of the    1   class and I went down to Madame Calixte's class.
   2   problem with my stomach, when I cough I cough       2      Q. Did the Justinien Hospital give you
   3   blood, but I didn't have a gourde to buy            3   medicine when you went with Master Nixon?
   4   medicine.                                           4      A. No, they don't give you medicine
   5      Q. Is the problem that you have with your        5   directly, they give you a piece of paper with
   6   stomach where you're coughing up blood, is that     6   prescription on it, and you go to buy medicine
   7   related to the sexual abuse that you suffered --    7   outside.
   8           MR. STEWART: Objection.                     8      Q. And is that what happened?
   9   BY MR. FOLKMAN:                                     9      A. Yes.
  10      Q. -- from Douglas Perlitz?                     10      Q. And did Master Nixon pay for the
  11           MR. STEWART: Excuse me.                    11   medicine?
  12           Objection.                                 12          MR. STEWART: Objection.
  13      A. No.                                          13      A. For the medicine?
  14   BY MR. FOLKMAN:                                    14   BY MR. FOLKMAN:
  15      Q. Why did you go to the hospital the           15      Q. Yes.
  16   first time?                                        16      A. I don't know. I just had the
  17      A. I had a fever and I was shivering at         17   medicine. I don't know.
  18   the same time. It was called a cold, inside I      18      Q. Okay. When you were at the Justinien
  19   was cold. When I was feeling hot outside, when     19   Hospital with Master Nixon, did you see anybody
  20   it was hot outside -- when it's hot outside I      20   writing on documents, doctors or nurses or
  21   feel cold inside. Master Nixon brought me there    21   misses writing on documents?
  22   to the hospital.                                   22          MR. STEWART: Objection.
  23           Besides that, I went to the hospital       23      A. When I entered the hospital, they
  24   recently.                                          24   asked me for my name and my age, name of the
  25      Q. What hospital was it that you went to        25   patient and my age, and they wrote it down on a


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   1   when you had the chill?                             1   piece of paper, just my name.
   2     A. Justinien.                                     2   BY MR. FOLKMAN:
   3     Q. When you had the stomach problem, was          3      Q. And when you told somebody about your
   4   that Justinien also?                                4   fever, did that person write anything down?
   5     A. Yes.                                           5          MR. STEWART: Objection.
   6     Q. When you went the first time with              6      A. Yeah, the doctor was writing it down.
   7   Nixon, Master Nixon, was that when you were at      7   I don't know what it was, but he put something
   8   the project, at PPT?                                8   under here, under my arm, to measure my
   9     A. Yes.                                           9   temperature. He asked me everything that was
  10     Q. And did anybody have to pay for to you        10   hurting me, and I told him, and he wrote it down
  11   go to the hospital?                                11   on a notebook.
  12          MR. STEWART: Objection.                     12   BY MR. FOLKMAN:
  13     A. Just a card for 50 gourdes.                   13      Q. Did the hospital give you a number, a
  14   BY MR. FOLKMAN:                                    14   patient number, or anything like that?
  15     Q. Do you know who paid that 50 gourdes?         15          MR. STEWART: Objection.
  16     A. Master Nixon.                                 16      A. No.
  17     Q. Was Master Nixon someone who worked at        17   BY MR. FOLKMAN:
  18   PPT?                                               18      Q. Did they give you some sort of card or
  19     A. Yes.                                          19   identification?
  20     Q. What did he do at PPT?                        20      A. The card is just when you enter the
  21     A. He was a teacher.                             21   hospital for the first time you pay 50 gourdes,
  22     Q. At the Village, or at Carenage?               22   and the person who gets -- who takes it asks you
  23     A. Carenage.                                     23   for your name and age, and writes it down on a
  24     Q. Was he your teacher?                          24   piece of paper, and then you go in and you go
  25     A. Yes. And when I finished, I left his          25   find the doctor.


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   1     Q. Since the time that you filed this            1      Q. Did you ever tell anybody at the
   2   lawsuit, have you done anything to try to get      2   Justinien Hospital that you had been sexually
   3   your medical records from the Justinien            3   abused?
   4   Hospital?                                          4      A. No.
   5          MR. STEWART: Objection.                     5      Q. When Douglas sexually abused you, did
   6     A. Can you repeat the question, please?          6   you go to visit a doctor or a clinic or a
   7   BY MR. FOLKMAN:                                    7   hospital?
   8      Q. Sure.                                        8      A. No, you don't need to go. In Haiti
   9          Have you done anything to try to get        9   there's something -- there's a misconception,
  10   copies of your medical records from the           10   the mentality in Haiti that they will tell you
  11   Justinien Hospital?                               11   if you did that you did that for money. They
  12          MR. STEWART: Objection.                    12   won't even take care of you. They won't give
  13      A. No, it just stayed with the doctors at      13   you time of day.
  14   the hospital.                                     14      Q. Okay. Do you mean that if you tell
  15   BY MR. FOLKMAN:                                   15   someone that you've been a victim of sexual
  16     Q. The second time you went to the              16   abuse, they will assume that you weren't a
  17   hospital when you had the stomach problem that    17   victim, but that you had been prostituting
  18   you were telling me about, was that recently?     18   yourself?
  19      A. Yes.                                        19          MR. STEWART: Objection.
  20      Q. How recently?                               20      A. Yes.
  21      A. One year.                                   21   BY MR. FOLKMAN:
  22     Q. When you were there, did you see a           22      Q. As far as you know, is that a common
  23   doctor writing things down about your stomach?    23   attitude in Haiti?
  24          MR. STEWART: Objection.                    24      A. I don't know, but I was just scared.
  25      A. He asked me questions, he asked me if       25   I've seen what they do to people who are

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   1   I smoked, if I always stay around people who       1   homosexual, how they despise them.
   2   smoke. He gave me a piece of paper. He gave me     2      Q. So tell me what you've seen about how
   3   a first piece of paper with prescription from      3   they despise people who are homosexual.
   4   medicine, and another prescription for lab         4          MR. STEWART: Objection.
   5   tests. But I never had any money, but he just      5      A. Well, if they say that person is
   6   gave me the piece of paper, but I don't know       6   homosexual, they're always afraid to sit next to
   7   where the piece of paper is.                       7   you or to talk to you, so that they're afraid to
   8   BY MR. FOLKMAN:                                    8   have their reputation also dirtied. If they
   9      Q. Okay. Did you ever have the lab tests        9   stay next to you, people will say that they're
  10   done?                                             10   with you.
  11      A. I don't have any money. I never did         11   BY MR. FOLKMAN:
  12   them.                                             12      Q. Are people that you're talking about
  13      Q. Okay. Do you know what a medical            13   afraid that if they are seen with a homosexual
  14   history is?                                       14   that other people might think that they also are
  15           MR. STEWART: Objection.                   15   homosexuals?
  16      A. No.                                         16          MR. STEWART: Objection.
  17   BY MR. FOLKMAN:                                   17      A. Yeah. If your friend with someone
  18      Q. When you went to the hospital, did the      18   like that, then people will say you're birds of
  19   doctor ever ask you to describe for him medical   19   a -- two birds of a feather.
  20   problems or other problems that you had had in    20   BY MR. FOLKMAN:
  21   the past?                                         21      Q. Aside from what you've been telling me
  22           MR. GARABEDIAN: Objection.                22   about what you thought the reaction of people at
  23      A. Well, the doctor just asked me what do      23   the hospital might be, is there any other reason
  24   I feel, what hurts.                               24   that you didn't go to the doctor or nurse or
  25   BY MR. FOLKMAN:                                   25   clinic or hospital after you were sexually


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   1   abused?                                             1      A. Yes.
   2      A. Yeah, because I didn't go -- I didn't         2      Q. Okay. And what did you do when you
   3   say that to anyone else, and I didn't say that      3   got into Carenage?
   4   at the hospital, because Douglas told me that if    4      A. While entering, or after entering?
   5   I said that to anyone he would throw me out.        5      Q. After entering, once you've gotten in,
   6      Q. When he said that to you, you believed        6   what sort of things would you do in a day?
   7   him?                                                7      A. At 8:00 o'clock in the morning they
   8      A. Yeah, I was forced to believe him,            8   give you a brush to clean your teeth. Then you
   9   because he was managing the project.                9   have a shower. Then you have to raise the flag.
  10      Q. And if he had thrown you out, would          10   Then you go to cafeteria to eat. Then you enter
  11   you have had to go live back in the street?        11   the classroom. At 10, there's a recess. You go
  12          MR. STEWART: Objection.                     12   back to classroom after that. At noon they --
  13      A. Yes.                                         13   although the school is out, they give you a
  14   BY MR. FOLKMAN:                                    14   ball, you can play, then also dominos and cards,
  15      Q. I want to ask you about how much             15   and there are also movies you can watch. And at
  16   things cost.                                       16   3:00 p.m. you eat, and you leave.
  17          How much would it cost for you to           17      Q. Were there Haitian grownups or adults
  18   attend a year of high school?                      18   who were working at Carenage?
  19          MR. STEWART: Objection.                     19      A. Yes.
  20      A. I don't know because I've never went.        20      Q. And who do you remember who was a
  21   BY MR. FOLKMAN:                                    21   Haitian adult who was working at Carenage?
  22      Q. Okay. You began to go to Carenage in         22      A. I don't remember the names of the
  23   2006, is that right?                               23   people, but I remember Aston who worked at the
  24      A. Yes.                                         24   gate. The other people, I don't remember their
  25      Q. How did you come to begin attending          25   names.


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   1   Carenage?                                           1          Are you asking also about the
   2           MR. STEWART: Objection.                     2   teachers?
   3      A. It's in the morning I would go in at          3      Q. Is Aston the only Haitian adult who
   4   8:00 o'clock, and I would leave at 3:00 p.m..       4   was not a teacher that you remember?
   5   BY MR. FOLKMAN:                                     5      A. There's Lillian also working at the
   6      Q. I asked you a bad question. Let me            6   kitchen, in the kitchen. Master Roro, there was
   7   try it again.                                       7   Master Roro, he wasn't in classrooms, he would
   8           Why did you start to attend Carenage?       8   come every three hours. And then there was also
   9      A. Because my parents didn't have any            9   Andy.
  10   money, my grandmother didn't have any money, I     10      Q. Was Andy a Haitian man?
  11   was in the streets, and then I found this friend   11      A. Yes.
  12   called Alain, and he said "I know a place where    12      Q. Okay. What did Andy do?
  13   you can have a better life." That's why I went.    13      A. He used to tell us -- he would make
  14      Q. When you went to Carenage, did you go        14   the roll call and said -- and would say "today
  15   every day?                                         15   you go play this, today soccer," he would say
  16      A. I went every day except for Saturday         16   "Kensley, now today you will play soccer," and
  17   and Sunday.                                        17   then "Kensley, today you will play cards."
  18      Q. And when you went, you would arrive at       18          And there was also another coach
  19   8:00 o'clock?                                      19   called Koulou, and he used to show us how to
  20      A. No, at 8:00 o'clock we went in. But          20   play football -- soccer.
  21   at 7:00 o'clock I was already sitting there,       21      Q. And what did Roro do?
  22   because where I used to sleep was close to         22      A. His work was similar to what Andy used
  23   Carenage.                                          23   to do. He used to tell us when it was time to
  24      Q. Okay. And at 8:00 o'clock the gate           24   eat. He used to watch to see if people would
  25   would open?                                        25   put food -- hands in other people's food. And


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   1   he would also put cups of juice in front of us.     1      A. Well, I saw him once in Madame
   2   And he also used to show us how to do Judo in       2   Calixte's class, but then I saw him another
   3   the gymnasium.                                      3   time, but he didn't talk to us.
   4      Q. Did you become particularly friendly          4      Q. And are you saying that he was
   5   with any of these Haitian adults?                   5   speaking in a bad kind of Creole?
   6          MR. STEWART: Objection.                      6          MR. STEWART: Objection.
   7      A. Everybody working there were my               7      A. Yes. Yeah, as a Haitian, when he was
   8   friends.                                            8   speaking Creole I did sort of understand what he
   9   BY MR. FOLKMAN:                                     9   was saying. The day he was talking to us in
  10      Q. Do you remember any foreigners who           10   Creole we stayed very quiet so we could
  11   were working at Carenage?                          11   understand. It's just Nicholas who was
  12      A. Yes.                                         12   laughing.
  13      Q. Who do you remember?                         13   BY MR. FOLKMAN:
  14      A. Nicholas, Jessica.                           14      Q. And he told you you should always
  15      Q. Anybody else?                                15   behave well and live as brothers?
  16      A. No, I don't remember. There were not         16      A. Yes.
  17   -- there was no one else.                          17      Q. And you said they told us he would --
  18      Q. You know who Pere Paul is?                   18   that he was a boss in the project. Who told you
  19      A. He was a Catholic priest. He used to         19   that?
  20   come also in Madame Calixte's class, and he        20      A. It's not them. It's he said that he
  21   would always tell us we should behave well and     21   was a boss in the project.
  22   live as brothers. He would -- they told us he      22      Q. You're telling me that Pere Paul told
  23   would be -- he's a boss in the project. He used    23   you that he was a boss in the project?
  24   to come visit us in the project to see how we      24      A. Yeah, he said that when we were in a
  25   shower and how we work, and how we work inside     25   group in Madame Calixte's class.


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   1   the project, and then after that he would leave.    1      Q. Do you know what he meant when he said
   2   And he said he was Douglas's father, and we         2   that he was a boss in the project?
   3   should live all like brothers.                      3           MR. STEWART: Objection.
   4      Q. Was Madame Calixte a teacher at               4      A. I didn't know what he meant. But with
   5   Carenage?                                           5   his eyes I knew, I felt that he was important.
   6      A. Yes.                                          6   I felt that he was a boss.
   7      Q. Who were the other teachers at                7   BY MR. FOLKMAN:
   8   Carenage?                                           8      Q. Do you remember the names of any of
   9      A. There was Ms. Merline, Madame Merline,        9   the other boys who were in the room when he said
  10   Master Nixon. And there is another teacher         10   that?
  11   also, but his name was difficult to pronounce, I   11      A. I don't remember, but there were a lot
  12   don't remember.                                    12   of children in the classroom.
  13      Q. Okay. When Father Carrier spoke, did         13      Q. Can you remember any of them?
  14   someone translate for him?                         14      A. I remember Dorat was in that class.
  15      A. No, he doesn't really speak Creole.          15   Barnardin was in the class, I remember, because
  16   As a Haitian, I can understand what he's saying    16   he was punished from the Village and he was in
  17   more or less, but he doesn't really speak Creole   17   -- he came to Carenage and Madame Calixte's
  18   well. It's like a baby learning. The day he        18   house.
  19   was talking, Nicholas was standing behind him      19      Q. Is that Jean Dorat?
  20   and he was laughing because he knew he wasn't      20      A. Yes.
  21   speaking very well.                                21      Q. And is that Jose Barnardin?
  22      Q. Nicholas is Nicholas Preneta?                22      A. Yes.
  23      A. I don't remember his last name.              23      Q. Do you remember any other kids who
  24      Q. Father Carrier spoke to you one time,        24   were in the class that day?
  25   or more than one time at Carenage?                 25      A. No. I have many things to do, I don't


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   1   remember the name of the children in that class.    1      while class was going on?
   2      Q. Madame Calixte was in the room?               2         A. Yes. Yeah, he used to go -- and it
   3      A. Yes.                                          3      was in the morning when we were in Madame
   4      Q. Do you remember if there were any             4      Calixte's class, he came and said that he was a
   5   other adults in the room aside from Nicholas,       5      boss in the project. We were just about to
   6   Madame Calixte, and Pere Paul?                      6      start working.
   7      A. No, just the children from the class,         7         Q. You said that he said that he was
   8   Madame Calixte, and Father Paul.                    8      Douglas's father?
   9      Q. And Nicholas, right?                          9         A. Yes. He said if we want him to act
  10      A. I said Nicholas also.                        10      the same way towards us, we have to all behave
  11      Q. You said that he came to the project         11      as brothers.
  12   to see how you shower?                             12         Q. I want to make sure I understand that.
  13      A. Yeah. He comes to see everything, to         13      Pere Paul said that if you, the children, wanted
  14   visit -- to see, visit to see everything. He       14      who to act the same way towards you? I just
  15   comes to see the kitchen, the classroom, he        15      didn't understand what you meant.
  16   visits, but he doesn't stay.                       16         A. He said that if we wanted him to be
  17      Q. Were there showers in Carenage?              17      our -- if we wanted him to be our father the
  18      A. Yes, behind the kitchen.                     18      same way he was Douglas's father, we have to all
  19      Q. And Father Carrier visited the               19      act as brothers and not fight.
  20   showers?                                           20         Q. I see.
  21      A. Yes.                                         21         A. I want to go pee, please.
  22      Q. Did you see him visit the showers?           22             MR. FOLKMAN: Sure. Let's take a
  23      A. Yeah, he went to see everything, even        23      break.
  24   Nicholas's office.                                 24             THE VIDEOGRAPHER: Going off the
  25      Q. When he visited the showers, was             25      record. The time is 11:50.


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   1   anybody showering?                                  1             (Whereupon, a recess was taken.)
   2      A. No. It was around 3:00 p.m., we were          2              (Attorney Babbitt no longer present.)
   3   all sitting in the yard, and he just came and       3             THE VIDEOGRAPHER: Back on the record.
   4   took pictures.                                      4      The time is noon.
   5      Q. Did others walk around with him?              5      BY MR. FOLKMAN:
   6      A. He's never alone.                             6         Q. Mr. Previl, did you ever hear that
   7      Q. So who was with him when he visited           7      anybody else aside from Pere Paul was a boss of
   8   the showers?                                        8      the project?
   9      A. Well, he walked with Douglas, and             9         A. Yes.
  10   times he would walk with Nicholas. It's been       10         Q. Who else was a boss of the project
  11   more than one time when he's come for visits.      11      that you heard?
  12      Q. But he would always walk around with         12         A. Yeah, Madame Carter, she comes -- she
  13   somebody else as he was looking at the various     13      has come several times to take pictures, and
  14   areas at Carenage, right?                          14      she's also come with students from the
  15           MR. STEWART: Objection.                    15      University of Fairfield, and they -- the
  16      A. I don't remember.                            16      students come and they sit with us.
  17   BY MR. FOLKMAN:                                    17         Q. Who told you that Madame Carter was a
  18      Q. You said he would also see how you           18      boss of the project?
  19   work inside the project. What did you mean by      19         A. Nobody told me exactly that she was a
  20   that?                                              20      boss, but she used to come to take pictures, and
  21      A. If I have a business and I would have        21      she would talk to us as a group. And she would
  22   someone working there, I would come from time to   22      always give us advice, to tell us to live as
  23   time to see if the people would do his work        23      brothers, and that the education that we found
  24   well.                                              24      in the school, to take it well, to take it in
  25      Q. Did he come to see the classrooms            25      well, and to stay -- have a good behavior at


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   1   Carenage so that we could go on to other classes    1      A. Margarette Joseph was the one who sent
   2   at the Village. And she would promise us, the       2   me to the Village.
   3   guys, once we -- we had -- if we worked well in     3      Q. Was Margarette Joseph working at
   4   school she would find a way to get us to            4   Carenage?
   5   continue at the University of Fairfield.            5      A. Yes, she used to come every three
   6      Q. Aside from Pere Paul himself, did             6   hours.
   7   anybody else ever tell you that Pere Paul was a     7      Q. What was she doing at Carenage?
   8   boss of the project?                                8          MR. STEWART: Objection.
   9      A. No.                                           9      A. She used to pick children to go to the
  10      Q. Aside from Pere Paul and Madame              10   Village. Yes.
  11   Carter, did you ever hear that anybody else was    11   BY MR. FOLKMAN:
  12   a boss of the project?                             12      Q. And did you ask her if you could go to
  13      A. No.                                          13   the Village?
  14      Q. Was Douglas Perlitz a boss of the            14      A. Yeah, she gave me the authorization.
  15   project?                                           15   She even came to my house to get my birth
  16      A. Well, I could say a boss and a               16   certificate. And my birth certificate even got
  17   director.                                          17   lost at the project when it closed.
  18      Q. Was Met Robinson a boss of the               18      Q. What house did she go to?
  19   project?                                           19      A. Cité du Peuple where my grandmother
  20      A. I can say that Robinson was a                20   was.
  21   director, too. And his superior was Douglas,       21      Q. You weren't living with your
  22   because every time he wanted to do something he    22   grandmother at that time, were you?
  23   would talk to Douglas first before he would        23      A. No, my grandmother was at Cité du
  24   execute it.                                        24   Peuple at that time.
  25      Q. How long did you stay at Carenage?           25      Q. So she went to your grandmother's

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   1      A. Until it closed.                              1   house and got your birth certificate?
   2      Q. You never went on to the vocational           2      A. Yes.
   3   school at the Village?                              3      Q. Okay. Do you know whether she had to
   4      A. Yes, but I always went to Carenage            4   ask someone if it was okay for you to go to the
   5   every morning.                                      5   Village?
   6      Q. Okay. So you never went to live at            6          MR. STEWART: Objection.
   7   the Village, right?                                 7      A. No, I don't know this.
   8      A. No.                                           8   BY MR. FOLKMAN:
   9      Q. And at a certain point in time you            9      Q. Okay. When you got to the Village,
  10   stopped going to school at Carenage and started    10   you would spend the morning there, is that
  11   going to school in the vocational program at the   11   right?
  12   Village, right?                                    12      A. Yeah, I would go to professional
  13          MR. GARABEDIAN: Objection.                  13   vocational class, and then I would come back
  14      A. Yes.                                         14   around 3:00 p.m., that's when the theory would
  15   BY MR. FOLKMAN:                                    15   end.
  16      Q. Do you remember what year that was?          16      Q. And how did you get back and forth
  17      A. No, I don't remember it.                     17   from Carenage to the Village?
  18      Q. Do you remember how long you were in         18      A. It's Boss Mo, he would come with the
  19   school at Carenage?                                19   Land Cruiser and take us from Carenage to the
  20      A. I didn't spend a lot of time in              20   Village. After that, the theory would be over,
  21   Carenage. I didn't even do one year, because       21   vocational, in his cruiser he would bring us
  22   when I got there I went on to the Village to       22   back to the city.
  23   learn a profession.                                23      Q. Were there other kids who made that
  24      Q. Did you ask someone to be allowed to         24   trip each day with you?
  25   go to the Village for school?                      25      A. Yes.


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   1      Q. Who were they?                                1   you to act like brothers and said that he was
   2      A. Maxen, Junior, Dorat. There were              2   the boss of the project, have you ever spoken to
   3   other ones, other children, I don't remember        3   Pere Paul at any other time?
   4   them.                                               4      A. No.
   5      Q. And were they doing the vocational            5      Q. Have you ever seen Pere Paul speaking
   6   program also?                                       6   with Douglas Perlitz?
   7      A. Yes.                                          7      A. He's always talking to Douglas.
   8      Q. Did you see Douglas Perlitz at                8      Q. And were they speaking in English?
   9   Carenage?                                           9          MR. STEWART: Objection.
  10      A. He would always visit the Carenage.          10      A. I never listened to what they were
  11      Q. You saw him there a lot?                     11   saying, but they were talking.
  12      A. Yes.                                         12   BY MR. FOLKMAN:
  13      Q. And what was he doing typically when         13      Q. So you don't know what they ever said
  14   you saw him at Carenage?                           14   to each other?
  15           MR. STEWART: Objection.                    15      A. No, I don't know.
  16      A. He would come to visit and to see how        16      Q. Okay. How long were you in the
  17   work was going. But where he would really          17   vocational program at the Village?
  18   start, his office was at the Village.              18      A. Until everything closed completely.
  19   BY MR. FOLKMAN:                                    19      Q. Okay. Did you ever visit Douglas
  20      Q. And you saw him a lot at the Village,        20   Perlitz's house?
  21   too?                                               21          MR. STEWART: Objection.
  22      A. Yeah, when I would go inside the             22      A. No, just that I went to his -- just
  23   Village I would always see him. When I didn't      23   the time that we were all sleeping in a group in
  24   -- when I didn't see him it's because he wasn't    24   Bel Air, because the police was going crazy,
  25   in Haiti.                                          25   they were beating people up, so they put us to

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   1      Q. Did you ever see Pere Paul at the             1   sleep at Bel Air. That was the only time.
   2   Village?                                            2   BY MR. FOLKMAN:
   3      A. Yeah, I have seen him, but not -- I           3      Q. When was that?
   4   haven't seen him very often at the Village. I       4      A. I don't remember when.
   5   have seen the same amount of time I've seen him     5      Q. Was it -- were you already at the
   6   at Carenage.                                        6   Village at that time?
   7      Q. When you saw him, was he there with a         7      A. No, I wasn't at the Village then.
   8   group from the United States?                       8      Q. So it was while you were still at
   9         MR. STEWART: Objection.                       9   school at Carenage?
  10      A. No, I don't remember things like that.       10      A. Yes.
  11   BY MR. FOLKMAN:                                    11      Q. And you said the police were going
  12      Q. Okay. Did he ever speak to you either        12   crazy. What happened?
  13   alone or in a group at the Village?                13           MR. STEWART: Objection.
  14      A. No. Because I used to go every               14      A. No, the things were heating up in the
  15   morning.                                           15   street.
  16      Q. Aside from the times at Carenage that        16   BY MR. FOLKMAN:
  17   you told me about earlier where Father Carrier     17      Q. The streets of the city were unsafe
  18   told you to act like brothers and said he was      18   for a time?
  19   the boss, have you ever spoken to Father Carrier   19           MR. STEWART: Objection.
  20   at any other time?                                 20      A. Yes.
  21         THE TRANSLATOR: I'm sorry, can you           21   BY MR. FOLKMAN:
  22   repeat the question, please?                       22      Q. And so is it true that all the kids at
  23         MR. FOLKMAN: Sure.                           23   Carenage went to sleep at Bel Air?
  24      Q. Aside from the times at Carenage that        24           MR. STEWART: Objection.
  25   you told me about earlier where Pere Paul told     25           MR. GARABEDIAN: Objection.


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   1      A. Not all, but the ones they found, they     1      Q. In 2007, Douglas was not in Haiti?
   2   put them to sleep at Bel Air.                    2      A. No.
   3   BY MR. FOLKMAN:                                  3      Q. I want to have you look, please, back
   4      Q. Okay. That's the only time you've          4   at Exhibit Number 2, and I'm going to look at
   5   ever been at that house?                         5   Question Number 19. And the first sentence of
   6      A. Yes. I go by in the street, but I          6   your answer says, "I was sexually abused by
   7   never went in.                                   7   Perlitz in or around 2006 and 2007." Is that
   8      Q. Douglas Perlitz did not sexually abuse     8   true?
   9   you at his house at Bel Air, did he?             9      A. I don't -- I didn't remember directly,
  10      A. No.                                       10   but it was 2006.
  11      Q. Where in the house were you sleeping?     11      Q. So you were not abused in 2007, right?
  12      A. In the parking area.                      12      A. No.
  13      Q. And other boys were with you?             13      Q. No, you were not, is that correct?
  14      A. Yeah, they would give us sheets to        14          MR. STEWART: You can't ask a double
  15   sleep on the ground, and with a little sponge   15   negative. It gets confusing.
  16   type of mattress so we could sleep on the       16   BY MR. FOLKMAN:
  17   ground.                                         17      Q. Were you abused in 2007?
  18      Q. Were there any boys who were sleeping     18      A. In 2006.
  19   inside the house?                               19      Q. And not in 2007?
  20          MR. STEWART: Objection.                  20      A. No, I don't remember for 2007.
  21      A. I don't know.                             21      Q. Okay. And you weren't abused in 2008?
  22   BY MR. FOLKMAN:                                 22      A. No.
  23      Q. Was Douglas Perlitz in Haiti at that      23      Q. How many times did Douglas Perlitz
  24   time?                                           24   abuse you?
  25          MR. STEWART: Objection.                  25      A. Twice. The first time, in the shower

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   1      A. Yeah.                                      1   for the first time. Second time in the Village.
   2   BY MR. FOLKMAN:                                  2          The first time he came to check if
   3      Q. And he was sleeping at Bel Air at that     3   Boss Astron was working at the gate. The time I
   4   time?                                            4   was sick inside the project, I was going to take
   5         MR. STEWART: Objection.                    5   a shower. When I was in the shower, he made
   6      A. Yes, he slept at Bel Air, but he came      6   me -- forced me to put his -- my mouth to his
   7   back very late.                                  7   penis twice, and he put his penis in my butt
   8   BY MR. FOLKMAN:                                  8   twice. I said "I don't agree. I'm a guy. I
   9      Q. Was Pere Paul there?                       9   don't agree." He said if you don't agree, he
  10      A. No.                                       10   will throw me out of the project. He said it's
  11      Q. Okay. I want to turn to the times         11   because he likes me a lot that he's doing this
  12   when Douglas Perlitz abused you.                12   with me, he's doing this with me, only with me.
  13         Have you ever claimed that he abused      13      Q. The first time happened in Carenage?
  14   you in 2008?                                    14      A. Yes.
  15         MR. STEWART: Objection.                   15      Q. And did you tell me that it happened
  16      A. No, in 2008 Douglas was not in Haiti.     16   in the shower?
  17   BY MR. FOLKMAN:                                 17          MR. STEWART: Objection.
  18      Q. He abused you sometime in 2006 or         18      A. Yes.
  19   2007, right?                                    19   BY MR. FOLKMAN:
  20      A. In 2007, Douglas was not in Haiti.        20      Q. Did he ever abuse you in the office at
  21         MR. STEWART: Objection.                   21   Carenage?
  22   BY MR. FOLKMAN:                                 22      A. No. I don't know. In the shower is
  23      Q. I want to make sure, did you just say     23   only.
  24   in 2006 Douglas was not in Haiti?               24      Q. Were you ill at the time?
  25      A. 2007.                                     25      A. Yes.


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   1      Q. And what illness did you have?               1   there the showers here or are the showers there,
   2         MR. STEWART: Objection.                      2   that I'm talking in the past when you were at
   3      A. That's the time when Master Nixon            3   the Carenage. Do you understand that?
   4   brought me to the hospital.                        4          MR. STEWART: Just tell him what you
   5   BY MR. FOLKMAN:                                    5   know when you were there. That's all he wants
   6      Q. Okay. You okay? Do you need to take          6   to know.
   7   a break? Okay. You let me know, okay?              7      A. Yes, at the Carenage, the showers were
   8      A. It's okay.                                   8   behind the kitchen.
   9      Q. Tell me how the showers are arranged         9   BY MR. FOLKMAN:
  10   at Carenage. Is there more than one shower?       10      Q. Okay. What time of day did Douglas
  11         MR. STEWART: Objection.                     11   Perlitz abuse you in the shower?
  12      A. Two.                                        12          MR. STEWART: Objection.
  13   BY MR. FOLKMAN:                                   13      A. It was around 7:00 p.m..
  14      Q. And is each shower separate with            14   BY MR. FOLKMAN:
  15   walls?                                            15      Q. Were there other people around?
  16      A. Yeah, there's the kitchen wall, and         16      A. Boss Astron and Junior only, because
  17   each shower has its own room.                     17   Junior used to sleep inside the project. Junior
  18      Q. And does each shower have a curtain?        18   used to sweep the yard and the classroom floors.
  19         MR. STEWART: Objection.                     19   Boss Astron was there only to take care of the
  20      A. No, there's no curtain. Once you open       20   gate.
  21   the door, you go straight to the shower.          21      Q. Do you know where in Carenage either
  22   BY MR. FOLKMAN:                                   22   of them was at the time that you were abused?
  23      Q. Does each shower have its own door?         23          MR. STEWART: Objection.
  24         MR. STEWART: Objection.                     24      A. I don't know where Junior was, but
  25      A. Yeah, it has a door, you can shut it        25   Boss Astron was at the gate, he was turning his


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   1   from the outside. But the thing you should use     1   back to the yard.
   2   from the inside was broken. You can pull it,       2   BY MR. FOLKMAN:
   3   when you're inside you can pull it, it's going     3      Q. Could you see him?
   4   to stay locked. If you're from the outside, you    4      A. No.
   5   open it, it's going to open.                       5      Q. How far is it from the shower to the
   6   BY MR. FOLKMAN:                                    6   gate?
   7       Q. And are the showers -- you walk             7          MR. STEWART: Objection.
   8   through the kitchen to get to the showers, is      8      A. I can't say exactly, but there's quite
   9   that right?                                        9   a distance.
  10       A. No. You go in front of the kitchen,        10   BY MR. FOLKMAN:
  11   to continue behind you you go to the showers.     11      Q. You were in the middle of your shower
  12            MR. STEWART: Can I interrupt?            12   when Douglas came in?
  13            MR. FOLKMAN: Yes.                        13          MR. GARABEDIAN: Objection.
  14            MR. STEWART: I don't know if it          14      A. No, I was about to start my shower. I
  15   matters. For the purpose of this deposition,      15   had my shorts and my boxer, and I took off my
  16   when you're talking present tense, can we agree   16   T-shirt. I had taken off my shorts, and I still
  17   it's at the time that he was there?               17   had my boxer on. And then I was about to turn
  18            MR. FOLKMAN: Yes, of course.             18   on the water, and then he, Douglas, came in and
  19            MR. STEWART: I don't know if it          19   he said "oh, Kensley, you know I like you a
  20   matters, but it's a little confusing. Thank       20   lot," and he made me -- he said there's
  21   you. I appreciate that courtesy.                  21   something he's going to do with me and he's
  22   BY MR. FOLKMAN:                                   22   going to do it only with me. I didn't know what
  23       Q. Just so you know what was just said,       23   it was. He unzipped his pants. He made me go
  24   your lawyer wanted to make sure that when I'm     24   down on my knees, and he was putting his hands
  25   talking in the present tense, when I say are      25   on my head, and he made me suck his penis. I


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   1   said "no." He made me turn around, he took down     1   haven't already told me?
   2   my boxer shorts. He had something in his            2     A. No. Just that he said he would throw
   3   pocket, I don't know what it was, he put it in      3   me out of the project if I didn't agree with it.
   4   his hand, he put it in my butt. And he put his      4     Q. The abuse didn't -- the abuse took
   5   penis in my butt. I told him "it hurts." He         5   place outside of the shower stall?
   6   said he's going to make it not hurt me. And I       6     A. Inside the shower.
   7   felt something warm dripping on my feet, and I      7     Q. Inside the shower stall?
   8   started crying. When I put my hand, it was          8     A. Yes.
   9   blood.                                              9     Q. Was the water on?
  10      Q. You okay?                                    10     A. I was about to turn on the water, and
  11      A. No.                                          11   he said "no, don't take a shower yet. There's
  12          MR. FOLKMAN: Should we take a break?        12   something I need to tell you."
  13          MR. STEWART: Why don't we stop for          13     Q. Was the door open or closed?
  14   lunch.                                             14     A. I remember I told you that the door
  15          THE VIDEOGRAPHER: Going off the             15   cannot be locked from the inside.
  16   record. The time is 12:33.                         16     Q. I understand it wasn't locked. I'm
  17          (Whereupon, a luncheon recess was           17   sorry if I misunderstood you. My question
  18          taken.)                                     18   wasn't whether it was locked or not. Was it
  19                                                      19   open or closed?
  20                                                      20     A. I had pulled it.
  21                                                      21     Q. You had pulled it closed?
  22                                                      22     A. Yes.
  23                                                      23     Q. And it stayed closed during the abuse?
  24                                                      24     A. Yeah. When he entered, he closed the
  25                                                      25   door behind him.

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   1        AFTERNOON SESSION                              1      Q. Okay. Do you know whether
   2                                                       2   Mr. Perlitz, Doug Perlitz, put his finger in
   3          THE VIDEOGRAPHER: Back on the record.        3   your butt?
   4   The time is 1:30.                                   4      A. No, no, no, I don't know that.
   5   BY MR. FOLKMAN:                                     5      Q. You said that he made you suck his
   6      Q. Mr. Previl, before the break we were          6   penis, right?
   7   talking about the first time Doug Perlitz abused    7      A. Yes.
   8   you, and you ended by saying that you had felt      8      Q. Did he make you let him suck your
   9   with your hand that there was blood.                9   penis?
  10      A. Yes.                                         10          MR. STEWART: Object to the form of
  11      Q. Was the blood coming out of your butt?       11   the question.
  12      A. Yes.                                         12      A. No.
  13      Q. During this first time that Doug             13   BY MR. FOLKMAN:
  14   Perlitz was abusing you, did you cry out?          14      Q. So he never sucked your penis?
  15      A. Yes. It hurts, it hurt.                      15      A. No.
  16      Q. Did you cry out loudly?                      16      Q. And as far as you know, he never put
  17      A. Yeah, I did yell, but not so that            17   his finger in your butt?
  18   people who were far away would hear me.            18      A. No.
  19      Q. As far as you know, no one could hear        19      Q. Did he ever fondle your genitals?
  20   you?                                               20          MR. STEWART: Objection.
  21      A. No. As far as I know, nobody heard           21      A. Yeah, he put his hand over -- all over
  22   me, but I don't know really if somebody heard me   22   my body.
  23   or not.                                            23   BY MR. FOLKMAN:
  24      Q. Okay. Did Douglas say anything else          24      Q. Including on your penis?
  25   to you during this first time of abuse that you    25      A. No, he put his hand all over my body,


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   1   he touched my breast, he put his hand in my         1      Q. How long did the bleeding last?
   2   neck, on my neck.                                   2      A. It bled until that evening. And the
   3      Q. Okay. Did he touch your penis with            3   next morning I went to take a shower, it wasn't
   4   his hand? Yes or no.                                4   bleeding anymore, but there were traces of blood
   5          MR. STEWART: Objection.                      5   that had stayed there.
   6      A. I don't remember that.                        6      Q. Aside from Douglas Perlitz, did
   7   BY MR. FOLKMAN:                                     7   anybody else see that your butt was bleeding?
   8      Q. Okay.                                         8      A. No.
   9      A. This is not something I really wanted.        9      Q. And did you tell anybody that your
  10      Q. I understand.                                10   butt was bleeding?
  11          Did he tell you that if you didn't let      11      A. No. Douglas told me if I told anyone
  12   him abuse you, you would suffer some sort of       12   he would put me -- throw me out.
  13   financial harm?                                    13      Q. Okay. How long was it before the
  14          MR. STEWART: Objection.                     14   first time he abused you and the second time he
  15      A. No, I don't know. He didn't tell me          15   abused you?
  16   that.                                              16      A. I don't remember, but not too long.
  17   BY MR. FOLKMAN:                                    17      Q. Was it less than a year?
  18      Q. Okay. After the first abuse was over,        18      A. I don't remember.
  19   what did you do?                                   19      Q. Sometime less than one year, but you
  20      A. After that I left. I didn't sleep            20   can't say how long?
  21   again -- I was so mad, I didn't want to sleep in   21      A. Yes.
  22   there again. But that night I did sleep there,     22      Q. Where did the second abuse happen?
  23   but after that I left. I would only during the     23      A. In House Number 1 at the Village.
  24   daytime, and I never slept again -- there again.   24      Q. What is House Number 1?
  25      Q. You were the only student who was            25      A. That's the house where children sleep.


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   1   sleeping at Carenage at the time that you were      1   There are beds there, and a lot of children can
   2   abused that first time, right?                      2   sleep there.
   3           MR. GARABEDIAN: Objection.                  3      Q. Is it just one room with a bunch of
   4           THE TRANSLATOR: Can you repeat the          4   beds?
   5   question, please?                                   5      A. There's, you know, House 1, House 2,
   6           MR. FOLKMAN: Sure.                          6   House 3, but I've never slept -- I don't sleep
   7   BY MR. FOLKMAN:                                     7   there, so I don't know how many people can sleep
   8      Q. At the time that you were abused the          8   there, but a lot of people, ten at the least --
   9   first time, you were the only student who was       9   at least.
  10   sleeping at Carenage at the time, correct?         10      Q. Is there a bathroom in House 1?
  11           MR. STEWART: Objection.                    11      A. I don't remember things like that.
  12           MR. GARABEDIAN: Objection.                 12      Q. Were there windows in House 1?
  13           MR. STEWART: Go ahead. Go ahead,           13      A. Yes.
  14   Nathalie.                                          14      Q. Did the windows have glass in them?
  15      A. Junior is a student, Junior also.            15      A. No.
  16   BY MR. FOLKMAN:                                    16      Q. Were they open at the time you were
  17      Q. Oh, Junior is a student. Okay.               17   abused?
  18      A. Yes, but he stays in there just to           18          MR. STEWART: Objection.
  19   clean inside.                                      19      A. I don't remember things like that.
  20      Q. Okay. Did you do anything to stop the        20   BY MR. FOLKMAN:
  21   bleeding in your butt?                             21      Q. Was there a door on House 1?
  22      A. No, I didn't do anything. I just took        22      A. Yeah, there must -- there must be a
  23   a shower. And from time to time when the blood     23   door so you can come in.
  24   was, there was blood, I would wipe it with a       24      Q. When you were abused that second time,
  25   shirt.                                             25   was anybody in House 1 except you and Doug


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   1   Perlitz?                                            1         Q. Was Junior also in the cafeteria?
   2      A. No, there was no one else.                    2         A. All the other boys were there.
   3      Q. At the time that Douglas Perlitz              3         Q. Okay. So who was in the house with
   4   abused you in House 1, were there other people      4      you, if anybody?
   5   in the Village?                                     5         A. I don't remember. I don't remember
   6          MR. STEWART: Objection.                      6      the name. I remember there was someone, but I
   7      A. They were inside the school, because          7      don't remember his name. I'm here only to say
   8   there are two houses in there that are schools.     8      what I know.
   9   BY MR. FOLKMAN:                                     9         Q. I understand.
  10      Q. How far is House 1 from the buildings        10             And you only remember one other person
  11   where the schools are?                             11      in the house with you?
  12      A. I don't know. I don't know the               12         A. Yes.
  13   distance.                                          13         Q. And he left?
  14      Q. Is it a short distance, or a long            14         A. Yes.
  15   distance?                                          15         Q. Okay. And what happened then?
  16          MR. STEWART: Objection.                     16         A. Douglas appeared. He was in a white
  17      A. I don't know the distance. I don't           17      Isuzu, a pickup truck he had just bought. He
  18   know if it's very long. I can't measure the        18      came down and directly went to House Number 1.
  19   distance. I can't tell you.                        19      He said "how are you?" I said "fine." "How is
  20   BY MR. FOLKMAN:                                    20      work?" I said "fine." He said "do you remember
  21      Q. Why were you in House 1?                     21      what we did at Carenage, what happened at
  22      A. Because it was going to rain, and            22      Carenage?" I said "yes." He said "did you tell
  23   since I work with welding, I didn't want to        23      anyone?" I said "no." He said "I'm going to do
  24   catch a fever, so I was just standing there so I   24      the same thing to you again, but don't say to
  25   wouldn't be wet -- get wet.                        25      anyone."


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   1      Q. Was anybody else studying welding with        1             He put his hand on my face and he
   2   you that day?                                       2      raised his shirt, and he asked me to put my
   3      A. Yes, there were other people. They            3      mouth on his breast. And then he unzipped my
   4   were at the same place that I was.                  4      pants, and then he made me suck his penis. I
   5      Q. In House 1?                                   5      said -- I didn't agree with that, I said "I'm a
   6      A. Yes.                                          6      guy." And I tried to make him feel sensitive,
   7      Q. And who were they?                            7      to be sensitive, I said "if you really like me
   8      A. I don't remember the people's names.          8      you wouldn't do that." He said "it's because I
   9   There were a lot of people in the welding class.    9      like you that I do this," and then he put his
  10   I don't remember. There are a lot of people        10      penis in my butt. It didn't hurt me as much as
  11   that were taking welding. If I see their face I    11      the first time, and there was no blood this
  12   will remember, but I don't remember the name.      12      time.
  13      Q. Well, you gave me a few names before         13         Q. Do you need to take a break? Are you
  14   of people who were doing the vocational program    14      okay? I saw you put your head down.
  15   with you, Maxen, Junior, and Dorat, right?         15         A. Yes, a little pause, please.
  16      A. Yes.                                         16         Q. Sure.
  17      Q. Was Maxen in House 1 when you were in        17             THE VIDEOGRAPHER: Going off the
  18   House 1?                                           18      record. The time is 1:52.
  19      A. No. All the other little boys were in        19             (Whereupon, a recess was taken.)
  20   the cafeteria. There was a person who came with    20             THE VIDEOGRAPHER: Back on the record.
  21   me, but that person left, and he had said "I'm     21      The time is 2:01.
  22   not made out of powder or of salt, so I'm not      22      BY MR. FOLKMAN:
  23   afraid of the rain," so he left.                   23         Q. Mr. Previl, what time of day was this
  24      Q. Okay. Was Dorat in House 1 with you?         24      abuse that happened to you in House 1?
  25      A. No. Dorat was in the cafeteria.              25         A. I don't remember the time.


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   1      Q. Was it the daytime or the nighttime?        1   some juice.
   2      A. The daytime.                                2      Q. Did he bring you some juice?
   3      Q. Was it in the morning, or in the            3      A. No, I never saw him.
   4   afternoon?                                        4      Q. The second time that Douglas abused
   5      A. Afternoon.                                  5   you, do you know whether he put his finger into
   6      Q. Was school in session? Were other           6   your butt?
   7   kids at school?                                   7      A. No, I don't know.
   8          MR. STEWART: Objection.                    8      Q. The second time that he abused you, do
   9      A. No, there's school in the afternoon at      9   you know whether Mr. Perlitz put your penis in
  10   that school.                                     10   his mouth?
  11   BY MR. FOLKMAN:                                  11      A. No, he never did that.
  12      Q. Right. So kids were at school at the       12      Q. The second time that he abused you,
  13   time that you were abused?                       13   did Mr. Perlitz touch your genitals?
  14          MR. STEWART: Objection.                   14      A. He always touches all my body.
  15      A. I think so.                                15      Q. Does that include your penis?
  16   BY MR. FOLKMAN:                                  16      A. I don't remember this. This is not
  17      Q. Do you know whether anybody was            17   something that is of interest to me.
  18   walking around the grounds of the Village        18      Q. You don't know whether he did or not?
  19   outside of the buildings at the time that you    19      A. No, I don't know.
  20   were abused?                                     20      Q. Okay. You said that the first time he
  21          MR. STEWART: Objection.                   21   abused you, Mr. Perlitz put something else into
  22      A. No, I don't know.                          22   your butt that he had taken out of his pocket.
  23   BY MR. FOLKMAN:                                  23   Did he do that the second time also?
  24      Q. When you were abused the second time,      24      A. No.
  25   did you cry out?                                 25      Q. After he was done abusing you, what

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   1       A. Yes, this is a bruise.                     1   did you do?
   2       Q. Is that what you cried out, "this is       2      A. Boss Mo, you know, he drives for the
   3   abuse"?                                           3   entire Village, he came with the Land Cruiser,
   4       A. It's a bruise.                             4   he took us. And I was at the Carenage, I was
   5       Q. Oh, a bruise.                              5   just thinking at the beach, at the beach I was
   6           MR. STEWART: It hurts? It hurts, or       6   thinking, and I thought -- he said this would
   7   it's a bruise?                                    7   only happen to me, so I felt like killing
   8       A. It's a bruise.                             8   myself.
   9       Q. Did you cry out loudly?                    9      Q. Boss Mo took you and some others to
  10       A. No.                                       10   Carenage?
  11       Q. Do you know whether anybody heard you?    11      A. Yes, he put us in a car and brought us
  12           MR. STEWART: Objection.                  12   to Carenage.
  13       A. No, I don't know.                         13      Q. Was your butt hurting?
  14   BY MR. FOLKMAN:                                  14      A. Yes.
  15       Q. Did Douglas say anything to you during    15      Q. Did your butt ever stop hurting?
  16   the abuse, other than what you've already told   16          MR. STEWART: Objection.
  17   me?                                              17      A. When?
  18       A. Yes, if I tell anyone about that, he's    18   BY MR. FOLKMAN:
  19   going to throw me out.                           19      Q. Well, does your butt still hurt today
  20       Q. After he abused you the second time,      20   because of the abuse that Douglas Perlitz
  21   did Douglas give you anything?                   21   committed?
  22       A. No, he didn't give me anything.           22      A. No.
  23       Q. After Douglas abused you the first        23      Q. When did it stop hurting?
  24   time, did he give you anything?                  24          MR. STEWART: Objection.
  25       A. He just said he was going to bring me     25      A. It was a long time ago. I don't


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   1   remember when.                                     1   don't want this to happen to me.
   2   BY MR. FOLKMAN:                                    2      Q. Did you and Douglas ever talk about
   3       Q. Who else did Boss Mo take back to           3   the abuse after it happened?
   4   Carenage with you?                                 4          MR. STEWART: Objection.
   5       A. All the kids that were doing the            5      A. Douglas just told me that if I told
   6   trade, the welding class with me. There are        6   anyone he would throw me out of the project.
   7   some of them I don't know. Not that I don't        7   That's the only thing he said.
   8   know them, but some of them live at Blue Hills.    8   BY MR. FOLKMAN:
   9       Q. Do you know the names of any of the         9      Q. And is that a threat he made more than
  10   kids that went on that car ride with you and      10   once?
  11   Boss Mo?                                          11      A. Both times when he did that, every
  12       A. Yeah. Dorat, Junior, Maxen. We were        12   time, the second time after he saw me -- after
  13   at the Carenage, that's where they came to pick   13   that when he used to see me he would say "don't
  14   us up in the morning.                             14   tell anyone what we did. If you tell anyone, I
  15       Q. You said you went to the beach?            15   will throw you out of the project."
  16       A. I was standing in front of the beach.      16      Q. Let me ask you to look, please, in the
  17   It's not a beach, it's Boulevard 90 in front of   17   exhibit that you have in front of you, Number 2,
  18   the Carenage.                                     18   at Question 41. The question had asked you
  19      Q. There's a boulevard called Boulevard        19   to --
  20   90 in front of Carenage that is called the        20          MR. STEWART: Wait, wait, wait. Slow
  21   beach, is that right?                             21   down.
  22       A. Yeah, but the last -- Carenage ends at     22          MR. FOLKMAN: Sorry, Mike.
  23   90, that's the last, where it ends.               23   BY MR. FOLKMAN:
  24       Q. And then there's the water?                24      Q. Okay. The question had asked you to
  25       A. Yes, there's a boulevard, at the           25   identify communications that you had with the


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   1   boulevard there's a beach.                         1   Defendants concerning the matters that you
   2      Q. Okay. And that's where you were --           2   allege in your complaint. And the first part of
   3      A. There's a beach.                             3   your answer says "I spoke to Perlitz about the
   4      Q. And that's where you were when you           4   matters alleged in the complaint while he was
   5   felt like killing yourself?                        5   still in Haiti." Is that true?
   6      A. Yes.                                         6      A. Yes. He said if I told anyone he
   7      Q. Did you ever try to kill yourself?           7   would throw me out of the project.
   8      A. No. I wanted to at that point, but I         8      Q. Okay. And that's the only thing you
   9   said I was not going to give up. If God wanted     9   meant by this answer, is that true?
  10   me -- if that was written for me to live this,    10      A. Yes.
  11   then so be it.                                    11      Q. Okay. You said that Douglas told you
  12      Q. Have you ever tried to kill yourself?       12   not to tell anybody, right?
  13      A. No. I did go to the boulevard, but I        13      A. Yes.
  14   said I was not going to give up. If God wants     14      Q. And you believed if you did tell
  15   me to live that way, so be it.                    15   someone he was going to kick you out, right?
  16      Q. Do you still feel sometimes like you        16      A. Yes.
  17   want to kill yourself?                            17      Q. But you did tell your friend Jacques
  18      A. Yes.                                        18   Mackenson?
  19      Q. And is that because of the abuse?           19           MR. STEWART: Objection.
  20      A. Yes, if there's a person who is             20      A. After the project closed.
  21   homosexual, I see that, how people that do --     21   BY MR. FOLKMAN:
  22   someone who does these things, I see how they     22      Q. Okay. Do you remember approximately
  23   can humiliate him. If people knew that I did      23   when you told Jacques Mackenson that you had
  24   that, then it would be terrible for me, too, in   24   been abused?
  25   the city. And there's something, hearsay, and I   25      A. No, I don't remember when, but I just


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   1   remember that the project was closed.             1   or that he saw Pere Paul at Bel Air at
   2      Q. What did you tell him?                      2   nighttime?
   3      A. No, he just told me that when he was        3          MR. STEWART: Who?
   4   in the project this happened to him, and he       4          MR. FOLKMAN: Mackenson Bien-Aime.
   5   wasn't ashamed to tell me, so I wasn't ashamed    5          MR. STEWART: Do you understand what
   6   to tell him also.                                 6   he's asking you?
   7      Q. And you told him the same story of the      7          MR. FOLKMAN: Do you want me to start
   8   abuse that you've told us today?                  8   again?
   9           MR. STEWART: Objection.                   9          MR. STEWART: Yes.
  10      A. I didn't give him any details. I just      10   BY MR. FOLKMAN:
  11   told him I was a victim of abuse.                11      Q. Did Mackenson Bien-Aime tell you that
  12   BY MR. FOLKMAN:                                  12   he saw Pere Paul at nighttime at Bel Air?
  13      Q. Do you remember anything else that you     13          MR. STEWART: Objection.
  14   said to him?                                     14      A. Yes, he told me he saw Father Paul
  15      A. Just that I was the victim of abuse.       15   sleeping at Bel Air one night.
  16   That's all. I didn't say anything else.          16   BY MR. FOLKMAN:
  17      Q. Do you remember anything that he said      17      Q. Do you know about when that was?
  18   to you?                                          18      A. No, I don't remember when.
  19      A. He just said that he was -- he had         19      Q. Aside from what Mackenson Bien-Aime
  20   suffered a sexual abuse.                         20   told you, do you have any other reason to think
  21      Q. Did you tell him not to tell anybody       21   that Pere Paul ever slept at Bel Air?
  22   else?                                            22      A. No, I don't know.
  23           MR. STEWART: Objection.                  23      Q. Do you know the word Jesuit?
  24      A. No, I didn't. I didn't tell him that.      24          MR. STEWART: Objection.
  25   BY MR. FOLKMAN:                                  25      A. No. Maybe I just don't remember.


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   1      Q. Do you know whether he told anybody         1          MR. STEWART: That's okay. He'll ask
   2   else that you had been abused?                    2   you another question. Just wait for it.
   3          MR. STEWART: Objection.                    3   BY MR. FOLKMAN:
   4      A. I don't know.                               4      Q. Do you know whether Pere Paul was a
   5   BY MR. FOLKMAN:                                   5   Jesuit?
   6      Q. Did you tell anybody else that he had       6          MR. STEWART: Objection.
   7   been abused?                                      7      A. I don't know.
   8          MR. STEWART: Objection.                    8   BY MR. FOLKMAN:
   9      A. No, I didn't say that.                      9      Q. Are you a Roman Catholic?
  10   BY MR. FOLKMAN:                                  10          MR. STEWART: Objection.
  11      Q. Why didn't you?                            11      A. I believe in God, but I have no
  12          MR. STEWART: Objection.                   12   religion.
  13      A. I didn't say to anyone else. The           13   BY MR. FOLKMAN:
  14   people I remember I told that to were my         14      Q. Have you ever said that you belong to
  15   lawyers.                                         15   a Protestant church?
  16   BY MR. FOLKMAN:                                  16          MR. STEWART: Objection.
  17      Q. I don't want you to tell me anything       17      A. I can -- I've been to a Protestant
  18   you told your lawyers, okay?                     18   church, but I can go to any church. I don't
  19      A. Okay.                                      19   have a religion.
  20      Q. Is there a different Mackenson named       20   BY MR. FOLKMAN:
  21   Mackenson Bien-Aime?                             21      Q. Were you baptized?
  22      A. Yes.                                       22          MR. STEWART: Objection.
  23      Q. Are you friends with him?                  23      A. No.
  24      A. Yes.                                       24   BY MR. FOLKMAN:
  25      Q. Did he tell you that Pere Paul saw --      25      Q. When you were at PPT, did you ever


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   1   take Communion?                                    1          THE VIDEOGRAPHER: We're still on the
   2         MR. STEWART: Objection.                      2   record. I've unmuted the microphones.
   3      A. No.                                          3          MR. STEWART: Thank you.
   4   BY MR. FOLKMAN:                                    4   BY MR. FOLKMAN:
   5      Q. Have you ever taken Communion?               5      Q. What did you think Jose Barnardin
   6         MR. STEWART: Objection.                      6   meant when he said there was a Haitian who
   7      A. No.                                          7   helped people get justice?
   8         What are you talking? What Communion         8          MR. STEWART: Objection.
   9   are you talking about?                             9      A. I didn't know what he meant, but since
  10         MR. STEWART: It's okay. He'll ask           10   I had a case, I was a victim of abuse, I went to
  11   you questions. Just wait for a question. Don't    11   talk to Cyrus.
  12   worry.                                            12   BY MR. FOLKMAN:
  13   BY MR. FOLKMAN:                                   13      Q. Did you understand that he was -- that
  14      Q. Do you understand what I mean when I        14   Jose Barnardin was telling you that Cyrus could
  15   say "Communion"?                                  15   help people who had been sexually abused by
  16      A. Catholic Communion?                         16   Douglas Perlitz get justice?
  17      Q. Have you ever taken Catholic                17      A. No, he didn't tell me that. I went
  18   Communion?                                        18   myself to see Cyrus.
  19      A. Yes, but I don't remember in which          19      Q. How did you know where to find Cyrus?
  20   year.                                             20      A. Well, I live in Cap-Haïtien, I knew
  21      Q. Do you remember if you took Catholic        21   that Cyrus was working in a radio station in Rue
  22   Communion when you were at PPT?                   22   24.
  23      A. No, I don't remember that.                  23      Q. Did you go by yourself?
  24      Q. Do you know a person named Cyrus            24      A. Yes.
  25   Sibert?                                           25      Q. Had you ever heard his radio show


                                         Page 127                                                Page 129
   1      A. Yes.                                         1   before?
   2     Q. Who is Cyrus Sibert?                          2      A. Yes.
   3     A. A Haitian. A journalist.                      3      Q. Had you heard him talk on his radio
   4     Q. How did you meet him?                         4   show about Douglas Perlitz?
   5     A. Because of Jose Barnardin.                    5      A. No.
   6     Q. Did Jose Barnardin introduce you to           6      Q. Had you heard him talk on his radio
   7   Cyrus?                                             7   show about victims of Douglas Perlitz getting
   8      A. No.                                          8   money?
   9     Q. So what do you mean when you say that         9      A. No.
  10   you know Cyrus because of Jose Barnardin?         10      Q. Do you remember what year you went to
  11     A. Because I was talking with Jose              11   see Cyrus?
  12   Barnardin, he said that there was a Haitian who   12      A. I don't remember the year. I remember
  13   helped people get justice.                        13   that I went to see him.
  14     Q. Did Jose Barnardin know that you had         14      Q. Did you go by yourself?
  15   been sexually abused?                             15      A. Yes.
  16         MR. STEWART: Objection.                     16      Q. And did you talk with him?
  17      A. No.                                         17      A. Yes.
  18         MR. STEWART: One moment off the             18      Q. And what did you say to him?
  19   record.                                           19      A. Just that I told him that I had
  20         Elysée, will you come here for a            20   suffered sexual abuse.
  21   minute?                                           21      Q. Did you tell him you had suffered
  22         MR. FOLKMAN: Do you need a minute,          22   sexual abuse at the hands of Douglas Perlitz?
  23   Mike?                                             23      A. No. I told him I suffered abuse while
  24         (Pause.)                                    24   I was at the project.
  25         MR. STEWART: Okay. Thank you.               25      Q. And did he ask you any questions?


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   1      A. No, he didn't ask any questions. He           1      your phone number?
   2   said he was going to see how he could help me.      2         A. I gave it to him. Someone who was
   3      Q. And did he say anything else to you?          3      helping me, he doesn't really know me, so he
   4      A. No, I don't remember him saying               4      should have my number if he's going to help me.
   5   anything else.                                      5         Q. Okay. After you gave him his number
   6      Q. And did you leave then?                       6      -- after you gave him your number, was there any
   7      A. Yes.                                          7      other conversation between you and him?
   8      Q. Did he give you any money?                    8         A. No.
   9      A. No.                                           9         Q. Did you ever speak with him again?
  10      Q. Did you hear from him again?                 10         A. No.
  11      A. No, I don't recall having heard about        11         Q. Have you ever received money from him?
  12   him -- from him.                                   12         A. Yes.
  13      Q. Did you ever speak with him again?           13         Q. Okay. What else have you ever spoken
  14      A. Yes, I talked to him again.                  14      with him about?
  15      Q. When did you talk to him again?              15             THE TRANSLATOR: I'm sorry, did you
  16         MR. STEWART: Objection.                      16      talk about money?
  17      A. I don't know, but I talked to him            17             MR. STEWART: No.
  18   again so I could give him my phone number.         18             THE TRANSLATOR: Can you repeat the
  19   BY MR. FOLKMAN:                                    19      last question, please?
  20      Q. Did you go to see him again to do            20      BY MR. FOLKMAN:
  21   that?                                              21         Q. Have you ever received money from him?
  22      A. Yeah.                                        22             THE TRANSLATOR: He said yes.
  23      Q. And why did you give him your phone          23         Q. Oh. How much have you received from
  24   number?                                            24      him?
  25         MR. STEWART: Objection. To the               25         A. $200.


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   1   extent that you're asking about conversations       1         Q. And when did you receive that?
   2   that he may have had concerning his attorney --     2         A. I don't remember. It was a long time
   3   conversations with his attorney, I'm instructing    3      ago.
   4   him not to answer.                                  4         Q. What was the money for?
   5   BY MR. FOLKMAN:                                     5         A. For to eat, for clothes. I asked him
   6       Q. At the time when you went to see him         6      for the money. He didn't give it to me like
   7   to give him your phone number, did you already      7      that.
   8   have a lawyer?                                      8         Q. You went and asked him for the money?
   9           MR. STEWART: Objection.                     9         A. Yeah, I talked to him and he gave me
  10       A. No.                                         10      the money. He didn't do this as someone who had
  11   BY MR. FOLKMAN:                                    11      an obligation to me, he just did it as a person
  12       Q. Okay. So what did you say to him at         12      to person.
  13   that meeting?                                      13         Q. Had you heard from anybody else that
  14           MR. STEWART: Same objection.               14      you could go to Cyrus and get money?
  15       A. I just give him the number.                 15         A. No.
  16   BY MR. FOLKMAN:                                    16         Q. Do you know anybody else who has
  17       Q. How did you know that he wanted you to      17      received money from Cyrus?
  18   give him his number? Why did you go to see him?    18         A. No.
  19   I'll start again.                                  19         Q. On days when you're working at the car
  20           Why did you go to see him?                 20      wash and you're washing cars, how much might you
  21           MR. STEWART: Objection.                    21      make in a day?
  22           He's answered that, to give the phone      22             MR. STEWART: Objection.
  23   number.                                            23         A. Very -- it's something that is very
  24   BY MR. FOLKMAN:                                    24      hard to say because you don't make the same
  25       Q. Well, how did you know that he wanted       25      amount every day, because one day you can go and


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   1   find work, and other days you don't find            1      Q. Do you know Mathieu's other name?
   2   anything.                                           2          MR. STEWART: Objection.
   3   BY MR. FOLKMAN:                                     3      A. No.
   4      Q. What's the most you've ever made in a         4   BY MR. FOLKMAN:
   5   day washing cars?                                   5      Q. Does he have a nickname?
   6         MR. GARABEDIAN: Objection.                    6      A. No, I don't know.
   7      A. 300 gourdes.                                  7      Q. Do you know why he came with you to
   8   BY MR. FOLKMAN:                                     8   this deposition?
   9      Q. When Cyrus gave you $200, that's 200          9          MR. STEWART: Objection.
  10   American dollars?                                  10      A. No.
  11      A. Yes. Not at once, two times.                 11   BY MR. FOLKMAN:
  12      Q. Each of $100?                                12      Q. Have you ever spoken with Mathieu?
  13      A. Yes. Twice.                                  13          MR. STEWART: Objection.
  14      Q. When was the last time?                      14      A. Yes.
  15      A. I don't remember that.                       15   BY MR. FOLKMAN:
  16      Q. Was it recently?                             16      Q. Have you ever spoken with Mathieu
  17      A. I don't remember.                            17   about the abuse you suffered?
  18      Q. Do you know someone named Mathieu?           18      A. No.
  19      A. Yes.                                         19      Q. Was Mathieu a student at Carenage?
  20      Q. Is Mathieu's other name Walter?              20      A. No.
  21         MR. STEWART: Objection.                      21      Q. You said earlier that when you were at
  22      A. I don't know.                                22   Carenage he would always be sitting there. Was
  23   BY MR. FOLKMAN:                                    23   he in Carenage?
  24      Q. Have you ever received money from            24          MR. STEWART: Objection.
  25   Mathieu?                                           25      A. No, in a square.


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   1      A. No.                                           1   BY MR. FOLKMAN:
   2      Q. Do you know whether Mathieu knows             2      Q. He would just be sitting in the
   3   Cyrus?                                              3   square?
   4          MR. STEWART: Objection.                      4      A. Yes.
   5      A. I know Mathieu.                               5      Q. Do you know what he was doing?
   6   BY MR. FOLKMAN:                                     6          MR. STEWART: Objection.
   7      Q. How do you know Mathieu?                      7      A. No.
   8      A. Well, Mathieu would always come by,           8   BY MR. FOLKMAN:
   9   walk by my door to go see his girlfriend. And       9      Q. Do you know someone named Jean Gary?
  10   at Carenage, when I was going to Carenage he       10      A. Yes, I've seen him.
  11   would always be sitting there, but I didn't have   11      Q. Do you know whether he's also called
  12   a conversation with Mathieu.                       12   Schoubert?
  13          MR. STEWART: Let's take a break.            13      A. Yes, nickname.
  14          MR. FOLKMAN: Okay.                          14      Q. Did he ever ask you to put your name
  15          THE VIDEOGRAPHER: Going off the             15   on a list?
  16   record. The time is 2:37.                          16      A. No.
  17          (Whereupon, a recess was taken.)            17      Q. Have you ever put your name on a list
  18          THE VIDEOGRAPHER: Back on the record.       18   of victims?
  19   The time is 2:47.                                  19      A. No.
  20   BY MR. FOLKMAN:                                    20      Q. Has anybody ever asked you to put your
  21      Q. Mr. Previl, did Mathieu come with you        21   name on a list of victims?
  22   to the Dominican Republic for this deposition?     22      A. No.
  23          MR. STEWART: Objection.                     23      Q. Have you ever attended a meeting of
  24      A. Yes.                                         24   victims?
  25   BY MR. FOLKMAN:                                    25          MR. STEWART: Objection.


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   1          To the extent that that includes            1      A. No.
   2   conversations or meetings with his attorneys,      2      Q. How long before you filed your lawsuit
   3   I'm instructing him not to answer. If he           3   did you go to see Cyrus for the first time?
   4   attended some other meeting of victims, then he    4          MR. STEWART: Objection.
   5   can answer that. So don't talk about any           5      A. I've never -- I've never been to seek
   6   meetings with your attorneys.                      6   justice, to file lawsuit.
   7      A. No, I never put my name on a list of         7          MR. STEWART: Mr. Kennedy, would you
   8   victims.                                           8   let Lui in? She went to grab some Kleenex for
   9   BY MR. FOLKMAN:                                    9   us. Thank you.
  10      Q. And aside from meetings with your           10          MR. KENNEDY: Do you want me to leave
  11   attorneys, you never attended a meeting of        11   the door open?
  12   victims?                                          12          MR. STEWART: It's okay. Thank you.
  13      A. No.                                         13   BY MR. FOLKMAN:
  14      Q. Did you know that other people who          14      Q. I want to go through the items that
  15   said they were victims of Doug Perlitz filed      15   you've listed in your answers as ways in which
  16   lawsuits a few years before you did?              16   you've been injured by Mr. Perlitz and talk
  17      A. No, I don't know.                           17   about those a little bit.
  18      Q. Do you know that some of the people         18          You say -- and this is Question Number
  19   who said they were victims of Doug Perlitz        19   28 in Exhibit 2. You say -- I'll wait for your
  20   received money because they filed lawsuits?       20   lawyer to flip to it. You see that you said
  21          MR. STEWART: Objection.                    21   that you suffered pain and mental suffering
  22          I'm going to instruct him not to           22   which continues to this day.
  23   answer that. You can rephrase that. They          23          Are you still suffering physical pain
  24   didn't receive money because they filed           24   today because of what Douglas Perlitz did to you
  25   lawsuits. That's not why they received money.     25   in 2006?


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   1   You can rephrase that.                             1      A. I don't have pain anymore, but mental
   2   BY MR. FOLKMAN:                                    2   problems, yes.
   3     Q. Okay. Did you know that there was a           3      Q. How long did the pain last after the
   4   group of kids who had reached a settlement with    4   abuse was over?
   5   the Defendants as a result of which they           5      A. What pain are you talking about?
   6   received money?                                    6      Q. Well, what pain did you suffer?
   7     A. I've seen them in the city. I don't           7      A. After he did that to me I felt pain in
   8   know if it's Douglas. I have seen them. I've       8   my butt.
   9   seen them in the city.                             9      Q. And how long did that pain in your
  10     Q. You understand a little bit of               10   butt last?
  11   English?                                          11      A. I don't remember.
  12      A. No.                                         12      Q. You have problems sleeping?
  13      Q. Okay.                                       13      A. Yes.
  14         THE TRANSLATOR: I just repeated, he         14      Q. Can you describe your problems with
  15   heard me say Douglas and he hadn't finished his   15   sleeping, please?
  16   sentence.                                         16      A. Every time when I lie to bed I think
  17         MR. FOLKMAN: Okay.                          17   about it, what happened, and it give me problem.
  18   BY MR. FOLKMAN:                                   18   I forget it, but now that we've talked about it
  19     Q. Do you know any of those boys who did        19   today, I might have problems at night to sleep.
  20   receive money?                                    20      Q. So when you have a day where you talk
  21         MR. STEWART: Objection.                     21   about it, it's difficult for you to get to sleep
  22     A. I know them.                                 22   on that day?
  23   BY MR. FOLKMAN:                                   23          MR. STEWART: Objection.
  24     Q. Do you know how much money they              24      A. I didn't need to talk about it really,
  25   received?                                         25   but I think about it. Every time I see


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   1   something happen in front of me, like a gay         1   you lose your appetite?
   2   homosexual person pass in front of me, and I        2          MR. STEWART: Objection.
   3   remember the people despise him, and that           3      A. Yes.
   4   affects me mentally.                                4   BY MR. FOLKMAN:
   5      Q. When a gay person walks in front of           5      Q. Thank you.
   6   you, how do you know that that person is gay?       6          You say that you are depressed, right?
   7      A. He has feminine style.                        7      A. Yes.
   8      Q. You say you have problems eating?             8      Q. Has any doctor or therapist or any
   9      A. Yes.                                          9   medical person told you that you have a disease
  10      Q. Can you describe those for me, please?       10   or a problem called depression?
  11      A. Well, recently at the hotel I see --         11          MR. STEWART: Objection.
  12   all the people I see are here to have fun, to      12      A. No, nobody has told me that.
  13   spend vacation time, but me, I'm here for          13   BY MR. FOLKMAN:
  14   problem, and it's different because I suffered     14      Q. Have you ever been to see a therapist
  15   abuse, that's why I'm here.                        15   or someone else to help you with the problems
  16      Q. Do you have problems eating when             16   that you're having because of the abuse?
  17   you're at home in Cap-Haïtien?                     17          MR. STEWART: Objection.
  18      A. Yes.                                         18      A. No.
  19      Q. Can you describe those for me?               19   BY MR. FOLKMAN:
  20      A. That's exactly what I just told you.         20      Q. Do you have any other problems because
  21   Sometimes just stand like that, and I think this   21   of the abuse that you suffered, other than the
  22   happened directly to me. I'm sitting with          22   problems that we've already talked about?
  23   friends, I have friends, they say, oh, I have a    23          MR. GARABEDIAN: Objection.
  24   friend who was doing fag -- who is a fag, they     24      A. Yes.
  25   don't want to hang out with him anymore, they      25   BY MR. FOLKMAN:


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   1   don't even want to say hello to him. You know,      1      Q. What are they?
   2   you can throw water, it doesn't wet anyone, but     2      A. I have problems with my soul.
   3   for me it does wet me.                              3      Q. Can you say what you mean?
   4      Q. Do you mean that when you hear people         4      A. When I'm looking at in the past time,
   5   making fun of or talking down to homosexuals,       5   times of old, God destroyed two cities because
   6   that makes you feel bad?                            6   of this, Sodom and Gomorrah, I wasn't abuse of
   7      A. It doesn't touch me because of what           7   this, but God destroy me, too, because of that.
   8   that person is doing, it touches me because I       8      Q. You feel that you've violated God's
   9   suffered from it, I suffered because of that,       9   law?
  10   and now to see that someone chooses to do this.    10      A. Yes.
  11      Q. Your problem with eating, does it mean       11      Q. Has anybody ever told you that you've
  12   you can't eat enough, or does it mean you eat      12   violated God's law?
  13   too much? What exactly is the problem?             13      A. No, I can't -- nobody told me that. I
  14          MR. STEWART: Objection.                     14   can't talk about that to people in the street
  15      A. No, it's not that.                           15   like that, but when I read the bible I see I
  16   BY MR. FOLKMAN:                                    16   committed a mistake, a serious mistake.
  17      Q. Okay. I'm just trying to understand.         17      Q. Aside from the things you've already
  18   What is the problem that you have with eating      18   told me about, including your feeling that you
  19   now?                                               19   had violated God's law, is there any other way
  20      A. The problem I have with food is the          20   in which you have suffered because of what
  21   food is in front of me and I'm thinking about      21   Douglas Perlitz did to you?
  22   what happened to me, and that's something that     22      A. No, I'm just sick in my stomach,
  23   -- bad that happened, that spoils my day, my       23   that's all.
  24   appetite is gone.                                  24      Q. Are you able to form healthy
  25      Q. So when you think about what happened,       25   relationships with women?


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   1          MR. STEWART: Objection.                     1   first page of Exhibit 3?
   2      A. I had a girlfriend, but it was not           2      A. Yes.
   3   serious.                                           3      Q. And do you see it talks about Real N
   4   BY MR. FOLKMAN:                                    4   Swag on the first page there? Can you see that?
   5      Q. Do you feel that because of what             5      A. Yes.
   6   Douglas did to you, you have trouble finding a     6      Q. And that's something you wrote, not
   7   girlfriend?                                        7   something someone who pirated your account
   8      A. No.                                          8   wrote, right?
   9      Q. Are you able to have a healthy sex           9      A. I wrote this.
  10   life?                                             10      Q. And do you see it says Institute
  11          MR. STEWART: Objection.                    11   Nelson Mandella?
  12      A. Yes.                                        12      A. Yes.
  13   BY MR. FOLKMAN:                                   13      Q. And that's something you wrote, not
  14      Q. Do you feel that because of what            14   something a pirate wrote, right?
  15   Douglas did to you, your ability to have a        15      A. No.
  16   healthy sex life is affected?                     16      Q. You didn't write that?
  17          MR. STEWART: Objection.                    17      A. Yes.
  18      A. It's been a long time, since I'm not        18      Q. Just so the transcript is clear,
  19   in these things.                                  19   because that got reversed, you wrote Institute
  20   BY MR. FOLKMAN:                                   20   Nelson Mandella, right?
  21      Q. It's been a long time since you've had      21      A. There were people next to me that were
  22   sex, you mean?                                    22   helping me set up the account.
  23          MR. STEWART: Objection.                    23      Q. Okay. And they helped you write that?
  24      A. Yes. No, I had a girlfriend, but it         24      A. But the name of the school is in
  25   wasn't serious, so to be involved sexually with   25   letters in front of the school, so I can write

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   1   girls.                                             1   that because it's in front of the school.
   2   BY MR. FOLKMAN:                                    2      Q. All I'm asking is, it isn't something
   3      Q. I want to talk a little bit about            3   a pirate put on your account, it's something you
   4   Facebook.                                          4   put on your account, right?
   5          You have a Facebook account, right?         5      A. I did it.
   6      A. Yes.                                         6      Q. Okay. And you see it says "In a
   7      Q. And on Facebook your name that you use       7   Relationship" there. Can you see that?
   8   is Stronger Pou-laria, is that right?              8          MR. STEWART: Objection.
   9          THE TRANSLATOR: Excuse me?                  9      A. No, I don't see that.
  10      Q. Stronger Pou, P-O-U, L-A-R-I-A.             10   BY MR. FOLKMAN:
  11      A. Yes, but somebody pirated my account.       11      Q. Okay. I'm going to point to you. Let
  12      Q. Okay. When did that happen?                 12   me know if you can read the words I'm pointing
  13      A. I don't know. The person is using my        13   out or not.
  14   account along with me.                            14          MR. STEWART: In English there you
  15      Q. Is it someone you know?                     15   mean?
  16      A. No.                                         16          MR. FOLKMAN: Yeah. It's his.
  17          MR. STEWART: Objection.                    17      A. No.
  18   BY MR. FOLKMAN:                                   18   BY MR. FOLKMAN:
  19      Q. Okay. I'm going to put in front of          19      Q. You didn't put that there?
  20   you what's marked as Number 3.                    20      A. No.
  21          (Whereupon, Exhibit Number 3, Printout     21      Q. Okay. Where do you go when you use
  22          of Stronger Pou-laria Facebook pages,      22   Facebook?
  23          was marked for identification.)            23          THE TRANSLATOR: He's asking if he can
  24   BY MR. FOLKMAN:                                   24   turn the page.
  25      Q. So is that a photograph of you on the       25      Q. You can if you like, but you don't


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   1   have to right now.                                 1          MR. FOLKMAN: Page 1 of 10, the sixth
   2          When you use Facebook, where do you         2   sheet.
   3   go?                                                3   BY MR. FOLKMAN:
   4      A. On my phone.                                 4     Q. Do you see someone named Dialine
   5      Q. Okay. And have you used it recently?         5   Previl?
   6      A. No, it's been a while, because my            6     A. The majority of people on my account
   7   account was pirated, and the person changed the    7   are just people with the same last name, and
   8   code, I can't go back.                             8   they just sent a request, and I accepted it.
   9      Q. You can't use it now?                        9     Q. Okay. So you don't actually know
  10      A. No.                                         10   these people?
  11      Q. You have an e-mail address?                 11      A. No.
  12      A. Yes.                                        12     Q. Okay. Have you ever sent e-mails to
  13      Q. And that's Previl Kensley@Yahoo.fr?         13   anybody about what happened to you at PPT?
  14      A. Yes.                                        14          MR. STEWART: Objection.
  15      Q. And when was the last time you used         15      A. No.
  16   that address?                                     16   BY MR. FOLKMAN:
  17      A. Well, I don't know, I don't know when       17     Q. Have you ever sent e-mails to Cyrus
  18   I use it for the last time, because I can't go    18   Sibert, or received e-mails from him?
  19   on my account because a person changed the        19     A. I'm not a friend of Cyrus's.
  20   password.                                         20     Q. So no, you haven't sent him e-mails?
  21      Q. Okay. Flip to the second page,              21     A. Well, if we're not friends on
  22   please. Actually I'm looking at the front of      22   Facebook, how could I send him an e-mail?
  23   the second page, this sheet here. Do you see      23     Q. Okay. On your phone, do you ever do
  24   it?                                               24   SMS or texting?
  25          THE WITNESS: Oui.                          25     A. This is not something I do often.

                                         Page 151                                               Page 153
   1      Q. Do you see the photo there that says         1      Q. Have you ever texted or done SMS with
   2   "Real TJB"?                                        2   other kids who were at PPT?
   3      A. Yes.                                         3      A. No, I never talk about -- with them
   4      Q. Is that a photo you put there?               4   about things like that. I don't think I have
   5      A. My friend who put it there.                  5   numbers of children who were at PPT.
   6      Q. But it was you or your friend, not the       6      Q. Have you texted or done SMS with
   7   pirate, right?                                     7   Mathieu?
   8      A. No, both of us who were there and he         8      A. Yes.
   9   was helping me. I'm not very good with             9      Q. And what do you text or SMS about?
  10   Facebook.                                         10      A. Just that maybe Cyrus might need me,
  11      Q. And that was in December of 2013?           11   he said that -- oh, now I remember. When I was
  12      A. Yes, I think so. It wasn't in               12   coming here he said to take -- go to Caribbean
  13   December.                                         13   Tour at the Carenage.
  14      Q. Do you know when it was?                    14      Q. Have you ever texted or done SMS with
  15      A. No.                                         15   Cyrus?
  16      Q. Did anybody -- do you have family in        16      A. Yes.
  17   the United States?                                17      Q. And what do you and Cyrus text or SMS
  18      A. No.                                         18   about?
  19      Q. Flip to the sixth sheet, please.            19      A. I talk to him, tell him that I would
  20           MR. STEWART: What does it say at the      20   like to go to school, but I would like for my
  21   bottom?                                           21   life if he could make me find a school, because
  22           MR. FOLKMAN: It says 1 of 10.             22   he's a journalist, he could make me find a
  23           MR. STEWART: Hold on one moment.          23   school more easily. Sometimes I just write to
  24           MR. GARABEDIAN: Are you on Page 6 of      24   him and ask him how he's doing.
  25   8, is that what you're referring to?              25      Q. When was the last time you spoke with


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   1   Margarette Joseph?                                  1   bottom.
   2      A. I don't remember.                             2          MR. STEWART: No, it doesn't. It says
   3      Q. Was it a long time ago?                       3   1 of 1. Is this some Massachusetts way of
   4          MR. STEWART: Objection.                      4   saying next to the last --
   5      A. Yes.                                          5          MR. FOLKMAN: Hand it to me. In the
   6   BY MR. FOLKMAN:                                     6   back, second to the last sheet of paper.
   7      Q. When was the last time you spoke with         7   BY MR. FOLKMAN:
   8   Cyrus?                                              8      Q. Are you with me?
   9          MR. STEWART: Objection.                      9      A. Yes.
  10      A. When I was coming here.                      10      Q. Do you see the name there, Cyrus
  11   BY MR. FOLKMAN:                                    11   Sibert?
  12      Q. And what did you talk about with Cyrus       12          MR. STEWART: Wait a minute. Hold on.
  13   when you were coming here?                         13      A. Yes.
  14          MR. STEWART: Objection.                     14   BY MR. FOLKMAN:
  15      A. I just tell him that I was happy to          15      Q. Okay. Are you Facebook friends with
  16   see him. I thought he was the one who was going    16   Cyrus Sibert?
  17   to leave Cap-Haïtien with me to bring me here.     17      A. I see him there, but I never made a
  18   BY MR. FOLKMAN:                                    18   request for a friendship on Facebook. I never
  19      Q. When was the last time you spoke with        19   sent it to Cyrus.
  20   Boss Mo?                                           20      Q. Okay. Have you ever sent messages
  21          MR. STEWART: Objection.                     21   back and forth to him on Facebook?
  22      A. I've never seen Boss Mo at all since         22      A. No.
  23   the project closed.                                23     Q. And you don't know why he appears on
  24   BY MR. FOLKMAN:                                    24   that page?
  25      Q. How about Met Robinson?                      25      A. No, I don't know.


                                          Page 155                                              Page 157
   1         MR. STEWART: Objection.                       1      Q. Okay. Last thing I have for you.
   2      A. Also, neither.                                2          Take a look at that, please, which
   3   BY MR. FOLKMAN:                                     3   I've marked as Number 4.
   4      Q. Did you ever participate in the Kids          4          (Whereupon, Exhibit Number 4, Printout
   5   Alive program?                                      5          of Kensley Previl's Facebook page, was
   6      A. No.                                           6          marked for identification.)
   7      Q. Do you know what that program is?             7   BY MR. FOLKMAN:
   8      A. No.                                           8      Q. So my question, Mr. Previl, is, is
   9      Q. Do you know someone named Cassandra           9   this a Facebook account that you have also?
  10   Sibert?                                            10      A. Talking about?
  11         MR. STEWART: Objection.                      11      Q. Well, you see that Exhibit 3 is a
  12      A. No.                                          12   Facebook account called Stronger Pou-laria?
  13         MR. FOLKMAN: Let's go off the record,        13      A. Yes.
  14   please.                                            14      Q. You see Exhibit 4 is a Facebook
  15         THE VIDEOGRAPHER: Going off the              15   account called Kensley Previl?
  16   record. The time is 3:24.                          16      A. Yes.
  17         (Whereupon, a recess was taken.)             17      Q. And is that you?
  18         THE VIDEOGRAPHER: Back on the record.        18      A. Yes.
  19   The time is 3:33.                                  19      Q. So you have two Facebook accounts?
  20   BY MR. FOLKMAN:                                    20      A. Yes.
  21      Q. Sir, just a couple last things.              21      Q. And do you use the second account, the
  22         If you look on Number 3 at the very          22   one on Exhibit 4?
  23   second to the last sheet, at the front. Do you     23      A. No, I have never used this one.
  24   have Exhibit 3 there? Second to the last sheet     24      Q. Okay. And you've never sent messages
  25   of paper, the front of it, it says 1 of 3 at the   25   to anybody using this second Facebook account?


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   1       A. No, it was like that before.                 1      Q. I just -- while we're looking at
   2       Q. Have you ever sent messages to anybody       2   Exhibit 3, if you have that before you, that
   3   using the second Facebook account, Exhibit 4?       3   would be helpful.
   4       A. Yes, I think so.                             4          MR. STEWART: What page, Madame?
   5       Q. And when did you last do that?               5          MS. KNIGHT: I'm not going to turn to
   6       A. It was all the way back in 2011.             6   a page quite yet. I'll get to it in a minute.
   7       Q. Okay. What is CFC?                           7          MR. STEWART: Okay.
   8       A. It was something close to my house.          8   BY MS. KNIGHT:
   9   It's a lot of friends, when we are always           9      Q. What sort of activities do you like to
  10   sitting on the ground, we're making jokes and we   10   do?
  11   say -- and they say "these kids from CFC, they     11      A. I can wash cars, I can sing, I play
  12   never sit on the ground." It has a                 12   soccer, play with a ball, and I tell jokes with
  13   significance. There's a school called like         13   my friends.
  14   that, CFC.                                         14      Q. Do you still sing with the same group
  15       Q. Is that a school that you've gone to?       15   of friends that you told us about earlier, I
  16       A. These -- it was just me and my              16   believe it was called --
  17   friends, and we were sitting on the floor and      17          THE TRANSLATOR: Real N Swag.
  18   said "these children, these kids are always        18   BY MS. KNIGHT:
  19   sitting on the floor," and so we just gave them    19      Q. -- Real N Swag?
  20   the name CFC.                                      20          Thank you.
  21       Q. So it's a joke amongst your friends?        21      A. No. It's disbanded.
  22       A. Yes.                                        22      Q. Do you sing with a different group
  23       Q. Okay. Thank you. I have no other            23   now?
  24   questions. I really appreciate your testimony.     24      A. No, I don't sing anymore.
  25       A. Thank you.                                  25      Q. Do you sing by yourself?

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   1          MR. FOLKMAN: Oh, before I turn it            1      A. Yeah. It's just myself, it's not a
   2   over, I do want to make a note on the record,       2   program. It's not a program.
   3   which is that we received yesterday shortly         3      Q. And where do you play soccer?
   4   before 8:00 p.m. additional documents produced      4      A. Cité du Peuple, People's City, there's
   5   on Mr. Previl's behalf. We haven't been able to     5   a cemented surface near my house.
   6   print them, we haven't been able to send them to    6      Q. Do you play with friends there?
   7   the translator. We're going to look at them         7      A. Yes.
   8   after we get back to the States. I don't have       8      Q. Is it a team, or is it somewhere where
   9   any expectation that we're going to want to have    9   you just go and find other friends to play with?
  10   Mr. Previl back, but I am going to reserve my      10      A. No, it's in the neighborhood, the
  11   rights just on account of the late production.     11   neighborhood thing. Today with friends I can
  12          MR. STEWART: We can discuss it if           12   build a team, and the next day with other people
  13   there's any --                                     13   another team.
  14          THE VIDEOGRAPHER: Going off the             14      Q. Do you play soccer every day?
  15   record. The time is 3:40.                          15      A. No, sometimes I don't play soccer.
  16          (Pause.)                                    16      Q. Do you play a couple times during the
  17          THE VIDEOGRAPHER: We're back on the         17   week?
  18   record. The time is 3:42.                          18      A. No.
  19   BY MS. KNIGHT:                                     19      Q. Do you play once during a week?
  20      Q. Mr. Previl, my name is Lydia Knight.         20      A. Twice a week I play on Saturdays, and
  21   I just have a few questions for you, okay?         21   I might play also on Sunday.
  22      A. Yes.                                         22      Q. Do you like to watch movies?
  23      Q. You understand that you're still under       23      A. Not really.
  24   oath to tell the truth?                            24      Q. Are there some movies that you like?
  25      A. Yes.                                         25      A. Yeah.


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   1       Q. What movies do you like to watch?            1      A. No.
   2       A. Comics.                                      2     Q. While you were at Carenage or -- and
   3       Q. Do you watch movies with your friends        3   the Village, you said you saw Father Carrier, is
   4   sometimes?                                          4   that right, Pere Paul?
   5       A. I just watch soccer matches with them.       5      A. Yes.
   6       Q. Where do you watch the soccer matches?       6     Q. Did you ever see any other priests at
   7       A. At the Cité du Peuple when Barcelona         7   Carenage or at the Village?
   8   and Madrid are playing.                             8      A. No. My friends were telling me about
   9       Q. What's your favorite team?                   9   a white guy called Sylvester who was supposed to
  10       A. Barcelona.                                  10   become a priest, but I've never seen him, his
  11       Q. Did they do well this year?                 11   face. They told me if I had seen him I would
  12       A. Really nice.                                12   see right away that he's a wise person.
  13       Q. Good.                                       13      Q. But you never saw the person that was
  14           Do you like to watch basketball, too?      14   supposed to become a priest?
  15       A. Yes.                                        15      A. No.
  16       Q. Do you have a favorite basketball           16      Q. Who told you about him?
  17   team?                                              17     A. A friend, my friend at the project.
  18       A. Yes.                                        18      Q. And this was while you were at the
  19       Q. What's your favorite basketball team?       19   project?
  20       A. Orlando.                                    20      A. Yes.
  21       Q. And how did they do this year?              21          MS. KNIGHT: I don't have any other
  22       A. They didn't do anything really, but I       22   questions.
  23   fell back on Golden State.                         23          MR. STEWART: Thank you.
  24       Q. I'm going to switch to talking about a      24          MS. KNIGHT: Thank you, Mr. Previl.
  25   little bit when you came to the hotel that we're   25   BY MR. CERRETA:


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   1   at now, okay?                                       1      Q. Good afternoon, Mr. Previl.
   2      A. Okay.                                         2      A. Hello.
   3      Q. You came with the other people who            3      Q. I just have a few questions for you.
   4   have given their deposition, right?                 4          You testified earlier that you were a
   5         MR. GARABEDIAN: Objection.                    5   student at a school called Félix Box?
   6      A. Yes.                                          6      A. Yes.
   7   BY MS. KNIGHT:                                      7      Q. Until what year were you a student
   8      Q. And are you staying at the hotel?             8   there?
   9      A. Yeah, I'm staying at the hotel.               9      A. Up to 2011.
  10      Q. Are you sharing a room with someone?         10      Q. Were there -- am I remembering it
  11      A. Yes.                                         11   right that there were two periods of time in
  12      Q. Who are you sharing a room with?             12   which you attended the Félix Box school?
  13      A. Gesner.                                      13      A. Yes.
  14      Q. And are you aware that he already had        14      Q. And was one period of time before you
  15   his deposition taken?                              15   started attending Carenage?
  16      A. Yeah, I'm in the same room, we're            16      A. Yes.
  17   sleeping in the same room together, I know he      17      Q. So did you stop attending Félix Box
  18   gave his deposition.                               18   for a time in the year 2006?
  19      Q. Did he tell you about his deposition?        19      A. Yes.
  20      A. No, we just watched television and           20          THE TRANSLATOR: In 2006?
  21   then we were listening to music, we didn't talk    21          MR. CERRETA: Yes.
  22   about that at all.                                 22      A. Yes.
  23      Q. Did you talk to anyone about your            23      Q. Do you remember what time of year it
  24   deposition, other than any of your attorneys and   24   was when you stopped attending Félix Box in
  25   any of their agents or representatives?            25   2006?


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   1      A. No, I don't remember which period it          1   was in 2006 when you started to go to Carenage?
   2   was.                                                2       A. No.
   3      Q. Do you know when the school year ends         3       Q. Mr. Previl, can I direct your
   4   typically in the Haitian schools?                   4   attention back to Exhibit 2, and particularly
   5      A. Yes.                                          5   your answer to Interrogatory Number 72?
   6      Q. When does it typically end?                   6          THE TRANSLATOR: 72?
   7      A. The first shift goes out at 1:00 p.m.,        7       Q. I'm just looking at the first two
   8   and the second shift, because it has school in      8   sentences of your answer, which say in the
   9   the afternoon, at 5:00 p.m..                        9   English version "I understood that Fairfield
  10      Q. Is there -- during the calendar year,        10   financed the project. Mr. Douglas would always
  11   is there a period of time when school is out for   11   speak about it."
  12   Haitian schools?                                   12       A. Yes.
  13      A. Yes.                                         13       Q. Did Douglas Perlitz tell you that
  14      Q. What time during the calendar year is        14   Fairfield financed the project?
  15   there a break for Haitian schools?                 15       A. He said that "today if we are able to
  16      A. May to June.                                 16   find some food and we're able to find some
  17      Q. Did you stop attending Félix Box at          17   things here, University of Fairfield has a lot
  18   the end of the school year in 2006?                18   to do in this, in this service to us." He said
  19      A. I don't remember.                            19   that when there were students there, students
  20          Can we do a little pause? I need to         20   who came to visit, and I play soccer with the
  21   pee.                                               21   T-shirt that has Fairfield University written on
  22      Q. Sure.                                        22   it.
  23          THE VIDEOGRAPHER: Going off the             23       Q. Do you remember where you were when
  24   record. The time is 3:55 p.m..                     24   Douglas told you this about Fairfield financing
  25          (Whereupon, a recess was taken.)            25   the project?


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   1          THE VIDEOGRAPHER: Back on the record.        1      A. Yes.
   2   The time is 3:59.                                   2      Q. Where were you?
   3   BY MR. CERRETA:                                     3      A. Carenage. I wasn't the only one he
   4      Q. So sometime in 2006 you left the              4   said this to, he said that to everyone.
   5   school called Félix Box, right?                     5      Q. Was there a group of children gathered
   6      A. Yes.                                          6   around when Douglas said this?
   7      Q. And am I right that you can't recall          7      A. Yes, we were at the cafeteria. We
   8   as you sit here today whether that was at the       8   were about to eat.
   9   end of the regular school year that would have      9      Q. Was anybody else there besides Douglas
  10   ended in May, 2006?                                10   and the students?
  11      A. No, I don't remember at all.                 11          MR. STEWART: Objection.
  12      Q. Okay. And then at some point after           12          THE TRANSLATOR: And whom?
  13   you left Félix Box, did you subsequently start     13          MR. CERRETA: And the students.
  14   to go to Carenage for school?                      14          MR. STEWART: Objection.
  15      A. Yes, I went to Carenage.                     15      A. Yes, there were other foreigners. I
  16      Q. Do you remember how much time passed         16   told you they were the visitors there.
  17   between when you left Félix Box and when you       17   BY MR. CERRETA:
  18   started to go to Carenage?                         18      Q. Was this the time that you testified
  19      A. No.                                          19   about earlier when some students from Fairfield
  20      Q. Was it in 2006 that you started to go        20   University came to the project?
  21   to Carenage?                                       21      A. What are you talking about, what
  22          MR. STEWART: Objection.                     22   testimony?
  23      A. Yes.                                         23      Q. Well, earlier today I remember -- my
  24   BY MR. CERRETA:                                    24   recollection of it anyway was that you had said
  25      Q. Do you remember what time of year it         25   that Hope Carter came to the project with some


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   1   students from Fairfield University, is that        1   project, did anybody else tell you anything else
   2   right?                                             2   about Fairfield University?
   3      A. Yes. Young people, she said they were        3      A. No. Madame Carter told us that if we
   4   students.                                          4   worked, if we finished school, she would make us
   5      Q. I was just wondering if they were            5   study there.
   6   there when Douglas said these things about         6      Q. Right.
   7   Fairfield financing the project.                   7           Aside from those things that you've
   8          MR. STEWART: Objection.                     8   already spoken about, did anybody else, while
   9      A. Well, they were there. They were not         9   you were a student at the project, say anything
  10   in the kitchen. At that time Madame Carter had    10   about Fairfield University?
  11   promised us that children who kept on going to    11      A. I don't know.
  12   school would go on to study at University of      12      Q. Aside from what you've told me
  13   Fairfield.                                        13   already, and also leaving aside anything that
  14   BY MR. CERRETA:                                   14   you might have talked about with your lawyers,
  15      Q. Madame Carter told you this when the        15   have you heard anything else about Fairfield
  16   students from the University of Fairfield were    16   University as it relates to the project?
  17   there visiting the project?                       17      A. No.
  18      A. Yes, she told this to us as a group.        18      Q. Okay. I just want to go briefly back
  19      Q. And when Douglas told you that              19   to Exhibit 3. I'm looking at the third sheet,
  20   Fairfield University was financing the project,   20   but it's double-sided, so it's actually --
  21   was that this time, or was that a different       21           MR. STEWART: Does it say on the back
  22   time?                                             22   of it 3 of 8, or on the corner 3 of 8?
  23          MR. STEWART: Objection.                    23           MR. CERRETA: Yes.
  24      A. I don't remember. But I remember that       24           MR. STEWART: Okay. Perfect.
  25   Madame Carter had talked to us before that,       25   BY MR. CERRETA:


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   1   prior to that.                                     1       Q. Do you play video games?
   2   BY MR. CERRETA:                                    2       A. Yes.
   3      Q. Okay. Did Douglas Perlitz tell you           3       Q. Do you like Grand Theft Auto?
   4   anything else about Fairfield University?          4          MR. STEWART: Objection.
   5      A. No.                                          5       A. Yes.
   6      Q. You just mentioned that there were           6   BY MR. CERRETA:
   7   some T-shirts that said Fairfield University on    7       Q. Have you ever seen a movie called Love
   8   them. Where were those?                            8   in Basketball?
   9          MR. STEWART: Objection.                     9       A. Yes.
  10      A. At the project, at the Carenage, they       10       Q. Was that the English version, or did
  11   would give it to us when we needed -- when we     11   it have Creole subtitles?
  12   wanted to play football. Not talking about        12       A. It was just in French.
  13   championships, when we would play among           13       Q. Were you able to understand it?
  14   ourselves.                                        14       A. Some words.
  15   BY MR. CERRETA:                                   15       Q. Do you speak French?
  16      Q. Were the Fairfield University T-shirts      16       A. No.
  17   used as uniforms for one of the teams in the      17       Q. Do you understand some French?
  18   football game, in the soccer game?                18       A. If somebody tells me a bad word in
  19      A. Yes.                                        19   French, I'll understand.
  20      Q. Do you know if those had been donated       20       Q. On that same page, there's an entry,
  21   by someone from Fairfield University?             21   it's near the top of the page, May 12, 2012 at
  22          MR. STEWART: Objection.                    22   1:40 p.m., "Stronger Pou-laria is black Mafia."
  23      A. I don't know that, about that.              23          Do you see that?
  24   BY MR. CERRETA:                                   24          THE TRANSLATOR: Is what, is black
  25      Q. While you were a student at the             25   Mafia?


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   1          MR. CERRETA: Is black Mafia.                 1      A. Yeah, she talked to us as a group.
   2       A. I never wrote this.                          2   But I wasn't alone, there was someone
   3       Q. You didn't write that entry there,           3   translating for us.
   4   "Stronger Pou-laria is black Mafia"?                4      Q. Okay. So when you say she talked to
   5       A. No. No, I didn't. I remember telling         5   you in a group, was it through an interpreter?
   6   you somebody pirated my account and was using       6   Did she speak through an interpreter?
   7   it.                                                 7      A. Yes.
   8       Q. And this is one of the entries that          8      Q. Who was the interpreter, sir?
   9   was put in by the person who pirated your           9      A. Nicholas.
  10   account?                                           10      Q. Okay. And is Nicholas Nicholas
  11          MR. GARABEDIAN: Objection.                  11   Preneta?
  12       A. Maybe.                                      12      A. I don't know his last name.
  13   BY MR. CERRETA:                                    13      Q. Okay. Where did Nicholas work?
  14       Q. But in any event, you didn't put that       14          MR. STEWART: Objection.
  15   entry in, did you?                                 15      A. At Carenage.
  16       A. No.                                         16   BY MR. KENNEDY:
  17          MR. CERRETA: That's all I have.             17      Q. At Carenage.
  18   Thank you very much, sir.                          18          Okay. What did Nicholas do at
  19          MR. STEWART: Thank you.                     19   Carenage?
  20       A. Thank you.                                  20      A. He was a director at Carenage.
  21          THE VIDEOGRAPHER: We're still on the        21      Q. Okay. And how many times did Nicholas
  22   record at 4:16.                                    22   act as an interpreter for Madame Carter --
  23   BY MR. KENNEDY:                                    23          MR. STEWART: Objection.
  24       Q. Good afternoon, Mr. Previl. We              24   BY MR. KENNEDY:
  25   introduced ourselves much earlier this morning.    25      Q. -- when you were there and you heard


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   1   I'm Jeff Kennedy, I represent Hope Carter.          1   her?
   2      A. Okay.                                         2         MR. STEWART: Withdrawn.
   3      Q. Have you ever met Hope Carter, Madame         3      A. Just one time when she was -- when he
   4   Carter?                                             4   was talking to all of us in the yard.
   5      A. Yes, she was in the schoolyard at             5   BY MR. KENNEDY:
   6   Carenage. She came to take pictures and she         6      Q. Okay. And who else was there, sir,
   7   told us to live as brothers, not to take what       7   which other students? Do you remember some of
   8   wasn't yours, and she was very important for the    8   the names?
   9   project.                                            9      A. No. The entire school was there.
  10      Q. How do you know she was very important       10      Q. The entire school of Carenage?
  11   for the project?                                   11      A. Yes.
  12      A. When she would come she would tell us        12      Q. Okay. So this occurred at Carenage
  13   to live as brothers, not to take what is not       13   and not at the Village?
  14   ours. And she would take pictures, and she         14      A. I don't know if it happened at the
  15   promised us she would make us study at the         15   Village or not, but I was at the Carenage then.
  16   University of Fairfield.                           16      Q. Okay. Do you remember what year this
  17      Q. Okay. Sir, can you speak English?            17   conversation took place, sir?
  18      A. No.                                          18      A. No, I don't remember, but I hadn't
  19      Q. Can you understand spoken English?           19   been at the Carenage for a long time.
  20      A. No.                                          20      Q. Okay. I just want to be clear, sir.
  21      Q. Did you yourself ever speak to Madame        21         Did you ever speak to Madame Carter
  22   Carter?                                            22   through an interpreter?
  23      A. No, I don't speak English.                   23      A. No. We were all together in a group
  24      Q. Okay. So it's fair to say you never          24   where Nicholas had translated for us.
  25   spoke to Madame Carter?                            25      Q. Did you see Nicholas speaking to


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   1   Madame Carter?                                   1   Madame Carter -- strike that. I'm sorry.
   2          MR. STEWART: Objection.                   2          Sir, how many times have you seen
   3      A. No, I don't know about that.               3   Madame Carter at Carenage?
   4   BY MR. KENNEDY:                                  4          MR. STEWART: Objection.
   5      Q. And -- strike that.                        5      A. Several times. I saw her several
   6          Sir, do you know if Jean Ilguens was      6   times.
   7   at Carenage during this conversation we're       7   BY MR. KENNEDY:
   8   discussing?                                      8      Q. When you saw her at Carenage, besides
   9      A. No.                                        9   what you've already told me, what did you see
  10      Q. I'm sorry, no, you don't know, or no,     10   Madame Carter doing?
  11   he was not, sir?                                11      A. She was taking pictures.
  12      A. He wasn't there.                          12      Q. What was she taking pictures of, sir?
  13      Q. Okay. How do you know he wasn't           13          MR. STEWART: Objection.
  14   there, sir?                                     14      A. She was taking pictures of the kids,
  15      A. Because I was at the Carenage.            15   all of us, all the kids, and sometimes she asked
  16      Q. Okay. Did he not go to Carenage?          16   us to stand next to other white people and to
  17          MR. STEWART: Objection.                  17   take pictures.
  18      A. I don't know if he went to Carenage,      18   BY MR. KENNEDY:
  19   but when I was there he wasn't.                 19      Q. And did you ever see Madame Carter at
  20   BY MR. KENNEDY:                                 20   the Village?
  21      Q. Okay. How long have you known Jean        21      A. No, I don't know this.
  22   Ilguens?                                        22      Q. Now, sir, earlier today you discussed
  23      A. When I was going to vocational class      23   your study as a welder. Do you remember that?
  24   at the Village, he was there.                   24      A. Yes, at the Village.
  25      Q. Was he in the same class with you,        25      Q. I believe you indicated earlier that

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   1   sir?                                             1   in order to get a job you needed a certification
   2      A. No.                                        2   as a welder, is that correct?
   3      Q. Sir, are you aware that Jean Ilguens       3          MR. STEWART: Objection.
   4   had his deposition taken yesterday?              4      A. Yes.
   5      A. Yes, I know.                               5   BY MR. KENNEDY:
   6      Q. Did you have dinner with Jean Ilguens      6      Q. Sir, if you were able to get a diploma
   7   last night?                                      7   as a welder, would you be able to get a job as a
   8      A. Yes, I ate with him last night.            8   welder?
   9      Q. Okay. Did he discuss with you his          9          MR. STEWART: Objection.
  10   deposition, sir?                                10      A. Yes.
  11      A. No. That's personal.                      11   BY MR. KENNEDY:
  12      Q. What about Emile Jean Pierre, are you     12      Q. Sir, can you describe Madame Carter
  13   aware that he had his deposition taken, sir?    13   for me physically?
  14      A. Yes.                                      14      A. Yes. She's a little old lady with
  15      Q. And did you discuss with Emile Jean       15   sort of a hump in her back. She has little
  16   Pierre his deposition?                          16   glasses, and little suitcase in the front of
  17      A. No. It's not a joke, I don't see why      17   her, and her pants always under her belly, and
  18   I would have talked to him about it.            18   all her hands and feet are full of veins. I
  19      Q. Sir, going back to the conversation       19   have touched her veins before, there's like big
  20   that you testified that Nicholas interpreted,   20   veins there.
  21   how long did that -- how long was that          21      Q. How many times have you touched her
  22   conversation?                                   22   veins?
  23      A. That I don't know. But it didn't last     23      A. Every time I see her. Every time she
  24   long. I didn't have a watch to check.           24   comes, I always touch them.
  25      Q. Sir, how many times have you met          25      Q. Okay.


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   1      A. Sometimes she makes a noise like she's        1      us to Fairfield University.
   2   going to eat us, and Nicholas says -- Nicholas      2         Q. Okay. And she said this during the
   3   says that she says she's going to eat me, if I      3      conversation that Nicholas interpreted, is that
   4   touch her veins she's going to eat me.              4      what your testimony is, sir?
   5          MR. STEWART: Hold on. So your                5             MR. STEWART: Objection.
   6   description -- off the record for a moment.         6         A. Yes.
   7          THE VIDEOGRAPHER: Going off the              7      BY MR. KENNEDY:
   8   record. The time is 4:29.                           8         Q. And this was a one-time conversation,
   9          (Pause.)                                     9      sir?
  10          THE VIDEOGRAPHER: Back on the record.       10             MR. STEWART: Objection.
  11   The time is 4:30.                                  11         A. Yes.
  12      A. She teases me that she's going to eat        12             MR. KENNEDY: I think that's all I
  13   me.                                                13      have. Thank you, sir.
  14   BY MR. KENNEDY:                                    14             MR. STEWART: Can we go off? We need
  15      Q. So she was having fun with you, is           15      to look at something for one minute before we
  16   that fair?                                         16      wrap it up.
  17      A. Yeah, we're playing.                         17             THE VIDEOGRAPHER: Going off the
  18      Q. Right.                                       18      record. The time is 4:33.
  19          And she was nice to you, sir?               19             (Pause.)
  20      A. Yes, she was nice to all the children.       20             THE VIDEOGRAPHER: Back on the record.
  21      Q. Okay. Sir, just one issue of                 21      The time is 4:37.
  22   clarification.                                     22             CROSS EXAMINATION
  23          The second time that Mr. Perlitz            23      BY MR. STEWART:
  24   abused you, you indicated that was in House        24         Q. This morning, Mr. Folkman asked you if
  25   Number 1 at the Village, is that correct, sir?     25      you'd ever received any money from Mathieu. Do


                                          Page 183                                                   Page 185
   1      A. Yes.                                          1      you remember that?
   2      Q. Okay. Where in the house did the              2         A. Yes, I remembered he gave me money.
   3   abuse take place, sir?                              3         Q. Okay. This morning you said to
   4          MR. STEWART: Objection.                      4      Mr. Folkman that Mathieu did not give you money.
   5      A. The series of beds on two floors, it          5      Can you explain -- is that true?
   6   happened on the space beneath, the bed that         6         A. Well, the money didn't come really
   7   looks like prisoner beds.                           7      from Mathieu, it came directly from Cyrus, so
   8   BY MR. KENNEDY:                                     8      that's why I considered the money came from
   9      Q. Like bunk beds, sir?                          9      Cyrus, not from Mathieu.
  10      A. Yes, there's a bed here, and then            10         Q. Okay. So Cyrus gave you $200
  11   there's another place to sleep above.              11      previously directly, correct, from Cyrus to you?
  12      Q. Sir, Madame Carter was not a teacher         12         A. Yes.
  13   at Carenage, was she?                              13         Q. And then there was a third time where
  14      A. No.                                          14      Cyrus gave you $100, but it was actually Mathieu
  15      Q. So Madame Carter never taught you, did       15      that handed you the money?
  16   she, sir?                                          16         A. Yes. That money was for me to come
  17          MR. STEWART: Objection.                     17      here.
  18      A. No. Just that she gave us advice when        18         Q. Okay. When did Mathieu give you that
  19   she would come.                                    19      money?
  20   BY MR. KENNEDY:                                    20         A. One week prior to coming here.
  21      Q. Okay. And what advice was that, sir?         21         Q. So is that total, three times, 100
  22      A. She just said that "take whatever the        22      each, the total amount of money that you have
  23   project is giving you, take it, don't fight        23      gotten from Cyrus -- received from Cyrus or from
  24   among yourselves, don't take what is not yours,"   24      Mathieu?
  25   and when we would finish school she would bring    25         A. Yes, 200 directly from Cyrus and 100


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   1   from Mathieu, through Mathieu.                      1            INSTRUCTIONS TO WITNESS
   2      Q. The 100 you got from Mathieu one week         2
   3   ago, what did you use it for?                       3                Please read your deposition over
   4      A. Well, I bought sandals and clothes and        4      carefully and make any necessary corrections.
   5   things to eat because I didn't have clothes and     5      You should state the reason in the appropriate
   6   shoes to come here.                                 6      space on the errata sheet for any corrections
   7         MR. STEWART: Okay. That's all we              7      that are made.
   8   have.                                               8                After doing so, please sign the
   9         Do you have any follow-up based on            9      errata sheet and date it. It will be attached
  10   that?                                              10      to your deposition.
  11         MR. FOLKMAN: Just check the group.           11                It is imperative that you return
  12         MR. CERRETA: No.                             12      the original errata sheet to the deposing
  13         MR. FOLKMAN: No.                             13      attorney within thirty (30) days of receipt of
  14         MR. STEWART: Okay. Thank you.                14      the deposition transcript by you. If you fail
  15         60 to read and sign.                         15      to do so, the deposition transcript may be
  16         MR. FOLKMAN: Yes.                            16      deemed to be accurate and may be used in court.
  17         MR. STEWART: Okay.                           17
  18         THE VIDEOGRAPHER: This concludes the         18
  19   August 1, 2015 deposition of Kensley Previl.       19
  20   Going off the record. The time is 4:41.            20
  21         (Whereupon, the deposition was               21
  22         concluded.)                                  22
  23                                                      23
  24                                                      24
  25                                                      25


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   1          CERTIFICATE                                  1              ------
   2          I, MAUREEN O'CONNOR POLLARD, LSR #473,                      ERRATA
   3   RMR, CLR, and Notary Public in and for the State    2              ------
   4   of Connecticut, do hereby certify that there        3      PAGE LINE CHANGE
   5   came before me on the 1st day of August, 2015,      4      ____ ____ _________________________________
   6   the person hereinbefore named, who was duly         5        REASON: __________________________________
   7   sworn to testify to the truth of their knowledge    6      ___ ____ __________________________________
   8   concerning the matters in this cause, and their     7        REASON: __________________________________
   9   examination reduced to typewriting under my         8      ____ ____ _________________________________
  10   direction and is a true record of the testimony.
                                                           9        REASON: __________________________________
                                                          10      ____ ____ _________________________________
  11          I further certify that I am neither
                                                          11        REASON: __________________________________
  12   attorney for or related or employed by any of
                                                          12      ____ ____ _________________________________
  13   the parties to the action, and that I am not a
                                                          13        REASON: __________________________________
  14   relative or employee of any attorney or counsel
                                                          14      ____ ____ _________________________________
  15   employed by the parties hereto or financially
                                                          15        REASON: _________________________________
  16   interested in the action.                          16      ____ ____ _________________________________
  17          In witness whereof, I have hereunto         17        REASON: _________________________________
  18   set my hand and seal this 8th day of August,       18      ____ ____ _________________________________
  19   2015.                                              19        REASON: _________________________________
  20                                                      20      ____ ____ _________________________________
  21     ________________________________________         21        REASON: _________________________________
  22     MAUREEN O'CONNOR POLLARD, License #473           22      ____ ____ _________________________________
  23     Realtime Systems Administrator, RMR              23        REASON: _________________________________
  24     Notary Commission Expires: 10/31/2017            24      ____ ____ _________________________________
  25                                                      25


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   1         ACKNOWLEDGMENT OF DEPONENT
   2
   3             I, __________________________, do
       Hereby certify that I have read the foregoing
   4   pages, and that the same is a correct
       transcription of the answers given by me to the
   5   questions therein propounded, except for the
       corrections or changes in form or substance, if
   6   any, noted in the attached Errata Sheet.
   7
   8   _________________________________
       KENSLEY PREVIL          DATE
   9
  10
  11
  12
  13
  14
  15   Subscribed and sworn
       To before me this
  16   ______ day of _________________, 20____.
  17   My commission expires: ________________
  18
       _______________________________________
  19   Notary Public
  20
  21
  22
  23
  24
  25


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   1         LAWYER'S NOTES
   2   PAGE LINE
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                                                                      Page 1
                  UNITED STATES DISTRICT COURT
                  DISTRICT OF CONNECTICUT
                                       Civil Action No.
                                       3:13-cv-01132(RNC)
        ****************************
        GERVIL ST. LOUIS, a/k/a ST.    Consolidated with:
        LOUIS GERVIL,                  3:13-cv-1225-RNC
                                       3:13-cv-1269-RNC
                       Plaintiff,      3:13-cv-1437-RNC
                                       3:13-cv-1480-RNC
             v.                        3:13-cv-1626-RNC
                                       3:13-cv-1627-RNC
        DOUGLAS PERLITZ, FATHER        3:13-cv-1628-RNC
        PAUL E. CARRIER, S.J.; HOPE    3:13-cv-1629-RNC
        E. CARTER; HAITI FUND,         3:13-cv-1630-RNC
        INC.; FAIRFIELD UNIVERSITY;    3:13-cv-1631-RNC
        THE SOCIETY OF JESUS OF NEW    3:13-cv-1632-RNC
        ENGLAND; SOVEREIGN MILITARY    3:13-cv-1633-RNC
        HOSPITALLER ORDER OF ST.       3:13-cv-1634-RNC
        JOHN OF JERUSALEM OF RHODES    3:13-cv-1635-RNC
        AND OF MALTA, AMERICAN         3:13-cv-1636-RNC
        ASSOCIATION, U.S.A.; a/k/a     3:13-cv-1637-RNC
        ORDER OF MALTA, AMERICAN       3:13-cv-1638-RNC
        ASSOCIATION, U.S.A.; JOHN      3:13-cv-1639-RNC
        DOE ONE; JOHN DOE TWO; JOHN    3:13-cv-1640-RNC
        DOE THREE; JOHN DOE FOUR;      3:13-cv-1641-RNC
        JOHN DOE FIVE; JOHN DOE SIX    3:13-cv-1642-RNC
        and JOHN DOE SEVEN,            3:13-cv-1644-RNC
                                       3:13-cv-1645-RNC
                       Defendants.     3:13-cv-1647-RNC
                                       3:13-cv-1648-RNC
                                       3:13-cv-1701-RNC
                                       3:13-cv-1767-RNC
                                       3:13-cv-1768-RNC
                                       3:13-cv-1769-RNC
                                       3:13-cv-1881-RNC
                                       3:13-cv-1904-RNC
                                       3:13-cv-1906-RNC
                                       3:13-cv-1907-RNC
        ******************************
        This document applies to:
        All of the above referenced cases
        And those to be filed
        ******************************
        CONFIDENTIAL - SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
             VIDEOTAPED DEPOSITION OF LOUIS SAINCIRIN

                   Thursday, October 1, 2015
                          9:10 a.m.

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   1     VIDEOTAPED DEPOSITION OF LOUIS SAINCIRIN              1   APPEARANCES (Continued):
   2                                                           2
   3                                                           3   FOR THE DEFENDANT HOPE E. CARTER:
       Held At:                                                4     JEFFREY W. KENNEDY, ESQ.
   4                                                           5       MILANO & WANAT LLC
   5     Barcelo Puerto Plata                                  6       471 East Main Street
   6     Carretera Luperón, km 5, Puerto Plata 547             7       Branford, Connecticut 06405
   7     Dominican Republic                                    8       203-315-7000
   8                                                           9       jkennedy@mwllc.us
   9                                                          10
  10   REPORTED BY:                                           11   FOR THE DEFENDANT ORDER OF MALTA AMERICAN
  11   Maureen O'Connor Pollard, RMR, CLR, LSR #473
                                                              12   ASSOCIATION, U.S.A.:
  12   Realtime Systems Administrator
                                                              13     BRADFORD S. BABBITT, ESQ.
  13
                                                              14       ROBINSON & COLE LLP
  14
                                                              15       280 Trumbull Street
  15
                                                              16       Hartford, Connecticut 06103
  16
  17
                                                              17       860-275-8200
  18                                                          18       bbabbitt@rc.com
  19                                                          19
  20                                                          20
  21                                                          21
  22                                                          22
  23                                                          23
  24                                                          24
  25                                                          25


                                                     Page 3                                            Page 5
   1   APPEARANCES:                                            1   APPEARANCES (Continued):
   2   FOR THE PLAINTIFF:                                      2
   3     MITCHELL GARABEDIAN, ESQ.                             3   FOR THE DEFENDANT FAIRFIELD UNIVERSITY:
   4     LU XIA, ESQ.                                          4     PAUL D. WILLIAMS, ESQ.
   5       LAW OFFICES OF MITCHELL GARABEDIAN                  5        DAY PITNEY LLP
   6       100 State Street, Sixth Floor                       6        One Canterbury Green
   7       Boston, Massachusetts 02109                         7        Stamford, Connecticut 06901
   8       617-523-6250                                        8        860-275-0223
   9       garabedianlaw@earthlink.com                         9        pwilliams@daypitney.com
  10       lxia@garabedianlaw.com                             10
  11          -and-                                           11      JOHN W. CERRETA, ESQ.
  12     ELLYN H. HURD, ESQ.                                  12        DAY PITNEY LLP
  13       SIMMONS HANLY CONROY                               13        242 Trumbull Street
  14       112 Madison Avenue                                 14        Hartford, Connecticut 06103
  15       New York, New York 10016                           15        860-275-0100
  16       212-784-6400                                       16        jcerreta@daypitney.com
  17       ehurd@simmonsfirm.com                              17
  18                                                          18
  19   FOR THE DEFENDANT PAUL E. CARRIER, S.J.:               19
  20     AARON D. ROSENBERG, ESQ.                             20
  21       MURPHY & KING                                      21
  22       One Beacon Street, Twenty First Floor              22
  23       Boston, Massachusetts 02108                        23
  24       617-423-0400                                       24
  25       adr@murphyking.com                                 25


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   1   APPEARANCES (Continued):                              1         PROCEEDINGS
   2                                                         2
   3   FOR THE DEFENDANT THE SOCIETY OF JESUS OF             3          THE VIDEOGRAPHER: We are now on the
   4   NEW ENGLAND:                                          4   record. My name is Chris Coughlin, I'm a
   5     MICHAEL KERRIGAN, ESQ.                              5   videographer for Golkow Technologies.
   6        SLOANE AND WALSH, LLP                            6          Today's date is October 1, 2015, and
   7        Three Center Plaza, Suite 830                    7   the time is 9:10 a.m..
   8        Boston, Massachusetts 02108                      8          This video deposition is being held in
   9        617-523-6010                                     9   Puerto Plata, Dominican Republic in the matter
  10        mkerrigan@sloanewalsh.com                       10   of Gervil, St. Louis versus Douglas Perlitz, et
  11                                                        11   al, United States District Court, District of
  12   Videographer: Christopher Coughlin                   12   Connecticut.
  13                                                        13          The deponent is Louis Saincirin.
  14   Interpreter: Philippe Chamy                          14          Will counsel please identify
  15                                                        15   yourselves for the record.
  16   Also Present:                                        16          MR. CERRETA: Good morning. My name
  17   Jean Elyseé Pierre Louis, Interpreter                17   is John Cerreta, I represent Fairfield
  18                                                        18   University.
  19                                                        19       A. Good morning.
  20                                                        20          MR. ROSENBERG: Aaron Rosenberg, I
  21                                                        21   represent Father Paul Carrier.
  22                                                        22          MR. KERRIGAN: Good morning,
  23                                                        23   Mr. Saincirin. My name is Michael Kerrigan, I
  24                                                        24   represent the Society of Jesus of New England.
  25                                                        25          MR. KENNEDY: Good morning. My name


                                                   Page 7                                                   Page 9
   1              INDEX                                      1   is Jeffrey Kennedy, I represent Hope Carter.
   2    EXAMINATION                             PAGE         2          MR. BABBITT: I'm Bradford Babbitt, I
   3    LOUIS SAINCIRIN                                      3   represent the American Association of the Order
   4    BY MR. CERRETA                           10
   5    BY MR. ROSENBERG                          168        4   of Malta.
   6    BY MR. KERRIGAN                          174         5          MS. XIA: Good morning. Lu Xia
   7    BY MR. KENNEDY                           220         6   representing Plaintiffs.
   8    BY MR. BABBITT                          232          7          MR. GARABEDIAN: Good morning.
   9                                                         8   Mitchell Garabedian, I represent all Plaintiffs
  10
  11         EXHIBITS                                        9   in the St. Louis matter and the deponent, Louis
  12    NO.      DESCRIPTION                       PAGE     10   Saincirin.
  13    1 Complaint and Jury Trial Demand...... 13          11          MS. HURD: Good morning. Ellyn Hurd
  14    2 Plaintiff Louis Saint Cirin's                     12   from Simmons Hanly Conroy representing the
          Response to Certain Defendants'                   13   Plaintiffs.
  15      First Set of Interrogatories......... 15
  16    3 One page handwritten document........ 25          14          THE VIDEOGRAPHER: The court reporter
  17    4 Two page document, Declaration of                 15   is Maureen Pollard, and she will now swear in
          the kids of Project Pierre                        16   the witness and the interpreter.
  18      Toussaint, Bates PEC001034 and                    17
          1035.................................156          18          PHILIPPE CHAMY,
  19
        5    Copy of Badge from St. Vincent                 19   having been duly sworn to translate the
  20        Foundation...........................210        20   testimony to the best of his ability, translated
  21    6    Sixth Grade Paper....................211       21   as follows:
  22    7    Grades from Saint-Esprit.............213       22
  23    8    Documents for Saint Esprit...........212       23              LOUIS SAINCIRIN,
  24    9    Document from Institution Mixte
            Jean Renel...........................217        24   having been first duly sworn, was examined and
  25                                                        25   testified as follows through the interpreter:


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   1       A. Yes, I swear. Yes, I swear, but there       1   Creole?
   2   might be some mistakes.                            2      A. Not really.
   3          DIRECT EXAMINATION                          3      Q. Are you able to read some Creole?
   4   BY MR. CERRETA:                                    4      A. Not really.
   5       Q. Good morning, sir. Would you just           5      Q. Do you speak any other languages?
   6   state your name for the record?                    6      A. I'm okay in French, yes.
   7       A. My name is Louis Saincirin.                 7      Q. Are you able to read French?
   8       Q. Do you have any other names that you        8      A. I do my best, yes.
   9   go by?                                             9      Q. How about writing, are you able to
  10       A. Yes. They call me Claude sometimes.        10   write in Creole?
  11       Q. Who calls you Claude? Is that              11      A. Not really.
  12   something you go by generally?                    12      Q. Do you write some Creole?
  13       A. Very often I'm called that.                13      A. Not really.
  14       Q. You were a student at PPT, right?          14      Q. How about in French, are you able to
  15       A. Yes.                                       15   write in French?
  16       Q. Did you often go by Claude when you        16      A. Yes, I can get by.
  17   were a student at PPT?                            17      Q. Do you read books?
  18       A. Yes.                                       18      A. Yes.
  19       Q. A moment ago when you were sworn in        19      Q. What language do you usually read
  20   you said that you swear but there might be some   20   books in?
  21   mistakes, is that right?                          21      A. For example, the bible.
  22       A. Maybe there might be some small            22      Q. What language is the bible in that you
  23   mistakes.                                         23   read from?
  24       Q. But are you going to do your best to       24      A. In French.
  25   tell the truth today?                             25      Q. This has been premarked as Exhibit 1.

                                           Page 11                                                Page 13
   1       A. Yes, I will do every effort. That is        1           (Whereupon, Saincirin Exhibit
   2    dependent on my abilities.                        2           Number 1, Complaint and Jury Trial
   3       Q. What's your date of birth?                  3           Demand, was marked for
   4       A. July 22, 1986.                              4           identification.)
   5       Q. Are you taking any medication that          5   BY MR. CERRETA:
   6    would prevent you from testifying truthfully      6       Q. I'm going to hand it to you,
   7    today?                                            7   Mr. Saincirin. Do you see your name at the top
   8       A. No.                                         8   of this document here?
   9       Q. Have you taken any medication today?        9       A. Yes.
  10       A. No.                                        10       Q. For the record, this is the Complaint
  11       Q. Have you taken any drugs today?            11   of Louis Saincirin.
  12       A. No.                                        12           Have you ever seen this document
  13       Q. Have you had any alcohol to drink          13   before, Mr. Saincirin?
  14    today?                                           14       A. Maybe so.
  15       A. No.                                        15       Q. Okay. I'm just going to tell you,
  16       Q. Are you understanding the interpreter      16   this is the document that was filed on your
  17    so far when he is speaking to you?               17   behalf in the court up in Connecticut. It's the
  18       A. Yes.                                       18   Complaint that was filed to start your case
  19       Q. Do you speak any English,                  19   against Douglas Perlitz and the other
  20    Mr. Saincirin?                                   20   Defendants.
  21       A. I don't speak, but I understand a few      21       A. Yes.
  22    words.                                           22       Q. And you remember seeing that document
  23       Q. Do you read any English?                   23   before?
  24       A. Not really.                                24       A. Yes.
  25       Q. How about Creole, do you read any          25       Q. Have you gone through that document


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   1   before?                                             1         Q. Do you recognize what this document
   2          MR. GARABEDIAN: Excuse me, ask if he         2   is?
   3   needs to take a break. Can you agree we can         3      A. Yes.
   4   take a break? But answer the question. I don't      4      Q. What is this document?
   5   know what the confusion is.                         5      A. It's what I declared.
   6          MR. CERRETA: I'm sorry, did he have          6      Q. Would you mind turning to the last
   7   a --                                                7   page of the document?
   8       A. I don't remember if I did read it,           8      A. Yes. No problem.
   9   because it's in English as I see it in front of     9      Q. Is that your name there written in
  10   me now, so I don't know what's inside it.          10   pen?
  11   BY MR. CERRETA:                                    11      A. It's my name.
  12       Q. Are you okay to keep going? Do you          12      Q. Did you write your name there?
  13   want to take a break for a minute?                 13      A. Yes, it's my name.
  14       A. No, I'm good. Thank you. You can go.        14      Q. And is that your signature on the
  15       Q. Okay. So this document is only in           15   verification page?
  16   English. So it's your testimony, right, that       16      A. Yes.
  17   you're not able to read any English?               17      Q. And did you write the Number 20 there
  18       A. What do you mean?                           18   in pen also?
  19       Q. Am I right that you're not able to          19      A. I don't remember.
  20   read English?                                      20      Q. Before you signed your name to this
  21       A. I'm not comfortable with English, but       21   document, did you read through your responses to
  22   if I'm provided with a translation I will be       22   the questions?
  23   able to tell you if it's really me.                23      A. Yes.
  24       Q. Did anybody translate this complaint        24      Q. Were you able to understand all the
  25   for you?                                           25   questions and answers?


                                            Page 15                                                 Page 17
   1        A. Yes.                                        1      A. Yes.
   2        Q. And when it was translated for you,         2      Q. And when you signed your name, did you
   3    was everything in there correct and accurate?      3   understand you were certifying that all of your
   4        A. Yes, it was accurate, because it was        4   answers were correct and truthful?
   5    as I had myself wrote it.                          5      A. Yes.
   6        Q. Thank you.                                  6      Q. And were all of your answers correct
   7           Mr. Saincirin, now I'm going to hand        7   and truthful?
   8    you what's been marked as Exhibit 2.               8      A. Yes.
   9           (Whereupon, Saincirin Exhibit               9      Q. Where were you when you read and
  10           Number 2, Plaintiff Louis Saint            10   signed this document?
  11           Cirin's Response to Certain                11      A. I don't remember where I was.
  12           Defendants' First Set of                   12      Q. Was anyone with you?
  13           Interrogatories, was marked for            13      A. Yes.
  14           identification.)                           14      Q. Who was with you?
  15    BY MR. CERRETA:                                   15      A. I was with Cyrus.
  16        Q. Which are the Plaintiff, Louis Saint       16      Q. Is that Cyrus Sibert?
  17    Cirin's Response to Certain Defendants' First     17      A. Yes, he had taken me to a hotel.
  18    Set of Interrogatories.                           18      Q. Was there anyone else there?
  19           Mr. Saincirin, this document starts        19      A. Yes.
  20    off in English, and then about halfway through    20      Q. Who else was there?
  21    it switches to the Creole version, the original   21      A. Mitchell Garabedian. A few other
  22    Creole of the same document.                      22   people, but I don't remember their names now.
  23           Do you remember seeing this document       23      Q. Were those other people attorneys?
  24    before?                                           24      A. Yes, they were attorneys.
  25        A. Yes.                                       25      Q. Besides your attorneys and Cyrus


                                                                             5 (Pages 14 to 17)
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   1   Sibert, was anyone else there with you when you      1   for the interpretation before he answers.
   2   read and signed these documents?                     2   BY MR. CERRETA:
   3       A. No, there weren't other people. When          3      Q. So is it your testimony that you did
   4   I actually signed the document --                    4   nothing to help you prepare for today's
   5          THE INTERPRETER: The interpreter              5   deposition?
   6   requests a clarification.                            6      A. No.
   7       A. When I signed the documents, only the         7      Q. I'm sorry, did you do nothing, or did
   8   lawyers were present.                                8   you do anything to prepare?
   9       Q. Okay. Cyrus Sibert wasn't in the room         9          MR. GARABEDIAN: Objection.
  10   with you and your lawyers when you read and         10      A. I did nothing, but I don't quite
  11   signed this document?                               11   understand the meaning of your question.
  12       A. No.                                          12   BY MR. CERRETA:
  13       Q. But he was at the hotel that day when        13      Q. I'm just -- I was just wondering if
  14   you had this meeting?                               14   you looked at any documents or videos or
  15       A. No, he had simply dropped me off and         15   photographs or anything just to help you get
  16   had left.                                           16   ready for the testimony you were going to give
  17       Q. And was this on -- was this in               17   today.
  18   September of 2014?                                  18          MR. GARABEDIAN: Objection. I
  19       A. Possibly, yes.                               19   instruct him not to answer as to any information
  20       Q. Thank you. I'm done with this                20   that would violate the attorney/client
  21   document for now.                                   21   privilege.
  22       A. Thank you as well.                           22   BY MR. CERRETA:
  23       Q. Did you read any documents in order to       23      Q. Are you able to answer my question?
  24   get ready for your deposition today?                24      A. No.
  25       A. I don't understand.                          25      Q. Did you speak with your attorneys to

                                             Page 19                                                Page 21
   1       Q. Did you do anything to prepare for            1   get ready for today's deposition? And you can
   2    today's testimony?                                  2   answer that question just yes or no.
   3           MR. GARABEDIAN: Objection. I                 3      A. Yes.
   4    instruct him not to answer to the extent it         4      Q. Did you do -- did you speak with
   5    would be violative of the attorney/client           5   anyone else, other than your attorneys, to help
   6    privilege.                                          6   you get ready for today's deposition?
   7       A. Okay.                                         7      A. No.
   8    BY MR. CERRETA:                                     8      Q. And did you look at any documents or
   9       Q. Without getting into anything you             9   pictures or videos to help you get ready for
  10    might have said between you and your lawyers,      10   today's deposition?
  11    did you do anything to prepare for today's         11      A. No.
  12    deposition?                                        12      Q. Thank you.
  13       A. Nothing.                                     13          Have you ever been married,
  14       Q. You didn't read any documents to             14   Mr. Saincirin?
  15    prepare for today's deposition?                    15      A. No.
  16       A. No.                                          16      Q. Do you have a significant other?
  17       Q. Did you watch any videos?                    17          MR. GARABEDIAN: Objection.
  18       A. Which videos?                                18      A. Yes.
  19       Q. Any videos to help you prepare for           19   BY MR. CERRETA:
  20    today's deposition.                                20      Q. Who is that?
  21       A. No.                                          21      A. Tanet Joseph, T-A-N-E-T, Joseph.
  22           THE INTERPRETER: The interpreter            22      Q. How long have you been together with
  23    would like to give instructions to the deponent,   23   Tanet?
  24    please?                                            24      A. I don't remember.
  25           I asked the deponent to please wait         25      Q. Have you been together for more than a


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   1    year?                                              1      A. I don't remember.
   2       A. I don't remember.                            2      Q. When was the last time you saw Tanet
   3       Q. Did you get together with Tanet before       3   Joseph?
   4    or after PPT closed?                               4      A. I don't remember.
   5       A. After PPT closed.                            5      Q. Have you seen Tanet since you moved to
   6       Q. Did your relationship with Tanet             6   Santo Domingo?
   7    Joseph start before or after the earthquake in     7      A. I don't understand.
   8    Haiti in 2010?                                     8      Q. You're now living in Santo Domingo,
   9       A. I don't remember, because it's been          9   right?
  10    quite a while, so I don't remember.               10      A. Yes.
  11       Q. Were you already together with Tanet        11      Q. In the time that you've been living in
  12    Joseph when you brought your case in this         12   Santo Domingo, have you been able to see Tanet?
  13    matter?                                           13      A. Sometimes I see her.
  14       A. Yes.                                        14      Q. Do you go back to visit?
  15       Q. Prior to your current relationship          15      A. Yes.
  16    with Tanet Joseph, did you have any other prior   16      Q. Has she been to visit you in Santo
  17    relationships?                                    17   Domingo?
  18       A. I don't remember.                           18      A. No.
  19       Q. You don't remember if you had any           19      Q. How often do you get back to visit?
  20    other romantic relationships prior to the one     20      A. I don't remember.
  21    with Tanet?                                       21      Q. Have you been back to Haiti more than
  22       A. I don't remember such things. I don't       22   one time since you've been living in Santo
  23    remember. It's been a long time.                  23   Domingo?
  24       Q. Do you have any children?                   24      A. Yes.
  25       A. No.                                         25      Q. Would you say it's more than five


                                            Page 23                                                Page 25
   1       Q. Do you live with Tanet Joseph?               1   times?
   2       A. No.                                          2       A. Well, I don't remember.
   3       Q. Where does Tanet live?                       3      Q. Where do you live in Santo Domingo?
   4       A. In the countryside.                          4      A. I live in Constanza Fior Tireo Arriba.
   5       Q. Any particular name of the town or           5          THE INTERPRETER: C-O-N-S-T-A-N-Z,
   6   place in the countryside?                           6   F-I-O-R, T-I-R-E-O, and then it is written
   7       A. In Plaisance Pilate, P-L-A-I-N --            7   A-R-R-I-B-A.
   8   P-L-A-I-S-A-N-C-E, Pilate, this is a separate       8      Q. I notice you just wrote your address
   9   word, P-I-L-A-T-E.                                  9   in Santo Domingo for the interpreter, is that
  10          THE INTERPRETER: The deponent is            10   right?
  11   explaining it's between the Town of Plaisance      11       A. Yes.
  12   and Pilate, another town.                          12       Q. Would you mind just writing it again
  13       Q. And where do you live?                      13   on this paper for me (handing)?
  14       A. I live in St. Philoméne. I live in          14      A. (Witness complies).
  15   St. Philoméne, but now I am in Santo Domingo. I    15       Q. Thank you, sir. Maybe we can mark
  16   live in Santo Domingo now.                         16   this as Exhibit 3.
  17       Q. When did you move to Santo Domingo?         17          (Whereupon, Saincirin Exhibit
  18       A. I don't remember.                           18          Number 3, One page handwritten
  19       Q. Did you move to Santo Domingo before        19          document, was marked for
  20   or after you filled out your responses to these    20          identification.)
  21   questions?                                         21   BY MR. CERRETA:
  22       A. It was after that I filled out these        22       Q. Does anyone live with you at your
  23   questions.                                         23   place in Santo Domingo?
  24       Q. Have you been living in Santo Domingo       24       A. Who do you mean?
  25   for more than six months?                          25       Q. Anyone. Do you live with anyone in


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   1   Santo Domingo?                                       1       Q. Did you come with any of them from
   2       A. Yes.                                          2   Cap-Haïtien when you moved to Santo Domingo?
   3       Q. Who do you live with?                         3       A. No.
   4       A. I live in Dieu, D-I-E-U, Fet, F-E-T,          4       Q. You met all those gentlemen after you
   5   last name R-E-N-A-U-D, Renaud. R-E-N-A-U-D,          5   got to Santo Domingo?
   6   Renaud.                                              6       A. We knew each other before.
   7       Q. Just to clarify, are the spellings the        7       Q. Why did you leave Cap-Haïtien to move
   8   interpreter's spellings?                             8   to Santo Domingo?
   9          THE INTERPRETER: The interpreter              9       A. It's because my situation is
  10   answers that he's not sure about the spelling.      10   difficult.
  11          MR. CERRETA: Mitch, in one of the            11       Q. How so?
  12   previous depositions we kind of agreed that when    12       A. First of all, I was one of the people
  13   Nathalie was here that the spellings are not the    13   that was being helped, and when I was no longer
  14   witness's, just so the record is clear. The         14   receiving help it became difficult for me. And
  15   spellings are something the interpreter is doing    15   he was continuing.
  16   to help out the court reporter.                     16          THE INTERPRETER: The interpreter
  17          MR. GARABEDIAN: Agreed.                      17   would ask for clarification.
  18   BY MR. CERRETA:                                     18       A. I wasn't -- I didn't have any kind of
  19       Q. Do you live in a house in Santo              19   training allowing me to stay in the city where I
  20   Domingo?                                            20   was to find work, and I had to come to Santo
  21      A. What do you mean Santo Domingo?               21   Domingo to work the fields. And even though I
  22   Because I live in Constanza.                        22   have to work with the white owners, I have to do
  23       Q. You live in Constanza. Is that part          23   that in order to make a living.
  24   of Santo Domingo?                                   24       Q. So did you come to Santo Domingo in
  25       A. Yes, it is part of Santo Domingo.            25   search of work?


                                            Page 27                                                 Page 29
   1        Q. And is that a private house that you         1       A. Yes. But all I can do here is use a
   2    live in?                                            2   sickle to work the fields. Look at my hand, do
   3        A. No, I pay rent.                              3   you see? That's all I'm qualified for. You can
   4        Q. Do you and Renaud split the rent?            4   see that's all that I'm doing.
   5        A. But there are other people as well           5       Q. How long have you been working the
   6    living there, and I haven't given all the names.    6   fields outside of Santo Domingo?
   7        Q. Could you give all the names of the          7       A. I don't know. And also I don't find
   8    others who live there?                              8   that work very often, because it's not a
   9        A. I can give some, yes.                        9   permanent job.
  10        Q. Please give the ones you can.               10       Q. How many days a week on average do you
  11        A. Mico, his name is Mico, like M-I-C-O.       11   work the fields?
  12    Edner, E-D-N-E-R. Dji, D-G-I -- D-J-I, I'm         12       A. It's not very stable, because
  13    sorry.                                             13   sometimes it can be 15 days, even a month
  14        Q. All the names that you just mentioned,      14   without having anything in terms of work.
  15    are they all men living at the place in            15       Q. On the days that you are able to get
  16    Constanza?                                         16   work, how much are you paid?
  17        A. Yes.                                        17       A. Sometimes they give me 300 gourdes,
  18        Q. Are all of the gentlemen who you were       18   sometimes they give me 250 gourdes, sometimes I
  19    living with from Haiti?                            19   work and they don't even pay me.
  20        A. Yes.                                        20       Q. Are those Haitian gourdes?
  21        Q. Did you all travel from Haiti to Santo      21       A. I said gourdes, but what I meant is
  22    Domingo together to settle there?                  22   pesos.
  23        A. Who do you mean by "all"?                   23       Q. In the last, say, two months working
  24        Q. The gentlemen that you're living with.      24   the fields in the Dominican Republic, how much
  25        A. No.                                         25   have you made total?


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   1        A. I don't remember, but I know I worked       1      Q. Where does Louis live?
   2    a few days, just enough so that I could prevent    2      A. You mean Louis Moise?
   3    from starving to death.                            3      Q. Yes, your brother.
   4        Q. What's your mother's name, sir?             4      A. He was in the countryside. Now he's
   5        A. Marie Estanis, M-A-R-I-E,                   5   in Santo Domingo.
   6    E-S-T-A-N-I-S, Nereste, N-E-R-E-S-T-E.             6      Q. Is he also working the fields?
   7        Q. Does she sometimes go by the name           7      A. Yes.
   8    Fenelia?                                           8      Q. Does he live with you in Constanza?
   9        A. Yes.                                        9      A. Sometimes he's there, but he's not
  10        Q. And is she living?                         10   there now. He's somewhere else.
  11        A. Yes.                                       11      Q. Do you know where he is now?
  12        Q. Where does she live?                       12      A. Yes.
  13        A. In the countryside. La Cul du Nord,        13      Q. Where?
  14    L-A, C-U-L, D-U, N-O-R-D.                         14      A. Anminan. He's in Anminan,
  15        Q. Is that part of Cap-Haïtien?               15   A-N-M-I-N-A-N.
  16        A. No.                                        16      Q. Is that in the Dominican Republic?
  17        Q. Where is that in relation to               17      A. Yes.
  18    Cap-Haïtien?                                      18      Q. When you were -- before your father
  19        A. I couldn't tell you exactly, but it's      19   passed away, what did he do for work?
  20    outside, outside of Cap-Haïtien.                  20      A. He was -- he worked in construction
  21        Q. Does your mother work?                     21   with cement.
  22        A. No.                                        22      Q. How did your father die?
  23        Q. How about your father, is your father      23      A. I don't remember. And actually I
  24    still living?                                     24   don't have any information relating to his
  25        A. My father died.                            25   death.

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   1      Q. What was his name?                            1      Q. Were you living with your father at
   2      A. Zephirin Louis, Louis Zephirin.               2   the time of his death?
   3          THE INTERPRETER: Z-E-P-H-Y-R-E-N, I          3      A. No.
   4   think.                                              4      Q. Where was he living at the time of his
   5      Q. When did your father pass away?               5   death?
   6      A. I don't remember.                             6      A. He was living in the countryside.
   7      Q. Was it before or after PPT closed?            7      Q. At some point before his death, did he
   8      A. Before PPT closed.                            8   leave the family home and no longer live with
   9      Q. Was it before you started attending           9   you and your mother?
  10   school at PPT?                                     10      A. We were separated, yes.
  11      A. It was while I was in PPT, but I don't       11      Q. How old were you when your father
  12   remember the exact year.                           12   separated from you?
  13      Q. Has your mother remarried after the          13      A. I don't remember.
  14   death of your father?                              14      Q. You have three sisters, is that
  15      A. No. And she wasn't married to my             15   correct?
  16   father either.                                     16      A. Yes.
  17      Q. Okay. When you were a child growing          17      Q. What are their names?
  18   up, did your father live with you?                 18      A. Marie Junie, J-U-N-I-E. There's also
  19      A. Yes.                                         19   Alicia, and Dieula.
  20      Q. Did your mother live with you?               20      Q. How old is Marie Junie?
  21      A. Yes.                                         21      A. I don't know her age.
  22      Q. You have one brother, is that right?         22      Q. Is she older or younger than you?
  23      A. Yes.                                         23      A. She's older, but we don't have the
  24      Q. Is his name Louis?                           24   same father.
  25      A. Louis Moise, M-O-I-S-E.                      25      Q. Does she live with your mother?


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   1       A. No.                                          1      Q. Do you have a third sister living
   2       Q. Where does she live?                         2   called Dieula?
   3       A. She's in Santo Domingo.                      3      A. Yes, I do.
   4       Q. Does she live in Constanza?                  4      Q. Where does she live?
   5       A. No.                                          5      A. She used to stay in the countryside,
   6       Q. What part of Santo Domingo does she          6   but now she's in town.
   7    live in?                                           7      Q. In the countryside in Haiti?
   8       A. She's in an area called Licey,               8      A. Yes.
   9    L-I-C-E-Y.                                         9      Q. The countryside outside of
  10       Q. Does she work?                              10   Cap-Haïtien?
  11       A. No.                                         11      A. Yes.
  12       Q. Is she married?                             12      Q. And does she now live in Cap-Haïtien
  13       A. Yes.                                        13   proper?
  14       Q. Does she live with her husband?             14      A. Yes.
  15       A. Yes.                                        15      Q. Is she married?
  16       Q. Does he work?                               16      A. No.
  17       A. Sometimes he finds odd jobs.                17      Q. Does she have any children?
  18       Q. Do you have another sister Alicia?          18      A. Yes.
  19       A. Yes.                                        19      Q. How many children does she have?
  20       Q. How old is she?                             20      A. Only one.
  21       A. I don't know her age, and I know she        21      Q. Does she work?
  22    comes after me, but I don't know exactly when.    22      A. No.
  23       Q. When you say she comes after you, do        23      Q. How old is she?
  24    you mean she was born after you?                  24      A. I don't know her age.
  25       A. Yes.                                        25      Q. Is she younger or older than you?

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   1        Q. Is she a small child, or a grown            1      A. She's the last one.
   2    woman?                                             2      Q. And you had a fourth sister who passed
   3        A. She's an adult, since I'm also an           3   away?
   4    adult.                                             4      A. Yes. There's one who is deceased, the
   5        Q. Does she work?                              5   one that came right before me. So she could be
   6        A. No.                                         6   called the third one, but in terms of living
   7        Q. Where does she live?                        7   she's the second one.
   8        A. She's living in the countryside.            8      Q. How old were you when your sister
   9        Q. In the countryside in Haiti?                9   passed away?
  10        A. Yes. She lives in a place called           10      A. I don't remember.
  11    Makaty, M-A-K-A-T-Y.                              11      Q. Was it before or after your father
  12        Q. Is she married?                            12   died? Was it before your father died?
  13        A. No.                                        13      A. Before my father died, yes.
  14        Q. Does she have any children?                14      Q. Your sister who passed away, was she
  15        A. Yes.                                       15   the child of both your mother and your father?
  16        Q. How many children does she have?           16      A. No.
  17        A. She has many. I don't remember.            17      Q. She was your mother's daughter?
  18        Q. What was the name of your third            18      A. Yes.
  19    sister?                                           19      Q. How did she pass away?
  20        A. Yes, her name an Alicia.                   20      A. I don't know.
  21        Q. Alicia is the sister we were just          21      Q. Were you living with her at the time
  22    talking about, right?                             22   of her death?
  23        A. Yes, we were just talking about            23      A. No.
  24    Alicia. Because there were originally four; one   24      Q. Where were you living?
  25    of them died.                                     25      A. Labory.


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   1       Q. Do you know anything about how your          1       A. Yes.
   2   sister died?                                        2       Q. Did your parents own that house in
   3       A. No, I don't know.                            3   Acul du Nord?
   4       Q. When was the last time you spoke with        4       A. Yes.
   5   your mother?                                        5       Q. How many rooms were there in that
   6       A. I don't remember.                            6   house?
   7       Q. Are you in regular contact with your         7       A. Two rooms.
   8   mother?                                             8       Q. And would you sleep with your siblings
   9       A. No.                                          9   in one of those rooms?
  10       Q. Have you had any contact with your          10       A. Yes.
  11   mother since the PPT closed?                       11       Q. And where would your mother sleep in
  12       A. I was in contact with her before it         12   the house?
  13   closed, but we are not in close contact.           13       A. In the other room with my dad when he
  14       Q. How many times a year on average do         14   was there.
  15   you see your mother?                               15       Q. There were no other rooms other than
  16       A. I don't remember.                           16   the two rooms where people slept?
  17          MR. CERRETA: Do you want to take a          17       A. There was a porch. That's it.
  18   break?                                             18       Q. At some point did the family leave
  19          MR. GARABEDIAN: Sure.                       19   Acul du Nord when you were a child?
  20          THE VIDEOGRAPHER: Going off the             20       A. Yes.
  21   record. The time is 10:13.                         21       Q. In your interrogatories, and I'm
  22          (Whereupon, a recess was taken.)            22   looking at Interrogatory No. 2 just for your
  23          THE VIDEOGRAPHER: Back on the record.       23   counsel, it says you were six years old when you
  24   The time is 10:29.                                 24   left Acul du Nord. Is that right?
  25   BY MR. CERRETA:                                    25       A. I don't remember, but that might be


                                            Page 39                                                Page 41
   1      Q. Mr. Saincirin, were you born in an            1   correct, because I was very young when we did
   2   area called Acul du Nord?                           2   move.
   3      A. Yes.                                          3      Q. Where did you move to?
   4      Q. And did you live at a place called            4      A. Labory.
   5   Coupe David?                                        5      Q. Is Labory a city in Haiti?
   6      A. Yes.                                          6      A. It's not a city. It's an area.
   7      Q. Is that where your mother is living           7      Q. Is it near Cap-Haïtien?
   8   now, in Acul du Nord?                               8      A. A small area.
   9      A. That's where she lives, yes.                  9         Yes, it's in Cap-Haïtien, but next to
  10      Q. And does she still live at that same         10   Cap-Haïtien.
  11   address that you lived when you were first born?   11      Q. And did the whole family move from
  12      A. No.                                          12   Acul du Nord to Labory?
  13      Q. She lives in a different place in Acul       13      A. Yes. The family on my father's side,
  14   du Nord?                                           14   yes.
  15      A. Yes.                                         15      Q. Did your mother move to Labory with
  16      Q. When you were a small child living in        16   you?
  17   Acul du Nord, did you live with both of your       17      A. Yes.
  18   parents at that time?                              18      Q. And all of your siblings, did they
  19      A. My father would often be there to get        19   move to Labory also?
  20   food.                                              20      A. Yes.
  21      Q. Would he sleep over nights at the            21      Q. And in Labory, did you live in a
  22   place in Acul du Nord?                             22   house?
  23      A. Sometimes, yes.                              23      A. You mean by myself, or with other
  24      Q. And did your siblings live there with        24   people?
  25   you in Acul du Nord?                               25      Q. Well, the whole family moved from Acul


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   1   du Nord to Labory, right?                           1      Q. How old were you when you moved to
   2       A. Yes.                                         2   Konasa?
   3       Q. And back in Acul du Nord, you had been       3      A. I don't remember.
   4   living in a private home, right?                    4      Q. Am I right that you were six years old
   5       A. No.                                          5   when you moved from Acul du Nord to Labory?
   6       Q. Was it your testimony earlier that           6      A. I had answered yes to that question,
   7   when you were living in Acul du Nord you all had    7   so I'm not sure exactly, because I was very
   8   been living in a house, right?                      8   young.
   9       A. Yes, I was with my family.                   9      Q. Sure.
  10       Q. And then when the family moved to           10          Can you estimate about how old were
  11   Labory, did you move into a different house?       11   you when you left Labory?
  12       A. No. We were together.                       12      A. No, I don't remember. I don't
  13       Q. Were you living together in a house in      13   remember.
  14   Labory?                                            14      Q. When you left Labory, had you already
  15           THE INTERPRETER: The interpreter           15   started attending any schools affiliated with
  16   would like to make a clarification for the         16   PPT?
  17   deponent.                                          17      A. Could you repeat the question, please?
  18       A. Yes, we all went together. We left          18      Q. Sure.
  19   Acul du Nord to go to another house in Labory.     19          When you moved to Konasa, had you
  20       Q. How many rooms did the house in Labory      20   already started going to PPT?
  21   have?                                              21      A. No.
  22       A. It was only one room, but they divided      22      Q. Where is Konasa?
  23   it in two.                                         23      A. It's a little area to the side, but in
  24       Q. How was it divided in two?                  24   the town.
  25       A. They just put a curtain.                    25      Q. In the Town of Cap-Haïtien?


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   1        Q. Did the children sleep on one side of       1       A. It's not inside the city, it's next to
   2    the curtain?                                       2   the city.
   3        A. Yes, in the room, yes.                      3       Q. Did anyone else from your family go
   4        Q. And then on the other side of the           4   with you when you moved to Konasa?
   5    curtain, was that where your parents would         5       A. No.
   6    sleep?                                             6       Q. Who did you move in with in Konasa?
   7        A. Yes.                                        7       A. With my father's brother.
   8        Q. Was your father working at the time         8       Q. What was your father's brother's name?
   9    when you were living in Labory?                    9       A. Dorecues Louis. D-O-R-E-C-I-U-S --
  10        A. Yes.                                       10   C-U-E-S.
  11        Q. What sort of work was he doing in          11       Q. Why did you move from the family home
  12    Labory?                                           12   in Labory to your uncle's home in Konasa?
  13        A. The same type of work. Working in          13       A. I wasn't able to get any kind of help
  14    cement construction.                              14   from my parents, so I went to my uncle's house
  15        Q. Did his wages help to support the          15   to see if he would send me to school.
  16    family?                                           16       Q. Did your uncle have a job?
  17        A. Sometimes, yes.                            17       A. He was doing the same job as my dad.
  18        Q. Was anybody else in the family working     18       Q. Was he married?
  19    at that time?                                     19       A. No.
  20        A. No.                                        20       Q. Did he have any children?
  21        Q. At some point did you leave the family     21       A. Yes.
  22    home in Labory and move somewhere else?           22       Q. How many children did he have?
  23        A. Yes.                                       23       A. He had several, but I don't remember
  24        Q. Was that a place called Konasa?            24   how many.
  25        A. Yes.                                       25       Q. Were they -- were any of them living


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   1   with him in Konasa when you arrived?               1   somewhere else?
   2      A. Yes.                                         2       A. Can you repeat the question for me?
   3      Q. How many children were living there          3       Q. You moved from your uncle's house in
   4   when you arrived?                                  4   Konasa back to Labory, right?
   5      A. I don't remember.                            5       A. Yes.
   6      Q. Do you remember any of their names?          6       Q. And it was your testimony earlier that
   7      A. I don't remember.                            7   you can't remember exactly how long you stayed
   8      Q. Was your uncle able to send you to           8   in Labory that second time, right?
   9   school?                                            9       A. Yes. I wasn't able to testify because
  10      A. I wanted this. He could have, but he        10   I didn't remember.
  11   didn't do it.                                     11       Q. Were you a student at Eben-Ezer while
  12      Q. How long did you live with your uncle       12   you were living in Labory for that second time?
  13   in Konasa?                                        13       A. Yes.
  14      A. I don't remember.                           14       Q. What grade did you go up to in
  15      Q. In your Interrogatory No. 2 you say         15   Eben-Ezer?
  16   "After two years I went back to my mom's house    16       A. I spent two years there.
  17   in Labory." Does that sound about right?          17       Q. Did it cost money to go to Eben-Ezer?
  18      A. Yes, approximately two years. But           18       A. Yes, had you to pay.
  19   like I said before, I was very young, and so I    19       Q. Did your parents pay your tuition
  20   don't remember the exact dates.                   20   there?
  21      Q. When you were living in Konasa with         21       A. No. PPT paid.
  22   your uncle, for any of that time were you a       22       Q. Okay. After Eben-Ezer, what was the
  23   student at PPT?                                   23   next school you attended after that?
  24      A. No.                                         24       A. Pierre Toussaint.
  25      Q. After you moved back in with your           25       Q. And did you live at the Village at the


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   1   mother in Labory, were you -- is that when you     1   Pierre Toussaint school?
   2   started as a student at PPT?                       2       A. Yes. But you have to ask the question
   3       A. No.                                         3   more clearly, because we have to talk about
   4       Q. When you had moved back to Labory for       4   whether it was before St. Georges or after
   5   the second time, do you remember how long you      5   St. Georges.
   6   lived there on that second stay at the family      6       Q. What is St. Georges?
   7   home in Labory?                                    7       A. It's a school. Yes, that's right,
   8       A. No, I don't know. I don't remember.         8   it's a school.
   9       Q. What was the first school you ever          9       Q. Where were you living when you
  10   attended?                                         10   attended St. Georges?
  11       A. I was at Eben-Ezer. Before I went to       11       A. When I was at St. Georges, I was
  12   Cap-Haïtien in the countryside I had gone to a    12   living in Labory.
  13   school in the countryside, but I don't remember   13       Q. And then after St. Georges, did you go
  14   its name.                                         14   to the Village?
  15       Q. Was that back in Acul du Nord?             15       A. Yes.
  16       A. Yes, in Acul du Nord, not far from an      16       Q. Did you ever live in a place called
  17   area called Desmangles, D-E-S-M-A-N-G-L-E-S.      17   Baryè Boutèy?
  18       Q. And then after you moved out of Acul       18       A. Yes.
  19   du Nord, there was another school you attended?   19       Q. Was that before or after you came back
  20   I believe you just said the name of it.           20   to Labory for the second time?
  21       A. Yes. When I went to town, the first        21       A. Can you repeat for me again?
  22   school I went to when I went to town for the      22       Q. When did you move to Baryè Boutèy?
  23   first time was that school Eben-Ezer.             23       A. While the project was paying for me, I
  24       Q. After you were living in Labory for        24   had a problem. My parents were no longer there,
  25   that second time, at some point did you move      25   they left me by myself, so I was in great


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   1   difficulty. So I went to speak to Andy, who         1   living in the streets?
   2   spoke about it with Margarette, and she talked      2       A. Yes. I was already in that situation.
   3   about it in the Village, and they gave me a         3       Q. And what did you hear about the center
   4   place to stay. I stayed there a few days, and       4   at Rue 13?
   5   then Margarette did the following. They found a     5       A. That it was a center that was there to
   6   way of giving me a place to stay. And then some     6   help kids that weren't able to fend for
   7   of the kids let me stay at their homes. But I       7   themselves that were in the street.
   8   was still with the project.                         8       Q. And when you heard that, is that what
   9       Q. What was the first school you went to        9   made you want to go there?
  10   that was part of PPT?                              10       A. It wasn't only that, it was also that
  11       A. You mean that PPT was sponsoring?           11   I wanted to learn, and I wanted to meet somebody
  12       Q. Yes.                                        12   in the society that could help me.
  13       A. Street 13, Rue 13.                          13       Q. Do you remember how old you were the
  14       Q. And where were you living when you          14   first time you went to Rue 13?
  15   first started going to Rue 13?                     15       A. No. I don't remember.
  16       A. I was in Labory.                            16       Q. What was the day like as a student at
  17       Q. And was this when you had the problem       17   Rue 13?
  18   when your parents had moved away?                  18           MR. GARABEDIAN: Objection.
  19       A. Yes.                                        19   BY MR. CERRETA:
  20       Q. Where did they go?                          20       Q. Could you describe for me a typical
  21       A. They had gone back to the countryside,      21   day at Rue 13?
  22   and my father was sick.                            22       A. I don't remember everything, but when
  23       Q. And so this is when you had spoken to       23   you got there you would take a shower, and you
  24   Andy at the time that your father got sick?        24   would eat. They would show you how to write.
  25       A. He had fallen sick, he had gone to the      25   Sometimes they would give us advice, counseling,


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   1   countryside, a bit of time elapsed, quite a bit     1   and they would follow your behavior to see
   2   of time elapsed, and then I spoke to him.           2   whether you were a child that was capable of
   3       Q. Where were you living between the time       3   learning. I don't remember anything else.
   4   you spoke to Andy and -- I'm sorry, strike that.    4      Q. What sorts of things did you learn at
   5           Where were you living between the time      5   Rue 13?
   6   when your father fell ill and went to the           6      A. They taught me how to write. They
   7   countryside and the time you spoke to Andy about    7   would teach us some math exercises, and other
   8   it?                                                 8   things that I don't remember.
   9       A. Where I was living?                          9      Q. Do you remember any of your teachers'
  10       Q. Yes. Did you have anywhere to stay?         10   names at Rue 13?
  11       A. I had stayed back in the same house.        11      A. I can give you some names, yes.
  12       Q. But your parents were no longer living      12      Q. Please do.
  13   there?                                             13      A. There was Andy. There was Mémé.
  14       A. Yes, and that's why I ended up in the       14   There was Margarette. There was Romere. There
  15   street.                                            15   was Madame Calixte. I don't remember the
  16       Q. When did you end up in the street?          16   others. I'm sorry, I remember now two others,
  17       A. It was at that same period where my         17   Emilie and John, who was there for quite a bit.
  18   parents were ill, and I was -- didn't have         18   John, he's a foreigner.
  19   anyone to care for me.                             19      Q. Do you remember what subject Mémé
  20       Q. When did you first hear about the           20   taught?
  21   center at Rue 13?                                  21      A. I don't remember.
  22       A. I used to hear about it from the            22      Q. How about Margarette?
  23   street kids. And I tried to look for the place     23      A. She was a councillor.
  24   myself, too.                                       24      Q. Madame Calixte?
  25       Q. Was this at the time when you were          25      A. She was a teacher. She was showing us


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   1   how to write and all those things.                   1       A. Yes, it existed. I remember people
   2       Q. What did Emilie teach?                        2   talking about it, but I don't remember all the
   3       A. She was always teaching us how to             3   details.
   4   write. And they didn't have fixed teaching           4       Q. Did you ever go to Rue 15?
   5   assignments, they would be rotated, and they         5       A. I don't remember. It's been a long
   6   would be replacing one another when some didn't      6   time.
   7   show up.                                             7       Q. We were talking earlier about the
   8       Q. How about Andy, was he a white person?        8   problems you were having with your living
   9       A. Yes. He was one of the people in              9   situation while you were a student at Rue 13.
  10   charge of Rue 13.                                   10       A. Yes.
  11       Q. And you also mentioned John. Was he          11       Q. Did you go to your teachers and tell
  12   also a white person?                                12   them about this difficulty you were having?
  13       A. Yes, he was a white person.                  13       A. I didn't speak to them in that manner.
  14       Q. Were there any other white people that       14   But after a while when I was already part of the
  15   you remember who worked at PPT? I'm sorry.          15   project, I went to speak to Andy.
  16          Were there any other white people that       16       Q. Did you tell Andy about this problem
  17   worked at Rue 13?                                   17   you had with your parents leaving?
  18       A. I don't remember.                            18       A. Yes.
  19       Q. Did you ever see Douglas Perlitz at          19       Q. Do you remember what Andy said when
  20   Rue 13?                                             20   you told him about your problem?
  21       A. Yes, he would be there, but I didn't         21       A. I don't remember.
  22   listen, because he wasn't working there. He was     22       Q. But he was able to find you a place to
  23   somebody who was in charge.                         23   stay?
  24       Q. How often would you see Douglas              24       A. Yes, he let me stay at his house.
  25   Perlitz at Rue 13?                                  25       Q. How long did you stay at his house?

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   1       A. I don't remember, but many times.             1       A. I don't remember, but it wasn't a lot
   2       Q. What would he do when he came to              2   of time. Maybe about a week, almost a week.
   3    Rue 13?                                             3       Q. Where was Andy's house?
   4       A. I don't remember.                             4       A. In Bel Air.
   5       Q. Did you ever speak to Douglas at the          5       Q. Did Douglas Perlitz live there, too?
   6    time you were attending Rue 13?                     6       A. Yes.
   7       A. Yes, sometimes I did.                         7       Q. The time when you stayed over at Bel
   8       Q. When was the first time you met               8   Air, was that the first time you had ever been
   9    Douglas Perlitz; was it while you were at           9   to that house?
  10    Rue 13?                                            10       A. Yes.
  11       A. While I was at Rue 13, yes. No, I'm          11       Q. Where did you sleep when you -- where
  12    sorry. Can you repeat again the question? You      12   did you sleep in the house in Bel Air when you
  13    mean the first time?                               13   stayed there for a few days?
  14       Q. Yes. When did you first meet Douglas         14       A. In the living room on the couch.
  15    Perlitz?                                           15       Q. Did you talk to Douglas Perlitz while
  16       A. I also used to meet him in Rue 3, a          16   you were staying there?
  17    center called Center 3, behind the Sacred Heart.   17       A. I don't remember.
  18       Q. Was that before you started to go to         18       Q. Did Douglas Perlitz do anything to
  19    Rue 13?                                            19   hurt you while you were there for that time
  20       A. Yes.                                         20   staying over?
  21       Q. Was there any other place before             21       A. No.
  22    Rue 13 that you would go as part of PPT?           22       Q. Did you see any other children there
  23       A. I don't remember.                            23   while you were there?
  24       Q. Was there ever a place at Rue 15 that        24       A. Inside the house, or do you mean
  25    was part of PPT?                                   25   outside?


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   1      Q. Inside the house.                            1      A. I don't remember.
   2      A. No.                                          2      Q. Was it more than a month?
   3      Q. Did Andy sleep there at the house            3      A. I don't remember.
   4   while you were sleeping there?                     4      Q. Was it more than a few days?
   5      A. Yes.                                         5      A. More than a few days, yes, but I don't
   6      Q. Did he stay in his room?                     6   remember.
   7      A. Yes.                                         7      Q. And while you were living with the
   8      Q. And did Douglas Perlitz sleep there,         8   Jean-Charleses, were you still attending 13th
   9   too?                                               9   Street?
  10         MR. GARABEDIAN: Objection.                  10      A. No. I wasn't in Rue 13 so much as I
  11      A. Below. Because the house was split in       11   was in St. Georges. I was already part of the
  12   two, he was below.                                12   project, but I wasn't inside the project
  13   BY MR. CERRETA:                                   13   sleeping.
  14      Q. Was there anyone else staying there?        14      Q. While you were at 13th Street, did you
  15      A. I don't remember.                           15   ever see any other white people who would come
  16      Q. So after a few days, where did you          16   to visit?
  17   move?                                             17      A. Yes.
  18      A. After a few days, I went to live in         18      Q. Do you remember any of their names?
  19   Baryè Boutèy.                                     19      A. I don't remember their names.
  20      Q. And did PPT pay for you to stay in          20      Q. How often would visitors come to 13th
  21   Baryè Boutèy?                                     21   Street?
  22      A. No. I was staying in the homes of           22      A. Many times I saw foreigners come, but
  23   some of the kids that were part of the project.   23   I don't remember how many times.
  24      Q. Who did you stay with in Baryè Boutèy?      24      Q. Do you know a person named Father Paul
  25      A. With Jackson, with Joseph, with             25   Carrier?


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   1   Francilien. I said Jackson, Francilien, Joseph.    1       A. Yes.
   2   There were others. I don't remember. There was     2       Q. Did you ever see Father Paul Carrier
   3   Joseph's mom, too.                                 3   at 13th Street?
   4      Q. Is that Jackson Jean-Charles,                4       A. No, I don't remember.
   5   Francilien Jean-Charles, and Joseph                5       Q. Do you know a person named Hope
   6   Jean-Charles?                                      6   Carter?
   7      A. Yes. And Jackson's mom was there,            7       A. Say it in Creole for me, please.
   8   too.                                               8       Q. Hope Carter.
   9      Q. Are they all brothers, Jackson,              9       A. No. I know Madame Carter.
  10   Francilien, and Joseph?                           10       Q. Did you ever see Madame Carter at the
  11      A. Yes.                                        11   time you were attending 13th Street?
  12      Q. And was Jackson's mother also               12       A. No, I saw her at the project.
  13   Francilien and Joseph's mother?                   13       Q. At the Village you mean?
  14      A. Yes.                                        14       A. Yes.
  15      Q. Was there anyone else living in the         15       Q. Did you ever see her anywhere outside
  16   home?                                             16   of the Village?
  17      A. Yes.                                        17       A. What do you mean?
  18      Q. But it was your testimony, right, you       18       Q. Was it only at the Village that you
  19   just can't remember their names?                  19   saw Hope Carter?
  20      A. Yes, that's right.                          20       A. I used to see her in Bel Air, too.
  21      Q. Were they part of the Jean-Charles          21       Q. How many times did you see Hope Carter
  22   family, these other people?                       22   in Bel Air?
  23      A. Maybe so.                                   23       A. Many times, but I don't know how many.
  24      Q. How long did you stay with the              24       Q. What was Mrs. Carter doing at Bel Air?
  25   Jean-Charleses in Baryè Boutèy?                   25       A. I don't know, but I used to see her


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   1   there.                                              1   names at the St. Georges school?
   2      Q. Have you ever spoken to Hope Carter?          2      A. No, I don't remember.
   3      A. Yes, I used to speak to her.                  3      Q. What was the next school you attended
   4      Q. How many times have you spoken with           4   after St. Georges?
   5   her?                                                5      A. PPT, the Village, Project Pierre
   6      A. She would speak to us sometimes as a          6   Toussaint.
   7   group, but sometimes I would also speak with her    7      Q. What grades did you go to at the
   8   individually. Even though I didn't speak            8   Village?
   9   English, I would take a person with me to           9      A. I did the fourth and the fifth, fourth
  10   translate for me. And I was also making the        10   and fifth year together, and sixth year outside.
  11   effort to learn English. She would always wish     11   They had me take my test outside.
  12   me that one day I would understand.                12      Q. So you attended -- what do you mean
  13      Q. Did you ever speak to Hope Carter at         13   when you say "fourth and fifth year together"?
  14   Bel Air?                                           14      A. It means that those two grades were
  15      A. In Bel Air, no.                              15   held simultaneously together, because we had --
  16      Q. How often would you go to Bel Air?           16   we were behind, so that means they prepared us
  17      A. Many times, but I don't know, I don't        17   for both fourth and fifth grades at the same
  18   remember how many times.                           18   time, simultaneously.
  19      Q. Why would you go to Bel Air?                 19      Q. And did you attend the sixth year at
  20      A. Sometimes I would go because they            20   PPT?
  21   would give us some change, a little bit of money   21      A. Yes, I did it at PPT, but the exam was
  22   so that we could afford to take public             22   taken outside the school.
  23   transportation. And Bel Air was also the place     23          MR. CERRETA: Why don't we go off the
  24   where you would find public transportation that    24   record for a second for a technical problem.
  25   would transport us to the project. This would      25          THE VIDEOGRAPHER: Going off the


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   1   happen sometimes.                                   1   record. The time is 11:24.
   2       Q. Other than the time that Andy brought        2         (Whereupon, a recess was taken.)
   3   you there to sleep over a few days, did you ever    3         THE VIDEOGRAPHER: Back on the record.
   4   spend the night at Bel Air?                         4   The time is 11:37.
   5       A. No.                                          5   BY MR. CERRETA:
   6       Q. Do you remember how old you were when        6      Q. Sir, you were testifying earlier about
   7   you started to attend St. Georges?                  7   how you stayed for a time at the Jean-Charles'
   8       A. No, I don't remember.                        8   house, is that right?
   9       Q. What grades did you go to at                 9      A. Yes.
  10   St. Georges?                                       10      Q. Is Jackson Jean-Charles a friend of
  11       A. I remember I did two grades in              11   yours?
  12   St. Georges.                                       12      A. Yes, he's my friend.
  13       Q. Was it the second and the third grade?      13      Q. Are you still in touch with him?
  14       A. Second year and third year.                 14      A. Yes.
  15       Q. And was it your testimony earlier that      15      Q. When was the last time you spoke with
  16   PPT sponsored your attendance at St. Georges?      16   him?
  17       A. Yes.                                        17      A. I don't quite remember.
  18       Q. When you were attending St. Georges,        18      Q. Have you spoken to Jackson about your
  19   were you living at the Jean-Charles residence?     19   case?
  20       A. Can you repeat for me, please?              20      A. Maybe so, but I don't remember.
  21       Q. When you were attending St. Georges,        21      Q. You don't know if you spoke to Jackson
  22   were you living at the home of the                 22   about your case?
  23   Jean-Charleses?                                    23      A. You're speaking about my own case, the
  24       A. Yes.                                        24   abuse? What is it that you're speaking of?
  25       Q. Do you remember any of your teachers'       25      Q. Well, first about your case, about the


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   1   lawsuit you've brought.                              1       A. Well, that's the way the program was
   2       A. Maybe so, but I don't remember.               2   structured. They chose me to go to the school
   3       Q. Have you spoken to Jackson about the          3   inside.
   4   abuse that Douglas Perlitz committed?                4       Q. Do you know who chose you?
   5       A. No.                                           5       A. I saw my name written down somewhere,
   6       Q. Has Jackson ever told you anything            6   and that meant that I was going to be part of
   7   about the abuse that Douglas Perlitz committed?      7   the project.
   8       A. No.                                           8       Q. Why were you chosen to be one of the
   9       Q. How about Joseph Jean-Charles, is he a        9   students to move to the Village?
  10   friend of yours?                                    10       A. I don't know.
  11       A. Yes, he's my friend. They are three          11       Q. Where was the Village located?
  12   brothers, and we were all at the Village            12       A. In Blue Hills. It's a little area way
  13   together.                                           13   to the side.
  14       Q. Do you still keep in touch with Joseph       14       Q. Would you describe for me a typical
  15   Jean-Charles?                                       15   day at school at the Village?
  16       A. Yes.                                         16       A. You mean when we're inside with the
  17       Q. Did Joseph Jean-Charles bring a case         17   project?
  18   against Douglas Perlitz and other Defendants?       18       Q. Yes. Just for me, you know, what a
  19       A. Can you repeat for me?                       19   typical day would be like from the time you
  20       Q. Did Joseph Jean-Charles bring a case         20   arrived to the time you went home at the end of
  21   against Douglas Perlitz and other people and        21   the day.
  22   organizations?                                      22          MR. GARABEDIAN: Objection.
  23       A. I don't know.                                23       A. I don't remember things like that,
  24       Q. How about Francilien Jean-Charles, do        24   because it's been a long time.
  25   you know if he is one of the Plaintiffs who         25   BY MR. CERRETA:


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   1    filed a lawsuit against Douglas Perlitz?            1       Q. When you first started at the Village,
   2        A. Yes.                                         2   how would you get there in the morning?
   3        Q. Did Francilien Jean-Charles receive          3       A. Sometimes I would sleep there. I
   4    money as a result of his lawsuit against Douglas    4   would go to the school outside when I was first
   5    Perlitz?                                            5   inside.
   6        A. I don't know.                                6          THE INTERPRETER: I want to ask the
   7        Q. Did Joseph Jean-Charles receive money        7   witness to repeat. I didn't quite understand.
   8    as a result of his case against Douglas Perlitz?    8          MR. GARABEDIAN: Objection.
   9        A. I don't know.                                9       A. Well, when I was first at the Village,
  10        Q. Before you started school at the            10   I wasn't at school at the Village, I was at
  11    Village, had you ever heard any rumors about       11   school in St. Georges, I was doing the second
  12    Douglas Perlitz abusing children?                  12   year. And then during the course of the second
  13        A. Can you repeat for me?                      13   year they put me at school inside the Village,
  14        Q. Before you started school at the            14   and it's at that time that the Pierre Toussaint
  15    Village, had you ever heard anything about         15   school was created, because it didn't exist
  16    Douglas Perlitz abusing children?                  16   previously.
  17        A. No.                                         17   BY MR. CERRETA:
  18        Q. When you went to school at the              18       Q. When you were attending the
  19    Village, did you sleep over there?                 19   St. Georges school, part of that time were you
  20        A. Where?                                      20   living with the Jean-Charles family at their
  21        Q. At the Village.                             21   house?
  22        A. At the beginning, no. After a certain       22       A. Yes.
  23    time, yes.                                         23       Q. And then at some point did you move
  24        Q. Who decided that you were going to          24   into the Village?
  25    move from St. Georges to the Village?              25       A. Yes, and that's where I ate, and I


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   1   returned to.                                         1       Q. Where would the children sleep at
   2       Q. But at the beginning of that time             2   night?
   3   living at the Village, were you still attending      3          MR. GARABEDIAN: Objection.
   4   school at St. Georges?                               4       A. You mean the kids who were staying
   5       A. Yes.                                          5   inside? Because not all of them slept inside.
   6       Q. Do I have it right that when you were         6   BY MR. CERRETA:
   7   first living at the Village, it had not yet          7       Q. The ones who were sleeping -- who were
   8   opened up as a school?                               8   staying inside, where would they sleep?
   9           MR. GARABEDIAN: Objection.                   9          MR. GARABEDIAN: Objection.
  10       A. Yes. That's right. At the beginning          10       A. There were three buildings that was
  11   it was the Village, and then they figured that      11   used for those -- as dormitories; Number 1,
  12   they were spending too much money for schooling     12   Number 2, Number 3.
  13   outside the Village, so they decided to make a      13   BY MR. CERRETA:
  14   school inside the Village.                          14       Q. Were there other people besides you
  15   BY MR. CERRETA:                                     15   who were going to school at St. Georges?
  16       Q. So at that beginning time when you           16       A. Yes. There was one other kid, but his
  17   lived at the Village before it became a school,     17   name escapes me. It's been a long time.
  18   do you remember any of the staff that worked        18       Q. Before the school opened, would other
  19   there?                                              19   children go to different schools besides
  20       A. Yes. But allow me to make a comment,         20   St. Georges?
  21   please.                                             21          MR. GARABEDIAN: Objection.
  22       Q. Please do.                                   22       A. Yes.
  23       A. So there's the school, but they kept         23   BY MR. CERRETA:
  24   the name Village because it was also a village      24       Q. Do you remember the names of some of
  25   previously. That's what I wanted to say.            25   those other schools?


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   1        Q. So it was known as the Village when it       1       A. No.
   2    was kind of a dormitory where people lived and      2       Q. Do you remember any of the names of
   3    went to school elsewhere, is that right?            3   the people who were staying at the Village with
   4        A. Yes. It was called the Village, and          4   you before the Village school opened?
   5    it remained the Village after they built the        5       A. No.
   6    school, and they gave the school the name           6       Q. Before the Village school opened, who
   7    Village because that village existed previously.    7   would watch over the children that were staying
   8    That's what I think anyway.                         8   there?
   9        Q. So on a typical day, would someone           9       A. Can you repeat for me?
  10    transport you from the Village to the school at    10       Q. Do you remember any of the staff that
  11    St. Georges?                                       11   worked there before the Village school opened?
  12          MR. GARABEDIAN: Objection.                   12          MR. GARABEDIAN: Objection.
  13        A. Sometimes they would give us money to       13       A. I remember some of them. Which ones
  14    pay for transportation, and sometimes there        14   would you like to know? Each one had a
  15    would be their own vehicles that would be used     15   different position.
  16    to drop us off.                                    16   BY MR. CERRETA:
  17    BY MR. CERRETA:                                    17       Q. How about the people who would stay
  18        Q. Would you eat in the morning at the         18   over with the children overnight.
  19    Village before going to St. Georges?               19       A. There was Big Mano. Sometimes there
  20        A. Sometimes, yes.                             20   would be Daniel. Sometimes Alex, Alex or Jack
  21        Q. Before the school opened, about how         21   Caswell. And among the students that would be
  22    many children were living at the Village?          22   sleeping there, some of them would be assigned
  23          MR. GARABEDIAN: Objection.                   23   tasks, like they would be part of the staff.
  24        A. I don't know. I really don't know.          24       Q. Were you assigned any tasks like part
  25    BY MR. CERRETA:                                    25   of the staff?


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   1      A. No.                                            1   that was responsible, and they paid me.
   2      Q. Would a member of the staff sleep in           2      Q. How much were you paid?
   3   the same room as the children at the Village?        3      A. Not a lot of money. Like 200 gourdes,
   4          MR. GARABEDIAN: Objection.                    4   250 gourdes. It wasn't a fixed amount. It
   5      A. Not in the same bed, but in the same           5   depended on what you did.
   6   room, yes, sometimes.                                6      Q. After the Village school opened, is
   7   BY MR. CERRETA:                                      7   that when you transferred from St. Georges to
   8      Q. Do you remember which house you were           8   the Village for school?
   9   staying in at the Village?                           9      A. Yes.
  10      A. I was in all three.                           10      Q. What were your teachers' names at the
  11      Q. Which was the first one that you              11   Village?
  12   stayed in?                                          12      A. I remember some of the names, but I
  13      A. The first house I stayed in was House         13   won't be able to remember all of them.
  14   Number 2.                                           14      Q. Okay. Can you tell me the ones you
  15      Q. Were you staying in House 2 before the        15   remember?
  16   Village school opened?                              16      A. There was Mémé, Mrs. Nelta, sometimes
  17      A. Yes.                                          17   Robinson, sometimes Daniel, and there was
  18      Q. How long were you staying at the              18   Gideon, and also Master Edrice. I don't
  19   Village before the school on the premises           19   remember the others.
  20   opened?                                             20      Q. Robinson, what was his job at the
  21      A. That I don't remember.                        21   Village?
  22      Q. The abuse that you allege Douglas             22      A. He was one of the people that was in
  23   Perlitz committed against you, did any of that      23   charge, but sometimes for the school he would
  24   abuse happen before the Village school opened?      24   teach certain classes.
  25          MR. GARABEDIAN: Objection.                   25      Q. What classes did he each?


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   1        A. The PPT school, you mean?                    1      A. He would teach us French for the sixth
   2    BY MR. CERRETA:                                     2   year students, but he would also be sort of a
   3        Q. Yes.                                         3   general substitute teacher. Whenever a teacher
   4           Did Douglas Perlitz ever abuse you           4   was not around, he would replace.
   5    before the PPT school opened at the Village?        5      Q. Once the school opened, would you
   6        A. The school existed already.                  6   describe for me a typical school day at the
   7        Q. When the Village school opened, was          7   Village?
   8    there construction done at the Village in order     8      A. Can you clarify your question, please?
   9    to expand it?                                       9   Maybe I should --
  10        A. Yes.                                        10      Q. I'll just try again.
  11        Q. Were you staying there at the time of       11         Would you describe for me from the
  12    the construction?                                  12   beginning of the school day to the end what a
  13        A. Yes. And I also worked, I also worked       13   regular day at the Village school would be like?
  14    on the site so I could have some money to live.    14         MR. GARABEDIAN: Objection.
  15        Q. What sort of work did you do on the         15      A. When we were in Project Pierre
  16    site?                                              16   Toussaint?
  17        A. Sometimes I would carry cinder blocks,      17   BY MR. CERRETA:
  18    I would mix the mortar, I would dig so that they   18      Q. Yes.
  19    could build the foundations.                       19      A. So sometimes you would finish bathing,
  20        Q. Were you paid for that work?                20   and finish eating, and we would try to play
  21        A. Yes. I was working with engineer            21   soccer amongst ourselves. And some of them,
  22    Mack.                                              22   sometimes we would go back to bed. And also
  23        Q. Did engineer Mack pay you for the           23   some of them would go into town, and they would
  24    work?                                              24   come back in the afternoon. And after we
  25        A. Yes, they paid -- he paid the Haitian       25   finished eating, those who were supposed to


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   1   study also studied. And that was it.                1   besides Little Peterson and Wismond?
   2       Q. Did you ever see Douglas Perlitz at          2      A. I don't remember the names, but there
   3   the Village?                                        3   were other kids as well.
   4       A. Yes, I saw him.                              4      Q. Did Little Peterson ever tell you why
   5       Q. What would he be doing at the Village?       5   Douglas would take him out of the dormitory?
   6       A. He was one of the people in charge. I        6      A. One time he spoke about it, but at
   7   can't say that he worked on a specific thing.       7   that time the project was nearly closed. And
   8       Q. Was he the person who was in charge of       8   that's it.
   9   the Village?                                        9      Q. When you say "the project was nearly
  10       A. Yes, he was the head of the Village,        10   closed," do you remember what year it was when
  11   and sometimes he would go to the town, or he       11   he spoke about it?
  12   would go to Bel Air, and then he would come        12      A. The year the project was closed?
  13   back. And then sometimes he would spend a bit      13      Q. Yes. Do you know what year that was?
  14   of time in the Village speaking to people.         14      A. Yes, I remember because I was in my
  15   Sometimes he would come and he would rest and he   15   ninth year.
  16   would not see anyone. And then if anyone wanted    16      Q. Was it 2008?
  17   to speak to him he was -- he made himself          17           THE INTERPRETER: Excuse me one
  18   available and people would come and speak to       18   second.
  19   him.                                               19      A. And I was at the school called
  20       Q. Did you ever see Douglas Perlitz at         20   Christophien.
  21   the Village at night?                              21      Q. Was there ever a time when graffiti
  22       A. Many times, yes.                            22   was written about Douglas Perlitz's abuse?
  23       Q. What would he do when he came to the        23      A. Yes. And I was one of them, too.
  24   Village at night?                                  24      Q. You were one of the people who wrote
  25       A. Sometimes he would have his own             25   the graffiti?


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   1   personal activities. Sometimes --                   1       A. Yes, I was one.
   2         THE INTERPRETER: I'm sorry, I'm going         2       Q. What graffiti did you write?
   3   to have him repeat more slowly. I don't want to     3       A. We wrote that we were tired of that
   4   mess this up.                                       4   guy and things of the like, and we wanted to
   5      A. I used to see him, sometimes he would         5   reveal this, we wanted this no longer to be a
   6   come for his own personal matters, and sometimes    6   secret.
   7   he would come to speak to some of us. And           7       Q. Who did this with you?
   8   sometimes he would enter into the dormitories       8       A. We were several, but I don't remember
   9   where we would be sleeping, where I would be        9   the names.
  10   sleeping, and he would call one of the students    10       Q. Do you remember any of their names?
  11   to go down with him. Or he would not say           11       A. I remember the people, but I don't
  12   anything at all, but he would hit his feet or      12   remember their names.
  13   make some kind of a sound signal with his feet,    13       Q. Did you do anything else to reveal
  14   and that would be a signal for that child to go    14   what Douglas was doing besides graffiti?
  15   down and meet him, and that child would go down    15       A. Oh, I bore witness to my own
  16   and meet him, and come back.                       16   experience. And I also wrote, I wrote about the
  17      Q. Did he ever come and take you out of         17   others, too.
  18   the room when you were sleeping in the             18       Q. When did you write about your
  19   dormitory?                                         19   experience and the experiences of others?
  20      A. No.                                          20       A. I don't understand the question.
  21      Q. What children would he take out of the       21       Q. Had the Village -- at the time that
  22   dormitory?                                         22   you bore witness to your experience for the
  23      A. Little Peterson. Wismond as well. A          23   first time, had the Village already closed?
  24   bunch of others I don't remember.                  24           MR. GARABEDIAN: Objection.
  25      Q. Do you remember any of the other names       25       A. When I did my own testimony, aside


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   1   from what was written on the walls?                 1   spoken.
   2   BY MR. CERRETA:                                     2       Q. Did you go inside the radio station
   3      Q. Aside from what you had written on the        3   with Willy?
   4   walls, did you do anything else to reveal           4       A. Yes. We were inside, but I don't
   5   Douglas's abuse before the Village closed?          5   remember which radio station exactly, because I
   6      A. We went to the radio, and we started          6   left Haiti a long time ago and a lot of time has
   7   revealing. But the leaders who were inside          7   passed.
   8   stopped us.                                         8       Q. Was it the radio station where Cyrus
   9      Q. Who went to the radio with you?               9   Sibert worked?
  10      A. There was Wilnik Mesidor.                    10          MR. GARABEDIAN: Objection.
  11      Q. Anyone else?                                 11       A. I don't remember. It's been a long
  12      A. There were others, but I don't               12   time.
  13   remember. Myself, I was standing, I was there      13   BY MR. CERRETA:
  14   right outside, he's the one that did the           14       Q. Did you yourself say anything on the
  15   speaking. And after this was done on the radio,    15   radio?
  16   Wilnik had to become a runaway, a fugitive, a      16       A. I did give my testimony, but that was
  17   maroon, because it was very serious, it was very   17   after the project closed and I had gone back to
  18   serious business, and it was very dangerous.       18   Haiti.
  19      Q. Who did you go see to speak on the           19       Q. The first time before the project
  20   radio?                                             20   closed, Willy gave his testimony on the radio?
  21      A. I wanted to see Cyrus.                       21       A. It's not Willy, it's Wilnik Mesidor,
  22      Q. Were you able to see Cyrus?                  22   Wilnik Mesidor.
  23      A. Yes. I had come from Santo Domingo to        23       Q. Were you with him as he was giving his
  24   see him, but this had already passed.              24   testimony on the radio?
  25      Q. Before the Village closed when you           25       A. When he gave his testimony, it wasn't

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   1   went to the radio to reveal what Douglas was        1   the testimony about what happened, it was
   2   doing, did you see Cyrus then?                      2   testimony about the situation. Okay.
   3      A. No, I didn't see him at that time.            3      Q. What was his testimony on the radio?
   4      Q. Did someone bar you from going in to          4      A. He was saying with everything that is
   5   see Cyrus?                                          5   happening to us, we are asking to have people
   6      A. I knew he was a journalist, but I             6   who are in positions of authority, serious
   7   didn't know whether or not he was a serious         7   people, to open an investigation into what is
   8   person and what he could do.                        8   going on, all of the bad things should be
   9      Q. You testified a moment ago that "the          9   addressed and corrected, because this isn't a
  10   leaders who were inside stopped us." Were these    10   good thing.
  11   people inside the radio station?                   11      Q. Did Wilnik make any allegations on the
  12      A. I'm talking about Jack Caswell, Alex,        12   radio that Douglas was sexually abusing
  13   the people that were working inside, inside that   13   children?
  14   were working. And when that issue was raised,      14      A. Yes, that's what it was. We said
  15   he went to the radio and said that it was          15   that, but we didn't mention any names.
  16   untrue, and that was a way of blocking us.         16      Q. Did you want to go on the radio to
  17      Q. Did you yourself go to the radio to          17   give your testimony at that time?
  18   reveal what Douglas was doing?                     18      A. I wanted to give my opinion, but I
  19      A. You mean after the Village closed, or        19   wanted to have somebody who was in a position of
  20   what do you mean?                                  20   authority to whom I could give my opinion.
  21      Q. I mean before the Village closed, at         21      Q. Who did you want to -- was there a
  22   the time when you were writing the graffiti, did   22   particular person that you wanted to give your
  23   you go to the radio station to reveal what         23   opinion to?
  24   Douglas was doing?                                 24      A. What do you mean?
  25      A. I had accompanied Willy, but I had not       25      Q. This person in a position of


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   1   authority, was it someone with the police that      1   that day. And they said we shouldn't be
   2   you wanted to give your opinion to?                 2   carrying around these such documents, that's
   3          MR. GARABEDIAN: Objection.                   3   sensitive information.
   4       A. All of the people who were responsible       4          THE INTERPRETER: The interpreter
   5   for the project should have been made aware, and    5   would like to request a clarification from the
   6   those who have the ability to render justice who    6   deponent.
   7   do not accept corruption should have been made      7      A. What happened -- the witness is saying
   8   aware.                                              8   what happened was that Peterson and myself had a
   9   BY MR. CERRETA:                                     9   newspaper in our hands, and we were -- we had
  10       Q. Did you go to the police to tell them       10   this newspaper at the school, and we were
  11   about the abuse?                                   11   discovered with this newspaper which was taken
  12       A. No.                                         12   away from us, and we were punished by having to
  13       Q. Why not?                                    13   clean out the yard because we had such sensitive
  14       A. It's just that it was a very delicate       14   information in our hands.
  15   situation, and my life was in danger.              15      Q. What was the sensitive information in
  16       Q. Why was your life in danger?                16   the newspaper?
  17       A. That was my personal opinion, so I          17      A. It spoke about Douglas Perlitz, about
  18   didn't want to reveal this to just anyone, I had   18   pedophilia, about men with men, business with
  19   to make sure that it was a trustworthy person.     19   boys rather. And it was signed above "To
  20       Q. Before the Village closed, did you do       20   Douglas."
  21   anything else to reveal what Douglas was doing?    21      Q. Was it a document that had been
  22       A. What do you mean?                           22   written to Douglas?
  23       Q. You've testified that you wrote some        23      A. It was written to Douglas, for
  24   graffiti in order to reveal what Douglas was       24   Douglas. That's what we saw.
  25   doing. Is that right?                              25      Q. And what did it say?


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   1       A. Yes, I said that.                            1       A. It was -- it had pornography. But I
   2       Q. And you also accompanied Wilnik to the       2   didn't speak English, so I didn't understand,
   3   radio station?                                      3   but it had pictures with pornography. When
   4       A. Yes.                                         4   Daniel found that we had this newspaper or
   5       Q. Was there anything else before the           5   magazine in our hands, they had us use a sickle
   6   Village closed that you did in order to reveal      6   to clean out the yard as a punishment.
   7   the abuse that Douglas was committing?              7       Q. Did you find this magazine before or
   8       A. We asked for people, Cyrus -- no, I          8   after you had written the graffiti?
   9   don't mean Cyrus, I mean other people to come       9       A. Before. Because we wanted to start an
  10   and start an investigation. But Daniel ended up    10   uprising.
  11   finding a newspaper for us, Daniel inside the      11       Q. Did receiving the magazine make you
  12   Village found a newspaper for us that we could     12   want to start an uprising -- strike that.
  13   talk to, and they spoke about Douglas.             13          Was it seeing the magazine that had
  14       Q. Was Daniel an employee at PPT?              14   prompted you to start the uprising?
  15       A. Yes.                                        15       A. No, it wasn't because of the magazine.
  16       Q. Did you go to the newspaper?                16   It was because of other reasons. The magazine
  17       A. Did I have the newspaper in my hand?        17   was one of the reasons. But we were starting to
  18   What do you mean?                                  18   suffer, and we were suffering a lot.
  19       Q. I mean after Daniel made the                19       Q. What were the other reasons that you
  20   arrangements, did you speak with anyone at the     20   wanted to start the uprising?
  21   newspaper?                                         21       A. The fact that he was abusing us, I
  22       A. I'm sorry, it's not Daniel that found       22   wanted justice, because that wasn't a good
  23   the newspaper. He took the newspaper from our      23   thing.
  24   hands, from my and Peterson's hands, Big           24       Q. Where did you find this magazine?
  25   Peterson. And they made us clean out the fields    25       A. I had -- I was accompanying Peterson.


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   1   Peterson had found this magazine, and I don't      1   that now.
   2   know where he found this magazine, but I was       2          THE VIDEOGRAPHER: Going off the
   3   there when he had the magazine.                    3   record. The time is 12:37.
   4       Q. And was it after -- strike that.            4          (Whereupon, a luncheon recess was
   5           So what was it that Daniel said to you     5          taken.)
   6   when he found you with the magazine?               6
   7       A. He said "where did you get it?" He          7
   8   said "this is very sensitive," and he quickly      8
   9   took it away from us. I don't know where he put    9
  10   it, but he punished us.                           10
  11       Q. Did you tell him it was Douglas's          11
  12   magazine?                                         12
  13       A. It's because he opened it, and he saw      13
  14   that it was written to Douglas that he realized   14
  15   that it was sensitive.                            15
  16       Q. When Daniel asked you where you got        16
  17   it, did you respond?                              17
  18       A. No, we weren't able to answer.             18
  19       Q. Why weren't you able to answer?            19
  20       A. Me personally, I wasn't able to give       20
  21   an answer.                                        21
  22       Q. Was Peterson able to give an answer?       22
  23           MR. GARABEDIAN: Objection.                23
  24       A. He didn't give an answer, and we           24
  25   didn't want to give an answer either.             25


                                           Page 91                                                 Page 93
   1   BY MR. CERRETA:                                    1        AFTERNOON SESSION
   2      Q. Why didn't you want to give an answer?       2
   3      A. It's just that we didn't want to give        3          THE VIDEOGRAPHER: Back on the record.
   4   any answer.                                        4   The time is 1:46.
   5      Q. But what was the reason for your not         5   BY MR. CERRETA:
   6   wanting to give an answer?                         6       Q. Good afternoon, Mr. Saincirin.
   7      A. It's that we wanted to start an              7       A. To you, too.
   8   uprising, but we didn't want to involve the        8       Q. Earlier today you were saying that
   9   staff in this uprising, because a lot of them      9   when you were sleeping at the Village, Douglas
  10   were afraid -- would be afraid of losing their    10   would sometimes come in and take children out at
  11   jobs.                                             11   nighttime, is that right?
  12      Q. So at the time when Daniel found you        12       A. Yes.
  13   with the magazine, were you already planning to   13       Q. At the time this was happening, did
  14   reveal what Douglas was doing through the         14   you know why Douglas was taking the children out
  15   graffiti and other means?                         15   at night?
  16      A. Yes. We were going to do it anyway.         16       A. No, I didn't know.
  17   Even though we had not yet done so fully, we      17       Q. Did you ever ask any of the children
  18   were going to do it for sure.                     18   that left why Douglas would come to take them
  19      Q. And do you remember how much time           19   out of the room?
  20   passed after this incident when you began         20       A. Sometimes one of them would talk about
  21   writing the graffiti?                             21   it.
  22      A. I don't remember.                           22       Q. Do you remember who talked about it?
  23          MR. GARABEDIAN: Do you want to break       23       A. No, I don't remember.
  24   for lunch at some point?                          24       Q. Well, what would this person or
  25          MR. CERRETA: Yes, why don't we do          25   persons say about it?


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   1      A. He would say "I went to sleep with            1       Q. Did you ever tell him that Douglas had
   2   him," but I don't remember exactly what else was    2   sexually abused any of the children?
   3   said.                                               3       A. No.
   4      Q. Did any of the children who were taken        4       Q. Was Nicholas in Haiti when you wrote
   5   out ever say that Douglas was sexually abusing      5   the graffiti?
   6   them?                                               6       A. I don't remember.
   7      A. What is that?                                 7          But I just wanted to make a
   8      Q. Did any of the children whom Douglas          8   rectification. I'm not saying that they were
   9   would take out of the room at the Village           9   abusing children, I'm saying that I suffered.
  10   disclose to you that Douglas would sexually        10   Because the way in which the meaning seems to --
  11   abuse them after taking them out of the room?      11   the meanings that seem to be implied, I wanted
  12      A. I don't remember.                            12   to make that rectification.
  13      Q. Do you remember them saying anything         13       Q. Okay. You're not saying that they
  14   else, other than that they would sleep with        14   were abusing children? Who do you mean? Who do
  15   Douglas?                                           15   you say was not abusing children?
  16      A. I don't remember.                            16          MR. GARABEDIAN: Objection.
  17      Q. At the time this was happening, did          17       A. I'm not saying that they abused
  18   you suspect that Douglas was sexually abusing      18   children.
  19   them?                                              19          THE INTERPRETER: The interpreter does
  20      A. Could you repeat for me, please?             20   not understand. I'm going to ask the deponent
  21      Q. At the time when Douglas would take          21   to repeat.
  22   these children out of the room, did you have any   22       A. The way I'm speaking, it seems as
  23   suspicions that Douglas was sexually abusing       23   though that you think that I've spoken about
  24   them?                                              24   other children that are victims, but that's not
  25      A. I don't know. I don't remember.              25   what I said. I spoke of my own case, my


                                            Page 95                                                Page 97
   1      Q. Were there any -- strike that.                1   situation. Do you understand?
   2         Aside from Douglas, were there any            2       Q. I understand. I was just asking if
   3   white people that worked at the Village?            3   you had spoken about other children. If you
   4      A. I don't remember.                             4   haven't, that's okay, you can just answer the
   5      Q. Do you remember a person named                5   question.
   6   Nicholas Preneta?                                   6       A. So no.
   7      A. I don't remember that name. I                 7       Q. Do you know Jessica Lozier?
   8   remember that there was a Nicholas, and that was    8       A. I know Jessica, but I don't know her
   9   for Rue 13.                                         9   titles.
  10      Q. Was Nicholas ever at Rue 13 when you         10       Q. You're not sure what her last name is?
  11   were at Rue 13?                                    11       A. No.
  12      A. No. Me, I was at the project, that's         12       Q. Was Jessica Lozier someone who worked
  13   where I was living.                                13   at the Village?
  14      Q. Did you know Nicholas?                       14       A. Yes.
  15      A. Yes.                                         15       Q. Have you ever spoken to Jessica
  16      Q. Have you ever spoken to him?                 16   Lozier?
  17      A. Yes.                                         17       A. Yes.
  18      Q. Did you ever see him at the Village?         18       Q. Was Jessica Lozier in Haiti when you
  19      A. Yes.                                         19   wrote the graffiti?
  20      Q. Did you ever talk to him at the              20       A. I don't remember.
  21   Village?                                           21       Q. Did you ever tell Jessica Lozier about
  22      A. Yes.                                         22   the abuse by Douglas Perlitz?
  23      Q. Did you ever tell him that Douglas had       23       A. No.
  24   sexually abused you?                               24       Q. Why not?
  25      A. No.                                          25       A. Because it's my private business.


                                                                         25 (Pages 94 to 97)
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   1      Q. At the time you wrote the graffiti,            1       A. Yes, but there was also my personal
   2   you wanted to make public the fact that Douglas      2   life, that was also a point that I wanted to
   3   Perlitz was abusing children, right?                 3   disclose.
   4          MR. GARABEDIAN: Objection.                    4       Q. What about your personal life did you
   5       A. No.                                           5   want to disclose?
   6   BY MR. CERRETA:                                      6       A. What is that?
   7       Q. Was it your testimony earlier today           7       Q. What personal -- what information
   8   that you wrote graffiti and went to the radio        8   about your personal life did you want to
   9   station because you did not want it to be a          9   disclose?
  10   secret anymore?                                     10       A. Well, I've already told you. It's
  11          MR. GARABEDIAN: Objection.                   11   something secret that I have about what happened
  12      A. Could you repeat the question, please?        12   to me, but it's not for that, in fact.
  13   BY MR. CERRETA:                                     13       Q. What is the secret about you?
  14       Q. Was it your testimony earlier today          14       A. My own abuse.
  15   that at the time you wrote the graffiti you         15       Q. Okay. Was that something that you
  16   wanted to reveal the abuse, and you wanted it no    16   wanted to disclose at the time you wrote the
  17   longer to be a secret?                              17   graffiti?
  18      A. I still don't understand the way --           18       A. When I wrote the graffiti, I wanted
  19   the way that you're speaking that I don't           19   people to come and do an investigation on what
  20   understand.                                         20   was going on inside, people that were
  21          THE INTERPRETER: The interpreter will        21   responsible.
  22   simply restate the question from the record.        22       Q. Did you ever disclose that desire to
  23       A. Yes, but what type of abuse, that's          23   Jessica Lozier?
  24   the question. Because I never put my own            24       A. No.
  25   personal testimony on the wall.                     25       Q. Did you ever disclose that to Nicholas


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   1        Q. So what did you want to reveal?              1   Preneta?
   2        A. I wanted people to feel that the             2       A. No.
   3    situation that I was living was not good.           3       Q. Did you disclose that to any of the
   4        Q. Why wasn't it good?                          4   staff at the Village?
   5        A. The treatments we were subjected to          5       A. No.
   6    inside were not good.                               6       Q. Did you disclose that to any person
   7        Q. What treatment were you subjected to         7   that came to visit you at the Village?
   8    that was not good?                                  8       A. No.
   9        A. For example, when we had to eat, there       9       Q. Did you ever see Father Paul Carrier
  10    were difficulties. When we had to be dressed,      10   at the Village?
  11    there were difficulties. And some other things     11       A. Yes, I saw him.
  12    that I no longer remember.                         12       Q. How many times did you see Paul
  13        Q. What difficulties were there when you       13   Carrier at the Village?
  14    would get dressed?                                 14       A. Many times.
  15        A. I had to go and tend the fields and         15       Q. Can you estimate how many times you
  16    use a hoe to clean out the fields, and sometimes   16   saw him?
  17    when I would do so I still would not have          17       A. No, I can't give you estimation.
  18    clothes.                                           18       Q. Would Father Carrier ever be with
  19           And sometimes there would be no food        19   Douglas Perlitz at the Village?
  20    for us inside.                                     20       A. Yes.
  21        Q. So was that what you were intending to      21       Q. Did you ever hear Father Carrier
  22    reveal when you wrote the graffiti?                22   speaking at the Village?
  23        A. When I wrote the graffiti?                  23       A. Yes.
  24        Q. Yes, when you wrote the graffiti that       24       Q. Did he ever address a group of
  25    we were talking about earlier.                     25   students at the Village?


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   1         MR. GARABEDIAN: Objection.                    1      Q. Tidou spoke English?
   2      A. Yes.                                          2      A. He did his best.
   3   BY MR. CERRETA:                                     3      Q. Do you remember what Hope Carter said
   4      Q. And would someone be interpreting for         4   through the interpreter when you were
   5   him into Creole when he was speaking?               5   one-on-one, Madame Carter?
   6      A. Yes.                                          6      A. No, I don't remember.
   7      Q. Do you remember anything that he said         7      Q. After you finished the sixth grade at
   8   when he was addressing the group?                   8   the Village, did you take an exam?
   9      A. I don't remember.                             9      A. Yes.
  10      Q. Did you ever hear about Fairfield            10      Q. Did you pass that exam?
  11   University when you were at the Village?           11      A. Yes.
  12      A. Yes.                                         12      Q. And then after you passed the exam,
  13      Q. What did you hear about Fairfield            13   did you go to another school?
  14   University?                                        14      A. Yes.
  15      A. That it was one of the universities          15      Q. What school was that?
  16   that was sponsoring the Pierre Toussaint           16      A. Vincent Foundation. Fondation Vincent
  17   Village, and that Father Paul himself was one of   17   in French.
  18   the major representatives.                         18      Q. What grade did you attend at the
  19      Q. Who told you this?                           19   Vincent Foundation?
  20      A. Him when he was speaking, and Douglas        20      A. I spent two years there. Seventh and
  21   was interpreting for him.                          21   eighth years.
  22      Q. Father Paul told you he was one of the       22      Q. What did you learn at the Vincent
  23   major representatives of what?                     23   Foundation?
  24      A. That he had a role to play, he was in        24      A. I was taking the courses, plus I was
  25   charge, one of the people in charge at             25   taking sewing lessons.


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   1   Fairfield.                                          1       Q. In your interrogatories you say that
   2       Q. Did you ever see Hope Carter at the          2   you attended the Vincent Foundation from 2006 to
   3   Village? I'm sorry, let me repeat the question.     3   2008, is that right?
   4          Did you ever see Madame Carter at the        4       A. Well, I don't quite remember, because
   5   Village?                                            5   I'm not able to calculate time.
   6       A. Madame Carter, yes.                          6       Q. What grade did the Village go up to?
   7       Q. How many times did you see Madame            7       A. Can you repeat the question, please?
   8   Carter at the Village?                              8       Q. Did they have seventh grade at the
   9       A. I don't remember. Many times.                9   Village, or did you have to go out to another
  10       Q. Did Madame Carter ever address a group      10   school in order to go on to seventh grade?
  11   of students through an interpreter?                11       A. I had to go elsewhere outside to do
  12       A. Yes.                                        12   the seventh grade.
  13       Q. Do you remember what she said?              13       Q. Who decided that you would do seventh
  14       A. I don't remember.                           14   grade at the Vincent Foundation?
  15       Q. Did you ever speak to Father Carrier        15       A. Douglas.
  16   just one-on-one, or was it always in a group       16       Q. Did it cost money to attend the
  17   setting?                                           17   Vincent Foundation?
  18       A. In a group.                                 18       A. Yes, we had to pay.
  19       Q. And how about Hope Carter?                  19       Q. Who paid for your tuition at the
  20       A. Mrs. Carter, I would speak to her           20   Vincent Foundation?
  21   one-on-one. But there was one person,              21       A. Douglas.
  22   interpreter for us, so we were three.              22       Q. After -- did you complete eighth grade
  23       Q. Who was interpreting?                       23   at the Vincent Foundation?
  24       A. Sometimes Tidou, one of the kids.           24       A. Yes.
  25   T-I-D-O-U.                                         25       Q. And then did you move on to another


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   1    school after that?                                1      A. I don't remember when.
   2       A. Yes.                                        2      Q. Why were you thrown out?
   3       Q. And was that the College Christophien       3      A. Because he was trying to have sex with
   4    that you mentioned earlier today?                 4   me and I didn't want to, and that became a
   5       A. Yes.                                        5   problem.
   6       Q. Did you attend that school before or        6      Q. Where did you go after he threw you
   7    after PPT closed?                                 7   out?
   8       A. Before PPT closed.                          8      A. I went to Bel Air.
   9       Q. Did you have to pay tuition to go to        9      Q. Did you go to the house in Bel Air
  10    that school?                                     10   where Douglas Perlitz lives?
  11       A. Yes.                                       11      A. No. Bel Air is an area, but I was
  12       Q. Who paid for your tuition at that          12   near Peterson.
  13    school?                                          13      Q. Did you live with Eugene Peterson
  14       A. Douglas.                                   14   after you were thrown out of the Village?
  15       Q. Have you had any other schooling --        15      A. Yes.
  16    well, what grade did you go up through at the    16      Q. After you were thrown out of the
  17    College Christophien?                            17   Village, were you still allowed to come back
  18       A. I did the ninth year there.                18   during the day onto the grounds?
  19       Q. Did PPT close while you were at the        19      A. Sometimes, but not always. There had
  20    College Christophien?                            20   to be a good reason for that.
  21       A. Yes.                                       21      Q. The incident you were telling us
  22       Q. And did someone or some other              22   earlier about today with the magazine, was that
  23    organization make any tuition payments for you   23   before or after you had been thrown out?
  24    after that?                                      24      A. Before they had thrown me out.
  25       A. No.                                        25      Q. So that incident with the magazine,

                                         Page 107                                                Page 109
   1       Q. Did you attend any school after the         1   was that before Douglas Perlitz tried to have
   2    College Christophien?                             2   sex with you?
   3       A. Yes, but it was vocational school.          3      A. What do you mean?
   4       Q. Was that the Institution Du                 4      Q. The time that you found the magazine
   5    Saint-Esprit?                                     5   and Daniel confronted you about it, was that
   6       A. Yes.                                        6   before or after Douglas Perlitz tried to have
   7       Q. And when did you attend that school?        7   sex with you?
   8       A. When I left Santo Domingo and I went        8      A. I don't remember.
   9    back to Haiti, Kids Alive.                        9      Q. How long after Douglas Perlitz tried
  10       Q. Kids Alive paid for you to go to the       10   to have sex with you were you thrown out of the
  11    Institution Saint-Esprit?                        11   Village?
  12       A. Yes. But I didn't finish. I only           12      A. I don't remember.
  13    spent a year there.                              13      Q. Was it the next day?
  14       Q. After you finished sixth grade at the      14      A. No, I don't remember.
  15    Village, where did you live?                     15      Q. Did Douglas tell you why he was
  16       A. When I finished the sixth year?            16   throwing you out of the Village?
  17       Q. Right. When you finished the sixth         17      A. I don't remember. Simply that action
  18    year, did you continue living at the Village?    18   was taken.
  19       A. Yes, I was living there, yes.              19      Q. Did you ever ask him for an
  20       Q. Did you live at the Village all the        20   explanation of why you were being thrown out?
  21    way up through the time that PPT closed?         21      A. No.
  22       A. No, they had thrown me out.                22      Q. Why do you think that your being
  23       Q. Who threw you out?                         23   thrown out was because Douglas had tried to have
  24       A. Douglas.                                   24   sex with you?
  25       Q. When were you thrown out?                  25         MR. GARABEDIAN: Objection.


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   1        A. Can you repeat for me, please?              1      A. The earthquake had not yet occurred,
   2    BY MR. CERRETA:                                    2   for the answer no. The earthquake had not yet
   3        Q. Do you think the reason that you were       3   occurred.
   4    thrown out of the Village was because Douglas      4      Q. Okay.
   5    had tried to have sex with you?                    5          THE INTERPRETER: Go ahead. I'm
   6        A. Yes, because he knew that I knew his        6   sorry.
   7    story, and I was not in agreement with this, so    7      Q. Are you related to Eugene Peterson?
   8    he looked for an excuse.                           8      A. We're not related.
   9        Q. Why do you think that?                      9      Q. Did Eugene Peterson ever bring a
  10        A. Why do I think that?                       10   lawsuit against Douglas Perlitz?
  11        Q. Yes. What makes you think that he was      11      A. I'm not aware of this.
  12    just looking for an excuse to throw you out?      12      Q. Do you know if Eugene Peterson ever
  13        A. Since I knew his story, since I knew       13   received any money as a result of a case he
  14    his story, and the attacks I was also subjected   14   brought against Douglas Perlitz?
  15    to, that put me in an un -- that put him in an    15      A. No, I'm not aware.
  16    uncomfortable situation, Douglas.                 16      Q. When you went to the Dominican
  17        Q. Did he ever tell you that?                 17   Republic before the earthquake, did you at some
  18        A. What do you mean?                          18   point come back to live in Cap-Haïtien?
  19        Q. I'm just wondering what the basis is       19      A. I don't remember.
  20    for your thinking that this was the reason why    20      Q. Did you ever come back and live in
  21    Douglas threw you out.                            21   Champin?
  22        A. If I had been in his shoes, if it had      22      A. Yes, I was in Champin, but I don't
  23    been me that had tried to do these things, I      23   remember at what point in time.
  24    wouldn't have been comfortable either. Okay?      24      Q. Do you remember how old you were when
  25        Q. Okay. Fair enough.                         25   you came back from the Dominican Republic to


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   1          So were you still -- were you living         1   live in Champin?
   2   with Eugene Peterson before PPT closed?             2      A. No.
   3      A. Yes.                                          3      Q. And then from Champin, at some point
   4      Q. How long did you live with Eugene             4   did you move back into your mom's house in Acul
   5   Peterson?                                           5   du Nord?
   6      A. I don't remember.                             6      A. Yes.
   7      Q. Did you continue living with him even         7      Q. I'm sorry. When you were in Champin,
   8   after PPT had closed?                               8   were you living with anyone?
   9      A. Yes. And then I went to Santo                 9      A. Yes.
  10   Domingo.                                           10      Q. Who were you living with?
  11      Q. Do you remember when you went to Santo       11      A. With Eugene Peterson.
  12   Domingo?                                           12      Q. Anyone else?
  13      A. No, I don't remember.                        13      A. No.
  14      Q. Was it before or after the earthquake        14      Q. At the time when you were living with
  15   in Haiti, 2010?                                    15   Eugene Peterson, do you know if he was
  16          MR. GARABEDIAN: Objection.                  16   represented by Mitchell Garabedian?
  17      A. If it was before?                            17      A. No.
  18   BY MR. CERRETA:                                    18      Q. After you were living back in your
  19      Q. Yes. When you left Eugene Peterson's         19   mom's house in Acul du Nord, did you move out at
  20   and went to Santo Domingo, was that before or      20   some point?
  21   after the earthquake?                              21      A. Yes.
  22      A. No.                                          22      Q. Where did you go?
  23      Q. Are you related to Eugene Peterson?          23      A. I went to Blue Hills.
  24          THE INTERPRETER: I'm sorry, let me          24      Q. Did you go to a house?
  25   answer that question again.                        25      A. Yes.


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   1       Q. Did you live with anyone there?              1       A. How do you mean?
   2       A. Yes.                                         2       Q. Did you ever leave the house in
   3       Q. Who did you live with?                       3   St. Philoméne to move somewhere else?
   4       A. I was living with one of the kids that       4       A. I went back to Santo Domingo.
   5    was also part of the project whose name is         5       Q. When was the first time that Douglas
   6    Modire, or his other name is Ludre.                6   Perlitz abused you?
   7       Q. Is his name Ludre Milvois?                   7       A. I don't remember the time, but I
   8       A. Yes, that's his last name.                   8   remember that a key had been lost, so the key
   9       Q. Was he someone who attended school at        9   was lost, he gave the order to everyone not to
  10    the Village?                                      10   leave. He asked that everyone be searched. He
  11       A. Yes.                                        11   was also searching the kids. And he said if
  12       Q. Was he at the Village when you were a       12   they don't find the key in his pockets, pull
  13    student there?                                    13   down his pants, and he made me pull down my
  14       A. Yes.                                        14   pants. And he had me strip down, and he opened
  15       Q. Do you know if Douglas Perlitz abused       15   my butt cheeks to look for the key.
  16    him?                                              16       Q. Were you a student at the Village when
  17       A. I don't know.                               17   this happened?
  18       Q. Have you ever talked to him about the       18       A. I don't remember.
  19    abuse that Douglas Perlitz committed?             19       Q. Do you remember if this was before or
  20       A. No.                                         20   after the Village school had opened?
  21       Q. And at some point did you leave -- did      21       A. I don't remember.
  22    you stop living with Modire Milvois?              22       Q. Was this before or after you had
  23       A. Yes.                                        23   finished your sixth grade exam?
  24       Q. Do you remember when that was?              24       A. I don't even remember that. I was at
  25       A. I don't remember when that was.             25   St. Georges, that's where I was at school. But


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   1        Q. Do you remember if it was before or         1   I don't remember what year exactly.
   2    after the earthquake in Haiti?                     2      Q. Okay. If you were at St. Georges,
   3        A. I don't remember.                           3   would that have been before the Village school
   4        Q. Where did you move after you left           4   opened? Right? Do I have that right?
   5    Modire Milvois's home?                             5      A. I'm not saying that, because I don't
   6        A. In St. Philoméne.                           6   remember. I just remember that when I was in
   7        Q. Were you once again living with Eugene      7   the fourth and the fifth year, I was inside, I
   8    Peterson in St. Philoméne?                         8   was at Pierre Toussaint, because it's my fourth
   9        A. Yes.                                        9   year that the school opened.
  10        Q. At the time when you were living with      10      Q. And you were at St. Georges before you
  11    him in Saint Philoméne, do you know if Eugene     11   started the fourth year at Pierre Toussaint,
  12    Peterson had a case that he had brought against   12   right?
  13    Douglas Perlitz?                                  13      A. Yes.
  14        A. Truthfully, I don't remember.              14      Q. Do you remember, what was the time of
  15        Q. Have you ever talked to Eugene             15   day when the key had been lost?
  16    Peterson about the abuse that Douglas Perlitz     16      A. No, I don't remember, except it was
  17    committed?                                        17   the afternoon.
  18        A. No.                                        18      Q. Do you know if you had been to -- if
  19        Q. Has Eugene Peterson ever told you          19   you had gone to school at St. Georges that day?
  20    anything about the abuse that Douglas Perlitz     20      A. Yes.
  21    committed?                                        21      Q. And was this after you had returned
  22        A. I don't remember such things, no.          22   from St. Georges?
  23        Q. And then was there anywhere -- well,       23      A. Yes.
  24    at some point did you move out of house in        24      Q. Where were you when you heard Douglas
  25    St. Philoméne with Eugene Peterson?               25   give the order to everyone not to leave?


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   1       A. I was in the yard close to his office.       1   office?
   2       Q. Was anyone else with you?                    2       A. Douglas told Robinson "have him come
   3       A. I don't remember.                            3   in so he can be searched."
   4       Q. And you say that next he asked that          4       Q. Who was inside the office at the time
   5   everyone be searched, is that right?                5   you were searched?
   6       A. Yes.                                         6       A. Only me and them.
   7       Q. Who did he ask -- who did he say that        7       Q. You, Robinson, and Douglas?
   8   -- I'm sorry. Strike that.                          8       A. There were two offices, one office for
   9          Were there any other staff there when        9   Douglas, one office for the Haitians. Douglas
  10   he asked that everyone be searched?                10   was sitting in his office, they took me to the
  11       A. Yes, for example Robinson.                  11   Haitian office, and they searched me. But he
  12       Q. And did they do anything after he had       12   gave the order for me to be searched.
  13   given the order for everyone not to leave and      13       Q. So Robinson searched you, is that
  14   asked that everyone be searched?                   14   correct?
  15          MR. GARABEDIAN: Objection.                  15       A. Yes.
  16          THE INTERPRETER: I'm going to repeat        16       Q. Did anybody else search you?
  17   the question for the interpreter.                  17       A. No.
  18       A. He had the gates closed and                 18       Q. What happened after Robinson finished
  19   everything, and he gave the order that nobody      19   searching you?
  20   was to be -- was to leave.                         20       A. They didn't find a key, so they had me
  21   BY MR. CERRETA:                                    21   leave.
  22       Q. And then did Douglas say "if they           22       Q. What did Robinson do when he was
  23   don't find the key in his pockets, pull down his   23   searching you?
  24   pants"? Is that right?                             24       A. He searched me, he turned my pockets
  25       A. Yes.                                        25   inside out and things like that. And he tried

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   1       Q. Who did he say that to? Who did              1   to excuse himself saying it's not his choice,
   2   Douglas say that to?                                2   it's the boss that gave the order.
   3       A. His people in charge were there.             3           I gave him my back and I pulled down
   4       Q. Which people?                                4   my pants, I pulled down my pants, and I showed
   5       A. Robinson.                                    5   him all the inside of my butt cheeks, because
   6       Q. And was all of this taking place in          6   that's the order that had been given.
   7   the yard outside of his office?                     7       Q. Was there anyone else present besides
   8       A. That was inside his office, not in the       8   you and Robinson when you had to show him your
   9   yard.                                               9   butt cheeks?
  10       Q. So after he gave -- well, when he           10       A. Douglas was in his office. There was
  11   first gave the order, was that when you were in    11   also the Haitian office, and the other office,
  12   the yard?                                          12   but it was inside the same building.
  13       A. Yes, I was in the yard. Yes, they           13       Q. When Robinson was searching you, was
  14   searched me, too, and they had me spread out my    14   the door to Robinson's Haitian office closed?
  15   butt cheeks to look for the key.                   15       A. Yes.
  16       Q. Did that search take place in the           16       Q. Did Robinson say anything else while
  17   yard, or in the office?                            17   he was searching you?
  18       A. In the office.                              18       A. No, nothing else. He only said
  19          THE INTERPRETER: The interpreter            19   "excuse me, I'm sorry, it's not" -- "this isn't
  20   needs a clarification.                             20   coming from me, it's an order that was given."
  21          Okay. Go ahead.                             21           MR. GARABEDIAN: When you're finished
  22       Q. Did anybody tell you to move from the       22   with this line, do you want to take a break?
  23   yard into the office?                              23           MR. CERRETA: Why don't we take a
  24       A. Yes.                                        24   break now.
  25       Q. Who directed you to go into the             25           THE VIDEOGRAPHER: Going off the


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   1   record. The time is 2:45.                           1       A. Yes.
   2         (Whereupon, a recess was taken.)              2       Q. So what happened after you explained
   3         THE VIDEOGRAPHER: Back on the record.         3   the situation with your infection to Douglas?
   4   The time is 3:01.                                   4   What was the next thing that happened right
   5   BY MR. CERRETA:                                     5   after that?
   6       Q. Mr. Saincirin, before we left off you        6      A. He was fondling me to see if I would
   7   had said that Robinson didn't find the key, and     7   get an erect penis, but I didn't want this.
   8   then he let you leave, is that right?               8          THE INTERPRETER: I want to ask him to
   9       A. Yes.                                         9   repeat his testimony.
  10       Q. Was there anybody outside after you         10       A. He wanted me to take out my penis so
  11   left?                                              11   he could see it, and I didn't want that, but he
  12       A. I don't remember.                           12   was forcing me. When he was forcing me and I
  13       Q. Did you see Douglas at all again after      13   didn't want, he took the attitude, "well, it's
  14   you had left Robinson's Haitian office?            14   nothing, anyone can be sick," and he showed an
  15       A. No.                                         15   example with himself.
  16       Q. Do you know if anyone else was              16          (Interpreters conferring.)
  17   searched that day when they were looking for the   17          THE INTERPRETER: The interpreter
  18   key?                                               18   requests a clarification. I'm sorry. I'm going
  19       A. I don't remember.                           19   to ask him to repeat again.
  20       Q. Do you know if they eventually found        20       A. Can you repeat the question, please?
  21   the key?                                           21       Q. Okay. After you explained to Douglas
  22       A. No, I don't remember.                       22   about how you were having this infection, did he
  23       Q. Are there any other incidents of abuse      23   say anything to you?
  24   that you suffered while you were a student at      24       A. Yes.
  25   PPT?                                               25       Q. What did he say?


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   1       A. That happened to me?                         1      A. He said "show your penis."
   2       Q. That happened to you.                        2      Q. And did you show your penis?
   3       A. Yes.                                         3      A. No, I didn't show it.
   4       Q. What was the second incident?                4      Q. Did he say that he wanted to check on
   5       A. In the second incident I was on              5   the status of your infection?
   6   vacation from St. Georges, and I went to see        6      A. That's not what he said.
   7   Douglas in his office because I had an              7      Q. He just said what exactly?
   8   infection. When I got to his office, I              8      A. He said "put your penis out, let me
   9   explained to him my situation. He didn't give       9   see it."
  10   any kind of answer to my situation. He tried to    10      Q. And you said no?
  11   have sex with me. He grabbed my penis, he          11      A. I said no.
  12   touched me where he should not have touched me.    12      Q. And then what did he do?
  13   I didn't want this at all.                         13      A. He forced me. He forced me again. He
  14       Q. Did this incident happen before or          14   forced me. And I didn't want.
  15   after the time we were just talking about when     15      Q. How did he force you?
  16   the key was missing?                               16      A. He said "let me see your penis, man,"
  17       A. It happened after. But what made me         17   and he was raising his voice.
  18   sad was that not only did he try to have sex       18      Q. So then did you show him your penis?
  19   with me, but he showed me his penis erect in       19      A. No. And that's when he then started,
  20   front of me.                                       20   he approached me. When he approached me he put
  21       Q. What sort of infection did you have?        21   his hand on me, I didn't -- at that point I was
  22       A. My penis was itching, and when I peed       22   not -- I wasn't bothered. He put his hand on my
  23   it burned.                                         23   breast, he put -- now he put on a pair of
  24       Q. Did you go to Douglas's office to ask       24   glasses, he adjusted the pair of glasses, and
  25   him for some help with the infection?              25   water came out of his eyes. When he said it's


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   1   not a problem, he put his penis erect in front      1       A. Ask your question again, because I've
   2   of me. When I went to stand, he put his hand on     2   already lost it.
   3   my penis.                                           3       Q. I'm just wondering if during this time
   4      Q. When he showed you his erect penis,           4   when Douglas was doing this to you, if you spoke
   5   were you still fully closed?                        5   out loud in words anything to Douglas.
   6      A. I had a pair of shorts on. I had been         6       A. I said "I'm not comfortable with this.
   7   playing basketball. It was an old pair of           7   I'm not comfortable with this."
   8   shorts.                                             8       Q. Did he respond?
   9      Q. And was Douglas crying when he was            9       A. I only -- I simply said that and I
  10   showing you his erect penis?                       10   left. I didn't even wait for the answer.
  11      A. When he said "it's not a problem,            11       Q. What did you do when you left?
  12   anyone can be sick, if I'm sick won't you come     12       A. That had hurt me, so I left him by
  13   see me?", he put his penis out erect, and he had   13   himself, and I went to the place where I was
  14   already been fondling me. When I went to stand,    14   living.
  15   he forced his hand on my penis, but I had          15       Q. Do you remember where you were living
  16   already stood up and I was leaving, making         16   at that time?
  17   noise, because I didn't feel comfortable.          17       A. I was living in Building Number 2.
  18      Q. Did Douglas say anything about why he        18       Q. And this was during a vacation from
  19   was tearing up?                                    19   St. Georges?
  20      A. He didn't say anything.                      20       A. Yes, it was at the beginning of the
  21      Q. When he showed you his erect penis,          21   vacation that St. Georges had given me before I
  22   did you say anything?                              22   had gone to the PPT.
  23      A. Yes, I thought about something               23       Q. So were you completed with your
  24   nonetheless.                                       24   schooling at St. Georges at this time?
  25      Q. Did you verbalize those thoughts?            25       A. Yes. I was about to start PPT, that


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   1      A. Yes. I said in my heart "what is this         1   was the beginning.
   2   going on."                                          2       Q. Do you remember what time of day it
   3      Q. Did you say that out loud?                    3   was when you went to see Douglas in the office
   4      A. Yes, I let out that I wasn't                  4   this time?
   5   comfortable with these things, that I didn't        5       A. No.
   6   want it.                                            6       Q. Did you see anyone after you left
   7      Q. You said that to Douglas?                     7   Douglas's office?
   8      A. Yes, because when I left the room and         8       A. Inside or in the yard?
   9   I banged the door, that gesture signified this      9      Q. After you slammed the door, did you
  10   meaning.                                           10   see anyone as you were walking back to House 2,
  11      Q. But did you actually say in words            11   I believe you said?
  12   anything to Douglas as he was doing this to you?   12      A. I don't remember.
  13      A. That I said to him, how do you mean?         13      Q. How about when you got back to House
  14      Q. Well, I understand that in your heart        14   2, do you remember seeing anybody?
  15   you were thinking -- or in your brain you were     15      A. I don't remember. I had simply gone
  16   thinking what's going on, I believe that was       16   and went to bed by myself.
  17   your testimony. Am I right?                        17      Q. Is there any other time that Douglas
  18      A. In my head, yes.                             18   Perlitz abused you?
  19      Q. And also when you left and slammed the       19       A. Yes.
  20   door, that also sent a message of sorts, is that   20      Q. Was this after the incident you just
  21   your testimony?                                    21   told me about?
  22      A. When I left and I banged the door and        22       A. Yes, it's after.
  23   I went out.                                        23      Q. Would you describe for me the third
  24      Q. But did you actually --                      24   time?
  25          THE INTERPRETER: He's not finished.         25      A. Sometimes I'm walking inside the


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   1   Village, and he would pinch me or squeeze my        1      Q. Douglas would often approach you and
   2   butt. And he would give me slaps on the butt        2   ask you to come sleep with him?
   3   saying "you're a big boy." And he would often       3      A. Yes. This is how I would answer. He
   4   approach me to ask me to come sleep with him.       4   would say "why is it, guy, that sometimes there
   5   But I was never comfortable with those things.      5   are kids that come and sleep with me and you
   6      Q. Do you know how many times he pinched         6   don't want to come and sleep with me?"
   7   you?                                                7      Q. What would you say?
   8      A. No, I don't remember.                         8      A. "I don't want. I don't want." And
   9      Q. Was it something that happened more           9   then that was it.
  10   than once?                                         10      Q. Would he have any response to that?
  11      A. More than one time, yes.                     11      A. No.
  12      Q. Do you think it happened more than           12      Q. Did Douglas ever try to get you to
  13   five times?                                        13   come with him at night when he would come to the
  14      A. I don't remember.                            14   Village?
  15      Q. How about squeezing your butt, do you        15      A. For me to go sleep with him?
  16   know how many times he did that?                   16      Q. Yes.
  17      A. I don't remember.                            17      A. No.
  18      Q. Did he squeeze your butt more than one       18      Q. Do you remember how many times Douglas
  19   time?                                              19   asked you why you don't want to come sleep with
  20      A. Yes.                                         20   him?
  21      Q. Did he squeeze your butt more than           21      A. No.
  22   five times?                                        22      Q. While you were a student at PPT, did
  23      A. I don't remember.                            23   you ever tell anyone about what Douglas had done
  24      Q. He also slapped your butt and said           24   to you?
  25   "you're a big boy"?                                25      A. No.

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   1       A. Yes.                                         1      Q. While you were a student at PPT, did
   2      Q. Do you remember when he did that?             2   anyone tell you about abuse that they had
   3      A. I don't remember, but it was after            3   suffered?
   4   that incident, and a few years had gone by.         4      A. Can you repeat for me?
   5      Q. Did you ever see Douglas pinch or             5      Q. While you were a student at PPT, did
   6   squeeze any other children at the Village?          6   anyone tell you that they had been sexually
   7      A. No, I had never seen that.                    7   abused by Douglas?
   8      Q. Do you remember where in the Village          8      A. I don't remember that.
   9   you were when he slapped you on the butt and        9      Q. Has anyone ever told you about sexual
  10   said that you were a big boy?                      10   abuse that they suffered at PPT?
  11      A. He said -- big boy and fat are two           11      A. I don't remember that.
  12   different things. He squeezed my butt and he       12      Q. Has Eugene Peterson ever told you
  13   said "you're fat."                                 13   anything about sexual abuse at PPT?
  14      Q. He squeezed your butt and said you           14      A. I don't remember that either.
  15   were fat?                                          15      Q. At the time you wrote the graffiti
  16      A. Yes. He squeezed my butt and he said         16   before PPT closed, did you think that Douglas
  17   "you're fat, you're fat, guy."                     17   Perlitz had been sexually abusing children other
  18      Q. Was that something he did a few years        18   than you?
  19   after the second incident you told me about?       19      A. If I thought?
  20       A. Yes, a few years.                           20      Q. Yes. Did you think that there were
  21      Q. Okay. And apart from the squeezing           21   other victims of Douglas Perlitz other than you?
  22   your butt and saying you were fat, was there       22      A. I didn't know that, but I only knew
  23   also another time where he slapped your butt and   23   about myself.
  24   said you were a big boy?                           24      Q. Did you ever speak with the Haitian
  25      A. Well, I don't remember.                      25   National Police about what Douglas Perlitz had


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   1   done?                                               1   is there any other sexual abuse that you
   2      A. Had done to me?                               2   suffered at PPT?
   3      Q. Had done to anyone.                           3       A. I don't remember.
   4       A. No.                                          4       Q. You testified earlier today about the
   5      Q. Did you ever talk to the United States        5   work that you do in Santo Domingo, right?
   6   Government about what Douglas Perlitz had done?     6       A. How do you mean?
   7      A. Can you repeat for me, please?                7       Q. Do you remember when we were talking
   8      Q. Did you ever talk to any law                  8   about that towards the beginning of the day,
   9   enforcement officials from the United States        9   your work in the fields in Santo Domingo?
  10   about what Douglas Perlitz did at PPT?             10       A. Yes.
  11      A. I testified, but I don't know if I           11       Q. Have you ever had any other jobs other
  12   testified in front of the people that you're       12   than working in the fields in Santo Domingo?
  13   referring to here, that body.                      13       A. Sometimes I mix mortar.
  14      Q. Who did you testify to?                      14       Q. Where do you mix mortar?
  15          MR. GARABEDIAN: Objection. Instruct         15       A. In the streets, you know, you might
  16   him not to answer to the extent it involves        16   find some jobs. But it's not fixed, you go
  17   attorney/client privilege.                         17   around asking people. It's not a fixed job.
  18          MR. CERRETA: Mitch, I'll ask the            18       Q. Do you do this work in Santo Domingo?
  19   question a different way.                          19       A. Sometimes, yes.
  20   BY MR. CERRETA:                                    20       Q. Have you ever done this work mixing
  21      Q. I'm wondering if you ever told any           21   mortar in Haiti?
  22   police officers. I don't want to know about any    22       A. No. And that's why I ex-patrioted
  23   communications you had with Mitch or the other     23   myself.
  24   lawyers. Did you ever tell anyone with the         24       Q. Because you were unable to find work
  25   police or the government from the United States?   25   in Haiti?

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   1       A. I don't remember.                            1      A. Because it's not very easy. It's not
   2       Q. Do you remember if Eugene Peterson           2   as easy.
   3   ever spoke to the police about what Douglas         3      Q. Did you -- have you ever looked for
   4   Perlitz did?                                        4   work in Haiti?
   5           MR. GARABEDIAN: Objection.                  5      A. Sometimes I have tried to look, but I
   6       A. No, I don't know.                            6   wasn't able to find any.
   7   BY MR. CERRETA:                                     7      Q. What sorts of jobs have you applied
   8       Q. Do you know if Francilien Jean-Charles       8   for?
   9   ever spoke with the government about what           9      A. Jobs based on my level of education,
  10   Douglas Perlitz did?                               10   because in Haiti you have to have qualifications
  11       A. No, I don't know. I don't remember.         11   in order to work.
  12       Q. Did any of your friends from PPT ever       12      Q. So what sorts of jobs do you apply for
  13   make a trip to the United States to tell a judge   13   based on your qualifications?
  14   what Douglas Perlitz had done to them?             14      A. Since -- with having the obligation of
  15       A. Well, I don't know, because I mostly        15   having to live and also not avoiding having to
  16   live in Santo Domingo.                             16   steal, I just try to be grateful for anything
  17       Q. So you don't know if anybody ever made      17   God sends my way in terms of whatever odd jobs.
  18   a trip to the United States to talk to a judge?    18      Q. What sorts of odd jobs would you do
  19           MR. GARABEDIAN: Objection.                 19   when you were living in Haiti?
  20       A. Well, I don't remember. And I don't         20      A. I've never worked in Haiti so far.
  21   remember because I live more in Santo Domingo,     21      Q. Have you ever received money for any
  22   so I don't remember those things. I don't          22   odd jobs in Haiti?
  23   remember.                                          23      A. No, no. And it freaks me out, I feel
  24   BY MR. CERRETA:                                    24   panicked when I'm in that situation, that's why
  25       Q. Other than what you've told me about,       25   I'm more comfortable in Santo Domingo.


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   1       Q. Why are you freaked out and panicked        1   I'm not able to choose for myself since I don't
   2    when you're in Haiti?                             2   have the power to do so.
   3       A. Because of my former classmates, and        3      Q. Is it that you don't have the funds to
   4    they all knew where I was living, in which        4   move somewhere else?
   5    project. I was also in the street. And it         5      A. Not only money, but there's a number
   6    makes me uncomfortable being there, so that's     6   of experiences also that I'm lacking.
   7    why I prefer being in Santo Domingo.              7      Q. What sorts of experiences are you
   8       Q. Did you have to get a visa or a work        8   lacking?
   9    permit to go to Santo Domingo?                    9      A. For example, in order to travel I
  10       A. No, I didn't need that.                    10   would have to know how you go about doing that,
  11       Q. How did you get from Haiti to Santo        11   and I would have to find someone that would be
  12    Domingo?                                         12   willing to explain and help me do it.
  13       A. I walked on foot. I went through the       13      Q. Do you know a man named Cyrus Sibert?
  14    bushes. I spent many days walking. And then      14      A. Yes.
  15    they put me in an area, a place, and now I'm     15      Q. Who is Cyrus Sibert?
  16    comfortable, I go where I want, I have a place   16      A. He's a journalist.
  17    where I can stay.                                17      Q. When was the first time you met Cyrus
  18       Q. Who was it that put you in an area?        18   Sibert?
  19       A. A friend of mine.                          19      A. When I left Santo Domingo to go back
  20       Q. What was his name?                         20   to Haiti.
  21       A. Dieufet. D-I-E-U-F-E-T.                    21      Q. Do you remember what year it was?
  22       Q. Now, are there two separate times that     22      A. No, I don't remember.
  23    you have lived in Santo Domingo?                 23      Q. Was it when you left Santo Domingo
  24       A. Yes. And sometimes I go to Haiti, I        24   after living there for the first time?
  25    spend some time and I come back. But it's here   25      A. I don't remember.


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   1    that I live.                                      1       Q. Was it before or after the earthquake
   2        Q. And do you plan to stay in Santo           2   in Haiti in 2010?
   3    Domingo for the foreseeable future?               3       A. That I went to speak to Cyrus, no, I
   4        A. No.                                        4   don't remember. I don't remember.
   5        Q. Do you have plans to move somewhere        5       Q. Do you remember where you were the
   6    else?                                             6   first time you met Cyrus Sibert?
   7        A. Yes. If God willing, yes.                  7       A. Where he was, or where?
   8        Q. Where are you planning to move?            8       Q. I'm just wondering if you can remember
   9        A. It depends upon God. I don't have any      9   the place of your first meeting the first time
  10    specific idea in mind. Wherever God puts me.     10   you met Cyrus Sibert.
  11        Q. Do you pray?                              11       A. I was in Santo Domingo, and I went to
  12        A. Yes.                                      12   Haiti.
  13        Q. Have you prayed to God regarding your     13       Q. Did you go to Haiti for the specific
  14    living situation?                                14   purpose of meeting with Cyrus Sibert?
  15        A. Yes.                                      15       A. No, it wasn't about that, in fact.
  16        Q. Is there any particular petition that     16       Q. How did you come to meet Cyrus Sibert?
  17    you've offered with respect to your living       17       A. I asked for information about him.
  18    situation?                                       18       Q. Who did you ask for information about
  19            MR. GARABEDIAN: Objection.               19   him?
  20        A. Yes, I always say that it's his will,     20       A. With some people that used to hear him
  21    yes.                                             21   doing programs.
  22    BY MR. CERRETA:                                  22       Q. Do you know who these people were that
  23        Q. But you don't have any concrete plans     23   heard him doing programs?
  24    to move anywhere in particular?                  24       A. I don't know those people, but they
  25        A. No, I don't have any plans, because       25   used to hear him.


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   1      Q. And did they tell you about Cyrus             1      A. I have heard that.
   2   Sibert?                                             2   BY MR. CERRETA:
   3      A. Yes, they told me if I wanted to meet         3      Q. Do you remember when you heard that?
   4   him, they sent me to Carenage.                      4      A. I don't remember.
   5      Q. Did they tell you anything else about         5      Q. Do you know if you had ever heard that
   6   why you should go to Carenage to see Cyrus          6   before the first time you met Cyrus Sibert?
   7   Sibert?                                             7      A. No.
   8      A. Yes, because that's where they gather,        8      Q. You'd never heard that before when you
   9   that's where the headquarters of the school is,     9   met Cyrus for the first time?
  10   where he is.                                       10      A. What do you mean?
  11      Q. These people who told you about Cyrus        11      Q. When you met Cyrus Sibert, had you
  12   Sibert, were they students at PPT?                 12   heard about the other PPT students receiving
  13      A. No.                                          13   money?
  14      Q. Why did you want to go see Cyrus             14          MR. GARABEDIAN: Objection.
  15   Sibert?                                            15      A. Yes, I had already heard that.
  16      A. Just so I could give testimony to my         16   BY MR. CERRETA:
  17   own life.                                          17      Q. Is that why you went to see Cyrus
  18      Q. Was it to tell Cyrus about the abuse         18   Sibert?
  19   that Douglas Perlitz committed against you?        19      A. No, that's not the reason. But I'm a
  20      A. It was so that I could talk with him         20   victim.
  21   so he could help me find a person who would be     21      Q. Did you want Cyrus Sibert's help to
  22   responsible, and who would be willing to hear      22   find a lawyer?
  23   me, and also to do an investigation on my case.    23      A. Yes.
  24      Q. Were you aware that other students at        24      Q. Did you tell Cyrus Sibert about what
  25   PPT had brought cases and received money as a      25   happened to you at PPT?

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   1   result of having brought their cases?               1           MR. GARABEDIAN: Objection. I
   2       A. Can you repeat for me, please?               2   instruct him not to answer as to any portion of
   3       Q. Do you know that other students at PPT       3   the answer that would violate the
   4   brought lawsuits before your lawsuit, and that      4   attorney/client privilege.
   5   they received money as a result of having           5           MR. CERRETA: Maybe I'll just ask a
   6   brought their lawsuits?                             6   different question.
   7          MR. GARABEDIAN: Objection.                   7   BY MR. CERRETA:
   8       A. Well, I don't remember. I don't              8       Q. The first time you met Cyrus Sibert,
   9   remember.                                           9   did you tell him what happened to you at PPT?
  10   BY MR. CERRETA:                                    10       A. No.
  11       Q. Is this the first you're hearing of         11       Q. Where did you meet Cyrus Sibert the
  12   that?                                              12   first time; was it at Carenage?
  13       A. No, it's because the way you asked the      13       A. Yes.
  14   question, it confuses me. I don't understand.      14       Q. What did you tell him?
  15       Q. Okay. I'll try to ask a better              15       A. That I would like to talk to him.
  16   question.                                          16       Q. What did he say?
  17          I'm just going to -- I'm just going to      17       A. That he was busy now, that it's
  18   tell you, I'm going to represent to you that       18   something serious that I was going to tell him,
  19   some other students at PPT brought lawsuits in     19   he said "come find me at the radio station."
  20   the United States against Douglas Perlitz and my   20       Q. And did you subsequently go and find
  21   client, Fairfield University, and the clients of   21   him at the radio station?
  22   these other lawyers, and after they brought        22       A. After a while, yes.
  23   those lawsuits they received money. Did you        23       Q. And what did you say to him that time?
  24   know that?                                         24       A. I told him to help me find someone who
  25          MR. GARABEDIAN: Objection.                  25   has -- who is a responsible person to broach


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   1   this subject with me, because I'm a victim.         1   him not to answer as to any portion of his
   2      Q. Did you tell him anything else?               2   answer which would violate the attorney/client
   3      A. No, I only told him that I wanted to          3   privilege.
   4   testify.                                            4          MR. CERRETA: I'm a little confused,
   5      Q. What did he say?                              5   Mitch, because I don't think any portion of his
   6      A. He said "no problem."                         6   answer would violate the attorney/client
   7      Q. And did he contact you after that?            7   privilege. But do you have a different view?
   8      A. He told me to come back and see him.          8          MR. GARABEDIAN: Yes. Why don't you
   9      Q. And did you go back and see him again?        9   ask him at what point in time -- ask him at what
  10      A. Yes.                                         10   point in time -- if he received any money -- why
  11      Q. And what did you two talk about that         11   don't you ask him about a certain point in time
  12   time?                                              12   and when he -- and then ask him if he received
  13      A. When I went back I told him, I               13   any money at that point in time.
  14   explained to him that "I'm a victim, please, I     14          THE INTERPRETER: Can we take a break,
  15   would like very much to have someone who is very   15   please?
  16   serious listen to what I have to say."             16          MR. KERRIGAN: You keep going with
  17      Q. Did he put you in touch with someone?        17   your question, John.
  18      A. Yes.                                         18          MR. CERRETA: Let's take a break.
  19      Q. Was that person your lawyer?                 19          THE VIDEOGRAPHER: Going off the
  20      A. Yes.                                         20   record. The time is 3:54.
  21      Q. Before you had told Cyrus Sibert you         21          (Whereupon, a recess was taken.)
  22   were a victim, had you ever told anyone about      22          THE VIDEOGRAPHER: Back on the record.
  23   that before?                                       23   The time is 4:11.
  24          MR. GARABEDIAN: Objection.                  24   BY MR. CERRETA:
  25      A. No.                                          25      Q. Mr. Saincirin, before you ever spoke


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   1   BY MR. CERRETA:                                     1   with any of your lawyers, did you receive any
   2      Q. Cyrus was the first person you ever           2   money from Cyrus Sibert?
   3   told?                                               3       A. No.
   4       A. Yes.                                         4       Q. And after you met with your lawyers,
   5      Q. Have you received any money from Cyrus        5   did you receive any money from Cyrus Sibert?
   6   Sibert?                                             6       A. Yes, I received some.
   7          MR. GARABEDIAN: Objection. Instruct          7       Q. How much money did you receive?
   8   him not to answer to the portion that involves      8       A. $200.
   9   violation of attorney/client privilege.             9       Q. 200 US?
  10      A. Are you going to ask the question            10       A. Yes, US, and also 20 Haitian dollars.
  11   again, or no?                                      11   But it was given to me in two installments.
  12   BY MR. CERRETA:                                    12       Q. The first time you received money from
  13       Q. Yes.                                        13   Cyrus Sibert, how much did you receive?
  14          Have you received any money from Cyrus      14       A. $100.
  15   Sibert?                                            15       Q. Do you remember when you received that
  16          MR. GARABEDIAN: Objection.                  16   first payment of $100?
  17   Objection. Instruct him not to answer as to any    17       A. No.
  18   portion of his answer which would violate the      18       Q. Was it before or after you brought
  19   attorney/client privilege.                         19   your lawsuit?
  20   BY MR. CERRETA:                                    20          MR. GARABEDIAN: Objection.
  21      Q. Can you answer the question?                 21       A. What was that again?
  22      A. What question is it again?                   22   BY MR. CERRETA:
  23      Q. The question is whether you've               23       Q. Do you know if it was before or after
  24   received any money from Cyrus Sibert.              24   the complaint was filed on your behalf in the
  25          MR. GARABEDIAN: Objection. Instruct         25   court up in the United States?


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   1      A. I don't know. I don't remember,              1   Sibert gave you the first time?
   2   rather. Sorry. Simply he had given me the          2      A. What I did with it?
   3   money, and I didn't know where that money came     3      Q. Yes. What did you do with that 100
   4   from.                                              4   the first time?
   5      Q. Do you know if that first time he gave       5      A. I bought food, I bought clothes,
   6   you $100, was it before or after the time you      6   things like that.
   7   went to the hotel and signed your                  7      Q. When was the second time that you
   8   interrogatories?                                   8   received money from Cyrus Sibert?
   9          MR. GARABEDIAN: Objection.                  9      A. I don't remember when the second time
  10       A. Can you repeat for me, please?             10   was.
  11   BY MR. CERRETA:                                   11      Q. How much did you receive the second
  12       Q. Do you remember earlier today we were      12   time?
  13   talking about a document that you signed that     13      A. $100 American, $20 Haitian.
  14   was questions from the Defendants in this case?   14      Q. Did you ask Cyrus Sibert for that
  15       A. Yes, I remember. Yes.                      15   money?
  16      Q. This Exhibit 2, do you remember?            16          MR. GARABEDIAN: Objection. Instruct
  17       A. Yes. Okay.                                 17   him not to answer. Attorney/client privilege.
  18       Q. And was it your testimony earlier          18      A. Can you repeat, please?
  19   today that you had signed that document at a      19   BY MR. CERRETA:
  20   hotel?                                            20      Q. Your counsel has instructed you not to
  21       A. If it was my testimony of the              21   answer that question.
  22   document, what do you mean?                       22          When was the last time you talked to
  23       Q. Do you remember, do you remember on        23   Cyrus Sibert?
  24   the last page of Exhibit 2 your signature here?   24      A. I spoke to him Saturday.
  25       A. Yes, I remember. I'm the one that          25      Q. What did you guys talk about?


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   1   signed it, yes. It's my signature.                 1          MR. GARABEDIAN: Objection. Instruct
   2      Q. When you signed this document, had you       2   him not to answer. Attorney/client privilege.
   3   already received $100 from Cyrus Sibert?           3          MR. CERRETA: Just so the record is
   4      A. I don't remember.                            4   clear, Mitch, are you going to object to any
   5      Q. Did you go to ask Cyrus Sibert for the       5   discussions about Cyrus Sibert -- any
   6   $100?                                              6   discussions between the witness and Cyrus
   7      A. I don't remember.                            7   Sibert?
   8         MR. GARABEDIAN: Objection. Instruct          8          MR. GARABEDIAN: Cyrus Sibert is
   9   him not to answer. Attorney/client privilege.      9   counsel's agent, and the deponent is counsel's
  10   BY MR. CERRETA:                                   10   client, so any conversations running through the
  11      Q. Why did Cyrus Sibert give you $100?         11   agent to the client or back to the attorney are
  12      A. I didn't have clothes, I was also           12   protected. That's my position.
  13   hungry, so I bought clothes and I bought some     13          MR. KERRIGAN: How is Cyrus Sibert an
  14   food.                                             14   agent, Mitch?
  15      Q. Did you tell Cyrus that you needed          15          MR. GARABEDIAN: He is an agent.
  16   clothes and food?                                 16          MR. KERRIGAN: How is he an agent?
  17         MR. GARABEDIAN: Objection. Instruct         17          MR. GARABEDIAN: That's our position.
  18   him not to answer. Attorney/client privilege.     18          MR. KERRIGAN: Can you elaborate as to
  19      A. Can you repeat the question for me?         19   what kind of agent he is?
  20   BY MR. CERRETA:                                   20          MR. GARABEDIAN: No, I'm not
  21      Q. Is Cyrus Sibert your lawyer?                21   elaborating. He's our agent. You've known that
  22      A. He's the one that took my complaint.        22   for months.
  23   He's a journalist. Sorry. He's the one that I     23          MR. KERRIGAN: Can you elaborate why
  24   saw first.                                        24   other clients have talked about conversations
  25      Q. What did do you with $100 that Cyrus        25   with Cyrus Sibert?


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   1          MR. GARABEDIAN: I'm not elaborating           1       Q. This document has been marked as
   2   at this point in time.                               2   Exhibit 4.
   3          MR. KERRIGAN: Thank you.                      3          (Whereupon, Saincirin Exhibit
   4   BY MR. CERRETA:                                      4          Number 4, Two page document,
   5       Q. Have you received any other money from        5          Declaration of the kids of Project
   6   Cyrus Sibert?                                        6          Pierre Toussaint, Bates PEC001034 and
   7       A. Aside from the first ones that I              7          1035, was marked for identification.)
   8   described?                                           8   BY MR. CERRETA:
   9       Q. Right, besides the two payments you've        9       Q. This document is in English,
  10   already described.                                  10   Mr. Saincirin. Unfortunately I don't have the
  11       A. Yes.                                         11   original to show you. But I just wanted to ask
  12       Q. What was the -- what other payments          12   you about the translated version. I understand
  13   have you received?                                  13   you won't be able to read it.
  14       A. Nothing.                                     14          Did you ever sign a declaration saying
  15       Q. So it was just the two payments?             15   that you wanted Doug Perlitz to return to Haiti
  16       A. Aside from two that I told you?              16   so he can work with the children?
  17       Q. Right. Any other aside from the two          17       A. What do you mean?
  18   you already told me about?                          18       Q. After Doug Perlitz --
  19       A. Yes, I also got another $100.                19          MR. GARABEDIAN: For the record,
  20       Q. When did you receive the additional          20   you've given him an exhibit that's in English.
  21   $100?                                               21           MR. CERRETA: I understand. I'm not
  22       A. While I was here, because I was coming       22   asking him to read it. He doesn't have to refer
  23   here, I needed to prepare, because I couldn't be    23   to it. I'm just going to ask him questions
  24   dressed any old way to come here.                   24   about it.
  25       Q. So the most recent $100 you used for         25          MR. GARABEDIAN: When we go back on, I


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   1    clothes?                                            1   want that on the record.
   2        A. Yes, I bought clothes.                       2          THE VIDEOGRAPHER: We're still on the
   3        Q. Clothes for today's deposition?              3   record.
   4        A. Yes. Not just for that, but the ones         4          MR. CERRETA: I've already said that.
   5    that are on me, yes. Also to pay for                5          MR. GARABEDIAN: It's on the record.
   6    transportation so I can go back home.               6          THE VIDEOGRAPHER: Can we go off
   7        Q. Anything else that you used the most         7   record just one moment, please?
   8    recent $100 for?                                    8          Going off the record. The time is
   9        A. Nothing else.                                9   4:25.
  10        Q. How about the earlier payments, what        10          (Pause.)
  11    did you do with that money?                        11          THE VIDEOGRAPHER: Back on the record.
  12        A. I bought clothes, I bought food so I        12   The time is 4:26.
  13    could eat.                                         13          MR. GARABEDIAN: For the record, this
  14        Q. Anything else?                              14   Exhibit Number 4 is in English. Counsel has
  15        A. No.                                         15   given it to my client to read. I don't know why
  16        Q. Have you spent all that money, or has       16   he's given it to my client, quite frankly, it's
  17    some been saved?                                   17   in English.
  18        A. When I was in Haiti, or do you mean         18          MR. CERRETA: I'm not going to ask him
  19    the last payment here?                             19   to refer to it. I just wanted to mark it as an
  20        Q. All three payments combined, is there       20   exhibit for the record.
  21    any left that you've received?                     21          MR. GARABEDIAN: Thank you.
  22        A. The two first installments, those have      22   BY MR. CERRETA:
  23    already been spent. And I still have money to      23       Q. After Douglas Perlitz left Haiti, did
  24    pay for my transportation back, and a little bit   24   anybody ever ask you to sign a statement
  25    left over.                                         25   supporting him?


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   1       A. Can you repeat? Because I didn't             1   experienced as a result of the abuse?
   2   understand. Say it another way that will be         2          MR. GARABEDIAN: Objection.
   3   more clear for me, please.                          3      A. Can you repeat for me, please? I
   4       Q. Did you ever hear about a statement          4   don't understand the way that you said it.
   5   that some of the children at PPT signed saying      5          THE INTERPRETER: He might be
   6   that the allegations against Douglas Perlitz        6   referring to me.
   7   were lies?                                          7   BY MR. CERRETA:
   8       A. No, I'm not aware of that.                   8      Q. How has the abuse affected your life?
   9       Q. Did anybody ever ask you to sign a           9      A. I feel sad. I feel strange. I don't
  10   statement saying that the allegations against      10   feel well at all. And not only that, I am going
  11   Douglas Perlitz were lies?                         11   to be 29 and I'm not able to do anything for
  12       A. No, I haven't heard of such a thing.        12   myself. People are paying for me in Haiti, for
  13       Q. Do you remember signing any statement       13   my housing. My situation is a sad one.
  14   about the allegations against Douglas Perlitz?     14      Q. People were paying for you in Haiti
  15          MR. GARABEDIAN: Objection.                  15   for your housing before the abuse by Douglas
  16       A. If I'm aware?                               16   Perlitz?
  17   BY MR. CERRETA:                                    17      A. No. After that.
  18       Q. Yes. Before PPT closed, were you --         18      Q. After that they were paying for your
  19   did you ever hear about a statement that some of   19   housing?
  20   the children from PPT signed about the             20      A. When I left Santo Domingo to go live
  21   allegations against Doug Perlitz?                  21   in Haiti, Peterson that I had mentioned before,
  22       A. I don't know.                               22   he's married, and sometimes he pays for me.
  23       Q. Okay. In this case, are you alleging        23      Q. And you also mentioned that you have
  24   that the abuse you suffered caused injuries to     24   to use the sickle in Santo Domingo?
  25   you?                                               25      A. Yes, I have to use a hoe or a sickle

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   1        A. Yes. A lot of damage, yes.                  1   to do the job, and it's a very rough thing to
   2        Q. What sort of damage?                        2   do.
   3        A. My life became more difficult, and I'm      3       Q. If Douglas Perlitz hadn't abused you,
   4    suffering so I can remain alive, too. And I was    4   you wouldn't have to be doing this work in Santo
   5    already sad, and now my sadness has increased.     5   Domingo?
   6    Look at my hand, all of this is the result from    6          MR. GARABEDIAN: Objection.
   7    using the sickle. I'm injured, but I have to do    7       A. Maybe that would be the case, I would
   8    this. And there's no reason that I should do       8   have had some schooling and I would have been
   9    it.                                                9   able to do something else.
  10        Q. Were you sad before Douglas Perlitz        10          THE INTERPRETER: Excuse me one
  11    abused you?                                       11   second.
  12        A. Yes, I was sad. But now my situation       12   BY MR. CERRETA:
  13    has made it that I'm even sadder.                 13       Q. If Douglas Perlitz hadn't abused you,
  14        Q. The abuse that you suffered from           14   you would have been able to continue with your
  15    Douglas Perlitz has made you sadder?              15   schooling?
  16        A. Yes. It left marks, it left injuries,      16      A. If I had found help, yes.
  17    it left me in a lot of pain, and I will never     17       Q. If PPT hadn't closed, you would have
  18    forget this.                                      18   been able to continue on with more schooling?
  19        Q. Did it leave any physical marks or         19       A. Yes. And I think I would have become
  20    injuries on your body?                            20   a useful member of society, a productive member.
  21        A. No.                                        21       Q. What job do you think you could have
  22        Q. So the marks or injuries have been         22   done if you had the opportunity to get more
  23    emotional, or mental?                             23   schooling?
  24        A. Yes, emotional.                            24       A. What do you mean?
  25        Q. What in particular have you                25       Q. Well, you said that if PPT hadn't


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   1   closed, you would have been able to get more        1   Interrogatory No. 24, we asked you to identify
   2   schooling, you could have become a productive       2   all persons who you believe actually knew that
   3   member of society, is that right?                   3   Perlitz was sexually abusing you at any time
   4          MR. GARABEDIAN: Objection.                   4   prior to September 15, 2009.
   5       A. But the damage has already been done,        5       A. At what page is it? Let me look, I'm
   6   and this damage is such that even if I would        6   not sure. I don't know.
   7   want -- would be able to find an opportunity to     7       Q. If you look at the Creole, it's
   8   go to school, it would be difficult for me to do    8   Interrogatory No. 24.
   9   so, because it's become a problem. So can you       9          (Witness reviewing document.)
  10   see, I'm 29 years old now, and I have nothing to   10       A. Can you ask me the question again,
  11   show for it.                                       11   please?
  12   BY MR. CERRETA:                                    12   BY MR. CERRETA:
  13       Q. What job do you think you would have        13       Q. I was just reading it, so if you're
  14   been able to get if Douglas Perlitz hadn't         14   able to read it there, I just wanted to refer to
  15   abused you and you had completed your schooling?   15   that question and answer.
  16       A. Well, I don't know. I don't know.           16          Are you able to read the question and
  17       Q. Earlier today we had talked about           17   your answer to No. 24 there?
  18   Fairfield University and the things Douglas had    18       A. Okay. Go ahead and ask me questions.
  19   said about Fairfield.                              19       Q. Do you see there where you say "I
  20       A. Yes.                                        20   believe Robinson actually knew"?
  21       Q. And do you recall, what did Douglas         21       A. Yes.
  22   tell you about Fairfield University?               22       Q. Why do you think Robinson actually
  23       A. It was one of the universities that         23   knew?
  24   was sponsoring this project in a big way.          24       A. The fact that he's an employee, it was
  25       Q. Do you know how it was sponsoring the       25   his duty to conduct an investigation, and they

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   1   project in a big way?                               1   found a magazine that talked about that
   2      A. I don't know. No, I don't.                    2   gentleman, and they punished me. Why did they
   3      Q. Am I right, your testimony earlier,           3   punish me?
   4   you had said that Father Paul was someone who       4      Q. So Robinson knew about the magazine
   5   came from Fairfield University?                     5   that you had found that was taken away from you
   6          MR. GARABEDIAN: Objection.                   6   by Daniel?
   7      A. Yes, I said that.                             7      A. Yes, he was aware.
   8   BY MR. CERRETA:                                     8      Q. Is there any other reason why you
   9      Q. Do you remember if Douglas told you           9   think Robinson actually knew?
  10   anything else about Fairfield University?          10      A. No, I'm not aware.
  11      A. No, I don't remember.                        11      Q. You also say, and I'm quoting the
  12      Q. Before PPT closed, did anybody tell          12   English version, not the Creole, "I also believe
  13   you anything else about Fairfield University?      13   the whole staff knew." Do you see that there in
  14      A. I don't remember.                            14   the Creole version, "I also believe the whole
  15          MR. CERRETA: Do you mind if we go off       15   staff knew"?
  16   the record for just a few minutes?                 16      A. Yes, I had said that.
  17          MR. GARABEDIAN: Sure.                       17      Q. Why do you think the whole staff knew?
  18          THE VIDEOGRAPHER: Going off the             18      A. They found the magazine in my hand,
  19   record. The time is 4:39.                          19   they punished me.
  20          (Whereupon, a recess was taken.)            20          And in terms of punishment, when
  21          THE VIDEOGRAPHER: Back on the record.       21   somebody was punished, there was a list of who
  22   The time is 4:47.                                  22   was punished and why that person was punished.
  23   BY MR. CERRETA:                                    23      Q. And were you put on this list?
  24      Q. Mr. Saincirin, in your                       24      A. Yes.
  25   interrogatories, and I'm looking at                25      Q. And was an explanation of why you were


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   1   put on the list added?                             1   the project?
   2       A. Yes. There was an office, and inside        2      A. No, I don't know.
   3   the office they would write the reason. But it     3      Q. Do you remember how many times you saw
   4   was in private between themselves.                 4   him?
   5       Q. Did you see what the explanation was        5      A. I remember the ten year anniversary of
   6   for this incident?                                 6   the project when we had a party to celebrate.
   7       A. I didn't see with my eyes, but it was       7      Q. Any other times that you remember
   8   their duty to report it.                           8   seeing Brian?
   9       Q. Is there any other reason why you           9      A. No. I don't remember.
  10   think the whole staff actually knew?              10      Q. Was Brian's last name Brian Russell?
  11       A. No, I don't know. I don't remember.        11      A. I don't know his last name.
  12       Q. Do you think any of the foreigners who     12      Q. Did you ever meet a white person named
  13   worked there actually knew?                       13   Michael who visited the project?
  14          MR. GARABEDIAN: Objection.                 14      A. Michael? I don't remember.
  15          THE INTERPRETER: I'm going to repeat       15         MR. CERRETA: That's all I have.
  16   it.                                               16   Thank you, sir.
  17       A. I don't know.                              17      A. Thank you.
  18   BY MR. CERRETA:                                   18         THE VIDEOGRAPHER: Going off the
  19       Q. Did any of the white people who worked     19   record. The time is 4:57.
  20   at the Village know about Doug Perlitz's abuse    20         (Pause.)
  21   while PPT was still open?                         21         THE VIDEOGRAPHER: Back on the record.
  22       A. I don't know.                              22   The time is 4:58.
  23       Q. Do you know Wadson Dorciné?                23   BY MR. ROSENBERG:
  24       A. I know Wadson, but I don't know his        24      Q. Good afternoon, Mr. Saincirin.
  25   last name.                                        25      A. Good afternoon.


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   1      Q. Is Wadson here at the Barcelo Hotel?         1       Q. Like I said earlier, my name is Aaron
   2      A. Yes.                                         2   Rosenberg, and I represent Father Paul Carrier.
   3      Q. Did his father work at PPT?                  3   I just have a few questions for you.
   4      A. Yes.                                         4       A. Go ahead.
   5      Q. Do you think he actually knew that           5       Q. Are you a religious person?
   6   Doug Perlitz was abusing children prior to         6       A. Yes.
   7   September 15, 2009?                                7       Q. Do you believe in God?
   8          MR. GARABEDIAN: Objection.                  8       A. A lot.
   9      A. I don't know.                                9       Q. Do you follow a specific religion?
  10   BY MR. CERRETA:                                   10       A. What do you mean by "specific"? What
  11      Q. So you don't know whether the whole         11   do you mean?
  12   staff knew, do you?                               12          THE INTERPRETER: The interpreter will
  13      A. No, I don't know if they were all           13   go ahead and give it another word in Creole.
  14   aware, but they should have been, with what had   14       A. I'm part of an assembly.
  15   been going on.                                    15       Q. And is that associated with a larger
  16      Q. Do you know a white person named Brian      16   religion?
  17   who came to PPT?                                  17       A. Adventist.
  18      A. Yes. I've heard people speak about          18       Q. And have you always followed that
  19   him, and I have seen him as well.                 19   religion?
  20      Q. When did you see him?                       20       A. Since when?
  21      A. Inside the project.                         21       Q. Well, how long have you followed that
  22      Q. Have you ever spoken to him?                22   religion?
  23      A. Sometimes he says hello to us when we       23       A. It's been a while, but I don't
  24   are in a group together.                          24   remember exactly. It's been a few years.
  25      Q. Do you know what connection he had to       25       Q. Before that time, did you follow a


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   1   different specific religion?                       1   someone I could no longer trust completely.
   2       A. I used to be -- or we used to be with       2       Q. Did it make you angry at him?
   3   the Catholic Church.                               3       A. I didn't like it.
   4       Q. And do you go to a particular church        4       Q. And did it make it -- were you angry
   5   now?                                               5   at Douglas because of it?
   6       A. While I'm in Santo Domingo, you mean?       6       A. I didn't like it, because it made an
   7       Q. Yes.                                        7   impression on me.
   8       A. I don't have specific location,             8       Q. Now, earlier obviously we talked about
   9   because I don't stay for a long time in one        9   instances where you say that Douglas tried to
  10   specific location myself, so I go to different    10   have sex with you. I'm going to ask you a
  11   churches.                                         11   couple questions about the period before that
  12       Q. How often would you say you go to          12   time.
  13   church?                                           13       A. Okay.
  14      A. I go several times. I don't know            14       Q. Did you have a good relationship with
  15   exactly how many. I go once a week. Sometimes     15   Douglas before he ever tried to have sex with
  16   I pray at home.                                   16   you?
  17       Q. When you were at PPT, was there a          17       A. When you speak of relationship, you
  18   church outside of the Village or the project      18   mean something like friendship?
  19   that you went to regularly?                       19       Q. Yes.
  20       A. Yes.                                       20       A. We didn't have a good relationship.
  21       Q. Where was that church?                     21   It's just that he was paying for my school, and
  22       A. A church that was in Blue Hills. It        22   if I had a problem I could go to him.
  23   was called Sacred Heart as well. It was a         23       Q. Why do you say you did not have a good
  24   Catholic Church.                                  24   relationship?
  25       Q. Now, earlier you talked about a            25       A. Because the way I understand the


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   1   magazine that you found that had Douglas's name    1   words, or the term good relationship, is more
   2   on it and had homosexual images.                   2   like in the sense of a friendship where you're
   3       A. Yes.                                        3   always together.
   4       Q. Is it bad to be a homosexual in Haiti?      4      Q. Did you respect Douglas?
   5           MR. GARABEDIAN: Objection.                 5          MR. GARABEDIAN: Objection.
   6       A. Yes.                                        6      A. Yes, I respected him.
   7   BY MR. ROSENBERG:                                  7   BY MR. ROSENBERG:
   8       Q. What happens if you are a homosexual        8      Q. Did you -- other than the time where
   9   in Haiti?                                          9   you were punished for having the magazine, did
  10       A. Give me the word in Creole, please.        10   you get in trouble at PPT?
  11           MR. GARABEDIAN: Objection.                11      A. Yes.
  12       A. Give me a good word in Creole. Yes,        12      Q. Were you punished before, other than
  13   it's a bad thing.                                 13   for having the magazine?
  14   BY MR. ROSENBERG:                                 14      A. Yes. Sometimes they would punish us
  15       Q. Would people call someone names if         15   for other reasons.
  16   they knew that they were a homosexual?            16      Q. What types of things were you punished
  17       A. Yes.                                       17   for, other than the magazine?
  18       Q. When you saw the magazine with the         18      A. If we misbehave, some type of
  19   homosexual pictures on it and Douglas's name on   19   misbehavior, for example. And there was also a
  20   it, what did you think?                           20   principle, if you didn't do your chores such as
  21       A. I felt not well. I felt unwell. I          21   washing out a pot or a pan, then at the end of
  22   had to get a grip of myself in a certain way.     22   the week you would get a punishment.
  23       Q. Did it make you feel any emotions          23      Q. How many times were you punished?
  24   towards Douglas?                                  24      A. Many times.
  25       A. He became for me someone to whom --        25      Q. Did Douglas punish you himself?


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   1      A. I was under his orders. He's the one          1   explained before, Cyrus is counsel's agent, the
   2   that established the principles, and those that     2   witness is counsel's client, conversations
   3   were under him, that's what they were doing.        3   running through our agent to the client and back
   4      Q. Were you angry about how much you were        4   are confidential, protected. If you want to ask
   5   punished?                                           5   him about conversations he had before he
   6      A. Yes, I wasn't happy.                          6   retained counsel, you should do so.
   7      Q. Do you know anyone else that goes by          7          MR. KERRIGAN: Is it your position,
   8   the name Claude?                                    8   Mitch, that after counsel was retained by
   9      A. I don't know. I don't remember.               9   Mr. Saincirin that Cyrus Sibert then became an
  10      Q. Right now, do you know anyone, whether       10   agent of counsel?
  11   PPT people or anyone, named Claude?                11          MR. GARABEDIAN: Yes. No. My
  12          MR. GARABEDIAN: Objection.                  12   position is that Cyrus Sibert was our agent, but
  13      A. No.                                          13   the witness did not become my client until he
  14          MR. ROSENBERG: I have nothing else.         14   retained us.
  15   Thank you.                                         15          MR. KERRIGAN: So your position is
  16      A. Thank you, too.                              16   even before Mr. Saincirin retained you as his
  17          THE VIDEOGRAPHER: Going off the             17   attorney, that Cyrus Sibert was still your
  18   record. The time is 5:08.                          18   agent?
  19          (Pause.)                                    19          MR. GARABEDIAN: Yes.
  20          THE VIDEOGRAPHER: Back on the record.       20          Give us one second.
  21   The time is 5:09.                                  21          MR. KERRIGAN: But I do want to clean
  22   BY MR. KERRIGAN:                                   22   this up. It has some implications for what we
  23      Q. Mr. Saincirin, my name is Michael            23   do going forward, you understand.
  24   Kerrigan, and I represent the Society of Jesus     24          Did you two want to go off the record
  25   of New England. Good afternoon.                    25   with Ellyn?


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   1       A. Greetings.                                   1           MR. GARABEDIAN: Yes.
   2       Q. You understand, Mr. Saincirin, that          2           MR. KERRIGAN: That's fine.
   3   you're still under oath?                            3           THE VIDEOGRAPHER: Going off the
   4       A. Yes.                                         4   record. The time is 5:12.
   5       Q. And you're required to tell the truth,       5           (Whereupon, a recess was taken.)
   6   you understand that?                                6           THE VIDEOGRAPHER: Back on the record.
   7       A. Yes.                                         7   The time is 5:21.
   8       Q. Mr. Saincirin, have you ever heard of        8           MR. KERRIGAN: Mitchell, we took a
   9   the Society of Jesus of New England?                9   little bit of a break at your request so you
  10       A. No, I don't remember that.                  10   could confer with your colleague on the
  11       Q. How about Jesuits, have you ever heard      11   privilege issue that we have here. If you'd
  12   of Jesuits?                                        12   like to elaborate on the position that you
  13       A. I don't remember that.                      13   mentioned to me off the record a moment or two
  14       Q. Mr. Saincirin, tell me every                14   ago on the record, that's fine, and then I'd
  15   conversation that you ever had with Cyrus Sibert   15   like to put my position on the record. Okay.
  16   at any time, please.                               16           MR. GARABEDIAN: It is Plaintiffs'
  17          MR. GARABEDIAN: Objection. Instruct         17   counsel's position that Cyrus has always been
  18   him not to answer, attorney/client privilege.      18   counsel's agent, but it's really case-specific.
  19          MR. KERRIGAN: Just so that we're            19   The privilege doesn't extend to the client until
  20   clear, Mitchell, so we have a clean record,        20   the client retains Plaintiffs' counsel. So we
  21   you've instructed the witness not to answer,       21   have to look at each case to determine those
  22   correct?                                           22   facts.
  23          MR. GARABEDIAN: Yes.                        23           MR. KERRIGAN: And, Mitchell, I had
  24          MR. KERRIGAN: What basis, please?           24   asked you a little bit earlier to elaborate on
  25          MR. GARABEDIAN: Once again, as I            25   what type of agency you're claiming. The reason


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   1   why I did that was not to put you on the spot,      1   have had a little discussion, but now we'll go
   2   but it's because, as I'm sure you understand,       2   back to the questioning. Okay?
   3   there are different types of agency. Agency is      3      A. Okay.
   4   often a fact contingent legal construction, and     4      Q. You testified earlier that Cyrus
   5   the privilege oftentimes, I think maybe all the     5   Sibert gave you money on at least three
   6   time, extends only insofar as the scope of the      6   occasions, is that correct?
   7   agency. So that's why I asked you to elaborate      7      A. Yes.
   8   on it, to allow us to get to the contours of the    8      Q. When did you hire Mitchell Garabedian
   9   privilege.                                          9   as your attorney?
  10           Do you still decline to elaborate on       10      A. When I received his call.
  11   what type of agency you're claiming here?          11      Q. When was that?
  12           MR. GARABEDIAN: Yes, at this point in      12      A. I don't remember.
  13   time I do.                                         13      Q. Do you remember the year,
  14           MR. KERRIGAN: So that hamstrings me,       14   Mr. Saincirin?
  15   of course, in trying to get around to what you     15      A. No, I don't remember.
  16   believe would be permissible interrogation of      16      Q. Do you remember the month,
  17   the witness.                                       17   Mr. Saincirin?
  18           MR. GARABEDIAN: First of all, we           18      A. No, I don't remember.
  19   believe it's a broad definition.                   19      Q. Do you remember the season?
  20           MR. KERRIGAN: Of agency?                   20      A. No, I don't remember.
  21           MR. GARABEDIAN: Yes.                       21      Q. Is there anything that you can tell us
  22           MR. KERRIGAN: Would you take the           22   to help us understand when you retained Mitchell
  23   position, Mitchell, that Cyrus Sibert is the       23   Garabedian as your attorney for this case?
  24   Plaintiffs' counsel agent for all purposes         24         MR. GARABEDIAN: Objection.
  25   relating to these consolidated cases in Haiti?     25   Attorney/client privilege. Instruct him not to


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   1          MR. GARABEDIAN: Yes. Again, he was           1   answer.
   2   counsel's agent, Plaintiffs' counsel's agent        2       A. Can you repeat the question, please?
   3   before Mr. Saincirin, for instance, retained        3   BY MR. KERRIGAN:
   4   Plaintiffs' counsel.                                4       Q. Can you tell us anything that will
   5          MR. KERRIGAN: I understand your              5   help us understand when you retained Mitchell
   6   position.                                           6   Garabedian as your lawyer?
   7          MR. GARABEDIAN: We've been doing this        7          MR. GARABEDIAN: Objection.
   8   for years, as you well know, with regard to         8   Attorney/client privilege. Instruct him not to
   9   clients retaining Plaintiffs' counsels.             9   answer.
  10          MR. KERRIGAN: That much of your             10          MR. KERRIGAN: Let him give the
  11   position is clear, though I disagree with it.      11   instruction.
  12          And the other portion that I just want      12   BY MR. KERRIGAN:
  13   to confirm with you is that you deem Cyrus         13       Q. Mr. Saincirin, I'm going to ask you
  14   Sibert to be the Plaintiffs' counsel's agent for   14   the question one more time, but I don't want to
  15   all purposes in Haiti in connection with the       15   know any conversations you had with any of your
  16   consolidated cases?                                16   attorneys. Do you understand?
  17          MR. GARABEDIAN: Yes, that's accurate.       17       A. Go ahead and ask me again.
  18          MR. KERRIGAN: Again, I disagree with        18       Q. Okay. Can you tell us anything that
  19   it, and I'll reserve all rights on that issue,     19   will help us understand when you hired Mitchell
  20   and take it up if desired and necessary at the     20   Garabedian as your lawyer for this case?
  21   appropriate time in the future.                    21          MR. GARABEDIAN: Objection. Instruct
  22          MR. GARABEDIAN: That's fine.                22   him not to answer as to any conversations he's
  23          MR. KERRIGAN: Thanks.                       23   had with his attorney based on attorney/client
  24   BY MR. KERRIGAN:                                   24   privilege.
  25       Q. Mr. Saincirin, your attorneys and I         25       A. I don't remember.


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   1    BY MR. KERRIGAN:                                   1   violate the attorney/client privilege as opposed
   2       Q. Okay. Thank you.                             2   to an instruction which is don't reveal any
   3           Back to Cyrus Sibert, Mr. Saincirin.        3   communications with your attorneys. Do you know
   4    Cyrus Sibert gave you 100 US dollars on three      4   what I'm getting at?
   5    separate occasions, correct?                       5          MR. GARABEDIAN: I understand what
   6        A. Yes.                                        6   you're getting at. At the same time I have to
   7       Q. Was Mitchell Garabedian your lawyer at       7   protect his rights. I can take a break and
   8    any time when you received $100 from Cyrus         8   explain it to him.
   9    Sibert on these three occasions?                   9          MR. KERRIGAN: I'd rather keep moving
  10       A. I don't remember.                           10   ahead.
  11       Q. Now, Cyrus Sibert also gave you some        11          MR. GARABEDIAN: Okay.
  12    Haitian dollars, isn't that correct?              12          MR. KERRIGAN: It's a temporal
  13        A. Yes.                                       13   question, Mitch.
  14       Q. How much was that again? I'm sorry,         14          MR. GARABEDIAN: We've gone through
  15    I've forgotten.                                   15   this already. If he cannot answer your question
  16       A. 20 Haitien dollars.                         16   without revealing confidential communications
  17       Q. Do you know how much that is in             17   with his attorneys, Cyrus Sibert, then he can't
  18    American dollars?                                 18   answer your question.
  19       A. I don't know.                               19          MR. KERRIGAN: That's a different
  20       Q. When did you receive the Haitian            20   instruction from the one you gave before.
  21    dollars from Cyrus Sibert?                        21          MR. GARABEDIAN: Well, I'm giving both
  22           MR. GARABEDIAN: My continuing              22   instructions.
  23    objection as to attorney/client privilege. I'm    23          MR. KERRIGAN: Let me ask the
  24    instructing him not to answer.                    24   question. You can make your objection.
  25           MR. KERRIGAN: I'm sorry, that was an       25   BY MR. KERRIGAN:


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   1   instruction not to answer the question of when      1      Q. Mr. Saincirin, when did Cyrus Sibert
   2   he received the money?                              2   give you the 20 Haitian dollars?
   3          MR. GARABEDIAN: What's the last              3          MR. GARABEDIAN: Objection. Instruct
   4   question?                                           4   him not to answer based on attorney/client
   5          MR. KERRIGAN: The last question was a        5   privilege.
   6   question that's temporal, it was when, Mitch. I     6          If you can answer without revealing
   7   want to know when he received the 20 Haitian        7   conversations with your attorney or your agent,
   8   dollars from Cyrus.                                 8   Cyrus Sibert, answer. Otherwise don't answer.
   9          MR. GARABEDIAN: I'm just protecting          9          Now I gave him both.
  10   his rights, that's why I'm objecting and           10      A. I don't remember.
  11   instructing not to answer if he has to answer by   11   BY MR. KERRIGAN:
  12   revealing any attorney/client communication.       12      Q. Did you get 20 Haitian dollars from
  13   That's where we are.                               13   Cyrus Sibert before or after you hired Mitchell
  14          MR. KERRIGAN: Okay. Let me then ask,        14   Garabedian as your attorney?
  15   Mitch, if we can instruct the client -- I          15          MR. GARABEDIAN: Note my continuing
  16   shouldn't say we. If you can instruct the          16   objection.
  17   client, rather than telling him don't violate      17   BY MR. KERRIGAN:
  18   the attorney/client privilege, because I'm not     18      Q. Can you answer the question?
  19   sure Mr. Saincirin is in a position to know what   19      A. No, I don't remember.
  20   would be violating the attorney/client             20      Q. Did you ever get any money from
  21   privilege, if you could keep it factual and just   21   Mitchell Garabedian?
  22   instruct him not to reveal any communications      22          MR. GARABEDIAN: Objection. Instruct
  23   with you and his other attorneys. Would that be    23   him not to answer. Attorney/client privilege.
  24   a fair way to do it? I'm not sure that             24          MR. KERRIGAN: It's your position,
  25   Mr. Saincirin can understand when you say don't    25   Mitchell, that the transfer of funds constitutes


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   1   a communication that's protected from discovery     1   extent you're relating to the act, he may
   2   by the attorney/client privilege?                   2   answer.
   3          MR. GARABEDIAN: One minute.                  3   BY MR. KERRIGAN:
   4          MR. KERRIGAN: Do you want to take a          4       Q. Can you answer the question,
   5   break?                                              5   Mr. Saincirin?
   6          MR. GARABEDIAN: Just for a second.           6       A. No, I won't say anything.
   7          MR. KERRIGAN: We'll go off the record        7       Q. Okay. Let me ask the question again.
   8   so Ellyn and Mitchell can talk for a minute.        8          Did the money that you received from
   9          THE VIDEOGRAPHER: Going off the              9   Cyrus Sibert come from any of your attorneys?
  10   record. The time is 5:34.                          10          MR. GARABEDIAN: Objection. He may
  11          (Pause.)                                    11   answer as it relates to only the act.
  12          THE VIDEOGRAPHER: Back on the record.       12       A. I don't know. I simply know that I
  13   The time is 5:47.                                  13   received, I received, but I don't know.
  14          MR. GARABEDIAN: To answer your              14   BY MR. KERRIGAN:
  15   question, Mike -- may I?                           15       Q. You don't know where the money came
  16          MR. KERRIGAN: Please go ahead.              16   from, is that what you're saying?
  17          MR. GARABEDIAN: It's my position that       17       A. No, it's just simply that I received
  18   the transfer of funds from Plaintiffs' counsel     18   it from --
  19   to Mr. Saincirin does not constitute a             19          MR. GARABEDIAN: Objection.
  20   communication that's protected from discovery by   20       A. -- Cyrus's hands. I don't know
  21   the attorney/client privilege.                     21   anything else.
  22          MR. KERRIGAN: Okay.                         22          MR. GARABEDIAN: Again, I object, but
  23          MR. GARABEDIAN: The act of it. I'm          23   he may answer only as to the act.
  24   sorry. The act of transfer of funds.               24   BY MR. KERRIGAN:
  25          MR. KERRIGAN: Does your instruction         25       Q. The money that you received came from


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   1   still stand then not to answer?                     1   Cyrus Sibert, who is an agent of your attorneys
   2           MR. GARABEDIAN: No, he may answer if        2   in this case, correct?
   3   your question relates only to the act.              3       A. The money came from his hands, yes.
   4           MR. KERRIGAN: Okay.                         4   But I don't know where this money came from.
   5   BY MR. KERRIGAN:                                    5          MR. KERRIGAN: Mitchell, I'll just
   6       Q. Mr. Saincirin, did you ever receive          6   object, a standing objection, or a reservation
   7   from Mitchell Garabedian any money at any time?     7   on the issue of the assertion of the
   8       A. No.                                          8   attorney/client privilege with respect to any of
   9       Q. Mr. Saincirin, did you ever receive          9   the questions about the finances. I'll just
  10   any money from any of your attorneys in this       10   reserve on those.
  11   case at any time?                                  11          MR. GARABEDIAN: I understand.
  12       A. No.                                         12   BY MR. KERRIGAN:
  13       Q. Mr. Saincirin, did you ever receive         13       Q. Mr. Saincirin, when you received the
  14   any money from your attorneys through the hands    14   money from Cyrus Sibert on the first occasion,
  15   of another person?                                 15   was anybody present other than Cyrus Sibert and
  16       A. Can you repeat for me, please?              16   you?
  17       Q. Certainly.                                  17       A. No, I don't remember.
  18           Did you ever receive any money that        18       Q. On the second time you received money
  19   came from your attorneys that you received from    19   from Cyrus Sibert, was anyone present other than
  20   someone other than your attorneys?                 20   you and Mr. Sibert?
  21       A. I received, but I don't know from who.      21       A. He was in the streets, and I took a
  22   I simply received, but I don't know from who.      22   car to go meet him, and I took the money from
  23       Q. Did the money you received from Cyrus       23   his hands, and I left.
  24   Sibert come from any of your attorneys?            24       Q. Was there anyone else present with you
  25           MR. GARABEDIAN: Objection. To the          25   and Cyrus Sibert when you took the money from


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   1   his hands?                                          1   anymore, it's been so long. Where is it? The
   2      A. I don't remember.                             2   $20. I was alone. No, that was another
   3      Q. Now, the third time you received money        3   question.
   4   from Cyrus Sibert, was there anyone else present    4          MR. KERRIGAN: Page 183, line 6.
   5   besides you and Mr. Sibert?                         5          THE INTERPRETER: Okay.
   6      A. The third time I received the money --        6      A. What is that again?
   7   can you repeat?                                     7          MR. GARABEDIAN: Can you re-ask the
   8      Q. Certainly.                                    8   question?
   9          The third time you received 100 US           9   BY MR. KERRIGAN:
  10   dollars from Cyrus Sibert, was there anyone else   10      Q. Mr. Saincirin, you've told us about
  11   present besides you and Mr. Sibert?                11   several times that Mr. Sibert gave you money, is
  12      A. There was just him and myself.               12   that correct?
  13      Q. On the time when Mr. Sibert gave you         13      A. Yes.
  14   20 Haitian dollars, was there anyone present       14      Q. Have you told us all the times when
  15   other than you and Mr. Sibert?                     15   you got money from Cyrus Sibert?
  16      A. I was alone.                                 16      A. Yes.
  17      Q. And that's all the times that Cyrus          17      Q. You testified earlier that you went to
  18   Sibert, who is your attorney's agent, gave you     18   see Mr. Sibert because you thought that he was
  19   money, is that correct?                            19   someone who could put you in touch with
  20          MR. GARABEDIAN: Objection.                  20   responsible people who could help you with your
  21          Are you stating he's currently the          21   case, is that correct?
  22   agent, or are you talking about a time period      22      A. Yes.
  23   when you don't know if he was the agent or         23      Q. Before that time, you didn't know
  24   whether Saincirin, Mr. Saincirin, was my client?   24   Cyrus Sibert, did you?
  25          MR. KERRIGAN: Mitchell, you said            25      A. He was a journalist.


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   1   Cyrus Sibert was your agent for all the             1       Q. You had never met him before then,
   2   litigation in Haiti. Mr. Saincirin has              2   though, isn't that correct?
   3   testified that he received money from Cyrus         3       A. No.
   4   Sibert in Haiti, and does not know the time.        4       Q. Just so that we're clear, you had
   5           MR. GARABEDIAN: Okay. But my point          5   never met Cyrus Sibert before you went to him
   6   is, you do not know the time, correct, when         6   looking for someone who could help you with your
   7   Mr. Saincirin became a client, correct?             7   case, is that correct?
   8           MR. KERRIGAN: Mr. Saincirin has said        8       A. I had never gone to speak to him, but
   9   what he has said on the record, and he has said     9   I used to see him. But I don't remember very
  10   what he said in interrogatories, and we have no    10   much, because, you know, because --
  11   other information from that.                       11       Q. Mr. Saincirin, have you ever sought
  12           MR. GARABEDIAN: Your position is you       12   help for what you described earlier today as
  13   don't know when Mr. Saincirin became a client.     13   your emotional troubles that you have that you
  14           MR. KERRIGAN: I think that's fair to       14   believe were caused by Doug's behavior?
  15   say based on his testimony.                        15       A. No.
  16           MR. GARABEDIAN: Okay. Thank you.           16       Q. Why not?
  17           MR. KERRIGAN: But there are also           17       A. I don't know. It doesn't depend on
  18   answers to interrogatories. I've asked him the     18   me.
  19   question, he's answered it.                        19       Q. What do you mean by that?
  20           MR. GARABEDIAN: Thank you.                 20       A. Can you repeat it one more time so I
  21           MR. KERRIGAN: Is there an answer to        21   can understand it better, what you mean by the
  22   my question on the record now? And if there        22   question?
  23   isn't, I would ask Philippe if he'd be good        23       Q. I can, sure.
  24   enough to repeat the question to the witness.      24          You had indicated that you have never
  25           THE INTERPRETER: I can't even find it      25   tried to get help for your emotional problems


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   1   that you believe were caused by Douglas's           1   is that I want to get justice.
   2   misconduct, correct?                                2       Q. Mr. Saincirin, how do you spend an
   3      A. Yes, I said that. That's my -- I'm            3   average day? What do you do?
   4   looking for in this case, that's what I'm           4       A. How I spend my day?
   5   looking for with this litigation, this is what      5       Q. Correct. Please tell us.
   6   I'm hoping for.                                     6       A. Here when I'm in Santo Domingo?
   7      Q. And up until now, you have not got any        7       Q. No, here. When you're home, how do
   8   help for your emotional problems, is that           8   you spend your time?
   9   correct?                                            9          MR. GARABEDIAN: Objection.
  10      A. No.                                          10          You mean home in Santo Domingo, or in
  11      Q. Is there anyone in Haiti that can help       11   Haiti?
  12   you with those problems, say a doctor or a         12   BY MR. KERRIGAN:
  13   counsellor?                                        13       Q. Wherever you lay your hat, at home.
  14      A. I don't know. Because even now as I'm        14       A. If I'm not working, I just very simply
  15   speaking with you, I don't feel well.              15   stay -- if I find something to eat I eat, if I
  16      Q. How do you not feel well?                    16   don't find anything to eat I lie down.
  17      A. I have had a problem in my throat for        17       Q. What time do you usually get up in the
  18   two years now making me suffer.                    18   morning?
  19      Q. You don't believe that the problem in        19       A. Sometimes I get up at 6.
  20   your throat was caused by Douglas's conduct, do    20       Q. And what do you do?
  21   you?                                               21       A. When I get up, I go look for work in
  22      A. No. It's stress, it's also stress.           22   the streets.
  23   You understand?                                    23       Q. Do you do that every day?
  24      Q. Stress from life?                            24       A. Not all the time.
  25      A. Yes. While I'm stressing, it's               25       Q. How often do you go look for work in

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   1    causing me a lot of things.                        1   the streets?
   2       Q. Is there anyone in Haiti that you can        2       A. Many times, because that's what I do
   3    go to for advice or counseling to help you with    3   when I'm here. I can't stay lying down.
   4    your emotional problems?                           4       Q. Can you remind me, please,
   5       A. Well, I don't know. I don't know. I          5   Mr. Saincirin, where is your home now?
   6    gave you the answer.                               6       A. I live in Constanza.
   7       Q. And what is it that you hope to get          7       Q. When you're in Constanza, how many
   8    out of this case?                                  8   days of the week do you look for work?
   9       A. I'd like to find justice for myself.         9       A. I don't know. But sometimes I get up,
  10       Q. What does that mean to you, justice?        10   and I try to look for work. On Saturday I don't
  11       A. The judge will know. The judge will         11   look for work because I'm an Adventist. So
  12    have the time to decide. I don't know anything    12   sometimes I don't go look for work, but
  13    about it.                                         13   sometimes I go look for work, and sometimes I
  14       Q. Do you know that Douglas is in jail?        14   try to find work and I don't find any, so I go
  15       A. Yes.                                        15   back and lie down.
  16       Q. Is that enough justice --                   16       Q. When you go out to try to find work,
  17           MR. GARABEDIAN: Objection.                 17   what are the types of things that you do?
  18    BY MR. KERRIGAN:                                  18          MR. GARABEDIAN: Objection.
  19       Q. -- for what he did?                         19       A. I go out, I take my hoe or whatever it
  20       A. That doesn't depend on myself. It           20   is, whatever tool I can get my hands on, because
  21    depends on the judge. I'm a victim.               21   here the work to be done is work in the fields,
  22       Q. Do you expect to get money from this        22   so I just try to find something in that domain.
  23    case?                                             23   BY MR. KERRIGAN:
  24       A. Well, the judge knows. I don't know         24       Q. How many times have you worked in the
  25    anything about that. But the only thing I know    25   month of September?


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   1       A. I don't remember.                             1   friends?
   2       Q. Are you able to go out and walk the           2       A. The answer is no, but I still try to
   3   streets and look for work? Nothing is stopping       3   go out and talk to my friends, because in
   4   you physically from going out and looking for        4   talking to my friends I feel less sad.
   5   work, correct?                                       5       Q. And you're able to keep up your
   6       A. I don't have difficulties to go out           6   relationships and your friendships with your
   7   and look, but I have difficulties to find.           7   friends?
   8       Q. And you told us earlier that you work         8       A. Yes. Yet I don't know what will
   9   hard in the fields with your hands with the          9   happen in the future, because I have no trust in
  10   sickle, correct?                                    10   humanity anymore.
  11       A. Yes. Here's my hand. Look. Both my           11       Q. But you trust your friends?
  12   hands have injuries. Look. It would have been       12       A. I don't trust -- I don't trust anyone
  13   good if I could have gone to school like all the    13   anymore. Even though they're my friends, in my
  14   other kids go to school, but my life has been       14   heart I no longer trust anyone.
  15   ruined.                                             15       Q. But you still hang around with them,
  16       Q. And you're also, Mr. Saincirin, able         16   and it still makes you less sad to hang around
  17   to do some of the masonry work that you             17   with your friends, correct?
  18   described for us earlier today, is that correct?    18       A. So we spend moments together, yes,
  19       A. Yes.                                         19   that's the case. But it's not -- that doesn't
  20       Q. Is unemployment high in Santo Domingo?       20   remove all of the sadness, because my life is
  21       A. Very high.                                   21   wounded, I am wounded.
  22       Q. Do you know what percentage of people        22       Q. Does Renaud, your friend, have a job?
  23   in Santo Domingo are unemployed?                    23       A. No. He's out in the streets looking
  24       A. I don't know what the percentage is.         24   for a job.
  25       Q. Do you have friends that you spend           25       Q. What kind of work would Renaud do if


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   1    time with in Constanza or Santo Domingo?            1   he got a job?
   2        A. The friends that I'm close with.             2       A. Both of us, we work with the sickle,
   3        Q. Correct.                                     3   or the hoe. When it's time to use sickles to do
   4        A. Yes.                                         4   the work we use the sickles, or the hoe. And
   5        Q. How many would you say you have?             5   sometimes when it's time to pick carrots, we
   6        A. Several.                                     6   pick carrots. But I don't know other stuff that
   7        Q. What are their names?                        7   he does.
   8        A. There's Renaud.                              8       Q. Does Eric have a job?
   9        Q. Who else?                                    9       A. Same type.
  10        A. Sometimes Eric, I hang out with him.        10       Q. Is he working? Does he have a job
  11        Q. Who else?                                   11   now?
  12        A. Others as well, but I don't remember        12       A. I don't know.
  13    their names.                                       13       Q. Do any of your other friends have
  14        Q. They're good friends?                       14   jobs, Mr. Saincirin?
  15           MR. GARABEDIAN: Objection.                  15       A. No.
  16        A. Yes.                                        16       Q. Mr. Saincirin, do you know what
  17    BY MR. KERRIGAN:                                   17   Facebook is?
  18        Q. You're able to spend time with them         18       A. Yes.
  19    and enjoy their company?                           19       Q. What is Facebook?
  20        A. Sometimes I don't have anything to do,      20       A. It's an electronic system.
  21    and they don't have anything to do, so we get      21       Q. Are you on Facebook?
  22    together. Hopefully that removes some of the       22       A. Yes.
  23    stress if we sit together and talk.                23       Q. How long have you been on Facebook?
  24        Q. And does it help you to relieve some        24       A. I don't remember.
  25    of the stress to get together and talk with your   25       Q. Do you currently have a handle or a


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   1   name that you use on Facebook?                      1        A. Sometimes I pay 25 pesos.
   2       A. Yes.                                         2        Q. For how much time?
   3       Q. What is that name?                           3        A. One hour.
   4       A. Saincirin.                                   4        Q. That's 25 Dominican pesos,
   5       Q. Can you spell it, please?                    5    Mr. Saincirin?
   6       A. S-A-I-N-C-I-A-N.                             6        A. Yes.
   7          THE INTERPRETER: He's going to write         7        Q. Do you have a cell phone?
   8   it for me. I'm not sure about the spelling.         8        A. Yes.
   9          MR. GARABEDIAN: I'll give you a piece        9        Q. What brand of cell phone is it?
  10   of paper.                                          10        A. I don't remember the brand.
  11       A. S-A-I-N-C-I-R-I-N.                          11        Q. Is it Digicel?
  12   BY MR. KERRIGAN:                                   12        A. For here, I have Viva.
  13       Q. And, Mr. Saincirin, do you have a           13        Q. How do you spell Viva?
  14   computer?                                          14        A. V-I-V-A.
  15       A. No.                                         15        Q. How long have you had that phone?
  16       Q. Do you have access to a computer?           16        A. I don't remember.
  17       A. There are centers, sometimes we go to       17        Q. Who gave you that phone?
  18   a center.                                          18        A. I got it through working in the
  19       Q. Where are the centers that you would        19    fields.
  20   go to to use a computer?                           20        Q. You bought it yourself?
  21       A. There are many of them. Sometimes you       21        A. Yes.
  22   find them in Haiti, you find them here,            22        Q. How much was it?
  23   sometimes I use them here as well. Sometimes I     23        A. I don't remember how much.
  24   have a friend that might have a connection and I   24        Q. What is the number?
  25   might get a little bit of his time on his          25        A. 80994232204. Yes, that's right.

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   1    connection.                                        1      Q. Did you have a cell phone before the
   2       Q. Are these like cafes, what we might          2   Viva phone, Mr. Saincirin?
   3    call in America internet cafes?                    3      A. Yes.
   4       A. Yes. Cyber.                                  4      Q. What brand was that?
   5       Q. How often do you visit cyber cafes?          5      A. Digicel.
   6       A. Many times. I don't know how many.           6      Q. What was the number of that phone?
   7       Q. How many times during the week will          7      A. I don't remember it.
   8    you visit a cyber cafe?                            8      Q. What years did you have that phone?
   9       A. In this week here, or in weeks in            9      A. I don't remember.
  10    general?                                          10      Q. Before the Digicel phone, did you have
  11       Q. How about weeks in general.                 11   another phone?
  12       A. There's no specific frequency.              12      A. No.
  13    Sometimes I don't go at all.                      13      Q. When you were at PPT, did have you a
  14       Q. What's the most you would visit a           14   cell phone?
  15    cyber cafe during an average week?                15      A. I don't remember.
  16           MR. GARABEDIAN: Objection.                 16      Q. When you went to see Cyrus Sibert for
  17       A. I don't remember.                           17   the first time, did you have a cell phone?
  18    BY MR. KERRIGAN:                                  18      A. Yes.
  19       Q. Would you visit a cyber cafe three          19      Q. Which phone did you have the first
  20    times a week on any given week?                   20   time you met Cyrus Sibert?
  21       A. I don't remember.                           21      A. I had a Haitian phone number,
  22       Q. Does it cost money to go to a cyber         22   44962082.
  23    cafe?                                             23      Q. Was that a cell phone, Mr. Saincirin?
  24       A. Yes.                                        24      A. Yes.
  25       Q. How much does it cost?                      25      Q. Was that a Digicel phone?


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   1        A. Yes.                                        1   now, okay?
   2        Q. Was that phone in the name of Louis         2         First, let me ask you, did you give
   3    Saincirin?                                         3   these documents to your attorneys?
   4        A. I don't remember.                           4      A. I showed them to my lawyers, yes.
   5        Q. Have your other phones been in the          5      Q. Did you give your attorneys any other
   6    name of Louis Saincirin?                           6   documents for this case?
   7        A. No, I don't remember.                       7      A. Yes.
   8        Q. How much does it cost a month to have       8      Q. What other documents, and I just want
   9    a cell phone?                                      9   to know the documents, did you give to your
  10        A. I didn't have it every month.              10   attorneys for this case?
  11        Q. How much did it cost you to have a         11      A. I gave a CD.
  12    cell phone?                                       12      Q. Okay. What else?
  13           MR. GARABEDIAN: Objection.                 13      A. I don't remember the others.
  14        A. I don't remember, but it wasn't a lot      14      Q. Did you give any Facebook pages to
  15    of money.                                         15   your attorneys for this case?
  16    BY MR. KERRIGAN:                                  16      A. If I did what?
  17        Q. Are you friends with Cyrus Sibert on       17      Q. Did you give your attorneys any
  18    Facebook?                                         18   Facebook pages?
  19        A. Yes.                                       19      A. I don't remember.
  20        Q. How long have you been Facebook            20      Q. Did you give your attorneys anything
  21    friends?                                          21   from your Facebook account?
  22        A. I don't remember.                          22      A. Yes.
  23        Q. Are you friends, Facebook friends that     23      Q. What did you give the attorneys from
  24    is, with Mitchell Garabedian?                     24   your Facebook account?
  25        A. I asked him to be my friend, but he        25         MR. GARABEDIAN: Object. And instruct


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   1   never answered.                                     1   him not to answer. Attorney/client
   2       Q. Are you Facebook friends with any of         2   communication. Privilege.
   3   your lawyers in this case?                          3           MR. KERRIGAN: You're instructing him
   4       A. No.                                          4   not to answer?
   5       Q. Do you communicate with any of your          5           MR. GARABEDIAN: Yes.
   6   attorneys using Facebook, Mr. Saincirin? That's     6           MR. KERRIGAN: I disagree. I'll
   7   a yes or no question.                               7   reserve the action on that.
   8       A. Yes.                                         8   BY MR. KERRIGAN:
   9       Q. Do you use any other electronic media        9        Q. Mr. Saincirin, we're going to take a
  10   other than Facebook?                               10   look at the documents you've brought.
  11       A. Can you explain to me what you mean?        11           MR. KERRIGAN: And for the record,
  12       Q. Yes.                                        12   I'll just note that Ellyn showed us these
  13          Do you have, for example, a Twitter         13   documents this morning, they're originals, so
  14   account, Instagram account, something like that?   14   we're being careful not to put stickers on them,
  15       A. I don't remember.                           15   that is exhibit stickers. So what we're going
  16       Q. Now, Mr. Saincirin, other than using        16   to do is just mark them with stickies, we've all
  17   Facebook on the computer and your cell phone,      17   agreed, and then we're going to have copies of
  18   are there any other ways that you communicate      18   the originals made, and they'll be marked
  19   electronically?                                    19   correspondingly with the proper exhibit numbers.
  20       A. I don't remember.                           20           Is that fair, Mitchell?
  21       Q. Now, Mr. Saincirin, did you bring some      21           MR. GARABEDIAN: Yes.
  22   documents with you today?                          22        A. Okay.
  23       A. For today? I have those documents           23   BY MR. KERRIGAN:
  24   here.                                              24        Q. Mr. Saincirin, I'm going to hand you
  25       Q. We're going to take a look at those         25   what we've marked as Exhibit 5.


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   1          (Whereupon, Saincirin Exhibit                 1      A. And an identification number.
   2          Number 5, Copy of Badge from St.              2      Q. Mr. Saincirin, that document certifies
   3          Vincent Foundation, was marked for            3   that you made it through the sixth year, is that
   4          identification.)                              4   correct?
   5    BY MR. KERRIGAN:                                    5      A. Yes.
   6        Q. If you'd be good enough, I'm going to        6      Q. And does it say that you graduated
   7    ask you to please show it to the camera and then    7   from College Pierre Toussaint down there?
   8    take a look at it, okay? Thank you. Just for        8      A. No. It says that Pierre Toussaint,
   9    the moment, then you can put it down.               9   the school Pierre Toussaint, sent me to the
  10          Can you tell us, please, what this           10   exams.
  11    document is?                                       11      Q. Thank you.
  12        A. That is my badge from the time when I       12           The next document, Mr. Saincirin, is
  13    was at the Vincent Foundation. I was learning      13   Exhibit 8.
  14    how to sew. That was 2006, 2007.                   14           (Whereupon, Saincirin Exhibit
  15        Q. Okay. Is that what it says on the           15           Number 8, Documents for Saint Esprit,
  16    card?                                              16           was marked for identification.)
  17        A. Yes.                                        17   BY MR. KERRIGAN:
  18        Q. Is that an identification card for          18      Q. Could you please again show that to
  19    St. Vincent Foundation?                            19   the camera and then take a look? I'll represent
  20        A. Yes, they had given it to me.               20   that it's two pages, one seems to be a slip of
  21        Q. Okay. You can put that to the side,         21   paper stapled to a larger piece of paper.
  22    please, Mr. Saincirin.                             22           What is that document, Mr. Saincirin?
  23          I'm going to hand you what we've             23      A. This goes together with that other
  24    marked as Exhibit 6.                               24   one.
  25                                                       25      Q. What is that document?

                                           Page 211                                                Page 213
   1           (Whereupon, Saincirin Exhibit                1       A. Those are documents from Saint-Esprit.
   2           Number 6, Sixth Grade Paper, was             2       Q. What is the document in front of you
   3           marked for identification.)                  3   marked as Exhibit 6, please? Do you recognize
   4    BY MR. KERRIGAN:                                    4   that?
   5       Q. If you'd please, again, show it to the        5       A. This was a document allowing me to
   6    camera briefly, and then take a look at it. Can     6   reregister as a student after I had finished the
   7    you tell us, please, Mr. Saincirin, what that       7   sixth year. But I wasn't able to do so
   8    document is?                                        8   financially, so never came through.
   9       A. This is the sixth year paper that             9       Q. Okay. And then we'll look at what you
  10    shows that I was at Project Pierre Toussaint.      10   described as the related document, Exhibit 7.
  11       Q. Could I see that just for a moment,          11          (Whereupon, Saincirin Exhibit
  12    please? Thank you.                                 12          Number 7, Grades from Saint-Esprit,
  13           And this is a document that is issued       13          was marked for identification.)
  14    by the government of Haiti, is that correct?       14   BY MR. KERRIGAN:
  15       A. It was given to me at the school.            15       Q. Mr. Saincirin, could you please open
  16    They simply gave me this piece of paper. I         16   it and show the camera, too? Thank you.
  17    think it might be, yes.                            17          What is that document, please?
  18       Q. Can you please tell us what it says on       18       A. This is my -- these are my grades when
  19    the top line?                                      19   I was in Saint-Esprit.
  20       A. It's written "Minister for National          20       Q. And that's for the year 2010 to 2011,
  21    Education for Youth and for Sports" in French.     21   correct?
  22    This is my translation. It says sixth year of      22       A. Well, I don't remember. Yes, it's
  23    the fundamental schooling. Again, my               23   written. Yes, it's written here.
  24    translation. It's written in French.               24       Q. Can you open that document, please,
  25       Q. Thank you.                                   25   and tell us what your grades are in there?


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   1    First let me ask you one question.                  1   Alive had been paying for me, but then it
   2           What is the highest grade that               2   stopped.
   3    somebody can get on a report card like that?        3       Q. If you had the money, what would be
   4        A. I don't know, but all I know is that         4   the next grade after this grade?
   5    you had to work hard in order to be able to         5          THE VIDEOGRAPHER: I have to go off
   6    pass.                                               6   the record. Going off the record. The time is
   7        Q. What is the lowest grade that somebody       7   6:45.
   8    could get on a report card like that?               8          (Pause.)
   9        A. The number 5 would be the lowest one.        9          THE VIDEOGRAPHER: We're back on the
  10        Q. Okay. And could you tell us what your       10   record. The time is 6:47.
  11    grades are for the various subjects? How about     11   BY MR. KERRIGAN:
  12    if you do it like this.                            12       Q. Mr. Saincirin, just before we took a
  13           Could you just say that in this             13   break to replace the video, I asked you if you
  14    subject for this semester, my grade was this,      14   had the money, what would be the next year or
  15    and then just go across.                           15   grade that you would go on to in school after
  16        A. Second semester, in practice I got a        16   this report card in 2010, 2011.
  17    7.                                                 17       A. I would have gone to the second year.
  18        Q. And you don't have to show the camera       18       Q. Second year of?
  19    each time, you can just read it. Thank you.        19       A. That's how they call the years,
  20        A. In technology, and I don't remember         20   because this is a technical vocational school.
  21    what that abbreviation next to it stands for, I    21       Q. I see.
  22    got 6.5.                                           22          So it would have been the second year
  23           In workshop exams, I got a 6.               23   of the Ecole Professional Saint-Esprit?
  24           In -- for drawing, I got a 5.               24       A. Yes.
  25           For English, I got either 5 or 6, I         25       Q. Thank you.


                                           Page 215                                               Page 217
   1    can't quite make it out.                            1         Mr. Saincirin, the last document you
   2           For math I got 7.5.                          2   brought today is a two-page document stapled
   3       Q. And is that all the subjects?                 3   together, and we've marked it as Exhibit 9.
   4       A. Yes, that's all the subjects.                 4         (Whereupon, Saincirin Exhibit
   5       Q. I think we get the idea, so I don't           5         Number 9, Document from Institution
   6    think you have to go on to the next trimester.      6         Mixte Jean Renel, was marked for
   7           But can you explain to us on the far         7         identification.)
   8    right, the bottom numbers there, what do those      8   BY MR. KERRIGAN:
   9    mean?                                               9      Q. Can you please show both pages to the
  10       A. This -- in order to complete this            10   camera. I think you have to turn it the other
  11    grade book you have to get what they call          11   way. There you go. Thank you.
  12    habilitation points, that's what they called it.   12         Can you tell us what that document is,
  13       Q. What did those points mean?                  13   please?
  14       A. It's based on that that they determine       14      A. This was a school I was supposed to go
  15    whether you can continue or not, or you're held    15   back to again. I had asked for help. They had
  16    back.                                              16   given me a half scholarship, but I wasn't able
  17       Q. Based on the numbers in that report          17   to pay for the other half.
  18    card, did you continue, or were you held back?     18      Q. What's the name of that school,
  19       A. Yes, I was able to -- I was admitted.        19   please?
  20       Q. So you continued?                            20      A. It was Mixte Jean Renel.
  21       A. I wasn't able to continue because I          21      Q. When was the scholarship offered to
  22    didn't have any help.                              22   you?
  23       Q. It was a monetary problem, a problem         23      A. When I registered.
  24    with finances?                                     24      Q. What year?
  25       A. Yes, it was a financial issue. Kids          25         THE INTERPRETER: Mixte is co-ed, for


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   1    the record.                                         1          But I will note that, for my part
   2        A. I don't remember. I don't see if it's        2   anyway, I would suspend the deposition based
   3    written here.                                       3   upon discussions that we had with you and Ellyn
   4        Q. If you can't find it, that's okay.           4   yesterday, there was a comment made about that
   5           Mr. Saincirin, how much does it cost         5   yesterday on the record, and it's -- the basis
   6    to rent the place where you live?                   6   for the suspension are the Facebook pages you're
   7        A. Haiti, or here?                              7   going to review for privilege and review.
   8        Q. Here.                                        8          MR. GARABEDIAN: I believe John
   9        A. It doesn't cost a lot, but sometimes         9   Cerreta cited the stipulations.
  10    we're not able to make the rent, because here      10          MS. HURD: Those are specific to the
  11    Haitians are not given any value.                  11   Facebook messages.
  12        Q. How much does it cost here in the           12          MR. GARABEDIAN: The social media.
  13    Dominican to rent your place?                      13          MS. HURD: You have the previous
  14        A. Sometimes we pay 300 gourdes for the        14   Facebook pages, you've already been produced
  15    month, sometimes we pay 1,000 pesos. We get        15   Facebook pages, postings.
  16    together.                                          16          MR. KERRIGAN: Thank you.
  17        Q. And how much is the rent at your place      17          Thank you, Mr. Saincirin.
  18    in Haiti per month?                                18          THE VIDEOGRAPHER: Going off the
  19        A. In Haiti it's expensive. The person         19   record. The time is 6:54.
  20    that takes care of the rent says he pays $2,500,   20          (Whereupon, a recess was taken.)
  21    but I don't know whether that's true or not,       21          THE VIDEOGRAPHER: Back on the record.
  22    because I'm not the one that pays it. That's       22   The time is 7:03.
  23    what he claims.                                    23   BY MR. KENNEDY:
  24        Q. That's Haitian dollars?                     24       Q. Good evening, Mr. Saincirin. My name
  25        A. Yes, Haitian dollars.                       25   is Jeff Kennedy, we met very early this morning.


                                           Page 219                                                Page 221
   1       Q. And is that per month?                        1   I represent Hope Carter, and I have some
   2       A. No. It's per year.                            2   questions for you.
   3       Q. Mr. Saincirin, have you understood all        3          You understand you're still under
   4   my questions today?                                  4   oath?
   5       A. Yes, I tried my best to understand.           5       A. Yes.
   6       Q. And when you didn't understand any of         6       Q. Did Douglas ever tell you anything
   7   my questions, you told me, is that correct?          7   about Madame Carter?
   8       A. Yes.                                          8       A. He used to present her to us.
   9           MR. KERRIGAN: Thank you very much.           9       Q. What do you mean by that, sir?
  10           MR. GARABEDIAN: Mike, while we're on        10       A. So he would say, yes, she's one of the
  11   the record, if you'd like to revisit the            11   people that is there, that is with us. I don't
  12   question concerning the Facebook page, rephrase     12   remember exactly what he said. He used to
  13   it.                                                 13   introduce her.
  14           MR. KERRIGAN: I'll leave that to you        14       Q. Okay. He'd introduce her and say that
  15   if you'd like. There is one thing I'd like to       15   she's there, that she's with us, is that
  16   do administratively.                                16   correct?
  17           MR. GARABEDIAN: What do you mean you        17       A. No, I don't remember.
  18   leave that to me if you like.                       18       Q. You don't remember what Douglas said
  19           MR. KERRIGAN: I don't think I have          19   about Mrs. Carter, correct?
  20   any more Facebook page questions.                   20       A. No, I don't remember.
  21           MR. GARABEDIAN: The one I objected          21       Q. And, sir, I apologize, you've been
  22   to, if you want to re-ask it.                       22   asked a lot of questions today so I'm just going
  23           MR. KERRIGAN: I quite frankly don't         23   to jump around quickly.
  24   recall what the issue was. You feel free if         24       A. No problem.
  25   there's something you need to clean up.             25       Q. Thank you.


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   1          Do you remember Andy Schultheis, sir?      1       Q. Which board, sir?
   2        A. Andy?                                     2       A. I don't know. They just say board,
   3        Q. Andy.                                     3   like that.
   4        A. Is it the same Andy that was in           4       Q. Have you ever heard of the Haiti Fund,
   5    Bel Air? Because I don't know his last name.     5   sir?
   6        Q. Okay. Was that Andy a foreigner, a        6       A. I've never heard of it the way you say
   7    white man?                                       7   it, but I've heard of Fund Haiti.
   8        A. Yes.                                      8       Q. Is that the same board that you were
   9        Q. Do you remember if that Andy had a        9   just referring to, sir?
  10    Haitian girlfriend, sir?                        10       A. No. It's just that from people's --
  11        A. Yes.                                     11   from people talking, I have heard of it, but I
  12        Q. Okay. And do you remember her name?      12   don't have information about it.
  13        A. The Haitian, no.                         13       Q. Who presented Michael, sir?
  14        Q. Did you ever speak to her, sir?          14       A. Who is it that presented him?
  15        A. With who?                                15       Q. Yes, sir. I believe you testified
  16        Q. With Andy's Haitian girlfriend.          16   that -- you just testified, sir, that sometimes
  17        A. No.                                      17   they present him as being one of the members of
  18        Q. Sir, you went to the Kids Alive          18   the board. And I'm just wondering, who
  19    program, is that correct?                       19   presented Michael?
  20        A. Yes.                                     20       A. Douglas Perlitz, he always presented
  21        Q. And how long was that program, sir?      21   him that way.
  22        A. I don't remember.                        22       Q. Douglas Perlitz presented Michael as a
  23        Q. And did that program eventually close,   23   higher-up, sir?
  24    sir?                                            24       A. How is it that you said the word? You
  25        A. Yes, eventually it closed.               25   referred to something else, I don't remember


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   1       Q. Do you know why it closed, sir?            1   what it was.
   2       A. No, I don't know.                          2          MR. GARABEDIAN: Let him ask a
   3       Q. Sir, do you believe that Andy should       3   question.
   4    have known that Douglas abused you, sir?         4       A. Because I don't mean the fund, that's
   5       A. Yes, he should have known, because he      5   not what I mean.
   6    was one of the people in charge. But I didn't    6   BY MR. KENNEDY:
   7    choose to do this.                               7       Q. What do you mean, sir?
   8       Q. And do you believe that Brian should       8       A. Ask the question, I'll be able to
   9    have known that Douglas abused you, sir?         9   answer again.
  10       A. Yes.                                      10       Q. Okay. Did Douglas present Michael as
  11       Q. Why is that, sir?                         11   a higher-up?
  12       A. Because he was one of the people in       12       A. Yes.
  13    charge.                                         13       Q. How many times did he do that, sir?
  14       Q. Do you believe Michael should have        14       A. I don't remember.
  15    known that Douglas abused, sir?                 15       Q. And what were Douglas's exact words?
  16       A. Yes.                                      16       A. Exact words for what?
  17       Q. Why is that, sir?                         17       Q. When he presented Michael.
  18       A. Because he's a higher-up.                 18       A. He said he was one of the people that
  19       Q. How do you know Michael is a              19   were in charge, that were higher up, but I don't
  20    higher-up, sir?                                 20   remember all the details. I don't remember what
  21       A. How is it that I know that Michael was    21   title he had exactly.
  22    a higher-up?                                    22       Q. Did Douglas ever present Brian to the
  23       Q. Yes, sir.                                 23   group?
  24       A. Sometimes they present him as being       24       A. I don't remember.
  25    one of the members of the board.                25       Q. Sir, do you believe that Margarette


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   1    Joseph should have known that Douglas was          1   remember saying that, sir?
   2    abusing you, sir?                                  2       A. If I had a problem, yes.
   3        A. Yes, she should have known.                 3       Q. Before Douglas acted inappropriate
   4        Q. Why is that?                                4   with you, had you gone to see him with problems,
   5        A. Because she was working there.              5   sir?
   6        Q. On any occasion when you met with           6       A. With problems that I had already had?
   7    Michael as a group, did he ever ask you to sign    7       Q. Yes, sir.
   8    any document, sir?                                 8       A. Yes, but I don't remember what they
   9        A. Document, you mean inside the Village?      9   were.
  10        Q. Yes, sir.                                  10       Q. And did Douglas help you at those
  11        A. I don't remember.                          11   times, sir?
  12        Q. Sir, when Douglas touched you for the      12       A. Sometimes yes, sometimes no.
  13    second time -- strike that. I'm sorry.            13       Q. During those times, did he ever try to
  14           Concerning the incident with your          14   touch you, sir?
  15    infection, sir, did Douglas put his hands in      15       A. Those times, no. I don't recall.
  16    your pants, or did he touch over your shorts,     16       Q. Sir, if you win your lawsuit, will you
  17    sir?                                              17   be giving any of your money to Cyrus Sibert?
  18        A. He put his hands inside, and he            18       A. I don't know what myself, my ideals of
  19    grabbed my penis.                                 19   justice will be or what conditions I will set on
  20        Q. Sir, did you receive food at the           20   myself, and it's a conversation that I haven't
  21    Village?                                          21   had.
  22        A. Yes, we would get some food. Yes.          22       Q. Conversation with who, sir?
  23        Q. And did you ever receive clothing at       23       A. It's because you said whether or not I
  24    the Village, sir?                                 24   would be giving any money to Cyrus that I'm
  25        A. Sometimes, but not often.                  25   mentioning this.


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   1       Q. And did you receive an education at          1       Q. Right.
   2   the Village, sir?                                   2          And I'm trying to understand, sir,
   3       A. I got a bit of education, yes.               3   will you be giving any money to Cyrus if you win
   4       Q. And these were good things, weren't          4   your lawsuit?
   5   they, sir?                                          5       A. I don't know what the result of the --
   6       A. Yes.                                         6   of justice will be for me. The judge will be
   7       Q. Before you found the magazine that you       7   the one to know what the decision is or what my
   8   spoke of earlier today, sir, did you trust Doug     8   damages are. And I didn't establish any
   9   Perlitz?                                            9   conditions with Cyrus on this topic, on this
  10       A. Can you repeat again for me, please?        10   subject.
  11       Q. Sure. Sure.                                 11       Q. Okay.
  12          Before you found the magazine that you      12          MR. GARABEDIAN: Objection. I
  13   told us about earlier today, did you trust Doug    13   instruct him not to answer as to any
  14   Perlitz, Douglas?                                  14   conversations with Cyrus. Privileged, attorney.
  15       A. I trusted him a little bit, but not a       15   BY MR. KENNEDY:
  16   lot, because I don't have any trust in man. I      16       Q. Sir --
  17   don't have any trust in man.                       17          MR. GARABEDIAN: Excuse me. Do you
  18       Q. And did you not have any trust in man       18   have much longer? We're running into now seven
  19   before you found the magazine, sir?                19   and a half hours. There's five attorneys.
  20       A. Yes. Ever since I was born, I don't         20   BY MR. KENNEDY:
  21   trust man, and this made me distrust man even      21       Q. Sir, do you know an individual named
  22   more.                                              22   Jean Gary?
  23       Q. Sir, earlier today you indicated that       23       A. In the project?
  24   Douglas was paying for your school, and that if    24       Q. Yes, sir.
  25   you had a problem you could go see him. Do you     25       A. I don't remember.


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   1       Q. Do you know an individual named            1   sir. Sir, those are all the questions I have
   2   Schoubert Hedouville?                             2   for you. Thank you very much for your time.
   3       A. I remember a Schoubert, but I don't        3       A. Thank you as well.
   4   remember the name Hedouville.                     4   BY MR. BABBITT:
   5       Q. What do you remember about Schoubert,      5       Q. Good evening. My name is Bradford
   6   sir?                                              6   Babbitt, I represent the Order of Malta American
   7       A. I don't remember anything, aside from      7   Association.
   8   the fact that he was a kid inside, that's -- I    8          At any time before you attended
   9   didn't have any information about him.            9   Rue 13, had you heard the name Haiti Fund?
  10       Q. Have you seen him since you've left       10       A. No.
  11   the Village, sir?                                11       Q. At any time before you attended the
  12       A. No, I don't remember. Because I           12   Village as a student, had you heard the name
  13   almost never -- I'm never in Haiti.              13   Haiti Fund?
  14       Q. Do you know an individual named Paul      14       A. Before I was in the Village, no.
  15   Kendrick, sir?                                   15       Q. At any time before the Village closed,
  16       A. I've heard people speak about him, but    16   did you hear the name Haiti Fund?
  17   I don't know who he is. I don't have any         17       A. Before the Village closed? No.
  18   information about him.                           18          You said before the Village closed?
  19       Q. What have you heard people say about      19       Q. Yes.
  20   him, sir?                                        20       A. No.
  21       A. I've heard Douglas speak about Paul       21       Q. At any time before you attended
  22   Kendrick.                                        22   Rue 13, did you ever hear the name Order of
  23       Q. Do you remember what Douglas said         23   Malta?
  24   about Paul Kendrick?                             24       A. I don't remember.
  25       A. No, I don't remember.                     25       Q. At any time before you attended the


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   1       Q. I'm sorry, sir, you may have already       1   Village as a student, did you hear the name
   2   been asked this question, but do you have an      2   Order of Malta?
   3   e-mail account?                                   3      A. I don't remember.
   4       A. Yes, I do.                                 4      Q. At any time before the Village closed,
   5       Q. Okay. What is -- who is the carrier        5   did you hear the name Order of Malta?
   6   for that account, sir?                            6      A. I don't remember.
   7       A. On Facebook.                               7         MR. BABBITT: Thank you. That's all
   8       Q. Okay. It's on Facebook?                    8   the questions I have.
   9       A. You asked me if I have an e-mail           9         THE VIDEOGRAPHER: This concludes the
  10   address, right?                                  10   October 1st deposition. Going off the record.
  11       Q. Yes, sir.                                 11   The time is 7:28.
  12       A. Yes, I have an e-mail and all of that     12         (Whereupon, the deposition was
  13   in an electronic box.                            13         concluded.)
  14       Q. What's your e-mail address, sir?          14
  15       A. LouisSaincirin.                           15
  16          MR. KENNEDY: Can the interpreter          16
  17   spell that?                                      17
  18          THE INTERPRETER: L-O-U-I-S,               18
  19   Saincirin, S-A-I-N-C-I-R-I-N.                    19
  20       Q. Is it @ something, sir?                   20
  21       A. I forgot. So it's only now that I         21
  22   understand. It's Louisboys@hotmail.fr. And the   22
  23   profile is Louis Saincirin, Louisboys,           23
  24   L-O-U-I-S-B-O-Y-S, @hotmail.fr.                  24
  25          MR. KENNEDY: Thank you very much,         25


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                                          Page 234                                                   Page 236
   1          CERTIFICATE                                  1           ------
   2          I, MAUREEN O'CONNOR POLLARD, LSR #473,                   ERRATA
   3   RMR, CLR, and Notary Public in and for the State    2           ------
   4   of Connecticut, do hereby certify that there        3   PAGE LINE CHANGE
   5   came before me on the 1st day of October, 2015,     4   ____ ____ _________________________________
   6   the person hereinbefore named, who was duly         5     REASON: __________________________________
   7   sworn to testify to the truth of their knowledge    6   ___ ____ __________________________________
   8   concerning the matters in this cause, and their     7     REASON: __________________________________
   9   examination reduced to typewriting under my         8   ____ ____ _________________________________
  10   direction and is a true record of the testimony.
                                                           9     REASON: __________________________________
                                                          10   ____ ____ _________________________________
  11          I further certify that I am neither
                                                          11     REASON: __________________________________
  12   attorney for or related or employed by any of
                                                          12   ____ ____ _________________________________
  13   the parties to the action, and that I am not a
                                                          13     REASON: __________________________________
  14   relative or employee of any attorney or counsel
                                                          14   ____ ____ _________________________________
  15   employed by the parties hereto or financially
                                                          15     REASON: _________________________________
  16   interested in the action.                          16   ____ ____ _________________________________
  17          In witness whereof, I have hereunto         17     REASON: _________________________________
  18   set my hand and seal this 6th day of October,      18   ____ ____ _________________________________
  19   2015.                                              19     REASON: _________________________________
  20                                                      20   ____ ____ _________________________________
  21     ________________________________________         21     REASON: _________________________________
  22     MAUREEN O'CONNOR POLLARD, License #473           22   ____ ____ _________________________________
  23     Realtime Systems Administrator, RMR              23     REASON: _________________________________
  24     Notary Commission Expires: 10/31/2017            24   ____ ____ _________________________________
  25                                                      25


                                          Page 235                                                   Page 237
   1          INSTRUCTIONS TO WITNESS                      1         ACKNOWLEDGMENT OF DEPONENT
   2                                                       2
                                                           3             I, __________________________, do
   3              Please read your deposition over             Hereby certify that I have read the foregoing
   4    carefully and make any necessary corrections.      4   pages, and that the same is a correct
   5    You should state the reason in the appropriate         transcription of the answers given by me to the
   6    space on the errata sheet for any corrections      5   questions therein propounded, except for the
                                                               corrections or changes in form or substance, if
   7    that are made.                                     6   any, noted in the attached Errata Sheet.
   8              After doing so, please sign the          7
   9    errata sheet and date it. It will be attached      8   _________________________________
  10    to your deposition.                                    LOUIS SAINCIRIN        DATE
                                                           9
  11              It is imperative that you return        10
  12    the original errata sheet to the deposing         11
  13    attorney within thirty (30) days of receipt of    12
  14    the deposition transcript by you. If you fail     13
                                                          14
  15    to do so, the deposition transcript may be
                                                          15   Subscribed and sworn
  16    deemed to be accurate and may be used in court.        To before me this
  17                                                      16   ______ day of _________________, 20____.
  18                                                      17   My commission expires: ________________
  19                                                      18
                                                               _______________________________________
  20                                                      19   Notary Public
  21                                                      20
  22                                                      21
  23                                                      22
                                                          23
  24                                                      24
  25                                                      25


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                  UNITED STATES DISTRICT COURT
                  DISTRICT OF CONNECTICUT
                                       Civil Action No.
                                       3:13-cv-01132(RNC)
        ****************************
        GERVIL ST. LOUIS, a/k/a ST.    Consolidated with:
        LOUIS GERVIL,                  3:13-cv-1225-RNC
                                       3:13-cv-1269-RNC
                       Plaintiff,      3:13-cv-1437-RNC
                                       3:13-cv-1480-RNC
             v.                        3:13-cv-1626-RNC
                                       3:13-cv-1627-RNC
        DOUGLAS PERLITZ, FATHER        3:13-cv-1628-RNC
        PAUL E. CARRIER, S.J.; HOPE    3:13-cv-1629-RNC
        E. CARTER; HAITI FUND,         3:13-cv-1630-RNC
        INC.; FAIRFIELD UNIVERSITY;    3:13-cv-1631-RNC
        THE SOCIETY OF JESUS OF NEW    3:13-cv-1632-RNC
        ENGLAND; SOVEREIGN MILITARY    3:13-cv-1633-RNC
        HOSPITALLER ORDER OF ST.       3:13-cv-1634-RNC
        JOHN OF JERUSALEM OF RHODES    3:13-cv-1635-RNC
        AND OF MALTA, AMERICAN         3:13-cv-1636-RNC
        ASSOCIATION, U.S.A.; a/k/a     3:13-cv-1637-RNC
        ORDER OF MALTA, AMERICAN       3:13-cv-1638-RNC
        ASSOCIATION, U.S.A.; JOHN      3:13-cv-1639-RNC
        DOE ONE; JOHN DOE TWO; JOHN    3:13-cv-1640-RNC
        DOE THREE; JOHN DOE FOUR;      3:13-cv-1641-RNC
        JOHN DOE FIVE; JOHN DOE SIX    3:13-cv-1642-RNC
        and JOHN DOE SEVEN,            3:13-cv-1644-RNC
                                       3:13-cv-1645-RNC
                       Defendants.     3:13-cv-1647-RNC
                                       3:13-cv-1648-RNC
                                       3:13-cv-1701-RNC
                                       3:13-cv-1767-RNC
                                       3:13-cv-1768-RNC
                                       3:13-cv-1769-RNC
                                       3:13-cv-1881-RNC
                                       3:13-cv-1904-RNC
                                       3:13-cv-1906-RNC
                                       3:13-cv-1907-RNC
        ******************************
        This document applies to:
        All of the above referenced cases
        And those to be filed
        ******************************
        CONFIDENTIAL - SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
             VIDEOTAPED DEPOSITION OF EMILE JEAN PIERRE

                   Thursday, July 30, 2015
                          9:05 a.m.

            Golkow Technologies, Inc. - 1.877.370.DEPS
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                                                     Page 2                                           Page 4
   1     VIDEOTAPED DEPOSITION OF EMILE JEAN PIERRE            1    APPEARANCES (Continued):
   2                                                           2
   3                                                           3    FOR THE DEFENDANT PAUL E. CARRIER, S.J.:
       Held At:                                                4      THEODORE J. FOLKMAN, ESQ.
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   7     Dominican Republic                                    8        617-423-0400
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   9
                                                              10
  10   REPORTED BY:
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  12   Realtime Systems Administrator
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                                                     Page 3                                           Page 5
   1   APPEARANCES:                                            1   APPEARANCES (Continued):
   2   FOR THE PLAINTIFF:                                      2
   3     MITCHELL GARABEDIAN, ESQ.                             3   FOR THE DEFENDANT ORDER OF MALTA AMERICAN
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   9           -and-                                           9       860-275-8200
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  16           -and-                                          16       Hartford, Connecticut 06103
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  22                                                          22
  23                                                          23
  24                                                          24
  25                                                          25



                                                                                      2 (Pages 2 to 5)
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                                             Page 6                                                   Page 8
   1   APPEARANCES (Continued):                            1        PROCEEDINGS
   2                                                       2
   3   FOR THE DEFENDANT THE SOCIETY OF JESUS OF           3          THE VIDEOGRAPHER: We are now on the
   4   NEW ENGLAND:                                        4   record. My name is Chris Coughlin, I'm a
   5     LYDIA C. KNIGHT, ESQ.                             5   videographer for Golkow Technologies. Today's
   6        SLOANE AND WALSH, LLP                          6   date is July 30, 2015, and the time is 9:05.
   7        Three Center Plaza, Suite 830                  7          This video deposition is being held in
   8        Boston, Massachusetts 02108                    8   Puerto Plata, Dominican Republic, in the matter
   9        617-523-6010                                   9   of Gervil, St. Louis, Plaintiff, versus Douglas
  10        lknight@sloanewalsh.com                       10   Perlitz, et al, Defendants, in the United States
  11                                                      11   District Court in the District of Connecticut,
  12                                                      12   Civil Action Number 3:13-cv-01132-RNC.
  13   Videographer: Christopher Coughlin                 13          The deponent is Emile Jean Pierre.
  14                                                      14          Will counsel please identify
  15   Interpreter: Nathalie Coupet                       15   yourselves for the record.
  16             Quener Joseph                            16          MR. KENNEDY: Good morning, Mr. Jean
  17                                                      17   Pierre. My name is Jeff Kennedy, I represent
  18                                                      18   Hope Carter.
  19   Also Present:                                      19          MR. CERRETA: Good morning. John
  20   Jean Elyseé Pierre Louis                           20   Cerreta on behalf of Fairfield University.
  21                                                      21          MR. FOLKMAN: Good morning. Ted
  22                                                      22   Folkman for Father Paul Carrier.
  23                                                      23          MS. KNIGHT: Good morning. Lydia
  24                                                      24   Knight for the Society of Jesus of New England.
  25                                                      25          MR. BABBITT: Good morning. I'm Brad


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   1               INDEX                                   1   Babbitt, and I represent the American
   2     EXAMINATION                           PAGE        2   Association of the Order of Malta.
   3     EMILE JEAN PIERRE                                 3          MR. GARABEDIAN: Good morning.
   4     BY MR. KENNEDY                           10       4   Mitchell Garabedian representing the Plaintiff.
   5     BY MR. CERRETA                         144        5          MR. STEWART: Mike Stewart on behalf
   6     BY MR. FOLKMAN                          148       6   of Plaintiffs.
   7     BY MS. KNIGHT                        164          7          MS. HURD: Ellyn Hurd on behalf of
   8     BY MR. BABBITT                        168         8   Plaintiffs.
   9     BY MR. KENNEDY                          171       9      A. Yes.
  10                                                      10          THE VIDEOGRAPHER: The court reporter
  11                                                      11   is Maureen Pollard, and she will now swear in
  12          EXHIBITS                                    12   the interpreter and the witness.
  13     NO.      DESCRIPTION                      PAGE   13
  14     1 Complaint and Jury Trial Demand...... 14       14          NATHALIE COUPET, Translator,
  15     2 Plaintiff Emile Jean Pierre's
                                                          15   having been duly sworn to translate the
           Response to Certain Defendants'
                                                          16   questions and answers to the best of her
  16       First Set of Interrogatories......... 16
  17                                                      17   ability, translated as follows:
  18                                                      18
  19                                                      19           EMILE JEAN PIERRE,
  20                                                      20   having been first duly sworn, was examined and
  21                                                      21   testified as follows through the translator:
  22                                                      22
  23                                                      23         MR. KENNEDY: Mike, before we begin,
  24                                                      24   usual stipulations?
  25                                                      25         MR. STEWART: Usual stipulations.


                                                                               3 (Pages 6 to 9)
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   1          MR. KENNEDY: Thank you.                      1   couldn't see very well.
   2          DIRECT EXAMINATION                           2      Q. Okay. I know I'm jumping a little
   3   BY MR. KENNEDY:                                     3   ahead here, sir, but what happened in that
   4      Q. Good morning, Mr. Jean Pierre. Could          4   incident?
   5   you please state your full name for the record,     5      A. I was driving a motorcycle, there were
   6   sir.                                                6   two robbers trying to steal it, and one of them
   7      A. Emile Jean Pierre.                            7   fled, and one, the other one gave me a knocking
   8      Q. Are you known by any other names, sir?        8   out in the eye, and one fled, and gave me my
   9      A. Yes. They used to call me Emile Bèf.          9   black eye.
  10      Q. Is Bèf a nickname, sir?                      10      Q. Was this more than a year ago, sir?
  11      A. Yes.                                         11      A. No, about two months.
  12          THE VIDEOGRAPHER: Just before we get        12      Q. Okay. About two months ago.
  13   going, can I ask you to ask him to keep his        13          And you went to the hospital, sir?
  14   voice up?                                          14      A. Yes.
  15      A. Yes.                                         15      Q. What hospital did you go to?
  16   BY MR. KENNEDY:                                    16      A. Justinien Hospital in Cap-Haïtien.
  17      Q. Sir, if you need to take a break at          17      Q. And you suffered an injury to your
  18   any time during the deposition, kindly let me      18   eye, sir?
  19   know and I'd be happy to take a break.             19      A. No, there was blood coagulating, and I
  20      A. Yes.                                         20   couldn't see, look at the sun clearly.
  21      Q. The only thing I ask is that if there        21      Q. Did you stay overnight in the
  22   is a question pending that you answer the          22   hospital, sir?
  23   question before we take a break.                   23      A. No.
  24      A. Yes.                                         24      Q. Did they give you any pills? Did the
  25      Q. Sir, you're going to be asked a lot of       25   doctor give you any pills or medicine, sir?

                                            Page 11                                                 Page 13
   1    questions today. If there's any question I ask     1      A. No, they didn't give me pills. They
   2    you that you don't understand, please ask me to    2   gave me a tube to put in the eye.
   3    rephrase it, and I'd be happy to do so.            3      Q. Have you recovered from that incident,
   4       A. Yes.                                         4   sir?
   5       Q. Because if you do respond, I'm going         5      A. No, not really, because I just put a
   6    to assume you understood my question, sir.         6   cream in my eye, and it was stinging.
   7       A. Yes.                                         7      Q. Did you injure your head in that
   8       Q. Sir, as we sit here this morning, are        8   accident, sir?
   9    you on any medication?                             9      A. No, I wasn't hit in the head. It's
  10       A. I just ate.                                 10   the guys who gave me -- that struck my eye.
  11       Q. Okay. Well, not that you ate, sir,          11      Q. So no injury that you suffered in that
  12    but do you take any medication? Do you know       12   accident should affect your ability to answer my
  13    what I mean by that, sir?                         13   questions today, sir?
  14       A. No.                                         14      A. No.
  15       Q. Okay. Do you know what the word             15      Q. Sir, have you ever been to the
  16    medicine means, sir?                              16   Justinien Hospital before?
  17       A. It's good when you're sick.                 17      A. Before I was hit in the eye, when I
  18       Q. That's a good way of putting it.            18   had a stomachache I used to go to the hospital,
  19           Do you take anything, sir, for any         19   Justinien, but I didn't never slept there.
  20    sickness?                                         20      Q. How many times in total have you been
  21       A. Yes, because I was struck in the eye,       21   to the Justinien Hospital, sir?
  22    I went to the hospital, and they gave me a tube   22      A. Twice.
  23    to put in my eye.                                 23      Q. And one was for the incident with the
  24       Q. When was that, sir?                         24   motorcycle two months ago, and another time was
  25       A. I don't really recall the month. I          25   because of a stomachache?


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   1      A. Yes.                                           1      Q. Okay. Sir, so getting back to
   2      Q. When did you go to Justinien Hospital          2   Exhibit 1 for identification, the Complaint, you
   3   for the stomachache, sir?                            3   don't know what's in this document, do you, sir?
   4      A. I don't recall.                                4      A. No.
   5      Q. Was it more than five years ago, sir?          5          MR. STEWART: Objection to the
   6      A. I can't tell you. I was really small.          6   question.
   7      Q. Okay. You were a small child.                  7          To the extent that it invades the
   8          Okay. Sir, what is your date of               8   attorney/client privilege and conversations he
   9   birth?                                               9   may have had as to what's in that complaint, I
  10      A. I was born in November 24, 1992.              10   instruct him not to answer.
  11      Q. Okay. How old are you now, sir?               11   BY MR. KENNEDY:
  12      A. I'm 22.                                       12      Q. Sir, I'm going to show you what's been
  13      Q. Sir, are you aware that you've brought        13   marked for Exhibit 2 -- I'm sorry, Defendants'
  14   a lawsuit against Douglas Perlitz and other         14   Exhibit 2 for identification.
  15   individuals and entities in the U.S. District       15          (Whereupon, Jean-Pierre Exhibit Number
  16   Court in Connecticut?                               16          2, Plaintiff Emile Jean Pierre's
  17      A. Yes.                                          17          Response to Certain Defendants' First
  18      Q. Okay. Sir, I'm going to show you              18          Set of Interrogatories, was marked for
  19   what's been marked as Defendants' Exhibit 1 for     19          identification.)
  20   identification.                                     20   BY MR. KENNEDY:
  21          (Whereupon, Jean-Pierre Exhibit Number       21      Q. And about halfway in it starts in
  22          1, Complaint and Jury Trial Demand,          22   Creole. I'm going to hand this to you, sir, and
  23          was marked for identification.)              23   your attorney. I'm sorry.
  24   BY MR. KENNEDY:                                     24          Sir, I'll represent to you that these
  25      Q. Have you ever seen this document              25   are questions that were sent to you by the

                                            Page 15                                                 Page 17
   1    before, sir?                                        1   Defendants for you to answer.
   2           MR. STEWART: I object, and instruct          2          MR. STEWART: I'm going to object in
   3    him not to answer to the extent that it invades     3   that they were not -- object to the form of the
   4    conversations and privilege with his attorneys.     4   question.
   5    If there's a time he's seen it where he isn't       5          Sent to him, that's just going to
   6    talking to his attorneys about it, then that's      6   confuse him.
   7    different.                                          7          MR. KENNEDY: Okay.
   8           But you can answer if you've seen it         8          MR. STEWART: Sent to his lawyers.
   9    anyplace other than with your attorneys.            9          MR. KENNEDY: That's fine.
  10       A. Okay.                                        10          MR. STEWART: I apologize. Thank you.
  11    BY MR. KENNEDY:                                    11   BY MR. KENNEDY:
  12       Q. Sir, can you answer -- I'll re-read          12      Q. Sir, I'll represent to you that these
  13    the question.                                      13   were sent by the Defendants to your lawyers for
  14           Have you ever seen this document            14   you to answer. Have you ever seen this document
  15    before, sir?                                       15   before, sir?
  16           MR. STEWART: Same objection.                16          MR. STEWART: That's attorney/client
  17       A. No.                                          17   privilege, and asking him to divulge
  18    BY MR. KENNEDY:                                    18   conversations with his attorney, I instruct him
  19       Q. Okay. Sir, can you speak English?            19   not to answer.
  20       A. No.                                          20   BY MR. KENNEDY:
  21       Q. Okay. Sir, I apologize for some of           21      Q. Sir -- you started to answer, I'm
  22    these questions, but, sir, can you read English?   22   sorry.
  23       A. No.                                          23          MR. STEWART: You can flip through.
  24       Q. Sir, can you read Creole?                    24      A. Yes, I remember I saw them, but it was
  25       A. A little bit.                                25   in hotel in Cap-Haïtian.


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   1   BY MR. KENNEDY:                                     1      Q. Okay. Sir, did somebody read --
   2      Q. What hotel, sir?                              2   strike that. I'm sorry.
   3      A. Habitation Jouissaint.                        3           I preface this by saying, sir, I don't
   4          THE TRANSLATOR: J-O-U-I-S-S-A-I-N-T.         4   want to know about any conversations you've had
   5      Q. And, sir, I don't want to know about          5   with your attorneys. But before you signed your
   6   any conversations you've had with your attorney,    6   name, did somebody read to you your answers to
   7   your attorneys.                                     7   these interrogatories, to these questions?
   8      A. Yes.                                          8           MR. STEWART: Objection. Seeks
   9      Q. But who else -- who was present at the        9   information that's privileged. To the extent
  10   hotel, sir?                                        10   conversations between him and his attorneys and
  11      A. Myself, and the other boys that went         11   any agents that work for his attorneys or
  12   to sign.                                           12   employees of his attorneys, to the extent that
  13      Q. Okay. And who were the other boys,           13   you're seeking that information or an answer
  14   sir?                                               14   regarding that, I'm instructing him not to
  15      A. I don't remember the name of all of          15   answer it.
  16   them.                                              16           MR. KENNEDY: It calls for a yes/no
  17      Q. Do you remember some of them, sir?           17   answer.
  18      A. No, I don't remember at all.                 18           MR. STEWART: No, you're asking him
  19      Q. Was the hotel in Cap-Haïtien, sir?           19   about things that happened with his attorney. I
  20      A. Yes.                                         20   don't care if it's a yes/no question, you're
  21      Q. And there were other former students         21   still asking him to give you yes/nos about
  22   from PPT there, sir?                               22   conversations and activities with his attorneys,
  23      A. I don't remember.                            23   and it's improper.
  24      Q. But you do remember seeing -- I              24           MR. KENNEDY: I'm just asking if --
  25   believe you indicated that there were other boys   25           MR. STEWART: It doesn't matter if


                                            Page 19                                                 Page 21
   1    present, sir, signing?                             1   it's yes or no. You're asking him about
   2       A. Yes, because I was sitting aside.            2   conversations with his attorneys. It's
   3       Q. Okay. Sir, I'm going to show, if you         3   improper. He doesn't have to answer that.
   4    could -- I'm going to show you the last page of    4            MR. KENNEDY: You're instructing him
   5    the document, sir. Is that your signature, sir?    5   not to answer that?
   6       A. Yes.                                         6            MR. STEWART: I am. We can take that
   7       Q. And did you sign that yourself, sir?         7   up. I think yes/no are dancing around the fact
   8       A. Yes.                                         8   that you're seeking to elicit what he did with
   9       Q. And, sir, before you signed this             9   his attorneys or agents of his attorneys. Did
  10    document, did you read the document, sir?         10   you have a conversation about X? Did you have a
  11            MR. STEWART: I'm going to object to       11   conversation about X is a yes/no conversation,
  12    the extent that it requires -- to the extent      12   but it still seeks to invade that privilege. So
  13    that it asks or seeks to invade the               13   even though it's a yes/no, my position is that
  14    attorney/client privilege or discussions that     14   it still invades that privilege.
  15    he's had with his attorney or agents of his       15            MR. KENNEDY: Okay.
  16    attorneys.                                        16            MR. STEWART: I don't need that
  17            MR. KENNEDY: It's only calling for        17   translated to him.
  18    yes/no answers.                                   18            I'm just letting you know where I see
  19            MR. STEWART: You can answer yes or        19   this.
  20    no.                                               20            MR. KENNEDY: Okay.
  21       A. No.                                         21            MR. STEWART: Okay. So I'm willing to
  22    BY MR. KENNEDY:                                   22   talk about it, I don't want to waste your time,
  23       Q. Okay. Was Cyrus Sibert present when         23   but that's how I see it shaking out is a yes/no
  24    you signed this document, sir?                    24   can still invade that.
  25       A. No.                                         25            MR. KENNEDY: Okay. If that's your


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   1   position.                                         1           MR. KENNEDY: I believe what he
   2          MR. STEWART: It is, sir.                   2   testified was that he went to go see him one
   3          MR. KENNEDY: Okay.                         3   time at Carenage, and I just asked him when that
   4          MR. STEWART: Thank you.                    4   time was.
   5          MR. KENNEDY: You're welcome.               5           MR. STEWART: Do you remember when you
   6   BY MR. KENNEDY:                                   6   saw him at Carenage the first time? The first
   7      Q. Sir, do you know Cyrus Sibert?              7   time or any time? I guess it's one time.
   8      A. Yes.                                        8           MR. FOLKMAN: He said one time.
   9      Q. How do you know Cyrus Sibert, sir?          9           MR. STEWART: Do you remember when it
  10      A. In Cap-Haïtien. In Cap-Haïtien.            10   was that you saw him at Carenage?
  11      Q. Okay. How do you know him in               11      A. I don't remember.
  12   Cap-Haïtien, sir?                                12           MR. STEWART: Okay. Why don't you
  13      A. At the Carenage.                           13   take a minute.
  14          MR. STEWART: Maybe a different way        14           THE VIDEOGRAPHER: Going off the
  15   to --                                            15   record. The time is 9:32.
  16          MR. KENNEDY: You know what? On a          16           (Whereupon, a recess was taken.)
  17   break I can think about it.                      17           THE VIDEOGRAPHER: Back on the record.
  18          MR. STEWART: We can talk about it on      18   The time is 9:40.
  19   a break, too.                                    19   BY MR. KENNEDY:
  20          MR. KENNEDY: Thank you.                   20      Q. Sir, going back to Exhibit 2, which
  21          MR. STEWART: Okay. I beg your             21   are the questions that the Defendants sent to
  22   pardon.                                          22   your attorney for you to answer, before you
  23          MR. KENNEDY: It's okay.                   23   signed your name to this document, did you
  24   BY MR. KENNEDY:                                  24   understand what was in the document, sir?
  25      Q. So you said you knew him at the            25      A. Yes.


                                          Page 23                                                Page 25
   1   Carenage, is that correct, sir?                   1      Q. Okay. And were these answers
   2      A. Yes.                                        2   translated for you, sir?
   3      Q. How did you know him at the Carenage,       3      A. Yes.
   4   sir?                                              4      Q. Sir, I believe you testified before we
   5      A. When I -- at the Carenage I went to         5   took a break that you met Cyrus Sibert one time
   6   meet him, I told him something, but after that    6   at Carenage?
   7   we never spoke again.                             7      A. Yes.
   8      Q. Okay. What did you go to tell him,          8      Q. And that's the only time you've met
   9   sir?                                              9   him, sir?
  10      A. I don't remember.                          10      A. At the Carenage?
  11      Q. You don't remember what you went to        11      Q. No, in total, sir.
  12   speak to him about, sir?                         12      A. Yes, I saw him at the hotel.
  13      A. No.                                        13      Q. Okay. Which hotel, sir?
  14      Q. And when did you go see him, sir?          14      A. Habitation Jouissaint.
  15         MR. STEWART: Are you okay? Do you          15      Q. When did you see him at the hotel,
  16   want to take a break? Do you need a break?       16   sir?
  17         Okay. Do you have a question pending?      17      A. I don't recall the date.
  18   BY MR. KENNEDY:                                  18      Q. Was it in the last few days, sir?
  19      Q. The question was, and when did you go      19      A. Can you explain, please?
  20   see him, sir?                                    20      Q. Sure. I don't know if it needs
  21         MR. STEWART: Do you know?                  21   explanation, but I'll try.
  22      A. No.                                        22          MR. STEWART: I think he's confused --
  23         MR. KENNEDY: Okay.                         23   I'm sorry. Never mind.
  24         MR. STEWART: Are you asking the first      24          MR. KENNEDY: I'll see what I can do.
  25   time he saw Cyrus Sibert?                        25   BY MR. KENNEDY:


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   1      Q. Let me try it this way.                    1      A. In total?
   2          Sir, how did you get from Haiti to the    2      Q. Yes, sir.
   3    Dominican Republic for your deposition?         3      A. 480.
   4      A. I went -- I took a bus.                    4      Q. What about Cyrus, sir, has Cyrus ever
   5      Q. Okay. And did the bus leave from           5   given you any money, sir?
   6    Cap-Haïtien, sir?                               6      A. He has given me money. He gives it
   7      A. Yes.                                       7   through Mathieu, and Mathieu gives it to me.
   8      Q. And did you come with some -- did you      8      Q. So was the $480 that Mathieu gave you,
   9    come with some former PPT students to the       9   was that from Cyrus, sir?
  10    Dominican Republic, sir?                       10         MR. STEWART: Objection.
  11      A. Yes.                                      11      A. No, it's him who gives it to Mathieu
  12      Q. Which ones, sir?                          12   to give, so he gives it to me.
  13      A. Gesner Lecenat, Jean Ilguens, and         13   BY MR. KENNEDY:
  14    Emile Jean Pierre.                             14      Q. So Cyrus gave the money to Mathieu,
  15      Q. And did you travel with anybody else      15   and Mathieu gave the money to you, sir?
  16    besides those?                                 16      A. He called me on the phone.
  17      A. And Kensley.                              17      Q. Who calls you on the phone?
  18      Q. Besides those individuals, sir, did       18      A. Mathieu.
  19    you travel with anybody else?                  19      Q. Okay. Why does he call you, sir?
  20      A. Yes. Cyrus and Mathieu.                   20      A. Just because he called me so I could
  21      Q. Did -- were Cyrus and Mathieu on the      21   come to see him. He gave me money because I had
  22    bus with you from Haiti to the Dominican       22   to come do the deposition so I could buy clothes
  23    Republic, sir?                                 23   and things.
  24      A. No, just Mathieu.                         24      Q. Sir, was that $480 US?
  25      Q. Who is Mathieu, sir?                      25      A. Yes.

                                         Page 27                                                Page 29
   1           MR. STEWART: Objection.                  1      Q. And did you receive all that money at
   2       A. I don't know.                             2   once, sir?
   3    BY MR. KENNEDY:                                 3      A. No, every time they call me, not all
   4       Q. Had you ever met Mathieu before?          4   at once.
   5       A. Yes, when I drive my motorcycle I see     5      Q. I know you testified you received a
   6    him, and one says hello to the other, we say    6   total of $480. How many times did they give you
   7    hello to each other.                            7   money, sir?
   8       Q. Does he live in Cap-Haïtien, sir?         8      A. I don't remember.
   9       A. Yes.                                      9          MR. STEWART: Object.
  10       Q. Did he go to PPT, sir?                   10          I think he can do it better in
  11           MR. STEWART: Objection.                 11   amounts, if you ask him it that way. It's your
  12       A. No.                                      12   deposition, but --
  13    BY MR. KENNEDY:                                13          MR. KENNEDY: I appreciate it.
  14       Q. Does he work with Cyrus, sir?            14          MR. STEWART: But I think if you do it
  15           MR. STEWART: Objection.                 15   that way, maybe he'll get it to you, I think. I
  16       A. No.                                      16   think the numbers he has trouble with, but the
  17    BY MR. KENNEDY:                                17   amounts, he can break it down for you.
  18       Q. Sir, who paid for your bus ticket?       18          MR. KENNEDY: Okay.
  19           MR. STEWART: Objection.                 19          MR. STEWART: You can choose.
  20       A. Mathieu paid.                            20          MR. KENNEDY: I'll see what I can do.
  21    BY MR. KENNEDY:                                21   BY MR. KENNEDY:
  22       Q. Has Mathieu ever given you any money,    22      Q. Sir, the first time you received money
  23    sir?                                           23   from Mathieu, what amount did you receive, sir?
  24       A. Yes.                                     24      A. $100.
  25       Q. How much money has he given you, sir?    25      Q. Okay. And when was that, sir, the


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   1   first time?                                         1   sir, how much do you have left?
   2      A. I don't remember the day.                     2      A. Maybe $50 Haitian.
   3      Q. In the second time, sir, that you             3      Q. $50 Haitian. Okay.
   4   received money, what amount did you receive,        4          Sir, on each of those four occasions,
   5   sir?                                                5   was Mathieu the one that handed you the money,
   6      A. $100 US.                                      6   sir?
   7      Q. Okay. And the third time, sir -- I            7      A. Yes.
   8   apologize, strike that. I'm sorry.                  8      Q. And each time did you receive the
   9           Sir, do you remember when you received      9   money in Cap-Haïtien, sir?
  10   money the second time?                             10      A. Yes.
  11      A. Yes.                                         11      Q. Do you know if any other PPT students
  12      Q. When was that, sir?                          12   have received money from Mathieu?
  13      A. I don't remember the day.                    13          MR. STEWART: Objection.
  14      Q. Well, tell me everything you do              14      A. I don't know.
  15   remember about that time.                          15   BY MR. KENNEDY:
  16      A. When he gave me the money?                   16      Q. Do you know if Kensley has received
  17      Q. Yes, sir, for the second time.               17   money from Mathieu, sir?
  18      A. Well, he just gave me, you know, so I        18          MR. STEWART: Objection.
  19   could buy what I needed. You know, when I was a    19      A. Yes.
  20   young boy, young man, I needed clothes, and I      20   BY MR. KENNEDY:
  21   bought food, and the rest I brought to my          21      Q. You know that he has received money,
  22   mother's house, and I gave some of that money to   22   sir?
  23   my mother, and the rest I saved.                   23      A. Yes.
  24      Q. And the third time, sir, what amount         24      Q. How do you know that, sir?
  25   did you receive?                                   25      A. Because we knew we have to come to do


                                            Page 31                                                Page 33
   1      A. Third time, 100 US dollars.                   1   the deposition.
   2      Q. And when did you receive that money,          2      Q. Were you present when Mathieu gave
   3   sir?                                                3   Kensley money, sir?
   4      A. I don't remember the day.                     4      A. No.
   5      Q. Sir, did you receive this money before        5      Q. Do you know if Gesner Lecenat received
   6   you brought a lawsuit, sir?                         6   money from Mathieu, sir?
   7      A. No, after I brought the lawsuit.              7         MR. STEWART: Objection.
   8      Q. Okay. So after you brought the                8      A. Yes.
   9   lawsuit you got money from Cyrus?                   9   BY MR. KENNEDY:
  10      A. Yes, just so I could buy, you know,          10      Q. Did Gesner Lecenat tell you that, sir?
  11   clothes and shoes, and I could -- so I could buy   11      A. Yes. Gesner received his money, but
  12   food to put in my house.                           12   my phone was closed, so when I saw Gesner
  13      Q. Okay. And, sir, the fourth time that         13   Lecenat he said did Mathieu call me, he said no,
  14   you received money, do you remember what amount    14   so go see Matthew.
  15   you received?                                      15      Q. Okay. Well, sir, do you know if
  16      A. Yes.                                         16   Ilguens Jean received any money from Mathieu?
  17      Q. How much was that, sir?                      17         Did I say that right?
  18      A. 180.                                         18         THE TRANSLATOR: Yes.
  19      Q. When did you receive that money, sir?        19      A. Yes.
  20      A. I don't remember the day, but just           20      Q. How do you know that, sir?
  21   because, you know, I have to come do this          21      A. Because we had to come do a
  22   deposition, I bought clothes, shoes, and food.     22   deposition.
  23   I gave to my mother, and to my little sister,      23      Q. Okay. Did he tell you that he
  24   and I saved the rest.                              24   received money, sir?
  25      Q. Of the $480 that you were provided,          25      A. Yes.


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   1      Q. Did he tell you how much, sir?                1   deposition taken yesterday, sir?
   2      A. He didn't tell me how much.                   2      A. I didn't ask any questions about that.
   3      Q. Okay. Were you present when he                3      Q. He didn't tell you anything about his
   4   received money, sir?                                4   deposition, sir?
   5      A. No.                                           5      A. No.
   6      Q. Sir, and you may have already somewhat        6      Q. He didn't tell you what type of
   7   answered this question, so I apologize, but what    7   questions he was asked, sir?
   8   did you do with the money that you received from    8           MR. STEWART: Objection.
   9   Cyrus?                                              9      A. No.
  10         MR. STEWART: Objection.                      10   BY MR. KENNEDY:
  11      A. Well, I bought clothes and shoes and         11      Q. I can't remember if I got an answer on
  12   food to bring to my mother's house, and the rest   12   this, sir, but since you've come to the
  13   I saved.                                           13   Dominican Republic for your deposition, have you
  14   BY MR. KENNEDY:                                    14   met with Cyrus, sir?
  15      Q. Now, sir, when you travelled on the          15      A. We met, but we didn't talk. We just
  16   bus from Haiti to the Dominican Republic, were     16   said hello, but we didn't talk.
  17   you aware that the other former PPT students who   17      Q. You didn't talk about the lawsuit,
  18   were with you were also coming to have their       18   sir?
  19   deposition taken?                                  19      A. Well, I didn't talk about that with
  20      A. Yes.                                         20   him.
  21      Q. And did you talk with any of those           21      Q. What did you talk to him about, sir?
  22   students about the lawsuit, sir?                   22      A. I just walked by, said hello, and
  23      A. No.                                          23   turned my back and left.
  24      Q. And did you talk to any of those             24      Q. So you didn't talk about your
  25   students about -- any of those former students     25   deposition with him, sir?


                                            Page 35                                                 Page 37
   1   about the deposition itself, sir?                   1      A. The deposition I come to do?
   2      A. No.                                           2      Q. Yes, sir.
   3      Q. Are you, sir, are you staying here at         3      A. No, because -- no.
   4   the Barcelo hotel?                                  4      Q. Sir, if you receive any money from
   5      A. Yes.                                          5   this lawsuit, will you be paying Cyrus back the
   6      Q. How long have you been here, sir?             6   $480, sir?
   7      A. I don't have a lot of time. One day.          7      A. No.
   8      Q. When did you arrive, sir?                     8      Q. Sir, if you receive any money from
   9      A. The day I came?                               9   this lawsuit, will you be giving Cyrus any of
  10      Q. Yes, sir.                                    10   the money that you receive?
  11      A. Sunday.                                      11      A. No.
  12      Q. And, sir, have you been -- are you           12      Q. Sir, what is Cyrus Sibert's job?
  13   sharing your room with Kensley, Ilguens, and       13      A. Excuse me? Can you repeat, please?
  14   Gesner -- and/or Gesner?                           14      Q. Sure, I'd be happy to try.
  15      A. Ilguens, with Ilguens.                       15          Is Cyrus Sibert a journalist, sir?
  16      Q. Okay. And have you spoken to Gesner          16          MR. STEWART: Objection.
  17   since he's been here, sir?                         17      A. Yes.
  18      A. Yes. We joke, we tell each other             18   BY MR. KENNEDY:
  19   jokes, but we don't talk about anything else.      19      Q. Okay. Is he a politician, sir?
  20      Q. Did you speak to Gesner last night,          20          MR. STEWART: Objection.
  21   sir?                                               21      A. Yes.
  22      A. We were walking, we were making jokes,       22   BY MR. KENNEDY:
  23   but we didn't -- we weren't saying anything        23      Q. Okay. How did it come about that you
  24   else.                                              24   met Cyrus Sibert, sir?
  25      Q. Did Gesner tell you that he had his          25      A. The reason why I met with him, it's


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   1   because I was a victim, I went to him to explain    1   he told me he needs my phone number so he could
   2   how -- what had happened. I told him what           2   give it to Cyrus. So I could explain to him how
   3   Douglas did to me, that he touched my penis. He     3   I was a victim, that Douglas touched my penis
   4   said a lawyer would call me, and I would explain    4   and I didn't agree with it, so I could go see
   5   to him again what I just said.                      5   Cyrus.
   6      Q. When did you first contact -- I'm             6          And I went to see Cyrus. Cyrus said
   7   sorry.                                              7   "if your phone has no power anymore, go power it
   8          When did you first meet with him, sir?       8   up, soon a lawyer will call you and you will
   9      A. Carenage.                                     9   tell him that."
  10      Q. Sir, I believe Carenage is a place,          10          MR. FOLKMAN: Off the record?
  11   correct?                                           11          MR. KENNEDY: Yes.
  12      A. Yes, it's a public square where              12          THE VIDEOGRAPHER: Going off the
  13   everybody meets.                                   13   record. The time is 10:17.
  14      Q. My question wasn't where you first met       14          (Whereupon, a recess was taken.)
  15   him, but when you first met him.                   15          THE VIDEOGRAPHER: Back on the record.
  16      A. I don't really recall the date,              16   The time is 10:29.
  17   because I was a child, I was young.                17   BY MR. KENNEDY:
  18      Q. How old were you -- sir, I'm a little        18      Q. Sir, how long have you known Jean
  19   confused. I believe you just testified that you    19   Gary?
  20   met with him because you were a victim, is that    20      A. It's not been a long time since I've
  21   correct, sir?                                      21   known him, but I've met him at the Village.
  22      A. Yes.                                         22   I've seen him at the Village.
  23      Q. Maybe this will be better.                   23      Q. Before that day he saw you -- I'm
  24          When did you go to tell Cyrus that you      24   sorry.
  25   were a victim?                                     25          Before that day you saw -- before that


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   1      A. I don't really remember the day. I            1   day that you were riding your motorcycle and you
   2   was young.                                          2   saw him, had you ever told him that Douglas
   3      Q. How young were you, sir?                      3   Perlitz had abused you?
   4      A. Well, I wasn't really following,              4      A. Jean Gary?
   5   because what happened to me, I was a little bit     5      Q. Yes, sir.
   6   stressed out.                                       6      A. No, I didn't tell him that.
   7      Q. Well, you went to tell Cyrus Sibert           7      Q. Did you ever tell him that, sir?
   8   you were a victim, correct?                         8      A. No, I didn't tell him anything.
   9      A. Yes.                                          9      Q. So then how did he know to tell you to
  10      Q. Was that in the last two years, sir?         10   contact Cyrus, sir?
  11      A. I don't really remember.                     11          MR. STEWART: Objection.
  12      Q. Did you go with anyone else to tell          12      A. Because Douglas made a victim of me, I
  13   Cyrus you were a victim, sir?                      13   went to see Cyrus. I told Cyrus about it, that
  14      A. No, I was the only one who went. I           14   Douglas had abused me, but I didn't say
  15   didn't have anyone with me.                        15   everything to Cyrus.
  16      Q. How did you know to go see Cyrus             16          After, when they called me, I
  17   Sibert to tell him you were a victim?              17   explained everything that had happened, that
  18          MR. STEWART: Do you need a break?           18   Douglas made a victim of me.
  19          Okay. He has to go to the bathroom.         19   BY MR. KENNEDY:
  20   Can we take a break, once she translates the       20      Q. Sir, I just want to be clear. You saw
  21   answer? She needs to translate his answer so       21   Jean Gary when you were riding your motorcycle,
  22   she can go to the bathroom.                        22   is that correct?
  23          THE TRANSLATOR: His foot is hurting.        23      A. I was doing circulation.
  24      A. How, because I have friend called Jean       24      Q. What's circulation, sir?
  25   Gary, I was riding my motorcycle, he called me,    25      A. I was carrying passengers. I would


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   1   bring them from here to there and have them pay     1   personally, I was really a victim of Douglas.
   2   15 gourdes, and then I leave.                       2      Q. Do you know of anybody who claims that
   3      Q. So you were working at the time,              3   they were a victim of Douglas Perlitz that was
   4   correct?                                            4   not actually a victim?
   5      A. Yes.                                          5           MR. STEWART: Objection.
   6      Q. Okay. And we're going to talk about           6      A. Well, that I don't know.
   7   your work a little later.                           7   BY MR. KENNEDY:
   8          But -- so you were working, riding           8      Q. Was Jean Gary putting together a list
   9   your motorcycle passengers, correct, I'm sorry,     9   of victims, sir?
  10   and you saw Jean Gary?                             10           MR. STEWART: Objection.
  11      A. When I was driving by, he called me.         11      A. I saw that he had a list, but -- and
  12      Q. Okay. Did he wave to you, or did he          12   he did take my name, but I just -- I wasn't just
  13   yell your name? What did he do?                    13   hanging out and watching what he was doing, I
  14      A. He stopped me as a passenger.                14   was riding my motorcycle.
  15      Q. Okay. And then -- and at this point          15   BY MR. KENNEDY:
  16   you had never told Jean Gary that you were a       16      Q. Okay. Did you sign your name to the
  17   victim of Douglas Perlitz, correct?                17   list, sir?
  18      A. No, I didn't tell him anything.              18      A. Jean Gary wrote my name for me.
  19      Q. Okay. But at this time he said he            19      Q. Okay. Jean Gary wrote your name for
  20   needed your phone number so he could give it to    20   you on the list, sir?
  21   Cyrus, correct?                                    21      A. Yes.
  22      A. Yes.                                         22      Q. Sir, are you aware that Jean Gary
  23      Q. And Jean Gary also indicated to you          23   brought a lawsuit previously?
  24   that he needed your phone number so that he        24           MR. STEWART: Objection.
  25   could explain how you were a victim to Cyrus?      25      A. Well, I don't know if he had brought a


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   1          MR. STEWART: Objection.                      1   lawsuit, because these guys don't tell us about
   2      A. No, he's not the one who explained to         2   their personal business.
   3   Cyrus.                                              3   BY MR. KENNEDY:
   4   BY MR. KENNEDY:                                     4      Q. When you say "these guys," who do you
   5      Q. You explained to Cyrus, correct?              5   mean, sir?
   6      A. Yes.                                          6      A. Jean Gary.
   7      Q. What I'm trying to understand, sir, is        7      Q. Anyone else, sir?
   8   if Jean Gary didn't know that you were a victim     8     A. Just Jean Gary, that I know that is
   9   of Douglas Perlitz, why he told you to contact      9   not explaining his personal business.
  10   Cyrus.                                             10      Q. Do you know if Jean Gary received
  11          MR. STEWART: Objection.                     11   money as a result of a lawsuit, sir?
  12      A. Because I saw him at the Village also.       12          MR. STEWART: Objection.
  13   We were together at the Village.                   13   BY MR. KENNEDY:
  14   BY MR. KENNEDY:                                    14     Q. I apologize, a lawsuit against Douglas
  15      Q. Okay. So he told you to contact Cyrus        15   Perlitz and the other Defendants?
  16   because you had been at the Village?               16          MR. STEWART: Objection.
  17          MR. STEWART: Objection.                     17      A. Yes.
  18      A. Yes, because he knew that all of us at       18   BY MR. KENNEDY:
  19   the Village, we were all victims.                  19     Q. How do you know that, sir?
  20   BY MR. KENNEDY:                                    20      A. Because he has -- he can -- sometimes
  21      Q. Jean Gary knew that all of the boys          21   he has money, and sometimes he comes where we
  22   that went to the Village were victims of Douglas   22   are and he tells jokes with us, with all of us,
  23   Perlitz?                                           23   our friends, and then after that he leaves.
  24      A. Well, I don't know if all of the boys        24      Q. Okay. Has Jean Gary ever provided you
  25   were really victims of Douglas, but myself         25   with money, sir?


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   1       A. No. When he sees me riding my                1          QUENER JOSEPH, Translator,
   2    motorcycle he can pay -- sometimes he will pay     2   having been duly sworn to translate the
   3    the gasoline for me, but he doesn't give me        3   questions and answers to the best of her
   4    money that easy.                                   4   ability, translated as follows:
   5       Q. Were you provided any money for              5          THE VIDEOGRAPHER: Thank you. Please
   6    signing the list, sir?                             6   begin.
   7       A. No.                                          7   BY MR. KENNEDY:
   8       Q. Sir, do you know if any other -- sir,        8      Q. Sir, I should have asked this question
   9    are you aware that other former PPT students       9   at the beginning of the deposition, and I don't
  10    previously brought a lawsuit against Douglas      10   want to know about any conversations that you've
  11    Perlitz and the other Defendants, sir?            11   had with your attorneys, but before you came
  12           MR. STEWART: Objection.                    12   here for your deposition, did you do anything to
  13       A. Yes.                                        13   prepare for your deposition?
  14    BY MR. KENNEDY:                                   14          MR. STEWART: Objection. Objection.
  15       Q. How do you know that, sir?                  15          To the extent that you're asking a
  16       A. Because the boys were victims.              16   question that invades the attorney/client
  17       Q. And are you aware that they received        17   privilege, I'm instructing him not to answer.
  18    money, sir?                                       18   He doesn't have to answer as to any
  19           MR. STEWART: Objection.                    19   conversations or preparation he's had with his
  20       A. Yes.                                        20   attorneys or agents of his attorneys.
  21    BY MR. KENNEDY:                                   21          THE TRANSLATOR: Excuse me, the
  22       Q. How do you know that, sir?                  22   interpreter would like a clarification. When
  23       A. Well, because in the street, you know,      23   the lawyer --
  24    they play loud music in their car, they make a    24          MR. STEWART: You just go ahead and
  25    lot of noise, and they always stay everywhere     25   translate the objection.


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   1   where the street kids, and they block the           1          THE TRANSLATOR: I would like you to
   2   streets, and they make a lot of noise.              2   make sure the sentence for you, or do I have to
   3      Q. These are the kids that received money        3   do it consecutively, simultaneously?
   4   previously, sir?                                    4          MR. STEWART: Don't worry about it.
   5      A. Yes.                                          5          THE TRANSLATOR: Because I have to at
   6      Q. What kind of cars do they drive, sir?         6   least get the time to interpret what you're
   7      A. I don't know. You know, I don't sit           7   saying.
   8   around and look for that. I don't watch their       8          MR. STEWART: Objection.
   9   cars. I don't just sit around looking at cars       9          You can translate that. To the extent
  10   go by. This is not in my mind to just stand        10   that the question calls for information that is
  11   like that and see cars going by. I'm doing my      11   subject to the attorney/client privilege, I'm
  12   motorcycle stuff.                                  12   instructing my client not to reveal or discuss
  13          MR. FOLKMAN: May I ask if we could go       13   any conversations he's had with his attorneys.
  14   off the record for a second? The other             14   He can talk about any preparation he did that
  15   translator is out there, and I think we may have   15   does not involve conversations with his
  16   a scheduling issue we need to flesh out.           16   attorneys. Okay.
  17          THE VIDEOGRAPHER: Going off the             17      A. Like I can talk what I know?
  18   record. The time is 10:45.                         18          MR. STEWART: He wants to know what
  19          (Whereupon, a recess was taken.)            19   you did to prepare for this deposition. I'm
  20          (Translator change.)                        20   saying you can tell him anything that you did to
  21          THE VIDEOGRAPHER: We're back on the         21   prepare for this deposition that is not
  22   record. The time is 10:53. We have a new           22   conversations with your attorneys, which is in
  23   translator, and the court reporter, Maureen        23   essence what you asked. Okay.
  24   Pollard, will swear in the new translator.         24      A. Yes.
  25                                                      25          MR. STEWART: You can tell him


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   1   anything you did except for conversations with     1   Cap-Haïtien, correct?
   2   your attorneys.                                    2      A. Yes.
   3         I'll be more judicious in my                 3      Q. Okay. And does anybody -- do you live
   4   objections. Go ahead.                              4   with anybody else, sir?
   5         Did you do anything besides talk with        5      A. I live in a house with my cousin and
   6   your attorneys to prepare for this deposition?     6   my brother.
   7      A. Yes.                                         7      Q. Okay. What's your brother's name,
   8         MR. STEWART: That's what he wants to         8   sir?
   9   know is what did you do besides talk to your       9      A. Ilguens.
  10   attorneys.                                        10      Q. And what's your cousin's name, sir?
  11      A. I got ready to come here. I bought          11      A. Remy.
  12   some clothes, and wear some clothes.              12          MR. STEWART: Can you get a
  13   BY MR. KENNEDY:                                   13   clarification on the brother's name? It's not
  14      Q. Okay. Did you speak to anyone besides       14   Ilguens.
  15   your attorneys, sir?                              15          MR. KENNEDY: Sure, I'll do my best.
  16      A. When I was coming here?                     16   BY MR. KENNEDY:
  17      Q. Yes, sir.                                   17      Q. Sir, can you repeat what your
  18      A. No.                                         18   brother's name is?
  19      Q. Okay. Sir, where were you born?             19      A. Evens.
  20      A. Me?                                         20      Q. Evens?
  21      Q. Yes, sir.                                   21      A. Evens.
  22      A. Cap-Haïtien.                                22      Q. And your cousin's name was what, sir?
  23      Q. Okay. And have you lived in                 23      A. Remy.
  24   Cap-Haïtien your entire life, sir?                24      Q. The house that you live in, sir, how
  25      A. Yes.                                        25   many rooms are in it?

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   1      Q. Okay. And where do you currently             1      A. Three rooms.
   2   live, sir?                                         2      Q. Three rooms?
   3      A. Cite Blue Hills, Cap-Haïtien.                3      A. Yes.
   4      Q. Do you live in a house? Where do you         4      Q. And do you have your own bedroom, sir?
   5   live?                                              5      A. The house is separated. My cousin and
   6      A. In a house.                                  6   my brother sleep in one side, and I sleep in the
   7      Q. Okay.                                        7   other side.
   8      A. Yes.                                         8      Q. I know you sleep on the other side,
   9      Q. And whose house is it, sir?                  9   sir. But my question is, do you have your own
  10      A. I rent it.                                  10   room to sleep in?
  11      Q. Your family rents the house, sir?           11      A. Yes.
  12      A. Yes, my mother rented it, used to work      12      Q. How long have you lived at this --
  13   and pay the rent for me. She couldn't pay the     13   sorry. I apologize, sir.
  14   rent for me anymore, now she move to              14          What is the address of this house?
  15   Cap-Haïtien, and my dad has a house, and we had   15      A. City of Blue Hill. The house number
  16   to come and live in there. Now she can't afford   16   is B-18, 1-8.
  17   to live on her own. I'm the one working on a      17      Q. And how long have you lived there,
  18   motorcycle and do some kind of job to help out,   18   sir?
  19   give her some money to live.                      19      A. I can't count how long I've been
  20      Q. Okay. So, sir, currently you live in        20   living there, because what happened to me is
  21   a house with your mom, correct?                   21   very sad.
  22      A. My mom is living in the house where --      22      Q. My question was time, sir, in time.
  23   the house my dad left for us, but I'm living in   23   How much time have you stayed at this house?
  24   the house my mom rented for me.                   24      A. I can't remember how long.
  25      Q. Okay. So you're living in a house in        25      Q. Have you lived there your entire life,


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   1   sir?                                                1      A. Roselene Predestin.
   2      A. When I left the Village, I was living         2      Q. Roselene?
   3   there for all my life, all my life.                 3      A. Yes.
   4      Q. Sir, before you went to the Village,          4      Q. I'm sorry, the last name was, sir?
   5   where did you live?                                 5      A. My mom?
   6      A. At my house.                                  6      Q. Yes, sir.
   7      Q. Okay. And is that the same house we           7      A. Roselene Predestin.
   8   were just talking about?                            8      Q. And what's your dad's name?
   9      A. Yes.                                          9      A. Altieri Jean Pierre.
  10      Q. Sir, I think -- I apologize, I'm             10      Q. And this other home that your mom
  11   jumping a little ahead, but when you were going    11   lives in right now, where is that located, sir?
  12   to the Village, did you live at the same house,    12      A. City of Blue Hills.
  13   sir?                                               13      Q. Is it near the house you're living in
  14      A. Yes.                                         14   right now?
  15      Q. Sir, can you do your best to describe        15      A. No.
  16   for me your house?                                 16      Q. How far away is it, sir?
  17      A. All the house you're asking me?              17      A. You have to go back there to go to my
  18      Q. Yes, to the best you can.                    18   house.
  19      A. It's a kind of block, it's painted in        19      Q. What's the address of that house, sir?
  20   green. The house has three doors, two in front,    20      A. It's in City of Blue Hill, but I don't
  21   one in the back. The house has six windows, two    21   remember the house number.
  22   in front, one in the middle, that makes it         22      Q. Who lives with your mom at that house,
  23   three, and back in the -- and the back in the --   23   sir?
  24   all the way there's one. And the front has         24      A. Three little sisters, my three little
  25   three trees, one closer tree, one almond tree,     25   sisters.

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   1   and one tree of olive.                              1      Q. Your three little sisters?
   2          THE TRANSLATOR: The interpreter would        2      A. Yes, sir.
   3   like to make a clarification. He said three         3      Q. What are their names and ages, sir?
   4   trees in Creole. I don't know how to say that       4      A. For the age I might not -- I might not
   5   in English. Almonds and soursop.                    5   be able to give you the ages, but I can give you
   6          MR. STEWART: Almond tree?                    6   the names.
   7      A. Almond, and the other one is the              7      Q. Fair enough, sir.
   8   soursop, that's the other tree we have.             8      A. Do you want the names?
   9          MR. STEWART: Almond, soursop, and            9      Q. Yes, sir.
  10   what's the other one?                              10      A. Noufie Jean Pierre, Dieulove
  11          THE TRANSLATOR: Olive.                      11   St. Hilaire, Sitchina Fildor.
  12          MR. STEWART: Olive. Okay.                   12           MR. STEWART: He said Noufie, Fildor,
  13   BY MR. KENNEDY:                                    13   and Dieulove. Part of the Jim, Bob and Frank
  14      Q. Is there a television in the house,          14   for us.
  15   sir?                                               15           You're doing fine. We have to figure
  16      A. No.                                          16   out the spelling of names. You're doing fine.
  17      Q. Sir, has your family had this house as       17   BY MR. KENNEDY:
  18   long as you've been alive?                         18      Q. Sir, how many brothers do you have?
  19      A. The house for my dad, yes, that did          19      A. Four brothers. I'm the fifth one.
  20   have.                                              20      Q. And what -- and one of the brothers is
  21      Q. And, sir, I also think you testified         21   -- strike that. I'm sorry.
  22   that your mom now lives in a house that was        22           Can you give me the names of your four
  23   provided by your dad?                              23   brothers, sir?
  24      A. Yes.                                         24      A. Yes. Yves Jean Pierre, Yvon Jean
  25      Q. And I'm sorry, what's your mom's name?       25   Pierre, Evens Jean Pierre, Joseph Jean Pierre.


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   1      Q. Okay. Are they all older than you,             1   Village, and all of us were victims.
   2   sir?                                                 2   BY MR. KENNEDY:
   3      A. Yes.                                           3      Q. When you say all of you were victims,
   4      Q. How much older is Yvon Jean Pierre?            4   do you mean all of the students at the Village
   5      A. He's older than me.                            5   were victims of Douglas Perlitz?
   6      Q. Do you know how much older, sir?               6      A. Yes.
   7      A. No.                                            7      Q. Do you know if your brother, Joseph
   8      Q. What about Yves Jean Pierre?                   8   Jean Pierre, put his name on Jean Gary's list?
   9      A. I don't know the ages.                         9      A. I don't know, because I didn't go to
  10      Q. Okay. You just know they're older             10   look on the list. The only thing I do, I gave
  11   than you are?                                       11   Jean Gary my name. I just gave my name because
  12          THE TRANSLATOR: Say it again.                12   I'm doing motor taxi, I just gave my name and I
  13      Q. You just know they're older than you          13   left.
  14   are?                                                14      Q. Sir, do you know if -- I'm sorry.
  15      A. They're older than me, I just don't           15          Do you know if Mathieu has given your
  16   know the ages.                                      16   brother, Joseph Jean Pierre, money?
  17      Q. Did any of your brothers go to PPT,           17          MR. STEWART: Objection.
  18   sir?                                                18          THE TRANSLATOR: I got lost in the
  19      A. Me and Joseph.                                19   translation. Would you rephrase that question
  20      Q. Joseph Jean Pierre?                           20   for me again, please?
  21      A. Yes.                                          21   BY MR. KENNEDY:
  22      Q. Sir, do you know if your brother,             22      Q. I'll try doing it slower.
  23   Joseph Jean Pierre, is claiming that Douglas        23          Do you know if Mathieu has given your
  24   Perlitz abused him?                                 24   brother, Joseph Jean Pierre, money?
  25          THE TRANSLATOR: Can you rephrase the         25      A. I don't know that.


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   1    question for me, please?                            1      Q. Do you know if Cyrus has given your
   2           MR. KENNEDY: Sure.                           2   brother, Joseph Jean Pierre, money?
   3       Q. Sir, do you know -- I don't know if I         3          MR. STEWART: Objection.
   4    can rephrase that.                                  4      A. I'm not usually to hang out with him,
   5       A. You're asking for Joseph Jean Pierre?         5   I don't know if he has given him money or not.
   6           MR. KENNEDY: Is there something the          6   BY MR. KENNEDY:
   7    translator doesn't understand?                      7      Q. Where does Joseph Jean Pierre live,
   8           THE TRANSLATOR: I asked you to               8   sir?
   9    rephrase the question, so I have to let him know    9      A. In his house.
  10    what I just say to you in Creole.                  10      Q. Okay. Where is his house, sir?
  11    BY MR. KENNEDY:                                    11      A. City of Blue Hills.
  12       Q. Okay. Can you try asking this                12      Q. Does Joseph Jean Pierre work, sir?
  13    question, which is, sir, do you know if your       13      A. Yes, he's a driver.
  14    brother, Joseph Jean Pierre, is claiming that      14      Q. What does he drive, sir?
  15    Douglas Perlitz abused him?                        15      A. A camionette, like a machine, it's a
  16           MR. STEWART: Objection.                     16   truck.
  17       A. Yes.                                         17      Q. He's a truck driver, sir?
  18    BY MR. KENNEDY:                                    18      A. Yes.
  19       Q. He is claiming that, sir?                    19      Q. And do you know who he works for, sir?
  20           MR. STEWART: Objection.                     20      A. Yes.
  21       A. Yes.                                         21      Q. Who is that, sir?
  22    BY MR. KENNEDY:                                    22      A. He's working for a friend of us whose
  23       Q. How do you know that, sir?                   23   name is Nate.
  24           MR. STEWART: Objection.                     24      Q. Does your dad work, sir?
  25       A. Because we were together in the              25      A. I don't have a father. My father


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   1   died.                                              1      A. Yes.
   2      Q. Sorry, sir.                                  2      Q. Your brother, Yvon Jean Pierre, does
   3          When did your dad pass away?                3   he work?
   4      A. He died in 2009. I don't remember the        4      A. Yes, he is doing the same job as me,
   5   date and the month.                                5   motor taxi.
   6      Q. Okay. Before your dad passed away,           6      Q. And do you work together with your
   7   did he work?                                       7   brother?
   8      A. Yeah, he was working --                      8      A. No. He's riding, he's on a bike, and
   9          THE TRANSLATOR: The interpreter would       9   I'm riding a motor, a bike with a contract.
  10   like to look for what he said. I don't know how   10      Q. Your brother Yves Jean Pierre, does he
  11   to translate that word in English. I'm going to   11   work?
  12   look for it, if that's okay, if that's allowed,   12      A. Yes.
  13   because I have to look for the word.              13      Q. What does he do, sir?
  14          MR. STEWART: What's the word we're         14      A. The same job as Joseph, driving a
  15   looking for?                                      15   truck.
  16          THE TRANSLATOR: Apantè. Somebody who       16      Q. Okay. And do they all live in
  17   comes to measure.                                 17   Cap-Haïtien, sir?
  18          MR. STEWART: Surveyor?                     18      A. Yes.
  19          THE TRANSLATOR: Surveyor.                  19      Q. Okay. Your brother Evens Jean Pierre,
  20      Q. Sir, your dad was a surveyor?               20   does he work?
  21      A. No, he was working with the surveyor.       21      A. Yes, he is doing motor taxi.
  22          MR. STEWART: We all thought we knew.       22      Q. Okay. Do your sisters work, sir?
  23   I'm sorry.                                        23      A. My sisters?
  24   BY MR. KENNEDY:                                   24      Q. Yes, sir.
  25      Q. Let me try it this way, sir.                25      A. They're little. They're in school.

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   1           Can you describe to me, to the best of     1      Q. Okay.
   2    your ability, what your dad did for a living?     2      A. I give you four brothers, but you
   3       A. Sometime he (unintelligible) in the         3   asked me about three.
   4    water, and carrying concrete just to take care    4      Q. Right.
   5    of us.                                            5      A. What about the other one?
   6       Q. Okay. Was he able to take care of           6      Q. The other one?
   7    you, sir?                                         7      A. Yvon.
   8       A. Yes, he was taking care of all of us,       8      Q. Yvon Jean Pierre, does he work, sir?
   9    all the children.                                 9      A. Yes, he's driving a minivan.
  10       Q. You had enough food to eat, sir?           10      Q. So all the brothers are driving in one
  11       A. Yes. Every time he got paid, he            11   form or another for work?
  12    bought food for us to eat in the house.          12          (Conversation between translator and
  13       Q. Okay. And you had a place to live,         13   Mr. Mr. Pierre-Louis.)
  14    correct, sir?                                    14          THE TRANSLATOR: He said caravan, and
  15           THE TRANSLATOR: I didn't hear you.        15   caravan is not a minivan. Caravan is kind of
  16       Q. And you had a place to live?               16   transportation, in Haiti they call it tap-tap.
  17       A. Before he passed, we were living           17          You asked another question. I think I
  18    together.                                        18   lost the question.
  19       Q. Okay. And after he passed, you lived       19   BY MR. KENNEDY:
  20    with your mom in the house?                      20      Q. The question was, it's fair to say
  21       A. No. I'm living in the house my mom         21   that all of your brothers are driving for
  22    rented for me.                                   22   transportation in one form or another?
  23       Q. Okay. Let me ask it this way, sir.         23      A. Yes.
  24           You've always lived in a house,           24      Q. Do all your brothers help pay the
  25    correct?                                         25   expenses for the home, sir?


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   1      A. Yeah, when my dad was alive, we were          1   going. I can find the passenger at Esso and I'm
   2   dependent on him mostly, but now I take my          2   taking the passenger to Blue Hills, I charge
   3   mother in the house.                                3   them 10, 15 gourdes, 10 gourdes.
   4      Q. Sir, do you provide any money for the         4      Q. Okay. On average, sir, how many
   5   expenses of the home?                               5   gourdes a week do you make on your motor taxi
   6      A. No, I don't give money in the house,          6   job?
   7   but after riding my bike I can give my mom some     7          THE TRANSLATOR: A week?
   8   money to buy some oil, some spices.                 8          MR. KENNEDY: Yes.
   9      Q. Okay. So sometimes you give your mom          9      A. For the week, I can make $360. But
  10   money to buy oil and spices?                       10   that's not my money, I have to give it to the
  11      A. Yes.                                         11   motorcycle's owner.
  12      Q. Now, sir, I know you started to tell         12   BY MR. KENNEDY:
  13   me before, but what do you currently do for        13      Q. How much do you give to the motorcycle
  14   work?                                              14   owner, and how much do you keep, sir?
  15      A. What I do for a living is the motor          15      A. I can get like 20 to $30.
  16   taxi. When I can't find a motor taxi to ride, I    16      Q. US?
  17   used to go look for a job in concrete,             17      A. Gourdes.
  18   construction.                                      18      Q. Gourdes?
  19      Q. Sir, in your own words describe for me       19      A. Gourdes.
  20   what the motor taxi job is.                        20      Q. Okay. So you give the taxi -- I'm
  21      A. Like you stop in the station, there's        21   sorry. You give the motorcycle owner 340 of the
  22   a station, you stop there, and waiting for         22   360 gourdes you make in a week, sir?
  23   passenger to -- you take them to a place, to       23      A. No. I give him $360.
  24   another place.                                     24          THE TRANSLATOR: Excuse me, just a
  25      Q. Is it a motorcycle, or is it a car,          25   cultural thing, for the gourdes and dollars,


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   1   sir?                                                1   from a cultural from Haiti, when they talk about
   2      A. Motorcycle.                                   2   gourdes, that's the local money. But because we
   3      Q. Okay. Do you own this motorcycle,             3   use everything in dollars, when somebody says
   4   sir?                                                4   $360, that's not 360 gourdes, that's more
   5      A. No. I have a contract. I went to the          5   gourdes in the Haitian way. Maybe Elyseé knows
   6   dealership with the owner to buy it, and we sign    6   what I'm talking about.
   7   a contract.                                         7          MR. FOLKMAN: You might ask him how
   8      Q. Okay. So do you keep the motorcycle           8   many gourdes to a Haitian dollar.
   9   at your house, sir?                                 9   BY MR. KENNEDY:
  10      A. Yes.                                         10      Q. Sir, how many gourdes are there to a
  11      Q. And how many days a week do you do the       11   Haitian dollar?
  12   Moto Taxi job, sir?                                12          THE TRANSLATOR: Say it again?
  13      A. Every day.                                   13      Q. Sir, how many gourdes are there to a
  14      Q. And are you able to pick up                  14   Haitian dollar?
  15   passengers, sir?                                   15      A. 5 gourdes.
  16      A. Yes.                                         16      Q. Sir, have you able to feed yourself
  17      Q. And I know every day is different, but       17   from the money you make from your Moto Taxi job?
  18   describe for me, on a regular day how many         18      A. Yes.
  19   passengers do you pick up?                         19      Q. Sir, do you have to pay rent at your
  20      A. For the day I can ride it two to three       20   home?
  21   passengers, sometimes I don't find any, and I      21      A. No. Where I live, I also pay. Because
  22   ride the motor -- the motorcycle empty.            22   I'm riding the bike now, I pay some money.
  23      Q. And how much do you charge for your --       23      Q. Who do you give the money to, sir?
  24   for a passenger?                                   24      A. The house owner. When I pay the
  25      A. It depends on where the passenger is         25   house, who I give the money to?


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   1     Q.    Yes.                                        1   I'm not doing the motorcycle job I go look for
   2     A.    The owners.                                 2   some masonry jobs.
   3     Q.    Who is the owner, sir?                      3      Q. How often do you look for masonry
   4     A.    Lucemene.                                   4   jobs, sir?
   5     Q.    It's not your family, sir?                  5      A. I can't -- how many times, how often I
   6     A.    No.                                         6   perform that job, but when I'm not doing the
   7     Q.    On average -- I'm sorry.                    7   motorcycle job I look around near where I live,
   8          When you do pay the owner, sir, do you       8   like looking for something, hustling as they say
   9   pay them every month, or is it every week? How      9   in this country.
  10   do you pay them?                                   10      Q. Let me ask you something. We're here
  11      A. Every year. Like if I move to the            11   in the year 2015. In the year 2015, how many
  12   house December 20, next December 20 I have to      12   times have you worked masonry jobs?
  13   pay the rent.                                      13          MR. STEWART: Objection.
  14      Q. And how much do you pay in rent every        14      A. Once.
  15   year in Haitian dollars?                           15   BY MR. KENNEDY:
  16      A. In total I pay $500, 500 Haitian             16      Q. Okay. And who did you work for, sir?
  17   dollars. In gourdes it's 4,500 gourdes.            17      A. For who I work?
  18      Q. Sir, how long have you been doing the        18      Q. Do you know the name of the person you
  19   Moto Taxi job?                                     19   worked for, sir?
  20      A. I can't control, say how long, but           20      A. No.
  21   since I left the Village.                          21      Q. Okay. How many days did you work at
  22      Q. Okay. And when did you leave the             22   that masonry job?
  23   Village, sir?                                      23      A. One day only.
  24      A. I do not remember the month I left.          24      Q. Okay. And how much were you paid,
  25      Q. Was it when the Village closed, sir,         25   sir?


                                            Page 71                                                Page 73
   1   in 2008?                                            1      A. I got paid $30.
   2      A. I already left.                               2      Q. Haitian dollars, sir?
   3      Q. You left before the Village had               3      A. 150 gourdes.
   4   closed, sir?                                        4      Q. In the year 2015, sir, if you know,
   5      A. Yes.                                          5   how many times did you work on a masonry job?
   6      Q. Do you remember what year you left the        6          MR. STEWART: Objection.
   7   Village, sir?                                       7      A. That I can't control, I don't know.
   8      A. I don't remember the year.                    8   BY MR. KENNEDY:
   9      Q. Sir, it's fair to say you're able to          9      Q. Okay. Have you ever applied for a
  10   support yourself doing your Moto Taxi job?         10   masonry job and been not hired, sir?
  11      A. Yes.                                         11      A. Yes. They used to tease me, saying
  12      Q. Sir, have you also done mason jobs?          12   "here are the Douglas homosexual guys, they're
  13         THE TRANSLATOR: Also done --                 13   the one that's going to be in control. They are
  14         MR. KENNEDY: Mason, masonry.                 14   not going to be rich very soon."
  15      A. I don't do it. Sometimes when I'm not        15      Q. Okay. But they said you're going to
  16   performing the motorcycling -- motorcycle job I    16   be rich very soon?
  17   go look for masonry, when you have to carry like   17      A. Yes, because we're not going to let
  18   bucket of concrete.                                18   them work between us because they are
  19      Q. And have you done any of those jobs,         19   homosexual.
  20   sir?                                               20      Q. Okay. Do you know the people that
  21      A. Yes, sometimes.                              21   said this, sir?
  22      Q. How many times have you worked in            22      A. I don't know them, but I don't live in
  23   masonry jobs since you left the Village, sir?      23   the area.
  24      A. I can't control, I can't say how long,       24      Q. Okay. Where did this -- where did --
  25   but when I'm not doing the motorcycling, when      25   in what town did these people say these words,


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   1   sir?                                                1       Q. Sir, are you able to buy new clothes
   2      A. Blue Hills.                                   2   from the money that you make from the motorbike?
   3      Q. Sir, you also know how to repair a            3       A. Yes.
   4   boat?                                               4       Q. Sir, your Moto Bike job, do you work
   5      A. I work on a boat. I work on a boat,           5   for a certain company?
   6   not repair. Sometimes I clean up the boat, make     6       A. No.
   7   kind of job, oil change, repair parts, the good     7       Q. It's your own business, sir?
   8   parts and bad parts, take them out. Just he         8       A. No, for someone else, and he bought
   9   take out good parts and bad parts, not repair.      9   it, and I'm riding the bike with a contract.
  10      Q. You're able to physically do that job,       10       Q. Okay. Sir, I preface this by saying I
  11   correct?                                           11   don't want to know about any conversations
  12      A. I don't do that job every day, not too       12   you've had with your attorneys.
  13   physically.                                        13          THE TRANSLATOR: Say it again, please,
  14      Q. I know you don't do that job every           14   if you don't mind?
  15   day, but you're able to physically do it, right?   15       Q. Sir, I don't want to know about any
  16      A. Yes. I get from that job, but they           16   conversations that you've had with your
  17   don't give me heavy stuff to carry.                17   attorneys. But besides your attorneys, have you
  18      Q. In the masonry job, sir, you're able         18   told anyone else what Douglas Perlitz did to
  19   to physically do that job as well, correct?        19   you?
  20      A. Yes. I wake up in the morning, and I         20          THE TRANSLATOR: The last name is?
  21   had a cup of water just to carry on during the     21          MR. KENNEDY: Perlitz.
  22   day, and around midday they give us our money to   22       A. No.
  23   go to eat.                                         23       Q. Did you ever tell Cyrus what Douglas
  24      Q. Sir, when is the last time, sir, that        24   Perlitz did to you?
  25   you worked repairing or cleaning a boat?           25       A. Yes.


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   1          MR. STEWART: Objection.                      1      Q. When did you do that, sir?
   2      A. I don't know about the day, but I             2      A. I don't remember the day.
   3   remember when I was working in the custom. And      3      Q. Did you ever tell Mathieu what Douglas
   4   plus the boss I used to work with when I            4   did to you?
   5   finished working, he wasn't very fair with the      5      A. No.
   6   money with us, and sometimes he want us to go       6      Q. Do you know who Margarette Joseph is,
   7   use the money with women and prostitution. And      7   sir?
   8   I said -- because I said I have a future to         8      A. Margarette Joseph?
   9   prepare, so I have a future part of me, and I'm     9      Q. Yes.
  10   a young man, and I can't use my money in that      10      A. She used to live in the Village. In
  11   type of life with women.                           11   the Village she was a nurse who used to teach us
  12   BY MR. KENNEDY:                                    12   lessons in the Village.
  13      Q. So the boss on the boat job wanted you       13      Q. Did you ever tell Margarette Joseph
  14   to use the money he was paying you to work for     14   what Douglas Perlitz did to you, sir?
  15   you to go with a prostitute?                       15          THE TRANSLATOR: Sorry, I got lost on
  16      A. Yes.                                         16   the translation. Can you say it for me again?
  17      Q. Why did he want you to do that?              17          MR. KENNEDY: Sure.
  18          MR. STEWART: Objection.                     18      Q. Did you ever tell Margarette Joseph
  19          THE TRANSLATOR: But he can answer?          19   what Douglas Perlitz did to you?
  20          MR. STEWART: Mm-hmm.                        20      A. No.
  21      A. He wanted us to use the money on             21      Q. Did you ever tell -- strike that. I'm
  22   women, and I said "I'm a young man, I have a       22   sorry.
  23   future to -- ahead of me. And I came work, I       23          Do you know who Robinson is, sir?
  24   have to buy new clothes."                          24          THE TRANSLATOR: Robinson?
  25   BY MR. KENNEDY:                                    25          MR. KENNEDY: Yes, sir.


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   1       A. Robinson is a teacher.                     1      A. I don't think we got two years
   2       Q. At the Village, sir?                       2   together yet.
   3       A. Yes.                                       3      Q. Okay. And where does your girlfriend
   4       Q. Did you ever tell Robinson what            4   live, sir?
   5    Douglas Perlitz did to you, sir?                 5      A. Cap-Haïtien.
   6       A. No.                                        6      Q. She doesn't -- does she live with you,
   7       Q. Did you ever tell your brother, Joseph     7   sir?
   8    Jean Pierre, what Douglas Perlitz did to you,    8      A. No.
   9    sir?                                             9      Q. Before -- I'm sorry, her name was
  10       A. No.                                       10   Wilnise.
  11          THE VIDEOGRAPHER: Going off the           11          Before Wilnise, did you have any other
  12    record. The time is 11:53.                      12   girlfriends, sir?
  13          (Whereupon, a luncheon recess was         13          MR. STEWART: Objection.
  14          taken.)                                   14      A. I had a first girlfriend, but we were
  15                                                    15   not together. He moved to a town called
  16                                                    16   Wanament.
  17                                                    17          THE TRANSLATOR: I said he. She
  18                                                    18   moved.
  19                                                    19      Q. You had a girlfriend before Wilnise,
  20                                                    20   but that girlfriend moved out of town, sir?
  21                                                    21      A. We were not living in the same place.
  22                                                    22   She was living at a house, and I was living to
  23                                                    23   my place.
  24                                                    24      Q. And what was her name, sir, or what is
  25                                                    25   her name?

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   1        AFTERNOON SESSION                            1          THE TRANSLATOR: What?
   2                                                     2      Q. What is her name?
   3          THE VIDEOGRAPHER: Back on the record.      3      A. Chilove.
   4   The time is 1:32.                                 4      Q. Okay. And how long was Chilove your
   5   BY MR. KENNEDY:                                   5   girlfriend?
   6      Q. Sir, did you ever tell any of your          6          MR. STEWART: Objection.
   7   brothers what Douglas Perlitz did to you?         7      A. I don't control the time.
   8      A. No.                                         8   BY MR. KENNEDY:
   9      Q. Are you married, sir?                       9      Q. Was it more than a year, sir?
  10      A. No.                                        10          MR. STEWART: Objection.
  11      Q. Do you have a girlfriend?                  11          If you know.
  12      A. One.                                       12      A. No.
  13      Q. You have one girlfriend?                   13   BY MR. KENNEDY:
  14      A. Yes.                                       14      Q. Was Chilove your girlfriend for more
  15      Q. What's her name, sir?                      15   than six months?
  16      A. Wilnise.                                   16          MR. STEWART: Objection.
  17      Q. And how long has she been your             17      A. Yes.
  18   girlfriend, sir?                                 18   BY MR. KENNEDY:
  19      A. I did not count the time we've been        19      Q. And before Chilove, did you have
  20   together.                                        20   another girlfriend, sir?
  21      Q. Is it more than six months, sir?           21          MR. STEWART: Objection.
  22      A. Yes.                                       22      A. No.
  23      Q. Is it more than a year, sir?               23   BY MR. KENNEDY:
  24      A. Yes, maybe more than a year.               24      Q. Okay. Was Chilove your first
  25      Q. Is it more than two years, sir?            25   girlfriend, sir?


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   1      A. Yes.                                         1   BY MR. KENNEDY:
   2      Q. How old were you when you started            2      Q. Yes, sir.
   3   dating Chilove?                                    3      A. Any contact I had with him at the
   4      A. I don't control. I don't know.               4   Village, when he first met me and he said let's
   5      Q. Okay. Sir, do you -- I apologize for         5   go out. Okay. He asked me that, let's go out.
   6   some of these questions, but do you have sexual    6   So we got into the car, and when we got to the
   7   relations with Wilnise?                            7   place where we were supposed to go, we got out
   8          MR. STEWART: Objection.                     8   of the car, and we got to a supermarket, Total
   9      A. Yes.                                         9   Chanpen. That's in Cap-Haïtien.
  10   BY MR. KENNEDY:                                   10      Q. And that's the first time that you
  11      Q. And did you have sexual relations with      11   ever met Douglas Perlitz?
  12   Chilove, too?                                     12      A. No. I'm just talking, and he stopped
  13          MR. STEWART: Objection.                    13   me, so I'm not finished yet.
  14      A. Yes.                                        14      Q. I'm sorry, sir, you can finish.
  15   BY MR. KENNEDY:                                   15      A. When we left the market we went to his
  16      Q. Okay. Do you have any children, sir?        16   house.
  17      A. No.                                         17          MR. STEWART: You can keep talking.
  18      Q. Sir, in your life, how many sexual          18   Just tell your story. Just keep talking. He'll
  19   partners have you had?                            19   catch up at some point. But if you have
  20          MR. STEWART: Objection.                    20   something to say to answer his question, you
  21          May I just add to that, it's not           21   just need to give your complete answer. Okay?
  22   relevant, even in a discovery deposition. It's    22   There's no reason to stop.
  23   harassing, done to embarrass him, it's done to    23      A. When we got to his house, he opened
  24   intimidate him, it's improper, and you've gone    24   the door and we got in. And when we got out he
  25   far beyond where you should have gone with this   25   did ask me if I was hot, and I said yes.


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   1    line of questioning.                              1   Usually when I'm taking a shower home I got -- I
   2           MR. KENNEDY: Objection is noted.           2   got naked, so when I got into the shower, while
   3           MR. STEWART: You can answer.               3   I was taking a shower I saw he was coming to me
   4       A. You're asking how many girlfriends I        4   with a towel on, and we were naked. When he got
   5    had?                                              5   in the shower and he touched my bottom, and I
   6    BY MR. KENNEDY:                                   6   wasn't comfortable, I was upset. And I had soap
   7       Q. Yes, sir. How many girlfriends have         7   on my body, and I didn't even finish rinsing my
   8    you had sexual relations with?                    8   body, and I got out -- I didn't even finish
   9           MR. STEWART: Objection.                    9   rinsing myself, and I got dressed and I left.
  10       A. Only Chilove and Wilnise.                  10   And when I finished, I passed by my uncle house,
  11    BY MR. KENNEDY:                                  11   I didn't tell them what's happened, and they
  12       Q. Okay. Sir, when did you first meet         12   gave me $5 to get public transportation.
  13    Douglas Perlitz?                                 13           When I got home, I stayed for two
  14       A. In the Village.                            14   minutes at home. I didn't tell nobody what
  15       Q. Okay. What year was that, sir?             15   happened. And after that, I went to the
  16           THE TRANSLATOR: Say that again,           16   Village. When I got there I went to sit alone.
  17    please.                                          17      Q. Sir, I just want to be clear. My
  18       Q. What year was that, sir?                   18   question was what your memories were of the
  19       A. I don't remember.                          19   first time that you ever met Doug Perlitz. Was
  20       Q. Okay. Tell me everything that you          20   this -- go ahead.
  21    remember about the first time you met Douglas    21           MR. STEWART: Go ahead. The first
  22    Perlitz.                                         22   question was different than that, and I think
  23           MR. STEWART: Objection.                   23   where the confusion came from. Someone used the
  24       A. You're talking about my first              24   word "encounter." You're talking about my first
  25    encounter with him?                              25   encounter with him, and you said yes, so I think


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   1   that's where the confusion comes from, sir.         1          MR. KENNEDY: What's the answer?
   2          MR. KENNEDY: Okay. Thanks for your           2          MR. STEWART: He translates objection.
   3   help.                                               3   All day I've been saying objections, I've just
   4   BY MR. KENNEDY:                                     4   been saying them down where you didn't hear
   5      Q. My question was, tell me everything           5   them. Don't worry about an objection. If I
   6   that you remember about the first time you met      6   make an objection, only if I tell you not to
   7   Douglas Perlitz. The story you just told me,        7   answer do you need to worry about it. Okay? So
   8   sir, was that the first time you had met Douglas    8   you may hear me say objection, I've been saying
   9   Perlitz?                                            9   it, you probably didn't hear it earlier, it's
  10      A. Yes.                                         10   okay, don't worry about it. It's something that
  11      Q. Were you a student at PPT at this            11   the judge and the defense and us will fight
  12   time, sir?                                         12   about later, it's not something you need to
  13      A. A student. A student.                        13   worry about. Okay?
  14      Q. You were a student at PPT at this            14       A. Yes.
  15   time?                                              15          MR. STEWART: Just do your best to
  16      A. Is a student -- are you asking me if I       16   answer the questions unless I tell you not to,
  17   was a student?                                     17   okay? Do what they all do, just ignore me when
  18          MR. KENNEDY: I was asking, I was            18   I say objection, okay? All right?
  19   asking the witness whether he was a student at     19          THE WITNESS: Okay.
  20   PPT at the time that he had this incident with     20          MR. STEWART: He asked you, he said
  21   Mr. Perlitz.                                       21   you went to Don Bosco for first and second
  22      A. Yes.                                         22   grade?
  23      Q. How long had you been a student at           23          That's your last question, right, sir?
  24   PPT, sir, before this incident with Mr. Perlitz?   24          MR. KENNEDY: Yes.
  25      A. I don't remember how long.                   25       A. Yes.


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   1       Q. And you had never spoken to Douglas          1   BY MR. KENNEDY:
   2    Perlitz before this incident, sir?                 2      Q. Okay. And is Don Bosco a private
   3       A. Yeah. Talking, yes, when he used to          3   school, sir?
   4    stand up in the kitchen talking to everybody,      4      A. It's for a priest.
   5    yes, he used to do that. But I never talked to     5      Q. Okay. Do you have to pay -- if you
   6    him, stand up, person only talking to him          6   know, do you have to pay to go to Don Bosco?
   7    one-on-one.                                        7      A. Yes.
   8       Q. Okay. So when did you start -- strike        8      Q. Who paid for you to go to Don Bosco,
   9    that. I'm sorry.                                   9   sir?
  10           Sir, how old were you when you started     10         MR. STEWART: Objection.
  11    to go to PPT?                                     11      A. My mother, my mother and my father.
  12       A. I don't remember how old I was,             12   BY MR. KENNEDY:
  13    because each time I wanted to exactly know my     13      Q. Okay. And then after Don Bosco, where
  14    age, I usually go ask my mother.                  14   did you go to school, sir?
  15       Q. So when did you first start going to        15      A. Blue Hills.
  16    school?                                           16      Q. Okay. And is Blue Hills, is that a
  17           MR. STEWART: Objection.                    17   public school, sir?
  18       A. Don Bosco.                                  18      A. National school.
  19    BY MR. KENNEDY:                                   19      Q. Do you have to pay to go to that
  20       Q. Don Bosco, how old were you when you        20   school, sir?
  21    went to Don Bosco?                                21         MR. STEWART: Objection.
  22       A. I don't remember.                           22      A. Yes.
  23       Q. You went to Don Bosco for first and         23   BY MR. KENNEDY:
  24    second grade?                                     24      Q. Who paid for to you go to that school,
  25           MR. STEWART: Objection.                    25   sir?


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   1          MR. STEWART: Objection.                     1   there any Americans or white volunteers who
   2      A. My mother and my father.                     2   worked there?
   3    BY MR. KENNEDY:                                   3           MR. STEWART: Objection.
   4      Q. Okay. And what grades did you do at          4      A. Andy.
   5    Blue Hills?                                       5   BY MR. KENNEDY:
   6      A. I don't remember.                            6      Q. Is that Andy Shultheis, sir?
   7      Q. At some point did you start going to         7           THE TRANSLATOR: Say again?
   8    PPT?                                              8      Q. Andy Shultheis?
   9      A. Before I went to PPT, I passed Street        9      A. I know him by Andy. I don't know his
  10    13.                                              10   last -- the last name.
  11      Q. Okay. We might be talking about the         11      Q. Okay. Was Andy a white person?
  12    same thing.                                      12      A. Yeah, he was white, he was not
  13          Did you go to Rue 13, sir?                 13   Haitian.
  14      A. Yes.                                        14      Q. Okay. And can you describe for me,
  15      Q. Okay. And who worked at Rue 13?             15   sir, what a typical day at Rue 13 was like for
  16          MR. STEWART: Objection.                    16   you?
  17      A. Who work at Rue 13?                         17           MR. STEWART: Objection.
  18    BY MR. KENNEDY:                                  18      A. A normal day? A normal day?
  19      Q. Yes.                                        19   BY MR. KENNEDY:
  20      A. Master Romer, and Master Nixon,             20      Q. Yes, a normal day at Rue 13.
  21    Marguerite, Merline, and Mrs. Calixte.           21      A. Are you talking about when they're
  22      Q. Did you ever see Douglas Perlitz at         22   playing games?
  23    Rue 13?                                          23      Q. Just what you remember of things you
  24      A. I never saw him.                            24   did at Rue 13.
  25      Q. How did you hear about Rue 13? How          25           MR. STEWART: Objection.

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   1   did you find out about Rue 13?                     1      A. We play, a soccer league, play
   2      A. In front of my -- it was in the              2   marbles, and they play movies for us.
   3   jacket, he talked to me about that school and I    3      Q. Were you taught any school subjects?
   4   said -- he saw my mother was spending a lot of     4      A. Yeah, we had schooling there.
   5   money for me, she's not that wealthy, it's my      5      Q. What classes did you take there?
   6   mother couldn't send me and Joseph to that         6      A. When I went there, they had me start
   7   school. The day we went there we didn't have       7   in first grade.
   8   with us our birth certificate, as when we went     8      Q. Did you learn to -- did you get taught
   9   there we didn't have our birth certificate with    9   reading Creole?
  10   us so we went -- we came back the next day with   10      A. Yes.
  11   our birth certificate, and it rained, we try to   11      Q. Did you learn any math?
  12   go.                                               12          MR. STEWART: Objection.
  13      Q. What was the name of the person that        13      A. Yes, in the class I had they used to
  14   told you about Rue 13?                            14   do calculus with me, but -- we used to do
  15      A. Jackie Lo.                                  15   calculus, the class I was, but we didn't start
  16      Q. Was Jackie Lo -- is that a nickname,        16   math yet.
  17   sir?                                              17   BY MR. KENNEDY:
  18      A. It's a real name.                           18      Q. Were you provided with food at Rue 13,
  19      Q. It's a real name?                           19   sir?
  20      A. Yes.                                        20      A. Yes.
  21      Q. Okay. Was Jackie Lo a student at PPT?       21      Q. And at some point did you go to the
  22      A. No, he was working there.                   22   Village?
  23      Q. Okay. He was working there?                 23      A. Yes.
  24      A. Yes.                                        24      Q. Sir, when you were at Rue 13, do you
  25      Q. When you started to go to Rue 13, were      25   remember any American visitors coming?


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   1       A. I can say when I was in there, seeing       1      Q. What did she teach?
   2    white people was not that important for me. I     2      A. When we have homework and lessons, she
   3    went there for knowledge.                         3   used to explain us.
   4       Q. Okay. Now, when did you go -- when          4      Q. Do you remember the subject that she
   5    did you start going to the Village, sir?          5   taught?
   6      A. Year 2004.                                   6      A. When you have enough homework and I
   7       Q. Were you happy that you were going to       7   ask her to explain us, and that she used to do
   8    the Village, sir?                                 8   that, and put them on the blackboard.
   9       A. I was not that happy, but I wanted to       9      Q. What was Robinson's job at the
  10    go there.                                        10   Village?
  11       Q. Why did you want to go there, sir?         11          MR. STEWART: Objection.
  12      A. Just to get some knowledge.                 12      A. He used to teach us bible.
  13      Q. And when you went to the Village, did       13   BY MR. KENNEDY:
  14    you sleep at the Village?                        14      Q. He used to teach you religion, sir?
  15       A. No.                                        15      A. Yes.
  16       Q. Did you ever sleep over at the             16      Q. Do you remember any of the American
  17    Village?                                         17   volunteers that were at the Village, sir?
  18       A. At one time I slept in the Village,        18      A. They used to come, but I never stay
  19    was when I was getting my First Communion.       19   close to them because I'm always the kind of guy
  20       Q. And when was that, sir?                    20   stay alone all the time.
  21       A. The Communion?                             21      Q. Well, why would you stay alone all the
  22       Q. Yes.                                       22   time?
  23      A. June 11, 2006.                              23      A. I got that from my father. I'm always
  24       Q. And, sir, did you ever see Doug            24   by myself alone.
  25    Perlitz at the Village?                          25      Q. Do you remember the names of any of


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   1       A. I used to see him, but we never talk.       1   the American volunteers who worked at the
   2       Q. What did you see him doing at the           2   Village?
   3    Village?                                          3      A. No.
   4       A. Yeah, what I used to see him doing is       4      Q. Do you remember if any Americans came
   5    hurrying. When the time comes to go to eat and    5   to visit the Village while you were there?
   6    he went to the kitchen and sit in the kitchen,    6          MR. STEWART: Objection.
   7    and after that go back to his office.             7      A. They used to come, play soccer with
   8       Q. But you never spoke to him privately,       8   the guys, basketball.
   9    sir?                                              9   BY MR. KENNEDY:
  10       A. No.                                        10      Q. Do you remember any of the names of
  11       Q. Do you remember any of the Haitian         11   the Americans that came to visit the Village?
  12    staff that worked at the Village?                12      A. No.
  13       A. Yes.                                       13      Q. Do you know who Nick Preneta is, sir?
  14       Q. And who do you remember, sir?              14      A. No.
  15       A. Talking about teachers or people that      15      Q. Do you know who Jessica Lozier is,
  16    are working there or guardian, people watching   16   sir?
  17    the place?                                       17      A. No.
  18       Q. That's a good point. Why don't we          18      Q. Do you know who Paul Carrier is, sir?
  19    start with the teachers. Which teachers do you   19      A. How?
  20    remember?                                        20      Q. Do you know who Paul Carrier is?
  21       A. Mémé, Patrice, Judex, Master Daniel,       21      A. No.
  22    Master Edrice, Alteon, Madam Familia, Junie,     22      Q. Do you know who Hope Carter is, sir?
  23    Nelta, Robinson.                                 23      A. Huh?
  24       Q. Is that Madam Junie?                       24      Q. Do you know who Hope Carter is?
  25       A. Yes.                                       25      A. No.


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   1      Q. Sir, can you tell me in your own words        1   question.
   2   the first time you claim -- strike that. I'm        2          Sir, do you know, when I use the term
   3   sorry.                                              3   Bel Air, do you know what Bel Air is?
   4          Sir, how many times do you claim             4      A. Bel Air, like kind of a city, kind of
   5   Douglas Perlitz abused you?                         5   village.
   6          MR. STEWART: Objection.                      6      Q. Well, sir, do you know where Douglas
   7      A. Yeah, he put his penis in my bottom.          7   Perlitz lived?
   8   He did force me. I did not agree with that,         8      A. In high Bel Air.
   9   plus God was not agree to that either.              9      Q. And did he live in a house in Bel Air?
  10   BY MR. KENNEDY:                                    10      A. Yes.
  11      Q. Sir, I'm going to give you an                11      Q. Now, I'm trying to understand, did you
  12   opportunity to tell me about the incidents. My     12   go from the Village to Douglas Perlitz's
  13   question was only how many times, and it's a       13   residence at Bel Air?
  14   number, do you claim Douglas Perlitz abused you?   14      A. No, he took me there.
  15      A. Three times.                                 15      Q. Did he drive you there, sir?
  16      Q. Three times?                                 16      A. Yes.
  17      A. Yes.                                         17      Q. Was anybody else in the car with you,
  18      Q. Sir, when was the first time that            18   sir?
  19   Douglas Perlitz abused you?                        19      A. No.
  20      A. The first time we were at the Village,       20      Q. And what had you been doing before you
  21   we went to the Total Chanpen, we went to Bel Air   21   went into the car with Mr. Perlitz?
  22   and we went to the house. And he opened the        22      A. At that time I was sitting down in the
  23   door -- he opened -- he open, and when we went     23   Village somewhere.
  24   in he asked me if I was hot. When he asked me      24      Q. Okay. Were you with anybody?
  25   if I was hot, and I went to the shower, I take     25      A. No.


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   1   off my clothes usually. I usually take shower       1      Q. And at some point did Mr. Perlitz come
   2   naked. And when I was in the shower I saw him       2   up to you?
   3   come in with a towel on. He came to me with a       3      A. Perlitz?
   4   towel on, and he touched my bottom. I was           4      Q. Yes.
   5   upset, and I finish rinsing my body, but I          5      A. He came from his office and he asked
   6   didn't dry my body yet and I got clothed, I wore    6   me to go out with him.
   7   my clothes.                                         7      Q. Had he ever asked you to go out with
   8          And when I finished I went to my uncle       8   him before?
   9   in Bel Air. I did ask him for 5 gourdes. I did      9      A. No.
  10   not explain to him what happened. And I got to     10      Q. And did he tell you why he wanted you
  11   do public transportation to go home. When I got    11   to go out with him?
  12   home I stayed for two minutes, but I did not       12      A. No.
  13   explain my mother what happened.                   13      Q. Did he tell you what you were going to
  14          After that, I went to the Village and       14   be doing?
  15   I went to sit by myself alone, and I didn't        15      A. He didn't tell me what we were going
  16   explain what happened to no one.                   16   to do.
  17      Q. Okay. I'm just going to break it             17      Q. He just simply said "get in the car"?
  18   down, sir, so I can understand.                    18          MR. STEWART: Objection.
  19          Did you drink champagne with                19      A. He said "let's go out," yes.
  20   Mr. Perlitz?                                       20   BY MR. KENNEDY:
  21      A. Champagne, no.                               21      Q. And he said that -- you were at the
  22      Q. Okay. Now, had you ever been to              22   Village when he said this, correct?
  23   Bel Air before, sir?                               23      A. Yes.
  24      A. Before he did that to me in Bel Air?         24      Q. Okay. Before you got to Bel Air, did
  25      Q. Yes, sir. It was an inartful                 25   you go anywhere else with Mr. Perlitz?


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   1       A. We passed a Total Chanpen at                  1   a house built on block. It's not a concrete
   2    Cap-Haïtien.                                        2   house. They don't have concrete on the top.
   3       Q. Total Chanpen, that's the word?               3      Q. Okay. Well, the shower -- let me
   4       A. Total Chanpen. That's a supermarket.          4   start it this way.
   5       Q. You went to a supermarket with                5           When you walked in the house, sir,
   6    Mr. Perlitz?                                        6   where was the shower?
   7       A. Yes.                                          7      A. The shower is in the inside the house
   8       Q. When you were in the car going from           8   on the right-hand.
   9    the Village to the supermarket, did you speak to    9      Q. Okay. Is it on the same floor as the
  10    Mr. Perlitz?                                       10   door that you walked into the house?
  11       A. Yeah, we were talking in the car, and        11      A. When we get into the house like that,
  12    they were "stop being invincible and do your       12   and the shower is on this side, you pass by a
  13    homework to pass your classes."                    13   kitchen.
  14       Q. Were you having trouble at the Village       14      Q. Okay. Did you have to go down any
  15    at this time, sir?                                 15   stairs to get to the shower, sir?
  16           MR. STEWART: Objection.                     16      A. No.
  17       A. That was vacation time.                      17      Q. Okay. Sir, do you know why
  18    BY MR. KENNEDY:                                    18   Mr. Perlitz asked you to take a shower?
  19       Q. Okay. So school was not in session at        19           MR. STEWART: Objection.
  20    that time?                                         20      A. I didn't know why did he ask me to
  21       A. No.                                          21   take a shower, but he did ask me if I was hot, I
  22       Q. And after going to the supermarket,          22   said yes, and simply I went to the shower and to
  23    you went to Bel Air?                               23   take a shower.
  24       A. Yes.                                         24   BY MR. KENNEDY:
  25       Q. Okay. And I believe you indicated            25      Q. Okay. I'm just trying to understand,

                                           Page 103                                                Page 105
   1    when you got to Bel Air, Mr. Perlitz asked you      1   did he ask you if you were hot -- did he simply
   2    to take a shower?                                   2   ask you if you were hot, or did you ask if you
   3       A. Yes.                                          3   could take a shower?
   4       Q. And I'm sorry, had you ever been in           4      A. He did ask me if I was hot. I said
   5    Mr. Perlitz's residence before?                     5   yes.
   6       A. No.                                           6      Q. Okay. Did he ask you if you wanted to
   7       Q. Can you describe Mr. Perlitz's                7   take a shower, sir?
   8    residence?                                          8      A. He did tell me -- he did say to me if
   9       A. In the house there's a small house for        9   I was feeling hot, I said yes, and he said "you
  10    a generator, and a small house in the yard made    10   can go take a shower."
  11    of concrete. Where the barrier to go out in        11      Q. Okay. Had you ever taken a shower at
  12    front of the house they have flowers, there are    12   Bel Air before?
  13    flowers. The house is painted white. There's a     13          MR. STEWART: Objection.
  14    balcony in the front, not on this side but the     14      A. No.
  15    other side.                                        15   BY MR. KENNEDY:
  16       Q. The shower, I'm sorry, the shower in         16      Q. Okay. And what were you wearing at
  17    the house where you took a shower, where was       17   this time, sir?
  18    that in the house?                                 18          MR. STEWART: Objection.
  19       A. The shower is inside the house.              19      A. When I was in the shower?
  20       Q. Which floor -- do you know how many          20   BY MR. KENNEDY:
  21    floors there are in Mr. Perlitz's residence?       21      Q. Before you got in the shower, sir.
  22       A. It's not a house with floors. It's           22      A. I had clothes on when I got into the
  23    not a balcony house.                               23   shower, so I take off my clothes -- took off my
  24       Q. Is the bathroom on the first floor?          24   clothes.
  25       A. It's not the house with stories, it's        25      Q. Okay. The shower, was it in a


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   1   bathroom, sir?                                      1   did he say anything to you, sir?
   2          THE TRANSLATOR: If the shower is in          2      A. He didn't say anything when he got in.
   3   the bathroom? Is the shower in the bathroom?        3   He didn't say anything when he got in the
   4   Can you rephrase the question for me? I don't       4   shower, he simply touched my butt, and I was
   5   see how to interpret it.                            5   upset and I didn't even dry my body, and I got
   6          MR. KENNEDY: I'll try.                       6   dressed and I left.
   7          THE TRANSLATOR: Culturally I'm trying        7      Q. Okay. Did you say anything to him?
   8   to make the point, shower and bathroom is the       8         MR. STEWART: Objection.
   9   same thing in Creole, so that's why I didn't see    9      A. I didn't say anything to him, but I
  10   how to ask what you just said.                     10   was kind of upset.
  11          MR. STEWART: Why don't we take a            11   BY MR. KENNEDY:
  12   break.                                             12      Q. And did you tell anybody afterwards
  13          Do you consider this pending still,         13   what Mr. Perlitz had done?
  14   this question pending?                             14      A. No.
  15          MR. KENNEDY: We'll figure it out.           15      Q. Now, you claim that Mr. Perlitz abused
  16          MR. STEWART: Okay.                          16   you a second time, sir?
  17          THE VIDEOGRAPHER: Going off the             17         MR. STEWART: Objection.
  18   record. The time is 2:27.                          18      A. Yes.
  19          (Whereupon, a recess was taken.)            19   BY MR. KENNEDY:
  20          THE VIDEOGRAPHER: Back on the record.       20      Q. Okay. And how much time had elapsed
  21   The time is 2:39.                                  21   between the first incident you just told me
  22   BY MR. KENNEDY:                                    22   about and the second time that Mr. Perlitz
  23      Q. Sir, was there a door in the room            23   abused you?
  24   where the shower was?                              24      A. I don't remember how long, how much
  25      A. Yes.                                         25   time that had.

                                          Page 107                                                Page 109
   1      Q. Okay. And when you went into the              1      Q. Was it more than a month, sir?
   2   shower, did you close the door behind you?          2      A. It was not a month yet. Like 22 days.
   3      A. I did close the door, but I did not           3      Q. So approximately 22 days after the
   4   lock it.                                            4   first incident, Mr. Perlitz abused you again?
   5      Q. Okay. At some point Mr. Perlitz came          5      A. Yes, the second time.
   6   into the room?                                      6      Q. Sir, can you tell me in your own words
   7      A. In the shower.                                7   from beginning, middle, to end about the second
   8      Q. He came into the shower?                      8   time that Mr. Perlitz abused you?
   9      A. Yes. And while I was in the shower,           9           MR. STEWART: Object to the form.
  10   he came with a towel on, and he touched my butt.   10      A. Yes.
  11      Q. Did he ever take his towel off, sir?         11   BY MR. KENNEDY:
  12      A. He was about to take it off, and I was       12      Q. Please do so, sir.
  13   upset, and I already got dressed.                  13      A. The second time when I was at
  14      Q. Okay. And where did he touch you on          14   St. Marie, we were sitting down and eating, and
  15   your body, sir?                                    15   all the guys got up that finish eating. Usually
  16      A. My butt.                                     16   I took my time to eat, I eat slowly. We were
  17      Q. Okay. Anywhere else, sir?                    17   sitting together, we both were sitting together,
  18      A. He just touched my butt, and I was not       18   and I got up, I went to urinate. And I had left
  19   comfortable with that, and I got dressed, and I    19   a juice on the table. I came back, I finished
  20   went to Bel Air to my uncle house.                 20   the juice, and I told him I'm going to leave
  21      Q. How long did he touch your butt, sir?        21   you, and I went to watch a match, a game.
  22      A. I don't really remember, because that        22           When I started watching the game I
  23   was very hurtful.                                  23   feel my head was spinning, and I went to the bed
  24      Q. Before -- I'm sorry. Strike that.            24   to sleep. When I got there I get inside and I
  25          When Mr. Perlitz came into the shower,      25   locked the door, and I went inside with the key.


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   1   I lay down, I was falling asleep, and I heard       1      A. I did open the door, and he did tell
   2   somebody was knocking at the door. And he said      2   me this key has to stay in the door from
   3   this door, you don't have to lock this door from    3   outside, I don't have to keep this key inside.
   4   inside, the door was to be closed but the key       4      Q. Okay. And so after that, you went to
   5   has to stay from the outside. I fell asleep,        5   sleep, sir?
   6   and he left. After like -- two minutes after, I     6      A. Yeah. After that I lie down, and
   7   felt -- I felt like Douglas was laying on top of    7   after about two minutes like that I lie down,
   8   me, and his penis was in my anus. When I -- I       8   and I felt Mr. Douglas was on top of me.
   9   was laying down, so I tried to turn, and he hold    9      Q. Now, when Douglas left the first time,
  10   me like that and I could not turn. When I turn,    10   did he close the door, sir?
  11   I was very upset, and he got off of me, and he     11      A. Yes, he had the key.
  12   told me if I ever tell somebody that he's going    12      Q. Okay. Can you describe the room for
  13   to kick me out of the Village.                     13   me?
  14      Q. Sir, where did this take place?              14      A. There was only one bed. There was a
  15      A. St. Marie.                                   15   basin, a gallon of water. There was a small
  16      Q. What is St. Marie? What is St. Marie?        16   table and with a little book named New
  17      A. It's a place where nuns live.                17   Testament.
  18      Q. And why you there, sir?                      18      Q. Sir, what time of day did this
  19      A. We were going to have Communion on           19   incident occur at?
  20   Sunday, and he took us there to stay there for     20          MR. STEWART: Objection.
  21   three days.                                        21      A. It was nighttime.
  22      Q. Did other members of the Village go to       22   BY MR. KENNEDY:
  23   St. Marie?                                         23      Q. It was nighttime?
  24           MR. STEWART: Objection.                    24      A. Yes.
  25      A. No, at that time we were 11 about to         25      Q. Now, did you -- when Douglas came back


                                          Page 111                                               Page 113
   1   get our Communion, we went there.                   1   into the room, did you hear the door open?
   2   BY MR. KENNEDY:                                     2      A. I was sleeping. When I woke up I saw
   3      Q. Were you given a key to your room,            3   Douglas was laying down on top of me, and his
   4   sir?                                                4   penis was in my anus.
   5      A. No. They handed me a key, but the key         5      Q. So you were asleep?
   6   was at the door, and they give me a small piece     6      A. Yes.
   7   of paper to write my name in there and place it     7          MR. STEWART: Objection.
   8   by the door when you came in. When you come,        8   BY MR. KENNEDY:
   9   you can see who was in that room.                   9      Q. So --
  10      Q. Now, between the first time that             10      A. When he was laying down on top of me,
  11   Mr. Perlitz abused you and this incident, sir,     11   he was forcing me. I was not agree. And he did
  12   had you spoken to Mr. Perlitz about what           12   tell me if I ever repeat, say that to someone,
  13   happened the first time?                           13   he was going to kick me out of the Village.
  14          MR. STEWART: Objection.                     14      Q. Okay. Did you see Douglas Perlitz
  15      A. No.                                          15   before he came into the room -- I'm sorry, when
  16   BY MR. KENNEDY:                                    16   he came into the room, sir?
  17      Q. I believe you indicated that you             17      A. No, because it was dark.
  18   locked the door and then went inside with the      18      Q. How long did this incident occur, sir?
  19   key, is that correct?                              19      A. I can't even without -- I was so
  20      A. Yes.                                         20   upset, I was so uncomfortable with what
  21      Q. And at some point Mr. Perlitz knocked        21   happened, I don't remember the time. And
  22   on the door?                                       22   sometimes I feel like I'm supposed to be dead.
  23      A. Yes. And he did ask me for the key.          23      Q. Now, sir, were there other students
  24      Q. Okay. And so did you open the door,          24   that were in rooms at St. Marie that night?
  25   sir?                                               25      A. There were other rooms. I was in a


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   1   room by myself. And what he has done was not       1   sir?
   2   normal, and God was not there, agree with me       2          MR. STEWART: Objection.
   3   about what happened.                               3      A. On Sunday.
   4      Q. I just want to be clear, sir. You            4   BY MR. KENNEDY:
   5   remember waking up, and Mr. Perlitz had his        5      Q. Okay. And, sir, I believe you
   6   penis in your anus?                                6   testified that there was a third incident of
   7      A. Yes. Yes. He told me if I ever said          7   abuse -- incidence of abuse. Could you tell me
   8   someone that, "I'm going to kick you out of the    8   about that, sir?
   9   Village." And even God was not agree with what     9      A. We were sitting eating, and I was
  10   happened either.                                  10   about to leave, he grabbed -- he did grab my
  11      Q. When did he tell you that if you ever       11   testicles, my balls, and hurt me.
  12   told anybody he'd kick you out of the Village,    12          THE TRANSLATOR: Excuse me. He said
  13   sir?                                              13   -- there's a last part of the question, he said
  14      A. When he got off of me.                      14   I got lost. Is it to continue for me? There's
  15      Q. Did he say anything else, sir?              15   a last part he just said, I got lost in the
  16      A. No.                                         16   translation.
  17      Q. Did you say anything to him?                17      A. Yes. He grabbed my testicle, and that
  18      A. No.                                         18   hurt me, but I didn't tell him anything. At
  19      Q. When he did this, sir, did you cry          19   that time I was going to urinate.
  20   out?                                              20      Q. How much time had elapsed since the
  21      A. He has -- like that he shut my mouth.       21   second incident of abuse to when this third
  22         MR. STEWART: Indicating his arm             22   incident occurred, sir?
  23   around his mouth.                                 23      A. It is same day as the second time we
  24      A. Yes.                                        24   were sitting together eating.
  25   BY MR. KENNEDY:                                   25      Q. So this occurred on the same day?


                                         Page 115                                                Page 117
   1       Q. Mr. Perlitz put his arm around your         1      A. Yes. We were sitting together eating,
   2    mouth?                                            2   and I got up, he grabbed my testicles, my balls,
   3       A. Like that, and he was forcing on my         3   and that was -- that hurt me, and I got up and I
   4    head, pushing my head.                            4   left.
   5       Q. And after this incident occurred, sir,      5      Q. And this was after -- this incident
   6    did you tell anybody?                             6   occurred after Mr. Perlitz had put his penis in
   7       A. No.                                         7   your anus?
   8       Q. And what did you do after this              8      A. That's happened before.
   9    incident, sir?                                    9      Q. Did this incident occur -- so this
  10           MR. STEWART: Objection.                   10   incident -- so this incident occurred before the
  11       A. That made me very sad. And after that      11   incident at St. Marie's?
  12    when I was riding the motorcycle and I was       12      A. Yes, the same place, St. Marie.
  13    thinking about that, I rear-ended cars           13      Q. The incident where Perlitz grabbed
  14    sometimes.                                       14   your testicles, did this occur the day before he
  15    BY MR. KENNEDY:                                  15   came into your room, sir?
  16       Q. Did you have to receive any medical        16      A. Yes.
  17    treatment, sir, because of that incident?        17      Q. Were you sitting with anybody at the
  18       A. I did not go to the hospital because I     18   time that Mr. Perlitz did this?
  19    didn't have the means to do so. And I was so     19      A. No.
  20    sad, sometimes I did not even want to go         20      Q. Did Mr. Perlitz, did he grab your
  21    outside.                                         21   testicles over your clothes or under your
  22       Q. Sir, did you stay in that room that        22   clothes?
  23    night?                                           23          MR. STEWART: Objection.
  24       A. Yes, I stayed there until dawn.            24      A. When I was leaving I had a T-shirt on.
  25       Q. And did you go back to the Village,        25          MR. PIERRE-LOUIS: Shorts.


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   1       A. I had shorts on and he did grab it,           1      Q. Have you ever spoken to Madame Carter?
   2    grab them.                                          2      A. No, because I'm always alone.
   3    BY MR. KENNEDY:                                     3      Q. How many times did you see Madame
   4       Q. Okay. So he grabbed you over your             4   Carter at the Village?
   5    shorts, sir?                                        5      A. I can't say -- I cannot say how many
   6       A. Yes, when I was leaving.                      6   times, but when she comes to the Village I
   7       Q. Okay. And I apologize, I'm not sure           7   usually see her.
   8    if I asked this, but were you sitting alone at      8      Q. When she came to the Village, what did
   9    this time, sir?                                     9   you see her do?
  10            MR. STEWART: Objection.                    10      A. That's a person I can say she always
  11       A. Yeah. We weren't alone together, and         11   standing on the side watching the game, soccer.
  12    the other guys that were eating there left, and    12      Q. Were you ever introduced to Madame
  13    we were both of us alone.                          13   Carter?
  14    BY MR. KENNEDY:                                    14      A. I would never spoke -- I can say I
  15       Q. So before the others had left, were          15   never spoke with her, because she always had a
  16    you sitting at a table eating with Douglas         16   mean face.
  17    Perlitz?                                           17      Q. She always had a mean face?
  18       A. Yes.                                         18      A. Yes.
  19       Q. And there were other -- before they          19      Q. Can you describe Madame Carter for me
  20    left, there were other people also sitting         20   physically?
  21    eating with Douglas Perlitz?                       21      A. Madame Carter is a white lady, white
  22            MR. STEWART: Objection.                    22   woman, always like that, her leg has always some
  23       A. Me and him, we were the last one.            23   veins. Trying to say bushy, when somebody can't
  24    BY MR. KENNEDY:                                    24   stand up straight, kind of bending like that.
  25       Q. Right. But before -- I realize that.         25      Q. Did Madame Carter ever give you any


                                           Page 119                                                Page 121
   1    Before those people -- before they left, who was    1   gifts?
   2    sitting with you, sir?                              2      A. She used to give Mr. Douglas gift to
   3       A. Douglas.                                      3   give us, to give to us yearly.
   4       Q. Were there any other students also            4      Q. And what were those gifts, sir?
   5    sitting with you?                                   5      A. Sneakers, a Christmas bag, little
   6       A. They got up and left, and they left me        6   flashlight, socks, and a couple of candies.
   7    alone with Mr. Douglas.                             7      Q. Were you ever present when Douglas
   8       Q. Who were these people that got up and         8   Perlitz introduced Madame Carter to a group of
   9    left, their names?                                  9   students?
  10       A. I don't recall the name of all of            10      A. I may have been present, but sometimes
  11    them, but I can give you some.                     11   I'm always on the side by myself.
  12       Q. Thank you. Please do.                        12      Q. Sir, what is your understanding of the
  13       A. Guisman, Joseph, Philemon, Emmanuel,         13   word "chief"?
  14    Robens, Wilno, Papouche.                           14      A. I don't know.
  15       Q. Were all of these people making their        15      Q. Have you ever used that word before,
  16    First Communion, sir?                              16   sir?
  17            MR. STEWART: Objection.                    17      A. No.
  18       A. Yes.                                         18      Q. Sir, prior to the incidents of abuse
  19    BY MR. KENNEDY:                                    19   by Mr. Perlitz that you told me about, had you
  20       Q. Okay. Sir, do you know who Madame            20   heard any rumors about Mr. Perlitz acting
  21    Carter is?                                         21   inappropriately with any other students?
  22       A. Yes.                                         22      A. That I know of, I don't know things
  23       Q. How do you know Madame Carter?               23   like that, because I'm always apart.
  24       A. Because she used to come in the              24      Q. Sir, did you have any close friends at
  25    Village.                                           25   the Village?


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   1     A. You're talking about friends when I            1   treatment because of what Mr. Perlitz did to
   2   was in the Village?                                 2   you?
   3     Q. Yes, sir.                                      3      A. I didn't go to the hospital because I
   4     A. I had only one friend, Guisman, when           4   didn't have the means to.
   5   we were in the Village. Now we're not friends       5      Q. Were you injured, sir?
   6   anymore, now we're not close to each other.         6      A. When he inserted his penis in my anus,
   7     Q. What's Guisman's last name, sir?               7   I was not then, but that he was hurting me. And
   8     A. I don't know the family last surname.          8   sometimes when I'm riding the motorcycle I was
   9     Q. Do you know if Guisman has brought a           9   very uncomfortable sitting on the motorcycle.
  10   lawsuit, sir?                                      10          THE TRANSLATOR: And then, what was
  11         THE TRANSLATOR: Say it again.                11   the last sentence?
  12     Q. Do you know if Guisman has brought a          12      A. I was uncomfortable sitting on the
  13   lawsuit, sir?                                      13   motorcycle because of the pain, I couldn't
  14     A. We don't hang out together.                   14   finish a day of work because of that.
  15     Q. You mentioned Mathieu earlier today.          15      Q. When was the last time you were unable
  16   Do you know if Mathieu had previously brought a    16   to finish a day of work because you felt
  17   lawsuit, sir?                                      17   uncomfortable?
  18         MR. STEWART: Objection.                      18      A. Almost every day I was feeling
  19     A. No.                                           19   uncomfortable. I used to call other friends to
  20   BY MR. KENNEDY:                                    20   finish the day off work for me, give them the
  21     Q. No, you don't know, sir?                      21   motorcycle.
  22     A. I don't know.                                 22      Q. Does that still happen to today, sir?
  23     Q. Sir, can you tell me in your own words        23      A. You're talking about when I'm sitting
  24   what damages that you're claiming as a result of   24   a lot?
  25   Mr. Perlitz's conduct?                             25      Q. Yes. I'm just trying to understand,


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   1          MR. STEWART: Objection.                      1   sir, currently are you able to -- are you unable
   2      A. Can you rephrase that question for me?        2   to finish a day of work because you feel
   3   BY MR. KENNEDY:                                     3   uncomfortable?
   4      Q. Sure. How about this.                         4      A. Yes.
   5          Sir, can you tell me in your own words       5      Q. Okay. And how often does that happen,
   6   how Mr. Perlitz's conduct has affected your         6   sir?
   7   life?                                               7      A. Yes, when I'm riding the motorcycle
   8      A. He did insert his penis in my anus, I         8   that's happened often.
   9   was not agree with that, and that was very          9      Q. Okay. And that still happens to
  10   hurtful to me, and even God was not agree with     10   today?
  11   that. Sometimes I feel like sad, and I don't       11      A. For that moment I do not sit down on
  12   feel normal because of that. Sometimes I feel      12   the motorcycle, I don't feel it.
  13   like -- I feel like I have to be dead. I was so    13      Q. Okay. When is the last time that you
  14   hurtful thinking about that, and I used to be      14   had to stop working because you felt
  15   very sad sitting by myself. And when I used to     15   uncomfortable, sir?
  16   ride the motorcycle, I was thinking about that     16          MR. STEWART: Objection.
  17   so much, and I rear-ended car. And sometimes I     17          You can answer.
  18   said let me get myself together and I have to go   18      A. Before I came for the deposition and
  19   back home.                                         19   last Monday I was feeling uncomfortable, because
  20      Q. Anything else, sir?                          20   of the sun I was feeling drowsy.
  21      A. Yes. I was uncomfortable thinking            21   BY MR. KENNEDY:
  22   about that a lot, and I said let me stop           22      Q. You were uncomfortable because you
  23   thinking about it because I don't want anything    23   were drowsy, sir?
  24   bad to happen to me again.                         24      A. Yes, and I went to lie down.
  25      Q. Sir, did you receive any medical             25      Q. Okay. Well, I'm trying to understand,


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   1    are you claiming that you're uncomfortable in       1         MR. STEWART: Objection.
   2    your buttocks?                                      2      A. I was going to Justinien Hospital.
   3           MR. STEWART: Objection.                      3   That's a hospital in Cap-Haïtien.
   4       A. I used to feel uncomfortable because          4         THE TRANSLATOR: By the way, just -- I
   5    of the pain in my buttocks, and I feel sometimes    5   just want to comment from the interpreter, I'm
   6    uncomfortable, too, because Mr. Douglas has         6   from the northern part of Haiti, so I went to
   7    abused me.                                          7   school there, so I know the area very well.
   8           MR. STEWART: The uncomfortable               8   BY MR. KENNEDY:
   9    because of the sun, that was here when he got       9      Q. Sir, do you feel that some body part
  10    sick and had to go to his room. He got             10   of yours that you needed treatment for?
  11    overheated. I don't think that has anything to     11      A. The body part I wanted to receive
  12    do with why we're here. I think he was just        12   treatment for, when I used to have the
  13    saying the last time he got uncomfortable and      13   stomachache and where I receive the punch.
  14    got sick was Monday, and that's because he got     14      Q. When were you punched, sir?
  15    too hot.                                           15         MR. STEWART: Objection.
  16           MR. KENNEDY: Okay.                          16   BY MR. KENNEDY:
  17           MR. STEWART: We're not claiming             17      Q. I apologize, sir. Is that what you
  18    Monday's dehydration for whatever was --           18   told me about earlier today about the incident
  19           MR. KENNEDY: Thank you for the              19   where you were hit with your eye?
  20    clarification.                                     20      A. Yes. When I receive a punch in my
  21           MR. STEWART: I can see chasing that         21   eyes, because the two robbers wanted to take the
  22    rabbit for quite a while, and it's not -- okay.    22   car away from me, I give one -- I hit one with
  23    You're doing fine.                                 23   the buckle of my belt, and the other one I was
  24           MR. KENNEDY: Does he need a break?          24   not expecting him coming, and he did punch me in
  25       A. I feel hot.                                  25   my eyes.


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   1          MR. KENNEDY: Okay. We'll get you              1      Q. Sir, have you ever been arrested?
   2   some water.                                          2      A. I got arrested because my mother got
   3          THE VIDEOGRAPHER: Going off the               3   in fight with someone, and they couldn't find my
   4   record. The time is 3:25.                            4   mother so they arrest me in her place.
   5          (Whereupon, a recess was taken.)              5      Q. So it wasn't because you got in a
   6          THE VIDEOGRAPHER: Back on the record.         6   fight, it was because your mom got in a fight?
   7   The time is 3:39.                                    7      A. Yes.
   8   BY MR. KENNEDY:                                      8      Q. Did you spend time in jail for that?
   9      Q. Sir, I know I asked you about the              9      A. Yeah. I didn't know when my mom got
  10   hospital, but have you gone to any medical -- I     10   into the fight. And I was at home cooking, and
  11   apologize, any doctor for any injury that you       11   somebody knocked on the door, and they asked me
  12   claim you suffered from Douglas Perlitz?            12   where's my mother, I said she was not there, and
  13      A. I used to go to the hospital, because         13   they did arrest me in her place.
  14   since I was a child I used to have a                14      Q. How long were you in jail, sir?
  15   stomachache, and for the heat I receive in my       15      A. I did not stay for a long time. I did
  16   eyes.                                               16   not sleep over.
  17      Q. So my question is, though, did you            17      Q. Okay. Sir, are you claiming that you
  18   have to go to the doctor because of what Doug       18   lost confidence because of what Doug Perlitz did
  19   Perlitz did to you?                                 19   to you?
  20      A. I didn't have the means to go.                20      A. Yes.
  21      Q. Did you think that you needed to go to        21      Q. Explain that to me, if you could, sir.
  22   the doctor?                                         22      A. Sometimes I feel sad, I feel
  23      A. Yes, if I had the means I would go.           23   uncomfortable. Sometimes I feel so unease and
  24      Q. What type of doctor would you want to         24   uncomfortable, I didn't even want to get off the
  25   go to, sir?                                         25   street.


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   1      Q. Sir, so I'm clear, you never lived on         1      A. I don't trust people very much. And
   2   the street, did you, sir?                           2   sometimes when they see you they're going to say
   3          MR. STEWART: Objection.                      3   "here are Douglas faggots." And sometimes when
   4          You can answer. It's okay.                   4   I'm riding the motorcycle I don't even finish my
   5      A. I haven't living on the street there,         5   shift working, I just decide to go home
   6   but because you ride on the motorcycle and you      6   sometimes.
   7   are in the street all the time, so when you got     7      Q. Sir, did you have trouble trusting
   8   home that's when you feel like you're home.         8   people before Mr. Perlitz abused you?
   9   BY MR. KENNEDY:                                     9           MR. STEWART: Objection.
  10      Q. Okay. Now, sir, are you also claiming        10      A. I believe in people, but after the
  11   that every time you're on the street people make   11   abuse, I don't believe in people anymore.
  12   fun of you?                                        12   BY MR. KENNEDY:
  13      A. Yes.                                         13      Q. Do you have any issues with
  14      Q. Explain that to me, sir.                     14   nightmares, sir?
  15      A. Sometimes I'm walking around and some        15      A. Yes, sometimes I have bad nightmares
  16   people are saying "here are Douglas faggots."      16   because of what did happen to me. Sometimes I
  17   And I used to be upset and uncomfortable, and I    17   pray God for that not to get me anymore.
  18   want to go home and stay home, and I don't want    18           THE TRANSLATOR: Excuse me, I got lost
  19   to get up anymore.                                 19   in the last -- couple of words of the last part.
  20      Q. You used the term that you used to be        20      A. And sometimes I'm sleepless because of
  21   upset and uncomfortable. Are you no longer         21   that, I didn't sleep well.
  22   upset and uncomfortable, sir?                      22      Q. How often do you have nightmares, sir?
  23          MR. STEWART: Objection.                     23      A. I don't know.
  24      A. Where they used to tease me, I don't         24      Q. Sir, did you ever think that you
  25   pas by anymore.                                    25   wanted to be dead, sir?


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   1   BY MR. KENNEDY:                                     1       A. Yes.
   2      Q. So you're able to avoid the teasing,          2       Q. Why is that, sir?
   3   sir?                                                3       A. Because of what Douglas did to me.
   4         MR. STEWART: Objection.                       4       Q. Okay. Have you gone to any -- have
   5      A. Yes.                                          5    you gone to any doctors because of your
   6   BY MR. KENNEDY:                                     6    nightmares?
   7      Q. Do you know the people that said these        7       A. No. I didn't have the means, the way
   8   things to you, sir?                                 8    to do so.
   9      A. I don't know them. I don't recognize          9       Q. Do you know what a psychologist is,
  10   them.                                              10    sir?
  11      Q. Okay. Do you know how they know about        11            MR. STEWART: Objection.
  12   what Mr. Perlitz did to you?                       12            It's okay.
  13         MR. STEWART: Objection.                      13       A. No.
  14      A. I don't know how they find out.              14    BY MR. KENNEDY:
  15   BY MR. KENNEDY:                                    15       Q. Sir, when did you leave the Village?
  16      Q. Sir, do you know if Gesner Lecenat was       16       A. I don't remember.
  17   in your -- was receiving his Communion the same    17       Q. Was the Village still open when you
  18   time you were receiving your Communion?            18    left?
  19      A. I don't know if I got my Communion           19       A. Yeah, when I left it was still open.
  20   before those guys.                                 20    And when I left I used -- I still used to go to
  21      Q. You got your First Communion in 2006,        21    -- I still used to go to the trade school, but I
  22   correct?                                           22    didn't go to school per say, didn't go to class
  23      A. June 11th.                                   23    per se.
  24      Q. Sir, do you also claim that you have         24       Q. Was the trade school -- what was the
  25   trouble trusting people now?                       25    name of the trade school, sir?


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   1       A. Welder. Welding.                              1      Q. Did you ask Robinson if you could go
   2       Q. Did you learn to weld at the Village,         2   to Kids Alive?
   3    sir?                                                3      A. I did ask him, and he was taking out
   4       A. Yes.                                          4   pictures and he take photographs of us. Not
   5       Q. Who taught you that, sir?                     5   even do I have the photographs taken, I did not
   6       A. Master mechanics.                             6   go. When they gave me -- they assign me a
   7       Q. What was your reason for leaving the          7   badge, and I was going to work, as I was going
   8    Village?                                            8   to work at Labadie, I lost the -- I lost the ID
   9       A. Because when I was assisting class I          9   badge with the pants, so I couldn't go back to
  10    couldn't get -- I couldn't have good grades.       10   work.
  11    They switched me to the trading school to learn,   11      Q. Were you actually issued an ID badge
  12    to learn the manual profession.                    12   for Kids Alive?
  13       Q. Were you unhappy that you were going         13      A. Yeah. I had the badge, but each time
  14    to learn a manual profession?                      14   I went to receive food, I have a food, Robinson,
  15       A. Yes, I was happy because I wanted to         15   then he told me I don't have to come back.
  16    learn a manual profession to help myself in the    16      Q. Did you not get along with Robinson?
  17    future.                                            17      A. No.
  18       Q. Okay. I'm just trying to understand          18      Q. No, you did not get along with
  19    the reason for leaving the Village.                19   Robinson, or you did get along with Robinson?
  20       A. Because I couldn't have good grades.         20      A. No, me and him didn't get along.
  21       Q. Okay. Because you were having trouble        21      Q. Do you know why you didn't get along?
  22    with grades, sir?                                  22         MR. STEWART: Objection.
  23       A. Yes.                                         23      A. That I don't know, because I'm kind of
  24       Q. Did anyone -- strike that.                   24   a guy always apart.
  25           Did Doug Perlitz tell you you had to        25   BY MR. KENNEDY:

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   1    leave the Village at any time?                      1     Q. Sir, are you still in contact with any
   2       A. Because I couldn't have good grades?          2   PPT students that you went to school with?
   3       Q. Exactly. Did he tell you you had to           3         MR. STEWART: Objection.
   4    leave because you didn't have good grades?          4   BY MR. KENNEDY:
   5       A. Yes, he did say that I had to leave           5     Q. Besides your brother.
   6    because I couldn't have good grades, but I still    6     A. No. Some of them don't live somewhere
   7    can come for the manual profession.                 7   near me, I don't know where they live, and I
   8       Q. Okay. So you could -- okay. So he             8   never look for them.
   9    indicated that you could still come to the          9     Q. Do you have a Facebook page, sir?
  10    Village to learn to weld?                          10      A. No.
  11       A. Yes.                                         11     Q. Do you have an e-mail, sir?
  12       Q. And how long did you take classes to         12      A. No.
  13    learn to weld at the Village?                      13     Q. Did the Haitian Police ever interview
  14       A. I was going to have my diploma in one        14   you concerning your claims about Mr. Perlitz's
  15    year, but because the Village was closed I         15   abuse?
  16    didn't have time to get the diploma, but I don't   16         MR. STEWART: Objection.
  17    know how long exactly.                             17      A. No.
  18       Q. Have you ever heard of a program             18   BY MR. KENNEDY:
  19    called Kids Alive?                                 19     Q. Did you ever go to the police and tell
  20       A. Yes.                                         20   them what happened?
  21       Q. Did you attend that program, sir?            21     A. I'm not like friendly with police.
  22       A. No.                                          22     Q. Sir, did the -- did anyone from the
  23       Q. Why not?                                     23   United States Government ever interview you
  24       A. Robinson didn't want to let me go, put       24   concerning your claims about Mr. Perlitz's
  25    me there.                                          25   abuse?


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   1      A. You're talking about people from the          1   servants, representatives, or employees of any
   2   government coming from United States to go to       2   of the Defendants, concerning the matters
   3   Cap-Haïtien to talk to me?                          3   alleged in your most recent complaint."
   4      Q. Yes, sir.                                     4          And your answer is, sir, "I spoke to
   5      A. Except some people who came to the            5   Perlitz about the matters alleged in the
   6   hotel, a hotel in Cap-Haïtien called Henry          6   complaint while he was still in Haiti. I am not
   7   Christophe Hotel and that came to interview,        7   aware of any communication with the other
   8   they came to interview us, but I didn't stay, I     8   Defendants."
   9   got my motorcycle and left.                         9          My question is, sir, when did you
  10      Q. And were these people from the United        10   speak to Mr. Perlitz in Haiti about the
  11   States Government, sir?                            11   allegations in your complaint?
  12      A. Yes.                                         12          MR. STEWART: Objection.
  13      Q. Do you know anybody else who went to         13      A. You're talking about what you just
  14   that, who was at the hotel, sir, any other PPT     14   read, are you asking me the question about it?
  15   student?                                           15   BY MR. KENNEDY:
  16      A. I came -- I went, and I turned around        16      Q. Yes, I'm asking you to explain to me
  17   and left. I didn't know if other students went.    17   when it is that you spoke to Mr. Perlitz about
  18      Q. How did you know to go to the hotel,         18   the allegations in your complaint, sir.
  19   sir?                                               19          MR. STEWART: Objection.
  20      A. Yeah, that it call some guys to let          20      A. I did not speak with him.
  21   them know about the meeting, and they called me    21   BY MR. KENNEDY:
  22   to let me know if I was going to the meeting.      22      Q. Sir, I'm going to also -- I'm going to
  23   And the person who was supposed to be present at   23   ask you a question about Interrogatory Number
  24   the meeting, the person who was mostly concerned   24   57. And same thing, I'm going to read the
  25   about what was going to happen, and the meeting    25   question and your answer, sir. And the question

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   1   was not there, so I left, I did not stay.           1   is, "Please state any and all facts that the
   2      Q. Do you know who this person who was           2   Plaintiff claims supports his claim of a
   3   mostly concerned was, sir?                          3   fiduciary relationship with Hope Carter."
   4      A. Do I know the person who is supposed          4          Your answer, sir, is, "I personally
   5   to be there?                                        5   know nothing about this matter, but believe my
   6      Q. Yes, sir.                                     6   attorneys have made allegations concerning it.
   7      A. My lawyer.                                    7   Plaintiff reserves the right to supplement this
   8      Q. Okay. I don't want to know any                8   answer to the extent that he recalls or becomes
   9   conversations with your lawyer.                     9   aware of additional facts supporting this
  10          Was Cyrus at that meeting, sir?             10   claim."
  11      A. No.                                          11          And, sir, my question is, can you
  12      Q. Do you know an individual named Paul         12   explain your answer to me?
  13   Kendrick?                                          13          MR. STEWART: I object.
  14      A. No.                                          14          To the extent that it seeks
  15      Q. Sir, I just want to -- I'm almost            15   conversations with his attorneys, I'm
  16   done -- I just want to go back to Exhibit          16   instructing him not to answer those parts. If
  17   Number 2, your answers to the Defendants'          17   he has additional information unrelated to
  18   questions. Number 41. I'm going to read to you     18   conversations that he has had with his
  19   the question, and then I'm going to read your      19   attorneys, he can tell you about that.
  20   answer, and then I'm just going to ask you a       20      A. Okay.
  21   question about that.                               21          MR. STEWART: You can tell him
  22          Sir, I'm looking at Interrogatory           22   anything that's not related to what we talked
  23   Number 41. The question is "Please identify all    23   about. And I object for other reasons.
  24   communications you had with any of the             24   BY MR. KENNEDY:
  25   Defendants, or those you believe to be agents,     25      Q. Can you answer it, sir?


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   1      A. If I can answer, so the question I           1   The time is 4:29.
   2   have to ask you, my lawyer just told me do not     2   BY MR. CERRETA:
   3   answer your question.                              3      Q. Good afternoon, Mr. Lecenat, I just
   4          MR. STEWART: What he wants to know          4   have a few questions for you. Excuse me,
   5   from you -- if I may --                            5   still -- my mind is still on yesterday.
   6          MR. KENNEDY: Yes.                           6           Mr. Jean Pierre, I just have a few
   7          MR. STEWART: What he wants to know          7   questions for you.
   8   from you is aside from any conversations you've    8           I believe you testified earlier today
   9   had with your lawyers, Mitch, me, Ellyn, Lui,      9   that you spent some time at a retreat at a place
  10   any of your attorneys, do you know anything       10   called St. Marie's, is that right?
  11   about Madame Carter, Hope Carter, her fiduciary   11      A. Stella Marie.
  12   relationship with the Plaintiff.                  12      Q. Is that a place where nuns stay?
  13          Right?                                     13      A. Yes.
  14          MR. KENNEDY: That's close.                 14      Q. How long was that retreat?
  15          MR. STEWART: Then I can't do any           15      A. Three days.
  16   better, because that's what I understood.         16      Q. Was that part of your preparation for
  17          Do you know anything about Douglas         17   your First Holy Communion?
  18   Perlitz's financial or fiduciary or --            18      A. Yes.
  19          MR. KENNEDY: It had nothing to do          19      Q. Are you familiar with a place called
  20   with Douglas Perlitz. That wasn't the question.   20   Rival?
  21          MR. STEWART: You want to know what         21      A. Yeah, that's where the nuns live.
  22   PPT -- now I'm confused.                          22      Q. Is Rival a section of Haiti?
  23          MR. KENNEDY: I'm just asking if he         23      A. Yes. Rival is its zone, it's a place
  24   can explain his answer to me about personally     24   where everybody go there, yeah, in Haiti.
  25   knowing.                                          25      Q. Is the St. Marie's convent in the

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   1          MR. STEWART: Do you know anything           1   Rival section?
   2   other than what your attorneys have told you?      2      A. Yes.
   3      A. I don't know if something is I have          3      Q. Do you know Madam Junie?
   4   talked to you about. But what I know about         4      A. Yes.
   5   Madame Carter, yes, I can tell you something       5      Q. Was Madam Junie involved in your
   6   about Madame Carter, Mrs. Carter.                  6   preparation for your First Communion?
   7   BY MR. KENNEDY:                                    7      A. Yes.
   8      Q. And what is that that you can tell me?       8      Q. Was Madam Junie at the retreat at
   9      A. Madame Carter is an old lady, always         9   St. Marie's?
  10   have her pants on very high under heart. She      10      A. Yes.
  11   always have a small bag in front of her, always   11      Q. Was Gesner Lecenat at the retreat at
  12   wearing sneakers, looking Chinese. That's how     12   St. Marie's?
  13   they call that sneakers in Haiti. She was kind    13      A. I don't remember if he was with me,
  14   of -- indicate before bending, I just do the      14   because we were not at the same place.
  15   gesture.                                          15      Q. What do you mean when you said that
  16          MR. KENNEDY: I have nothing further.       16   you weren't at the same place?
  17   Thank you very much for your time.                17      A. I don't know if he was at the First
  18      A. So I can go to unit? Because I feel         18   Communion with me.
  19   like I need to use the bathroom.                  19      Q. How about Geffrard Lecenat, was he at
  20          MR. STEWART: We'll come back and           20   this retreat at St. Marie's?
  21   we'll have some more questions.                   21          MR. STEWART: Objection.
  22          THE VIDEOGRAPHER: Going off the            22      A. Yes.
  23   record. The time is 4:18.                         23   BY MR. CERRETA:
  24          (Whereupon, a recess was taken.)           24      Q. He was?
  25          THE VIDEOGRAPHER: Back on the record.      25      A. Yes.


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   1      Q. When did you make your First Holy             1   with Master Robinson?
   2   Communion?                                          2       A. What do you mean "disagreement"? Can
   3      A. June 11, 2006.                                3   you break it down for me?
   4      Q. How long before your First Holy               4       Q. Sure.
   5   Communion was this retreat at St. Marie's?          5           Did you and Master Robinson ever get
   6      A. It wasn't a long time. Friday we went         6   into a verbal dispute?
   7   to the retreat, and Sunday is the Communion.        7       A. No, we never got into a discussion.
   8      Q. You testified earlier today that you          8   It's just because I wasn't having good grades in
   9   were arrested once, is that right?                  9   school, we were not getting along just because
  10          MR. STEWART: Objection.                     10   of that.
  11      A. Yes.                                         11       Q. Was it that he wasn't happy with you
  12   BY MR. CERRETA:                                    12   because of your academic performance?
  13      Q. How old were you when you were               13       A. Yes.
  14   arrested?                                          14       Q. Did you have any problem with Master
  15      A. I was little at that time. I did not         15   Robinson?
  16   remember my age.                                   16           MR. STEWART: Objection.
  17      Q. Do you think you were younger than           17       A. No.
  18   ten?                                               18           MR. CERRETA: Okay. That's all I
  19          MR. STEWART: Objection.                     19   have. Thank you very much.
  20      A. At that time I was a little kid, and I       20           THE TRANSLATOR: He's wondering, the
  21   was working in canoes just to get some money to    21   way you're carrying all those papers, you have
  22   eat.                                               22   50,000 questions to ask him.
  23   BY MR. CERRETA:                                    23   BY MR. FOLKMAN:
  24      Q. When you were arrested, you hadn't           24       Q. Don't worry, don't mean to scare you
  25   done anything wrong?                               25   with the papers, sir. They're just for me, not


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   1      A. No.                                           1   for you, okay?
   2      Q. I believe -- am I right that your             2     A. Okay.
   3   arrest related to an incident that involved your    3     Q. Sir, I'm the lawyer for Paul Carrier.
   4   mother?                                             4   Paul Carrier is sometimes also called Pere Paul.
   5      A. Yes, that was not me. My mother               5          Now, you said earlier that you didn't
   6   fought with somebody.                               6   know who Paul Carrier was, but do you know who
   7      Q. Did they just want to ask you some            7   Pere Paul is?
   8   questions about that?                               8     A. Yes, I know who is Pere Paul.
   9          MR. STEWART: Objection.                      9     Q. And have you ever met Pere Paul?
  10      A. No, they didn't ask me any question.         10     A. Yeah, me and him, just like when he
  11   While I was cooking I had somebody knock at the    11   came from abroad from the States and he went
  12   door, and when I went to the door they asked me    12   there to play football and basketball with a
  13   for my mother, and I said my mother was not        13   group down there.
  14   there. When I asked them why they asking for       14     Q. Where did you meet him?
  15   her, they said she got into a fight with           15     A. In the Village.
  16   someone. They told me "did you know your mom       16     Q. Did you ever meet him anywhere other
  17   got into a fight with someone?" I said "I was      17   than the Village?
  18   not there, I don't know." They told me as they     18     A. No, only in the Village.
  19   couldn't find my mother, they were going to take   19     Q. How many times did you see him in the
  20   me in her place.                                   20   Village?
  21   BY MR. CERRETA:                                    21     A. In the Village I used to see him
  22      Q. Okay. Did you testify earlier that           22   several times, but we never spoke because I was
  23   you and Master Robinson didn't get along?          23   kind of usually apart.
  24      A. Yes.                                         24          MR. STEWART: Can I ask you request
  25      Q. Did you ever get in any disagreements        25   question? I beg your pardon for interrupting,


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   1    but it says that he came from a boat from the      1      Q. And was Father Carrier the priest who
   2    States.                                            2   was celebrating the Mass?
   3           MR. FOLKMAN: I think he said abroad.        3      A. When you keep saying Priest Carrier,
   4    That's what I heard.                               4   say Pere Paul.
   5           MR. STEWART: I beg your pardon. I           5      Q. Okay. I'll try to remember. And I
   6    know this is a rough, I want to make sure. My      6   appreciate you saying that because I want to
   7    apologies to all.                                  7   make sure you understand my questions.
   8    BY MR. FOLKMAN:                                    8          So the question is, when you went and
   9       Q. Did you ever see Paul Carrier speaking       9   heard a Mass at the chapel at the Village, was
  10    to other people?                                  10   Pere Paul the priest who was celebrating the
  11       A. Pere Paul?                                  11   Mass?
  12       Q. Yes.                                        12      A. Inside the chapel?
  13       A. Yeah, the person he used to talk to is      13      Q. Yes.
  14    Mrs. Carter.                                      14      A. Yes.
  15       Q. Were they speaking in English?              15      Q. In what language was he speaking?
  16       A. I don't speak English, and I don't          16      A. I used to speak English, and Douglas
  17    know what they used to talk about, and I never    17   was the translator for us.
  18    stand up, stay close to them.                     18      Q. Okay. Aside from seeing him speak
  19       Q. It's fair to say you never heard him        19   with Madame Carter and with Doug Perlitz, and
  20    say anything to anybody, and if you did you       20   aside from seeing him at Mass at the chapel or
  21    didn't understand it?                             21   at your First Communion, did you ever see Father
  22           MR. STEWART: Objection.                    22   Carrier at any other time? Excuse me, Pere
  23       A. I didn't hear, and I did not                23   Paul.
  24    understand.                                       24      A. No.
  25    BY MR. FOLKMAN:                                   25      Q. Did Mr. Perlitz ever tell you anything


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   1      Q. Aside from Madame Carter, did you ever        1   about Pere Paul?
   2   see Pere Paul speaking with anybody else?           2      A. He never tell me -- told me anything
   3      A. He used to talk to Madame Carter and          3   because I never stood up in the presence when
   4   Douglas, and they used to bow their head and        4   they're talking.
   5   talking, but I never heard what they say because    5      Q. Did Mr. Perlitz ever tell the group of
   6   I don't speak, and I don't stand.                   6   students anything about Pere Paul?
   7      Q. Apart from Doug Perlitz and Madame            7          MR. STEWART: Objection.
   8   Carter, did you ever see Pere Paul speaking with    8      A. I don't know.
   9   anybody else?                                       9   BY MR. FOLKMAN:
  10      A. I don't know.                                10      Q. I want to ask you to look, please, in
  11      Q. When you made your First Communion,          11   Exhibit 2, which is the answers to questions
  12   was Pere Paul in the church?                       12   that you gave, and I'd like to look at Number 48
  13      A. Yes.                                         13   with you. So the question we asked was, "If you
  14      Q. Was he the priest who was                    14   contend that Father Carrier" -- that is Pere
  15   administering the sacrament?                       15   Paul -- "had a sexual relationship with any
  16      A. No.                                          16   person from 1987 to the present, state the basis
  17      Q. Was it a Haitian priest?                     17   for your contention."
  18      A. Yes.                                         18          And the first part of your answer
  19      Q. Did you ever attend the chapel at the        19   says, "I heard about Pere Paul and Douglas from
  20   Village?                                           20   other people after Douglas left Haiti."
  21      A. Yes.                                         21          So my first question for you is, who
  22      Q. Was Father Carrier ever the priest who       22   told you something about Pere Paul and Douglas?
  23   was -- well, did you ever hear a Mass at the       23          MR. STEWART: Object.
  24   chapel?                                            24      A. Nobody tell me anything -- told me
  25      A. Yes.                                         25   anything.


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   1   BY MR. FOLKMAN:                                     1      Q. Who were the other people that you
   2      Q. What did you mean when you said "I            2   were referring to in your answer to Question 48?
   3   heard about Pere Paul and Douglas from other        3          MR. STEWART: To the extent it
   4   people after Douglas left Haiti"?                   4   involves conversations with his attorney, I
   5          MR. STEWART: Objection.                      5   instruct him not to answer that question. If it
   6      A. I never had that.                             6   involves conversations with other people, he can
   7   BY MR. FOLKMAN:                                     7   talk about it, testify to.
   8      Q. You never said that?                          8      A. I don't have any testimony that I had
   9      A. Who are you talking about?                    9   with someone else.
  10      Q. Is this -- did you tell someone that         10   BY MR. FOLKMAN:
  11   you had heard about Pere Paul and Douglas from     11      Q. So no one other than your attorneys
  12   other people after Douglas left Haiti?             12   ever said anything to you about it?
  13          MR. STEWART: I object to the extent         13          MR. STEWART: I'm going to tell him
  14   that you're seeking to elicit information or       14   not to answer because that's a direct question
  15   conversations he may have had with his attorneys   15   about what his attorneys told him.
  16   or representative of his attorneys. To the         16          MR. FOLKMAN: I said other than your
  17   extent that it excludes any conversations with     17   attorneys.
  18   his attorneys or agents, or employees of his       18          MR. STEWART: Don't answer that.
  19   attorneys, he can answer.                          19          MR. FOLKMAN: I understand your
  20   BY MR. FOLKMAN:                                    20   objection. I think I'm entitled to know the
  21      Q. Let me withdraw the question and ask         21   basis for his answer.
  22   another one.                                       22          MR. STEWART: You're asking him, he
  23          Is it true that you heard about Pere        23   said he had no other conversations other than
  24   Paul and Douglas from other people after Douglas   24   what I instructed him not to talk about, which
  25   left Haiti? Yes or no.                             25   is with his attorneys. You're saying so --


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   1           MR. STEWART: Same objection.                1   we're not -- he's not going to answer that. You
   2           Instruct him not to answer to the           2   just ask him what did his attorneys tell him,
   3   extent that it involves attorney/client             3   that's what you're asking him, what did your
   4   conversations.                                      4   attorneys tell him, he's not going to answer
   5           MR. FOLKMAN: Just to make sure my           5   that.
   6   question is absolutely clear, Mike, I'm asking      6          MR. FOLKMAN: Okay.
   7   him if his answer is true, not whether or not he    7   BY MR. FOLKMAN:
   8   talked to anybody about it.                         8      Q. Let me ask you to look at
   9           MR. STEWART: What you asked is isn't        9   Interrogatory Number 55. The question was
  10   it true you heard about Pere Paul and Douglas      10   "Please state every fact that you are relying on
  11   after Douglas left Haiti. Yes or no.               11   to support any claim that Hope Carter" -- that's
  12           MR. FOLKMAN: Right.                        12   Madame Carter -- "knew or should have known that
  13           MR. STEWART: And I'm saying to the         13   Perlitz was abusing you."
  14   extent that involves conversations with his        14          And your answer was "Pere Paul and
  15   attorneys, I'm instructing him not to answer       15   Madame Carter were in charge of Douglas. They
  16   that. He can tell you if he heard about it         16   would tell Douglas what to do and not to do."
  17   anywhere other than his attorneys.                 17          My first question is, did you ever see
  18       A. I didn't hear anything anywhere.            18   Pere Paul tell Douglas what to do?
  19   BY MR. FOLKMAN:                                    19      A. I never stood in front of them to hear
  20       Q. Okay. You have no reason to think, do       20   what they used to tell Douglas to do or not.
  21   you, that Pere Paul and Douglas Perlitz ever had   21      Q. Did anybody ever tell you that Pere
  22   a sexual relationship?                             22   Paul had told Douglas what to do?
  23           MR. STEWART: Same objection.               23      A. If somebody used to tell Douglas what
  24       A. I don't know.                               24   he has to do?
  25   BY MR. FOLKMAN:                                    25      Q. I'm asking you.


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   1          MR. GARABEDIAN: Objection to the              1      A. Myself, I never heard, I never seen.
   2   extent it involves attorney/client privilege.        2   I've never seen, I've never heard.
   3   BY MR. FOLKMAN:                                      3      Q. Okay. And let's go back, since I
   4      Q. My question to you is, did anybody             4   think we found a way to address your objection,
   5   ever tell that you they had heard or seen Pere       5   let's go back to Number 48 for a second, and let
   6   Paul telling Douglas Perlitz what to do?             6   me ask you if anybody had ever told you that
   7      A. I don't know.                                  7   they had seen Pere Paul and Douglas Perlitz
   8      Q. Did anybody ever tell you that they            8   doing anything together that would make someone
   9   had heard or seen Pere Paul telling Douglas what     9   think that they had a sexual relationship.
  10   not to do?                                          10          MR. STEWART: Hold on. Hold on.
  11          MR. GARABEDIAN: Objection to the             11          MR. FOLKMAN: So unless the lawyers
  12   extent that it involves attorney/client             12   were down there, Mike --
  13   privilege.                                          13          MR. STEWART: Just stop for a minute,
  14          MR. FOLKMAN: Are you instructing him         14   please. I don't even understand what you're
  15   not to answer that, Mitch?                          15   asking, so give me a minute to look at it.
  16          MR. GARABEDIAN: To the extent that it        16          Do you understand what he's asking
  17   involves attorney/client privilege, instruct him    17   you? Do you understand what he's asking you?
  18   not to answer as to any conversations.              18      A. I did not understand very well. I
  19   BY MR. FOLKMAN:                                     19   would like you to rephrase it for me.
  20      Q. Okay. You've heard what your lawyer           20   BY MR. FOLKMAN:
  21   said. Let me read you the question back again.      21      Q. I'll rephrase it.
  22          Did anybody ever tell you that they          22          Did anybody ever tell you that they
  23   had heard or seen Pere Paul telling Douglas what    23   had seen Doug Perlitz and Pere Paul hugging or
  24   not to do?                                          24   kissing?
  25          MR. GARABEDIAN: Objection. Same              25      A. No.


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   1    objection.                                          1      Q. Did anybody ever tell you that they
   2    BY MR. FOLKMAN:                                     2   had seen Doug Perlitz and Pere Paul doing
   3       Q. Can you answer the question, sir?             3   anything else that would suggest that Doug
   4           MR. STEWART: Other than your                 4   Perlitz and Pere Paul were having a sexual
   5    attorneys, other than what your attorneys might     5   relationship?
   6    have told you, what he wants to know is did         6      A. I never heard that, and I don't know.
   7    anyone ever tell you, other than your attorneys,    7      Q. And you never saw anything yourself
   8    that that person had heard or seen Pere Paul        8   that would make you think that they were having
   9    telling Douglas what to do. So other than your      9   a sexual relationship?
  10    attorneys, has anyone ever said to you that he     10      A. No.
  11    saw Pere Paul telling Douglas what to do? Do       11      Q. Okay. I want to ask you about
  12    you understand the question? If you don't, ask     12   welding. You mentioned that you had been
  13    him to do it again. Do you understand?             13   trained as a welder.
  14       A. No. Can you rephrase it again?               14      A. In the Village?
  15    BY MR. FOLKMAN:                                    15      Q. Well, I think you said -- well, you
  16       Q. Absolutely. I'll ask it as many times        16   tell me, where were you trained as a welder?
  17    as you need, because it's important that you       17      A. In the Village.
  18    understand. And if you don't understand, I need    18      Q. And would you like to have work as a
  19    you to tell me, okay?                              19   welder?
  20       A. Yes.                                         20      A. For now I didn't look for welding job,
  21       Q. Okay. My question is, did anybody            21   I mostly focus on the motorcycle.
  22    ever tell you that they had heard or seen Pere     22      Q. Have you ever looked --
  23    Paul telling Douglas what to do?                   23      A. Motor thing.
  24       A. If someone have seen?                        24      Q. Have you ever looked for a welding
  25       Q. Yes, seen or heard.                          25   job?


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   1       A. No, I did not look for a job.                1      Q. Let me ask you about the other
   2       Q. Let me ask you about the money that          2   Emmanuel. When was the last time you saw him?
   3   you received from Mathieu. Does he give you the     3      A. Which one of the two Emmanuel?
   4   money in cash?                                      4      Q. Not the one his brother's name is
   5       A. Yes.                                         5   Robens Pierre, the other one.
   6       Q. And when you have money, do you keep         6      A. Those guys is not easy. I saw him
   7   it in cash, or do you put it in the bank?           7   only once, he came in the Village, in the place
   8       A. I hide it in my house.                       8   where I live. So after that, I never saw him
   9       Q. You have a phone, right?                     9   again.
  10       A. Yes.                                        10      Q. Okay.
  11       Q. And in Haiti, do people use their           11          MR. FOLKMAN: That's all the questions
  12   phones to pay for things? Is that something        12   I have. Thank you.
  13   that people do?                                    13          MR. STEWART: Do you need a break?
  14       A. I don't understand.                         14      A. Yes.
  15           MR. STEWART: Like a Starbucks app?         15          THE VIDEOGRAPHER: We're going off the
  16   Are you asking him if he has a Starbucks app?      16   record. The time is 5:09.
  17           MR. FOLKMAN: I heard there's some          17          (Whereupon, a recess was taken.)
  18   kind of money thing down here. I'm not asking      18          THE VIDEOGRAPHER: Back on the record.
  19   about Starbucks.                                   19   The time is 5:22.
  20           MR. STEWART: Do you know what he's         20   BY MS. KNIGHT:
  21   talking about? Do you know this app, or this       21      Q. Hello again. My name is Lydia Knight,
  22   ability?                                           22   and I'm just going to have a few questions for
  23           THE TRANSLATOR: I don't know. In           23   you, okay?
  24   Haiti, if it's happening in Haiti, I don't know.   24      A. Yes.
  25   Do you know what he's a talking about?             25      Q. You told us that you drive a motor


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   1        MR. PIERRE-LOUIS: Yes.                         1   taxi, is that right?
   2        MR. STEWART: What's it called?                 2      A. Yes.
   3        MR. PIERRE-LOUIS: It's called Lajan            3      Q. When you're not driving the motor
   4   cash.                                               4   taxi, what do you like to do?
   5      A. I don't know if it exists, but I don't        5      A. When I'm not driving the taxi motor,
   6   use it. I've never done it.                         6   sometimes I go look for kind of jobs, small
   7          MR. FOLKMAN: Fair enough.                    7   jobs, masonry. When I can't find any, I have no
   8          MR. STEWART: I apologize for stepping        8   other choice but to go back to the city and look
   9   in.                                                 9   for a friend that can give me like a half day
  10          MR. FOLKMAN: That's okay. That's            10   like to ride a motor, motorcycle.
  11   fine. If you thought I was talking about           11      Q. Do you also sometimes spend time with
  12   Starbucks, obviously something had gone wrong.     12   your girlfriend?
  13   BY MR. FOLKMAN:                                    13      A. Not a lot. When I'm working, I don't
  14      Q. You mentioned someone named Emmanuel         14   care that much.
  15   earlier. Is that Emmanuel Clervil?                 15      Q. When you're not working, do you spend
  16      A. I just know him by Emmanuel. I didn't        16   time with your girlfriend?
  17   know the last name.                                17      A. No, when I'm at home sleeping in a
  18      Q. Okay. When was the last time you saw         18   bed.
  19   Emmanuel?                                          19      Q. Do you like to play football?
  20      A. There are two Emmanuels. I don't know        20      A. No.
  21   which one you're talking about.                    21      Q. Do you like to watch football?
  22      Q. Okay. Do you know the last name or           22      A. I don't like watching it, and I don't
  23   the other name of either person named Emmanuel?    23   know how to play.
  24      A. One of the Emmanuel, I know his              24      Q. I think you told us that there were
  25   brother's name, Robens Pierre.                     25   some games at PPT that people would play, is


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   1   that right?                                        1   close attention to hear what he's saying
   2       A. Yes.                                        2   sometimes, he talk very low.
   3       Q. Did you ever play the games?                3          MR. STEWART: Talk a little louder.
   4       A. No, I'm always in a place apart. And        4          Do you want to repeat the question,
   5   sometimes I play cards, we call it Kazino in       5   please?
   6   Haiti, that's how we say it, sometimes I play      6          MS. KNIGHT: Sure.
   7   it, and if I don't want to play anymore I just     7   BY MS. KNIGHT:
   8   give the card away and I stop playing.             8      Q. Did you ever see any priests while you
   9       Q. Do you play cards with anyone now?          9   were at Rue 13?
  10       A. Now I don't play at all.                   10      A. No, I didn't see any priests.
  11       Q. Do you ever drink alcohol?                 11          MS. KNIGHT: That's all the questions
  12       A. No, not easily.                            12   that I have. Thank you.
  13       Q. I want to talk a little bit about the      13          MR. STEWART: One more. Thank you.
  14   money that you told us that you got from          14   BY MR. BABBITT:
  15   Mathieu. Okay?                                    15      Q. Good afternoon.
  16       A. Okay.                                      16      A. Thank you.
  17       Q. Do you know if Matthew gave money to       17      Q. My name is Brad Babbitt, I represent
  18   other Plaintiffs?                                 18   the American Association of the Order of Malta.
  19          MR. STEWART: Objection.                    19          At any time before you started
  20          You can answer.                            20   attending Rue 13, did you hear anything about
  21       A. Are you asking if it's for people to       21   the Haiti Fund?
  22   come to have a deposition done, or what are you   22      A. Like?
  23   asking?                                           23      Q. Anything at all.
  24   BY MS. KNIGHT:                                    24      A. Are you talking about a school or a
  25       Q. Yes. If other people got money from        25   center? I don't know what you're talking about.


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   1   Mathieu for their deposition, for example.         1      Q. Before you started attending Rue 13,
   2      A. Kensley, Lecenat Gesner, Jean Ilguens.       2   had you ever heard of the name Haiti Fund?
   3      Q. Do you know if they got the same             3      A. I never heard about Haiti Fund. The
   4   amount of money as you got?                        4   only thing I know there is a center, and we at
   5      A. I don't know, because I didn't know          5   Street 13, but my parents didn't have enough
   6   when did they go to receive the money. I got a     6   wealth to send me there.
   7   call from Gesner asking me about -- when about     7      Q. Okay. At any time before you started
   8   the money, when I got my motorcycle and go to      8   attending the Village, had you heard of the
   9   him, and he asked me "did you know you have to     9   Haiti Fund?
  10   do deposition?" I said "yes." When I saw him      10      A. Haiti Fund, I never heard about it. I
  11   -- when I met him he said "take, have that."      11   heard about the Village, the Village where they
  12   But I don't know, but he didn't tell me exactly   12   had kids with poor background.
  13   what to do with it, but I've already known what   13      Q. And at any time while you were
  14   to do with it.                                    14   attending the Village, did you hear anything
  15      Q. While you were at PPT, did you ever         15   about the Haiti Fund?
  16   see any priests at the Village?                   16      A. Yeah, I never heard about it. I heard
  17      A. No, except Pere Paul.                       17   about the orphan, the orphan -- orphanage, the
  18      Q. So the only priest you saw at the           18   orphanage at the Village. I heard about the
  19   Village was Pere Paul?                            19   orphanage and the Village.
  20      A. Yes.                                        20          THE TRANSLATOR: I got lost on the
  21      Q. Did you see any priests while you were      21   last part.
  22   at Rue 13?                                        22      A. I heard about the Village is -- that's
  23          THE TRANSLATOR: Excuse me. Even            23   an orphanage was helping kids in the street,
  24   though I'm close to him, the interpreter would    24   people the parents couldn't help them, people
  25   like to make clarification. I have to pay very    25   the parents are poor.


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   1      Q. Are you saying that the orphanage was         1   between Hope Carter and Doug Perlitz?
   2   the Village, or the Village was an orphanage?       2      A. How can I say that, I believe
   3      A. I can say it's an orphanage, that's           3   Mrs. Carter and Pere Paul are Douglas's boss,
   4   how I can call it. Let's say that if you're         4   Douglas's boss.
   5   there and you don't have enough wealth, okay,       5      Q. Okay. And what's the basis for your
   6   they help you, and they -- if you don't have the    6   belief?
   7   wealth, the means, they help you out.               7          MR. STEWART: Objection.
   8      Q. Okay. And while you were attending            8      A. Because I believe they're always
   9   the Village, did you ever hear anything about       9   together, they are always talking, have their
  10   the Haiti Fund?                                    10   head together talking, and I don't speak
  11      A. You did ask me the question, I               11   English, and I wasn't going to be able to
  12   explained to you what I know about it, and you     12   understand all they're talking about.
  13   keep asking me the same question.                  13   BY MR. KENNEDY:
  14      Q. Well, you described to me an                 14      Q. Sir, did you ever hear Hope Carter
  15   orphanage, which as I understand your answer,      15   tell Doug Perlitz what not to do?
  16   that's how you're characterizing the Village.      16      A. I don't speak English, I don't hear
  17   I'm asking about the Haiti Fund and if you've      17   English. And the only thing I can say, I used
  18   ever heard about that.                             18   to see them talking together, joining heads
  19      A. Haiti Fund I don't know.                     19   together to talk.
  20      Q. Okay.                                        20      Q. Okay. Sir, were you ever in a group
  21          MR. BABBITT: Was that the end?              21   when Doug Perlitz talked about Madame Carter?
  22          MR. STEWART: You said "okay," and he        22      A. I don't understand. Can you rephrase
  23   replied.                                           23   the question for me again?
  24          MR. BABBITT: Sorry, my bad.                 24      Q. Sure.
  25   BY MR. BABBITT:                                    25          Were you ever with a group of students


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   1      Q. Before you started attending the              1   when Douglas Perlitz talked about Madame Carter?
   2   Village, had you ever heard of the American         2          MR. STEWART: Objection.
   3   Association of the Order of Malta?                  3      A. I don't know. I never heard that.
   4      A. I never heard about that.                     4   And I was the kind of guy alone, apart, I don't
   5      Q. Okay. And while you were attending            5   know.
   6   the Village, did you ever hear anything about       6   BY MR. KENNEDY:
   7   the American Association of the Order of Malta?     7      Q. Okay. Sir, did Doug Perlitz ever tell
   8      A. No, I never heard about it.                   8   you when you were alone with him about Madame
   9          MR. BABBITT: All right. Those are            9   Carter?
  10   all the questions I have. Thank you.               10          MR. STEWART: Objection.
  11          MR. KENNEDY: I have a brief                 11          Do you understand the question?
  12   follow-up.                                         12      A. No. Can you rephrase it for me?
  13          MR. STEWART: You do what?                   13   BY MR. KENNEDY:
  14          MR. KENNEDY: I have an extremely            14      Q. Sure.
  15   brief follow-up. When I say brief, brief.          15          Sir, I think you told me that when you
  16   BY MR. KENNEDY:                                    16   were with -- strike that. You were alone, in
  17      Q. Sir, did you ever hear Hope Carter           17   the time -- strike that. Let me think about
  18   tell Doug Perlitz what to do?                      18   this.
  19      A. I never heard what they used to say,         19          At any time did Doug Perlitz ever talk
  20   because when they're talking they usually bow      20   to you about Madame Carter?
  21   their head in talking, and I never go in front     21          THE TRANSLATOR: Sorry, he did ask me
  22   of them to listen to what they're saying. Even     22   to raise my voice.
  23   though I was able to listen, I would not           23      A. I'm not so friendly up to people face,
  24   understand because I don't speak their language.   24   and I was apart, I don't know what they talk
  25      Q. Okay. So you don't know what was said        25   about.


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   1   BY MR. KENNEDY:                                     1         INSTRUCTIONS TO WITNESS
   2      Q. So Doug Perlitz never spoke to you            2
   3   about Madame Carter, is that true?                  3             Please read your deposition over
   4      A. Rephrase the question for me again?           4   carefully and make any necessary corrections.
   5      Q. Is it true that Doug Perlitz never            5   You should state the reason in the appropriate
   6   spoke to you about Madame Carter?                   6   space on the errata sheet for any corrections
   7      A. No. I'm the kind of guy who is not in         7   that are made.
   8   people face, and I'm always sleeping. Where was     8             After doing so, please sign the
   9   he going to find me to talk like that with me?      9   errata sheet and date it. It will be attached
  10      Q. Okay. So the record is clear, Doug           10   to your deposition.
  11   Perlitz never spoke to you about Madame Carter?    11             It is imperative that you return
  12          MR. STEWART: Objection.                     12   the original errata sheet to the deposing
  13      A. No.                                          13   attorney within thirty (30) days of receipt of
  14          MR. KENNEDY: Thank you very much,           14   the deposition transcript by you. If you fail
  15   sir.                                               15   to do so, the deposition transcript may be
  16          MR. STEWART: 60 days to read and            16   deemed to be accurate and may be used in court.
  17   sign. We're done.                                  17
  18          THE VIDEOGRAPHER: This concludes the        18
  19   July 30, 2015 deposition of Emile Jean Pierre.     19
  20   Going off the record. The time is 5:47 p.m..       20
  21          (Whereupon, the deposition was              21
  22          concluded.)                                 22
  23                                                      23
  24                                                      24
  25                                                      25


                                          Page 175                                               Page 177
   1             CERTIFICATE                               1           ------
   2          I, MAUREEN O'CONNOR POLLARD, LSR #473,       2           ERRATA
   3   RMR, CLR, and Notary Public in and for the State    3           ------
   4   of Connecticut, do hereby certify that there        4   PAGE LINE CHANGE
   5   came before me on the 30th day of July, 2015,       5   ____ ____ _________________________________
   6   the person hereinbefore named, who was duly         6     REASON: __________________________________
   7   sworn to testify to the truth of their knowledge    7   ___ ____ __________________________________
   8   concerning the matters in this cause, and their     8     REASON: __________________________________
   9   examination reduced to typewriting under my         9   ____ ____ _________________________________
  10   direction and is a true record of the testimony.   10     REASON: __________________________________
  11          I further certify that I am neither         11   ____ ____ _________________________________
  12   attorney for or related or employed by any of      12     REASON: __________________________________
  13   the parties to the action, and that I am not a     13   ____ ____ _________________________________
  14   relative or employee of any attorney or counsel    14     REASON: __________________________________
  15   employed by the parties hereto or financially      15   ____ ____ _________________________________
  16   interested in the action.                          16     REASON: _________________________________
  17          In witness whereof, I have hereunto         17   ____ ____ _________________________________
  18   set my hand and seal this 5th day of August,       18     REASON: _________________________________
  19   2015.                                              19   ____ ____ _________________________________
  20                                                      20     REASON: _________________________________
  21     ________________________________________         21   ____ ____ _________________________________
  22     MAUREEN O'CONNOR POLLARD, License #473           22     REASON: _________________________________
  23     Realtime Systems Administrator, RMR              23   ____ ____ _________________________________
  24     Notary Commission Expires: 10/31/2017            24     REASON: _________________________________
  25                                                      25   ____ ____ _________________________________


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   1         ACKNOWLEDGMENT OF DEPONENT
   2
   3             I, __________________________, do
   4   Hereby certify that I have read the foregoing
   5   pages, and that the same is a correct
       transcription of the answers given by me to the
   6   questions therein propounded, except for the
       corrections or changes in form or substance, if
   7   any, noted in the attached Errata Sheet.
   8
   9   _________________________________
       EMILE JEAN-PIERRE        DATE
  10
  11
  12
  13
  14
  15
  16   Subscribed and sworn
       To before me this
  17   ______ day of _________________, 20____.
  18   My commission expires: ________________
  19
       _______________________________________
  20   Notary Public
  21
  22
  23
  24
  25

                                           Page 179
   1         LAWYER'S NOTES
   2   PAGE LINE
   3   ____ ____ _______________________________
   4   ____ ____ _______________________________
   5   ____ ____ _______________________________
   6   ____ ____ _______________________________
   7   ____ ____ _______________________________
   8   ____ ____ _______________________________
   9   ____ ____ _______________________________
  10   ____ ____ _______________________________
  11   ____ ____ _______________________________
  12   ____ ____ _______________________________
  13   ____ ____ _______________________________
  14   ____ ____ _______________________________
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  16   ____ ____ _______________________________
  17   ____ ____ _______________________________
  18   ____ ____ _______________________________
  19   ____ ____ _______________________________
  20   ____ ____ _______________________________
  21   ____ ____ _______________________________
  22   ____ ____ _______________________________
  23   ____ ____ _______________________________
  24   ____ ____ _______________________________
  25


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                                                                      Page 1
                  UNITED STATES DISTRICT COURT
                  DISTRICT OF CONNECTICUT
                                       Civil Action No.
                                       3:13-cv-01132(RNC)
        ****************************
        GERVIL ST. LOUIS, a/k/a ST.    Consolidated with:
        LOUIS GERVIL,                  3:13-cv-1225-RNC
                                       3:13-cv-1269-RNC
                       Plaintiff,      3:13-cv-1437-RNC
                                       3:13-cv-1480-RNC
             v.                        3:13-cv-1626-RNC
                                       3:13-cv-1627-RNC
        DOUGLAS PERLITZ, FATHER        3:13-cv-1628-RNC
        PAUL E. CARRIER, S.J.; HOPE    3:13-cv-1629-RNC
        E. CARTER; HAITI FUND,         3:13-cv-1630-RNC
        INC.; FAIRFIELD UNIVERSITY;    3:13-cv-1631-RNC
        THE SOCIETY OF JESUS OF NEW    3:13-cv-1632-RNC
        ENGLAND; SOVEREIGN MILITARY    3:13-cv-1633-RNC
        HOSPITALLER ORDER OF ST.       3:13-cv-1634-RNC
        JOHN OF JERUSALEM OF RHODES    3:13-cv-1635-RNC
        AND OF MALTA, AMERICAN         3:13-cv-1636-RNC
        ASSOCIATION, U.S.A.; a/k/a     3:13-cv-1637-RNC
        ORDER OF MALTA, AMERICAN       3:13-cv-1638-RNC
        ASSOCIATION, U.S.A.; JOHN      3:13-cv-1639-RNC
        DOE ONE; JOHN DOE TWO; JOHN    3:13-cv-1640-RNC
        DOE THREE; JOHN DOE FOUR;      3:13-cv-1641-RNC
        JOHN DOE FIVE; JOHN DOE SIX    3:13-cv-1642-RNC
        and JOHN DOE SEVEN,            3:13-cv-1644-RNC
                                       3:13-cv-1645-RNC
                       Defendants.     3:13-cv-1647-RNC
                                       3:13-cv-1648-RNC
                                       3:13-cv-1701-RNC
                                       3:13-cv-1767-RNC
                                       3:13-cv-1768-RNC
                                       3:13-cv-1769-RNC
                                       3:13-cv-1881-RNC
                                       3:13-cv-1904-RNC
                                       3:13-cv-1906-RNC
                                       3:13-cv-1907-RNC
        ******************************
        This document applies to:
        All of the above referenced cases
        And those to be filed
        ******************************
        CONFIDENTIAL - SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
             VIDEOTAPED DEPOSITION OF ILGUENS JEAN

                   Friday, July 31, 2015
                          9:04 a.m.

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                                                 Page 2                                             Page 4
   1     VIDEOTAPED DEPOSITION OF ILGUENS JEAN             1   APPEARANCES (Continued):
   2                                                       2
   3                                                       3   FOR THE DEFENDANT HOPE E. CARTER:
       Held At:                                            4     JEFFREY W. KENNEDY, ESQ.
   4                                                       5       MILANO & WANAT LLC
   5     Barcelo Puerto Plata                              6       471 East Main Street
   6     Carretera Luperón, km 5, Puerto Plata 547         7       Branford, Connecticut 06405
   7     Dominican Republic                                8       203-315-7000
   8                                                       9       jkennedy@mwllc.us
   9
                                                          10
  10   REPORTED BY:
                                                          11   FOR THE DEFENDANT ORDER OF MALTA AMERICAN
  11   Maureen O'Connor Pollard, RMR, CLR, LSR #473
                                                          12   ASSOCIATION, U.S.A.:
  12   Realtime Systems Administrator
                                                          13     BRADFORD S. BABBITT, ESQ.
  13
                                                          14       ROBINSON & COLE LLP
  14
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  16                                                      16       Hartford, Connecticut 06103
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  19                                                      19
  20                                                      20
  21                                                      21
  22                                                      22
  23                                                      23
  24                                                      24
  25                                                      25


                                                 Page 3                                             Page 5
   1   APPEARANCES:                                        1   APPEARANCES (Continued):
   2   FOR THE PLAINTIFF:                                  2   FOR THE DEFENDANT FAIRFIELD UNIVERSITY:
   3     MITCHELL GARABEDIAN, ESQ.                         3     JOHN W. CERRETA, ESQ.
   4     LU XIA, ESQ.                                      4       DAY PITNEY LLP
   5        LAW OFFICES OF MITCHELL GARABEDIAN             5       242 Trumbull Street
   6        100 State Street, Sixth Floor                  6       Hartford, Connecticut 06103
   7        Boston, Massachusetts 02109                    7       860-275-0100
   8        617-523-6250                                   8       jcerreta@daypitney.com
   9        garabedianlaw@earthlink.com                    9
  10        lxia@garabedianlaw.com                        10   FOR THE DEFENDANT THE SOCIETY OF JESUS OF
  11           -and-                                      11   NEW ENGLAND:
  12     G. MICHAEL STEWART, ESQ.                         12     LYDIA C. KNIGHT, ESQ.
  13        SIMMONS HANLY CONROY                          13       SLOANE AND WALSH, LLP
  14        One Court Street                              14       Three Center Plaza, Suite 830
  15        Alton, Illinois 62002                         15       Boston, Massachusetts 02108
  16        mstewart@simmonsfirm.com                      16       617-523-6010
  17                                                      17       lknight@sloanewalsh.com
  18   FOR THE DEFENDANT PAUL E. CARRIER, S.J.:           18
  19     THEODORE J. FOLKMAN, ESQ.                        19   Videographer: Christopher Coughlin
  20       MURPHY & KING                                  20
  21       One Beacon Street, 21st Floor                  21   Interpreter: Quener Joseph
  22       Boston, Massachusetts 02108                    22             Nathalie Coupet
  23       617-423-0400                                   23
  24       tjf@murphyking.com                             24   Also Present:
  25                                                      25   Jean Elysée Pierre-Louis


                                                                                  2 (Pages 2 to 5)
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                                             Page 6                                                       Page 8
   1               INDEX                                   1   Knight for the Society of Jesus of New England.
   2    EXAMINATION                            PAGE        2          MR. KENNEDY: Good morning. I'm Jeff
   3    ILGUENS JEAN                                       3   Kennedy, I represent Hope Carter.
   4     BY MR. BABBITT                         9          4          MR. STEWART: Michael Stewart on
   5     BY MR. FOLKMAN                         113        5   behalf of Plaintiff.
   6     BY MR. CERRETA                        130         6          MS. XIA: Lu Xia on behalf of
   7     BY MS. KNIGHT                        134          7   Plaintiff.
   8     BY MR. KENNEDY                         141        8          THE VIDEOGRAPHER: The court reporter
   9
  10                                                       9   is Maureen Pollard, who will now swear in the
  11         EXHIBITS                                     10   interpreter and then the witness.
  12    NO.      DESCRIPTION                       PAGE   11
  13    1 Plaintiff Ilguens Jean's response               12          QUEREN JOSEPH, Translator,
          to Certain Defendants' First Set                13   having been duly sworn to translate the
  14      of Interrogatories................... 12        14   questions and answers to the best of his
  15    2 9/9/13 e-mail, Bates RBC002282                  15   ability, translated as follows:
          through 2290.........................125        16
  16                                                      17           ILGUENS JEAN,
  17                                                      18   having been first duly sworn, was examined and
  18                                                      19   testified as follows through the translator:
  19
                                                          20
  20
  21                                                      21           MR. STEWART: You have to answer out
  22                                                      22   loud.
  23                                                      23           THE WITNESS: Yes.
  24                                                      24           MR. STEWART: Very good.
  25                                                      25           MR. BABBITT: Mike, we're going to


                                             Page 7                                                       Page 9
   1        PROCEEDINGS                                    1   reserve all objections except as to form?
   2                                                       2         MR. STEWART: Yes.
   3         THE VIDEOGRAPHER: We are now on the           3         MR. BABBITT: Do you want 60 days to
   4   record. My name is Chris Coughlin, I'm a            4   read and sign?
   5   videographer for Golkow Technologies.               5         MR. STEWART: Roger that.
   6         Today's date is July 31, 2015. The            6         DIRECT EXAMINATION
   7   time is 9:04 a.m..                                  7   BY MR. BABBITT:
   8         This video deposition is being held in        8      Q. Good morning, sir. Could you
   9   Puerto Plata, Dominican Republic, in the matter     9   pronounce your name for me?
  10   of Gervil, St. Louis versus Douglas Perlitz, et    10      A. My name is Jean Ilguens.
  11   al, Defendants, in the United States District      11      Q. Jean Ilguens.
  12   Court for the District of Connecticut, Civil       12         Do you have any nicknames?
  13   Action Number 3:13-cv-01132-RNC.                   13      A. Guens.
  14         The deponent is Ilguens Jean.                14      Q. Guens.
  15         Will counsel please identify                 15         Any other nickname?
  16   yourselves for the record.                         16      A. No.
  17         MR. BABBITT: I'm Bradford Babbitt, I         17      Q. Okay. What is your birth date?
  18   represent the Sovereign Military Hospitaller       18      A. August 29th -- August 19, 1992.
  19   Order of St. John of Jerusalem of Rhodes and of    19      Q. Thank you.
  20   Malta American Association USA, Incorporated.      20         Do you understand English?
  21         MR. FOLKMAN: Good morning. Ted               21      A. No.
  22   Folkman, I'm Pere Paul's lawyer.                   22      Q. Do you read English?
  23         MR. CERRETA: Good morning. John              23      A. No.
  24   Cerreta for Fairfield University.                  24      Q. Do you speak Creole?
  25         MS. KNIGHT: Good morning. Lydia              25      A. Yes.


                                                                                3 (Pages 6 to 9)
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   1       Q. Do you read Creole?                         1      A. Yes.
   2       A. Not very good.                              2      Q. I'm going to show you what's been
   3       Q. Can you write Creole?                       3   marked as Exhibit 1.
   4       A. Not very good.                              4         (Whereupon, Exhibit Number 1,
   5       Q. Now, you understand that you've just        5         Plaintiff Ilguens Jean's response to
   6    taken an oath?                                    6         Certain Defendants' First Set of
   7           THE TRANSLATOR: He said I have to          7         Interrogatories, was marked for
   8    speak louder.                                     8         identification.)
   9       A. Can you rephrase the question for me?       9   BY MR. BABBITT:
  10       Q. Certainly.                                 10      Q. And ask you to look at the last page,
  11           Do you understand that you've just        11   please. As you look at the last page, do you
  12    taken an oath?                                   12   recognize your signature on that page?
  13       A. Yes, I'm here to tell the truth.           13      A. Yes, I did sign it.
  14       Q. All right. And you've sworn to tell        14      Q. You signed that page?
  15    the truth before God?                            15      A. Yes.
  16           MR. STEWART: Objection.                   16      Q. There is also a date on the page. Did
  17       A. Yes.                                       17   you put the date on?
  18    BY MR. BABBITT:                                  18      A. Yes.
  19       Q. Do you believe in God?                     19      Q. And your name appears at the top of
  20           MR. STEWART: Objection.                   20   the page. Did you write that as well?
  21       A. Yes, God created me, I supposed to         21      A. Yes.
  22    believe in him.                                  22      Q. Where were you when you signed that
  23    BY MR. BABBITT:                                  23   page?
  24       Q. Okay. I'm going to ask you some            24         THE TRANSLATOR: I would like to ask
  25    questions today, and I need truthful and         25   him to repeat. I couldn't hear him.


                                           Page 11                                             Page 13
   1    accurate answers. There will be other lawyers     1      Q. Okay.
   2    here who will also ask you questions today,       2      A. Hotel Jouissaint.
   3    they're also looking for truthful and accurate    3      Q. Where in the hotel were you when you
   4    answers.                                          4   signed it?
   5           Please tell me if any of my questions      5      A. I was just at the hotel, and they give
   6    are unclear, or if any of my questions are        6   me the paper, and I did sign it.
   7    confusing. Please don't answer a question         7      Q. Were you in the restaurant or a lobby
   8    unless you understand it.                         8   of the hotel?
   9           Are you having any problem                 9          MR. STEWART: Objection.
  10    understanding our interpreter?                   10      A. In the hotel.
  11       A. Until now he's doing a good job.           11   BY MR. BABBITT:
  12       Q. Have you taken any medicine today?         12      Q. Do you remember where in the hotel you
  13       A. No.                                        13   were?
  14       Q. Have you taken any drugs today?            14          MR. STEWART: Objection.
  15       A. No.                                        15      A. I don't remember. I was at the hotel,
  16       Q. Have you drunk any alcohol today?          16   and I did sign the paper.
  17       A. No.                                        17   BY MR. BABBITT:
  18       Q. Is there any reason you can't give         18      Q. Who else was present when you signed
  19    truthful and accurate testimony today?           19   the paper?
  20       A. Say that again.                            20      A. My lawyers.
  21       Q. Is there any reason you can't give         21      Q. Anyone else?
  22    truthful and accurate testimony today?           22      A. Yes. My lawyers, and there were some
  23       A. Yes, I come here to tell the truth.        23   interpreters there, too.
  24       Q. And do you believe you're able to tell     24      Q. Anyone besides your lawyers and your
  25    the truth today?                                 25   interpreters?


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   1       A. Cyrus Sibert was there.                     1   BY MR. BABBITT:
   2       Q. Cyrus Sibert was there when you signed      2      Q. Looking again at Exhibit 1, sir. Was
   3    the paper?                                        3   the language in Exhibit 1 translated to you?
   4       A. He was there. He was at the hotel,          4      A. Yes, somebody translated for me.
   5    too.                                              5      Q. All right. And did you -- and were
   6       Q. And was he in the same place where you      6   the responses contained in Exhibit 1 accurate
   7    were when you signed the paper?                   7   when you signed Exhibit 1?
   8       A. No, simply my lawyers and the               8      A. Everything was correct, after they
   9    interpreters.                                     9   interpreted for me and read to me everything, in
  10       Q. Did you read Exhibit 1 before you          10   the paper was correct.
  11    signed it?                                       11      Q. As far as you know, sitting here
  12           THE TRANSLATOR: I said exhibit. I         12   today, are the answers in Exhibit 1 still
  13    said paragraph. You said no. Can you explain     13   correct?
  14    what exhibit is?                                 14      A. They did read everything for me and I
  15           MR. BABBITT: The document sitting in      15   did understand it, and everything that was in
  16    front of the witness is Exhibit 1, and that's    16   the paper was the truth.
  17    the document I was referring to.                 17      Q. Understand that.
  18           MR. STEWART: Objection.                   18          And sitting here today, as far as you
  19    BY MR. BABBITT:                                  19   know, are the answers in Exhibit 1 still
  20       Q. My question is, did the witness read       20   correct?
  21    Exhibit 1 before he signed it?                   21      A. Yes, they're still correct.
  22           MR. STEWART: Objection.                   22      Q. Excellent. Thank you very much.
  23       A. I did take a look at it.                   23          When was the last time you spoke with
  24    BY MR. BABBITT:                                  24   Margarette Joseph?
  25       Q. You looked at it.                          25      A. I don't remember.

                                           Page 15                                                Page 17
   1          Okay. Before you signed it, did you         1      Q. Have you spoken with Margarette Joseph
   2   understand that Exhibit 1 was your responses to    2   since PPT closed?
   3   questions posed by the Defendants in this          3      A. I don't remember. I don't remember.
   4   lawsuit?                                           4      Q. Thank you.
   5          MR. STEWART: Objection.                     5         When was the last time you spoke with
   6          To the extent that you seek an answer       6   Cyrus Sibert?
   7   that invades the attorney/client privilege, I'm    7      A. I can tell, the same day I presented
   8   instructing him not to answer.                     8   my case, that's the day I spoke with Cyrus.
   9          You can tell him what you understood.       9      Q. Have you spoken with him since?
  10   BY MR. BABBITT:                                   10      A. I don't remember.
  11      Q. I'm sorry, I need an answer.                11      Q. Do you use e-mail?
  12      A. I just signed it because I understood.      12      A. No.
  13      Q. And what was it that you understood         13      Q. Do you have a phone?
  14   when you signed it?                               14      A. Yes.
  15          MR. STEWART: Object to form.               15      Q. Do you send text messages?
  16      A. I can't say because I did this, spoke       16      A. No.
  17   with my lawyer. My lawyer can give you more       17      Q. Have you ever sent text messages?
  18   details about that.                               18         MR. STEWART: Objection.
  19          MR. BABBITT: Let's go off the record       19      A. Rephrase the question for me.
  20   for a minute.                                     20   BY MR. BABBITT:
  21          THE VIDEOGRAPHER: Going off the            21      Q. Have you ever sent a text message?
  22   record. The time is 9:16.                         22         MR. STEWART: Objection.
  23          (Off the record discussion.)               23         THE TRANSLATOR: I did say text
  24          THE VIDEOGRAPHER: Back on the record.      24   messages in Creole. He say he doesn't take
  25   The time is 9:21.                                 25   unless -- I didn't interpret. He said in Creole


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   1   they use SMS.                                   1          Sometimes you will see people laugh or
   2   BY MR. CERRETA:                                 2   smile when you give an answer. They're not
   3      Q. SMS messages, that's another word for     3   making fun or laughing at you. They ask a
   4   text messages?                                  4   question, you answered it, and they -- you
   5      A. Yes.                                      5   answered it exactly as they asked it, and they
   6          THE TRANSLATOR: I haven't lived here     6   are laughing at the question they asked
   7   in a long time, so they start in Haiti.         7   themselves. They're not laughing at you,
   8          MS. XIA: It's the same.                  8   they're laughing at the way they ask a question.
   9          MR. STEWART: Ask if he knows what an     9   Sometimes as attorneys we ask questions, we know
  10   SMS message is.                                10   what we mean to ask, but what comes out is
  11      A. No.                                      11   something entirely different, and it amuses us
  12   BY MR. BABBITT:                                12   when we get caught doing something like that.
  13      Q. Are you married?                         13   It makes us laugh at ourselves. So when they
  14      A. No.                                      14   ask you where are you living right now, you
  15      Q. Have you ever been married?              15   answered correctly, but they're amused because
  16      A. No.                                      16   they asked a very literal question -- they asked
  17      Q. Do you have a girlfriend?                17   a very specific question and got a very specific
  18      A. I had a girlfriend, but actually we're   18   answer, and it tickled him, it made him laugh at
  19   not together anymore.                          19   the way he had asked the question. They're not
  20      Q. When did you start -- what's this        20   laughing at you.
  21   person's name?                                 21          Correct.
  22      A. Jeslyn.                                  22          MR. BABBITT: Yes.
  23      Q. Jeslyn?                                  23          MR. STEWART: Okay? Thank you.
  24      A. Jeslyn.                                  24   BY MR. BABBITT:
  25      Q. How long did you -- how long was         25      Q. So you live in the Blue Hills

                                         Page 19                                               Page 21
   1    Jeslyn your girlfriend?                        1   neighborhood of Cap-Haïtien in Haiti?
   2      A. Approximately I can say one year and a    2      A. Yes.
   3    half.                                          3      Q. And who lives there with you?
   4      Q. Did you live together?                    4      A. My family, mother, father, sister.
   5      A. Not inside a house.                       5      Q. Your mother, your father, your sister.
   6      Q. Did you live together someplace else?     6   Anyone else?
   7      A. No.                                       7      A. We are five. Two sisters, only two
   8      Q. When did that relationship end?           8   sisters. We are five.
   9      A. I don't remember. We just not             9      Q. Okay. What are the names of your
  10    together anymore.                             10   sisters?
  11      Q. Do you have any children?                11      A. Jean Diala. Jean Jalande.
  12      A. No.                                      12      Q. Is Jean Diala older or younger than
  13      Q. Where do you live today?                 13   you?
  14      A. Where do I live today?                   14      A. She is younger than me. I'm the
  15      Q. Yes.                                     15   older.
  16      A. Here.                                    16      Q. Okay. And how much younger?
  17      Q. At the hotel?                            17      A. I'm the older. Yes, I'm the older.
  18      A. Yes.                                     18      Q. Right.
  19      Q. In Haiti, before you came to the hotel   19          How much younger is she than you are?
  20    where we are today, where do you live?        20      A. I don't know. I'm the older. I'm
  21      A. Rephrase the question for me.            21   older than her.
  22      Q. Where do you live in Haiti?              22      Q. Is she still in school?
  23      A. Blue Hills.                              23      A. Yes.
  24          MR. STEWART: Can I interrupt for a      24      Q. What grade?
  25    minute?                                       25      A. I don't remember.


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   1       Q. What school does she go to?                   1   BY MR. BABBITT:
   2       A. I don't remember the name of the --           2      Q. Could you keep your voice up, please?
   3    Lycee in Haiti is kind of high school, they call    3      A. Yes, I'm going to do.
   4    it Lycee in Haiti, I don't remember the name of     4     Q. Does your brother John Eddy have a
   5    the Lycee.                                          5   job?
   6       Q. Does Jean Diala have any children?            6      A. No.
   7       A. No.                                           7      Q. Has he ever had a job?
   8       Q. Does she have a job?                          8      A. No.
   9       A. No.                                           9      Q. Is your brother Jean Eddy married?
  10       Q. Has she ever had a job?                      10      A. No.
  11       A. No.                                          11      Q. Does he have any children?
  12       Q. How about Jean Jalande, does she go to       12      A. No.
  13    school?                                            13      Q. Your brother Jean Jonas, is he older
  14       A. Yes.                                         14   than you?
  15       Q. What school does she go to?                  15      A. Yes. I'm the third one.
  16       A. I don't remember the name of the             16      Q. And Jean Jonas, where does he live?
  17    school. Simply she does go to school.              17      A. Plaisance.
  18       Q. Does Jean Jalande go to the same             18      Q. Does he live with John Eddy?
  19    school as Jean Diala?                              19         THE TRANSLATOR: Excuse me. I didn't
  20       A. No.                                          20   hear what he said.
  21       Q. Who is older, Jean Diala or Jean             21      A. Yes.
  22    Jalande?                                           22      Q. Is Jean Jonas married?
  23       A. Jean Diala is the older.                     23      A. No.
  24       Q. Are you older than Jean Jalande?             24      Q. Does he have any children?
  25       A. Jean Jalande is the youngest one.            25      A. No.


                                             Page 23                                                 Page 25
   1      Q. Does Jean Jalande have any children?           1     Q.   Does Jean Jonas have a job?
   2      A. No.                                            2     A.   No.
   3      Q. Does she have a job?                           3     Q.   Has he ever had a job?
   4      A. No.                                            4     A.   No.
   5      Q. Has she ever had a job?                        5     Q.   You live with your mother?
   6      A. No.                                            6     A.   Yes.
   7      Q. How many brothers do you have?                 7     Q.   What is her name?
   8      A. Two.                                           8         THE TRANSLATOR: I'm going to ask him
   9      Q. What are their names?                          9   to rephrase the name for me.
  10      A. Jean Eddy, Jean Jonas.                        10      A. Annaïra Saint Pierre.
  11      Q. How old is Jean Eddy?                         11      Q. And she is married to your father?
  12      A. I can't tell. He's the older. I               12      A. They're not married.
  13    don't know his age.                                13      Q. What is your father's name?
  14      Q. Is Jean Eddy older than you?                  14      A. Jean Polemon.
  15      A. Yes, he's the oldest.                         15      Q. Does he have a job?
  16      Q. Where does he live?                           16      A. No.
  17      A. In the countryside of Plaisance.              17      Q. Has he ever had a job?
  18      Q. Is that part of Cap-Haïtien?                  18      A. No.
  19      A. Yes, in the north end part.                   19      Q. Does your mother have a job?
  20      Q. Does he have a job?                           20      A. No.
  21           THE INTERPRETER: The interpreter            21      Q. Has she ever had a job?
  22    would like to make a clarification. Would you      22      A. No.
  23    mind asking him to speak up, please?               23      Q. How long have you lived in this house
  24           MR. BABBITT: The witness?                   24   with your mom and your dad and your two sisters?
  25           THE TRANSLATOR: Yes.                        25      A. Since the day -- since the time I


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   1   moved to Cap-Haïtien.                               1   of Cap-Haïtien after PPT closed?
   2      Q. How old were you when you moved to            2      A. Yes. Because everywhere I went they
   3   Cap-Haïtien?                                        3   were teasing me. I didn't have any value in the
   4      A. I don't remember.                             4   area, and that cause some -- I didn't want to
   5      Q. Were you very little when you moved to        5   get in.
   6   Cap-Haïtien?                                        6      Q. When you were attending school at the
   7          THE TRANSLATOR: The witness is               7   Village, did you live at home with your mom and
   8   nodding his head sometimes on his answer. Can       8   your dad?
   9   you let him know that, please?                      9      A. Yes.
  10           MR. STEWART: He answered yes. Let's        10      Q. Do you have a job?
  11   just move on.                                      11      A. I did wash cars, made 100 gourdes,
  12           MR. BABBITT: Are you --                    12   sometimes I stood behind a camionette,
  13          THE TRANSLATOR: I interpret whatever        13   camionette.
  14   he is saying. I'm not here to answer nodding.      14          THE TRANSLATOR: I would like to
  15   I just say that so I can let you know that.        15   clarify, that's kind of public transportation
  16           MR. BABBITT: Fair.                         16   they call tap-tap in Cap-Haïtien, he stand
  17          THE TRANSLATOR: The answer was yes.         17   behind him, sometimes he made 300 gourdes.
  18           MR. BABBITT: The answer was yes.           18          MR. STEWART: I need you to translate
  19   Thank you.                                         19   what he said. If there's a question, they can
  20      Q. How many rooms are there in the house        20   ask you to fill in details. You translate what
  21   you live in with your mother and your father and   21   he says to Creole, you translate what he says to
  22   your sisters?                                      22   English. If there's any need for any
  23      A. One.                                         23   explanation, he'll ask for it.
  24      Q. One room.                                    24          THE TRANSLATOR: Stood behind a
  25           Have you ever slept on the streets in      25   camionette. Fair enough.


                                            Page 27                                                 Page 29
   1   Cap-Haïtien?                                        1   BY MR. BABBITT:
   2      A. At the beginning I used to do that,           2      Q. Have you ever had any other jobs other
   3   but because of my mom -- because of my mother I     3   than washing cars and standing behind the
   4   don't do that anymore. I used to do that            4   tap-tap?
   5   before, sleeping in the street, but if I go out     5      A. I used to work in construction, they
   6   and I stay for a long time in the street, that      6   give me 250 gourdes, and carrying concrete. But
   7   was driving her crazy, so I'm trying to protect     7   there was a day when I went to ask for a job in
   8   her. I don't do that anymore.                       8   construction, at the time I stepped in all the
   9      Q. When did you start sleeping on the            9   bosses were laughing at me, teasing me, they
  10   street in Cap-Haïtien?                             10   were calling me Mrs. Douglas, faggot. I can't
  11      A. I can't say.                                 11   bear on the seat because my anus.
  12      Q. Did you sleep on the street before you       12          THE TRANSLATOR: The interpreter -- he
  13   started attending Rue 13?                          13   said what in English -- in Creole I don't really
  14      A. No, because of what Douglas have done.       14   know how to translate that. He ask me if I'm
  15   And everywhere I go they're teasing me, and        15   done.
  16   sometimes I just leave the area, I just don't      16      Q. Let me try another way.
  17   want to stay, leave the area.                      17          When did you start working in
  18      Q. When you started attending Rue 13,           18   construction?
  19   were you sleeping on the streets of Cap-Haïtien?   19      A. I can't tell, but there was a time
  20      A. No. I was home.                              20   that I went to look for a job, but when I got
  21      Q. So you were living with your mom and         21   there all the bosses were teasing me, they are
  22   your dad and your sisters when you started         22   calling me faggot, Douglas wife, and you have a
  23   attending Rue 13?                                  23   -- your anus is tapped with a -- your anus is
  24      A. Yes.                                         24   tapped with a bag of corn. And I was ashamed,
  25      Q. Did you start sleeping on the streets        25   and I turn around bowing my head. I was upset,


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   1   and I was thinking of killing myself, and threw     1   the same thing.
   2   my head, threw myself.                              2          Are you familiar with the Project
   3          THE TRANSLATOR: The interpreter would        3   Pierre Toussaint?
   4   like to look for a word he just said. I have to     4      A. Rephrase the question for me.
   5   look how to say "puits" in English, if you don't    5      Q. Have you ever heard of Project Pierre
   6   mind.                                               6   Toussaint?
   7          MR. BABBITT: Okay.                           7      A. Yes. I was in the project, I was part
   8          THE TRANSLATOR: Wakes, they call it          8   of the project, and the project was closed when
   9   wakes. They hold down water, and they call it       9   I was there.
  10   wakes in this country, wakes.                      10      Q. All right.
  11          MR. BABBITT: Wakes?                         11      A. May I have a break? I would like to
  12          MR. FOLKMAN: Like a boat?                   12   urinate.
  13          MR. BABBITT: Like a wave in the             13      Q. Just let me finish this one question.
  14   water?                                             14          Was Rue 13 part of the project?
  15          THE TRANSLATOR: Well --                     15      A. I remember when I was in Rue 13 my
  16          MR. BABBITT: A place water comes out.       16   uniform was -- it said PPT.
  17          THE TRANSLATOR: Where water comes           17      Q. And was the Village part of PPT as
  18   out, yeah. He wanted to throw himself in there     18   well?
  19   just to kill himself.                              19      A. Yes. You pass in Rue 13 first after
  20      Q. How long did you work in construction        20   they send to the Village.
  21   before this incident occurred in which the         21          MS. XIA: Can we take a break now?
  22   bosses were laughing at you and teasing you?       22          MR. STEWART: He needs --
  23      A. I can't say -- tell. Simply that day         23          MR. BABBITT: I got it. I just wanted
  24   I had a very bad day.                              24   to finish these questions.
  25      Q. Did that incident of the bosses              25          MR. STEWART: He has an issue, when he


                                            Page 31                                                Page 33
   1    teasing you happen on the first day that you       1   has to go he has to go right away.
   2    worked in construction?                            2          MR. BABBITT: Thanks. All right.
   3       A. I used to work before it was -- I just       3          THE VIDEOGRAPHER: Going off the
   4    got to ask for a job, and the bosses were          4   record. The time is 9:53.
   5    teasing me.                                        5          (Whereupon, a recess was taken.)
   6       Q. So the bosses started teasing you when       6          THE VIDEOGRAPHER: Back on the record.
   7    you asked for a job in construction?               7   The time is 10:01.
   8       A. All the bosses when I stepped in             8   BY MR. BABBITT:
   9    started laughing at me, teasing me, "we don't      9      Q. When was the last time you saw a
  10    give faggots jobs here."                          10   nurse?
  11       Q. When is the last time you saw a             11      A. I never seen a nurse.
  12    doctor?                                           12      Q. Have you seen any other medical
  13       A. I don't remember. Only when I was in        13   professionals?
  14    PPT.                                              14      A. No.
  15       Q. You saw a doctor when you were a            15      Q. Okay. Have you ever spent the night
  16    student at PPT?                                   16   at a hospital?
  17       A. Yes. The doctor is there sometimes          17      A. No.
  18    when I have headaches, fevers, and I went and     18      Q. Have you ever been arrested?
  19    they take care of me.                             19      A. No.
  20       Q. Have you seen a doctor since you --         20      Q. Have you ever sniffed paint thinner?
  21    since PPT closed?                                 21          THE TRANSLATOR: What is -- I
  22       A. No.                                         22   understand paint. What is thinner?
  23       Q. In some of my questions and in some of      23          MR. BABBITT: It is a substance used
  24    your responses we have both used the letters      24   to cut paint. It's a chemical.
  25    PPT. I want to be sure we're both talking about   25      Q. Do you know any boys who attended Rue


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   1    13 who sniffed paint thinner?                    1      Q. People tease you every day?
   2           MR. STEWART: Objection.                   2      A. Yeah. If they knew that you were at
   3       A. I don't know.                              3   the Village, when you're passing by they kept
   4    BY MR. BABBITT:                                  4   teasing you, calling you Mrs. Douglas, faggot.
   5       Q. Did any boys who attended the Village      5      Q. Do you know these people who are
   6    sniff paint thinner?                             6   teasing you?
   7           MR. STEWART: Objection.                   7      A. No, I don't know them. People that
   8       A. I don't know.                              8   live in the neighborhood, close to the Village,
   9    BY MR. BABBITT:                                  9   simply if they were aware you were at the
  10       Q. Do you know if any boys who attended      10   Village and you used to go to school, passing by
  11    Rue 13 used drugs?                              11   going to school there, they start teasing you.
  12           MR. STEWART: Objection.                  12      Q. How long has this teasing gone on?
  13       A. I don't know.                             13      A. Until now they kept teasing me. In
  14    BY MR. BABBITT:                                 14   the area where I'm living now, I don't have any
  15       Q. Do you know if any students who           15   value. It's like a banana peels, messed up
  16    attended the Village used drugs?                16   banana peels, doesn't have any value.
  17           MR. STEWART: Objection.                  17      Q. When did they start teasing you?
  18       A. I don't know.                             18      A. Since the Village has been closed
  19    BY MR. BABBITT:                                 19   until now, I still teasing.
  20       Q. Have you ever used drugs?                 20      Q. How many gallons of kleren do you
  21       A. I used to do that, but I didn't do it     21   drink a day?
  22    anymore.                                        22          MR. STEWART: Objection.
  23       Q. What drug did you take when you -- did    23      A. I don't drink gallons. Simply I used
  24    you use when you took drugs?                    24   to buy for 10, 10 gourdes, 15 gourdes, 20
  25       A. Cigarettes.                               25   gourdes.


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   1       Q. Cigarettes.                                1   BY MR. BABBITT:
   2           Any other drugs?                          2      Q. Is that what a gallon cost, 10
   3       A. No.                                        3   gourdes, 15 gourdes, 20 gourdes?
   4       Q. Were these cigarettes tobacco, or          4      A. Yeah. The quantity I need, any
   5    marijuana, or something else?                    5   quantity I need, the money I have they're going
   6       A. Tobacco.                                   6   to sell me, they're going to sell me a portion.
   7       Q. Do you drink alcohol?                      7   Like you see in that, this can cost 15 gourdes.
   8       A. A lot.                                     8      Q. You're pointing to the water glass
   9       Q. What kind of alcohol do you drink?         9   that's on the table in front of the interpreter,
  10       A. Kleren.                                   10   and you're telling us that a glass of that size
  11       Q. Does that alcohol come in a bottle or     11   could cost 15 gourdes?
  12    a can?                                          12      A. Yes.
  13       A. Something that prepared -- is made        13      Q. And is that how much you would drink
  14    with sugar cane, and it sell by gallon.         14   in a day?
  15       Q. How much does a gallon cost?              15      A. Yeah. When it's over, if I feel like
  16       A. I don't know what I used to buy.          16   I can drink some more, I get some more.
  17       Q. Do you drink this kleren now?             17      Q. Sometimes you drink more than one
  18       A. Yes, now.                                 18   glass of that size per day?
  19       Q. Do you drink every day?                   19      A. Yes.
  20       A. Yes. Every time I'm thinking about        20      Q. Okay. And because we have the video
  21    that, each time I'm passing by and people are   21   here, why don't you just hold up that glass so
  22    teasing me, Douglas wife, Mrs. Douglas, that    22   we can see it.
  23    cause me to drink.                              23          THE VIDEOGRAPHER: Can you translate
  24       Q. And do you drink this kleren everyday?    24   that?
  25       A. Yes.                                      25          MR. BABBITT: Do you have it, Chris?


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   1        THE VIDEOGRAPHER: Once he holds it            1   Village?
   2   up.                                                2      A. No.
   3      Q. Can you hold up the glass?                   3      Q. Did either of your brothers attend any
   4      A. Yes, a cup like that might cost like         4   other school that was part of PPT?
   5   $15. When I finish this cup, I can buy another     5      A. No, simply myself. No, simply myself
   6   one.                                               6   who pass in Rue 13, and after Rue 13 I went to
   7      Q. Okay. Thank you.                             7   PPT.
   8         When did you first start drinking            8      Q. And before you started attending Rue
   9   alcohol?                                           9   13, did you know that Rue 13 fed students?
  10      A. Since the Village was closed.               10      A. Rephrase the question for me again.
  11      Q. You didn't drink any alcohol before         11      Q. Before you started attending Rue 13,
  12   you attended the Village?                         12   did you know that the students at that school
  13      A. No.                                         13   were fed meals?
  14      Q. What was the first school you               14      A. Yes, after school they give them some
  15   attended?                                         15   meals.
  16      A. Rue 13.                                     16      Q. Okay. And before you started
  17      Q. Before you attended Rue 13, did you         17   attending Rue 13, did you know that the school
  18   know any students who attended that school?       18   gave the students a place to wash?
  19      A. Rephrase the question for me again.         19      A. No. Simply when I came and they
  20      Q. Before you started attending Rue 13,        20   showed us everything, stuff like education,
  21   did you know any students who had attended that   21   food, showers, bath.
  22   school?                                           22      Q. Before you started attending Rue 13,
  23      A. Rue 13?                                     23   did you know that the school taught students how
  24      Q. Rue 13.                                     24   to read Creole?
  25      A. Yes.                                        25      A. When I got there I saw all those


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   1      Q. What students did you know?                  1   things were involved.
   2      A. I don't remember.                            2      Q. Did you know what the school taught
   3      Q. Did those students tell you anything         3   before you got there?
   4   about Rue 13 before you started going there?       4      A. Yes, I knew simply when I got there
   5      A. Yes. Simply if I didn't find somebody        5   they were teaching us how to write.
   6   to sell me that, explain me that, I wouldn't       6      Q. And did you know before you started
   7   know. Someone has explained me, that's why I       7   attending Rue 13 that they would teach you how
   8   heard about, that's why I went there. Because      8   to read Creole?
   9   my parents didn't have the possibility to send     9      A. Creole is my official language.
  10   me to school.                                     10      Q. And did you know before you started
  11      Q. Do you remember the name of anyone who      11   attending Rue 13 that they would teach you how
  12   told you about the school at Rue 13 before you    12   to read Creole?
  13   went there?                                       13          MR. STEWART: Objection.
  14      A. I don't remember.                           14      A. Yes. Simply Creole is my language,
  15      Q. Did your brothers attend any part of        15   when I get there I'm going to adapt myself very
  16   the schools at PPT?                               16   well. That's my language.
  17      A. What borders?                               17   BY MR. BABBITT:
  18      Q. Brothers.                                   18      Q. And did you want to attend Rue 13 to
  19      A. My brothers?                                19   learn to read Creole?
  20      Q. Yes, your brothers.                         20      A. Yes, because my parents didn't have
  21      A. Rephrase the question for me again.         21   the possibility to help me and everything I need
  22      Q. Did either of your brothers attend Rue      22   like education, feed me.
  23   13?                                               23      Q. And Rue 13 would -- did you know or
  24      A. No.                                         24   believe that Rue 13 would provide you an
  25      Q. Did either of your brothers attend the      25   education and meals?


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   1          MR. STEWART: Objection.                      1      Q. Okay. Take a look at Interrogatories
   2       A. Yes.                                         2   5 and 14 in your Exhibit 1 which says
   3    BY MR. BABBITT:                                    3   approximately two years was the period that you
   4       Q. Was there any other reason you started       4   attended Rue 13.
   5    attending Rue 13?                                  5          MR. STEWART: 5 and what? 14?
   6       A. There isn't. I already told you,             6          MR. BABBITT: 14.
   7    because my parents didn't have the possibility     7   BY MR. BABBITT:
   8    to help me and everything I need, and I went to    8      Q. My question is, is that accurate,
   9    Rue 13.                                            9   approximately two years?
  10       Q. Before you attended Rue 13, did you         10      A. I don't see it yet.
  11    know anything about the Village?                  11          MR. STEWART: You went to PPT in
  12       A. No.                                         12   approximately 2002 -- or 2003 rather, and then
  13       Q. Before you attended Rue 13, had anyone      13   Number 5 says that the first school you went to
  14    told you that Doug Perlitz sexually abused        14   was the Center at Rue 13 in 2003, and then in
  15    students at the Village?                          15   2005 you started to go to the Village. Does
  16       A. I don't know. Simply when I got to          16   that sound right?
  17    the Village, Douglas has abused me.               17      A. Yes.
  18       Q. Before you started attending Rue 13,        18   BY MR. BABBITT:
  19    no one had told you that Doug Perlitz was         19      Q. And when you were answering Question
  20    sexually abusing students at the Village?         20   Number 5, do you recall how you concluded that
  21       A. No, simply, if I knew I wouldn't go to      21   those years were correct?
  22    the Village.                                      22      A. What year are you talking about?
  23       Q. When you started attending Rue 13, did      23      Q. Well, in Question Number 5 you said
  24    you know any other students there?                24   you started at Rue 13 in about 2003.
  25       A. We were like one. We were like              25      A. Yes, 2003, and they sent me to the


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   1   student, but we were like one.                      1   Village in 2005.
   2      Q. Before you started attending Rue 13,          2      Q. Right.
   3   did you know any of the students that were          3          My question is, when you were
   4   already attending the school?                       4   responding to Question 5, do you recall how you
   5      A. I did tell us that question already.          5   understood -- how you knew that was the correct
   6         MR. STEWART: What he wants to know is         6   year?
   7   before you started going to Rue 13, did you know    7      A. Yeah, they were correct because they
   8   anyone else that was going, any of your friends     8   are -- write them for me, everything said was
   9   going, anybody that you knew by name, were they     9   correct.
  10   already attending Rue 13. So what he's asking      10      Q. When you attended Rue 13, did you
  11   you is did you know the names of anyone            11   attend every day?
  12   attending Rue 13 before you started going to Rue   12      A. Yes.
  13   13.                                                13      Q. Did you ever skip a day?
  14         True?                                        14          MR. STEWART: Objection.
  15         MR. BABBITT: Yes.                            15      A. I never skip a day.
  16      A. I don't remember.                            16   BY MR. BABBITT:
  17         MR. STEWART: What was the answer?            17      Q. What time did school at Rue 13 start
  18         MR. BABBITT: He doesn't remember.            18   when you were there?
  19         MR. STEWART: Okay.                           19      A. Every morning I go in the morning, and
  20   BY MR. BABBITT:                                    20   they have program for us, then challenge.
  21      Q. When did you start attending Rue 13?         21   Midday after finish eating we go out, and come
  22      A. I can say approximately 2003, 2004.          22   back at 1.
  23      Q. How long did you attend Rue 13?              23      Q. What time in the morning did you go to
  24      A. I don't remember. Simply that they           24   Rue 13?
  25   sent me to the Village after.                      25      A. Every morning at dawn I take the road


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   1   and go.                                              1      A. They play with us until noon, we eat
   2      Q. How long did it -- did you walk to Rue         2   again, and we go out and come back at 1.
   3   13?                                                  3      Q. Who would play with you until noon?
   4      A. I walk a lot. Sometimes my feet hurt           4      A. I don't remember.
   5   a lot.                                               5      Q. Were these teachers?
   6      Q. How long did it take you to walk from          6      A. Yes.
   7   your home to Rue 13?                                 7      Q. Were they Haitian teachers, or other
   8      A. I can't say. I can tell. It's simply           8   people?
   9   coming from Blue Hills to Rue 13, my feet hurt.      9      A. Haitian.
  10   And in the afternoon I have to go back walking      10      Q. How many of them were there?
  11   on foot.                                            11      A. I can't say. I cannot say, but they
  12      Q. How many students attended Rue 13 on a        12   used to have --
  13   typical day?                                        13      Q. What kind of games did they play?
  14      A. I don't know. They also have a lot.           14      A. Soccer, play music, dance, dance
  15      Q. What's your best estimate of the              15   challenge.
  16   number?                                             16      Q. When you'd returned at 1:00 o'clock,
  17          MR. STEWART: Objection.                      17   did you have another meal?
  18      A. I can't give an estimate. I cannot            18      A. Yeah. When the school is technically
  19   make that calculus. Simply there were a lot of      19   over, and they give us the last meal and we go
  20   kids.                                               20   home.
  21   BY MR. BABBITT:                                     21         I need a break because I have to
  22      Q. What was the first thing you did              22   urinate very often, that's my problem.
  23   during the day when you got to Rue 13?              23          MR. STEWART: Okay.
  24          MR. STEWART: Objection.                      24         THE VIDEOGRAPHER: Going off the
  25      A. The first thing you did when you get          25   record. The time is 10:35.

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   1    there, you got a bucket, go to the wells and get    1          (Whereupon, a recess was taken.)
   2    some water to shower. After I finish my bath I      2          THE VIDEOGRAPHER: Back on the record.
   3    go to eat. After a while it's a program for us,     3   The time is 10:44.
   4    dance challenge, play. Afternoon we eat again,      4          THE TRANSLATOR: Before you proceed,
   5    and we go out and we came back at 1 to start        5   the interpreter would like to make a
   6    school.                                             6   clarification.
   7    BY MR. BABBITT:                                     7          MR. BABBITT: Okay.
   8       Q. When you arrived at Rue 13, would you         8          THE TRANSLATOR: I want that to be on
   9    change into -- change your clothes and wear a       9   the record, please, if you don't mind.
  10    uniform?                                           10          MR. STEWART: It is.
  11       A. Yes. When at the school when we have         11          MR. BABBITT: It is on the record.
  12    a break at noon, we get in at 1. When we go at     12          THE TRANSLATOR: Okay. When I was
  13    1, we take off our clothes, we wear the uniform,   13   going to the bathroom, the witness made a
  14    we wear a PPT uniform.                             14   comment that it looked like I'm missing -- "my
  15       Q. You would only start wearing the PPT         15   deposition is not accurate," what he said in the
  16    uniform at 1:00 o'clock?                           16   bathroom, and Elysée was a witness.
  17       A. Yes. Rue 13, school starts at 1.             17          And I've been doing this in ten years,
  18       Q. I see.                                       18   more than ten years I've been doing
  19           Were you served a meal or any other --      19   interpretation in Spanish, French and Creole in
  20    any food of any kind when you arrived at Rue       20   the United States, and when I was living here in
  21    13 in the morning?                                 21   the Dominican Republic, almost 15 years.
  22       A. Yes, simply everything, when I got           22          That's how I do business, when
  23    there after the shower I went to eat.              23   lawyers, a witness, defense lawyer, whoever have
  24       Q. And after you ate, you had a dance           24   doubt about what you said, you have to withdraw.
  25    challenge?                                         25   So I'm not going to continue. I'm going to let


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   1   my job know that. That's the way -- that's the      1   BY MR. BABBITT:
   2   way it is. Whoever has doubt in what you say,       2      Q. Did they teach you how to read Creole?
   3   you have -- there is no way you can continue.       3      A. Yes.
   4   He has to be confident what I'm saying, it's        4      Q. What other subjects did you learn
   5   accurate, it's good.                                5   there?
   6          He said it in a kind of "I'm from            6      A. Mathematics, grammar, everything.
   7   Haiti." Nationally, culturally I know what he       7      Q. Okay. What was the name of your
   8   meant. "You have to do everything, say              8   teacher at Rue 13?
   9   everything," something like that. And his           9      A. Margarita.
  10   understanding, his knowledge, he think I'm not     10      Q. Did she teach all of the subjects you
  11   doing something right.                             11   learned there?
  12          So I'm just going to shoot an e-mail        12      A. Yes. Rue 13, yes.
  13   to my job and let them know that, so I have to     13      Q. Was that the only teacher you had at
  14   withdraw. I'm sorry. That's how I do business,     14   Rue 13?
  15   if there's a doubt about what I'm saying. So       15      A. Yes, Margarita. There were other
  16   there's no way I can continue.                     16   teachers, but I didn't go to them. I went to
  17          MR. BABBITT: I see. Okay.                   17   Margarita, and then after that I went to the
  18          MR. FOLKMAN: Okay.                          18   Village.
  19          MR. BABBITT: I guess we go back off         19      Q. And at the end of the day after your
  20   the record.                                        20   classes, did you eat another meal at Rue 13?
  21          THE VIDEOGRAPHER: Going off the             21      A. Yeah, when school was out it would
  22   record. The time is 10:46.                         22   give you a last meal before we left.
  23          (Whereupon, a recess was taken.)            23      Q. And what time did you leave Rue 13 on
  24          THE VIDEOGRAPHER: Back on the record.       24   a typical day?
  25   The time is 11:08.                                 25      A. School would be out around 4 or

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   1          NATALIE COUPET, Translator,                  1   5:00 p.m., after we finished eating we would
   2   having been duly sworn to translate the             2   leave.
   3   questions and answers to the best of her            3      Q. Did you know Andy Schultheis?
   4   ability, translated as follows:                     4      A. I know Andy.
   5                                                       5      Q. You know someone named Andy, you don't
   6   BY MR. BABBITT:                                     6   remember his last name?
   7       Q. So when you were attending Rue 13, you       7      A. No, I don't remember his last name.
   8   would play with the teachers until noon and then    8      Q. And was Andy at Rue 13?
   9   eat another meal, is that correct?                  9      A. Yes.
  10       A. Yeah, we used to play with the              10      Q. Was he there throughout the time that
  11   children. We had little programs, more like        11   you were there?
  12   dancing, and at noon we would eat, and then we     12      A. Yeah. And after that he left.
  13   would leave, we would go out until 1, and then     13      Q. And what was his job at Rue 13?
  14   we would go back in, and then school would         14      A. He would watch over us.
  15   start.                                             15      Q. Was the Andy that you're talking
  16       Q. And what subjects did you study at          16   about, was he a Haitian person or a United
  17   school?                                            17   States citizen?
  18       A. A lot of different subjects.                18          MR. STEWART: Objection.
  19       Q. Did you study writing Creole?               19      A. He was a white guy.
  20       A. Yes, they showed us things like that.       20          THE TRANSLATOR: I translated as a
  21   Creole is my mother tongue.                        21   white person instead of U.S. citizen.
  22           MR. STEWART: When you answer, try and      22          MR. BABBITT: Okay.
  23   speak up and look directly at Nathalie so she      23      A. A white guy. He's not a Haitian.
  24   can hear you, okay? Just keep your voice a         24   BY MR. BABBITT:
  25   little higher and look at her. Okay.               25      Q. Okay. Was Andy --


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   1         MR. STEWART: What did he say about            1      A. Yes.
   2   Douglas? He said something about Douglas that       2      Q. Why?
   3   wasn't translated.                                  3      A. It's because when they see, you know,
   4     A. Andy was the boss at Rue 13, and               4   Madame Calixte, Margarita, Margarette, and Andy,
   5   Douglas was the boss at the Village.                5   they're always looking, watching over you and
   6   BY MR. BABBITT:                                     6   controlling things, and if you're not too
   7     Q. Was Andy at Rue 13 every day?                  7   brazen, if you're not -- you're not bugging
   8     A. Yes, he's there. He's there                    8   people, if you're nice, nice, you behave well,
   9   sometimes. He's there.                              9   they put your name on the list to go to the
  10     Q. Were there other --                           10   Village.
  11     A. He can be there.                              11      Q. Did you want your name on the list to
  12     Q. Were there other white people who             12   go to the Village?
  13   worked at Rue 13 when you were there?              13      A. They've always talked to us about the
  14     A. I don't remember. Just Andy.                  14   Village. They put your name on the list to go
  15     Q. How often did you speak with Andy?            15   to the Village, but you don't know when it's
  16     A. He's always at the school. When we'd          16   happening. They're always watching, and if you
  17   have a break, when we'd go back at 1:00 p.m. we    17   behave well, when the day comes they call your
  18   put our uniforms, he's there with me and           18   name and you go to the Village.
  19   sometimes he prays with us, and after that we go   19      Q. Did Andy talk to you about the
  20   back to class, and then we go to work.             20   Village?
  21     Q. When you were attending Rue 13, did           21      A. Yes. All the staff was talking about
  22   you know Douglas Perlitz?                          22   the Village, how we should behave so that we
  23     A. I didn't know him yet.                        23   could be sent to the Village.
  24     Q. Did you ever see Douglas Perlitz at           24      Q. Was Madame Calixte a teacher at Rue
  25   Rue 13?                                            25   13?

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   1     A. I never saw him, just Andy.                    1      A. Yeah, she's there every morning,
   2     Q. Okay. Did you see any other white              2   Ms. Calixte. She's here really early, and she
   3   people visit Rue 13?                                3   cooks food, she gives food to people, and she
   4     A. I don't remember.                              4   stays in the afternoon, she stays in the
   5     Q. Do you know who Madame Carter is?              5   afternoon to teach.
   6     A. I met her when I came to the Village.          6      Q. While you were attending Rue 13, did
   7     Q. You never saw Madame Carter at Rue 13?         7   you know that students at the Village were fed
   8          I'm sorry, do you have an answer?            8   meals during the day?
   9     A. No.                                            9      A. Yeah, they always telling us that when
  10     Q. Okay. Thank you.                              10   you're at the Village you became very
  11          How about Pere Paul, did you ever see       11   respectable person, serious person, and you find
  12   Pere Paul at Rue 13?                               12   education and food easily.
  13     A. No, it's just when I got to the               13      Q. Was that why you wanted to go to the
  14   Village.                                           14   Village, to find education and food?
  15     Q. How did you start attending the               15      A. Yes.
  16   Village?                                           16      Q. Before you attended the Village, did
  17          MR. STEWART: Objection.                     17   anyone tell you that Doug Perlitz was sexually
  18     A. I started at the Village in 2005.             18   abusing students at the Village?
  19   BY MR. BABBITT:                                    19      A. No.
  20     Q. And how did you become a student at           20      Q. Before you attended the Village, had
  21   the Village?                                       21   you heard any rumors that Doug Perlitz was
  22     A. When they see at Rue 13 that you're           22   sexually abusing students at the Village?
  23   very well-behaved, normal, it's people like that   23      A. I've never heard that. Even if -- I
  24   that can go to the Village.                        24   would not have gone to the Village, even if my
  25     Q. Did you want to attend the Village?           25   name had been on the list I would not have gone.


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   1       Q. When you attended the Village, you           1   and they open.
   2    lived at home with your mother and father?         2     Q. Was there someone whose job it was to
   3       A. Yes.                                         3   open the gate?
   4       Q. And were your sisters living there at        4         MR. STEWART: Objection.
   5    the time?                                          5         THE WITNESS: Oui.
   6       A. Yes.                                         6   BY MR. BABBITT:
   7       Q. Were your brothers still living at the       7     Q. Who was that?
   8    house at that time?                                8     A. I don't remember.
   9       A. No.                                          9     Q. You don't remember that person's name?
  10       Q. Did you ever sleep over at the              10     A. No.
  11    Village?                                          11     Q. In the Village was there buildings
  12       A. No.                                         12   where students slept?
  13       Q. Can you tell us how many boys attended      13     A. Yes.
  14    the Village when you were there?                  14     Q. How many?
  15           MR. STEWART: Objection.                    15     A. I can't tell you, but there were some.
  16       A. I can't control. I can't know. A            16     Q. Were there buildings in which classes
  17    lot. I can't count them.                          17   were held?
  18    BY MR. BABBITT:                                   18     A. Yes.
  19       Q. Did you walk to the Village each day?       19     Q. More than one?
  20       A. Yes.                                        20     A. More.
  21       Q. Did you walk with any other students        21     Q. Do you know -- do you remember how
  22    to the Village each day?                          22   many?
  23       A. Those of us who didn't live at Blue         23     A. I don't know, but there were some.
  24    Hills, yes.                                       24     Q. Was there a football field?
  25       Q. Those of you who didn't live at Blue        25     A. Yes, and a basketball field also.

                                            Page 59                                               Page 61
   1    Hills, or those of you who lived at Blue Hills     1      Q. Was there a garden?
   2    walked together?                                   2      A. Yeah. There's a landscaping employee,
   3      A. Children who lived at Blue Hills, we          3   he does the gardens, and they plant some roots
   4    used to go in together.                            4   and peas, sweet potatoes.
   5      Q. And who else lived in Blue Hills that         5      Q. Okay. Did Douglas Perlitz have an
   6    went with you to the Village?                      6   office in the Village?
   7      A. Just simply the children living at            7      A. Yes, there's an office.
   8    Blue Hills, we used to go into the Village         8      Q. Did anyone else have an office?
   9    together.                                          9          MR. STEWART: Objection.
  10      Q. Do you know any of the names of the          10     A. When Douglas is not there, Robinson is
  11    children living in Blue Hills who went into the   11   usually in his office.
  12    Village together with you?                        12   BY MR. BABBITT:
  13      A. I don't remember.                            13     Q. Was Douglas the only person who had an
  14      Q. How many students lived in Blue Hills        14   office in the Village?
  15    and walked with you to the Village each day?      15      A. No. When he's not there the staff,
  16           MR. STEWART: Objection.                    16   Robinson is in the office.
  17      A. I can't count, but many.                     17      Q. But there was only one office in the
  18    BY MR. BABBITT:                                   18   Village?
  19      Q. Was the Village surrounded by a wall?        19      A. Yeah, I saw one office.
  20      A. Yes.                                         20     Q. Did you ever go into Douglas Perlitz's
  21      Q. And did the wall have a gate?                21   office?
  22      A. Yes, a big gate.                             22      A. Can you repeat the question, please?
  23      Q. Was the gate usually kept closed, or         23      Q. Did you ever enter Doug Perlitz's
  24    usually kept open?                                24   office?
  25      A. Closed. When you get there you knock,        25     A. I've never gone in. I stay outside.


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   1      Q. What else was in the building in which         1   live?
   2   Doug Perlitz had an office in the Village?           2      A. I can't tell us the distance, simply I
   3          MR. STEWART: Objection.                       3   would just get there. I can't really control
   4      A. I don't remember.                              4   the distance, appreciate the distance.
   5   BY MR. BABBITT:                                      5      Q. How long would it take you to walk
   6      Q. Was there a chapel -- I'm sorry.               6   from your home to the Village?
   7      A. I can't tell you.                              7      A. I can't tell you. I don't use a
   8      Q. Was there a chapel in the building?            8   watch. I can't tell you.
   9          THE TRANSLATOR: In the Village?               9      Q. When you got to the Village, you ate a
  10      Q. In the Village.                               10   meal?
  11      A. Yes.                                          11      A. Yes. When I got there I ate, and then
  12      Q. Were there any other buildings in the         12   a bell would ring for school to start.
  13   Village that I haven't mentioned?                   13      Q. When you started attending the
  14          THE TRANSLATOR: Can you repeat the           14   Village, you started in the first grade, is that
  15   question, please?                                   15   correct?
  16      Q. Okay. Were there any other buildings          16      A. Yes.
  17   in the Village other than those we've already       17      Q. And you progressed through the grades
  18   talked about today?                                 18   and took your sixth grade exam, is that correct,
  19      A. I don't remember.                             19   at the Village?
  20      Q. What time of day would you typically          20          MR. STEWART: Objection.
  21   go to the Village?                                  21      A. Yes.
  22          MR. STEWART: Objection.                      22   BY MR. BABBITT:
  23      A. Every morning I would clean myself,           23      Q. Who were your teachers when you
  24   and put my uniform, and then get in. And then       24   attended the Village?
  25   when I get there I go eat, and then a bell rings    25      A. There were many. Well, those I can

                                            Page 63                                                 Page 65
   1    to start school.                                    1   remember, on the first year there was Giovanni
   2    BY MR. BABBITT:                                     2   and Ms. Fania.
   3       Q. What time every morning would you get         3      Q. When you were studying at the Village,
   4    to the school?                                      4   did you study Creole?
   5           MR. STEWART: Objection.                      5      A. Yes.
   6       A. School starts at 8.                           6      Q. Did you study math?
   7    BY MR. BABBITT:                                     7      A. Yes.
   8       Q. And you wore a uniform every day?             8      Q. Science?
   9       A. Yes.                                          9      A. I don't understand the question.
  10       Q. And did the school provide that              10      Q. You're not familiar with the word
  11    uniform?                                           11   science?
  12       A. Yes.                                         12      A. No.
  13       Q. What was the uniform that you wore?          13      Q. Did you study history?
  14       A. When I just started I had -- the first       14      A. Yes.
  15    uniform I got when I started was black shirt and   15      Q. Did you study religion?
  16    khaki pants. They were always teasing us and       16      A. I don't understand.
  17    saying, "oh, look at that uniform, what kind of    17      Q. When you were at the Village, did
  18    uniform is this?" They would always tease us,      18   anyone teach you about the church or God?
  19    with khaki we look like the police.                19      A. Yeah, they go with us to the chapel
  20       Q. Did you get a different uniform later        20   and teach us how to pray.
  21    on?                                                21      Q. What other subjects did you study at
  22       A. After that, yes, they changed and they       22   the Village?
  23    gave me a big, light sky blue, and dark blue       23      A. Grammar, French.
  24    pants.                                             24      Q. You studied French at the Village?
  25       Q. How far away from the Village did you        25      A. Yes.


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   1      Q. Any other topics beyond French and            1      Q. And you went on to the second grade?
   2   grammar?                                            2      A. Second, third.
   3          MR. STEWART: Objection.                      3      Q. And when you went to the second and
   4      A. I don't remember.                             4   the third class, or third grade, did you get
   5   BY MR. BABBITT:                                     5   grades in each of those grades, each of those
   6      Q. Did you take exams in the classes you         6   classes?
   7   took at the Village?                                7          MR. STEWART: Objection.
   8      A. Yes. When I had just entered the              8      A. I was good in school. Second, third,
   9   Village I did a small test. After that they         9   the two classes were fused, they hadn't built
  10   noticed that I wasn't adapted, so I went back to   10   the big building then, so you did two classes at
  11   the first year.                                    11   the same time. After the first year I did
  12      Q. Do you recall taking any tests or            12   second and third.
  13   exams after your first year?                       13   BY MR. BABBITT:
  14      A. Yeah, they made me do a test, the same       14      Q. And you were a good student in school?
  15   way, you know, when I was in Rue 13. Margarita     15          MR. STEWART: Objection.
  16   was teaching second class, and when I got to the   16      A. Yeah.
  17   Village they made me do a test where I wasn't,     17   BY MR. BABBITT:
  18   you know, I wasn't -- all the questions for the    18      Q. How do you know?
  19   second year I couldn't, so they made me go back    19          MR. STEWART: Objection.
  20   to the first year.                                 20      A. I always made a lot of efforts to have
  21      Q. Did you get grades in the classes you        21   good -- a good average to be able to stay.
  22   took at the Village?                               22   BY MR. BABBITT:
  23      A. When I was in the class during the           23      Q. Who told you your average?
  24   first year, Douglas and Robinson came into the     24      A. Repeat the question, please.
  25   class and said the child who would get the best    25      Q. You just said you made a lot of

                                            Page 67                                                 Page 69
   1   grades would get a present.                         1   efforts to have a good average. My question is,
   2      Q. Did you get grades in all of the              2   who told you what your average was?
   3   classes you took?                                   3      A. With regards to the work done in the
   4      A. Just that during the first year I had         4   school reports, my average was very high.
   5   the best grades.                                    5      Q. And did the teachers at each class
   6      Q. Did you get grades in your second             6   tell you what your average was?
   7   year?                                               7          THE TRANSLATOR: He said I did an
   8      A. Just that during the first year I had         8   average to get better, to go higher.
   9   the best average.                                   9      A. To go to the next class.
  10      Q. Did you get grades in your second            10      Q. Did the teachers of each class tell
  11   year?                                              11   you what your average was?
  12      A. Repeat the question, please.                 12      A. Yes, I had good grades in all
  13      Q. When you went to the Village, they           13   subjects.
  14   started you in the first grade, correct?           14      Q. Thank you.
  15      A. Yes.                                         15          Did you eat a meal in the middle of
  16      Q. And after -- and did you pass the            16   the day at the Village?
  17   exam, or pass out of the first grade?              17          MR. STEWART: Objection.
  18      A. I answered that question already.            18          THE TRANSLATOR: In the middle of the
  19   They made me -- they gave me an exam, and they     19   day?
  20   made me go back to the first grade.                20          MR. BABBITT: Yes.
  21      Q. I understand you went back and started       21      A. Yeah, when at the school was
  22   in the first grade.                                22   1:00 p.m., then bling-bling, and we went in and
  23          My question is, sir, did you complete       23   we went to eat.
  24   the first grade?                                   24   BY MR. BABBITT:
  25      A. Yes.                                         25      Q. What did do you in the afternoon when


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   1   you were at the Village?                            1      Q. Did you ever see Madame Carter at the
   2           MR. STEWART: Objection.                     2   Village?
   3       A. When school is out, we play.                 3      A. Yeah, I've seen her often.
   4   BY MR. BABBITT:                                     4      Q. How many times?
   5       Q. What did you play?                           5      A. I can't count, but she could -- she
   6       A. Soccer, sometimes basketball.                6   would come a lot.
   7       Q. Did you take any classes in the              7      Q. Did you ever speak to her?
   8   afternoon, or no?                                   8         THE TRANSLATOR: He needs to go to the
   9       A. No. I can only tell you that they            9   bathroom.
  10   divided the Village in three groups. So there      10         MR. BABBITT: Okay.
  11   was a group, the blue group, as of 1:00 p.m.,      11         THE VIDEOGRAPHER: Going off the
  12   when we were done eating they make us leave, and   12   record. The time is 11:59.
  13   then we go home. The children sleeping over,       13         (Whereupon, a recess was taken.)
  14   it's children who have no families at all, the     14         THE VIDEOGRAPHER: Back on the record.
  15   families are far away, they make them stay and     15   The time is 12:05.
  16   sleep there.                                       16   BY MR. BABBITT:
  17           THE TRANSLATOR: He wants to start          17      Q. When you saw Madame Carter at the
  18   again.                                             18   Village, did you ever speak to her?
  19       A. So the children at Blue Hills, after        19      A. No, I don't talk. She doesn't talk
  20   1:00 p.m. and school is out we're done eating,     20   Creole, speak Creole.
  21   they make us leave. The people in the city,        21      Q. What was she doing at the Village when
  22   they stay for classes, the children stay, the      22   you saw her?
  23   teachers that show them lessons. And those of      23      A. They come to the Village often, that's
  24   us at Blue Hills, we have to find a way to know    24   what -- they come there, especially during the
  25   our lessons, find a way to learn our lessons.      25   time of -- in December during Christmas, they


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   1       Q. So on a typical day, you would leave         1   come and they give us tennis shoes. Madame
   2    after lunch?                                       2   Carter, Father Paul, they're there. And even
   3       A. Yes, after 1:00 p.m., when the school        3   one day, once they gave me a Fairfield T-shirt.
   4    is out we eat and we get out.                      4      Q. How many times did Madame Carter and
   5       Q. Okay. When you were at the Village,          5   Father Paul give you tennis shoes?
   6    was the sixth grade the highest grade taught at    6      A. Every month in December they do that,
   7    the Village?                                       7   they distribute to us a gift and tennis shoes
   8       A. Yes. And then you have the state             8   every time in December, Christmastime, they
   9    exam, and then you pass it, and then they send     9   always come.
  10    you to a school outside.                          10      Q. Did you see Madame Carter at the
  11       Q. Did you take the state exam?                11   Village at any time other than Christmastime?
  12       A. No.                                         12      A. Can you repeat the question, please?
  13       Q. Did you attend any other schools            13      Q. Did you see Madame Carter at the
  14    outside of PPT?                                   14   Village at any time other than Christmas?
  15       A. No.                                         15      A. Yeah, when we're about to start
  16       Q. You never attended Sacred Heart?            16   vacation, when school is out she comes with a
  17       A. No. I didn't have that chance. The          17   group of visitors to wish us a good vacation,
  18    Village was already closed. And when I was at     18   and the visitors play soccer and basketball with
  19    this sixth class, I didn't have that              19   us.
  20    possibility. There was no one to help us. We      20      Q. How many times did Madame Carter come
  21    just had to fend for ourselves and do what we     21   to the school to wish you a good vacation and
  22    knew what to do.                                  22   bring visitors who played soccer and basketball
  23       Q. You never attended a school with the        23   with you?
  24    name of Sacred Heart?                             24      A. I can't count, but she always -- she
  25       A. No.                                         25   does that a lot, often.


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   1       Q. What time of year did the Village take       1   these people?
   2    vacation?                                          2      A. No.
   3       A. The big, long vacation when school is        3      Q. Did you speak with any of them?
   4    out.                                               4      A. No.
   5       Q. When in the year would that happen --        5      Q. Did you know Jessica Lozier?
   6    did that happen?                                   6      A. Yeah, I know Jessica.
   7       A. When school is out in the month of           7      Q. When you were -- where did you know
   8    June, after that.                                  8   Jessica from?
   9       Q. Vacation would start in June?                9      A. In the Village.
  10       A. Yeah, after that.                           10      Q. Was Jessica a friend?
  11       Q. And when would school start at the end      11          MR. STEWART: Objection.
  12    of vacations?                                     12      A. No.
  13       A. The school would start again in the         13   BY MR. BABBITT:
  14    month of September.                               14      Q. How about Brittany McLean, did you
  15       Q. Can you tell us the names of any of         15   know Brittany?
  16    the visitors who came to play soccer and          16      A. Yes, I knew Brittany.
  17    basketball with you?                              17      Q. Did she work at the Village?
  18       A. I don't know. I just know Madame            18      A. She was at the Village a lot. She was
  19    Carter. I wasn't used to seeing them.             19   at the Village.
  20       Q. How many times did you see Pere Paul        20      Q. Was she a friend of yours?
  21    at the Village?                                   21      A. No, no.
  22       A. I can't tell you how many, but Father       22      Q. Did you know Nick Preneta?
  23    Paul -- how many times, but Father Paul was       23      A. I don't know.
  24    always there.                                     24      Q. Did you know Sylvester Tan?
  25       Q. Did you speak with Pere Paul?               25      A. Yeah, I knew Silvester. He was a poet

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   1      A. No, he doesn't speak Creole.                  1   -- he was a priest. He used to go to the chapel
   2      Q. What did Pere Paul do when he was             2   and pray with us.
   3   there?                                              3      Q. When you attended the Village, did you
   4      A. I remember in 2006 when I was about to        4   know where Douglas lived?
   5   make my Communion, Father Paul was there, he was    5          MR. STEWART: Objection.
   6   wearing this gown, you know, like father --         6      A. Above Bel Air. Up in Bel Air.
   7   priests do, he was there when I was about to do     7   BY MR. BABBITT:
   8   my Communion.                                       8      Q. Do you know who else lived at Bel Air
   9      Q. You made your First Communion in 2006?        9   with Douglas when you were at the Village?
  10      A. Yeah.                                        10          MR. STEWART: Objection.
  11      Q. Other than that First Communion, what        11          THE TRANSLATOR: Do you know who else
  12   else did you see Pere Paul do at the Village?      12   lived with Douglas at the Village?
  13          MR. STEWART: Objection.                     13          MR. BABBITT: No.
  14      A. Father Paul is always there, he's            14          Do you know who else lived at Bel Air
  15   there when they are distributing gifts during      15   with Douglas when the witness attended the
  16   the time of December and Christmas. He's always    16   Village?
  17   there.                                             17      A. I don't know.
  18   BY MR. BABBITT:                                    18   BY MR. BABBITT:
  19      Q. Did you see any other white people at        19      Q. How many times were you at Bel Air?
  20   the Village?                                       20          MR. STEWART: Objection.
  21          MR. STEWART: Objection.                     21      A. Just once.
  22      A. Yeah, when Madame Carter would come          22   BY MR. BABBITT:
  23   with them.                                         23      Q. How far away from the Village was Bel
  24   BY MR. BABBITT:                                    24   Air?
  25      Q. Do you remember the names of any of          25      A. A good distance, but I don't know.


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   1           THE TRANSLATOR: I'm asking him to           1        AFTERNOON SESSION
   2    look at me when he talks.                          2
   3       Q. Before you started attending Rue 13,         3          THE VIDEOGRAPHER: Back on the record.
   4    had you ever heard of the Haiti Fund?              4   The time is 1:34.
   5       A. I don't understand.                          5   BY MR. BABBITT:
   6       Q. Before you started attending Rue 13,         6      Q. Good afternoon. Do you remember that
   7    had you ever heard the name the Haiti Fund?        7   you're still under oath?
   8       A. I don't know.                                8      A. Repeat the question, please.
   9       Q. Before PPT closed, did you ever hear         9      Q. Sure.
  10    the name Haiti Fund?                              10          As we start up this afternoon, do you
  11       A. I don't -- I've never heard that.           11   remember that you're still under the oath that
  12       Q. Okay. And before PPT closed, had you        12   you said at the beginning of the deposition to
  13    ever heard of the American Association of the     13   tell the truth?
  14    Order of Malta?                                   14      A. Yeah.
  15       A. I don't know.                               15      Q. How many times did Doug Perlitz
  16       Q. Before PPT closed, had you ever heard       16   sexually abuse you?
  17    of the Society of Jesus of New England?           17      A. Just once.
  18       A. Just -- I just knew Sylvester.              18      Q. And did that happen in your first year
  19       Q. And is it your understanding that           19   at the Village?
  20    Sylvester was part of the Society of Jesus of     20      A. Yes.
  21    New England?                                      21      Q. Did Douglas Perlitz and Robinson
  22       A. They never talked to us about the           22   promise a gift to the person with the highest
  23    Society of Jesuits, but Sylvester was a priest.   23   average?
  24       Q. And did Sylvester tell you he was a         24      A. Yeah.
  25    priest in the Society of Jesus?                   25      Q. What did they say when they made that


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   1       A. Yeah, he was a priest, he was doing          1   promise?
   2    internship. It's an internship, so he was          2      A. They said they were going to -- they
   3    showing us how to pray. And after that, we         3   said they were going to give me a little gift.
   4    didn't see him anymore.                            4      Q. Was this a promise they made to you
   5           MR. BABBITT: Let's go off the record.       5   only, or to the whole class?
   6           THE VIDEOGRAPHER: Going off the             6      A. For the entire class, since I came
   7    record. The time is 12:21.                         7   first of all the class, my classmates.
   8           (Whereupon, a recess was taken.)            8      Q. So this was a promise that they made
   9                                                       9   only to you, not to the whole class?
  10                                                      10      A. The entire class, for any child who
  11                                                      11   was first, any child could get that gift, but I
  12                                                      12   was first.
  13                                                      13      Q. Okay. Do you know if Douglas Perlitz
  14                                                      14   had made this promise before he made this
  15                                                      15   promise to your class?
  16                                                      16      A. I don't know, just simply he came to
  17                                                      17   my class and made the promise.
  18                                                      18      Q. Who told you that you had received the
  19                                                      19   highest grade in the class?
  20                                                      20      A. My teachers. It's as if I were the
  21                                                      21   first.
  22                                                      22      Q. Your teachers told you that?
  23                                                      23      A. Well, I was first, they gave me grades
  24                                                      24   in the class.
  25                                                      25      Q. What time of year was this when you


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   1    were the first in the class?                       1   way to ask that question?
   2       A. Simply I was the first in the class.         2           MR. BABBITT: Sure.
   3       Q. Was this at Christmastime, or was it         3   BY MR. BABBITT:
   4    at the -- just before vacation, in the summer,     4      Q. Was he in the chapel?
   5    was it the fall? What time of year was this        5      A. In the yard.
   6    that you were first in the class?                  6      Q. What time of day did you go talk to
   7       A. Every year there are trimesters, and         7   Robinson?
   8    we get grades.                                     8      A. Daytime.
   9       Q. And which trimester was it that you          9      Q. Was it before or after your midday
  10    were first in your class in your first year at    10   meal?
  11    the Village?                                      11           MR. STEWART: Objection.
  12       A. First trimester.                            12      A. When school was out, I went to see
  13       Q. What did you do when you learned that       13   Robinson, and he said he wasn't one giving the
  14    you were first in your class?                     14   gift, to go see Douglas. He explained to me how
  15       A. They gave a report card.                    15   to get to Bel Air. When I went there, up there,
  16       Q. And when you received your report           16   I saw Douglas. When I got there, he was -- when
  17    card, what did you do?                            17   I got to the yard, he was sitting, he had a book
  18           MR. STEWART: Objection.                    18   in his hands. He asked me "who explained to you
  19       A. I had the best average. I was number        19   how to get here?" And I said "I was promised a
  20    one in the class.                                 20   gift, I came here to get my gift."
  21    BY MR. BABBITT:                                   21   BY MR. BABBITT:
  22       Q. And then what did you do?                   22      Q. Did you walk to Bel Air?
  23           MR. STEWART: Objection.                    23      A. Yeah. I went down, I crossed the
  24       A. My teachers congratulated me because I      24   street, and then I turned left, all the way up,
  25    was the first in the class.                       25   I went all the way up, I climbed and climbed,


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   1      Q. And because you were the first in             1   and I found the gate. The gate was half open.
   2   class, you knew you had been promised a gift by     2   I looked inside, Douglas was sitting, so I went
   3   Robinson and Douglas, correct?                      3   in. When I went in, I was scared because there
   4      A. Yeah, Douglas said that, he came with         4   was a lot of wind, it was blowing in the trees,
   5   Robinson and said any child who would be first      5   I got scared, and I found Douglas sitting.
   6   would get a gift.                                   6          So I went in, and Douglas was sitting
   7      Q. Did you go to Robinson to ask for your        7   down, he said "who explained to you how to get
   8   gift?                                               8   here?" I told him it was Robinson. I told him
   9      A. Yeah, when I went to see Robinson he          9   "you promised me a gift, that's why I came here,
  10   said he wasn't the one giving gifts, it was        10   I came to get my gift."
  11   Douglas.                                           11          So when I went in, he took my hand to
  12      Q. Where was Robinson when you went to          12   make me come in. We went by a little door, a
  13   talk to him at the Village, where in the           13   door on the side, and then I got there and I
  14   Village?                                           14   went down a few steps, little stairs, and
  15      A. Inside the Village.                          15   towards the bushes, the wild growing bushes.
  16      Q. Where inside the Village?                    16   There was a door on the side. He made me come
  17          MR. STEWART: Objection.                     17   in with him. He made me drop my pants. He
  18      A. Oh, inside the Village.                      18   started touching my butt, my penis. I told him
  19   BY MR. BABBITT:                                    19   I didn't agree with what he was doing to me. I
  20      Q. I understand he was inside the               20   really wasn't okay with it. He made me bend
  21   Village. Where inside the Village?                 21   down. He put his penis in my butt. I was
  22          MR. STEWART: Hold on. Objection.            22   really afraid. I was crying. Every time while
  23          Obviously he doesn't understand             23   I was crying he said just to tough it up, to
  24   what -- you've asked him the same question three   24   tough it out. And after he was done doing that,
  25   times, and he keeps answering. Is there another    25   he said if I told anyone he would throw me out


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   1   of the Village. I didn't want to force it,          1   through that door with me.
   2   because he said he was going to throw me out. I     2      Q. And when you went in that door with
   3   didn't want -- I didn't want it, but he forced      3   Douglas, was there a door in that room that led
   4   me. He said he was going to throw me out. Any       4   to a bathroom?
   5   person I say that -- if I tell that to anyone,      5      A. I don't remember. This was over nine
   6   he will throw me out. When I went he offered me     6   years ago. I just remember he went inside with
   7   250 gourdes, I didn't take it.                      7   me in the room, in the bedroom.
   8          When I was about to go to bed that           8      Q. When you went in that first door at
   9   night, I noticed I was bleeding. That day I         9   the bottom of the stairs, did you stay in that
  10   knew that Douglas was a bad person. Douglas        10   room, or did you go into a different room?
  11   stole my childhood. Until today all these          11      A. I stayed in that room, the way --
  12   things are giving me problems, but he did that     12   where he got -- where we were together inside,
  13   to me. That created the Village -- that caused     13   that's where we stayed.
  14   the Village to close, because the Village was my   14      Q. Was there any furniture in that room?
  15   only hope.                                         15      A. I don't remember. He made me bend
  16          Everywhere I go now today, they always      16   over something, and then he put his penis in my
  17   say fag, Douglas's woman. I can't go to the        17   butt.
  18   beach, I can't go to the beach, my butt has like   18      Q. Was there a computer in that room?
  19   a cork, it's closed with a cork. So every time     19      A. I don't remember.
  20   I go, I have no value in society. Sometimes it     20      Q. Was there any music playing when you
  21   always makes me want to kill myself, to give me    21   went in that room?
  22   pride to kill myself, because I have no value in   22      A. I don't remember.
  23   society. Every time I go somewhere, they're        23      Q. Did you hear anyone in the house when
  24   pointing the fingers at me, they're telling me     24   you went in that room?
  25   I'm Douglas woman. This does not do any good to    25      A. I didn't see anyone else.

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   1   me.                                                 1      Q. Did you hear anyone else?
   2       Q. When you arrived at Bel Air, did you         2      A. No.
   3   see anyone outside the house, other than            3      Q. When you went in that room, did you
   4   Douglas?                                            4   understand that that's where Douglas slept?
   5       A. No.                                          5          MR. STEWART: Objection.
   6       Q. Were there any cars parked outside the       6      A. I don't know. He just entered with me
   7   house when you arrived at Bel Air?                  7   in that room.
   8       A. Yes, I saw a car one.                        8   BY MR. BABBITT:
   9       Q. One car or two?                              9      Q. Did Douglas say anything to you when
  10       A. One car, a white one, I think.              10   you went -- when he walked and brought you into
  11       Q. What was Douglas wearing when you saw       11   that room?
  12   him in the yard?                                   12      A. He said let's go in so he could give
  13       A. I don't remember. I was really              13   me the gift.
  14   scared. I wasn't looking at things like that.      14      Q. And after he said that, did he start
  15       Q. What were you wearing?                      15   touching your body?
  16       A. I don't remember.                           16      A. When we got in together, he made me
  17       Q. When you went down the small stairs,        17   drop my pants down, and he started touching my
  18   as you described them, and you went in the door,   18   butt, and touching my penis. And I didn't -- I
  19   was there a door to a bedroom in that first room   19   wasn't okay with that. He forced me. And then
  20   you went in?                                       20   he put his penis inside my butt, and I didn't
  21       A. I could tell you that it's like, if         21   want him to do that. He forced me. He said he
  22   you stand like that in the yard, there's a         22   was going to throw me out of the Village. I
  23   little slant, you have to go down a few steps      23   didn't want this. From that day on I knew that
  24   towards the bushes, wild bushes, and there's a     24   Douglas was a bad person. That's the day I
  25   little door. And he went inside with me,           25   found out Douglas was a bad person.


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   1       Q. Did Douglas try to kiss you?                 1     A. Behind me.
   2           MR. STEWART: Objection.                     2     Q. When he put his penis in your butt,
   3       A. No, he was just touching my butt,            3   was he standing?
   4    touching my penis.                                 4     A. Yeah. And then -- and I told him it
   5    BY MR. BABBITT:                                    5   was hurting me, and he said "tough it out."
   6       Q. Did he remove your clothes?                  6     Q. Did you yell when he had his penis in
   7       A. Yeah, he made me drop my pants, he           7   your butt?
   8    started touching my butt and touching my penis.    8     A. Yes, it was hurting, I said -- I was
   9    I didn't -- I wasn't okay with that. He forced     9   yelling, and he said "tough it out."
  10    me. I didn't want that. He put his penis in my    10     Q. How long did he have his penis in your
  11    butt. I was trying all the time -- he said        11   butt?
  12    "tough it out, tough it out." I didn't want       12         MR. STEWART: Objection.
  13    that. He forced me. And after that he said if     13     A. Repeat the question, please?
  14    I told anyone he would throw me out.              14   BY MR. BABBITT:
  15       Q. Did he touch your butt and your penis       15     Q. How long a time was it that Douglas
  16    with any part of his body, other than his hand?   16   had his penis in your butt?
  17           MR. STEWART: Objection.                    17         MR. STEWART: Objection.
  18       A. He touched my butt, and then he             18     A. I couldn't check.
  19    touched my penis.                                 19   BY MR. BABBITT:
  20    BY MR. BABBITT:                                   20     Q. Did Douglas ejaculate in your butt?
  21       Q. With his hands?                             21         MR. STEWART: Objection.
  22       A. Yes.                                        22     A. I don't know. I was small. I was
  23           MR. STEWART: Objection.                    23   young.
  24    BY MR. BABBITT:                                   24   BY MR. BABBITT:
  25       Q. Did he take off your clothes first, or      25     Q. After he took his penis from your

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   1   did he take off his clothes first?                  1   butt, did he say anything?
   2      A. My clothes.                                   2      A. If I told anyone about it he would
   3      Q. Did he force you to touch any part of         3   throw me out. And after that, he offered me 250
   4   his body?                                           4   gourdes, and I didn't take it.
   5          MR. STEWART: Objection.                      5      Q. Did you get dressed immediately after
   6      A. No, he just touched me, touched my            6   or right after he took his penis out of your
   7   butt, touched my penis. After that he made me       7   butt?
   8   bend over something, and he put his penis in my     8      A. Yeah. I put the clothes back on
   9   butt. I didn't want that. He forced me. I           9   myself, and then I went out, I went back to my
  10   didn't want. He said he's going to throw me out    10   house. That night I was going to sleep, I felt
  11   of the Village.                                    11   that I was bleeding.
  12   BY MR. BABBITT:                                    12      Q. Did you go out of the house through
  13      Q. When he started touching your butt,          13   the same door you had walked in?
  14   was he standing or sitting?                        14      A. Yes, the same door I used to come in,
  15      A. He was standing up, he was touching my       15   that's the one I used to get out.
  16   butt and my penis. I didn't want that. He          16      Q. Did Douglas leave the house with you?
  17   forced me. He made me bend over, and then he       17      A. No. I left, and then I departed.
  18   put his penis in my butt. I didn't want that.      18      Q. Did you see anyone outside the house
  19   I was crying all the time. He said "tough it       19   when you were leaving Bel Air?
  20   out, tough it out." I didn't want that. He         20      A. No.
  21   forced me. He said he was going to throw me out    21      Q. Did you walk home?
  22   of the Village.                                    22      A. Yes.
  23      Q. When he started touching your butt and       23      Q. So during the time you were at Bel Air
  24   your penis, was he standing in front of you or     24   that day, you saw only Douglas, is that right?
  25   behind you?                                        25      A. Yes.


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   1      Q. After Douglas abused you, did you go          1   what Douglas did to you?
   2   see a doctor?                                       2      A. Yeah, it's through Cyrus that I found
   3      A. No.                                           3   a lawyer, my lawyers.
   4      Q. Did you see a nurse?                          4      Q. What did you tell Cyrus?
   5      A. No.                                           5      A. I told him I was a victim, that
   6      Q. Did you see any kind of a medical             6   Douglas raped me.
   7   professional?                                       7      Q. How did you -- why did you tell Cyrus?
   8      A. There was a doctor at the Village, but        8      A. Because I had found child, and he
   9   I never explained it to him. I didn't want him      9   explained to me that Cyrus could help in that
  10   to know and to tell Douglas. I didn't want         10   situation to find justice, so I went to Cyrus,
  11   Douglas to throw me out.                           11   and he helped me find a lawyer.
  12      Q. At any time between the time that            12      Q. What child told you that?
  13   Douglas abused you and the time PPT closed, did    13      A. I don't remember.
  14   you talk with Douglas about what he had done?      14      Q. When did you go talk to Cyrus the
  15      A. No.                                          15   first time?
  16      Q. At any time before PPT closed, did you       16      A. I met him at the Carenage. I told him
  17   tell anyone at the school what Douglas had done?   17   how Douglas had raped me.
  18      A. No, I didn't tell anyone. It stayed          18      Q. When did you meet him at the Carenage?
  19   between Douglas and myself. I didn't want them     19      A. I don't recall, but I met him at
  20   to throw me out of the Village. The Village was    20   Carenage.
  21   my only hope.                                      21      Q. Before or after PPT closed?
  22      Q. After PPT -- well, let me back up.           22      A. Afterwards.
  23          Do you remember the earthquake in           23      Q. Before or after the earthquake?
  24   Haiti in 2010?                                     24      A. After the earthquake.
  25      A. Yeah.                                        25      Q. Has Cyrus Sibert given you any money?


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   1         MR. STEWART: Objection.                       1      A. Yes.
   2   BY MR. BABBITT:                                     2      Q. How many times has he given you money?
   3      Q. At any time before the earthquake             3      A. He gave me money for two times, during
   4   happened, did you tell anyone that Douglas had      4   two times.
   5   abused you?                                         5      Q. And in the first time that he gave you
   6         MR. STEWART: Objection.                       6   money, how much did he give you?
   7      A. No.                                           7      A. $100.
   8   BY MR. BABBITT:                                     8      Q. When did he give you this money?
   9      Q. Did you ever tell anyone at the               9      A. First time, first day I met him.
  10   Haitian National Police that Douglas abused you?   10      Q. He gave you this money when you met
  11      A. No.                                          11   him at Carenage?
  12      Q. Were you ever interviewed by the             12      A. Yes.
  13   Haitian National Police about Douglas?             13      Q. Did he tell you why he was giving you
  14      A. No. No.                                      14   this money?
  15      Q. Were you ever interviewed by anyone          15      A. No, he just gave me money. I went.
  16   from the United States Government about Douglas?   16      Q. Did you ask him for the money?
  17      A. No.                                          17      A. No.
  18      Q. Do you know Jean Gary? It's not a            18      Q. What did you use the money for?
  19   name you ever heard before?                        19      A. I bought food, I bought food that
  20         MR. STEWART: Objection.                      20   could help me pay, you know, my debts.
  21      A. I don't remember. But if you showed          21      Q. The $100 that Cyrus gave you, was that
  22   me a face. But I don't know any child at Pierre    22   US dollars?
  23   Toussaint. There were a lot of children.           23      A. Yes.
  24   BY MR. BABBITT:                                    24          THE TRANSLATOR: Could we have a break
  25      Q. Did you speak to Cyrus Sibert about          25   in five minutes, please?


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   1          MR. BABBITT: Sure. You can break            1      A. I don't know.
   2   now, if you like.                                  2   BY MR. BABBITT:
   3          THE VIDEOGRAPHER: Going off the             3      Q. Was anybody else with you when you got
   4   record. The time is 2:18.                          4   money from Mathieu?
   5          (Whereupon, a recess was taken.)            5      A. No.
   6          THE VIDEOGRAPHER: Back on the record.       6      Q. Have you ever gotten money from
   7   The time is 2:27.                                  7   Mathieu any other time?
   8   BY MR. BABBITT:                                    8      A. Just when I was coming here.
   9      Q. When was the second time that Cyrus          9      Q. Did you talk to Mathieu about this
  10   gave you money?                                   10   deposition?
  11      A. I don't remember, but Cyrus gave me         11      A. No.
  12   money a second time also.                         12      Q. Did you talk to Cyrus about this
  13      Q. Was it this year, 2015?                     13   deposition?
  14      A. I don't remember. Just simply that it       14      A. No.
  15   was to come here. Cyrus wasn't in Haiti there,    15      Q. Did Cyrus tell you why he gave you
  16   so Mathieu gave me $100 so I could buy food,      16   money the first time?
  17   clothes, and a suitcase so I could come here.     17         MR. STEWART: Objection.
  18      Q. Did Mathieu get the money from Cyrus?       18      A. I don't know.
  19          MR. STEWART: Objection.                    19   BY MR. BABBITT:
  20      A. I don't know where Mathieu got the          20      Q. Did Mathieu tell you why he was giving
  21   money. Cyrus wasn't there. I don't know if he     21   you money?
  22   got it from Cyrus. Just that Mathieu gave me      22      A. No. He gave me money so I could buy
  23   $100 so I could buy clothes, a suitcase, and      23   clothes.
  24   food so I could come here.                        24         (Power outage.)
  25      Q. Did you ask Mathieu for the money?          25         MR. BABBITT: Back on the record after


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   1      A. No. It's just Mathieu who gave me            1   a power outage. The time is 2:39.
   2   money so I could buy clothes, suitcase, things     2   BY MR. BABBITT:
   3   for the feet, shoes, and food so I could come      3      Q. When Cyrus gave you $100, did you tell
   4   here.                                              4   Cyrus you would pay him back?
   5      Q. How did Mathieu know that you were           5      A. No.
   6   coming here?                                       6      Q. Did Cyrus tell you that you would pay
   7          MR. STEWART: Objection.                     7   him back?
   8      A. They have a relationship with Cyrus.         8      A. No, no. He gave me the money. Cyrus
   9   When Cyrus isn't there, Mathieu replaces him.      9   has a good heart, sensitive heart. He, Cyrus,
  10   BY MR. BABBITT:                                   10   doesn't like when people suffer, he doesn't like
  11      Q. What is Mathieu's full name?                11   this type of abuse.
  12      A. I don't know. I just know his name is       12      Q. When Mathieu gave you $100, did you
  13   Mathieu.                                          13   promise Mathieu to pay it back?
  14      Q. Was that second time that you got           14      A. Just that he gave me -- he gave the
  15   money, the time you got money from Mathieu, was   15   money so I could buy clothes, a suitcase, things
  16   that in US dollars?                               16   for my feet. And he just accompanied me to
  17      A. Yes.                                        17   here. And when he told me that Cyrus was in
  18      Q. Do you know anybody else who got money      18   Santiago, he was waiting for us in Santiago, so
  19   from Cyrus Sibert?                                19   he would meet us there. When I got to Santiago,
  20          MR. STEWART: Objection.                    20   I saw Cyrus there.
  21      A. I don't know.                               21      Q. When Mathieu gave you the $100, did
  22   BY MR. BABBITT:                                   22   you tell Mathieu you would pay it back?
  23      Q. Do you know anybody else who got money      23      A. No, no.
  24   from Mathieu?                                     24      Q. Did Mathieu travel with you from
  25          MR. STEWART: Objection.                    25   Cap-Haïtien to Santiago?


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   1      A. From Cap-Haïtien to Santiago.                 1      Q. Was Geffrard Lecenat in your religious
   2      Q. Cyrus met you in Santiago?                    2   studies class with Madame Junie and Madame
   3      A. Yeah, when we got there we went down,         3   Calixte?
   4   and we really saw Cyrus in Santiago, and Cyrus      4          MR. STEWART: Objection.
   5   brought us here.                                    5      A. I don't remember.
   6      Q. How long did that trip take from              6   BY MR. BABBITT:
   7   Santiago to here?                                   7      Q. Do you remember anybody else who was
   8      A. I can say it was quite a long time. I         8   in those classes with you?
   9   was in a car for a long time.                       9          MR. STEWART: Objection.
  10      Q. The trip from Santiago to Puerto Plata       10      A. I don't remember. There were many of
  11   you made in a car?                                 11   us.
  12      A. Yes.                                         12   BY MR. BABBITT:
  13      Q. Whose car?                                   13      Q. How many?
  14      A. The same bus. It's the same bus where        14      A. I don't remember. I can't tell you
  15   I go to Santiago. I went from the bus from         15   how many. There was a lot. We were --
  16   Cap-Haïtien to Santiago. When I got downtown to    16      Q. Did you participate in a retreat
  17   go to Santiago, I got down, and I took another     17   before your First Communion?
  18   bus all the way to Puerto Plata.                   18      A. Yeah, I believe so. We go to a
  19      Q. And Cyrus rode on the bus with you all       19   retreat, we have a little exam to see how -- if
  20   the way from Santiago to Puerto Plata?             20   we pass it, then we do our Communion.
  21      A. Yes.                                         21      Q. Where was the retreat?
  22      Q. And Mathieu rode on the bus from             22      A. I don't remember.
  23   Cap-Haïtien to Santiago with you?                  23      Q. Did Geffrard Lecenat attend, go on the
  24      A. Yeah, Mathieu accompanied us also from       24   retreat?
  25   Santiago to Puerto Plata, Cyrus was there,         25          MR. STEWART: Objection.


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   1   Mathieu also.                                       1      A. I don't remember.
   2      Q. Did you know anyone else on the bus           2   BY MR. BABBITT:
   3   from Santiago to Puerto Plata?                      3      Q. When Douglas Perlitz sexually abused
   4      A. It's simple. When I was on my way to          4   you, do you believe that you broke God's law?
   5   here, I didn't know who was going to take part      5      A. Yeah, because this disgusting, dirty
   6   in the trip with me. When I got -- I got to see     6   thing is not written in the bible. I feel that
   7   that it was three of my other colleagues from       7   I did not respect God's law.
   8   Cap-Haïtien to Santiago, we were five. In           8      Q. Where did you learn this law of God
   9   Santiago, Cyrus was there, so we became -- there    9   that you believe was broken?
  10   were six of us, and all six of us got here.        10           THE TRANSLATOR: Where did you learn
  11      Q. Do I recall you telling us that you          11   this --
  12   made your First Communion in 2006?                 12           MR. BABBITT: God's law that he
  13           MR. STEWART: Objection.                    13   believes was broken.
  14      A. Yeah, I remember.                            14      A. I just told you, there's nothing
  15   BY MR. BABBITT:                                    15   written in that -- nothing like that written in
  16      Q. Before you made your First Communion,        16   the bible, the sexual abuse, it's not written in
  17   did you participate in classes relating to the     17   the bible.
  18   First Communion?                                   18      Q. And how did you learn that?
  19      A. Rephrase the question, please.               19      A. Because of my personal experience, it
  20      Q. Before you made your First Communion,        20   cannot be written in the bible. This
  21   did you attend classes taught by Madame Junie?     21   disgusting, dirty thing cannot be written in the
  22      A. Yes. Simply when you're about to do          22   bible.
  23   your First Communion, so you do religious          23      Q. Have you thought about killing
  24   studies, so Madame Junie and Madame Calixte,       24   yourself as a result of the abuse that Doug
  25   they teach us religion, catechism.                 25   Perlitz committed?


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   1          MR. STEWART: Objection.                      1      A. Before, since the Village closed.
   2      A. Yes, every time I thought of that,            2      Q. Have you ever tried to kill yourself
   3   every time this comes up in my mind, I have the     3   any other time?
   4   pride to kill myself. I have no value in            4      A. Yeah. This can happen to me,
   5   society. Everywhere I go they tease me. Every       5   sometimes I get this pride and I feel like I
   6   time they tease me, I'm Douglas's woman. I          6   want to kill myself. But I concentrate on the
   7   can't even go to the beach and bathe in the sea,    7   alcohol, I drink a lot of alcohol.
   8   every time they say I have a cork in my butt.       8      Q. Have you ever tried to kill yourself
   9   When I hear that, I feel the pride to kill          9   any other time, other than throwing yourself in
  10   myself.                                            10   the well?
  11   BY MR. BABBITT:                                    11      A. Every time, whenever I think about
  12      Q. When was the first time you thought          12   this up to now, it's as if Douglas -- he did
  13   about killing yourself?                            13   that to me, and he put a seal on me, everywhere
  14      A. The first time was when I went to look       14   I go people are teasing me, they say I'm
  15   for work in construction sector, construction      15   Douglas's woman, that I have a cork in my butt.
  16   work, all the masons were laughing at me, they     16   I can't even go to the beach, and I get pride to
  17   were teasing me, they were saying "you're          17   kill myself.
  18   Douglas's woman. You're a fag. There's a cork      18      Q. Have you had problems with sex as a
  19   in your butt. We don't give job to fags." On       19   result of what Douglas Perlitz did to you?
  20   that day I was so ashamed. I lowered my head.      20      A. Yes, I have problems having sex.
  21   Right then I thought I was going to throw myself   21      Q. What problems?
  22   in a well. But there was someone there that        22      A. I can't concentrate. I feel I'm
  23   held me back, but I was ready to commit            23   worthless in society. I have no value.
  24   attempted suicide and kill myself.                 24          MR. STEWART: Hold on.
  25      Q. Where was the well that you were going       25          MR. CERRETA: Just go off the record.

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   1    to throw yourself in?                              1          MR. STEWART: Just hold on a second.
   2       A. I don't know. Just when I went out           2   He'll be done in a second.
   3    and I went to find the place where they were       3          (Interruption for coffee service.)
   4    giving work, I felt this pride to throw myself     4          MR. STEWART: Okay.
   5    in the well.                                       5   BY MR. BABBITT:
   6       Q. Who was there who held you back?             6      Q. What problems do you have having sex
   7       A. As I was about to throw myself,              7   as a result of what Douglas did?
   8    somebody held me back, but I didn't know that      8      A. Every time I -- I can't -- I can never
   9    person, I didn't know what their name was.         9   concentrate when I'm having sex. It's like
  10       Q. What neighborhood were you in?              10   seeing everything go -- happening again. That
  11       A. Blue Hills.                                 11   give me problem. I can't concentrate.
  12       Q. And was that where the construction         12      Q. Any other problems?
  13    site was that you were trying to get work at?     13      A. Yes. Every time I think about that, I
  14       A. Yeah.                                       14   can't concentrate, I'm hopeless, hopeless,
  15       Q. How long after PPT closed did this          15   helpless. I'm sad.
  16    episode happen?                                   16      Q. Do you suffer pain from your lower
  17       A. Quite a while, because it's all the         17   abdomen as a result of what Douglas did?
  18    way up to now, this makes me feel.                18      A. Yes, all the way to now I have
  19       Q. Well, did this happen -- this episode       19   problems holding my pee in. Only now -- even
  20    occur before or after the earthquake?             20   now I have pain in my genitals because of what
  21           MR. STEWART: Objection.                    21   Douglas did to me, and the pee is red.
  22       A. Repeat the question, please.                22      Q. Did that start the day that you were
  23    BY MR. BABBITT:                                   23   abused by Douglas?
  24       Q. Did you try to throw yourself in the        24      A. After a while I started feeling this
  25    well before or after the earthquake?              25   pain.


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   1       Q. Have you seen a doctor about this            1   woman, I'm a fag. I can't even go to -- in the
   2    pain?                                              2   sea because I have a cork in my butt. I'm so
   3       A. No.                                          3   ashamed. That day I wanted to throw myself in
   4       Q. Have you seen a nurse about this pain?       4   the well -- into the well, but somebody held me
   5       A. No.                                          5   back, I didn't have time to do it.
   6       Q. Have you seen any medical professional       6   BY MR. BABBITT:
   7    of any kind about this kind of pain?               7     Q. Who paid for the bus ticket for you to
   8       A. No.                                          8   get to this hotel?
   9       Q. How often do you have pink urine?            9     A. I don't know. Simply that when I left
  10       A. Several times, you know, because of --      10   Haiti, Mathieu was with us on a bus, and we took
  11    I'm out of control. This problem makes me be      11   the bus to get to Santiago. When we got here,
  12    out of control. And almost always the pee is      12   when we got to Santiago, we saw Cyrus, and we
  13    red, and also my genitals hurt.                   13   got -- we came here with Cyrus.
  14       Q. Has a doctor or a nurse ever told you       14     Q. Have you had any trouble understanding
  15    that your pink urine or red urine is related to   15   our interpreter this afternoon, or since we
  16    what Douglas did?                                 16   changed interpreters this morning?
  17       A. No, I never have been to see a doctor       17     A. Just that the interpreter this
  18    yet.                                              18   morning, I couldn't understand him. You are
  19       Q. Have you had flashbacks since Douglas       19   working well.
  20    Perlitz abused you?                               20     Q. And you mean the interpreter is
  21       A. Yes, sometimes I'm sleeping, and I          21   working well when you said "you" in that
  22    wake up, and Douglas is doing this all over to    22   sentence?
  23    me.                                               23     A. Yes.
  24       Q. When was the first --                       24          MR. STEWART: We'll stipulate it's not
  25       A. All over again to me.                       25   you.


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   1      Q. When was the first time you had a             1          MR. BABBITT: Fair enough.
   2   flashback?                                          2          THE TRANSLATOR: He needs to pee.
   3      A. Several times. Several times.                 3          MR. BABBITT: We can take a break.
   4      Q. You've had flashbacks several times.          4          THE INTERPRETER: Going off the
   5   When was the first time?                            5   record. The time is 3:15.
   6      A. Simply when I sleep that has happened,        6          (Whereupon, a recess was taken.)
   7   that I was sleeping and that has happened.          7          THE VIDEOGRAPHER: Back on the record.
   8      Q. How often?                                    8   The time is 3:21.
   9      A. I can't tell you, but several times.          9   BY MR. FOLKMAN:
  10      Q. Have you had nightmares since Douglas        10      Q. Good afternoon. As I told you at the
  11   Perlitz abused you?                                11   beginning, my name is Ted Folkman, I'm Pere
  12      A. Yeah, I've always had bad dreams,            12   Paul's lawyer.
  13   always having bad dreams.                          13          You spoke a lot about being teased and
  14      Q. And are your bad dreams related to           14   called Douglas's woman, and I want to ask you
  15   Douglas?                                           15   whether that happens less today than it did just
  16      A. It's like seeing what he did to me           16   after the time that PPT closed.
  17   again. I'm always having bad dreams about that.    17      A. Up to now.
  18      Q. Do you dream about that every night?         18      Q. I understand that you've been teased
  19      A. Yes, several times.                          19   from the time that PPT closed up until now, is
  20      Q. You've had -- never mind.                    20   that right?
  21          When did you last look for work?            21      A. Yes.
  22          MR. STEWART: Objection.                     22      Q. And is it as bad now? Does it happen
  23      A. I don't know. I can't tell you. But          23   as often now as it did years ago after the
  24   when I got there that one day, every mason was     24   school closed?
  25   laughing at me, teasing me, saying I'm Douglas's   25      A. Yes, the same.


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   1       Q. You talked about that construction job        1         THE TRANSLATOR: Okay.
   2    with the masons. Do you recall that?                2     A. Whenever you're a fag you have no more
   3       A. Yeah.                                         3   value. I have no more value. It's like a
   4       Q. Did the bosses at that job know who           4   walking banana that you throw away, it has no
   5    you were?                                           5   more value.
   6       A. Yeah, they used to see me at the              6         MR. FOLKMAN: Why don't we take a
   7    Village going to school.                            7   break. And let me know when you're ready, okay,
   8       Q. So they knew that you had attended the        8   Nathalie?
   9    Village, right?                                     9         THE TRANSLATOR: Yes.
  10       A. Yes, they saw me going to the Village.       10         THE VIDEOGRAPHER: Going off the
  11       Q. And did they know that Douglas Perlitz       11   record. The time is 3:28.
  12    had sexually abused you?                           12         (Whereupon, a recess was taken.)
  13       A. Just simply that all the children            13         THE VIDEOGRAPHER: Back on the record.
  14    inside, they considered them to be fags.           14   The time is 3:41.
  15       Q. Because they understood that all the         15   BY MR. FOLKMAN:
  16    children at the Village had been sexually abused   16     Q. Mr. Jean, do you know any homosexuals?
  17    by Douglas Perlitz?                                17     A. I don't know. I just know that I'm a
  18       A. Yeah, because everywhere I go they're        18   victim.
  19    always teasing me.                                 19     Q. Have you ever heard anybody in Haiti
  20       Q. But the people who tease you don't           20   say that "we shouldn't tease or punish men who
  21    know that you yourself have been abused, other     21   have sex with men"?
  22    than the fact that you were a student at the       22     A. Repeat the question, please.
  23    Village, is that true?                             23     Q. Sure.
  24          MR. STEWART: Objection.                      24         Have you ever heard anybody in Haiti
  25       A. Yeah, they're victims.                       25   say that "we should allow men to have sex with


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   1   BY MR. FOLKMAN:                                      1   men without looking down on them"?
   2      Q. I want to ask you about something              2      A. There's no law written like that for
   3   Mr. Babbitt was asking about earlier. You said       3   Haiti.
   4   that you felt that you had violated God's law        4      Q. Meaning you've never heard anybody say
   5   because the bible doesn't allow homosexuality.       5   that?
   6      A. Yeah, because something like that              6      A. No.
   7   cannot be written in God's book.                     7      Q. Do you believe that people can be made
   8      Q. And you said that the people at the            8   homosexual, or do you believe that they are born
   9   construction site told you they wouldn't give        9   homosexual?
  10   you a job because they don't give jobs to, in       10          MR. STEWART: Objection.
  11   their words, faggots, is that right?                11      A. Repeat the question, please.
  12      A. Yeah, as soon as I got there they             12   BY MR. FOLKMAN:
  13   started laughing and teasing me, and they said      13      Q. Do you believe that people are born as
  14   they don't give work to fags here.                  14   homosexuals, or that they can be made into
  15      Q. Do most people that you know in Haiti         15   homosexuals?
  16   feel that way about homosexuals?                    16      A. After that they force them to become
  17      A. Yeah, everywhere I go they say I'm a          17   fags. Douglas forced me to do that. He forced
  18   fag.                                                18   me, I didn't want to.
  19          THE TRANSLATOR: I'm sorry, I'm               19      Q. And do you feel like you still are, in
  20   getting tired. I'm sorry.                           20   your words, a fag?
  21          MR. FOLKMAN: Do you need a minute?           21          MR. STEWART: Objection.
  22          THE TRANSLATOR: Yeah.                        22      A. Yeah, up to now, because the
  23          MR. FOLKMAN: Okay. Why don't you             23   circumstances up to now, everywhere I go I'm
  24   read that answer, if you can, and then we'll        24   Douglas's woman, I'm a fag. I can't go to the
  25   take a break.                                       25   beach and swim because I have a cork up my ass.


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   1   BY MR. FOLKMAN:                                     1      A. Now, when the Village closed, that
   2      Q. And part of the reason you think              2   made me suffer a lot. I couldn't continue with
   3   you've been injured by Douglas Perlitz is that      3   my dreams. All my life was concentrated on the
   4   you feel that way about yourself now, is that       4   Village, that was my hope.
   5   true?                                               5      Q. PPT was not charging you for an
   6          MR. STEWART: I'm going to object.            6   education, right?
   7   That doesn't make any --                            7         MR. STEWART: Objection.
   8          THE TRANSLATOR: Part of the reason           8      A. No, it was only simply that they were
   9   you think you were injured --                       9   giving us help, assistance so we could find
  10          MR. FOLKMAN: Do you want me to              10   education and food.
  11   rephrase it, Mike?                                 11   BY MR. FOLKMAN:
  12          MR. STEWART: Yes. I don't understand        12      Q. And if PPT hadn't been there at all,
  13   what you're asking.                                13   you wouldn't have been able to afford to go to
  14   BY MR. FOLKMAN:                                    14   school at all, right?
  15      Q. Part of the reason you think Douglas         15         MR. STEWART: Objection.
  16   Perlitz has injured you is that you feel that      16      A. No, because I didn't have the
  17   after he abused you, you are a masisi, is that     17   possibility, and my parents didn't have the
  18   true?                                              18   possibility either.
  19      A. Yeah, I have no value. Everywhere I          19   BY MR. FOLKMAN:
  20   go they are teasing me. It's like a person they    20      Q. And you don't know of any other school
  21   throw out, no value.                               21   that was willing to educate you for free after
  22      Q. As far as you know, do most Haitian          22   PPT closed, right?
  23   people feel the same way you do about that?        23      A. No.
  24          MR. STEWART: Objection.                     24      Q. You said that you never saw Pere Paul
  25      A. Repeat the question.                         25   at Rue 13, right?


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   1   BY MR. FOLKMAN:                                     1      A. No. When I was at Rue 13, I never saw
   2      Q. As far as you know, do most Haitian           2   Father Paul. I saw Father Paul at the Village.
   3   people feel that once you've been sexually          3      Q. Did you ever see him anywhere other
   4   abused by a man you've become a masisi?             4   than the Village?
   5          MR. STEWART: Objection.                      5      A. It's inside the Village, that's where
   6      A. Yes.                                          6   I saw him.
   7   BY MR. FOLKMAN:                                     7      Q. Right. And my question is, you never
   8      Q. I want to direct your attention to            8   saw him anywhere else, right?
   9   your answer to Number 37 in the exhibit that you    9      A. Only inside.
  10   have in front of you. And your lawyer will         10      Q. Okay. When you saw Pere Paul at the
  11   point you to it.                                   11   Village, what did you see him doing?
  12          The question that we asked, just to         12      A. He comes there, he comes to -- while I
  13   summarize it, was whether you felt your earning    13   was about to do my First Communion, Father Paul
  14   capacity, your ability to earn money, had been     14   was there. He had this robe on him. Every
  15   lessened by the fact that you had been abused.     15   month of December for Christmas Father Paul was
  16   And the first part of your answer was "When the    16   there with the other staff, and Madame Carter.
  17   Project Pierre Toussaint closed, I was unable to   17   They used to give us tennis shoes, and one time
  18   finish my education."                              18   they gave us a little T-shirt, Fairfield
  19      A. Yes.                                         19   University T-shirt.
  20      Q. And my question is, why is it that           20      Q. Okay. So you saw him giving out
  21   when PPT closed you were unable to finish your     21   tennis shoes and you saw him giving out
  22   education?                                         22   T-shirts, and you saw him at your First
  23      A. I didn't have the possibility. My            23   Communion.
  24   parents didn't have the possibility either.        24         Did you ever see him doing anything
  25      Q. You mean you couldn't -- I'm sorry.          25   else?


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   1       A. Father Paul is always there. Douglas          1         MR. STEWART: Same objection.
   2    used to talk to us about Father Paul, he says       2   BY MR. FOLKMAN:
   3    he's important for the Village.                     3     Q. One more time.
   4       Q. Okay. My question is, did you ever            4     A. One more time.
   5    see Pere Paul doing anything other than giving      5     Q. Okay. Could you ever understand
   6    out tennis shoes, giving out T-shirts, and being    6   anything that Douglas said to Pere Paul?
   7    at your First Communion?                            7     A. Yeah, I couldn't understand. He told
   8           Do you understand the question?              8   us Father Paul was important for the Village.
   9           MR. STEWART: Objection.                      9     Q. Okay. I'm not asking you, sir, what
  10       A. Simply that he comes to talk to              10   Douglas told you. I'm asking if you ever
  11    Douglas, he always -- Douglas always says that     11   understood anything that Douglas told Pere Paul.
  12    Father Paul, Madame Carter, and University of      12     A. No. I couldn't understand. I don't
  13    Fairfield are important for the Village.           13   speak English. Just that when Father Paul would
  14    BY MR. FOLKMAN:                                    14   come, Douglas would present him and say he's
  15       Q. Did your speak with Pere Paul?               15   important for the Village.
  16       A. Say it again?                                16     Q. Okay. And also you could never
  17       Q. Did you ever speak with Pere Paul?           17   understand anything that Pere Paul said to
  18       A. I've never spoken to him, with Father        18   Douglas?
  19    Paul. He doesn't speak Creole. Just that           19     A. I don't understand, because I don't
  20    simply, Douglas tells us Father Paul, Madame       20   speak English.
  21    Carter, and University of Fairfield are            21     Q. Okay.
  22    important for the Village.                         22     A. Just that Douglas used to tell us that
  23       Q. Did you ever see Douglas speaking with       23   Father Paul was important for the Village.
  24    Pere Paul?                                         24     Q. Okay. You said you had been to Bel
  25       A. Yeah, they have little conversations,        25   Air only one time, right?


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   1   but I don't know, I don't speak English.             1      A. Yes.
   2      Q. So you don't understand anything that          2      Q. And when you go to Bel Air, Douglas
   3   you may have heard Douglas say to Pere Paul or       3   asked you who had explained to you how to get to
   4   Pere Paul say to Douglas?                            4   Bel Air, right?
   5          MR. STEWART: Objection.                       5      A. Yes, just said to Robinson.
   6      A. Yeah, Douglas always told us that              6      Q. So Robinson explained how to get
   7   these people are important for the Village.          7   there, right?
   8   He -- these people always encourage us to work       8      A. Yes.
   9   very hard in school. Madame Carter used to tell      9      Q. Okay. Was Pere Paul the priest who
  10   us that any child, he has access to -- he can       10   administered the First Communion to you?
  11   send us to Fairfield University, he has access      11      A. Yes.
  12   to that university. If a child works hard, that     12      Q. Was there a Haitian priest there also?
  13   child, he has access to the University of           13      A. There was a Haitian priest.
  14   Fairfield.                                          14      Q. I'd like to mark a document. You said
  15   BY MR. FOLKMAN:                                     15   you didn't remember somebody, but you might if
  16      Q. Let me ask my question one more time,         16   you see a photo. I want to show you a photo and
  17   and please listen carefully, okay?                  17   see if you remember.
  18          Could you ever understand anything           18          (Whereupon, Exhibit Number 2, 9/9/13
  19   that Douglas said to Pere Paul?                     19          e-mail, Bates RBC002282 through 2290,
  20          MR. STEWART: I'm going to object.            20          was marked for identification.)
  21          I think he answered that question,           21   BY MR. FOLKMAN:
  22   sir.                                                22      Q. So I'm going to hand you what's marked
  23          MR. FOLKMAN: I think he answered a           23   as Exhibit 2. And because it's not stapled, I
  24   different question. Let me just ask it one more     24   just want the record to reflect that it's five
  25   time and make sure we've got it.                    25   sheets of paper, we'll have it stapled later.


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   1            And I'd like you to look, please, at       1          MR. STEWART: But that's not how
   2    the back of the first page which has the number    2   you're going to do it?
   3    2283 on the top. And I'd like you to look at       3          MR. FOLKMAN: Well, do you want to
   4    the top picture on that page, and I'd like you     4   have a colloquy about this? I didn't intend to
   5    to tell me if that's Jean Gary.                    5   use this. Since he said he didn't know the name
   6            MR. STEWART: Which one at the top?         6   and might recognize a photo, I want to show it
   7            MR. FOLKMAN: The first picture on          7   to him.
   8    that page that I referenced.                       8          MR. STEWART: I don't want to have a
   9            MR. STEWART: Excuse me. I'm sorry.         9   discussion about it, but I am asking the
  10    The one ending in 040?                            10   question why are we marking five pages if you're
  11            THE TRANSLATOR: 2283.                     11   only asking for one. You can certainly do
  12            MR. FOLKMAN: This fellow right here,      12   whatever you want. I apologize.
  13    yes (indicating).                                 13   BY MR. FOLKMAN:
  14            MR. STEWART: Can I just ask, are you      14      Q. Okay. We're looking at this
  15    going to ask him about each person on all these   15   photograph here, sir, at the top of the page.
  16    pages?                                            16   Is that Jean Gary? This one right here
  17            MR. FOLKMAN: No. But I might use it       17   (indicating).
  18    tomorrow, so I'd rather keep the document         18          MR. STEWART: This guy right here, do
  19    together.                                         19   you know who this guy is?
  20            MR. STEWART: If you're marking it for     20      A. Yeah.
  21    his deposition, how are you going to use it       21   BY MR. FOLKMAN:
  22    tomorrow?                                         22      Q. That is Jean Gary?
  23            MR. FOLKMAN: Well, I'll refer to it       23      A. He has another name, Schoubert.
  24    by number and we'll remark it.                    24      Q. And when was the last time you spoke
  25            MR. STEWART: What's it going to be        25   with him?


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   1   attached to?                                        1      A. I don't know. Since the Village
   2           MR. FOLKMAN: We'll make a photocopy.        2   closed, I never spoke to him again.
   3   I don't know.                                       3      Q. You haven't spoken to him since the
   4           MR. STEWART: We need to know, Ted.          4   Village closed?
   5   You need to figure out how you're going to use      5      A. Yes. Since the Village closed, I've
   6   this. If you're attaching it to his exhibit         6   never seen him again.
   7   how, do you plan to use it tomorrow? Are you        7      Q. Okay.
   8   going to take it back out of the record and make    8           MR. STEWART: Wait, I don't -- is
   9   another and have copies made?                       9   this, is his name -- do you know this is Jean
  10           MR. FOLKMAN: I suppose I'll say "take      10   Gary, Jean Gary? Not by another name, but as
  11   a look at Exhibit 2 to the Jean deposition." Is    11   Jean Gary?
  12   that going to work for you?                        12      A. Yes, it's Jean Gary. But he has
  13           MR. STEWART: It's not normally how         13   another name, Schoubert.
  14   it's --                                            14           MR. STEWART: Okay.
  15           MR. FOLKMAN: Okay.                         15           MR. FOLKMAN: Maureen, I'm going to
  16           MR. STEWART: Normally you would bring      16   hand this over to you.
  17   copies of what you want to use, and you would      17   BY MR. FOLKMAN:
  18   mark them for each instead of pulling them out     18      Q. You said that you used some of the
  19   of depositions --                                  19   money that you got from Mathieu to pay debts.
  20           MR. FOLKMAN: Yes.                          20   What debts were those?
  21           MR. STEWART: -- and reattaching            21      A. Sometimes I buy credit.
  22   them --                                            22      Q. And would you buy food on credit, or
  23           MR. FOLKMAN: Yes.                          23   what would you buy?
  24           MR. STEWART: -- and referencing them.      24      A. Yeah, yeah. I borrow also.
  25           MR. FOLKMAN: Yes. Okay.                    25      Q. Okay. And of the $100 that you got


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   1   from Mathieu, how much of it did you spend on       1   access to Fairfield University, and he can learn
   2   the clothes and the shoes and the suitcase that     2   whatever he wants.
   3   you needed to come here?                            3      Q. Was Madame Carter speaking to you in
   4          MR. STEWART: Objection.                      4   Creole when she said this?
   5      A. Just that Mathieu gave me money to            5      A. No, she doesn't speak Creole. But
   6   come here to buy food, shoes, etcetera.             6   Douglas and Robinson were there, and Douglas was
   7   BY MR. FOLKMAN:                                     7   translating.
   8      Q. Right.                                        8      Q. Okay. I think you also testified that
   9          And did you spend all of the money           9   you had been told that Fairfield University was
  10   that he gave you to buy the things that you        10   very important for the project, is that right?
  11   needed to come here, or did you spend some of it   11      A. It is true. Douglas used to tell us
  12   on something else?                                 12   that, and also Madame Carter, that Fairfield is
  13      A. I spent all.                                 13   important for the Village.
  14          MR. FOLKMAN: Okay. I've got nothing         14      Q. Did they tell you why Fairfield was
  15   else. Thank you.                                   15   important for the Village?
  16          (Pause.)                                    16      A. Fairfield was backing up the project.
  17   BY MR. CERRETA:                                    17   Douglas used to tell us about Fairfield, that
  18      Q. Good afternoon, sir. My name is John         18   Fairfield was important for the Village. He
  19   Cerreta, I'm a lawyer for Fairfield University.    19   said we won't have any problems when you finish
  20          Earlier today you mentioned that you        20   school, you have access, you can go to
  21   had received a Fairfield University T-shirt        21   Fairfield.
  22   while you were a student at the Village, is that   22      Q. When he said that Fairfield was
  23   right?                                             23   backing up the project, did that mean Fairfield
  24      A. Yes, a little T-shirt.                       24   was providing money for the project?
  25      Q. And was it Father Paul and Madame            25          MR. STEWART: Objection.


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   1   Carter that had brought down that T-shirt?          1      A. I don't know. Simply that Douglas
   2      A. Yes.                                          2   told us that Fairfield was important for the
   3      Q. Was that around Christmastime?                3   Village.
   4      A. Yeah, after they gave us the tennis           4   BY MR. CERRETA:
   5   shoes, they gave us a little T-shirt with           5      Q. Did Douglas tell you anything else
   6   Fairfield University written on it.                 6   about Fairfield University?
   7      Q. Were those Christmas presents?                7      A. No, simply that Fairfield was
   8      A. Yeah.                                         8   important for the Village. Madame Carter told
   9      Q. I think you also testified that you           9   us "you won't have any problems when you finish
  10   had been told while you were a student at the      10   school, when you finish school we have access,
  11   Village that every child, if they worked hard,     11   you can go to Fairfield."
  12   could have a chance to go to Fairfield             12      Q. While you were a student at PPT, did
  13   University, is that right?                         13   anybody tell you anything else about Fairfield
  14      A. Yes, once school is -- you're                14   University?
  15   finished, Madame Carter and Father Paul said       15          THE TRANSLATOR: Can you repeat the
  16   they had access to Fairfield University, and any   16   question, please? While you were a student
  17   child could learn whatever she wants -- he         17   at --
  18   wants.                                             18   BY MR. CERRETA:
  19      Q. Who was it that said that? Who was it        19      Q. Did anybody tell you anything else
  20   that told you that?                                20   about Fairfield University?
  21      A. Father Paul, Madame Carter. And also         21          MR. STEWART: Objection.
  22   one day we were gathered in the chapel, Madame     22      A. Just simply that Madame Carter,
  23   Carter, Douglas, and all the staff was there,      23   Douglas, and Father Paul used to tell us that
  24   Madame Carter said any child who finishes          24   Fairfield University is important for the
  25   school, whatever he wants to learn, she has        25   Village.


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   1   BY MR. CERRETA:                                     1   BY MS. KNIGHT:
   2      Q. So aside from what you've told me             2      Q. Is there anything else that you two
   3   already, and also leaving aside anything your       3   like to do together?
   4   attorneys might have talked about with you, has     4      A. Just that.
   5   anybody ever told you anything else about           5      Q. Is there anything else that you like
   6   Fairfield University?                               6   to do? Do you play any soccer, basketball?
   7      A. Just that Father Paul, Madame Carter,         7      A. No, I can't concentrate. This gives
   8   and Douglas told us that Fairfield was important    8   me such problems, I can't concentrate on
   9   for the Village.                                    9   anything.
  10      Q. Right.                                       10      Q. I think you told us that you came here
  11          MR. CERRETA: Thank you, sir.                11   with some other people who were in the Dominican
  12   BY MS. KNIGHT:                                     12   to testify, is that right?
  13      Q. Hello. I introduced myself earlier,          13      A. The kids I came with.
  14   but my name is Lydia Knight, and I just have a     14      Q. Yes. Are they staying here at the
  15   few questions for you.                             15   hotel as well?
  16          What do you like to do during the day?      16      A. Yes, that's where we came down.
  17      A. After all the things Douglas did to me       17      Q. Are you sharing a room with someone
  18   I can't concentrate. I have problems               18   here at the hotel?
  19   concentrating.                                     19      A. Yes.
  20      Q. Do you like to spend time with your          20      Q. Who are you sharing a room with?
  21   girlfriend?                                        21      A. Emile.
  22      A. I can tell you that I cannot                 22      Q. Did you talk to Emile about his
  23   concentrate. Because of what Douglas did, I        23   deposition?
  24   have no value, so I can't concentrate.             24      A. No.
  25   Everywhere I go they call me -- they say I'm       25      Q. Have you talked to Emile about the


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   1   Douglas's woman, I'm a fag, I have a cork in my     1   case that you've brought?
   2   butt, so I can't concentrate.                       2     A. No, no.
   3      Q. I think you told us that you currently        3     Q. Have you talked to any of the
   4   have a girlfriend, is that right?                   4   Plaintiffs about the abuse that you suffered?
   5          MR. STEWART: Objection.                      5     A. Repeat the question, please.
   6      A. Yes.                                          6     Q. Let me try it a different way.
   7   BY MS. KNIGHT:                                      7          Did you talk to Emile at all about the
   8      Q. When do you see her?                          8   case that you brought about the abuse?
   9      A. I can't tell you when we meet. She's          9     A. No.
  10   my girlfriend, at any time we can meet.            10     Q. Did you ever tell anyone, other than
  11      Q. When you meet, what do you do?               11   your attorneys or any of their representatives,
  12      A. Sometimes I can't concentrate.               12   about the abuse by Doug, Douglas?
  13      Q. Do you play cards together?                  13     A. No, that stays a secret inside of me.
  14      A. No.                                          14     Q. Do you do anything now to get money?
  15      Q. Do you ever watch any sports together?       15     A. Yeah, behind cars worker. I wash
  16      A. What is sports?                              16   cars. I make 300 gourdes sometimes, but
  17      Q. Like soccer, baseball, football?             17   sometimes there are days where I have nothing.
  18      A. No, just we talk.                            18     Q. So some days you work, some days you
  19      Q. What else do you do besides talk?            19   don't, is that right?
  20      A. We talk. And since it's my                   20     A. Yes.
  21   girlfriend, everything I tell her she has to       21     Q. What do you mean you work behind cars?
  22   agree with.                                        22   Can you explain that to me a little bit?
  23          MR. STEWART: Very different than in         23          MR. STEWART: One moment.
  24   America, even more so once you get married.        24          (Off the record discussion.)
  25          You okay?                                   25     A. So I helped the driver find riders,


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   1   people climb on, I get the money, when I collect    1   It could be a week before I come back."
   2   the money I give the money to the driver.           2      Q. And what did they say?
   3   BY MS. KNIGHT:                                      3      A. My mother was really crying. I'm
   4      Q. Other than what you've already told us        4   going to miss her a lot, she's going to miss me
   5   that you saw Pere Paul, did you see other           5   a lot, because I'm going to be one week out.
   6   priests while you were at PPT?                      6           MS. KNIGHT: Thank you. I don't have
   7          THE TRANSLATOR: Can you repeat the           7   any other questions.
   8   question, please?                                   8           MR. STEWART: Prior to Ms. Knight I
   9      Q. Other than Pere Paul, were there other        9   think was when Ted Folkman asked some questions,
  10   priests at PPT?                                    10   and he produced some documents that have been
  11      A. Simply I saw Sylvester. I only saw           11   Bates stamped RBC228283, 84, 85, 86, 87, 88, 89,
  12   Sylvester.                                         12   and 90. They appear to be some other form of
  13      Q. And you already told us about that, is       13   production that none of us remember seeing. And
  14   that right?                                        14   to the extent that we have -- I think we've
  15      A. Yeah, I told you, I saw Sylvester,           15   asked -- in our production, I think these
  16   Father Paul.                                       16   documents would have been included, but to the
  17      Q. Were there other -- any other priests        17   extent that they have not we'll be sending out a
  18   that you saw at PPT?                               18   supplemental. I understand these are going to
  19      A. I didn't see any other. I used to see        19   be attached to the record.
  20   Father Paul, and then I saw Sylvester. I           20           MR. FOLKMAN: Sure.
  21   haven't seen any other priest.                     21           MR. STEWART: But to the extent that
  22      Q. Do you need to take a break?                 22   there's more of this type of pictures of our
  23          THE TRANSLATOR: Let's finish.               23   clients and IDs, we'd like copies of those
  24          MS. KNIGHT: He just --                      24   pictures of our clients. So we'll follow it up
  25          THE TRANSLATOR: Him? Okay.                  25   with a formal request, but just know that that's


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   1      A. Yes, a little pause, please.                  1   something that we're looking for.
   2          THE VIDEOGRAPHER: Going off the              2          MR. FOLKMAN: Sure. And I believe
   3   record. The time is 4:33.                           3   that they have been produced.
   4          (Whereupon, a recess was taken.)             4          MR. STEWART: Okay.
   5          THE VIDEOGRAPHER: Back on the record.        5          MR. FOLKMAN: These are documents that
   6   The time is 4:41.                                   6   came from the subpoena to Paul Kendrick's
   7   BY MS. KNIGHT:                                      7   employer. But if they haven't been, we'll
   8      Q. What did you do to get ready for              8   certainly produce them.
   9   today, other than speaking with your attorneys      9          MR. STEWART: Okay. Thank you.
  10   or meeting with any of their -- any of your        10   Appreciate it, Ted.
  11   attorneys or their representatives?                11   BY MR. KENNEDY:
  12      A. I can tell you that when they call me        12     Q. Good afternoon, Mr. Ilguens. We met
  13   for this deposition, I really appreciated that,    13   earlier this morning. I'm Jeff Kennedy, I
  14   for all the abuse Douglas did to me and abuse I    14   represent Hope Carter.
  15   was confronted with in my life, I have pride in    15          It's my understanding from your
  16   coming here. I'm proud of everything I said,       16   earlier testimony that you never saw Madame
  17   and I stand by it.                                 17   Carter at Rue 13, is that correct?
  18      Q. Did you talk to anyone, other than           18     A. No, simply inside the Village, that's
  19   your attorneys or any of their agents or           19   where I saw her.
  20   representatives, about your deposition before      20     Q. Okay. And how many times did you see
  21   coming here today?                                 21   her at the Village, sir?
  22      A. No, just my lawyers.                         22     A. I can't tell you, but she has come
  23      Q. Did you tell your parents where you          23   several times.
  24   were going?                                        24     Q. Okay. And did you ever speak to
  25      A. No, I just told them "I'm going out.         25   Madame Carter?


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   1      A. I have never spoken to Madame Carter.         1   physically, sir?
   2   She doesn't speak Creole.                           2      A. She's a little bit like a hunchback.
   3      Q. And you don't speak English, do you,          3   She always put her pants under her heart. She
   4   sir?                                                4   has a little -- she has sort of white hair. And
   5      A. No.                                           5   she has veins. And she has a little pouch in
   6      Q. And you don't understand spoken               6   front.
   7   English, do you, sir?                               7      Q. Sir -- strike that, I'm sorry.
   8      A. No.                                           8          You didn't speak to Emile Jean Pierre
   9      Q. Okay. Several times in questioning            9   after his deposition, is that correct, sir?
  10   from the other attorneys you used the phrase       10      A. No.
  11   "Madame Carter used to tell us." Do you            11      Q. So you don't know what he testified
  12   remember saying that, sir?                         12   to, sir?
  13          MR. STEWART: Objection.                     13      A. No, no.
  14      A. Yeah.                                        14      Q. Sir, earlier when you were speaking to
  15   BY MR. KENNEDY:                                    15   Attorney Babbitt, you indicated that you have
  16      Q. I'm trying to understand, sir, you           16   problems with sex, is that correct, sir?
  17   don't understand English, correct?                 17      A. Yeah, I have difficulties
  18      A. No.                                          18   concentrating.
  19      Q. So how could you understand what             19      Q. Sir, are you and your girlfriend able
  20   Madame Carter said?                                20   to have sex?
  21      A. Douglas used to be there, Robinson           21      A. Yeah, sometimes, but I can't
  22   also, they used to translate.                      22   concentrate really.
  23      Q. Okay. So they translated?                    23          MR. KENNEDY: I don't think I have
  24      A. Yes. When Madame Carter would come,          24   anything further. Thank you very much, sir.
  25   Douglas would be there, and Robinson would be      25          MR. STEWART: We're going to sign in

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   1   there, they would translate.                        1   60.
   2      Q. And did you ever hear Madame Carter           2          THE VIDEOGRAPHER: This concludes the
   3   speaking with Doug Perlitz?                         3   July 31, 2015 deposition of Ilguens Jean. Going
   4      A. I've seen them standing there talking,        4   off the record. The time is 4:53.
   5   but I don't know what they said because I don't     5          (Whereupon, the deposition was
   6   talk to them.                                       6          concluded.)
   7      Q. Okay. Sir, when you did see Madame            7
   8   Carter at the Village, what sort of things was      8
   9   she doing?                                          9
  10      A. Madame Carter, every month of December       10
  11   she would be there for Christmas, she would give   11
  12   us shoes. Douglas, Father Paul, and the entire     12
  13   staff were there. One day they give us a little    13
  14   T-shirt with Fairfield on it, they would           14
  15   encourage us to go to school.                      15
  16          After that, for the big vacation, she       16
  17   would come with visitors, she would wish us to     17
  18   have good vacation, and the visitors would play    18
  19   with us, would play basketball with us.            19
  20      Q. Was Madame Carter nice to you, sir?          20
  21          MR. STEWART: Objection.                     21
  22      A. I've never spoken to Madame Carter.          22
  23   Madame Carter doesn't speak Creole.                23
  24   BY MR. KENNEDY:                                    24
  25      Q. Can you describe Madame Carter for me        25


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   1          CERTIFICATE                                  1           ------
   2          I, MAUREEN O'CONNOR POLLARD, LSR #473,                   ERRATA
   3   RMR, CLR, and Notary Public in and for the State    2           ------
   4   of Connecticut, do hereby certify that there        3   PAGE LINE CHANGE
   5   came before me on the 31st day of July, 2015,       4   ____ ____ _________________________________
   6   the person hereinbefore named, who was duly         5     REASON: __________________________________
   7   sworn to testify to the truth of their knowledge    6   ___ ____ __________________________________
   8   concerning the matters in this cause, and their     7     REASON: __________________________________
   9   examination reduced to typewriting under my         8   ____ ____ _________________________________
  10   direction and is a true record of the testimony.
                                                           9     REASON: __________________________________
                                                          10   ____ ____ _________________________________
  11          I further certify that I am neither
                                                          11     REASON: __________________________________
  12   attorney for or related or employed by any of
                                                          12   ____ ____ _________________________________
  13   the parties to the action, and that I am not a
                                                          13     REASON: __________________________________
  14   relative or employee of any attorney or counsel
                                                          14   ____ ____ _________________________________
  15   employed by the parties hereto or financially
                                                          15     REASON: _________________________________
  16   interested in the action.                          16   ____ ____ _________________________________
  17          In witness whereof, I have hereunto         17     REASON: _________________________________
  18   set my hand and seal this 6th day of August,       18   ____ ____ _________________________________
  19   2015.                                              19     REASON: _________________________________
  20                                                      20   ____ ____ _________________________________
  21     ________________________________________         21     REASON: _________________________________
  22     MAUREEN O'CONNOR POLLARD, License #473           22   ____ ____ _________________________________
  23     Realtime Systems Administrator, RMR              23     REASON: _________________________________
  24     Notary Commission Expires: 10/31/2017            24   ____ ____ _________________________________
  25                                                      25


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   1          INSTRUCTIONS TO WITNESS                      1         ACKNOWLEDGMENT OF DEPONENT
   2                                                       2
                                                           3             I, __________________________, do
   3              Please read your deposition over             Hereby certify that I have read the foregoing
   4    carefully and make any necessary corrections.      4   pages, and that the same is a correct
   5    You should state the reason in the appropriate         transcription of the answers given by me to the
   6    space on the errata sheet for any corrections      5   questions therein propounded, except for the
                                                               corrections or changes in form or substance, if
   7    that are made.                                     6   any, noted in the attached Errata Sheet.
   8              After doing so, please sign the          7
   9    errata sheet and date it. It will be attached      8   _________________________________
  10    to your deposition.                                    ILGUENS JEAN          DATE
                                                           9
  11              It is imperative that you return        10
  12    the original errata sheet to the deposing         11
  13    attorney within thirty (30) days of receipt of    12
  14    the deposition transcript by you. If you fail     13
                                                          14
  15    to do so, the deposition transcript may be
                                                          15   Subscribed and sworn
  16    deemed to be accurate and may be used in court.        To before me this
  17                                                      16   ______ day of _________________, 20____.
  18                                                      17   My commission expires: ________________
  19                                                      18
                                                               _______________________________________
  20                                                      19   Notary Public
  21                                                      20
  22                                                      21
  23                                                      22
                                                          23
  24                                                      24
  25                                                      25


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          A           ago 88:6 113:23       APPEARANCES             64:24 71:16,23      59:18 60:6 61:12
a.m 1:25 7:7          agree 85:19 135:22      3:1 4:1 5:1           77:3,15 114:8       62:5 63:2,7 64:22
a/k/a 1:3,11          Air 77:6,6,8,14,19    appears 12:19         attending 27:13,18    66:5 68:13,17,22
abdomen 109:17          77:24 84:15,22      applies 1:21            27:23 28:6 38:20    69:20,24 70:4
ability 8:15 51:4       87:2,7 93:19,23     appreciate 64:4         40:8,11,17,22       72:10,16 75:18,24
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                  UNITED STATES DISTRICT COURT
                  DISTRICT OF CONNECTICUT
                                       Civil Action No.
                                       3:13-cv-01132(RNC)
        ****************************
        GERVIL ST. LOUIS, a/k/a ST.    Consolidated with:
        LOUIS GERVIL,                  3:13-cv-1225-RNC
                                       3:13-cv-1269-RNC
                       Plaintiff,      3:13-cv-1437-RNC
                                       3:13-cv-1480-RNC
             v.                        3:13-cv-1626-RNC
                                       3:13-cv-1627-RNC
        DOUGLAS PERLITZ, FATHER        3:13-cv-1628-RNC
        PAUL E. CARRIER, S.J.; HOPE    3:13-cv-1629-RNC
        E. CARTER; HAITI FUND,         3:13-cv-1630-RNC
        INC.; FAIRFIELD UNIVERSITY;    3:13-cv-1631-RNC
        THE SOCIETY OF JESUS OF NEW    3:13-cv-1632-RNC
        ENGLAND; SOVEREIGN MILITARY    3:13-cv-1633-RNC
        HOSPITALLER ORDER OF ST.       3:13-cv-1634-RNC
        JOHN OF JERUSALEM OF RHODES    3:13-cv-1635-RNC
        AND OF MALTA, AMERICAN         3:13-cv-1636-RNC
        ASSOCIATION, U.S.A.; a/k/a     3:13-cv-1637-RNC
        ORDER OF MALTA, AMERICAN       3:13-cv-1638-RNC
        ASSOCIATION, U.S.A.; JOHN      3:13-cv-1639-RNC
        DOE ONE; JOHN DOE TWO; JOHN    3:13-cv-1640-RNC
        DOE THREE; JOHN DOE FOUR;      3:13-cv-1641-RNC
        JOHN DOE FIVE; JOHN DOE SIX    3:13-cv-1642-RNC
        and JOHN DOE SEVEN,            3:13-cv-1644-RNC
                                       3:13-cv-1645-RNC
                       Defendants.     3:13-cv-1647-RNC
                                       3:13-cv-1648-RNC
                                       3:13-cv-1701-RNC
                                       3:13-cv-1767-RNC
                                       3:13-cv-1768-RNC
                                       3:13-cv-1769-RNC
                                       3:13-cv-1881-RNC
                                       3:13-cv-1904-RNC
                                       3:13-cv-1906-RNC
                                       3:13-cv-1907-RNC
        ******************************
        This document applies to:
        All of the above referenced cases
        And those to be filed
        ******************************
        CONFIDENTIAL - SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
             VIDEOTAPED DEPOSITION OF JOSE BERNARDIN

                   Friday, March 27th, 2015
                         9:04 a.m.

            Golkow Technologies, Inc. - 1.877.370.DEPS
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                                                     Page 2                                           Page 4
   1     VIDEOTAPED DEPOSITION OF JOSE BERNARDIN               1    APPEARANCES (Continued):
   2                                                           2
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                                                     Page 3                                           Page 5
   1   APPEARANCES:                                            1   APPEARANCES (Continued):
   2   FOR THE PLAINTIFF:                                      2
   3     MITCHELL GARABEDIAN, ESQ.                             3   FOR THE DEFENDANT ORDER OF MALTA AMERICAN
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  20           -and-                                          20
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                                                                                      2 (Pages 2 to 5)
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   1   APPEARANCES (Continued):                               1         PROCEEDINGS
   2                                                          2
   3   FOR THE DEFENDANT THE SOCIETY OF JESUS OF              3          THE VIDEOGRAPHER: We are now on the
   4   NEW ENGLAND:                                           4   record. My name is Chris Coughlin, I'm a
   5     WILLIAM J. DAILEY, JR., ESQ.                         5   videographer for Golkow Technologies.
   6        SLOANE AND WALSH, LLP                             6          Today's date is March 27, 2015, and
   7        Three Center Plaza, Suite 830                     7   the time is 9:04 a.m..
   8        Boston, Massachusetts 02108                       8          This video deposition is being held in
   9        617-523-6010                                      9   the Dominican Republic in the matter of Gervil
  10                                                         10   St. Louis, Plaintiff versus Douglas Perlitz, Et
  11                                                         11   Al, Defendants, in the United States District
  12   Videographer: Christopher Coughlin                    12   Court for the District of Connecticut, Civil
  13                                                         13   Action Number 3:13-cv-01132(RNC).
  14   Interpreter: Nathalie Coupet                          14          The deponent is Jose Bernardin.
  15                                                         15          Will counsel please identify
  16   Also Present: Emirlane Carmen Louis                   16   yourselves for the record.
  17            Interpreter                                  17          MR. FOLKMAN: Ted Folkman of Murphy
  18                                                         18   and King for Father Paul Carrier.
  19                                                         19          MR. O'NEILL: Timothy O'Neill
  20                                                         20   representing Father Paul Carrier.
  21                                                         21          MR. DAILEY: Bill Dailey representing
  22                                                         22   the Society of Jesus.
  23                                                         23          MR. WILLIAMS: Paul Williams
  24                                                         24   representing Fairfield University.
  25                                                         25          MR. KENNEDY: Jeffrey Kennedy


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   1                 INDEX                                    1   representing Hope Carter.
   2      EXAMINATION                             PAGE        2          MR. BABBITT: Bradley Babbitt
   3      JOSE BERNARDIN                                      3   representing the Order of Malta American
   4       BY MR. FOLKMAN                           10        4   Association.
   5       BY MR. DAILEY                         183          5          MR. STEWART: Mike Stewart on behalf
   6       BY MR. WILLIAMS                         253        6   of Plaintiff.
   7       BY MR. KENNEDY                          267        7          MS. HURD: Ellyn Hurd for the
   8       BY MR. BABBITT                         296         8   Plaintiffs.
   9                                                          9          MS. CONROY: Jayne Conroy, Plaintiffs.
  10                                                         10          MR. GARABEDIAN: Mitchell Garabedian,
  11            EXHIBITS                                     11   Plaintiff.
  12      NO.      DESCRIPTION                        PAGE   12          MS. XIA: Lu Xia, Plaintiff.
  13      Ex.1 Plaintiff Jose Bernardin's                    13          MS. LEWIS: Carmen Lewis, interpreter.
             Response to First Set of                        14          THE VIDEOGRAPHER: The court reporter
  14         Interrogatories...................... 10        15   is Maureen Pollard, and she will now swear in
  15      Ex.2 Hand-drawn diagram...................244      16   both the interpreter and the witness.
  16                                                         17
  17                                                         18          NATHALIE COUPET,
  18                                                         19   having been duly sworn to translate the
  19                                                         20   testimony to the best of her ability, translated
  20                                                         21   as follows:
  21                                                         22
  22                                                         23           JOSE BERNARDIN,
  23                                                         24   having been first duly sworn, was examined and
  24                                                         25   testified as follows through the interpreter:


                                                                                    3 (Pages 6 to 9)
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   1          DIRECT EXAMINATION                           1      Q. But do you remember signing it ever?
   2    BY MR. FOLKMAN:                                    2      A. Yes.
   3      Q. Good morning. Could you say your              3      Q. Where were you when you signed it?
   4    name, please?                                      4      A. At a hotel.
   5      A. Jose Bernardin.                               5      Q. Do you remember which hotel?
   6      Q. Bernardin is your family name?                6      A. Higher than Mont Jolie.
   7      A. Yes.                                          7      Q. You signed them in a hotel that was up
   8      Q. And Jose is your given name?                  8   the hill from the Mont Jolie Hotel?
   9      A. Yes.                                          9      A. Yes.
  10      Q. Do you have a nickname?                      10      Q. Okay. Who was with you when you
  11      A. Yes.                                         11   signed them?
  12      Q. What is your nickname?                       12      A. When I signed it?
  13      A. Ando.                                        13      Q. Yes.
  14      Q. Do you have any other nicknames?             14      A. Me, Mitch, and I don't remember their
  15      A. No.                                          15   names.
  16      Q. Mr. Bernardin, you understand that you       16      Q. Was there any person there who spoke
  17    took an oath to tell the truth today?             17   both English and Creole?
  18      A. Yes.                                         18      A. Yes.
  19      Q. I want to ask the reporter to mark a         19      Q. Who was that?
  20    document as Exhibit Number 1.                     20      A. The person translating for me.
  21          (Whereupon, Bernardin Exhibit               21      Q. Okay. And did the person translating
  22          Number 1, Plaintiff Jose Bernardin's        22   for you read you the Creole document, or did you
  23          Response to First Set of                    23   read it yourself?
  24          Interrogatories, was marked for             24          MR. GARABEDIAN: Objection.
  25          identification.)                            25      A. He read it for me. It's a man.


                                            Page 11                                                Page 13
   1   BY MR. FOLKMAN:                                     1   BY MR. FOLKMAN:
   2      Q. Sir, do you know how to read Creole?          2       Q. Okay. So he read you the questions
   3      A. Not very good at it.                          3   and the answers, right?
   4      Q. You can read a little bit?                    4           MR. GARABEDIAN: Objection.
   5      A. Yes.                                          5       A. Yes.
   6      Q. I'd like you to take a look, please,          6   BY MR. FOLKMAN:
   7   at the very last page of Exhibit Number 1 I just    7       Q. And you agreed with everything that
   8   handed you.                                         8   was given as an answer?
   9          Is that your signature, sir?                 9           MR. GARABEDIAN: Objection.
  10      A. Yes.                                         10       A. Yes.
  11      Q. Did you sign this document in July of        11   BY MR. FOLKMAN:
  12   2014?                                              12       Q. And that's why you signed it?
  13      A. Yes.                                         13       A. Yes.
  14          THE INTERPRETER: This is in English,        14       Q. And did you understand when you signed
  15   so he's not able to see the date.                  15   it that you had to tell the truth, just like you
  16   BY MR. FOLKMAN:                                    16   have to tell the truth today?
  17      Q. I want to make sure, sir, you                17       A. Yes.
  18   understand the document. There are pages in        18       Q. Was Cyrus Sibert there when you signed
  19   English, and then there are pages in Creole.       19   it?
  20          Do you see that?                            20           MR. GARABEDIAN: Objection.
  21      A. No. Yes.                                     21       A. He wasn't there.
  22      Q. Okay. I want to ask you about the day        22   BY MR. FOLKMAN:
  23   when you signed the document. Do you remember      23       Q. Were any other young men there who had
  24   signing it?                                        24   attended PPT?
  25      A. I don't remember the date.                   25       A. Yes.


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   1      Q. Who were they?                                1   attorney/client conversation. Objection.
   2      A. Wisky, Joel, Eliphete, and Emmanuel.          2      A. Okay.
   3   There were others, but I don't remember.            3   BY MR. FOLKMAN:
   4      Q. Okay. Aside from Mitch, the                   4      Q. I want to just say at the outset that
   5   translator, Wisky, Joel, Eliphete, and Emmanuel,    5   I know you've talked to your lawyer, and I'm not
   6   was there anybody else there?                       6   trying to get you to tell me anything that you
   7      A. Yes, I don't remember.                        7   heard from your lawyer or that you told your
   8      Q. Was Emmanuel Emmanuel Clervil?                8   lawyer. Okay?
   9          MR. GARABEDIAN: Objection.                   9      A. No. Okay.
  10      A. Yes.                                         10         MR. FOLKMAN: Okay. Mitch, I'm sorry,
  11   BY MR. FOLKMAN:                                    11   I should have done this at the beginning, may we
  12      Q. And was Wisky Wisky Jerome?                  12   have the same stipulations that we had
  13      A. Yes.                                         13   yesterday?
  14      Q. Joel Albert?                                 14         MR. GARABEDIAN: Yes.
  15      A. Yes.                                         15         Do you want to recite them, so there's
  16      Q. And do you know Eliphete's other name?       16   no confusion.
  17      A. Albert.                                      17         MR. FOLKMAN: Sure. Motions to strike
  18      Q. Do you know Emmanuel Clervil?                18   and objections except with respect to forms of
  19      A. Yes.                                         19   the questions are reserved, and I think you've
  20      Q. Have you ever spoken to him about PPT?       20   asked for 60 days to read and sign.
  21      A. No.                                          21         MR. GARABEDIAN: Yes.
  22      Q. Did you attend PPT at the same time as       22         MR. FOLKMAN: Thank you.
  23   he did?                                            23   BY MR. FOLKMAN:
  24      A. Can you repeat, please?                      24      Q. Did you hear from anybody other than
  25      Q. Sure.                                        25   your lawyers that Mr. Perlitz had gone to


                                           Page 15                                                  Page 17
   1          Do you remember him from The Village?        1   prison?
   2          MR. GARABEDIAN: Objection.                   2      A. Yes, I knew it.
   3      A. Yes.                                          3      Q. Who did you hear it from?
   4   BY MR. FOLKMAN:                                     4      A. Radio.
   5      Q. So you and he were at the Village at          5      Q. Was that from Cyrus Sibert's radio
   6   the same time?                                      6   show?
   7      A. Yes.                                          7      A. I don't know if it was Cyrus Sibert's
   8      Q. Sir, did you know that the government         8   show, but I heard it on the radio.
   9   in the United States charged Mr. Perlitz with       9      Q. Was the news about Douglas Perlitz on
  10   crimes because they said he abused several of      10   a lot of different radio shows in Cap-Haitien?
  11   the boys at PPT?                                   11      A. I didn't really hear it, because I
  12          MR. GARABEDIAN: Objection.                  12   didn't really -- I wasn't used to listening to
  13      A. Yes.                                         13   the radio.
  14   BY MR. FOLKMAN:                                    14      Q. Okay. Did a lot of people in
  15      Q. And did you know that he admitted that       15   Cap-Haitien, even if they hadn't been to PPT,
  16   he abused several boys?                            16   know about Douglas and the allegations against
  17      A. Yes.                                         17   him?
  18      Q. And did you know that he's in prison?        18      A. I don't know.
  19          MR. GARABEDIAN: Objection.                  19      Q. You don't know if it was widely known
  20      A. Yes.                                         20   in the community?
  21   BY MR. FOLKMAN:                                    21      A. I don't know.
  22      Q. Where did you learn that Douglas had         22      Q. Okay. Let me ask you about your
  23   gone to prison?                                    23   family, sir.
  24          MR. GARABEDIAN: I instruct him not to       24          Your father was Jolivart Bernardin?
  25   answer to the extent he's going to disclose        25      A. Yes.


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   1      Q. Is he alive today?                            1      A. Yes.
   2      A. No, he dead.                                  2      Q. And you have a brother named Angelo?
   3      Q. When did he die?                              3      A. Yes.
   4      A. I don't know. I was small. I was              4      Q. Okay. You were born on January 21st,
   5   very young.                                         5   1988?
   6      Q. Did he die before you went to the 13th        6      A. Yes.
   7   Street center?                                      7      Q. How many older brothers and sisters
   8      A. Yes.                                          8   did you have?
   9      Q. Do you remember him?                          9          MR. GARABEDIAN: Objection.
  10      A. I sometimes think of him.                    10      A. Three.
  11      Q. You were old enough when he died that        11   BY MR. FOLKMAN:
  12   you're able to remember him?                       12      Q. And so you had four younger siblings,
  13      A. I had his picture. They told me that         13   right?
  14   it was my dad, that's why I remember him.          14          MR. GARABEDIAN: Objection.
  15      Q. You don't have a memory of seeing him,       15      A. Yes.
  16   but you've seen photos of him, is that right?      16   BY MR. FOLKMAN:
  17          MR. GARABEDIAN: Objection.                  17      Q. How old was your oldest -- how much
  18      A. Yes.                                         18   older than you is your oldest sibling?
  19   BY MR. FOLKMAN:                                    19          MR. GARABEDIAN: Objection.
  20      Q. Your mother was Ann Louise Guillaume?        20      A. I don't know.
  21          THE INTERPRETER: Ann Louise?                21   BY MR. FOLKMAN:
  22          MR. FOLKMAN: Guillaume,                     22      Q. A lot older than you?
  23   G-U-I-L-L-A-U-M-E.                                 23      A. Yes.
  24      A. Yes.                                         24      Q. And your little siblings, how much
  25   BY MR. FOLKMAN:                                    25   younger than you are they, if you know?

                                            Page 19                                             Page 21
   1      Q. Is she alive?                                 1          MR. GARABEDIAN: Objection.
   2      A. She passed away.                              2      A. I don't know.
   3      Q. And when did she pass away?                   3   BY MR. FOLKMAN:
   4      A. 2005.                                         4      Q. What did your father do for work when
   5      Q. Okay. Were your parents married to            5   he was alive?
   6   each other?                                         6      A. He used to do tiles, keys, and locks.
   7      A. Yes.                                          7      Q. And did your mother have a job?
   8      Q. Did they live together?                       8      A. No.
   9      A. Yes.                                          9      Q. How did your mother support the family
  10      Q. Do you have siblings?                        10   after your father died?
  11      A. Yes.                                         11          MR. GARABEDIAN: Objection.
  12      Q. Who are your siblings?                       12      A. When my father died, she had brothers
  13          MR. GARABEDIAN: Objection.                  13   and sisters who helped her out.
  14      A. My sisters are Jorane, J-O-R-A-N-E;          14   BY MR. FOLKMAN:
  15   Angeline, A-N-G-E-L-I-N-E; Eglenta,                15      Q. Did they live in Cap-Haïtian?
  16   E-G-L-E-N-T-A; Josie, J-O-S-I-E; and they're all   16      A. Yes.
  17   last name is Bernardin. And then Enerline,         17      Q. Did your mother ever have another
  18   E-N-E-R-L-I-N-E, last name Guillaume. They're      18   husband?
  19   all girls.                                         19          MR. GARABEDIAN: Objection.
  20   BY MR. FOLKMAN:                                    20      A. Yes.
  21      Q. Do you have a sister named Esther?           21   BY MR. FOLKMAN:
  22      A. Oh, it's the same one whose name is          22      Q. That was after your father died?
  23   Enerline.                                          23      A. Yes.
  24      Q. Okay. Do you have a brother named            24      Q. And Esther is the daughter of your
  25   Sam?                                               25   mother and her new husband, is that right?


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   1           MR. GARABEDIAN: Objection.                  1   earlier, you said you began to attend PPT in
   2       A. Yes.                                         2   2002, is that right?
   3    BY MR. FOLKMAN:                                    3      A. Yes.
   4      Q. Did your mother own a house?                  4      Q. Okay. And so 2002 is approximately
   5       A. Yes.                                         5   when you also left your mother's house, is that
   6      Q. Let me ask you about the house.               6   right?
   7           How many rooms did it have?                 7          MR. GARABEDIAN: Objection.
   8       A. Two.                                         8      A. Yes.
   9      Q. Was one room a bedroom?                       9   BY MR. FOLKMAN:
  10       A. Yes.                                        10      Q. Let me ask about your parents'
  11      Q. And was one room a living room?              11   education.
  12       A. Yes.                                        12          Did your father attend school?
  13      Q. And where was the cooking done?              13      A. I don't know.
  14      A. In the yard.                                 14      Q. Did your mother attend school?
  15      Q. So out of the house?                         15      A. I don't know if they went to school,
  16       A. Yes.                                        16   but they can read.
  17      Q. In the bedroom, how many beds were           17      Q. Did your siblings attend school?
  18    there?                                            18      A. Yes.
  19      A. Just one.                                    19      Q. What school did they attend?
  20      Q. And how many people slept in the bed?        20      A. I don't know the name of their school.
  21      A. Three. And the rest of us, we slept          21      Q. Was it a public school; in other
  22    on the floor.                                     22   words, a school run by the government?
  23      Q. Okay. And the three of you would have        23          MR. GARABEDIAN: Objection.
  24    been you, your mother, and who?                   24      A. There were private schools, there were
  25           MR. GARABEDIAN: Objection.                 25   public schools.

                                            Page 23                                                Page 25
   1      A. No. My mother, Esther, and her                1   BY MR. FOLKMAN:
   2   husband.                                            2      Q. And which sort of school did your
   3   BY MR. FOLKMAN:                                     3   siblings go to?
   4      Q. Where did you sleep?                          4          MR. GARABEDIAN: Objection.
   5      A. On the floor.                                 5      A. When my father died, we were at the
   6      Q. With your other siblings who were in          6   high school. High school, we were there when my
   7   the house?                                          7   father died.
   8      A. Yes.                                          8   BY MR. FOLKMAN:
   9      Q. Okay. What did your -- if you know,           9      Q. You were there, or your siblings were
  10   what did your mother and her new husband do when   10   there?
  11   they wanted privacy?                               11          MR. GARABEDIAN: Objection.
  12         MR. GARABEDIAN: Objection.                   12      A. My brothers and sisters.
  13      A. I don't know.                                13   BY MR. FOLKMAN:
  14   BY MR. FOLKMAN:                                    14      Q. But you were too young to be in high
  15      Q. Okay. How old were you when you              15   school then, weren't you?
  16   stopped living in your mother's house?             16      A. Yes.
  17      A. I don't remember.                            17      Q. Okay. And did your parents pay for
  18      Q. Were you already participating at Rue        18   your siblings to attend the high school?
  19   13's center when you left your mother's house?     19          MR. GARABEDIAN: Objection.
  20         MR. GARABEDIAN: Objection.                   20      A. Yes.
  21      A. When I left my mother's house, then I        21   BY MR. FOLKMAN:
  22   went to Rue 13.                                    22      Q. Do you have any memory of how much
  23   BY MR. FOLKMAN:                                    23   they paid?
  24      Q. Okay. You said in the written -- in          24      A. No.
  25   the answers that you gave that we talked about     25      Q. Did you say that they were there


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   1    before your father died, or after your father     1   I said, we couldn't pay, it's my uncle who paid,
   2    died?                                             2   so we couldn't afford it anymore.
   3           MR. GARABEDIAN: Objection.                 3   BY MR. FOLKMAN:
   4       A. If they were there?                         4      Q. Yes.
   5           MR. FOLKMAN: I'm asking -- I just          5          So why did you have to leave your
   6    missed his answer, I could go back, was he        6   mother's house?
   7    talking about after his father died, or before    7      A. Why I left, I couldn't go to school
   8    his father died.                                  8   anymore. I found someone, a friend, who said he
   9           MR. GARABEDIAN: Objection.                 9   was going to go with me somewhere, I'll be able
  10       A. When my father died, they were at the      10   to find -- I'll find everything I need and I'll
  11    high school.                                     11   go to school. So I had to go. So I left my
  12    BY MR. FOLKMAN:                                  12   mother's house.
  13       Q. Okay. And after your father died, did      13      Q. When you say you found someone, who
  14    they stay at the high school or not?             14   did you find?
  15       A. No, they stopped going to school.          15      A. A friend called Jonas.
  16       Q. Is that because the family could no        16      Q. Was Jonas older than you, or younger
  17    longer afford to send them to school?            17   than you?
  18           MR. GARABEDIAN: Objection.                18      A. Older.
  19       A. Yes.                                       19      Q. And had you known him before?
  20    BY MR. FOLKMAN:                                  20      A. Yes.
  21       Q. Did you ever attend school before          21      Q. How did you know him?
  22    starting your time at PPT?                       22      A. We were staying at the same place.
  23       A. Yes.                                       23      Q. In your mother's house?
  24       Q. What school did you attend?                24      A. No.
  25       A. Baraca.                                    25      Q. I'm sorry, I misunderstood you. I


                                           Page 27                                                Page 29
   1       Q. Was Baraca a public school, or a            1   thought you said you left your house because of
   2    private school?                                   2   something Jonas told you. Is that not correct?
   3       A. Private.                                    3           MR. GARABEDIAN: Objection.
   4       Q. Who paid for you to attend Baraca?          4       A. I left my mother's house, they
   5          MR. GARABEDIAN: Objection.                  5   couldn't pay school for me. Jonas said he's
   6       A. My uncle.                                   6   going to bring me someplace, I'll find school,
   7    BY MR. FOLKMAN:                                   7   I'll find everything.
   8       Q. Okay. Did your uncle also pay for           8   BY MR. FOLKMAN:
   9    your siblings to continued to attend school?      9       Q. Was it that your uncles were no longer
  10          MR. GARABEDIAN: Objection.                 10   able to pay for you to go to school?
  11       A. We had several uncles. They put money      11       A. He wasn't paying anymore.
  12    together to pay school for us.                   12       Q. Okay. And do you know why he stopped
  13    BY MR. FOLKMAN:                                  13   paying?
  14       Q. Okay. Why did you leave your mother's      14       A. I don't know.
  15    house?                                           15       Q. Okay. So I want to make sure I
  16          MR. GARABEDIAN: Objection.                 16   understood what you said.
  17       A. They couldn't pay for my school at         17           You left your mother's house because
  18    Baraca, for Baraca.                              18   your uncles were no longer able to send you to
  19    BY MR. FOLKMAN:                                  19   school, is that right?
  20       Q. Your mother couldn't pay?                  20           MR. GARABEDIAN: Objection.
  21       A. Yes.                                       21       A. Yes.
  22       Q. I thought you said your uncles were        22   BY MR. FOLKMAN:
  23    paying for Baraca.                               23       Q. And your friend Jonas told you that he
  24          MR. GARABEDIAN: Objection.                 24   was going to take you someplace where you could
  25       A. My uncle gave them money. That's why       25   go to school?


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   1       A. Yes.                                         1          MR. GARABEDIAN: Objection.
   2       Q. And did he tell you where he was going       2      A. No.
   3    to take you?                                       3   BY MR. FOLKMAN:
   4       A. He said he's going to go with me in a        4      Q. Why not?
   5    center, and I could follow him if I wanted.        5      A. I just didn't go.
   6       Q. Okay. Now, your mother's house is            6      Q. Did any of your older siblings have
   7    where?                                             7   houses of their own at that time?
   8           MR. GARABEDIAN: Objection.                  8          MR. GARABEDIAN: Objection.
   9       A. Fort St. Michel.                             9      A. No.
  10    BY MR. FOLKMAN:                                   10   BY MR. FOLKMAN:
  11       Q. Didn't you move from Fort St. Michel        11      Q. Where were they living?
  12    to Labory? L-A-B-O-R-Y.                           12      A. They were with my mother.
  13       A. Yes.                                        13      Q. Were they still going to school?
  14       Q. So was her house in Fort St. Michel or      14      A. No.
  15    in Labory?                                        15      Q. Had they finished school?
  16           MR. GARABEDIAN: Objection.                 16          MR. GARABEDIAN: Objection.
  17       A. At Fort St. Michel.                         17      A. No.
  18    BY MR. FOLKMAN:                                   18   BY MR. FOLKMAN:
  19       Q. Okay. What was in Labory?                   19      Q. Were they working?
  20       A. She sold her house, so she went to          20      A. No.
  21    stay at Labory.                                   21      Q. When you say you were sleeping in the
  22       Q. And did she have a house there?             22   streets, was there a particular part of the city
  23       A. She rented her house.                       23   where you normally stayed?
  24       Q. Okay. And was that house similar to         24          MR. GARABEDIAN: Objection.
  25    the house in Fort St. Michel?                     25      A. We didn't have any set place.

                                            Page 31                                                 Page 33
   1       A. Yes.                                         1   BY MR. FOLKMAN:
   2       Q. Did it also have two rooms?                  2      Q. By the way, this is now in
   3       A. Yes.                                         3   Cap-Haïtian, is that right?
   4       Q. One bedroom and one living area?             4          MR. GARABEDIAN: Objection.
   5       A. Yes.                                         5      A. Yes.
   6       Q. And the sleeping arrangements were the       6   BY MR. FOLKMAN:
   7    same in Labory as they were in Fort St. Michel?    7      Q. Is Fort St. Michel in Cap-Haïtian?
   8           MR. GARABEDIAN: Objection.                  8      A. Outside.
   9       A. Yes.                                         9      Q. It's an area close to the city, but
  10    BY MR. FOLKMAN:                                   10   not in the city?
  11       Q. You wrote in your answers that you          11      A. Yes.
  12    moved to these places with your parents. Is it    12      Q. And is that true of Labory also?
  13    true that both your parents lived with you in     13      A. Yes.
  14    Fort St. Michel and Labory, or was it only your   14      Q. Tell me about your time when you were
  15    mother?                                           15   living on the street. Was there a group of kids
  16           MR. GARABEDIAN: Objection.                 16   who were living together and hanging out
  17       A. Just my mother.                             17   together?
  18    BY MR. FOLKMAN:                                   18          MR. GARABEDIAN: Objection.
  19       Q. Okay. So when you went with Jonas,          19      A. When we're sleeping there were a lot
  20    where did you go?                                 20   of us, several of us, but during the day we all
  21       A. In 13th Street.                             21   spread out to find food to eat.
  22       Q. Okay. And where were you sleeping?          22   BY MR. FOLKMAN:
  23       A. In the streets.                             23      Q. Did you have people who were in the
  24       Q. Did you think to go live with your          24   group that were sleeping near each other that
  25    uncles?                                           25   were friends of yours?


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   1        A. Yes, since we were all staying at the      1   up?
   2    same place, we were sleeping in the same place    2          MR. GARABEDIAN: Objection.
   3    together, so we all became brothers.              3   BY MR. FOLKMAN:
   4        Q. I meant to ask you; what was Jonas's       4      Q. Let me ask a different question.
   5    other name, if you know, his family name?         5   That's ambiguous.
   6            MR. GARABEDIAN: Objection.                6          When you were young and attending
   7        A. No.                                        7   school at Baraca, what did you think you were
   8    BY MR. FOLKMAN:                                   8   going to do for a job when you grew up?
   9        Q. You don't know?                            9          MR. GARABEDIAN: Objection.
  10        A. No.                                       10      A. I was going to study after going to
  11        Q. Did Jonas ever attend the 13th Street     11   school. I was going to study theology.
  12    center, or the Village, or Carenage?             12   BY MR. FOLKMAN:
  13            MR. GARABEDIAN: Objection.               13      Q. Did you want to -- were you raised as
  14        A. 13th Street.                              14   a Roman Catholic?
  15    BY MR. FOLKMAN:                                  15          MR. GARABEDIAN: Objection.
  16        Q. At the same time that you did?            16      A. Yes.
  17        A. Yes.                                      17   BY MR. FOLKMAN:
  18        Q. And he never went to the Village?         18      Q. And did you want to grow up and be a
  19        A. He died.                                  19   priest?
  20        Q. How did he die?                           20      A. Yes. I used to go to church a lot.
  21        A. Well, he used to -- he was at the spot    21      Q. Okay. My question was; did you want
  22    to sweep the floor for people to get some -- a   22   to grow up and be a priest?
  23    little bit of money, and seems that they were    23          MR. GARABEDIAN: Objection.
  24    sending a disease to someone, but he got it.     24      A. Yes.
  25        Q. So he died of a sickness?                 25   BY MR. FOLKMAN:

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   1           How long after you left your mother's      1      Q. Okay. Did the police ever give you
   2    house with him did he die?                        2   trouble when you were living on the street?
   3           MR. GARABEDIAN: Objection.                 3          MR. GARABEDIAN: Objection.
   4       A. I don't remember.                           4      A. Yes. One day that arrested me.
   5    BY MR. FOLKMAN:                                   5   BY MR. FOLKMAN:
   6       Q. Did your life on the street change          6      Q. What did they arrest you for?
   7    after Jonas died?                                 7      A. I was in the streets, I used to wash
   8       A. More or less.                               8   cars. After washing a car, I felt tired. I
   9           MR. GARABEDIAN: Objection.                 9   went to sleep inside a house where chiefs also
  10       A. I used to find food easily. When I         10   go. They arrested us. After arresting us they
  11    used to beg, I would get money.                  11   gave us food, they beat us up, and then they
  12    BY MR. FOLKMAN:                                  12   told us to leave.
  13       Q. And did that change after his death?       13      Q. Was that the only time you ever were
  14       A. Yes.                                       14   arrested?
  15       Q. How?                                       15      A. Yes.
  16       A. When I needed something, I found it, I     16          No. They arrested me the other day.
  17    found it.                                        17      Q. You mean the other day just a few days
  18       Q. When you were at Baraca, the school,       18   ago from now?
  19    were you taking classes or studying a trade?     19          MR. GARABEDIAN: Objection.
  20           MR. GARABEDIAN: Objection.                20      A. Yes.
  21       A. I used to go to class.                     21   BY MR. FOLKMAN:
  22    BY MR. FOLKMAN:                                  22      Q. Was that in the Dominican Republic, or
  23       Q. What sorts of things did you learn?        23   in Haiti?
  24       A. To read and write.                         24      A. In Haiti.
  25       Q. What did you want to do when you grew      25      Q. What were you arrested for?


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   1       A. I was just sitting someplace, and then       1   the center at the time?
   2    there was -- they were playing money games,        2      A. Yes.
   3    betting, and I stood up, and they arrested me      3      Q. Okay. Describe what the center looked
   4    and said "why are you here?" I said "well, no,     4   like for me.
   5    I was just cleaning cars." And they let me go.     5          MR. GARABEDIAN: Objection.
   6       Q. Aside from the arrests that you've           6      A. Describe? Yes. In the center there
   7    described, have you ever, when you were living     7   was a house, a church, bathroom, and a shower,
   8    on the streets, been beaten up or threatened by    8   and then trees, a yard where we could play ball.
   9    the police?                                        9   BY MR. FOLKMAN:
  10           MR. GARABEDIAN: Objection.                 10      Q. There was a gate?
  11       A. No.                                         11      A. Yes, a big one.
  12    BY MR. FOLKMAN:                                   12      Q. And would you wait by the gate in the
  13       Q. Did you ever experience any violence        13   morning to get in?
  14    from other street kids when you were living in    14          MR. GARABEDIAN: Objection.
  15    the street?                                       15      A. Yes.
  16       A. The kids, or the police?                    16   BY MR. FOLKMAN:
  17       Q. Well, you've already answered the           17      Q. And who would open the gate for you?
  18    police. I'm asking now about the kids.            18          MR. GARABEDIAN: Objection.
  19       A. No.                                         19      A. A security guard.
  20       Q. And what about from other people            20   BY MR. FOLKMAN:
  21    living in Cap-Haïtian who weren't street kids?    21      Q. A Haitian?
  22           MR. GARABEDIAN: Objection.                 22      A. Yes.
  23       A. Yes.                                        23      Q. Do you remember any of the Americans
  24    BY MR. FOLKMAN:                                   24   who worked at the 13th Street center?
  25       Q. One time, or more than one time?            25          MR. GARABEDIAN: Objection.

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   1      A. The place where we used to sleep in,          1       A. That were in the center?
   2   they used to beat people who would come and beat    2    BY MR. FOLKMAN:
   3   us up, and they told us not to sleep in the         3       Q. Yes.
   4   street.                                             4       A. Yes.
   5      Q. And did that happen to you?                   5       Q. Who do you remember?
   6      A. Yes.                                          6       A. Andy, Nicholas, Matthew. I don't
   7      Q. When you were beaten up, did you ever         7    remember any more.
   8   go to a hospital, or a doctor?                      8       Q. Did you have to be searched -- not
   9           MR. GARABEDIAN: Objection.                  9    just you, but all the kids, did you have to be
  10      A. No.                                          10    searched before you could go into the 13th
  11   BY MR. FOLKMAN:                                    11    Street center?
  12      Q. You started to attend the 13th Street        12           MR. GARABEDIAN: Objection.
  13   project in 2002, right?                            13       A. Yes, they always search us to make
  14      A. Yes.                                         14    sure we don't have thinners and knives.
  15      Q. And why did you start to attend the          15    BY MR. FOLKMAN:
  16   13th Street center?                                16       Q. Thinner is a paint thinner that kids
  17      A. I went to 13th Street because a              17    in the street would sniff?
  18   friend, a friend who went to -- who brought me     18           MR. GARABEDIAN: Objection.
  19   to center said I would find everything I need.     19       A. Yeah, they put it in their nose.
  20      Q. What friend was that?                        20    BY MR. FOLKMAN:
  21      A. Jonas.                                       21       Q. And is that something you ever did?
  22      Q. Okay. So Jonas brought you to the            22       A. No.
  23   center, is that right?                             23       Q. Was it common?
  24      A. Yes.                                         24           MR. GARABEDIAN: Objection.
  25      Q. Okay. And was he already attending           25       A. Yes.

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   1    BY MR. FOLKMAN:                                     1      A. If I had classes every day?
   2       Q. Did Jonas do it?                              2   BY MR. FOLKMAN:
   3       A. No.                                           3      Q. Yes.
   4       Q. Once you got into the gate and had the        4      A. Yes, every day.
   5    search, what sorts of activities would you do on    5      Q. You said there was a church at the
   6    a typical day at the 13th Street center?            6   13th Street center?
   7           MR. GARABEDIAN: Objection.                   7      A. Yes, there was a church.
   8       A. When we were -- they searched us, they        8      Q. And did you attend the church?
   9    gave us a brush and paste, toothpaste, and soap     9      A. No, we don't go to church there.
  10    to get -- to take a shower.                        10      Q. Did you attend another church during
  11    BY MR. FOLKMAN:                                    11   the time that you were at the 13th Street
  12       Q. Okay. And after you had brushed your         12   center?
  13    teeth and showered, what would you do?             13      A. No.
  14       A. They gave us food, and then we went to       14      Q. Okay. What time of the morning would
  15    play.                                              15   you get to the 13th Street center?
  16       Q. What sorts of things would you play at       16      A. Six, seven, or eight.
  17    13th Street center?                                17      Q. Was there a fixed time every morning,
  18       A. Dominos and ball.                            18   or did it change from morning to morning?
  19       Q. By "ball," do you mean football,             19      A. There was a set hour, time.
  20    soccer?                                            20      Q. And you just can't remember today
  21       A. Yes.                                         21   whether it was 6, 7 or 8:00 o'clock?
  22       Q. Did you attend any classes at the 13th       22      A. No.
  23    Street center?                                     23      Q. And about how late in the day would
  24       A. Yes.                                         24   you stay at the 13th Street center?
  25       Q. So in your answers to the written            25      A. 4:00 p.m.. Last delay -- last time.

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   1    questions, you said that you did first and          1      Q. And then you would go back out to the
   2    second grade at Baraca, and that you did third      2   street?
   3    and fourth grade at the PPT Village, is that        3      A. Yes.
   4    right?                                              4      Q. And would you have -- would you try to
   5           MR. GARABEDIAN: Objection.                   5   find food on the street, or did you do all of
   6       A. Yes.                                          6   your eating at 13th Street?
   7    BY MR. FOLKMAN:                                     7          MR. GARABEDIAN: Objection.
   8       Q. So what classes did you do at the 13th        8      A. Well, at 13th Street they gave us
   9    Street center?                                      9   money -- food, but it wasn't enough, so I did
  10       A. In Baraca I did first and second year.       10   need to go to the street to find some more food.
  11    13th Street, third.                                11   BY MR. FOLKMAN:
  12       Q. And at the Village, which class did          12      Q. Okay. Did you ever see Doug Perlitz
  13    you do?                                            13   at the 13th Street center?
  14       A. Third.                                       14      A. He comes from time to time, doesn't
  15       Q. So you did third at 13th Street, and         15   stay.
  16    also at the Village?                               16      Q. What would you see Doug Perlitz doing
  17       A. Yes.                                         17   at the 13th Street center when you saw him
  18       Q. Okay. Did you have class every day at        18   there?
  19    the 13th Street Village? I said the 13th Street    19      A. When he has guests he comes, and when
  20    Village.                                           20   the white people talk to us, after that they
  21           MR. GARABEDIAN: Objection.                  21   leave.
  22    BY MR. FOLKMAN:                                    22      Q. So is it -- are you saying that
  23       Q. Did you have class every day at the          23   Douglas would come to show white people around
  24    13th Street center?                                24   the center?
  25           MR. GARABEDIAN: Objection.                  25          MR. GARABEDIAN: Objection.


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   1      A. Yes.                                          1   Paul was there with all of them or not?
   2   BY MR. FOLKMAN:                                     2          MR. GARABEDIAN: Objection.
   3      Q. And did you see him doing other               3     A. I don't remember.
   4   things, aside from that, at the 13th Street         4   BY MR. FOLKMAN:
   5   center?                                             5     Q. Okay. You've never been married, is
   6      A. No.                                           6   that true?
   7      Q. Did he ever come to the center with           7     A. No.
   8   Paul Carrier?                                       8     Q. You have a daughter named Anncie?
   9      A. Yes.                                          9     A. Anncie.
  10      Q. And did you see him showing Pere Paul        10     Q. And how old is Anncie?
  11   around the center?                                 11     A. A year and a half.
  12      A. Yes, when he would -- they would visit       12     Q. And who is Anncie's mother?
  13   the entire yard. They would talk -- they would     13     A. Angeline Guerrier.
  14   talk to us, they would ask us what our names       14     Q. Can you spell that, please?
  15   were, and we would ask them what their names       15     A. Yes. A-N-G-E-L-I-N-E, last name
  16   were.                                              16   G-U-E-R-R-I-E-R.
  17      Q. Now, when you were giving your name to       17     Q. Are you still with Angeline today?
  18   Father Carrier, was Douglas translating for you?   18          MR. GARABEDIAN: Objection.
  19      A. Yes.                                         19     A. Yes.
  20      Q. Did you ever speak at the 13th Street        20   BY MR. FOLKMAN:
  21   center to Pere Paul without Douglas translating    21     Q. How long have the two of you been
  22   for you?                                           22   together?
  23      A. I don't speak English.                       23     A. Five years.
  24      Q. And as far as you know, Pere Paul            24     Q. And do you have any other children?
  25   doesn't speak Creole, right?                       25     A. No.

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   1          MR. GARABEDIAN: Objection.                   1     Q. Where does Anncie live?
   2      A. I don't think so. When he came, he            2     A. At her mother's.
   3   didn't talk.                                        3     Q. Does her mother own a house?
   4   BY MR. FOLKMAN:                                     4     A. Angeline is staying at her mother's.
   5      Q. You saw Pere Paul and Douglas talking         5     Q. Okay. And you are not staying with
   6   to each other, didn't you?                          6   Angeline and Anncie, are you?
   7      A. They were together. They were                 7          MR. GARABEDIAN: Objection.
   8   walking, there were several white people walking    8     A. No.
   9   together. But I've never seen them just             9   BY MR. FOLKMAN:
  10   together.                                          10     Q. You are living on a boat on an island
  11      Q. Just the two of them you've never            11   near the city, is that true?
  12   seen?                                              12     A. Yes.
  13      A. No, there were several of them.              13     Q. Do you live with anybody?
  14      Q. And did you see Pere Paul with Doug          14     A. There's two of us.
  15   one time, or more than one time, at the 13th       15     Q. Who is the other?
  16   Street center?                                     16     A. Another person living in the streets
  17          MR. GARABEDIAN: Objection.                  17   that is part of the project.
  18      A. When they would come, if there's a           18     Q. Who is that?
  19   group of visitors, they come to 13th Street.       19     A. There's Bouqui, Ti Antoine, and Jonas,
  20   BY MR. FOLKMAN:                                    20   and there are several.
  21      Q. So Pere Paul was there with a group of       21     Q. So there's four of you who live on the
  22   visitors more than once, is that true?             22   boat?
  23      A. I don't remember.                            23     A. More. I don't remember the others.
  24      Q. Okay. So you remember seeing many            24     Q. So you remember four of the people
  25   groups of visitors, and you're not sure if Pere    25   that you live with, but not the others?


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   1       A. Yes.                                         1           MR. GARABEDIAN: Objection.
   2       Q. How many are there altogether do you         2       A. Yes.
   3    think?                                             3   BY MR. FOLKMAN:
   4       A. Eight.                                       4       Q. But you've never asked them whether
   5       Q. And were they all PPT students?              5   they would be willing to have you, have you?
   6       A. Yes.                                         6           MR. GARABEDIAN: Objection.
   7       Q. Are they all people who have brought         7       A. No.
   8    cases against Douglas Perlitz?                     8   BY MR. FOLKMAN:
   9          MR. GARABEDIAN: Objection.                   9       Q. How often do you see Angeline?
  10       A. Yes.                                        10       A. Every two weeks.
  11    BY MR. FOLKMAN:                                   11       Q. And do you go on a certain day every
  12       Q. Are they all people who, as far as you      12   two weeks to stay with her?
  13    know, are represented by your lawyers also?       13       A. Every two weeks I can go to their
  14          MR. GARABEDIAN: Objection.                  14   house two or three times.
  15       A. Yes.                                        15       Q. Okay. And do you help support Anncie?
  16    BY MR. FOLKMAN:                                   16       A. When I have, I give. But when I
  17       Q. They're all people who were abused by       17   don't, I don't go.
  18    Douglas Perlitz?                                  18       Q. Okay. I want to ask you about how you
  19       A. Yes.                                        19   make money.
  20       Q. Are any of them people who have             20           When you were at the Rue 13 center, is
  21    already gotten money because of their lawsuits?   21   it true that you made money by begging for it on
  22          MR. GARABEDIAN: Objection.                  22   the street?
  23       A. No.                                         23       A. Yes. Yes.
  24    BY MR. FOLKMAN:                                   24       Q. And have you begged for money on the
  25       Q. Why are you not living with Angeline        25   street as a way to earn money at other times


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   1    and Anncie?                                        1   also?
   2       A. Why am I not staying with them in            2          MR. GARABEDIAN: Objection.
   3    their house is because I can't rent a house to     3      A. Yes.
   4    be living with them.                               4   BY MR. FOLKMAN:
   5       Q. So you don't live with them because          5      Q. Are you doing that today?
   6    you can't contribute to the cost of the house,     6          MR. GARABEDIAN: Objection.
   7    is that true?                                      7      A. Yes. Yes.
   8            MR. GARABEDIAN: Objection.                 8   BY MR. FOLKMAN:
   9       A. Yes.                                         9      Q. Let me ask you about jobs that you've
  10    BY MR. FOLKMAN:                                   10   had.
  11       Q. And did Angeline tell you you couldn't      11          Is it true that you had a job for
  12    live there unless you could contribute money?     12   about a week at the Village where you did
  13            MR. GARABEDIAN: Objection.                13   groundwork and were paid about 35 gourdes a day?
  14       A. No.                                         14      A. Yes.
  15    BY MR. FOLKMAN:                                   15      Q. And did you ever have another job at
  16       Q. Did her mother tell you that?               16   the Village?
  17       A. No.                                         17      A. Yes.
  18       Q. Have you asked them if you could live       18      Q. You worked for -- well, tell me about
  19    there?                                            19   your other job at the Village.
  20       A. I -- they didn't ask me because for me      20      A. They gave me a job when it was about
  21    this is so ugly, I didn't -- I couldn't stay      21   to be December, and Douglas gave us a little
  22    with them if I don't contribute.                  22   piece of land where we had to do groundwork, he
  23       Q. So you felt that it wouldn't be right       23   would pay us 35 gourdes a day, just for them to
  24    for you to live there if you couldn't help pay    24   get a little bit of money so they can -- could
  25    the costs?                                        25   go through the holidays.


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   1      Q. Okay. So are you saying that when you        1      Q. And when you did that, you were
   2   were at the Village you did that more than one     2   working for yourself?
   3   time?                                              3      A. Yes.
   4         MR. GARABEDIAN: Objection.                   4      Q. And you would earn about 50 to 100
   5      A. Yes.                                         5   gourdes per car?
   6   BY MR. FOLKMAN:                                    6      A. Yes.
   7      Q. Okay. Aside from the job that you            7      Q. And over what period of time did you
   8   would have sometimes at the Village doing          8   wash cars?
   9   groundwork for a week and being paid about 35      9          MR. FOLKMAN: Do you want me to ask it
  10   gourdes a day, did you ever have other work       10   again?
  11   while you were at the Village?                    11          THE INTERPRETER: Yes.
  12      A. Yes.                                        12   BY MR. FOLKMAN:
  13      Q. What other job was that?                    13      Q. Is that a job that you're doing these
  14      A. I used to sweep the floor, and fill         14   days?
  15   water tanks.                                      15      A. Yes.
  16      Q. Were you paid for that?                     16      Q. And have you always done that while
  17      A. Yes.                                        17   you've been living on the street?
  18      Q. Do you know how much you were paid?         18      A. No. When the Village stopped, was
  19      A. 35 gourdes.                                 19   crushed, that I started doing that.
  20      Q. Did you also spend a month working a        20      Q. Okay. So aside from the jobs that
  21   construction job on Rue 13?                       21   you've told me about, washing a car, doing the
  22         THE INTERPRETER: Can you repeat the         22   construction work for a month, and the odd jobs
  23   question, please?                                 23   at the Village, have you ever had any other work
  24         MR. FOLKMAN: Sure.                          24   or employment?
  25   BY MR. FOLKMAN:                                   25      A. 13th Street also?


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   1       Q. Did you once spend a month doing a          1       Q. Mm-hmm.
   2    construction job on Rue 13?                       2       A. No, I didn't.
   3       A. That's another job, yes.                    3       Q. What kind of job would you like to
   4       Q. Okay. And you were paid about 3,000         4   have?
   5    gourdes every two weeks while you were doing      5       A. Anything that comes my way, I'll do
   6    that job?                                         6   it.
   7       A. Yes.                                        7       Q. You spent about a year at the Rue 13
   8       Q. And that job lasted about a month?          8   center, is that right?
   9       A. Yes.                                        9       A. Yes.
  10       Q. Aside from those two jobs, the jobs at     10       Q. And after Rue 13, did you go to the
  11    the Village that you've talked about and the     11   Carenage?
  12    month of construction work, have you ever had    12       A. When I left the Village.
  13    another job where you had a boss?                13       Q. You went to the Carenage after you
  14       A. I don't understand.                        14   left the Village?
  15       Q. Sure. Did you ever work for somebody       15       A. Yes.
  16    else, other than the times you worked at the     16       Q. Carenage is the name of a
  17    Village that you just told me about, and other   17   neighborhood, is that right?
  18    than the job at the construction site that you   18       A. Yes, a neighborhood.
  19    told me about?                                   19       Q. So when you say you went to Carenage,
  20           MR. GARABEDIAN: Objection.                20   you don't mean that you went to the PPT project
  21       A. No.                                        21   at Carenage, you mean you went somewhere else in
  22    BY MR. FOLKMAN:                                  22   the Carenage neighborhood?
  23       Q. You do -- or you have washed cars to       23          MR. GARABEDIAN: Objection.
  24    earn some money, right?                          24       A. No, I wasn't staying at the
  25       A. Yes.                                       25   neighborhood -- in the neighborhood.


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   1   BY MR. FOLKMAN:                                    1   BY MR. FOLKMAN:
   2      Q. Okay. So what do you mean when you           2      Q. The question was, "if you ever
   3   say you went to the Carenage after you left the    3   participated in any program that was part of
   4   Village?                                           4   PPT" --
   5      A. I know after when I left the 13th            5      A. Excuse me.
   6   Street center, when I left it I went to            6      Q. "If you ever participated in any
   7   Carenage. I thought you were talking about         7   program that was part of PPT, please state the
   8   that.                                              8   specific programs at PPT in which you
   9      Q. Okay. Maybe I misunderstood.                 9   participated, for example, the 13th Street
  10          It's true, isn't it, that when you         10   intake center, the Village, and so forth, and
  11   left the 13th Street center, you went to PPT at   11   the time periods during which you participated
  12   Carenage?                                         12   in each program."
  13          MR. GARABEDIAN: Objection.                 13          And you answered "I participated in
  14      A. No, at the Village.                         14   Rue 13 starting in approximately 2002" --
  15   BY MR. FOLKMAN:                                   15          MR. GARABEDIAN: Objection.
  16      Q. The Village is in Blue Hills, right?        16   BY MR. FOLKMAN:
  17      A. Yes.                                        17      Q. -- "but I do not remember exactly how
  18      Q. Okay. By the way, before I get too          18   long" --
  19   far, the money that you say you bring sometimes   19      A. Yes.
  20   to Angeline and your daughter, does that money    20      Q. -- "then I went to Carenage for
  21   come from the cars that you wash?                 21   approximately two years, then the PPT Village
  22      A. Yes.                                        22   from approximately 2005 to approximately 2007."
  23      Q. Does it come from anywhere else? Do         23          Was that answer correct?
  24   you have other sources of money?                  24      A. I went to 13th Street. I went to the
  25      A. No.                                         25   Village from Rue 13. They put me out. Douglas


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   1     Q. Okay.                                         1   asked me to have sex with him, to be gay with
   2          MR. GARABEDIAN: Can we take a break         2   him, and I said no, so I didn't stay, I went to
   3   for five minutes?                                  3   Carenage.
   4          MR. FOLKMAN: Yes.                           4     Q. So let me stop you. What I was asking
   5          MR. GARABEDIAN: Thank you.                  5   was whether the answer that you gave was
   6          THE VIDEOGRAPHER: Going off the             6   correct.
   7   record. The time is 10:20.                         7         Do you understand that question?
   8          (Whereupon, a recess was taken.)            8         MR. GARABEDIAN: Objection.
   9          THE VIDEOGRAPHER: Back on the record.       9     A. I see that you're asking me a
  10   The time is 10:32.                                10   question. You didn't ask me what Douglas told
  11   BY MR. FOLKMAN:                                   11   me.
  12     Q. Mr. Bernardin, were there any other          12   BY MR. FOLKMAN:
  13   kids named Jose at PPT that you knew?             13     Q. All I'm asking is whether the answer
  14     A. Yes.                                         14   that you gave when you signed these and you
  15     Q. And what was the other Jose's last           15   promised to tell the truth was correct?
  16   name?                                             16         MR. GARABEDIAN: Objection.
  17     A. I don't know.                                17      A. Yes.
  18     Q. Okay. Were there any other Andos?            18   BY MR. FOLKMAN:
  19     A. No.                                          19     Q. The answer is correct?
  20     Q. And were there any other Bernardins?         20         MR. GARABEDIAN: Objection.
  21     A. No.                                          21      A. Yes.
  22     Q. I want to read to you a question and         22   BY MR. FOLKMAN:
  23   an answer that you gave, okay?                    23     Q. So you did go to Rue 13 beginning in
  24          MR. GARABEDIAN: Which number is that?      24   2002 for approximately a year, right?
  25          MR. FOLKMAN: 14.                           25         MR. GARABEDIAN: Objection.


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   1      A. Yes.                                         1   want to make sure I understand.
   2   BY MR. FOLKMAN:                                    2      A. The Creole is incorrect.
   3      Q. And then you went to Carenage for            3      Q. But you correctly translated the
   4   approximately two weeks?                           4   English that I just read?
   5          MR. GARABEDIAN: That's not what it          5      A. Yes.
   6   says.                                              6      Q. Okay. So did you understand what I
   7          MR. FOLKMAN: "Then I went to Carenage       7   just read and Nathalie translated?
   8   for approximately two weeks."                      8      A. Can you repeat, please?
   9          MR. GARABEDIAN: "But I do not               9      Q. Sure.
  10   remember exactly how long."                       10          Your answer was "I participated in
  11   BY MR. FOLKMAN:                                   11   Rue 13 starting in approximately 2002, and
  12      Q. Let me read it exactly, okay?               12   stayed for more than one year, but I do not
  13          THE INTERPRETER: Can you tell me the       13   remember exactly how long," is that true?
  14   number?                                           14      A. Yes.
  15          MR. FOLKMAN: It's Number 14.               15      Q. Then you wrote -- or said, "then I
  16   BY MR. FOLKMAN:                                   16   went to Carenage for approximately two years."
  17      Q. All right. I'm going to read it to          17   Is that true?
  18   you exactly, and I want you to tell me if it's    18      A. Yes.
  19   true or not true, okay? "I participated in Rue    19      Q. And then you wrote, or said, "then the
  20   13 starting in approximately 2002, and stayed     20   PPT Village from approximately 2005 to
  21   for more than one year, but I do not remember     21   approximately 2007."
  22   exactly how long. Then I went to Carenage for     22          MR. GARABEDIAN: Objection.
  23   approximately two years, then the PPT Village     23   BY MR. FOLKMAN:
  24   from approximately 2005 to approximately 2007."   24      Q. Is that true?
  25   Is that true?                                     25      A. I left the Village in 2007.

                                           Page 63                                                 Page 65
   1          MR. GARABEDIAN: Objection.                  1      Q. What I'm asking you is, is it true
   2          THE INTERPRETER: There's a                  2   that you went to the Carenage for approximately
   3   mistranslation in the document.                    3   two years, and then to the PPT Village from
   4          MR. FOLKMAN: Okay. Did he understand        4   approximately 2005 to approximately 2007?
   5   what I told him?                                   5      A. Yes. I stayed 2005, 2006, and I left
   6     A. I understand. That's why I'm asking           6   the Village in 2007.
   7   you a question now.                                7      Q. And you were at the Carenage for
   8   BY MR. FOLKMAN:                                    8   approximately two years before that, right?
   9     Q. Okay. Why don't you answer my                 9      A. I don't remember.
  10   question first, and then --                       10      Q. Did anybody give you the chance to
  11          MR. GARABEDIAN: Objection.                 11   make corrections or changes to these answers
  12   BY MR. FOLKMAN:                                   12   before you signed them?
  13     Q. So my question is; is what you wrote         13          MR. GARABEDIAN: Objection.
  14   here true?                                        14      A. No.
  15          MR. GARABEDIAN: Objection. He said         15   BY MR. FOLKMAN:
  16   there was a mistranslation.                       16      Q. What I want to know is, as you sit
  17   BY MR. FOLKMAN:                                   17   here today and your best memory today, did you
  18     Q. Did he say there's a mistranslation?         18   spend any time at Carenage between the time that
  19          THE INTERPRETER: I said there was a        19   you finished at the Rue 13 center and the time
  20   mistranslation. I did not read what is written    20   that you went to live at the Village?
  21   here.                                             21          MR. GARABEDIAN: Objection.
  22   BY MR. FOLKMAN:                                   22          MR. FOLKMAN: Do you want me to read
  23     Q. You read what I --                           23   that again, Nathalie?
  24     A. What you said.                               24          THE INTERPRETER: Yes.
  25     Q. Okay. So the Creole is incorrect? I          25   BY MR. FOLKMAN:


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   1      Q. What I want to know is, as you sit            1      Q. Okay. Was Douglas at the 13th Street
   2   here today and your best memory today, did you      2   center when he told you to go to the Bel Air
   3   spend any time at Carenage between the time that    3   house?
   4   you finished at the Rue 13 center and the time      4          MR. GARABEDIAN: Objection.
   5   that you went to live at the Village?               5      A. He came by the 13th Street center,
   6           MR. GARABEDIAN: Objection.                  6   13th Street, and said to go find him at Bel Air.
   7      A. When I was at 13th Street, I went to          7   BY MR. FOLKMAN:
   8   the Village, Douglas put me outside. He said        8      Q. Was he in his car when he said this to
   9   "let's do gay things," and I said "no," so I        9   you?
  10   went to the Carenage.                              10      A. Yes, he was in his car.
  11   BY MR. FOLKMAN:                                    11      Q. And you were standing outside the
  12      Q. Okay. So is it actually the case the         12   gate?
  13   order in which you did these things is first       13      A. Yes.
  14   13th Street, then the Village --                   14      Q. Were others with you?
  15      A. Yes.                                         15      A. No.
  16      Q. -- then Carenage?                            16      Q. So it was just the two of you, and no
  17           And was Carenage run by PPT?               17   one else could hear what was said?
  18      A. Yes.                                         18          MR. GARABEDIAN: Objection.
  19      Q. Okay. And when you were at Carenage,         19      A. No.
  20   where were you living?                             20   BY MR. FOLKMAN:
  21      A. In the streets.                              21      Q. So let me ask that again. And you
  22      Q. Okay. So before we took the break, I         22   didn't do anything wrong, but your answer was
  23   was starting to ask you about what you did after   23   "no," and I want to make sure I know whether
  24   13th Street. And now I understand that after       24   you're saying that you agree with me or you
  25   13th Street you went to the Village?               25   disagree with me.

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   1      A. When I left 13th Street.                      1          It's true, isn't it, that only the two
   2      Q. Now, why did you get to go to the             2   of you were there, and no one else could hear?
   3   Village?                                            3      A. Yes.
   4          THE INTERPRETER: The second time? Or         4      Q. Okay. Now, did you get in the car
   5   the first time? I want to understand your           5   with him?
   6   question for me.                                    6      A. No.
   7   BY MR. FOLKMAN:                                     7      Q. Okay. Did he drive off?
   8      Q. Why did you go from 13th Street to the        8      A. When I -- he left.
   9   Village?                                            9      Q. Okay. And was this in the morning, or
  10      A. When I was in 13th Street, Douglas           10   in the afternoon?
  11   told me to go find him at Bel Air. When I          11      A. Morning. I didn't know if he was
  12   arrived at Bel Air, he said wouldn't I want to     12   going to the Village, so he said to go later, to
  13   be as comfortable as all the guys that were at     13   come see him.
  14   the Village. I said "yes." He said I will find     14      Q. So then you went into 13th Street and
  15   everything I need here. And then he said, and      15   had your regular day?
  16   he's going to do things -- everything he does to   16          MR. GARABEDIAN: Objection.
  17   my body, I have to do it for him, too.             17      A. Yes.
  18          I put a shirt. He unbuttoned my             18   BY MR. FOLKMAN:
  19   shirt. He was playing with my tits. He said        19      Q. Okay. Had you ever been to the
  20   play with his tits, and I did. He asked me to      20   Bel Air house before?
  21   masturbate him. He sucked my dick. He wanted       21      A. No.
  22   me to suck his dick. And then he put his dick      22      Q. Did you know other boys who had been
  23   in my butt.                                        23   to the Bel Air house before?
  24      Q. Are you done with your answer?               24      A. I don't know.
  25      A. Yes.                                         25      Q. No one that you can recall ever said


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   1    to you that he had been there?                    1   "come to the bed, come on the bed." When I
   2          MR. GARABEDIAN: Objection.                  2   went, when he was talking he said "don't be
   3       A. No.                                         3   scared," would I want to be at ease, comfortable
   4    BY MR. FOLKMAN:                                   4   like the others, the other guys in the Village
   5       Q. Did you know where the Bel Air house        5   so I wouldn't have to sleep in the streets. I
   6    was?                                              6   thought that was the truth, that it was real, so
   7       A. No.                                         7   I said "yes." "Everything I do to your body you
   8       Q. Okay. So you went to have your day at       8   do it to me," and I said "yes."
   9    Rue 13, right?                                    9          I put a shirt; he unbuttoned it. He
  10       A. Yes.                                       10   played with my tits; I did that to him. He
  11       Q. And then afterwards you went to            11   masturbated me. I masturbated him. He put my
  12    Bel Air?                                         12   dick in his mouth, and he asked me to suck his
  13       A. Yes.                                       13   dick. He put his dick in my butt, and then --
  14       Q. How did you know where to go?              14   and he took the cover, he put me in the other
  15          MR. GARABEDIAN: Objection.                 15   room and said sleep there in the morning. And
  16       A. People in Cap-Haïtian know Bel Air,        16   when the next morning, I can leave.
  17    and I had my friends in Bel Air.                 17      Q. Are you done?
  18    BY MR. FOLKMAN:                                  18      A. No.
  19       Q. Bel Air is a neighborhood, right?          19      Q. My question to you --
  20       A. Yes.                                       20          MR. GARABEDIAN: He said he was not
  21       Q. So did you know where the Bel Air          21   done.
  22    neighborhood was?                                22   BY MR. FOLKMAN:
  23       A. Yes.                                       23      Q. Okay. Please.
  24       Q. Okay. But you did not know exactly         24      A. It was about 4 or 5:00 a.m., day
  25    where that house was?                            25   wasn't out, I left. I went to 13th Street.


                                           Page 71                                                Page 73
   1          MR. GARABEDIAN: Objection.                  1   While I was showering I saw blood coming out of
   2       A. No.                                         2   my butt.
   3   BY MR. FOLKMAN:                                    3          I had to go to my mother's, and I told
   4       Q. Okay. So who told you where the house       4   her what was happening. I said "just like that
   5   was?                                               5   I started bleeding from my butt." She said did
   6       A. A friend I had in Bel Air, when he saw      6   I fight, did I -- was I hurt. I said "no." So
   7   me at Bel Air, he said what am I doing here. He    7   they brought me to the hospital.
   8   said I went to -- "I want to go to the white       8          When I go there they gave me serum. I
   9   man's house," I said, "to come see him, I don't    9   was bleeding a lot. They gave me blood, serum.
  10   know the house." He said "let's go, I'll show     10   They paid drugs for me. And I spent three days
  11   it to you."                                       11   at the hospital.
  12          When he showed me the house, there was     12      Q. Okay. Are you done now?
  13   a big gate that was open. I opened the door to    13      A. Yes.
  14   go in. When I entered, I saw no one. I saw a      14      Q. So my question, sir, was who told you
  15   Land Cruiser. I went to sleep inside the car.     15   where the house was? I would just ask, please,
  16          While I was sleeping, Douglas came to      16   that you focus on what the question is. If you
  17   touch me. He said "come." When he said "come,"    17   don't understand it, let me know, and please
  18   when I got there was steps down, I almost -- I    18   answer the question. I know you have a lot of
  19   didn't know there were steps there, I almost      19   other things you want to say. Okay?
  20   fell. When I opened the door, he gave me a        20          MR. GARABEDIAN: Objection.
  21   cover to sleep. When I was there, he was          21      A. A friend.
  22   watching porno movies. He gave a cover to sit     22   BY MR. FOLKMAN:
  23   and said "sleep here."                            23      Q. What was the friend's name?
  24          While I was sleeping, I saw him touch      24      A. I don't remember his name.
  25   me, and he said "don't be scared." He said        25      Q. Was it someone who was at PPT?


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   1      A. He was in the street. He didn't go to         1      Q. And you lay down to go to sleep?
   2   PPT, but he was living in the streets.              2      A. Yes.
   3      Q. Okay. When you had the conversation           3      Q. And why did you lie down to go to
   4   with Doug when he was in his car outside the        4   sleep in the Land Cruiser?
   5   gate of 13th Street, and he asked you to come to    5      A. I didn't have anyplace to sleep.
   6   Bel Air, why did you think he was asking you to     6      Q. At this time you were still living on
   7   come to Bel Air?                                    7   the streets, right?
   8      A. He said come to him, to Bel Air. I            8      A. Yes.
   9   didn't know, why so I did.                          9      Q. So you thought it would be better to
  10      Q. Okay. So you didn't have any                 10   sleep in the Land Cruiser than to do what you
  11   expectations or understandings of why he wanted    11   did every other night, right?
  12   you to go?                                         12           (Power outage.)
  13      A. No. I just felt compelled to go.             13           THE VIDEOGRAPHER: Back on the record.
  14      Q. Okay. And when you got there, you say        14   The time is 11:06.
  15   the gate was open?                                 15   BY MR. FOLKMAN:
  16      A. Yes.                                         16      Q. Sorry about that, Mr. Bernardin. Let
  17      Q. And you said you saw no one?                 17   me read you back the last couple of questions so
  18      A. No.                                          18   that you know where we were.
  19      Q. What time of day was it when you got         19           "Question: Why did you lie down to go
  20   there?                                             20   to sleep in the Land Cruiser?
  21          MR. GARABEDIAN: Objection.                  21           "Answer: I didn't have anyplace to
  22     A. It was nighttime.                             22   sleep.
  23   BY MR. FOLKMAN:                                    23           "Question: At this time you were
  24      Q. Okay. And you said you opened the            24   still living on the streets, right?
  25   door to go in. Was that the door to the house?     25           "Answer: Yes."


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   1      A. No, the big gate.                             1          Okay. And my next question is that
   2      Q. The gate.                                     2   you thought it would be better to sleep in the
   3          And did you knock on the door to the         3   Land Cruiser than to do what you did every other
   4    house?                                             4   night, right?
   5      A. No. The door -- I didn't knock                5          MR. GARABEDIAN: Objection.
   6    because the door was open.                         6      A. Yes, because they had just killed a
   7      Q. The door to the house was open?               7   child in the street. They didn't want people to
   8      A. No, the gate was open.                        8   sleep in the street. So I didn't want to get
   9      Q. I understand.                                 9   killed, so I thought it was better to open the
  10          So you walked through the gate, right?      10   door and sleep there.
  11      A. Yes.                                         11   BY MR. FOLKMAN:
  12      Q. And then did you walk up to the house?       12      Q. So were you not sleeping on the
  13      A. Yes. I didn't know where his room            13   streets during that time period, not just this
  14    was. The door, the front door was closed. I       14   night, but the time around it?
  15    knocked, I didn't see -- hear anyone, I opened    15          MR. GARABEDIAN: Objection.
  16    the car door, and I lied down inside.             16      A. Yes, I did. But while I was sleeping
  17      Q. Okay. So you knocked on the door to          17   in the street they had killed a child that was
  18    the house. No one answered?                       18   sleeping in the street, that's why.
  19      A. No.                                          19          (Power outage.)
  20      Q. And as far as you know, no one was in        20          THE VIDEOGRAPHER: Back on the record.
  21    the house, is that true?                          21   The time is 11:20.
  22      A. Yes.                                         22   BY MR. FOLKMAN:
  23      Q. Okay. And when no one answered, you          23      Q. Okay. So we were talking about the
  24    walked over to the Land Cruiser?                  24   Land Rover. Do you know whose Land Rover it
  25      A. I opened the door, and I lied down.          25   was, by the way?


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   1          THE INTERPRETER: Land Cruiser.               1      Q. You saw that he had already died?
   2   BY MR. FOLKMAN:                                     2      A. Yes.
   3       Q. Land Cruiser.                                3      Q. So what did you do?
   4      A. For the project.                              4      A. He died instantaneously.
   5       Q. Okay. And was it the car that Douglas        5      Q. Did you see someone throw the rock, or
   6   drove around in?                                    6   did you wake up and see that someone had thrown
   7          MR. GARABEDIAN: Objection.                   7   the rock while you were asleep?
   8      A. Yes. And Andy also. Sometimes                 8          MR. GARABEDIAN: Objection.
   9   Douglas, and sometimes Andy.                        9      A. No, I didn't see anyone throw the
  10   BY MR. FOLKMAN:                                    10   rock, but when we woke up we saw the big rock
  11      Q. Was the Land Cruiser the car that            11   next to him, and he was bleeding from the head,
  12   Douglas had been in when you saw him at Rue 13     12   it has crushed his head, and he had died.
  13   and he asked you to come to Bel Air?               13   BY MR. FOLKMAN:
  14       A. I don't know if it was the same car.        14      Q. So what did you do then?
  15   I didn't notice the car. But there were two        15      A. I didn't do anything.
  16   cars, two Land Cruisers.                           16      Q. Did you take the body somewhere?
  17      Q. So there were two Land Cruisers,             17      A. No, the municipality took care of it.
  18   Douglas was in one of them, and you're not sure    18      Q. Did you tell someone, a policeman or
  19   if it was the same one that you slept in?          19   someone else, that someone had been killed?
  20          MR. GARABEDIAN: Objection.                  20          MR. GARABEDIAN: Objection.
  21       A. Yes.                                        21      A. The police saw it.
  22   BY MR. FOLKMAN:                                    22   BY MR. FOLKMAN:
  23       Q. Okay. And you were saying that              23      Q. The police were there when you were
  24   someone had just been killed in the street at      24   there?
  25   around that time, is that true?                    25      A. No. The municipality came.


                                            Page 79                                                Page 81
   1          MR. GARABEDIAN: Objection.                   1      Q. While you were there, the municipality
   2       A. Yes.                                         2   came?
   3    BY MR. FOLKMAN:                                    3      A. No, I wasn't there.
   4       Q. Was it one of the street kids who was        4      Q. So how do you know that the
   5    killed?                                            5   municipality came?
   6       A. Yes.                                         6      A. No, I knew. It was the State to take
   7       Q. Did you know him?                            7   care of it. There was no one, no family to take
   8       A. Yes.                                         8   care of him.
   9       Q. Who was it?                                  9      Q. Is it fair to say that because someone
  10       A. Peter.                                      10   took care of the body, you assumed it was the
  11       Q. Was Peter someone who attended PPT?         11   municipality that had done something with the
  12       A. Yes.                                        12   body?
  13       Q. Do you know Peter's other name?             13          MR. GARABEDIAN: Objection.
  14       A. I don't know if he had other                14      A. Yes, if I had stayed there they would
  15    nicknames. I knew him as Peter.                   15   have taken me and asked me questions. I didn't
  16       Q. Did you hear anything from Douglas or       16   stay there and ask them why was he dead.
  17    the other Americans at PPT about Peter's death?   17   BY MR. FOLKMAN:
  18       A. I was there.                                18      Q. Okay. So you don't actually know, do
  19       Q. You were there when he died?                19   you, who came and took the body away?
  20       A. We were -- it was at that place where       20      A. No.
  21    we were all sleeping. In the morning when we      21      Q. Okay. Did you tell anybody at PPT
  22    woke up, we saw somebody threw a rock on his      22   what had happened to Peter?
  23    head.                                             23          MR. GARABEDIAN: Objection.
  24       Q. And did you take him to the hospital?       24      A. No.
  25       A. No. He died. He had died.                   25   BY MR. FOLKMAN:


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   1      Q. Did anybody at PPT ask what had               1          MR. GARABEDIAN: Objection.
   2   happened to Peter?                                  2     A. I didn't say anything.
   3      A. There were several people sleeping            3   BY MR. FOLKMAN:
   4   there, but he was the only one sleeping where he    4     Q. Did anybody at PPT know that you had
   5   was sleeping. There were other guys who when        5   been there sleeping when someone crushed Peter's
   6   they went to 13th Street they said "here, this      6   head with the rock?
   7   is the person who has died."                        7          MR. GARABEDIAN: Objection.
   8      Q. So there were some kids who told              8     A. We were several sleeping there.
   9   Douglas, for example, that Peter had died?          9   BY MR. FOLKMAN:
  10      A. Yes.                                         10     Q. Other than the kids who were sleeping
  11      Q. Okay. And did Douglas or any of the          11   there, did any of the grown-ups know?
  12   other Americans at PPT say anything to the boys    12          MR. GARABEDIAN: Objection.
  13   about Peter's death?                               13     A. No.
  14          MR. GARABEDIAN: Objection.                  14   BY MR. FOLKMAN:
  15      A. I don't remember.                            15     Q. Okay. So you fell asleep in the Land
  16   BY MR. FOLKMAN:                                    16   Cruiser, right?
  17      Q. So you don't remember ever hearing           17     A. Yes.
  18   anything at PPT about Peter again, is that true?   18     Q. And at some point you became aware
  19      A. I don't remember.                            19   that Douglas was standing near you?
  20      Q. Okay. Was Peter at the 13th Street           20     A. He touched me.
  21   center before he died?                             21     Q. Where on your body did he touch you?
  22      A. Yes.                                         22     A. When I was in the car, I was lying
  23      Q. Okay. So you were worried about              23   down. He hit me. And when I woke up I saw
  24   sleeping in the streets because of what you had    24   him -- when I woke up suddenly, he -- I saw it
  25   just experienced with Peter's death, right?        25   was him.


                                            Page 83                                                 Page 85
   1           MR. GARABEDIAN: Objection.                  1      Q. Okay. Did you say he hit you, like on
   2       A. Yes. I didn't want the same thing to         2   the shoulder?
   3    happen to me.                                      3      A. I don't remember where.
   4    BY MR. FOLKMAN:                                    4      Q. He didn't touch you on any private
   5       Q. And did Peter die the day before you         5   parts of your body when he woke you up from the
   6    went to Bel Air at Doug's request?                 6   Land Cruiser, did he?
   7           MR. GARABEDIAN: Objection.                  7      A. No.
   8       A. On the same day.                             8      Q. Okay. So he woke you up, and --
   9    BY MR. FOLKMAN:                                    9      A. Yeah.
  10       Q. Okay. So the very -- the morning that       10      Q. -- and then he said to come into the
  11    you woke up and went to 13th Street before you    11   house with him?
  12    had that conversation with Douglas, that's the    12      A. Yes.
  13    morning that Peter died?                          13      Q. And why did you think he was asking
  14       A. No.                                         14   you to come into the house?
  15       Q. Okay.                                       15      A. Well, I thought he was going to -- if
  16       A. I saw him like, let's say today, and        16   I was sleeping and he tells me to come, I
  17    he told me to go the next day to get -- to go     17   thought he was going to give me a place to
  18    see him.                                          18   sleep.
  19       Q. The very next day?                          19      Q. Okay. And that's why you went into
  20       A. Yes.                                        20   the house with him?
  21       Q. Okay. Did you ask anybody at PPT            21      A. Yes.
  22    whether there was somewhere other than the        22      Q. If he had said to you "I'd like to do
  23    street for you to sleep because you were          23   gay things with you," would you have gone into
  24    frightened about what might happen on the         24   the house with him?
  25    street?                                           25          MR. GARABEDIAN: Objection.


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   1       A. No.                                         1      A. It was on a little table.
   2    BY MR. FOLKMAN:                                   2      Q. Upstairs?
   3       Q. Okay. So then when you went into the        3      A. Inside his room.
   4    house, could you see that there were rooms in     4      Q. Inside his room downstairs?
   5    the house with doors on them?                     5      A. Yes.
   6       A. Just the door to go inside his room.        6      Q. Okay. So you couldn't see it just
   7       Q. Okay. When you walk into the house,         7   when you got in the house, true?
   8    there are stairs that go down, right?             8           MR. GARABEDIAN: Objection.
   9            MR. GARABEDIAN: Objection.                9      A. The laptop's light would allow me to
  10       A. Yes.                                       10   see it.
  11    BY MR. FOLKMAN:                                  11   BY MR. FOLKMAN:
  12       Q. And Douglas's room is down those           12      Q. So you're saying that you could see
  13    stairs, right?                                   13   the glow of the screen on Douglas's laptop that
  14       A. Yes.                                       14   was in his room downstairs as soon as you walked
  15       Q. Before you went down the stairs, when      15   through the door into the house?
  16    you were at the top of them, did you see other   16           MR. GARABEDIAN: Objection.
  17    rooms?                                           17      A. When I entered, I saw the laptop's
  18       A. No. It was nighttime. I don't know.        18   light.
  19       Q. Were the lights on in the house?           19   BY MR. FOLKMAN:
  20       A. No.                                        20      Q. Okay. Did you see any people in the
  21       Q. Did anybody turn the lights on?            21   house when you walked in?
  22       A. When I went inside, just the laptop        22      A. Just him inside.
  23    glare was -- I could see.                        23      Q. Could you hear any people?
  24       Q. The laptop glare was from the laptop       24      A. No.
  25    downstairs?                                      25      Q. You went downstairs?


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   1       A. He was watching porno movies on it.         1      A. He told me to enter, so I entered.
   2       Q. I'm asking where it was. Was it down        2      Q. And then you went downstairs, right?
   3    the stairs, or up the stairs?                     3      A. I went down the stairs, and I went
   4           MR. GARABEDIAN: Objection.                 4   inside his room.
   5       A. Inside the house.                           5      Q. Did he go down in front of you, or
   6    BY MR. FOLKMAN:                                   6   behind you?
   7       Q. Upstairs or downstairs?                     7      A. He entered, and afterwards he told me
   8       A. Downstairs.                                 8   to come in.
   9       Q. So when you got into the house, could       9      Q. Okay. You didn't know where his room
  10    you see the laptop screen before you went        10   was in the house, did you?
  11    downstairs?                                      11          MR. GARABEDIAN: Objection.
  12       A. No. When I went in, I saw the              12      A. No.
  13    laptop's glare.                                  13   BY MR. FOLKMAN:
  14       Q. When you went downstairs?                  14      Q. Did he tell you, or did he show you?
  15       A. Yes.                                       15          MR. GARABEDIAN: Objection.
  16       Q. Okay. And upstairs was completely          16      A. When I was in the car, he asked me to
  17    dark?                                            17   follow him.
  18       A. No.                                        18   BY MR. FOLKMAN:
  19       Q. How was it lit?                            19      Q. So you followed him down the stairs,
  20           MR. GARABEDIAN: Objection.                20   true?
  21       A. I don't understand.                        21      A. Yes.
  22    BY MR. FOLKMAN:                                  22      Q. Okay. And then did he open the door
  23       Q. Well, the lights weren't on, right?        23   to his room?
  24       A. No.                                        24      A. Yes.
  25       Q. And the laptop was downstairs, right?      25      Q. Was the door locked? Did he have to


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   1   unlock it?                                          1   pornographic movies?
   2      A. No.                                           2      A. Yes.
   3      Q. And was it a metal door?                      3      Q. And how do you know that?
   4      A. There's something you have to turn,           4      A. When I entered, the laptop was on, and
   5   and the door opened.                                5   I could see the images.
   6      Q. The door had a doorknob, right?               6      Q. Okay. So the laptop was playing
   7      A. Yes, doorknob.                                7   pornographic movies before you and him came into
   8      Q. And was the door made out of wood, or         8   the room?
   9   was it made out of metal, or something else?        9      A. Yes.
  10      A. I don't remember.                            10      Q. And what did you think when you
  11      Q. When you went down the stairs and            11   entered the room and saw that there were
  12   before you went through that door into his room,   12   pornographic movies playing?
  13   were you in an area that was enclosed by four      13      A. I didn't think anything.
  14   walls, or was it an area that you could have       14      Q. Were you concerned at all?
  15   just walked out of the house?                      15         MR. GARABEDIAN: Objection.
  16      A. It was enclosed.                             16      A. I wasn't scared.
  17      Q. Okay.                                        17   BY MR. FOLKMAN:
  18      A. Four walls.                                  18      Q. Okay. Was the -- if you know, was the
  19      Q. So you went into Douglas's room. Did         19   pornography involving men and women, or
  20   he close the door behind him?                      20   involving just men?
  21      A. Yes. He closed the door. He gave me          21      A. Two guys.
  22   a cover, and asked me to sleep on the floor.       22      Q. Had you ever seen anything like that
  23      Q. Were the lights on?                          23   before?
  24      A. Just the laptop he used as light.            24      A. No.
  25      Q. Could you see what was in the room?          25      Q. And you had no concerns about seeing

                                            Page 91                                                Page 93
   1       A. It was dark. I saw there were                1   it?
   2    pictures of us.                                    2          MR. GARABEDIAN: Objection.
   3       Q. Pictures of --                               3      A. No. He gave me a cover to sleep, so I
   4       A. And I didn't see anything else.              4   just went on the floor and slept.
   5       Q. Could you see the furniture in the           5   BY MR. FOLKMAN:
   6    room, beds, that sort of thing?                    6      Q. Did you ask him what he was doing?
   7       A. He had a bed, a table, and a chair.          7      A. No.
   8       Q. Okay. And he didn't ask you to sleep         8      Q. Did the laptop have sound, or just
   9    on the bed; he asked you to sleep on the floor,    9   pictures?
  10    right?                                            10          MR. GARABEDIAN: Objection.
  11       A. Yeah, he gave me a cover, said "sleep       11      A. Just images.
  12    on the floor," and he went to the laptop. He      12   BY MR. FOLKMAN:
  13    was watching porno movies.                        13      Q. Was there a radio in the room also?
  14       Q. Okay. Was there a mattress on the           14      A. No.
  15    floor that he told you to sleep on?               15      Q. So after you lay down --
  16       A. Just covers, "just go on the floor."        16      A. He gave me the covers, said "go on the
  17       Q. And he was sitting at the desk at that      17   floor," and I did.
  18    table that you told me about?                     18      Q. And then you went to sleep?
  19       A. In front of the laptop.                     19      A. Yes. While I was sleeping, he started
  20       Q. And the laptop was on the table?            20   touching me. He said "don't be scared." He
  21       A. Yes.                                        21   said "come on the bed." While I was on the bed,
  22       Q. And you could see what he was doing?        22   he said "wouldn't you like to be comfortable,
  23       A. When he was blocking my view, then I        23   not to sleep in the streets," to find everything
  24    couldn't see. I was behind him.                   24   I need, school, when I finish school I'll be
  25       Q. Okay. You say he was watching               25   able to go to university. He painted such a


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   1   beautiful project in front of me, so I accepted.    1   gate?
   2   He said everything he does on my body I should      2      A. In the same yard.
   3   do to his body, too.                                3      Q. And did anybody see you, other than
   4          He unbuttoned my shirt -- I had a            4   Douglas, going from the main house to that other
   5   shirt on, he unbuttoned my shirt. He played         5   building?
   6   with my tits, I had to play with his tits. And      6      A. No.
   7   he masturbated me, and I masturbated him. He        7      Q. Okay. Did you think about leaving
   8   put his dick in my mouth, and I put his dick in     8   Bel Air and going to tell someone what had just
   9   my mouth. And he put his penis in my butt. He       9   happened to you?
  10   took me -- gave me the cover, put me in another    10          MR. GARABEDIAN: Objection.
  11   room, and said in the morning I can leave.         11      A. No.
  12      Q. Okay. During the whole time that this        12   BY MR. FOLKMAN:
  13   abuse was happening, did you see or hear any       13      Q. Did you sleep the rest of the night in
  14   other person?                                      14   that other building where he put you?
  15      A. No.                                          15      A. No. My butt was hurting, I didn't
  16      Q. Did you cry out?                             16   sleep at all. When it was 4 to 5, I just left.
  17      A. No.                                          17      Q. Okay. You stayed there even though
  18      Q. And the reason why you let him do            18   you didn't sleep, is that true?
  19   these things was because of the beautiful          19          MR. GARABEDIAN: Objection.
  20   picture he pointed of what your future could be    20      A. Yes.
  21   like?                                              21   BY MR. FOLKMAN:
  22          MR. GARABEDIAN: Objection.                  22      Q. Okay. And do you know where Douglas
  23      A. Yeah. While I was sleeping -- when it        23   was when you were staying in that other
  24   was hurting, I started crying, that's all.         24   building?
  25   BY MR. FOLKMAN:                                    25      A. Well, I came out of the room, of his


                                            Page 95                                                 Page 97
   1      Q. And what did he say when you started          1   room, so when he put me in another room.
   2   crying?                                             2      Q. When he put you in another room, you
   3      A. In the room where I was he didn't do          3   don't know where he was?
   4   anything, he didn't hear anything.                  4      A. I thought I knew he was in his room.
   5      Q. He didn't hear that you were crying;          5      Q. Okay. Now, what happened in the
   6   you were crying to yourself?                        6   morning when you left?
   7      A. Yes.                                          7      A. I went to 13th Street. When I was at
   8      Q. Okay. So when you say he put you in           8   13th Street, while I was having a shower, I saw
   9   another room, where in the house did he put you?    9   that I was bleeding. I didn't even finish
  10      A. He has two rooms, two rooms where            10   having a shower. I went home.
  11   people sleep. He has a storage area and a          11          When I went home I told my mother, I
  12   parking lot -- parking.                            12   say "my butt is hurting and I'm bleeding." She
  13      Q. And did he put you in the garage area,       13   said "What's wrong?" I said "I have nothing."
  14   the parking area?                                  14   She asked "did you fight? Did you -- were you
  15      A. No. In his room there's a door, he           15   hurt somewhere?" I said "no." And I just said
  16   said "go in and sleep there."                      16   "my butt is hurting and it's bleeding." She
  17      Q. When you say "in his room," you don't        17   brought me to the hospital.
  18   mean his bedroom, you mean another room in the     18          When I got to the hospital they gave
  19   house?                                             19   me a serum, they gave me a shot, a pill. They
  20         MR. GARABEDIAN: Objection.                   20   brought blood from me. I spent three days at
  21      A. In another house.                            21   the hospital.
  22   BY MR. FOLKMAN:                                    22      Q. And this is the Justinien Hospital,
  23      Q. In another building?                         23   right?
  24      A. In the yard, yes.                            24          MR. GARABEDIAN: Objection.
  25      Q. A building that's still inside of the        25      A. Yes.


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   1   BY MR. FOLKMAN:                                     1          MR. GARABEDIAN: Objection.
   2     Q. When you left the house at Bel Air,            2      A. Yes.
   3   did anybody see you leave?                          3   BY MR. FOLKMAN:
   4     A. No.                                            4      Q. Did you see a doctor?
   5     Q. Okay. Why did you not tell your                5      A. I saw a nurse, a miss.
   6   mother what had happened to you?                    6      Q. Did you see just the miss, or did you
   7         MR. GARABEDIAN: Objection.                    7   see someone else as well?
   8     A. I was ashamed to tell her.                     8          MR. GARABEDIAN: Objection.
   9   BY MR. FOLKMAN:                                     9      A. Just the miss. There were several,
  10     Q. Why did you not tell any of the other         10   but just the miss came to me.
  11   Americans aside from Douglas who worked at PPT     11   BY MR. FOLKMAN:
  12   what happened?                                     12      Q. Okay. So you didn't see a doctor?
  13         MR. GARABEDIAN: Objection.                   13      A. Uh-uh.
  14     A. I was ashamed.                                14      Q. Did you tell the miss what happened to
  15         Can I say something?                         15   you?
  16   BY MR. FOLKMAN:                                    16      A. I was afraid to say there's this white
  17     Q. Okay.                                         17   guy who did gay things with me. I felt ashamed.
  18     A. I need to go.                                 18      Q. So you've said you felt ashamed. Why
  19     Q. You need to take a break? Sure.               19   did you also feel afraid?
  20         THE VIDEOGRAPHER: Going off the              20      A. I was scared because --
  21   record. The time is 11:50.                         21          MR. GARABEDIAN: Objection.
  22         (Whereupon, a recess was taken.)             22      A. -- if I say that a white guy did gay
  23         THE VIDEOGRAPHER: Back on the record.        23   things to me, I was very scared, I was really
  24   The time is noon.                                  24   ashamed.
  25   BY MR. FOLKMAN:                                    25   BY MR. FOLKMAN:


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   1      Q. Are you okay to go ahead,                     1      Q. Among the people in Cap-Haïtian that
   2    Mr. Bernardin?                                     2   you knew and grew up with, is sex between men
   3      A. Yes.                                          3   regarded as a very shameful thing?
   4      Q. I want to just touch back on something        4          MR. GARABEDIAN: Objection.
   5    we talked about earlier and then come back to      5      A. A lot.
   6    the abuse that you were talking about a minute     6   BY MR. FOLKMAN:
   7    ago.                                               7      Q. Had you ever met anybody who would say
   8          Do you know why Peter was killed?            8   publicly "I'm a man and I prefer to have sex
   9          MR. GARABEDIAN: Objection.                   9   with other men"?
  10      A. I don't know.                                10          MR. GARABEDIAN: Objection.
  11    BY MR. FOLKMAN:                                   11      A. No, because it's not good.
  12      Q. Do you know who killed him?                  12   BY MR. FOLKMAN:
  13          MR. GARABEDIAN: Objection.                  13      Q. Did you know that there were such
  14      A. No.                                          14   people in the world?
  15    BY MR. FOLKMAN:                                   15          MR. GARABEDIAN: Objection.
  16      Q. Okay. So we were talking about what          16      A. I didn't know. When I went to church
  17    happened after that first abuse that you          17   they were talking about that is what brought
  18    described for us, and you had said that you had   18   down Sodom and Gomorra, men doing it with men.
  19    gone to the Justinien Hospital, right?            19   BY MR. FOLKMAN:
  20      A. Yes.                                         20      Q. So you knew because of the story of
  21      Q. Did you give them your real name when        21   Sodom and Gomorra that it was a bad thing?
  22    you went to the hospital?                         22          MR. GARABEDIAN: Objection.
  23      A. Yes.                                         23      A. Afterwards I understood. I was
  24      Q. Did you see people at the hospital           24   stressed. I didn't want God to punish me for
  25    that you were talking with writing things down?   25   what I did, for what Douglas did to me.


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   1   BY MR. FOLKMAN:                                    1   said everything I will find, I will find. We
   2      Q. And you knew that it was wrong because       2   did gay things, we did gay things, and I didn't
   3   of what you had heard in church and how you had    3   get anything, so he just spoiled my future.
   4   been brought up, even at the time that Douglas     4      Q. By not providing the things that he
   5   was doing it to you, right?                        5   had promised?
   6         MR. GARABEDIAN: Objection.                   6          MR. GARABEDIAN: Objection.
   7      A. I didn't know. If I had known, I             7      A. Yeah, he just spoiled my future.
   8   would not have accepted to do gay things, that     8   BY MR. FOLKMAN:
   9   Douglas would do gay things with me.               9      Q. What was your relationship like with
  10   BY MR. FOLKMAN:                                   10   your mother at the time when she and you went to
  11      Q. Are you saying that when Douglas made       11   the Justinien Hospital together?
  12   you have gay sex with him that you did not        12      A. When I got to my mother's house, I
  13   already know that that was a wrong thing to do?   13   told my mother here's what happened. "When I
  14         MR. GARABEDIAN: Objection.                  14   was having -- taking a shower, I saw that I was
  15      A. I didn't know. If I had known, I            15   bleeding. My butt was hurting, and I was
  16   would not have done it.                           16   bleeding." She said "what's wrong with you?" I
  17   BY MR. FOLKMAN:                                   17   said "I have nothing, I just feel that my butt
  18      Q. Did you hear about Sodom and Gomorra        18   is hurting." "Did you fight? Did someone beat
  19   at church before or after the abuse?              19   me?" I said "no." She brought me to the
  20         MR. GARABEDIAN: Objection.                  20   hospital then.
  21      A. Afterwards.                                 21      Q. I guess my question is; were you
  22   BY MR. FOLKMAN:                                   22   seeing her regularly, making visits to the home
  23      Q. Afterwards.                                 23   and that sort of thing at that time?
  24         And you had never really even heard of      24          MR. GARABEDIAN: Objection.
  25   two men having sex together before Douglas        25      A. I don't understand.


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   1   abused you, is that true?                          1   BY MR. FOLKMAN:
   2          MR. GARABEDIAN: Objection.                  2      Q. Not on that day, but while you were
   3          THE INTERPRETER: Before what?               3   living in the street and attending the center on
   4         MR. FOLKMAN: Before Douglas abused           4   Rue 13, would you visit your mother?
   5   you.                                               5      A. No.
   6      A. No.                                          6      Q. So was this the first time you had
   7   BY MR. FOLKMAN:                                    7   seen your mother in a while?
   8      Q. Did you know whether any of the boys         8      A. Yes.
   9   who were living on the street at the time that     9      Q. And you were not yet living in the
  10   you were living on the street were having sex     10   Village, right?
  11   with anybody, men or women?                       11          MR. GARABEDIAN: Objection.
  12          MR. GARABEDIAN: Objection.                 12      A. No.
  13      A. No.                                         13   BY MR. FOLKMAN:
  14   BY MR. FOLKMAN:                                   14      Q. So after you spent the time in the
  15      Q. Did Douglas ever say to you something       15   hospital, you went back to sleeping on the
  16   like "God wants you to do this with me"?          16   street?
  17          MR. GARABEDIAN: Objection.                 17      A. Yes, I went back to the street.
  18      A. No, he didn't tell me that.                 18      Q. And you went back to attending the
  19   BY MR. FOLKMAN:                                   19   13th Street center?
  20      Q. Did you do anything to try to persuade      20      A. Yes, I went back. But after that --
  21   you that it was the right thing to do?            21   after one week that happened, when he saw me, he
  22      A. He told me "don't be scared."               22   said "come back to Bel Air, there's something we
  23      Q. And he told you the things that he          23   need to talk about."
  24   would provide for you if you did it, right?       24      Q. Okay. So my question was just that
  25      A. He told me everything I needed, he          25   you went back to attending --


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   1      A. I'm not done.                                  1   ashamed?
   2      Q. Excuse me. Go ahead.                           2      A. I was really ashamed to tell them that
   3      A. When I went back to -- when I saw him,         3   Douglas did gay things with me.
   4   when I went to him, he said he's going to send       4      Q. Did anybody from PPT know that you
   5   me to the Village. I was happy. I said "okay."       5   were in the hospital?
   6   He said he's going to do to me the same thing        6      A. No.
   7   again. What I do -- everything I do to -- he         7      Q. What was the date of the first time
   8   does to my body I have to do to his body. He         8   that you were abused?
   9   started playing with my tits; I played with his      9      A. Yes.
  10   tits. He masturbated me; I masturbated him. He      10      Q. Was it February 14th, 2004?
  11   made me -- he suck his dick and I suck his dick.    11      A. Yes.
  12   He put -- when he was about to put his penis in     12      Q. How is it that you know that date so
  13   my butt, I didn't say -- I didn't accept. So I      13   exactly?
  14   left and I went in the streets again.               14      A. I was a victim, so I remember the
  15      Q. Okay. Are you done?                           15   date. And also Aristides. And also that's the
  16      A. When I was at 13 center they came to          16   date when they killed the little boy in the
  17   me again and they said I have to go to the          17   street. That's why I remember the date.
  18   Village, and I went to the Village. But they        18      Q. Okay. And is it fair to say that this
  19   said I would get this and this and that, and I      19   was such a troubling day in your life that
  20   didn't get anything, they just spoiled my           20   you've never forgotten it?
  21   future.                                             21          MR. GARABEDIAN: Objection.
  22      Q. Okay. Are you done now?                       22      A. I'm never going to forget. This is
  23      A. Yes.                                          23   carved in my -- he shows his heart, but it's in
  24      Q. Okay. Sir, my question was; did you           24   my spirit. It's carved forever in my mind,
  25   go back to attending the 13th Street center? Do     25   engraved.

                                           Page 107                                                Page 109
   1    you understand that question?                       1   BY MR. FOLKMAN:
   2       A. After he did the gay thing with me?           2      Q. So did Douglas warn you not to tell
   3       Q. The first time, yes.                          3   anybody about what he had done?
   4       A. Yes.                                          4      A. Yeah, he said "don't say to anyone.
   5       Q. Okay. And you understand the                  5   This is something that has to stay between us."
   6    question, and the answer to the question is yes,    6      Q. Did you think that if you disobeyed
   7    right?                                              7   him that he wouldn't do the things for you that
   8           MR. GARABEDIAN: Objection.                   8   he promised he would?
   9       A. Yes.                                          9      A. Yes. Maybe he would not let me go to
  10    BY MR. FOLKMAN:                                    10   the Village and everything that he promised me I
  11       Q. Okay. When you got back to the 13th          11   would not have, so I kept the secret.
  12    Street center, did anybody say "where have you     12      Q. Okay. And let me just make sure I
  13    been for the last few days?"                       13   have the list of the things that he promised he
  14       A. Just Margarette, she said "I haven't         14   would do for you.
  15    seen you for a while." I said "I was sick."        15          MR. GARABEDIAN: Objection.
  16       Q. Okay. Did you tell her what kind of          16   BY MR. FOLKMAN:
  17    sickness you had?                                  17      Q. So he promised you he would send you
  18       A. No, I didn't tell her that.                  18   to university?
  19       Q. Why didn't you tell her that?                19      A. Everything I need I will find.
  20       A. I was ashamed to tell her that Douglas       20      Q. What did you understand that to mean?
  21    did gay things. I was really feeling bad a lot.    21          MR. GARABEDIAN: Objection.
  22       Q. And you didn't tell any of the other         22      A. I won't be sleeping in the streets
  23    boys, did you?                                     23   anymore. I will be going to school after I
  24       A. No.                                          24   finish school. I will go to the university.
  25       Q. And is the reason because you were           25   When I'm done with university, I will be useful


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   1   to myself and to my family. But I found nothing     1   then go to the Village. I said "okay." And he
   2   of that. He just spoiled my future.                 2   said he's going to do the same things that he
   3   BY MR. FOLKMAN:                                     3   did -- that they did -- that we did together, he
   4      Q. And the things that he had promised           4   will do the same thing, that we should do them
   5   you would have been much more than most of the      5   together. I wanted to leave the street. I said
   6   people you knew had in their own lives, is that     6   "okay."
   7   fair?                                               7          He was playing with my tits. He said
   8          MR. GARABEDIAN: Objection.                   8   to play with his tits. He masturbated me; I
   9      A. I don't understand.                           9   masturbated him. He sucked my dick, and I
  10   BY MR. FOLKMAN:                                    10   sucked his dick. When he was going to put his
  11      Q. Did you know people who had gone to          11   penis in my butt, I said "no," and I climbed out
  12   university?                                        12   of the bed.
  13      A. I don't know anyone.                         13          When I was in 13th Street they told me
  14      Q. Most of the people you were living           14   I was going to the Village, and they sent me to
  15   with on the streets, were they able to be useful   15   the Village.
  16   to their families?                                 16      Q. Okay. Are you done with your answer?
  17          MR. GARABEDIAN: Objection.                  17      A. Yes.
  18      A. Not one that were able to help their         18      Q. Okay. So my question, what part of
  19   families. We found nothing where Douglas just      19   the city were you in when Douglas spoke with
  20   spoiled our future.                                20   you? Can you answer that question?
  21   BY MR. FOLKMAN:                                    21          MR. GARABEDIAN: Objection.
  22      Q. He was promising you sort of a new and       22      A. Bel Air.
  23   better life, right?                                23   BY MR. FOLKMAN:
  24      A. Yes. And my life was worse.                  24      Q. And what friend did you have in
  25      Q. So is it true that Douglas Perlitz           25   Bel Air that you were going to see?

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   1   abused you a second time about a week later?        1      A. Ronald. A friend of mine.
   2      A. Yes.                                          2      Q. Ronald Cadet?
   3      Q. And that was a week after the first           3      A. No.
   4   time he abused you, right?                          4      Q. What was Ronald's other name?
   5      A. Yes.                                          5     A. I don't know his last name.
   6      Q. So that was a few days after you got          6      Q. Was it Jean Ronald Belonne,
   7   out of the hospital?                                7   B-E-L-O-N-N-E?
   8      A. Yes.                                          8      A. No, it's not Jean Ronald.
   9      Q. Okay. And did he approach you again           9      Q. So a different Ronald?
  10   at 13th Street?                                    10      A. Yes, Ronald, yes.
  11      A. I saw him in the street.                     11      Q. Okay. And was he a PPT student?
  12      Q. What part of the city were you in?           12      A. No.
  13      A. I was going to Bel Air to a friend's         13      Q. He had a house in Bel Air?
  14   house. He said "where are you going?" I said       14      A. Yes.
  15   "I'm going to go to a friend's house." Tomorrow    15      Q. Was he a grown-up, or your age?
  16   afternoon when he leaves the Village, he needs     16      A. He's older than I am.
  17   me --                                              17      Q. And what did he do for a living?
  18      Q. Okay.                                        18      A. I don't know.
  19      A. -- so I should go to him.                    19      Q. How did you know him?
  20          When I got to him, he gave me a cover       20      A. He was my friend.
  21   to sleep, he said to sleep there. I lie down on    21      Q. Where did you meet him?
  22   the floor. I was sleeping. He woke me up. He       22      A. In the street. We met on the street.
  23   said "come on the bed." When I was on the bed      23      Q. He used to be a street kid?
  24   we were talking, go to 13th Street, and then go    24      A. No. I was used to being in front of
  25   to the Village -- go back to 13th Street and       25   the restaurant begging food, and he went to the


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   1    restaurant, he bought food and he gave it to me.    1   come -- to come see him.
   2    Since then, ever since, we've been friends. I       2      Q. I thought you were still at the 13th
   3    go to him -- if I need something I go to him,       3   Street, not at the Village.
   4    and he gives it to me.                              4      A. Yes.
   5       Q. Did you ever consider telling Ronald          5      Q. So what do you mean when you say that
   6    what had happened to you that first time?           6   you were supposed to go to him after you left
   7       A. No. I was ashamed, this is what -- a          7   the Village?
   8    white guy did gay things with me.                   8      A. When I was at the Village, I said to
   9       Q. I thought you said that at the time           9   do gay things with me, and I said "no," so I
  10    that Douglas first abused you, you didn't know     10   left. He threw me out, said "let's do gay
  11    yet that it was wrong for two men to have sex.     11   things," he put me outside, and I went to the
  12           MR. GARABEDIAN: Objection.                  12   Carenage.
  13    BY MR. FOLKMAN:                                    13      Q. Okay. You -- at the time that he
  14       Q. Was that correct?                            14   abused you the first time, you were living on
  15       A. Yes.                                         15   the street and attending the program at 13th
  16       Q. So why were you ashamed?                     16   Street, right?
  17       A. To tell this is what a white guy did,        17      A. Yes. 13th Street.
  18    gay things, I was really ashamed to say that.      18      Q. And a week later, you were still
  19       Q. You were ashamed because you knew it         19   attending the program at 13th Street, right?
  20    wasn't the right thing, right?                     20      A. Yes, I was in 13th Street.
  21           MR. GARABEDIAN: Objection.                  21      Q. Okay. And you weren't at the Village?
  22       A. I didn't know.                               22      A. No.
  23    BY MR. FOLKMAN:                                    23      Q. Okay. So what did Douglas say to you?
  24       Q. Okay. So your testimony today is you         24   I'm sorry to do this, I just feel that I'm not
  25    didn't know it was wrong, but yet you were         25   understanding what you're trying to say.

                                           Page 115                                                Page 117
   1   ashamed by it, is that true?                         1          MR. GARABEDIAN: Objection.
   2          MR. GARABEDIAN: Objection.                    2   BY MR. FOLKMAN:
   3      A. Yes. I was ashamed to say that a               3      Q. What did Douglas say to you when you
   4   white guy did gay things with me.                    4   saw him in that car on your way up to Bel Air?
   5   BY MR. FOLKMAN:                                      5      A. He said "tomorrow afternoon come see
   6      Q. Okay. Had people used the word "gay            6   me at Bel Air."
   7   things" before you were abused by Doug that you      7      Q. And did he say anything about the
   8   had ever heard?                                      8   Village?
   9          MR. GARABEDIAN: Objection.                    9      A. He said he was going to send me to the
  10      A. No.                                           10   Village. When we talked he said he's going to
  11   BY MR. FOLKMAN:                                     11   come to the Village, I'm not going to sleep in
  12      Q. You had never heard the word masisi           12   the streets anymore, everything I want I will
  13   before?                                             13   find it there. And when he said -- I said
  14      A. No.                                           14   "okay."
  15      Q. So as you were walking from 13th              15          He said what he did to me, I should do
  16   Street to Ronald's house -- is that right?          16   again to him. Then he touched my tits, he asked
  17      A. I was in -- when I was at 13th Street         17   me to touch his tits, and then to masturbate me.
  18   I went across 11th Street, blah, blah, blah, all    18   And he put his dick in my mouth, and I put his
  19   the way to Bel Air.                                 19   dick in my mouth. And he said he was going to
  20      Q. Okay. Were you walking alone, or with         20   put his dick in my butt, I said "no," and I
  21   somebody?                                           21   opened the door, and I left.
  22      A. I was alone. I was going to Ronald's.         22      Q. When you said that Douglas said he
  23      Q. And Douglas drove by you?                     23   should go tomorrow after he left the Village,
  24      A. Yes. He was in his car. He said               24   you mean after Douglas left the Village, is that
  25   tomorrow afternoon when he leaves the Village,      25   right?


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   1          MR. GARABEDIAN: Objection.                   1      A. Yes.
   2      A. I don't understand.                           2      Q. Had you told Ronald anything about
   3   BY MR. FOLKMAN:                                     3   Douglas?
   4      Q. Do you recall I asked you -- I asked          4      A. No.
   5   you "were you walking alone or with somebody?",     5      Q. Was Ronald's house very close to
   6   and you said "I was alone, I was going to           6   Douglas's house in Bel Air?
   7   Ronald's"?                                          7      A. Higher.
   8          Do you remember that?                        8      Q. How far of a walk? How far of a walk?
   9      A. Yes.                                          9         MR. GARABEDIAN: Objection.
  10      Q. And then I asked you "did Douglas            10      A. If I'm at the crossroad in Bel Air, I
  11   drive by you?" And you said "yes. He was in        11   will get to Douglas's house before I get to
  12   his car, he said" -- let me finish, you said       12   Ronald's house.
  13   "yes, he was in his car, he said tomorrow          13   BY MR. FOLKMAN:
  14   afternoon when he leaves the Village to come see   14      Q. Would it take you, say, five minutes
  15   him," right?                                       15   to walk from Douglas's house to Ronald's house?
  16      A. Yes.                                         16      A. I don't know.
  17      Q. And what you were saying, just so I          17      Q. Would it take an hour?
  18   understand, is that Douglas was telling you to     18         MR. GARABEDIAN: Objection.
  19   go to Bel Air the next day after Douglas left      19      A. Yeah, I don't know.
  20   the Village?                                       20   BY MR. FOLKMAN:
  21      A. Yes.                                         21      Q. So you don't know if it would take
  22      Q. Okay. Thank you.                             22   more or less than an hour to walk from the one
  23          So after Doug said this to you, did he      23   house to the other?
  24   drive away?                                        24      A. Maybe. I don't know.
  25      A. Yeah. When he said me -- told me             25      Q. Would it take three hours to walk from


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   1   tomorrow afternoon to come to the Village to see    1   Douglas's house in Bel Air to Ronald's house in
   2   him, he left.                                       2   Bel Air?
   3      Q. Okay. And then you continued to               3      A. I don't know. I don't know.
   4   Ronald's house?                                     4      Q. You can't say anything at all about
   5      A. I went to see Ronald, yes.                    5   how far they were apart?
   6      Q. Okay. And did you stay over the night         6      A. No, I can't.
   7   at Ronald's?                                        7      Q. Did you ever walk from Douglas's house
   8      A. Yes.                                          8   at Bel Air to Ronald's house in Bel Air?
   9      Q. Okay. And did Ronald have two                 9      A. I don't understand.
  10   bedrooms?                                          10          MR. GARABEDIAN: Objection.
  11      A. Just one.                                    11   BY MR. FOLKMAN:
  12      Q. And you slept in the same room with          12      Q. The question is; did you ever walk
  13   Ronald?                                            13   from Douglas's house in Bel Air to Ronald's
  14      A. Yes. He gave me a carpet, and a              14   house in Bel Air?
  15   cover.                                             15      A. Yes.
  16      Q. Okay. And was there anybody else             16      Q. And did it take you all day?
  17   sleeping in that room with you?                    17      A. No.
  18      A. He was --                                    18      Q. They're in the same neighborhood,
  19          MR. GARABEDIAN: Objection.                  19   right?
  20      A. He was on the bed with his wife.             20      A. Yeah, but Ronald is further.
  21   BY MR. FOLKMAN:                                    21      Q. Sure.
  22      Q. Okay.                                        22          But it wouldn't have taken you six
  23      A. And he made me sleep.                        23   hours to walk in the same neighborhood, would
  24      Q. The next morning, you went back to           24   it?
  25   13th Street?                                       25          MR. GARABEDIAN: Objection.


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   1       A. No, not that, all that.                       1      A. Yes.
   2    BY MR. FOLKMAN:                                     2   BY MR. FOLKMAN:
   3       Q. No.                                           3      Q. So why did you go?
   4           And it wouldn't have taken you three         4      A. Second time, he put me -- he threw me
   5    hours to walk in the same neighborhood, would       5   out the second --
   6    it?                                                 6          THE INTERPRETER: I didn't get it.
   7           MR. GARABEDIAN: Objection.                   7   BY MR. FOLKMAN:
   8       A. I don't know how many hours.                  8      Q. Let me ask it again. Try it another
   9    BY MR. FOLKMAN:                                     9   way.
  10       Q. Okay. Did you consider going to              10          You thought that if you went he was
  11    Ronald's house after the first time that Douglas   11   going to abuse you, right?
  12    abused you and you left Bel Air?                   12      A. First or second time?
  13           THE INTERPRETER: First time?                13      Q. The second time.
  14           MR. FOLKMAN: The first time.                14          MR. GARABEDIAN: Objection.
  15           MR. GARABEDIAN: Objection.                  15      A. When he said to go, I didn't know he
  16       A. No, the first time I went to the 13th        16   wanted to do gay things with me.
  17    Street center directly.                            17   BY MR. FOLKMAN:
  18    BY MR. FOLKMAN:                                    18      Q. You didn't know before you got there
  19       Q. Okay. Was that closer to Douglas's           19   what his intention was?
  20    house than Ronald's house was?                     20      A. No.
  21           MR. GARABEDIAN: Objection.                  21      Q. Okay. So you went, right?
  22       A. Where Douglas stays is very far from         22      A. I thought he was going to send me to
  23    13th Street.                                       23   the Village. That's all I was thinking about.
  24    BY MR. FOLKMAN:                                    24      Q. Okay. My question was, you went,
  25       Q. Okay. The next day after you left            25   right?

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   1   Ronald's house, did you go back to 13th Street?      1      A. Yes.
   2     A. Yes.                                            2      Q. And what time of day was it?
   3     Q. Did have you an ordinary day?                   3      A. Night, night. He said after he leaves
   4          MR. GARABEDIAN: Objection.                    4   the Village.
   5     A. Yes.                                            5      Q. Did he pick you up in a car, or did
   6   BY MR. FOLKMAN:                                      6   you walk?
   7     Q. Did you tell anybody that Douglas had           7      A. I went.
   8   invited you to come to Bel Air that day?             8      Q. Walking?
   9          MR. GARABEDIAN: Objection.                    9      A. Yes.
  10     A. No.                                            10      Q. And you walked in the middle of -- in
  11   BY MR. FOLKMAN:                                     11   the nighttime?
  12     Q. Is there a reason that you didn't tell         12      A. Yes.
  13   anybody?                                            13      Q. Okay. Was there a curfew, a time of
  14          MR. GARABEDIAN: Objection.                   14   day that you were supposed to not leave 13th
  15     A. I didn't tell people that. I was               15   Street?
  16   ashamed to say a white guy did gay things with      16         MR. GARABEDIAN: Objection.
  17   me. I was very, very sad, depressed a lot.          17   BY MR. FOLKMAN:
  18          MR. GARABEDIAN: Excuse me. What was          18      Q. You know what? Let me withdraw the
  19   the rest of it?                                     19   question.
  20          THE INTERPRETER: Depressed a lot.            20         You walked to the house at Bel Air in
  21   BY MR. FOLKMAN:                                     21   the night, right?
  22     Q. Did you think that when you got to             22         THE WITNESS: Oui.
  23   Bel Air, if you went, that Douglas was going to     23   BY MR. FOLKMAN:
  24   abuse you again?                                    24      Q. When you got there, was the gate open
  25          MR. GARABEDIAN: Objection.                   25   or closed?


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   1       A. It was open.                                1      Q. And did he wake you up the same way
   2       Q. Did you see anybody when you got to         2   that he had woken you up the last time?
   3    the gate?                                         3      A. While I was sleeping, he hit me. When
   4       A. Yeah, the second time I saw someone.        4   I woke up, I realized it was him. And then he
   5       Q. Who did you see?                            5   said "come, follow me, we're going to talk."
   6       A. Boss Mo.                                    6          When I went inside his room, he said
   7       Q. Did you know Boss Mo before?                7   "sleep here, and in the morning when you wake up
   8       A. Boss Pro.                                   8   we'll talk." While I was sleeping, he woke me
   9       Q. Boss Pro?                                   9   up and he said "come on the bed." While I was
  10           THE WITNESS: Oui.                         10   there he said "don't be scared," he's going to
  11       Q. Did you know Boss Pro before?              11   send me to the Village. I said "yes." He said
  12       A. No. When I got there he said "what do      12   "what we did the first time, let's do it again."
  13    you want?" "I'm one of the kids from 13th        13   And I said "okay." I didn't want to sleep in
  14    Street." He said "Douglas is not there, so sit   14   the streets. He said I'll find everything that
  15    and wait for him." While I was waiting, he       15   -- that he told me that I would find everything
  16    left, and left me waiting in the yard.           16   that I wanted, I said I accepted.
  17       Q. Was this the first time you had ever       17          Now he started playing with my tits,
  18    met Boss Pro?                                    18   he said to do it for him. I did. He was
  19       A. Yes.                                       19   masturbating me, and I masturbated him. He
  20       Q. Okay. So after Boss Pro left, did you      20   sucked my dick, I sucked his dick. And he said
  21    see anybody else in the yard?                    21   he was going to put his penis in my butt, I said
  22       A. No.                                        22   "no." I opened the door and I left.
  23       Q. Did you just sit there, or did you         23      Q. Okay. When you got out of the Tacoma,
  24    walk around at all?                              24   you walked to the door of the house?
  25       A. I was sitting. After a while, I was        25      A. Where Douglas and I went in, yes.


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   1   so sleepy, there was a car in the yard, so I       1      Q. Okay. And when you walked into the
   2   just opened the door and went to sleep.            2   house -- well, before you walked into the house,
   3      Q. Was it one of the Land Cruisers?             3   did you see anybody else other than Douglas?
   4      A. A Tacoma car.                                4      A. No, there was no one.
   5      Q. A Tacoma.                                    5      Q. When you walked into the door, were
   6          Do you know whose car it was?               6   the lights on or off?
   7      A. They ride it sometimes. They take it         7      A. There was no light.
   8   sometimes to go.                                   8      Q. Did you know whether anybody else was
   9      Q. "They" being the people in the -- let        9   in the house?
  10   me start again.                                   10      A. No.
  11          Was it Douglas's car?                      11      Q. Did you walk down the same stairs that
  12      A. The Project's car.                          12   you had walked down the last time?
  13      Q. Okay. So you got into the Tacoma,           13      A. Yes. I went down the stairs first,
  14   right?                                            14   and then I went in where he was.
  15      A. Yes.                                        15      Q. He went first, right?
  16      Q. And you went to sleep?                      16      A. Yes.
  17      A. Yes.                                        17      Q. Was there a light from a laptop this
  18      Q. And until the time that you went to         18   time?
  19   sleep, had you seen anybody other than Boss Pro   19      A. Yes, the laptop was on.
  20   in the -- on the property?                        20      Q. Were there any other lights on?
  21          MR. GARABEDIAN: Objection.                 21      A. No.
  22      A. No.                                         22      Q. Could you see what was being shown on
  23   BY MR. FOLKMAN:                                   23   the screen of the laptop?
  24      Q. Okay. And then Douglas woke you up?         24      A. I don't know. I didn't see. I don't
  25      A. Yes.                                        25   know if there was anything.


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   1      Q. Okay. Was there any sound in the              1   things with you the second time?
   2   room, whether a radio, or the computer?             2           MR. GARABEDIAN: Objection.
   3      A. Didn't -- it didn't.                          3      A. I didn't want to be bleeding again.
   4      Q. And did he ask you to sleep on the            4   BY MR. FOLKMAN:
   5   floor in the same kind of place that he had         5      Q. Because he had hurt you the first
   6   asked you to sleep last time?                       6   time?
   7          MR. GARABEDIAN: Objection.                   7      A. Yes. I didn't want the same thing
   8      A. He gave me a cover, a sheet. And when         8   twice.
   9   I was sleeping, he started touching me and said     9      Q. Okay. Did he say anything to you when
  10   to go on the bed.                                  10   you said no?
  11   BY MR. FOLKMAN:                                    11      A. When I said no, I opened the door and
  12      Q. When he gave you the space on the            12   left.
  13   floor, but before he touched you, were you         13      Q. Without any conversation?
  14   concerned that he was going to abuse you again?    14      A. No. I just left.
  15      A. I wasn't scared. He told me I was            15      Q. Did he come after you?
  16   going to go to the Village. So when he told me     16      A. No.
  17   to sleep there, I thought in the morning he        17      Q. Did you close the door behind you?
  18   would send me to the Village.                      18      A. No. I opened the door. I don't know
  19      Q. So you thought that he was going to          19   if it closed or not. When I was in 13th Street,
  20   let you sleep throughout the night without         20   I saw that they're going to send me to the
  21   abusing you, and that the next day he would take   21   Village, they sent me to the Village. While I
  22   you to the Village, is that right?                 22   was at the Village, a weekend, he came. I was
  23      A. Yes.                                         23   showered. I went to the kitchen -- I was going
  24      Q. And then he touched you and woke you         24   to the kitchen to eat. When he was in the
  25   up?                                                25   office, said come to talk to him. And I went to

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   1      A. Yes.                                          1   see him, he closed the office door, said "let's
   2      Q. And then he abused you in the way that        2   do gay things." I said "no." He put me out.
   3   you've just described?                              3      Q. Okay.
   4      A. Yes.                                          4      A. And I went to the Carenage.
   5      Q. And what did you think when he was            5      Q. Okay. The question was did you close
   6   doing that?                                         6   the door behind you, and I think the answer was
   7      A. I didn't think anything.                      7   you don't know if you did or not, is that true?
   8           MR. GARABEDIAN: Objection.                  8          MR. GARABEDIAN: Objection.
   9      A. He told me that he was going to send          9      A. No. When I opened the door, I left.
  10   me to the Village. He said everything I did to     10   I don't know.
  11   him that I should do them again. And he painted    11   BY MR. FOLKMAN:
  12   a nice life for me, so I accepted. He said I       12      Q. Okay. You went up the stairs and out
  13   won't have to live in the streets, everything I    13   of the house, right?
  14   will find -- I will finish school and I will go    14      A. I went up the little stairs, I went
  15   to the university and to work, and I will be       15   through the yard, and I left.
  16   able to help myself. I said "yes." And then he     16      Q. Did you see anybody before you got out
  17   said he's going to do this for me, he started      17   of the gate?
  18   playing with my tits. I did to him. He             18      A. No, I didn't see anyone.
  19   masturbated me; I masturbated him. He put my       19      Q. Okay. And where did you go then?
  20   dick in his mouth; I did put his dick in my        20      A. I went to sleep in the street.
  21   mouth. He said he's going to do things with me.    21      Q. What time of the night was it? Was it
  22   I said "no," I said "no," I opened the door and    22   towards the morning, or did you still have a
  23   I left.                                            23   long night ahead of you?
  24   BY MR. FOLKMAN:                                    24          MR. GARABEDIAN: Objection.
  25      Q. Okay. Why did you not let him do             25      A. At night.


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   1    BY MR. FOLKMAN:                                     1      Q. No, I mean before you were sent, had
   2       Q. Okay. And the next day you went back          2   you ever been there before?
   3    to 13th Street?                                     3      A. No.
   4       A. Yes.                                          4      Q. So the time when you went after
   5       Q. Now, when you got to 13th Street that         5   Margarette sent you was the first time you had
   6    next day, that's the day that you learned that      6   ever been there?
   7    you were going to be sent to the Village, is        7          MR. GARABEDIAN: Objection.
   8    that true?                                          8          THE INTERPRETER: After you went?
   9           MR. GARABEDIAN: Objection.                   9          MR. FOLKMAN: I'll say it again.
  10       A. After a few days.                            10   BY MR. FOLKMAN:
  11    BY MR. FOLKMAN:                                    11      Q. The time that Margarette said you were
  12       Q. After a few days.                            12   going to go to the Village and you went to the
  13           Okay. And who told you that you were        13   Village was the very first time you had ever
  14    going to go to the Village?                        14   been there?
  15       A. Margarette who told me that I was            15          MR. GARABEDIAN: Objection.
  16    going to the Village.                              16      A. Yes, first time.
  17       Q. What was Margarette's job?                   17   BY MR. FOLKMAN:
  18       A. When the child would go to the               18      Q. Okay. How did you get there?
  19    Village, she would talk to the child, would ask    19      A. There were eight of us going to the
  20    if your mother is here, if your father is there,   20   Village. When we got there they -- we went --
  21    why did you leave home, why are you in the         21   they brought us to a room, they talked to us,
  22    streets, she's asking all of that.                 22   they said that's how we have to operate in the
  23       Q. Okay. And then for kids who were             23   Village, don't fight, don't be disrespectful to
  24    already at 13th Street -- excuse me.               24   the teachers. When we were done, the next
  25           For kids who were already at the            25   morning we could go to school.

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   1   Village, once they had had that talk with            1     Q. It's five minutes before 1:00 o'clock
   2   Margarette, did she have any other role with         2   now. I'd like to take a break for lunch, and
   3   those kids?                                          3   we'll come back after that. Okay?
   4         MR. GARABEDIAN: Objection.                     4      A. Okay.
   5     A. She was also at the hospital. She was           5          THE VIDEOGRAPHER: Going off the
   6   doing other things.                                  6   record. The time is 12:55.
   7   BY MR. FOLKMAN:                                      7          (Whereupon, a recess was taken.)
   8     Q. Okay. Do you know what she was doing?           8
   9         MR. GARABEDIAN: Objection.                     9
  10     A. No.                                            10
  11   BY MR. FOLKMAN:                                     11
  12     Q. All right. So when Margarette told             12
  13   you you were going to go to the Village, what       13
  14   happened?                                           14
  15     A. Margarette told me I was going to the          15
  16   Village, but the next day I went to the Village.    16
  17     Q. Okay. And did they give you a bed?             17
  18         MR. GARABEDIAN: Objection.                    18
  19     A. When I was at the Village?                     19
  20   BY MR. FOLKMAN:                                     20
  21     Q. Yes.                                           21
  22     A. Yes.                                           22
  23     Q. Had you ever been to the Village               23
  24   before to visit?                                    24
  25     A. Yes, I was at the Village.                     25


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   1        AFTERNOON SESSION                              1      Q. Did you tell me before there was no
   2                                                       2   other kid at the school named Ando?
   3          THE VIDEOGRAPHER: Back on the record.        3          MR. GARABEDIAN: Objection.
   4   The time is 2:03.                                   4      A. No, just me.
   5   BY MR. FOLKMAN:                                     5   BY MR. FOLKMAN:
   6      Q. Mr. Bernardin, we were talking about          6      Q. Did you know Jessica Lozier?
   7   when you arrived at the Village.                    7      A. Yes, I knew Jessica.
   8          Once you moved to the Village, did           8      Q. Did you know her at the Village, or
   9   Douglas Perlitz ask you to let him abuse you        9   somewhere else?
  10   again, a third time?                               10      A. At the Carenage. When Douglas threw
  11      A. Yes, he asked -- I was scared. I             11   me out of the Village, he asked me to do gay
  12   didn't want him to send me back onto the           12   things with him, I met Jessica at the Carenage.
  13   streets.                                           13      Q. So he threw you out of the Village,
  14      Q. How long after you arrived at the            14   but you were still allowed to participate at the
  15   Village did he ask you that?                       15   programs at Carenage, is that right?
  16      A. I don't remember.                            16          MR. GARABEDIAN: Objection.
  17      Q. Well, was it in your first -- you were       17      A. When I got to the Carenage, he never
  18   there from 2005 to 2007 approximately, right?      18   came to the Carenage while I was there.
  19      A. Yes.                                         19   BY MR. FOLKMAN:
  20      Q. Was it in 2007?                              20      Q. Jessica was there, right?
  21      A. Yes. I left the Village in 2007.             21      A. She was there. Nicholas also.
  22      Q. Yes. I'm asking, did Douglas ask you         22      Q. How long were you at Carenage?
  23   to let him abuse you for the third time in 2007?   23      A. I don't remember. When I left the
  24          MR. GARABEDIAN: Objection.                  24   Village -- when I left the Village I went
  25      A. Yes, it was a weekend. He said we            25   straight to Santo Domingo.

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   1   should do gay things, but I was afraid. I           1      Q. I thought you said when you left the
   2   didn't want him to throw me out, so I would need    2   Village you lived on the street again. Did you
   3   to sleep on the street. Although I was scared,      3   mean -- did you mean living on the street other
   4   I didn't want to do it, and he threw me out of      4   than Cap-Haïtian?
   5   the Village.                                        5      A. Yes. I was somewhere else, in the
   6      Q. Okay. So how long after you said no           6   street.
   7   to him did he throw you out?                        7      Q. So in the Dominican Republic?
   8      A. I don't understand.                           8      A. No. In Haiti.
   9          MR. GARABEDIAN: Objection.                   9      Q. Okay. And you were attending the
  10   BY MR. FOLKMAN:                                    10   Carenage?
  11      Q. Well, when you said no to him, did you       11           MR. GARABEDIAN: Objection.
  12   have to leave the Village the same day?            12      A. Yeah, I used to go.
  13      A. Same day.                                    13   BY MR. FOLKMAN:
  14      Q. So you said no, and then you were            14      Q. Okay. So you were living close enough
  15   gone, is that right?                               15   to Carenage that you could go there during the
  16      A. Yes, he threw me out.                        16   days, right?
  17          MR. GARABEDIAN: Objection.                  17      A. Yes.
  18   BY MR. FOLKMAN:                                    18      Q. Okay. And I think I asked you how
  19      Q. And where did you go when he threw you       19   long you were there, and you don't remember, is
  20   out?                                               20   that right?
  21      A. I was scared. Although I was scared,         21      A. No.
  22   I didn't want to go to the streets, I didn't       22      Q. Did you ever go back from Carenage to
  23   want to die like the little boy that died in the   23   the Village?
  24   street. But even though, despite that, he put      24      A. When I left the Carenage I met
  25   me out and I have to go to sleep in the street.    25   Douglas, not in the Carenage. When I went he


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   1   said to come see him at the Village -- at           1      Q. So there were two times when he asked
   2   Bel Air so I could return to the Village. He        2   to let you -- you to let him abuse you, and you
   3   said "let's do gay things so you can come back      3   said no?
   4   to the Village," but I was scared, I was scared,    4          MR. GARABEDIAN: Objection.
   5   I have to go to Santo Domingo, to the Dominican     5      A. He did that twice. He did that twice.
   6   Republic. I didn't want to be bleeding or hurt      6   The other times I didn't let him. I was scared.
   7   again, so I left. I went to Santo Domingo,          7   BY MR. FOLKMAN:
   8   Dominican Republic.                                 8      Q. In your answers to written questions,
   9      Q. Are you saying that there was a fourth        9   and I'm looking at Number 19, you say that he
  10   time that he tried to abuse you?                   10   abused you on February 14th, 2004, and you say
  11           MR. GARABEDIAN: Objection.                 11   that a week later, approximately, he abused you
  12      A. When I left the Village, when I went         12   again?
  13   to see him, he said to come to see him so I        13      A. Yes.
  14   could go back to the Village. When I got there,    14      Q. And you say that he tried to abuse you
  15   "let's do gay things," he said. I was scared.      15   a third time, but you refused?
  16   I didn't want to be hurt or bleeding again.        16      A. Third time he said he was going to do
  17   BY MR. FOLKMAN:                                    17   gay things with me. I was scared that -- I was
  18      Q. Okay.                                        18   scared for him to send me to street. The boy
  19      A. So I went with a friend, I went to the       19   had just left, I didn't want to be killed the
  20   Dominican Republic. When I arrived -- when I       20   same way. I was scared. Even though I was
  21   came back from the Dominican Republic, they told   21   scared, I just left the room and went to find a
  22   me the Village was no longer.                      22   place to sleep.
  23      Q. Okay.                                        23      Q. So that's the third time?
  24      A. Was crushed.                                 24      A. Yes.
  25      Q. I want to make sure I know how many          25      Q. And then he kicked you out of the


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   1   times Douglas abused you or tried to abuse you.     1   Village?
   2   There was the first time when you had the           2      A. He put me out of the Village.
   3   bleeding on your bum?                               3      Q. And then he tried to get you to do it
   4           MR. GARABEDIAN: Objection.                  4   again so that you could go back to the Village?
   5      A. Yes.                                          5          MR. GARABEDIAN: Objection.
   6   BY MR. FOLKMAN:                                     6      A. To go back to -- so I could go back to
   7      Q. There was the second time in his room         7   the Village. When I got back he said "do gay
   8   when he abused you, right?                          8   things," I said "no." My friend was going to
   9      A. Yes.                                          9   the Dominican Republic, I went with my friend.
  10      Q. There was the third time when he asked       10   BY MR. FOLKMAN:
  11   you, but you refused?                              11      Q. And you mentioned the first three
  12      A. Yes. I was scared.                           12   times in your answer and not the fourth, is that
  13      Q. And after that third time, he kicked         13   right?
  14   you out of the Village?                            14          MR. GARABEDIAN: Objection.
  15      A. Yes.                                         15          THE INTERPRETER: Do you want me to
  16      Q. And are you saying that there was a          16   read the answer?
  17   fourth time when he asked you again after you      17          MR. FOLKMAN: Sure.
  18   had left the Village?                              18          (Interpreter reading.)
  19      A. When I left the Village he said to go        19      A. When I left the Village he said come
  20   to -- find him at Bel Air, to go back to the       20   back to him, he was going to make me come back
  21   Village. When I got there he said "let's do gay    21   to the Village.
  22   things." I didn't want to be bleeding, to          22   BY MR. FOLKMAN:
  23   suffer what I suffered. I found a friend who       23      Q. Did you ever tell anybody about that
  24   was going to the Dominican Republic, I went with   24   fourth instance of abuse before today?
  25   my friend.                                         25          MR. GARABEDIAN: Objection.


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   1       A. I don't tell my things to people. I          1      A. Yes. Douglas was the project's
   2    was scared. I was so ashamed, I didn't want to     2   father.
   3    talk about my things to people.                    3      Q. And he never tried to get you to allow
   4    BY MR. FOLKMAN:                                    4   him to abuse you for that two-year period until
   5       Q. Okay. When you were at the Village           5   the very end right before he kicked you out, is
   6    you attended school, right?                        6   that true?
   7           THE WITNESS: Oui.                           7          MR. GARABEDIAN: Objection.
   8       Q. And at some point you started                8      A. Yes.
   9    attending school outside of the Village, right?    9   BY MR. FOLKMAN:
  10       A. Yes, when he put me out of the              10      Q. Did you ever see Father Paul Carrier
  11    Village. When I left the Village, when I came     11   at the Village?
  12    back from Santo Domingo, I went to another        12      A. I know Father Paul. He was The
  13    school.                                           13   Village's boss, the project's grandfather.
  14       Q. Here in Cap-Haïtian?                        14      Q. Did you see him with Doug Perlitz?
  15       A. Yes.                                        15      A. Yeah, I used to see them, Douglas was
  16       Q. And that was the College Moderne?           16   the project's father. Father Paul was the
  17       A. Yes.                                        17   project's grandfather, he was directing Douglas,
  18       Q. And is that a public school, or a           18   told Douglas this is what you do or this is what
  19    private school?                                   19   you do.
  20           MR. GARABEDIAN: Objection.                 20      Q. How do you know that he was directing
  21       A. Private.                                    21   Douglas?
  22    BY MR. FOLKMAN:                                   22      A. Douglas told me he's the project's
  23       Q. And how were you paying the fees to go      23   father, Father Paul was the project's
  24    to the College Moderne?                           24   grandfather.
  25       A. A friend of mine.                           25      Q. Didn't people call Paul Carrier Pere

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   1       Q. What friend was that?                        1   Paul?
   2       A. Divo.                                        2          MR. GARABEDIAN: Objection.
   3       Q. Is Divo a person who went to PPT?            3     A. We knew Pere Paul, Father Paul. We
   4       A. No.                                          4   didn't know anything else.
   5       Q. How did you know Divo?                       5   BY MR. FOLKMAN:
   6       A. In the street. I met him in the              6     Q. You didn't call him grandfather, did
   7    street.                                            7   you?
   8       Q. Okay. He wasn't a person who lived in        8          MR. GARABEDIAN: Objection.
   9    the street, though?                                9     A. No. We called him Father Paul.
  10       A. No.                                         10   BY MR. FOLKMAN:
  11       Q. Okay. How far did you get in school         11     Q. And what language did you communicate
  12    at College Moderne?                               12   with Father Paul in?
  13            MR. GARABEDIAN: Objection.                13     A. He spoke English. We didn't speak
  14       A. Fifth and sixth class.                      14   English.
  15    BY MR. FOLKMAN:                                   15     Q. So you never really communicated with
  16       Q. And why did you stop going to school?       16   him, right?
  17            MR. GARABEDIAN: Objection.                17          MR. GARABEDIAN: Objection.
  18       A. The person who was paying for me            18     A. No. Douglas told us Father Paul was
  19    couldn't continue paying.                         19   the project's grandfather, and Douglas Perlitz
  20    BY MR. FOLKMAN:                                   20   was the project's father.
  21       Q. Okay. When you were at the Village --       21   BY MR. FOLKMAN:
  22    and that was approximately a two-year period,     22     Q. You couldn't understand anything that
  23    right?                                            23   Father Paul said to Douglas, could you?
  24       A. Yes.                                        24          MR. GARABEDIAN: Objection.
  25       Q. -- did you see Douglas at the Village?      25     A. No, I don't speak English.


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   1    BY MR. FOLKMAN:                                 1   water.
   2      Q. And you couldn't understand anything       2     Q. Did you walk to Santo Domingo?
   3    that Douglas said to Father Paul, right?        3     A. Yes, a lot.
   4          MR. GARABEDIAN: Objection.                4     Q. And were you travelling alone, or with
   5      A. No.                                        5   people?
   6    BY MR. FOLKMAN:                                 6     A. We were several. My friend went with
   7      Q. Did you ever have a conversation with      7   me.
   8    Father Paul that someone else translated for    8     Q. What friend was that?
   9    you?                                            9     A. Jean Bart.
  10          MR. GARABEDIAN: Objection.               10     Q. And was Jean Bart also a PPT student?
  11      A. No.                                       11     A. Yes, he was among them.
  12    BY MR. FOLKMAN:                                12     Q. And why did he leave PPT?
  13      Q. Did you ever attend church while you      13     A. I don't remember.
  14    were living at the Village?                    14     Q. Did he ever tell you he was abused by
  15      A. Just once.                                15   Douglas Perlitz?
  16      Q. And where was that?                       16     A. No.
  17      A. With Robinson. I don't remember the       17     Q. You never asked why he was leaving?
  18    name of the church.                            18          MR. GARABEDIAN: Objection.
  19      Q. Was it outside of the walls of the        19     A. No. He just told me he was going to
  20    Village?                                       20   Santo Domingo, "come with me," I went. I didn't
  21      A. Yes, outside.                             21   want to sleep in the street. I didn't want to
  22      Q. Was there a priest there?                 22   be killed like the little boy who died. I was
  23      A. I don't remember.                         23   very scared.
  24      Q. Was it a Catholic Church?                 24   BY MR. FOLKMAN:
  25      A. I don't remember if it was Baptist or     25     Q. Did you tell him why you were leaving


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   1   Catholic.                                        1   PPT?
   2      Q. Was Father Paul there?                     2       A. No. I was afraid to tell people about
   3         MR. GARABEDIAN: Objection.                 3   it, that Douglas did gay things with me. I was
   4      A. No.                                        4   scared.
   5         I have a question.                         5       Q. Were you scared, or were you ashamed,
   6         MR. GARABEDIAN: No questions.              6   or both?
   7         He wants to talk to me privately. Do       7       A. I was scared. I was ashamed. I was
   8   you want to talk to me privately?                8   ashamed. I couldn't imagine being in front of
   9      A. Yes.                                       9   someone and to tell them that Douglas did gay
  10         MR. GARABEDIAN: Is that okay?             10   things with me.
  11         MR. FOLKMAN: Yes.                         11       Q. Is that because by this time in 2007
  12         THE VIDEOGRAPHER: Going off the           12   when you left the Village, you knew at that
  13   record. The time is 2:23.                       13   point that what he had done to you was wrong?
  14         (Whereupon, a recess was taken.)          14           MR. GARABEDIAN: Objection.
  15         THE VIDEOGRAPHER: Back on the record.     15       A. It didn't come to my mind.
  16   The time is 2:29.                               16   BY MR. FOLKMAN:
  17   BY MR. FOLKMAN:                                 17       Q. What do you mean it didn't come to
  18      Q. All right. So you moved to the            18   your mind?
  19   Dominican Republic, correct?                    19       A. I didn't think that -- I didn't think
  20      A. Yes.                                      20   -- I didn't think -- it didn't come to my mind
  21      Q. Did you have a passport to allow you      21   that what Douglas did was wrong, it's just that
  22   to cross the border?                            22   for me personally he spoiled my future.
  23      A. No.                                       23       Q. Because he hadn't done the things for
  24      Q. So how did you cross the border?          24   you that he had promised?
  25      A. I went through, I crossed a river, or     25           MR. GARABEDIAN: Objection.


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   1      A. I was scared. I was very scared, very         1      A. One month and 22 days.
   2   scared.                                             2   BY MR. FOLKMAN:
   3   BY MR. FOLKMAN:                                     3      Q. When you came back to Haiti, did you
   4      Q. Now, you said before that you had             4   go directly to Cap-Haïtian?
   5   learned that what he had done to you was wrong      5      A. Yes.
   6   when you heard -- I think you said when you         6      Q. And by that time the Village had
   7   heard a preacher or a minister talking about        7   closed, right?
   8   Sodom and Gomorra?                                  8      A. Yeah, everything was gone.
   9      A. Yes, I was scared.                            9      Q. Had you heard any news from
  10      Q. And you've told us about one time that       10   Cap-Haïtian while you were away?
  11   you went to church while you were in the           11         MR. GARABEDIAN: Objection.
  12   Village, right?                                    12      A. No, I didn't know.
  13      A. Yes.                                         13   BY MR. FOLKMAN:
  14      Q. And you hadn't heard this message that       14      Q. Did you have a phone with you?
  15   you say you heard at the time when Douglas         15      A. The phone were not commonly found,
  16   abused you the first time, right?                  16   were not a trend.
  17         MR. GARABEDIAN: Objection.                   17         THE INTERPRETER: Something like that.
  18      A. No.                                          18   BY MR. FOLKMAN:
  19   BY MR. FOLKMAN:                                    19      Q. When you got back to Cap-Haïtian, did
  20      Q. So is that what you heard when you           20   you attend a program that was run by Robinson?
  21   went to church with Robinson that one time?        21         MR. GARABEDIAN: Objection.
  22         MR. GARABEDIAN: Objection.                   22      A. Yes.
  23      A. No, not there, not in that church.           23   BY MR. FOLKMAN:
  24   BY MR. FOLKMAN:                                    24      Q. And what program was that?
  25      Q. So you went to church after you left         25      A. Boys Center.


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   1   the Village?                                        1      Q. And were you living there, or were you
   2      A. Yes.                                          2   living on the street?
   3      Q. Okay. And was that in the Dominican           3      A. I slept in the streets, but I still
   4   Republic?                                           4   went to the program.
   5      A. In Haiti.                                     5      Q. Were you still going to school?
   6      Q. Okay. And was that before you got to          6      A. Yes.
   7   the Dominican Republic?                             7      Q. What grade were you doing at the Boys
   8      A. When I left the Dominican Republic and        8   Center?
   9   I went back to Haiti.                               9      A. Sixth class.
  10      Q. Okay. Why, by the way, did you return        10      Q. Did you tell anybody before today that
  11   from the Dominican Republic to Haiti?              11   you were doing the sixth class at the Boys
  12      A. I didn't stay because I didn't find          12   Center when you returned to Cap-Haïtian?
  13   work in the place where I was working, it was      13      A. Yes, they knew.
  14   difficult. I was doing around -- SOIL work for     14      Q. Who were your teachers at the Boys
  15   banana trees, doing -- watering banana trees and   15   Center?
  16   taking care of banana trees. I spent one month,    16      A. Yes.
  17   and they let me go. I was staying at the place     17      Q. Who were they?
  18   where I was sleeping, but immigration caught me    18      A. I owed money and he paid for me for
  19   and sent me back to Haiti.                         19   the rest of the money, the balance. I owed to
  20      Q. Okay. Why did they let you go from           20   the school.
  21   that job at the banana plantation?                 21      Q. Okay. My question was; who was your
  22      A. I don't know.                                22   teachers?
  23      Q. So how long in total did you spend in        23      A. A teacher called Rodelin.
  24   the Dominican Republic?                            24      Q. Anybody else?
  25          MR. GARABEDIAN: Objection.                  25      A. That's it. No.


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   1      Q. And who paid the balance of what you         1   Douglas Perlitz abused them.
   2   owed to the school?                                2      Q. Is Wisky, Wisky Jerome?
   3         MR. GARABEDIAN: Objection.                   3      A. Yes.
   4      A. Divo paid for me.                            4      Q. And is Dorat, Dorat Jean?
   5   BY MR. FOLKMAN:                                    5      A. Yes.
   6      Q. Okay. When you got back, did you see         6      Q. What do you mean when you say "when
   7   any of the boys that had been with you at the      7   they found justice"?
   8   Village?                                           8         MR. GARABEDIAN: Objection.
   9         MR. GARABEDIAN: Objection.                   9      A. A judge found justice for them, for
  10      A. I don't -- I didn't hear.                   10   what they had gone through.
  11   BY MR. FOLKMAN:                                   11   BY MR. FOLKMAN:
  12      Q. I'm wondering when you returned to          12      Q. Who told you that?
  13   Cap-Haïtian, did you see the boys, or some of     13         MR. GARABEDIAN: I instruct him not to
  14   them, who had been at the Village with you?       14   answer as to any conversations with his
  15         MR. GARABEDIAN: Objection.                  15   attorney. Objection.
  16      A. Yes.                                        16   BY MR. FOLKMAN:
  17   BY MR. FOLKMAN:                                   17      Q. So without telling me anything that
  18      Q. Were the boys talking about whether         18   your lawyer said, are you able to answer that
  19   Douglas Perlitz had abused boys?                  19   question?
  20         MR. GARABEDIAN: Objection.                  20      A. No.
  21      A. No. They didn't tell me anything.           21      Q. Okay. How about Wendy, is that Wendy
  22   They just told me that the Village was gone.      22   Derice?
  23   BY MR. FOLKMAN:                                   23      A. I don't remember his last name.
  24      Q. Did you ever hear anybody say when you      24      Q. Do you know Wilnaud's other name?
  25   returned "Douglas Perlitz abused me"?             25      A. No, I don't remember.


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   1          MR. GARABEDIAN: Objection.                  1      Q. Is it Jimmy Jesula?
   2      A. No.                                          2      A. Jesula, yes.
   3   BY MR. FOLKMAN:                                    3      Q. Now, when did you have these
   4      Q. Now, you -- some boys did tell you           4   discussions? Was it close to the time that you
   5   eventually that Douglas Perlitz abused them,       5   came back to Cap-Haïtian?
   6   right?                                             6      A. Yes.
   7          MR. GARABEDIAN: Objection.                  7      Q. So before 2013?
   8      A. I don't remember.                            8      A. Yes.
   9   BY MR. FOLKMAN:                                    9      Q. Now, you returned in two thousand --
  10      Q. Well, let's look at Question Number         10   you returned sometime in 2007, right?
  11   23, and the question was "Identify all persons    11         MR. GARABEDIAN: Objection.
  12   who you believe were sexually abused by Perlitz   12      A. 2009.
  13   from 1998 to 2008, and for each person so         13   BY MR. FOLKMAN:
  14   identify, state the basis for your belief," and   14      Q. Okay. Let's clear up the timeline
  15   your answer was, "I believe Renel Odilbert,       15   here. Let me ask you to turn to Question 2.
  16   Wisky, Dorat, Simon, Jimmy, Wilnaud, Wendy,       16         MR. GARABEDIAN: Interrogatory 2?
  17   Elius Dimitry, Jean-Gary, and Simon were abused   17         MR. FOLKMAN: Yes.
  18   by Douglas because they shared that with me."     18   BY MR. FOLKMAN:
  19          Is that a true answer?                     19      Q. I thought you had told me before that
  20          MR. GARABEDIAN: Objection.                 20   you were in the Dominican Republic for a month
  21      A. Yes.                                        21   and some days, is that right?
  22   BY MR. FOLKMAN:                                   22         MR. GARABEDIAN: Objection.
  23      Q. Okay. So these are the boys who told        23      A. In 2007. I went in 2007.
  24   you that they were abused by Douglas Perlitz?     24   BY MR. FOLKMAN:
  25      A. When they found justice they told me        25      Q. And you stayed for a month and 20


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   1   something days, I think you said?                   1   Police, or a policeman from the United States,
   2      A. Yes.                                          2   or anywhere else?
   3      Q. Now, in your written answers, you say         3         MR. GARABEDIAN: Objection.
   4   "Sometime in approximately 2007 I went to the       4      A. I don't understand.
   5   Dominican Republic and lived there. I came back     5   BY MR. FOLKMAN:
   6   to Cap-Haïtian in approximately November, 2009."    6      Q. Did you ever talk to a policeman from
   7   Is that true?                                       7   anywhere in the world about what Douglas Perlitz
   8      A. Yes.                                          8   had done to you?
   9      Q. So you were actually there for perhaps        9         MR. GARABEDIAN: Objection.
  10   two years?                                         10      A. No. I was scared. I was ashamed.
  11          MR. GARABEDIAN: Objection.                  11   BY MR. FOLKMAN:
  12      A. I went to Dominican Republic in 2007,        12      Q. Do you know Jean Ronald Belonne?
  13   and I came -- I went back again in November,       13      A. Yes.
  14   2009, and when I came back I came back on          14      Q. And do you know whether he talked to
  15   November 22nd, 2009.                               15   the police at any point?
  16   BY MR. FOLKMAN:                                    16      A. No.
  17      Q. Okay. So you were there from sometime        17      Q. Did you tell him that you had been
  18   in 2007 until November, 2009, right?               18   kicked out of the Village because you stole $50
  19      A. Yes.                                         19   from a kid named Friday?
  20      Q. And for how long -- for how much of          20         MR. GARABEDIAN: Objection.
  21   that period from 2007 to 2009 were you working     21      A. No.
  22   in the Dominican Republic?                         22   BY MR. FOLKMAN:
  23      A. The first time when I went, one month.       23      Q. Did you tell him that Douglas Perlitz
  24   Second time, I couldn't find any work, I found     24   had abused you?
  25   only once, and I would pick up bottles to sell,    25      A. No.


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   1   that's all.                                         1      Q. Do you have any idea --
   2      Q. Okay. So these are jobs that you had          2      A. I was scared.
   3   in the Dominican Republic that you didn't list      3      Q. What were you scared of?
   4   in that list of jobs that we talked about this      4      A. I was afraid to tell that I did gay
   5   morning, is that true?                              5   things with Douglas.
   6          MR. GARABEDIAN: Objection.                   6      Q. Douglas wasn't in the country in 2009,
   7      A. To pick up bottles?                           7   was he?
   8   BY MR. FOLKMAN:                                     8      A. He left the country. He wasn't in the
   9      Q. And to work at the banana factory.            9   country.
  10      A. I said I did one month, and was              10      Q. So you weren't afraid of Douglas, were
  11   working -- I was taking care of banana trees and   11   you?
  12   watering the banana trees.                         12         MR. GARABEDIAN: Objection.
  13      Q. Okay. When you returned in 2009, were        13      A. I myself was scared.
  14   any of the Americans who had worked at PPT still   14   BY MR. FOLKMAN:
  15   there?                                             15      Q. But what were you scared of is my
  16          MR. GARABEDIAN: Objection.                  16   question.
  17      A. No.                                          17      A. I was scared to tell people that
  18   BY MR. FOLKMAN:                                    18   Douglas did gay things with me.
  19      Q. Did any Americans come down to talk to       19      Q. You knew that other kids were saying
  20   you or any of the other kids?                      20   that Douglas had abused them, right?
  21      A. I don't know. At the Boys Center?            21         MR. GARABEDIAN: Objection.
  22      Q. Or on the street. Yes.                       22      A. No.
  23      A. No.                                          23   BY MR. FOLKMAN:
  24      Q. Were you ever interviewed by any             24      Q. When did you first hear that?
  25   policeman, whether from the Haitian National       25      A. When I left Dominican Republic in


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   1    2009, that's when I heard it.                     1           MR. GARABEDIAN: Objection.
   2       Q. Okay. So when you were back in              2           THE INTERPRETER: One of the people
   3    Cap-Haïtian, you already knew that Douglas --     3   who had a list?
   4    the kids were saying that Douglas had abused      4   BY MR. FOLKMAN:
   5    them?                                             5      Q. That you asked people to sign to take
   6           MR. GARABEDIAN: Objection.                 6   to Cyrus.
   7       A. Simon told me that.                         7      A. Yes.
   8    BY MR. FOLKMAN:                                   8      Q. And who else other than you had that
   9       Q. Okay. And where did you meet Simon?         9   list that they were asking people to sign?
  10       A. When I came back from the Dominican        10           MR. GARABEDIAN: Objection.
  11    Republic. There's a ghetto where we used to go   11      A. I, Dorat, Wisky.
  12    to, I met him there.                             12   BY MR. FOLKMAN:
  13       Q. When you left to go to the Dominican       13      Q. Anybody else?
  14    Republic, was there already graffiti on the      14      A. No.
  15    walls --                                         15      Q. And why did the three of you decide to
  16           MR. GARABEDIAN: Objection.                16   have a list that you wanted people to sign?
  17    BY MR. FOLKMAN:                                  17      A. We were victims. We wanted to find
  18       Q. -- saying that Douglas was doing gay       18   our justice.
  19    things?                                          19      Q. And was this when you got back to
  20       A. Yes.                                       20   Cap-Haïtian?
  21       Q. And did you believe it was true?           21           MR. GARABEDIAN: Objection.
  22       A. In Bel Air, the Village's wall,            22      A. Yes.
  23    everywhere there was graffiti about Douglas.     23   BY MR. FOLKMAN:
  24       Q. And did you believe it was true?           24      Q. And I assume that you must have told
  25           MR. GARABEDIAN: Objection.                25   Wisky and Dorat that you were a victim?

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   1       A. Of course. He did gay things with me.       1          MR. GARABEDIAN: Objection.
   2    BY MR. FOLKMAN:                                   2      A. I didn't tell him I was victim. I
   3       Q. And did you think you were the only         3   said that "we're going to be revolutionaries,
   4    one?                                              4   I'm a victim," we're going to put a victim -- a
   5            MR. GARABEDIAN: Objection.                5   list with all the victims names to bring it to
   6       A. When I saw that, then I thought okay,       6   Cyrus, so they all put their names on it. And
   7    I'm not the only one.                             7   Dorat, Wisky and I, we brought the list to
   8    BY MR. FOLKMAN:                                   8   Cyrus.
   9       Q. And did you talk about that with            9   BY MR. FOLKMAN:
  10    anybody?                                         10      Q. So Wisky and Dorat knew that you were
  11            MR. GARABEDIAN: Objection.               11   a victim because they saw that you had put your
  12       A. No.                                        12   name on the list, right?
  13    BY MR. FOLKMAN:                                  13          MR. GARABEDIAN: Objection.
  14       Q. Okay. Did you hear the radio when you      14      A. Yes. If you're on the list, they know
  15    came back to Cap-Haïtian?                        15   you're a victim, but they never asked any other
  16       A. I listened to the radio, but I             16   questions.
  17    listened to music, no talk shows.                17   BY MR. FOLKMAN:
  18       Q. You never listened to Cyrus Sibert,        18      Q. And you weren't afraid to put your
  19    for example?                                     19   name on the list, were you?
  20       A. No.                                        20      A. No. I wanted justice.
  21       Q. Have you ever met Cyrus Sibert?            21      Q. Did you ever go to the police and say
  22       A. Yes, I met him.                            22   "Douglas Perlitz abused me"?
  23       Q. You were one of the people who had a       23          MR. GARABEDIAN: Objection.
  24    list that you asked people to sign to take to    24      A. I was scared to go in front of
  25    Cyrus, is that true?                             25   someone, say Douglas did gay things with me.


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   1    BY MR. FOLKMAN:                                    1      A. Yes.
   2       Q. So what kind of justice did you want?        2      Q. And how much money have they gotten,
   3           MR. GARABEDIAN: Objection.                  3   do you know?
   4       A. The judge who should decide what             4         MR. GARABEDIAN: Objection.
   5    justice means in my case.                          5      A. I don't know.
   6    BY MR. FOLKMAN:                                    6   BY MR. FOLKMAN:
   7       Q. Were you interested in getting money         7      Q. Do you know what kind of things
   8    as compensation for what Douglas had done to       8   they've done with it?
   9    you?                                               9         MR. GARABEDIAN: Objection.
  10           MR. GARABEDIAN: Objection.                 10      A. No.
  11       A. No, I just wanted justice.                  11   BY MR. FOLKMAN:
  12    BY MR. FOLKMAN:                                   12      Q. No idea?
  13       Q. Now, you were circulating this list in      13      A. No.
  14    2009, is that right?                              14      Q. Let me ask you about the injuries that
  15       A. 2009? We did the list in 2013.              15   you say you suffered.
  16       Q. So four years after you returned to         16         So one injury is that you were
  17    Cap-Haïtian?                                      17   bleeding, and you had to go to the hospital?
  18       A. Yes, in 2013.                               18      A. Yes.
  19       Q. And you knew, didn't you, that in the       19      Q. And that caused you pain?
  20    couple of years up to and including 2013 that a   20      A. A lot.
  21    bunch of kids had gotten money?                   21      Q. And at a certain point did that pain
  22           MR. GARABEDIAN: Objection.                 22   stop?
  23       A. I knew of the first ones who got their      23      A. Yes, when I left the hospital.
  24    justice. When I got there it was too late, they   24      Q. And has that pain come back since
  25    didn't want to accept me.                         25   then?

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   1   BY MR. FOLKMAN:                                     1      A. It came back in -- it returned because
   2      Q. Who didn't want to accept you?                2   in January I went to go to the hospital, it
   3      A. When they were doing the meeting, a           3   was -- my butt was hurting, I went to the
   4   security didn't let me in, in the hotel where       4   hospital, they give me three shots. When I got
   5   they were meeting.                                  5   those three shots, I never got any pain.
   6      Q. Who were they meeting with?                   6      Q. Do you mean January of 2015?
   7      A. I don't remember.                             7      A. Yes.
   8      Q. Were they meeting with the people who         8      Q. And are you saying that that pain that
   9   are now your lawyers?                               9   you suffered in January of 2015 was because of
  10         MR. GARABEDIAN: Objection.                   10   the injury that Douglas had inflected on you in
  11      A. No, I don't remember.                        11   2004?
  12   BY MR. FOLKMAN:                                    12          MR. GARABEDIAN: Objection.
  13      Q. Okay. You don't know?                        13      A. Yes.
  14      A. I didn't go inside the hotel.                14   BY MR. FOLKMAN:
  15      Q. You know, don't you, that there's a          15      Q. Did a doctor or a miss tell you that?
  16   group of kids now in Cap-Haïtian who received      16      A. No, they didn't tell me that. I knew
  17   some money in 2011, and a lot more money in 2012   17   that the pain was that kind because my butt was
  18   or '13?                                            18   hurting, and when I took the shots it wasn't
  19         THE INTERPRETER: '12 or '13?                 19   hurting anymore.
  20         MR. GARABEDIAN: Objection.                   20      Q. Was this the Justinien Hospital?
  21         MR. FOLKMAN: Yes.                            21      A. Yes.
  22      A. No.                                          22          MR. GARABEDIAN: Objection.
  23   BY MR. FOLKMAN:                                    23   BY MR. FOLKMAN:
  24      Q. So as far as you know -- are you aware       24      Q. Do you know the names of the doctors
  25   today that there are kids who have gotten money?   25   or the misses that you saw?


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   1       A. No.                                          1   Douglas's girlfriends"?
   2       Q. Did you ever see a doctor named              2      A. So I don't try to spoil them, too.
   3    Dr. Caze, or Caze, C-A-Z-E?                        3      Q. Okay. Now, how is it that people know
   4       A. No, I don't know. I don't know.              4   that you were one of Douglas's victims?
   5       Q. Okay. The pain is gone now?                  5          MR. GARABEDIAN: Objection.
   6           MR. GARABEDIAN: Objection.                  6      A. When I went to look for work close to
   7       A. I don't have anything now. But for           7   the Village, they were building houses. And I
   8    now I don't have pain. I don't know if it will     8   looked for work, I was looking for work, in the
   9    come up again in the future.                       9   house they told me they don't take Douglas's
  10    BY MR. FOLKMAN:                                   10   girlfriends so I don't spoil them. That hurt me
  11       Q. Are there activities that you want to       11   a lot.
  12    do but that you cannot do because of the pain     12   BY MR. FOLKMAN:
  13    that you suffered in your butt?                   13      Q. Were these people who had known you
  14       A. No. Activities, I used it look for          14   when you were at the Village?
  15    work, I can't find. I found work. When I got      15      A. Yes, they knew.
  16    to my job, they say they don't take Douglas's     16      Q. Have you looked for work outside of
  17    girlfriend to work there. This is like a knife    17   the neighborhood of the Village?
  18    wound, like they were stab me in the heart. If    18          MR. GARABEDIAN: Objection.
  19    somebody rather have been killed than to hear     19      A. Yes, I found a job outside, not in the
  20    this. This really broke my heart.                 20   Village.
  21       Q. My question was; does the pain that         21   BY MR. FOLKMAN:
  22    you had in your butt prevent you from doing       22      Q. You said you found a job?
  23    anything that you want to do physically?          23      A. I hadn't received the shock from
  24       A. There's work I can't do.                    24   Douglas. They were building a hotel.
  25       Q. Because of the pain?                        25      Q. You said before that you had looked --

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   1      A. Yes.                                          1          MR. FOLKMAN: I'm sorry, was he done?
   2      Q. What work is that?                            2          THE INTERPRETER: I'm translating what
   3      A. I can't make -- do a lot of -- make a         3   you said.
   4   lot of efforts, hard work.                          4   BY MR. FOLKMAN:
   5      Q. You're saying you can't do hard work          5     Q. You said that had you gone to look for
   6   because of the pain that you had suffered?          6   work close to the Village, and that's where you
   7      A. Yes. When I have to get water for             7   were told that you weren't allowed to work
   8   someone, I feel there's a problem. I feel it's      8   there, right?
   9   problematic for me.                                 9      A. Yes. Close to the Village, they're
  10      Q. Okay. Aside from that pain in your           10   not taking Douglas's girlfriend.
  11   butt, are there any other physical injuries that   11      Q. Okay. So my question is; did you also
  12   you say were caused by what Douglas did to you?    12   go to look for work in places farther away from
  13          MR. GARABEDIAN: Objection.                  13   the Village?
  14      A. The abuse Douglas did to me, and when        14          MR. GARABEDIAN: Objection.
  15   I look for work, they tell me they don't find --   15     A. I've never found work.
  16   they don't give Douglas's girlfriends jobs.        16   BY MR. FOLKMAN:
  17   This is what really marked me, and that will       17     Q. My question isn't had you found work.
  18   never come out of my mind.                         18   My question is, were you looking for work in
  19   BY MR. FOLKMAN:                                    19   other areas of the city?
  20      Q. I understand. I'm asking whether             20          MR. GARABEDIAN: Objection.
  21   there was anything physical that's wrong with      21      A. Since they told me that, that really
  22   you that was caused by what Douglas did to you?    22   hurt. I have to wash cars, throw waste to find
  23      A. No.                                          23   2 gourdes to give to my child.
  24      Q. Okay. Now, you say that you can't get        24   BY MR. FOLKMAN:
  25   a job because people say "I won't hire one of      25      Q. Is it your testimony that after you


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   1    looked for work close to the Village and you        1      A. Yes. But the person who came up with
   2    were told that they weren't hiring Douglas's        2   the idea was Walky. But I, Dorat and Wisky, we
   3    girlfriends, that you didn't look for work          3   had the list.
   4    elsewhere because it hurt too much?                 4   BY MR. FOLKMAN:
   5           MR. GARABEDIAN: Objection.                   5      Q. Why did Walky want you to do it?
   6       A. Yes. It was hurting too much. I had           6      A. So we could find justice.
   7    to wash cars, throw waste for people to find        7      Q. Did Walky know that you were a victim
   8    money to give it to my children -- child.           8   when he asked you to take the list?
   9    BY MR. FOLKMAN:                                     9           MR. GARABEDIAN: Objection.
  10       Q. Is it accurate to say that you have          10      A. He didn't know. He said he was making
  11    applied for one job since returning to             11   a list for victims. I knew I was a victim, I
  12    Cap-Haïtian in 2009?                               12   put my name.
  13           MR. GARABEDIAN: Objection.                  13   BY MR. FOLKMAN:
  14       A. I didn't look anymore. I was forced          14      Q. But you didn't just put your name on
  15    to wash the cars and throw waste to find money     15   the list; you took the list around for others to
  16    to give to my kid.                                 16   put their name on.
  17    BY MR. FOLKMAN:                                    17           MR. GARABEDIAN: Objection.
  18       Q. Do you believe that you're able to           18      A. Everyone who would come, they would
  19    describe the abuse that you suffered in all of     19   put their name.
  20    its detail today?                                  20   BY MR. FOLKMAN:
  21           MR. GARABEDIAN: Objection.                  21      Q. And the three of you, weren't you the
  22       A. I don't understand that question.            22   ones that had the list and asked other people to
  23    BY MR. FOLKMAN:                                    23   sign it?
  24       Q. Your lawyers have said that you are          24           MR. GARABEDIAN: Objection.
  25    unable at this time to fully describe all of the   25      A. Yes.


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   1   details of the abuse and the extent of the harm      1   BY MR. FOLKMAN:
   2   that you suffered. Is that true?                     2      Q. Okay. So why did Walky ask you to be
   3          MR. GARABEDIAN: Objection.                    3   the ones to do that?
   4      A. Yes.                                           4           MR. GARABEDIAN: Objection.
   5   BY MR. FOLKMAN:                                      5      A. He said he was going to make a list
   6      Q. I want to -- I just have one topic             6   for people victims so they can find justice. I
   7   that I want to ask you about, and then I will        7   took the list, Dorat, Wisky, everybody who came,
   8   finish, which is that list that you were             8   they wrote their names. When the list was
   9   circulating with Wisky and with Dorat, okay?         9   filled, we called Cyrus. He said "I hope" --
  10          How did you decide that you were going       10   "don't you all come at the same time."
  11   to make a list and take it to Cyrus Sibert?         11   BY MR. FOLKMAN:
  12          MR. GARABEDIAN: Objection.                   12      Q. Were the people who put their names on
  13          (Power outage.)                              13   the list angry?
  14          THE VIDEOGRAPHER: Back on the record.        14           MR. GARABEDIAN: Objection.
  15   The time is 3:22.                                   15      A. No, they were not angry.
  16   BY MR. FOLKMAN:                                     16   BY MR. FOLKMAN:
  17      Q. Sir, my question before we took a             17      Q. Were they feeling that they wanted to
  18   break was how did you decide that you were going    18   be revolutionaries because they had been
  19   to make a list and take it to Cyrus Sibert?         19   excluded from the first group?
  20      A. I didn't decide. A friend, a guy              20           MR. GARABEDIAN: Objection.
  21   called Walky.                                       21      A. I don't know if they put their name on
  22      Q. I thought you said that the three             22   the first group or not.
  23   people who had the list and were taking it          23   BY MR. FOLKMAN:
  24   around were you, Wisky Jerome, and Jean Dorat?      24      Q. You said to Wisky and Dorat that you
  25          MR. GARABEDIAN: Objection.                   25   were going to be revolutionary.


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   1           MR. GARABEDIAN: Objection.                   1      A. Soccer.
   2   BY MR. FOLKMAN:                                      2      Q. Do you play on a team?
   3       Q. Right?                                        3      A. No.
   4       A. When we went to the radio station,            4      Q. Where do you play?
   5   it's not me.                                         5      A. In the streets. We buy a ball and we
   6       Q. Oh, that's not you?                           6   play in the streets.
   7       A. No.                                           7      Q. And how often each week on average do
   8       Q. Who said that?                                8   you play?
   9       A. When they went to the radio, they went        9      A. Just on Sunday.
  10   to find Cyrus. Cyrus called the police on them.     10      Q. And do you play most Sundays?
  11   When Cyrus called the police, the boss came, the    11          MR. GARABEDIAN: Objection.
  12   police, they all came, they moved away from the     12      A. Not each Sunday, but when I have time.
  13   radio station. The police came out and talked       13   I play when I have time.
  14   to them and told them that -- there were -- the     14   BY MR. DAILEY:
  15   project, they were victims, they need their         15      Q. Could you tell us, would that be more
  16   justice, Cyrus told them make a list, put the       16   than twice a month that you play on Sundays?
  17   name of everyone, and they will bring it to the     17      A. More.
  18   radio.                                              18      Q. Would it be third or four times on
  19       Q. So the list was not Walky's idea, it         19   Sundays each month that you play soccer?
  20   was Cyrus's idea?                                   20          MR. GARABEDIAN: Objection.
  21           MR. GARABEDIAN: Objection.                  21      A. That does happen, yes.
  22       A. Yes.                                         22   BY MR. DAILEY:
  23   BY MR. FOLKMAN:                                     23      Q. That does happen?
  24       Q. Okay.                                        24      A. Yes.
  25       A. But Walky was more involved.                 25      Q. And how often have you been doing

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   1       Q. Okay. When you said earlier, quote, I         1   that?
   2    said that we're going to be revolutionaries, was    2      A. When I'm in the street, when I sleep
   3    that true?                                          3   in the streets.
   4           MR. GARABEDIAN: Objection.                   4      Q. For how long would you play on the
   5       A. I did not understand.                         5   Sundays that you do; that is, would you play
   6    BY MR. FOLKMAN:                                     6   more or less than an hour?
   7       Q. Did you say we're going to be                 7          MR. GARABEDIAN: Objection.
   8    revolutionaries?                                    8      A. I don't play very long. When I'm
   9           MR. GARABEDIAN: Objection.                   9   tired, I give it to somebody else.
  10       A. Yes.                                         10   BY MR. DAILEY:
  11    BY MR. FOLKMAN:                                    11      Q. And can you tell us for how long you
  12       Q. And what did you mean?                       12   do play?
  13       A. We're going to find our justice.             13          MR. GARABEDIAN: Objection.
  14       Q. And you hadn't found your justice            14      A. I don't know.
  15    before?                                            15   BY MR. DAILEY:
  16           MR. GARABEDIAN: Objection.                  16      Q. Can you tell us whether or not you'd
  17       A. Justice I want is a judge to find            17   play for more or less than an hour?
  18    justice for me, the justice that I'm looking       18          MR. GARABEDIAN: Objection.
  19    for.                                               19      A. I don't know.
  20           MR. FOLKMAN: I have no more                 20   BY MR. DAILEY:
  21    questions. Thank you.                              21      Q. Have you been doing that during the
  22    BY MR. DAILEY:                                     22   entire time that you've been living on the
  23       Q. Mr. Bernardin, do you play any sports?       23   streets?
  24       A. Yes.                                         24          MR. GARABEDIAN: Objection.
  25       Q. What sports do you play?                     25      A. Yes.


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   1    BY MR. DAILEY:                                     1   the room together discussed the depositions?
   2       Q. So that would be for the last five or        2         MR. GARABEDIAN: Objection.
   3    six years, would it?                               3      A. No.
   4           MR. GARABEDIAN: Objection.                  4   BY MR. DAILEY:
   5       A. I don't remember. I don't remember.          5      Q. Did Wisky discuss with you his
   6    BY MR. DAILEY:                                     6   deposition?
   7       Q. Whatever time you've been living on          7         MR. GARABEDIAN: Objection.
   8    the streets that you've told us about, you have    8      A. No. This matter stayed confidential,
   9    played soccer on most Sundays, is that right?      9   personal.
  10           MR. GARABEDIAN: Objection.                 10   BY MR. DAILEY:
  11       A. Not all Sundays.                            11      Q. I'm asking; did Wisky discuss it with
  12    BY MR. DAILEY:                                    12   you while you were in the room with him?
  13       Q. I think you told us it may be third or      13         MR. GARABEDIAN: Objection.
  14    four Sundays a month, is that right?              14      A. No. His private things remain
  15       A. Yes. Not all of them.                       15   private.
  16       Q. Now, you are here with Wisky and            16   BY MR. DAILEY:
  17    Dorat, is that right?                             17      Q. Did Wisky indicate to you any of the
  18       A. Yes.                                        18   questions that he had been asked?
  19       Q. You're staying here at this hotel?          19         MR. GARABEDIAN: Objection.
  20       A. Yes.                                        20      A. No. His things remain private to him.
  21       Q. When did you arrive?                        21   BY MR. DAILEY:
  22       A. Saturday.                                   22      Q. Did Dorat discuss with you any of the
  23       Q. And are you in the same room?               23   questions that he was asked?
  24       A. Yes.                                        24      A. No. His private matter remain private
  25       Q. Are you aware that Wisky and Dorat          25   to him.

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   1   have given depositions like you're giving today?    1      Q. Now, you indicated that at some point
   2         MR. GARABEDIAN: Objection.                    2   you went to a meeting, but you were too late to
   3     A. We didn't -- we were not victim all            3   get into the meeting, is that right?
   4   the same way.                                       4          MR. GARABEDIAN: Objection.
   5   BY MR. DAILEY:                                      5      A. Yes.
   6     Q. Are you aware that Wisky has given a           6   BY MR. DAILEY:
   7   deposition here earlier this week?                  7      Q. Was that the first group of young men
   8         MR. GARABEDIAN: Objection.                    8   from PPT who brought claims?
   9     A. Yes.                                           9          MR. GARABEDIAN: Objection.
  10   BY MR. DAILEY:                                     10      A. Yes.
  11     Q. Are you aware that Dorat has given a          11   BY MR. DAILEY:
  12   deposition earlier this week?                      12      Q. And were you trying to get into that
  13         MR. GARABEDIAN: Objection.                   13   meeting?
  14     A. Yes.                                          14      A. Yes.
  15   BY MR. DAILEY:                                     15      Q. Who told you that there was a meeting
  16     Q. Do the three of you eat your meals            16   where young men were going to be bringing
  17   together?                                          17   claims?
  18     A. We don't eat together. Sometimes one          18          MR. GARABEDIAN: Objection.
  19   goes to eat, and without the others.               19      A. Nobody told me. Rumors.
  20     Q. When the three of you are in the room         20   BY MR. DAILEY:
  21   together, is anyone else in the room with you?     21      Q. You heard rumors that there was a
  22         MR. GARABEDIAN: Objection.                   22   group of young men who were going to bring
  23     A. No.                                           23   claims --
  24   BY MR. DAILEY:                                     24      A. Yes.
  25     Q. Have the three of you when you're in          25      Q. -- as the result of something that


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   1   Douglas Perlitz had done to them?                   1   to try to get into the first group?
   2      A. Yes.                                          2           MR. GARABEDIAN: Objection.
   3      Q. Do you remember about when that was?          3      A. We didn't discuss anything. They told
   4      A. No.                                           4   us it's too late, we can't come. It's too late,
   5      Q. Was it after you had come back from           5   we can't come in, go in, so we just left.
   6   the Dominican Republic?                             6   BY MR. DAILEY:
   7          MR. GARABEDIAN: Objection.                   7      Q. Did you know any of the young men who
   8      A. Yes.                                          8   were inside?
   9   BY MR. DAILEY:                                      9           MR. GARABEDIAN: Objection.
  10      Q. About how long after you came back           10      A. I don't remember all of them. I know
  11   from the Dominican Republic was it?                11   some of them.
  12          MR. GARABEDIAN: Objection.                  12   BY MR. DAILEY:
  13      A. I don't remember.                            13      Q. And who do you remember that was
  14   BY MR. DAILEY:                                     14   inside?
  15      Q. Was it more or less than a year after        15           MR. GARABEDIAN: Objection.
  16   you came back from the Dominican Republic?         16      A. Jean Gary, Peterson, Peterson again,
  17      A. I don't remember.                            17   Benson, Wilnik, Francilien, Joseph, Nabon,
  18      Q. Who was it that told you that you were       18   Robens. I don't remember the others.
  19   too late to get in with the first group?           19   BY MR. DAILEY:
  20          MR. GARABEDIAN: Objection.                  20      Q. At some later time, did you learn that
  21      A. When I got there, a security guard           21   some of them had got money?
  22   told me I won't be able to come in, when he said   22           MR. GARABEDIAN: Objection.
  23   I couldn't come in --                              23      A. Yes.
  24          MR. GARABEDIAN: Hold on a second.           24   BY MR. DAILEY:
  25          THE VIDEOGRAPHER: We're going to need       25      Q. Have you spoken to them after you were


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   1   to repeat some of that answer. So if you could      1   turned away from the meeting to ask them whether
   2   repeat the translation?                             2   they could help you to get into the group, the
   3         Going off the record. The time is             3   first group?
   4   3:38.                                               4          MR. GARABEDIAN: Objection.
   5         (Power outage.)                               5      A. No, I never told them anything.
   6         THE VIDEOGRAPHER: Back on the record.         6   BY MR. DAILEY:
   7   The time is 3:40.                                   7      Q. At some time did you see that any of
   8   BY MR. DAILEY:                                      8   that first group had new cars?
   9      Q. The security guard told you that you          9          MR. GARABEDIAN: Objection.
  10   were too late to get into the first group?         10      A. Yes.
  11      A. The security guard told me I couldn't        11   BY MR. DAILEY:
  12   come in, too late.                                 12      Q. And what new cars did you see? What
  13      Q. Too late.                                    13   kind of cars were they that they got?
  14         And was anyone else with you at the          14          MR. GARABEDIAN: Objection.
  15   time?                                              15      A. I don't know. I don't know the brand,
  16      A. Yes, there were other people.                16   the make.
  17      Q. About how many?                              17   BY MR. DAILEY:
  18      A. Nickenson, and a friend called               18      Q. Do you remember the color, for
  19   Ti Sida, Little AIDS, Lavisa. That's it.           19   example, of the cars that any of them had?
  20      Q. When you heard that, did you then talk       20      A. No.
  21   with the others that you were with?                21      Q. Were they utility cars, utility
  22         MR. GARABEDIAN: Objection.                   22   vehicles?
  23      A. No.                                          23          MR. GARABEDIAN: Objection.
  24   BY MR. DAILEY:                                     24      A. Yes.
  25      Q. Did you talk about what you should do        25          THE INTERPRETER: Yes, I understand


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   1    what you're saying because I explained to him,     1      A. Just one person that is not among
   2    but can you ask the question again? Because he     2   them.
   3    answered me, not you.                              3   BY MR. DAILEY:
   4            MR. DAILEY: Sure.                          4      Q. Who is that?
   5    BY MR. DAILEY:                                     5      A. Elius did not find justice.
   6       Q. Were they utility vehicles that you          6      Q. Is Wisky, Wisky Jerome?
   7    saw that some of the people in the first group     7          MR. GARABEDIAN: Objection.
   8    got?                                               8      A. No, they did not.
   9            MR. GARABEDIAN: Objection.                 9   BY MR. DAILEY:
  10       A. I don't remember.                           10      Q. Did the others -- do you say did they
  11    BY MR. DAILEY:                                    11   receive justice?
  12       Q. Was that justice that they got?             12          MR. GARABEDIAN: Objection.
  13            MR. GARABEDIAN: Objection.                13      A. Yes.
  14       A. They found justice.                         14   BY MR. DAILEY:
  15    BY MR. DAILEY:                                    15      Q. So everyone but Wisky, Dorat, and
  16       Q. And are you looking for the same type       16   Elius you say got money?
  17    of justice?                                       17          MR. GARABEDIAN: Objection.
  18            MR. GARABEDIAN: Objection.                18      A. And Wilnaud also.
  19       A. I'm looking for justice. The judge          19   BY MR. DAILEY:
  20    will look for justice for me.                     20      Q. They did not get money?
  21    BY MR. DAILEY:                                    21      A. They haven't found justice. They
  22       Q. And is the justice that you're looking      22   didn't get justice.
  23    for, is that in dollars?                          23      Q. When was it that they shared the
  24            MR. GARABEDIAN: Objection.                24   information with you that they had been abused?
  25       A. No, it's not the money. Douglas             25          MR. GARABEDIAN: Objection.


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   1   doesn't have enough money to compensate for. I      1      A. After they got their justice.
   2   want justice, justice, justice.                     2   BY MR. DAILEY:
   3   BY MR. DAILEY:                                      3      Q. Was it before or after you tried to go
   4      Q. Now, after the first meeting that you         4   to the meeting that you were sent away from --
   5   tried to get into, you have indicated in your       5          MR. GARABEDIAN: Objection.
   6   answers to interrogatories, and I'm looking at      6   BY MR. DAILEY:
   7   Number 23 where you were asked this question.       7      Q. -- that they shared this information
   8   "Identify all persons who you believe were          8   with you?
   9   sexually abused by Perlitz from 1998 to 2008,       9          MR. GARABEDIAN: Objection.
  10   and for each person so identify and state the      10      A. After they got justice.
  11   basis for your belief." And you answered "I        11   BY MR. DAILEY:
  12   believe Renel Oldibert, Wisky, Dorat, Simon,       12      Q. On the last page of your answers,
  13   Jimmy, Wilnaud, Wendy, Elius Dimitry, Jean-Gary,   13   there is a verification, and it is signed under
  14   and Simon were abused by Douglas because they      14   the pains and penalties of perjury this 11th day
  15   shared that with me."                              15   of July, 2014.
  16          When did they share that information        16          Do you see that?
  17   with you?                                          17          MR. GARABEDIAN: Objection.
  18      A. When they told me that --                    18      A. Do I see this?
  19          MR. GARABEDIAN: Objection.                  19   BY MR. DAILEY:
  20      A. -- after they found their justice,           20      Q. Do you see it?
  21   after they found justice.                          21      A. I see it in the paper here.
  22   BY MR. DAILEY:                                     22      Q. Did you sign that on the 11th day of
  23      Q. Did each of these individuals get            23   July, 2014?
  24   justice?                                           24      A. I don't remember.
  25          MR. GARABEDIAN: Objection.                  25      Q. Do you remember where you were when


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   1   you signed this? Did you say you were at a         1   BY MR. DAILEY:
   2   hotel?                                             2      Q. Did you yourself read the answers,
   3      A. Yes, I was at a hotel. I don't               3   you?
   4   remember -- I don't remember the date.             4          MR. GARABEDIAN: Objection.
   5      Q. Do you remember that other people were       5      A. An interpreter read them to me.
   6   there that day signing their papers?               6   BY MR. DAILEY:
   7          MR. GARABEDIAN: Objection.                  7      Q. Did an interpreter read each of the
   8      A. Yes, there were other people.                8   answers to you?
   9   BY MR. DAILEY:                                     9          MR. GARABEDIAN: Objection.
  10      Q. About how many other people were there      10      A. Yes.
  11   that day signing?                                 11   BY MR. DAILEY:
  12      A. Emmanuel Clervil, Jose Bernardin,           12      Q. When the interpreter read to you the
  13   Eliphete, Joel. I don't remember any more.        13   information in interrogatory answer number 23
  14      Q. Did you talk to Emmanuel about the          14   that Wisky and Dorat and others had shared the
  15   abuse that he said he had experienced?            15   information with you, had shared the information
  16          MR. GARABEDIAN: Objection.                 16   with you, what did you mean by that?
  17          I instruct him not to answer as to any     17          MR. GARABEDIAN: Objection.
  18   conversations between his lawyer. He can answer   18      A. When I gave the answer because I said
  19   that question.                                    19   I was a victim, a woman, a girl not used to go
  20   BY MR. DAILEY:                                    20   with guys, when she finds a man who has sex with
  21      Q. Did you discuss with Emmanuel any           21   her, that she doesn't walk the same way that she
  22   abuse that he said that he had received from      22   used to walk before she had sex.
  23   Douglas Perlitz?                                  23   BY MR. DAILEY:
  24      A. No, no.                                     24      Q. Prior to the time that you say Douglas
  25      Q. And were they there signing their           25   Perlitz had abused you, had you had sexual


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   1    papers in the hotel that day?                     1   relations with any woman?
   2      A. Yes.                                         2          MR. GARABEDIAN: Objection.
   3      Q. Were you all there together?                 3      A. No.
   4      A. Yes.                                         4   BY MR. DAILEY:
   5      Q. Now, these answers, did you read them        5      Q. When was the first time that you had
   6    over?                                             6   sex with any woman?
   7           MR. GARABEDIAN: Objection.                 7      A. Afterwards.
   8      A. Somebody -- there was an interpreter         8      Q. How long afterwards?
   9    helping.                                          9          MR. GARABEDIAN: Objection.
  10    BY MR. DAILEY:                                   10      A. I don't remember.
  11      Q. Did -- let's start with this.               11   BY MR. DAILEY:
  12           Did you read these answers yourself?      12      Q. Give us your best estimate.
  13           MR. GARABEDIAN: Objection.                13          MR. GARABEDIAN: Objection.
  14      A. There were people reading it for me.        14      A. I don't remember. I don't remember.
  15    BY MR. DAILEY:                                   15   BY MR. DAILEY:
  16      Q. Were you able yourself to read these        16      Q. You don't remember the name of the
  17    answers?                                         17   person, the woman who you first had sex with?
  18           MR. GARABEDIAN: Objection.                18          MR. GARABEDIAN: Objection.
  19      A. No.                                         19      A. Yes, I remember her name, but I don't
  20    BY MR. DAILEY:                                   20   know --
  21      Q. Were you given the answers to read?         21   BY MR. DAILEY:
  22    And I'm talking about answers such as "are in    22      Q. What was her name?
  23    our translator's hands"?                         23      A. Angeline.
  24           MR. GARABEDIAN: Objection.                24      Q. Angeline?
  25      A. Yes.                                        25      A. Angeline.


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   1      Q. And did you have any problems when you     1   Angeline didn't know it was, that I was going to
   2   were having sex with her?                        2   a friend's house with her.
   3          MR. GARABEDIAN: Objection.                3      Q. Who was the friend?
   4      A. Yes.                                       4          MR. GARABEDIAN: Objection.
   5   BY MR. DAILEY:                                   5      A. Wilfred.
   6      Q. And how old was Angeline at the time?      6   BY MR. DAILEY:
   7          MR. GARABEDIAN: Objection.                7      Q. Is Wilfred a PPT young man?
   8      A. I don't remember.                          8      A. No.
   9   BY MR. DAILEY:                                   9      Q. Have you continued to have sexual
  10      Q. How old were you?                         10   relations with Angeline for the last five years?
  11      A. I don't know. I don't remember.           11          MR. GARABEDIAN: Objection.
  12      Q. Was Angeline younger?                     12      A. This is -- these are personal
  13      A. I don't remember. But I'm older than      13   questions.
  14   she is.                                         14   BY MR. DAILEY:
  15      Q. Where was it that you first had sex       15      Q. During the five years that you have
  16   with Angeline?                                  16   known Angeline, approximately how often per week
  17          MR. GARABEDIAN: Objection.               17   have you had sex with Angeline?
  18      A. At a friend's house. At one of my         18          MR. GARABEDIAN: Objection.
  19   friend's house.                                 19      A. This is my personal question.
  20   BY MR. DAILEY:                                  20   BY MR. DAILEY:
  21      Q. And is Angeline the mother of your        21      Q. Have you had sexual relations with any
  22   child?                                          22   other young women?
  23      A. Yes.                                      23      A. No.
  24      Q. And how long have you known Angeline?     24      Q. Angeline is the only young woman you
  25      A. I've been five years with her.            25   have had sexual relations with?


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   1      Q. And how often do you have sex with         1      A. Yes.
   2   Angeline?                                        2      Q. Do you continue to the present time to
   3          MR. GARABEDIAN: Objection.                3   have sexual relations with Angeline?
   4      A. This is my personal stuff.                 4          MR. GARABEDIAN: Objection.
   5   BY MR. DAILEY:                                   5      A. This is my personal stuff.
   6      Q. How often do you have sex with             6   BY MR. DAILEY:
   7   Angeline?                                        7      Q. When the interpreter was with you, do
   8      A. This is my personal stuff.                 8   you remember the interpreter's name who was
   9          MR. GARABEDIAN: Can we take a break       9   reading your answers and the questions?
  10   for a second?                                   10          MR. GARABEDIAN: Objection.
  11          MR. DAILEY: No, there are questions      11      A. No.
  12   here. I think it's fair that we explore this.   12   BY MR. DAILEY:
  13          MR. GARABEDIAN: Okay.                    13      Q. Was anyone else there at the time?
  14          MR. DAILEY: I don't need your help,      14      A. I don't remember.
  15   Mitch.                                          15      Q. Was the same interpreter reading
  16   BY MR. DAILEY:                                  16   questions for the other people who had come to
  17      Q. And when you had sex with Angeline,       17   sign their answers?
  18   you indicated it was at a friend's house?       18          MR. GARABEDIAN: Objection.
  19          MR. GARABEDIAN: Objection.               19      A. Yes, the same was there.
  20      A. Angeline didn't know if it was a          20   BY MR. DAILEY:
  21   friend's house.                                 21      Q. Were these answers that are before you
  22   BY MR. DAILEY:                                  22   today, were they all prepared when you got
  23      Q. You don't know if it was at a friend's    23   there?
  24   house?                                          24          MR. GARABEDIAN: Objection.
  25      A. I knew it was a friend's house. But       25      A. I don't understand.


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   1   BY MR. DAILEY:                                     1   verification on the back, is that right?
   2      Q. Were the answers typed when you got          2          MR. GARABEDIAN: Objection.
   3   there?                                             3     A. Yes, I wrote my signature.
   4          MR. GARABEDIAN: Objection.                  4   BY MR. DAILEY:
   5      A. Over the phone, they called me, we           5     Q. And on this line at the top right
   6   were talking.                                      6   under the word "verification," does your name
   7          MR. GARABEDIAN: I object. To the            7   appear in handwriting?
   8   extent he's going to discuss attorney/client       8     A. Yes.
   9   relations, discussions, I instruct him not to      9     Q. Did you write that in?
  10   answer.                                           10     A. Yes.
  11   BY MR. DAILEY:                                    11     Q. And you also signed down below, is
  12      Q. Were these answers typed when you got       12   that right?
  13   there?                                            13     A. Yes.
  14      A. They told me not to answer.                 14     Q. And you said that you, "Jose
  15      Q. No, no. What I'm asking you is; when        15   Bernardin, have read the foregoing answers and
  16   you got there to sign the answers, were they      16   they are true and accurate to the best of my
  17   already typed?                                    17   abilities"?
  18      A. Yes.                                        18          MR. GARABEDIAN: Objection.
  19      Q. While the interpreter was reading you       19     A. Yes.
  20   the questions and the answers, were any changes   20   BY MR. DAILEY:
  21   made to that document?                            21     Q. You did not read these yourself, is
  22          MR. GARABEDIAN: Objection.                 22   that right?
  23      A. I don't recall. I don't remember.           23          MR. GARABEDIAN: Objection.
  24   BY MR. DAILEY:                                    24     A. The interpreter read it for me.
  25      Q. Well, when you went there that day to       25   BY MR. DAILEY:

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   1    sign the answers, did you sign them that day?     1      Q. And you understood everything that the
   2           MR. GARABEDIAN: Objection.                 2   translator said, is that right?
   3       A. I signed my name.                           3          MR. GARABEDIAN: Objection.
   4    BY MR. DAILEY:                                    4      A. Yes.
   5       Q. On the day that you went to the             5   BY MR. DAILEY:
   6    meeting at the hotel, is that right?              6      Q. And all of these answers that you've
   7           MR. GARABEDIAN: Objection.                 7   given are true?
   8       A. What meeting?                               8      A. Yes.
   9    BY MR. DAILEY:                                    9      Q. And we can rely on your answers,
  10       Q. You went to the hotel to sign these        10   right?
  11    answers, is that right?                          11          MR. GARABEDIAN: Objection.
  12       A. Yes.                                       12      A. Yes.
  13       Q. When you got to the hotel, the answers     13   BY MR. DAILEY:
  14    were already prepared, is that right?            14      Q. You're not saying today that you have
  15           MR. GARABEDIAN: Objection.                15   any changes to these answers, right?
  16       A. Yes.                                       16          MR. GARABEDIAN: Objection.
  17    BY MR. DAILEY:                                   17      A. Changes? For people to make changes
  18       Q. Had you been at another meeting, at        18   for me, or me to make my own changes?
  19    another meeting where the answers were being     19   BY MR. DAILEY:
  20    typed up?                                        20      Q. Have you seen anything in those
  21           MR. GARABEDIAN: Objection.                21   answers that is not correct?
  22       A. I don't remember.                          22          MR. GARABEDIAN: Objection.
  23    BY MR. DAILEY:                                   23      A. Everything is correct.
  24       Q. When the answers were given to you,        24   BY MR. DAILEY:
  25    you have told us that you signed the             25      Q. Now, you mentioned that you have


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   1    brothers, is that right? And they're older than    1     A. They're not here. They're in
   2    you?                                               2   Port Au Prince.
   3      A. Just one is older.                            3     Q. Now, Sam doesn't have a job, right?
   4      Q. And one is younger?                           4     A. No.
   5      A. Yes.                                          5     Q. He doesn't have a job?
   6      Q. How much younger?                             6     A. No.
   7      A. He's three years younger.                     7     Q. And he told you he doesn't have a job?
   8      Q. So he would be 21 today?                      8     A. He's not working.
   9      A. No.                                           9     Q. When was the last time that he worked?
  10      Q. How old are you today?                       10         MR. GARABEDIAN: Objection.
  11          MR. GARABEDIAN: Objection.                  11     A. I don't know.
  12      A. I'm 27.                                      12   BY MR. DAILEY:
  13    BY MR. DAILEY:                                    13     Q. Was he ever abused by --
  14      Q. And your brother would be -- your            14     A. I don't meet him.
  15    younger brother would be how old?                 15     Q. Was he ever abused by Douglas Perlitz?
  16      A. He's 24 or 25. I don't remember.             16         MR. GARABEDIAN: Objection.
  17      Q. Is Sam your brother who is older?            17     A. No, he wasn't there.
  18      A. Angelo.                                      18   BY MR. DAILEY:
  19      Q. Angelo is older?                             19     Q. Did anyone ever call him one of
  20      A. Angelo is younger.                           20   Douglas's girlfriends?
  21      Q. Is Angelo in good health?                    21         MR. GARABEDIAN: Objection.
  22          MR. GARABEDIAN: Objection.                  22     A. No.
  23      A. I don't know. I don't live with him.         23   BY MR. DAILEY:
  24    BY MR. DAILEY:                                    24     Q. And your other brother, Angelo, he
  25      Q. Well, as far as you know, is Angelo in       25   doesn't have a job either, does he?

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   1    good health?                                       1      A. No.
   2           MR. GARABEDIAN: Objection.                  2          MR. GARABEDIAN: Objection.
   3      A. I don't know. We don't live the same          3   BY MR. DAILEY:
   4    place.                                             4      Q. And was he ever abused by Douglas?
   5    BY MR. DAILEY:                                     5      A. I don't know.
   6      Q. Is Sam in good health?                        6      Q. Was he at PPT?
   7      A. We don't -- I don't live with him. I          7      A. He was in 13th Street.
   8    don't know.                                        8      Q. Did he ever tell you he was abused?
   9      Q. The last time you saw each of them,           9          MR. GARABEDIAN: Objection.
  10    was he in good health?                            10      A. No.
  11      A. I haven't seen them. I've never seen         11   BY MR. DAILEY:
  12    them.                                             12      Q. Did anyone ever call him Douglas's
  13      Q. You've never seen either one of your         13   girlfriend?
  14    brothers?                                         14          MR. GARABEDIAN: Objection.
  15           MR. GARABEDIAN: Objection.                 15      A. No.
  16      A. No. We never -- we talk on the phone.        16   BY MR. DAILEY:
  17    We never meet.                                    17      Q. Now, you have sisters, is that right?
  18    BY MR. DAILEY:                                    18      A. Yes.
  19      Q. Did either one of them ever tell you         19      Q. And how many sisters do you have?
  20    that they were not in good health?                20      A. Five.
  21           MR. GARABEDIAN: Objection.                 21      Q. And who is the oldest?
  22      A. They never told me that.                     22      A. Jorane.
  23    BY MR. DAILEY:                                    23      Q. Jorane lives in Cap-Haïtian, does she?
  24      Q. And they both live in the area where         24          MR. GARABEDIAN: Objection.
  25    you are?                                          25      A. She's not here. She lives in Pladeau


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   1    Cendral.                                           1   BY MR. DAILEY:
   2    BY MR. DAILEY:                                     2       Q. And that was providing the light, was
   3      Q. And she doesn't have a job, right?            3   it, that was down in the bedroom?
   4      A. No.                                           4       A. Yes.
   5      Q. And Angeline, is she a sister?                5       Q. And could you see clearly when you
   6      A. Yes.                                          6   went into the bedroom?
   7      Q. And does Angeline have a job?                 7       A. I didn't see clearly because it didn't
   8      A. No.                                           8   fully light all of it.
   9      Q. Is Josie a sister?                            9       Q. When you first went into the bedroom
  10      A. Yes.                                         10   and Douglas spoke to you, you indicated that he
  11      Q. Does she have a job?                         11   gave you some covers, and you laid down on the
  12      A. No.                                          12   floor, is that right?
  13      Q. Is Eglanta a sister?                         13           MR. GARABEDIAN: Objection.
  14      A. Yes.                                         14       A. A sheet.
  15      Q. Does she have a job?                         15   BY MR. DAILEY:
  16      A. No.                                          16       Q. And you went to sleep?
  17      Q. And Esther, is she a sister?                 17       A. Yes.
  18      A. Yes.                                         18       Q. And then you woke up?
  19      Q. Is she in Cap-Haïtian?                       19           MR. GARABEDIAN: Objection.
  20      A. She's in Port Au Prince.                     20       A. Yes.
  21         MR. GARABEDIAN: Objection.                   21   BY MR. DAILEY:
  22    BY MR. DAILEY:                                    22       Q. When you woke up, was Douglas Perlitz
  23      Q. Has she just gone to Port Au Prince?         23   naked?
  24         MR. GARABEDIAN: Objection.                   24       A. When he woke me up, he was all naked.
  25      A. Yes.                                         25       Q. And when you woke up, were you naked?


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   1    BY MR. DAILEY:                                     1     A. No, I had my clothes on.
   2       Q. Was she in Cap-Haïtian before?               2     Q. So when you put the cover on you, you
   3       A. No. She was outside of the Cap, and          3   had the cover on top of you?
   4    then she went to Port Au Prince.                   4     A. Yes.
   5       Q. Does she have a job?                         5     Q. And Douglas Perlitz woke you up?
   6       A. No.                                          6     A. Yes.
   7       Q. Now, you mentioned that Douglas              7     Q. About how long had you been asleep, if
   8    Perlitz had you come to Bel Air, is that right?    8   you know?
   9       A. Yes.                                         9          MR. GARABEDIAN: Objection.
  10       Q. And you said that he abused you at          10     A. I don't know.
  11    Bel Air?                                          11   BY MR. DAILEY:
  12       A. Yes.                                        12     Q. Had you ever seen anyone in the
  13       Q. And was that in his bedroom do you say      13   house --
  14    that this happened?                               14          MR. GARABEDIAN: Objection.
  15       A. Yes.                                        15   BY MR. DAILEY:
  16       Q. When he was in the bedroom, you             16     Q. -- from the time you arrived up until
  17    indicated that he had an iPad that you saw as     17   the time you went into Douglas Perlitz's room?
  18    you came towards the bedroom, is that right?      18          MR. GARABEDIAN: Objection.
  19           MR. GARABEDIAN: Objection.                 19     A. No.
  20       A. I don't know what an iPad is.               20   BY MR. DAILEY:
  21    BY MR. DAILEY:                                    21     Q. Did you ever see anyone at the house
  22       Q. Did he have some -- did he have a           22   before you left the house in the morning?
  23    laptop?                                           23     A. No.
  24           MR. GARABEDIAN: Objection.                 24     Q. When you went to the hospital, you say
  25       A. Yes.                                        25   that you stayed there for three days?


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   1        A. Yes.                                     1   willing to answer the questions that he refused
   2        Q. Did they take your name when you went    2   to answer earlier if you want to ask them.
   3    in?                                             3   Thank you.
   4           MR. GARABEDIAN: Objection.               4   BY MR. DAILEY:
   5        A. Yes.                                     5      Q. The meeting that you went to where the
   6    BY MR. DAILEY:                                  6   first group was present, and you could not get
   7        Q. Have you seen any records from the       7   in, did you leave the place where the meeting
   8    hospital?                                       8   was.
   9        A. The file --                              9      A. I left. I didn't stay.
  10           MR. GARABEDIAN: Objection.              10      Q. Where was the meeting?
  11        A. The hospital file stayed with my        11            MR. GARABEDIAN: Objection.
  12    mother.                                        12      A. Ruben Street Boulevard.
  13    BY MR. DAILEY:                                 13   BY MR. DAILEY:
  14        Q. Have you requested copies of the        14      Q. Was it at a hotel?
  15    records from the hospital?                     15      A. Yes.
  16           MR. GARABEDIAN: Objection.              16      Q. Did you see any people going into the
  17        A. No. Why would I ask? I don't need       17   meeting?
  18    it.                                            18      A. No.
  19    BY MR. DAILEY:                                 19      Q. Now, after you left, at some later
  20        Q. Have you ever filled out any form so    20   time you and Wisky and Dorat put together a
  21    that records could be obtained from the        21   list, is that right?
  22    hospital?                                      22            MR. GARABEDIAN: Objection.
  23           MR. GARABEDIAN: Objection.              23      A. I don't understand what you're saying.
  24        A. I don't understand.                     24   BY MR. DAILEY:
  25    BY MR. DAILEY:                                 25      Q. At some later time after this first

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   1     Q. Did anyone ask you to fill out a form       1   meeting, did Walky ask you and Wisky and Dorat
   2   so that hospital records could be obtained?      2   to put together a list of people who said they
   3     A. No.                                         3   had been abused?
   4         MR. GARABEDIAN: Objection.                 4           MR. GARABEDIAN: Objection.
   5   BY MR. DAILEY:                                   5       A. Yes.
   6     Q. After the time at the Justinien             6   BY MR. DAILEY:
   7   Hospital, did you go back to the Justinien       7       Q. About how long after that meeting was
   8   Hospital at all that year?                       8   it that you were asked to put together the list
   9     A. No.                                         9   by Walky?
  10     Q. And what year was that that you say        10           MR. GARABEDIAN: Objection.
  11   that you were at the Justinien Hospital?        11       A. After this meeting, nobody told us.
  12         MR. GARABEDIAN: Objection.                12   It's after these guys found justice that
  13     A. I don't remember.                          13   everybody went after that own justice.
  14         THE INTERPRETER: He's raising his         14   BY MR. DAILEY:
  15   hand. I think needs to go somewhere. A little   15       Q. After the first group got their money
  16   pause, please.                                  16   justice, is that when you were asked to put
  17         MR. GARABEDIAN: He wants to take a        17   together the list?
  18   break.                                          18           MR. GARABEDIAN: Objection.
  19         MR. DAILEY: Sure.                         19       A. After they found justice, the guys
  20         THE VIDEOGRAPHER: Going off the           20   went to the radio to talk to Cyrus. Cyrus
  21   record. The time is 4:22.                       21   called police on them. When the police came,
  22         (Whereupon, a recess was taken.)          22   they fled the radio. When Cyrus came to talk to
  23         THE VIDEOGRAPHER: Back on the record.     23   the guys, he told them "make a list," they will
  24   The time is 4:34.                               24   send the list to Mitch, and Mitch will call
  25         MR. GARABEDIAN: Bill, my client is        25   them.


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   1    BY MR. DAILEY:                                     1           MR. GARABEDIAN: Objection.
   2       Q. Was it after the group, the first            2      A. Yes, Dorat, Wisky and I.
   3    group got their money justice, that you put --     3   BY MR. DAILEY:
   4    you and Wisky and Dorat put together the list?     4      Q. Did you bring the same list, or did
   5            MR. GARABEDIAN: Objection.                 5   you each have a list?
   6       A. When they found -- they got justice,         6      A. Same list.
   7    we wanted to get our justice, too.                 7      Q. And did the three of you go together
   8    BY MR. DAILEY:                                     8   to get people to sign the list?
   9       Q. So you started to put together a list        9           MR. GARABEDIAN: Objection.
  10    after you saw that they had the automobiles?      10      A. Yes. Everybody that was there, we put
  11       A. When they got their justice, that's         11   their name on the list. And after that we
  12    when we went to see Cyrus. Then they were         12   called Cyrus, we told Cyrus "we're done." "We
  13    making a lot of noise in front of the radio,      13   don't need to all come, just one or two people
  14    Cyrus called the police. When the police came,    14   should come to bring the list." And Dorat,
  15    they left, they fled the radio station. Cyrus     15   Wisky and I, we brought the list to Cyrus.
  16    came out to talk to them, tell them "make a       16   BY MR. DAILEY:
  17    list, put your names and phone numbers" so that   17      Q. And when you put together the list,
  18    Mitch could talk to them.                         18   did you tell the people who came to sign the
  19       Q. So at that point you understood that        19   list themselves, or did you put their name down
  20    the first group had got money justice?            20   on the list?
  21            MR. GARABEDIAN: Objection.                21           MR. GARABEDIAN: Objection.
  22       A. The first group, they found justice         22      A. Those who could not write -- those who
  23    that the guys were claiming that they wanted to   23   could write their names they put themselves.
  24    get their own justice also.                       24   Those who could not, we wrote for them.
  25    BY MR. DAILEY:                                    25   BY MR. DAILEY:

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   1      Q. All right. So after the first group           1      Q. Did you tell them what the purpose of
   2   got their money justice, the second group wanted    2   the list was?
   3   to get some money justice, is that right?           3          MR. GARABEDIAN: Objection.
   4          MR. GARABEDIAN: Objection.                   4      A. No.
   5      A. That's all they wanted. They just             5   BY MR. DAILEY:
   6   wanted justice. That's all they were looking        6      Q. Did you tell them that the reason that
   7   for.                                                7   you were going around with the list was to see
   8   BY MR. DAILEY:                                      8   if you could get them money justice?
   9      Q. And when you say "they wanted                 9          MR. GARABEDIAN: Objection.
  10   justice," you were one of the group that wanted    10      A. They don't need money. They want
  11   the money justice, right?                          11   justice. Justice, they want justice. Because
  12          MR. GARABEDIAN: Objection.                  12   of Douglas abused them, they want justice.
  13      A. Yes, we wanted justice.                      13   BY MR. DAILEY:
  14   BY MR. DAILEY:                                     14      Q. Did you know that the first group had
  15      Q. Right.                                       15   received money justice?
  16          And you were one of the ones that           16          MR. GARABEDIAN: Objection.
  17   wanted money justice, you yourself, right?         17      A. The first group got justice. We want
  18          MR. GARABEDIAN: Objection.                  18   justice. That's what we want, justice. We
  19      A. I don't need money. I want justice.          19   don't ask for money. Douglas doesn't have
  20   The judge will decide the justice that I get.      20   enough money to compensate. He ruined our
  21   Douglas doesn't have enough money to compensate    21   future, as what Douglas did to us will always
  22   us. I just want -- I'm looking for justice.        22   stay with us. We can never forget.
  23   BY MR. DAILEY:                                     23   BY MR. DAILEY:
  24      Q. Were you one of the ones that brought        24      Q. Did the first group use their justice
  25   around a list to have people put their names on?   25   to buy automobiles?


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   1            MR. GARABEDIAN: Objection.               1      A. More than 24. I don't remember.
   2       A. I don't know.                              2   BY MR. DAILEY:
   3    BY MR. DAILEY:                                   3      Q. More than 24. Could it be as many as
   4       Q. Where did they get the money to buy        4   40?
   5    the autos?                                       5          MR. GARABEDIAN: Objection.
   6            MR. GARABEDIAN: Objection.               6      A. I don't remember.
   7       A. They found their justice. They got         7   BY MR. DAILEY:
   8    justice. I don't know.                           8      Q. Could it have been 60?
   9    BY MR. DAILEY:                                   9          MR. GARABEDIAN: Objection.
  10       Q. All right. They used the justice to       10      A. I don't remember.
  11    buy the automobiles?                            11   BY MR. DAILEY:
  12            MR. GARABEDIAN: Objection.              12      Q. Could it have been as many as 90?
  13       A. They just -- they didn't use justice.     13          MR. GARABEDIAN: Objection.
  14    They just bought cars to -- for their own       14      A. I don't remember.
  15    pleasure.                                       15   BY MR. DAILEY:
  16    BY MR. DAILEY:                                  16      Q. So you don't know whether it was 24,
  17       Q. And where did they get the money to       17   or 90, or somewhere in-between?
  18    buy the cars for their own pleasure?            18          MR. GARABEDIAN: Objection.
  19            MR. GARABEDIAN: Objection.              19      A. More than 80.
  20       A. They got justice. They were able to       20   BY MR. DAILEY:
  21    buy cars.                                       21      Q. More than 80. Okay.
  22    BY MR. DAILEY:                                  22          How long did it take you to get the
  23       Q. How many names did you get on this        23   list?
  24    list that you and Wisky and Dorat brought       24      A. Not a long time. The people who were
  25    around?                                         25   at the radio signed their names.

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   1       A. We found more than 24.                     1      Q. And when you say "not long," did it
   2           MR. GARABEDIAN: Objection.                2   take you less than a day to get the list?
   3    BY MR. DAILEY:                                   3          MR. GARABEDIAN: Objection.
   4       Q. Is there a list now of about 90?           4      A. Not the entire day.
   5           MR. GARABEDIAN: Objection.                5   BY MR. DAILEY:
   6       A. I don't remember. I don't remember.        6      Q. So in less than a day you got the
   7    BY MR. DAILEY:                                   7   list?
   8       Q. How many people were at the Village --     8      A. Three or four hours.
   9           MR. GARABEDIAN: Objection.                9      Q. So you got the list in three or
  10    BY MR. DAILEY:                                  10   four hours, is that right?
  11       Q. -- on a usual day?                        11          MR. GARABEDIAN: Objection.
  12           MR. GARABEDIAN: Objection.               12      A. We did. We wrote our names.
  13       A. A lot, a lot. I don't know.               13   BY MR. DAILEY:
  14    BY MR. DAILEY:                                  14      Q. Did you -- when you had the list
  15       Q. Can you give us an estimate?              15   there, and people came to sign the list, did you
  16           MR. GARABEDIAN: Objection.               16   ask them what Douglas did to them?
  17       A. In the list?                              17          MR. GARABEDIAN: Objection.
  18    BY MR. DAILEY:                                  18      A. No.
  19       Q. You got a list, is that right?            19   BY MR. DAILEY:
  20       A. It's because of the list that we have,    20      Q. Did you ask them in any way what
  21    that you're asking how many people we have on   21   Douglas had done to them?
  22    the list?                                       22      A. No. This is private stuff.
  23       Q. How many people did you get on your       23          MR. GARABEDIAN: Objection.
  24    list?                                           24   BY MR. DAILEY:
  25           MR. GARABEDIAN: Objection.               25      Q. And you just told them to sign the


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   1   list, is that it?                                   1   flare up.
   2           MR. GARABEDIAN: Objection.                  2      Q. Did you go in 2005 or 2006 to the
   3      A. No. The ones who went to the radio to         3   Justinien Hospital for any problems?
   4   claim, we were the ones who wrote their names.      4          MR. GARABEDIAN: Objection.
   5   Those who could not write their names, we wrote     5      A. No.
   6   for them.                                           6   BY MR. DAILEY:
   7   BY MR. DAILEY:                                      7      Q. Did you go in 2007, 2008, 2009 to the
   8      Q. I understand. But I'm asking, whether         8   Justinien Hospital?
   9   you wrote their names down or they wrote their      9      A. I went when Douglas did the gay thing
  10   names down --                                      10   with me, I was bleeding. That's when I went.
  11           MR. GARABEDIAN: Objection.                 11      Q. What I'm asking you is, in 2007, 2008,
  12   BY MR. DAILEY:                                     12   2009, 2010, did you ever go to the hospital?
  13      Q. -- did you ask what Douglas had done         13      A. After Douglas did this to me I never
  14   to them?                                           14   went again, only in 2015. I just went in
  15           MR. GARABEDIAN: Objection.                 15   January, 2015.
  16      A. No.                                          16      Q. For 11 years you never went to the
  17   BY MR. DAILEY:                                     17   Justinien Hospital for any treatment for
  18      Q. Did you tell them that the purpose of        18   anything that you say that Douglas Perlitz did
  19   writing the name on the list, writing it on the    19   to you, is that right?
  20   list for them --                                   20          MR. GARABEDIAN: Objection.
  21           MR. GARABEDIAN: Objection.                 21      A. My butt did hurt, but I never had
  22   BY MR. DAILEY:                                     22   enough money to go. But in 2015, my butt was
  23      Q. -- was to get money justice?                 23   hurting so much, I explained to Cyrus, he gave
  24      A. We don't want money, just justice.           24   me money to go to the hospital.
  25   That's what we want, we don't want -- Douglas      25   BY MR. DAILEY:

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   1   doesn't have enough money to compensate us.         1      Q. Have you asked for any records
   2      Q. Whatever the justice was, whether it          2   relating to the visit that you made in 2015?
   3   was going to be money or whatever, did you tell     3          MR. GARABEDIAN: Objection.
   4   them that the purpose of the list was to get        4      A. I don't have this paper.
   5   justice?                                            5   BY MR. DAILEY:
   6          MR. GARABEDIAN: Objection.                   6      Q. When you were with Douglas Perlitz in
   7      A. I did say we were looking to get              7   his bedroom in February of 2004, you indicated
   8   justice. We -- the ones at the radio, we wrote      8   that Douglas Perlitz was naked at some time?
   9   our names. Everybody knew why -- because            9      A. Yes.
  10   everybody knew why they were going to the radio,   10      Q. Did you see any marks on the upper
  11   it was to get justice.                             11   part of his body, on the front?
  12   BY MR. DAILEY:                                     12      A. He did have marks.
  13      Q. And this was after you had seen, and         13      Q. On the front of his body?
  14   the others had seen, that the first group had      14      A. Yes.
  15   got their justice?                                 15      Q. What kind of marks?
  16          MR. GARABEDIAN: Objection.                  16      A. He said it was flesh that his father
  17      A. Yes.                                         17   -- he says his father died in a war.
  18   BY MR. DAILEY:                                     18      Q. I've drawn a figure here. Did Wisky
  19      Q. Now, at the Justinien Hospital, did          19   ever tell you about a figure that he saw?
  20   you go back to the Justinien Hospital in 2004      20      A. No.
  21   after the first time you say you were there?       21      Q. If we assume that that figure shows
  22      A. No, I didn't go back. I just went in         22   the front of Douglas Perlitz's body, and this is
  23   January when it was hurting, I had to go to the    23   the belly button, and this is the belt line,
  24   hospital. I got three shots after that. I          24   would you draw on there where you say you saw
  25   didn't -- but I don't know if it's going to        25   marks on the front of Douglas Perlitz's body?


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   1      A. In his body.                                1   chest?
   2      Q. Draw on there where you saw marks.          2      A. I don't remember.
   3      A. He has several.                             3      Q. Well, where were the marks that you
   4      Q. Well, just draw on there where they         4   saw?
   5   were, maybe with a circle where the marks were    5          MR. GARABEDIAN: Objection.
   6   on the front of his body. Go ahead.               6      A. I don't remember. I remember he had
   7      A. (Drawing).                                  7   all over his body, but I don't remember exactly
   8      Q. Now, all of the marks that you've           8   where.
   9   drawn on here were above the belly button, is     9   BY MR. DAILEY:
  10   that right?                                      10      Q. All right. So when you're pointing
  11      A. I don't remember. You asked me to          11   here, you're pointing to your chest, is that
  12   make marks, so I did.                            12   where you're saying --
  13      Q. Are these marks here at the place          13          MR. GARABEDIAN: Objection.
  14   where you saw the marks on Douglas Perlitz's     14   BY MR. DAILEY:
  15   body as best you can recall?                     15      Q. -- that you saw marks all over his
  16          MR. GARABEDIAN: Object to the use of      16   body?
  17   this diagram.                                    17      A. I don't remember. He had marks on his
  18      A. I don't know. You asked me to draw         18   body.
  19   marks, I did.                                    19      Q. All right. And did he have marks on
  20      Q. What did the marks look like that you      20   his arms?
  21   saw on Douglas Perlitz's body?                   21      A. No.
  22          MR. GARABEDIAN: Objection.                22      Q. Did he have marks on his legs?
  23      A. I don't know.                              23      A. I don't remember.
  24   BY MR. DAILEY:                                   24      Q. So you don't remember any marks on his
  25      Q. Were they red?                             25   legs, and you don't remember any marks on his

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   1      A. Yes.                                        1   arms, right?
   2      Q. All right. Were they round?                 2     A. I don't remember if he had.
   3      A. Yes.                                        3     Q. Before this night, did you know what
   4      Q. And were there many of them?                4   the word gay meant?
   5      A. I don't remember.                           5         MR. GARABEDIAN: Objection.
   6      Q. You're signaling that they were all         6     A. No.
   7    around his chest?                                7   BY MR. DAILEY:
   8      A. I remember he had, but I don't              8     Q. You had never heard the word gay?
   9    remember if all his body was full of it.         9     A. No.
  10      Q. I'm talking about his chest now.           10     Q. When was it that you first heard the
  11      A. I don't remember.                          11   word gay?
  12      Q. Well, you say they were red?               12         (Power outage.)
  13      A. Yes.                                       13         THE VIDEOGRAPHER: Back on the record.
  14      Q. And did you say something about            14   The time is 5:04.
  15    Douglas's father was in the war?                15   BY MR. DAILEY:
  16          MR. GARABEDIAN: Objection.                16     Q. When was it that you first heard
  17      A. He said his father died at war.            17   anyone described as a gay person?
  18    BY MR. DAILEY:                                  18         MR. GARABEDIAN: Objection.
  19      Q. And what did that have to do with the      19     A. I don't understand.
  20    marks on Douglas's body?                        20   BY MR. DAILEY:
  21      A. I don't know.                              21     Q. Are there gay people in Cap-Haïtian?
  22      Q. When you saw the marks, you saw that       22         MR. GARABEDIAN: Objection.
  23    they were red, is that right?                   23     A. I don't know.
  24      A. Yes.                                       24   BY MR. DAILEY:
  25      Q. And you saw that they were on his          25     Q. When was the first time that you heard


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   1    the word gay?                                      1   second time?
   2           MR. GARABEDIAN: Objection.                  2          MR. GARABEDIAN: Objection.
   3      A. First time I heard was when I was             3     A. Yes.
   4    looking for work, they told me "here's the fag     4   BY MR. DAILEY:
   5    with Douglas, we're not taking him" so I won't     5     Q. And did you work at the banana farm on
   6    spoil them at work. That really broke my heart.    6   the second time, too?
   7    BY MR. DAILEY:                                     7     A. Just the first time.
   8      Q. Did you ever see it written in the            8     Q. Where did you work the second time?
   9    graffiti?                                          9     A. I didn't work. I used to find
  10      A. Yes, a lot.                                  10   bottles. I didn't find any work so that I was
  11      Q. Now, did you also see Douglas                11   looking for bottles.
  12    Perlitz's back when he was naked?                 12     Q. And when you worked at the banana
  13      A. I wasn't looking at his body.                13   plantation, you mentioned that you were doing
  14      Q. Did you see his back? That's all I'm         14   heavy work there?
  15    asking.                                           15          MR. GARABEDIAN: Objection.
  16      A. No.                                          16     A. Yes. I used to do groundwork and
  17      Q. Did you see any --                           17   water banana trees.
  18      A. I wasn't looking.                            18   BY MR. DAILEY:
  19      Q. Did you see any tattoos on Douglas           19     Q. Now, I had asked you about the serum
  20    Perlitz?                                          20   and pills. For how long did you take the serum
  21      A. No.                                          21   and pills in 2004?
  22      Q. Did you see any birthmarks on Douglas        22          MR. GARABEDIAN: Objection.
  23    Perlitz?                                          23     A. I don't, I don't.
  24           THE INTERPRETER: It translates the         24   BY MR. DAILEY:
  25    same as marks.                                    25     Q. More than a week.

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   1   BY MR. DAILEY:                                      1           (Power outage.)
   2     Q. All right. So what you saw were red            2           THE VIDEOGRAPHER: Going off the
   3   marks on Douglas Perlitz, and they were all over    3   record. The time is 5:10.
   4   what you could see of the chest, is that right?     4          (Off the record discussion.)
   5         MR. GARABEDIAN: Objection.                    5           THE VIDEOGRAPHER: Back on the record.
   6     A. Yes.                                           6   The time is 5:12.
   7   BY MR. DAILEY:                                      7   BY MR. DAILEY:
   8     Q. You mentioned that you took some syrup         8      Q. For how long did you take the serum
   9   and some pills in 2004, is that right?              9   and pills in 2004?
  10         THE INTERPRETER: 2000 --                     10      A. I spent three days at the hospital.
  11         MR. DAILEY: '4.                              11      Q. How long did you take the serum and
  12     A. Yes. Serum.                                   12   pills in 2004?
  13   BY MR. DAILEY:                                     13           MR. GARABEDIAN: Objection.
  14     Q. Serum and pills?                              14      A. I spent three days with the serum, and
  15     A. Serum.                                        15   when I left the hospital I continued taking
  16     Q. When you were in the Dominican                16   pills and syrup until I no longer felt the pain.
  17   Republic, how long did you work there?             17   BY MR. DAILEY:
  18     A. First time one month, 22 days. I              18      Q. For how long did you take the serum
  19   worked for one month.                              19   and pills?
  20     Q. And did you go back a second time?            20           MR. GARABEDIAN: Objection.
  21     A. I came back in 2007. I went back in           21      A. Three days. After that I left the
  22   2009, and I came back on November 22nd.            22   hospital, they gave me pills, syrup to take home
  23     Q. Of what year?                                 23   every time I have the pain.
  24     A. 2009.                                         24   BY MR. DAILEY:
  25     Q. So you were there for about a year the        25      Q. For how long did you take the serum


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   1    and pills after you left the hospital?              1   instruct him not to answer as to any
   2           MR. GARABEDIAN: Objection.                   2   communication between an attorney and a client.
   3       A. The syrup.                                    3   BY MR. DAILEY:
   4    BY MR. DAILEY:                                      4      Q. Let me give you another question.
   5       Q. Serum, isn't it? Syrup?                       5           What do these people that signed the
   6       A. Syrup.                                        6   list that you brought around with Wisky and
   7       Q. Let me try the question again.                7   Dorat say to you about what is happening?
   8           For how long did you take the syrup          8           MR. GARABEDIAN: Objection.
   9    and pills after you left the hospital?              9      A. They told me when they are together
  10           MR. GARABEDIAN: Objection.                  10   and we happen to meet they say they never --
  11       A. I don't remember.                            11   they don't hear anything about that.
  12    BY MR. DAILEY:                                     12   BY MR. DAILEY:
  13       Q. Would it have been more than a week          13      Q. When you were with Douglas Perlitz --
  14    after you left the hospital?                       14           MR. DAILEY: And let me ask that this
  15           MR. GARABEDIAN: Objection.                  15   be marked as an exhibit, this drawing that
  16       A. I don't remember.                            16   Mr. Bernardin put the marks on.
  17    BY MR. DAILEY:                                     17           (Whereupon, Bernardin Exhibit
  18       Q. More than two weeks?                         18           Number 2, Hand-drawn diagram, was
  19       A. I don't remember.                            19           marked for identification.)
  20       Q. More than a month?                           20   BY MR. DAILEY:
  21           MR. GARABEDIAN: Objection.                  21      Q. And let me come back to the drawing
  22       A. I don't remember.                            22   again, sir. Did Mr. Perlitz have any hair on
  23    BY MR. DAILEY:                                     23   his chest?
  24       Q. You don't remember how long you took         24           MR. GARABEDIAN: Objection as to the
  25    the syrup and pills at all?                        25   use of the drawing.


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   1           MR. GARABEDIAN: Objection.                   1      A. I don't remember.
   2       A. No, I don't remember. The only thing          2   BY MR. DAILEY:
   3    I would think about is the abuse. I was victim.     3      Q. When you were with Mr. Perlitz that
   4    BY MR. DAILEY:                                      4   night, you mentioned that each of you
   5       Q. I understand that, sir.                       5   masturbated each other?
   6           What I'm asking you is this. Did you         6          MR. GARABEDIAN: Objection.
   7    take the syrup and pills for more than a month      7      A. He made me suck his dick, he sucked
   8    after you left the hospital?                        8   for me, my --
   9           MR. GARABEDIAN: Objection.                   9   BY MR. DAILEY:
  10       A. I don't remember.                            10      Q. Did he have you do that before he had
  11    BY MR. DAILEY:                                     11   you masturbate him?
  12       Q. The people who signed the list to get        12      A. He told me he's going to do something
  13    the money justice that you and Dorat and Wisky     13   on my body, everything I do -- he does to my
  14    took around, do they still get in touch with you   14   body I have to do to his.
  15    and ask you what's going on?                       15      Q. What I'm asking you is; did he have
  16           MR. GARABEDIAN: Objection.                  16   you masturbate him before you say that he put
  17       A. Every time they meet, they say "but we       17   his penis in your mouth? Which was first?
  18    don't get a feedback on things that are            18          MR. GARABEDIAN: Objection.
  19    happening."                                        19          THE INTERPRETER: I'm sorry, again,
  20    BY MR. DAILEY:                                     20   please?
  21       Q. And when they say that they don't get        21   BY MR. DAILEY:
  22    a feedback on things that are happening, are       22      Q. Which happened first, did he have you
  23    they saying that you and Wisky and Dorat aren't    23   masturbate him first, or did he put his penis in
  24    giving them a feedback on what's happening?        24   your mouth first?
  25           MR. GARABEDIAN: Objection. I                25          MR. GARABEDIAN: Objection.


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   1       A. He asked me to suck his dick. He did         1     Q. So that you had your penis sucked
   2   it for me, he sucked mine. He put his penis in      2   before he put his penis in your butt?
   3   my butt.                                            3          MR. GARABEDIAN: Objection.
   4   BY MR. DAILEY:                                      4     A. Yes.
   5       Q. And when did the masturbation take           5   BY MR. DAILEY:
   6   place, was it after he put his penis in your        6     Q. And when did the masturbation take
   7   butt?                                               7   place?
   8          MR. GARABEDIAN: Objection.                   8          MR. GARABEDIAN: Objection.
   9       A. He had me suck for him, he had me suck       9     A. I don't know.
  10   his dick, and he did suck mine. He put his         10   BY MR. DAILEY:
  11   penis in my butt. I accepted because I was         11     Q. Well, you masturbated Mr. Perlitz,
  12   scared. I was scared because there was a boy       12   didn't you?
  13   who was dead in the street. I didn't want to       13          MR. GARABEDIAN: Objection.
  14   sleep in the street. I didn't want to die in       14   BY MR. DAILEY:
  15   the same way as the little boy who had died in     15     Q. Did you masturbate -- did you tell us
  16   the street, that's why I accepted that he would    16   you masturbated Mr. Perlitz?
  17   do gay things with me.                             17          MR. GARABEDIAN: Objection.
  18   BY MR. DAILEY:                                     18     A. Yes.
  19       Q. Now try my question.                        19   BY MR. DAILEY:
  20          Did Mr. Perlitz put his penis in your       20     Q. All right. And did he masturbate you?
  21   rectum before he had you put his mouth -- before   21          MR. GARABEDIAN: Objection.
  22   he had you put your mouth on his penis?            22     A. No.
  23          MR. GARABEDIAN: Objection.                  23   BY MR. DAILEY:
  24       A. He asked me to put my mouth to his          24     Q. So Mr. Perlitz never masturbated you?
  25   dick, and then he sucked my dick, and then he      25          MR. GARABEDIAN: Objection.

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   1   put his penis in my butt.                           1      A. I masturbated him.
   2   BY MR. DAILEY:                                      2   BY MR. DAILEY:
   3      Q. Did you suck Mr. Perlitz's penis at           3      Q. All right. And he never masturbated
   4   the same time he was sucking your penis?            4   you, right?
   5      A. No.                                           5          MR. GARABEDIAN: Objection.
   6      Q. Who sucked the other's penis first?           6      A. No, he made me masturbate him, then he
   7   Did you suck Mr. Perlitz's penis first, or did      7   made me suck his dick, and then he said he was
   8   he suck yours first?                                8   going to suck mine. After that, he put his
   9          MR. GARABEDIAN: Objection.                   9   penis in my butt.
  10      A. He told me to suck his, and then he          10   BY MR. DAILEY:
  11   said he was going to suck mine. Then he put his    11      Q. I'm asking, did Perlitz masturbate
  12   penis in my butt.                                  12   you?
  13   BY MR. DAILEY:                                     13          MR. GARABEDIAN: Objection.
  14      Q. So after you sucked his penis, he put        14      A. No.
  15   the penis in his butt?                             15   BY MR. DAILEY:
  16          MR. GARABEDIAN: Objection.                  16      Q. All right. When you masturbated
  17      A. He put his penis in my butt.                 17   Perlitz, did he ejaculate?
  18   BY MR. DAILEY:                                     18          MR. GARABEDIAN: Objection.
  19      Q. After you had sucked Mr. Perlitz's           19      A. No.
  20   penis, did he suck your penis then?                20   BY MR. DAILEY:
  21          MR. GARABEDIAN: Objection.                  21      Q. And did you stop for some reason?
  22      A. He made me suck his dick, and then he        22          MR. GARABEDIAN: Objection.
  23   told me he's going to suck mine, and then he put   23      A. Yes. When I was doing that for him,
  24   his penis in my butt.                              24   after a while he said stop, so to suck his dick.
  25   BY MR. DAILEY:                                     25   BY MR. DAILEY:


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   1      Q. Didn't you tell us earlier that               1   BY MR. DAILEY:
   2   Perlitz told you that you should do everything      2      Q. Do you have what you just told us
   3   to him that Perlitz did to you?                     3   written down somewhere that you've memorized?
   4          MR. GARABEDIAN: Objection.                   4          MR. GARABEDIAN: Objection.
   5      A. He said that.                                 5      A. Where should I write it down?
   6   BY MR. DAILEY:                                      6   BY MR. DAILEY:
   7      Q. All right.                                    7      Q. I'm asking, do you have it written
   8      A. Everything he does -- he told me              8   down?
   9   everything he's going to do to my body I have to    9          MR. GARABEDIAN: Objection.
  10   do to him.                                         10      A. Where?
  11      Q. All right. And you've now told us            11   BY MR. DAILEY:
  12   everything that happened?                          12      Q. When Mr. Perlitz told you to get into
  13      A. Yes.                                         13   bed with him on the second time, did you say no,
  14      Q. Now, on the second time that you say         14   and did you tell him you had just been in the
  15   something happened, the second time --             15   hospital for three days?
  16          MR. GARABEDIAN: Objection.                  16          MR. GARABEDIAN: Objection.
  17      A. Yes.                                         17      A. I didn't want to say that. I didn't
  18   BY MR. DAILEY:                                     18   want him to have me to sleep in the street.
  19      Q. -- it was within a week, you say, of         19   Someone had just died. I was scared for him to
  20   the first time that Perlitz bothered you, is       20   send me to sleep in the streets. I didn't want
  21   that right?                                        21   to die, to die the same way as the little boy.
  22          MR. GARABEDIAN: Objection.                  22   BY MR. DAILEY:
  23      A. Yes. I was going to Bel Air to a             23      Q. Did you tell --
  24   friend's, I saw him coming down in the Land        24          MR. GARABEDIAN: He's still answering.
  25   Cruiser. He said the next day, afternoon, when     25   Let him finish, please.


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   1    he would leave the Village I should come see       1          Is he finished?
   2    him. I thought he was going to send me to the      2      A. Yes.
   3    Village.                                           3   BY MR. DAILEY:
   4           When I came following afternoon, he         4      Q. Did you tell Perlitz that you had been
   5    gave me a sheet to lie down on the floor. While    5   in the hospital for three days when you saw him
   6    I was lying down on floor, he started touching     6   in his bedroom on the second time you say that
   7    me, he said "come on the bed." Then he said he     7   you were there? Just a yes or no, sir.
   8    was going to send me to the Village, everything    8          MR. GARABEDIAN: Objection.
   9    I would need, I will find school, food, after      9      A. I didn't tell him.
  10    school I will go to university. I didn't go on    10   BY MR. DAILEY:
  11    the street, there was a little guy who had just   11      Q. Did you tell him that you had been
  12    been killed, I was scared. I was scared to die    12   bleeding? Just yes or no.
  13    in the street. He told me that do gay things.     13          MR. GARABEDIAN: Objection.
  14    I accepted. I didn't want to go back on the       14      A. No, I didn't say that.
  15    street. I was scared to die like the little       15   BY MR. DAILEY:
  16    boy.                                              16      Q. Did you tell him you were taking syrup
  17       Q. Now, you've told us that about six          17   and pills at the time you were in bed with him?
  18    times today, sir, is that right?                  18          MR. GARABEDIAN: Objection.
  19           MR. GARABEDIAN: Objection.                 19      A. No.
  20       A. When you ask me, I say it.                  20          MR. DAILEY: I think that's all I
  21    BY MR. DAILEY:                                    21   have. Thanks.
  22       Q. Do you have that written down               22   BY MR. WILLIAMS:
  23    somewhere?                                        23      Q. Good afternoon, Mr. Bernardin.
  24           MR. GARABEDIAN: Objection.                 24          My name is Paul Williams, I represent
  25       A. What should I write down?                   25   Fairfield University.


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   1          I only have a few questions for you.         1   money justice, is that correct?
   2   Because there are many questions asked already,     2          MR. GARABEDIAN: Objection.
   3   I will be moving around a little bit. If you        3      A. I didn't say that.
   4   don't understand a question, please tell me.        4   BY MR. WILLIAMS:
   5      A. Yes.                                          5      Q. You said that you've seen them buy new
   6      Q. Okay. When was the last time that you         6   cars?
   7   saw the list that you prepared --                   7          MR. GARABEDIAN: Objection.
   8          MR. GARABEDIAN: Objection.                   8      A. I don't think I said -- they were
   9   BY MR. WILLIAMS:                                    9   looking for justice, they found justice. And we
  10      Q. -- with Doran and Wisky?                     10   also wanted to claim -- present our claim so
  11      A. We had the list done. We made the            11   that we could get justice.
  12   list.                                              12   BY MR. WILLIAMS:
  13      Q. But where is the list now?                   13      Q. Okay. My question was, the people in
  14          MR. GARABEDIAN: Objection.                  14   the first group you saw buy new automobiles,
  15      A. We gave it back to Cyrus.                    15   correct?
  16   BY MR. WILLIAMS:                                   16      A. Yes.
  17      Q. And the last time you saw it, Cyrus          17      Q. And whose new automobiles did you see?
  18   had it?                                            18          MR. GARABEDIAN: Objection.
  19      A. Yes.                                         19      A. We saw several.
  20      Q. Before that date, did you know Cyrus?        20   BY MR. WILLIAMS:
  21      A. No.                                          21      Q. Which ones? Do you remember the
  22      Q. You had never spoken to him before           22   names?
  23   that day?                                          23      A. I don't remember the names.
  24      A. No, I didn't know him.                       24      Q. You don't remember the names of the
  25      Q. Did you ever tell Cyrus your story, or       25   people who were driving the new cars?


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   1   describe what had happened to you and your claim    1          MR. GARABEDIAN: Objection.
   2   of abuse by Doug Perlitz?                           2      A. I don't remember the name of the
   3         MR. GARABEDIAN: Objection.                    3   people driving cars.
   4      A. We brought the paper up to that time          4   BY MR. WILLIAMS:
   5   and said -- me, Dorat and Wisky were the ones       5      Q. Okay. Were you ever in any of those
   6   who brought it to him, he said our names and        6   new cars?
   7   phone numbers. Our names were on the list, so       7          MR. GARABEDIAN: Objection.
   8   we just pointed our names and phone number,         8      A. No.
   9   prepare your phone number, and he said "the         9   BY MR. WILLIAMS:
  10   lawyer will call you, so you can explain to him    10      Q. Now, Mr. Bernardin, you told us that
  11   what's wrong with us."                             11   in February of 2004, the first time Douglas
  12   BY MR. WILLIAMS:                                   12   Perlitz abused you, you went to the Justinien
  13      Q. Okay. Did Mr. Cyrus describe who the         13   Hospital?
  14   lawyer was going to be that was going to call      14      A. Yes.
  15   you?                                               15      Q. But before you went to the hospital,
  16         MR. GARABEDIAN: Objection.                   16   you went to the 13th Street?
  17      A. He just told us that he would have the       17          MR. GARABEDIAN: Objection.
  18   lawyer call us.                                    18      A. Yes.
  19   BY MR. WILLIAMS:                                   19   BY MR. WILLIAMS:
  20      Q. And did you ever see Cyrus taking down       20      Q. And you took a shower there, is that
  21   any details from anyone else on the list about     21   correct?
  22   what they claimed happened with Doug Perlitz?      22      A. Yes.
  23      A. No.                                          23      Q. And you noticed at that point that you
  24      Q. Okay. Have you -- you told us that           24   were bleeding, is that correct?
  25   some of the PPT first group have received some     25      A. Yes.


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   1       Q. And did you know that you were                1      A. -- to go to the hospital.
   2    bleeding before you began your shower?              2      Q. And when was it that you say that you
   3           MR. GARABEDIAN: Objection.                   3   lost consciousness?
   4       A. I went to a well, we were going to get        4      A. When I got to the hospital.
   5    some water. When I took the water, after            5          MR. GARABEDIAN: Objection.
   6    carrying the water I took a shower, and I saw I     6      A. I was bleeding so much that I lost
   7    was bleeding. I didn't finish my shower. I          7   consciousness.
   8    just dressed, got my clothes back on, and I went    8   BY MR. WILLIAMS:
   9    to my mother.                                       9      Q. Well, did you lose consciousness
  10           My mother said what was wrong. I said       10   before you got to the hospital?
  11    "I'm bleeding." She said did I fight, did they     11      A. When I got there.
  12    beat me up. And I said "no." I was bleeding        12      Q. When you got there.
  13    just, and she brought me to the hospital.          13          Okay. And did you receive any surgery
  14    BY MR. WILLIAMS:                                   14   over the course of those three days?
  15       Q. Okay. I got that.                            15          MR. GARABEDIAN: Objection.
  16           Did anyone at the 13th Street notice        16      A. No, just serum.
  17    that you were bleeding?                            17   BY MR. WILLIAMS:
  18           MR. GARABEDIAN: Objection.                  18      Q. Were you given any sutures?
  19       A. No.                                          19          MR. GARABEDIAN: Objection.
  20    BY MR. WILLIAMS:                                   20      A. No.
  21       Q. All right. And at 13th Street, the           21   BY MR. WILLIAMS:
  22    shower area, is it an open area where more than    22      Q. Okay. Did you require -- well, I
  23    one person showers at the same time?               23   asked you if you had any surgery.
  24           MR. GARABEDIAN: Objection.                  24          You didn't require any operations
  25       A. I was the only one taking a shower.          25   internally, is that correct?

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   1   BY MR. DAILEY:                                       1          MR. GARABEDIAN: Objection.
   2      Q. Okay. Now, you said you were in the            2      A. No.
   3   Justinien Hospital for three days?                   3   BY MR. WILLIAMS:
   4      A. Yes.                                           4      Q. But you bled so much, as you recall,
   5      Q. Did any doctor examine your butt?              5   that you loss consciousness, is that correct?
   6          MR. GARABEDIAN: Objection.                    6          MR. GARABEDIAN: Objection.
   7      A. I don't remember, because when I was           7      A. Yes.
   8   bleeding I was -- I bled a lot. I lost               8   BY MR. WILLIAMS:
   9   consciousness.                                       9      Q. Okay. And how many days were you
  10   BY MR. WILLIAMS:                                    10   unconscious?
  11     Q. Okay. So it's your testimony that you          11          MR. GARABEDIAN: Objection.
  12   were bleeding to the point where you lost           12      A. I don't know. After three days when I
  13   consciousness at the hospital?                      13   -- after three days I stopped using serum. They
  14          MR. GARABEDIAN: Objection.                   14   asked me what was wrong, was I fighting, did
  15      A. Yes, afterwards when I recovered they         15   they fight, "did they beat you up?" I said
  16   asked me what was wrong, did I fight, did they      16   "no." I was so ashamed to explain this, it's a
  17   beat you up. I said "no."                           17   white guy who had did gay stuff with me. I was
  18   BY MR. WILLIAMS:                                    18   very scared. I was ashamed.
  19      Q. Okay. When you went to your mother's          19   BY MR. WILLIAMS:
  20   home and then went to the hospital, how did you     20      Q. I don't mean to interrupt, but my
  21   get to the hospital?                                21   question was how many days do you claim being
  22          MR. GARABEDIAN: Objection.                   22   unconscious?
  23      A. My mother took a cab --                       23      A. I don't know.
  24   BY MR. WILLIAMS:                                    24      Q. Were you unconscious the whole three
  25      Q. Okay.                                         25   days you were in the hospital?


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   1         MR. GARABEDIAN: Objection.                  1      Q. When you went to Cyrus at the radio,
   2      A. I don't know. If I lost                     2   were there any public announcements about
   3   consciousness, how do you want me to know how     3   preparing the list?
   4   many days?                                        4          MR. GARABEDIAN: Objection.
   5   BY MR. WILLIAMS:                                  5          THE INTERPRETER: Was there any --
   6      Q. Do you know if anyone visited you in        6          MR. WILLIAMS: Public announcements on
   7   the hospital?                                     7   the radio.
   8         MR. GARABEDIAN: Objection.                  8      A. I don't know. I didn't used to listen
   9      A. My family, my uncle, another uncle, my      9   to the radio.
  10   brother and sister.                              10   BY MR. WILLIAMS:
  11   BY MR. WILLIAMS:                                 11      Q. Okay. Did you have to go around to
  12      Q. Okay. And you say you had a                12   find the people to sign the list, or did people
  13   transfusion?                                     13   just come to the radio station?
  14         MR. GARABEDIAN: Objection.                 14          MR. GARABEDIAN: Objection.
  15      A. Yeah, they brought blood.                  15      A. The same group, the same group that
  16   BY MR. WILLIAMS:                                 16   was at the radio that was looking for justice,
  17      Q. Do you happen to know what type of         17   seeking justice, they are the ones who put their
  18   blood you are?                                   18   names on the list.
  19         MR. GARABEDIAN: Objection.                 19   BY MR. WILLIAMS:
  20      A. No, I don't understand.                    20      Q. Okay. You told us that when you came
  21   BY MR. WILLIAMS:                                 21   back from the Dominican Republic you went to
  22      Q. Had you ever gotten a transfusion          22   school at the College Moderne?
  23   before?                                          23      A. Yes.
  24      A. First time.                                24      Q. And you told us that someone you met
  25      Q. Have you got a transfusion since that      25   on the street paid for you to go to that school?

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   1   time?                                             1          MR. GARABEDIAN: Objection.
   2           MR. GARABEDIAN: Objection.                2      A. Yes.
   3      A. I don't understand. No.                     3   BY MR. WILLIAMS:
   4   BY MR. WILLIAMS:                                  4      Q. Why did they pay for to you go to that
   5      Q. Okay. Have you ever had any other           5   school?
   6   incidents where you lost consciousness since      6      A. So I could learn.
   7   that day?                                         7      Q. But were you related to them?
   8           MR. GARABEDIAN: Objection.                8      A. No. Someone I didn't really know, but
   9      A. No, that's the only time.                   9   he was eating in a restaurant, I was begging for
  10   BY MR. WILLIAMS:                                 10   food, I was explaining I want to go to school, I
  11      Q. Okay. When you were preparing the          11   want to go to school, but I can't. He said if I
  12   list, do you know where you met Dorat when you   12   find a school that I like, he will pay it for
  13   began to make the list?                          13   me. So I chose one, and he paid for me.
  14           MR. GARABEDIAN: Objection.               14      Q. And for how long did he pay for you to
  15      A. Yes.                                       15   go to school?
  16   BY MR. WILLIAMS:                                 16          MR. GARABEDIAN: Objection.
  17      Q. Where was he?                              17      A. I did fifth year at the school, he
  18      A. A place where he was working.              18   paid for me. I did sixth year, he didn't -- he
  19      Q. Okay. Do you know the name of the          19   didn't finish paying for it for the sixth year,
  20   place?                                           20   just Boys Center who paid the balance.
  21      A. SOIL.                                      21   BY MR. WILLIAMS:
  22      Q. SOIL?                                      22      Q. Okay. Do you know why he stopped
  23      A. SOIL.                                      23   paying it?
  24      Q. And where was that located?                24          MR. GARABEDIAN: Objection.
  25      A. 12th Street, Cap-Haïtian.                  25      A. No.


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   1    BY MR. WILLIAMS:                                    1   was the boss and the project's grandmother.
   2       Q. Okay. You mentioned before that there         2   Him, he was the project's father, he was --
   3    were sometimes visitors at 13th Street?             3   Ms. Carter was over Douglas. She was telling
   4       A. I don't understand.                           4   him "this is what you do. This is what you do."
   5       Q. Okay. You described earlier that              5      Q. Okay. Douglas told you all of this?
   6    sometimes the students would be introduced to       6      A. Yes.
   7    people who were visiting PPT?                       7      Q. And when was this, sir?
   8           MR. GARABEDIAN: Objection.                   8      A. I don't remember.
   9       A. Yes. When they came with Ms. Carter,          9      Q. And where was this, sir?
  10    Father Paul, who was the project's grandfather,    10      A. At the Village.
  11    Ms. Carter, who was the project's grandmother,     11      Q. And what year was that, sir?
  12    and Douglas was the project's father, Ms. Carter   12      A. 2006.
  13    and Father Paul were directed you have to do       13      Q. In 2006.
  14    this and that.                                     14         Do you remember what month that was,
  15    BY MR. WILLIAMS:                                   15   sir?
  16       Q. Do you remember the names of any of          16      A. No.
  17    the other visitors other than the ones you just    17      Q. Okay. And who was present?
  18    told us?                                           18      A. We were -- there were several of us.
  19       A. Just these people.                           19   We were many. It was a group of our people,
  20       Q. Okay. Do you know the names of any           20   Father Paul and other people. And that's why
  21    organizations that any of the visitors came        21   Douglas was explaining Ms. Carter was the
  22    from?                                              22   project's grandmother, the boss, Father Paul was
  23           MR. GARABEDIAN: Objection.                  23   the project's grandfather, the boss, and Douglas
  24           THE INTERPRETER: Do you know the            24   was the project's father. He was -- Father Paul
  25    names of any organizations.                        25   and Ms. Carter were the ones who said what to

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   1      A. No.                                            1   do. And he was under Mrs. Carter and Father
   2   BY MR. WILLIAMS:                                     2   Paul's direct supervision.
   3      Q. Okay. You told us in your                      3      Q. And he explained this all to you in a
   4   interrogatories that you drink alcohol.              4   large group?
   5      A. Yes. When I drink alcohol, when I              5      A. Yes.
   6   think about the abuse Douglas did, that creates      6      Q. You can't speak English, can you, sir?
   7   hate in my heart, and I need to drink to take        7      A. No.
   8   away the pain, the sadness in my heart.              8      Q. Do you know if Madame Carter can speak
   9      Q. How often do you drink alcohol?                9   Creole?
  10      A. Every time I think about this I need          10      A. No.
  11   to drink alcohol to forget, to take away the        11      Q. So who told you all of this?
  12   stress from my head.                                12      A. Douglas Perlitz.
  13      Q. Okay.                                         13      Q. Douglas told you all of this?
  14          MR. WILLIAMS: I don't have any other         14      A. Yes.
  15   questions.                                          15      Q. Madame Carter didn't tell you this,
  16          Thank you very much, sir.                    16   did she?
  17   BY MR. KENNEDY:                                     17      A. No, Douglas.
  18      Q. Hi, Mr. Bernardin. My name is Jeff            18      Q. And Father Paul didn't tell you this,
  19   Kennedy. I represent Hope Carter.                   19   did he?
  20          Do you know who Madame Carter is?            20      A. Douglas Perlitz.
  21      A. She was the boss, the project's boss,         21      Q. And this was in 2006, sir?
  22   and grandmother.                                    22      A. Yes.
  23      Q. Okay. Have you ever met Mrs. Carter?          23      Q. Can you describe Mrs. Carter for me
  24      A. When I met Ms. Carter, it was Douglas         24   physically?
  25   who made me meet Ms. Carter, telling me that she    25      A. I'm not a graphic artist.


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   1       Q. You're not a painter?                    1   BY MR. KENNEDY:
   2       A. No.                                      2      Q. But during that -- I apologize.
   3       Q. Or a graphic artist?                     3          How long is that drive, sir?
   4           THE INTERPRETER: He said a desk -- a    4      A. We came in a car. We left at
   5    drawer, that's what he said.                   5   8:00 a.m., we got here at 3 or 4:00 p.m.. I
   6    BY MR. KENNEDY:                                6   don't know.
   7       Q. So you can't describe for me, as we      7      Q. Okay. So about a five hour drive,
   8    sit here today, Mrs. Carter physically?        8   sir?
   9           MR. GARABEDIAN: Objection.              9      A. Yes.
  10       A. No, I'm no artist.                      10      Q. And during that time did you talk
  11    BY MR. KENNEDY:                               11   about the lawsuits and the claims against
  12       Q. Okay. You're no artist.                 12   Douglas?
  13           And you didn't speak to Dorat Jean     13          MR. GARABEDIAN: Objection.
  14    after his deposition, did you, sir?           14      A. No.
  15           MR. GARABEDIAN: Objection.             15   BY MR. KENNEDY:
  16       A. No.                                     16      Q. Okay. And did -- has Cyrus come --
  17    BY MR. KENNEDY:                               17   and I don't want to know about any conversations
  18       Q. Even though you stayed in the same      18   with your attorneys, but has Cyrus come to your
  19    room with him last night?                     19   room here at the --
  20       A. No.                                     20      A. No.
  21       Q. Even though you had lunch and dinner    21      Q. Let me finish.
  22    with him, sir, over the last couple days?     22          -- here at the hotel and speak to you
  23           MR. GARABEDIAN: Objection.             23   during this week?
  24       A. No.                                     24      A. No.
  25    BY MR. KENNEDY:                               25      Q. So did he meet -- did Cyrus meet with


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    1       Q. Sir, I'm going to be -- as Attorney     1   you, Dorat, and Wisky since you've been here at
    2   Williams, I'm going to be jumping around a     2   the hotel?
    3   little because you've been asked a lot of      3           MR. GARABEDIAN: Objection.
    4   questions.                                     4      A. We never saw him.
    5           Sir, when you travelled here from      5   BY MR. KENNEDY:
    6   Haiti a couple days ago, you travelled with    6      Q. You haven't seen him at all this week?
    7   Dorat Jean and Wisky Jerome, sir?              7      A. We haven't seen him.
    8           MR. GARABEDIAN: Objection.             8      Q. But he is staying here at the hotel,
    9       A. Yes.                                    9   sir?
   10   BY MR. KENNEDY:                               10           MR. GARABEDIAN: Objection.
   11       Q. And how did you travel here, sir?      11      A. Yes, but we haven't seen him.
   12       A. Cyrus, he came here with us.           12   BY MR. KENNEDY:
   13       Q. Cyrus Sibert came here with you?       13      Q. Okay. Now, do you know if Mr. Cyrus
   14       A. Yes.                                   14   Sibert is a U.S. citizen?
   15       Q. So he's here?                          15           MR. GARABEDIAN: Objection.
   16       A. Yes.                                   16      A. I don't know.
   17       Q. He's at Barcelo right now?             17   BY MR. KENNEDY:
   18       A. No.                                    18      Q. Do you know if he lives in the State
   19       Q. Did you talk to Cyrus before your      19   of Florida, sir?
   20   deposition, sir?                              20           MR. GARABEDIAN: Objection.
   21       A. No.                                    21      A. I don't know.
   22       Q. So he drove you from Haiti to the      22   BY MR. KENNEDY:
   23   Dominican Republic?                           23      Q. And do you know where -- do you know
   24           MR. GARABEDIAN: Objection.            24   if he lives in Haiti, sir?
   25       A. Yes.                                   25      A. Yes, I know he lives in Haiti.


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   1       Q. Do you know where he lives in Haiti,         1   the house that night, that the only light was
   2   sir?                                                2   emanating from Douglas Perlitz's laptop?
   3       A. No.                                          3          MR. GARABEDIAN: Objection.
   4       Q. How many times have you met                  4      A. Yes.
   5   Mr. Sibert?                                         5   BY MR. KENNEDY:
   6       A. The first time we --                         6      Q. There were no other lights on in the
   7          MR. GARABEDIAN: Objection.                   7   hall?
   8       A. -- we brought the piece of paper to          8      A. No.
   9   him, it took a while before we could meet him.      9      Q. Okay. And I believe you also
  10   After we came -- we spent a long time when we      10   indicated that you were able to see that Douglas
  11   didn't see him, we just spoke over the phone.      11   Perlitz had some spots on his body?
  12   It's only when we came here, we were coming here   12          MR. GARABEDIAN: Objection.
  13   we met him.                                        13      A. Yes.
  14   BY MR. KENNEDY:                                    14   BY MR. KENNEDY:
  15       Q. Was it Mr. Sibert that told you to say      15      Q. And you were able to see that from the
  16   that Hope Carter was the project's grandmother?    16   light emanating from the laptop?
  17          MR. GARABEDIAN: Objection.                  17          MR. GARABEDIAN: Objection.
  18       A. I don't understand.                         18      A. Yes.
  19   BY MR. KENNEDY:                                    19   BY MR. KENNEDY:
  20       Q. Can you read the question back? I           20      Q. Okay. And I'm sorry, because I just
  21   think it's pretty self-explanatory.                21   don't remember, these spots on Mr. Perlitz, were
  22       A. Douglas Perlitz.                            22   they large, or were they small, sir?
  23       Q. Not Cyrus Sibert?                           23          MR. GARABEDIAN: Objection.
  24       A. Douglas Perlitz.                            24      A. I don't remember.
  25       Q. Okay. Now, sir, I believe earlier           25   BY MR. KENNEDY:


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   1   today you indicated that you had a clear memory     1      Q. And what color were they, sir?
   2   of the first time that Douglas Perlitz abused       2          MR. GARABEDIAN: Objection.
   3   you.                                                3      A. Red.
   4           MR. GARABEDIAN: Objection.                  4   BY MR. KENNEDY:
   5       A. Yes.                                         5      Q. And you could tell that from the light
   6   BY MR. KENNEDY:                                     6   emanating from the laptop?
   7       Q. And I believe you indicated from the         7      A. Yes.
   8   written records that we got that it was on          8      Q. And how many spots did he have, sir?
   9   February 14th, 2004?                                9          MR. GARABEDIAN: Objection.
  10       A. Yes.                                        10      A. I don't know.
  11       Q. And that was a Sunday, sir?                 11   BY MR. KENNEDY:
  12       A. Yes.                                        12      Q. Okay. And, sir, because I don't
  13       Q. And you specifically remember it was a      13   believe Attorney Dailey got an answer to this
  14   Sunday?                                            14   question -- well, let me strike that question,
  15       A. Yes.                                        15   please.
  16       Q. Why is your memory so clear that it         16          Sir, tell me if your own words from
  17   was a Sunday?                                      17   beginning, middle to end exactly what happened
  18           MR. GARABEDIAN: Objection.                 18   the first time you claim Douglas Perlitz
  19       A. Why, because there was an event,            19   sexually abused you.
  20   something that link to Aristide. There was a       20          MR. GARABEDIAN: Objection.
  21   little boy that died during that event. That's     21      A. 2004, February 14, Douglas tells me to
  22   why I remembered.                                  22   come see him. When I did, when I got to
  23   BY MR. KENNEDY:                                    23   Bel Air, I opened a gate. I entered. When I
  24       Q. Okay. And, sir, I believe you               24   knocked at the door, I didn't know his room, so
  25   indicated that when you went into Bel Air, into    25   I heard no one. I opened the door of the Land


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   1   Cruiser, and I slept.                              1   I was so ashamed to say that a white guy did gay
   2           While I was sleeping, Douglas came and     2   things. I was really very shy and very ashamed.
   3   hit me. When I woke up, suddenly I saw it was      3           After that, they gave me syrup and
   4   him. He said come to him, please, if I want.       4   pills that I should take at home. Every time I
   5           And when he opened the door, I didn't      5   feel the pain I should take them.
   6   know there was a few steps. While I was going      6   BY MR. KENNEDY:
   7   down, I almost fell. When I got inside his         7      Q. Sir, has Cyrus provided you with any
   8   room, he was watching -- I saw he was watching     8   money?
   9   pornos, porno movies. Then gave me a sheet so I    9      A. Did Cyrus give me money?
  10   could lie down on the floor.                      10      Q. Yes, sir.
  11           While I was sleeping, he called me.       11      A. No.
  12   He was naked. He said not to be scared, come on   12      Q. He has not given you any money, sir?
  13   the bed. When I got to the bed, he said would I   13      A. No.
  14   like to leave the street, stop sleeping in the    14           MR. GARABEDIAN: Can we take a break
  15   street, to come to the Village, I will find       15   for a moment?
  16   food, a school. And then I said yes, because I    16           MR. KENNEDY: Sure.
  17   would like to see there, because there was a      17           THE VIDEOGRAPHER: Going off the
  18   child who just died in the street, I don't want   18   record. The time is 6:11.
  19   to sleep in the street. I was afraid. So I        19          (Whereupon, a recess was taken.)
  20   accepted.                                         20           THE VIDEOGRAPHER: Back on the record.
  21           He said everything he is going to do      21   The time is 6:22.
  22   to my body I should do to his body. I said yes.   22   BY MR. KENNEDY:
  23   And I had a shirt on. He unbuttoned it. He        23      Q. Sir, the first time that Mr. Perlitz
  24   played with my tits. He asked me to play with     24   abused you, I believe you said that when you
  25   his tits. He masturbated me, and I masturbated    25   woke up he was naked?


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   1   him. He masturbated him -- he had me masturbate    1      A. Yes.
   2   him. And then he asked me to suck his dick.        2     Q. So he didn't have a shirt on at that
   3   And he sucked my dick. Then he put his penis in    3   point?
   4   my butt.                                           4     A. All naked.
   5           When he did, he took the sheet, he         5     Q. He was totally naked?
   6   brought me to next room in the yard, he told me    6     A. All.
   7   open the door, come in, sleep there, close the     7     Q. Okay. And I believe you said that he
   8   door, I'll leave in the morning. So I went in,     8   asked you to play with his tits, is that
   9   I closed the door. The next day I went to 13th     9   correct?
  10   Street.                                           10     A. Like mass his tits -- massage.
  11           When I got to 13th Street, when I was     11     Q. Massage?
  12   taking a shower, I was bleeding. I had to go to   12      A. Yes.
  13   my mother's to tell my mother I am bleeding.      13     Q. And how long did that occur, sir?
  14   She asked me if I was fighting, if I was beaten   14     A. I don't know.
  15   up. I said "no." So she went with me to the       15     Q. Was it five minutes, two minutes? Any
  16   hospital.                                         16   idea?
  17           When I got to the hospital, I was         17     A. I don't remember. I didn't have a
  18   bleeding a lot. I lost consciousness, I didn't    18   watch.
  19   know what was happening. I spent three days at    19     Q. I believe you indicated earlier you
  20   the hospital. After three days he asked me --     20   have a very clear memory of this event, though,
  21   the miss asked me "what did you feel? What's      21   correct?
  22   wrong with you?" And I said "this is how I am,    22         MR. GARABEDIAN: Objection.
  23   I just -- this has just happened, I just          23      A. Yes.
  24   happened to be bleeding." She asked did they      24   BY MR. KENNEDY:
  25   beat me up, did I got in a fight. I said "no."    25     Q. And after he had you play with his


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   1   tits, what happened next?                           1      A. No, I don't know.
   2           MR. GARABEDIAN: Objection.                  2   BY MR. KENNEDY:
   3      A. When he told me to massage his tits --        3      Q. Okay. Now, at some point you took off
   4   when he massages my tits, he asked me to massage    4   your clothes, sir?
   5   his tits. He asked me to -- he masturbated me,      5      A. He unbuttoned my shirt.
   6   he pulled my off -- masturbated me, and he asked    6      Q. Okay. He took off your shirt, sir?
   7   me to pull his dick. He asked me to suck his        7      A. Yes.
   8   dick.                                               8      Q. And at some point did you take your
   9   BY MR. KENNEDY:                                     9   pants off?
  10      Q. Well, sir, I'm trying to understand          10      A. He said to take it off.
  11   the chronology. He has -- what happened -- he      11      Q. Okay. So you took your own pants off,
  12   has you play with his tits first, is that          12   sir?
  13   correct?                                           13      A. He unbuttoned it, and then he said to
  14           MR. GARABEDIAN: Objection.                 14   take it off.
  15      A. Yes.                                         15      Q. He unbuttoned your pants?
  16   BY MR. KENNEDY:                                    16      A. Yes.
  17      Q. And you don't remember how long that         17      Q. And then I believe you indicated that
  18   lasted, correct?                                   18   at some point he had you put his penis in your
  19      A. No. I don't know.                            19   mouth?
  20      Q. Okay. And then what happened after           20      A. Yes.
  21   that?                                              21      Q. And how long did that last, sir?
  22      A. He massages my tits, he had me massage       22      A. I don't know.
  23   his tits.                                          23      Q. And at some point did he put your
  24      Q. Okay. So did he massage your tits            24   penis in his mouth, sir?
  25   first?                                             25      A. I -- after I masturbated him he had me

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   1      A. He asked me to massage his tits first.        1   suck his penis, and then he sucked my penis. He
   2      Q. Okay. And then I believe you -- and           2   put his penis in my butt.
   3   then at some point he masturbated you?              3      Q. When you -- when he put -- when
   4      A. He asked me to masturbate him.                4   Mr. Perlitz put his penis in your mouth, did he
   5      Q. Okay. Did he ever masturbate you,             5   ejaculate, sir?
   6   sir?                                                6          MR. GARABEDIAN: Objection.
   7          MR. GARABEDIAN: Objection.                   7      A. No.
   8      A. No.                                           8   BY MR. KENNEDY:
   9   BY MR. KENNEDY:                                     9      Q. Okay. I believe, sir, that the
  10      Q. How long did you masturbate him,             10   question before was at some point did he put
  11   sir?                                               11   your penis in his mouth, sir?
  12      A. How long --                                  12          MR. GARABEDIAN: Objection.
  13      Q. How long --                                  13      A. Yes.
  14      A. -- did?                                      14   BY MR. KENNEDY:
  15      Q. -- did he masturbate Mr. Perlitz?            15      Q. And how long did that last, sir?
  16          MR. GARABEDIAN: Objection.                  16      A. I don't know.
  17      A. I don't know. I did that to him. He          17      Q. And then I believe you indicated at
  18   didn't do it to me.                                18   some point he put his penis in your -- his penis
  19   BY MR. KENNEDY:                                    19   in your rectum?
  20      Q. But my question was, how long did you        20      A. Yes.
  21   masturbate Doug Perlitz?                           21      Q. Okay. And how long did that last?
  22      A. I don't know. I didn't have a watch.         22      A. I don't know.
  23      Q. Okay. So you don't have any memory of        23      Q. Did Mr. Perlitz wear a condom, sir?
  24   the time frame?                                    24      A. No.
  25          MR. GARABEDIAN: Objection.                  25      Q. Sir, the entire incident, the first


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   1    time you claim that Mr. Perlitz sexually abused    1      A. Yes.
   2    you on February 14, 2004, how long did it last,    2      Q. And you went to Rue 13 on that Monday,
   3    sir?                                               3   correct, sir?
   4           MR. GARABEDIAN: Objection.                  4      A. Yes.
   5       A. I don't know how long.                       5      Q. And you were there for a full day,
   6    BY MR. KENNEDY:                                    6   sir?
   7       Q. Was it more than 15 minutes?                 7      A. Yes.
   8           MR. GARABEDIAN: Objection.                  8      Q. And at some point -- okay. I
   9       A. I don't know. I didn't have a watch.         9   apologize, sir.
  10    BY MR. KENNEDY:                                   10         What day did you go to Justinien
  11       Q. Okay. Now, the second time that you         11   Hospital, sir?
  12    claim Mr. Perlitz sexually abused you --          12         MR. GARABEDIAN: Objection.
  13       A. Yes. When I was going to Bel Air, I         13      A. When I was going to 13th Street --
  14    saw he was going down -- said the next day        14   when I got to 13th Street, I was going to get a
  15    afternoon to come to see him at Bel Air.          15   bucket of water to have a shower. When I was
  16       Q. I was in the middle of a question.          16   about to take a -- not a shower, when I was
  17           Now, the second time that you claim        17   about to bathe, then I started giving blood.
  18    Mr. Perlitz sexually abused you, how long did     18   BY MR. KENNEDY:
  19    that abuse last?                                  19      Q. Sir -- I understand, sir. My question
  20       A. I don't know.                               20   was, what day, sir, did you go to Justinien
  21       Q. And did Mr. Perlitz have you do the         21   Hospital?
  22    same things sexually to him the second time as    22      A. I don't remember.
  23    he did the first time, sir?                       23      Q. Was it that Monday, sir, or was it
  24       A. Yes.                                        24   Tuesday?
  25           MR. GARABEDIAN: Objection.                 25      A. The same day when I got to my


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   1    BY MR. KENNEDY:                                    1   mother's, she took a taxi, and she brought me to
   2       Q. And were they in the same chronology,        2   the hospital.
   3    sir?                                               3      Q. Did you go to your mother's the day
   4       A. Yes.                                         4   after that you claim Mr. Perlitz abused you?
   5       Q. And the second time, sir, what was           5      A. When I was bleeding, on the same day I
   6    Mr. Perlitz wearing?                               6   went to see my mother.
   7       A. I don't know. It was nighttime. I            7      Q. Sir, I'm trying to understand what
   8    don't know.                                        8   that day is.
   9       Q. Was he wearing a shirt, sir?                 9          According to your testimony --
  10            MR. GARABEDIAN: Objection.                10          MR. GARABEDIAN: Objection.
  11       A. I don't know.                               11      A. He did that to me on a Sunday. It was
  12    BY MR. KENNEDY:                                   12   a Monday morning.
  13       Q. Okay. Was he wearing shorts, sir?           13   BY MR. KENNEDY:
  14       A. I don't remember.                           14      Q. Okay. So you went to Justinien
  15       Q. Was he wearing pants, sir?                  15   Hospital on Monday?
  16       A. I don't remember if he had a short or       16      A. Yes.
  17    pants -- shorts or pants on.                      17      Q. Okay. And you were at Justinien
  18       Q. Sir, what kind of work was Divo do?         18   Hospital for three days?
  19       A. He's a seamstress for the masculine,        19      A. Yes.
  20    tailor.                                           20      Q. So you were there Monday, Tuesday, and
  21       Q. Thank you.                                  21   Wednesday?
  22            Now, sir, I'm just trying to              22      A. Yes.
  23    understand the chronology. The first time you     23      Q. Okay. In the entire time you were at
  24    claim you were abused by Mr. Perlitz was a        24   Justinien Hospital, did any nurse or doctor ask
  25    Sunday, correct?                                  25   you what happened to you?


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   1          MR. GARABEDIAN: Objection.                   1      Q. How many times have you met Hope
   2      A. When I came back to my senses on              2   Carter?
   3   Wednesday, the miss asked me what was wrong, was    3          MR. GARABEDIAN: Objection.
   4   I hit, was I -- did I get in a fight, they beat     4      A. When I met Ms. Carter, it was Douglas,
   5   me up. I said "no," that I just -- I was just       5   Father Paul, and other white people in 2006
   6   like this and then I started giving blood,          6   while I was at the Village. Douglas told us
   7   bleeding. I was ashamed to say that a white guy     7   Ms. Carter was the project's grandmother, the
   8   did gay things with me. That was very traumatic     8   boss, Father Paul was the boss, the grandfather
   9   for me.                                             9   of the project, Douglas was the father's project
  10   BY MR. KENNEDY:                                    10   -- the project's father, it was Madame Carter
  11      Q. So you said you came to your -- you          11   and Father Paul who were telling him what to do.
  12   came back to your senses on Wednesday.             12   BY MR. KENNEDY:
  13          MR. GARABEDIAN: Objection.                  13      Q. Sir, let's try my question.
  14   BY MR. KENNEDY:                                    14          How many times -- this should be a
  15      Q. Did you not have your senses on Monday       15   number -- how many times have you met Mrs. Hope
  16   and Tuesday, sir?                                  16   Carter?
  17          MR. GARABEDIAN: Objection.                  17          MR. GARABEDIAN: Objection.
  18      A. No.                                          18      A. Twice.
  19   BY MR. KENNEDY:                                    19   BY MR. KENNEDY:
  20      Q. Were you conscious on Monday and             20      Q. Okay. I think you mentioned one time
  21   Tuesday, sir?                                      21   in 2006. When was the other time, sir?
  22          MR. GARABEDIAN: Objection.                  22      A. When Douglas left, Jessica, Nicholas,
  23      A. I don't know. I lost consciousness.          23   they were doing a program, they rented a house,
  24   I don't know.                                      24   they were doing a program, and Father Paul,
  25   BY MR. KENNEDY:                                    25   Madame Carter, and other white people came to


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   1      Q. And I believe you indicated from your         1   visit where Jessica was organizing the program.
   2   earlier testimony you lost consciousness when       2   That's why I saw her twice.
   3   you got to the hospital?                            3       Q. Okay. Now, Jessica was at -- was that
   4          MR. GARABEDIAN: Objection.                   4   Carenage?
   5      A. Yes.                                          5       A. Yes.
   6   BY MR. KENNEDY:                                     6       Q. And was Jessica nice to you?
   7      Q. But at some point you remembered              7           MR. GARABEDIAN: Objection.
   8   getting your consciousness back on Wednesday?       8       A. Yes.
   9      A. Yes.                                          9   BY MR. KENNEDY:
  10          MR. GARABEDIAN: Objection.                  10       Q. And what types of things did she do
  11   BY MR. KENNEDY:                                    11   for you?
  12      Q. So, sir, you never told any doctor or        12           MR. GARABEDIAN: Objection.
  13   nurse at Justinien the truth about what happened   13       A. She didn't do anything for me. It's
  14   to you, sir?                                       14   just that -- just her way of being, I could see
  15          MR. GARABEDIAN: Objection.                  15   that she was a nice person. I hated -- I
  16      A. No. I was afraid to say that a white         16   started hating her. She organized a program.
  17   guy had done gay things with me. I was ashamed     17   It's the same group of people. Okay. Same
  18   to explain to people that a white guy had done     18   group of people, Douglas's group that were doing
  19   gay things with me.                                19   the program. They were organizing the program,
  20   BY MR. KENNEDY:                                    20   so I thought they were the same, so I started
  21      Q. Sir, how many times have you met Hope        21   hating her.
  22   Carter?                                            22   BY MR. KENNEDY:
  23      A. Excuse me?                                   23       Q. Now, what about Nicholas, did you --
  24          MR. GARABEDIAN: Objection.                  24   now, was Nicholas nice to you?
  25   BY MR. KENNEDY:                                    25       A. Yes.


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   1       Q. Okay. Sir, just getting back to the           1          I think that's all I have, sir. Thank
   2    chronology, I'm sorry, the first time that you      2   you very much.
   3    claim that you were abused by Mr. Perlitz.          3   BY MR. BABBITT:
   4           Now, you got released from the               4      Q. Good afternoon. I'm Brad Babbitt.
   5    hospital on Wednesday, is that correct, sir?        5          Why did you start hating Jessica?
   6       A. Yes.                                          6      A. Because I thought she was a friend of
   7       Q. Okay. And I believe from your earlier         7   Douglas's, she was part of Douglas's group, so
   8    testimony that you claim that Mr. Perlitz abused    8   that's why I hated her.
   9    you for the second time approximately a week        9      Q. Did you hate Nick?
  10    after the first time he abused you?                10      A. I didn't really hate him. But they
  11       A. Yes.                                         11   were in the same group.
  12       Q. Okay. So if you got -- if the abuse          12      Q. So you hated everybody who was in the
  13    happened, the first abuse happened on the          13   group with Doug Perlitz?
  14    Sunday, what day did the second abuse occur,       14          MR. GARABEDIAN: Objection.
  15    sir?                                               15      A. Yes, I thought they were doing this --
  16           MR. GARABEDIAN: Objection.                  16   they were the same kind of people.
  17       A. I don't remember the day.                    17   BY MR. BABBITT:
  18    BY MR. KENNEDY:                                    18      Q. You thought Jessica was abusing some
  19       Q. Was it on that weekend, sir?                 19   students at PPT?
  20       A. I don't remember if it was a weekday         20          MR. GARABEDIAN: Objection.
  21    or a weekend day.                                  21      A. Maybe she wasn't abusing them the way
  22       Q. Sir, do you know an individual named         22   Douglas was, but she might be abusing them in
  23    Paul Kendrick?                                     23   another way.
  24       A. Yes, I know him. Father Paul?                24   BY MR. BABBITT:
  25       Q. No, sir, not Father Paul. An                 25      Q. Did anybody ever tell you that Jessica

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   1    individual named Paul Kendrick.                     1   abused students at PPT in any way?
   2       A. Yes, he was a Jesuit.                         2         MR. GARABEDIAN: Objection.
   3       Q. Have you ever met this individual             3     A. No, no one did. I thought. I
   4    named Paul Kendrick with Mr. Cyrus Sibert?          4   thought.
   5       A. No.                                           5   BY MR. BABBITT:
   6       Q. Okay.                                         6     Q. Did anybody ever tell you that Nick
   7       A. I've never seen him, or them.                 7   had abused any students at PPT?
   8       Q. Okay. Sir, you mentioned the word             8         MR. GARABEDIAN: Objection.
   9    "justice" several times.                            9     A. No.
  10       A. Yes.                                         10   BY MR. BABBITT:
  11       Q. Could justice means something besides        11     Q. Okay. Have you heard -- ever heard of
  12    money to you, sir?                                 12   the Order of Malta American Association?
  13            MR. GARABEDIAN: Objection.                 13     A. No.
  14       A. What I want is justice. A judge that         14         MR. BABBITT: Okay. That's all I
  15    will decide what is just, who will decide for      15   have. Thank you very much.
  16    me. That's -- I want justice.                      16         THE VIDEOGRAPHER: This concludes the
  17    BY MR. KENNEDY:                                    17   March 27, 2015 deposition of Jose Bernardin.
  18       Q. So you could receive no money and            18   Going off the record. The time is 6:48.
  19    still receive justice, sir?                        19         (Whereupon, the deposition was
  20            MR. GARABEDIAN: Objection.                 20         concluded.)
  21       A. Justice I need. I'm not asking for           21
  22    money. Douglas doesn't have enough money to        22
  23    compensate us.                                     23
  24            MR. KENNEDY: Okay. Just bear with          24
  25    me.                                                25


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   1          CERTIFICATE                                  1           ------
   2          I, MAUREEN O'CONNOR POLLARD, LSR #473,                   ERRATA
   3   RMR, CLR, and Notary Public in and for the State    2           ------
   4   of Connecticut, do hereby certify that there        3   PAGE LINE CHANGE
   5   came before me on the 27th day of March, 2015,      4   ____ ____ _________________________________
   6   the person hereinbefore named, who was duly         5     REASON: __________________________________
   7   sworn to testify to the truth of their knowledge    6   ___ ____ __________________________________
   8   concerning the matters in this cause, and their     7     REASON: __________________________________
   9   examination reduced to typewriting under my         8   ____ ____ _________________________________
  10   direction and is a true record of the testimony.
                                                           9     REASON: __________________________________
                                                          10   ____ ____ _________________________________
  11          I further certify that I am neither
                                                          11     REASON: __________________________________
  12   attorney for or related or employed by any of
                                                          12   ____ ____ _________________________________
  13   the parties to the action, and that I am not a
                                                          13     REASON: __________________________________
  14   relative or employee of any attorney or counsel
                                                          14   ____ ____ _________________________________
  15   employed by the parties hereto or financially
                                                          15     REASON: _________________________________
  16   interested in the action.                          16   ____ ____ _________________________________
  17          In witness whereof, I have hereunto         17     REASON: _________________________________
  18   set my hand and seal this 3rd day of April,        18   ____ ____ _________________________________
  19   2015.                                              19     REASON: _________________________________
  20                                                      20   ____ ____ _________________________________
  21     ________________________________________         21     REASON: _________________________________
  22     MAUREEN O'CONNOR POLLARD, License #473           22   ____ ____ _________________________________
  23     Realtime Systems Administrator, RMR              23     REASON: _________________________________
  24     Notary Commission Expires: 10/31/2017            24   ____ ____ _________________________________
  25                                                      25


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   1          INSTRUCTIONS TO WITNESS                      1         ACKNOWLEDGMENT OF DEPONENT
   2                                                       2
                                                           3             I, __________________________, do
   3              Please read your deposition over             Hereby certify that I have read the foregoing
   4    carefully and make any necessary corrections.      4   pages, and that the same is a correct
   5    You should state the reason in the appropriate         transcription of the answers given by me to the
   6    space on the errata sheet for any corrections      5   questions therein propounded, except for the
                                                               corrections or changes in form or substance, if
   7    that are made.                                     6   any, noted in the attached Errata Sheet.
   8              After doing so, please sign the          7
   9    errata sheet and date it. It will be attached      8   _________________________________
  10    to your deposition.                                    JOSE BERNARDIN          DATE
                                                           9
  11              It is imperative that you return        10
  12    the original errata sheet to the deposing         11
  13    attorney within thirty (30) days of receipt of    12
  14    the deposition transcript by you. If you fail     13
                                                          14
  15    to do so, the deposition transcript may be
                                                          15   Subscribed and sworn
  16    deemed to be accurate and may be used in court.        To before me this
  17                                                      16   ______ day of _________________, 20____.
  18                                                      17   My commission expires: ________________
  19                                                      18
                                                               _______________________________________
  20                                                      19   Notary Public
  21                                                      20
  22                                                      21
  23                                                      22
                                                          23
  24                                                      24
  25                                                      25


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                  UNITED STATES DISTRICT COURT
                  DISTRICT OF CONNECTICUT
                                       Civil Action No.
                                       3:13-cv-01132(RNC)
        ****************************
        GERVIL ST. LOUIS, a/k/a ST.    Consolidated with:
        LOUIS GERVIL,                  3:13-cv-1225-RNC
                                       3:13-cv-1269-RNC
                       Plaintiff,      3:13-cv-1437-RNC
                                       3:13-cv-1480-RNC
             v.                        3:13-cv-1626-RNC
                                       3:13-cv-1627-RNC
        DOUGLAS PERLITZ, FATHER        3:13-cv-1628-RNC
        PAUL E. CARRIER, S.J.; HOPE    3:13-cv-1629-RNC
        E. CARTER; HAITI FUND,         3:13-cv-1630-RNC
        INC.; FAIRFIELD UNIVERSITY;    3:13-cv-1631-RNC
        THE SOCIETY OF JESUS OF NEW    3:13-cv-1632-RNC
        ENGLAND; SOVEREIGN MILITARY    3:13-cv-1633-RNC
        HOSPITALLER ORDER OF ST.       3:13-cv-1634-RNC
        JOHN OF JERUSALEM OF RHODES    3:13-cv-1635-RNC
        AND OF MALTA, AMERICAN         3:13-cv-1636-RNC
        ASSOCIATION, U.S.A.; a/k/a     3:13-cv-1637-RNC
        ORDER OF MALTA, AMERICAN       3:13-cv-1638-RNC
        ASSOCIATION, U.S.A.; JOHN      3:13-cv-1639-RNC
        DOE ONE; JOHN DOE TWO; JOHN    3:13-cv-1640-RNC
        DOE THREE; JOHN DOE FOUR;      3:13-cv-1641-RNC
        JOHN DOE FIVE; JOHN DOE SIX    3:13-cv-1642-RNC
        and JOHN DOE SEVEN,            3:13-cv-1644-RNC
                                       3:13-cv-1645-RNC
                       Defendants.     3:13-cv-1647-RNC
                                       3:13-cv-1648-RNC
                                       3:13-cv-1701-RNC
                                       3:13-cv-1767-RNC
                                       3:13-cv-1768-RNC
                                       3:13-cv-1769-RNC
                                       3:13-cv-1881-RNC
                                       3:13-cv-1904-RNC
                                       3:13-cv-1906-RNC
                                       3:13-cv-1907-RNC
        ******************************
        This document applies to:
        All of the above referenced cases
        And those to be filed
        ******************************
        CONFIDENTIAL - SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
             VIDEOTAPED DEPOSITION OF WISKY JEROME

                   Monday, March 23, 2015
                        9:16 a.m.

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   1     VIDEOTAPED DEPOSITION OF WISKY JEROME                 1    APPEARANCES (Continued):
   2                                                           2
       Held At:                                                3    FOR THE DEFENDANT PAUL E. CARRIER, S.J.:
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  25                                                          25


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   1   APPEARANCES:                                            1   APPEARANCES (Continued):
   2   FOR THE PLAINTIFF:                                      2   FOR THE DEFENDANT ORDER OF MALTA, AMERICAN
   3     MITCHELL GARABEDIAN, ESQ.                             3   ASSOCIATION, U.S.A.:
   4     LU XIA, ESQ.                                          4     BRADFORD S. BABBITT, ESQ.
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  11           -and-                                          11   FOR THE DEFENDANT FAIRFIELD UNIVERSITY:
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  13     ELLYN HURD, ESQ.                                     13       DAY PITNEY LLP
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  18        jconroy@simmonsfirm.com                           18
  19        ehurd@simmonsfirm.com                             19   FOR THE DEFENDANT THE SOCIETY OF JESUS OF
  20           -and-                                          20   NEW ENGLAND:
  21     G. MICHAEL STEWART, ESQ.                             21     WILLIAM J. DAILEY, JR., ESQ.
  22        SIMMONS HANLY CONROY                              22       SLOANE AND WALSH, LLP
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    1       APPEARANCES (Continued):                                      1        PROCEEDINGS
    2                                                                     2
    3       Videographer: Christopher Coughlin                            3          THE VIDEOGRAPHER: We are now on the
    4                                                                     4   record. My name is Chris Coughlin, I'm a
    5       Interpreter: Nathalie Coupet                                  5   videographer for Golkow Technologies. Today's
    6                                                                     6   date is March 23rd, 2015, and the time is
    7       Also Present: Emirlane Carmen Louis                           7   9:13 a.m..
    8                Interpreter                                          8          This video deposition is being held in
    9                                                                     9   Puerto Plata, Dominican Republic, in the matter
   10                                                                    10   of Gervil, St. Louis, Plaintiff versus Douglas
   11                                                                    11   Perlitz, Et Al, Defendants, for the United
   12                                                                    12   States District Court for the District of
   13                                                                    13   Connecticut, Civil Action Number
   14                                                                    14   3:13-cv-01132(RNC).
   15                                                                    15          The deponent is Wisky Jerome.
   16                                                                    16          Will counsel please identify
   17                                                                    17   yourselves for the record.
   18                                                                    18          MR. O'NEILL: Timothy O'Neill
   19                                                                    19   representing Paul Carrier.
   20                                                                    20          MR. FOLKMAN: Ted Folkman of Murphy &
   21                                                                    21   King for Father Paul Carrier.
   22                                                                    22          MR. DAILEY: William Dailey
   23                                                                    23   representing the New England Province of the
   24                                                                    24   Society of Jesus.
   25                                                                    25          MR. WILLIAMS: Paul Williams


                                                                Page 7                                               Page 9
   1              INDEX                                                   1   representing Fairfield University.
   2    EXAMINATION                                     PAGE              2          MR. KENNEDY: Jeffrey Kennedy
   3    WISKY JEROME
   4    BY MR. O'NEILL                                  10                3   representing Hope Carter.
   5    BY MR. DAILEY                                   119               4          MR. BABBITT: I'm Bradford Babbitt, I
   6    BY MR. WILLIAMS                                   184             5   represent the Order of Malta American
   7    BY MR. KENNEDY                                    200             6   Association.
   8    BY MR. BABBITT                                   221
   9                                                                      7          MR. STEWART: Mike Stewart on behalf
  10                                                                      8   of Plaintiffs.
  11         EXHIBITS                                                     9          MS. HURD: Ellyn Hurd for Plaintiff.
  12    NO.      DESCRIPTION                     PAGE
  13    1 Complaint and Jury Trial Demand...... 11
                                                                         10          MS. CONROY: Jayne Conroy, Plaintiff.
  14    2 Plaintiff Wisky Jerome's Response                              11          MR. GARABEDIAN: Mitchell Garabedian,
          to First Set of Interrogatories...... 11                       12   Plaintiff.
  15                                                                     13          MS. XIA: Lu Xia, Plaintiff.
        3    Birth Certificate.................... 12
  16                                                                     14          MS. LOUIS: Carmen Louis, interpreter.
        4    Three page list of names............. 41                    15          MR. GARABEDIAN: She's an interpreter.
  17                                                                     16          THE VIDEOGRAPHER: The court reporter
        5    Stick diagram........................169
  18
                                                                         17   is Maureen Pollard, and she will now swear in
        6    Photograph...........................171                    18   the witness.
  19                                                                     19
        7    Photograph...........................172                    20          NATHALIE COUPET,
  20
        8    Photograph...........................177                    21   having been duly sworn to translate the
  21                                                                     22   testimony of the witness, was examined and
  22                                                                     23   translated as follows:
  23
                                                                         24
  24
  25                                                                     25


                                                                                              3 (Pages 6 to 9)
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   1          WISKY Jerome,                                1          marked for identification.)
   2   having been first duly sworn, was examined and      2          MR. O'NEILL: I'm going to introduce
   3   testified as follows through the translator:        3   as Exhibit 3 your birth certificate as provided
   4      A. I swear in front of God everything I          4   by your counsel.
   5   say will be the truth.                              5          (Whereupon, Jerome Exhibit Number 3,
   6          MR. DAILEY: May I just raise a               6          Birth Certificate, was marked for
   7   question here? Don't you translate rather than      7          identification.)
   8   interpret?                                          8   BY MR. O'NEILL:
   9          THE INTERPRETER: Interpreting is for         9       Q. If you look at the interrogatories,
  10   oral translation. Translating is for written       10   Mr. Jerome, you will see that the second part is
  11   translations. It's the same.                       11   in Creole. So any time that I refer to a
  12          MR. DAILEY: So you will be                  12   number, you can look at the number in Creole.
  13   translating in verbal form?                        13          MR. GARABEDIAN: It's the last half of
  14          THE INTERPRETER: Yes.                       14   it. The first half is --
  15           MR. DAILEY: Okay.                          15       A. This is in Creole?
  16          MR. GARABEDIAN: How else would she be       16          MR. GARABEDIAN: The second half of it
  17   translating, sir?                                  17   is beginning here.
  18          MR. DAILEY: It's not for her to             18       A. It's in Creole here?
  19   interpret what the witness is saying, it's for     19          MR. GARABEDIAN: Yes.
  20   her to translate exactly in verbal form what the   20   BY MR. O'NEILL:
  21   witness is saying.                                 21       Q. You read Creole, Mr. Jerome, correct?
  22          DIRECT EXAMINATION                          22       A. I'm not really good at it.
  23   BY MR. O'NEILL:                                    23       Q. Did you approve these answers to
  24      Q. Mr. Jerome, my name is Timothy               24   interrogatories when you signed them?
  25   O'Neill, and I represent Paul Carrier, Pere        25       A. Is this in Creole?


                                            Page 11                                                 Page 13
   1    Paul.                                              1          MR. GARABEDIAN: Can you rephrase the
   2           Do you know who that is?                    2   question?
   3        A. Yes, I do.                                  3   BY MR. O'NEILL:
   4        Q. I'm going to introduce now, just so we      4       Q. What's the question? I think I asked
   5    have them introduced, the complaint that was       5   him if he can read Creole.
   6    filed on September 30th, 2013 as Exhibit 1.        6          MR. GARABEDIAN: I don't think he
   7           (Whereupon, Jerome Exhibit Number 1,        7   understands you.
   8           Complaint and Jury Trial Demand, was        8   BY MR. O'NEILL:
   9           marked for identification.)                 9       Q. Did he approve the answers?
  10           MR. O'NEILL: Might be more than            10       A. One minute.
  11    needed, but that's all I have.                    11       Q. Sure, time your time.
  12           MR. GARABEDIAN: Can I get one of           12          MR. GARABEDIAN: I think the problem
  13    those, please?                                    13   is he thinks you're asking if he approves it
  14           MR. O'NEILL: This is for the witness.      14   now, not before.
  15    BY MR. O'NEILL:                                   15   BY MR. O'NEILL:
  16        Q. Mr. Jerome, I'm going to introduce now     16       Q. Let me rephrase the question then.
  17    a copy of your interrogatories.                   17          Mr. Jerome, these answers are signed
  18           First of all, at the last page, is         18   on what date? Do you see a date there?
  19    this your signature?                              19       A. Yes.
  20        A. Yes.                                       20       Q. Do you see September, sorry -- is that
  21           MR. O'NEILL: May this be marked then       21   10 June?
  22    as Exhibit 2?                                     22          MR. FOLKMAN: July.
  23           (Whereupon, Jerome Exhibit Number 2,       23   BY MR. O'NEILL:
  24           Plaintiff Wisky Jerome's Response to       24       Q. 10 July, 2014?
  25           First Set of Interrogatories, was          25       A. Yes.


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   1      Q. When you signed that with your name on        1   if as a physical document he actually saw the
   2   10 July, 2014, did understand what the various      2   complaint and understood what was being said in
   3   answers to the interrogatories were, your           3   the complaint.
   4   answers?                                            4          MR. GARABEDIAN: Objection.
   5      A. When I signed the document, I didn't          5       A. It's everything that is in there.
   6   really read the document.                           6   BY MR. O'NEILL:
   7      Q. You didn't read it at all?                    7       Q. Well, the complaint is 40 pages long.
   8      A. No.                                           8   You can look at it, it's Exhibit 1, I believe.
   9      Q. Did someone read the answers that were        9       A. I'm not really good at reading Creole.
  10   your answers to you that you understood when you   10       Q. Well, this is in English. Did anyone
  11   signed this?                                       11   explain to you what was being filed as a 40 page
  12      A. No.                                          12   document on your behalf in the Connecticut
  13      Q. Who was present when you signed on           13   Federal Court?
  14   September -- July 10, 2014? Who was there          14       A. I was at Pierre Toussaint, I was a
  15   witnessing your signature?                         15   victim. I found lawyer to help me.
  16      A. Cyrus.                                       16       Q. And who was that lawyer?
  17      Q. Cyrus Sibert?                                17       A. Mitch.
  18      A. Yes.                                         18       Q. Mitch is Mr. Garabedian?
  19      Q. Anyone else?                                 19       A. Yes.
  20      A. No.                                          20       Q. Okay. Have you ever been deposed
  21      Q. And did Cyrus hand you these -- Cyrus        21   before, like in a setting such as this?
  22   Sibert hand you these interrogatories to sign?     22       A. First time.
  23      A. Yes.                                         23       Q. And you understand that -- what do you
  24      Q. And you didn't read them?                    24   understand about the oath that you took today?
  25      A. No.                                          25       A. Everything I say has to be the truth.


                                            Page 15                                                 Page 17
   1       Q. So you don't know what they say?             1       Q. Okay.
   2       A. No.                                          2      A. Could they lower the air conditioner,
   3       Q. Okay. Did you ever read the complaint        3   please? It's a little bit cold.
   4   that is filed in your name?                         4          MR. FOLKMAN: Heat it up?
   5       A. The complaint filed for me?                  5          THE INTERPRETER: Yes, too cold.
   6       Q. Yes. In 2013, September 30th, 2013, a        6   BY MR. O'NEILL:
   7   complaint was filed in your name. Did you read      7       Q. It's hot for me.
   8   that complaint?                                     8       A. I'm cold.
   9       A. No, I didn't read it.                        9       Q. Turn it off.
  10       Q. Did understand what was being claimed       10          If I ask you a question of what your
  11   in the complaint that was filed in your name?      11   personal knowledge is, do you understand that
  12       A. Yes.                                        12   question, your own personal knowledge?
  13       Q. How did you come to understand what         13          MR. GARABEDIAN: Objection.
  14   was in that complaint?                             14      A. My personal knowledge is of something?
  15          THE INTERPRETER: I'm sorry, I could         15   BY MR. O'NEILL:
  16   not understand the witness. I'm asking him to      16       Q. Yes.
  17   be clear.                                          17       A. Something that happened to me?
  18          Repeat, please.                             18      Q. No, just in general, if I ask him is
  19       A. I was -- the complaint they filed for       19   this your personal knowledge, does he understand
  20   me, I was in the Pierre Toussaint Project, and     20   what that that means.
  21   Douglas found me in the streets. It was            21      A. That I have personal knowledge,
  22   raining. There was no place for me to sleep.       22   experience of something that happened to me, for
  23   BY MR. O'NEILL:                                    23   example.
  24       Q. I'm not asking about any of the             24       Q. Yes. Okay.
  25   details of what's in the complaint, just asking    25          What personal knowledge do you have


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   1   about the Haiti Fund?                               1      A. When he says hello, I say hello, and
   2      A. What is Haiti Fund?                           2   then he puts his hand on my head.
   3      Q. Does he have any personal knowledge of        3      Q. You have no personal knowledge of
   4   the Haiti Fund, what is called the Haiti Fund?      4   Father Carrier seeing boys in Mr. Perlitz's
   5      A. No, I don't know.                             5   bedroom, do you?
   6      Q. Do you have any personal knowledge            6          MR. GARABEDIAN: Objection.
   7   about Fairfield University?                         7      A. Can you repeat the question, please?
   8      A. They send groups of people.                   8   BY MR. O'NEILL:
   9      Q. What personal knowledge do you have of        9      Q. Let's look at, and look at the Creole
  10   Fairfield University in Connecticut?               10   version of Interrogatory Number 48. Would you
  11      A. The information I have about them is         11   read the Creole version of Interrogatory 48?
  12   that they sent people.                             12      A. I don't know -- who are you talking
  13      Q. Okay. What kind of people?                   13   about?
  14      A. White people, they're not black, but I       14      Q. Read interrogatory -- this is supposed
  15   don't remember.                                    15   to be your answer to Interrogatory Number 48.
  16      Q. Okay. Do you have any personal               16   And the question is, "If you contend that Father
  17   knowledge of the Knights of Malta?                 17   Carrier had a sexual relationship with any
  18      A. What is that? What is the Knights of         18   person from 1987 to the present, state the
  19   Malta?                                             19   basis." Now, the Creole of that is what?
  20      Q. I'm asking you; do you have any              20          MR. O'NEILL: That's -- the question
  21   personal knowledge? Yes or no.                     21   is what? Would you read the question to him in
  22      A. Say it again, please.                        22   Creole?
  23      Q. Sure.                                        23      A. When I was -- I knew Father Paul, he
  24          If you don't understand any question,       24   used to talk to me, he said hello.
  25   I will repeat it for you.                          25   BY MR. O'NEILL:


                                           Page 19                                                  Page 21
   1          Do you have any personal knowledge           1      Q. Do you recall ever being shown an
   2   about the Knights of Malta?                         2   interrogatory that asked the question that you
   3       A. I don't understand.                          3   see before you in Creole, and did you personally
   4       Q. You never heard of them before?              4   give the information "I personally know nothing
   5       A. No.                                          5   about this matter"?
   6       Q. All right. Now, you're not claiming          6      A. Talking about Father Paul?
   7   in any sense that you were sexually abused by my    7      Q. Yes.
   8   client, Paul Carrier, are you?                      8      A. Yes.
   9          MR. GARABEDIAN: Objection.                   9      Q. Who gave you the question? Who told
  10       A. What?                                       10   you that question?
  11   BY MR. O'NEILL:                                    11      A. When they were asking me questions
  12       Q. Do you want me to repeat the question?      12   about Father Paul, I said I speak to Father
  13       A. Yes.                                        13   Paul, he says hello, I say hello, he holds my
  14       Q. You are not claiming in any sense that      14   head, then he leaves.
  15   Paul Carrier, Pere Paul, sexually abused you?      15      Q. Do you have any knowledge, personal
  16          MR. GARABEDIAN: Objection.                  16   knowledge, that Father Carrier ever saw boys in
  17       A. Father Paul, I know him. I just said        17   Douglas Perlitz's bedroom?
  18   that he was at Pierre Toussaint, and he was        18      A. Do I have information, or somebody
  19   playing with us.                                   19   said to me that --
  20   BY MR. O'NEILL:                                    20      Q. No --
  21       Q. Playing with you in what way?               21          MR. GARABEDIAN: Let him answer the
  22       A. When I see him, he says hello, I say        22   question.
  23   hello. When I say hello to him, he puts his        23      A. -- that there were --
  24   hand on my head.                                   24          THE INTERPRETER: That's all he said.
  25       Q. Okay. He never touched you sexually?        25          MR. O'NEILL: Do you want me to repeat


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   1   the question?                                      1   record a second?
   2           THE INTERPRETER: Yes, please.              2         MR. O'NEILL: Sure.
   3   BY MR. O'NEILL:                                    3         THE VIDEOGRAPHER: Going off the
   4       Q. Do you have any knowledge, personal         4   record. The time is 9:44.
   5   knowledge, that Father Carrier ever saw boys in    5         (Off the record discussion.)
   6   Douglas Perlitz's bedroom?                         6         THE VIDEOGRAPHER: Back on the record.
   7           What's he saying?                          7   The time is 9:44.
   8        A. As far as I'm concerned, I have my own     8   BY MR. O'NEILL:
   9   knowledge also. I used to seeing Douglas with      9      Q. My question is; do you agree that you
  10   little boys where little boys are lying down,     10   have no knowledge at all that Father Carrier
  11   and he's sitting in front of the little boys      11   ever saw boys in Perlitz's bedroom? You have no
  12   lying down.                                       12   knowledge personally?
  13        Q. Where?                                    13      A. No.
  14       A. In the Village, Pierre Toussaint           14      Q. I understand your "no" to mean that
  15   Village.                                          15   you have no knowledge of any such -- no
  16        Q. Okay. We're not getting too far here.     16   knowledge of ever seeing Carrier, or seeing that
  17           Look at Number 49, the question and       17   he was there when boys were in Perlitz's
  18   answer, in Creole for me, Interrogatory Number    18   bedroom?
  19   49.                                               19         MR. GARABEDIAN: Objection.
  20           THE INTERPRETER: Do you want me to        20      A. I don't know.
  21   read it?                                          21         MR. O'NEILL: He doesn't know.
  22           MR. O'NEILL: Read it to him, yes.         22         THE INTERPRETER: Meaning I agree with
  23        A. I didn't say that --                      23   you.
  24           MR. O'NEILL: No, just read the            24         MR. GARABEDIAN: Let --
  25   question and answer, and then I'll ask him a      25         MR. O'NEILL: No, no, just what he


                                           Page 23                                                 Page 25
   1   question.                                          1   said.
   2           (Interpreter complies.)                    2   BY MR. O'NEILL:
   3           THE INTERPRETER: He wants me to read       3      Q. Let's look at your birth certificate,
   4   it again.                                          4   maybe we'll get a little somewhere there.
   5           MR. O'NEILL: Sure.                         5          You were born, sir, on December 12th,
   6           (Interpreter complies.)                    6   1988?
   7       A. I didn't say I am used to seeing            7      A. Yes.
   8   Father Paul, that Father Paul is used to seeing    8      Q. And your mother was Marie-Rose Tilma?
   9   little boys in Douglas's room. I didn't say        9      A. Yes.
  10   that.                                             10      Q. And your father was Cereste -- I might
  11   BY MR. O'NEILL:                                   11   be saying this wrong, excuse me if I am --
  12       Q. You didn't say -- okay. You didn't         12   Cereste Gerome?
  13   say that.                                         13      A. Yes.
  14           The answer is, to that interrogatory,     14      Q. And you were born in Limbé?
  15   I personally know nothing about seeing minor      15      A. Yes.
  16   boys -- if Father Carrier saw minor boys from     16      Q. Where is that?
  17   the project in Douglas's bedroom.                 17      A. Outside, outside.
  18           MR. GARABEDIAN: Objection. That's         18      Q. Outside of Cap-Haïtian?
  19   not what it says.                                 19      A. Yes.
  20       A. I didn't say that.                         20      Q. How far away?
  21           MR. O'NEILL: He didn't?                   21      A. One hour.
  22           THE INTERPRETER: He agrees with you.      22      Q. By car?
  23   BY MR. O'NEILL:                                   23      A. Yes.
  24       Q. Let's get this straight.                   24      Q. It says you went -- you lived at Limbé
  25           MR. GARABEDIAN: Can we go off the         25   for a while, and then you went to Haut Du-Cap?


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   1        A. Yes.                                     1     Q.    No idea how much older than you he is?
   2        Q. How long did you live in Limbé before    2     A.    No.
   3    the family moved to Haut Du-Cap?                3     Q.    Where does your sister live?
   4           MR. GARABEDIAN: Objection.               4     A.    Santo Domingo, Dominican Republic.
   5        A. I don't remember how long I stayed in    5     Q.    And you have a son?
   6    Limbé.                                          6     A.    Yes.
   7    BY MR. O'NEILL:                                 7     Q.    His name is Anderson Jerome?
   8        Q. After Haut Du-Cap, you want to           8     A.    Yes.
   9    St. Philoméne, Cap-Haïtian?                     9     Q.    How old he is?
  10        A. St. Philoméne.                          10     A.    Two.
  11        Q. That's part of Cap-Haïtian?             11     Q.    And where does he live?
  12        A. Yes.                                    12     A.    With his mother at Limbé.
  13        Q. And you lived there with your parents   13     Q.    In Limbé?
  14    for a while?                                   14          After you lost your parents, you don't
  15        A. Yes.                                    15   know when, you lived in the streets?
  16        Q. Your mother and father died, is that    16          MR. GARABEDIAN: Objection.
  17    correct?                                       17      A. Yes.
  18        A. Yes.                                    18   BY MR. O'NEILL:
  19        Q. When did they die? How old were you     19      Q. And you lived in the streets from your
  20    when they died?                                20   parents died, even though you don't know when,
  21        A. I don't remember.                       21   until 2007, isn't that correct?
  22        Q. Is it before you can remember? Was it   22          MR. GARABEDIAN: Objection.
  23    before you were -- under four years old?       23      A. Yes.
  24           MR. GARABEDIAN: Objection.              24   BY MR. O'NEILL:
  25        A. I don't remember.                       25      Q. In 2007, you went into the Village,


                                         Page 27                                                Page 29
   1   BY MR. O'NEILL:                                  1   where you lived in the Village for a while,
   2       Q. You have no memory at all of when they    2   isn't that correct?
   3   died?                                            3       A. Yes.
   4       A. I don't remember.                         4       Q. What did you do living in the street?
   5       Q. Do you have any brothers or sisters?      5   Describe what living in the street meant for you
   6       A. Yes.                                      6   as you were -- from that period of time from
   7       Q. You have a brother by the name of         7   your parents died until 2007?
   8   Jerome Tisson?                                   8       A. When my parents died I went to live in
   9       A. Yes.                                      9   the streets, and then I was at the Retwa, which
  10       Q. Is he older or younger than you?         10   is a marketplace.
  11       A. Older.                                   11       Q. Where did you sleep when you were
  12       Q. How old is he now?                       12   living in the streets?
  13       A. I don't remember.                        13       A. In the streets.
  14       Q. How much older than you was he, or is    14       Q. How did you eat?
  15   he?                                             15       A. I used to eat leftovers with people,
  16          MR. GARABEDIAN: Objection.               16   and I used to beg.
  17       A. He's older than me. And I have a         17       Q. Were there many children living in the
  18   sister also, she's older than me.               18   street?
  19   BY MR. O'NEILL:                                 19           MR. GARABEDIAN: Yes.
  20       Q. How much older?                          20   BY MR. O'NEILL:
  21       A. Talking about my brother?                21       Q. How many?
  22       Q. Brother first.                           22           MR. GARABEDIAN: Objection.
  23       A. I don't remember.                        23       A. I don't remember, but a lot.
  24       Q. Is it more than five years older?        24   BY MR. O'NEILL:
  25       A. I don't remember.                        25       Q. In 2007, you were 19 -- well, in


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   1    December of 2007, you turned 19, is that           1      Q. Can you name some of the people you
   2    correct?                                           2   lived in the street with?
   3       A. No, no.                                      3      A. A lot of kids.
   4       Q. He was born 1988, December.                  4      Q. What were the names? Do you remember
   5       A. Yeah.                                        5   names?
   6       Q. So by 2007, in December, you were 19,        6      A. Some of them I remember -- recall
   7    right?                                             7   their names, some I don't.
   8       A. No.                                          8      Q. Tell me the names you remember. Could
   9       Q. How old were you?                            9   we have the spellings as best you can?
  10       A. I don't remember.                           10      A. So Dora, D-O-R-A; Jose, J-O-S-E;
  11       Q. You went into the Village, however, in      11   Wilnik, W-I-L-N-I-K; and Wilburt; Emmanuel;
  12    2007, correct?                                    12   Evans. I don't know.
  13       A. Yes.                                        13      Q. Anyone else that you remember now?
  14       Q. And is that the first time since your       14      A. I don't remember others.
  15    parents died that you had a place that was with   15      Q. You started in Rue 13, whatever the
  16    a bed that you could sleep in?                    16   Creole for 13 is --
  17       A. Yes.                                        17          THE INTERPRETER: You started?
  18       Q. On the streets, was there a lot of          18   BY MR. O'NEILL:
  19    glue-sniffing?                                    19      Q. You started in Rue 13, the Street 13
  20           MR. GARABEDIAN: Objection.                 20   with PPT, is that correct, in 2000, the year
  21       A. Never. Never.                               21   2000?
  22    BY MR. O'NEILL:                                   22          THE INTERPRETER: What is PPT?
  23       Q. I didn't ask if he was using it, just       23          MR. O'NEILL: PPT is Project Pierre
  24    in general.                                       24   Toussaint.
  25       A. Yes, they used to hallucinate.              25      A. No.


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   1        Q. And this was some of the children?          1   BY MR. O'NEILL:
   2        A. Majority of them. But I didn't. I           2      Q. Okay. Why don't we look at
   3    didn't like it.                                    3   Interrogatory Number 5, which obviously we're
   4        Q. Paint thinner, did they use paint           4   using as a guidance here.
   5    thinner?                                           5          MR. O'NEILL: Would you read him the
   6           MR. GARABEDIAN: Objection.                  6   answer, the question and answer on Creole to
   7        A. Yes, yes.                                   7   Interrogatory Number 5, the question that was
   8    BY MR. O'NEILL:                                    8   asked and his answer as is listed there that he
   9        Q. Did you use that?                           9   signed off on?
  10        A. No.                                        10          (Interpreter complies.)
  11        Q. Did you do things for money in the         11          THE INTERPRETER: I'm reading to him
  12    street?                                           12   the answer.
  13        A. No.                                        13          MR. O'NEILL: Yes.
  14        Q. Did anyone ever approach you for           14          (Interpreter reading to witness.)
  15    sexual intercourse in exchange for money, or      15      A. Yes.
  16    food, or other things?                            16   BY MR. O'NEILL:
  17           MR. GARABEDIAN: Objection.                 17      Q. So it's true to say that you
  18        A. No.                                        18   participated in Rue 13 from 2000 to 2005, and in
  19    BY MR. O'NEILL:                                   19   2005 you went into Carenage?
  20        Q. Before 2007, other than what Douglas       20      A. Yes.
  21    Perlitz you claim did to you, did you have sex    21      Q. Now, who were your teachers when you
  22    with anyone else?                                 22   were doing the first grade in Rue 13?
  23           MR. GARABEDIAN: Objection.                 23          MR. GARABEDIAN: Objection.
  24        A. Just Douglas who did that with me.         24      A. Ms. Calixte, a woman, Ms. Calixte.
  25    BY MR. O'NEILL:                                   25   BY MR. O'NEILL:


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   1       Q. Anyone else?                                1       Q. Okay. And again Interrogatory Number
   2       A. Merline, M-E-R-L-I-N-E.                     2   5, your answer, you said you stayed until
   3       Q. Did you understand that this school         3   approximately 2007 when you were sent to the
   4    was created by Douglas Perlitz?                   4   Village?
   5          MR. GARABEDIAN: Objection.                  5       A. Yes.
   6       A. Yes.                                        6       Q. And how long did you stay in the
   7    BY MR. O'NEILL:                                   7   Village?
   8       Q. Were there any white workers there          8       A. When I say I stayed there, I didn't
   9    from America that worked there in the Rue 13,     9   say that's where I was sleeping.
  10    that you can recall?                             10       Q. The Village?
  11       A. Yes.                                       11       A. I was still in the streets. When they
  12       Q. Would you tell me their names?             12   sent me to the Village, I was sleeping at the
  13       A. Andy.                                      13   Village.
  14       Q. Anyone else?                               14       Q. Yes, that was after 2007.
  15       A. Nicholas.                                  15       A. After 2007, I was in the Village. In
  16       Q. Was Andy Andy Shultheis?                   16   2005, I was at the Carenage, but I slept in the
  17       A. Andy.                                      17   street.
  18       Q. You knew him as Andy.                      18       Q. Yes, I understand.
  19          Nicholas, is that Nicholas Preneta?        19           Who was at the -- when you were at the
  20       A. No, I don't know his last name.            20   Rue 13 and then the Carenage, tell me some of
  21       Q. Okay. Now, are you sure that Nicholas      21   the names you remember of the boys that you were
  22    Preneta was in Rue 13?                           22   with.
  23          MR. GARABEDIAN: Objection.                 23           MR. GARABEDIAN: Objection.
  24       A. There are two of them.                     24       A. Rupert, Jose, Dora, Nabon, Didi. I
  25    BY MR. O'NEILL:                                  25   don't remember. Evans.


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   1      Q. Two Nicholases?                              1   BY MR. O'NEILL:
   2      A. Two Nicholases.                              2       Q. Okay. And that's both at the Rue 13
   3      Q. Okay. When you went to Carenage in --        3   and Carenage?
   4   am I saying that correctly, Carenage?              4       A. What?
   5          THE INTERPRETER: Yes.                       5          MR. GARABEDIAN: Objection.
   6   BY MR. O'NEILL:                                    6          MR. O'NEILL: I want to have him name
   7      Q. When you went to Carenage in 2005, you       7   all the names he can remember while he was doing
   8   stayed there until 2007, is that correct, when     8   first and second grade.
   9   you went to the Village?                           9       A. I don't remember.
  10      A. What did I say? Where did I go?             10          MR. O'NEILL: Other than the ones he
  11      Q. As I understand your answer that was        11   said?
  12   read to you in Interrogatory Number 5, you went   12       A. Yes. That's all I recall.
  13   to Carenage for the second grade in               13   BY MR. O'NEILL:
  14   approximately 2005?                               14       Q. While you were living in the streets
  15      A. Yes.                                        15   for the period of time from your parents died
  16      Q. All right. Who taught you in the            16   through 2007, did you have contact with your
  17   second grade in Carenage?                         17   brother?
  18      A. I had Ms. Calixte again. Merline            18          MR. GARABEDIAN: Objection.
  19   also.                                             19       A. Yes, we went to find him.
  20      Q. And was Andy there still?                   20   BY MR. O'NEILL:
  21      A. No.                                         21       Q. Was he living in the streets, too?
  22      Q. Nicholas, the second Nicholas?              22       A. No.
  23          MR. GARABEDIAN: Objection.                 23       Q. Was your sister living in the streets
  24      A. Yes.                                        24   after your parents died?
  25   BY MR. O'NEILL:                                   25       A. No.


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   1        Q. Why did you have to live in the            1       A. I met her at Carenage.
   2    streets?                                          2       Q. Okay. How about Nick, was he at
   3        A. The way I was living, the only people      3   Carenage, too?
   4    able to help me would be my mother and father,    4          MR. GARABEDIAN: Objection.
   5    there was no other person to help me out, so I    5       A. Yes.
   6    had to stay in the street.                        6   BY MR. O'NEILL:
   7        Q. If your brother didn't live in the         7       Q. Did you ever meet a person by the name
   8    streets, where did he live?                       8   of Brittany?
   9        A. They were older. They worked. They         9       A. Yes.
  10    lived in a house. We didn't get along well. We   10       Q. And how about Sylvester Tan?
  11    didn't get along.                                11       A. Yes.
  12        Q. Why not?                                  12       Q. All right. And when did you meet
  13        A. They didn't like me.                      13   Brittany?
  14        Q. Do you know why?                          14       A. I don't remember the year.
  15        A. I don't know. They used to beat me        15       Q. Was it while you were at Carenage, or
  16    and be mean to me.                               16   at the Village?
  17        Q. "They" being your brother and who         17       A. In the Village.
  18    else?                                            18       Q. Okay. And Tan, was that at the
  19        A. My brother.                               19   Village or at Carenage?
  20        Q. Your brother.                             20       A. Village.
  21           How about your sister?                    21       Q. The Village. Okay.
  22        A. She's in Dominican Republic.              22          What teachers did you have -- I think
  23        Q. All during this time?                     23   you've told us the teachers at Carenage. What
  24        A. After my parents died, she went to the    24   teachers did you have at the Village?
  25    Dominican Republic.                              25       A. Mémé, Judex, Master Daniel. I don't

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   1        Q. And she's still here?                      1   remember.
   2        A. Yes.                                       2        Q. Do you remember the boys you lived
   3        Q. And where does she live?                   3   with or near, that you stayed near in the
   4        A. I don't know the area.                     4   Village?
   5        Q. Is it near here, or is it Santo            5        A. The little boys?
   6    Domingo, or where?                                6        Q. Any boys, the names of any boys that
   7        A. I don't know where.                        7   you lived with in the Village.
   8        Q. So you're not in touch with her at         8        A. Yes.
   9    all?                                              9        Q. Tell me the names.
  10        A. No.                                       10        A. Peterson. Peterson.
  11        Q. Did you ever meet a person that           11        Q. Anyone else?
  12    worked -- came from the United States called     12        A. Dora.
  13    Jessica?                                         13        Q. Just as many as you can remember, tell
  14        A. Yes.                                      14   me.
  15        Q. When did you meet her?                    15        A. Didi. There are a lot of them, a lot
  16        A. Carenage.                                 16   of them. I don't -- that's what I remember.
  17        Q. Between 2005, 2007?                       17        Q. I'm going to show you a list of names.
  18        A. Yes.                                      18   I'll ask the interpreter to read the names in
  19        Q. Was it more toward 2007, the end of       19   case I mispronounce them, and we'll mark this as
  20    that period?                                     20   Exhibit 4, I believe.
  21           MR. GARABEDIAN: Objection.                21           (Whereupon, Jerome Exhibit Number 4,
  22        A. What?                                     22           Three page list of names, was marked
  23    BY MR. O'NEILL:                                  23           for identification.)
  24        Q. Was it more toward the end of the         24        A. If it's true I will say it's true?
  25    period between 2005, 2007 that he met Jessica?   25           MR. GARABEDIAN: Don't ask any


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   1   questions. Wait until he asks questions, okay?    1         THE INTERPRETER: Emmanuel Clervil?
   2   BY MR. O'NEILL:                                   2      A. Yes.
   3      Q. Wait for a question.                        3         THE INTERPRETER: Angelo Compère?
   4          THE INTERPRETER: Do you want me to         4      A. Yes.
   5   read them to him?                                 5         THE INTERPRETER: Chanel Dameus?
   6   BY MR. O'NEILL:                                   6      A. Yes.
   7      Q. Well, there's a whole bunch. So let's       7         THE INTERPRETER: Wendy Derice?
   8   read the first ten.                               8         Jason Maxwell Deriza?
   9         (Interpreter complies.)                     9   BY MR. O'NEILL:
  10   BY MR. O'NEILL:                                  10      Q. Okay. Next ten.
  11      Q. As each one is read -- Joel Albert, do     11         THE INTERPRETER: Idlin Deruis?
  12   you know him?                                    12      A. Yes.
  13      A. Yes.                                       13         THE INTERPRETER: Jose Derval?
  14      Q. Okay. And go on to 2.                      14         Roland Desauguste.
  15          THE INTERPRETER: Nickenson Alcinord?      15         Nicodeme Dolce?
  16      A. Yes.                                       16         Wadson Dorcine?
  17          THE INTERPRETER: Eliphete Alibert?        17         Makenson Dupasse.
  18      A. Yes.                                       18         Franto Edmond?
  19          THE INTERPRETER: Johnson Audate?          19          Wismond Joseph Edouard?
  20      A. Yes.                                       20         Jean Moise Emile?
  21          THE INTERPRETER: Peterson Augustin?       21   BY MR. O'NEILL:
  22      A. Yes.                                       22      Q. All those names that you have read
  23          THE INTERPRETER: Daphélus Baptiste?       23   that you've said yes to, did you know them from
  24      A. Yes.                                       24   the Village, or from the streets, or both?
  25          THE INTERPRETER: Edlyn Baptiste?          25          MR. GARABEDIAN: Objection.


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   1     A. Yes.                                         1       A. Both.
   2         THE INTERPRETER: Junior Jean                2   BY MR. O'NEILL:
   3   Baptiste?                                         3       Q. Are there any of those first 30 names
   4     A. Yes.                                         4   that you read that you only know from the
   5         THE INTERPRETER: Erlick Benjamin?           5   streets, but not from the Village or from the
   6     A. Yes.                                         6   Project Pierre Toussaint?
   7         THE INTERPRETER: Dieu-Dabel Bernard?        7          MR. GARABEDIAN: Objection.
   8     A. Yes.                                         8       A. They were all in PPT.
   9         THE INTERPRETER: First ten.                 9   BY MR. O'NEILL:
  10   BY MR. O'NEILL:                                  10       Q. All the names?
  11     Q. Okay. Go on to the next ten.                11       A. Yes.
  12         THE INTERPRETER: Mackenson Bien-Aimé?      12       Q. As you're reading the names, if
  13     A. Yes.                                        13   they're not from PPT or the Village, but you
  14         THE INTERPRETER: Robenson Bien-Amié?       14   know them from the street, tell us that, will
  15     A. Yes.                                        15   you?
  16         THE INTERPRETER: Jean Blaise?              16       A. They were all in the Village.
  17     A. Yes.                                        17       Q. So let's go to 31, the next ten.
  18         THE INTERPRETER: Guito Calet?              18          THE INTERPRETER: Jonas Estacin?
  19     A. Yes.                                        19       A. Yes.
  20         THE INTERPRETER: Luccé Calixte?            20          THE INTERPRETER: Dupin Esteril?
  21     A. Yes.                                        21       A. Yes.
  22         THE INTERPRETER: Michenson Cameus?         22          THE INTERPRETER: Christophe Faustin?
  23     A. Yes.                                        23       A. Yes.
  24         THE INTERPRETER: Antoine Charles?          24          THE INTERPRETER: Papouche Fils-Aime?
  25     A. Yes.                                        25       A. Yes.


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   1        THE INTERPRETER: Eliodor Fleuridor?       1      A. Yes.
   2      A. Yes.                                     2         THE INTERPRETER: Reynold
   3        THE INTERPRETER: Bendji Florestal?        3   Jean-Baptiste?
   4      A. Yes.                                     4      A. Yes.
   5        THE INTERPRETER: Elivain Jean             5         THE INTERPRETER: Jackson
   6   Francois?                                      6   Jean-Charles?
   7      A. Yes.                                     7      A. Yes.
   8        THE INTERPRETER: Gary Francois.           8         THE INTERPRETER: Emile Jean-Pierre?
   9      A. Yes.                                     9      A. Yes.
  10        THE INTERPRETER: Herby Francois?         10         THE INTERPRETER: Joseph Jidens?
  11      A. Yes, yes.                               11      A. Yes.
  12        THE INTERPRETER: Joselyn Frezin?         12         THE INTERPRETER: 53.
  13      A. Yes.                                    13   BY MR. O'NEILL:
  14        THE INTERPRETER: Eliassaint Fridelus?    14      Q. Go on.
  15      A. Yes.                                    15         THE INTERPRETER: Lucny Joasil?
  16        THE INTERPRETER: Jamesly Guillaume?      16      A. Yes.
  17      A. Yes.                                    17         THE INTERPRETER: Bernardin Jose?
  18        THE INTERPRETER: Roudely Jacques?        18      A. Yes.
  19      A. Yes.                                    19         THE INTERPRETER: Dimitry Joseph?
  20        THE INTERPRETER: I'm 43.                 20         Jasmin Joseph?
  21        MR. O'NEILL: 40 --                       21         Walky Joseph?
  22        THE INTERPRETER: 43.                     22         Wilnot Joseph?
  23   BY MR. O'NEILL:                               23         Wilson Joseph?
  24      Q. Have you seen this list before?         24         Pedro Julien?
  25      A. Yes.                                    25         Geffrard Lecenat?


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   1      Q. When did you see it?                     1         63.
   2      A. No, no, I just saw it for the first      2         Do you want me to do the entire?
   3   time now.                                      3         MR. O'NEILL: Yes, we're going to go
   4      Q. Okay. What did you do to prepare for     4   through them all.
   5   this deposition?                               5         THE INTERPRETER: Geffrard Lecenat?
   6      A. Why, preparation, I talked to my         6         Gesner Lecenat?
   7   lawyer.                                        7         Jean Lesly?
   8      Q. Other than that, did you read            8      A. Yes.
   9   anything?                                      9         THE INTERPRETER: Belad Louis?
  10      A. No, I didn't.                           10      A. Yes.
  11      Q. Were documents read to you by anyone?   11         THE INTERPRETER: Milvoy Lubrin?
  12      A. Talking about these names?              12      A. Yes.
  13      Q. Names, or anything like that.           13         THE INTERPRETER: Jacques Mackenson?
  14      A. No, I didn't read anything.             14      A. Yes.
  15      Q. Okay. Did anyone -- well, strike        15         THE INTERPRETER: Guivenel Metellus.
  16   that. Let's go on to the next ten.            16      A. Yes.
  17          THE INTERPRETER: Dorat Jean?           17         THE INTERPRETER: Ronald Meus?
  18      A. Yes.                                    18      A. Yes.
  19          THE INTERPRETER: Frisnel Jean?         19         THE INTERPRETER: Bernard Michel?
  20      A. Yes.                                    20      A. Yes.
  21          THE INTERPRETER: Ilguens Jean?         21         THE INTERPRETER: Vanel Nasaire?
  22      A. Yes.                                    22      A. Yes.
  23          THE INTERPRETER: Patrick Jean?         23         THE INTERPRETER: Philogene Nickenson?
  24      A. Yes.                                    24      A. Yes.
  25          THE INTERPRETER: Rene Jean-Baptiste?   25         THE INTERPRETER: Odilbert Raynel?


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   1     A. Yes.                                        1   him. Everybody has their own story. I don't
   2       THE INTERPRETER: Joseph Ovelt?               2   know about him.
   3     A. Yes.                                        3       Q. Do you know if he was abused?
   4       THE INTERPRETER: Mackenson Papillon?         4           MR. GARABEDIAN: Objection.
   5     A. Yes.                                        5       A. I don't know.
   6       THE INTERPRETER: Jean Patrick?               6   BY MR. O'NEILL:
   7     A. Yes.                                        7       Q. Was he in the same grade as you, the
   8       THE INTERPRETER: Paul Peniel?                8   third or fourth?
   9     A. Yes.                                        9       A. Yes.
  10       THE INTERPRETER: Telmy Philoden?            10       Q. The same one? Same teachers?
  11     A. Yes.                                       11       A. Yes.
  12       THE INTERPRETER: Delphin Philome?           12       Q. Okay. If you look at number 14 in the
  13     A. Yes.                                       13   list, and would you read the name in Creole, or
  14       THE INTERPRETER: Emmanuel Pierre?           14   say it?
  15       Extra Pierre?                               15           THE INTERPRETER: Guito Calet.
  16       Felix Pierre?                               16   BY MR. O'NEILL:
  17       Fritzson Pierre?                            17       Q. How do you know him?
  18       Gogory Pierre?                              18       A. At PPT.
  19       Guisman Pierre?                             19       Q. At PPT, meaning at Carenage?
  20       Jean-Louis Pierre?                          20       A. Rue 13. Street 13.
  21       Joseph Jean Pierre?                         21       Q. So that goes back to before 2005?
  22       Robens Pierre?                              22       A. Yes.
  23       Kensley Prévil Kensley?                     23       Q. And what do you know about him?
  24       Louis Saint Cirin?                          24       A. I don't know anything about him.
  25       Jeffeley Saint-Fleur?                       25       Q. You just remember his name when you

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   1          Gervil St. Louis?                         1   see it written?
   2          Renel St. Vil?                            2       A. Yes. I still see him in the street.
   3          Amy Watson?                               3       Q. Okay. You're on the streets now
   4      A. Yes to all.                                4   yourself, right?
   5          MR. O'NEILL: Let's talk a ten minute      5       A. Yes.
   6   break.                                           6       Q. Since 2014?
   7          THE VIDEOGRAPHER: Going off the           7       A. Since when my parents died.
   8   record. The time is 10:25.                       8       Q. But you were living at the Village?
   9          (Whereupon, a recess was taken.)          9       A. Yes.
  10          THE VIDEOGRAPHER: Back on the record.    10       Q. And after the Village, didn't you go
  11   The time is 10:44.                              11   to -- just one moment -- didn't you live in
  12   BY MR. O'NEILL:                                 12   Saint Philoméne after the Village closed?
  13      Q. Back on the record. Look at the list      13       A. Yes, I spent a while at Saint
  14   again, I think it's Exhibit 4, is that right?   14   Philoméne.
  15          THE INTERPRETER: Yes.                    15       Q. Who were you living with there?
  16   BY MR. O'NEILL:                                 16       A. One friend, with a friend.
  17      Q. Number 7 on that list, would you read     17       Q. What was the name?
  18   that name?                                      18       A. I don't remember the name.
  19      A. Edlyn Jean Baptist.                       19       Q. Was it a man or a woman?
  20      Q. Where did you know him from?              20       A. A man.
  21      A. At the Village.                           21       Q. And you don't remember his name?
  22      Q. And what grade was he in?                 22       A. No.
  23      A. I don't remember.                         23       Q. How long did you live with him?
  24      Q. What do you know about him?               24       A. Six months about.
  25      A. I don't know anything personally about    25       Q. And in 2014, you were how old? It's


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   1    only two years ago -- one year ago.                1   I'll ask you questions. Make sure you
   2        A. I don't remember.                           2   understand everything. If you don't, ask the
   3        Q. Well, in 2005 you were 17, right,           3   interpreter, and then we'll ask you some
   4    December of 2005?                                  4   questions.
   5           MR. GARABEDIAN: Objection.                  5           (Interpreter reading.)
   6        A. I don't remember.                           6           MR. O'NEILL: Are you reading the
   7    BY MR. O'NEILL:                                    7   Creole?
   8        Q. The Village closed somewhere -- what        8           THE INTERPRETER: Yes.
   9    year did the Village close?                        9           (Interpreter reading.)
  10        A. Douglas left, and then Robinson took       10           MR. FOLKMAN: I'm sorry to interrupt.
  11    over for him, and then the Village closed from    11   There is a Creole version in that same document,
  12    around 2008, 2009.                                12   would that be easier if you just read the
  13        Q. And so in 2008 or '9, you would have       13   Creole?
  14    been in your twenties, right?                     14           THE INTERPRETER: That's the Creole.
  15        A. I don't remember how old I was.            15   That's the Creole.
  16        Q. How old are you now?                       16           MR. FOLKMAN: I'm sorry. Excuse me.
  17        A. 26.                                        17           THE INTERPRETER: I'm just pausing to
  18        Q. Okay. And you're still living in the       18   make sure that he can understand.
  19    streets?                                          19           MR. FOLKMAN: Sorry to interrupt.
  20        A. Yes.                                       20   Okay.
  21        Q. Where are you sleeping?                    21           MR. O'NEILL: Take your time.
  22        A. In the street.                             22           (Interpreter reading.)
  23        Q. How do you eat?                            23        A. Okay.
  24        A. I throw away trash for people, I find      24           THE INTERPRETER: Do you want me to
  25    -- sometimes I wash cars, but it's hard.          25   read the answer to him now?


                                           Page 55                                                 Page 57
   1       Q. Is there no work in Cap-Haïtian?             1         MR. O'NEILL: That was the question.
   2       A. No.                                          2         THE INTERPRETER: That was the
   3       Q. For most people?                             3   question.
   4       A. Sometimes they need masons.                  4         MR. O'NEILL: Read the answer
   5       Q. Sometimes what?                              5   carefully.
   6       A. They need construction workers.              6         THE INTERPRETER: I'll make sure he
   7   Sometimes I help, and sometimes they say no,        7   understands everything.
   8   they're not -- they're not giving work to gays.     8         MR. O'NEILL: This is the written
   9   I'm -- I feel ashamed, and I leave.                 9   answer now.
  10       Q. And what? Sorry. I feel ashamed and         10         (Interpreter reading.)
  11   I what?                                            11       A. Yes.
  12       A. Leave.                                      12         MR. O'NEILL: Have you read through "I
  13       Q. Leave. Okay.                                13   saw Andy and some of my fellow PPT kids who came
  14          After you lived for six months in           14   to take the bus in the morning to go to school"?
  15   Saint Philoméne with this person that you forget   15         THE INTERPRETER: Yes.
  16   his name, did you then go to the streets?          16         MR. O'NEILL: Stopping there. I'll
  17       A. Yes, in the streets.                        17   ask about that separately.
  18       Q. Let's go now to Interrogatory 19.           18   BY MR. O'NEILL:
  19          Now, these are your written answers to      19       Q. Have you heard the answer, the written
  20   questions, and I want you to take your time,       20   answer, read to you?
  21   carefully listen to the question and answer that   21       A. Can you repeat, please?
  22   is being read. The answer is your written          22       Q. Yes.
  23   answer that you signed, as we showed you on your   23         Have you heard the answer read -- the
  24   signature page. Your written answer to             24   written answer read to you, and do you
  25   Interrogatory 19, listen carefully, and then       25   understand it?


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   1       A. Yes, I understand.                           1       A. Before December 12th, I was 14.
   2       Q. And is that what happened to you the         2       Q. December 12th, 2004, you were 14?
   3   first time?                                         3       A. After the year went by, then that date
   4       A. Yes.                                         4   arrived, too, so I turned.
   5       Q. Is this the first time you had sex           5       Q. You turned what?
   6   with anyone?                                        6       A. 15. After the date arrived, I was 15.
   7       A. Yes.                                         7       Q. 15 in 2004, after December 12th?
   8       Q. Now, you say that "I don't remember          8       A. Yes.
   9   the exact date," but you were about 15?             9       Q. Okay. You say "it was after President
  10       A. Yes.                                        10   Aristide was removed from office." When was
  11       Q. Your birth date is December 12, 1988,       11   that?
  12   is that correct?                                   12       A. I don't remember.
  13       A. Yes.                                        13       Q. But you used it as a date in your
  14       Q. And throughout most of 2004, you would      14   written answer so that we would know when this
  15   have been 15, is that correct?                     15   allegedly occurred.
  16           MR. GARABEDIAN: Objection.                 16          MR. GARABEDIAN: Objection.
  17       A. Okay.                                       17       A. I wasn't thinking about the date, I
  18   BY MR. O'NEILL:                                    18   was just -- exactly when that happened. I was
  19       Q. Correct?                                    19   just thinking about when Douglas did this that
  20       A. What?                                       20   it wasn't good.
  21       Q. You turned 16 December, 2004, toward        21   BY MR. O'NEILL:
  22   the end of the year, December 12th?                22       Q. Now, you filed this complaint, I
  23           MR. GARABEDIAN: Objection.                 23   believe, December 30th, 2013, and you answered
  24       A. What year?                                  24   these interrogatories on -- I think we went
  25   BY MR. O'NEILL:                                    25   through this -- 10 July, 2014, correct?


                                           Page 59                                                  Page 61
   1      Q. December 12, 2004, or rather -- yeah,         1           MR. GARABEDIAN: Objection.
   2   December 12, 2004, he turned 16?                    2       A. Did I answer the question July 10,
   3      A. No.                                           3   2014?
   4      Q. He didn't?                                    4   BY MR. O'NEILL:
   5         MR. GARABEDIAN: Can we go off the             5       Q. Yes.
   6   record for a second?                                6       A. Yes.
   7         MR. O'NEILL: Sure.                            7       Q. So that is approximately ten years
   8         THE VIDEOGRAPHER: Going off the               8   after this incident that you're claiming
   9   record. The time is 11:03.                          9   happened in 2004, is that right?
  10         (Off the record discussion.)                 10       A. Yes. Okay. Yes.
  11         THE VIDEOGRAPHER: Back on the record.        11       Q. And is this the first time that you
  12   The time is 11:04.                                 12   made a written statement as to what happened in
  13   BY MR. O'NEILL:                                    13   2014 in these written answers?
  14      Q. If you were born on December 12, 1988,       14           MR. GARABEDIAN: Objection.
  15   in December of 2004 you would have had your 16th   15           THE INTERPRETER: Can you repeat,
  16   birthday, is that correct?                         16   please?
  17         MR. GARABEDIAN: Objection.                   17   BY MR. O'NEILL:
  18      A. No, I think 15.                              18       Q. Is this the first time you made a
  19   BY MR. O'NEILL:                                    19   written statement of what happened to you in
  20      Q. So that means if you were 15 on              20   this first incident that you are recalling here?
  21   December, 2004, you were only 14 all of the        21       A. Yes, first time.
  22   remaining months of 2004, from January,            22       Q. Was it to Cyrus Sibert that you gave
  23   February, March, April, May, June, July, August,   23   the answer, this answer?
  24   September, October, November, you were,            24           MR. GARABEDIAN: Objection.
  25   according to you, 13, right -- 14. Sorry. 14.      25           THE INTERPRETER: This answer --


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   1   BY MR. O'NEILL:                                     1   I explained to Cyrus what happened.
   2       Q. This answer, this written answer, was        2      Q. I don't want to know what you said to
   3   it to Cyrus Sibert you gave this answer?            3   your lawyer, but Cyrus.
   4       A. I talked to Cyrus. I did an interview        4      A. But I have to say --
   5   with him. I gave it to my lawyer.                   5         MR. GARABEDIAN: No, no.
   6       Q. How did -- well, I don't want to know        6   BY MR. O'NEILL:
   7   what you said.                                      7      Q. All right. You met with Cyrus Sibert
   8           Do you mean Mitch, Mr. Garabedian?          8   who sought you out in 2013, didn't you?
   9       A. Yes.                                         9         MR. GARABEDIAN: Objection.
  10       Q. Did you give it to him -- well, did         10      A. Yes.
  11   you give it to Aristide -- not Aristide, Cyrus     11   BY MR. O'NEILL:
  12   Sibert first?                                      12      Q. How did he know to seek you out?
  13           MR. GARABEDIAN: Objection.                 13         MR. GARABEDIAN: Objection.
  14       A. No. I explain it to my lawyer first.        14      A. It's not only me. It's several
  15   BY MR. O'NEILL:                                    15   people.
  16       Q. And then?                                   16   BY MR. O'NEILL:
  17       A. He sent a paper, he sent the                17      Q. Well, I'm asking about you.
  18   questions, he sent. I called Cyrus also, I         18      A. For myself.
  19   explained what happened, I explained what          19      Q. How did he know to seek you out in
  20   happened, how Douglas abused me. After he did      20   2013?
  21   that with Douglas, I feel dirty, I -- sometimes    21         MR. GARABEDIAN: Objection.
  22   I just thinking and I'm crying. I can't learn      22      A. He came, he sought me out because he
  23   at school, gives me a lot of problems. I'm just    23   knew I was a victim.
  24   thinking if my parents had been here this would    24   BY MR. O'NEILL:
  25   not have happened.                                 25      Q. How did he know that?

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   1      Q. Okay. It's not exactly an answer to           1       A. I met Cyrus, I went to the radio, he
   2   my question, however.                               2   asked me -- he asked me what I had, what was the
   3          Did you talk to -- did you talk to           3   matter. Dora made a list to send to the lawyer
   4   Paul Kendrick at this time?                         4   that they were victims, little children victims.
   5          MR. GARABEDIAN: Objection.                   5   He made the list, and he put my name on it. My
   6      A. I don't recall.                               6   lawyer called me.
   7   BY MR. O'NEILL:                                     7       Q. Okay. I don't want to know what he
   8      Q. Do you know Paul Kendrick?                    8   said.
   9      A. Yes.                                          9       A. Okay. I'm not saying.
  10      Q. When did you first meet him?                 10      Q. So you saw Cyrus in 2013 with other
  11      A. At the hotel.                                11   people, you made a list, and then after that you
  12      Q. When?                                        12   talked to a lawyer?
  13      A. 2014.                                        13       A. I didn't make the list.
  14      Q. Which hotel?                                 14       Q. No. But a list was made, is that
  15      A. Cap-Haïtian.                                 15   correct?
  16      Q. Was this before or after you had met         16          MR. GARABEDIAN: Objection.
  17   with Cyrus Sibert?                                 17       A. Yes, there was a list made.
  18      A. Before? I don't understand.                  18   BY MR. O'NEILL:
  19      Q. Well, you filed these answers to             19       Q. So how did Cyrus, to your
  20   interrogatories September 30th, 2014. Did you      20   understanding, know that you were a victim in
  21   meet with Kendrick before that?                    21   2013?
  22      A. No, after, afterwards. I did the             22          MR. GARABEDIAN: Objection.
  23   interview, they sent the paper for me, they sent   23   BY MR. O'NEILL:
  24   me the papers, my lawyer came to the hotel with    24       Q. If you know.
  25   this woman and these people. I saw Cyrus also,     25       A. I explained to him.


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   1       Q. Well, he called you, didn't he?            1         THE INTERPRETER: Douglas?
   2          MR. GARABEDIAN: Objection.                 2         MR. O'NEILL: Perlitz, saw you on the
   3       A. Yeah, he called me somewhere.              3   street.
   4   BY MR. O'NEILL:                                   4       A. Yes.
   5       Q. The only person that you claim that        5   BY MR. O'NEILL:
   6   you ever told about Douglas's abuse was a         6       Q. What street?
   7   teacher named Mémé, M-E-M-E, I believe.           7       A. I don't remember which street.
   8         THE INTERPRETER: Mémé.                      8       Q. Is it one of the streets in
   9          MR. O'NEILL: Mémé.                         9   Cap-Haïtian where you were living?
  10         THE INTERPRETER: Mémé.                     10       A. Yes.
  11       A. Yes.                                      11       Q. Had you met Douglas Perlitz prior to
  12   BY MR. O'NEILL:                                  12   his seeing you on this day on the street?
  13       Q. No one else?                              13       A. Yeah, I knew him.
  14       A. No. After the first time I explained      14       Q. Did the Village, to your knowledge,
  15   Mémé, after 2014, I explained it to Cyrus.       15   did the Village exist at this time, 2004?
  16       Q. Okay. You didn't know of any other        16       A. Yes.
  17   boy that was abused of your own knowledge, did   17       Q. You knew of it?
  18   you?                                             18       A. Yes.
  19          MR. GARABEDIAN: Objection.                19       Q. How did one get into the Village? If
  20       A. When I'm imagining, it's not -- I was     20   you were a street kid, how did you get into the
  21   not the only victim.                             21   Village?
  22   BY MR. O'NEILL:                                  22       A. Well, a person can see a child, street
  23       Q. The question is; did you know prior to    23   child, and bring them to the Village. You don't
  24   talking to Cyrus and all of the things that      24   need to sign anything or register. Douglas,
  25   happened after 2013-14, did you know --          25   he's always forcing us to go to the project.

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   1           MR. GARABEDIAN: Let him ask a             1       Q. "He's always forcing us to go to the
   2    question.                                        2   project"?
   3        A. Before talking to Cyrus?                  3       A. Yes. He always tells us that. There
   4    BY MR. O'NEILL:                                  4   are other people, too. Nicholas, there's a
   5        Q. Prior to 2013 when a complaint was        5   white guy called Nicholas who saw me at the
   6    filed in your name followed by answers to        6   Retwa, which is a marketplace, he took me, he
   7    interrogatories in July, 2014 --                 7   went to Street 13, 13th Street.
   8           MR. GARABEDIAN: Objection.                8       Q. I don't know where we're going here.
   9    BY MR. O'NEILL:                                  9          What do you mean "he was always
  10        Q. -- you didn't know of any boy that was   10   forcing us to go to the project"?
  11    abused, of your own knowledge?                  11          MR. GARABEDIAN: Objection.
  12        A. No.                                      12       A. I'm saying that because sometimes when
  13        Q. You did not know, correct?               13   he sees us, we're walking barefoot in the
  14        A. No.                                      14   street, we're asking for food, and he says to go
  15        Q. Okay. You were living in the streets     15   to 13th Street, we'll find food there. I didn't
  16    in 2004, correct?                               16   think Douglas was a person like that.
  17           THE INTERPRETER: 2004?                   17   BY MR. O'NEILL:
  18           MR. O'NEILL: Yes.                        18       Q. Okay. When you were in Carenage and
  19        A. Yes.                                     19   in Rue 13 --
  20    BY MR. O'NEILL:                                 20       A. When I was at Carenage?
  21        Q. This is before you went to Carenage      21       Q. -- during that time, the year 2000 to
  22    for the second and third grade?                 22   about 2007 --
  23        A. Yes.                                     23          MR. GARABEDIAN: Objection.
  24        Q. You say that Douglas saw you on the      24       A. Yes.
  25    street?                                         25   BY MR. O'NEILL:


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   1      Q. -- you knew, did you not, that to get         1       A. Yes. It was raining.
   2   into the Village you had to obey the rules that     2       Q. Was it spring, summer, or fall?
   3   were set up for Rue 13 and for Carenage?            3          MR. GARABEDIAN: Objection.
   4          MR. GARABEDIAN: Objection.                   4       A. I don't remember which year. I was
   5   BY MR. O'NEILL:                                     5   small, I wasn't thinking about that.
   6      Q. That you were watched to see if you           6   BY MR. O'NEILL:
   7   would obey the rules, and then you might be able    7       Q. Well, you're remembering ten years
   8   to go to the Village, correct?                      8   later. Had you forgotten all these details?
   9      A. Yes.                                          9          MR. GARABEDIAN: Objection.
  10      Q. And, in fact, when you were at the Rue       10       A. I will always remember what happened.
  11   13 and Carenage, you could bathe, correct, wash?   11   When somebody does you wrong, you'll never
  12      A. Yes.                                         12   forget the wrong they did.
  13      Q. You were fed?                                13   BY MR. O'NEILL:
  14      A. Yes.                                         14       Q. Okay. So if you never forget, tell me
  15      Q. And they taught you in the first and         15   what time of year it was.
  16   second grade at least, and third grade?            16          MR. GARABEDIAN: Objection.
  17      A. Yes.                                         17       A. I don't remember what year.
  18      Q. And you received all of those things,        18   BY MR. O'NEILL:
  19   right?                                             19       Q. You don't remember the day? You don't
  20          MR. GARABEDIAN: Objection.                  20   remember what time?
  21      A. Yes.                                         21       A. I don't remember the date.
  22   BY MR. O'NEILL:                                    22       Q. How did he pick you up? Was he
  23      Q. And while you were there at Rue 13 and       23   walking in the street?
  24   the Carenage, you were given clothes at times to   24       A. He was in a car.
  25   wear, correct?                                     25       Q. With anyone else?

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   1      A. No. A master called -- what's his             1       A. No. He was alone in the car.
   2   name? What's his name? I'll think of it -- a        2       Q. How did he get you to go into the car?
   3   master called Romel. When they are closed for       3   What did he say?
   4   vacation, they give me sandals to wear. And         4       A. Well, he saw me. It was raining. It
   5   they play soccer inside, too; the champion, they    5   was cold, it was very cold. The place where I
   6   give them T-shirts.                                 6   was sleeping, the rain had fallen there. When
   7      Q. Okay.                                         7   he saw me, he said "come to Bel Air," he'll give
   8      A. But they never tell me this is -- but         8   me a place to sleep. So I went really -- I
   9   they never give me like clothes to wear, they       9   went.
  10   never say these are clothes for you to wear.       10       Q. So it was very cold?
  11      Q. Around December, you often received --       11       A. Yes.
  12   while you were at Carenage and at Rue 13, you      12       Q. Does that help you place the time of
  13   received gifts like sneakers, the kids like you    13   year?
  14   and other kids received sneakers at times,         14       A. No, that won't help me to recall the
  15   didn't you?                                        15   month.
  16      A. No.                                          16       Q. When you got into the car, how far was
  17      Q. Let's go back to Interrogatory 19.           17   it from Bel Air?
  18   What time of day was this that Douglas saw you     18          MR. GARABEDIAN: Objection.
  19   on the street?                                     19       A. Quite a distance. I don't remember
  20      A. I don't remember what year or date.          20   how many minutes.
  21      Q. What time of day the question was.           21   BY MR. O'NEILL:
  22      A. It was nighttime.                            22       Q. When you got to Bel Air, who was
  23      Q. How late?                                    23   there? Who saw you?
  24      A. I don't remember. It was late.               24       A. Who was there? Who saw me?
  25      Q. But it was dark?                             25       Q. Yes.


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   1      A. No one on the street saw me.                  1   answer?
   2      Q. How about when you got to Bel Air, who        2           MR. GARABEDIAN: Can we go off the
   3   saw you with Douglas?                               3   record for a minute? She didn't read the answer
   4      A. A restrainer opened the door so the           4   to Number 17.
   5   car could come in.                                  5           THE VIDEOGRAPHER: Going off the
   6      Q. Who was that?                                 6   record. The time is 11:48.
   7      A. An administrator called Pro.                  7           (Off the record discussion.)
   8      Q. Pro, or Bo?                                   8           THE VIDEOGRAPHER: Back on the record.
   9      A. Pro. That's how he was -- that was            9   The time is 11:50.
  10   his name.                                          10   BY MR. O'NEILL:
  11      Q. Did you know him?                            11       Q. In your written answer, Mr. Jerome,
  12      A. Pro?                                         12   you said that every December, as I understand
  13      Q. Yes.                                         13   it, every December you received sneakers from
  14      A. Yes.                                         14   Doug, or tennis shoes, whatever?
  15      Q. Had you been to Bel Air before that          15       A. Yes.
  16   date?                                              16       Q. And when you say "give us," you mean
  17      A. Yes.                                         17   all of the boys got tennis shoes or sneakers?
  18      Q. Why were you at Bel Air before then?         18       A. Give me, give me tennis.
  19      A. No, that's not -- I didn't meet Pro in       19       Q. It says there.
  20   Bel Air.                                           20           THE INTERPRETER: Me.
  21      Q. All right. Had you ever been to              21           MR. O'NEILL: The translation says
  22   Bel Air before that time?                          22   give us.
  23         MR. GARABEDIAN: Objection.                   23           THE INTERPRETER: No. Well, here it's
  24      A. No.                                          24   give me.
  25         MR. O'NEILL: All right. I think they         25   BY MR. O'NEILL:


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   1   need to change the tape, so we're going off the     1       Q. Okay. Did he give other boys the
   2   record.                                             2   sneakers, too?
   3          THE VIDEOGRAPHER: Going off the              3        A. Yes.
   4   record. The time is 11:32.                          4       Q. All right. If you go to answer 7
   5          (Whereupon, a recess was taken.)             5   that's referred to there, you used to work
   6          THE VIDEOGRAPHER: Back on the record.        6   little jobs such as cleaning the pots and pans
   7   The time is 11:45.                                  7   for Giovani?
   8   BY MR. O'NEILL:                                     8       A. Where? I don't understand.
   9       Q. Okay. Let me ask you a question,             9           MR. O'NEILL: Why don't you read him
  10   going back a bit to some of your other testimony   10   the answer, the Interrogatory Number 7 and the
  11   just prior to the break.                           11   written answer that he gave.
  12          I would ask that the interpreter read       12           (Interpreter complies.)
  13   you in Creole your written answers to              13       A. I understand the question.
  14   Interrogatory Number 17. That is the Number 17     14           (Interpreter reading.)
  15   in the Creole, read the question and read his      15        A. Yes.
  16   answer. And then when you understand and tell      16   BY MR. O'NEILL:
  17   me you understand, I'll ask you a question.        17       Q. That was when you were in the Village
  18          (Interpreter complies.)                     18   you did sometimes cleaning jobs for 50 gourdes
  19          THE INTERPRETER: Do you want me to          19   on a Saturday?
  20   read also 14 and 5?                                20       A. For one week at the Village.
  21          MR. O'NEILL: No. This is Number 17,         21        Q. Just for one week?
  22   the question and answer.                           22        A. Yes.
  23          (Interpreter complies.)                     23       Q. Did you then refuse to do it?
  24   BY MR. O'NEILL:                                    24       A. They asked me to clean the toilets,
  25       Q. So you heard the answer, the written        25   and I said no. I didn't accept.


                                                                        20 (Pages 74 to 77)
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   1      Q. Well, the answer says that                    1   this, there's a little -- there are little
   2   Mr. Giovani -- if you refuse to clean the           2   steps. When you go down the steps, you go
   3   cooking pots he wouldn't pay you 50 gourdes, and    3   inside the bedroom, but there's a gate.
   4   he would punish you by sending you out into the     4       Q. Is the steps from the first floor
   5   garden.                                             5   down?
   6         Did that happen?                              6           MR. GARABEDIAN: Object.
   7         MR. GARABEDIAN: Objection.                    7       A. Here's the door. You go in, you go
   8      A. Yes.                                          8   down a few steps.
   9   BY MR. O'NEILL:                                     9   BY MR. O'NEILL:
  10      Q. All right. So going back to answer           10       Q. And when you go down, where is
  11   19, the written answer, other than Pro who you     11   Douglas's room that you went into?
  12   knew from before, did anyone else see you coming   12       A. When you go down, you go straight to
  13   in with Doug in this dark, rainy night?            13   Douglas's bedroom.
  14      A. No, just Pro when he was opening the         14       Q. You don't turn right or left, you just
  15   gate.                                              15   go straight?
  16      Q. Where did you go?                            16       A. No. The bed is like this, there's a
  17         MR. GARABEDIAN: Objection.                   17   little --
  18      A. Where did I go?                              18       Q. Do you go straight right into his room
  19   BY MR. O'NEILL:                                    19   from the stairs, or do you turn right or left?
  20      Q. Yes, after you got through the gate in       20       A. Straight. You don't walk much after
  21   Doug's car.                                        21   you go down the stairs. There's a door, and
  22      A. Yes, Douglas and I went in.                  22   then you go in.
  23      Q. In to what?                                  23       Q. So there's a door to his bedroom?
  24      A. In his -- in the room, bedroom.              24       A. When you go down this car, there's a
  25      Q. Was the house called Bel Air?                25   door you have to open.

                                            Page 79                                                Page 81
   1      A. Yes.                                          1       Q. Okay. And describe his room.
   2      Q. Is that whole area called Bel Air             2       A. When you go in, you'll see the bed.
   3   also?                                               3   There's separation with the toilet and shower,
   4      A. Yes.                                          4   with pictures of little kids inside.
   5      Q. Okay. But you knew Bel Air was also           5          MR. O'NEILL: They're what?
   6   that house?                                         6          THE INTERPRETER: Pictures of little
   7      A. Yes, Douglas's house.                         7   kids.
   8      Q. Tell us exactly how you got into the          8   BY MR. O'NEILL:
   9   house, and where you went when you got in.          9       Q. This is after you're in the bedroom?
  10          MR. GARABEDIAN: Objection.                  10       A. When you're inside the bedroom, that's
  11      A. When I'm in the car, when I get to           11   what you see.
  12   Bel Air, they have a gate, you have to open the    12       Q. Okay. Is the toilet outside the door
  13   gate, I go in, the car go with me inside. I        13   of the bedroom?
  14   step out. Douglas asked me to step out. He had     14       A. Inside.
  15   me go in the bedroom. He gave me a cover, and I    15       Q. So the bedroom is inside -- the toilet
  16   slept on the floor.                                16   is inside the bedroom after you close the door?
  17          While I was sleeping I felt someone         17          MR. GARABEDIAN: Object.
  18   touching me --                                     18       A. Yeah, there's a little separation.
  19   BY MR. O'NEILL:                                    19   BY MR. O'NEILL:
  20      Q. Okay. Let me just ask questions, and         20       Q. A little separation from what to what?
  21   then I'll ask you about all of that. Don't         21       A. There's a room into a little thing
  22   worry.                                             22   like that, there's a door, there's a door to
  23          Was his room on the first level when        23   open. You have the toilet, you can have the
  24   you walked in?                                     24   shower.
  25      A. When you go in, when you go in like          25       Q. Okay. Was anyone else down there


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   1   other than Douglas Perlitz and you?               1   little house, there was a parking also and a
   2       A. Inside Douglas's?                          2   storage area where they had boxes and balls.
   3       Q. Yes, that floor where you went down.       3   And after that, there was a person living there
   4       A. No, just me and Douglas.                   4   called Master Giovani, Master Giovani in the
   5       Q. And you didn't see anyone on the first     5   little house where there was also a parking.
   6   floor when you walked in before you went down     6   BY MR. O'NEILL:
   7   the stairs?                                       7        Q. I'm not sure what that's in answer to.
   8       A. No, just Pro who saw the car come in       8   Go back to 19.
   9   with me and Douglas in it.                        9           Douglas went to his bed?
  10       Q. Okay. Do you know whether you sensed      10        A. Yes, he was.
  11   that other people were in the bedroom sleeping   11        Q. And what did he give you to sleep on?
  12   on the first floor?                              12        A. He gave me a cover so I could sleep on
  13          MR. GARABEDIAN: Objection.                13   the floor.
  14          THE INTERPRETER: Can you repeat,          14        Q. And did you sleep on the floor?
  15   please?                                          15        A. Yes.
  16          MR. O'NEILL: Sure.                        16        Q. And at some point you were awakened by
  17   BY MR. O'NEILL:                                  17   Douglas?
  18       Q. Did you sense that other people were      18        A. Yes. He was touching me. When I woke
  19   in the bedrooms on the first floor when you      19   up, I saw it was Douglas.
  20   walked in?                                       20        Q. And how was he touching you when you
  21          MR. GARABEDIAN: Objection.                21   woke up?
  22          THE INTERPRETER: In the bedroom or on     22        A. He was touching my head, he was
  23   the first --                                     23   touching my breast. He made me go next to the
  24          MR. O'NEILL: No, on the first floor.      24   bed, and he put his penis inside me.
  25       A. In other bedrooms.                        25        Q. Okay. Well, let's stay with 19.


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   1    BY MR. O'NEILL:                                  1          It says in 19, in your answer, and
   2        Q. What?                                     2   please read the Creole of the part I'm about to
   3        A. There were people in other bedrooms.      3   read, "Douglas asked me to have sex with him and
   4        Q. You sensed that there were? You           4   promised to send me to the Village." Do you
   5    didn't see them, did you?                        5   read that part in Creole? It's midway down the
   6           MR. GARABEDIAN: Objection.                6   answer. The first sentence says "I felt
   7        A. Yes, because Douglas is not the only      7   somebody touching me. Douglas asked me to have
   8    person staying in that house.                    8   sex with him and he promised to send me to the
   9    BY MR. O'NEILL:                                  9   Village."
  10        Q. But how did you know they were there     10          THE INTERPRETER: I have to read.
  11    at that time?                                   11   Yes, okay.
  12        A. I knew Andy, and that's where he was     12          (Interpreter reading.)
  13    staying. Andy.                                  13      A. Yes.
  14        Q. You just knew that they stayed there;    14   BY MR. O'NEILL:
  15    you didn't see them?                            15      Q. Did Douglas, before he put his penis
  16           MR. GARABEDIAN: Objection.               16   into your rectum, did he ask you to have sex
  17        A. Yeah, that's where I knew they were      17   with him?
  18    staying.                                        18          MR. GARABEDIAN: Objection.
  19    BY MR. O'NEILL:                                 19      A. That's the first part.
  20        Q. You didn't see him, Andy?                20   BY MR. O'NEILL:
  21        A. No.                                      21      Q. So he asked you first, and promised --
  22        Q. Who else did you know was living         22      A. No, he didn't ask me. When he was
  23    there?                                          23   touching me like that, he said "oh, let's be gay
  24           MR. O'NEILL: What was all that about?    24   together," he'll send me to the Village, he'll
  25        A. In the -- at Bel Air there was another   25   send me to the Village and give me money for me


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   1   to buy clothes.                                     1   you knew that he was in charge of all of that.
   2      Q. Okay. You say in your answer, would           2   So you understood, as I -- you understood that
   3   you read this part, I felt -- after "I felt         3   if you said no, you might lose all those things,
   4   somebody touching me. Douglas asked me to have      4   correct?
   5   sex and promised to send me to the Village,"        5         MR. GARABEDIAN: Objection.
   6   then "Douglas knew that both my parents had died    6       A. Yes.
   7   before I was ten years old."                        7   BY MR. O'NEILL:
   8          Does that help you remember how old          8       Q. Okay.
   9   you were when your parents died?                    9       A. But it was not to do gay things with
  10      A. No, that does not help.                      10   Douglas. That's not why I went there.
  11      Q. How did you know that Douglas knew           11       Q. Okay. Do you know what sodomy means?
  12   that your parents had died before you were ten     12       A. Sodomy?
  13   years old?                                         13       Q. Do you know what it means?
  14      A. He knew that my parents had died.            14       A. No.
  15      Q. But he apparently knew that it was           15       Q. He put his penis in your rectum?
  16   before he was ten. How did he know that?           16       A. Yes.
  17          MR. GARABEDIAN: Objection.                  17       Q. And you started to bleed?
  18      A. He knew it was before ten. He's so           18       A. Yes.
  19   intelligent. He really knows what he's doing.      19       Q. When did you start to bleed?
  20   He could imagine that.                             20       A. The following day.
  21   BY MR. O'NEILL:                                    21       Q. When?
  22      Q. You say as you go on in your written         22       A. I was bleeding.
  23   answer to Interrogatory -- or the question         23       Q. Later or then, right away?
  24   Number 19, you say "I did not think I could say    24       A. That evening it started, but it wasn't
  25   no." What did you mean?                            25   bleeding a lot.


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   1       A. Why I said I would not say yes, it was       1       Q. It wasn't?
   2   raining, Douglas saw me, he put me somewhere to     2       A. Bleeding a lot. But the following day
   3   sleep. If I had said no, he would have asked me     3   I was bleeding, and Master Mémé came, he asked
   4   to leave. It was raining hard. If I did say         4   me what was wrong. I told him. He brought me
   5   no, it would have been harsher for me because I     5   to the hospital. But I didn't ask -- I didn't
   6   don't know how I would have made it through that    6   explain the lady what had happened, the woman
   7   night.                                              7   what had happened.
   8       Q. Your written answer, however, says           8       Q. But you don't say there that you saw
   9   that was what you thought. Did Douglas say he       9   Mr. Mémé or whatever you call him, you say that
  10   would throw you out of the Village if he didn't    10   the next morning you saw Andy and some fellow
  11   have sex with you, or did you just know that?      11   PPT kids who came to take the bus. And you took
  12       A. I just thought that. Why did I think        12   the bus with them to the school, didn't you?
  13   that, it's because he can ask you to do            13          MR. GARABEDIAN: Objection.
  14   something, he reacts the same as a criminal,       14          MR. O'NEILL: Read that section, "the
  15   wrongly with you.                                  15   next morning at Bel Air."
  16           MR. O'NEILL: A what?                       16          (Interpreter complies.)
  17           THE INTERPRETER: Wrongly, bad with         17       A. Yes.
  18   you, he react badly with you.                      18   BY MR. O'NEILL:
  19   BY MR. O'NEILL:                                    19       Q. So you went to school with the other
  20       Q. Well, he didn't -- you thought -- he        20   kids?
  21   promised to send you to the Village, and you       21       A. I went to school. Mémé came to see
  22   knew you were getting meals and other benefits     22   me.
  23   at the Village -- or not the Village, at the       23       Q. When?
  24   Carenage at that time, you knew that you were      24       A. In the street.
  25   getting food, you were getting education, and      25       Q. In the street? After school?


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   1       A. Yes.                                        1         MR. GARABEDIAN: Objection.
   2       Q. Mémé was not a teacher in the Carenage      2      A. They don't need to give you a number.
   3   or the PPT Rue 13, was he?                         3   BY MR. O'NEILL:
   4       A. No, he was a teacher at the Village.        4      Q. Did someone see you?
   5       Q. He was at the Village. You weren't at       5      A. The miss we went to.
   6   the Village at this time.                          6      Q. Who?
   7       A. No. I met him in the street.                7      A. The miss.
   8       Q. That same day?                              8      Q. Did a doctor see you?
   9       A. The following day.                          9      A. Yeah, a girl, a woman.
  10       Q. Did he know that you were a student at     10      Q. Was she a doctor, or a nurse?
  11   PPT?                                              11      A. A nurse.
  12       A. Yes.                                       12      Q. So you didn't see a doctor?
  13       Q. How did he know that?                      13         MR. GARABEDIAN: Objection.
  14       A. He used to come to 13th Street. I          14      A. No, there were no male doctors.
  15   used to see him. We used to talk, and he says     15   BY MR. O'NEILL:
  16   "my name is Mémé, this is where I work."          16      Q. And the person you saw was a nurse?
  17       Q. What did you tell Mémé, Mémé -- how do     17      A. Yes.
  18   you say it?                                       18      Q. What did she do to examine you?
  19          THE INTERPRETER: Mémé.                     19      A. She asked me what I had, my butt
  20   BY MR. O'NEILL:                                   20   hurts. But I didn't explain to her how, why it
  21       Q. How did you tell Mémé -- what did you      21   hurt. She gave me a syrup and some pills.
  22   tell Mémé when he saw you on the street after     22      Q. Did she look at your rectum?
  23   school that day?                                  23      A. No.
  24          MR. GARABEDIAN: Objection.                 24      Q. She didn't even examine you?
  25       A. I saw Mémé, he asked me how I was          25      A. No. I just explained to her.

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   1   doing. I told him I have a problem. I said         1       Q. In your complaint -- let's look at the
   2   yes. He took me -- he brought me to the            2   complaint, I think it's Exhibit 1. And I think
   3   hospital. I told him what happened, how Douglas    3   it's only in English, but I'll ask you to
   4   abused me, and he brought me to the hospital.      4   translate.
   5   And he told me if you tell people about it         5          In the complaint you only say that
   6   Douglas will throw me out, so that's why I         6   there was one incident, not two.
   7   didn't talk about it to anyone.                    7       A. What is incident?
   8   BY MR. O'NEILL:                                    8       Q. Incident meaning occurrence. There is
   9      Q. So you didn't talk about it to anyone        9   only one sexual occurrence listed in the
  10   because of what Mémé, Mémé, Mémé said to you?     10   complaint that was filed on September 30th,
  11          MR. GARABEDIAN: Objection.                 11   2013. If you look at Number --
  12      A. Yes, he said not to tell anyone.            12          MR. GARABEDIAN: Objection.
  13   BY MR. O'NEILL:                                   13   BY MR. O'NEILL:
  14      Q. Okay. What hospital did you go to?          14       Q. -- 19.
  15      A. Justinien.                                  15       A. Talking about what?
  16      Q. What's your number at the Justinien,        16       Q. 99. Look at Number 99.
  17   your hospital number?                             17       A. In this?
  18          MR. GARABEDIAN: Objection.                 18       Q. In the complaint, yes.
  19      A. I don't know.                               19          MR. GARABEDIAN: Do you have a copy of
  20   BY MR. O'NEILL:                                   20   it?
  21      Q. Did you have a hospital number?             21          MR. FOLKMAN: Exhibit 1.
  22      A. I didn't have a hospital number. I          22          THE INTERPRETER: I don't have
  23   wasn't thinking about that on that date.          23   Exhibit 1.
  24      Q. How did you get in and get treatment        24          MR. O'NEILL: Would you show him
  25   without a number?                                 25   Exhibit 1? It might be underneath the pile


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   1   there. Would you translate number 99 for him      1          MR. O'NEILL: Number 19, it's the --
   2   into Creole?                                      2   it begins "The second time Douglas abused me" in
   3          (Interpreter complies.)                    3   English.
   4      A. Yes.                                        4          (Interpreter complies.)
   5          MR. O'NEILL: Okay. And number 100,         5       A. Yes.
   6   read that. Did you read it?                       6   BY MR. O'NEILL:
   7          THE INTERPRETER: One moment.               7       Q. Okay. The second time, you say you
   8          (Witness reading.)                         8   were now about 15 or 16, and the first occasion
   9      A. Can you read again, please?                 9   says you were about 15. So when did the second
  10   BY MR. O'NEILL:                                  10   occasion happen?
  11      Q. Can I read what again?                     11          MR. GARABEDIAN: Objection.
  12          THE INTERPRETER: He wants me to read.     12          MR. O'NEILL: We're going a long while
  13          MR. O'NEILL: Oh, yes. Which one are       13   here without a translation, so why don't you
  14   you reading?                                     14   stop him and tell us what he's saying so far in
  15          THE INTERPRETER: 100.                     15   that regard.
  16          MR. O'NEILL: Okay.                        16       A. I don't remember the year. It was a
  17          THE INTERPRETER: Can I add when           17   time when -- around the time when I was in the
  18   they're saying preceding paragraph, can I show   18   street. I wasn't thinking about the day. I was
  19   him the preceding paragraph? And when they say   19   thinking about how somebody could do that to my
  20   the time period reference above, can I explain   20   life, how could someone spoil my future. You
  21   which time period?                               21   know, when somebody --
  22          MR. O'NEILL: No, just read what it        22          THE INTERPRETER: And you interrupted.
  23   says. If he wants the 99 read again, you can     23   BY MR. O'NEILL:
  24   read that.                                       24       Q. The question was; when was this in
  25          THE INTERPRETER: Okay.                    25   relation to the last time? How long after the


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   1         (Witness reading.)                          1   first incident did this second incident happen?
   2   BY MR. O'NEILL:                                   2        A. I don't remember how much time that
   3      Q. Did you understand that?                    3   could have been in-between.
   4      A. Yes.                                        4        Q. How did Douglas get you -- you say
   5      Q. Read 101 also.                              5   "abused me at Bel Air on a weekend." What did
   6         THE VIDEOGRAPHER: Going off the             6   he do? How did he get you? Where did he get
   7   record. The time is 12:27.                        7   you?
   8         (Off the record discussion.)                8        A. It was nighttime, it was very late.
   9         THE VIDEOGRAPHER: Back on the record.       9        Q. Was it dark and rainy?
  10   The time is 12:28.                               10        A. It wasn't rainy. It was dark.
  11         MR. O'NEILL: Please continue to -- or      11           MR. O'NEILL: Please don't let him go
  12   read 101 by translating it for Mr. Jerome.       12   too long. Please let him answer, and then he
  13         (Interpreter complies.)                    13   can continue.
  14   BY MR. O'NEILL:                                  14        A. I wanted to go to sleep, but I didn't
  15      Q. Did you understand that?                   15   want to go -- I needed to go to sleep, but I
  16      A. I understand.                              16   didn't want to go because I was afraid they
  17      Q. Okay. Now, going to Interrogatory 19       17   would arrest me.
  18   again, your written answers, you say that        18   BY MR. O'NEILL:
  19   Douglas abused you -- why don't you read that    19        Q. Arrest you? Where did --
  20   answer a second time.                            20           MR. GARABEDIAN: Objection.
  21         THE INTERPRETER: I have it in here?        21   BY MR. O'NEILL:
  22         MR. O'NEILL: Number 19. In Creole.         22       Q. He got you from the street. Where
  23         THE INTERPRETER: Yes.                      23   were you; out in the street sleeping, or what?
  24         MR. O'NEILL: Read that to him.             24        A. I was in the street. I was walking a
  25         THE INTERPRETER: Which paragraph?          25   little bit, not close to the house, but in the


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   1    area of Bel Air. He was going by in his car        1      Q. Didn't he?
   2    when he saw me. He said "what are you doing        2      A. Not on the spot.
   3    here?" I said "that's where I'm going to           3      Q. Okay. And it was 1,500 gourde?
   4    sleep." He said "no." I thought if I go -- if      4      A. Yes.
   5    I go down they could arrest me, put me in jail.    5      Q. And the second time, he again put his
   6        Q. Why?                                        6   penis in your rectum?
   7        A. Because in Haiti when you walk during       7      A. Yes.
   8    the night, they'll think you're a thief or a       8      Q. And did you stay at the house until
   9    thug. They don't need to know more, they just      9   daylight?
  10    arrest people.                                    10      A. Yeah, the next day.
  11        Q. So when Douglas saw you, what, did he      11      Q. Did you stay in that room until the
  12    ask you to get in the car?                        12   next day?
  13        A. Yes. He said "come in." I didn't           13      A. No, I left. I had blood in my pants.
  14    want to. He forced me, said "come, let's go,      14   When he saw that, he said take a cloth, or
  15    let's go."                                        15   clothes, so people don't suspect anything, they
  16        Q. Wait a minute.                             16   don't see.
  17           Did he pull you into the car               17      Q. He said take clothes from him?
  18    physically?                                       18          MR. GARABEDIAN: Objection.
  19        A. No, he did not. He's saying "come,         19      A. No, take a T-shirt, or shirt.
  20    come, come."                                      20          MR. O'NEILL: A T-shirt?
  21        Q. And you went?                              21          THE INTERPRETER: Or shirt.
  22        A. Yes. I didn't want to go down so they      22   BY MR. O'NEILL:
  23    would arrest me.                                  23      Q. Did you go to the hospital for this
  24        Q. Okay. The first time that you talked       24   rectal bleeding?
  25    about, the first time you had sex with Douglas,   25      A. No, I didn't.

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   1   he gave you money, didn't he?                       1      Q. You didn't tell Mémé about it, did
   2         MR. GARABEDIAN: Objection.                    2   you?
   3      A. He didn't give me the money on the            3      A. No.
   4   spot.                                               4      Q. Because you felt if you didn't do what
   5   BY MR. O'NEILL:                                     5   he wanted, you'd lose all your privileges at the
   6      Q. When did he give it to you?                   6   Carenage or wherever you were at that point?
   7      A. I don't remember. 1,000 gourde, 1,500         7      A. Yes.
   8   gourde, so I could buy some clothes.                8      Q. You say "The next morning I saw
   9      Q. And you knew he was going to give you         9   Nicholas." Where did you see Nicholas?
  10   money after the sex, right?                        10      A. In Bel Air.
  11         MR. GARABEDIAN: Objection.                   11      Q. In the house?
  12      A. No, I didn't know.                           12      A. Yes.
  13   BY MR. O'NEILL:                                    13      Q. Where was he?
  14      Q. But you -- it says in your answer            14      A. Outside.
  15   before, "Douglas gave me money after he had sex    15      Q. So when you come outside, Nicholas was
  16   with me." Is that not correct?                     16   outside?
  17         MR. GARABEDIAN: Objection.                   17         MR. GARABEDIAN: Objection.
  18      A. Yes, after. But I didn't know if he          18      A. Yes. He was going to Carenage.
  19   would tell me "here's the money." He didn't        19   BY MR. O'NEILL:
  20   offer me the money before.                         20      Q. Okay. You say this was a weekend?
  21   BY MR. O'NEILL:                                    21      A. I don't remember the day.
  22      Q. He gave you the money after he had sex       22      Q. Well, you say it's a weekend in your
  23   with you?                                          23   answer, written answer.
  24         MR. GARABEDIAN: Objection.                   24      A. I don't remember if it's Saturday or
  25   BY MR. O'NEILL:                                    25   Sunday. On those days we go to Carenage, he


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   1   goes to check if thieves have broken in or          1       Q. You didn't remember until you were
   2   broken anything.                                    2   answering written questions, is that correct?
   3      Q. Did you go with him?                          3          MR. GARABEDIAN: Objection.
   4      A. Yes, I went.                                  4       A. I didn't remember.
   5      Q. Did you tell him what happened?               5   BY MR. O'NEILL:
   6      A. No, I didn't. He was just going down,         6       Q. Now, what happened that made you
   7   and I asked him just drop me in the street          7   decide to file a complaint in 2013?
   8   somewhere.                                          8       A. What happened?
   9      Q. What time of day was this?                    9       Q. Yes. Why did you suddenly -- why in
  10      A. Morning, the morning.                        10   2013 did you decide to file a complaint?
  11      Q. Was the sun up over the horizon?             11          MR. O'NEILL: Will you please wait a
  12      A. There was not a lot of sun above             12   minute? Could you translate what he said so
  13   really.                                            13   far, and then he can add?
  14      Q. So why didn't you mention this in the        14       A. I decided to file a complaint because
  15   complaint that was filed on 2013?                  15   when you're a victim in Haiti, you don't have
  16          MR. GARABEDIAN: Objection.                  16   money, poor people don't find any justice. I
  17      A. I didn't remember that. When I went          17   saw Cyrus, and he told me they were making a
  18   back on the facts trying to remember, I remember   18   list with all the kids, a list with the victims.
  19   everything.                                        19   BY MR. O'NEILL:
  20   BY MR. O'NEILL:                                    20       Q. You knew -- sorry. Did you want to go
  21      Q. This is the second time you ever had         21   on?
  22   sex with anyone, is that your testimony?           22          MS. CONROY: He's still answering.
  23          MR. GARABEDIAN: Objection.                  23   You interrupted his translation.
  24      A. Yes.                                         24   BY MR. O'NEILL:
  25   BY MR. O'NEILL:                                    25       Q. Go on.

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   1       Q. And you had trouble remembering?             1          MR. O'NEILL: Please, if he's
   2          MR. GARABEDIAN: Objection.                   2   answering in a lengthy way, please stop it and
   3       A. No.                                          3   give us what you have, and then ask him to
   4   BY MR. O'NEILL:                                     4   continue so that -- okay? But don't let him go
   5       Q. So why did you forget when the               5   on, because then it gets too long.
   6   complaint was filed?                                6          THE INTERPRETER: Okay.
   7          MR. GARABEDIAN: Objection.                   7          MR. GARABEDIAN: I mean if you want
   8   BY MR. O'NEILL:                                     8   him to answer, let him answer. I don't
   9       Q. You do not know --                           9   understand.
  10          MR. GARABEDIAN: Hang on a second.           10          MR. O'NEILL: Because we lose the
  11          MR. O'NEILL: I'm sorry, I understood        11   thread of the whole thing.
  12   everything that was said, I thought everybody      12          MR. GARABEDIAN: You're preventing him
  13   else did.                                          13   from presenting the thread of the whole thing.
  14       A. Because there was a lot of words, a         14   BY MR. O'NEILL:
  15   lot of talking. And now I remember this,           15      Q. Go back to the question, and then
  16   because now you're asking me all these             16   we'll -- why in 2013 did you decide to file a
  17   questions, and you told me this like this here     17   complaint?
  18   now, that's why I could remember how it            18      A. Because the guys saw Cyrus, and he
  19   happened.                                          19   said they were making a list, and to put your
  20   BY MR. O'NEILL:                                    20   name in the list, because lawyers were calling.
  21       Q. So you didn't remember it until you         21   I put my name on the list, my phone number, and
  22   were doing the written answers to questions?       22   the lawyer called me.
  23          MR. GARABEDIAN: Objection.                  23      Q. Are you finished?
  24       A. No, I didn't remember.                      24      A. Yes.
  25   BY MR. O'NEILL:                                    25      Q. You knew in 2013 that money had been


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   1    paid to the first group of people who sued,       1   what is written here.
   2    didn't you?                                       2          MR. O'NEILL: Right.
   3        A. Yes.                                       3          (Interpreter reading.)
   4        Q. And you knew a lot of money had been       4      A. Okay. 2013.
   5    paid to these people, isn't that correct?         5          THE INTERPRETER: I'm going to read
   6           MR. GARABEDIAN: Objection.                 6   you what is written here.
   7        A. Yes.                                       7          MR. O'NEILL: This is the answer to
   8    BY MR. O'NEILL:                                   8   Number 12?
   9        Q. And they were beginning to show by         9          THE INTERPRETER: Yes. That's what he
  10    spending and doing things and buying cars and    10   just said now. It's written, "Please indicate
  11    whatever, you knew that?                         11   when you took lawyer for this meeting first."
  12        A. Yes.                                      12          MR. O'NEILL: Yes.
  13        Q. And it was after you knew all of that     13          THE INTERPRETER: That's what's
  14    that you decided to add your name to the list?   14   written, that syntax.
  15           MR. GARABEDIAN: Objection.                15          MR. O'NEILL: Okay. And what's the
  16        A. Yes, I decided to put my name on the      16   answer?
  17    list. Yes, I wasn't in the first group because   17          THE INTERPRETER: I don't know exactly
  18    the guys were making it -- they were hiding to   18   when.
  19    do it. And that's why I put my list -- my name   19          Should I read it in Creole first and
  20    on the second list, because I'm a victim also.   20   then --
  21    BY MR. O'NEILL:                                  21          MR. O'NEILL: Yes, read it.
  22        Q. It was Mr. Sibert that introduced you     22          (Interpreter complies.)
  23    to Mr. Garabedian, wasn't it?                    23      A. It's Cyrus Sibert who referred me to a
  24        A. Mr. Mitch? Mr. Mitch?                     24   lawyer in the month of August in the year 2013.
  25        Q. Yes.                                      25   BY MR. O'NEILL:


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   1      A. No, he gave my phone number to Mitch.        1      Q. So Cyrus Sibert referred you to
   2      Q. Sibert gave you phone number to Mitch?       2   Mr. Garabedian, Mitch Garabedian?
   3      A. No, I wrote on the same paper, and I         3      A. He called me. He didn't send me to
   4   gave it. He sent away the list, and the lawyer     4   him. He called.
   5   called me.                                         5      Q. Who called you?
   6      Q. If you look at Interrogatory Number          6      A. The lawyer, Mr. Mitch.
   7   12, your written answer to the question in         7         MR. GARABEDIAN: Don't talk about what
   8   Number 12, would you read the Creole to that?      8   we talked about.
   9          (Interpreter complies.)                     9   BY MR. O'NEILL:
  10          THE INTERPRETER: I just would like to      10      Q. Who called?
  11   raise something. I'm not sure whether this was    11      A. Who called me on the phone?
  12   done by a machine or something?                   12      Q. I'm losing you here.
  13          MR. O'NEILL: What are you doing? I'm       13         Who called him?
  14   asking you to read Interrogatory 12.              14      A. On the phone?
  15          THE INTERPRETER: Okay.                     15      Q. Yes.
  16          MR. O'NEILL: And the answer. I mean,       16      A. Mr. Mitch.
  17   can you translate it in Creole?                   17      Q. Did you have any contact with Mitchell
  18          THE INTERPRETER: Yes.                      18   Garabedian prior to talking to Sibert?
  19          MR. O'NEILL: Read it to him in             19      A. No, I didn't have any contacts with
  20   Creole, and then tell us what the Creole is       20   Mr. Mitch before.
  21   saying.                                           21      Q. So how did Sibert get ahold of you?
  22          THE INTERPRETER: I will read what I        22   How did he talk to you? How did he call you?
  23   understand.                                       23   Where were you?
  24          MR. O'NEILL: Yes.                          24         MR. GARABEDIAN: Objection.
  25          THE INTERPRETER: And then tell you         25      A. When the guys found money they went to


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   1   the radio station, then Cyrus, oh, he called the    1      Q. Okay. This was the group that had
   2   police. And then the guys then go. I wasn't in      2   settled?
   3   front of the radio. Then the guy said they were     3       A. Yes.
   4   at PPT, they came with pictures when they were      4       Q. Had you met Kendrick at this time?
   5   in the project, when Cyrus saw that he contacted    5       A. Paul Kendrick?
   6   Mr. Mitch.                                          6       Q. Yes.
   7          They told us they were making a list         7      A. No, I didn't know him yet.
   8   with our phone numbers. He gave -- came to the      8       Q. When did you first meet him?
   9   Carenage, they saw me, so I put my name, and        9      A. At a hotel called Picolet.
  10   then they gave it to Cyrus.                        10       Q. And when was that?
  11       Q. You were not in the Carenage in 2013.       11      A. I don't remember when it was.
  12   The whole thing closed down in 2013, hadn't it?    12       Q. Okay. Let's stop here and have lunch,
  13          MR. GARABEDIAN: Objection.                  13   and we'll come back at --
  14       A. No, I wasn't at the Carenage. I             14          MR. GARABEDIAN: 2:00 o'clock.
  15   wasn't at the project, but Carenage is an area.    15          MR. O'NEILL: 2:00 o'clock? Is that
  16   BY MR. O'NEILL:                                    16   okay?
  17       Q. Okay.                                       17          THE VIDEOGRAPHER: Going off the
  18       A. I was there.                                18   record. The time is 1:01.
  19          MR. GARABEDIAN: Let him finish his          19          (Whereupon, a luncheon recess was
  20   answer, please.                                    20          taken.)
  21          MR. O'NEILL: Is there more? Did he          21
  22   say more?                                          22
  23          THE INTERPRETER: No.                        23
  24   BY MR. O'NEILL:                                    24
  25       Q. So people came on the radio to talk         25


                                          Page 111                                                Page 113
   1   about all the money they had received?              1        AFTERNOON SESSION
   2          MR. GARABEDIAN: Objection.                   2
   3      A. Not them. The other victims that were         3          THE VIDEOGRAPHER: Back on the record.
   4   revolting, they said we are victims also.           4   The time is 2:05.
   5   BY MR. O'NEILL:                                     5   BY MR. O'NEILL:
   6      Q. But who got on the radio to talk about        6      Q. Mr. Jerome, at the close of the
   7   the money that was received?                        7   Village, you were, after a brief period in Saint
   8      A. No one went, talked --                        8   Philoméne, you were on the street again, is that
   9          THE INTERPRETER: I'm sorry, I'm not          9   right?
  10   getting this. Could you ask him to repeat,         10      A. Yes.
  11   please?                                            11      Q. Now, you knew before the Village
  12          MR. O'NEILL: Yes.                           12   closed that Cyrus Sibert was on the radio saying
  13   BY MR. O'NEILL:                                    13   Douglas Perlitz was sexually abusing boys at
  14      Q. Earlier you said you knew that a group       14   PPT?
  15   of people had sued and got a lot of money.         15          MR. GARABEDIAN: Objection.
  16      A. No, that's not what I said.                  16      A. Before the Village --
  17      Q. What did you say?                            17   BY MR. O'NEILL:
  18      A. The other victims that were victims          18      Q. Closed.
  19   also, they revolted, they said we were victims,    19      A. After it closed?
  20   too. They saw the other guys with nice cars.       20      Q. No, before, before.
  21      Q. Okay.                                        21      A. No, I didn't hear that.
  22      A. They were dealing in secret so we            22      Q. You didn't hear it, no one talking
  23   wouldn't know. They said that we have died, we     23   about that?
  24   were in prison, so we wouldn't be able to          24      A. No, I didn't know. I didn't hear
  25   participate.                                       25   anyone talking about it. Only that when I was


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   1    at the Village it was written on the wall.          1   BY MR. O'NEILL:
   2        Q. So you saw graffiti on the wall that         2       Q. Asking questions of boys about sexual
   3    Douglas Perlitz was abusing boys?                   3   abuse.
   4        A. "Douglas fag."                               4       A. No, I didn't know. I did see a white
   5        Q. Fag?                                         5   guy inside the Village, he was conducting an
   6           Okay. And did the boys talk about            6   investigation, but I don't know why he came, if
   7    that?                                               7   it was for -- to conduct an investigation.
   8        A. Yeah, they talk about it.                    8       Q. In any event, you told no one in 2008,
   9        Q. Did you talk about it?                       9   2009, and after the Village closed that you were
  10        A. Me?                                         10   abused, other than Mémé way back, is that
  11        Q. Did you tell anyone at that time that       11   correct?
  12    you yourself had been abused?                      12          MR. GARABEDIAN: Objection.
  13        A. No, I didn't say to anyone. Only            13       A. Yes, only Mémé.
  14    Mémé.                                              14   BY MR. O'NEILL:
  15        Q. I'm sorry.                                  15       Q. In 2009, 2010, did you hear that
  16        A. Only Mémé.                                  16   Douglas Perlitz was arrested in the United
  17        Q. That was way back you told Mémé, in         17   States and put in jail?
  18    2005?                                              18       A. In 2009?
  19        A. No.                                         19       Q. Well, in that period of time, 2009,
  20        Q. When did you tell him?                      20   2010.
  21        A. When it first happened.                     21       A. In 2010, I did hear that.
  22        Q. Okay. We've already asked you about         22       Q. Okay. And you told no one, other than
  23    that.                                              23   what you had told to Mémé, you told no one that
  24           Did you know or did you not know that       24   you were abused in 2009, 2010?
  25    after Douglas Perlitz left Haiti, the police       25       A. Repeat, please.


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   1    were investigating and interviewing boys?           1       Q. Okay. You told no one, other than
   2           MR. GARABEDIAN: Objection.                   2   what you'd already told Mémé, you told no one in
   3    BY MR. O'NEILL:                                     3   2009, 2010 that you were abused?
   4       Q. Did you know that?                            4          MR. GARABEDIAN: Don't talk about what
   5       A. Say again?                                    5   you said to me.
   6       Q. Sure. That after Douglas Perlitz left         6          Objection.
   7    Haiti for good, you knew that the police were       7       A. Except the fact that Douglas touched
   8    interviewing boys about what happened, didn't       8   me twice, did these things twice to me, I didn't
   9    you?                                                9   tell anyone, except Mémé way back.
  10       A. Haitian police?                              10   BY MR. O'NEILL:
  11       Q. Haitian police, United Nations police,       11       Q. Okay.
  12    American police.                                   12       A. Except that then I had a lawyer, and I
  13       A. I don't know about American police or        13   told the lawyer.
  14    United Nations police, but in Haiti they don't     14       Q. We already know that that was in 2013,
  15    do this.                                           15   right?
  16       Q. You didn't know that Haitian police          16       A. Yes.
  17    were investigating?                                17       Q. So in 2009, 2010, 2011, 2012, you said
  18       A. No.                                          18   nothing, other than what you'd already told Mémé
  19       Q. Haitian National police?                     19   way back?
  20       A. No, I didn't know.                           20       A. Yes, only Mémé. I didn't tell anyone
  21       Q. You didn't know that boys were being         21   else.
  22    questioned by the Haitian National police or the   22       Q. So between 2005 and 2013, no one knew
  23    American investigators?                            23   that you had engaged in gay sex with Douglas
  24           MR. GARABEDIAN: Objection.                  24   Perlitz except Mémé?
  25       A. What do you mean "interrogating"?            25          MR. GARABEDIAN: Objection.


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   1       A. I explained all to Mémé, and then no         1   organization?
   2   one.                                                2       A. Jesuits?
   3   BY MR. O'NEILL:                                     3       Q. The New England Province of the
   4       Q. Okay. Did Sibert, when you finally           4   Society of Jesus.
   5   talked to him after the money -- everyone knew      5       A. Yes, I heard that in the -- about it
   6   money had come in to the other settled people,      6   in the Village.
   7   cases, did you give a statement to Sibert that      7       Q. All right. Now, before coming here
   8   he wrote down?                                      8   today, for how long did you know you were coming
   9          MR. GARABEDIAN: Objection.                   9   for a deposition?
  10       A. Yes.                                        10       A. Not very long.
  11   BY MR. O'NEILL:                                    11       Q. Give us your best estimate as to the
  12      Q. And how did he write it? Did he              12   time.
  13   record it with a recording device, or did he       13       A. What is an estimate?
  14   write it down?                                     14       Q. For about how long in weeks or months
  15       A. He wrote it on a paper, not only -- I       15   did you know that you were going to come for a
  16   wasn't the only one. A lot of others. One by       16   deposition?
  17   one.                                               17       A. I've learned this in March.
  18       Q. But you were one of them?                   18       Q. That was the first time that you knew
  19       A. Yes.                                        19   there was going to be a deposition was in March?
  20       Q. Did Sibert give you money?                  20       A. Yes.
  21       A. No.                                         21       Q. Did you know that it was important
  22       Q. Did Robinson ever give you money?           22   that you try to remember as clearly as you could
  23       A. No.                                         23   the events?
  24      Q. Did you speak to Robinson, from 2008         24          MR. GARABEDIAN: Objection.
  25   when the Village was closing on to 2013, did you   25       A. What happened to me?


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   1   ever speak to Robinson?                             1   BY MR. DAILEY:
   2      A. When the Village closed in 2010, they         2       Q. Yes.
   3   created a program called Voice Center where they    3       A. Yes.
   4   used to give us food.                               4       Q. Now, you have an abscess in your head,
   5      Q. Who did?                                      5   is that right?
   6      A. Robinson.                                     6          MR. GARABEDIAN: Objection.
   7      Q. How long did that last?                       7       A. Yes.
   8      A. About six months.                             8   BY MR. DAILEY:
   9      Q. And then it closed?                           9       Q. When did you find out you had the
  10      A. Yes.                                         10   abscess in your head?
  11      Q. You never told Robinson that you were        11       A. When I was big. Sometimes I ask
  12   abused?                                            12   someone and they tell me, they tell me it's an
  13      A. No.                                          13   abscess.
  14         MR. O'NEILL: Okay. I have no further         14       Q. Does it affect your ability to think?
  15   questions. Thank you.                              15       A. Well, yeah, but it's really because of
  16         THE VIDEOGRAPHER: Going off the              16   Douglas who did gay things with me twice. I
  17   record. The time is 2:18.                          17   always ask God not to forget about me and to
  18         (Pause.)                                     18   heal me.
  19         THE VIDEOGRAPHER: Back on the record.        19          MR. DAILEY: Do we have an agreement
  20   The time is 2:19.                                  20   that motions to strike are saved?
  21   BY MR. DAILEY:                                     21          MR. GARABEDIAN: We don't have an
  22      Q. Mr. Jerome, my name is Bill Dailey, I        22   agreement, but we can agree.
  23   represent the New England Province of the          23   BY MR. DAILEY:
  24   Society of Jesus.                                  24       Q. Did any doctor ever tell you you had
  25         Have you ever heard of that                  25   an abscess in your head?


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   1      A. No.                                          1   mother?
   2      Q. Did you ever go to any hospital for          2      A. I don't know.
   3   treatment of the abscess?                          3      Q. Do you know how old your mother was
   4      A. No.                                          4   when she died?
   5      Q. You were born December 12th, 1988, is        5      A. No.
   6   that right?                                        6      Q. Do you know how old your father was
   7      A. Yes.                                         7   when he died?
   8      Q. Did you live at home with your mother        8      A. No.
   9   and father for a period of time?                   9      Q. Do you speak any English?
  10      A. Yes.                                        10      A. No.
  11      Q. For how long?                               11      Q. Do you understand any English?
  12      A. I don't remember how long.                  12      A. No.
  13      Q. Do you remember who died first, your        13      Q. Can you give us your best estimate
  14   mother or your father?                            14   when it was that your mother passed away?
  15      A. I don't remember really.                    15         MR. GARABEDIAN: Objection.
  16      Q. Do you remember where you lived when        16      A. I don't know the month, day, or year
  17   your mother and father were alive?                17   when she died.
  18      A. Yes.                                        18   BY MR. DAILEY:
  19      Q. Where did you live?                         19      Q. Can you give us the approximate year
  20      A. Limbé, then Haut Du-Cap, then Saint         20   within two or three years?
  21   Philoméne.                                        21      A. I don't know. I was very small.
  22      Q. Did you have a house there that you         22      Q. Can you give us the approximate year
  23   lived in?                                         23   within two or three years when your father
  24      A. My mother's house.                          24   passed away?
  25      Q. Did your father live there with your        25      A. I don't know.

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   1    mother and your brother and your sister and       1       Q. After both of your parents had passed
   2    yourself?                                         2   away, where do you remember first living?
   3       A. Yes.                                        3       A. In the street.
   4       Q. Did you brother or sister move out          4       Q. Can you tell us approximately how old
   5    before your mother passed away?                   5   you were when you first started to live in the
   6       A. After they died everybody spread to         6   street?
   7    find their own way. We rented the house. The      7       A. I don't remember. I don't know.
   8    house wasn't ours.                                8       Q. When you started to live on the
   9       Q. You didn't understand my question.          9   street, were your brother and sister with you?
  10           Did either your brother or your sister    10           MR. GARABEDIAN: Objection.
  11    move out before your mother and father died?     11       A. No, they were not with me in the
  12           MR. GARABEDIAN: Objection.                12   street.
  13       A. No. When my mother and father died,        13   BY MR. DAILEY:
  14    we all looked for other places to live because   14       Q. Was it while your mother and father
  15    the house wasn't ours.                           15   were alive that your brother used to beat you?
  16    BY MR. DAILEY:                                   16       A. Yes.
  17       Q. How much older is your brother than        17       Q. For how many years --
  18    you?                                             18       A. When they were alive? When they were
  19       A. What age difference?                       19   alive?
  20       Q. Yes.                                       20       Q. When they were alive.
  21       A. I don't know.                              21       A. No.
  22       Q. How much older is your sister than         22       Q. While your mother and father or either
  23    you?                                             23   one of them was alive, and your brother was
  24       A. I don't remember. I don't know.            24   living at home with you, did he beat you in the
  25       Q. Was your father older than your            25   house where you lived?


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   1          MR. GARABEDIAN: Objection.                   1      Q. All right. How long were you
   2       A. When my mother and my father died, my        2   together?
   3   brother used to beat me.                            3      A. Five years. We're still together.
   4   BY MR. DAILEY:                                      4      Q. And you and Elsie had your son on what
   5       Q. Was that on the street?                      5   date?
   6       A. No.                                          6      A. 2012.
   7       Q. Were you still living at home at the         7      Q. Do you know the date when your son was
   8   time?                                               8   born?
   9       A. Yes.                                         9      A. Yes.
  10       Q. How long did you and your brother and       10      Q. What is the date?
  11   sister live alone in the house after your mother   11      A. August 19, 2012.
  12   and father died?                                   12      Q. Where does Elsie live?
  13       A. I don't know how long.                      13      A. Limbé.
  14       Q. Can you give us your best estimate?         14      Q. Is there a street address?
  15   Was it weeks, or was it months, or was it years?   15      A. No, no address, just a phone.
  16          MR. GARABEDIAN: Objection.                  16      Q. No address, just a what?
  17       A. I was very small then, I don't              17      A. Phone.
  18   remember. I didn't concentrate on that.            18      Q. A phone.
  19   BY MR. DAILEY:                                     19          And how often do you spend time at the
  20       Q. When you say that your brother beat         20   house where Elsie and your son live?
  21   you, did he leave any marks on you when he would   21      A. I don't know. When I go, I look for
  22   beat you?                                          22   food for them, and then I'm in the street again.
  23       A. There were no marks. He didn't take         23   I can stay one week, 15 days, then I go back to
  24   something and wound me.                            24   the street, and then I look for food to bring.
  25       Q. How did he beat you?                        25      Q. So when you go back to live with Elsie


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   1       A. A whip.                                      1   and your son, you live there for a week, or up
   2       Q. And when he used the whip, where did         2   to 15 days?
   3   he hit you?                                         3      A. Yes.
   4       A. My entire body. It's because my -- if        4      Q. You first met Elsie about five years
   5   my father and mother had been alive they would      5   ago?
   6   not have allowed it. I saw that I could not         6      A. No, we've been five years together.
   7   stay there, so I took to the street.                7      Q. When you say that you have been five
   8       Q. For how long did he beat you; that is,       8   years together, what do you mean by that?
   9   for weeks or months? For how long?                  9      A. It means for five years I am living
  10       A. I don't remember. I don't remember.         10   with her, and even when I'm not in the same
  11       Q. Can you tell us whether it was for          11   house I go back to go see them, and then I go
  12   more or less than a year?                          12   back to the street.
  13       A. I don't remember. I don't know.             13      Q. So for the last five years, you
  14       Q. Did your sister ever try to stop him?       14   sometimes spend up to a week to 15 days with
  15       A. No. My sister wasn't there then.            15   Elsie, and then sometimes you're not there with
  16       Q. So just you and your brother were           16   her, is that right?
  17   living together at the house, is that right?       17      A. Yes.
  18       A. Yes, she was there, but she didn't use      18      Q. Have you been having sexual relations
  19   to sit around and monitor what was going on.       19   with Elsie for about five years?
  20       Q. You have a son, is that right?              20          MR. GARABEDIAN: Objection.
  21       A. Yes.                                        21      A. I can't tell you exactly if it's been
  22       Q. What is your son's mother's name?           22   five years. It's not every day that we have
  23       A. Elsie.                                      23   sex.
  24       Q. For how long have you known Elsie?          24   BY MR. DAILEY:
  25       A. How long were we together?                  25      Q. How often during a given week do you


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   1    normally have sex with Elsie?                     1        A. I wasn't doing anything. I didn't
   2       A. Twice in a week.                            2   have any jobs, no job.
   3       Q. And has that been so for the last five      3   BY MR. DAILEY:
   4    years, approximately?                             4        Q. Let's start fresh here. I'm sensing
   5       A. Yes, when I'm there for 15 days, two,       5   this has gone on for --
   6    three, four times with her.                       6          MR. GARABEDIAN: Let him answer. He
   7       Q. Two or three or four times during the       7   just gave an answer.
   8    week or 15 days?                                  8          MR. DAILEY: How could a translator
   9       A. Yeah, two, three, four times with her.      9   ever stay up with an answer that long?
  10       Q. And do you have any problems               10          MR. GARABEDIAN: She's skilled for
  11    performing sex?                                  11   that. That's her job.
  12       A. No, I don't.                               12          MR. DAILEY: She'd amaze me if she
  13       Q. Now, have you ever been married to         13   could do that.
  14    Elsie?                                           14          MR. GARABEDIAN: Aren't you?
  15       A. No, I don't have the means to get          15          THE INTERPRETER: I do 15 minutes,
  16    married, but it's something I would like very    16   sir.
  17    much.                                            17          MR. GARABEDIAN: Thank you.
  18       Q. And when you say that you would like       18        A. Sometimes I look for work as a mason,
  19    very much, and that you don't have the means,    19   as a construction worker, but there are no --
  20    how do you support your son and Elsie?           20   they don't need construction workers, so I am
  21           MR. GARABEDIAN: Objection.                21   ashamed because they call me a fag. That's the
  22       A. When I leave -- well, I left them to       22   biggest thing, when people call you a fag.
  23    come here, but I always bring things for them.   23   Sometimes I just cry, I have tears coming from
  24    BY MR. DAILEY:                                   24   my eyes. I should die, because I have to
  25       Q. When you say that you left them to         25   explain what happened to me.


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   1   come here, do you mean that you left them to       1          MR. DAILEY: That was the entire
   2   come here to the Dominican Republic for the        2   answer that he gave?
   3   deposition?                                        3          THE INTERPRETER: Yes.
   4       A. Yes.                                        4   BY MR. DAILEY:
   5       Q. But other than that, you're living          5       Q. Now, in 2000, the year 2000, you went
   6   either with Elsie and your son, or sometimes       6   to the school at Street 13, is that right?
   7   you're not living in the house for a period of     7          THE INTERPRETER: In 2000 you said?
   8   time, is that right?                               8          MR. DAILEY: 2000.
   9       A. Yes.                                        9       A. Yes.
  10       Q. When you're not living at home with        10   BY MR. DAILEY:
  11   Elsie, the bed that you would sleep with --       11       Q. And you stayed there about two years?
  12   sleep in with Elsie is still there, right?        12       A. 2000 to 2005, I stayed five years.
  13          MR. GARABEDIAN: Objection.                 13       Q. And during that time that you were at
  14       A. Yes.                                       14   Street 13, you would have been between 12 and
  15   BY MR. DAILEY:                                    15   17 years old, approximately?
  16       Q. And that has been so for the last five     16          MR. GARABEDIAN: Objection.
  17   years?                                            17       A. I don't -- I don't know.
  18       A. Yes.                                       18   BY MR. DAILEY:
  19       Q. Just before you met Elsie, which           19       Q. You were born in 1988, right?
  20   apparently would have been in 2010, what were     20       A. Yes.
  21   you doing for work then?                          21       Q. In the year 2000, you would have been
  22          THE INTERPRETER: What kind of work,        22   about 12, right?
  23   sir? What kind of work?                           23       A. Yes.
  24          MR. DAILEY: What kind of work was he       24       Q. And in the year 2005, you would have
  25   doing?                                            25   been about 17, right?


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   1      A. No. I don't think so.                          1      A. How long was it before I went to the
   2      Q. You were born in 1988.                         2   hospital?
   3          MR. GARABEDIAN: Objection.                    3      Q. Yes.
   4   BY MR. DAILEY:                                       4      A. Not long. I went on the following
   5      Q. And in 2015, you would have been about         5   day, I went to the hospital.
   6   17, right?                                           6      Q. Was it during the day that you went to
   7          MR. GARABEDIAN: Objection.                    7   the hospital?
   8      A. I don't know.                                  8      A. Yes, during the day.
   9   BY MR. DAILEY:                                       9      Q. Did you have bleeding at the time that
  10      Q. In 2005 -- I'm sorry, I misstated --          10   you went to the hospital?
  11   in 2005, you would have been about 17, right?       11      A. I went on the 13th. I was -- I had
  12          MR. GARABEDIAN: Objection.                   12   blood in my ass, in my butt. I put something
  13      A. In 2005?                                      13   for that so that the blood would not run. After
  14   BY MR. DAILEY:                                      14   school, I went to the hospital.
  15      Q. Right.                                        15      Q. Was it during the day that you went to
  16      A. I don't remember. I don't think.              16   the hospital?
  17      Q. You mentioned that something happened         17      A. Yes, during the day.
  18   in 2003, is that right, involving Douglas           18      Q. You said that you went --
  19   Perlitz?                                            19      A. After school.
  20          MR. GARABEDIAN: Objection.                   20      Q. You said that you went on the 13th?
  21      A. I don't know if something happened in         21      A. Oh, I didn't say on the 13th. I said
  22   2003. Just the only thing I can tell you is         22   after school.
  23   that Douglas was -- did gay things with me when     23      Q. Do you know the date that you went to
  24   President Aristide left power.                      24   the hospital?
  25   BY MR. DAILEY:                                      25          MR. GARABEDIAN: Objection.

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   1       Q. And is it your best estimate that that        1      A. No.
   2    was in 2003?                                        2   BY MR. DAILEY:
   3           MR. GARABEDIAN: Objection.                   3      Q. Were you bleeding at the time that you
   4           MR. DAILEY: Do you want me to start          4   went to the hospital?
   5    again?                                              5      A. Yes.
   6    BY MR. DAILEY:                                      6      Q. Had you been to that hospital before?
   7       Q. Was it your best estimate that Douglas        7      A. No.
   8    Perlitz first did something to you in 2003, as      8      Q. Where was your son born?
   9    you said in your answers to interrogatories?        9      A. Limbé.
  10           MR. GARABEDIAN: Objection.                  10      Q. Was it at a hospital?
  11       A. No.                                          11      A. No.
  12    BY MR. DAILEY:                                     12      Q. When you went to the hospital after
  13       Q. Is it your best estimate that Douglas        13   school, did you see any doctor?
  14    Perlitz did something to you in 2004?              14          MR. GARABEDIAN: Objection.
  15       A. It's when Aristide left that Douglas         15      A. I saw a girl, a nurse.
  16    did gay things to me.                              16   BY MR. DAILEY:
  17       Q. Do you know what year that was?              17      Q. Did you tell the nurse that you had
  18       A. I don't remember in which year.              18   been bleeding?
  19       Q. How soon after you say Douglas Perlitz       19      A. No, I didn't explain, but she asked me
  20    did something to you was it that you went to the   20   what happened. I explained my butt was hurting.
  21    Justinien Hospital?                                21   But on the road to the hospital I took out the
  22           MR. GARABEDIAN: Objection.                  22   thing that I put for the blood.
  23       A. How long did it --                           23      Q. When you got to the hospital, was
  24    BY MR. DAILEY:                                     24   there bleeding?
  25       Q. Let me start again maybe.                    25      A. No, when I got there, there was no


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   1    blood.                                           1       A. I don't know if Mémé paid. Usually
   2        Q. On the next day after you had seen the    2   when the miss does something for you, you need
   3    people at the hospital, did you have any         3   to give money. I don't know if she -- if it's a
   4    bleeding the next day?                           4   friend of Mémé's, because I was standing outside
   5        A. When I saw people where?                  5   while Mémé was in there.
   6        Q. When you went to the hospital, you        6   BY MR. DAILEY:
   7    told the nurse that you had some bleeding, is    7       Q. Has anyone asked you to sign a form so
   8    that right?                                      8   that they can get the record from the hospital?
   9        A. The miss, yes, I did.                     9          MR. GARABEDIAN: Objection.
  10        Q. Did she ask you where the bleeding was   10       A. They didn't ask me to sign a paper.
  11    coming from?                                    11   BY MR. DAILEY:
  12        A. I didn't say to the miss.                12       Q. Have you ever seen any record from the
  13        Q. You didn't tell the nurse where the      13   hospital?
  14    bleeding was coming from?                       14       A. No.
  15           MR. GARABEDIAN: Objection.               15       Q. Have you ever seen anyone else with
  16        A. I didn't explain. I didn't tell her      16   any record from the hospital relating to this
  17    that I had blood in my butt.                    17   visit?
  18    BY MR. DAILEY:                                  18          THE INTERPRETER: Have you ever seen
  19        Q. What did you tell the nurse?             19   anyone else?
  20        A. I just told her that my butt hurts.      20   BY MR. DAILEY:
  21        Q. You did not tell the nurse there was     21       Q. Have you ever seen anyone else with
  22    any bleeding?                                   22   any record from this hospital, the Justinien
  23        A. No.                                      23   Hospital, relating to this visit?
  24        Q. Did the nurse look at your butt at       24          MR. GARABEDIAN: Objection.
  25    all?                                            25       A. What visit?


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   1       A. No, she didn't.                            1   BY MR. DAILEY:
   2       Q. Did the nurse ask for any doctor to        2       Q. The visit that you had to the
   3    look at you?                                     3   hospital, the time that you went to the
   4       A. No.                                        4   hospital.
   5       Q. So the nurse never saw any bleeding?       5       A. If I saw someone who had a file?
   6       A. No. No, she gave me a syrup to drink,      6       Q. Yes.
   7    and some pills for pain.                         7       A. No.
   8       Q. Did the nurse actually give you the        8       Q. So you have never seen any record from
   9    syrup and the pills?                             9   the Justinien Hospital regarding this time that
  10            MR. GARABEDIAN: Objection.              10   you went to the hospital?
  11       A. Yes.                                      11           MR. GARABEDIAN: Objection.
  12    BY MR. DAILEY:                                  12       A. No. Even if they did any type of
  13       Q. Did you see the nurse writing anything    13   file, they wouldn't have given it to me, they
  14    down on a form?                                 14   would have given it to Mémé.
  15       A. I don't know if she did, but I didn't     15   BY MR. DAILEY:
  16    see it.                                         16       Q. Did you take the syrup and the pills?
  17       Q. Did you ever get a bill from the          17       A. Yes.
  18    hospital?                                       18       Q. For how long did you take the syrup?
  19       A. What is that?                             19       A. It might have last one week or
  20       Q. Did you ever get a statement from the     20   15 days.
  21    hospital telling them -- telling you that you   21       Q. Did you ever get any additional syrup
  22    owed the hospital money?                        22   or pills for the bleeding that you say you had?
  23       A. No, they didn't give me any paper.        23       A. Once I took the syrup and the pills, I
  24       Q. So you never paid the hospital?           24   never went back.
  25            MR. GARABEDIAN: Objection.              25       Q. The day after you say that you went to


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   1    the Justinien Hospital, did you have any            1   BY MR. DAILEY:
   2    bleeding?                                           2       Q. What marks did you see on Douglas
   3           MR. GARABEDIAN: Objection.                   3   Perlitz above the belt line and the belly
   4       A. No.                                           4   button? And let me -- let me start first, what
   5    BY MR. DAILEY:                                      5   tattoos did you see on Douglas Perlitz from the
   6       Q. Did you attend school?                        6   belt line to the head?
   7           MR. GARABEDIAN: Objection.                   7          MR. GARABEDIAN: He just answered
   8       A. Yes.                                          8   something. Can you let him answer?
   9    BY MR. DAILEY:                                      9          MR. DAILEY: I didn't finish my
  10       Q. Did you keep attending school?               10   question.
  11       A. Yes.                                         11          MR. GARABEDIAN: Well, you paused and
  12       Q. During the next month, did you have          12   he answered, I'm a little confused here.
  13    any bleeding?                                      13   BY MR. DAILEY:
  14       A. No.                                          14       Q. Let me withdraw the question.
  15       Q. In the answers that you had prepared         15          Looking at this figure of Douglas
  16    for you, it mentioned that you saw Douglas         16   Perlitz from the front, and having in mind from
  17    Perlitz naked, is that right?                      17   the belt line to the head, what tattoos did you
  18       A. Yes.                                         18   see on Douglas Perlitz's front?
  19       Q. Did you see the front of Douglas             19          MR. GARABEDIAN: Objection. Go ahead.
  20    Perlitz from his head to his feet?                 20   Objection.
  21           MR. GARABEDIAN: Objection.                  21       A. No drawings. He has little balls.
  22       A. Yes, all naked.                              22   BY MR. DAILEY:
  23    BY MR. DAILEY:                                     23       Q. Let's stay with tattoos first, then
  24       Q. Did you see his back from the head to        24   I'm going to ask you about birthmarks, and then
  25    the feet?                                          25   I'm going to ask you about other things, but I


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   1           MR. GARABEDIAN: Objection.                   1   want to take one at a time.
   2        A. Yes, I saw him from the back.                2           MR. GARABEDIAN: Let him answer.
   3    BY MR. DAILEY:                                      3   BY MR. DAILEY:
   4        Q. For how long did you see Douglas             4       Q. What tattoos did you see on Douglas
   5    Perlitz naked on the first time that you say        5   Perlitz on the front of his body from the belt
   6    that he abused you?                                 6   line to the head?
   7        A. The first time I just -- I saw him           7           MR. GARABEDIAN: Objection.
   8    naked only once. Sometimes -- he has things in      8       A. He doesn't have tattoos. He has
   9    his back and his body, but I don't know.            9   little things on his body. He always takes his
  10        Q. Okay. I drew a stick figure                 10   shirt off to show us the little things.
  11    showing -- if you can translate -- this would be   11   BY MR. DAILEY:
  12    the front figure, the head, the eyes, the nose,    12       Q. Does he have any tattoos --
  13    the mouth, the belly button, the belt line. And    13           MR. GARABEDIAN: Objection.
  14    then I drew a picture of the back, a stick         14   BY MR. DAILEY:
  15    figure, this would be of the back, and this        15       Q. -- from the belt line up?
  16    would be the belt line on the back.                16       A. He doesn't have tattoos. He doesn't
  17           MR. GARABEDIAN: I object to this, by        17   have drawings.
  18    the way. It looks like he's clothed.               18       Q. Does he have any tattoos from the belt
  19    BY MR. DAILEY:                                     19   line down on the front?
  20        Q. And I want you to assume that this is       20           MR. GARABEDIAN: Objection.
  21    a stick figure of naked Douglas Perlitz from the   21       A. No.
  22    front. Do you understand?                          22   BY MR. DAILEY:
  23           MR. GARABEDIAN: Note my further             23       Q. If you think of Douglas Perlitz's
  24    objection.                                         24   back, this figure here --
  25        A. Yes.                                        25           MR. GARABEDIAN: Objection.


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   1    BY MR. DAILEY:                                     1       Q. Does Douglas Perlitz have any
   2       Q. -- does he have any tattoos from the         2   birthmarks on the front of his body from the
   3    belt line to the head on the back?                 3   belt line to the feet?
   4       A. He has little marks on --                    4           MR. GARABEDIAN: Objection.
   5       Q. Are there any tattoos?                       5        A. Douglas Perlitz has little balls,
   6           MR. GARABEDIAN: Objection.                  6   little balls, little round things in the back.
   7       A. No. If he has tattoos now, he did            7   I haven't seen anything else.
   8    them recently, but I don't know about that.        8   BY MR. DAILEY:
   9    BY MR. DAILEY:                                     9       Q. Have you seen any marks that you have
  10       Q. Did he have any tattoos from the belt       10   just described on the front of Douglas Perlitz's
  11    line to his feet on the back?                     11   body anywhere?
  12           MR. GARABEDIAN: Objection.                 12        A. No, I saw them only in the back.
  13       A. I don't see these ink things. He            13        Q. When you say that you saw them in the
  14    shows little things he has on the back.           14   back, did you see any of these marks on the back
  15    BY MR. DAILEY:                                    15   from the belt line to the head?
  16       Q. Were there any tattoos on the back of       16           MR. GARABEDIAN: Objection.
  17    Douglas Perlitz from the belt line to the feet?   17        A. On his back, that's where I see them.
  18           MR. GARABEDIAN: Objection.                 18   BY MR. DAILEY:
  19       A. No, he doesn't. If there are, he did        19        Q. From between the belt line and the
  20    them recently.                                    20   head?
  21    BY MR. DAILEY:                                    21           MR. GARABEDIAN: Objection.
  22       Q. Did Douglas Perlitz have a tattoo on        22        A. In his back?
  23    the upper left shoulder on the back?              23   BY MR. DAILEY:
  24           MR. GARABEDIAN: Objection.                 24        Q. From the belt line to the head?
  25       A. No.                                         25           MR. GARABEDIAN: Objection.


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   1   BY MR. DAILEY:                                      1       A. I didn't say in the belt. He has it
   2       Q. Did Douglas Perlitz have any                 2   in the back, sometimes he takes off his shirt
   3   birthmarks --                                       3   and he shows us.
   4          MR. GARABEDIAN: Objection.                   4   BY MR. DAILEY:
   5   BY MR. DAILEY:                                      5       Q. And is that above the belt line?
   6      Q. -- on the front of his body from the          6          MR. GARABEDIAN: Objection.
   7   belt line to the head?                              7       A. Yeah, above, here (indicating).
   8       A. I don't see marks. But what I told           8   BY MR. DAILEY:
   9   you about is what there is.                         9       Q. Can you describe those marks that
  10       Q. Stay with birthmarks now.                   10   you're telling us about?
  11          MR. GARABEDIAN: He's answering. Let         11       A. I don't know what kind of marks there
  12   him answer, please. Objection.                     12   are. Even if he takes a shower, they still on
  13   BY MR. DAILEY:                                     13   him.
  14       Q. Does Douglas Perlitz have any               14       Q. And about how many marks are there
  15   birthmarks on his body from the -- in the front    15   that are on his back?
  16   from the belt line to the head?                    16       A. I don't know. That's not what I be
  17       A. In the front?                               17   focused on.
  18       Q. In the front from the belt line to the      18       Q. How would you describe the marks?
  19   head.                                              19          MR. GARABEDIAN: Objection.
  20       A. No.                                         20       A. What do you mean how they are?
  21       Q. Does Douglas Perlitz have any hair          21   BY MR. DAILEY:
  22   growth on his chest?                               22       Q. Describe the marks for us, what they
  23          MR. GARABEDIAN: Objection.                  23   look like.
  24       A. No. I don't think.                          24       A. Well, you know what a -- you know,
  25   BY MR. DAILEY:                                     25   like an animal bites a person, especially people


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   1   who get red, like that.                             1   Perlitz brought you to Bel Air after he had seen
   2       Q. How big were these marks?                    2   you out in the rain, is that right?
   3       A. (Drawing).                                   3      A. Douglas Perlitz saw me, it was
   4       Q. You have taken the pen and you have          4   raining, so he said "let's go to Bel Air, let's
   5   drawn the marks on the back of Douglas's body on    5   go there."
   6   the back above the belt line, is that right?        6      Q. You told us that when you went there,
   7       A. Just to show you the dimension. I            7   you went downstairs and went into Douglas
   8   haven't counted them.                               8   Perlitz's bedroom, is that right?
   9       Q. Can you give us your best estimate as        9      A. Yes.
  10   to the number of marks?                            10      Q. Other than the person that you
  11          MR. GARABEDIAN: Objection.                  11   mentioned at the gate -- and I think his name
  12       A. I don't know.                               12   was Pro, is that right?
  13   BY MR. DAILEY:                                     13      A. Yes.
  14       Q. When did you first see those marks?         14      Q. -- did you see anyone else at Bel Air
  15       A. I don't know exactly. It's one day he       15   that night before you went into Douglas
  16   was at the Village and he shows them to us. But    16   Perlitz's room?
  17   not only to me, and he does this and he shows it   17      A. No, I didn't see anyone.
  18   to us.                                             18      Q. When you first went into the room, did
  19       Q. Did you see those marks at the time         19   Douglas Perlitz give you some type of a blanket
  20   that you say he abused you at Bel Air, or had      20   to use?
  21   you seen those marks before?                       21      A. Yes.
  22          MR. GARABEDIAN: Objection.                  22      Q. Was there any mattress on the floor?
  23       A. I had already seen them. He goes to         23      A. No.
  24   13th Street and he shows the kids, his back to     24      Q. Did you fall asleep in the bedroom
  25   the kids.                                          25   before something happened?

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   1   BY MR. DAILEY:                                      1           MR. GARABEDIAN: Objection.
   2      Q. How long before you say Douglas               2        A. Yes, I had started to sleep.
   3   Perlitz abused you was it that you first saw        3   BY MR. DAILEY:
   4   these marks that you've told us about?              4        Q. Can you estimate how long you were
   5      A. I don't know. I don't remember when,          5   asleep before something happened?
   6   how long -- how long it was when that happened.     6           MR. GARABEDIAN: Objection.
   7      Q. You first met Elsie in about 2010, is         7        A. I don't know how much time elapsed, I
   8   that right?                                         8   had started to -- after I started to sleep. But
   9       A. Yes.                                         9   I was sleeping, and then Douglas touched me. I
  10      Q. Between 2004 and 2010, had you had any       10   woke up, it was Douglas. Then he wanted to do
  11   other lady friends?                                11   gay things with me. He put his penis in my
  12      A. No. Douglas always told us don't have        12   butt. That really made me feel terrible, and
  13   girlfriends, they will finish with your money.     13   I'll always think about that, and it's never
  14      Q. No. I'm asking you; did you have any         14   going to go away, maybe even I would need until
  15   lady friends between 2004 and 2010?                15   I die. I will always be able to -- I will
  16          MR. GARABEDIAN: Objection.                  16   always remember this and will always be able to
  17      A. No. In 2010, I met Elsie.                    17   explain what happened.
  18   BY MR. DAILEY:                                     18   BY MR. DAILEY:
  19      Q. Before 2010, had you had sexual              19        Q. Let me try that question again.
  20   relations with any women?                          20           Can you estimate how long you were
  21      A. No.                                          21   asleep before something happened?
  22      Q. Was Elsie the first woman that you had       22           MR. GARABEDIAN: Objection.
  23   had sexual relations with?                         23        A. While I was in Douglas's room? While
  24       A. Yes.                                        24   I was in Douglas's room?
  25      Q. Now, you mentioned that Douglas              25   BY MR. DAILEY:


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   1      Q. While you were in Douglas's room, how        1   woke up.
   2   long were you asleep before you had something      2      Q. After you woke up, did you --
   3   happen?                                            3      A. He said -- when I woke up, he said
   4          MR. GARABEDIAN: Objection.                  4   "stand up, take off your clothes."
   5      A. I don't know. I don't know. I was            5      Q. And did you stand up?
   6   not thinking, I was sleeping.                      6      A. Yes, I stood up.
   7   BY MR. DAILEY:                                     7      Q. Did you take off your clothes?
   8      Q. When Douglas first touched you and you       8      A. Yes, I took off my clothes.
   9   became awake, was Douglas naked?                   9      Q. Did he touch any part of your body
  10      A. Yes.                                        10   before he placed his penis in your rectum?
  11      Q. Were you naked?                             11      A. He was touching all over. He touched
  12      A. No, I was not naked.                        12   my head, my breast, and he touch all over. Then
  13      Q. Did Douglas ask you to take your            13   he made be bend down on the bed, and then he put
  14   clothes off?                                      14   his penis in.
  15          MR. GARABEDIAN: Objection.                 15      Q. For how long was he touching you
  16      A. Yes.                                        16   before he told you to lie down on the bed?
  17   BY MR. DAILEY:                                    17         THE INTERPRETER: Not lie down.
  18      Q. How long was it before Douglas did          18         MR. GARABEDIAN: Objection.
  19   something with his penis after he woke you up?    19         THE INTERPRETER: Bend over.
  20      A. He stood up, he touched me. I woke          20   BY MR. DAILEY:
  21   up, I saw it was Douglas. He said "stand up."     21      Q. For how long was Douglas Perlitz
  22   And during the daytime we always obeyed           22   touching you before he told you to bend over?
  23   everything he said. He told -- he told us if we   23         MR. GARABEDIAN: Objection.
  24   don't do certain things he will throw us out.     24      A. After he touch me he said go over --
  25      Q. Now try my question.                        25   bend over the bed.


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   1       A. Because he was the director of the          1   BY MR. DAILEY:
   2   project.                                           2       Q. And how long was it after he told you
   3       Q. Now try my question.                        3   to stand up and after he started touching you on
   4           MR. GARABEDIAN: Excuse me, I think         4   your body that he told you to bend over onto the
   5   you're still answering, aren't you? Are you        5   bed?
   6   still answering, or are you finished?              6          MR. GARABEDIAN: Objection.
   7           THE INTERPRETER: I'm done now.             7       A. Not very long. He touched me all
   8   BY MR. DAILEY:                                     8   over, and then while I was sleeping maybe he was
   9       Q. Now try my question, if you will.           9   looking porno movies, he wanted to do something
  10           How long was it before Douglas Perlitz    10   crazy.
  11   did something with his penis after he woke you    11   BY MR. DAILEY:
  12   up?                                               12       Q. Did you see any porno movies that
  13           MR. GARABEDIAN: Objection.                13   night?
  14       A. I don't know. I was sleeping.              14       A. When I was there I start sleeping, and
  15   BY MR. DAILEY:                                    15   he went the bed, and the same spot, I start
  16       Q. After he woke you up.                      16   sleeping. And then after a while I felt someone
  17           MR. GARABEDIAN: Objection.                17   touching me, I saw it was Douglas.
  18       A. I was sleeping, and he woke me up. He      18       Q. Did you see any porno movies that
  19   start touching, and I saw it was Douglas.         19   night that you say you were at Bel Air?
  20   BY MR. DAILEY:                                    20       A. No. I don't watch things like that.
  21       Q. After you felt Douglas touching you --     21       Q. Did you see Douglas Perlitz watching
  22       A. I was sleeping, and he touched me.         22   any porno movies that night while you were at
  23       Q. And after he touched you, did you wake     23   Bel Air?
  24   up?                                               24          MR. GARABEDIAN: Objection.
  25       A. Yeah, he started touching me, and I        25       A. I didn't see him watching porno. But


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   1    when I got in, I just lied down, and he did         1   BY MR. DAILEY:
   2    whatever. I wasn't focusing on him. I just          2       Q. And did you sleep until the morning?
   3    came to sleep.                                      3       A. I left on the following morning, yes.
   4    BY MR. DAILEY:                                      4       Q. Did you tell anyone there at the house
   5       Q. And for how long was it that you say          5   the following morning that anything had
   6    you stood up and Douglas Perlitz was touching       6   happened?
   7    you all over before he told you to bend over the    7       A. No, I didn't say to anyone -- anything
   8    bed? I'm looking for in minutes, whether it was     8   to anyone.
   9    one minute or five minutes or whatever.             9       Q. And you said that a second incident
  10           MR. GARABEDIAN: Objection.                  10   occurred, is that right?
  11       A. I don't have a watch. I don't know.          11       A. Yes.
  12    I don't know.                                      12       Q. About how much later was it that the
  13    BY MR. DAILEY:                                     13   second incident occurred?
  14       Q. When Douglas Perlitz put his penis in        14           MR. GARABEDIAN: Objection.
  15    your rectum, as you say that he did, for how       15       A. The second time I was in the Bel Air
  16    long was the penis in your rectum?                 16   area, I was downtown, it was really dark, I was
  17       A. I don't know. That's not why I came          17   scared for people -- for them -- that I would be
  18    for. I didn't focus on how long, on how long he    18   arrested. I was downtown, and I was scared that
  19    had -- was doing this to me.                       19   they would think that I'm a thief or that I was
  20       Q. After you say that Douglas Perlitz did       20   pulling guns and threatening people. Chiefs in
  21    this, did you go back to your place on the         21   Haiti are -- they don't care, if they see you
  22    floor?                                             22   they just catch you. I was walking a bit.
  23           MR. GARABEDIAN: Objection.                  23           When I saw Douglas he was coming in a
  24       A. Yes. I went there to sleep, and then         24   car. He said "come on," and he forced me to go.
  25    the next day.                                      25   I started thinking I have no place to sleep, I


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   1    BY MR. DAILEY:                                      1   have no place to go, so I went.
   2       Q. Did you go back to sleep?                     2   BY MR. DAILEY:
   3       A. Yes, I continued sleeping.                    3      Q. How much later was it that the second
   4       Q. And did you sleep?                            4   incident occurred?
   5       A. It was night, I was already inside, I         5          THE INTERPRETER: I'm sorry, I think
   6    couldn't say I was going to leave, so I just        6   he still has something.
   7    took it out on myself and stayed.                   7      A. I didn't want to go, but he forced me
   8       Q. And did you sleep there that night?           8   to go, "let's go, let's go," he said.
   9           MR. GARABEDIAN: Objection.                   9   BY MR. DAILEY:
  10       A. Yes. I continued to sleep. I                 10      Q. How much later was it that the second
  11    couldn't stand up and -- I had to just -- it's     11   incident occurred?
  12    not that it didn't hurt, it did hurt, but I just   12          MR. GARABEDIAN: Objection.
  13    took it on myself to stay.                         13      A. I wasn't thinking about how long.
  14    BY MR. DAILEY:                                     14   BY MR. DAILEY:
  15       Q. And did you sleep until the morning?         15      Q. I'm asking you to think now.
  16           MR. GARABEDIAN: Objection.                  16          MR. GARABEDIAN: Objection.
  17       A. Yes. The sun was already down. I             17      A. Even I would try to think, I don't
  18    couldn't say I was going to open the door and      18   know.
  19    leave.                                             19   BY MR. DAILEY:
  20    BY MR. DAILEY:                                     20      Q. Was it more or less than three months
  21       Q. What I'm asking you is this. After           21   between the two incidents?
  22    whatever happened with Mr. Perlitz, did you go     22          MR. GARABEDIAN: Objection.
  23    back to sleep?                                     23      A. I don't know. I was a kid. You don't
  24           MR. GARABEDIAN: Objection.                  24   remember everything that happened. You'll
  25       A. Yes, I continued to sleep.                   25   remember what -- a crime that people did against


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   1    you, but you might not remember the date.         1       Q. No, no. At the hospital, when you
   2    BY MR. DAILEY:                                    2   went to the Justinien Hospital, did --
   3       Q. Was it more or less than six months         3       A. Was I bleeding at the hospital?
   4    between the first and second incidents?           4       Q. At the hospital.
   5       A. I don't remember at all.                    5       A. No.
   6       Q. Was it more or less than a year             6       Q. After you left the hospital --
   7    between the two incidents?                        7       A. I left.
   8       A. I don't know.                               8       Q. After you left the hospital, did you
   9       Q. Was it more or less than two years          9   ever go back to the hospital and tell them you
  10    between the two incidents?                       10   had bleeding?
  11           MR. GARABEDIAN: Objection.                11           MR. GARABEDIAN: Objection.
  12       A. I don't know.                              12       A. No. After I took the syrup, the
  13    BY MR. DAILEY:                                   13   pills, I didn't go back to the hospital.
  14       Q. After the first incident, you              14   BY MR. DAILEY:
  15    indicated that you had bleeding for about one    15       Q. After you say there was a second
  16    day, is that right?                              16   incident --
  17       A. First incident?                            17           MR. GARABEDIAN: Objection.
  18       Q. After the first incident, you              18       A. Yes?
  19    indicated --                                     19   BY MR. DAILEY:
  20       A. First one? How long I was bleeding         20       Q. -- did you go to the hospital?
  21    for?                                             21           MR. GARABEDIAN: Objection.
  22       Q. Yes.                                       22       A. No, I didn't go to the hospital.
  23       A. For a long time?                           23   BY MR. DAILEY:
  24       Q. After the first incident, did you tell     24       Q. Did you go to see any doctor?
  25    us --                                            25       A. No.

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   1        A. After Douglas did the gay stuff to me      1     Q.   Did you go to see any nurse?
   2    first time, so what?                              2     A.   No.
   3        Q. What I'm asking is; did you tell us        3     Q.   Did you take any syrup?
   4    that you had bleeding for about one day after     4     A.   No.
   5    the time that you say the first incident took     5     Q.   Did you take any pills?
   6    place?                                            6     A.   No.
   7            MR. GARABEDIAN: Objection.                7     Q.   Did you take anything --
   8        A. First time?                                8         MR. GARABEDIAN: Objection.
   9    BY MR. DAILEY:                                    9   BY MR. DAILEY:
  10        Q. First time.                               10      Q. -- for any medical problem that you
  11        A. The first time I was bleeding, but        11   say you had after the second incident?
  12    after one week or two, 15 days, no more blood,   12      A. First time I took a syrup. After one
  13    but after that no more.                          13   week, 15 days it was okay. I never took
  14        Q. Did you tell us earlier that you had      14   anything until the second time where Douglas did
  15    no bleeding after one day after you say the      15   gay things with me.
  16    first incident took place?                       16      Q. After the second time that you say
  17            MR. GARABEDIAN: Objection.               17   that Douglas Perlitz did something, did you take
  18        A. No.                                       18   any syrup or pills?
  19    BY MR. DAILEY:                                   19         MR. GARABEDIAN: Objection.
  20        Q. So you had bleeding when you went to      20      A. No.
  21    the hospital?                                    21   BY MR. DAILEY:
  22            MR. GARABEDIAN: Objection.               22      Q. Did you get any medical attention?
  23        A. Yeah, but after one week, 15 days I       23         MR. GARABEDIAN: Objection.
  24    didn't have any more bleeding.                   24      A. No.
  25    BY MR. DAILEY:                                   25   BY MR. DAILEY:


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   1       Q. Between the first incident and the           1   Perlitz's room?
   2   second incident, how often each week did you see    2      A. Third time when I went to sleep there,
   3   Douglas Perlitz?                                    3   Douglas wasn't there. I slept twice in the car.
   4       A. When the accident occurred, or what?         4      Q. At Bel Air?
   5       Q. Between the first time that you say          5      A. Yes.
   6   that Douglas Perlitz abused you and the second      6      Q. When you went to Bel Air, who else was
   7   time that you say that Douglas Perlitz abused       7   present there?
   8   you, how often did you see Douglas Perlitz each     8          MR. DAILEY: Objection.
   9   week?                                               9      A. Who else was there?
  10       A. I don't remember how often.                 10   BY MR. DAILEY:
  11       Q. Can you give us your best estimate?         11      Q. Right.
  12         MR. GARABEDIAN: Objection.                   12      A. Nicholas was there, but he sleeps in
  13       A. When I went to the Village, I could --      13   his room. Pro also, Pro also.
  14   I saw him every day.                               14      Q. Was either Brittany or Jessica there?
  15   BY MR. DAILEY:                                     15      A. They were there. They're often there.
  16       Q. All right. When you were at the             16      Q. Did you ever tell Pro that you had
  17   Village and you saw Douglas Perlitz every day --   17   been abused by Douglas?
  18       A. Yes.                                        18      A. No.
  19       Q. -- and you were at the Village for          19      Q. Did you ever tell Nick that you had
  20   about two years, were you?                         20   been abused by Douglas?
  21       A. Yes.                                        21          MR. GARABEDIAN: Objection.
  22       Q. Did Douglas Perlitz ever try to abuse       22      A. No.
  23   you during those two years?                        23   BY MR. DAILEY:
  24         MR. GARABEDIAN: Objection.                   24      Q. Did you ever tell Jessica that you had
  25       A. No.                                         25   been abused by Douglas?


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   1   BY MR. DAILEY:                                      1       A. No.
   2       Q. When the Village closed --                   2       Q. Did you ever tell Brittany that you
   3         THE INTERPRETER: I'm sorry, sir,              3   had been abused by Douglas?
   4   could you repeat?                                   4       A. Brittany used to be in the Village.
   5   BY MR. DAILEY:                                      5   When Brittany left, nobody knew that she had
   6       Q. When the Village closed, did                 6   left. So we think it's probably something that
   7   Mr. Robinson keep something going for a period      7   she was aware of, and that's why she decided to
   8   of time?                                            8   leave. Something -- she had doubts, and she
   9         MR. GARABEDIAN: Objection.                    9   left.
  10       A. When the Village closed, or when            10       Q. Did you ever tell Brittany that you
  11   Douglas left?                                      11   had been abused?
  12   BY MR. DAILEY:                                     12          MR. GARABEDIAN: Objection.
  13       Q. When Douglas left.                          13       A. No, I did not.
  14       A. Yes, when Douglas left, Robinson took       14   BY MR. DAILEY:
  15   over.                                              15       Q. I'm going to show you a picture.
  16       Q. And did Robinson keep the operation         16          MR. DAILEY: And let me ask first that
  17   going for a number of months?                      17   this stick diagram be marked as Exhibit
  18         MR. GARABEDIAN: Objection.                   18   Number 5.
  19       A. Yes, yes, he started doing that.            19          (Whereupon, Jerome Exhibit Number 5,
  20   BY MR. DAILEY:                                     20          Stick diagram, was marked for
  21       Q. How many times in all were you at           21          identification.)
  22   Bel Air?                                           22   BY MR. DAILEY:
  23       A. I slept there four times.                   23       Q. I'm going to show you this photograph
  24       Q. Four times?                                 24   here. Do you recognize any of the people in
  25         Each time did you sleep in Douglas           25   that photograph?


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   1        A. Yes, I remember all these people.            1      Q. Of the people that you recognize in
   2        Q. All of these people?                         2   the picture, how many of them are on the list?
   3        A. This is Jessica.                             3          MR. GARABEDIAN: Objection.
   4        Q. And do you recognize all of the other        4      A. Just one.
   5    people in the picture?                              5   BY MR. DAILEY:
   6        A. Yes, I remember them.                        6      Q. And how many do you recognize?
   7        Q. Do you remember their names?                 7      A. These guys here, those I can't see
   8        A. Wendy, Jessica, Lube, this is me,            8   their faces, they're too dark.
   9    Dora, Wilnot, Moodali. I don't really remember      9      Q. How many by number do you recognize?
  10    this guy. I don't remember this guy.               10      A. Six. I don't see the face of the
  11        Q. Of the ones that you do remember, are       11   other ones on the left. There's a contrast.
  12    all their names on the list that you were shown?   12      Q. There are six that you recognize in
  13           MR. GARABEDIAN: Objection.                  13   the picture?
  14        A. Yes.                                        14      A. Yes, six.
  15    BY MR. DAILEY:                                     15      Q. All right. And you're aware that at
  16        Q. So everyone in that picture there?          16   least one of those is on the list?
  17        A. No, just this guy I don't really.           17      A. Yes, this one (indicating).
  18           MR. GARABEDIAN: Two people.                 18      Q. What is his name?
  19        A. These two people I don't remember.          19      A. Nickenson.
  20    BY MR. DAILEY:                                     20      Q. Nickenson.
  21        Q. All right. Leaving off the two people       21          MR. DAILEY: I'll ask that that be
  22    that you don't remember, and of course leaving     22   marked as Exhibit Number 7.
  23    out Jessica, is everyone else on the list that     23          (Whereupon, Jerome Exhibit Number 7,
  24    you were shown earlier today?                      24          Photograph, was marked for
  25        A. Yes.                                        25          identification.)


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   1       Q. Going to --                                   1   BY MR. DAILEY:
   2           MR. DAILEY: Could I have that marked         2       Q. And in Exhibit Number 7, which one is
   3    as Exhibit Number 6?                                3   Nickenson? Can you put a mark where Nickenson
   4           (Whereupon, Jerome Exhibit Number 6,         4   is?
   5           Photograph, was marked for                   5       A. (Labeling).
   6           identification.)                             6       Q. You've drawn a mark just above the
   7    BY MR. DAILEY:                                      7   left side of Nickenson's head?
   8       Q. I'm going to show you another picture,        8       A. Yes.
   9    and I'm going to ask you whether or not you         9       Q. Now, I'm going to show you another
  10    recognize any of the students in that picture.     10   picture here. And apart from Douglas Perlitz
  11       A. I recognize Gedux. There's more, but         11   and the women in the picture, how many of these
  12    I do recognize some of them.                       12   students do you recognize (handing)?
  13       Q. How many of the people in that picture       13          THE INTERPRETER: How many?
  14    do you recognize?                                  14          MR. DAILEY: How many of the people in
  15       A. Well, you know, there's one that turns       15   the picture other than Douglas and the women.
  16    his back to the camera, and there's one putting    16       A. This is Peterson. This is Fresnil, he
  17    his hand here so I can't -- and I don't see        17   lives in the Dominican Republic. Duso, Wilnik,
  18    these on the left. I haven't seen him for a        18   Claude, Boss Mo, Patrick, Kenson, Telmy, Liksy.
  19    long time, I don't know if he's dead or not.       19   I don't see him well. I don't remember that
  20       Q. Of the people in that picture that you       20   guy's name. I don't remember his name.
  21    recognize, are they all on the list?               21   BY MR. DAILEY:
  22           MR. GARABEDIAN: Objection.                  22       Q. How many by number do you recognize in
  23       A. He's on the list. I know some faces.         23   that picture?
  24    That's the only guy I see on the list.             24       A. That guy has a cap, I don't see his
  25    BY MR. DAILEY:                                     25   face. I don't remember this guy's name. Boss


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   1   Mo. Ten.                                           1   Joseph. Jasmin Joseph. Jheempson Brismac
   2       Q. You recognize ten from the picture?         2   Joseph. Walky Joseph. Wilnot Joseph. Wilson
   3       A. Yes.                                        3   Joseph. Pedro Julien. Geffrard Lecenat.
   4       Q. How many of the ten are on the list         4   Gesner Lecenat. Jean Lesly. Belad Louis.
   5   that you were shown?                               5   Milvoy Lubrin. Jacques Mackenson. Guivenel
   6          MR. GARABEDIAN: Objection.                  6   Metellus. Ronald Meus. Bernard Michel. Vanel
   7   BY MR. DAILEY:                                     7   Nasaire. Philogene Nickenson. Raynel Odilbert.
   8       Q. Do you want to see the list?                8   Joseph Ovelt. Mackenson Papillon. Jean
   9          THE INTERPRETER: He wants me to read        9   Patrick.
  10   the names.                                        10       A. His name is Patrick, but I don't know
  11          MR. DAILEY: All right.                     11   if it's his last name or his first name.
  12          THE INTERPRETER: Joél Albert.              12            THE INTERPRETER: Paul Peniel. Telmy
  13   Nickenson Alcinord. Eliphete Alibert. Johnson     13   Philoden. Delphin Philome.
  14   Audate. Peterson Augustin.                        14       A. Philome, that's Philome here.
  15          MR. DAILEY: As we go along, perhaps        15            THE INTERPRETER: Extra Pierre. Felix
  16   -- as we go along, perhaps Mr. Jerome could say   16   Pierre. Fritzson Pierre. Gogory Pierre.
  17   out loud "yes, that person is on the list."       17   Guisman Pierre. Jean-Louis Pierre. Joseph Jean
  18   Would you start again?                            18   Pierre. Robens Pierre. Kensley Prévil. Louis
  19          THE INTERPRETER: Yes. So he's going        19   Saint Cirin. Jeffrey Saint-Fleur. Gervil
  20   to say yes when he hears a name of a person who   20   St. Louis. Renel St. Vil. Ami Watson.
  21   is on the picture.                                21   BY MR. DAILEY:
  22          Joél Albert. Nickenson Alcinord.           22       Q. How many did you find that were on the
  23   Eliphete Alibert. Johnson Audate. Peterson        23   list?
  24   Augustin. Daphélus Baptiste. Edlyn Jean           24       A. These two.
  25   Baptiste. Junior Jean Baptiste. Erlick            25            MR. DAILEY: Okay. I think the


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   1   Benjamin. Dieu-Dabel Bernard. Mackenson            1   videographer --
   2   Bien-Aimé. Benson Bien-Aimé. Jean Blaise.          2          MR. GARABEDIAN: Bill, want to take a
   3   Guido Calet. Luccé Calixte.                        3   break for ten minutes?
   4         Yes for Luccé Calixte.                       4          MR. DAILEY: He wants to change.
   5         Michenson Cameus. Emmanuel Clervil.          5      A. But I know them.
   6   Angelo Compére. Chanel Dameus. Wendy Derice.       6          THE VIDEOGRAPHER: Going off the
   7      A. Wendy is not here. He's in the other         7   record. The time is 4:02.
   8   picture.                                           8          (Whereupon, Jerome Exhibit Number 8,
   9         THE INTERPRETER: Jason Maxwell               9          Photograph, was marked for
  10   Deriza. Idlin Deruis. Jose Derval. Roland         10          identification.)
  11   Desauguste. Nicodeme Dolce. Wadson Dorcine.       11          (Whereupon, a recess was taken.)
  12   Makenson Dupasse. Franto Edmond. Wismond          12          THE VIDEOGRAPHER: Back on the record.
  13   Joseph Edouard. Jean Moise Emile. Jonas           13   The time is 4:26.
  14   Estacin. Dupin Esteril. Christophe Faustin.       14   BY MR. DAILEY:
  15   Papouche Fils-Aime. Eliodor Fleuridor. Bendji     15      Q. Mr. Jerome, after 2010, and starting
  16   Fleuridor. Elivain Jean Francois. Gary            16   in 2010, you began to live with Elsie, is that
  17   Francois. Herby Francois. Joselyn Frezin.         17   right?
  18   Eliassaint Fridelus. Jamesly Guillaume.           18      A. Yes.
  19   Roudely Jacques. Dorat Jean. Frisnel Jean.        19      Q. Has Elsie always lived at the same
  20   Ilguens Jean. Patrick Jean.                       20   address from 2010 until the present?
  21      A. Not here.                                   21      A. Yes.
  22         THE INTERPRETER: Rene Jean-Baptiste.        22      Q. Has Elsie had any male friend other
  23   Reynold Jean-Baptiste. Jackson Jean-Charles.      23   than yourself since 2010 that you're aware of?
  24   Emile Jean-Pierre. Wisky Jerome. Joseph           24      A. No, no other boyfriend except me.
  25   Jidens. Lucny Joasil. Bernardin Jose. Dimitry     25      Q. You mentioned that you said you were


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   1   at the Justinien Hospital back in 2003 or 2004,      1   bit of money, that they would give me a little
   2   is that right?                                       2   money to get pills for the pain because of the
   3          MR. GARABEDIAN: Objection.                    3   -- it hurt.
   4       A. No.                                           4       Q. Did you see any doctor after the
   5   BY MR. DAILEY:                                       5   project closed?
   6       Q. What year were you at the Justinien           6       A. I have never seen any other doctor,
   7   Hospital?                                            7   but I go sometimes to the pharmacy to get some
   8       A. I don't remember.                             8   pills for pain when I have pain.
   9       Q. Whenever it was that you were at the          9       Q. What pharmacy do you go to?
  10   Justinien Hospital, have you ever been in any       10       A. Where they sell drugs, and where they
  11   hospital since then?                                11   sell all the pills when you have pain.
  12          MR. GARABEDIAN: Objection.                   12       Q. What is the name of the pharmacy?
  13       A. I didn't go to any other hospital. I         13       A. I don't remember the name.
  14   just went to Justinien Hospital.                    14       Q. Where is it located?
  15   BY MR. DAILEY:                                      15       A. Cap-Haïtian.
  16       Q. Since the time that you went to the          16       Q. Where? What street?
  17   Justinien Hospital, have you been back to the       17       A. 13th Street.
  18   Justinien Hospital, or to any other hospital,       18       Q. The drugstore is on 13th Street?
  19   right up until the present time?                    19       A. Yes.
  20          MR. GARABEDIAN: Objection.                   20       Q. Have you seen any nurse in the last
  21       A. After the first time when Douglas this       21   five years?
  22   to me?                                              22       A. Between 2010 and 2015?
  23   BY MR. DAILEY:                                      23       Q. Yes.
  24       Q. After the first time that you say            24       A. No, I haven't seen any nurses, but I
  25   Douglas did something to you, have you ever been    25   go sometimes to the pharmacy to buy pills for my


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   1    back in any hospital since that time?               1   butt that hurts.
   2        A. When Douglas did the gay things with         2      Q. Do you have any pills with you today?
   3    me, I just went to the Justinien Hospital. I        3      A. No, I don't. No, it's not like that,
   4    never went to any other hospital.                   4   because one year might lapse, and I go then when
   5        Q. Have you been in any other hospital          5   time is -- when it's time I go to buy the pill.
   6    for any reason since that time?                     6      Q. Have you bought any pills this year?
   7            MR. GARABEDIAN: Objection.                  7      A. Yes, I did.
   8        A. No.                                          8      Q. When was that?
   9    BY MR. DAILEY:                                      9      A. In March. Before I came here I took
  10        Q. Have you seen any doctor since that         10   them.
  11    time?                                              11      Q. Do you play any sports?
  12        A. Is it the first time after Douglas did      12      A. I play soccer, basketball.
  13    this, the thing to me, or after? Because I         13      Q. You play soccer and basketball. Any
  14    don't know, I've never been to any other           14   other sports?
  15    hospital afterwards.                               15      A. No, I don't.
  16        Q. In the last ten years, have you been        16      Q. Anything wrong with your arms or your
  17    in any hospital?                                   17   legs?
  18        A. No.                                         18          MR. GARABEDIAN: Objection.
  19        Q. In the last ten years, have you seen        19      A. Sometimes my butt hurts.
  20    any doctor?                                        20   BY MR. DAILEY:
  21        A. After the project was closed?               21      Q. I asked about the arms and the legs.
  22        Q. All right. After the project was            22          MR. GARABEDIAN: Objection.
  23    closed, have you seen any doctor?                  23      A. No, I don't have problems.
  24        A. When the project closed, my butt was        24   BY MR. DAILEY:
  25    still hurting, so I had to check -- get a little   25      Q. So far this year, where have you


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   1   worked?                                             1   assault. Did you get injured yourself in the
   2       A. I am in the street now, so sometimes I       2   assault?
   3   can throw away trash. Sometimes people give         3         MR. GARABEDIAN: Objection.
   4   me -- ask me to wash their car, so I get 50         4       A. No.
   5   gourdes here or there. But this is not a real       5   BY MR. DAILEY:
   6   job.                                                6       Q. Before you heard that some students at
   7       Q. Have you had any real jobs in the last       7   PPT had got money, did you tell anyone about the
   8   five years?                                         8   incidents you say you were involved with with
   9          MR. GARABEDIAN: Objection.                   9   Douglas Perlitz, other than Mémé?
  10       A. No, I've never had a real job.              10         MR. GARABEDIAN: Objection.
  11   BY MR. DAILEY:                                     11       A. No, I didn't tell anyone.
  12       Q. In the last five years?                     12         MR. DAILEY: That's all I have.
  13       A. From 2005 to 2015?                          13   Thanks.
  14       Q. All right. From 2005 to 2015, have          14         THE VIDEOGRAPHER: Going off the
  15   you had any real jobs?                             15   record. The time is 4:41.
  16       A. Well, I never really had a real job.        16         (Pause.)
  17   It was only when I was in the Village, sometimes   17         THE VIDEOGRAPHER: Back on the record.
  18   -- I had one week, I would clean pots and pans,    18   The time is 4:42.
  19   or they would give me -- I would sweep the         19   BY MR. WILLIAMS:
  20   floor, they would give me 50 gourdes for it, but   20       Q. Good afternoon, Mr. Jerome. My name
  21   that's not a real job.                             21   is Paul Williams, and I represent Fairfield
  22       Q. How often do you play basketball?           22   University.
  23       A. When I'm at the Village I play often.       23         I'm going to ask you a few questions,
  24       Q. During the last year, have you played       24   but because you've been asked so many questions,
  25   any basketball?                                    25   I'm going to tend to bounce around a little bit.


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   1        A. No, I didn't.                               1   If you don't understand the question, please
   2        Q. During the last year, did you play any      2   tell me, okay? Yes?
   3    soccer or football?                                3       A. If I do this with my head, it means
   4           MR. GARABEDIAN: Objection.                  4   yes.
   5        A. Oh, yeah, I can play. But when the          5       Q. That's not good enough. You've got to
   6    Village closed, I didn't play basketball           6   answer.
   7    anymore, because I used to play at the Village.    7       A. Okay.
   8    After the Village closed, I played soccer.         8       Q. Now, first, does anyone live with
   9    BY MR. DAILEY:                                     9   Elsie and your son?
  10        Q. Do you play soccer now?                    10       A. No.
  11        A. Yes, I play soccer often, but not          11       Q. And could you describe the residence?
  12    every day.                                        12   What does the home look like?
  13        Q. Would you play soccer every week?          13          MR. GARABEDIAN: Objection.
  14        A. No, I don't play -- no, but I don't        14       A. The house has a little gallery in the
  15    play every day because I have a child, I have a   15   front. It doesn't go up all the way. There's a
  16    friend, a girlfriend, I can't just hang around    16   blue door. And there's a table. And there are
  17    for just my own pleasure and play soccer.         17   pots and pans. There's a bed. And there's a
  18        Q. Is there any limitation that you have      18   part where you put the glasses and the pots and
  19    physically that prevents you from playing         19   pans.
  20    soccer?                                           20   BY MR. WILLIAMS:
  21           MR. GARABEDIAN: Objection.                 21       Q. Okay. And Elsie and your son live
  22        A. There's nothing in my body that            22   there?
  23    prevents me from playing every day.               23       A. Yes.
  24    BY MR. DAILEY:                                    24       Q. And do you keep any of your things
  25        Q. Now, in 2012, you were arrested for an     25   there?


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   1          MR. GARABEDIAN: Objection.                   1   behind my back.
   2      A. Like what?                                    2   BY MR. WILLIAMS:
   3   BY MR. WILLIAMS:                                    3       Q. Okay. You said that before you began
   4      Q. Do you have any clothes there?                4   participating at 13th Street, Rue 13, you were
   5      A. Yes, I have clothes.                          5   living on the street, is that correct?
   6      Q. What kind of clothes do you have              6       A. Before what?
   7   there?                                              7       Q. Before you began getting some meals at
   8      A. Shirts, pants, my bible to go to              8   13 Rue.
   9   church.                                             9       A. When my parents died, I took to the
  10      Q. Okay. And do you have sporting               10   streets. I used to ask people for leftovers,
  11   equipment, any sneakers or soccer gear that you    11   and I would eat leftovers with them.
  12   keep at that house?                                12       Q. Right.
  13      A. No. I don't have tennis shoes, and I         13          And then in 2000, you began going to
  14   don't have soccer equipment. I have tennis         14   the center at Rue 13?
  15   shoes, but I don't leave them there.               15          MR. GARABEDIAN: Objection.
  16      Q. Where do you keep those?                     16       A. Yes.
  17      A. In my room where I sleep I have my           17   BY MR. WILLIAMS:
  18   tennis shoes there.                                18       Q. And prior to going to the center at
  19      Q. Do you mean where you're sleeping now?       19   Rue 13, you said you were begging, is that
  20      A. Yes.                                         20   right?
  21      Q. When you aren't here, you would keep         21       A. Yes, I was asking, begging.
  22   your shoes as well as your other clothes at the    22       Q. And prior to going to the center of
  23   house where Elsie and your son live?               23   Rue 13, did you go to bed hungry, or go to sleep
  24          MR. GARABEDIAN: Objection.                  24   hungry, since you were in the street on
  25      A. Yes.                                         25   occasions?


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   1   BY MR. WILLIAMS:                                    1       A. Yeah, I always did that.
   2       Q. And why don't you live with Elsie all        2       Q. Okay. And also when you were living
   3   the time?                                           3   on the street before going to the center at Rue
   4       A. I don't have a job. I have money -- I        4   13, Mr. Jerome, was it ever dangerous for you?
   5   don't have land. She lives at her parents.          5          MR. GARABEDIAN: Objection.
   6       Q. Okay. Does she have a job?                   6       A. If it was dangerous for me to stay in
   7       A. No.                                          7   the street? There was no danger for me to stay
   8       Q. Do you call where Elsie lives your           8   in the street, just when I was in the street I
   9   home?                                               9   had nothing.
  10           MR. GARABEDIAN: Objection.                 10   BY MR. WILLIAMS:
  11       A. It's my home because when I go there,       11       Q. Were you ever assaulted when you were
  12   that's where I sleep.                              12   living on the street before you began to go to
  13   BY MR. WILLIAMS:                                   13   the center at 13th Street?
  14       Q. Right.                                      14       A. What do you mean attack me?
  15       A. I can't say it's my home really             15       Q. Physically beaten?
  16   because I didn't spend my own money to build it.   16       A. Sometimes --
  17       Q. I understand.                               17          MR. GARABEDIAN: Objection.
  18       A. That's why I can't really say it's my       18       A. -- when I'm in the street, when we
  19   home. If I left, I can't say I'm going to leave    19   sleep, there's a place where we used to sleep,
  20   it to them.                                        20   the police would come and beat us, scare us off,
  21       Q. I understand.                               21   so we had to run.
  22           Were you present when your son was         22   BY MR. WILLIAMS:
  23   born?                                              23       Q. All right. And then you began going
  24           MR. GARABEDIAN: Objection.                 24   to the center at Rue 13 around the year 2000,
  25       A. No, I wasn't there. He was born             25   correct?


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   1       A. Yes.                                       1         MR. GARABEDIAN: Objection.
   2       Q. And you described earlier some of the      2      A. I don't remember all of them.
   3   benefits of going to that center, correct?        3   BY MR. WILLIAMS:
   4       A. Yes.                                       4      Q. Okay. Do you remember any of them?
   5       Q. And then I guess you said in 2005 to       5         MR. GARABEDIAN: Objection.
   6   2007, you attended the Carenage, is that          6      A. Jessica, Nicholas. There are other
   7   correct?                                          7   people, I don't remember.
   8       A. Yes.                                       8   BY MR. WILLIAMS:
   9       Q. And when you had to go in the Carenage     9      Q. Okay. You think Jessica and Nicholas
  10   in the morning, you'd have to wait until it      10   were from Fairfield University?
  11   opened, is that right?                           11      A. Yes.
  12       A. When I used to go to Carenage, I had      12      Q. Okay. And Jessica was working at the
  13   to wait until it opened?                         13   Carenage, is that correct?
  14       Q. Right.                                    14      A. Yes.
  15       A. Well, we used to go to --                 15      Q. And Nicholas was working there as
  16       Q. Do you have that?                         16   well?
  17       A. 13th Street, before 2005 the contract     17      A. Yes.
  18   ran out, so they rented the Carenage. So as of   18      Q. Okay.
  19   2000, we went to the Carenage. At that time      19      A. He was a director of the Carenage.
  20   there was -- Nicholas was there, and there was   20      Q. Nicholas was?
  21   another white guy called Timothy.                21      A. Nicholas.
  22       Q. Okay. And when you got there in the       22      Q. Do you remember anyone else who was a
  23   morning, there would be searches, wouldn't       23   volunteer from Fairfield University?
  24   there?                                           24         MR. GARABEDIAN: Objection.
  25          MR. GARABEDIAN: Objection.                25      A. There could be other people, but I


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   1      A. If we didn't come in with razor             1   don't know. I don't remember.
   2   blades. Some guys would come with thinners,       2   BY MR. WILLIAMS:
   3   paint thinners.                                   3       Q. Okay. Now, you told us, Mr. Jerome,
   4      Q. So they'd want to make sure that            4   that until 2013, the only person you told of
   5   people didn't come in with glue or paint          5   your abuse by Doug Perlitz was Mémé, is that
   6   thinners or weapons, is that right?               6   correct?
   7      A. Yes.                                        7          MR. GARABEDIAN: Objection.
   8      Q. Okay. And were you ever there where         8       A. Yes.
   9   glue and paint thinners and weapons were          9   BY MR. WILLIAMS:
  10   confiscated?                                     10       Q. Okay. And in 2013, you described for
  11          MR. GARABEDIAN: Objection.                11   us earlier how there was a meeting that you
  12      A. No.                                        12   attended with Cyrus?
  13   BY MR. WILLIAMS:                                 13          MR. GARABEDIAN: Objection.
  14      Q. And did you ever carry a weapon?           14       A. In 2013?
  15      A. No.                                        15   BY MR. WILLIAMS:
  16      Q. Now, you mentioned earlier today, much     16       Q. Yes.
  17   earlier today when you were asked about          17       A. Yes, in 2013.
  18   Fairfield University, you remembered some        18       Q. And it was at that time you said that
  19   volunteers from Fairfield University, is that    19   Mr. Cyrus took a statement or an interview about
  20   correct?                                         20   your claim of abuse, is that right?
  21          MR. GARABEDIAN: Objection.                21          MR. GARABEDIAN: Objection.
  22      A. Yes.                                       22       A. Yes, I was explaining.
  23   BY MR. WILLIAMS:                                 23   BY MR. WILLIAMS:
  24      Q. Do you remember the names of any of        24       Q. Right.
  25   those volunteers?                                25       A. But I wasn't the only one.


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   1       Q. Right.                                       1      Q. Was Mr. Garabedian at the meeting with
   2           MR. GARABEDIAN: Let him finish,             2   Cyrus when you gave a statement?
   3    please.                                            3      A. No. When I was talking to Cyrus, he
   4           MR. WILLIAMS: Okay.                         4   was not here.
   5    BY MR. WILLIAMS:                                   5      Q. But you -- but as I understand what
   6       Q. Are you finished?                            6   you're saying, you said you received a call from
   7       A. Yes.                                         7   Mr. Garabedian before you met with Cyrus?
   8       Q. I'll follow up on your last remark.          8          MR. GARABEDIAN: Objection.
   9           You said you weren't the only one.          9      A. Before I explained to him what
  10       A. I wasn't the only one who was               10   happened, how he did gay things with us, how
  11    explaining to him that.                           11   this hurt us, and I couldn't learn in school.
  12       Q. Right.                                      12   BY MR. WILLIAMS:
  13           How many other people were there           13      Q. Okay. And that was in 2013?
  14    explaining to Mr. Cyrus their claims of abuse?    14      A. Yes.
  15       A. A lot. I don't remember.                    15      Q. And now, when you were describing
  16           MR. GARABEDIAN: Objection.                 16   Douglas Perlitz abusing you, you said that he
  17       A. They would come in and out.                 17   put his penis in your rectum at Bel Air.
  18    BY MR. WILLIAMS:                                  18      A. Yes.
  19       Q. Was it in a big room?                       19      Q. And he did that on a second occasion
  20       A. Of what?                                    20   as well, as I understand your testimony?
  21       Q. Were you all in the same room?              21          MR. GARABEDIAN: Objection.
  22       A. No, it's not a big room. He called us       22      A. Yes, he did that second time. I'm
  23    aside when we talked, he took pictures for us,    23   never going to forget it.
  24    or of us.                                         24   BY MR. WILLIAMS:
  25       Q. So Cyrus took photographs of each of        25      Q. In either of those times when it

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   1    you, and also took a statement?                    1   happened, did it cause you pain?
   2           MR. GARABEDIAN: Objection.                  2          MR. GARABEDIAN: Objection.
   3        A. He was writing everything we said.          3       A. Yes.
   4    BY MR. WILLIAMS:                                   4   BY MR. WILLIAMS:
   5        Q. Right.                                      5       Q. Did you make any noise or scream when
   6        A. When we finished explaining, he took a      6   it happened?
   7    picture of us.                                     7          MR. GARABEDIAN: Objection.
   8        Q. Okay. And were you asked to sign that       8       A. No, when he did that to me I cried. I
   9    statement?                                         9   couldn't sleep well. At night I couldn't sleep
  10        A. He didn't ask me to sign. It was a         10   well. I will never forget it.
  11    big notebook he had.                              11   BY MR. WILLIAMS:
  12        Q. Okay. Did he ask you to read the           12       Q. My question was; when it occurred, did
  13    statement?                                        13   you scream?
  14        A. No, he didn't. He asked me what's          14          MR. GARABEDIAN: Objection.
  15    your name, I told him, I explained what           15       A. No, I did not.
  16    happened.                                         16   BY MR. WILLIAMS:
  17        Q. And this meeting that you had with         17       Q. Okay. How tall were you when Douglas
  18    Cyrus, was that before you -- the time you        18   Perlitz abused you?
  19    received a call from Attorney Garabedian?         19          MR. GARABEDIAN: Objection.
  20           MR. GARABEDIAN: Objection.                 20       A. I can't imagine it. You're asking me
  21        A. No. After Mr. Mitch called me, Cyrus       21   how tall I was, I don't know. I can't imagine.
  22    called us so we could explain how it went, how    22   BY MR. WILLIAMS:
  23    Douglas did the gay things with us, how it hurt   23       Q. How did your height compare to Douglas
  24    us.                                               24   Perlitz's height?
  25    BY MR. WILLIAMS:                                  25          MR. GARABEDIAN: Objection.


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   1       A. I don't know. I can't measure my             1          MR. GARABEDIAN: Objection.
   2   height and Douglas's height and see who is          2      A. No, I had never explained. I had
   3   taller. I can't. I can't imagine.                   3   never met Cyrus.
   4   BY MR. WILLIAMS:                                    4   BY MR. WILLIAMS:
   5       Q. Well, you told us about the                  5      Q. I'm sorry, it's probably a poor
   6   description you had of being in the bedroom with    6   question. Let me try to reframe it.
   7   Douglas Perlitz and you were both standing, is      7          Prior to meeting with Cyrus in 2013,
   8   that correct?                                       8   did you ever deny being sexually abused by Doug
   9       A. No, I wasn't standing while Douglas          9   Perlitz when you were asked by anyone else?
  10   was standing. When I was sleeping Douglas was      10          MR. GARABEDIAN: Objection.
  11   touching me, and then he told me to stand up.      11      A. The only person I talked to about it
  12          MR. GARABEDIAN: Objection.                  12   was Mémé where I explained to him how he did gay
  13       A. He put his penis, he made me bend over      13   things to me and put his penis in my butt.
  14   the bed.                                           14   BY MR. WILLIAMS:
  15   BY MR. WILLIAMS:                                   15      Q. Okay. And as far as you know, Mémé
  16       Q. My question was; do you know, when you      16   didn't tell anyone, correct?
  17   claim you were abused by Douglas Perlitz,          17      A. No.
  18   whether you were taller than him or shorter than   18          MR. WILLIAMS: I have no other
  19   him?                                               19   questions. Thank you.
  20          MR. GARABEDIAN: Objection.                  20          THE VIDEOGRAPHER: Going off the
  21       A. I couldn't be taller than Douglas. I        21   record. The time is 5:10.
  22   was a child.                                       22          (Pause.)
  23   BY MR. WILLIAMS:                                   23          THE VIDEOGRAPHER: We're back on the
  24       Q. Okay. We've had questions on the date       24   record. The time is 5:11.
  25   of birth, so I won't go there again. The math      25   BY MR. KENNEDY:


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   1   is the math.                                        1       Q. Hello, Mr. Jerome. My name is Jeff
   2          When did you first realize that you          2   Kennedy, I represent Hope Carter.
   3   had an abscess in your head?                        3       A. Ms. Carter?
   4          MR. GARABEDIAN: Objection.                   4       Q. Yes, Madame Carter.
   5       A. Since I was a child.                         5          Do you know Madame Carter?
   6   BY MR. WILLIAMS:                                    6       A. Yes.
   7       Q. Does it cause any symptoms?                  7       Q. How do you know Madame Carter?
   8          MR. GARABEDIAN: Objection.                   8       A. She comes sometimes to 13th Street. I
   9       A. It doesn't give me any problems.             9   talk to her sometimes.
  10   BY MR. WILLIAMS:                                   10       Q. You can't speak English, correct?
  11       Q. How do you know it's --                     11       A. No.
  12       A. This doesn't really give me any             12       Q. Do you know if Madame Carter can speak
  13   problems. What really is the problem is what --    13   Creole?
  14   that Douglas did gay things with me. I always      14       A. No, she doesn't. It's a master
  15   ask God for strength. This could have made me      15   teacher inside who speaks.
  16   go mad, and I could have died because I'm          16       Q. So you spoke to Madame Carter through
  17   thinking so much of it -- about it.                17   a translator?
  18       Q. Okay. Thank you.                            18          MR. GARABEDIAN: Objection.
  19          Before 2013 when you met with               19       A. Yes.
  20   Mr. Cyrus, Mr. Jerome, did you ever deny being     20   BY MR. KENNEDY:
  21   sexually abused by Doug Perlitz?                   21       Q. How many times did you speak to Madame
  22          MR. GARABEDIAN: Objection.                  22   Carter?
  23       A. When I met him?                             23       A. I met her at 13th Street, at the
  24   BY MR. WILLIAMS:                                   24   Village also.
  25       Q. No. At any time prior to 2013.              25       Q. I realize that.


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   1          My question was how many times did you       1      A. Yes.
   2   speak to Madame Carter through a translator?        2   BY MR. KENNEDY:
   3          MR. GARABEDIAN: Objection.                   3      Q. Okay. And you said you also spoke to
   4       A. First time was in 13th Street.               4   her a second time, is that correct?
   5   Second, the other time in the Village.              5      A. Yes.
   6   BY MR. KENNEDY:                                     6      Q. And that was in the Village?
   7       Q. Okay. So two times?                          7      A. Yes.
   8       A. Yes.                                         8      Q. And when was that, sir?
   9       Q. And when did you speak to her at 13th        9      A. When I was at the Village, I saw her
  10   Street?                                            10   come. In front of the office there was a big
  11       A. There was a person, I said "what's          11   mango tree. She was sitting in front of the
  12   that person's name?" She said "my name is Miss     12   mango tree, and I sat next to her. I asked
  13   Carter." I said "my name is Wisky."                13   her -- I was talking to her, I was playing with
  14          I saw her at the Village again. I was       14   her, I said "what do you have in your feet?",
  15   talking to her. She has blue veins in her feet,    15   and she said "these are veins."
  16   I touch it and ask her how. She says "it's vein    16      Q. When you say you were playing with
  17   in my feet."                                       17   her, were you playing a game with Mrs. Carter?
  18       Q. Okay. Well, let me back up for a sec.       18      A. No, we were just playing around, I was
  19          So the first time that you speak to         19   touching her feet with the veins.
  20   her, she says "hi, I'm Mrs. Carter," and you say   20      Q. Can you describe Mrs. Carter
  21   "hi, my name is Wisky"?                            21   physically?
  22          MR. GARABEDIAN: Objection.                  22      A. It's an old lady, she has wrinkles.
  23       A. Did I say that, you're asking?              23   Not too tall. She doesn't walk straight, she's
  24   BY MR. KENNEDY:                                    24   a bit sideways. And she has a little suitcase.
  25       Q. Yes.                                        25      Q. Okay. Now, the second time when you

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   1       A. I don't speak English.                       1   said you talked to her at the Village, was there
   2       Q. I'm trying to understand. I'm looking        2   a translator there as well?
   3   at your testimony, sir, and my question was "and    3       A. Yes, there was someone translating for
   4   when did you speak to her at 13th Street?" And      4   me.
   5   you said "there was a person, I said what's that    5       Q. And who was that, sir?
   6   person's name? She said my name is Ms. Carter.      6       A. Master Daniel, who speaks English.
   7   I said my name is Wisky."                           7       Q. And I know you're telling me that you
   8          MR. GARABEDIAN: Objection.                   8   spoke to Mrs. Carter about the veins in her
   9       A. No. I saw a teacher who spoke                9   feet, did you talk about anything else?
  10   English, I needed to know who -- how this          10       A. Yes, but I was asking her questions on
  11   person's name -- what her name was, so I talked    11   her veins.
  12   -- so he translated for me and I talked.           12       Q. Okay. But besides the veins, what
  13   BY MR. KENNEDY:                                    13   other topics do you remember talking about?
  14       Q. Okay. And when you talked, what did         14       A. I don't remember what we talked about,
  15   you say to Madame Carter that first time?          15   what else we talked about.
  16       A. When I saw her I asked her "what's          16       Q. The first time you spoke to
  17   your name?" I asked her -- she asked me "what's    17   Mrs. Carter back at 13th Street when you made an
  18   your name?" And I said "it's Wisky."               18   introduction, how long was that conversation?
  19       Q. And that first time, did you talk           19          MR. GARABEDIAN: Objection.
  20   about anything else?                               20       A. Not long. I saw her, I felt forced to
  21       A. The first time, I don't really              21   ask her what's her name, my name is -- I told
  22   remember.                                          22   her what my name was, and then I left.
  23       Q. Okay. But you do remember making an         23   BY MR. KENNEDY:
  24   introduction?                                      24       Q. Okay. And the second time when you
  25          MR. GARABEDIAN: Objection.                  25   spoke to her at the Village, how long did that


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   1    conversation last?                                 1          MR. GARABEDIAN: Objection.
   2        A. When I saw her she was sitting down, I      2       A. Now?
   3    sat next to her, I asked her "what's in your       3   BY MR. KENNEDY:
   4    feet? What is that?" She said "veins in my         4       Q. Yes, now, and before.
   5    feet." And I didn't wait too long, I didn't        5       A. If he needs me so that I go to see
   6    continue talking too long to her.                  6   him, then he writes a message, we schedule, I
   7        Q. Okay. And was Mrs. Carter nice to           7   need you at the radio.
   8    you?                                               8       Q. Okay. And you raise a good point,
   9           MR. GARABEDIAN: Objection.                  9   sir. How many times have you met with Cyrus to
  10        A. Yes, she was nice. She supported me        10   discuss this lawsuit, sir?
  11    well. She didn't reject me or anything.           11       A. At the Carenage for the first time.
  12    BY MR. KENNEDY:                                   12       Q. Okay. So you've only met with Cyrus
  13        Q. Okay. And like Attorney Williams, I        13   one time?
  14    apologize, I'm going to be -- you've been asked   14          MR. GARABEDIAN: Objection.
  15    a lot of questions, so I'm going to also going    15       A. Yes, at the Carenage.
  16    to be jumping around a little now, too.           16   BY MR. KENNEDY:
  17           Sir, do you have a cell phone?             17       Q. Okay. Now, you mentioned that you met
  18        A. Yes, I have a phone.                       18   at a hotel with Mr. Kendrick, is that correct,
  19        Q. Okay. And how long have you had a          19   sir?
  20    phone, sir?                                       20       A. Who is that?
  21        A. Since 2013.                                21       Q. Paul Kendrick.
  22        Q. Before 2013, did you have a cell           22       A. Yeah, at the Picolet.
  23    phone, sir?                                       23       Q. Was Cyrus there as well, sir?
  24           MR. GARABEDIAN: Objection.                 24       A. No, he wasn't there.
  25        A. Before 2013?                               25       Q. Okay. Who else was with Mr. Kendrick


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   1    BY MR. KENNEDY:                                    1   at that?
   2        Q. Yes, sir.                                   2       A. There were other people there.
   3        A. Yes. Sometimes, yes.                        3       Q. Right. I'm asking who those other
   4        Q. Do you remember who the carriers --         4   people were, sir.
   5    the telecommunications carriers for the cell       5       A. Margarette.
   6    phone?                                             6       Q. Is that Margarette Joseph, sir?
   7        A. Well, there's no company that gives me      7       A. Yes.
   8    the minutes. I just have a card, and I put the     8       Q. Who else, sir?
   9    minutes in.                                        9       A. Other kids. I don't remember.
  10        Q. Okay. And is that true today, sir,         10       Q. That's what I was going to ask you.
  11    that you pay for the minutes for your phone?      11   Do you remember any of the other kids that met
  12        A. When I need to call someone I put 25       12   with Paul and Margarette?
  13    gourdes, 50 gourdes.                              13          MR. GARABEDIAN: Objection.
  14        Q. Do you ever use your phone to send         14       A. I don't remember the name of the other
  15    text messages, sir?                               15   kids.
  16        A. To whom?                                   16   BY MR. KENNEDY:
  17        Q. No, in general.                            17       Q. And when was that meeting, sir?
  18        A. I don't write messages.                    18       A. I didn't go in a meeting with them,
  19        Q. Do you ever receive text messages,         19   but I saw them at the Picolet.
  20    sir?                                              20       Q. Did you speak to them at the Picolet?
  21        A. I receive texts. When Cyrus wants me       21       A. I didn't really stay long, but I
  22    to come, he sends me a message.                   22   recognized Margarette right away because I know
  23        Q. I think you -- that was what I was         23   her better.
  24    going to ask you, sir, was whether you've         24       Q. Right. But my question was whether
  25    received text messages from Cyrus.                25   you spoke to them, sir.


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   1          MR. GARABEDIAN: Objection.                   1         (Pause.)
   2        A. When I talked to them? When I saw           2         THE VIDEOGRAPHER: Back on the record.
   3    Margarette I told her "who are they?" "This is     3   The time is 5:30.
   4    Paul." But I didn't stay. I didn't have a          4   BY MR. KENNEDY:
   5    conversation really.                               5       Q. Mr. Jerome, besides today, has anybody
   6    BY MR. KENNEDY:                                    6   -- have you ever been -- and I don't want to
   7        Q. You didn't speak to Margarette, sir?        7   know about any conversations with your
   8          MR. GARABEDIAN: Objection.                   8   attorneys, but has anybody interviewed you and
   9        A. Yes, I talked to Margarette.                9   videotaped you telling them about the claims
  10    BY MR. KENNEDY:                                   10   that you're making in this lawsuit?
  11        Q. Okay. And what did you talk to             11         MR. GARABEDIAN: Objection.
  12    Margarette about, sir?                            12       A. No, no one has done that, but I did
  13        A. What are these white people's names,       13   pictures for the file.
  14    things like that.                                 14   BY MR. KENNEDY:
  15        Q. Did you talk about the lawsuit, sir?       15       Q. I know those are pictures that
  16          MR. GARABEDIAN: Objection.                  16   Mr. Sibert took?
  17        A. No.                                        17       A. Yes.
  18    BY MR. KENNEDY:                                   18       Q. Okay. And it's my understanding that
  19        Q. And did Mr. Kendrick speak to you          19   you met with Mr. Sibert only one time at
  20    through a translator, sir?                        20   Carenage?
  21        A. No, I didn't speak to -- I saw             21       A. Yes.
  22    Margarette, I asked her questions.                22       Q. Okay. And that one time that you met
  23        Q. What questions did you ask Margarette,     23   with him, if you could tell me in your own words
  24    sir?                                              24   from beginning, middle, to end about that
  25        A. I said "what's their name? What are        25   meeting and what took place.


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   1   these white people's name," and she said "it's      1          MR. GARABEDIAN: Objection.
   2   Paul."                                              2      A. When I was talking to Cyrus?
   3       Q. And how long were you at the hotel,          3   BY MR. KENNEDY:
   4   sir?                                                4      Q. Yes, sir.
   5          MR. GARABEDIAN: Objection.                   5      A. First time when I arrived Cyrus called
   6       A. Not long. I was just going through,          6   me, he was talking to me, he said "what's up? I
   7   and I saw Margarette.                               7   would like to know what happened with -- what
   8   BY MR. KENNEDY:                                     8   Douglas did to you." I explained to him it was
   9       Q. Besides that meeting, have you had any       9   raining, Douglas saw me in the street, asked me
  10   discussions with Margarette about the lawsuit,     10   to climb in, drive me to Bel Air. At Bel Air
  11   sir?                                               11   when I was sleeping, I felt somebody touching
  12       A. No. I didn't talk often to                  12   me. When I woke up, it was Douglas all naked
  13   Margarette. I didn't ask her that.                 13   who was touching me all over my body. He made
  14       Q. What was Margaret's job at PPT, sir?        14   me bend over the bed. He put his penis in my
  15       A. She was a psychologist.                     15   butt.
  16       Q. And it's my understanding from your         16          And then after that I started
  17   prior testimony that prior to telling Mémé, that   17   bleeding. I started sleeping. I couldn't sleep
  18   you never told Margarette about that Doug          18   well. Every time I slept, I would wake up. I
  19   Perlitz abused you, sir?                           19   didn't feel well. I was crying, tears falling.
  20          MR. GARABEDIAN: Objection.                  20   I was thinking about my mother and father, if
  21          THE VIDEOGRAPHER: Can we go off the         21   they were there this would not have happened to
  22   record?                                            22   me. It's the circumstances of life. If they
  23          MR. KENNEDY: Sure.                          23   had means to -- I inherited money, this would
  24          THE VIDEOGRAPHER: Going off the             24   not have happened to me.
  25   record. The time is 5:28.                          25          I'm thinking sometimes I could have


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   1   become crazy or died because of what -- because     1      A. Yes.
   2   I was thinking so much about what happened. I       2      Q. Well, do you know how the potential
   3   could not go all the way in school. People are      3   employer heard about your claim about
   4   calling me gay, or Douglas's wife, girl. When I     4   Douglas Perlitz?
   5   go to work, they don't give Douglas girlfriend      5          MR. GARABEDIAN: Objection.
   6   work. So only God could help me. I could find       6      A. It's because on the wall, the
   7   solace just only in God. And I will always tell     7   Village's wall, they wrote "Douglas fag." They
   8   what happened to me so that this doesn't happen     8   knew me at the Village, and the work that I was
   9   again.                                              9   seeking was at the same place. As --
  10      Q. Sir, did you ever look for a job in          10   automatically when you're a child and you're at
  11   2011 and not receive the job because of people     11   the Village, you're Douglas's girlfriend. When
  12   calling you gay?                                   12   I went, the guy chased me and said "we don't
  13          MR. GARABEDIAN: Objection.                  13   take Douglas's gay."
  14      A. No, I didn't say in 2011 that I was          14   BY MR. KENNEDY:
  15   looking for a job. They say that they don't        15      Q. Okay. So just by virtue of going to
  16   give Douglas's fag work.                           16   the Village?
  17   BY MR. O'NEILL:                                    17          MR. GARABEDIAN: Objection.
  18      Q. Okay. Can you tell me specifically           18      A. As long as you're at the project, they
  19   the name of a job where that happened to you?      19   know that Douglas is doing gay things with you.
  20      A. No, I don't remember where.                  20   BY MR. KENNEDY:
  21      Q. And when did it happen, sir?                 21      Q. Okay. Sir, can you describe Douglas
  22      A. I don't know. I can't tell you what          22   Perlitz's bedroom?
  23   day. When they told me that, I didn't think        23      A. Yes.
  24   about where they told me that or which other       24      Q. Please do that for me, sir.
  25   place. When you repeat this to me, and repeat      25      A. When you're in front of the house


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   1   this, I've been thinking about this all the         1   there's a door to enter. In Douglas's room
   2   time. I had problems with that.                     2   there are two doors. You go down next to the
   3      Q. Sir, when did this take place?                3   house, this is the house, you go there, if you
   4           MR. GARABEDIAN: Objection.                  4   go there you can go in. There's a door here,
   5      A. Work?                                         5   too, you can go in. When you go in, you go a
   6   BY MR. KENNEDY:                                     6   few steps down. After that, after these stairs,
   7      Q. Yes, the time where you went to try to        7   you open a door, and then you enter Douglas's
   8   get a job and you were told they wouldn't hire a    8   room.
   9   gay.                                                9          You will see when you enter, you see
  10      A. I can't tell you what time, what day.        10   Douglas's bed with pictures of the kids on the
  11   What they did, because of what they said, that's   11   wall. There's a bathroom. There is a little
  12   what I remembered is what they did and what they   12   separation that's in the room. There's a little
  13   said. And that remains a story in my life.         13   door you can go in, you can either take a shower
  14      Q. Sir, it's my understanding the first         14   or go to the toilet.
  15   person -- the first person you told was Mémé in    15      Q. And there were pictures of some of the
  16   2013, correct?                                     16   students on the wall?
  17           MR. GARABEDIAN: Objection.                 17          MR. GARABEDIAN: Object.
  18      A. 2013?                                        18      A. Yes.
  19   BY MR. KENNEDY:                                    19   BY MR. KENNEDY:
  20      Q. I'm sorry. I apologize.                      20      Q. Did you recognize any of the students
  21           The only person -- the first person        21   whose pictures were --
  22   you told prior to 2013 was Mémé, correct?          22      A. I saw the pictures, but I didn't
  23      A. First person I told, it was Mémé.            23   really look to see which kids were in these
  24      Q. Okay. And the next person after that         24   pictures.
  25   was Cyrus in 2013?                                 25      Q. Now, sir, when you went to Rue 13, how


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   1    many days a week would you go?                      1   If a child had a problem, he would bring you to
   2       A. Into --                                       2   the hospital. Sometimes he would give us the
   3       Q. In Rue 13, sir.                               3   ball, organize championships, basketball.
   4       A. A week?                                       4        Q. And did you ever speak to Nicholas
   5       Q. Every day?                                    5   about a problem that you ever had?
   6       A. A week, he's asking?                          6        A. No, I didn't talk to Nicholas.
   7       Q. Yes, yes, in a week, sir.                     7       Q. Why didn't you talk to Nicholas?
   8       A. Five times, Monday through Friday.            8           MR. GARABEDIAN: Objection.
   9       Q. Okay. And that was true from 2000             9        A. I thought they were all the same.
  10    until you started -- until you went to Carenage?   10   Maybe if I tell him that, he will tell Douglas
  11           MR. GARABEDIAN: Objection.                  11   that.
  12       A. Yes. Sometimes there's a little              12   BY MR. KENNEDY:
  13    construction happening at the school, Nicholas     13       Q. What do you mean by "they were all the
  14    can see one of us and ask us to do it.             14   same," sir?
  15    BY MR. KENNEDY:                                    15        A. If I tell him what Douglas did, he did
  16       Q. And Nicholas could speak -- Nicholas         16   the gay thing with me, then he will tell Douglas
  17    could speak Creole, correct?                       17   that I said that. If I said something against
  18           MR. KENNEDY: What's the answer?             18   Douglas, he would call Douglas to tell him, and
  19       A. Yes.                                         19   he would throw me out of the project. He would
  20           THE INTERPRETER: I'm sorry.                 20   say I'm lying and saying bad things on Douglas.
  21           MR. KENNEDY: That's okay.                   21   If the kids --
  22    BY MR. KENNEDY:                                    22        Q. And did you --
  23       Q. And when you went to Carenage, sir,          23        A. If the kids say Douglas don't do that,
  24    how many days a week would you go, sir?            24   it's not a white person who would not say that.
  25       A. Five times.                                  25       Q. So do you believe that no white person


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   1       Q. So from -- okay.                              1   would believe you, sir?
   2          MR. KENNEDY: Sorry, what did he say?          2           MR. GARABEDIAN: Objection.
   3       A. In the Village there's no --                  3       A. Yes. If I told that to a white person
   4   BY MR. KENNEDY:                                      4   in the project, that person would always tell me
   5       Q. In the Village there's what?                  5   that I'm lying.
   6       A. There's no, and then he was                   6   BY MR. KENNEDY:
   7   interrupted.                                         7       Q. But you never did tell a white person
   8          MR. GARABEDIAN: There was no question         8   in the project, did you, sir?
   9   before him.                                          9           MR. GARABEDIAN: Objection.
  10   BY MR. KENNEDY:                                     10       A. No.
  11       Q. Sir, you began to say "in the Village        11           MR. KENNEDY: Okay. I have nothing
  12   there was no." Can you complete your thought,       12   further. Thank you very much.
  13   sir?                                                13           THE VIDEOGRAPHER: Going off the
  14       A. In the Village, that's where I stayed,       14   record. The time is 5:48.
  15   so there was no weekends and weekdays anymore.      15           (Pause.)
  16       Q. And what did Nicholas do at Carenage?        16           THE VIDEOGRAPHER: Back on the record.
  17   What was his role?                                  17   The time is 5:49.
  18          MR. GARABEDIAN: Objection.                   18   BY MR. BABBITT:
  19       A. Director.                                    19       Q. Good afternoon, sir. My name is
  20   BY MR. KENNEDY:                                     20   Bradford Babbitt, I represent the American Order
  21       Q. When you say "director," sir, when you       21   of -- I beg your pardon, American Association of
  22   saw him, if you could expand a little more, what    22   the Order of Malta.
  23   did you see him doing?                              23           Have you ever heard of the Order of
  24       A. He used to take the instructors, the         24   Malta American Association?
  25   teachers, put them in his car and bring them.       25       A. What does the Knights of the Order of


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   1    Malta mean?                                      1       A. No. "They are going to let you go to
   2       Q. My question is; have you ever heard of     2   school, show you how to draw, and give you food
   3    the Order of Malta American Association?         3   to eat."
   4       A. I don't know what Malta is.                4       Q. And this is what Nicholas said to you?
   5       Q. Okay. You're not familiar --               5       A. Yes.
   6           MR. GARABEDIAN: Objection.                6       Q. Did you know before you went to 13th
   7    BY MR. BABBITT:                                  7   Street program who ran that program?
   8       Q. -- with the Order of Malta American        8          MR. GARABEDIAN: Objection.
   9    Association, is that right?                      9       A. No.
  10           MR. GARABEDIAN: Objection.               10   BY MR. BABBITT:
  11       A. You should explain to me before I can     11       Q. Did you know before you went to the
  12    answer.                                         12   program where the money came from to buy the
  13    BY MR. BABBITT:                                 13   food at the program?
  14       Q. I'm asking you if you've ever heard of    14       A. No.
  15    this organization before.                       15       Q. Did you know before you went to the
  16           MR. GARABEDIAN: Objection.               16   program where the money came from to buy
  17        A. No.                                      17   anything for the program?
  18    BY MR. BABBITT:                                 18          MR. GARABEDIAN: Objection.
  19       Q. Before you started attending the Rue      19       A. No.
  20    13, or 13th Street program, what did you know   20   BY MR. BABBITT:
  21    about the program?                              21       Q. And I think you've told us that at the
  22           MR. GARABEDIAN: Objection.               22   13th Street program you were fed?
  23       A. Talking about 13th Street?                23       A. Yes.
  24    BY MR. BABBITT:                                 24      Q. And you were given a place to wash?
  25        Q. Yes.                                     25       A. Yes.


                                         Page 223                                               Page 225
   1      A. You go to school there, and they give       1       Q. And you were taught how to read?
   2   you shorts and a T-shirt. They show you how to    2       A. Yes.
   3   write, how to draw, to read. We would play        3       Q. And how to write?
   4   soccer. They give you food. Things like that.     4       A. Yes.
   5      Q. And you knew all of that before you         5       Q. Were you taught math? Were you taught
   6   went to school there, is that right?              6   how to add?
   7      A. Before I went to 13th Street?               7       A. Yes, everything.
   8      Q. Mm-hmm.                                     8       Q. And also how to subtract?
   9      A. No, I didn't know.                          9       A. Yes.
  10      Q. You didn't know?                           10       Q. Any other topics? Were you taught any
  11      A. No, I didn't know that they were           11   other topics?
  12   giving all these things.                         12          MR. GARABEDIAN: Objection.
  13      Q. I see.                                     13       A. Soccer.
  14          What did you know before you went to      14   BY MR. BABBITT:
  15   school there?                                    15       Q. Okay. And were these the reasons that
  16      A. I didn't know anything about them.         16   you stayed or continued to attend the 13th
  17      Q. How is it that you chose to go there?      17   Street program?
  18      A. It's a white guy called Nicholas who       18       A. I needed to go to school, that's why I
  19   saw me in 3rd Street who told me to go there.    19   continued to go there. Well, you know, I went
  20      Q. And what did he say?                       20   to this place because I wanted to finish school,
  21      A. "There's a place where they teach          21   I wanted to learn, and I thought that would save
  22   school for children when -- children with no     22   my life, that would change my life, and I would
  23   parents."                                        23   learn a trade and get my life together, my act
  24      Q. Did he tell you anything else about        24   together. But they didn't do anything of that.
  25   the school?                                      25   This project was to make -- to turn kids into


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   1   gays. This is not a good thing. The school was      1   know before you attended the Village?
   2   good, but the way they did it, what Douglas did     2          MR. GARABEDIAN: Objection.
   3   with it, when I think about it, he's a criminal.    3       A. I didn't know anything.
   4       Q. Now, the program at Carenage, was that       4   BY MR. BABBITT:
   5   similar to the program at the 13th Street?          5       Q. Okay. Before you attended the
   6       A. They give you food. They put you to          6   Village, did you know where -- I haven't
   7   school.                                             7   finished my question, sir.
   8       Q. And they gave you a place to wash?           8          MR. GARABEDIAN: I think he's getting
   9       A. Yes.                                         9   tired.
  10       Q. They taught you the same kind of            10   BY MR. BABBITT:
  11   subjects?                                          11       Q. Before you attended the Village, did
  12       A. Yes.                                        12   you know where the money came from to buy food
  13       Q. And was that why you continued to           13   for the Village?
  14   attend the Carenage program?                       14          MR. GARABEDIAN: Objection.
  15       A. Yes. I thought my life would improve.       15       A. No.
  16   I don't have parents to help me. I thought the     16   BY MR. BABBITT:
  17   school was -- going to finish school so I would    17       Q. Before you attended the Village, did
  18   have a wife and eat, but Douglas didn't do         18   you know where the money came from to buy
  19   anything really. He put us in a place, he          19   anything for the Village?
  20   created a project to do gay things with us.        20          MR. GARABEDIAN: Objection.
  21   These things -- when a white guy does that when    21       A. No.
  22   you're small, when you're big you should have      22   BY MR. BABBITT:
  23   something in your head, in your mind. He just      23       Q. When you started attending the
  24   -- so to find something so that you can help out   24   Village, you lived there, yes? You slept there
  25   with your wife. But we have nothing. We came       25   at night?


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   1    in the project the same way we left. And           1       A. Yes.
   2    Douglas was making money from us -- with us.       2       Q. And they fed you there?
   3    For me, this is a project that he was -- he        3       A. Yes.
   4    created to do gay things.                          4       Q. And you took classes?
   5        Q. So when you attended -- you attended        5       A. Yes.
   6    the Carenage project?                              6       Q. They were teaching you to read?
   7        A. Yes. 13th Street and the Village.           7       A. Yes.
   8        Q. And you attended the Carenage project       8       Q. They were teaching you to write?
   9    because you wanted to go to school, correct?       9       A. Yes.
  10        A. Yes. When Douglas did the gay thing        10       Q. Teaching you math?
  11    with me, I couldn't learn anything. What he       11       A. Yes.
  12    did, I only thought about that, I had problems    12       Q. Anything else?
  13    with my head.                                     13       A. Soccer and basketball.
  14        Q. And what did you know about the            14       Q. And you played those -- you played
  15    Village before you attended the Village?          15   soccer and basketball at the Village?
  16           MR. GARABEDIAN: Objection.                 16       A. Well, when they are on vacation there
  17        A. What information I had?                    17   are white people who come, I don't know who
  18    BY MR. BABBITT:                                   18   their name, they come with big suitcase with
  19        Q. What did you know about the Village        19   soccer shoes, basketballs, and soccer balls,
  20    before you attended the Village?                  20   they play with us, they organize championships.
  21           MR. GARABEDIAN: Objection.                 21       Q. Okay. And were these the reasons that
  22        A. I didn't know anything. When I got         22   you continued to attend the Village?
  23    in, they told me --                               23          MR. GARABEDIAN: Objection.
  24    BY MR. BABBITT:                                   24       A. They promise me to go to the Village.
  25        Q. Okay. My question is what did you          25   I thought -- I thought my life would be better.


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   1   BY MR. BABBITT:                                     1         Anybody else?
   2       Q. And that's why you went to the               2         60 days to read and sign, is that
   3   Village, to try to become better?                   3   good? Is that agreeable?
   4          MR. GARABEDIAN: I don't think he was         4         MR. FOLKMAN: That's fine.
   5   finished with his answer.                           5         MR. KENNEDY: Yes.
   6          THE INTERPRETER: Sorry. Again,               6         THE VIDEOGRAPHER: This concludes the
   7   please?                                             7   March 23rd, 2015 deposition of Wisky Jerome.
   8   BY MR. BABBITT:                                     8   Going off the record. The time is 6:11 p.m..
   9       Q. And that's why you went to the               9         (Whereupon, the deposition was
  10   Village, to try to improve your life?              10   concluded.)
  11       A. You didn't let me finish.                   11
  12       Q. Okay. What is it you'd like to say?         12
  13       A. When they promised me I could go to         13
  14   the Village, I thought my act -- I would get my    14
  15   act together, that things would be better for      15
  16   me. The Village closed, I'm more soft, I'm back    16
  17   in the streets, the same way. I don't have         17
  18   anything from that. I was in a project, I have     18
  19   nothing, I'm not useful to my child or my wife,    19
  20   and so that I wouldn't need to go back on the      20
  21   street. This project, when you have a project      21
  22   like that they close somewhere, they give you      22
  23   everything, food and schooling, they do it, they   23
  24   you want -- the reason for that would be that      24
  25   they want you to become someone in the future.     25


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   1   But the Village closed, we have nothing but back    1          CERTIFICATE
   2   on the streets the same way we were before. We      2          I, MAUREEN O'CONNOR POLLARD, LSR #473,
   3   have no benefits from that. Why did we -- what      3   RMR, CLR, and Notary Public in and for the State
   4   did we get from that? So Douglas did the gay        4   of Connecticut, do hereby certify that there
   5   things with us, that's what we got from that        5   came before me on the 23rd day of March, 2015,
   6   project. We have to do gay things with Douglas.     6   the person hereinbefore named, who was duly
   7      Q. You went to the project -- let me             7   sworn to testify to the truth of their knowledge
   8   withdraw that.                                      8   concerning the matters in this cause, and their
   9          You went to the Village to try to            9   examination reduced to typewriting under my
  10   improve your life, correct?                        10   direction and is a true record of the testimony.
  11      A. Yes. It's not better. He spoiled our         11          I further certify that I am neither
  12   lives. What is in my heart is never going to       12   attorney for or related or employed by any of
  13   leave. Until I die, it will always be in my        13   the parties to the action, and that I am not a
  14   heart. I'm thinking back --                        14   relative or employee of any attorney or counsel
  15          MR. GARABEDIAN: Let's take a break          15   employed by the parties hereto or financially
  16   for a minute.                                      16   interested in the action.
  17          MR. BABBITT: Sure.                          17          In witness whereof, I have hereunto
  18          THE VIDEOGRAPHER: Going off the             18   set my hand and seal this 30th day of March,
  19   record. The time is 6:06.                          19   2015.
  20          (Whereupon, a recess was taken.)            20
  21          THE VIDEOGRAPHER: Back on the record.       21     ________________________________________
  22   The time is 6:10.                                  22     MAUREEN O'CONNOR POLLARD, License #473
  23          MR. BABBITT: I think I'm all set. I         23     Realtime Systems Administrator, RMR
  24   have no further questions. Thank you.              24     Notary Commission Expires: 10/31/2017
  25          MR. GARABEDIAN: Thank you.                  25


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   1         INSTRUCTIONS TO WITNESS                      1         ACKNOWLEDGMENT OF DEPONENT
   2                                                      2
                                                          3             I, __________________________, do
   3             Please read your deposition over             Hereby certify that I have read the foregoing
   4   carefully and make any necessary corrections.      4   pages, and that the same is a correct
   5   You should state the reason in the appropriate         transcription of the answers given by me to the
   6   space on the errata sheet for any corrections      5   questions therein propounded, except for the
                                                              corrections or changes in form or substance, if
   7   that are made.                                     6   any, noted in the attached Errata Sheet.
   8             After doing so, please sign the          7
   9   errata sheet and date it. It will be attached      8   _________________________________
  10   to your deposition.                                    WISKY JEROME          DATE
                                                          9
  11             It is imperative that you return        10
  12   the original errata sheet to the deposing         11
  13   attorney within thirty (30) days of receipt of    12
  14   the deposition transcript by you. If you fail     13
                                                         14
  15   to do so, the deposition transcript may be
                                                         15   Subscribed and sworn
  16   deemed to be accurate and may be used in court.        To before me this
  17                                                     16   ______ day of _________________, 20____.
  18                                                     17   My commission expires: ________________
  19                                                     18
                                                              _______________________________________
  20                                                     19   Notary Public
  21                                                     20
  22                                                     21
  23                                                     22
                                                         23
  24                                                     24
  25                                                     25


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   1           ------                                     1         LAWYER'S NOTES
               ERRATA                                     2   PAGE LINE
   2           ------                                     3   ____ ____ _______________________________
   3   PAGE LINE CHANGE                                   4   ____ ____ _______________________________
   4   ____ ____ _________________________________        5   ____ ____ _______________________________
   5     REASON: __________________________________       6   ____ ____ _______________________________
   6   ___ ____ __________________________________        7   ____ ____ _______________________________
   7     REASON: __________________________________       8   ____ ____ _______________________________
   8   ____ ____ _________________________________        9   ____ ____ _______________________________
   9     REASON: __________________________________      10   ____ ____ _______________________________
  10   ____ ____ _________________________________
                                                         11   ____ ____ _______________________________
  11     REASON: __________________________________
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  20   ____ ____ _________________________________       20   ____ ____ _______________________________
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  25                                                     25


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                  DISTRICT OF CONNECTICUT
                                       Civil Action No.
                                       3:13-cv-01132(RNC)
        ****************************
        GERVIL ST. LOUIS, a/k/a ST.    Consolidated with:
        LOUIS GERVIL,                  3:13-cv-1225-RNC
                                       3:13-cv-1269-RNC
                       Plaintiff,      3:13-cv-1437-RNC
                                       3:13-cv-1480-RNC
             v.                        3:13-cv-1626-RNC
                                       3:13-cv-1627-RNC
        DOUGLAS PERLITZ, FATHER        3:13-cv-1628-RNC
        PAUL E. CARRIER, S.J.; HOPE    3:13-cv-1629-RNC
        E. CARTER; HAITI FUND,         3:13-cv-1630-RNC
        INC.; FAIRFIELD UNIVERSITY;    3:13-cv-1631-RNC
        THE SOCIETY OF JESUS OF NEW    3:13-cv-1632-RNC
        ENGLAND; SOVEREIGN MILITARY    3:13-cv-1633-RNC
        HOSPITALLER ORDER OF ST.       3:13-cv-1634-RNC
        JOHN OF JERUSALEM OF RHODES    3:13-cv-1635-RNC
        AND OF MALTA, AMERICAN         3:13-cv-1636-RNC
        ASSOCIATION, U.S.A.; a/k/a     3:13-cv-1637-RNC
        ORDER OF MALTA, AMERICAN       3:13-cv-1638-RNC
        ASSOCIATION, U.S.A.; JOHN      3:13-cv-1639-RNC
        DOE ONE; JOHN DOE TWO; JOHN    3:13-cv-1640-RNC
        DOE THREE; JOHN DOE FOUR;      3:13-cv-1641-RNC
        JOHN DOE FIVE; JOHN DOE SIX    3:13-cv-1642-RNC
        and JOHN DOE SEVEN,            3:13-cv-1644-RNC
                                       3:13-cv-1645-RNC
                       Defendants.     3:13-cv-1647-RNC
                                       3:13-cv-1648-RNC
                                       3:13-cv-1701-RNC
                                       3:13-cv-1767-RNC
                                       3:13-cv-1768-RNC
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        ******************************
        This document applies to:
        All of the above referenced cases
        And those to be filed
        ******************************
        CONFIDENTIAL - SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
         VIDEOTAPED DEPOSITION OF JASON MAXWEL DERIZA

                   Wednesday, January 13, 2016
                           9:09 a.m.

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   1   VIDEOTAPED DEPOSITION OF JASON MAXWEL DERIZA           1    APPEARANCES (Continued):
   2                                                          2
   3                                                          3    FOR THE DEFENDANT PAUL E. CARRIER, S.J.:
       Held At:                                               4      TIMOTHY P. O'NEILL, ESQ.
   4                                                          5         MURPHY & KING
   5     Iberostar Costa Dorada                               6        One Beacon Street, Twenty First Floor
   6     Carretera Luperón, km 4                              7        Boston, Massachusetts 02108
   7     Puerto Plata, Dominican Republic
                                                              8        617-423-0400
   8
                                                              9        tpo@murphyking.com
   9
                                                             10
  10   REPORTED BY:
                                                             11    FOR THE DEFENDANT HOPE E. CARTER:
  11   Maureen O'Connor Pollard
                                                             12      JEFFREY W. KENNEDY, ESQ.
  12   Realtime Systems Administrator
                                                             13        MILANO & WANAT LLC
  13   RMR, CLR, LSR #473, CSR #149108
  14
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                                                             15        Branford, Connecticut 06405
  16
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  18                                                         18
  19                                                         19
  20                                                         20
  21                                                         21
  22                                                         22
  23                                                         23
  24                                                         24
  25                                                         25


                                                  Page 3                                             Page 5
   1    APPEARANCES:                                          1   APPEARANCES (Continued):
   2    FOR THE PLAINTIFFS:                                   2
   3      LU XIA, ESQ.                                        3   FOR THE DEFENDANT ORDER OF MALTA AMERICAN
   4        LAW OFFICES OF MITCHELL GARABEDIAN                4   ASSOCIATION, U.S.A.:
   5         100 State Street, Sixth Floor                    5     BRADFORD S. BABBITT, ESQ.
   6         Boston, Massachusetts 02109                      6       ROBINSON & COLE LLP
   7         617-523-6250                                     7       280 Trumbull Street
   8        lxia@garabedianlaw.com                            8       Hartford, Connecticut 06103
   9            -and-                                         9       860-275-8200
  10      ELLYN H. HURD, ESQ.                                10       bbabbitt@rc.com
  11         SIMMONS HANLY CONROY                            11
  12         112 Madison Avenue                              12   FOR THE DEFENDANT FAIRFIELD UNIVERSITY:
  13        New York, New York 10016                         13     JOHN W. CERRETA, ESQ.
  14         212-784-6400                                    14       DAY PITNEY LLP
  15        ehurd@simmonsfirm.com                            15       242 Trumbull Street
  16            -and-                                        16       Hartford, Connecticut 06103
  17      JO ANNA POLLOCK, ESQ.                              17       860-275-0100
  18         SIMMONS HANLY CONROY                            18       jcerreta@daypitney.com
  19         One Court Street                                19
  20         Alton, Illinois 62002                           20
  21        jpollock@simmonsfirm.com                         21
  22                                                         22
  23                                                         23
  24                                                         24
  25                                                         25



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   1   APPEARANCES (Continued):                            1         PROCEEDINGS
   2                                                       2
   3   FOR THE DEFENDANT THE SOCIETY OF JESUS OF           3          THE VIDEOGRAPHER: We are now on
   4   NEW ENGLAND:                                        4   record. My name is Chris Coughlin, I'm a
   5     LYDIA KNIGHT, ESQ.                                5   videographer for Golkow Technologies. Today's
   6        SLOANE AND WALSH, LLP                          6   date is January 13, 2016, and the time is
   7        Three Center Plaza, Suite 830                  7   9:09 a.m..
   8        Boston, Massachusetts 02108                    8          This video deposition is being held in
   9        617-523-6010                                   9   Puerto Plata, Dominican Republic, in the matter
  10        lknight@sloanewalsh.com                       10   of Gervil St. Louis a/k/a St. Louis Gervil,
  11                                                      11   Plaintiffs versus Douglas Perlitz, et al, in the
  12                                                      12   United States District Court, District of
  13   Videographer: Christopher Coughlin                 13   Connecticut, Civil Action 3:13-cv-01132-RNC.
  14                                                      14          The deponent is Jason Maxwel Deriza.
  15   Interpreter: Nathalie Coupet                       15          Will counsel please identify
  16             Fabie Bodek                              16   yourselves and state whom you represent.
  17                                                      17          MR. KENNEDY: Good morning. I'm
  18   Also Present:                                      18   Jeffrey Kennedy, I represent Hope Carter.
  19   Jean Elyseé Pierre Louis, Interpreter              19          MR. CERRETA: Good morning. John
  20   Giraud Pierre, Interpreter                         20   Cerreta for Fairfield University.
  21                                                      21          MR. O'NEILL: Timothy O'Neill
  22                                                      22   representing Pere Paul Carrier.
  23                                                      23          MR. BABBITT: I'm Bradford Babbitt, I
  24                                                      24   represent the American Association of the Order
  25                                                      25   of Malta.


                                               Page 7                                                   Page 9
   1                INDEX                                  1          MS. KNIGHT: Good morning. Lydia
   2     EXAMINATION                            PAGE       2   Knight, and I represent the Society of Jesus of
   3     JASON MAXWEL DERIZA                               3   New England.
   4      BY MR. KENNEDY                          10       4          MS. POLLOCK: Jo Anna Pollock, and I
   5      BY MR. CERRETA                         162       5   represent the Plaintiff.
   6      BY MR. BABBITT                        165        6          MS. HURD: Ellyn Hurd, I represent the
   7      BY MS. KNIGHT                        170         7   Plaintiff.
   8                                                       8          MS. XIA: Lou Xia for Plaintiff.
   9                                                       9          THE VIDEOGRAPHER: The court reporter
  10          EXHIBITS                                    10   is Maureen Pollard, and she will now swear in
  11     NO.      DESCRIPTION                      PAGE   11   the interpreter and the witness.
  12     1 Complaint and Jury Trial Demand...... 67       12
  13     2 Plaintiff Jason Maxwel Deriza's                13         NATALIE COUPET, Interpreter,
           Response to Certain Defendants'                14   having been duly sworn to translate the
  14       First Set of Interrogatories......... 68
                                                          15   questions and answers accurately, translated as
  15     3 Group of eight documents............. 35
                                                          16   follows:
  16     4 Copy of color photograph.............156
                                                          17
  17     5 Copy of color photograph.............158
  18     6 Copy of color photograph.............159       18           JASON MAXWEL DERIZA,
  19                                                      19   having been first duly sworn, was examined and
  20                                                      20   testified as follows through the interpreter:
  21                                                      21
  22                                                      22          MR. KENNEDY: Just a housekeeping
  23                                                      23   issue. Counsel, usual stipulations? Reserve
  24                                                      24   all objections as to form, and motions to
  25                                                      25   strike. And you guys would like 60 days to read


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   1   and sign?                                           1   happy to do so.
   2          MS. POLLOCK: Yes.                            2       A. Okay.
   3          MR. KENNEDY: Also understood that an         3       Q. Because if you do answer the question,
   4   objection for one is an objection as to all.        4   I'm going to assume that you understood my
   5          MS. POLLOCK: Sure. I believe there's         5   question.
   6   also a stipulation pertaining to notary.            6       A. Yes.
   7          MR. KENNEDY: Yes. Stipulation as             7       Q. Sir, do you understand that you swore
   8   to -- you're correct, stipulation as to notary.     8   before God today to tell the truth?
   9          DIRECT EXAMINATION                           9       A. Yes.
  10   BY MR. KENNEDY:                                    10       Q. Do you believe in God, sir?
  11       Q. Sir, could you please state your name       11       A. Yes.
  12   for the record?                                    12       Q. As we sit here today, are you on any
  13       A. Deriza, last name, Jason Maxwel.            13   medication?
  14       Q. So is your full name, sir, Jason            14       A. No.
  15   Maxwel Deriza?                                     15       Q. Do you regularly take any medication,
  16       A. Yes.                                        16   sir?
  17       Q. Okay.                                       17       A. No.
  18          THE VIDEOGRAPHER: May I just ask            18       Q. Have you ever taken drugs, sir?
  19   before beginning, it's best if the witness keeps   19       A. No.
  20   his voice up.                                      20       Q. Have you ever used paint thinner, sir?
  21          THE WITNESS: Okay.                          21       A. No, I don't remember. No, I don't do
  22          THE VIDEOGRAPHER: Thank you, sir.           22   that.
  23   BY MR. KENNEDY:                                    23       Q. No, you don't remember if you've taken
  24       Q. Sir, do you go by Jason or another          24   paint thinner?
  25   name?                                              25       A. No, I don't take.

                                            Page 11                                               Page 13
   1       A. I have a nickname, my father gave it         1       Q. And you've never taken paint thinner?
   2   to me, it's Japou.                                  2       A. No.
   3       Q. And is that J-A-P-O-U?                       3       Q. What's your date of birth, sir?
   4       A. Yes.                                         4       A. Month of May 22, 1993. 1993.
   5       Q. Are you known by any other nicknames         5       Q. So you're 22 years old today, sir?
   6   besides Japou?                                      6       A. No. I think that -- we're in 2016, so
   7       A. I don't remember.                            7   I think it would be 23.
   8       Q. Is it possible that you've been known        8       Q. You're 23.
   9   by another name, sir?                               9          Sir, I don't want to know about any
  10       A. I don't remember this.                      10   conversations that you've had with your
  11         MS. POLLOCK: You've got to speak up.         11   attorneys, but before you came here today, did
  12   BY MR. KENNEDY:                                    12   you read anything to prepare for today's
  13       Q. Your friends call you Japou?                13   statement?
  14       A. No. My father.                              14       A. Excuse me?
  15       Q. Okay. What do your friends call you,        15       Q. Did you read any documents, sir, to
  16   sir?                                               16   prepare for today?
  17       A. Maxwel. My name.                            17       A. I don't remember. I don't remember.
  18       Q. And when you went to -- and we're           18       Q. Can you read Creole, sir?
  19   going to be talking about PPT later, but when      19       A. Not a lot.
  20   you went to PPT, what were you known as -- were    20       Q. Can you write Creole, sir?
  21   you known as Maxwel or Japou?                      21       A. A few.
  22       A. Maxwel.                                     22       Q. Can you write your name, sir?
  23       Q. Sir, if there's any question that I         23       A. Yes.
  24   ask you today that you don't understand, just      24       Q. And I'm jumping a little ahead here,
  25   ask me to rephrase the question, and I'd be        25   but are you currently in school, sir?


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   1          THE INTERPRETER: In school?                  1   BY MR. KENNEDY:
   2          MR. KENNEDY: Yes.                            2       Q. And what did you say to Cyrus Sibert,
   3       A. Yes.                                         3   sir?
   4      Q. What grade are you currently in, sir?         4          MS. POLLOCK: Let me stop for a
   5      A. Tenth grade.                                  5   minute. Something is wrong on the record that
   6      Q. Tenth grade.                                  6   didn't get down, which we'll correct later,
   7      A. I think I'm in tenth grade.                   7   which is why I was distracted and I didn't hear
   8      Q. You're in tenth grade, but you can            8   the question that you asked. I know you're
   9   just read a little Creole, is that your             9   asking about what he said to Cyrus when, what
  10   testimony?                                         10   time frame?
  11       A. Yes.                                        11          MR. KENNEDY: Before he came here
  12      Q. And you can only write a little              12   today.
  13   Creole.                                            13          MS. POLLOCK: At any time?
  14       A. Yes.                                        14          MR. KENNEDY: At any time.
  15      Q. And, sir, as I said, I don't want to         15          MS. POLLOCK: Again, I'm going to
  16   know about any substantive conversations you've    16   instruct you not to disclose any communications
  17   had with your attorneys, but did you speak to      17   that you've had with Cyrus other than the very
  18   anybody to prepare for today's statement?          18   first conversation you had with him. So you can
  19          MS. POLLOCK: I'm going to instruct          19   testify about the very first conversation you
  20   you not to disclose any communications that        20   had with Cyrus, and I'm instructing you not to
  21   you've had with your lawyers or with Mathieu or    21   disclose any later conversations with Cyrus.
  22   with Cyrus or with the translators. If you've      22          MR. O'NEILL: Please note my objection
  23   spoken with anyone else, you can answer.           23   to that instruction.
  24      A. During the day?                              24          MS. POLLOCK: Noted.
  25   BY MR. KENNEDY:                                    25       A. Can I answer now?


                                           Page 15                                                 Page 17
   1      Q. At any time, sir.                             1   BY MR. KENNEDY:
   2      A. I could have spoken to anyone, I don't        2       Q. Yes, sir.
   3   remember.                                           3       A. When I talked to him I went to him to
   4      Q. Have you spoken to anyone besides your        4   file a complaint so he could take care of my own
   5   attorneys about this lawsuit that you brought?      5   file, my own case.
   6          MS. POLLOCK: Again I'm going to              6       Q. And when did you --
   7   remind the witness not to disclose any              7       A. So I could find my own justice.
   8   communications you actually had with Mathieu,       8       Q. So you went to Cyrus to find your
   9   Cyrus, the lawyers, or the translators. You can     9   justice?
  10   answer the question yes or no.                     10       A. Yes.
  11      A. Can you repeat the question, please?         11       Q. And when did you do that, sir?
  12   BY MR. KENNEDY:                                    12       A. I don't remember. I don't remember.
  13       Q. Sure.                                       13       Q. Did you go meet with him, sir?
  14          Have you spoken to anyone besides your      14       A. Yes.
  15   attorneys about this lawsuit that you brought?     15       Q. Where was that, sir?
  16          MS. POLLOCK: Can we agree I don't           16       A. In Rue 28, Street 28.
  17   need to -- when you say it again I don't need to   17       Q. Street.
  18   say it?                                            18           And where was Cyrus on Street 28, sir?
  19          MR. KENNEDY: Yes.                           19       A. I believe it was his house.
  20       A. No.                                         20       Q. You went to Cyrus's house?
  21   BY MR. KENNEDY:                                    21       A. Yes, that's where I went. That's
  22      Q. Did you speak to Cyrus Sibert, sir?          22   where I thought I would find him.
  23          MS. POLLOCK: Again, you can answer          23       Q. How did you know to go see Cyrus to
  24   the question yes or no.                            24   find your justice?
  25       A. Yes.                                        25       A. Because there was other people that


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   1    talked to me about that, that he could help me     1   first time, what do you tell him?
   2    find my justice.                                   2           MS. POLLOCK: I'm going to instruct
   3        Q. Who were these people, sir, that            3   the witness not to disclose -- not to testify
   4    talked to you about the fact that Cyrus could      4   about what he actually told Cyrus at that
   5    help you find your justice?                        5   meeting, because the witness testified that he
   6        A. Several people, but I don't remember.       6   went there seeking advice basically and finding
   7        Q. You don't remember their names?             7   justice about his case.
   8        A. No.                                         8           MR. KENNEDY: So the record is clear,
   9        Q. Were they former PPT students?              9   it's your position -- well, let me ask one more
  10        A. I don't really remember that.              10   before I go into any kind of soliloquy.
  11        Q. Is one of the individuals named Jean       11   BY MR. KENNEDY:
  12    Gary, or Schoubert Hedouville?                    12       Q. Sir, at the time that you went to
  13        A. No.                                        13   Cyrus's house for the first time, had you
  14        Q. And did you go to Cyrus's house with       14   retained Attorney Mitch or any other attorney in
  15    these people, sir?                                15   America for this lawsuit?
  16        A. No.                                        16       A. No.
  17        Q. You went by yourself?                      17       Q. So at this point you don't have a
  18        A. Yes.                                       18   lawyer, do you, sir?
  19        Q. How did you know how to get there,         19           MS. POLLOCK: At which point?
  20    sir?                                              20   BY MR. KENNEDY:
  21        A. I asked explanations to people who         21       Q. At the time you go to Cyrus's house
  22    knew him.                                         22   for the first time.
  23        Q. Well, how did these, how did the --        23       A. No.
  24    strike that.                                      24       Q. So I'll re-ask the question, sir.
  25           What did these people tell you about       25           The first time you go to Cyrus's

                                           Page 19                                                  Page 21
   1   Cyrus Sibert before you went to go to his house?    1   house, what do you tell him?
   2      A. I asked them how to get there. And I          2       A. I went to his house so he could help
   3   didn't explain anything to them, I just asked       3   me find justice with my case.
   4   for directions so I could get to him.               4       Q. But at the point you went to Cyrus's
   5          MS. POLLOCK: Can I interrupt real            5   house, you didn't have a case, did you, sir?
   6   quick? Can you ask him to speak up loud enough      6          MS. POLLOCK: I'm going to object to
   7   so Elyseé can hear you, speak that loud so          7   the phrase "case" or the term -- I'm sorry, I'm
   8   Elyseé hears you, too.                              8   tired. I'm going to object to the term "case"
   9   BY MR. KENNEDY:                                     9   as being vague.
  10      Q. These people that you spoke to, did          10          MR. KENNEDY: Fair enough. Let me
  11   they work for Cyrus?                               11   re-ask, because I don't think I got an answer to
  12      A. Well, I don't know if they work for          12   the first question, sir.
  13   Cyrus.                                             13   BY MR. KENNEDY:
  14      Q. Do you know anybody that works for           14       Q. The first time you go to Cyrus's
  15   Cyrus?                                             15   house, what do you tell him?
  16      A. No.                                          16       A. I don't remember.
  17      Q. Do you know an individual named              17       Q. You don't remember what you told him
  18   Mathieu?                                           18   the first time you went to see Cyrus?
  19      A. Yes.                                         19       A. I asked him to find justice for me for
  20      Q. Does Mathieu work with Cyrus?                20   my own case, but I don't remember what I said.
  21      A. I always see him with Cyrus. I don't         21       Q. Did you tell him that you were abused
  22   know what he does for Cyrus.                       22   by Doug Perlitz?
  23      Q. So you go to -- strike that. I'm             23       A. I don't remember. This escapes me. I
  24   sorry.                                             24   don't remember.
  25          When you go to Cyrus's house for the        25       Q. Do you remember if Cyrus asked you any


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   1   questions the first time you met with him?           1   besides you and Cyrus?
   2      A. I talked, he asked me questions, but I         2      A. There were other people, but I
   3   don't remember what I said.                          3   couldn't -- I didn't identify all of them.
   4      Q. My question, sir, is what questions            4      Q. Were these other people that were also
   5   did Cyrus ask you, sir?                              5   coming to Cyrus to find their justice?
   6      A. I don't remember.                              6      A. I don't know what they were doing. I
   7      Q. Did Cyrus ask if you were abused by            7   went personally there for my own -- on my own.
   8   Douglas Perlitz, sir, on that first meeting?         8   I don't know why they were there.
   9      A. I don't remember this.                         9      Q. Do you know the names of any of those
  10      Q. Did Cyrus ask if you were a former            10   people that were there?
  11   student at PPT on that first visit, sir?            11      A. No, I don't remember their names.
  12      A. Yes, I remember that.                         12      Q. Was Mathieu there, sir?
  13      Q. Can you remember any other question           13      A. I don't remember.
  14   that Cyrus asked you, sir, on that first            14      Q. On that first visit at Cyrus's house,
  15   meeting?                                            15   did Cyrus give you any money, sir?
  16      A. It's been a long time. I don't                16      A. No.
  17   remember.                                           17      Q. Has Cyrus ever given you money, sir?
  18      Q. Did Cyrus indicate that he'd help you         18      A. Throughout all the times we met,
  19   find your justice?                                  19   you're asking me if he ever gave me throughout
  20      A. Yes.                                          20   every time we met?
  21      Q. Did Cyrus tell you how he would help          21      Q. Yes, sir.
  22   you find your justice?                              22      A. Yes.
  23      A. He told me he would put me in contact         23      Q. How many times did Cyrus give you
  24   with someone who would help me get my justice.      24   money, sir?
  25      Q. And who was that person that would            25      A. I don't remember that. I don't


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   1    help you get your justice, sir?                     1   remember, but maybe two or three times.
   2        A. He put me in contact with these              2       Q. Okay. And on the first time that he
   3    lawyers.                                            3   gave you money, sir, how much money did he give
   4        Q. Okay. The lawyers that are here? The         4   you?
   5    lawyers and the law firms that are here today,      5       A. First time he gave me, I remember he
   6    sir?                                                6   gave me $100.
   7        A. Yes.                                         7       Q. Is that 100 US dollars?
   8        Q. And I don't want to know about any           8       A. Yes.
   9    conversations you've had with your lawyers, but     9       Q. And when did he give you that money,
  10    at some point after you met with Cyrus for the     10   sir?
  11    first time, did you speak to lawyers in America?   11       A. I don't remember the time.
  12            MS. POLLOCK: You can answer the            12       Q. Was it within the last year, sir?
  13    question with a yes or no answer. I don't want     13       A. I don't remember the time he gave me
  14    you to disclose any actual conversations you've    14   that. It's been a while.
  15    had.                                               15       Q. And when he gave you that first 100 US
  16        A. After I met him?                            16   dollars, what did you do with that money, sir?
  17    BY MR. KENNEDY:                                    17       A. Things I needed I bought with it.
  18        Q. Yes, sir.                                   18       Q. Okay. What were those things, sir?
  19        A. Yes.                                        19       A. Things for school, and then food, and
  20        Q. Okay. How long after you met with           20   I bought some clothes.
  21    Cyrus at his house for the first time and that     21       Q. What kind of clothes, sir?
  22    you spoke to an attorney in America?               22       A. For me to wear.
  23        A. I can't remember that.                      23       Q. Okay. Was it a shirt, jeans, do you
  24        Q. At that first meeting that you had          24   remember?
  25    with Cyrus at his house, was anyone else there     25       A. I don't remember. It wasn't much,


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   1   because he couldn't buy much.                       1       Q. Has anyone else given you money, sir?
   2       Q. Where was Cyrus when he gave you this        2       A. Can you repeat the question, please?
   3   money, sir, for the first time? I'm sorry.          3       Q. Sure.
   4       A. I don't really remember where he was         4         Has anyone else given you money, sir?
   5   when he gave it to me.                              5         MS. POLLOCK: Counsel, do you mean at
   6       Q. Were you with anybody when he gave you       6   any time in his life including family and
   7   the $100 for the first time, sir?                   7   friends?
   8       A. No.                                          8   BY MR. KENNEDY:
   9       Q. Was Cyrus alone when he gave you the         9       Q. Since you brought your case, since you
  10   first $100, sir?                                   10   went to Cyrus to seek justice.
  11       A. I don't remember. I don't know if he        11         MS. POLLOCK: Again, you're asking
  12   had people with him.                               12   about family and friends?
  13       Q. And I believe you indicated, sir, that      13         MR. KENNEDY: Yes, whatever. Just see
  14   he gave you money on, the total, to the best of    14   where it goes.
  15   your memory, two to three times. The second        15         MS. POLLOCK: Okay.
  16   time that Cyrus give you money, how much money     16       A. I don't remember.
  17   did he give you, sir?                              17   BY MR. KENNEDY:
  18       A. I don't remember. It was two or three       18       Q. Did Mathieu ever give you money, sir?
  19   times. I don't remember the other time how much    19       A. Yes.
  20   he gave me.                                        20       Q. How much money has Mathieu given you,
  21       Q. You don't remember the amounts he gave      21   sir?
  22   you, sir?                                          22       A. 10,200 gourdes.
  23       A. About 250 to 300, but I don't really        23       Q. When did Mathieu give you -- did
  24   remember exactly how much, the amount.             24   Mathieu give you the 10,200 gourdes all at once,
  25       Q. 250 to 300 US dollars, sir?                 25   sir?


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   1       A. Yes, maybe.                                  1      A.    In two payments.
   2       Q. And that was on top of the $100 he had       2      Q.    When did he do that, sir?
   3   already given you, sir?                             3      A.    Several times. I don't remember.
   4       A. Total.                                       4      Q.    Let me back up before, sir.
   5       Q. So 250 -- I'm sorry. 250 to 300 US           5           When Cyrus gave you the money for the
   6   dollars total is what Cyrus has given you?          6   first time, did you ask him for money?
   7       A. Yes.                                         7           MS. POLLOCK: I'm going to instruct
   8       Q. When is the last time that Cyrus gave        8   the witness not to disclose any communications
   9   you money, sir?                                     9   you've had with Cyrus after the first meeting
  10       A. I can't guess. I don't remember.            10   you had with Cyrus at his house. If you spoke
  11       Q. Was it within the last year, sir?           11   with Cyrus about money before that meeting with
  12       A. Don't remember.                             12   Cyrus on Rue 28, you can answer the question.
  13       Q. Was it within the last six months,          13   If you spoke to Cyrus about money after the
  14   sir?                                               14   meeting on Rue 28, I'm instructing you not to
  15       A. I don't remember when the last time         15   answer.
  16   was.                                               16           MR. KENNEDY: Counsel --
  17       Q. The second -- or the second and third       17           MS. POLLOCK: I want that interpreted
  18   time that Cyrus gave you money, what did you do    18   first while it's on her mind.
  19   with that money, sir?                              19           MR. KENNEDY: Counsel, just so the
  20       A. I used it to eat and to pay fees to go      20   record is clear, is it fair to say that it's the
  21   to school, but I don't remember everything I did   21   Plaintiffs' position that any conversation with
  22   with it.                                           22   Cyrus or Mathieu after the first meeting is
  23       Q. Do you have any money left from the         23   privileged?
  24   money that Cyrus gave you, sir?                    24           MS. POLLOCK: To the extent it
  25       A. No.                                         25   pertains to this lawsuit, yes.


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   1          MR. KENNEDY: Okay. And that's                1       A. I don't live inside the city, in the
   2   because they're agents, is that the position?       2   city.
   3          MS. POLLOCK: Yes.                            3       Q. Why were you going to the city?
   4          MR. KENNEDY: Okay.                           4       A. I don't completely remember why.
   5   BY MR. KENNEDY:                                     5       Q. I don't want to know about any
   6      Q. So, sir, going back to my question,           6   conversations you've had -- that you've had with
   7   the first time that you meet with Cyrus -- I'm      7   your attorneys, but were you going to meet with
   8   sorry, strike that.                                 8   anybody on your case?
   9          The first time that Cyrus gives you          9       A. I don't remember.
  10   money, did you ask him for money, or did he just   10       Q. And so if he gave you the 100 gourdes
  11   give you the money?                                11   the first time, did he give you the 10,100
  12          MS. POLLOCK: Again I'm going to             12   gourdes on another occasion, sir?
  13   remind the witness not to answer the question if   13       A. I'm sorry, I said 200 gourdes, because
  14   that conversation took place prior to the first    14   I paid the other -- the way back also.
  15   meeting with Cyrus.                                15       Q. Okay. So the first time he gave you
  16          THE INTERPRETER: Prior?                     16   200 gourdes?
  17          MS. POLLOCK: I'm going to instruct          17       A. Yes.
  18   the witness to the extent the conversation took    18       Q. Okay. And the second time he gave you
  19   place after the first meeting with Cyrus.          19   10,000 gourdes?
  20          MR. KENNEDY: I think it can be              20       A. Yes.
  21   answered in a yes, no, without getting into        21       Q. And what did you use that money for,
  22   substantive.                                       22   sir?
  23          MS. POLLOCK: I don't think it can,          23       A. For my preparation so I could come to
  24   because you've asked what did -- did you ask him   24   the depo, deposition.
  25   for money, which would be -- reveal the            25       Q. To today's deposition, sir?


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   1   substance of the conversation.                      1       A. Yes.
   2          MR. KENNEDY: You're instructing him          2       Q. Did you use that money to pay for a
   3   not to answer the question?                         3   bus ticket, sir?
   4          MS. POLLOCK: Yes. Logically the              4       A. No.
   5   conversation had to have taken place after that     5       Q. What did you use that money for, sir?
   6   first meeting, it's privileged.                     6       A. So I could buy everything I didn't
   7          MR. KENNEDY: Obviously we don't agree        7   have, and to do the trip.
   8   with that position, but we can take it up with      8       Q. What did you buy?
   9   the court.                                          9       A. Shoes, clothes, everything I would
  10          MS. POLLOCK: Sure.                          10   need to use.
  11          MR. O'NEILL: Of course it will mean         11       Q. And when did Mathieu give you that
  12   we'll have to come back to ask the questions.      12   money, sir?
  13          MS. POLLOCK: No problem, if you win.        13       A. I don't remember. It was Wednesday.
  14          MR. O'NEILL: If we can be assured           14   It was a Wednesday.
  15   that they'll be produced.                          15       Q. Was it a week ago, sir?
  16          MS. POLLOCK: If you prevail in front        16       A. Yes.
  17   of the judge, Counsel. Go ahead.                   17       Q. And did Mathieu give this money in
  18   BY MR. KENNEDY:                                    18   Cap-Haïtien?
  19       Q. Where was Mathieu when he gave you          19       A. Yes.
  20   these two payments of the gourdes, sir?            20       Q. Was anybody with Mathieu when he gave
  21       A. The first time I had gone downtown to       21   you the money, sir?
  22   the city and he gave me 100 gourdes so I could     22       A. I knocked at his door at his house
  23   pay for the car, for the transportation.           23   down there, but I don't know if there were other
  24       Q. Where were you taking the                   24   people inside.
  25   transportation to, sir?                            25       Q. Beside Cyrus and Mathieu, has anyone


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   1   given you any other money since you went to see     1   the Village.
   2   Cyrus for the first time to seek your justice?      2       A. I don't know if I have them here.
   3           MS. POLLOCK: You can answer this            3       Q. Is it possible that you do have some
   4   question yes or no. I don't want you to             4   at home?
   5   disclose any conversations you may have had with    5       A. What type of documents?
   6   counsel.                                            6       Q. You tell me, sir. Any school record
   7       A. No.                                          7   or anything having to do with PPT, except for
   8   BY MR. KENNEDY:                                     8   letters that you got from your lawyers.
   9      Q. Your attorneys haven't given you any          9       A. No.
  10   money, sir?                                        10       Q. You don't have any old report cards,
  11           MS. POLLOCK: You can answer this           11   sir?
  12   question yes or no.                                12       A. I don't remember.
  13       A. No.                                         13       Q. Can you do me a favor? When you go
  14   BY MR. KENNEDY:                                    14   home, can you just look to see if you have any
  15      Q. Sir, have you kept any kind of writing       15   records from PPT, and if you do could you please
  16   or any kind of diary or journal about your time    16   give them to your American lawyers?
  17   at PPT?                                            17       A. Okay.
  18       A. No.                                         18       Q. Thank you, sir.
  19      Q. Okay. And I was handed -- it's been          19       A. Yes.
  20   marked, as I'm going a little out of order here,   20       Q. Sir, how did you come here today for
  21   but it's been marked as Defendants' Exhibit 3      21   your deposition?
  22   for ID a document which I received this morning    22          MS. POLLOCK: Before you -- we've been
  23   for the deposition from your counsel.              23   going an hour, and I know you're going to spend
  24           MS. POLLOCK: A group of --                 24   time on that, can we just take a break?
  25           MR. KENNEDY: Fair enough.                  25          MR. KENNEDY: Sure.


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   1           (Whereupon, Deriza Exhibit Number 3,        1         MS. POLLOCK: That seems like a
   2           Group of eight documents, was marked        2   natural breaking point. I know you have a
   3           for identification.)                        3   question technically pending.
   4   BY MR. KENNEDY:                                     4         THE VIDEOGRAPHER: Going off the
   5       Q. It appears to be eight pages, some           5   record. The time is 10:06.
   6   which appear to be duplicative, which we're         6         (Whereupon, a recess was taken.)
   7   going to be talking about a little later.           7         THE VIDEOGRAPHER: Back on the record.
   8           But besides these documents, sir, do        8   The time is 10:24.
   9   you have any other documents that relate to your    9   BY MR. KENNEDY:
  10   time at PPT, sir?                                  10       Q. Sir, how did you come here today for
  11           MS. POLLOCK: I'm going to instruct         11   your deposition?
  12   the witness you can answer the question yes or     12       A. I took -- in a bus.
  13   no. I don't want you to testify about any          13       Q. Was this a Caribbean bus from Haiti,
  14   documents you would have received that reflect     14   sir?
  15   communications with counsel.                       15       A. Yes.
  16       A. No.                                         16       Q. And did you take it from Cap-Haïtien?
  17   BY MR. KENNEDY:                                    17       A. Yes.
  18       Q. And maybe my question could have been       18       Q. And who paid for your bus ticket, sir?
  19   a little clearer, sir.                             19       A. I don't really remember, but I was in
  20           Do you have any of your school records     20   the bus with my two interpreters.
  21   from your time at PPT, including any               21       Q. And did your two interpreters come
  22   identification information?                        22   with you from Cap-Haïtien to the Dominican
  23       A. Other schools, or the school at PPT?        23   Republic, sir?
  24       Q. Just PPT, sir. That would include any       24       A. Yes, I was with them.
  25   records or information from Rue 13, Carenage, or   25       Q. And are both your interpreters in the


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   1   room today, sir?                                   1   sir?
   2      A. Yes.                                         2       A. We didn't -- we weren't sitting
   3      Q. What are their names, sir?                   3   together close.
   4      A. The interpreters?                            4       Q. I know you weren't sitting together
   5      Q. Yes, sir.                                    5   close, but did you talk during the bus ride,
   6      A. Giraud and Elyseé.                           6   sir?
   7      Q. Had you ever met them before you got         7       A. No.
   8   on the bus, sir?                                   8       Q. Do you know an individual named
   9      A. We were on the bus together.                 9   Johnson Audate, sir?
  10      Q. Right. My question was, had you ever        10       A. Yes.
  11   met them before you got on the bus today?         11       Q. Did you go to PPT with Johnson Audate?
  12      A. Yes.                                        12       A. I used to see him.
  13      Q. When had you met them before, sir?          13       Q. Where did you used to see him, sir?
  14      A. When we were coming.                        14       A. I used to see him in Rue 13 and also
  15      Q. I know you met them on the bus, sir.        15   at the Village, and when he came he used to see
  16   But my question was, before you got on the bus,   16   me.
  17   had you met the two interpreters?                 17       Q. Is he a friend of yours, sir?
  18      A. Before I was on the bus, or when I was      18       A. We used to tell each other jokes,
  19   on the ground still?                              19   talk, because we lived in the same place.
  20      Q. Yes, when you were on the ground.           20       Q. Was Johnson Audate on the bus with you
  21      A. Yes, I saw them.                            21   from Haiti to the Dominican Republic, sir?
  22      Q. Maybe let me rephrase it. This might        22       A. Yes.
  23   help. Had you met your two interpreters before    23       Q. And did you talk to Johnson Audate on
  24   that day that you got on the bus? I know you      24   the bus, sir?
  25   met them on that day that you took the bus, I'm   25       A. No, I don't remember we talked,


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   1   just trying to understand if you had ever met      1   because we were not sitting at the same place.
   2   them before that day.                              2       Q. Have you -- are you staying at this
   3       A. No.                                         3   hotel where the deposition is taking place, sir,
   4       Q. Besides the two interpreters, sir, was      4   Iberostar?
   5   any other former PPT student on the bus with       5       A. Yes.
   6   you, sir?                                          6       Q. Are you sharing a room with anybody,
   7       A. I saw two other, two other guys.            7   sir?
   8       Q. And do you know a Jacques Mackenson,        8       A. No.
   9   sir?                                               9       Q. Have you spoken to -- I'm sorry.
  10       A. Yes.                                       10          Sir, are you aware that Johnson Audate
  11       Q. Did you know him when you were going       11   had his deposition taken yesterday?
  12   to PPT, sir?                                      12       A. I don't know.
  13       A. Yes.                                       13       Q. Did you see Johnson Audate for dinner
  14       Q. Is he a friend of yours, sir?              14   last night, sir?
  15       A. We talk.                                   15       A. I don't remember that I saw him
  16       Q. What do you guys talk about?               16   yesterday.
  17       A. Anything.                                  17       Q. Did you go to dinner, sir, last night?
  18       Q. Do you talk about your lawsuit, sir?       18       A. Yes.
  19       A. We tell each other jokes.                  19       Q. Who did you go to dinner with, sir?
  20       Q. I understand you tell each other           20       A. I was sitting at the same table with
  21   jokes, sir. My question was, did you talk about   21   Mackenson.
  22   your lawsuit, the reason we're here today?        22       Q. Was Johnson Audate there, sir?
  23       A. No.                                        23       A. No.
  24       Q. Did you and Jacques Mackenson talk on      24       Q. Was Cyrus on the bus with you, sir,
  25   the bus from Haiti to the Dominican Republic,     25   from Haiti to the Dominican Republic?


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   1       A. No.                                          1   and his child, is that correct?
   2       Q. Was Mathieu on the bus with you, sir,        2       A. Yes.
   3   from Haiti to the Dominican Republic?               3       Q. But then you also just indicated that
   4       A. No.                                          4   "I haven't been living with him in the same
   5       Q. How was it that you knew to come for         5   house for a long time." Which is it, do you
   6   your deposition, sir?                               6   live with him now, or you don't live with him?
   7          MS. POLLOCK: I'm going to instruct           7       A. Now, yes, now.
   8   you not to disclose any communications you          8       Q. So now you do live with him?
   9   actually had with your lawyers or with Cyrus or     9       A. Yes.
  10   with Mathieu. If you learned from any other        10       Q. And how long have you been living with
  11   source about your deposition, you can testify to   11   your cousin, his wife, and their child?
  12   it, otherwise I don't want you to testify and      12       A. I don't remember, but it's during the
  13   answer the question.                               13   period of time when the school is going to open.
  14       A. I don't remember.                           14       Q. What school, sir?
  15   BY MR. KENNEDY:                                    15       A. The school I go to in Haiti.
  16       Q. Sir, where do you currently live?           16       Q. What's the name of the school that you
  17       A. When I'm in Haiti?                          17   go to in Haiti, sir?
  18       Q. Yes, sir.                                   18       A. National High School Duti Boukman.
  19       A. It's a district called Morin,               19   D-U-T-I, next word B-O-U-K-M-A-N.
  20   M-O-R-I-N. It belongs to a wider area called       20       Q. Okay. We're going to be talking about
  21   Galement Duplat. G-A-L-E-M-E-N-T, next word        21   your schooling in a little while, but I just
  22   D-U-P-L-A-T.                                       22   want to get back to your living arrangement.
  23       Q. Do you live in a house, sir?                23       A. Okay.
  24       A. Yes.                                        24       Q. Do you stay at this house where you
  25       Q. And who do you live with, sir? Who          25   live with your cousin, his wife, and child every


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   1    lives in the house?                                1   night?
   2        A. A cousin, his wife, and his child.          2       A. Yes.
   3        Q. What's the cousin's name, sir?              3       Q. And I believe you indicated you can't
   4        A. Babi.                                       4   tell me exactly how long you've been there, but
   5        Q. Is that a first name, sir, or is it a       5   maybe we can do it this way. Have you lived
   6    nickname?                                          6   with them for more than a year?
   7        A. That's how we call him, but I don't         7       A. No. I don't remember.
   8    know his real name.                                8       Q. Do you remember if you've been living
   9        Q. Okay. And what's his wife's name,           9   there for more than six months, sir?
  10    sir?                                              10       A. I don't remember how long, but it's
  11        A. I know he's small. Betty.                  11   not been a long time. It hasn't been a long
  12        Q. His wife's name is Betty?                  12   time.
  13        A. Yes.                                       13       Q. Do they own the house, or do they
  14        Q. And the child, what's the child's          14   rent, sir?
  15    name, sir?                                        15       A. It's their house.
  16        A. Andeli, A-N-D-E-L-I.                       16       Q. Do you have to pay any rent, sir?
  17        Q. How old is Andeli?                         17       A. No.
  18        A. I don't know his age. I haven't been       18       Q. Before you lived with your cousin, his
  19    living with him in the same house for a long      19   wife, and the child, where were you living, sir?
  20    time.                                             20       A. I was staying in Madeline.
  21        Q. I'm a little confused, sir. I thought      21   M-A-D-E-L-I-N-E.
  22    I just asked who do you -- I believe you just     22       Q. Were you staying at a house? Or where
  23    indicated to me that you're currently living in   23   were you staying in Madeline?
  24    a house in -- I'm sorry, that you're currently    24       A. In a house.
  25    living in a house with your cousin, his wife,     25       Q. Who lived in that house, sir?


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   1       A. My uncle.                                   1      A. Yes.
   2       Q. What's your uncle's name, sir?              2      Q. And where does she live now?
   3       A. Nicholas.                                   3      A. At my grandmother's.
   4       Q. And did anybody else live in that           4      Q. She still lives there, sir?
   5    house, sir, beside your uncle Nicholas?           5      A. Yes.
   6       A. Yes, my cousin, a woman, a girl.            6      Q. What about your father, sir, is your
   7       Q. What's her name, sir?                       7   father still alive?
   8       A. Handlie, H-A-N-D-L-I-E.                     8      A. Yes.
   9       Q. And how long did you live there, sir?       9      Q. What's your father's name, sir?
  10       A. Several years. I don't remember.           10      A. Gabriel Lazar. Gabriel, and last name
  11       Q. I'm sorry, sir, I should have asked        11   L-A-Z-A-R.
  12    before, at the house where you live now with     12      Q. And have you ever lived with your
  13    your cousin, his wife, and their child, do you   13   father, sir?
  14    have your own bedroom, sir?                      14      A. Yes, when I was small, young.
  15       A. Yes, there's a place I sleep.              15      Q. Are your mother and father still
  16       Q. And was there ever a time where you        16   together, sir?
  17    lived at your grandparents' house, sir -- I'm    17      A. No.
  18    sorry, your grandmother's house, sir?            18      Q. Do you still see your father?
  19       A. Yes.                                       19      A. Yes.
  20       Q. When was that, sir?                        20      Q. Does he live in Cap-Haïtien?
  21       A. During each vacation. During vacation      21      A. No.
  22    time.                                            22      Q. Where does he live?
  23       Q. Was that vacation between school, sir?     23      A. St. Raphael.
  24       A. When school closed after exams.            24      Q. Does your father work?
  25       Q. What school are we talking about, sir?     25      A. Yes.

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   1      A. The school I was going to.                   1      Q. What does he do for work?
   2      Q. What school was that, sir?                   2      A. He's manager in an agricultural
   3      A. National High School Duti Boukman.           3   office.
   4      Q. And who lived with you at your               4          THE INTERPRETER: There might be --
   5   grandmother's house, sir?                          5   the interpreter wishes to say that he used the
   6      A. It was my grandmother's house.               6   word manager, but he might mean superintendent,
   7      Q. I realize that, sir. I'm asking who          7   so you might want to rephrase, ask him which
   8   lived there beside your grandmother.               8   he --
   9      A. Me, and there were other family              9       Q. Let me ask it this way.
  10   members, but I remember -- I don't remember the   10          Can you describe to me, to the best
  11   name of all of them.                              11   that you can, what your dad does for work?
  12      Q. How many other family members lived at      12      A. He watches, he does surveillance, and
  13   your grandmother's house?                         13   he opens the gate.
  14      A. I can't really count them, because I        14       Q. Okay. And how long has he been doing
  15   don't really know how many there were.            15   this job, sir?
  16      Q. What is your grandmother's name, sir?       16       A. I don't know.
  17      A. Ms. Desinor, D-E-S-I-N-O-R, last name       17       Q. Does your mother work, sir?
  18   D-E-R-I-Z-A.                                      18      A. She is sometimes a -- she works the
  19      Q. Sir, did your mother live with you at       19   land, the soil. She does agriculture.
  20   your grandmother's house?                         20       Q. Does she get paid for that, sir?
  21      A. Yes.                                        21       A. No.
  22      Q. What's your mother's name, sir?             22       Q. Now, when you were living at your
  23      A. Ismenie, I-S-M-E-N-I-E, last name           23   grandmother's house -- strike that. I'm sorry.
  24   D-E-R-I-Z-A.                                      24          Do you have any brothers, sir?
  25      Q. And is your mom still alive, sir?           25       A. Yes.


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   1       Q. What are the names of your brothers?          1   now, does he?
   2       A. Maxine, Victor, Wilson, and Dino.             2       A. No.
   3       Q. Did any of your brothers also go to           3       Q. Does Victor still live at your
   4   PPT, sir?                                            4   grandmother's house, sir?
   5       A. Yes.                                          5       A. When we're living in Cap-Haïtien, or
   6       Q. Which ones, sir?                              6   when we're living St. Raphael?
   7       A. Victor.                                       7       Q. Right now, sir.
   8       Q. Do you know if Victor is claiming that        8       A. We were on vacation, we were in the
   9   he was abused by Douglas Perlitz?                    9   same place.
  10       A. I don't remember.                            10       Q. Well, let me ask it this way.
  11       Q. You don't remember if your brother is        11   Firstly, Victor does not live with you right
  12   claiming that he was abused by Douglas Perlitz?     12   now, correct?
  13       A. I don't remember if he said that.            13       A. I left St. Raphael when I came.
  14       Q. Do you know if your brother signed any       14       Q. I know, sir, but that's not my
  15   list where he claims that he was abused by          15   question. My question is, before when I asked
  16   Douglas Perlitz?                                    16   you where do you live, you told me that you live
  17       A. I don't know if he did.                      17   with your cousin, his wife, and their child. So
  18       Q. Do you know if your brother has, your        18   all I'm asking is, Victor doesn't live with you
  19   brother Victor, has a case against Douglas          19   right now, correct?
  20   Perlitz claiming he was abused?                     20       A. You're asking in the same spot where
  21          MS. POLLOCK: By "case" you mean              21   I'm living now?
  22   lawsuit? Sometimes case gets translated             22       Q. Yes, sir.
  23   awkwardly.                                          23       A. Yes, yes.
  24          MR. KENNEDY: The reason --                   24       Q. Yes what, sir?
  25   understand. The reason I'm asking was that was      25       A. He's in the same place.


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   1    a phrase he used earlier.                           1      Q. So Victor is -- right now Victor is
   2           MS. POLLOCK: Okay.                           2   also staying at the house with your cousin and
   3           MR. KENNEDY: I thought he might              3   his wife and child?
   4    understand it better.                               4      A. Yes.
   5           MS. POLLOCK: Sure.                           5      Q. So Victor lives in the same house with
   6       A. Well, I don't remember. We haven't            6   you right now?
   7    talked about that yet together.                     7      A. Yes.
   8    BY MR. KENNEDY:                                     8      Q. Have you ever discussed with Victor
   9       Q. So you've never spoken to Victor about        9   the fact that you claim that Douglas Perlitz
  10    the fact that you're claiming that Doug Perlitz    10   abused you?
  11    abused you, sir?                                   11      A. I don't remember I ever talked to him
  12        A. No.                                         12   about it, because this is something that is very
  13       Q. And has Victor ever told you that he's       13   personal to me.
  14    claiming that Douglas Perlitz abused him?          14      Q. Has Victor ever discussed with you the
  15       A. I don't remember.                            15   fact that he claims that Douglas Perlitz abused
  16       Q. How often do you see Victor?                 16   him?
  17       A. I can't count how many times. We saw         17          MS. POLLOCK: Objection. Asked and
  18    many times -- each other many times, but I can't   18   answered.
  19    count.                                             19      A. I don't remember if he told me that.
  20       Q. Do you see him every week, sir?              20   BY MR. KENNEDY:
  21        A. Yes.                                        21      Q. Do you know if Victor has gone to
  22       Q. Do you see him every day, sir?               22   Cyrus Sibert to seek his justice?
  23       A. If I need to see him, I'll see him.          23      A. I don't know.
  24       Q. How far -- he doesn't live with you          24      Q. Has Victor discussed with you any
  25    right now? Victor doesn't live with you right      25   meetings that he's had with Cyrus Sibert?


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   1        A. No, I don't remember we discussed --        1       Q.   How old is Wilson?
   2    we ever discussed this.                            2       A.   I don't remember.
   3        Q. Do you know if Cyrus Sibert has given       3       Q.   Is he older or younger than you, sir?
   4    Victor any money?                                  4       A.   He's younger.
   5        A. I don't know.                               5       Q.   He's younger. Is he still in school,
   6        Q. Do you know if Mathieu has given            6   sir?
   7    Victor any money?                                  7         MS. POLLOCK: Objection. Compound.
   8        A. I don't know.                               8      A. Yes.
   9        Q. Do you know if Victor has an attorney       9   BY MR. KENNEDY:
  10    to represent him?                                 10      Q. What about Maxine, does he work?
  11        A. I don't know.                              11      A. I don't know, because we don't live in
  12        Q. Do you know if your attorneys are          12   the same place.
  13    representing Victor?                              13      Q. What about Dino, sir, is he older or
  14        A. I don't know that.                         14   younger than you?
  15        Q. Is Victor older or younger than you,       15      A. Smaller. Younger.
  16    sir?                                              16      Q. Okay. Does Dino work?
  17        A. He's older.                                17      A. No.
  18        Q. How much older, sir? What's his age,       18      Q. Are you currently working, sir?
  19    if you know?                                      19      A. Yeah, I work sometimes.
  20        A. I don't know his age.                      20      Q. Okay. What do you do for a job, sir?
  21        Q. Is he a couple years older, if you         21      A. Welding and painting.
  22    know?                                             22      Q. When is the last time that you worked
  23        A. He has -- he could have several years,     23   as a welder, sir?
  24    but I don't know how many.                        24      A. I don't remember. I work -- often I
  25        Q. Does Victor work, sir?                     25   work with my cousin.

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   1       A. Yes.                                         1       Q. You often work with your cousin, sir,
   2       Q. What does he do for work, sir?               2   as a welder?
   3       A. I don't really remember, because he          3       A. Yes.
   4    doesn't have any fixed, set job, a regular job.    4       Q. Does your cousin have a company, or...
   5       Q. But can you tell me any jobs that you        5       A. He has equipment.
   6    know Victor does?                                  6       Q. He has equipment. Okay.
   7       A. Everything he feels he can do, he            7          And do you work as a welder every week
   8    does.                                              8   with your cousin?
   9       Q. Such as what; construction? Give me          9       A. Not really every week.
  10    an example.                                       10       Q. In a month, sir, how many times,
  11       A. He could work in construction, but          11   approximately, do you work as a welder with your
  12    he's not the boss. He will help carry, lift       12   cousin?
  13    materials to hand it over to the person who is    13       A. Several times. When he has work he
  14    doing the work.                                   14   calls me, and I go work with him.
  15       Q. And how often does he work, sir?            15       Q. And how much do you get paid?
  16       A. I don't know. I haven't calculated.         16       A. There's no set price. It depends on
  17       Q. What about Maxine, sir, your brother,       17   the work I'm doing.
  18    did he go to PPT?                                 18       Q. Do you make enough to feed yourself,
  19       A. No.                                         19   sir?
  20       Q. What about your brother Wilson?             20       A. It's not great, but when I work I use
  21       A. No.                                         21   the money to eat and for other things I need.
  22       Q. What about your brother Dino?               22       Q. Are you able to buy clothes with that
  23       A. No.                                         23   money, sir?
  24       Q. Does Wilson work, sir?                      24       A. Depends on the amount. It depends on
  25       A. No.                                         25   the amount I have.


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   1       Q. Have you ever been turned down from a       1   more year in the Haitian system, Haitian French
   2   job as a welder because you went to PPT?           2   system, so this would be more like ninth grade,
   3       A. No. Everywhere I get work, this is          3   but he says tenth.
   4   something I always hide.                           4          MR. KENNEDY: He says the tenth, but
   5       Q. So the answer is no, you've never been      5   the interpreters -- would you let me finish --
   6   turned down from a job because you went to PPT?    6   his interpreters are indicating to you it's more
   7          MS. POLLOCK: Objection.                     7   equivalent to ninth grade?
   8   Mischaracterizes the witness's testimony.          8          THE INTERPRETER: Yes.
   9          But you can go ahead, you can answer.       9          MS. POLLOCK: We can talk about it.
  10       A. Everywhere I go I never say that I         10          MR. KENNEDY: We can discuss it later.
  11   went there.                                       11   BY MR. KENNEDY:
  12   BY MR. KENNEDY:                                   12       Q. And, sir, I was provided with some
  13       Q. Has any -- strike that.                    13   documents which we've had marked as Exhibit 3
  14          Where did you learn to weld, sir?          14   for ID. You're currently a student at Lycée
  15       A. I started with this at PPT, and then I     15   Duti Boukman? I'm sure I'm butchering that.
  16   continue with my cousin because he's better.      16       A. Yes.
  17       Q. But you started to learn how to weld       17       Q. And how long have you been going
  18   at PPT?                                           18   there, sir, to that school?
  19       A. I started watching, but I didn't stay      19       A. This year will be the second year I'm
  20   in it.                                            20   there. I entered in the third class.
  21       Q. What about painting, sir, how often do     21       Q. And when you say third class, do you
  22   you work painting?                                22   mean third grade, or what grade did you enter?
  23       A. I don't really work in that, but I         23          THE INTERPRETER: Troisieme normally
  24   know people when they find a job, they call me,   24   is three years away from twelfth grade, so we'll
  25   and they pay me per day.                          25   have to discuss what that means.


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   1       Q. In a month how many times do you work       1          MR. KENNEDY: Okay.
   2   painting, sir?                                     2     Q.    What classes are you taking, sir?
   3       A. I didn't -- I didn't count how many         3     A.    Can you repeat the question, please?
   4   times.                                             4     Q.    What subjects are you taking, sir?
   5       Q. In the last year, sir, have you worked      5     A.    When I'm in the classes, classroom?
   6   on more than ten painting jobs?                    6     Q.    Yes, sir.
   7       A. I don't remember this.                      7          MS. POLLOCK: You mean currently?
   8       Q. Sir, do you speak English?                  8          MR. KENNEDY: Yes, currently, at the
   9       A. No.                                         9   lycée.
  10       Q. Do you understand English?                 10       A. What they work with me?
  11       A. No.                                        11   BY MR. KENNEDY:
  12       Q. Do you speak any other language than       12       Q. Yes, sir. What subjects? Are you
  13   Creole?                                           13   taking math, are you taking --
  14       A. No.                                        14       A. Okay. There's math, history,
  15       Q. Can you write your name in Creole?         15   literature, physics, chemistry, and there are
  16       A. Yes, I can write my name.                  16   other ones, biology, but these are the ones that
  17       Q. Can you read Creole, sir?                  17   we are most taught, that are most taught.
  18       A. Not a lot.                                 18          MR. KENNEDY: Okay. The videographer
  19       Q. Currently you're in the tenth grade,       19   need to change disk.
  20   sir?                                              20          THE VIDEOGRAPHER: Going off the
  21       A. I'm in tenth grade.                        21   record. The time is 11:22.
  22          (Interpreters talking.)                    22          (Whereupon, a recess was taken.)
  23          THE INTERPRETER: We'll discuss this        23          THE VIDEOGRAPHER: Back on the record.
  24   later. He says tenth grade, but then there's a    24   The time is 11:39.
  25   problem with the equivalency, so there's one      25   BY MR. KENNEDY:


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   1        Q. Sir, can you speak French?                  1      A. There are three, I mean four, but I
   2        A. No. I can understand if they talk to        2   haven't chosen yet. It's when I'm done.
   3    me in French, but I don't.                         3      Q. Can you tell me what the three or four
   4        Q. Can you read French, sir?                   4   possible jobs are?
   5        A. I can read some things.                     5      A. Geologist, a diplomat, and I also
   6        Q. Well, you're currently taking               6   dreamt of being a priest.
   7    literature, correct?                               7      Q. Roman Catholic priest, sir?
   8        A. Yes.                                        8      A. Yes.
   9        Q. Are you reading any books in                9      Q. Are you Roman Catholic, sir?
  10    literature?                                       10      A. I can't say for the time being that I
  11        A. Yes, I read books.                         11   am because I don't go to church, but I used to
  12        Q. Can you tell me one of the names of        12   be, yes.
  13    the books that you've read in literature class?   13      Q. Did you have your Communion, sir?
  14        A. We don't have a lot of money so we         14      A. I did my First Communion, yes.
  15    can't buy all of them. Usually we -- more often   15      Q. Did you do that at PPT, sir?
  16    we use teacher's notes.                           16      A. Yes.
  17        Q. Have you ever read a full book in          17      Q. Sir, who is Poleuce, P-O-L-E-U-C-E,
  18    literature class, sir?                            18   last name Lucien, L-U-C-I-E-N?
  19        A. No.                                        19      A. It was my godfather. He died.
  20        Q. The school you're going to right now,      20      Q. Did you used to live with him, sir?
  21    do you have to pay to go to that school?          21      A. Yes, in the house he had. In his
  22        A. Yes.                                       22   house.
  23        Q. Who pays for your tuition, sir?            23      Q. Now, before you started to go to Lycée
  24        A. My mother used to pay.                     24   Boukman, where were you going to school, sir?
  25        Q. As we sit here right now today, sir,       25      A. All the schools prior to that, or the

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   1   are you enrolled in classes?                        1   one I left to transfer to that one?
   2       A. Yes.                                         2       Q. Why don't we do it this way. Since
   3       Q. And who is paying for your tuition           3   the time that you left PPT up until your new
   4   right now?                                          4   school which we just talked about, where else
   5       A. Sometimes my mother, sometimes it's my       5   have you gone to school, sir?
   6   father who pays them.                               6       A. The first one I went to was Ecole
   7       Q. Did I understand your testimony              7   Baptist, Conservative Baptist School. And the
   8   earlier, have you used some of the money that       8   second one was Immaculate Conception. And the
   9   Cyrus gave you to pay for your tuition?             9   third one was a lycée.
  10       A. No, I didn't pay for the school. I          10       Q. What grade did you go to at the
  11   paid -- I bought a few school material.            11   Conservative Baptist School, sir?
  12       Q. What school material, sir?                  12       A. Sixth class.
  13       A. Notebooks, Bic pens, and material for       13       Q. Sixth grade?
  14   geometry, instruments, geometry instruments.       14          THE INTERPRETER: That's sixth grade,
  15       Q. Sir, is there a certain profession          15   yes. Seventh grade.
  16   that you're studying for?                          16       Q. And did you go to that school for one
  17       A. Did I study before, or what I'm             17   year, sir?
  18   studying now?                                      18       A. Yes, I did. The sixth year, which is
  19       Q. What I'm trying to understand, sir, is      19   the seventh grade in there.
  20   you're going to school right now, is there a job   20       Q. And where is that school located, sir?
  21   in the future that you're hoping to have?          21       A. St. Raphael.
  22       A. Yes.                                        22       Q. And did Victor go to school at the
  23       Q. What is that job, sir?                      23   Conservative Baptist School with you, sir?
  24       A. When I finish school?                       24       A. No.
  25       Q. Yes, sir.                                   25       Q. Did you have to pay to go to the


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   1    Conservative Baptist School?                      1          MS. POLLOCK: Are the interrogatories
   2       A. Yes.                                        2   2, too?
   3       Q. Who paid for your tuition to the            3          MR. KENNEDY: Yes.
   4    Conservative Baptist School, sir?                 4          (Whereupon, Deriza Exhibit Number 2,
   5       A. My grandmother and my mother.               5          Plaintiff Jason Maxwel Deriza's
   6       Q. Does your grandmother have a job, sir?      6          Response to Certain Defendants' First
   7       A. Yes.                                        7          Set of Interrogatories, was marked for
   8       Q. What does she do?                           8          identification.)
   9       A. She sells charcoal.                         9          MS. POLLOCK: So you don't have an
  10       Q. And the second school, the Immaculate      10   extra copy of the complaint?
  11    school, which grade did you go to for that       11          MR. KENNEDY: I do.
  12    school, sir?                                     12          MS. POLLOCK: That's fine. I just
  13       A. Sixth grade, seventh grade, and eighth     13   want to make sure I understand.
  14    grade.                                           14          MR. CERRETA: You can have my copy if
  15       Q. You went there for three years, sir?       15   you'd like.
  16       A. Yes.                                       16          MS. POLLOCK: I've got it. We're
  17       Q. And where is that located, sir?            17   good.
  18       A. Cap-Haïtien.                               18   BY MR. KENNEDY:
  19       Q. And did it cost money to go to that        19       Q. Sir, I'm showing you what's been
  20    school, sir?                                     20   marked as Defendants' 1 for identification. Do
  21       A. Yes.                                       21   you recognize this document?
  22       Q. And who paid for your tuition to go to     22       A. I don't remember.
  23    that school, sir?                                23       Q. Sir, I understand you don't read
  24       A. Myself, my mother, and my father.          24   English, correct?
  25       Q. How did you -- what did you do to help     25       A. No.


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   1   pay for the tuition to go to that school, sir?     1       Q. I'm going to represent to you that
   2       A. I worked as a painter, and I saved          2   this is a complaint and a jury demand which was
   3   money during vacation.                             3   filed in your name in the United States District
   4       Q. Sir, I handed your counsel what's           4   Court in Connecticut. Do you know what's
   5   already been marked as Defendants' 1 for           5   contained in this document, sir?
   6   identification.                                    6       A. Okay.
   7          (Whereupon, Deriza Exhibit Number 1,        7       Q. The question was, do you know what's
   8          Complaint and Jury Trial Demand, was        8   contained in this?
   9          marked for identification.)                 9       A. I don't know because it's in English.
  10          MS. POLLOCK: Are you going to hand         10       Q. Do you know the parties that you're
  11   him that?                                         11   suing in this lawsuit, sir?
  12          MR. KENNEDY: No, I was going to give       12           MS. POLLOCK: I'll object to the term
  13   him, if that's okay, unless --                    13   "parties" as probably being vague for him.
  14          MS. POLLOCK: Do you have your own          14   BY MR. KENNEDY:
  15   copy to work from? I'd like to have my own copy   15       Q. Okay. Do you know the people and the
  16   to make notes on, he can have the official one    16   institutions that you're suing in this lawsuit,
  17   if you have that.                                 17   sir?
  18          MR. KENNEDY: I don't as far as the         18       A. Can you repeat the question?
  19   complaint. I do for the interrogatories.          19       Q. Do you know the people and the
  20          MS. POLLOCK: What are you about to         20   institutions that you're suing in this lawsuit?
  21   show him?                                         21       A. Again, I'm filing a complaint against
  22          MR. KENNEDY: The complaint.                22   the people who abused me.
  23          MS. POLLOCK: Oh, the complaint is          23       Q. Who are the people that abused you,
  24   Exhibit 1?                                        24   sir?
  25          MR. KENNEDY: Yes.                          25       A. Douglas.


                                                                       18 (Pages 66 to 69)
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   1       Q. Did anybody else abuse you?                  1      Q. You don't know what's in that
   2       A. I don't imagine that.                        2   document, do you, sir?
   3       Q. Do you know that you're suing other          3      A. I don't read English.
   4    people besides Douglas?                            4      Q. Have you ever seen a Haitian -- I'm
   5           MS. POLLOCK: I'm going to instruct          5   sorry.
   6    you you can answer that question yes or no, but    6          Have you ever seen a Creole
   7    not to provide conversations that you've had       7   translation of your complaint, sir?
   8    with your lawyers or Cyrus or Mathieu.             8      A. The complaint I filed?
   9       A. No.                                          9      Q. Yes, sir.
  10    BY MR. KENNEDY:                                   10      A. Yes.
  11       Q. Sir, I don't want to know about any         11      Q. Where did you see a Creole copy?
  12    conversations you've had with your attorneys,     12      A. I don't remember.
  13    but has anybody ever read to you what's           13      Q. Sir, I'm going to show you -- do you
  14    contained in your complaint and jury demand?      14   have a copy?
  15           MS. POLLOCK: Again, you can answer         15          MS. POLLOCK: I have my own, yes. Do
  16    this with a yes or no question, but I'm not       16   you have a copy for the witness?
  17    instructing you not to testify to any             17          MR. KENNEDY: I can have a copy to
  18    conversations you've had with your lawyers.       18   show him, too.
  19    Just answer yes or no.                            19          MS. POLLOCK: That would be great.
  20       A. What?                                       20   BY MR. KENNEDY:
  21    BY MR. KENNEDY:                                   21      Q. Sir, I'm going to show you what's been
  22       Q. Sir, I understand you can't read or         22   marked as Exhibit 2 for identification. You'll
  23    understand English, correct?                      23   see about midway through, sir, it begins in
  24       A. Yes.                                        24   Creole.
  25       Q. And Exhibit 1 is in English, correct?       25      A. Yes.


                                            Page 71                                                Page 73
   1       A. Yes.                                         1      Q. Have you ever seen this document
   2       Q. What I'm trying to understand, sir,          2   before, sir?
   3   and I don't want to know -- I don't want you to     3      A. The Creole document?
   4   tell me any conversations that you've had with      4      Q. Yes, sir.
   5   your lawyers, all I'm asking is has anyone ever     5      A. Yes.
   6   read to you what is contained in Exhibit 1?         6      Q. Can you read for me the top of what
   7          MS. POLLOCK: You can answer yes if           7   this document says starting in the bold, under
   8   anyone other than your lawyers have read this to    8   the date?
   9   you.                                                9      A. "The answer the Plaintiff Jason Maxwel
  10       A. If the document in English, if              10   Deriza gives for the first series of
  11   somebody read it with me?                          11   interrogatories of the defense."
  12   BY MR. KENNEDY:                                    12      Q. Do you remember reviewing any part of
  13       Q. Read -- anybody read to you what's          13   these answers before today, sir?
  14   contained in that document.                        14          MS. POLLOCK: You can answer the
  15          MS. POLLOCK: If the only people that        15   question yes or no, but I'm instructing you not
  16   have read this document with you are your          16   to disclose any communications you have had with
  17   lawyers, I don't want you to answer the            17   your lawyer about this document.
  18   question. Anyone else other than your lawyers      18      A. What is the question?
  19   have read this document to you, you can answer     19   BY MR. KENNEDY:
  20   yes or no.                                         20      Q. The question was, do you remember
  21       A. I don't remember.                           21   reviewing any part of these answers before
  22   BY MR. KENNEDY:                                    22   today, sir?
  23       Q. So is it fair to say, sir, that you         23      A. Yes.
  24   don't know what's contained in Exhibit 1?          24      Q. And when did you do that, sir?
  25       A. What?                                       25      A. I don't remember the moment, but I


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   1   remember I looked.                                   1   Sibert was there, sir?
   2      Q. Sir, I'm going to ask you to turn to           2          MS. POLLOCK: Objection. Vague.
   3   the last page of the document. Do you recognize      3   Where is "there"?
   4   that page, sir?                                      4          MR. KENNEDY: At the hotel.
   5      A. I've seen it.                                  5      A. I don't remember, because there were
   6      Q. What is that page, sir?                        6   several people at the hotel.
   7      A. I don't remember. I didn't read this.          7   BY MR. KENNEDY:
   8      Q. Sir, is that your signature, sir?              8      Q. Do you remember if Cyrus Sibert was at
   9      A. Yes.                                           9   the hotel, sir?
  10      Q. Did you sign this document, sir?              10      A. I don't remember.
  11      A. Yes.                                          11      Q. Were other former PPT students at the
  12      Q. Now, up at the top under where it says        12   hotel, sir?
  13   "Verification," it appears that your name is        13      A. Yes.
  14   handwritten. Do you see that, sir?                  14      Q. Can you tell me the names of the
  15      A. Yes.                                          15   former PPT students who were at the hotel?
  16      Q. Is that your handwriting, sir?                16      A. I don't remember because I only
  17      A. No.                                           17   concentrated on what I was going to do there.
  18      Q. Whose handwriting is that, sir?               18      Q. Did you recognize any of the former
  19      A. I don't know.                                 19   PPT students?
  20      Q. Who was present with you when you             20      A. I might recognize their faces, but I
  21   signed this document, sir?                          21   don't remember their names.
  22      A. When I was looking at the document?           22      Q. How many former PPT students were
  23      Q. Did you sign the document when you            23   there at the hotel, sir?
  24   looked at it, sir, at the same time?                24      A. I don't remember.
  25      A. I don't remember. I don't remember.           25      Q. Was Mathieu at the hotel, sir?

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   1    But I remember I looked at it, and then I signed    1       A. I don't remember seeing him.
   2    it.                                                 2       Q. Did Victor go to the hotel with you,
   3        Q. Did you look at the answers -- strike        3   sir?
   4    that.                                               4       A. No.
   5           Were the answers typed up at the time        5       Q. Did you go with anybody else, or did
   6    you looked at the document, sir?                    6   you go alone?
   7        A. Yes.                                         7       A. I remembered I went there, but I don't
   8        Q. And where did you sign this document,        8   remember with whom I went.
   9    sir?                                                9       Q. Sir, had you ever seen your answers to
  10        A. Cap-Haïtien.                                10   Exhibit Number 2 before you signed them?
  11        Q. Was it at a hotel, sir?                     11          MS. POLLOCK: Do you mean on a date
  12        A. Yes.                                        12   prior? We've --
  13        Q. Which hotel, sir?                           13          MR. KENNEDY: I think that covers -- I
  14        A. I don't remember the name.                  14   think that question covers --
  15        Q. Who was at the hotel, sir?                  15          MS. POLLOCK: I'm not trying to argue
  16        A. When I was signing it?                      16   with you. He doesn't understand what I'm
  17        Q. Yes.                                        17   saying, but he already testified he reviewed it
  18        A. I was sitting with my interpreters.         18   before he signed it there, so that's why I'm
  19        Q. Were your lawyers there, sir?               19   confused with your questioning. Go ahead, I
  20        A. I don't remember.                           20   don't want to get in an argument with you. I'm
  21        Q. Was Cyrus Sibert there, sir?                21   trying to get a sense if you mean a different
  22        A. There were other people there, but I        22   time frame.
  23    don't remember who was there.                      23          MR. KENNEDY: Okay. Fair enough.
  24        Q. Well, the question was a little more        24   BY MR. KENNEDY:
  25    specific. I'm asking, do you remember if Cyrus     25       Q. Before you went to the hotel, sir, had


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   1    you ever reviewed your answers to Exhibit          1       A. I don't remember everything I didn't
   2    Number 2, your responses to the Defendants'        2   understand.
   3    interrogatories?                                   3       Q. Okay. You just indicated to me that
   4        A. Can you repeat, please?                     4   you fixed something. What did you fix?
   5           If I have the document in my hand and       5       A. The ones I didn't understand.
   6    I reviewed them?                                   6       Q. Can you show me, sir, in these answers
   7        Q. No, sir. I think you already told me        7   in the Creole version what you didn't
   8    that when you got there that the document was      8   understand?
   9    typed up, correct?                                 9           MS. POLLOCK: They've been fixed, so
  10        A. Yes.                                       10   that's impossible.
  11        Q. And you also indicated that you            11           MR. KENNEDY: That's not what he
  12    reviewed the document at the hotel before you     12   testified to.
  13    signed it, correct?                               13       A. I don't remember.
  14        A. Yes.                                       14   BY MR. KENNEDY:
  15        Q. What I'm trying to understand is           15       Q. Do you remember what needed to be
  16    before you got to the hotel, had you ever seen    16   fixed, sir?
  17    the document before with your answers?            17           MS. POLLOCK: Objection. Asked and
  18        A. No.                                        18   answered.
  19        Q. And did you yourself read the answers      19       A. I don't remember. That's all I can
  20    before you signed the document?                   20   say.
  21        A. Yes.                                       21   BY MR. KENNEDY:
  22        Q. Nobody read them to you? You actually      22       Q. Do you know if your answers are
  23    read them?                                        23   truthful and accurate, sir?
  24           MS. POLLOCK: You can answer the            24       A. Yes.
  25    question yes or no. I don't want you to testify   25       Q. How do you know that, sir?

                                            Page 79                                              Page 81
   1   about conversations you've had with your lawyers    1      A. How can I know?
   2   about the answers.                                  2      Q. Yes, sir.
   3      A. I remember I read them.                       3      A. Because it's the truth. It comes from
   4   BY MR. KENNEDY:                                     4   my head.
   5      Q. Did you have any difficulty reading           5      Q. Sir, when did you first meet Douglas
   6   the document, sir, before you signed it? Did        6   Perlitz?
   7   you understand every word?                          7      A. I don't remember when I met him for
   8          MS. POLLOCK: Objection. Compound.            8   the first time.
   9          MR. KENNEDY: I'm going to cure, I'm          9      Q. Did you meet him before you started to
  10   going to attempt to.                               10   go to any PPT program?
  11   BY MR. KENNEDY:                                    11      A. I don't remember.
  12      Q. Sir, did you have any difficulty             12      Q. How long did you -- strike that.
  13   reading the document before you signed it?         13          How did you hear about PPT?
  14      A. What do you mean difficult?                  14      A. It's because of other kids who used to
  15      Q. Were there any words in the document         15   go to that project, to the project.
  16   that you did not understand?                       16      Q. What other kids, sir?
  17      A. Yes.                                         17      A. I don't remember them because it's
  18      Q. Do you know which words you didn't           18   been a while.
  19   understand, sir?                                   19      Q. Before you started to go to PPT, where
  20      A. I don't remember for the time being.         20   were you living, sir?
  21      Q. But you do remember there were some          21      A. In a place called Vertieres,
  22   words you didn't understand?                       22   V-E-R-T-I-E-R-E-S.
  23      A. I remember I didn't understand, but I        23      Q. Is that in Cap-Haïtien, sir?
  24   fixed it.                                          24      A. Yes.
  25      Q. What didn't you understand, sir?             25      Q. Who were you living with at that time,


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   1    sir?                                               1      A. Yes.
   2        A. My godmother's house.                       2      Q. Would Victor walk with you, sir?
   3        Q. And what did you hear about PPT, sir?       3      A. No, because we were not staying at the
   4        A. I was looking for a place to go to          4   same place then.
   5    school because at that time I wasn't going to      5      Q. Can you tell me about what an average
   6    school.                                            6   day was like at Rue 13 when you started going?
   7        Q. And you heard that you could go to          7      A. We used to shower, eat, and then when
   8    school there?                                      8   there were classes we went to classes. And then
   9        A. Yes, because I had no money.                9   when classes were out we went back home, or to
  10        Q. And I noticed from your answers to the     10   wherever we wanted to go.
  11    interrogatories, was there a gap of time before   11      Q. What time would you arrive at Rue 13?
  12    you went to PPT where you were not going to       12      A. During the day?
  13    school?                                           13      Q. In the morning, sir.
  14        A. There was a time when I was in school.     14      A. I don't remember which time, but it
  15        Q. Was there three years, sir, where you      15   was very early.
  16    were not going to school?                         16      Q. Would you go there every day of the
  17        A. I remember this.                           17   week, sir?
  18        Q. And that was before PPT?                   18      A. Yes.
  19        A. Yes.                                       19      Q. And is the first thing that you did
  20        Q. And where, for those three years,          20   when you got into Rue 13 was shower?
  21    where were you living, sir?                       21      A. Yes.
  22        A. These three years I was going back and     22      Q. And then you were fed?
  23    forth between St. Raphael and Vertieres. And I    23      A. Yes.
  24    wasn't going to school then, I went to my         24      Q. How many times a day were you fed at
  25    godmother's house.                                25   Rue 13, sir?


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   1       Q. Were you living in a house during all        1       A. I don't really remember. Two or three
   2   three years, sir?                                   2   times.
   3       A. Yes.                                         3       Q. Did you take any classes at Rue 13,
   4       Q. Sir, have you ever lived on the              4   sir?
   5   streets?                                            5       A. Yes.
   6       A. No.                                          6       Q. What classes did you take at Rue 13,
   7       Q. And when you first started going to          7   sir?
   8   PPT program, where did you go, sir?                 8       A. I don't really remember because there
   9       A. Rue 13.                                      9   was no special subject you could learn.
  10       Q. Do you know what year you started           10       Q. Did you know how to write your name
  11   going to Rue 13?                                   11   before you went to Rue 13, sir?
  12       A. I don't remember which year.                12       A. I remember I could.
  13       Q. Do you remember which grade you were        13       Q. Could you read Creole before you went
  14   in, sir?                                           14   to Rue 13, sir?
  15       A. When I was going to Rue 13?                 15       A. You know, I lost many years, so I
  16       Q. Yes, sir, when you first started            16   don't remember.
  17   going.                                             17       Q. Did you play sports at Rue 13, sir?
  18       A. I don't remember which class.               18       A. No.
  19       Q. Did any of your brothers go to Rue 13,      19       Q. Do you remember some of the names of
  20   sir?                                               20   your teachers at Rue 13, sir?
  21       A. Yes.                                        21       A. I remember Master Romere and Madame
  22       Q. Which brother, sir, or brothers?            22   Calixte.
  23       A. Victor.                                     23       Q. What did Master Romere teach?
  24       Q. Would you walk from your home to go to      24       A. I wasn't in the classroom he was
  25   Rue 13, sir?                                       25   teaching to.


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   1       Q. What about Madame Calixte, did she          1       Q. Yes, sir.
   2    ever teach you?                                   2       A. I remember he put his penis in my butt
   3       A. No, but she was -- she used to be in        3   without me wanting it. I wasn't agreeing to
   4    there, she used to be in charge of giving us      4   this.
   5    things to eat.                                    5       Q. Did that happen the first time you met
   6       Q. Did Victor go to Rue 13 at the same         6   him?
   7    time you did, sir?                                7       A. I remember.
   8       A. No.                                         8       Q. My question was, did that happen the
   9       Q. He went at a different year, sir?           9   first time that you met Doug Perlitz?
  10       A. I don't remember which year, but I was     10       A. I used to see him, but it wasn't
  11    already going to the Village.                    11   accustomed to -- I wasn't accustomed to see him
  12       Q. Okay. So you were already going to         12   face-to-face.
  13    the Village at the time that Victor started      13       Q. Okay. Had you ever met Doug Perlitz
  14    going to Rue 13?                                 14   before you claim he sexually abused you?
  15       A. I don't remember that, but I was           15       A. I used to see him when I went to the
  16    already in preparation to go there.              16   Village.
  17       Q. Let me ask it this way, sir. Was           17       Q. Did you ever see him at Rue 13, sir?
  18    there ever a time that you were at Rue 13 that   18       A. I don't remember.
  19    Victor was there as well?                        19       Q. Do you remember any white people
  20       A. I don't remember. I don't remember.        20   working at Rue 13, sir?
  21       Q. Do you remember the names of any           21       A. Yes.
  22    students that went to Rue 13 at the same time    22       Q. What are their names, sir?
  23    you did?                                         23       A. Andy.
  24       A. I don't remember their names. There        24       Q. Do you know Andy's last name, sir?
  25    were several of them.                            25       A. No.

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   1       Q. How long did you go to -- how many          1      Q. Have you ever heard the name Andy
   2    years did you go to Rue 13, sir?                  2   Shultheis?
   3       A. I don't remember how long I went            3      A. No.
   4    there, up there.                                  4      Q. Do you remember any other white people
   5       Q. Do you remember if it was more than a       5   working at Rue 13 when you went there, sir?
   6    year, sir?                                        6      A. I don't remember.
   7       A. No.                                         7      Q. Do you remember a person named Jessica
   8       Q. No, you don't remember?                     8   Lozier?
   9       A. I don't remember if I did an entire         9      A. I used to see Jessica, but I wasn't in
  10    year.                                            10   Rue 13 then.
  11       Q. And you don't remember the names of        11      Q. Okay. You were at the Village by the
  12    any students that you went to Rue 13 with?       12   time you started to see Jessica?
  13       A. I don't remember the names because         13      A. Yes.
  14    there were many of them.                         14      Q. What about an individual named
  15       Q. Do you remember any of their               15   Nicholas Preneta, do you know who that is,
  16    nicknames?                                       16   Nicholas?
  17       A. I don't remember.                          17      A. If I used to see him?
  18       Q. Tell me everything you remember about      18      Q. Yes, sir.
  19    the first time you met Doug Perlitz, sir.        19      A. Yes.
  20       A. Can you repeat the question, please?       20      Q. And were you going to the Village when
  21       Q. Yes.                                       21   you saw Nicholas?
  22           In your own words, sir, tell me           22      A. Yes.
  23    everything that you remember about the first     23      Q. Did you ever speak to Nicholas?
  24    time you met Doug Perlitz.                       24      A. I don't remember, because he wasn't
  25       A. The first time I met him?                  25   very stable at the Village.


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   1       Q. What do you mean by "he wasn't very        1   Carter at Rue 13, sir?
   2    stable," sir?                                    2       A. No.
   3       A. He didn't use to stay at the Village,      3       Q. Do you remember if you ever saw Pere
   4    he was at the Carenage.                          4   Paul at Rue 13, sir?
   5       Q. Okay. What about an individual named       5       A. No.
   6    Brittany McLean?                                 6       Q. While you were -- strike that. I'm
   7           MS. POLLOCK: What's the question?         7   sorry.
   8           MR. KENNEDY: Fair enough.                 8          Did you enjoy your time at Rue 13,
   9    BY MR. KENNEDY:                                  9   sir?
  10       Q. Do you remember an individual named       10       A. What do you mean a good time?
  11    Brittany?                                       11       Q. Was the program beneficial to you?
  12       A. Yes.                                      12       A. The program at --
  13       Q. And where did you see Brittany, sir?      13       Q. At Rue 13, yes.
  14       A. At the Village.                           14       A. No, because it wasn't what I needed.
  15       Q. Do you know if Andy could speak           15   It wasn't very serious there.
  16    Creole, sir?                                    16       Q. The education wasn't serious?
  17       A. I remember he spoke Creole.               17       A. The school wasn't very serious, no.
  18       Q. Did you ever speak to him, sir?           18       Q. When you were at Rue 13, did you ever
  19       A. I remember we used to talk, but I         19   hear any rumor about Doug Perlitz abusing any
  20    don't remember what we used to say.             20   student?
  21       Q. If you had a problem, could you talk      21       A. No.
  22    to Andy?                                        22       Q. While you were at Rue 13, did you ever
  23       A. Yes.                                      23   hear any rumor that Douglas Perlitz was a
  24       Q. And did you ever talk to Andy about a     24   homosexual?
  25    problem you were having?                        25       A. No.

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   1      A. When I was at Rue 13?                       1      Q. When you were at Rue 13, did you at
   2      Q. Yes, sir.                                   2   any time have any fear that Douglas Perlitz
   3      A. If I had a problem, I could talk to         3   would hurt you?
   4   him, but I don't remember if I told him that.     4      A. No.
   5      Q. Did you like Andy?                          5      Q. And you had no reason to be afraid
   6      A. Yes, I liked his ways.                      6   that Douglas Perlitz would harm you when you
   7      Q. Did you trust Andy?                         7   were at Rue 13, correct?
   8      A. I can say yes.                              8      A. Yes.
   9      Q. Do you remember if Andy had a Haitian       9      Q. And you had no suspicion when you were
  10   girlfriend, sir?                                 10   at Rue 13 that Douglas Perlitz would ever harm
  11      A. I don't remember.                          11   you, correct?
  12      Q. What was Andy's position at Rue 13?        12      A. No.
  13      A. I don't remember his position, but he      13         MS. POLLOCK: We're five minutes
  14   was the boss.                                    14   before lunch.
  15      Q. What did you understand Douglas            15         MR. KENNEDY: I was going to say this
  16   Perlitz's position was at Rue 13?                16   might be a pretty good place to break.
  17      A. I don't know.                              17         THE VIDEOGRAPHER: Going off the
  18      Q. I believe you testified earlier you        18   record. The time is 12:53.
  19   don't remember ever seeing Doug Perlitz at Rue   19         (Whereupon, a luncheon recess was
  20   13, is that correct?                             20         taken.)
  21      A. Yes.                                       21
  22      Q. Did you ever see any white visitors at     22
  23   Rue 13, sir?                                     23
  24      A. I don't remember if I saw that.            24
  25      Q. Do you remember if you ever saw Madame     25


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   1         AFTERNOON SESSION                            1       Q. Where did she work?
   2                                                      2       A. I remember seeing her at Rue 13.
   3         THE VIDEOGRAPHER: Back on the record.        3       Q. You remember that you saw Margarette
   4   The time is 2:11.                                  4   at Rue 13, is that correct?
   5                                                      5       A. Yes.
   6         FABIE BODEK, Interpreter,                    6       Q. What did she do at Rue 13?
   7   having been duly sworn to translate the            7       A. I don't really know what she was doing
   8   questions and answers accurately, translated as    8   there.
   9   follows:                                           9       Q. Do you know what her job was?
  10                                                     10       A. No.
  11   BY MR. KENNEDY:                                   11       Q. Did you ever speak to her?
  12       Q. While you were at Rue 13, did you have     12       A. I remember that I used to talk to her.
  13   any reason to be afraid that Doug Perlitz would   13       Q. And what did you used to talk about?
  14   harm you?                                         14       A. I don't entirely remember what we used
  15          MS. POLLOCK: Objection. Asked and          15   to talk about, but I do remember that we used to
  16   answered.                                         16   talk.
  17       A. No.                                        17       Q. Did you ever talk to her about Douglas
  18   BY MR. KENNEDY:                                   18   Perlitz?
  19       Q. At some point you left Rue 13 and went     19       A. No.
  20   to the Village, is that correct, sir?             20       Q. Were you at Rue 13 when it moved to
  21       A. Yes.                                       21   Carenage?
  22       Q. What year was that, sir?                   22       A. No.
  23       A. I don't remember which year.               23       Q. And the Village is part of PPT, sir?
  24       Q. How did it come about that you went        24       A. Yes.
  25   from Rue 13 to the Village?                       25       Q. How old were you when you started at

                                               Page 95                                            Page 97
   1      A. It wasn't I who decided this. I was          1   the Village?
   2   transferred there.                                 2       A. I don't remember how old I was.
   3      Q. Who decided that, sir?                       3       Q. And you don't remember what year you
   4      A. The people who were responsible.             4   started at the Village either?
   5      Q. Who was that?                                5       A. No.
   6      A. Well, then, it was Andy and                  6       Q. Do you remember what grade you started
   7   Margarette, Mr. Romere.                            7   at the Village, sir?
   8      Q. Who is Margarette, sir?                      8       A. I remember when I entered there, they
   9      A. A woman that I used to see there             9   placed me in first year.
  10   together with.                                    10       Q. And how many years were you in the
  11      Q. With who?                                   11   Village, sir?
  12      A. I remember seeing her there with            12       A. I was there for many years, but I
  13   Mr. Romere and Andy.                              13   don't calculate.
  14      Q. Was Andy at Rue 13 when you were            14       Q. Are you able to add, sir?
  15   transferred to the Village?                       15       A. In math?
  16      A. Yes.                                        16       Q. Yes, sir.
  17      Q. Is Margarette Margarette Joseph?            17       A. It depends.
  18      A. I don't remember.                           18       Q. Now, were you a student at the Village
  19      Q. Do you know who Margarette Joseph is?       19   until the time it closed, sir?
  20      A. No.                                         20       A. Yes.
  21      Q. You've never heard that name before?        21       Q. So do you know how many years you were
  22      A. I just know Margarette.                     22   at the Village, sir?
  23      Q. Okay. The Margarette that you do            23       A. No.
  24   know, did she work at the Village?                24       Q. Did you ever sleep at the Village,
  25      A. No.                                         25   sir?


                                                                       25 (Pages 94 to 97)
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   1      A. Yes.                                          1   chapel, and then after that it would be
   2      Q. Did you sleep there every night?              2   playtime, and then at noon we would eat, and
   3      A. Not every night.                              3   then after that we would return to play in the
   4      Q. How often did you sleep at the                4   afternoon. And then in the evening we eat and
   5   Village, sir?                                       5   then rest.
   6      A. I would sleep there often, but I don't        6      Q. How many days a week did you go to the
   7   calculate how many times.                           7   Village?
   8      Q. Would you sleep there every week, sir?        8          MS. POLLOCK: On average?
   9      A. I don't remember that. I know I've            9          MR. KENNEDY: On average.
  10   slept there a few times, but I don't remember.     10      A. It would be every day. There was a
  11      Q. Did you have your own bed in the             11   time when I didn't used to go on Sundays, and
  12   Village?                                           12   then there was a time when I would go on
  13      A. No.                                          13   Sundays.
  14      Q. When you were going to the Village,          14   BY MR. KENNEDY:
  15   were you living at home?                           15      Q. Was the Village a good place for you?
  16      A. Yes, I would go there sometimes.             16      A. Yes.
  17      Q. So sometimes you would, but sometimes        17      Q. Why was it a good place?
  18   you would sleep over at the Village?               18      A. Well, because I would go to school
  19      A. Yes.                                         19   there, and they would help me in other
  20      Q. When you did sleep over at the               20   activities as well.
  21   Village, where would you sleep, sir?               21      Q. What classes did you take at the
  22      A. I would sleep sometimes in the first         22   Village?
  23   house, House 1, or I would sleep in the second     23      A. School?
  24   house, House 2.                                    24      Q. Yes, education.
  25      Q. And what would be a reason that you'd        25      A. Yes, I remember there would be math.


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   1   sleep over at the Village instead of going home?    1   As I remember, French, Creole, social science,
   2      A. There are times when it is necessary          2   experimental science.
   3   that I would sleep in.                              3      Q. Can you tell me some of the names of
   4      Q. Why would it sometimes be necessary?          4   your teachers at the Village, sir?
   5      A. There are times when I am changing            5      A. I recall Mr. Daniel, Madame Nelta,
   6   position, then I would need a place to stay, I      6   Mr. Judex, Mr. Edrice, and Mémé.
   7   would sleep in the Village until I can find some    7      Q. What did Mr. Daniel teach?
   8   other alternative way for me to sleep.              8      A. French.
   9      Q. So you would stay at the Village if           9      Q. What did Madame Nelta teach?
  10   you needed somewhere to sleep, is that correct?    10      A. Grammar.
  11      A. Yes.                                         11      Q. And Mr. Judex, what did he teach?
  12      Q. How far was your house from the              12      A. Experimental science.
  13   Village, sir?                                      13      Q. What did Mr. Edrice teach?
  14      A. It was a long distance.                      14      A. Math.
  15      Q. Did you have to take a bus to get            15      Q. Mémé, what did Madame Mémé teach?
  16   there?                                             16      A. Creole.
  17      A. I paid for a public transportation.          17      Q. Do you remember any of the other
  18      Q. Sir, can you tell me what an average         18   students that you went to the Village with,
  19   day at the Village was like for you?               19   their names?
  20      A. What kind of day?                            20      A. Yes.
  21      Q. Just an average day, if you can walk         21      Q. Can you tell me some of the names you
  22   me through what an average day at the Village      22   remember?
  23   was like.                                          23      A. I remember Pedro, Wilny, Jameson.
  24      A. When we get up in the morning we would       24   Let's see who else I remember. I don't remember
  25   eat breakfast, followed by chapel, going to the    25   anyone else.


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   1          THE VIDEOGRAPHER: Can I interrupt for       1   were the whites that you're referring to, sir?
   2   a moment, please? Would you ask the witness,       2      A. That's what I thought. I will
   3   after lunch everybody's voice gets quieter, but    3   continue the question, to answer it. Douglas,
   4   to keep his voice higher to keep it on the         4   Madame Carter, Father Paul.
   5   recording, or louder?                              5      Q. Anybody else?
   6      A. Yes.                                         6      A. There may be, but I don't know all the
   7   BY MR. KENNEDY:                                    7   names.
   8      Q. So, sir, you remember Pedro, Wilny,          8      Q. How do you know that Madame Carter was
   9   and Jameson?                                       9   one of the whites that was in charge?
  10      A. Yes.                                        10      A. I thought that. And also other --
  11      Q. And those are the only three students       11   many of the other kids also thought that, and
  12   you remember as you sit here today?               12   also the way she was received in there.
  13      A. Well, yes, but I would have to reflect      13      Q. How was she received?
  14   a great deal for me to remember any others.       14      A. It's because when she comes there and
  15      Q. And you went to the Village for a           15   then there would be groups, and generally when
  16   number of years, correct?                         16   people come in there would be times of
  17      A. Yes.                                        17   togetherness and play games and relax a bit.
  18      Q. Did you ever receive clothing at the        18   When she comes, she usually is accompanied, or
  19   Village, sir?                                     19   spend time with Douglas and Robinson, and gives
  20      A. Yes, yes, they used to give me.             20   us the impression that she was a very important
  21      Q. What did they give you, sir?                21   person, and she was not there -- she was there
  22      A. In general, or clothing?                    22   for things that were very serious.
  23      Q. Clothing, sir.                              23      Q. Did she ever tell you she was in
  24      A. They would give us things for our           24   charge?
  25   feet, sneakers and sandals. They would give us    25      A. I don't remember her having said that,


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   1   also pens and t-shirts.                            1   but we all always thought in there that she was.
   2       Q. Who would give you these items of           2       Q. When you say we always thought that
   3   clothing, sir?                                     3   she was, who is the "we" that you're referring
   4       A. And there would be many people, many        4   to?
   5   of the people in charge.                           5       A. Other kids that were there, myself,
   6       Q. Who were these people in charge, sir?       6   that's what we always believed.
   7       A. Some of those people who were working       7       Q. Did anybody ever tell you that Madame
   8   inside the Village.                                8   Carter was in charge?
   9       Q. What are their names, sir?                  9       A. I don't remember if anyone had ever
  10       A. Robinson would give us -- would issue      10   said that.
  11   us things, and I remember when it was the pens    11       Q. Did you ever see Doug Perlitz at the
  12   that were being distributed, Arnaud would give    12   Village?
  13   it to us -- well, myself.                         13       A. Yes.
  14       Q. What was Robinson's role at the            14       Q. What was he doing when you saw Doug
  15   Village?                                          15   Perlitz at the Village?
  16       A. Well, I don't really know, but I           16       A. Then I would see him talking when he
  17   believe that he was the person second in charge   17   goes in the office, and I would see him talking
  18   after the whites.                                 18   to Robinson, but I wouldn't know exactly what he
  19       Q. Who was in charge of the Village, to       19   is up to.
  20   the best of your understanding?                   20       Q. Would you see him every day at the
  21       A. Those were in charge in the Village?       21   Village, Doug Perlitz that is? I'm sorry.
  22       Q. Yes. You just indicated that he was        22       A. Often.
  23   second, the second person -- I'm sorry, that      23       Q. How many times did you see Madame
  24   Robinson was the second person in charge after    24   Carter at the Village?
  25   the whites. What I'm trying to understand, who    25       A. I don't remember how many times.


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   1      Q. Was it more than one?                        1       Q. Yes.
   2      A. Yes, more, but I don't remember the          2       A. In the Village I remember Timothy, and
   3   number of times.                                   3   I remember Brittany.
   4      Q. What about Father Paul, Pere Paul, did       4       Q. Do you remember seeing Jessica at the
   5   you ever see Pere Paul at the Village?             5   Village, sir?
   6      A. Yes.                                         6       A. I would see her.
   7      Q. And when you saw Pere Paul at the            7       Q. Do you know if Jessica could speak
   8   Village, what was he doing?                        8   Creole, sir?
   9      A. I don't really remember, but I               9       A. She would try. She would make an
  10   remember most of the time when he is there it's   10   effort, but, you know, she wasn't very stable in
  11   because he's performing Mass.                     11   the Village. It's really in Carenage where she
  12      Q. When you saw Madame Carter at the           12   was.
  13   Village, what was she doing?                      13       Q. What about Nicholas, sir, do you
  14      A. I would see her talking to Robinson,        14   remember seeing Nicholas at the Village?
  15   but I don't know everything.                      15       A. Yes, I've seen him, but him also, he's
  16      Q. Did you ever speak to Madame Carter?        16   stable at Carenage.
  17      A. I don't remember, but it's because she      17       Q. Do you know if Nicholas can speak
  18   didn't speak in Creole.                           18   Creole?
  19      Q. Did Madame Carter ever speak to you?        19       A. I don't know if he knows a lot, but I
  20      A. No, I don't recall.                         20   know that he could say a few words.
  21      Q. Do you remember if Madame Carter ever       21       Q. What about Brittany, sir, do you know
  22   spoke to you through an interpreter?              22   if Brittany could speak Creole?
  23      A. Let me see. Me personally?                  23       A. She would speak sometimes.
  24      Q. Or in a group.                              24       Q. Did you ever talk to Robinson
  25      A. I remember in a group.                      25   privately?

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   1       Q. Okay. Who was the interpreter?              1       A. I don't remember if I ever speak to
   2       A. I don't remember really, but I              2   him in private.
   3   remember Douglas and Robinson were there that      3       Q. Did you trust Robinson?
   4   day.                                               4       A. Yes.
   5       Q. And do you remember what Madame Carter      5       Q. If you had a problem, could you have
   6   said through the interpreter?                      6   gone and spoken to Robinson about the problem?
   7       A. No.                                         7       A. Yes.
   8       Q. Do you remember anything Madame Carter      8       Q. Did you ever talk to Robinson about
   9   ever said through an interpreter when you saw      9   Doug Perlitz abusing you?
  10   her at the Village?                               10       A. No, I didn't.
  11       A. I don't remember what she would say.       11       Q. Why not?
  12       Q. Did you ever speak to Pere Paul at the     12       A. I was afraid, and because of the
  13   Village?                                          13   pressure that Douglas was putting on us.
  14       A. No.                                        14       Q. What pressure was Douglas putting on
  15       Q. Did Pere Paul ever speak to you            15   you? You used the term "was putting on us."
  16   individually or in a group through a translator   16       A. He would say that he would kick us out
  17   at the Village?                                   17   of the Village. I didn't want to be kicked out.
  18       A. No. I don't remember if he ever            18       Q. Who is the "us" that would be kicked
  19   talked to me in a group.                          19   out?
  20       Q. Did Madame Carter ever make any            20       A. I didn't want him to kick me out of
  21   promises to you?                                  21   the Village, because he said he would kick me
  22       A. No.                                        22   out if I spoke up.
  23       Q. Do you remember any of the white           23       Q. Do you know if he indicated to any
  24   volunteers working at the Village, sir?           24   other student that he would kick them out?
  25       A. Do I remember their names?                 25       A. I don't know.


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   1      Q. Do you know if he ever threatened             1      A. Because he was part of the project, he
   2   Victor that he would kick Victor out of the         2   was in there. And I don't actually know that
   3   Village if he told on him?                          3   for sure, but it's the way when we communicate,
   4      A. Well, I don't know if he ever said            4   he would say things that makes me think that.
   5   that, but I can imagine if he did.                  5      Q. What would he say that would make you
   6      Q. How can you imagine that, sir?                6   think that?
   7      A. Because he's a gay, he did that to me,        7      A. Not exactly what he would say, it's
   8   and I figure if he did that to me then he can do    8   when we would speak.
   9   that to anyone else.                                9      Q. When you would speak, he did something
  10      Q. Do you know if he did do that to             10   that led you to believe he was abused?
  11   anyone else, sir, if he abused any other person?   11      A. It's the way that we spoke.
  12      A. Well, I don't know, I don't think            12      Q. Can you explain that to me, sir?
  13   that. These relationships, they were private       13          (Interruption.)
  14   for each person.                                   14          THE VIDEOGRAPHER: Going off the
  15      Q. Do you know of any other student that        15   record. The time is 2:53.
  16   claims they were abused by Douglas Perlitz?        16          (Pause.)
  17      A. I don't entirely remember the names of       17          THE VIDEOGRAPHER: Back on the record.
  18   the students.                                      18   The time is 2:56.
  19      Q. Sir, I'm looking at Interrogatory            19   BY MR. KENNEDY:
  20   Number 23 from Exhibit 2, and I'm reading from     20      Q. Sir, what words specifically did your
  21   the English translation obviously.                 21   brother Victor use that led you to believe that
  22          MS. POLLOCK: Did you say 23?                22   Douglas sexually abused him?
  23          MR. KENNEDY: Yes.                           23      A. I don't remember the words exactly.
  24   BY MR. KENNEDY:                                    24      Q. Do you remember anything about the
  25      Q. Sir, the question in English states          25   conversation that led you to believe your


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   1   "Identify all persons who you believe were          1   brother was sexually abused by Douglas Perlitz?
   2   sexually abused by Perlitz from 1988 to 2008,       2      A. I don't remember everything we
   3   and for each person so identified state the         3   discussed because we spoke on multiple
   4   basis for your belief." According to the            4   occasions.
   5   English translation of your answer to Number 23,    5      Q. Okay. You don't remember, but do you
   6   the first name it states is Peterson Gedeus,        6   remember something that you discussed?
   7   G-E-D-E-U-S.                                        7      A. I don't remember everything, because
   8           Who is Peterson Gedeus?                     8   we talked for a long time.
   9       A. One of the kids, a kid that was in the       9      Q. Okay. What did you talk about?
  10   Village.                                           10      A. The conversation was between us, we
  11       Q. Do you believe that he was sexually         11   could be chatting, and --
  12   abused by Douglas Perlitz?                         12      Q. But I need to know about the
  13       A. Well, I imagine that, because they          13   conversation, sir. What did you talk about?
  14   have complained about it, but I don't know if      14      A. We could be chatting about the
  15   it's true.                                         15   project, and something he would say, something
  16       Q. It also indicates here Victor               16   would come out of his mouth, and I would imagine
  17   D-E-R-I-Z-A-R-D. Is that your brother, sir?        17   or guess something he might want to say, but I
  18       A. Victor what?                                18   don't know.
  19       Q. It says D-E-R-I-Z-A-R-D, last name.         19      Q. Did you ask him any questions about
  20       A. Yes.                                        20   whether he had been abused by Douglas Perlitz or
  21       Q. That's your brother, correct?               21   Douglas had ever acted inappropriately with him?
  22       A. Yes.                                        22      A. I don't remember that happening.
  23       Q. What's your basis for your belief that      23      Q. Do you remember anything about the
  24   your brother was sexually abused by Douglas        24   conversations you had with your brother that led
  25   Perlitz?                                           25   you to believe he might have been sexually


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   1   abused by Douglas Perlitz?                          1   when he told me -- he warned me not to go to
   2       A. No, I don't recall.                          2   Bel Air.
   3       Q. So you don't have any personal               3      Q. Besides him warning you not to go to
   4   knowledge that your brother was sexually abused     4   Bel Air, do you remember any other part of the
   5   by Douglas Perlitz, correct?                        5   conversation you had with Peter Gedeus --
   6       A. Please restate the question.                 6   Peterson Gedeus? I'm sorry.
   7       Q. You don't have any personal knowledge,       7      A. I don't remember that we ever spoke on
   8   sir, that your brother was sexually abused by       8   that subject again.
   9   Douglas Perlitz, correct?                           9      Q. Did you ask him at that time why you
  10       A. Well, I imagine that because he was         10   should not go to Bel Air?
  11   inside, too, just like all the other kids, and I   11      A. I don't remember, but he didn't speak
  12   myself and other kids who had been suffered --     12   on the reason. He didn't want to give me a
  13   victimized by this incident, and as he was a       13   reason.
  14   child and we were all adolescents and not being    14      Q. Did you ask him for a reason?
  15   able to make decisions on, and as we were          15      A. Well, I don't really remember asking
  16   subjected to that, I imagine he, too, must have    16   him, but he didn't give me -- offer it. He
  17   been.                                              17   didn't want to give me a reason.
  18       Q. Was that because he went to the             18      Q. Did you have conversation with
  19   Village, sir?                                      19   Peterson Gedeus before you claim that Douglas
  20       A. Yes, he was in the project.                 20   Perlitz sexually abused you?
  21       Q. But he never told you he was sexually       21      A. No.
  22   abused by Douglas Perlitz, correct?                22      Q. This conversation was after you had
  23       A. Well, I never asked him that because I      23   been sexually abused?
  24   figure he probably wants to keep that to           24      A. The conversation when he told me that?
  25   himself, that he wouldn't want to tell me the      25      Q. Yes, sir.

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   1   truth.                                              1       A. No, before that.
   2      Q. What's the basis of your belief that          2       Q. It was before you had been abused?
   3   Peterson Gedeus was sexually abused by Douglas      3       A. Yes.
   4   Perlitz?                                            4       Q. And who was present besides you and
   5      A. Well, it's based on what they had             5   Peterson Gedeus, if anyone, when you guys had
   6   said.                                               6   this conversation?
   7      Q. Did they say this to you, sir?                7       A. I don't recall anyone else being
   8      A. No, not clearly, but some of the              8   there, but it was the two of us. When we were
   9   things they would say, if I reflect on it, and I    9   chatting, he told me that.
  10   would say based on certain things that a person    10       Q. Did Peterson ever tell you that he was
  11   said, and I can conclude or imagine that -- what   11   sexually abused by Douglas Peterson -- by
  12   the person might be saying.                        12   Douglas Perlitz?
  13      Q. Specifically, sir, what words did            13       A. No, he didn't tell me that.
  14   Peterson Gedeus use that made you reflect that,    14       Q. It also indicates here, sir, in answer
  15   or conclude or imagine that he may have been       15   to Interrogatory Number 23 the name Fredlin,
  16   abused by Douglas Perlitz?                         16   F-R-E-D-L-I-N, Fils-Aime, spelled F-I-L-S -
  17      A. Well, okay, we used to speak often           17   A-I-M-E. Do you know Fredlin Fils-Aime, sir?
  18   when we were at the Village, and I recall that     18       A. Yes.
  19   during those conversations he might have said      19       Q. What's the basis of your belief that
  20   something that I paid no thought to and didn't     20   Fredlin Fils-Aime was sexually abused by Douglas
  21   think it was important. But after the incident,    21   Perlitz?
  22   then I would start connecting the dots and         22       A. Well, it's the same way. I would say
  23   conclude that that was some meaning -- there was   23   I use my imagination, so of all of us who were
  24   meaning to some of the things that were said       24   in there, as I have said, the same way that it
  25   before. And I remember in particular a time        25   happened to me in there, it could happen to them


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   1    also.                                              1      A. It's when the school was closing down,
   2        Q. Did you ever have any conversation          2   that's when I heard those things.
   3    with Fredlin Fils-Aime which led you to believe    3      Q. Who did you hear those things from?
   4    that he had been sexually abused by Douglas        4      A. Well, I remember hearing those things
   5    Perlitz?                                           5   because the word had spread throughout the
   6        A. It could happen that we did speak, but      6   Village, even those who had had no prior
   7    as I have said, I believe that it could have       7   knowledge of it had come to hear those things,
   8    happened to any of the other kids in there.        8   and the word had spread actually throughout
   9        Q. Do you remember anything about any of       9   Cap-Haïtien.
  10    the conversations with Fredlin Fils-Aime which    10      Q. Had you heard those rumors while the
  11    could have led you to believe that he had been    11   Village was still open, sir?
  12    abused?                                           12      A. It was almost to the end of its
  13        A. No.                                        13   closing.
  14        Q. You just concluded this -- is it fair      14      Q. Was Douglas still in Haiti, sir, at
  15    to say you just concluded this because Fredlin    15   the time you heard these rumors?
  16    was part of the project?                          16      A. I don't entirely recall. It might
  17        A. Yes. I believe that for any of the         17   have been at the time when he was leaving, when
  18    kids who were in there.                           18   he was trying to escape to leave.
  19        Q. Do you believe every kid that was in       19      Q. You used the phrase "the word had
  20    the project was abused by Douglas Perlitz?        20   spread throughout the Village." Did somebody
  21        A. I don't know that fundamentally, but I     21   actually tell you about the allegations against
  22    can imagine that all of us were in the project.   22   Mr. Perlitz?
  23        Q. Fredlin never told you he was abused       23      A. I didn't -- no one told me
  24    by Douglas Perlitz, correct?                      24   specifically that those things had happened, but
  25        A. No, I don't recall it.                     25   through the rumors, through the grapevine I


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   1       Q. Okay. What about Robens, R-O-B-E-N-S,        1   would hear it.
   2   did he ever tell you he was sexually abused by      2        Q. And what did you hear through the
   3   Douglas Perlitz?                                    3   grapevine?
   4       A. As I have stated before, I used my           4       A. They were talking about the abuse that
   5   imagination, we were all in there, we lived         5   Douglas had caused to the kids that were in the
   6   together as brothers, and when that happened to     6   project.
   7   me I come to believe that all of them were          7        Q. And a lot of the kids were talking
   8   susceptible, all of them this could have            8   about this?
   9   happened to. I believe this for any other of        9        A. It wasn't just the kids. It was
  10   the kids that were in there.                       10   other -- many other people who were not -- in
  11       Q. Did any other PPT -- strike that.           11   the Village who were not part of the project who
  12          Did any other student at the Village        12   were talking about it.
  13   ever tell you that they were abused by Douglas     13        Q. Who were these other people who were
  14   Perlitz?                                           14   not part of the project that were talking about
  15       A. I don't recall.                             15   it, sir?
  16       Q. Did any other student at Rue 13 ever        16       A. Anyone in the street who had heard of
  17   tell you they were abused by Douglas Perlitz?      17   that. I don't know who they are.
  18       A. I don't remember.                           18        Q. So it was common knowledge around
  19       Q. While you were a student at the             19   Cap-Haïtien?
  20   Village, did you ever hear rumors that Douglas     20        A. Yes, a lot of people knew that.
  21   Perlitz was abusing students?                      21       Q. Did you ever hear Cyrus Sibert's radio
  22       A. During what time?                           22   show, sir?
  23       Q. Before you were abused, sir.                23        A. At what moment?
  24       A. No.                                         24       Q. That's a good point.
  25       Q. What about after, sir?                      25            Did you ever hear Cyrus talking on the


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   1   radio about the allegations against Mr. Perlitz?    1   meet an individual named Sylvester Tan?
   2      A. No, because I was not listening to his        2       A. Yes.
   3   radio program.                                      3       Q. Who is Sylvester Tan?
   4      Q. Do you know a white individual named          4       A. I remember seeing him at the Village.
   5   Brian who came to visit the Village?                5   I remember he said that he was a priest.
   6      A. Yes.                                          6       Q. Did you ever talk to Sylvester Tan?
   7      Q. Who was Brian?                                7       A. One-on-one, or in a group?
   8      A. I don't know who he is. I just -- I           8       Q. Either.
   9   saw him at that time when he came to the            9       A. Yes, we talked.
  10   Village.                                           10       Q. Was this one-on-one?
  11         MR. KENNEDY: Go off the record for a         11       A. Yes.
  12   second.                                            12       Q. And when you spoke to Sylvester
  13         THE VIDEOGRAPHER: Going off the              13   one-on-one, what did you talk about?
  14   record. The time is 3:20.                          14       A. I don't really remember, but we would
  15         (Whereupon, a recess was taken.)             15   speak on religious subjects.
  16         THE VIDEOGRAPHER: Back on the record.        16       Q. Did you ever speak to Sylvester about
  17   The time is 3:41.                                  17   Douglas Perlitz?
  18   BY MR. KENNEDY:                                    18       A. No.
  19      Q. Sir, just going back to something for        19       Q. Did Sylvester Tan ever speak to you
  20   a moment. When Madame Carter came to the           20   about Douglas Perlitz?
  21   Village and she spoke through a translator, was    21       A. No.
  22   she speaking to a large group of students?         22       Q. Did Sylvester Tan offer you or any
  23      A. Yes.                                         23   other boy any advice about Douglas Perlitz?
  24      Q. She wasn't speaking directly to you,         24       A. For myself, no. I don't know about
  25   correct?                                           25   other kids.

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   1      A. No.                                           1      Q. So Sylvester Tan never indicated for
   2      Q. And where was this? When she spoke,           2   you to stay away from Douglas Perlitz or
   3   where was it at the Village?                        3   anything like that, or to be careful around him?
   4      A. In the kitchen where we used to eat.          4      A. No.
   5      Q. Did you ever hear her speak in the            5      Q. Did you ever go on a hike with
   6   chapel?                                             6   Sylvester Tan?
   7      A. I don't recall.                               7      A. We went out one day, once.
   8      Q. Sir, also right before the break I            8      Q. And when you went out, did you go for
   9   asked you about a white man named Brian. When       9   a walk, or what's known as a hike?
  10   you saw Brian at the Village, what was he doing?   10      A. Yes, we walked together.
  11      A. He wasn't stable at the Village.             11      Q. Okay. And where did you walk to?
  12      Q. When you say "he wasn't stable," do          12      A. We went to a location where the
  13   you mean that he wouldn't stay very long in the    13   Catholics go to pray.
  14   Village?                                           14      Q. Was this a cross, sir?
  15      A. No.                                          15      A. Yes.
  16      Q. Did he ever speak to the students            16      Q. And who else went on the hike with
  17   through an interpreter?                            17   you, or the walk?
  18      A. I don't remember.                            18      A. There were other kids with us, I don't
  19      Q. Do you know whether a white man named        19   remember, but it was many of us.
  20   Michael ever came down right about the time that   20      Q. And did Sylvester Tan talk to the
  21   the Village was closing, sir?                      21   group when you got to the cross?
  22      A. What was his name?                           22      A. Yes, he spoke to us on religious
  23      Q. First name is Michael.                       23   topics, because as you know it is a place for
  24      A. I don't remember.                            24   praying, and he is a priest.
  25      Q. While you were at the Village, did you       25      Q. But he didn't talk about Douglas


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   1   Perlitz when you got to the cross?                  1       A. No, Andy had already left.
   2      A. No.                                           2       Q. So it was in-between Andy leaving and
   3      Q. While Sylvester Tan was at the                3   Jessica arriving?
   4   Village, did you ever speak to him about Douglas    4       A. Excuse me?
   5   Perlitz?                                            5       Q. When Douglas abused you, it was
   6          THE INTERPRETER: I'm sorry, can you          6   between the time that Andy had already left and
   7   ask the question again?                             7   Jessica had yet to arrive?
   8          MR. KENNEDY: Sure.                           8       A. Jessica was going to arrive, or she
   9      Q. While Sylvester Tan was at the                9   had already arrived.
  10   Village, did you ever speak to him about Douglas   10       Q. I think you testified before that at
  11   Perlitz?                                           11   the time you claim Douglas Perlitz abused you,
  12      A. No.                                          12   Jessica had not arrived yet in Haiti, correct?
  13      Q. Have you ever been to a house called         13       A. Yes.
  14   Bel Air?                                           14       Q. Do you remember what grade you were in
  15      A. I stopped by there twice.                    15   at the time Douglas abused you?
  16      Q. When was the first time, sir?                16       A. I don't remember all that because this
  17      A. The first time was when Douglas abused       17   is something that had happened a while ago.
  18   me up there, and the second time was when I was    18       Q. Sir, tell me in your own words every
  19   going to the cross with Sylvester.                 19   detail you remember about the time that Douglas
  20      Q. Sir, you claim that Douglas Perlitz          20   Perlitz hurt you.
  21   hurt you, correct?                                 21       A. I remember I had gone to Bel Air and
  22      A. Yes.                                         22   to pick up something from him, and I remember he
  23      Q. How many times do you claim that             23   forced me to do something, and I didn't agree, I
  24   Douglas Perlitz hurt you?                          24   didn't accept, and then he forced himself onto
  25      A. Once.                                        25   me, penetrating me through the rear with his


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   1      Q. What year was that, sir?                      1   penis.
   2      A. I don't remember the year exactly.            2       Q. Anything else, sir?
   3      Q. Was -- who was the white person that          3       A. I don't recall all the facts.
   4   was working at the Village at the time, besides     4       Q. Why had you gone to Bel Air, sir?
   5   Douglas, at the time Douglas hurt you?              5       A. I went to get money to buy clothes.
   6      A. I don't remember.                             6   He had told me to go there, to go to Bel Air to
   7      Q. What is Bel Air, sir?                         7   get it.
   8      A. That's, as to my understanding, that's        8       Q. Who had told you to go to Bel Air to
   9   where Douglas lived.                                9   get money for clothes?
  10      Q. Did anybody else live with Douglas at        10       A. Douglas.
  11   the time that you claim he abused you?             11       Q. When had Douglas told you to go to
  12      A. I don't remember, but I don't know if        12   Bel Air to get money for clothes?
  13   there were any other persons there.                13       A. When I asked -- when I had asked him
  14      Q. Was Jessica Lozier in Haiti at the           14   that in the Village.
  15   time you claim that Douglas Perlitz abused you?    15       Q. Was that on the same day that you went
  16      A. No, not yet.                                 16   to Bel Air, or was that on a prior date?
  17      Q. Was Nicholas Preneta -- was Nicholas         17       A. I remember asking him, but I don't
  18   in Haiti at the time you claim that Douglas        18   remember if it was the same day. It might have
  19   abused you?                                        19   been after that that I had gone because I needed
  20      A. No.                                          20   it to buy clothes.
  21      Q. He hadn't arrived yet?                       21       Q. Had you ever spoken to Douglas before
  22      A. I don't remember. I don't believe he         22   you asked him for money for clothes?
  23   had yet arrived.                                   23       A. Speak to him regarding what?
  24      Q. What about Andy, was Andy in Haiti at        24       Q. Anything.
  25   the time you claim Douglas abused you?             25       A. It may have occurred, a time that I


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   1   might have spoken to him because if I need          1       A. Money regarding what?
   2   something, I can ask him or I can ask Robinson      2       Q. Anything, sir.
   3   or one of the teachers.                             3       A. Well, they had given us money for
   4       Q. Had you asked Douglas Perlitz for            4   certain activities that we had participated in
   5   something before the day you claim he abused        5   inside.
   6   you?                                                6       Q. So is it fair to say Douglas had given
   7       A. I just needed money to buy clothes.          7   you money before that day?
   8       Q. I know on that date, sir. But you had        8       A. Yes, but not for that specifically.
   9   indicated before I might have spoken to him --      9   It was for work that we performed to encourage
  10   strike that. I'm sorry.                            10   us.
  11          You indicated, sir, "it may have            11       Q. How was it that you got from the
  12   occurred a time that I might have spoken to him    12   Village -- strike that. I'm sorry.
  13   because I needed something." All I'm trying to     13          When you asked Douglas for the money
  14   understand, sir, is, before asking him for the     14   at the Village, was anyone else present?
  15   money for the clothes, had you ever asked          15       A. I don't remember where I was when I
  16   Douglas for anything else?                         16   asked him for it.
  17       A. Well, yes, we might have spoken when I      17       Q. Fair to say at some point you go to
  18   run into him, when I see him I might have          18   Bel Air?
  19   greeted him because I know that he is the person   19       A. Yes, I remember going to Bel Air to
  20   in charge of us of the program.                    20   get the money from him.
  21       Q. Had you ever spoken to him privately        21       Q. And how did you get to Bel Air?
  22   before this day that you claim he abused you?      22       A. I don't recall exactly, but I do know
  23       A. I don't recall having spoken to him.        23   that, as I recall, to get to Bel Air you have to
  24       Q. But you do recall that one day you          24   take a bus to get into town, and then from there
  25   were at the Village and you asked him for money    25   you have to make the rest of the route on foot.

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   1   to buy clothes, is that correct?                    1       Q. Did you go by yourself, sir?
   2       A. Yes. I had told him that I needed            2       A. Yes.
   3   clothes, and I asked him if he could give me        3       Q. What time do you arrive at Bel Air?
   4   some money to buy a few clothing, and because he    4       A. I didn't have a watch. I didn't know
   5   is the one that generally help us with clothing.    5   what time.
   6       Q. Had he ever bought you clothing before       6       Q. Was it light outside, sir?
   7   that day?                                           7       A. Yes.
   8       A. Has he ever bought them?                     8       Q. Okay. So it wasn't at nighttime,
   9       Q. Had he ever bought you clothing before       9   correct?
  10   that day?                                          10       A. Yes -- no.
  11       A. Well, I would ask -- at other times I       11       Q. Do you remember what day of the week
  12   would ask when I need clothing, I would ask        12   that you went to Bel Air, sir?
  13   anyone in there for clothing. There was            13       A. I don't remember all that.
  14   Robinson. I would ask whoever is the most          14       Q. Was it a school day, or was it a
  15   stable person there at that time.                  15   weekend?
  16       Q. My question, though, is pretty              16       A. I don't remember if it was a weekend.
  17   specific, sir. All I'm asking is whether before    17   I remember we were preparing to go for the
  18   the day that you asked Douglas Perlitz for money   18   vacation period that was about to be. I don't
  19   to buy clothes, had he ever bought you clothes     19   remember which vacation period it was.
  20   before?                                            20       Q. So you get to Bel Air, and it's light
  21       A. I don't remember if I had asked him         21   outside, correct?
  22   before.                                            22       A. Yes.
  23       Q. Before that day that you claim Douglas      23       Q. Was there -- how did you get access to
  24   Perlitz abused you, had Douglas Perlitz ever       24   the house? Did you have to -- was there a
  25   given you money before?                            25   gatekeeper?


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   1       A. No. I don't remember. I don't recall         1      Q. Do you remember any details of the
   2   seeing anyone at the gate.                          2   conversation?
   3       Q. How did you know which house it was?         3      A. No.
   4       A. Because when I am in a car and going         4      Q. Do you remember what Douglas said to
   5   into the Village or leaving the Village going       5   you after you said that you were there to pick
   6   back, and we go past the house, and sometimes       6   up the money?
   7   there's someone who would stop at the outside to    7      A. I don't remember all the details. I
   8   go pick up something there, and so I knew the       8   remember him bringing me to his room, but I
   9   house from that. And then also there would be       9   don't remember all the details of what had
  10   times when the kids in there would point at the    10   happened before.
  11   house.                                             11      Q. Where is his room?
  12       Q. When you got to Bel Air, did you knock      12      A. I don't really know. I know that he
  13   on the door?                                       13   took me in a room that was downstairs, I'm not
  14       A. What door? The gate, or the entrance        14   familiar with it, but I just imagined that was
  15   door --                                            15   his room.
  16       Q. Either.                                     16      Q. Do you remember him saying anything to
  17       A. -- to the house?                            17   you before he took you to the room?
  18       Q. Either.                                     18      A. I don't recall.
  19       A. There was no need. The gate was half        19      Q. Do you remember what Douglas was
  20   open, and as I saw it, all I had to do was push    20   wearing when you entered the house?
  21   it a bit to enter.                                 21      A. No.
  22       Q. And then when you got to the front          22      Q. Do you know what you were wearing on
  23   door, what did you do?                             23   that day when you entered the house?
  24       A. I could see Douglas's image from            24      A. I don't remember what I was wearing.
  25   there, and he saw me and signaled me to enter.     25      Q. How soon after you entered the house


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   1        Q. You saw Douglas's image in the house        1   did Douglas take you to this room?
   2    when you got to the front door?                    2       A. I could guess, but not much time had
   3        A. I saw him. I saw him inside.                3   passed, elapsed.
   4        Q. And he signalled for you to open the        4       Q. Did you have to walk downstairs to get
   5    door?                                              5   to the room?
   6        A. For me to enter. I don't remember if        6       A. I remember going to the room, but I
   7    he told me to open the door, but he signaled me    7   don't remember much else of what had happened.
   8    to enter, and I entered.                           8   Since the time after he abused me, I don't
   9        Q. And was this in the main entrance of        9   remember much else of what had happened.
  10    the house, sir?                                   10       Q. Sir, are you telling me that you have
  11        A. Yes.                                       11   trouble remembering the abuse itself?
  12       Q. When you first walk into the door at        12          MS. POLLOCK: Objection.
  13    Bel Air, what room do you walk into?              13   Mischaracterizes the witness's testimony. He
  14        A. I don't recall all the rooms in the        14   can answer, I just had to make my objection.
  15    house, but I remember that on the top floor up    15       A. Can you ask the question again,
  16    there is a living room.                           16   please?
  17        Q. When you walk into the house, do you       17   BY MR. KENNEDY:
  18    speak to Douglas?                                 18       Q. Sure. I'm just trying to understand,
  19        A. Yes. I greeted him.                        19   sir, you indicate "since the time after he
  20        Q. And what did you say?                      20   abused me, I don't remember what else of what
  21        A. I greeted him, and as I -- since I         21   had happened." I'm just trying to understand,
  22    know precisely why I came, I just told him I      22   are you telling me that you have trouble
  23    came to pick up -- pick it up, and we talked,     23   remembering the abuse itself?
  24    and I don't remember every detail of the          24       A. I can't remember everything that had
  25    conversation.                                     25   happened. In general, I remember some things.


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   1       Q. When you get into the room, what              1       A. Well, as you know, that was a while
   2   happens next?                                        2   back. I don't really have too much memory of
   3          THE INTERPRETER: Sorry, I don't               3   the details, and also the incidents. It was a
   4   understand what he said.                             4   pain, it caused me pain, so I didn't pay
   5       A. I don't remember. What I remember is          5   attention really to what was in the room.
   6   that once we entered there and he started            6       Q. Can you describe for me anything that
   7   talking to me about sexual relationships between     7   was in the room, any piece of furniture or
   8   men and men, and I didn't agree with what he was     8   anything?
   9   saying, and then he went and got a magazine or       9       A. I don't remember everything that was
  10   newspaper that had images of men and men, and I     10   in the room. I remember there was a bed, but I
  11   told -- he started talking to me about gay sex,     11   don't remember everything -- anything else that
  12   and I didn't like -- agree with what he was         12   was in the room.
  13   saying, and then he started to pressure me. And     13       Q. Was there a light on in the room when
  14   I didn't want to, and he forced me. And then he     14   you went into the room, sir?
  15   proceeded on inserting his penis.                   15       A. I don't remember everything that was
  16       Q. And that's the end?                          16   in the room.
  17          Sir, when you arrived at Bel Air,            17       Q. After you and Douglas had this
  18   besides Douglas Perlitz, was anybody else home?     18   conversation about sexual relationships between
  19   Was anybody else at the house, I should say.        19   men, what happened after that?
  20       A. I don't know if there was anyone in          20       A. Well, what happens next is that, as I
  21   there.                                              21   recall, he started pressuring me, and then, of
  22       Q. Did you hear anybody else in the             22   course, I didn't agree, and then that's when he
  23   house?                                              23   took his penis and inserted it in my rear end.
  24       A. I didn't hear anyone speaking, but I         24          (Interpreters talking.)
  25   don't know if there was anyone.                     25       A. He leaned me onto the bed and inserted

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   1        Q. You didn't see anybody at the house          1   his penis into my rear end.
   2    besides Douglas?                                    2      Q. How did he pressure you, sir?
   3        A. No.                                          3      A. Well, he pressured me, he was
   4        Q. You indicated here that he started to        4   pressuring me to do that, and if I won't do that
   5    talk to you about sexual relationships between      5   he will kick me out of the Village, and so that
   6    men. What exactly did he say to you?                6   scared me.
   7        A. I don't remember everything, but I           7      Q. Did he say that to you before he
   8    remember that it was only on that topic he          8   abused you, sir?
   9    insisted on talking.                                9      A. Yes, both before and after.
  10        Q. Did you say anything to him?                10      Q. Do you remember him saying anything
  11        A. I didn't say anything. I remember           11   else to you before he abused you, sir, in that
  12    telling him that those types of relationships      12   room?
  13    are not good, because through the bible these      13      A. I don't remember.
  14    relationships are not good. As a child I           14      Q. And at this time that you're having --
  15    learned those things.                              15   that Douglas is talking to you about sexual
  16        Q. That's what you told him at that time?      16   relationships between men, is he touching you in
  17        A. Yes, I remember saying to him that          17   any way?
  18    it's not good.                                     18      A. I don't remember everything that had
  19        Q. And what was his response?                  19   happened. I remember him talking about those
  20        A. I don't remember, but I remember that       20   things.
  21    he just didn't really pay much attention to what   21      Q. At some point does he begin to touch
  22    I was saying. He was just eager to just do what    22   you?
  23    he wanted to do.                                   23      A. I remember he did that when he abused
  24        Q. Can you describe for me the room where      24   me.
  25    you claim Douglas abused you, sir?                 25      Q. What did he do specifically?


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   1      A. He took his penis and inserted it into        1   remember what type of pants I was wearing, so I
   2   my rear end.                                        2   don't remember how it had come off -- taken off.
   3      Q. When you were -- you said -- I believe        3          MR. KENNEDY: Is that the end?
   4   you indicated before that Douglas showed you a      4          THE INTERPRETER: Yes.
   5   magazine, or a newspaper?                           5      Q. Did you take your pants off, or did
   6          THE INTERPRETER: Could you excuse me,        6   Douglas Perlitz take your pants off?
   7   please?                                             7      A. I don't remember if I was the one who
   8          MR. KENNEDY: Sure.                           8   take it off.
   9          (Interpreters talking.)                      9      Q. Did he ask you to take your pants off?
  10      A. Yes.                                         10      A. I don't recall entirely how those
  11      Q. Where were you -- did Douglas show you       11   things had happened.
  12   this newspaper or magazine?                        12      Q. Did you ever see Douglas Perlitz take
  13          MS. POLLOCK: Objection. Compound,           13   his pants off, sir?
  14   vague.                                             14      A. I can guess that, I mean he must have,
  15          THE INTERPRETER: For the record, the        15   because he was abusing me at that moment.
  16   word is magazine, sir.                             16      Q. I believe you also indicated he leaned
  17          MR. KENNEDY: And that's what I              17   you over something, is that correct?
  18   assumed, but you had indicated before the          18      A. Yes, on the bed, as I remember.
  19   word --                                            19      Q. He leaned you over the bed, sir?
  20          THE INTERPRETER: Yes, because it's          20      A. Yes.
  21   both ways, and I didn't know which one he meant.   21      Q. Were your pants off at this time, sir?
  22          MR. KENNEDY: Okay. Thank you. That          22      A. I can't remember the pants, where they
  23   might take care of my compound issue.              23   were.
  24   BY MR. KENNEDY:                                    24      Q. Well, if he's leaning you over the
  25      Q. At some point, sir, you said Douglas         25   bed, sir, did you say anything to him?


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   1    showed you a magazine?                             1      A. Well, I had to say no. But as he was
   2       A. Yes.                                         2   forcing it, himself, and I don't remember what
   3       Q. Were you standing up or sitting down         3   other reaction that I had.
   4    when he showed you this magazine?                  4      Q. I believe you indicated he put his
   5       A. I don't entirely remember. What I            5   penis in your butt, is that correct?
   6    remember is that I was in the bedroom at the       6      A. Yes.
   7    time.                                              7      Q. When he did that, did you say
   8       Q. Did Douglas have his clothes on at           8   anything, sir?
   9    this time?                                         9      A. I didn't accept, because I said no.
  10       A. I cannot recall this, but I believe         10      Q. Besides saying no, did you cry out or
  11    that he had his clothes on, that he was not       11   anything else?
  12    naked.                                            12      A. Well, at the time when it happened,
  13       Q. Did you have your clothes on at the         13   unfortunately I was not the height or the build
  14    time he was showing you this magazine?            14   that I am now, I was little.
  15       A. Yes, as I recall.                           15      Q. I understand.
  16       Q. At some point did some of your              16          My question, though, was, sir, besides
  17    clothes, did they get taken off?                  17   saying no, did you cry out or say or do anything
  18       A. I don't remember if he had taken --         18   while Mr. Perlitz was abusing you?
  19    what clothing had been taken off. I remember      19      A. I don't remember everything that had
  20    just the pants that were taken off.               20   happened, but it is something that was extremely
  21       Q. Whose pants, sir?                           21   painful.
  22       A. Both of our pants, because it's me          22      Q. And you used the word "little," sir,
  23    that he was going to do that to.                  23   that you were little at the time. Do you know
  24       Q. How did your pants come off, sir?           24   how old you were?
  25       A. I don't entirely remember. I don't          25      A. No.


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   1       Q. Do you know how long the abuse lasted,      1   you, you went to your godfather's house?
   2   sir?                                               2       A. Yes, I remember that's where I went.
   3       A. No, I can't guess how long it lasted.       3       Q. Was anybody home at your godfather's
   4       Q. After the abuse was over, sir --            4   house when you arrived?
   5   strike that. I'm sorry.                            5       A. I don't remember if anyone was home,
   6          Besides your pants, did any other           6   but I don't remember if at that time my
   7   clothing come off during the abuse, sir?           7   godfather was there.
   8       A. I don't recall any other clothing that      8       Q. At that time who regularly lived in
   9   had come off.                                      9   the house?
  10       Q. Did you ever see Mr. Perlitz when he       10       A. Well, myself, I was in the house, and
  11   had his pants off, sir?                           11   his daughter was also in the house, but she went
  12       A. Before the abuse, or after?                12   -- she had gone to work.
  13       Q. Either time, sir.                          13       Q. After Douglas abused you, did you tell
  14       A. I don't remember seeing him without        14   anybody what he had done?
  15   his pants on.                                     15       A. No. I was afraid. I didn't want to
  16       Q. And after the abuse is over, does          16   say anything to anyone, just as he had said. So
  17   Douglas Perlitz say anything to you, sir?         17   that if he should find out, I didn't want to say
  18       A. I remember after it was over, he told      18   anything to anyone, if he had to find out for
  19   me that if I say anything to any of the other     19   him to kick me out.
  20   kids or to anyone else, that I would suffer the   20       Q. After Douglas abused you, did you ever
  21   same consequences and I would be kicked out. I    21   tell any other PPT student what he had done?
  22   remember he gave me the money, and I left.        22           MS. POLLOCK: Do you mean at any time?
  23       Q. And this was the money that you had        23   I'm trying to get -- it's vague as to timing.
  24   asked for for the clothing that you had gone to   24   BY MR. KENNEDY:
  25   the house for?                                    25       Q. While you were at the Village.


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   1        A. Yes.                                       1       A. Can you ask the question again?
   2        Q. When you left the house, was it still      2       Q. After Douglas abused you, did you ever
   3    light outside?                                    3   tell any other PPT student what he had done
   4        A. I don't remember that it was entirely      4   while you were at the Village?
   5    -- it was yet dark.                               5       A. No.
   6        Q. And after you left the house, what did     6       Q. Did you ever speak to the Haitian
   7    you do?                                           7   National Police about what Douglas did to you?
   8        A. I remember going home.                     8       A. No.
   9        Q. And who were you living with at the        9       Q. Did you continue as a student at the
  10    time, sir?                                       10   Village after Douglas abused you?
  11        A. At the time when he did that to me?       11       A. Yes.
  12        Q. Yes, sir.                                 12       Q. Did you ever tell Robinson what
  13        A. I remember I was living on the other      13   Douglas did to you?
  14    side with my godmother.                          14       A. No.
  15        Q. And who was living in that house with     15       Q. Did you ever tell Victor what Douglas
  16    your godmother at that time?                     16   did to you?
  17        A. Not with my godmother, my godfather.      17       A. No.
  18        Q. I'm sorry, your godfather.                18       Q. Did you ever tell Margarette Joseph
  19        A. The house belonged to him, but my         19   what Douglas did to you?
  20    godfather was not in the house, sometimes he     20       A. No.
  21    would just pass by.                              21       Q. Did you ever talk to Douglas after the
  22        Q. But you were living in your               22   day this happened?
  23    godfather's house, correct?                      23       A. I don't remember if I had ever spoken
  24        A. Yes, the house belonged to him.           24   to him again because I didn't want after that to
  25        Q. So you went -- after Douglas abused       25   ever be around him.


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   1       Q. Did you suffer any injury as a result        1   the second time?
   2   of what Douglas did to you?                         2       A. Because I had -- we went to pick up
   3          MS. POLLOCK: Objection. Vague.               3   Sylvester to go to the cross.
   4          MR. KENNEDY: Fair.                           4       Q. Okay. Sir, what was your
   5   BY MR. KENNEDY:                                     5   understanding of Madame Carter's role at the
   6       Q. Did you ever suffer any physical             6   Village?
   7   injury as a result of what Douglas did to you?      7       A. She was the one in charge, himself and
   8       A. You mean as a bruise?                        8   Douglas.
   9       Q. Was any part of your body injured as a       9         THE INTERPRETER: Correction.
  10   result of what Douglas did to you?                 10       A. Herself and Douglas.
  11       A. I would say mentally I am injured           11         (Interpreters talking.)
  12   because it hurts me a lot each time I think        12         THE INTERPRETER: Ask the question
  13   about the incident.                                13   again, please.
  14       Q. Let me go back for one minute, sir.         14         MR. KENNEDY: Do you want me to re-ask
  15          At the time -- on the day that Douglas      15   it?
  16   abused you, do you know if there was anybody in    16         THE INTERPRETER: Re-ask the question.
  17   the yard at Bel Air?                               17       Q. Sir, what was your understanding of
  18       A. I don't remember entirely. When I was       18   Madame Carter's role at the Village?
  19   leaving, there might have been someone by the      19       A. She and Douglas were in charge,
  20   faucet that is outside, there might have been      20   because as I understand it she was the boss in
  21   someone there, but I don't entirely recall who,    21   the Village.
  22   if anyone was there who was there.                 22       Q. And I believe you testified earlier it
  23       Q. Do you know an individual named Boss        23   was your understanding she was the boss from
  24   Mo?                                                24   what other children said at the Village?
  25       A. Yes, he drives the car sometimes for        25         MS. POLLOCK: Objection.


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   1   the Village.                                        1   Mischaracterizes the witness's testimony.
   2       Q. Was he there that day, sir?                  2      A. Yes.
   3       A. Yes, I remember he might have been.          3   BY MR. KENNEDY:
   4   He was there, he was one of the people near the     4      Q. Douglas never told you she was the
   5   people who were getting water from the faucet.      5   boss, did he?
   6          THE INTERPRETER: I'm sorry, I lost           6      A. I don't remember if he had ever said
   7   the last part of the statement. May I recap the     7   that.
   8   first part?                                         8          MS. POLLOCK: We've been going an
   9       A. I saw other people, I saw people by          9   hour. How much longer do you have?
  10   the faucet who were getting water, and I thought   10          MR. KENNEDY: Can we go off the record
  11   it might have been him because he is a person      11   for a second?
  12   who usually gets water there.                      12          THE VIDEOGRAPHER: Going off the
  13       Q. Did you see these people before you         13   record. The time is 4:49.
  14   went into Bel Air, or after you left?              14          (Whereupon, a recess was taken.)
  15       A. When I was leaving.                         15          THE VIDEOGRAPHER: Back on the record.
  16       Q. Before Douglas put his penis in your        16   The time is 5:03.
  17   buttocks, did he touch any other part of your      17   BY MR. KENNEDY:
  18   body?                                              18      Q. Sir, I'm not sure if I got an answer
  19       A. I don't remember every detail of what       19   to my question. Are you claiming that you were
  20   had happened to me.                                20   physically hurt in any way by Douglas Perlitz?
  21       Q. Sir, you mentioned that you also went       21      A. Well, what I'm saying is that this
  22   to Bel Air on a second occasion, is that           22   thing troubled me a lot, so I can say that I
  23   correct?                                           23   have mental problems as a result of it, because
  24       A. Yes.                                        24   when I think about it, it really troubles me,
  25       Q. What was the reason for going there         25   and that hurts me in my heart also.


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   1       Q. Did you go to see any doctor after           1       A. I don't remember.
   2   what you claim Douglas did to you?                  2       Q. Before you went to see Cyrus for the
   3       A. No, I don't recall that.                     3   first time, were you aware that other former PPT
   4       Q. And you say you have mental problems.        4   students who claimed to have been hurt by
   5   What mental problems do you claim that you have?    5   Douglas Perlitz had received money?
   6       A. Well, it's just that when I think            6       A. I don't recall having heard anything
   7   about the incident, it would really trouble me a    7   like that.
   8   lot. And when the thought occurred to me, it        8       Q. Did you ever see any former PPT
   9   has an effect on me. And there could be moments     9   students driving around Cap-Haïtien in new cars?
  10   where I would overhear someone talking about gay   10       A. I remember seeing a few of them, but
  11   sex, and I would -- it would just bring back       11   we have no rapport.
  12   certain memories, and then those things I would    12       Q. Do you remember seeing those new cars
  13   find very troublesome.                             13   before you went to see Cyrus for the first time?
  14       Q. Do you have a problem with homosexual       14       A. I can't guess. I can't remember when
  15   people, sir?                                       15   I saw them.
  16       A. I would say yes.                            16       Q. Sir, I'm going to show you a
  17       Q. Why is that, sir?                           17   photograph which I'll have marked as Exhibit 4.
  18       A. Well, in my country it's never a good       18           (Whereupon, Deriza Exhibit Number 4,
  19   thing. They are not well-regarded, and they are    19           Copy of color photograph, was marked
  20   looked down upon in Haiti.                         20           for identification.)
  21       Q. Have you gone to see any doctor for         21           MR. KENNEDY: I don't have copies.
  22   any mental problem that you claim you've           22           MS. POLLOCK: Understand.
  23   suffered?                                          23           Did we ever put Exhibit 3 in the
  24       A. I don't recall having gone to see a         24   record?
  25   doctor, no.                                        25           MR. KENNEDY: You know what? That's a

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   1        Q. Have you ever had suicidal thoughts,        1   good point.
   2    sir?                                               2          MS. POLLOCK: We discussed it.
   3        A. That had happened, sir. It depends on       3          MR. KENNEDY: We discussed it. I'll
   4    what's going on around me at the time, and         4   do it anyways.
   5    what's happening.                                  5          For the record, Exhibit 3 is an eight
   6        Q. Do you have a girlfriend, sir?              6   page document which I received this morning from
   7        A. No, I don't recall having one. A            7   Plaintiffs' counsel that appears to be
   8    friend, yes, I had one.                            8   identification information concerning the
   9        Q. Have you ever had a girlfriend, sir?        9   deponent. Is that fair?
  10        A. I remember I had one, but we're not        10          MS. POLLOCK: Yes. Those are
  11    together anymore.                                 11   documents that the deponent brought with him for
  12        Q. Was this girlfriend after you left the     12   his deposition today that we have produced to
  13    Village, sir?                                     13   you today.
  14        A. Yes.                                       14          MR. KENNEDY: Thank you.
  15        Q. Do you have any children?                  15   BY MR. KENNEDY:
  16        A. No.                                        16      Q. Sir, showing you Exhibit 4 for
  17        Q. Can you describe Madame Carter for me      17   identification, are you in that photograph?
  18    physically?                                       18      A. Yes.
  19        A. I don't remember a lot of things, a        19      Q. Who is the woman in the photograph
  20    lot about her. But I remember that she was not    20   with you?
  21    very tall, and her -- she had a slight hump in    21      A. Jessica.
  22    her back. She was -- she leaned a bit forward,    22      Q. Was that photograph taken before or
  23    because it was due to age.                        23   after Douglas abused you?
  24        Q. Do you remember anything else about        24      A. I don't remember when the picture was
  25    her physical appearance?                          25   taken exactly. I assume that it was after.


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   1      Q. Sir, I'm going to show you what I'll        1       A. Yes.
   2   have marked as Defendants' 5 for ID.              2       Q. Who is that?
   3          (Whereupon, Deriza Exhibit Number 5,       3       A. Peterson.
   4          Copy of color photograph, was marked       4       Q. Peterson Gedeus?
   5          for identification.)                       5       A. No.
   6          MR. KENNEDY: Once again, I don't have      6       Q. What is this Peterson's last name?
   7   copies.                                           7       A. I don't remember his signature, but he
   8   BY MR. KENNEDY:                                   8   is not the one whose last name is Gedeus.
   9      Q. Sir, are you in that photograph?            9       Q. And there's an individual next to him
  10      A. Yes.                                       10   with his back turned in a white t-shirt. Do you
  11      Q. Which one are you in the photograph?       11   know who that is, sir?
  12   Are you in the white shirt, or are you in the    12       A. Yes.
  13   darker shirt?                                    13       Q. Who is that, sir?
  14      A. White shirt.                               14       A. Fredlin.
  15      Q. And was that photograph taken before       15       Q. Is that Fredlin Fils-Aime that we
  16   or after Douglas Perlitz abused you?             16   spoke about earlier today?
  17      A. I don't remember, because we take --       17       A. Yes.
  18   pictures were taken very often, so I don't       18       Q. And there appears to be an individual
  19   remember when this picture was taken.            19   to the right of you who I think is wearing
  20      Q. Who else is in that photograph with        20   sunglasses on top of his head speaking to
  21   you, sir?                                        21   Brittany. Do you know who that person is, sir?
  22      A. Robens.                                    22       A. Yes.
  23      Q. Is that the Robens that we spoke about     23       Q. Who is that, sir?
  24   earlier today?                                   24       A. Pedro.
  25      A. Yes.                                       25       Q. And do you know what Pedro's full name


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   1       Q. And last I'm going to show you -- once     1   is, sir?
   2    again I don't have copies -- Exhibit 6 for       2       A. Pedro Saint Julian.
   3    identification.                                  3       Q. Pedro Saint Julian.
   4           (Whereupon, Deriza Exhibit Number 6,      4           Okay. And then there's an individual
   5           Copy of color photograph, was marked      5   that looks like they're right behind you, do you
   6           for identification.)                      6   know -- who has no shirt on. Do you know who
   7    BY MR. KENNEDY:                                  7   that individual is?
   8       Q. Are you in that photograph, sir?           8       A. I can't see clearly, and I don't
   9       A. Yes.                                       9   remember. I cannot guess who it is.
  10       Q. Which one are you in the photograph?      10       Q. Thank you.
  11       A. Myself with a t-shirt that he is          11           Sir, before you claimed Douglas
  12    pointing to.                                    12   Perlitz abused you, were you aware that there
  13       Q. Is that the yellowish t-shirt?            13   was graffiti on the wall of the Village about
  14       A. Yes.                                      14   Douglas Perlitz?
  15       Q. You're on the far left side of that       15           MS. POLLOCK: I'm going to object to
  16    photograph?                                     16   the term "claim" as being vague.
  17       A. Yes.                                      17   BY MR. KENNEDY:
  18       Q. Who is the white person in that           18       Q. You can answer.
  19    photograph, sir?                                19       A. I don't remember. I don't remember.
  20       A. Brittany.                                 20           MR. KENNEDY: Okay. I think that's
  21       Q. And do you know the names of the other    21   all I have, sir. Thank you very much.
  22    individual -- strike that. I'm sorry.           22           THE VIDEOGRAPHER: Going off the
  23           Do you know the name of the individual   23   record. The time is 5:18.
  24    with the backpack on on the far right side of   24           (Pause.)
  25    the picture?                                    25           THE VIDEOGRAPHER: Back on the record.


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   1    The time is 5:19.                                   1   question again?
   2    BY MR. CERRETA:                                     2   BY MR. CERRETA:
   3       Q. Good evening, sir. My name is John            3      Q. Sure.
   4    Cerreta, I'm the lawyer for Fairfield               4         Do you communicate with Cyrus Sibert
   5    University.                                         5   by text message?
   6       A. John what?                                    6      A. Yes.
   7       Q. John Cerreta is my last name.                 7      Q. How often do you communicate with
   8           When you were a student at PPT, did          8   Cyrus by text?
   9    you ever hear anything about Fairfield              9         MS. POLLOCK: I'm reminding you not to
  10    University?                                        10   disclose actually any communications you've had
  11       A. No, I don't remember that.                   11   with Cyrus via text after your first time that
  12       Q. The gentleman you were speaking about        12   you met Cyrus.
  13    earlier today, Mathieu, do you know his full       13      A. Okay.
  14    name?                                              14   BY MR. CERRETA:
  15       A. Who, Mathieu? Who is Mathieu?                15      Q. How often do you communicate with
  16       Q. Do you remember speaking earlier today       16   Cyrus by text?
  17    about a gentleman who works for Cyrus Sibert       17      A. I cannot calculate, guess the time.
  18    named Mathieu?                                     18      Q. More than once a week?
  19       A. Yes. I don't know his full name.             19      A. I don't remember all that.
  20    Only Mathieu.                                      20      Q. At any point did you give your cell
  21       Q. Have you ever heard of someone named         21   phone to your attorneys so they could review
  22    Serge Mathieu Napolean?                            22   your text messages?
  23       A. No.                                          23         MS. POLLOCK: You can answer the
  24       Q. Do you have a cell phone?                    24   question yes or no.
  25       A. Right now?                                   25      A. No.


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   1        Q. Yes. Do you have one right now?              1   BY MR. CERRETA:
   2        A. No.                                          2       Q. Other than Cyrus, have you
   3        Q. Did you used to have one?                    3   communicated with anyone else by text regarding
   4        A. Yes.                                         4   this lawsuit?
   5        Q. What happened to the cell phone?             5       A. No.
   6        A. It had a bit of a problem. I didn't          6       Q. Do you have an e-mail address?
   7    come to it -- with it with me today here because    7       A. No.
   8    it wouldn't function here.                          8       Q. Do you have a Facebook page?
   9        Q. Do you have it back at home?                 9       A. No.
  10        A. Yes.                                        10       Q. Do you have any other social media
  11        Q. Do you ever use text messages on your       11   account?
  12    cell phone?                                        12       A. No, no other.
  13        A. Yes.                                        13          MR. CERRETA: Thank you, sir. That's
  14        Q. Do you ever send any text messages to       14   all I have.
  15    Mathieu?                                           15          MS. POLLOCK: Go off the record for a
  16        A. I don't remember.                           16   minute while we switch?
  17        Q. Has Mathieu ever texted you?                17          THE VIDEOGRAPHER: Going off the
  18        A. I don't believe so.                         18   record. The time is 5:26.
  19        Q. How about Cyrus Sibert, do you              19          (Pause.)
  20    communicate with him by text?                      20          THE VIDEOGRAPHER: Back on the record.
  21           MS. POLLOCK: You can answer the             21   The time is 5:37.
  22    question yes or no. I don't want you to            22   BY MR. BABBITT:
  23    disclose actually any conversations you've had     23       Q. Good afternoon. I'm Bradford Babbitt,
  24    with Cyrus.                                        24   I represent the American Association of the
  25        A. Okay. Would you please ask the              25   Order of Malta.


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   1          At any time before you attended the         1   about school classes, having nothing to do with
   2   Village, did you hear anything about the           2   hitting people or anything else.
   3   American Association of the Order of Malta?        3       A. Yes, I knew that they had classes.
   4       A. No.                                         4       Q. Before you started taking -- started
   5       Q. At any time before you attended the         5   attending the Village, what kind of classes did
   6   Village, did you hear the name Order of Malta?     6   you know they offered at the Village?
   7       A. No.                                         7       A. I didn't know. I just knew that there
   8       Q. At any time while you were attending        8   was a school that was a more serious school in
   9   the Village, did you hear the name Order of        9   the Village.
  10   Malta?                                            10       Q. Before you started attending the
  11       A. No.                                        11   Village, did you know that students at the
  12       Q. At any time before the Village closed,     12   Village had a place to sleep at night at the
  13   did you hear the name Order of Malta?             13   Village?
  14       A. No.                                        14       A. Yes.
  15       Q. At any time before the Village closed,     15       Q. Were these the reasons that you wanted
  16   did you hear the name Haiti Fund?                 16   to attend the Village?
  17       A. No.                                        17       A. Not entirely that. It's because I
  18       Q. Before you started attending the           18   needed the school.
  19   Village, did you know anyone who was a student    19       Q. You wanted to attend the Village
  20   at the Village?                                   20   because you wanted to attend school?
  21       A. Before I attended the Village?             21       A. Yes.
  22       Q. Yes.                                       22       Q. And you thought the Village was a
  23       A. No.                                        23   serious school?
  24       Q. Before you attended the Village, did       24       A. Yes.
  25   you know that students at the Village were fed    25       Q. Were there any other reasons you

                                         Page 167                                               Page 169
   1   meals every day?                                   1   wanted to attend the Village?
   2      A. Yes.                                         2       A. Well, I also believe that at the
   3      Q. Before you started attending the             3   Village one can learn a trade, so that was also
   4   Village, did you know that students the Village    4   a reason that I wanted to attend.
   5   played soccer at the Village?                      5       Q. So you hoped to learn a trade at the
   6      A. I didn't know that they were doing           6   Village, was that another reason you wanted to
   7   that.                                              7   attend the Village?
   8      Q. Before you started attending the             8       A. Yes.
   9   Village, did you know that students at the         9       Q. Were there any other reasons you
  10   Village took classes at the Village?              10   wanted to attend the Village, other than the
  11          THE INTERPRETER: Because the word I        11   ones you've already told us about?
  12   use for class, it's the same word that could be   12       A. I don't recall if there were any other
  13   used for hitting, so he wanted to know which      13   reasons. I don't remember all the reasons, but
  14   word. He was asking for clarification.            14   I do remember those reasons.
  15          MS. POLLOCK: Just for the record,          15          MR. BABBITT: Okay. Thank you. I
  16   this is the interpreter's explanation.            16   have nothing further.
  17          THE INTERPRETER: Confusion.                17          MS. POLLOCK: Mr. O'Neill, any
  18          MS. POLLOCK: Sorry.                        18   questions?
  19          THE INTERPRETER: This deponent needed      19          Oh, Lydia, I'm sorry, I didn't see you
  20   clarification for the question that you asked,    20   down there. I apologize.
  21   but it was a language clarification, not your     21          THE VIDEOGRAPHER: Going off the
  22   question, so I needed to rephrase the question    22   record. The time is 5:34.
  23   for him.                                          23          (Pause.)
  24   BY MR. BABBITT:                                   24          THE VIDEOGRAPHER: Back on the record.
  25      Q. Okay. Is it clear now? I'm talking          25   The time is 5:35.


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   1    BY MS. KNIGHT:                                     1      Q. Do you like to watch soccer games when
   2       Q. Mr. Deriza, I introduced myself              2   you're not at school?
   3    earlier, my name is Lydia Knight, and I            3      A. No. If I have nothing else to do,
   4    represent the Society of Jesus of New England.     4   then I might watch it, but if I have other
   5       A. Okay.                                        5   things to do I would focus more on what I need
   6       Q. Prior to PPT closing, had you ever           6   to do.
   7    heard of the Society of Jesus of New England?      7          MS. KNIGHT: Those are all the
   8       A. No.                                          8   questions that I have. Thank you.
   9       Q. At any time while you were at the            9          THE VIDEOGRAPHER: Going off the
  10    Village, did you ever hear of the Society of      10   record. The time is 5:40.
  11    Jesus?                                            11          (Off the record discussion.)
  12       A. I never heard it, no.                       12          THE VIDEOGRAPHER: Back on the record.
  13       Q. I think you told us that while you          13   The time is 5:40.
  14    were at the Village there was time that you had   14          MR. O'NEILL: I have no questions.
  15    for playtime, is that right?                      15          MS. POLLOCK: Any counsel have any
  16       A. Yes.                                        16   further questions for the witness?
  17       Q. What sort of things would you do            17          There being no further questions, we
  18    during that time?                                 18   conclude the deposition.
  19       A. There are kids who play baskets, shoot      19          THE VIDEOGRAPHER: This concludes the
  20    baskets, or play football, and some would be      20   January 13, 2016 deposition of Mr. Jason Maxwel
  21    shooting marbles. It depends on what most         21   Deriza. Going off the record. The time is
  22    interested them.                                  22   5:41.
  23       Q. And what most interested you?               23          (Whereupon, the deposition was
  24       A. Mostly I would be -- it would be the        24   concluded.)
  25    marbles.                                          25


                                          Page 171                                                Page 173
   1      Q. I think in Exhibit 5 you're in a              1          CERTIFICATE
   2   picture holding a football. Did you ever play       2          I, MAUREEN O'CONNOR POLLARD, LSR #473,
   3   football?                                           3   RMR, CLR, and Notary Public in and for the State
   4      A. No, there was no one who taught us how        4   of Connecticut, do hereby certify that there
   5   to play. Those balls were simply there.             5   came before me on the 13th day of January, 2016,
   6      Q. When you played marbles, do you play          6   the person hereinbefore named, who was duly
   7   marbles with other people, other boys?              7   sworn to testify to the truth of their knowledge
   8      A. Yes.                                          8   concerning the matters in this cause, and their
   9      Q. Do you still play marbles today?              9   examination reduced to typewriting under my
  10      A. No.                                          10   direction and is a true record of the testimony.
  11      Q. Do you have playtime at the school           11          I further certify that I am neither
  12   where you are now?                                 12   attorney for or related or employed by any of
  13      A. No, not really. There's just a very          13   the parties to the action, and that I am not a
  14   short period of recess for us to go and drink      14   relative or employee of any attorney or counsel
  15   water and use the bathroom, and then go straight   15   employed by the parties hereto or financially
  16   back to class.                                     16   interested in the action.
  17      Q. When you're not at school, how do you        17          In witness whereof, I have hereunto
  18   spend your free time?                              18   set my hand and seal this 18th day of January,
  19      A. I study and work, depending on the           19   2016.
  20   subject, so I might have other work to do.         20
  21      Q. Do you ever drink alcohol in your            21     ________________________________________
  22   spare time?                                        22     MAUREEN O'CONNOR POLLARD, License #473
  23      A. During times when I'm not at school?         23     Realtime Systems Administrator, RMR
  24      Q. Yes.                                         24     Notary Commission Expires: 10/31/2017
  25      A. It would depend on the moment of time.       25


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   1         INSTRUCTIONS TO WITNESS                      1         ACKNOWLEDGMENT OF DEPONENT
   2                                                      2
                                                          3             I, __________________________, do
   3             Please read your deposition over             Hereby certify that I have read the foregoing
   4   carefully and make any necessary corrections.      4   pages, and that the same is a correct
   5   You should state the reason in the appropriate         transcription of the answers given by me to the
   6   space on the errata sheet for any corrections      5   questions therein propounded, except for the
                                                              corrections or changes in form or substance, if
   7   that are made.                                     6   any, noted in the attached Errata Sheet.
   8             After doing so, please sign the          7
   9   errata sheet and date it. It will be attached      8   ___________________________________
  10   to your deposition.                                    JASON MAXWEL DERIZA          DATE
                                                          9
  11             It is imperative that you return        10
  12   the original errata sheet to the deposing         11
  13   attorney within thirty (30) days of receipt of    12
  14   the deposition transcript by you. If you fail     13
                                                         14
  15   to do so, the deposition transcript may be
                                                         15   Subscribed and sworn
  16   deemed to be accurate and may be used in court.        To before me this
  17                                                     16   ______ day of _________________, 20____.
  18                                                     17   My commission expires: ________________
  19                                                     18
                                                              _______________________________________
  20                                                     19   Notary Public
  21                                                     20
  22                                                     21
  23                                                     22
                                                         23
  24                                                     24
  25                                                     25


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   1           ------                                     1         LAWYER'S NOTES
               ERRATA                                     2   PAGE LINE
   2           ------                                     3   ____ ____ _______________________________
   3   PAGE LINE CHANGE                                   4   ____ ____ _______________________________
   4   ____ ____ _________________________________        5   ____ ____ _______________________________
   5     REASON: __________________________________       6   ____ ____ _______________________________
   6   ___ ____ __________________________________        7   ____ ____ _______________________________
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   8   ____ ____ _________________________________        9   ____ ____ _______________________________
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  10   ____ ____ _________________________________
                                                         11   ____ ____ _______________________________
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                                                         13   ____ ____ _______________________________
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                                                         15   ____ ____ _______________________________
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                                                         16   ____ ____ _______________________________
  16   ____ ____ _________________________________
  17     REASON: _________________________________
                                                         17   ____ ____ _______________________________
  18   ____ ____ _________________________________       18   ____ ____ _______________________________
  19     REASON: _________________________________       19   ____ ____ _______________________________
  20   ____ ____ _________________________________       20   ____ ____ _______________________________
  21     REASON: _________________________________       21   ____ ____ _______________________________
  22   ____ ____ _________________________________       22   ____ ____ _______________________________
  23     REASON: _________________________________       23   ____ ____ _______________________________
  24   ____ ____ _________________________________       24   ____ ____ _______________________________
  25                                                     25


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                                                                      Page 1
                  UNITED STATES DISTRICT COURT
                  DISTRICT OF CONNECTICUT
                                       Civil Action No.
                                       3:13-cv-01132(RNC)
        ****************************
        GERVIL ST. LOUIS, a/k/a ST.    Consolidated with:
        LOUIS GERVIL,                  3:13-cv-1225-RNC
                                       3:13-cv-1269-RNC
                       Plaintiff,      3:13-cv-1437-RNC
                                       3:13-cv-1480-RNC
             v.                        3:13-cv-1626-RNC
                                       3:13-cv-1627-RNC
        DOUGLAS PERLITZ, FATHER        3:13-cv-1628-RNC
        PAUL E. CARRIER, S.J.; HOPE    3:13-cv-1629-RNC
        E. CARTER; HAITI FUND,         3:13-cv-1630-RNC
        INC.; FAIRFIELD UNIVERSITY;    3:13-cv-1631-RNC
        THE SOCIETY OF JESUS OF NEW    3:13-cv-1632-RNC
        ENGLAND; SOVEREIGN MILITARY    3:13-cv-1633-RNC
        HOSPITALLER ORDER OF ST.       3:13-cv-1634-RNC
        JOHN OF JERUSALEM OF RHODES    3:13-cv-1635-RNC
        AND OF MALTA, AMERICAN         3:13-cv-1636-RNC
        ASSOCIATION, U.S.A.; a/k/a     3:13-cv-1637-RNC
        ORDER OF MALTA, AMERICAN       3:13-cv-1638-RNC
        ASSOCIATION, U.S.A.; JOHN      3:13-cv-1639-RNC
        DOE ONE; JOHN DOE TWO; JOHN    3:13-cv-1640-RNC
        DOE THREE; JOHN DOE FOUR;      3:13-cv-1641-RNC
        JOHN DOE FIVE; JOHN DOE SIX    3:13-cv-1642-RNC
        and JOHN DOE SEVEN,            3:13-cv-1644-RNC
                                       3:13-cv-1645-RNC
                       Defendants.     3:13-cv-1647-RNC
                                       3:13-cv-1648-RNC
                                       3:13-cv-1701-RNC
                                       3:13-cv-1767-RNC
                                       3:13-cv-1768-RNC
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                                       3:13-cv-1904-RNC
                                       3:13-cv-1906-RNC
                                       3:13-cv-1907-RNC
        ******************************
        This document applies to:
        All of the above referenced cases
        And those to be filed
        ******************************
        CONFIDENTIAL - SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
             VIDEOTAPED DEPOSITION OF JAMESLY GUILLAUME

                   Monday, May 18, 2015
                         9:09 a.m.

            Golkow Technologies, Inc. - 1.877.370.DEPS
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   1     VIDEOTAPED DEPOSITION OF JAMESLY GUILLAUME             1   APPEARANCES (Continued):
   2                                                            2   FOR THE DEFENDANT PAUL E. CARRIER, S.J.:
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                                                      Page 3                                                   Page 5
   1    APPEARANCES:                                            1   APPEARANCES (Continued):
   2    FOR THE PLAINTIFF:                                      2   FOR THE DEFENDANT FAIRFIELD UNIVERSITY:
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  18            -and-                                          18
  19      G. MICHAEL STEWART, ESQ.                             19   VIDEOGRAPHER: Christopher Coughlin
  20         SIMMONS HANLY CONROY                              20   INTERPRETERS: Nathalie Coupet (AM Session)
  21         One Court Street                                  21         Marilyn A. Leroy (PM Session)
  22         Alton, Illinois 62002                             22
  23         618-259-2222                                      23   Also Present:
  24         mstewart@simmonsfirm.com                          24   Emirlane Carmen Louis, Interpreter (AM Session)
  25                                                           25   Jean Elyseé Pierre Louis (PM Session)


                                                                                       2 (Pages 2 to 5)
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   1               INDEX                                    1   Walsh, I represent the Society of Jesus of
   2    EXAMINATION                               PAGE      2   New England.
   3    JAMESLY GUILLAUME                                   3          MR. KENNEDY: Jeffrey Kennedy
   4     BY MR. FOLKMAN                               9     4   representing Hope Carter.
   5     BY MR. KENNEDY                              178    5          MR. STEWART: Mike Stewart on behalf
   6     BY MR. CERRETA                             207
                                                            6   of the Plaintiffs.
   7     BY MR. BABBITT                            228
   8     BY MR. KERRIGAN                             233    7          MR. GARABEDIAN: Mitchell Garabedian
   9                                                        8   on behalf of Jamesly Guillaume, the Plaintiffs.
  10                                                        9          MS. XIA: Lu Xia on behalf of
  11         EXHIBITS                                      10   Plaintiffs.
  12    NO.      DESCRIPTION                       PAGE    11          MS. LOUIS: Carmen Louis, interpreter.
  13    1 Complaint and Jury Trial Demand...... 16         12          THE VIDEOGRAPHER: The court reporter
  14    2 Plaintiff Jamesly Guillaume's                    13   is Maureen Pollard, and she will now swear in
          Response to Certain Defendants'                  14   the interpreter and the witness.
  15      First Set of Interrogatories, July
                                                           15
          10, 2014............................. 18
  16                                                       16          NATHALIE COUPET, Interpreter,
        3   Blank piece of paper................. 61       17   having been first duly sworn to translate the
  17                                                       18   testimony, translated the questions and answers
  18                                                       19   as follows:
  19                                                       20
  20                                                       21           JAMESLY GUILLAUME,
  21                                                       22   having been first duly sworn, was examined and
  22
  23                                                       23   testified as follows through the interpreter:
  24                                                       24
  25                                                       25     A. I swear I will tell the truth before


                                                 Page 7                                                     Page 9
   1        PROCEEDINGS                                     1   God.
   2                                                        2         May I raise my hand still?
   3          THE VIDEOGRAPHER: We are now on the           3         THE INTERPRETER: No, I said no.
   4   record. My name is Chris Coughlin, I'm a             4         DIRECT EXAMINATION
   5   videographer for Golkow Technologies.                5   BY MR. FOLKMAN:
   6          Today's date is May 18, 2015, and the         6      Q. Good morning, Mr. Guillaume. Can you
   7   time is 9:09 a.m..                                   7   say your name for me, please?
   8          This video deposition is being held in        8      A. Jamesly Guillaume.
   9   Puerto Plata, the Dominican Republic, in the         9      Q. And Guillaume is your family name?
  10   matter of Gervil St. Louis, et al versus Douglas    10      A. Yes.
  11   Perlitz, et al, in the United States District       11      Q. And Jamesly is your given name?
  12   Court, District of Connecticut.                     12         MR. GARABEDIAN: Objection.
  13          The deponent is Jamesly Guillaume.           13      A. Yes.
  14          Will counsel please identify                 14   BY MR. FOLKMAN:
  15   yourselves for the record.                          15      Q. Can I ask you, please, to speak up, if
  16          MR. FOLKMAN: Good morning. Ted               16   you can, so that we can hear you on the tape; in
  17   Folkman from Murphy & King, Father Paul Carrier.    17   other words, to make your voice a little louder,
  18          MR. CERRETA: I'm John Cerreta from           18   please?
  19   Day Pitney for Fairfield University.                19      A. Yes.
  20          MR. BABBITT: Bradford Babbitt on             20      Q. Thank you.
  21   behalf of the Order of Malta American               21         And if you need to take a break while
  22   Association.                                        22   we're doing this, it's going to be several
  23          MR. KERRIGAN: Good morning. Good             23   hours, please let me know and we'll take break,
  24   morning, Mr. Guillaume. My name is Michael          24   okay?
  25   Kerrigan, I'm with the law firm of Sloane &         25      A. Okay.


                                                                                 3 (Pages 6 to 9)
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   1      Q. And one other request for you, if you         1      Q. 1993, right?
   2   could please verbalize your answers rather than     2      A. Yes.
   3   nodding or shaking your head so that Maureen,       3      Q. Okay. Today you live Rue 22 L in
   4   the court reporter, can write down what you say.    4   Cap-Haïtien, is that right?
   5   Okay?                                               5      A. Yes.
   6      A. Okay.                                         6      Q. And can you describe your living
   7         MR. FOLKMAN: Mitch, may we have the           7   situation for me today?
   8   same stipulations?                                  8      A. In the street.
   9         MR. GARABEDIAN: Yes. Recite them,             9      Q. So you're not living in a house or a
  10   please?                                            10   building, is that right?
  11         MR. FOLKMAN: Sure. Objections except         11      A. I used to live inside a house, but I
  12   with respect to the form of the question are       12   couldn't pay, so now I'm living on the street.
  13   reserved, as are motions to strike. And I          13      Q. Okay. And so when you say you're
  14   believe you've asked for 60 days to read and       14   living at Rue 22 L, that's the street where you
  15   sign?                                              15   actually sleep out of doors?
  16         MR. GARABEDIAN: Yes.                         16          MR. GARABEDIAN: Objection.
  17   BY MR. FOLKMAN:                                    17      A. Yes.
  18      Q. Okay. Mr. Guillaume, you have two            18   BY MR. FOLKMAN:
  19   nicknames, right?                                  19      Q. And do you sleep elsewhere in the city
  20      A. Yes.                                         20   also?
  21      Q. Those are, and I apologize if I              21      A. 16th Street.
  22   mispronounce them, Jiko and Koko?                  22      Q. Okay. And do you sleep anywhere else?
  23      A. Yes.                                         23      A. No.
  24      Q. Were there any other kids who were at        24      Q. I want to ask you about your
  25   PPT who had the nickname Koko?                     25   preparation to come here today. And I just want


                                            Page 11                                                 Page 13
   1       A. No.                                          1   to say that I don't want you to tell me anything
   2       Q. Were there any other kids at PPT who         2   that you discussed with your lawyers, okay?
   3    had the nickname Jiko?                             3   Okay?
   4       A. Ziko.                                        4      A. I didn't do any preparation.
   5       Q. Ziko.                                        5      Q. Did you --
   6       A. Ziko.                                        6          MR. GARABEDIAN: Just answer the
   7       Q. Ziko is your nickname?                       7   questions.
   8       A. Yes. Ziko, Koko.                             8   BY MR. FOLKMAN:
   9       Q. And there were no other Zikos, is that       9      Q. Did you speak -- have you spoken with
  10    right?                                            10   any of the young men who have come here in March
  11       A. No.                                         11   to testify like you're testifying today?
  12       Q. Were there any other kids named             12          MR. GARABEDIAN: Objection.
  13    Jamesly at PPT?                                   13      A. No, I didn't see them.
  14       A. No.                                         14   BY MR. FOLKMAN:
  15       Q. Were there any other Guillaumes at          15      Q. Okay. You did -- I take it you had
  16    PPT?                                              16   meetings with your lawyers before today to help
  17       A. No.                                         17   get you ready?
  18       Q. You were born in July of 1993, is that      18          MR. GARABEDIAN: Objection.
  19    right?                                            19      A. Yes.
  20       A. Yes.                                        20   BY MR. FOLKMAN:
  21       Q. So today you're 21 years old?               21      Q. And were those held here in Puerto
  22       A. I'm 22.                                     22   Plata, or in Cap-Haïtien, or somewhere else?
  23       Q. 22. Okay. Your birthday is                  23          MR. GARABEDIAN: Objection.
  24    July 13th, 1993?                                  24          I instruct him not to answer as to any
  25       A. Yes. July 13th, yes.                        25   conversations he's had with his attorneys. Once


                                                                           4 (Pages 10 to 13)
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   1    again, I instruct him not to answer as to any     1      A. No.
   2    conversations he's with his attorneys.            2      Q. Before we started I asked the reporter
   3          MR. FOLKMAN: I'm just asking where          3   to mark a couple of exhibits, and I'm going to
   4    the meetings were held.                           4   show them to you now.
   5       A. You mean the places where I had a           5           MR. GARABEDIAN: Do you have copies
   6    meeting, Puerto Plata or Haiti, to come here?     6   for us?
   7    BY MR. FOLKMAN:                                   7           MR. FOLKMAN: I do.
   8       Q. Yes.                                        8           (Whereupon, Guillaume Number 1,
   9       A. Since Haiti I plan on coming -- I           9           Complaint and Jury Trial Demand, was
  10    planned on coming here for this trial. On the    10           marked for identification.)
  11    telephone they called me.                        11   BY MR. FOLKMAN:
  12       Q. Okay. So you had telephone                 12      Q. So I have put in front of you what was
  13    conversations with your lawyers, but no          13   marked as Exhibit Number 1.
  14    in-person meetings to help you get ready for     14           And let me ask you first, you don't
  15    today, is that right?                            15   read English, is that correct?
  16          MR. GARABEDIAN: Objection. I               16      A. No.
  17    instruct him not to answer as to any             17      Q. Do you read Creole?
  18    conversation he's with his attorneys.            18      A. I'm not very good at it.
  19       A. On phone Cyrus told me that the lawyer     19      Q. Okay. So I'm going to tell you that
  20    needed me for this trial.                        20   this is the complaint that your lawyers filed in
  21    BY MR. FOLKMAN:                                  21   the court on your behalf.
  22       Q. Okay. So you had a phone conversation      22           Do you understand that?
  23    with Cyrus, is that right?                       23      A. I understand.
  24       A. Yes.                                       24      Q. Okay. Have you ever seen this
  25       Q. And that's Cyrus Sibert?                   25   document before?


                                           Page 15                                                 Page 17
   1     A.   Yes.                                        1      A. I see the document, but I don't
   2     Q.   And was anybody else on the line with       2   understand anything in it. I can't read.
   3   him?                                               3      Q. Okay. The document was filed in the
   4     A.     No.                                       4   court, or it's dated November 7th, 2013. Did
   5     Q.     And when was this call?                   5   anybody ask you to either listen to the contents
   6          MR. GARABEDIAN: Objection. I                6   of the document or to read the document before
   7   instruct him not to answer as to any               7   it was filed?
   8   conversations with Cyrus Sibert when Cyrus         8          MR. GARABEDIAN: Objection. I
   9   Sibert was our agent.                              9   instruct him not to answer as to any
  10      A. No, it's just that to be able to talk       10   conversation with his attorney.
  11   today they called me on the phone.                11      A. Here?
  12   BY MR. FOLKMAN:                                   12   BY MR. FOLKMAN:
  13      Q. Okay. Did you have any conversations        13      Q. At any time.
  14   on the phone or any meetings with anybody other   14      A. No.
  15   than Cyrus to help you get ready for today?       15      Q. Is it fair to say that you couldn't
  16          MR. GARABEDIAN: Objection. I               16   tell me what the details of the claims are that
  17   instruct him not to answer as to any              17   your lawyers have made on your behalf in court?
  18   conversation with his attorney.                   18          MR. GARABEDIAN: Objection.
  19      A. Besides Cyrus?                              19          Are you asking him to describe the
  20   BY MR. FOLKMAN:                                   20   details?
  21      Q. Yes.                                        21   BY MR. FOLKMAN:
  22      A. No.                                         22      Q. Let me just have my question read to
  23      Q. Okay. Did you look at any documents,        23   him.
  24   any pieces of paper to help you get ready to      24      A. I know the details.
  25   testify today?                                    25      Q. Okay. The details of the abuse you


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   1    say you suffered?                                  1      A. If I wrote my name above?
   2       A. Yes.                                         2      Q. Yes, that's what I'm asking.
   3       Q. Okay. Let me ask you to look at              3      A. Yes.
   4    another document which I had asked to be           4      Q. Okay. So you've already told us that
   5    numbered Number 2.                                 5   you don't read Creole, right?
   6           (Whereupon, Guillaume Number 2,             6          MR. GARABEDIAN: Objection.
   7           Plaintiff Jamesly Guillaume's Response      7      A. I'm not good -- I'm not really good at
   8           to Certain Defendants' First Set of         8   writing and reading Creole.
   9           Interrogatories, July 10, 2014, was         9   BY MR. FOLKMAN:
  10           marked for identification.)                10      Q. Okay. How did you figure out that all
  11    BY MR. FOLKMAN:                                   11   of the answers to these questions were actually
  12       Q. And I want to show you that the first       12   correct before you signed it?
  13    half of the document is written in English, and   13          MR. GARABEDIAN: Objection. Objection
  14    then the second half is written in Creole, and    14   to the extent -- I instruct him not to answer as
  15    the Creole is a translation of the English. And   15   to any conversations with his attorneys.
  16    these are your answers to interrogatories, or     16   BY MR. FOLKMAN:
  17    questions, that the people that you have sued     17      Q. So do you want me to read the question
  18    have asked you to answer.                         18   again? The question was, how did you figure out
  19       A. They asked me to answer these               19   that the answers that you were giving to these
  20    questions?                                        20   questions were actually correct before you
  21       Q. Well, let's take a look at the very         21   signed it?
  22    last page of the document. Okay. Do you see       22          MR. GARABEDIAN: Objection. I
  23    the words written there "Jamesly Guillaume"?      23   instruct him not to answer as to any
  24       A. Yes.                                        24   conversations with his attorneys.
  25       Q. Is that your handwriting?                   25      A. What questions?

                                            Page 19                                                Page 21
   1      A. If I wrote it on the paper?                   1   BY MR. FOLKMAN:
   2      Q. Yes.                                          2      Q. Well, let's take a look back through
   3      A. Are you asking me if I wrote my name          3   the document. I'm going to read from the
   4   on this paper?                                      4   English because I don't speak Creole, and I'm
   5      Q. Yes, I'm asking you if you signed your        5   going to ask Nathalie here -- I'm going to
   6   name on the paper.                                  6   indicate a question number that I will read in
   7      A. Yes.                                          7   English, and I'm going to ask her to read the
   8      Q. Okay. Do you see the little what we           8   corresponding question in Creole.
   9   -- I don't know what you'd call this, we have an    9      A. Yes.
  10   asterisk or a star written next to your name.      10      Q. So just -- for example, you were asked
  11   Do you see that?                                   11   to, and this is Number 5, "Please identify all
  12      A. Yes.                                         12   schools that you attended as a student, starting
  13      Q. And then you see below it there's            13   with elementary school, and for each such school
  14   another star, and there's a name written next to   14   state: (i) the dates you attended; (ii) the
  15   that, "Jean Ariel," and then I can't --            15   grade levels or years you completed; and (iii)
  16   "Clergé." Do you see that?                         16   the nature of any certificates or degrees you
  17      A. I'm not really good.                         17   obtained."
  18      Q. I understand. So you're saying you           18          Do you recall being asked that
  19   can't read it when you're looking at it, right?    19   question by anybody?
  20      A. No.                                          20          MR. GARABEDIAN: Objection. I
  21      Q. Do you know someone named Jean Ariel         21   instruct him not to answer as to any
  22   Clergé?                                            22   conversations he's had with his attorney.
  23      A. No.                                          23      A. No.
  24      Q. And it's your testimony that you             24   BY MR. FOLKMAN:
  25   yourself signed your name on this document?        25      Q. Okay. Do you remember being asked any


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   1   questions by anybody that you understood your       1      A. Yes.
   2   answers were going to be written down and you       2      Q. And was that in a home that your
   3   would have to sign them?                            3   parents owned?
   4          MR. GARABEDIAN: Objection. I                 4      A. No.
   5   instruct him not to answer as to any question --    5      Q. Where was it?
   6   as to any conversation with his attorney.           6      A. No, it's my aunt's. And I used to
   7      A. No.                                           7   live there also with my grandmother. That's
   8   BY MR. FOLKMAN:                                     8   where I used to sleep. But they didn't have any
   9      Q. The verification, which is the very           9   more money, so I went to live on the streets.
  10   last page, and I'm going to read it in English     10   That's where I was sleeping.
  11   and ask Nathalie to read what it says in Creole.   11      Q. Okay. So your aunt had a home on Rue
  12          MR. GARABEDIAN: What page is that?          12   22 L?
  13          MR. FOLKMAN: So the English of it is        13      A. Yes.
  14   Page 27, and the Creole of it is Page 55.          14      Q. And what was her name?
  15   BY MR. FOLKMAN:                                    15      A. Philoméne Charles.
  16      Q. So in English it says "I," and then          16          MR. FOLKMAN: What was the last name?
  17   there's a blank for your name, "have read the      17          THE INTERPRETER: Charles.
  18   foregoing answers and they are true and accurate   18   BY MR. FOLKMAN:
  19   to the best of my abilities."                      19      Q. Was she -- just so you know, we're
  20          MR. FOLKMAN: We're looking at the           20   passing down that name so the court reporter can
  21   interrogatories. She's reading --                  21   write it down accurately. Okay?
  22          MR. GARABEDIAN: Okay.                       22      A. Okay.
  23          MR. FOLKMAN: -- from the Creole.            23      Q. So is she your mother's sister or your
  24   BY MR. FOLKMAN:                                    24   father's sister?
  25      Q. So that's not actually true, because         25      A. My mother's sister.


                                            Page 23                                                 Page 25
   1    you didn't read this yourself, correct? It was     1      Q. Does she still have a home on 22nd
   2    read to you?                                       2   Street?
   3           MR. GARABEDIAN: Objection. I                3           MR. GARABEDIAN: Objection.
   4    instruct him not to answer as to any               4      A. No, she doesn't have a house. She
   5    conversations with his attorneys.                  5   can't rent it anymore.
   6       A. I didn't read the questions?                 6   BY MR. FOLKMAN:
   7    BY MR. FOLKMAN:                                    7      Q. Okay. So she was renting the house at
   8       Q. Did you read the questions?                  8   the time when you lived with her?
   9       A. No.                                          9           MR. GARABEDIAN: Objection.
  10       Q. Someone read them to you?                   10      A. Okay. She was renting the house when
  11       A. No.                                         11   I was there, but then she couldn't -- I left the
  12           MR. GARABEDIAN: Objection. I               12   house, she couldn't pay the house anymore,
  13    instruct him not to answer as to any              13   and -- but that was before I left, and I went to
  14    conversations with his attorneys.                 14   the -- I left the house, and I went on the
  15       A. Okay.                                       15   street.
  16    BY MR. FOLKMAN:                                   16   BY MR. FOLKMAN:
  17       Q. Let's talk again about your living          17      Q. Okay. I want to make sure I
  18    situation. I think you told me that you were      18   understand that.
  19    living on the street now, and that you were       19           Are you saying that you left the house
  20    sleeping either on Rue 16 or Rue 22, is that      20   because she couldn't pay the rent anymore, and
  21    right?                                            21   she had to give the house up?
  22       A. Yes.                                        22           MR. GARABEDIAN: Objection.
  23       Q. Okay. And, in fact, you were -- when        23      A. I left the house before. Because she
  24    you were born, you lived on the Street 22 L, is   24   didn't have the money, I went to sleep in the
  25    that right?                                       25   street.


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   1   BY MR. FOLKMAN:                                     1          THE INTERPRETER: I didn't get it.
   2      Q. Okay. But she stayed in the house             2   BY MR. FOLKMAN:
   3   after that?                                         3      Q. My question was, when did you live in
   4      A. She stayed in the house. I don't know         4   that house; what years?
   5   how she -- the owner of the house made her leave    5      A. I don't remember.
   6   the house.                                          6      Q. Was it after you left PPT, or before
   7      Q. Okay. After you left?                         7   you left PPT?
   8      A. Yes, I had already taken the streets.         8          MR. GARABEDIAN: Objection.
   9      Q. And your grandmother was living there         9      A. When the Village closed, I stayed at
  10   with you, too, at some point?                      10   that house.
  11       A. Yes.                                        11   BY MR. FOLKMAN:
  12      Q. And your parents?                            12      Q. Okay. And you were paying rent?
  13      A. They are dead.                               13      A. Yes.
  14      Q. They're dead now. Were they alive at         14      Q. And where were you getting the money
  15   any point when you were living with your aunt?     15   to pay that rent from?
  16      A. No, they had already died.                   16      A. I used to wash cars in the street.
  17      Q. Did you live somewhere with your             17      Q. Okay. And why was it that you at some
  18   parents before you lived with your aunt?           18   point weren't able to pay the rent anymore?
  19       A. When my -- when I was -- when I was         19          MR. GARABEDIAN: Objection.
  20   with my mother and father I was very small. I      20      A. Well, there was no work. I couldn't
  21   don't remember any of that time.                   21   wash cars. I didn't have any money. Things
  22       Q. Okay.                                       22   became very hard in Haiti. Money was hard to
  23      A. My mother died when I was very small.        23   come by. I didn't have money to rent the cars,
  24   I lived with my grandmother and my aunt.           24   so I left it with all my clothes inside, and I
  25      Q. Okay. And your father died when you          25   went back to sleep in the street.

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   1    were very small also?                              1   BY MR. FOLKMAN:
   2       A. Yes.                                         2      Q. Okay. You have a few siblings. You
   3       Q. Okay. At some point you lived on Rue         3   have a brother named, and I apologize if I say
   4    20 L, is that right?                               4   this incorrectly, Yventon, Y-V-E-N-T-O-N, last
   5       A. 20 L?                                        5   name César, C-E-S-A-R?
   6       Q. 20 L.                                        6          MR. GARABEDIAN: Objection.
   7           MR. GARABEDIAN: Objection.                  7      A. Yes.
   8       A. 22 L or 20 L?                                8   BY MR. FOLKMAN:
   9    BY MR. FOLKMAN:                                    9      Q. You have two sisters, Didine César and
  10       Q. It might be my mistake.                     10   Dada César, is that right?
  11           At some point you had a landlord name      11      A. Yes.
  12    Jimmy Pierre, is that right?                      12      Q. What is the reason that you have the
  13       A. Huh?                                        13   last name Guillaume and your siblings have the
  14       Q. You had a landlord whose name was           14   last name César?
  15    Jimmy Pierre?                                     15      A. It's my mother gave me her last name.
  16       A. Yes.                                        16   Her name is Marie Guillaume.
  17       Q. And where was the house that you were       17      Q. Okay. Are you in touch with your
  18    living in that he owned?                          18   siblings today?
  19       A. 22 L.                                       19          MR. GARABEDIAN: Objection.
  20       Q. Okay. And you were living in that           20      A. When I came here?
  21    house when?                                       21   BY MR. FOLKMAN:
  22           MR. GARABEDIAN: Objection.                 22      Q. No, I don't mean literally today. I
  23       A. I couldn't have -- I didn't have any        23   mean in general at this time in your life.
  24    more money so I couldn't pay the house, then he   24      A. When I'm in Haiti?
  25    called me --                                      25      Q. Yes.


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   1       A. When I'm in Haiti, yes, I do have            1   Yventon works for someone named Wilner, is that
   2   contact with them. But when I'm here, I didn't      2   right?
   3   have time to tell them I was coming here.           3          MR. GARABEDIAN: Objection.
   4       Q. I understand.                                4      A. Yes.
   5            Can you tell me what their living          5   BY MR. FOLKMAN:
   6   situations are like? Do any of them have houses     6      Q. Do you know Wilner's other name?
   7   that they live in?                                  7      A. I don't really remember. I just
   8            MR. GARABEDIAN: Objection.                 8   remember Wilner.
   9       A. Dada stays in -- the three of them,          9      Q. Okay. Did Wilner have any connection
  10   they live in a district called Marchant.           10   with Douglas Perlitz, as far as you know?
  11   It's -- they don't -- it's in the general area,    11          MR. GARABEDIAN: Objection.
  12   but they don't stay at the same place.             12      A. Who?
  13   BY MR. FOLKMAN:                                    13   BY MR. FOLKMAN:
  14       Q. So they move around from house to           14      Q. Did Wilner have any connection with
  15   house?                                             15   Douglas Perlitz?
  16       A. They each have a different house.           16          MR. GARABEDIAN: Objection.
  17       Q. Each of them has his or own house?          17      A. Wilner working with my brother?
  18            MR. GARABEDIAN: Objection.                18   BY MR. FOLKMAN:
  19       A. Yes.                                        19      Q. Yes.
  20   BY MR. FOLKMAN:                                    20      A. No.
  21       Q. Okay. And isn't it true that Yventon        21      Q. And he didn't have any connection with
  22   and Dada live in Marchant, but that Didine lives   22   PPT?
  23   in Laboul?                                         23          MR. GARABEDIAN: Objection.
  24       A. You go through Laboul to go to              24      A. No, they don't know each other.
  25   Marchant.                                          25   BY MR. FOLKMAN:


                                            Page 31                                                Page 33
   1       Q. Is your Aunt Philoméne still alive?          1      Q. Okay. And the job that your brother
   2       A. Yes.                                         2   does for Wilner is in the construction field?
   3       Q. When you were living with her, did she       3      A. Yes.
   4    have a job?                                        4      Q. What sort of education did your
   5       A. She had a job, but she told me that          5   brother have, if you know?
   6    she was dismissed. I don't know if she went        6          MR. GARABEDIAN: Objection.
   7    back to it.                                        7      A. Wilner gave him some training.
   8       Q. What was her job before she was              8   BY MR. FOLKMAN:
   9    dismissed?                                         9      Q. Okay. Your sister Didine sells
  10       A. She was a teacher.                          10   clothing, is that right?
  11       Q. A teacher for young kids, older kids?       11      A. Didine. Yes, she sells secondhand
  12       A. For older kids.                             12   clothes in the street. She carries the clothes
  13       Q. Do you know, did she work at a private      13   on her back and on her head.
  14    school or a public school?                        14      Q. And does she work for herself, or does
  15       A. I don't know whether it's private or        15   she work for somebody else?
  16    public.                                           16      A. For herself. She has kids.
  17       Q. Does she have a job today, do you           17      Q. And your other sister, Dada, has no
  18    know?                                             18   job, is that right?
  19       A. No, I don't know.                           19      A. No.
  20           She?                                       20      Q. Do you know what your parents did for
  21       Q. Philoméne.                                  21   work before they died?
  22       A. I don't know if she has a job. It's         22          MR. GARABEDIAN: Objection.
  23    been a while since she's seen me because I stay   23      A. No.
  24    in the streets.                                   24   BY MR. FOLKMAN:
  25       Q. Okay. How about your siblings.              25      Q. Do you know whether they had work?


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   1       A. I was very small. I didn't have time        1      A. Yes.
   2    to learn about that.                              2      Q. And you attended the first grade at a
   3       Q. Okay. So you don't?                         3   school on Rue 17?
   4           MR. GARABEDIAN: Objection.                 4          If you look at Exhibit 2, I'm going to
   5       A. I don't know.                               5   read what you said in your answer to Number 5 in
   6    BY MR. FOLKMAN:                                   6   English, and I'll ask Nathalie to read it in
   7       Q. Okay. Let me ask you about -- well,         7   Creole.
   8    you've never been married, right?                 8          You were asked about the schools that
   9       A. No.                                         9   you attended, and you indicated that you knew of
  10       Q. But you did have a child who passed        10   the preschool at Grand Jardin, and also the
  11    away at some point, is that true?                11   school on Rue 17?
  12       A. Yes.                                       12          THE INTERPRETER: May I read the
  13       Q. And when was that?                         13   entire answer?
  14       A. I don't remember when, but the child       14          MR. FOLKMAN: Sure.
  15    died when he was very young.                     15          (Interpreter reading.)
  16       Q. Do you remember, was it before or          16      A. Yes.
  17    after you left the Village?                      17   BY MR. FOLKMAN:
  18           MR. GARABEDIAN: Objection.                18      Q. Did you ever attend a school called
  19       A. Huh?                                       19   Foyer St. Joseph?
  20    BY MR. FOLKMAN:                                  20          MR. GARABEDIAN: Objection.
  21       Q. Was it before or after you left the        21      A. I don't remember.
  22    Village?                                         22   BY MR. FOLKMAN:
  23       A. After I left the Village.                  23      Q. You don't know if you attended second
  24       Q. Was it -- so now it's 2015. Was it         24   grade there?
  25    within the last two years?                       25          MR. GARABEDIAN: Objection.


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   1      A. I don't remember. I don't know.              1      A. I don't remember.
   2      Q. Okay. The mother of the child, are           2   BY MR. FOLKMAN:
   3   you and she together now?                          3      Q. Okay. You're not saying you didn't,
   4      A. She said she was going to Santo              4   you just don't know today?
   5   Domingo to find some work. I don't know which      5          MR. GARABEDIAN: Objection.
   6   area she's staying. It's been a while, a long      6      A. I don't remember.
   7   time since I've seen her. After the case with      7   BY MR. FOLKMAN:
   8   the child that died, her head -- she became a      8      Q. Okay. Did you ever attend a school
   9   hothead, so she went to Santo Domingo looking      9   called Philippe Guerrier? G-U-E-R-R-I-E-R.
  10   for work. It's been a long time since I've seen   10          MR. GARABEDIAN: Objection.
  11   her.                                              11      A. There's a school called Philippe
  12      Q. Okay. Do you have a partner now that        12   Giuerrier?
  13   you are with?                                     13   BY MR. FOLKMAN:
  14          MR. GARABEDIAN: Objection.                 14      Q. Well, I'm asking if you ever attended
  15      A. Now?                                        15   a school with that name.
  16   BY MR. FOLKMAN:                                   16          MR. GARABEDIAN: Objection.
  17      Q. Now.                                        17      A. No.
  18      A. I have a girlfriend, but I'm not            18   BY MR. FOLKMAN:
  19   really with her.                                  19      Q. Have you ever heard of an organization
  20      Q. You're not living with her?                 20   called Kids Alive?
  21      A. We're talking.                              21      A. I've never heard of it.
  22      Q. Okay. Let me ask you about your             22          MR. GARABEDIAN: Objection.
  23   schooling.                                        23          Can you say Kids Alive in --
  24          You attended preschool at Grand            24          THE INTERPRETER: With a Creole
  25   Jardin?                                           25   accent?


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   1           MR. GARABEDIAN: Yes.                       1   if you could pick?
   2           MS. XIA: Not Creole accent, just           2      A. I would pick washing cars. That's
   3    translate it.                                     3   what I know how to do. That's what I can do. I
   4           MR. GARABEDIAN: Translate it.              4   don't have training capacity for other jobs.
   5       A. Children alive? I don't understand.         5      Q. And when you were younger, were there
   6    BY MR. FOLKMAN:                                   6   other things that you wanted to do when you
   7       Q. Okay. Did you attend the seventh            7   imagined yourself growing up?
   8    grade anywhere?                                   8          MR. GARABEDIAN: Objection.
   9           MR. GARABEDIAN: Objection.                 9      A. When I was young, smaller, younger?
  10       A. In which school?                           10   BY MR. FOLKMAN:
  11           MR. FOLKMAN: Excuse me?                   11      Q. Yes.
  12           THE INTERPRETER: In which school?         12      A. If there were other jobs I wanted to
  13    BY MR. FOLKMAN:                                  13   do?
  14       Q. In any school.                             14      Q. Right.
  15       A. No. When I left Grand Jardin and           15      A. Well, if I wanted another job I would
  16    Philippe Guerrier, then the remainder of the     16   have to go to school to learn a job, but I
  17    time I was at Project Pierre Toussaint.          17   didn't go very far in school, so there's nothing
  18       Q. And no one at Project Pierre Toussaint     18   I can do, nothing I can do. That's why I do the
  19    ever sent you out to another school?             19   worst jobs.
  20       A. No.                                        20      Q. I think you said your brother got his
  21       Q. Okay. Let me ask you about your            21   training for his construction work from his
  22    employment.                                      22   boss, is that right?
  23           You've said that you were washing cars    23          MR. GARABEDIAN: Objection.
  24    for a time?                                      24      A. Yes.
  25       A. Up until now I wash cars.                  25   BY MR. FOLKMAN:

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   1      Q. And when you were at PPT, you were           1     Q. Have you ever gone to look for a job
   2    paid to do some chores there, is that true?       2   where you might get training from the person who
   3           MR. GARABEDIAN: Objection.                 3   you'd be working for?
   4      A. Inside the Village I had a little            4          MR. GARABEDIAN: Objection.
   5    small jobs, like watch over the rabbits, feed     5     A. There's one other -- there's one place
   6    them and give them water.                         6   where I could have had the same thing like my
   7    BY MR. FOLKMAN:                                   7   brother, and I was to do -- to make blocks. And
   8      Q. And aside from those small jobs when         8   Boss Aston was the one who was supposed to show
   9    you were at the Village and washing cars, have    9   me how to do it at the Carenage center. I just
  10    you ever had another job?                        10   had time to do two or three blocks, then I
  11      A. No.                                         11   didn't have time to learn. I didn't stay in it.
  12      Q. Have you ever looked for another job?       12   BY MR. FOLKMAN:
  13      A. Look for -- that's not very easy in         13     Q. Okay. So let me make sure I
  14    Haiti.                                           14   understand that.
  15      Q. I understand.                               15          When you were at Carenage, there was
  16           My question is, have you ever gone out    16   someone named Boss Aston who was going to teach
  17    and looked for another job, aside from washing   17   you how to make blocks?
  18    cars or those odd jobs that you did at PPT?      18          MR. GARABEDIAN: Objection.
  19      A. No. I didn't look. I knew I wasn't          19     A. Yes.
  20    going to get any. I was washing cars, that's     20   BY MR. FOLKMAN:
  21    what I know how to do, I wash cars.              21     Q. And you started to do that, and you
  22      Q. What job would you want to have if you      22   made a few?
  23    could have whatever job you wanted today?        23     A. Yes.
  24      A. What kind of job I could do?                24     Q. And then you didn't have time?
  25      Q. What kind of job would you want to do       25     A. No, I didn't have time. They sent me


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   1   to the Village, I didn't have time for that.        1   answer to Question 15, you say that you lived at
   2      Q. Okay. So then you stopped working             2   Bel Air for approximately 17 days?
   3   with him?                                           3          THE INTERPRETER: For 17 days?
   4      A. Yes.                                          4          MR. FOLKMAN: The English says for
   5      Q. So you attended PPT from approximately        5   approximately 17 days.
   6   2002 until it closed, is that right?                6          THE INTERPRETER: I don't know in
   7      A. Yes.                                          7   English, but in Creole it says 17 days.
   8      Q. And in 2002, you would have been              8          MR. FOLKMAN: It doesn't say
   9   approximately nine years old?                       9   approximately?
  10      A. Yes. Nine, ten.                              10          THE INTERPRETER: Approximately. I'm
  11      Q. You started at PPT on Rue 13?                11   sorry. Yes.
  12      A. Yes.                                         12      A. There was no bed yet.
  13      Q. And you went to Carenage when Rue 13         13   BY MR. FOLKMAN:
  14   closed in around 2004?                             14      Q. At the Village?
  15          MR. GARABEDIAN: Objection.                  15      A. I was supposed to go to the Village,
  16      A. I went to PPT when Carenage closed?          16   but I used to be late a lot, so I used to -- I
  17   BY MR. FOLKMAN:                                    17   slept in a car at Bel Air for 17 days. There
  18      Q. No. You went to Carenage when Rue 13         18   was no bed for me yet.
  19   closed?                                            19      Q. Okay. So I was just curious about the
  20      A. Yes.                                         20   word "approximately." Are you saying that you
  21      Q. And that was in around 2004?                 21   spent exactly 17 days sleeping there?
  22      A. 2004, 2003.                                  22          MR. GARABEDIAN: Objection.
  23      Q. And then you spent six to eight months       23      A. Apepré means about, apré means after.
  24   at Carenage?                                       24   It's not clear what she's saying. He says
  25      A. Yes, after that they sent me to the          25   17 days, I stayed 17 days in Bel Air.


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   1    Village.                                           1   BY MR. FOLKMAN:
   2       Q. After six to eight months?                   2      Q. Okay. Bel Air was the house where
   3       A. I don't remember how many months.            3   Douglas Perlitz lived, right?
   4       Q. Okay.                                        4          MR. GARABEDIAN: Objection.
   5       A. After the Carenage they sent me to the       5      A. Yes, Bel Air is at -- is where Douglas
   6    Village.                                           6   Perlitz's house is.
   7       Q. Did you ever tell anybody that you           7   BY MR. FOLKMAN:
   8    spent about six to eight months at Carenage?       8      Q. Okay. And during those 17 days when
   9           MR. GARABEDIAN: Objection. I                9   you lived there, or slept there, where in the
  10    instruct him not to answer as to conversations    10   house were you sleeping?
  11    with his attorneys.                               11          MR. GARABEDIAN: Objection.
  12       A. Did I tell someone?                         12      A. I slept in a car inside the courtyard.
  13    BY MR. FOLKMAN:                                   13   BY MR. FOLKMAN:
  14       Q. Yes.                                        14      Q. So there's a gate, right?
  15           MR. GARABEDIAN: Objection. I               15      A. Yes.
  16    instruct him not to answer as to any              16      Q. And then between the gate and the
  17    conversations with his attorneys.                 17   house there is a driveway?
  18       A. No.                                         18      A. Between the gate and the house there's
  19    BY MR. FOLKMAN:                                   19   a parking below.
  20       Q. When you got to the Village, they           20      Q. And that car was parked in that
  21    didn't have a bed for you, is that true?          21   parking area, and that's where you slept?
  22       A. Yes.                                        22          MR. GARABEDIAN: Objection.
  23       Q. And in your written answers that we         23      A. Yes, in the yard, the courtyard. The
  24    were looking at before in the document that has   24   car was parked in the courtyard.
  25    the number 2 on it, and I'm looking at your       25   BY MR. FOLKMAN:


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   1      Q. Okay. And this would have been                1   to the Village in the morning.
   2   sometime in 2004 or 2005, right?                    2      Q. All right. When you were at Rue 13
   3          MR. GARABEDIAN: Objection.                   3   and then at Carenage, you were still living on
   4      A. Something like that.                          4   the streets, right?
   5   BY MR. FOLKMAN:                                     5          MR. GARABEDIAN: Objection.
   6      Q. Well, you said in your answers that           6      A. Yes. That's where I slept.
   7   you went to Carenage when Rue 13 closed around      7   BY MR. FOLKMAN:
   8   2004, is that right?                                8      Q. And you were sleeping, for example, on
   9      A. Yes.                                          9   people's porches on Rue 18?
  10      Q. And then you said you spent --               10      A. Yes.
  11      A. 2004?                                        11      Q. And there was a group of you who were
  12      Q. Well, that's what you say, 2004. Is          12   doing that, right?
  13   that right? Looking at 14.                         13      A. Yes.
  14      A. Okay.                                        14      Q. And who else was in your group?
  15      Q. Is that okay, you mean that that's           15      A. Other kids in the project.
  16   right, that's actually when you went -- when Rue   16      Q. Can you tell me their names?
  17   13 closed and you went to Carenage?                17      A. The people, the other kids sleeping
  18          MR. GARABEDIAN: Objection.                  18   with the group?
  19      A. Yes.                                         19      Q. The kids who were sleeping with the
  20   BY MR. FOLKMAN:                                    20   group that you were sleeping with on the street.
  21      Q. And then you say you spent six to            21      A. What their name?
  22   eight months, about, at Carenage, right?           22      Q. Right.
  23      A. Yes.                                         23      A. I don't remember their name.
  24      Q. And so it would have been six to eight       24      Q. Do you remember any of their names?
  25   months after you left Rue 13 that you went to      25      A. There's Antoine Charles, Walky Joseph,

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   1    the Village and slept for those 17 days at         1   Nicodeme Dolce.
   2    Bel Air?                                           2     Q. D-O-L-C-E?
   3           MR. GARABEDIAN: Objection.                  3     A. Guisman, Guisman Pierre. And Wilnaud.
   4       A. After I left Rue 13?                         4   Tiguy. I don't remember the others very well.
   5    BY MR. FOLKMAN:                                    5     Q. Those are all the ones that you can
   6       Q. Right.                                       6   remember today?
   7       A. If I slept in Bel Air?                       7     A. Yes, those are the ones I really
   8       Q. Six to eight months later.                   8   remember, I remember their name.
   9       A. I left Bel Air?                              9     Q. Is it Wilnaud Pierre?
  10       Q. Let me start again.                         10         MR. GARABEDIAN: Objection.
  11           What I'm saying is -- what I'm asking      11   BY MR. FOLKMAN:
  12    is that after you left Rue 13 in around 2004,     12     Q. And was Tiguy Jean Francois Elivaint?
  13    you then spent six to eight months at Carenage,   13         MR. GARABEDIAN: Objection.
  14    right?                                            14     A. Yes. Now he stays in a district
  15       A. Yes.                                        15   called Blouyil.
  16       Q. And it was after that six to eight          16   BY MR. FOLKMAN:
  17    months that you stayed for a time in a car at     17     Q. Who stays in a district called
  18    Bel Air?                                          18   Blouyil?
  19           MR. GARABEDIAN: Objection.                 19     A. Tiguy.
  20       A. Yes.                                        20     Q. And what is he doing?
  21    BY MR. FOLKMAN:                                   21         MR. GARABEDIAN: Objection.
  22       Q. Okay. Was there anybody else sleeping       22     A. I don't know what he's doing now.
  23    in cars at Bel Air when you were?                 23   BY MR. FOLKMAN:
  24       A. No. No. When there were other               24     Q. Have you seen him recently?
  25    people, it's the driver who came to bring them    25     A. If I saw Tiguy?


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   1       Q. Yes, recently.                              1   13 project?
   2       A. I haven't seen him really. I saw him        2      A. It's the other kids, the ones who were
   3    just once, and he told me he was staying in       3   sleeping in the street, they told me every
   4    Blouyil.                                          4   morning, they slept in gallery, they said
   5       Q. Okay.                                       5   there's this project, they give -- we can wash,
   6       A. He said that he's staying in Blouyil,       6   they give us food, we can play ball, basketball
   7    that's why we don't see each other much.          7   and soccer, and they give us domino to play, and
   8       Q. All right. Let me ask you about some        8   also we do a little bit of school. And in the
   9    of these other young men.                         9   afternoon they let us go, and we go back to the
  10           Did Rocky Joseph have another first       10   street.
  11    name? Is Rocky a nickname?                       11      Q. Okay. So the 13th Street project was
  12           MR. GARABEDIAN: Objection.                12   a project where you would go in the morning,
  13       A. They call him Rocky, but his last name     13   right?
  14    is Joseph.                                       14           MR. GARABEDIAN: Objection.
  15    BY MR. FOLKMAN:                                  15      A. Yes, yes. You can't sleep there. You
  16       Q. So Rocky is not the same as Dimitry        16   come every morning, in the afternoon they let
  17    Joseph?                                          17   you go.
  18           MR. GARABEDIAN: Objection.                18   BY MR. FOLKMAN:
  19       A. No.                                        19      Q. So they would let you in the gate in
  20    BY MR. FOLKMAN:                                  20   the morning, right?
  21       Q. He's not the same as Jasmin or Jasmin      21      A. Yes.
  22    Joseph?                                          22      Q. And then you would wash?
  23           MR. GARABEDIAN: Objection.                23      A. Yes. Yes, you go through the gate,
  24           Ask the question again, please?           24   you wash, they give you bread that is -- has
  25           MR. FOLKMAN: Sure.                        25   mayonnaise on it, and at noon you get spaghetti,


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   1    BY MR. FOLKMAN:                                   1   and before they let you go after school you get
   2      Q. Rocky is not the same person as              2   rice.
   3    Jasmin, J-A-S-M-I-N, Joseph?                      3      Q. Okay. And tell me what sort of things
   4      A. Rocky stays Rocky and Jasmin stays           4   you were doing at school at Rue 13.
   5    Jasmin.                                           5      A. I used to draw. They gave me things
   6      Q. That's the only name you know him by?        6   to draw, crayons to draw. And then I went to
   7      A. They gave him a nickname, but he's not       7   school first year, and then I would play in the
   8    happy when -- they gave him -- he has another     8   yard soccer.
   9    nickname, but he's not happy and he will fight    9      Q. When you were doing the first year of
  10    with you if you tell him that, it's Little       10   school, were you learning any reading and
  11    Mouth, Ti Bouch.                                 11   writing?
  12      Q. Ti Bouch.                                   12          MR. GARABEDIAN: Objection.
  13          All right. Did all the boys you            13      A. I wasn't really -- I didn't have time
  14    mentioned attend either Rue 13 or Carenage?      14   to be good at reading and writing.
  15          MR. GARABEDIAN: Objection.                 15   BY MR. FOLKMAN:
  16      A. Yes, I found them in the project.           16      Q. At Rue 13 you mean?
  17    BY MR. FOLKMAN:                                  17      A. Yes.
  18      Q. Okay. So you got together with that         18      Q. And do you know why there wasn't
  19    group after you joined the project?              19   enough time for you to be good at reading and
  20          MR. GARABEDIAN: Objection.                 20   writing?
  21      A. They were friends. We used to talk.         21      A. There were too many activities in
  22    BY MR. FOLKMAN:                                  22   there. The games were -- they were so
  23      Q. And you met them at the project?            23   interesting I didn't have time for anything
  24      A. Yes.                                        24   else.
  25      Q. How did you come to learn of the Rue        25      Q. Okay. Did you learn any math or other


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   1   subjects at Rue 13?                                 1   and someone named Margarita?
   2      A. Yes, I learned math, but I'm not very         2      A. Margarette. Merline and Margarita.
   3   good at it.                                         3   And there's another Haitian Margarette.
   4      Q. Were there other kids who were with           4      Q. I'm sorry, I'm a little confused. How
   5   you at Rue 13 who were doing more in school than    5   many people have you told me about? There's --
   6   you were?                                           6   number one is Merline, number two is Margarette
   7          MR. GARABEDIAN: Objection.                   7   or Margarita, is that right?
   8      A. How? Why -- what do you mean more             8      A. Two different people. You have
   9   things?                                             9   Margarita and Margarette. They're two different
  10   BY MR. FOLKMAN:                                    10   people.
  11      Q. Well, you were saying that because of        11      Q. So there are actually then -- I just
  12   all the other activities that there were to do     12   want to make sure I'm clear. There's three
  13   that you felt you didn't have enough time for      13   people; one is Marlene, one is Margarita, and
  14   school, and I'm wondering were there other kids    14   one is Margarette?
  15   who spent more time doing the schoolwork than      15      A. Yes. I don't remember the others.
  16   you did, or did everybody sort of have your        16      Q. Okay. But you remember those three?
  17   schedule?                                          17      A. Yes.
  18      A. Yes, there were a lot of activities,         18      Q. And what Americans, if any, do you
  19   but the games were more interesting for me. But    19   remember at 13th Street?
  20   there were other kids that were good in school     20          MR. GARABEDIAN: Objection.
  21   and they were learning more, but, you know, for    21      A. Andy. 13th Street, there was Andy.
  22   me I wasn't that good, and I wanted to be -- I     22   BY MR. FOLKMAN:
  23   was always playing the invincible, I liked to      23      Q. Is that Andy Shultheis, do you know?
  24   fight.                                             24          MR. GARABEDIAN: Objection.
  25      Q. Do you remember which of the other           25   BY MR. FOLKMAN:


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   1   kids were better at school?                         1       Q. Was his name Andy Shultheis?
   2          MR. GARABEDIAN: Objection.                   2           MR. GARABEDIAN: Objection.
   3      A. Tiguy. Wilnaud. Titit, Guisman also           3       A. No. Andy, that's all I know.
   4   known as Titit. They were good in school.           4   BY MR. FOLKMAN:
   5   BY MR. FOLKMAN:                                     5       Q. Was he a black man or a white man?
   6      Q. Jimmy Jesula?                                 6       A. A white guy.
   7      A. Yes.                                          7       Q. Okay. And as far as you know, was he
   8      Q. What adults do you remember in charge         8   from the United States?
   9   of the activities at 13th Street?                   9           MR. GARABEDIAN: Objection.
  10          MR. GARABEDIAN: Objection.                  10       A. Yes.
  11      A. These guys, they were outside. They          11           MR. FOLKMAN: Okay. I'm not totally
  12   sent them to a big school outside, a good school   12   done with 13th Street, but I know you wanted to
  13   outside, so they were not at our level.            13   take a break.
  14   BY MR. FOLKMAN:                                    14           MR. GARABEDIAN: Okay. Thank you.
  15      Q. Okay. What adults do you remember who        15           THE VIDEOGRAPHER: Going off the
  16   were in charge of the activities at 13th Street?   16   record. The time is 10:37.
  17      A. I don't remember all their names.            17           (Whereupon, a recess was taken.)
  18      Q. Do you remember who any of the               18           THE VIDEOGRAPHER: Back on the record.
  19   Haitians were, if there were any, who worked       19   The time is 10:55.
  20   there?                                             20   BY MR. FOLKMAN:
  21          MR. GARABEDIAN: Objection.                  21       Q. Mr. Guillaume, I know that the
  22      A. Ms. Merline, Margarita, there's a Miss       22   translator just said this to you, but it would
  23   called -- I don't remember the others.             23   be helpful, if you're able, if you could speak
  24   BY MR. FOLKMAN:                                    24   up a little bit louder so people can hear you a
  25      Q. Okay. So you remember a Miss Merline         25   little better, okay?


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   1       A. Okay.                                       1      Q. Okay. I'm sorry about that, we had a
   2       Q. Thank you.                                  2   technical problem that we had to fix.
   3       A. Could you lower the air conditioning?       3          Okay. Do you know who Paul Carrier
   4   It's a little cold.                                4   is?
   5       Q. Absolutely. If you're not comfortable       5      A. Yes, I know Father Paul.
   6   at any time, just let us know and we'll make an    6      Q. And did you see him at Rue 13?
   7   adjustment. Okay?                                  7      A. I saw him once in Rue 13.
   8       A. Yes.                                        8      Q. And who was he with, if anybody?
   9       Q. Okay. So you were mentioning Andy           9      A. With Ms. Carter and Douglas.
  10   when we broke.                                    10      Q. Okay. And what were they doing, the
  11       A. Yes.                                       11   three of them?
  12       Q. Were there any other Americans that        12      A. They were taking pictures of the kids,
  13   you remember working at 13th Street?              13   of the courtyard, of the project.
  14       A. It's Andy who used to work in 13th         14      Q. And then after he took the pictures,
  15   Street. Andy, I only -- he's the only one I       15   did he and Madame Carter leave?
  16   saw.                                              16      A. Yes, in a white car, Land Cruiser.
  17       Q. Okay. Did you ever see Doug Perlitz        17      Q. Did you speak with him at Rue 13?
  18   at 13th Street?                                   18   With Father Carrier, I mean.
  19       A. Yes, he used to come in Rue 13.            19      A. No. He doesn't speak Creole. He
  20       Q. Okay. How often would Douglas come to      20   speaks English.
  21   Rue 13?                                           21      Q. Did you speak with Hope Carter?
  22       A. He comes by -- he used to come by a        22      A. They don't speak Creole at all.
  23   lot with his car.                                 23      Q. So the answer is no, you didn't speak
  24       Q. Okay. What would Andy be doing on a        24   with them at Rue 13?
  25   typical day at Rue 13 when you were there?        25      A. I'm used to seeing them, they see me,

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   1          MR. GARABEDIAN: Objection.                  1   they touch my head.
   2      A. He used to manage us, make sure that         2      Q. As a greeting?
   3   we wouldn't fight, and that we're participating    3      A. Yes.
   4   in the activities. It's Andy.                      4      Q. Okay. I'd like you -- I'm going to
   5   BY MR. FOLKMAN:                                    5   put what I've marked as Exhibit 3, just so
   6      Q. And what would you see Doug there            6   everybody sees it's a blank piece of paper, and
   7   doing at Rue 13 when he came to visit?             7   I wonder if you could just sign your name for me
   8      A. He used to come to Rue 13 and talk to        8   on it as you would when someone asks you to sign
   9   Andy. I don't know what they talked about.         9   your name.
  10      Q. Did you ever talk to Doug at Rue 13?        10          (Whereupon, Guillaume Number 3, Blank
  11      A. If I speak to -- if I spoke to Douglas      11          piece of paper, was marked for
  12   in Rue 13?                                        12          identification.)
  13      Q. When he came to visit, right.               13      A. How about if I can't write my name on
  14      A. No, I didn't have any opportunity to        14   the paper?
  15   talk to him, I was always in class.               15   BY MR. FOLKMAN:
  16          MR. FOLKMAN: Okay. Let me pause for        16      Q. Well, then, it's okay if that's the
  17   a second. Are you having trouble, Mitch?          17   case, just tell me that you can't write your
  18          Let's go off. I think there's a            18   name.
  19   realtime issue.                                   19      A. Sign my name?
  20          THE VIDEOGRAPHER: Going off the            20      Q. Yes, if you can. If you can't, it's
  21   record. The time is 10:59.                        21   okay.
  22          (Off the record discussion.)               22      A. I can't.
  23          THE VIDEOGRAPHER: Back on the record.      23      Q. Okay. So if we go back to Exhibit 2
  24   The time is 11:00 o'clock.                        24   and we look at the very last page, Page 55, so
  25   BY MR. FOLKMAN:                                   25   you didn't sign that, did you?


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   1      A. A translation I made to write my name.        1      A. Yes.
   2      Q. Someone else signed it? Someone else          2   BY MR. FOLKMAN:
   3   signed your name for you?                           3      Q. And did the same Haitian adults who
   4      A. Yes, translation, Haitian, I told him         4   you mentioned before, Margarette, Margarita, and
   5   I couldn't sign my name, he said okay.              5   Ms. Merline, also move from Rue 13 to Carenage?
   6      Q. And then it was a man or a woman?             6      A. Yes, the same teachers went on to
   7      A. A man.                                        7   Carenage.
   8      Q. And do you remember his name?                 8      Q. And Andy went on to Carenage?
   9      A. No, I don't remember.                         9      A. Andy had left already. I saw Nicholas
  10      Q. Was his name Jean Ariel Clergé?              10   at the Carenage.
  11      A. Could be. Seems like it.                     11      Q. Is that Nick Preneta?
  12      Q. You don't know, but it might be?             12          MR. GARABEDIAN: Objection.
  13      A. That could be his name. I don't know.        13      A. I don't know his last name. I know
  14      Q. And did you and he have a discussion         14   Nicholas, that's all.
  15   before he signed your name for you?                15   BY MR. FOLKMAN:
  16          MR. GARABEDIAN: Objection. I                16      Q. Was he also an American?
  17   instruct him not to answer as to any               17      A. Yes.
  18   attorney/client conversations.                     18      Q. And he was a white man, not a black
  19      A. What is your question?                       19   man?
  20   BY MR. FOLKMAN:                                    20      A. White man.
  21      Q. Sure. The question was, did you and          21      Q. And were there any other Americans
  22   he have a discussion before he signed your name    22   that you remember working at Carenage other than
  23   for you?                                           23   Nicholas?
  24      A. No, he didn't talk to me, I just told        24      A. Nicholas was the only American. And
  25   him that I couldn't sign my name.                  25   then there was an American woman that came,


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   1      Q. Okay. I'm going to -- well, I'll              1   Jessica used to work at Carenage.
   2   leave that with you, just I'll be sure to get it    2      Q. And that was Jessica Lozier?
   3   at the end.                                         3      A. Yes.
   4          Now, at some point Rue 13 closed,            4      Q. And she spoke Creole?
   5   right?                                              5      A. Yes.
   6      A. Yes.                                          6      Q. And Nicholas spoke Creole?
   7      Q. And that was in about 2004?                   7      A. Yes.
   8      A. Was it in 2004?                               8      Q. And Andy spoke Creole?
   9      Q. Yes.                                          9      A. Yes.
  10      A. That it closed? 2004.                        10      Q. And you would speak with them?
  11          MR. FOLKMAN: Okay. Was he answering         11      A. I used to talk to them, but I didn't
  12   or asking?                                         12   tell them everything.
  13          THE INTERPRETER: In-between.                13      Q. Okay. My pen has vanished. I'm
  14   BY MR. FOLKMAN:                                    14   sorry, give me a second.
  15      Q. All right. Let's make it clear.              15          Was the program at Carenage different
  16          You say that Rue 13 closed in 2004,         16   than the program at Rue 13?
  17   right?                                             17          MR. GARABEDIAN: Objection.
  18      A. Yes.                                         18      A. Same program, were the same also.
  19      Q. Okay. And then a program -- or               19   BY MR. FOLKMAN:
  20   another location opened at Carenage, right?        20      Q. So you had activities, games, and
  21      A. Another center.                              21   school?
  22      Q. And did the same kids with whom you          22      A. Yes.
  23   had attended Rue 13 then start to attend           23      Q. And you were able to wash at Carenage?
  24   Carenage?                                          24      A. Yes.
  25          MR. GARABEDIAN: Objection.                  25      Q. And you were fed at Carenage?


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   1      A. Yes.                                          1   you before you went inside?
   2      Q. And just like at Rue 13, Carenage was         2          MR. GARABEDIAN: Objection.
   3   a place where you would go in the morning and       3      A. When I used to go to Rue 13 and
   4   they would let you in the gate?                     4   Carenage, I used to inhale the thinners. When I
   5          MR. GARABEDIAN: Objection.                   5   went to the Village, I wasn't doing that
   6          THE INTERPRETER: And you --                  6   anymore.
   7          MR. FOLKMAN: And they would let you          7   BY MR. FOLKMAN:
   8   into the gate.                                      8      Q. Okay. Were you doing that inside Rue
   9      A. Every morning.                                9   13 and Carenage, or were you doing that before
  10   BY MR. FOLKMAN:                                    10   you got inside for the day?
  11      Q. And then in the afternoon, at some           11          MR. GARABEDIAN: Objection.
  12   time in the afternoon you would leave because      12      A. In the street when I go in, I hide the
  13   you didn't sleep there?                            13   thinners outside, but they always detect the
  14      A. Yes, we slept in the street.                 14   smell on me.
  15      Q. Let me ask you about living on the --        15   BY MR. FOLKMAN:
  16   well, first of all, you did sleep at Carenage      16      Q. But you wouldn't bring the stuff into
  17   sometimes, for example when it rained, right?      17   the centers?
  18      A. Yes. Nick always comes to pick us up         18          MR. GARABEDIAN: Objection.
  19   when it's raining, because when it's raining       19      A. I don't go inside with the bottle, but
  20   things get hard for us, our clothes get wet, and   20   I go with the cloth and I sniff it. But the
  21   then he makes us stay at the Carenage to sleep     21   Haitian professor takes it away from me and
  22   over. But when there's no rain, then we sleep      22   tells me it's not good because it will make me
  23   in the street.                                     23   go crazy, it will break my brains.
  24      Q. Okay. When you were living on the            24   BY MR. FOLKMAN:
  25   street, there were street kids who would use       25      Q. And the Haitien professor, that's

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   1   paint thinner or other drugs?                       1   either Ms. Merline, Margarita, or Margarette, is
   2      A. I used to take -- to do thinners.             2   that true?
   3      Q. And when did you stop doing that?             3      A. Margarette used to take the cloth away
   4      A. When I reached my age.                        4   from me.
   5      Q. I don't understand. Do you mean just          5      Q. Okay. And when you were on the
   6   recently?                                           6   street, was there also violence that you
   7      A. No, it's been a little while.                 7   experienced?
   8      Q. Was it before or after you left the           8      A. In the street?
   9   Village that you stopped using paint thinner?       9      Q. Yes.
  10      A. When I went to the Village I stopped         10      A. In the street if I see violence, if I
  11   taking -- doing thinners.                          11   used to see violence?
  12      Q. And you haven't done it since then?          12      Q. I'm asking if you ever experienced it;
  13      A. Yes.                                         13   for example, if anybody ever attacked you or
  14      Q. Okay. And were there other drugs that        14   tried to beat you up in the street.
  15   you know -- well, first, were there other drugs    15      A. If someone attacked me?
  16   that you were using?                               16          MR. GARABEDIAN: Objection.
  17          MR. GARABEDIAN: Objection.                  17      A. I used to fight a lot, but I have a
  18      A. I drink homemade, home-brewed alcohol        18   lot of bruises and marks.
  19   called kleren to calm down. When my head goes      19   BY MR. FOLKMAN:
  20   spinning I use -- I drink that because of things   20      Q. Who were you fighting with?
  21   that preoccupy me.                                 21      A. Between kids, street kids.
  22   BY MR. FOLKMAN:                                    22      Q. So fights among the street kids?
  23      Q. When you would go to Rue 13 or to            23      A. Yes.
  24   Carenage, is it true that they would make sure     24      Q. And did the police -- did you ever
  25   that you didn't have any drugs or alcohol with     25   have trouble with the police?


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   1      A. No.                                           1      Q. It must have been really upsetting for
   2      Q. And did you ever have problems with           2   you to see the dead body of Little Peter?
   3   people who weren't street kids, whether throwing    3          MR. GARABEDIAN: Objection.
   4   things at you, or telling you to get out of         4      A. That could have happened to me,
   5   where you were, anything like that?                 5   because I also sleep in the street.
   6          MR. GARABEDIAN: Objection.                   6   BY MR. FOLKMAN:
   7      A. Once you live in the streets, you             7      Q. So it was frightening?
   8   never live in peace.                                8          MR. GARABEDIAN: Objection.
   9   BY MR. FOLKMAN:                                     9      A. I was scared.
  10      Q. What do you mean by that?                    10   BY MR. FOLKMAN:
  11      A. When you're in the street, you               11      Q. So what did you do?
  12   wouldn't believe, but so much catastrophes can     12      A. I slept further away, further.
  13   happen to you, bad things can happen to you,       13      Q. Okay. And you were too young, at nine
  14   because you don't have any insurance. You wake     14   or ten, to make a decision about what to do
  15   up in the morning, and maybe they shot at          15   about the body, right?
  16   someone, or they shot someone, and maybe they      16          MR. GARABEDIAN: Objection.
  17   threw a block on -- just on somebody's head,       17      A. Huh?
  18   that can happen.                                   18   BY MR. FOLKMAN:
  19      Q. Did that ever happen to you or someone       19      Q. In other words, no one would expect a
  20   in your group?                                     20   nine year old or ten year old to go to the
  21      A. It happened to a kid in the group.           21   police or anything like that, would they?
  22      Q. Who was that?                                22          MR. GARABEDIAN: Objection.
  23      A. Ti Peter, Little Peter, Ti Peter.            23      A. I didn't go to the police for Ti
  24      Q. Was he hit with a block on his head?         24   Peter. I just saw the dead and I turned my head
  25      A. Yes.                                         25   and left.

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   1      Q. And did it kill him?                          1   BY MR. FOLKMAN:
   2      A. His head exploded, and he -- there was        2     Q. Do you know whether any of the other
   3   a lot of blood.                                     3   boys did or not?
   4      Q. Were you sleeping in that area when           4          MR. GARABEDIAN: Objection.
   5   that happened to him?                               5     A. Douglas was in charge of the death.
   6      A. I wasn't sleeping in the same area as         6   He's the one who buried him.
   7   he was, but in another one, and the next morning    7   BY MR. FOLKMAN:
   8   I saw it.                                           8     Q. Okay. How do you know that?
   9      Q. You saw the body?                             9     A. We went to the burial, we wore our
  10      A. I saw him when he was dead.                  10   project uniform, all of the little kids.
  11      Q. And how old were you then?                   11     Q. Got it.
  12      A. Nine, ten years old.                         12          I want to start to ask you now about
  13      Q. So you were one of the little ones?          13   the times when you said that Douglas Perlitz
  14          MR. GARABEDIAN: Objection.                  14   abused you.
  15      A. I was a small child, yes.                    15     A. Yeah, Douglas abused me, he put his
  16   BY MR. FOLKMAN:                                    16   penis in my butt four times.
  17      Q. And were there older children who also       17     Q. Okay. So first I want to make sure
  18   saw?                                               18   that I know when you say this happened. And you
  19      A. I don't remember. There were a lot of        19   believe it was in 2003 or 2004, right?
  20   us there.                                          20     A. Yes.
  21      Q. So that must have been really                21     Q. And at about that time, you hadn't
  22   upsetting?                                         22   moved to the Village yet, right?
  23          MR. GARABEDIAN: Objection.                  23          MR. GARABEDIAN: Objection.
  24      A. What?                                        24     A. I was at the Village. I didn't have a
  25   BY MR. FOLKMAN:                                    25   bed yet.


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   1   BY MR. FOLKMAN:                                     1   the Village until after you had slept in that
   2      Q. Oh, okay. So do you mean that the             2   car for 17 days?
   3   abuse that you say happened took place in that      3          MR. GARABEDIAN: Objection.
   4   17 day period when you were already at the          4      A. In the morning, the car would go to
   5   Village but you didn't have a bed?                  5   the Village every morning, so when the driver
   6          MR. GARABEDIAN: Objection.                   6   came I just went with him to the Village.
   7      A. I used to sleep in a car inside               7   BY MR. FOLKMAN:
   8   Douglas's home in Bel Air.                          8      Q. Yes. And you didn't have a bed at the
   9   BY MR. FOLKMAN:                                     9   Village then, right?
  10      Q. Yes, you said that. And that was the         10      A. Yes, meaning that's why I used to
  11   period of time when you say Douglas abused you?    11   sleep in the car.
  12          MR. GARABEDIAN: Objection.                  12      Q. I understand. So my question was, you
  13      A. No, he already abused me.                    13   never slept at the Village, at the Village,
  14   BY MR. FOLKMAN:                                    14   until after that time when you had slept in the
  15      Q. He had abused you before that time           15   car?
  16   when you slept in the car?                         16      A. After the 17 days, I went to sleep at
  17      A. Yes, that had already happened before.       17   the Village, and I stayed there all the time.
  18      Q. Okay. And that time when you slept in        18      Q. And you had never slept there before?
  19   the car, that was the first 17 days that you       19          MR. GARABEDIAN: Objection.
  20   were at the Village, is that true?                 20      A. Yes, I was sleeping in the car. Every
  21          MR. GARABEDIAN: Objection.                  21   morning I used to go to the Village.
  22      A. Yes. It was -- I didn't have a bed           22   BY MR. FOLKMAN:
  23   yet, then they bought a bed and I went inside,     23      Q. Yes. I'm sorry, I'm not trying to
  24   in the Village, and I was sleeping at the          24   confuse you, I'm just trying to get at, before
  25   Village.                                           25   that time when you were sleeping in the car, you


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   1   BY MR. FOLKMAN:                                     1   had never slept in the Village? Yes or no.
   2      Q. Right. So if Douglas had already done         2      A. No, they bought a bed for me.
   3   the abuse before you went to sleep in that car,     3      Q. After the car?
   4   that means you weren't at the Village yet,          4      A. Yes, I didn't have a bed at the
   5   right?                                              5   Village, that's why I slept in the car.
   6          MR. GARABEDIAN: Objection.                   6      Q. Yes. And because you never had a bed,
   7      A. Repeat, please.                               7   you never slept there until you had a bed?
   8   BY MR. FOLKMAN:                                     8          MR. GARABEDIAN: Objection.
   9      Q. Sure. I'm just trying to get the              9      A. Before the bed I never slept at the
  10   chronology, the time. So what I'm interested in    10   Village, but I used to go every morning.
  11   knowing is, did the period of abuse happen         11   BY MR. FOLKMAN:
  12   before that time when you said you were sleeping   12      Q. I understand.
  13   for 17 days in the car near -- right outside of    13          So you've told me that the abuse
  14   Bel Air?                                           14   happened before the time when you slept in the
  15          MR. GARABEDIAN: Objection.                  15   car for 17 days.
  16      A. He did this to me before the 17 days.        16      A. The abuse had already happened, that's
  17   BY MR. FOLKMAN:                                    17   why I didn't sleep at Douglas's. That's why I
  18      Q. Okay. I understand that.                     18   was sleeping in the yard in the car.
  19          And is it true that you never slept at      19      Q. Okay. And you told me that the time
  20   the Village until after you had slept in that      20   when you slept in the car was the very beginning
  21   car for 17 days?                                   21   of your time at the Village?
  22          THE INTERPRETER: Can you repeat?            22          MR. GARABEDIAN: Objection.
  23          MR. FOLKMAN: Sure. That's okay.             23      A. Yes, when I had just entered the
  24   BY MR. FOLKMAN:                                    24   Village, I didn't have a bed yet.
  25      Q. Is it true that you didn't sleep at          25   BY MR. FOLKMAN:


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   1      Q. Okay. So that means that the abuse             1   BY MR. FOLKMAN:
   2   happened before you got to the Village, right?       2      Q. Okay. So you walked to Bel Air?
   3          MR. GARABEDIAN: Objection.                    3      A. Yes, I walked.
   4      A. Yes.                                           4      Q. All right. Had you ever been to
   5   BY MR. FOLKMAN:                                      5   Bel Air before?
   6      Q. Okay.                                          6         MR. GARABEDIAN: Objection.
   7          MR. FOLKMAN: Do you need a break?             7      A. Before what?
   8          THE VIDEOGRAPHER: No, but with the            8   BY MR. FOLKMAN:
   9   fan on, I really need his voice louder.              9      Q. Before you went to get your foot
  10   BY MR. FOLKMAN:                                     10   looked at.
  11      Q. And, in fact, the abuse happened when         11         MR. GARABEDIAN: Objection.
  12   you were still at the program at Carenage,          12      A. No, I went to Bel Air to have my foot
  13   right?                                              13   taken care of.
  14          MR. GARABEDIAN: Objection.                   14   BY MR. FOLKMAN:
  15      A. I was in both, in Carenage and                15      Q. And that was the first time you had
  16   Village. This had already happened when I was       16   ever been to Bel Air?
  17   in the Village.                                     17         MR. GARABEDIAN: Objection.
  18   BY MR. FOLKMAN:                                     18      A. No, I used to go to Bel Air.
  19      Q. Are you saying that the first time it         19   BY MR. FOLKMAN:
  20   happened was when you were at Carenage, but some    20      Q. Okay. You had been there before?
  21   other times that it happened you were either        21      A. I used to go with Nicholas.
  22   sleeping at the Village or sleeping in the car?     22      Q. Okay. When you got to Bel Air, was
  23          MR. GARABEDIAN: Objection.                   23   the gate -- was there someone at the gate?
  24      A. I wasn't -- I was -- after that               24      A. Yes, a guard, a security guard. There
  25   happened I didn't sleep -- I didn't sleep inside    25   was a manager.

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   1    Douglas's home, I slept in the car.                 1      Q. Do you know who that was?
   2    BY MR. FOLKMAN:                                     2          MR. GARABEDIAN: Objection.
   3        Q. And Douglas never abused you in the          3      A. I don't remember. I don't know.
   4    car, did he?                                        4   BY MR. FOLKMAN:
   5        A. No. Inside the house.                        5      Q. What time of day was it?
   6       Q. And that took place before the car?           6      A. When I went -- when I was hurt?
   7           MR. GARABEDIAN: Objection.                   7      Q. Yes.
   8        A. It happened before. After that               8      A. What time was it?
   9    happened I slept in the car. I didn't want it       9      Q. What time did you get to Bel Air?
  10    to happen again.                                   10      A. I didn't check.
  11    BY MR. FOLKMAN:                                    11      Q. Okay. Was it the morning, the
  12        Q. Okay. Now, we'll come back to this.         12   afternoon, the nighttime?
  13    The first time it happened you said, I think, it   13      A. Afternoon.
  14    was in 2003 or 2004, right?                        14      Q. Okay. And when you got to the house,
  15        A. Yes.                                        15   did you knock on the door?
  16        Q. And your foot had gotten cut by glass,      16      A. I knocked on the gate, the manager
  17    is that right?                                     17   opened, he saw I was hurt, he called Douglas.
  18        A. Yes.                                        18      Q. Okay. And Douglas came downstairs,
  19        Q. And where did that happen?                  19   right?
  20        A. The glass fell on my foot.                  20      A. He took care of my foot and brought me
  21        Q. But I mean was it at Carenage, or was       21   to his room.
  22    it somewhere else in the city?                     22      Q. Okay. I want to make sure I
  23           MR. GARABEDIAN: Objection.                  23   understand sort of what was going on at the
  24        A. In the street. I went to Bel Air to         24   house.
  25    have it taken care of.                             25          Were there other people there when


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   1   this happened?                                      1      A. Yes.
   2      A. Just Douglas was in the house.                2   BY MR. FOLKMAN:
   3      Q. So it was the two of you, and no one          3      Q. And there's no second story on the
   4   else in the house?                                  4   house where you could go up higher?
   5      A. Yeah, I came, I appeared, I came in so        5          MR. GARABEDIAN: Objection.
   6   there was two. With the manager outside, he         6      A. No.
   7   went to his own side.                               7   BY MR. FOLKMAN:
   8      Q. The manager you mean?                         8      Q. So when you say that Douglas came
   9      A. Yes, the manager.                             9   downstairs and told you that you had to sleep
  10      Q. Okay. Now, in your answer Number 19          10   over the night, does that mean that you were
  11   in Exhibit 2, you wrote, and I'm reading the       11   already at the bottom of the staircase when he
  12   English, "Douglas came downstairs with only red    12   came down to you?
  13   short pants on."                                   13          MR. GARABEDIAN: Objection.
  14      A. He came with the red shorts on, just         14      A. He brought me downstairs, and he went
  15   red shorts on, and said "you're going to sleep     15   to the room with me.
  16   here." Then he brought me to his place, and he     16   BY MR. FOLKMAN:
  17   touched my front, and he put his penis in my       17      Q. Okay. So he met you on the first
  18   butt. The next day he had shorts, Nike white       18   floor?
  19   shorts, Nike.                                      19      A. He found me on the first floor, and he
  20      Q. He gave you white shorts?                    20   went down, and we went through the kitchen.
  21      A. Yes, he gave me shorts to wear.              21   There are two ways you can go, you can go
  22      Q. And they were white Nike shorts, is          22   through the courtyard or through inside.
  23   that right?                                        23      Q. Okay. And he took you down the
  24          MR. GARABEDIAN: Objection.                  24   stairs?
  25      A. Adidas, brown.                               25      A. Yes.

                                            Page 83                                                Page 85
   1    BY MR. FOLKMAN:                                    1      Q. And you knew --
   2       Q. What did he give you that was Adidas?        2      A. If he doesn't bring you downstairs,
   3           MR. GARABEDIAN: Objection.                  3   you can't go.
   4       A. I'm sorry?                                   4      Q. Did you know that that was where he
   5    BY MR. FOLKMAN:                                    5   slept before you went down there?
   6       Q. What did he give you that was Nike or        6          MR. GARABEDIAN: Objection.
   7    Adidas?                                            7      A. He told me it was his room.
   8       A. Shorts, with a white Nike shirt.             8   BY MR. FOLKMAN:
   9       Q. Okay. When you went into the house,          9      Q. Did you know that before?
  10    did someone take you down a staircase?            10      A. No. He told me.
  11       A. In Douglas's home.                          11      Q. He told you at that time and not some
  12       Q. So you wrote, or you said that              12   time before?
  13    "Douglas came downstairs with only red short      13      A. No, he told me that at that time. He
  14    pants on." And I'm just picturing the house and   14   didn't have time to tell me that before.
  15    trying to understand what exactly happened.       15      Q. Okay. But you did know that you
  16           When you walk into the house, there is     16   weren't allowed to go down that staircase unless
  17    a kitchen, and a living room, and some other      17   he let you, right?
  18    bedrooms, right?                                  18      A. Yeah, but he's the one who brought me
  19       A. Yes.                                        19   down.
  20       Q. And then there's a staircase that goes      20      Q. Okay. So he brought you down, and
  21    down, right?                                      21   then you went into his room?
  22       A. Yes.                                        22      A. Yes. He made me go in first and then
  23       Q. And Douglas's room is down that             23   he closed his door. You can't go inside
  24    staircase, right?                                 24   Douglas's room without Douglas.
  25           MR. GARABEDIAN: Objection.                 25      Q. Okay. And is it in his room that he


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   1    washed and cleaned your foot?                      1      A. Just his laptop, it's always on with
   2       A. No.                                          2   music on.
   3       Q. Where did he do that?                        3      Q. So the laptop was playing music?
   4       A. He had taken care of my foot upstairs,       4      A. Yes, it was making music, but I didn't
   5    and then he says "now you can come, you are        5   check.
   6    going to go sleep in my room."                     6      Q. Was it on loudly or not loudly?
   7       Q. Okay. It was still the afternoon at          7          MR. GARABEDIAN: Objection.
   8    that point?                                        8      A. It's always loud in his room.
   9       A. Afternoon. The sun had started -- had        9   BY MR. FOLKMAN:
  10    already started to set.                           10      Q. Okay. Were the lights on or off when
  11       Q. Was it almost bedtime when you went         11   he was abusing you?
  12    downstairs?                                       12      A. I didn't see any lights on.
  13           MR. GARABEDIAN: Objection.                 13      Q. So someone, presumably Doug, had
  14       A. He bandaged my foot, he said "your          14   turned the lights off?
  15    foot is not well, so you can stay and sleep       15          MR. GARABEDIAN: Objection.
  16    here."                                            16      A. I didn't see any lights on. I don't
  17    BY MR. FOLKMAN:                                   17   know if he's the one who turned them off.
  18       Q. Okay. And when he told you that,            18   BY MR. FOLKMAN:
  19    where was he telling you that you ought to        19      Q. Okay. But there was no one else in
  20    sleep; was it in his bed, or was it in some       20   the house, right?
  21    other bed in that room, or somewhere else?        21      A. No, just him.
  22           MR. GARABEDIAN: Objection.                 22      Q. Okay.
  23       A. He made me lie on a little bed on the       23      A. Just the two of us.
  24    floor, and he was going to sleep on his bed.      24      Q. And he told you not to tell anyone,
  25    BY MR. FOLKMAN:                                   25   right?

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   1       Q. Okay. And did you go to sleep before         1      A. Yeah, he told me not to tell anyone,
   2    he did anything wrong with you?                    2   just personal to him and I.
   3           MR. GARABEDIAN: Objection.                  3      Q. And what did you think when he told
   4       A. He told me to sleep here, to lie here,       4   you don't tell anyone?
   5    when I lied there he started touching me.          5      A. What did I think?
   6    BY MR. FOLKMAN:                                    6      Q. Yes.
   7       Q. Before you fell asleep?                      7      A. Because I could be out of the project.
   8       A. I was going to sleep, but I wasn't           8      Q. Did he tell you that, or is that just
   9    asleep yet.                                        9   something you understood?
  10       Q. Okay. So when you start -- so then          10          MR. GARABEDIAN: Objection.
  11    tell me exactly what happened.                    11      A. He said it should be personal between
  12       A. The first time?                             12   the two of them, so I thought he could put me
  13       Q. Just talking about the first time.          13   out of the project, because he said it should
  14       A. The first time Douglas put his penis        14   remain personal.
  15    in my butt, the glass fell on my foot, and I      15   BY MR. FOLKMAN:
  16    went to Bel Air to have it attended. Douglas      16      Q. And were you worried about what would
  17    told me "you have to stay here in his room."      17   happen to you if he did put you out of the
  18    When I was lying on the little bed in his room,   18   project?
  19    he started touching my stomach, my butt, my       19      A. Yes.
  20    penis, and then he put his penis in my butt, in   20      Q. Did you know anybody else who had been
  21    my anus.                                          21   put out of the project?
  22       Q. Okay.                                       22          MR. GARABEDIAN: Objection.
  23       A. I yelled, "oh, it hurts."                   23      A. I know that he threw out -- someone
  24       Q. Was there any radio or other noise in       24   out of the project, Pina.
  25    his room? Did he have the radio on?               25   BY MR. FOLKMAN:


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   1      Q. And do you know who happened to Pina?        1   BY MR. FOLKMAN:
   2      A. He had us pray, and he wrote                 2      Q. But he hadn't written it at the time
   3   everywhere that Douglas was doing gay things       3   that you were abused, had he, back in 2003 or
   4   with us, he wrote it everywhere in the streets     4   2004?
   5   in Cap-Haïtien, he even wrote it on the project    5          MR. GARABEDIAN: Objection.
   6   wall, and that's why they threw him out.           6      A. These things had already happened
   7      Q. So did this happen -- this happened          7   before that.
   8   after Douglas had abused you?                      8   BY MR. FOLKMAN:
   9      A. Yeah, that's why I didn't want them to       9      Q. Before you were abused?
  10   throw me out also.                                10      A. I was already a victim, but Pina was
  11      Q. Okay. You're saying that someone            11   older.
  12   named Pina wrote the graffiti that would appear   12      Q. I guess I'm just trying to understand,
  13   in the streets of Cap-Haïtien that was saying,    13   was he kicked out of the project before or after
  14   for example, Douglas masisi?                      14   you were abused?
  15          MR. GARABEDIAN: Objection.                 15      A. Before that happened to me?
  16      A. Yes.                                        16      Q. He was kicked out before that happened
  17   BY MR. FOLKMAN:                                   17   to you?
  18      Q. And do you know the rest of Pina's          18      A. That already happened.
  19   name?                                             19      Q. I don't mean to -- I'm sorry if I'm
  20      A. No. I just know Pina.                       20   asking a confusing question.
  21      Q. He was a young boy that was at the          21          What I'm asking is, was Pina kicked
  22   project?                                          22   out of the project before the first time you
  23      A. Yeah, a little boy from the project.        23   were abused, or after the first time you were
  24      Q. Do you know, was he younger or older        24   abused?
  25   than you were?                                    25          MR. GARABEDIAN: Objection.

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   1     A.     Older.                                    1      A. When they put Pina out, the four times
   2     Q.     And did you ever talk with him?           2   had already gone by.
   3     A.     No, I didn't talk to him.                 3   BY MR. FOLKMAN:
   4     Q.     You've never spoken to him?               4      Q. Okay.
   5          MR. GARABEDIAN: Objection.                  5      A. Already happened.
   6      A. But I've seen the things he wrote, and       6      Q. And did you know anybody else -- at
   7   I know they put him out of the project.            7   the time, the first time that you say you were
   8   BY MR. FOLKMAN:                                    8   abused, did you know anybody else who had been
   9      Q. Okay. But I guess my question is, you        9   kicked out of the project?
  10   never spoke with him, right?                      10          MR. GARABEDIAN: Objection.
  11          MR. GARABEDIAN: Objection.                 11      A. Before I was abused?
  12      A. No.                                         12   BY MR. FOLKMAN:
  13   BY MR. FOLKMAN:                                   13      Q. Yes.
  14      Q. Okay. And he was writing this               14      A. If they had put somebody out?
  15   graffiti -- first of all, how did you know it     15      Q. Yes.
  16   was Pina writing the graffiti?                    16      A. I don't know.
  17      A. In the streets, that's what people are      17          MR. FOLKMAN: Okay. Can I go -- it's
  18   saying, that Pina did it because he was a         18   noon. I'd like to go for maybe five more
  19   victim, and since he was small he was doing gay   19   minutes, and then we'll take lunch, and then I
  20   things with him, that's why he wrote it.          20   think we've agreed that we'll come back at 1?
  21      Q. Okay. And he wrote that graffiti, if        21          MR. GARABEDIAN: Yes.
  22   the project closed -- he wrote that sometime in   22   BY MR. FOLKMAN:
  23   2008, would you say?                              23      Q. Okay. After he was finished abusing
  24          MR. GARABEDIAN: Objection.                 24   you, did you stay the rest of the night in that
  25      A. I don't remember.                           25   room?


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   1       A. When he did that to me my butt was            1         AFTERNOON SESSION
   2    hurting, I stayed in the room, in the morning I     2
   3    left.                                               3         (Attorney Hurd now present.)
   4       Q. Okay. And did you see anybody in the          4         THE VIDEOGRAPHER: Back on the record.
   5    house when you were leaving?                        5   The time is 1:51. And we will need to swear in
   6       A. In the morning?                               6   the new interpreter.
   7       Q. Yes.                                          7
   8       A. No, I didn't see anyone else.                 8          MARILYN A. LEROY, Interpreter,
   9       Q. And did you see anybody in the house          9   having been first duly sworn to translate the
  10    at any time while you were there with Doug?        10   testimony, translated the questions and answers
  11       A. The people had already left for work.        11   as follows:
  12       Q. Okay. And did you see anybody else in        12
  13    the house at any time during that first time you   13   BY MR. FOLKMAN:
  14    say you were abused, other than Doug?              14      Q. Welcome back. I apologize for that
  15          MR. GARABEDIAN: Objection.                   15   long delay. We're going to try to make sure,
  16       A. I didn't see any other people, just          16   not for you, but for the other young men who are
  17    Doug.                                              17   going to be deposed that that doesn't happen
  18    BY MR. FOLKMAN:                                    18   again.
  19       Q. When you left in the morning, did Doug       19          So before the lunch break we were
  20    come upstairs with you?                            20   talking about the first time that you say Doug
  21          MR. GARABEDIAN: Objection.                   21   Perlitz abused you at Bel Air, and you were
  22       A. In the morning?                              22   saying that he had stayed in his room, and you
  23    BY MR. FOLKMAN:                                    23   had gone upstairs, and you were angry because of
  24       Q. Yes, when you left.                          24   what had happened.
  25       A. When I was going?                            25          MR. GARABEDIAN: Objection.


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   1       Q. Yes.                                          1    BY MR. FOLKMAN:
   2       A. He opened the door, he made me go, he         2      Q. After you got upstairs, where did you
   3    stayed in Bel Air, and he made me go down.          3    go?
   4       Q. Did he stay in his bedroom, or did he         4      A. I went outside in the street.
   5    come up the stairs with you?                        5      Q. And after you got into the street,
   6       A. He stayed in his room, I went -- I            6    where did you go?
   7    went up the stairs. I was mad because of what       7      A. Where we usually wash cars.
   8    had happened.                                       8      Q. So you went to go wash cars then, and
   9       Q. Okay. Let's stop there and we'll come         9    not over to Carenage or 13th Street?
  10    back, okay? We're going to have a lunch break,     10      A. I went to 16th Street to wash my car.
  11    and we'll come back at 1:00 o'clock.               11      Q. Okay. And you were washing cars for
  12          THE VIDEOGRAPHER: Going off the              12    other people for a little bit of money?
  13    record. The time is 12:02.                         13      A. They give me a little money.
  14          (Whereupon, a luncheon recess was            14      Q. Okay.
  15          taken.)                                      15      A. They gave me a little money.
  16                                                       16      Q. And this was in the morning, right?
  17                                                       17          MR. GARABEDIAN: Objection.
  18                                                       18      A. Are you asking if it happened in the
  19                                                       19    morning?
  20                                                       20    BY MR. FOLKMAN:
  21                                                       21      Q. I'm asking if when you left the house
  22                                                       22    and went to 16th Street, if that was in the
  23                                                       23    morning.
  24                                                       24      A. Yes, in the morning.
  25                                                       25      Q. And what did you do the rest of that


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   1   day?                                               1   ever had -- let me start again.
   2      A. For the rest of the day I didn't feel        2          You didn't tell Ms. Monprophéte that
   3   normal because he made me do homosexual sex, so    3   Douglas had sexually abused you, did you?
   4   I went and I be --                                 4          MR. GARABEDIAN: Objection.
   5      Q. Okay. Did you -- you were in some            5      A. No, I was ashamed, too ashamed to tell
   6   pain?                                              6   her.
   7      A. Yes, I was in pain.                          7   BY MR. FOLKMAN:
   8      Q. Did you feel that you ought to go to         8      Q. Okay. Now, you did tell, or you say
   9   the hospital or clinic or see a doctor or a        9   you told -- give me a second to get to it -- a
  10   nurse?                                            10   Haitian teacher called Andy. Sorry?
  11          MR. GARABEDIAN: Objection.                 11      A. I told this Haitian, this teacher
  12      A. I didn't go to see a doctor. I went         12   named Haitian, I told him about it, and he said
  13   to see a nurse who was a friend, an old friend    13   not to talk about it or I'll get kicked out of
  14   of my mother, her name is Miss Monprophéte, and   14   the program.
  15   I explained to her what happened.                 15      Q. Okay. Let me ask you -- I'm going to
  16   BY MR. FOLKMAN:                                   16   ask the translator to read to you the Creole of
  17      Q. Okay. Can you give me that name one         17   your answer to Question Number 24, and I'm going
  18   more time, please?                                18   to read it to you in English, okay?
  19      A. Ms. Monprophéte, Monprophéte.               19          So you said "I told a Haitian" --
  20          MR. FOLKMAN: Can you spell what you        20          THE INTERPRETER: Hold on one second.
  21   think he's saying, the last name?                 21          MR. FOLKMAN: It's Number 24.
  22          THE INTERPRETER: M-O-N-P-R-O-P-H-E-T.      22          THE INTERPRETER: 24?
  23   BY MR. FOLKMAN:                                   23          MR. FOLKMAN: Yes.
  24      Q. Ms. Monprophéte. And she was an old         24   BY MR. FOLKMAN:
  25   friend of your mothers?                           25      Q. So you said, at least in English, "I

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   1      A. Yes.                                         1   told a Haitian teacher called Andy."
   2      Q. And she was someone that you had known       2      A. Yes.
   3   as a child?                                        3      Q. Okay. So who -- I'm confused. Who is
   4          MR. GARABEDIAN: Objection.                  4   Andy, the Haitian teacher?
   5      A. Yes.                                         5      A. A teacher working at the center.
   6   BY MR. FOLKMAN:                                    6      Q. At which center now; at Carenage?
   7      Q. And where did she live?                      7      A. Yes.
   8      A. 22nd Street L.                               8      Q. And he was a Haitian?
   9      Q. And is that where you went to see her?       9      A. Yes.
  10      A. I went to her home.                         10      Q. So he was a black man?
  11      Q. And was she -- was this the same day        11      A. Yes.
  12   that you had left the house after being abused?   12      Q. And do you know any of his other
  13      A. No, it was later on, because I had --       13   names?
  14   in my buttocks I had some bubbles like, sort of   14      A. No.
  15   like in my behind, so I went to see her.          15      Q. Were there other Haitian teachers --
  16      Q. Okay. And you say you told her what         16   start again.
  17   had happened. Does that mean you told her that    17          You had told me earlier about three
  18   Douglas had abused you?                           18   women, Merline, Margarita, and Margarette, who
  19          MR. GARABEDIAN: Objection.                 19   were the teachers at 13th Street, right?
  20      A. I didn't say that. I told them that         20          THE INTERPRETER: Merline?
  21   there were just bubbles, kind of bumps in my      21          MR. FOLKMAN: Merline, Margarita, and
  22   behind.                                           22   Margarette.
  23   BY MR. FOLKMAN:                                   23   BY MR. FOLKMAN:
  24      Q. Okay. So you didn't tell                    24      Q. Who were the Haitian teachers at 13th
  25   Ms. Monprophéte that Douglas -- that you had      25   Street, right?


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   1       A. Yes, Marlene and Margarette, they were       1          MR. FOLKMAN: Okay. Well, that was --
   2    teachers at 13th Street.                           2          MR. STEWART: It would be no
   3       Q. And they moved to Carenage, you told         3   different -- my thought would be it would be no
   4    me, right?                                         4   different than if I heard the wrong question and
   5       A. Yes.                                         5   said, wait, he's answering the wrong question.
   6       Q. And were there other Haitian teachers        6   We don't anticipate slowing you up, but if we
   7    at Carenage?                                       7   hear the question that there's been a mistake or
   8       A. Yes.                                         8   misunderstanding as to what's being asked, I
   9       Q. And who were they?                           9   think you would rather have a correct record,
  10       A. I don't know their names.                   10   wouldn't you?
  11       Q. One of them was Andy, right?                11          MR. FOLKMAN: Of course I want a
  12       A. Yes.                                        12   correct record.
  13       Q. And do you know the names of any of         13          MR. STEWART: That's all we were
  14    the others?                                       14   trying to do.
  15       A. No, Andy is the only one that I was         15          MR. FOLKMAN: We did specially
  16    used to.                                          16   negotiate this point because we were concerned
  17       Q. Okay. And he told you not to tell           17   about delays from multiple interpreters.
  18    anybody?                                          18          Are you ready?
  19       A. He told me not to talk about it so I        19          THE INTERPRETER: I'm ready.
  20    don't get kicked out of the project.              20   BY MR. FOLKMAN:
  21       Q. And is that why you didn't talk about       21      Q. Let me read you the question.
  22    it?                                               22          After the first time that you told us
  23       A. Yes.                                        23   that you were abused, you were abused again,
  24       Q. You never told, or did you, did you         24   weren't you?
  25    ever tell the other Andy that you told me about   25      A. Yes. After the first, the first time


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   1   earlier, the American, the white man?               1   he abused me, he put his penis in my behind
   2          MR. GARABEDIAN: Objection.                   2   again a second time.
   3      A. No.                                           3      Q. And that was two to three months
   4   BY MR. FOLKMAN:                                     4   later?
   5      Q. Okay. So after that first time that           5      A. Yes.
   6   you have told us you were abused, you were          6      Q. And you have said in your written
   7   abused again, weren't you?                          7   answers that at that time you were in a
   8      A. Someone else abused me?                       8   punishment?
   9          MR. GARABEDIAN: Objection. There's a         9      A. Yes, I was punished at the Village, so
  10   mistake in the question.                           10   I was sent home.
  11          (Interpreters speaking.)                    11      Q. And what were you punished for?
  12          THE INTERPRETER: I think I said it          12      A. Because I was fighting with another
  13   right. Can you repeat it again?                    13   kid at the Village.
  14          MR. FOLKMAN: Sure. I just note, we          14      Q. Okay. And were you, in fact, fighting
  15   had an agreement not to do this.                   15   with another kid?
  16          MR. GARABEDIAN: I'm sorry. What was         16          MR. GARABEDIAN: Objection.
  17   the agreement?                                     17      A. Yes.
  18          MR. FOLKMAN: That you could have an         18   BY MR. FOLKMAN:
  19   interpreter here to help you communicate with      19      Q. And who was that kid?
  20   your client, but that we would a single            20      A. Another classmate.
  21   interpreter who would be interpreting. If you      21      Q. Do you know his name?
  22   had issues, you could raise them later.            22      A. No, I don't know his name.
  23          MR. STEWART: I don't know that that's       23      Q. Okay. Can I ask you, sir, please, to
  24   the --                                             24   try to keep your voice up again? I know it's
  25          MR. GARABEDIAN: I don't recall.             25   hard to do, but it would help the videographer


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   1   to get a good recording.                            1      Q. Okay. When you got -- where did he
   2      A. Okay.                                         2   take you in the white car?
   3      Q. Thank you.                                    3      A. We went -- he took me to the home in
   4          Now, when you say that you were sent         4   Bel Air, so -- and told me to come in.
   5   home, where did they send you to?                   5      Q. Okay. And when you got there, there
   6      A. I was sent home, but I went back into         6   was a watchman who opened the gate?
   7   the streets.                                        7      A. Yes.
   8      Q. And Douglas saw you the night that you        8      Q. Okay. You and Douglas went into the
   9   were sent home, is that true?                       9   house?
  10      A. Douglas saw me around 9, and he told         10      A. Yes, we went inside with the car.
  11   me I shouldn't be out in the street at this        11      Q. And then you got out of the car and
  12   time, let's go home.                               12   went into the house?
  13      Q. Which person was it, by the way, at          13      A. When I came out of the car and he told
  14   the Village who told you you had to go home?       14   me to go inside the house, let us go inside the
  15      A. A professor named Robenson. A                15   house.
  16   director, he's a director.                         16      Q. Did you see other people in the house?
  17      Q. Okay. Was Doug in his car when he saw        17      A. No, just him.
  18   you on the street, or was he walking?              18      Q. Okay. He gave you some food?
  19      A. No, he was in a white car.                   19      A. Yes.
  20      Q. Okay. And did he ask you to get into         20      Q. And he asked you to take a shower?
  21   the car?                                           21      A. He told me to take a shower --
  22      A. He said "let's go home, because what         22          MR. GARABEDIAN: Off the record.
  23   are you doing in the street? You don't live in     23          You're cutting him off. Let him tell
  24   the street."                                       24   his story.
  25      Q. Was this on 22nd Street?                     25          THE INTERPRETER: He's going too long,


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   1           MR. GARABEDIAN: Objection.                  1   so I will come back.
   2       A. No, in the street.                           2          MR. GARABEDIAN: He has a right to say
   3    BY MR. FOLKMAN:                                    3   what he's going to say.
   4       Q. Okay. Where were you sleeping when           4          THE INTERPRETER: I will come back to
   5    you were on a punishment and outside of the        5   it. I'm sorry.
   6    Village?                                           6   BY MR. FOLKMAN:
   7           MR. GARABEDIAN: Objection.                  7      Q. So let's ask the question again.
   8       A. In the streets.                              8          THE INTERPRETER: I said hold on a
   9    BY MR. FOLKMAN:                                    9   second.
  10       Q. When Doug told you to get into the          10   BY MR. FOLKMAN:
  11    car, did you have any concerns about getting in   11      Q. He asked you to take a shower? That's
  12    the car with him?                                 12   the question.
  13           MR. GARABEDIAN: Objection.                 13      A. Yes.
  14       A. He told me to get into the car, so I        14      Q. Did you have any discussion with him
  15    went back in the car. Then I said to him "can I   15   when you got into the house?
  16    go back into the Village?"                        16      A. Yes. I asked him when I could go back
  17    BY MR. FOLKMAN:                                   17   to the Village, and he said to me that he's
  18       Q. Were you afraid to get in the car with      18   going to do the same thing again, he's going to
  19    him?                                              19   put his penis into my buttocks. And he said
  20       A. I was afraid. I asked where we were         20   "wouldn't you like to be like the other guys at
  21    going, and he said "we're going home."            21   the Village who have money to buy anything they
  22       Q. Were you afraid that he was going to        22   want?" He said "wouldn't you like to go -- to
  23    abuse you again?                                  23   be like the other guys who go to the big school
  24       A. I used to be afraid, but I thought          24   like Sacred Heart, Mandela, where the big guys
  25    that he wasn't interested anymore.                25   go?" He said "those are the expensive schools


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   1   in Haiti, wouldn't you like to go to one of --      1   and white, Caucasian people.
   2   to go to one of those schools and be like those     2      Q. Were they pornographic or dirty
   3   guys? Those are the most expensive schools."        3   pictures, or not?
   4   Then he said to go take a shower.                   4      A. There were some. But afterwards, the
   5          Then when I came out of the shower           5   other pictures were the pictures of the kids in
   6   Douglas was waiting for me with a towel on, and     6   the project.
   7   then he took me into the bedroom, started           7      Q. Okay. So there were some pornographic
   8   touching my body. Then he started touching my       8   pictures that you saw first?
   9   behind, my breasts, and my penis. And then he       9      A. When I walked in there were
  10   put his penis in my behind, and I said "ow," so    10   pornographic pictures, but then it changed to
  11   he put his hand in my mouth so that I don't make   11   the pictures of the kids in the program.
  12   any noise. He touched my whole body and put his    12      Q. Okay. After he was done abusing you,
  13   penis in my behind.                                13   did you stay in the room for the rest of the
  14          Then I asked him when I could go back       14   night?
  15   to the Village, he said that I could go back to    15      A. No. After he abused me I couldn't
  16   the Village the next day.                          16   even take a shower, so I just went to the
  17      Q. Was he making you some promises of the       17   street.
  18   good things that he would do for you if you --     18      Q. Okay. So in the nighttime -- this was
  19   if you let him abuse you?                          19   in the nighttime, was it?
  20          MR. GARABEDIAN: Objection.                  20      A. Are you asking me if it was at night
  21      A. Yes.                                         21   the second time?
  22   BY MR. FOLKMAN:                                    22      Q. Yes.
  23      Q. And was he making -- did you                 23      A. Yes, around 9:00 p.m..
  24   understand that he was making these promises to    24      Q. Okay. And then you're saying that you
  25   you so that you wouldn't tell anybody else what    25   didn't sleep in the room for the rest of the

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   1    had happened to you?                               1   night, you actually left in the middle of the
   2       A. I told you he would keep his promises,       2   night, is that right?
   3    but I realized that he wasn't keeping his          3      A. I asked the guardian to open the door
   4    promises, all he was doing is just putting his     4   for me, the doorman to open the door, I told him
   5    penis in my behind and having homosexual sex       5   that I was leaving. Douglas stayed in his
   6    with, and that's it.                               6   house, in his room.
   7       Q. And just as with the first time of the       7      Q. Okay. Did you see anybody in the
   8    abuse, you were suffering from pain the second     8   house when you came upstairs from Douglas's
   9    time?                                              9   room?
  10       A. The second time it was hurting I went       10          MR. GARABEDIAN: Objection.
  11    to the bathroom, I could not even shower.         11      A. No.
  12       Q. And it was hurting so much that you         12   BY MR. FOLKMAN:
  13    said "ow" while it was happening?                 13      Q. Okay. And who was the watchman, do
  14       A. Yes.                                        14   you remember?
  15       Q. And he put his hand over your mouth to      15      A. I know his face, but I don't know his
  16    keep you quiet?                                   16   name.
  17       A. Yes. When I said "ow," he put his           17      Q. Okay. Was he a Haitian man?
  18    hand in my mouth.                                 18      A. Yes. An older person.
  19       Q. Did he have the music on in his room        19      Q. All right. So when you left the
  20    like the first time?                              20   house, did you go back to the street where you
  21       A. The second time he didn't have music        21   were going to sleep?
  22    like the first time. There was just pictures on   22      A. Yes, I walked the street.
  23    the laptop. The pictures were changing.           23      Q. And then the next day did you go back
  24       Q. What were those pictures of?                24   to the Village?
  25       A. Pictures of the kids in the project,        25      A. I was looking out for the car going to


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   1   the Village the next day.                           1   either the generality of the preceding paragraph
   2      Q. And did you get into it?                      2   or the specific number of instances of illicit
   3      A. The car was going to Bel Air, so I            3   conduct, during the time period referenced
   4   went and got into the car. When I got to the        4   above, Defendant Perlitz coerced Plaintiff into
   5   Village, I was told that my punishment is not       5   performing illicit sexual conduct by means of
   6   over, so I went back to the street.                 6   implicit threats to Plaintiff," which is you.
   7      Q. Okay. How long did your punishment            7          MR. GARABEDIAN: Objection.
   8   last?                                               8   BY MR. FOLKMAN:
   9      A. I don't remember. It was two weeks.           9      Q. When was the first time you told
  10      Q. You think about two weeks, but you           10   anybody that you had been abused in 2007?
  11   don't remember exactly?                            11          MR. GARABEDIAN: Objection. And I
  12      A. No, I don't remember exactly.                12   instruct him not to answer as to any
  13      Q. Okay. And who was it who told you the        13   conversations with his attorneys.
  14   punishment wasn't over?                            14      A. I don't have to answer the question?
  15      A. The director. It was the director            15          MR. GARABEDIAN: I instruct him not to
  16   Robenson. He's after Douglas, Douglas and then     16   answer the question to the extent he refers to
  17   him. He's past Douglas.                            17   any conversations with his attorneys.
  18      Q. Did you go to see any doctor, nurse,         18      A. Okay.
  19   or other healthcare person after the second        19   BY MR. FOLKMAN:
  20   incident of abuse?                                 20      Q. Okay. So I'll say the question again.
  21          MR. GARABEDIAN: Objection.                  21   And I just want to make it clear, I'm not asking
  22      A. After the second time?                       22   you to tell me anything you told your lawyers,
  23   BY MR. FOLKMAN:                                    23   okay? Okay? All right.
  24      Q. Yes.                                         24          So my question to you was, when was
  25      A. No.                                          25   the first time you ever told anybody that you


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   1       Q. Now, you were abused a third time at         1   had been abused in 2007?
   2   Bel Air, is that right?                             2          MR. GARABEDIAN: Objection. I
   3       A. Yes.                                         3   instruct him not to answer as to any
   4       Q. And you told me that the second time         4   conversations he's had with his attorney.
   5   was about two to three months after the first       5          THE WITNESS: You don't like the
   6   time, right?                                        6   question? You object to the question?
   7       A. Yes.                                         7          MR. GARABEDIAN: He can't -- he should
   8       Q. And how long after the second time was       8   not discuss any conversations he's with his
   9   it until the third time?                            9   lawyers.
  10       A. The third time was around 2007.             10   BY MR. FOLKMAN:
  11       Q. Okay. I'm going to read to you a            11      Q. Let me ask this. Did you ever tell
  12   couple of the things that are said in your         12   anybody, other than your lawyers, that you had
  13   complaint, which is Exhibit Number 1. This         13   been abused in 2007?
  14   document is only in English, unlike the other      14          MR. GARABEDIAN: Objection.
  15   one, so I'll ask the interpreter just to           15      A. No.
  16   translate what I'm saying into Creole, okay?       16   BY MR. FOLKMAN:
  17           Okay. So I'm looking on Page 31,           17      Q. Okay. So you say that the third time
  18   Paragraph 99, and you say "In or around 2003,      18   you were abused -- just so that I understand,
  19   when Plaintiff Jamesly Guillaume was               19   the first two times were in 2003 or 2004, right?
  20   approximately 10 years of age, Defendant           20          THE INTERPRETER: I'm sorry, the first
  21   Perlitz, while in Haiti, engaged in explicit       21   time was 2003 and 2004?
  22   sexual behavior and lewd and lascivious behavior   22          MR. FOLKMAN: The first two times were
  23   with Plaintiff, including but not limited to       23   2003 and 2004.
  24   illicit sexual conduct with Plaintiff."            24      A. Yes.
  25           And then you say, "Without limiting        25   BY MR. FOLKMAN:


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   1      Q. And then you're saying that in 2007           1      Q. So when you got there, Jessica was not
   2   there was a third incident?                         2   there, right?
   3      A. Yes.                                          3      A. When I got there, Jessica wasn't
   4      Q. Okay. And at that time you had gone           4   there. Only Douglas was there. Jessica went to
   5   to Bel Air, right?                                  5   Port-au-Prince. Douglas told me that Jessica
   6      A. Yes, I went to Bel Air.                       6   went to Port-au-Prince, and he started making
   7      Q. And your answer to an interrogatory,          7   gestures, he hugged me, and then he said "we
   8   this is Number 19, says you went to Bel Air to      8   have some projects to talk about." He said --
   9   fix some books in Jessica's room. It's Number       9   then he asked me if I wouldn't like to go to the
  10   19, Question Number 19 on this document. Sorry.    10   school, to the big school where the other boys
  11      A. I went to Bel Air to fix some books          11   go to, that the other boys that have their
  12   for Jessica. And I saw Douglas, he was making      12   freedoms. And then he asked me if I wouldn't
  13   some gestures, and he came in hugged me, and       13   like to be with the other boys. And then I said
  14   then he said "Jamesly, we have some projects to    14   "yeah, I would, because, you know, they always
  15   talk about." So I asked where Jessica is, and      15   look good." Then Douglas gave me some food, and
  16   he said that Jessica went to Port-au-Prince.       16   then he told me to go take a shower.
  17      Q. Okay. So who was it who asked you to         17          When I came out of the shower he was
  18   go to Bel Air to fix books in Jessica's room?      18   waiting with a towel on, waiting for me. When I
  19           MR. GARABEDIAN: Objection.                 19   came out of the shower, Douglas took the towel
  20      A. No one. I usually fix books for              20   that was on him, and then he started touching
  21   Jessica, so I went to fix some books for           21   me, started touching my whole body, he put his
  22   Jessica. I thought Jessica was home. When I        22   penis in my buttocks. And then I went out, and
  23   got there, I only saw Douglas, and Douglas told    23   couldn't even take a shower after that.
  24   me that Jessica is not home, he went -- she went   24      Q. Okay. Was this in the daytime, or the
  25   to Port-au-Prince.                                 25   nighttime?


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   1   BY MR. FOLKMAN:                                     1      A. Night.
   2      Q. So this was something that you did for        2      Q. So you were at Bel Air fixing books
   3   Jessica sometimes?                                  3   for Jessica at nighttime, is that right?
   4         MR. GARABEDIAN: Objection.                    4      A. Yes, around 6. Yes, at night around
   5      A. Yes.                                          5   6.
   6   BY MR. FOLKMAN:                                     6      Q. And until Douglas started talking to
   7      Q. And what do you mean when you say             7   you, was it your plan to finish fixing the books
   8   you're going to fix books? What does that mean?     8   and then go back to the Village?
   9      A. What does that mean?                          9          MR. GARABEDIAN: Objection.
  10      Q. Yes. I mean are you building shelves,        10      A. I came to fix the books for Jessica,
  11   or what are you doing?                             11   and Douglas made me stay the whole night. And
  12      A. I'm putting the books in the shelves.        12   the next day he offered to take me to the beach.
  13      Q. So books might be scattered around,          13   He had homosexual sex with me, put his penis in
  14   and you would put them back up on the shelves?     14   my behind, and then he offered to take me to the
  15         MR. GARABEDIAN: Objection.                   15   beach.
  16      A. Yeah, they were all over the table.          16   BY MR. FOLKMAN:
  17   Usually I put them up for her.                     17      Q. Okay. I guess what I'm asking is if
  18   BY MR. FOLKMAN:                                    18   he hadn't made you stay, you would have gone
  19      Q. And did she -- was this something she        19   back to the Village for the night?
  20   liked you to do?                                   20          MR. GARABEDIAN: Objection.
  21      A. Yes.                                         21      A. Yes, if he hadn't asked me to stay, I
  22      Q. You were close with Jessica?                 22   would have left and go back to the street,
  23         MR. GARABEDIAN: Objection.                   23   because I was still punished.
  24      A. Yes, we were friends.                        24   BY MR. FOLKMAN:
  25   BY MR. FOLKMAN:                                    25      Q. Oh, this was still your punishment?


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   1       A. No, my punishment has not yet been           1      A. Yes, I was -- yes, I was going to
   2    lifted. Douglas had to speak on my behalf, and     2   leave, except Douglas asked me to spend the
   3    he hadn't done it.                                 3   night, and then the next day he offered to take
   4       Q. So you were punished all the way from        4   me to the beach, at the hotel named Cormier
   5    2004 to 2007 is your testimony?                    5   Plage.
   6           MR. GARABEDIAN: Objection.                  6      Q. Cormier plage. I understand.
   7       A. No, it didn't go until two thousand --       7          And when you were going to leave,
   8    the punishment didn't go until 2007.               8   before he asked you to go to the hotel, you were
   9    BY MR. FOLKMAN:                                    9   just going to go back out onto the street?
  10       Q. Was there more than one punishment?         10          MR. GARABEDIAN: Objection.
  11       A. I don't know how long I was punished        11      A. Yes, I would go back, I was going to
  12    for, because the professor punish me. After I     12   go back to the Village.
  13    had the fight with the classmate, I told him      13   BY MR. FOLKMAN:
  14    off.                                              14      Q. Go back to the Village?
  15       Q. So I understand that you had a fight        15      A. Yes, that's what I was going to do. I
  16    and Robenson told you you had to leave the        16   was going to go back to the Village, but he
  17    Village, right?                                   17   asked me to stay the night. And then the next
  18       A. Yes.                                        18   day I still couldn't go back to the Village
  19       Q. And you're saying that at this third        19   because he asked me to go to Cormier Plage with
  20    abuse that we were just talking about, if you     20   him. And when we got there, I find out that he
  21    hadn't stayed, you would have gone back to the    21   had already rented a room at the hotel.
  22    street because your punishment wasn't over yet,   22      Q. Okay. So it's not true that your
  23    right?                                            23   punishment was still going on and you would have
  24           MR. GARABEDIAN: Objection.                 24   had to go back out to the street rather than the
  25       A. The third time?                             25   Village?


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   1   BY MR. FOLKMAN:                                     1          MR. GARABEDIAN: Objection.
   2      Q. Yes.                                          2      A. I was going to go back to the Village.
   3      A. The third time I didn't even get a            3   BY MR. FOLKMAN:
   4   chance to fix the books, because Douglas asked      4      Q. Okay. And how were you going to get
   5   me to stay and had homosexual sex with me. And      5   to the Village from Bel Air?
   6   then the next -- I stayed the night, and the        6      A. He always has a white Land Cruiser
   7   next day he asked me to take me to the beach --     7   available for that.
   8   he offered to take me to the beach.                 8      Q. So someone would have driven you back?
   9      Q. Your punishment was still going on at         9      A. Yes, somebody named -- the driver
  10   that point is my question.                         10   named Mo, Boss Mo.
  11          MR. GARABEDIAN: Objection.                  11      Q. Okay. So Douglas, on this third time
  12      A. Was I still punished?                        12   that he abused you again, was making you
  13   BY MR. FOLKMAN:                                    13   promises about schools that you could attend,
  14      Q. Were you still being punished, right.        14   right?
  15          MR. GARABEDIAN: Objection.                  15      A. Yes. He was telling me that I should
  16      A. No.                                          16   have money to go to the big school like the
  17   BY MR. FOLKMAN:                                    17   other guys that have money in their pockets,
  18      Q. Okay. So I want to make sure I               18   they could do whatever they want to do.
  19   understood, because I'm just trying to figure      19      Q. And did you believe that he was going
  20   out what you're saying.                            20   to do these things for you if you and he had sex
  21          I had asked you before, I guess what        21   again?
  22   I'm asking is if he hadn't made you stay the       22          MR. GARABEDIAN: Objection.
  23   night you would have gone back to the Village      23      A. I thought so. It's not that I wanted
  24   for the night, and your answer was? And your       24   to do these things, but I just wanted to do all
  25   answer was?                                        25   these things that he said I could do. Plus he


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   1   was the one directing everything. I was             1   go home. He didn't give me the 100 gourde, and
   2   following. I had to follow what he says.            2   he kept forcing me and forcing me, finally he
   3      Q. And you were afraid, weren't you, that        3   put his penis in my buttocks, and then
   4   if you didn't do what he said you wouldn't be       4   afterwards he give me the hundred gourde. I
   5   allowed to stay in the Village?                     5   took the bus and went home.
   6          MR. GARABEDIAN: Objection.                   6      Q. The reason you asked him for the money
   7      A. If I didn't do what he told me to do,         7   before he abused you was you didn't want him to
   8   I would be kicked out of the Village, I wouldn't    8   abuse you, right?
   9   be able to stay in the program.                     9          MR. GARABEDIAN: Objection.
  10   BY MR. FOLKMAN:                                    10      A. Because I could -- felt that was what
  11      Q. Okay. So you stayed the night at             11   he was going to do, so I asked him for the
  12   Bel Air, right?                                    12   hundred gourdes so I could leave. He wouldn't
  13          MR. GARABEDIAN: Objection.                  13   give me the money until he put his penis in my
  14      A. I stayed the night at Bel Air.               14   buttocks, then he gave me money to go.
  15   BY MR. FOLKMAN:                                    15   BY MR. FOLKMAN:
  16      Q. And the next day you and Douglas drove       16      Q. Okay. And then you left without him?
  17   to Cormier Plage?                                  17      A. Yes, I left, left him at the hotel in
  18      A. Yes. He drove me and we went to              18   the room.
  19   Cormier Plage. He took me to Cormier Plage.        19      Q. Okay. And that's the last time,
  20      Q. On your way out from his room up the         20   right, that Douglas ever abused you?
  21   stairs and out of the house, did you see anybody   21          MR. GARABEDIAN: Objection.
  22   except Douglas?                                    22      A. Yes, that was the last time, at the
  23      A. I didn't see anyone except for the           23   hotel in Cormier Plage, that was the last time.
  24   person who opened the door.                        24   BY MR. FOLKMAN:
  25      Q. The gatekeeper outside of the house?         25      Q. Okay. Let me ask you a question about


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   1      A. Inside.                                       1   Paul Carrier, who we talked about earlier.
   2      Q. Inside the gate, or inside the house?         2          THE INTERPRETER: I'm sorry, what's
   3          MR. GARABEDIAN: Objection.                   3   the name?
   4      A. He's inside, because he has to open           4          MR. FOLKMAN: Paul Carrier.
   5   the door to let the car out.                        5   BY MR. FOLKMAN:
   6   BY MR. FOLKMAN:                                     6      Q. Pere Paul?
   7      Q. He has to open the gate of the main,          7      A. Yes.
   8   of -- where the wall is, right?                     8      Q. You told me earlier that you had seen
   9      A. Yes, he opened the gate to let the car        9   Paul Carrier one time at 13th Street, right?
  10   out to the beach.                                  10      A. I usually just see him once, like I
  11      Q. And that's where you saw him, where he       11   see him on 13th Street once, at the Village
  12   was standing by the gate?                          12   once, at Carenage one time, then I haven't seen
  13      A. Once Douglas got into the car, the           13   him -- I never see him again.
  14   gatekeeper stand by the gate to open the doors     14      Q. So you've seen him maybe three times
  15   and let the car out.                               15   you think?
  16      Q. Okay. And then you and he drove to           16      A. I saw this delegation about three
  17   Cormier Plage, right?                              17   times.
  18      A. Yes. We drove to Cormier Plage, and          18      Q. Okay. And the delegation was Paul
  19   once we got there the guy put his penis in my      19   Carrier, Hope Carter, and Douglas, is that
  20   buttocks, and then we went to the beach.           20   right?
  21      Q. Okay. When he first tried to take            21      A. Yes.
  22   your shorts off when you were in the room with     22      Q. And you already told us, I think, that
  23   him at Cormier Plage, you asked him to give you    23   at 13th Street you didn't speak with Paul
  24   money so you could take a ride home?               24   Carrier because he didn't speak Creole?
  25      A. I asked him for 100 gourde so I could        25      A. No.


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   1      Q. And you didn't speak with him at               1      Q. Was that a lotion?
   2   Carenage because he didn't speak Creole?             2          MR. GARABEDIAN: Objection.
   3      A. Yes, he doesn't.                               3      A. A lotion. It's like a cream.
   4      Q. And you didn't speak to him at the             4   BY MR. FOLKMAN:
   5   Village because he doesn't speak Creole?             5      Q. And did she give you any other
   6      A. No, he doesn't speak Creole.                   6   medicine?
   7      Q. Okay. Let me -- I want to ask you              7      A. No. I didn't take anything else from
   8   about the nurse or the Miss Prophéte that you        8   her.
   9   mentioned before, okay? In your answer to            9      Q. Where were the lumps on your body?
  10   Question Number 29 in Exhibit 2, you said that      10      A. On my behind. I couldn't even sit
  11   you went to the Justinian Hospital and a nurse      11   straight, I had to sit on one side. They would
  12   brought you some medicine, and her name is Madam    12   come and go. Sometimes they'd come and then
  13   Prophéte.                                           13   they'd disappear.
  14         THE INTERPRETER: What hospital?               14      Q. Okay. And did anybody ever tell you
  15         MR. FOLKMAN: Justinian.                       15   the name of a disease or a condition that caused
  16      A. Yes, a nurse in the neighborhood, my          16   the bumps?
  17   mother's friend.                                    17      A. No, no one ever told me.
  18   BY MR. FOLKMAN:                                     18      Q. When you were at the hospital, did you
  19      Q. Okay. And I thought you had told us           19   see nurses or doctors filling out paperwork?
  20   before, but maybe I misunderstood, that you went    20      A. No, I only saw Ms. Monprophéte. She
  21   to 22nd Street to see her.                          21   gave me the lotion to use on my body. And
  22      A. Ms. Monprophéte?                              22   that's all, that's the only person. I didn't
  23      Q. Yes.                                          23   see any nurses.
  24      A. Yes, 22nd Street, yes. Yes, that's            24      Q. Is she -- she's not a nurse?
  25   where she live.                                     25          MR. GARABEDIAN: Objection.

                                           Page 131                                                Page 133
   1      Q. Okay.                                          1      A. She's a nurse.
   2      A. 22nd Street L.                                 2   BY MR. FOLKMAN:
   3      Q. She lived on 22nd Street. I guess my           3      Q. She is a nurse. Okay.
   4    question is where did you go to see her after       4          And she works at the Justinian
   5    you were hurt?                                      5   Hospital?
   6      A. Where did I see Ms. Prophéte?                  6      A. Yes, she work at the hospital.
   7      Q. Right.                                         7      Q. Okay. And aside from her, you've
   8      A. Did I go to her home or to the                 8   never seen any other doctors or nurses about
   9    hospital?                                           9   medical problems that you suffered because
  10      Q. That's the question.                          10   Douglas Perlitz abused you?
  11          MR. GARABEDIAN: Objection.                   11          MR. GARABEDIAN: Objection.
  12      A. I went to her home, and also to the           12      A. Only Ms. Monprophéte. To see another
  13    hospital.                                          13   nurse, I would have to have money. Only
  14    BY MR. FOLKMAN:                                    14   Ms. Monprophéte gave me the cream to help me
  15      Q. So you saw her twice?                         15   out. I didn't have any money to see anyone
  16      A. I went to her house, she told me to           16   else.
  17    come to the hospital to get medicine to use on     17   BY MR. FOLKMAN:
  18    my behind because of the bumps.                    18      Q. Okay. But you have seen other
  19      Q. And that's what you did?                      19   doctors, haven't you?
  20      A. Yes, I did.                                   20          MR. GARABEDIAN: Objection.
  21      Q. Okay. And do you remember the                 21      A. Did I see any other doctors?
  22    medicine that she gave you?                        22   BY MR. FOLKMAN:
  23      A. She gave me something in a bottle, and        23      Q. Yes.
  24    she said to use -- to use it on my behind, on my   24          MR. GARABEDIAN: Objection.
  25    body, but when I use it, it burns a lot.           25      A. I don't remember that.


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   1   BY MR. FOLKMAN:                                     1      Q. And what was the result?
   2       Q. Okay. Let me ask you to look at              2      A. The nurse has it.
   3   Question Number 33 on Exhibit 2, the question       3      Q. The nurse has the result?
   4   was "Identify each doctor or health care            4      A. I don't know what it is. The nurse
   5   professional," and I'm going to paraphrase a        5   has it.
   6   little, who has treated you from January, 1995      6      Q. Okay. So let me make sure I
   7   to the present. And your answer was "I saw          7   understand.
   8   other doctors but I do not recall their names."     8           You had an AIDS test at Justinian
   9           MR. GARABEDIAN: Objection.                  9   Hospital?
  10   BY MR. FOLKMAN:                                    10      A. The nurse said she'll get the result
  11       Q. So my question is, did you see other        11   for me.
  12   doctors between 1995 and today?                    12      Q. When did you have the test done?
  13       A. I saw the doctors, but there were           13      A. Last week.
  14   other doctors that check me out, check my          14      Q. Okay. Had you had an AIDS test done
  15   behind. I don't remember their name.               15   before last week?
  16   Afterwards they gave me a prescription to use on   16      A. No.
  17   my behind, to use on the bumps on my behind, but   17      Q. Why did you choose to get an AIDS
  18   I gave it to Ms. Monprophéte because I didn't      18   test --
  19   have any money to purchase them, and she said      19      A. The first time I had the test was last
  20   she would do it for me.                            20   week.
  21       Q. Okay. Were these doctors at the             21      Q. And why did you choose to have an AIDS
  22   Justinian Hospital?                                22   test last week?
  23       A. Yes, they work at the same hospital as      23           MR. GARABEDIAN: Objection.
  24   Ms. Monprophéte.                                   24      A. Because I had a lot of bumps on my
  25       Q. And so when you went to the hospital,       25   behind, I wanted to make sure.


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   1   did you see them, or did you see her, or did you    1   BY MR. FOLKMAN:
   2   see both?                                           2      Q. So you still have -- just last week
   3      A. Both.                                         3   you still have the bumps on your behind?
   4      Q. Okay. Do you remember the                     4      A. Yes, I'm still using the medicine that
   5   prescription that they gave you?                    5   the nurse gave me.
   6      A. No. Whenever I go to the hospital,            6      Q. The lotion?
   7   Ms. Monprophéte always takes care of it because     7      A. Yes. And I still have the residues
   8   she knows I don't have any money.                   8   from the bumps.
   9      Q. You've been to the hospital other             9      Q. And do you believe that the bumps that
  10   times?                                             10   you have now were caused by the abuse that you
  11      A. Yes, I have been to the hospital, and        11   suffered from Douglas Perlitz?
  12   I usually give everything to Ms. Monprophéte.      12      A. Yes, because I didn't used to have
  13      Q. And for what reason -- other than the        13   that on my behind before.
  14   time when you went because you had the bumps on    14      Q. Okay. And even today, has any doctor
  15   your butt, what other reasons have you had to go   15   or nurse explained to you what the bumps are?
  16   to the hospital?                                   16          MR. GARABEDIAN: Objection.
  17      A. I went to the hospital for other             17      A. No doctor or nurse have ever told me.
  18   reason to be tested to see if I didn't have        18   BY MR. FOLKMAN:
  19   AIDS.                                              19      Q. And your visit last week was at the
  20      Q. Was that because Douglas had abused          20   Justinian Hospital?
  21   you?                                               21      A. Yes.
  22      A. Yes.                                         22          MR. FOLKMAN: Okay. We've been going
  23      Q. And do you know what the results of          23   for about an hour and 20 minutes. I'd like to
  24   that test were?                                    24   shake a short break. Okay? Thank you.
  25      A. Yes, I was given the result.                 25          THE VIDEOGRAPHER: Going off the


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   1   record. The time is 3:05.                           1          MR. GARABEDIAN: Objection.
   2         (Whereupon, a recess was taken.)              2     A. No.
   3          THE VIDEOGRAPHER: Back on the record.        3   BY MR. FOLKMAN:
   4   The time is 3:25.                                   4     Q. Okay. You know, don't you, that there
   5   BY MR. FOLKMAN:                                     5   are young men who brought lawsuits a few years
   6      Q. Mr. Guillaume, have you ever seen a           6   ago, and then received some money because they
   7   therapist or a psychiatrist?                        7   had brought the lawsuits?
   8          MR. GARABEDIAN: Objection.                   8          MR. GARABEDIAN: Objection.
   9      A. Only Ms. Monprophéte.                         9     A. I don't know about that.
  10   BY MR. FOLKMAN:                                    10   BY MR. FOLKMAN:
  11      Q. And as far as you know, she's not a          11     Q. Do you know that Jimmy -- you
  12   psychiatrist, is she?                              12   mentioned Jimmy Jesula before, do you remember
  13      A. No, she's a nurse.                           13   that?
  14      Q. And none of the doctors that you --          14          THE INTERPRETER: What was the name?
  15      A. A doctor?                                    15          MR. FOLKMAN: Jimmy Jesula or Jesula.
  16      Q. None of the doctors that you saw at          16     A. Yes.
  17   Justinian Hospital were psychiatrists, were        17   BY MR. FOLKMAN:
  18   they?                                              18     Q. And do you know that he also had a
  19      A. I don't know what that means. I've           19   lawyer and brought a lawsuit against Douglas
  20   only seen a nurse. A doctor?                       20   Perlitz and Father Carrier and others?
  21      Q. Okay. Have you ever been to see              21          MR. GARABEDIAN: Objection.
  22   anybody in order to talk about your problems?      22     A. I don't know anything -- I don't know
  23          MR. GARABEDIAN: Objection. I                23   anything about that.
  24   instruct the witness not to answer to the extent   24   BY MR. FOLKMAN:
  25   he's going to reveal attorney/client               25     Q. So you're saying you don't know that


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   1   conversations.                                      1   anybody ever received any money because they
   2   BY MR. FOLKMAN:                                     2   brought -- they went to court against Douglas or
   3      Q. I don't mean your lawyers.                    3   Father Carrier or Hope Carter, is that true?
   4      A. I saw Ms. Monprophéte. I saw                  4         MR. GARABEDIAN: Objection.
   5   Ms. Monprophéte, and I told her about all the       5      A. No, I don't know anything about that.
   6   bumps on my behind.                                 6   BY MR. FOLKMAN:
   7      Q. I think you said that you didn't tell         7      Q. Okay. Now, you said that you had told
   8   her that you had been sexually abused because       8   a Haitian teacher called Andy or Anncie that you
   9   you felt too ashamed about it.                      9   had been abused, right?
  10      A. No, I didn't. I was too ashamed to           10      A. Yes. The name is Andy.
  11   tell her something like that, so I didn't.         11      Q. Okay. And leaving out your lawyers,
  12      Q. Have you ever told any doctor or nurse       12   did you ever tell anybody else that you had been
  13   that you were sexually abused?                     13   abused by Douglas Perlitz?
  14      A. No, I never told any doctors that. I         14         MR. GARABEDIAN: Objection. I
  15   just told them that I saw some bumps on my         15   instruct him not to answer to the extent he's
  16   behind, and then the doctor gave me some lotion    16   going to reveal attorney/client conversations.
  17   to use.                                            17         MR. FOLKMAN: Do you want me to ask
  18      Q. Okay. You know that there are other          18   the question again?
  19   young men like you who are also bringing           19         The question was, did he ever tell
  20   lawsuits against Douglas Perlitz and Father        20   anybody except his lawyers that he had been
  21   Carrier, right?                                    21   sexually abused by Douglas.
  22      A. Do I know other victims like myself?         22         MR. GARABEDIAN: Objection.
  23      Q. You know that there are other people         23      A. I don't know that I told anyone else.
  24   who say they are victims and are bringing          24   BY MR. FOLKMAN:
  25   lawsuits, right?                                   25      Q. How did you get here today?


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   1          MR. GARABEDIAN: Objection.                   1          MR. GARABEDIAN: Concerning --
   2      A. Mr. Cyrus told me, he told me that            2          MR. FOLKMAN: How he got here?
   3   they needed me for a statement.                     3          MR. GARABEDIAN: Yes.
   4   BY MR. FOLKMAN:                                     4   BY MR. FOLKMAN:
   5      Q. And so how did you get here from              5      Q. So you took a bus to get here, is that
   6   Cap-Haïtien?                                        6   true?
   7      A. I took the bus.                               7      A. Yes.
   8      Q. Okay. Did you take it alone?                  8      Q. And that was a city bus?
   9      A. Cyrus put me on the bus.                      9      A. Yes.
  10      Q. With any other young men?                    10      Q. And did you ride on the bus with
  11      A. I don't know. I didn't see any other         11   anybody?
  12   young men. I don't know if they were there.        12      A. Did I ride on the bus with other
  13      Q. Geffrard Lecenat, is that a name you         13   people? There were two men behind me, sitting
  14   know?                                              14   behind me.
  15      A. Do I know Geffrard Lecenat?                  15      Q. And it was only the three of you on
  16      Q. Yes.                                         16   the bus?
  17      A. I know him from the program, from            17      A. Yeah, there were other people, but I
  18   project. I don't know if he was on the bus. He     18   don't know who they are.
  19   might have been there, I don't know.               19      Q. Who were the two men behind you?
  20      Q. Okay. You don't know that he's coming        20      A. The two men behind me, there were two
  21   to testify just like you are? That's nothing       21   other guys that are also in the project, in the
  22   something anybody ever told you?                   22   program.
  23      A. No.                                          23      Q. Is that Jasmin Joseph and Geffrard
  24      Q. And how about Jasmin or Jasmin Joseph,       24   Lecenat?
  25   do you know him?                                   25      A. Yes.

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   1      A. I know Jasmin Joseph from the project,        1     Q. And you didn't understand my questions
   2   but I don't know if they're coming here today.      2   about that before?
   3      Q. Okay. I don't mean today, but in the          3          MR. GARABEDIAN: Objection.
   4   next few days?                                      4      A. No.
   5      A. I don't know about anybody else. I            5   BY MR. FOLKMAN:
   6   only know that I'm coming.                          6     Q. But having -- now you understand?
   7      Q. Okay. So you took like a city bus             7     A. Now I understand.
   8   from Cap-Haïtien to Puerto Plata, is that right?    8     Q. Okay. And do you know that those two
   9      A. Yes.                                          9   gentlemen are also bringing lawsuits against
  10      Q. And then once you got to Puerto Plata,       10   Douglas Perlitz and Father Carrier?
  11   did someone pick you up?                           11     A. I don't know anything about their
  12          MR. STEWART: Can we take a break for        12   lawsuits.
  13   a minute?                                          13     Q. Do you know that they're bringing
  14          MR. FOLKMAN: Okay. Off the record           14   lawsuits?
  15   for a minute.                                      15     A. I just know they also kids from the
  16          THE VIDEOGRAPHER: Going off the             16   program.
  17   record. The time is 3:35 -- 3:36, I'm sorry.       17     Q. So you have no idea why they're here?
  18          (Whereupon, a recess was taken.)            18          MR. GARABEDIAN: Objection.
  19          THE VIDEOGRAPHER: Back on the record.       19     A. I don't have any idea why they're
  20   The time is 3:42.                                  20   here?
  21          MR. GARABEDIAN: There was some              21   BY MR. FOLKMAN:
  22   confusion with regard to translation. Can you      22      Q. Do you?
  23   restart that line of questioning?                  23     A. They're coming for the same -- I don't
  24          MR. FOLKMAN: Restart the whole line         24   know, I think they're coming for the same reason
  25   of questioning?                                    25   that I'm here. I don't know.


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   1       Q. When was the last time you saw either      1      Q. I thought you said you took a bus.
   2    of them before you got on that bus?              2      A. Yeah, we took the bus. Cyrus put us
   3           MR. GARABEDIAN: Objection.                3   on the bus.
   4       A. I saw them on the bus.                     4      Q. Did he buy the tickets?
   5    BY MR. FOLKMAN:                                  5      A. Yes, he gave us the tickets.
   6       Q. And before that, when was the last         6      Q. And he bought them for all three of
   7    time?                                            7   you?
   8       A. Before I saw them on the bus?              8      A. Probably.
   9       Q. Yes, when was the last time you saw        9           MR. GARABEDIAN: Objection.
  10    them?                                           10   BY MR. FOLKMAN:
  11       A. I have not seen them. I only saw them     11      Q. Did that give you any ideas about why
  12    on the bus.                                     12   the other two gentlemen might be here?
  13       Q. And you hadn't seen them maybe since      13           MR. GARABEDIAN: Objection.
  14    the time of the project, is that true?          14      A. I don't know.
  15           MR. GARABEDIAN: Objection.               15   BY MR. FOLKMAN:
  16       A. Yes.                                      16      Q. Okay.
  17    BY MR. FOLKMAN:                                 17      A. I don't know.
  18       Q. So when you get on the bus and you see    18      Q. All right. I think you've already
  19    these two fellows that you knew from the        19   testified that aside from your lawyers, the only
  20    project, did you say "hey, what are you doing   20   person that you told that you had been sexually
  21    here?"                                          21   abused was Andy or Anncie?
  22       A. No, I didn't ask them what they were      22           MR. GARABEDIAN: Objection. Instruct
  23    doing here. I just shook their hand and I sat   23   him not to answer to the extent it's going to
  24    down.                                           24   reveal attorney/client --
  25       Q. So you three rode in silence and          25          THE INTERPRETER: I'm sorry.


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   1   didn't discuss the reasons for your trip, is      1         MR. GARABEDIAN: Objection. I
   2   that true?                                        2   instruct him not to answer to the extent it's
   3          MR. GARABEDIAN: Objection.                 3   going to reveal attorney/client conversations.
   4      A. No.                                         4   BY MR. FOLKMAN:
   5   BY MR. FOLKMAN:                                   5      Q. Okay. And I'm not asking for your
   6      Q. Are you staying in your own room at         6   lawyers. Anybody except your lawyers, the only
   7   this hotel, or do you have a roommate?            7   person you told that you were sexually abused
   8      A. At the hotel I have a room by myself.       8   was Andy or Anncie?
   9      Q. Okay. And have you eaten your meals         9      A. No.
  10   with Mr. Joseph and Mr. Lecenat since you got    10      Q. No, you haven't told anybody else?
  11   here?                                            11         MR. GARABEDIAN: Objection.
  12      A. Yeah, we eat together, but we don't        12      A. No.
  13   discuss anything together. When -- after we      13   BY MR. FOLKMAN:
  14   finish eating, they go to their rooms and I go   14      Q. Okay. And you've said that Cyrus
  15   to mine.                                         15   Sibert referred you to your lawyers, is that
  16      Q. And they haven't asked you why you're      16   true?
  17   here?                                            17      A. Yes, Cyrus Sibert said our name to the
  18      A. No.                                        18   attorney.
  19      Q. Is Cyrus Sibert here?                      19      Q. So how did Cyrus Sibert know that you
  20          THE INTERPRETER: I'm sorry?               20   would need an attorney if you didn't tell him
  21          MR. FOLKMAN: Is Cyrus Sibert,             21   that you had been sexually abused?
  22   S-I-B-E-R-T, here.                               22         MR. GARABEDIAN: Objection.
  23      A. Without him we wouldn't have been able     23      A. I told him -- I talked to him about it
  24   to come here. He took us here. He's the one      24   and he said he would write. He told me that he
  25   who show us where to go.                         25   would send my name and my telephone number to


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   1   the attorney, and the attorney will speak with      1   told somebody, or wrote, or in some way that's
   2   me.                                                 2   your answer, that you retained counsel in
   3   BY MR. FOLKMAN:                                     3   approximately September of 2013, right?
   4      Q. Okay. So you did tell Cyrus Sibert            4      A. Is that what it says? Is that what's
   5   that you had been abused?                           5   written?
   6      A. I talked to him about the subject.            6      Q. It is.
   7      Q. Well, did you tell him that you had           7      A. If that's what's written, then that's
   8   been abused, or did you not tell him that you       8   what it is, but I don't remember.
   9   had been abused?                                    9      Q. Okay. If you hired your lawyers in
  10          MR. GARABEDIAN: Objection.                  10   September, 2013, does that help you figure out
  11      A. Did I tell him or did I -- tell Cyrus        11   in your mind when you talked with Cyrus about
  12   I was abused, or did I not tell him?               12   being sexually abused?
  13   BY MR. FOLKMAN:                                    13      A. No.
  14      Q. Correct.                                     14      Q. Now, how did you know to go talk to
  15      A. Yes, I did tell Cyrus that. Yes, I           15   Cyrus?
  16   did tell Cyrus that Douglas had homosexual sex     16          MR. GARABEDIAN: Objection.
  17   with me, which is why he gave my name and my       17      A. How did I know to talk to Cyrus?
  18   telephone number to the attorneys so that the      18   BY MR. FOLKMAN:
  19   attorney would speak with me.                      19      Q. Right.
  20      Q. And when did you tell this to Cyrus?         20      A. I went to the radio with Cyrus and he
  21      A. I don't remember.                            21   told me to -- to Cyrus, and he told me to put my
  22      Q. Well, was it five years ago?                 22   name and my phone number on a piece of paper. I
  23          MR. GARABEDIAN: Objection.                  23   told him how Douglas had homosexual sex with me,
  24      A. I don't remember the date.                   24   how Douglas had homosexual sex with me, and he
  25   BY MR. FOLKMAN:                                    25   said just an attorney would call me, he would


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   1      Q. You can't remember if it was more or          1   take care of me.
   2   less than five years ago?                           2      Q. How did you know to go to the radio
   3      A. I don't know if it was five years ago         3   station?
   4   when I told him. I don't think it was five          4      A. How do I know to go to the radio
   5   years ago. I don't think it's been -- it was        5   station?
   6   that long ago when I told him. I don't              6      Q. Right.
   7   remember.                                           7      A. On the radio they talk about
   8      Q. Well, let's look at your answer to            8   homosexuals, so I went to talk about how Douglas
   9   Question Number 12 in Exhibit 2. One of the         9   had homosexual sex with me.
  10   things you said was that you retained counsel in   10      Q. Did you hear something on the radio
  11   approximately September, 2013.                     11   that said if you were a victim of Douglas
  12      A. September, 2013?                             12   Perlitz you should come to the station?
  13      Q. Right. Does that help you remember --        13          MR. GARABEDIAN: Objection.
  14   well, first of all, is it true that you hired      14      A. No, I didn't hear that.
  15   your lawyers in September, 2013?                   15   BY MR. FOLKMAN:
  16          MR. GARABEDIAN: Objection. Instruct         16      Q. Okay. So what did you hear that made
  17   him not to answer to the extent he's going to      17   you decide to go to the station to tell Cyrus
  18   reveal attorney/client conversations.              18   that you had been sexually abused?
  19      A. Don't remember.                              19      A. I saw Cyrus on the radio station, at
  20   BY MR. FOLKMAN:                                    20   the radio station, and I told him what happened,
  21      Q. But you remembered in July of 2014,          21   what happened to me, and he said, okay, just
  22   didn't you?                                        22   give me your name and your phone number, and
  23      A. Something like that, but I don't             23   then attorney will contact me.
  24   really remember.                                   24      Q. Yes, I understand. I'm trying to ask
  25      Q. Okay. In any case, that's what you           25   you a slightly different question, and I'm sorry


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   1   if I'm being confusing.                             1   abused?
   2          My question is, something must have          2   BY MR. FOLKMAN:
   3   suggested to you that if you went -- that the       3      Q. I guess that's what I'm asking. Do
   4   radio station was a place that you should go or     4   you know if he did or not?
   5   could go to tell someone that you had been          5         MR. GARABEDIAN: Objection.
   6   sexually abused. In other words, you didn't go      6      A. Did he have a program on that?
   7   to the police station, right?                       7   BY MR. FOLKMAN:
   8      A. What was the question?                        8      Q. Did he? That's my question.
   9      Q. You didn't go to the police station to        9      A. I don't know if he did, but I went to
  10   tell them you had been sexually abused?            10   see him and told him about it.
  11      A. I didn't go to the police. I went to         11      Q. So you don't know whether he had such
  12   see a journalist.                                  12   a program? You never heard it?
  13      Q. Okay. And you chose Cyrus Sibert?            13         MR. GARABEDIAN: Objection.
  14      A. Yes, because he's a journalist,              14      A. I know that Cyrus is a journalist in
  15   because he could help, he could help me in this    15   Cap-Haïtien, but I don't know if he had a
  16   case.                                              16   program on that.
  17      Q. And he's not the only --                     17   BY MR. FOLKMAN:
  18           MR. GARABEDIAN: Excuse me. Finish          18      Q. And you never heard any of the other
  19   the answer, please.                                19   young men from the project talking about Cyrus
  20   BY MR. FOLKMAN:                                    20   Sibert or his program broadcasting news about
  21      Q. You said -- I'm sorry, I think I cut         21   Douglas Perlitz?
  22   you off. I thought you were done.                  22         MR. GARABEDIAN: Objection.
  23      A. So I went to see him. I'm sorry.             23      A. If he used to talk about the other
  24      Q. I'm sorry. That's my fault.                  24   boys that died on the radio?
  25           He's not the only journalist in            25   BY MR. FOLKMAN:

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   1   Cap-Haïtien?                                        1      Q. No, I guess what I'm asking is you
   2       A. He's not the only journalist, but his        2   never heard any of the other boys talking about
   3   radio station is the closest to Cap-Haïtien.        3   Cyrus's program and whether it dealt with sexual
   4       Q. So you're saying that the reason you         4   abuse by Douglas Perlitz?
   5   chose to go to Cyrus Sibert was simply because      5          MR. GARABEDIAN: Objection.
   6   his radio station was the one that was located      6      A. No.
   7   closest to where you were?                          7   BY MR. FOLKMAN:
   8           MR. GARABEDIAN: Objection.                  8      Q. Okay. Did you ever attend a meeting,
   9       A. Not because -- it's not the closest,         9   or try to attend a meeting of victims that you
  10   it's at a distance, but I can pay a motorcycle     10   were kept out of?
  11   15, $25 to go to the station.                      11      A. I don't go to meetings.
  12   BY MR. FOLKMAN:                                    12      Q. You never attended any meeting of
  13       Q. And can you tell me any reason why you      13   victims?
  14   chose that station as opposed to any other radio   14      A. I don't know. Maybe I wasn't there,
  15   station or journalist that you might have gone     15   but I don't know anything about such meeting.
  16   to?                                                16      Q. When you went to Cyrus's station, were
  17           MR. GARABEDIAN: Objection.                 17   you the only young man from Project PPT who was
  18       A. Because I chose Cyrus.                      18   there, or were there others?
  19   BY MR. FOLKMAN:                                    19          MR. GARABEDIAN: Objection.
  20       Q. You didn't know that Cyrus was              20      A. When I went to speak with Cyrus on the
  21   broadcasting about the fact that other kids were   21   radio, I was the only one.
  22   accusing Douglas Perlitz of sexual abuse?          22   BY MR. FOLKMAN:
  23           MR. GARABEDIAN: Objection.                 23      Q. And you said that he had you write
  24       A. Did Cyrus broadcast on the radio that       24   your name and information down?
  25   there were other children that Douglas had         25      A. Yes, he took me name and my telephone


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   1   number, and he said to charge my phone because      1   from what happened to me.
   2   he's going to have the attorney call me, the        2   BY MR. FOLKMAN:
   3   attorney can help me with the situation.            3      Q. I understand, you want justice. And
   4      Q. And was there a list that you put your        4   what I'm asking is, do you know, if you do win,
   5   name on, or did he write it down? Well, strike      5   the form that the justice will take is you'll
   6   that.                                               6   get money?
   7          Was there a list that he asked you to        7      A. I don't know.
   8   write your name on?                                 8      Q. Okay. So you're not in this for the
   9      A. No, I already had my name and my phone        9   money?
  10   number -- I already had my name and my telephone   10          MR. GARABEDIAN: Objection.
  11   number written on a piece of paper. I don't        11      A. No.
  12   know if he included my name on a list. I don't     12   BY MR. FOLKMAN:
  13   know.                                              13      Q. And your testimony is you don't even
  14      Q. Okay. Did you know when you went to          14   know whether you would get any money if you won?
  15   see Cyrus that Douglas Perlitz was serving a       15          MR. GARABEDIAN: Objection.
  16   prison sentence in the United States?              16      A. I don't know if it's money. What I
  17          MR. GARABEDIAN: Objection.                  17   know is I would like the judge to -- I'd like to
  18      A. When I went to see Cyrus, did I know         18   see justice.
  19   that Douglas Perlitz was in jail?                  19   BY MR. FOLKMAN:
  20   BY MR. FOLKMAN:                                    20      Q. All right.
  21      Q. Yes.                                         21      A. I'd like the judge to render justice.
  22      A. I don't know anything about that.            22      Q. And you don't know whether any other
  23      Q. Do you know today whether Douglas            23   kids ever got any money because they claimed
  24   Perlitz is in jail?                                24   they had been abused by Douglas Perlitz?
  25      A. I was told that Douglas was in jail,         25          MR. GARABEDIAN: Objection.


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   1   then I was told that he was released, I don't       1      A. No, I don't know anything about that.
   2   know.                                               2   BY MR. FOLKMAN:
   3      Q. So as far as you know today, he's not         3      Q. Do you know Francilien Jean-Charles?
   4   in jail?                                            4      A. I don't know those people.
   5           MR. GARABEDIAN: Objection.                  5      Q. Which people?
   6      A. I was told that he's no longer in             6      A. The person that you just mentioned.
   7   jail. I don't know.                                 7      Q. You don't know Francilien
   8   BY MR. FOLKMAN:                                     8   Jean-Charles, Francilien?
   9      Q. I don't want you to tell me anything          9      A. I do know Francilien Jean-Charles, but
  10   your lawyers told you, okay? But did someone --    10   I have not seen him in a while in Haiti.
  11   did you hear that from someone other than your     11      Q. And you don't know whether he got
  12   lawyers?                                           12   money, do you, because he claimed that Douglas
  13           MR. GARABEDIAN: Objection. I               13   Perlitz sexually abused him?
  14   instruct him not to answer to the extent he's      14          MR. GARABEDIAN: Objection.
  15   going to reveal attorney/client conversations.     15      A. I don't know anything about that.
  16      A. No.                                          16   BY MR. FOLKMAN:
  17   BY MR. FOLKMAN:                                    17      Q. How about Joseph Jean-Charles, do you
  18      Q. Okay. Let me ask you about the -- you        18   know him?
  19   know that -- let me start again.                   19      A. I know Joseph, but it's been a while
  20           If you win your lawsuit, that means        20   since I've seen these guys.
  21   that you will get money from the people that       21      Q. And you don't know if he got any
  22   you're suing. Do you understand that?              22   money?
  23           MR. GARABEDIAN: Objection.                 23      A. No.
  24      A. I don't know. I don't know if I'm            24      Q. And Benson Alcime, do you know him?
  25   going to win any money. I just want justice        25      A. Yes, I know them from the program,


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   1   from the project, but it's been a while since       1          MR. GARABEDIAN: From the last break.
   2   I've seen them or talked to them.                   2   BY MR. FOLKMAN:
   3      Q. And you don't know that he got any            3      Q. So my question to you was, were you
   4   money?                                              4   confused about the questions that I was asking
   5          MR. GARABEDIAN: Objection.                   5   you before we took that break?
   6      A. No.                                           6          MR. GARABEDIAN: It's not the
   7   BY MR. FOLKMAN:                                     7   questions he's confused about, it's relating to
   8      Q. I've got a list of 24 names here. You         8   the instruction, my instructing him not to
   9   don't know -- if I were to read you any names,      9   answer the attorney/client -- according to
  10   you wouldn't know that anybody got money because   10   attorney/client privilege.
  11   they sued Douglas Perlitz, is that right?          11          MR. FOLKMAN: Okay.
  12          MR. GARABEDIAN: Objection.                  12   BY MR. FOLKMAN:
  13      A. No.                                          13      Q. So my question is, were you confused
  14   BY MR. FOLKMAN:                                    14   about my questions, first?
  15      Q. Okay. You live in Cap-Haïtien, right?        15      A. The questions that you asked me?
  16      A. Yes.                                         16      Q. Yes.
  17      Q. Do you listen to Cyrus Sibert's radio        17      A. Some of them I didn't really
  18   show?                                              18   understand.
  19      A. I don't have a radio at home, so I           19      Q. Okay. What -- well, have you been
  20   don't listen to him at home. Sometimes when I'm    20   telling me the truth as best you can today?
  21   out in the street I can hear -- if they have it    21          MR. GARABEDIAN: Objection.
  22   on in one of the businesses I hear it.             22      A. Am I telling you the truth?
  23      Q. You -- in your answer to one of these        23   BY MR. FOLKMAN:
  24   questions, you said that Tiguy -- based on your    24      Q. Have you been telling me the truth
  25   conversations with Tiguy, you believe that         25   today?


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   1   Douglas slept with Tiguy, is that true?             1      A. Yes.
   2      A. Yes, we talked about that.                    2      Q. And I know you had a discussion in the
   3      Q. Okay. And also --                             3   hall about your client's instructions to you.
   4         MR. GARABEDIAN: Can we take a break           4   In light of whatever you said to him out there,
   5   for a minute?                                       5   and I don't want you to tell me what was said,
   6         MR. FOLKMAN: Okay.                            6   are there any answers that you gave that you
   7         MR. GARABEDIAN: Let's take a break.           7   want to revise?
   8         THE VIDEOGRAPHER: Going off the               8          MR. GARABEDIAN: Objection.
   9   record. The time is 4:14.                           9      A. Do I want to revise the answer to the
  10         (Whereupon, a recess was taken.)             10   questions that you asked me?
  11         THE VIDEOGRAPHER: Back on the record.        11   BY MR. FOLKMAN:
  12   The time is 4:24.                                  12      Q. Yes.
  13         MR. GARABEDIAN: I have no objection          13      A. Yeah, let's do that, because some of
  14   if you re-ask the questions from the last break.   14   the questions I didn't really understand.
  15   There's an interpretation issue relating to my     15      Q. Okay. So do you want to tell me what
  16   instructing him not to answer as to the            16   you think you got wrong?
  17   attorney/client privilege, and he's very           17          MR. GARABEDIAN: Objection.
  18   confused about it. So if you want to re-ask        18          How can he if he didn't understand the
  19   those questions, that's fine.                      19   question?
  20   BY MR. FOLKMAN:                                    20          MR. FOLKMAN: Let him answer, Mitch.
  21      Q. Okay. Have you been confused about my        21      A. The subject that you were speaking
  22   questions?                                         22   about before.
  23      A. What do you mean "confused"?                 23   BY MR. FOLKMAN:
  24         MR. KERRIGAN: Mitch, what line of            24      Q. Well, the last thing we were speaking
  25   questioning are you asking Ted to repeat?          25   about, sir, was how it was that you knew to go


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   1   to Cyrus's radio station. Do you remember that?     1   program.
   2      A. So the last question you asked me, how        2      Q. And when I asked you that before you
   3   did I know to go to Cyrus's radio station?          3   didn't understand, but now you understand?
   4      Q. That's not the last question I asked          4          MR. GARABEDIAN: Objection.
   5   you, but I just want to make sure that we go        5      A. Yes, now I understand that that's what
   6   back and get the story right, get the truth.        6   you were talking about.
   7      A. Okay.                                         7   BY MR. FOLKMAN:
   8      Q. Do you understand, when I ask you how         8      Q. Okay. Good.
   9   did you know to go to Cyrus's radio station to      9          And let's go through some of these
  10   report the fact that you had been sexually         10   names. Francilien Jean-Charles.
  11   abused, do you understand what I'm asking?         11      A. Are we going to talk about Francilien?
  12      A. How did I know to go to Cyrus's radio        12      Q. I'm going to ask, do you know whether
  13   station?                                           13   he got money?
  14      Q. Yes. How did you know to go to               14          MR. GARABEDIAN: Objection.
  15   Cyrus's radio station?                             15      A. I've seen him in public
  16      A. Because I know that Cyrus is a               16   transportation, because I've seen him, I did
  17   journalist, he can help me on that subject.        17   know.
  18      Q. But you never -- it's true, isn't it,        18   BY MR. FOLKMAN:
  19   that you never heard any broadcast or any of his   19      Q. And you knew that Joseph Jean-Charles
  20   shows that talked about Douglas Perlitz and        20   got money?
  21   sexual abuse?                                      21      A. I've seen all of them in cars.
  22          MR. GARABEDIAN: Objection.                  22      Q. New cars?
  23      A. Yes, I have heard that in one of his         23      A. Yes.
  24   programs.                                          24      Q. And do you know where the money came
  25   BY MR. FOLKMAN:                                    25   from to buy the cars?


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   1       Q. You did hear that in one of his              1      A. Do I know where they got the money to
   2    programs?                                          2   buy these cars?
   3       A. Yes. Cyrus does broadcast that, talks        3      Q. Yes.
   4    about that on his station.                         4          I'm sorry, can you speak up, please?
   5       Q. Okay. And you didn't understand when         5      A. Do I know where they got the money to
   6    I asked you that before, but you now you           6   buy the cars?
   7    understand the question.                           7      Q. Sure. Do you know where they got the
   8          MR. GARABEDIAN: Objection.                   8   money to buy the cars?
   9    BY MR. FOLKMAN:                                    9      A. In Cap-Haïtien they always say that --
  10       Q. And you know that he does broadcast         10   the whole population is always saying that, that
  11    that?                                             11   these boys have money to homosexual contacts,
  12          MR. GARABEDIAN: Objection.                  12   they using their behind for money.
  13       A. Now I understand.                           13      Q. Are you saying that you thought they
  14    BY MR. FOLKMAN:                                   14   got the money to buy new cars not from any kind
  15       Q. Now you understand. Okay.                   15   of lawsuit, but because that they were engaged
  16           So did you ever hear Cyrus talk on the     16   in prostitution?
  17    radio about kids who had gotten money?            17          MR. GARABEDIAN: Objection.
  18       A. Has Cyrus ever broadcast that some of       18      A. Is it because they got money from
  19    the children have gotten money?                   19   suing Douglas?
  20       Q. Yes.                                        20   BY MR. FOLKMAN:
  21       A. Yes, he did broadcast, it was               21      Q. Yes.
  22    broadcast, that he said that some of the          22      A. Yeah, that's what I heard, because
  23    children have gotten that kind of justice.        23   they sued.
  24       Q. And you knew that?                          24      Q. And that was a whole bunch of kids,
  25       A. Yes, I did hear that on his radio           25   right?


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   1      A. Yeah, I've seen all of them, one after         1   Cyrus did you hear from your lawyers?
   2   the other, in cars.                                  2           MR. GARABEDIAN: Objection. I
   3      Q. And you went to see Cyrus after you            3   instruct him not to answer to the extent he's
   4   knew that, right?                                    4   going to reveal attorney/client communications.
   5      A. No.                                            5       A. I don't know.
   6      Q. You went to see Cyrus before you knew          6   BY MR. FOLKMAN:
   7   that the kids had gotten money?                      7       Q. You have no idea. It might have been
   8      A. I saw Cyrus, then afterward I saw the          8   a day?
   9   guys passing by in cars.                             9       A. I don't know. I don't remember.
  10      Q. Okay. So what was it that made you go         10       Q. You can't tell me if it was a day, a
  11   to Cyrus?                                           11   week, a month, or a year?
  12      A. I went to see Cyrus to see if he could        12       A. I couldn't tell you whether it was a
  13   help me with my case, and I went to see him, and    13   day or a year because I don't remember.
  14   he said he would send my name and my telephone      14       Q. Okay. Did you go back to Cyrus more
  15   number and I would get help.                        15   than once?
  16      Q. Why weren't you in the first group of         16       A. Did I see Cyrus more than one time?
  17   kids who brought lawsuits?                          17       Q. Yes.
  18      A. Why wasn't I part of the first group?         18       A. I've seen him once on the radio, but
  19      Q. Right.                                        19   I've seen him several times out in the street in
  20      A. I used to go to a place on 14th Street        20   the car, in the street.
  21   where they used to have meeting. Maybe they         21       Q. You've seen him. My question is have
  22   didn't send my name.                                22   you gone and talked to him more than once, or is
  23      Q. I thought you gave your name.                 23   it just the one time?
  24      A. I gave my name. Maybe they removed my         24       A. I talk to him in the street when he's
  25   name. I did give my name.                           25   in the car.


                                           Page 171                                                Page 173
   1       Q. Well, did you give your name -- the           1      Q. And what do you talk to him about?
   2    school closed in, what, in 2008, is that right,     2      A. Yes, I asked him about the case
   3    2009?                                               3   because they never call me. He said to just
   4       A. I think so.                                   4   relax, charge my phone, keep my phone charged,
   5       Q. And you didn't go to Cyrus in 2008 or         5   they will call.
   6    2009, did you?                                      6      Q. And eventually they did call?
   7       A. I used to go to a meeting that they           7      A. Yes, afterwards they called.
   8    used to have on 14th Street.                        8      Q. Okay. There were several kids who you
   9       Q. I thought you said you didn't attend          9   say told you that Douglas had abused them,
  10    any meetings.                                      10   right?
  11           MR. GARABEDIAN: Objection.                  11      A. Yes.
  12       A. I went, gave my name, but I didn't           12      Q. And those are Guisman Pierre?
  13    stay.                                              13      A. Guisman?
  14    BY MR. FOLKMAN:                                    14      Q. Guisman, G-U-I-S-M-A-N?
  15       Q. Who was at this meeting?                     15      A. Yes.
  16       A. I saw Robenson.                              16      Q. Tiguy, right?
  17       Q. And was this a meeting of people who         17      A. Tiguy, yes.
  18    said that they were victims of Douglas Perlitz,    18      Q. Walky Joseph?
  19    or people who said that they were not victims of   19      A. Walky Joseph, yes.
  20    Douglas Perlitz?                                   20      Q. And by the way, Walky Joseph is the
  21           MR. GARABEDIAN: Objection.                  21   same as Rocky Joseph, right? We were talking
  22       A. This meeting was meetings with people        22   about Rocky before. Is that the same person?
  23    who were victims.                                  23      A. Yes, Walky.
  24    BY MR. FOLKMAN:                                    24      Q. Wilnaud told you that he had been
  25       Q. Okay. How long after you went to             25   abused? Wilnaud?


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   1      A. Yes, Wilnaud.                                  1   feel like that what I've done is against God,
   2      Q. And Wilnaud is Felix Pierre?                   2   it's against God's law. That's why I drink
   3      A. Wilnaud, yes.                                  3   alcohol. I drink a lot of alcohol, because I
   4      Q. Sonson, S-O-N-S-O-N?                           4   think about killing myself, so whenever I think
   5      A. Yes.                                           5   about killing myself I drink a lot. I drink so
   6      Q. Jonas, or Jonas?                               6   much that sometimes you could walk by -- if you
   7      A. Jonas.                                         7   walk by you will see me just sleeping on a
   8      Q. Pierre Antoine Charles?                        8   sidewalk. I want to kill -- I feel like killing
   9      A. Yes.                                           9   myself because I feel like I did against God's
  10      Q. Nicodeme Dolce?                               10   law.
  11      A. Nicodeme Dolce.                               11       Q. And so because you were abused by
  12      Q. And Lobo?                                     12   Douglas Perlitz, you're saying you felt a lot of
  13      A. Lobo.                                         13   anguish in your mind?
  14      Q. So all those kids told you that they          14       A. God says that -- God, bad word is
  15   had been abused?                                    15   against homosexuals. That's why a lot of time I
  16      A. Yes.                                          16   want to kill myself, because this is against
  17      Q. And did you ever talk with them about         17   God.
  18   bringing lawsuits?                                  18       Q. Let me just ask you a little bit about
  19          MR. GARABEDIAN: Objection.                   19   your religious background.
  20      A. No, we were discussing ideas. We were         20          Are you a Christian?
  21   saying he did that to us and then he went back      21       A. Yes.
  22   to his country, so we were discussing on what to    22       Q. And have you always been?
  23   do about this, something like that.                 23          MR. GARABEDIAN: Objection.
  24   BY MR. FOLKMAN:                                     24       A. While he was abusing me, was I a
  25      Q. And what did you decide amongst               25   Christian?


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   1    yourselves?                                         1   BY MR. FOLKMAN:
   2       A. We decided -- the guys decided to go          2      Q. Yes.
   3    on the radio.                                       3      A. Yes, I was a Christian. But now I
   4       Q. Including you?                                4   feel like I'm alone, that's why I want to kill
   5       A. Yeah, I did. I wrote down my name,            5   myself. For now I don't think I'm a Christian
   6    and Cyrus told us to write down our names and       6   anymore.
   7    telephone number, to just relax, that he'll send    7      Q. Were you raised as a Roman Catholic?
   8    the names to the attorney.                          8   In other words, when you were a Christian, were
   9       Q. When you say you went on the radio,           9   you a Roman Catholic?
  10    though, do you mean that you actually spoke on     10      A. Was I a Catholic?
  11    the radio so other people could hear?              11      Q. Yes.
  12       A. No, no, I just gave my name and phone        12      A. Yes, in the project I was Catholic.
  13    numbers. I didn't speak.                           13      Q. Did you have a church that you
  14       Q. Okay. Let me just change topics and          14   attended?
  15    ask you about the ways that you've been injured    15      A. Yes, as a chaplain in the program I
  16    by Douglas Perlitz.                                16   used to go to church.
  17           Okay. You've already told me that           17      Q. And is there a priest in Cap-Haïtien
  18    when he was abusing you it was painful, right?     18   that you regard as -- or regarded as your
  19       A. Yes.                                         19   priest?
  20       Q. And you had those bumps on your butt,        20      A. Well, I don't know the priest. I used
  21    right?                                             21   to go to Notre Dame, Cap-Haïtien, but I wouldn't
  22       A. Yes.                                         22   say he's my priest, but I used to go to the
  23       Q. Okay. What other ways physically have        23   church. I don't really know the priest. But I
  24    you been injured by Douglas Perlitz?               24   stopped going to church after that.
  25       A. I think -- when I think about it, I          25      Q. When you went to church, that's where


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   1   you went?                                           1   instruct him not to answer as to any
   2          MR. GARABEDIAN: Objection.                   2   attorney/client conversations.
   3     A. Yeah, I used to go to Notre Dame.              3      A. I don't know.
   4   Also I used to go to the chapel at the project.     4   BY MR. KENNEDY:
   5          MR. STEWART: It's 5:00 o'clock.              5      Q. Okay. Sir, I want to go back to your
   6          MR. FOLKMAN: I may be done. I'm              6   claims of sexual abuse by Mr. Perlitz.
   7   going to take one minute and see if I have          7          Now, it's my understanding the first
   8   anything else.                                      8   time that you were sexually abused by
   9          MR. STEWART: They all still need to          9   Mr. Perlitz you had cut your foot on glass?
  10   go.                                                10      A. Yes.
  11          MR. FOLKMAN: Well, we've had to do          11      Q. Okay. And I apologize, sir, your
  12   some stuff over.                                   12   memory, your memory of the first time that you
  13          MR. STEWART: I understand that,             13   claim that you were sexually abused by
  14   but --                                             14   Mr. Perlitz, do you have a clear memory of that?
  15          MR. FOLKMAN: Let's go off the record.       15          MR. GARABEDIAN: Objection.
  16          THE VIDEOGRAPHER: Going off the             16      A. The first time I was abused by
  17   record. The time is 4:50.                          17   Douglas?
  18          (Whereupon, a recess was taken.)            18   BY MR. KENNEDY:
  19          THE VIDEOGRAPHER: Back on the record.       19      Q. Yes, sir.
  20   The time is 4:59.                                  20      A. Yes.
  21          MR. FOLKMAN: Thank you, sir, I have         21      Q. Okay. So, sir, I apologize, going
  22   no more questions.                                 22   back, could you tell me all about how your foot
  23   BY MR. KENNEDY:                                    23   got cut by the glass?
  24     Q. Hi, Mr. Guillaume, my name is Jeff            24      A. It fell on my foot.
  25   Kennedy. I represent Hope Carter.                  25      Q. What fell on your foot, sir?


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   1           If there's any question I ask you this      1      A. A glass, a piece of glass.
   2   afternoon that you do not understand, please        2      Q. And where were you when this happened?
   3   just ask me to rephrase it, and I'd be happy to     3      A. I was in the street.
   4   do so, sir.                                         4      Q. And how was it that you got from the
   5       A. Okay.                                        5   street to Bel Air, sir?
   6       Q. And if you do answer a question, sir,        6      A. I left where I got cut by the glass
   7   I'll be assuming that understood my question,       7   and went to Bel Air for treatment.
   8   sir.                                                8      Q. And had you ever been to Bel Air
   9       A. I understand.                                9   before that day, sir?
  10       Q. Sir, it's my understanding from your        10      A. Yes, I knew about Bel Air.
  11   prior testimony that you've never spoken to Hope   11      Q. I know you knew about it, sir. But my
  12   Carter.                                            12   question was had you ever been there before that
  13       A. No, because Mrs. Carter doesn't speak       13   day, sir?
  14   Creole.                                            14      A. Have I been to Bel Air before?
  15       Q. Right.                                      15      Q. Sir, my question was, you indicated to
  16           And you don't speak English, correct,      16   me that after you cut your foot that you went to
  17   sir?                                               17   Bel Air, that's correct, sir?
  18       A. Yes.                                        18      A. Yes, I went to Bel Air to visit.
  19       Q. Okay. So you've never spoken to             19      Q. Right.
  20   Mrs. Carter?                                       20          So my question was, prior to the day
  21       A. Ms. Carter just touched my head. She        21   that you cut your foot, had you ever been to
  22   never speak to me, just touch my hair.             22   Bel Air before?
  23       Q. Okay. Sir, is Cyrus paying for your         23          MR. GARABEDIAN: Objection.
  24   stay at the hotel?                                 24      A. Have I been to Bel Air before? Was it
  25           MR. GARABEDIAN: Objection. I               25   my first time going there?


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   1   BY MR. KENNEDY:                                     1      A. I had to use a stick, I was limping,
   2       Q. Yes. Had you ever been to Bel Air            2   but I would use a stick to went to get
   3   before you cut your foot, sir?                      3   treatment.
   4       A. I'm a child at the project, so I know        4      Q. Okay. How far -- I apologize, sir.
   5   if there's a problem I have to go to Bel Air, so    5          Did you walk to Bel Air, sir?
   6   I went to Bel Air to get my foot treated.           6      A. Yeah, I limped until I got to Bel Air.
   7       Q. Okay. Sir, I'm not sure if it's a            7      Q. And how far was that, sir?
   8   translation issue, but my question is, prior to     8      A. I couldn't tell you how far it is.
   9   that day, prior to the day that you cut your        9          THE VIDEOGRAPHER: May I interrupt for
  10   foot, had you ever been to Bel Air before?         10   a moment, please? I really need his voice
  11       A. I knew about Bel Air already.               11   louder.
  12       Q. Okay. I know you knew about it, sir.        12   BY MR. KENNEDY:
  13   But have you visited Bel Air before you cut your   13      Q. And when you arrived at Bel Air, sir,
  14   foot?                                              14   who was at the house?
  15       A. Before I cut my foot on the glass?          15      A. I only saw Douglas in the house.
  16       Q. Yes, sir.                                   16      Q. Do you know if anybody else was at the
  17       A. Yes, because I had been there before,       17   house, sir?
  18   and if I had not been there before I wouldn't      18      A. No.
  19   have gone there for treatment.                     19      Q. Okay. What time of day did you arrive
  20       Q. Okay. How many times had you been           20   at the house, sir?
  21   there before the day you cut your foot, sir?       21      A. What time it was when I arrived at the
  22       A. I had been there twice, and then I          22   house?
  23   went there again to get treatment for my foot.     23      Q. Yes, sir.
  24       Q. Okay. The two other times, sir, that        24      A. I don't remember what time it was, but
  25   you had been to Bel Air, what brought you to go    25   the afternoon had started.


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   1    there for those two occasions?                     1      Q. Okay. So you believe it was in the
   2           MR. GARABEDIAN: Objection.                  2   afternoon, sir?
   3       A. I went there twice to bring some --          3      A. Do I know if it was in the afternoon?
   4    the kids have gone to a place called the           4   Yes, something like that.
   5    gymnasium to play football, so I went to drop      5      Q. And, sir, and I'm looking at what was
   6    off the equipment.                                 6   marked as Exhibit 2, which is your
   7    BY MR. KENNEDY:                                    7   interrogatories. I'm looking at Interrogatory
   8       Q. Okay. And you had done that twice,           8   19 in the English version. Sir, it indicates
   9    sir, before you cut your foot?                     9   that your foot was cleaned at Bel Air?
  10       A. I went twice for that, and then the         10      A. Yes.
  11    next time is when I went -- I had a cut on my     11      Q. Tell me all about how your foot was
  12    foot and I went for treatment.                    12   cleaned.
  13       Q. Okay. In the two times that you had         13      A. They used water, cleaned it, and then
  14    gone to Bel Air before you cut your foot, who     14   used bandages.
  15    was at the house, sir?                            15      Q. Okay. Was there glass or anything in
  16       A. Who was in the house? A Haitian             16   your foot, sir?
  17    teacher who took the things, the name is          17      A. No, it was just a cut, and I've still
  18    Giovani.                                          18   got the scar.
  19       Q. Was Mr. Perlitz there, sir?                 19      Q. Sir, just looking at your answer, you
  20       A. Douglas, if Douglas was there?              20   say they used water, cleaned it, and then used
  21       Q. Yes, Douglas.                               21   bandages, was there more than one person who
  22       A. Douglas was not there.                      22   helped clean your wounds?
  23       Q. Okay. Sir, how did you get from --          23      A. No, just one person. Only Douglas.
  24    after you cut your foot, how did you get from     24      Q. And it was after your foot was cleaned
  25    the street to Bel Air, sir?                       25   that you claimed Douglas abused you?


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   1      A. Yes.                                          1      A. No, his bedroom is downstairs. I
   2      Q. Okay. Tell me from beginning, middle,         2   thought it was upstairs, but he violated me
   3   to end, sir, the first time, about the first        3   downstairs in his bedroom.
   4   time Douglas abused you.                            4      Q. And, sir, you indicate that Douglas
   5          MR. GARABEDIAN: Objection.                   5   told you that you had to sleep over that night,
   6      A. After he treated my foot, he cleaned          6   is that correct, sir?
   7   it and treated it, and he took me to his room.      7      A. Douglas said that I had to spend the
   8   After he took me to his room he started touching    8   night with him, sleep with him.
   9   my whole body, he touched my chest, my breasts,     9      Q. Did he tell you why, sir?
  10   my penis, my behind, and they he put his penis     10      A. Did he tell me why? Yes, he told me
  11   in my behind. Then the next day he gave me a       11   why I had to sleep with him.
  12   pair of Adidas shorts and a white T-shirt.         12      Q. And what did he tell you, sir?
  13   BY MR. KENNEDY:                                    13      A. Why did he ask me to sleep with him
  14      Q. Sir, according to your interrogatory         14   that night? I don't know the reason why. Maybe
  15   response, Douglas came downstairs with only red    15   so he could come and do homosexual acts with me.
  16   short pants on. Can you tell me all about that?    16      Q. Sir, I believe you just indicated that
  17          MR. GARABEDIAN: Objection.                  17   yes, he told you why you had to sleep over.
  18      A. Yes. Douglas was wearing only a pair         18      A. I told you why I had to sleep -- I
  19   of red shorts.                                     19   told you why I had to sleep over? He told me
  20   BY MR. KENNEDY:                                    20   why I had to sleep over?
  21      Q. Okay. When you arrived at the house,         21      Q. No, sir. My prior question was if
  22   was Douglas clothed, sir?                          22   Douglas told you why you had to sleep over that
  23      A. He was always wearing those shorts.          23   night, and your answer was yes, he told you why.
  24      Q. Okay. Did he have a shirt on, sir,           24   I'm just trying to understand what he told you,
  25   when you arrived at the house?                     25   sir, for the reason you had to stay over.


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   1      A. He was wearing the shorts.                    1           MR. GARABEDIAN: Objection.
   2      Q. Okay. My question, sir, was he                2      A. Why? What reason?
   3   wearing a shirt when you arrived at the house?      3   BY MR. KENNEDY:
   4      A. Was he wearing a shirt?                       4      Q. Yes, sir.
   5      Q. Yes.                                          5           Did he give you a reason? Did Douglas
   6      A. I don't remember if he was wearing a          6   give you a reason why you had to stay over?
   7   shirt.                                              7      A. Because I had a cut on my foot, I
   8      Q. Okay. But you do remember that he was         8   couldn't walk. Then after he -- we did the
   9   wearing red shorts?                                 9   homosexual acts, I had to stay with him.
  10      A. Yes.                                         10      Q. Okay. And at what point, sir --
  11      Q. Okay. And you say Douglas came               11   strike that. I'm sorry.
  12   downstairs. Where were you at the time, sir?       12           After he told you that you had to
  13      A. After the treatment he took me               13   spend the night, what happened next, sir?
  14   upstairs to his room, then he started touching     14      A. After he told me I had to sleep over,
  15   my whole body, he touched my breasts, he touched   15   then I had to go down to his bedroom with him,
  16   my penis, he touched my buttocks, and then he      16   then he started touching my whole body, my
  17   put his penis in my buttock.                       17   stomach, my chest, my penis, and then he put his
  18      Q. Sir, where did he give you the               18   penis in my behind, maybe that was -- maybe
  19   treatment, sir?                                    19   that's the reason why he wanted me to sleep
  20      A. We were upstairs, but not in his             20   over, so I can have sex with him, homosexual sex
  21   bedroom.                                           21   with him.
  22      Q. Okay. Because you indicated "after           22      Q. Before, sir, before you went to
  23   the treatment he took me upstairs to his room."    23   Bel Air for the -- strike that. I'm sorry.
  24   Was Douglas's room on the upstairs level of        24           Before the day you cut your foot, had
  25   Bel Air?                                           25   you ever heard any other student at PPT indicate


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   1   that Doug Perlitz had done homosexual acts with      1      Q. Okay. So is it your testimony that
   2   them?                                                2   Douglas -- that Douglas sexually abused you the
   3          MR. GARABEDIAN: Objection.                    3   morning after the first time that he abused you?
   4      A. No, I had not heard that.                      4      A. He did it the night before, and then
   5   BY MR. KENNEDY:                                      5   the next day he did it again.
   6      Q. Okay. Sir, it indicates here in your           6      Q. Okay.
   7   interrogatory response that Douglas made you rub     7          INTERPRETER MR. LOUIS: He's asking a
   8   his back.                                            8   question, he's asking.
   9      A. I said that Douglas make me rub his            9      A. Yes, I was asking, I was asking you
  10   back?                                               10   did he do that to me the night before and then
  11      Q. Did Douglas make you rub his back?            11   do it again the next morning when I woke up?
  12          MR. GARABEDIAN: Objection.                   12   BY MR. KENNEDY:
  13      A. Did Douglas make me rub his back?             13     Q. So we're clear, sir, you testified
  14   BY MR. KENNEDY:                                     14   that the day you cut your foot, that that day
  15      Q. Yes, sir.                                     15   Douglas sexually abused you, correct?
  16      A. I'm trying to remember if something           16      A. In his room, in his bedroom.
  17   like that happened, and I don't remember.           17      Q. In his bedroom. Okay.
  18      Q. Did Douglas indicate that -- did              18          MR. GARABEDIAN: Can we go off the
  19   Douglas tell you that you had to sleep in his       19   record for a second?
  20   bedroom, sir?                                       20          (Off the record discussion.)
  21      A. Yes, he went down with me to his room.        21   BY MR. KENNEDY:
  22      Q. Sir, your interrogatory response              22      Q. And, sir, you spent that night in
  23   indicates that Douglas touched your penis and       23   Douglas's bedroom, correct?
  24   put his penis in your rectum, is that correct,      24     A. Yes, after I did the homosexual acts,
  25   sir?                                                25   then I spent the night.


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   1       A. Yes, he was touching my whole body,           1      Q. Okay. And did you sleep that night,
   2    caressing my whole body and afterwards he put       2   sir?
   3    his penis in my rectum.                             3      A. Yes, I slept. And I woke up the next
   4       Q. And you spent the night, sir?                 4   day. Then the next day when I woke up he gave
   5       A. Yes, I spent the night, and then the          5   me the shorts and the shirt.
   6    next day when I woke up he started -- he did it     6      Q. Okay. And that next day, which is, I
   7    all over again.                                     7   guess, the day he gave you the short and the
   8       Q. Okay. So --                                   8   shirt, did he also sexually abuse you that day?
   9           MR. GARABEDIAN: Objection.                   9           MR. GARABEDIAN: Objection.
  10    BY MR. KENNEDY:                                    10      A. Did he abuse me the next morning?
  11       Q. So the next morning after Douglas            11   BY MR. KENNEDY:
  12    abused you the first time, he abused you again?    12      Q. Yes, sir.
  13           MR. GARABEDIAN: Objection.                  13      A. No.
  14       A. Did he do the same thing over again          14      Q. I just want to be clear here, sir,
  15    the next --                                        15   because you previously had indicated that the
  16    BY MR. KENNEDY:                                    16   day after Mr. Perlitz sexually abused you for
  17       Q. Sir, your answer to my prior question,       17   the first time that he did it all over again.
  18    I asked you, "and you spent the night, sir," and   18           MR. STEWART: Can we go off the
  19    your answer was "yes, I spent the night, and       19   record?
  20    then the next day when I woke up he started --     20          That's not what he said. That was a
  21    he did it all over again."                         21   question he was asking back to the interpreter,
  22           MR. GARABEDIAN: Objection.                  22   and he was asking it back to you, he wasn't --
  23       A. The next day, and two or three later         23   don't translate. I think that's what that whole
  24    he did it again.                                   24   issue was about. If you scroll back up, you'll
  25    BY MR. KENNEDY:                                    25   see where he says -- the interpreter says to you


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   1   "he's asking you is that your question." That's     1   would like to talk to me about something. He
   2   what he kept asking you back. And that's where      2   asked me if I wouldn't like to be like the other
   3   we kept going around and around in a circle,        3   boys who goes to Sacré Cœur, Notre Dame, who are
   4   because you keep asking these questions, she's      4   doing well. He told me that these schools in
   5   asking it to him, he's repeating it, and you're     5   Cap-Haïtien are very expensive. Then he gave me
   6   not understanding that's what's going on, and       6   something to eat after -- I said okay. Then he
   7   that's where the confusion came from.               7   give me something to eat, and he told me to go
   8          MR. KENNEDY: No, that was a basic            8   take a shower.
   9   question.                                           9          Then when I came out of the shower
  10          MS. HURD: I think the interpreter was       10   Douglas was standing in front of his door with
  11   asking you a question back, and I think you were   11   just a towel on, and then he started touching my
  12   taking it as an answer. I think there was          12   chest, he started touching my stomach, he
  13   confusion.                                         13   touched my penis, and then he put his penis in
  14          MR. STEWART: Jamesly was asking her         14   my rectum.
  15   the question back to you. You -- somewhere they    15      Q. I'm sorry, are you finished with your
  16   misunderstood what was going on. You thought he    16   answer, sir?
  17   was saying that's what happened, he was saying     17      A. Yes.
  18   is that your question to me. That's where the      18      Q. Okay. Do you remember anything else
  19   confusion is.                                      19   occurring in that second incident than what
  20          MR. KENNEDY: Let me just ask the            20   you've just shared with me, sir?
  21   question, maybe this will clear it all up.         21          MR. GARABEDIAN: Objection.
  22          MR. STEWART: Okay.                          22      A. I don't remember.
  23   BY MR. KENNEDY:                                    23   BY MR. KENNEDY:
  24      Q. Sir, is it your testimony that you           24      Q. Sir, the second incident occurred
  25   were not sexually abused by Mr. Perlitz -- by      25   sometime around 2003 to 2004?


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   1   Douglas the day after you were abused by him for    1      A. Between 2003 and 2004, yes, sir.
   2   the first time?                                     2      Q. I believe you indicated there was a
   3          MR. GARABEDIAN: Objection.                   3   third time when Douglas sexually abused you,
   4      A. Yes.                                          4   sir?
   5   BY MR. KENNEDY:                                     5      A. Yes.
   6      Q. Okay. After the first time that you           6      Q. Sir, do you know who Sylvester Tan is?
   7   were sexually abused by Mr. Perlitz, when was       7          THE INTERPRETER: What's the last
   8   the next time, sir?                                 8   name?
   9      A. Two or three months after the first           9          MR. KENNEDY: Tan, T-A-N.
  10   time.                                              10      A. I don't know Sylvester.
  11      Q. Okay. And tell me all about that             11   BY MR. KENNEDY:
  12   incident, sir.                                     12      Q. Do you know that there is an
  13      A. I was punished at the Village. That's        13   individual named Sylvester Tan?
  14   when Douglas put his penis in my rectum. I was     14      A. Do I know someone named Sylvester?
  15   on punishment, and Douglas saw me, it was around   15      Q. Yes, sir.
  16   9:00 p.m., he saw me in the street and he said     16          MR. GARABEDIAN: Objection.
  17   "what are you doing in the street?" So I said      17      A. No, I don't know any Silvester.
  18   "I'm on punishment, I cannot go back to school."   18   BY MR. KENNEDY:
  19   And he said to "get in the car with me, let's go   19      Q. Okay.
  20   home, get in the car with me." So he was           20      A. He didn't -- he wasn't there yet for
  21   driving a white car at the time. And I got into    21   me to know him.
  22   the white car, and we went to his house.           22          MR. KENNEDY: Okay. This would be a
  23          When we got in front of the house, the      23   good time, they have to change tape anyone, why
  24   doorkeeper opened the door, and the car went in.   24   don't we take a two-minute break.
  25   Then when we went inside, Douglas said that he     25          THE VIDEOGRAPHER: Going off the


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   1   record. The time is 5:38.                           1      A. Yeah, that was the next day when
   2          (Whereupon, a recess was taken.)             2   Douglas asked me to go with him to the beach on
   3          THE VIDEOGRAPHER: Back on the record.        3   Cormier, Cormier Beach.
   4   The time is 5:43.                                   4      Q. Did Douglas sexually abuse you the day
   5   BY MR. KENNEDY:                                     5   after -- did Douglas sexually abuse you for the
   6      Q. Sir, can you tell me all about the            6   fourth time the day after he sexually abused you
   7   third time you claim that Mr. -- that Douglas       7   the third time, sir?
   8   sexually abused you?                                8          MR. GARABEDIAN: Objection.
   9      A. Yes. The third time he put his penis          9      A. No. The next day when we got up he
  10   in my rectum.                                      10   said that we were going to the beach, we are
  11      Q. Well, can you tell me that day, to the       11   going to Cormier Beach.
  12   best of your memory, from the beginning, middle,   12   BY MR. KENNEDY:
  13   to the end?                                        13      Q. Okay. And did he sexually abuse you
  14          MR. GARABEDIAN: Objection.                  14   that day, sir?
  15      A. The third time?                              15      A. That morning he didn't abuse me. We
  16   BY MR. KENNEDY:                                    16   went to Cormier Beach, and then we had sex on
  17      Q. Yes, sir.                                    17   Cormier Beach, he abused me on Cormier Beach at
  18      A. The third time Douglas put his penis         18   the hotel.
  19   in my rectum when I went to Bel Air, I went to     19      Q. And that was the day -- that was the
  20   Bel Air to put the books away in Jessica's room,   20   night after -- strike that.
  21   it was around 2007, I went to put the books away   21          Now, did you and Douglas take a bath
  22   in Jessica's room. So Douglas saw me, he           22   together, sir?
  23   started making gestures, doing little things,      23      A. Yeah. We showered, and we went to
  24   and then he hugged me. Then he said to me          24   Cormier Beach, we went to the hotel, then I told
  25   "wouldn't you like to be like the other boys who   25   him -- he started touching my body. And I told

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   1   have their -- who have money? They have money,      1   him to give me 100 gourdes so I can leave. He
   2   they go to the big schools, to the expensive        2   wouldn't. So he forced me to have homosexual
   3   schools, they have their freedom." And I said       3   sex with him. And then afterwards he give me
   4   "yes."                                              4   the 100 gourdes, and I took the 100 gourdes and
   5          Then afterwards he told me to go --          5   left.
   6   then he told me to go take a shower. I did.         6      Q. How did Douglas force you to have
   7   When I came out, Douglas was waiting for me,        7   homosexual sex, sir?
   8   starting touching my whole body, touching my        8      A. He forced me because he started
   9   stomach, touching my penis, then he put his         9   touching my body, and I told him to give me 100
  10   penis in my rectum. Afterward I couldn't even      10   gourdes so I can leave. He wouldn't give me the
  11   use the toilet.                                    11   100 gourdes. He was touching my body, and then
  12      Q. Okay. Now, between the second --             12   he put his penis in my rectum. And then
  13   between the second time that Mr. Perlitz           13   afterwards he gave me the 100 gourdes, so I took
  14   sexually abused you, which would have been in      14   a big -- I took public transportation and left.
  15   2003/2004 until the third time, which you          15      Q. Were you attempting to physically stop
  16   testified was 2007, had you ever heard that        16   Mr. -- physically stop Douglas from putting his
  17   Douglas had sexually abused any other students     17   penis in your rectum, sir?
  18   at PPT?                                            18          MR. GARABEDIAN: Objection.
  19          MR. GARABEDIAN: Objection.                  19      A. If you're forcing me to do something,
  20      A. No, I didn't hear any other student          20   then you should be able to see that I don't want
  21   mention that.                                      21   to do it.
  22   BY MR. KENNEDY:                                    22   BY MR. KENNEDY:
  23      Q. Okay. Sir, I believe there was a             23      Q. I'm just trying to understand, sir.
  24   fourth occasion when Douglas sexually abused       24   Help me understand how he forced you to do that.
  25   you, is that correct?                              25          MR. GARABEDIAN: Objection.


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   1       A. He's forcing me because he's trying to      1   conversations with your attorneys, but my
   2    make me pull down my pants so that he can put     2   question is, have you ever asked to see a
   3    his penis in my rectum.                           3   psychiatrist or a counselor?
   4    BY MR. KENNEDY:                                   4          MR. GARABEDIAN: Objection. I
   5       Q. And did you attempt to make him stop        5   instruct him not to answer as to any
   6    that, sir?                                        6   attorney/client conversations.
   7       A. If you're doing something to me and         7      A. So do not answer?
   8    you're forcing me, that's because I don't want    8   BY MR. KENNEDY:
   9    to.                                               9      Q. No, you can answer, sir, I just don't
  10       Q. Sir, are you married?                      10   want to know about any conversations you've had
  11       A. No.                                        11   with your attorneys.
  12       Q. Do you have any children, sir?             12      A. Did I ever see a doctor for
  13       A. I had a child who passed away since        13   consultation?
  14    the child very small, very young.                14      Q. It's my understanding from your prior
  15       Q. Who was the mother of that child, sir?     15   testimony that you've never seen a psychiatrist
  16       A. The mother of my child -- after the        16   or a counselor, is that correct, sir?
  17    child die, the mother of the child left the      17      A. A psychiatrist? No, I don't know
  18    country. She said that she went to Santo         18   anything about a psychiatrist.
  19    Domingo to look for work, however I have not     19      Q. Have you ever asked to go see a
  20    seen her since.                                  20   psychiatrist, sir?
  21       Q. What was her name, sir?                    21          MR. GARABEDIAN: Objection. I
  22       A. What was her name?                         22   instruct him not to answer as to any
  23       Q. Yes, sir.                                  23   attorney/client privileged conversations.
  24       A. Her name is Schnaidine. The child's        24      A. Okay.
  25    name was Schnaidine. The mother's name was       25   BY MR. KENNEDY:


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   1   Nannann, that's the nickname, and the name is      1      Q. I don't think he answered the
   2   also Schnaidine. She named the child after her.    2   question.
   3      Q. And when did you -- I'm sorry to hear        3      A. Did I see a psychiatrist?
   4   about that, sir.                                   4      Q. Have you ever asked anyone -- okay.
   5          When did you lose the child?                5   Strike that.
   6      A. When did the child die?                      6          Sir, when is the last time that you
   7      Q. Yes, sir.                                    7   attempted to apply for a job?
   8      A. I don't remember the date. I was out         8      A. I have tried to look for jobs in
   9   in the street and they called me, told me that     9   construction, and they told me that they don't
  10   my child died. And she came crying where I was    10   hire homosexuals, and making blocks, they said
  11   washing cars, and told me that the child passed   11   they don't hire homosexuals.
  12   away.                                             12      Q. And when was that, sir?
  13      Q. Now, sir, and I don't want to know          13      A. When did I do that?
  14   about any conversations that you've had with      14      Q. Yes. When did you apply for the jobs,
  15   your attorneys --                                 15   sir?
  16      A. Okay.                                       16      A. Several times, because they're
  17      Q. -- but have you ever asked to see a         17   building houses, I tried to ask for jobs and
  18   psychiatrist or a counselor, sir?                 18   they told me that -- they said no, they don't
  19          MR. GARABEDIAN: Objection. I               19   give jobs to homosexuals, he's Douglas's
  20   instruct him not to answer as to any              20   homosexual lover. All over Cap-Haïtien they
  21   attorney/client conversations.                    21   calling me Mrs. Douglas.
  22      A. Did I go see a doctor?                      22      Q. And how do these people know about
  23   BY MR. KENNEDY:                                   23   your claims against Douglas?
  24      Q. Did you -- and once again, I preface        24          MR. GARABEDIAN: Objection.
  25   this by saying I don't want to know about any     25      A. It's all over the streets. It's all


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   1   over Haiti, whole of Haiti knows about it.          1          MR. GARABEDIAN: Objection.
   2   BY MR. KENNEDY:                                     2      A. Was I a student at Carenage? I don't
   3      Q. Sir, in total, how many times did you         3   remember where I was actually, which school I
   4   stay over the night at Bel Air?                     4   was in actually.
   5      A. How many times have I spent the night         5   BY MR. CERRETA:
   6   at Bel Air?                                         6      Q. Do you remember whether you were a
   7      Q. Yes, sir.                                     7   student at PPT at the time?
   8      A. I was in the Village, but they didn't         8      A. Yes, yes, when I cut my foot I was
   9   have a bed for me, so I was sleeping in a car       9   already a student at PPT.
  10   for 17 days in Bel Air. So afterwards they         10      Q. Were you already a student at the
  11   bought me a bed.                                   11   Village at the time you cut your foot?
  12      Q. Okay. Sir, let me rephrase the               12          MR. GARABEDIAN: Objection.
  13   question.                                          13      A. When I cut my foot was I a student at
  14          How many times did you sleep in the         14   the Village?
  15   house at Bel Air total?                            15   BY MR. CERRETA:
  16      A. At the house?                                16      Q. Yes. When you cut your foot, were you
  17      Q. Yes, sir.                                    17   a student at the Village at that time?
  18      A. At the house, I slept there about            18      A. No, I don't think I was a student at
  19   three times.                                       19   the Village. I was in one of the centers.
  20      Q. Did you ever sleep there -- did you          20      Q. Okay. So is it fair to say you were
  21   ever sleep overnight there when Douglas did not    21   either a student at the 13th Street Center or at
  22   sexually abuse you?                                22   Carenage, but you don't remember which of those
  23          MR. GARABEDIAN: Objection.                  23   you were a student at at the time?
  24      A. I slept there three times, and each          24      A. I don't remember which one.
  25   time Douglas put his penis in my rectum.           25      Q. Okay. On the day of that first


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   1         MR. KENNEDY: I have nothing further.          1   incident, had you ever had sexual relations
   2   Thank you, sir.                                     2   before that day?
   3         THE VIDEOGRAPHER: Going off the               3          MR. GARABEDIAN: Objection.
   4   record. The time is 6:02.                           4      A. Are you asking if it's the first time
   5         (Whereupon, a recess was taken.)              5   he had homosexual sex with me?
   6         THE VIDEOGRAPHER: Back on the record.         6   BY MR. CERRETA:
   7   The time is 6:08.                                   7      Q. Yes. Was that the first time that you
   8   BY MR. CERRETA:                                     8   had ever had -- was that your first sexual
   9      Q. Good evening, sir. My name is John            9   experience?
  10   Cerreta, I'm another one of the Defendants'        10          MR. GARABEDIAN: Objection.
  11   lawyers for Fairfield University. I'm just         11      A. That's the first time something --
  12   going to hop around a little bit because so much   12   somebody did something like that to me in my
  13   has been covered already, so I apologize if some   13   whole life.
  14   of my questions jump from topic to topic.          14   BY MR. CERRETA:
  15         So on the day of the first incident of       15      Q. Before that day, had you ever had sex
  16   abuse when you cut your foot, do you remember      16   with a girl?
  17   what time of day it was when you cut your foot?    17      A. The first time have I ever had sex
  18      A. No, I don't remember what time of day        18   with a girl?
  19   it was.                                            19          MR. GARABEDIAN: Objection.
  20      Q. Do you remember if it was light out,         20   BY MR. CERRETA:
  21   or whether it was dark?                            21      Q. On the day that you cut your foot, the
  22      A. I remember it was around the                 22   day of the first incident of sexual abuse by
  23   afternoon, it was in the afternoon.                23   Mr. Perlitz, had you ever previously had sexual
  24      Q. Okay. At the time of this incident,          24   relations with a girl?
  25   were you a student at Carenage?                    25          MR. GARABEDIAN: Objection.


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   1       A. Yeah, I had sex with girls, girl              1   Douglas Perlitz?
   2    prostitutes.                                        2          MR. GARABEDIAN: Objection.
   3    BY MR. CERRETA:                                     3      A. Before I had sex with Douglas?
   4       Q. How many times had you had sex before         4   BY MR. CERRETA:
   5    that day that you cut your foot?                    5      Q. Had you ever had an outbreak of the
   6           MR. GARABEDIAN: Objection.                   6   bumps that you testified about earlier before
   7       A. After -- how many times I've had sex          7   this incident of sexual abuse with Douglas
   8    in my life before that?                             8   Perlitz?
   9    BY MR. CERRETA:                                     9      A. No.
  10       Q. Yes, before that first incident the          10      Q. How -- if you remember, how long after
  11    day you cut your foot, how many times in your      11   the bumps appeared did you first go to see Madam
  12    life had you had sex?                              12   Prophéte about the bumps?
  13           MR. GARABEDIAN: Objection.                  13          MR. GARABEDIAN: Objection.
  14       A. Not a lot, because the woman I used to       14      A. How long after did I go see Madam
  15    have sex with, it's not that I used to see her a   15   Prophéte?
  16    lot.                                               16   BY MR. CERRETA:
  17    BY MR. CERRETA:                                    17      Q. How long after the bumps appeared for
  18       Q. How many sexual partners had you had         18   the first time did you go to see Madam Prophéte
  19    before the day of that first incident?             19   for treatment?
  20       A. Just one person.                             20          MR. GARABEDIAN: Objection.
  21       Q. Was that woman a prostitute?                 21      A. After Douglas put his penis into my
  22       A. Yeah, she was a woman from the street        22   rectum, well after, I noticed a lot of bumps on
  23    having sex for money.                              23   my buttocks. And then it was a while, I don't
  24       Q. About how many times did you have sex        24   know how long it took before I went to see Madam
  25    with that prostitute as of the day of that first   25   Prophéte.


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   1   incident when you cut your foot?                     1   BY MR. CERRETA:
   2      A. How many times have I had sex with             2      Q. Okay. After a time, did the bumps go
   3   that woman?                                          3   away for a little while?
   4      Q. Yes, how many times did you have sex           4      A. After I saw Madam Prophéte?
   5   with that prostitute as of the day when you cut      5      Q. Yes. After you saw Madam Prophéte for
   6   your foot?                                           6   the first time, did the bumps go away after a
   7      A. I don't remember how many times. I             7   period?
   8   would say maybe twice, because it's not a woman      8      A. Yeah, after I saw the bumps I went to
   9   that you see too often because she's all over        9   see Madam Prophéte, and she give me the medicine
  10   the street, all over the country.                   10   that I mentioned before, I used it, and then
  11      Q. Okay. On the day of that first                11   they went away, then came back. But I still
  12   incident of sexual abuse, did Douglas Perlitz       12   have those scars.
  13   wear a condom when he abused you?                   13      Q. Okay. And have you had more outbreaks
  14      A. No. When Douglas having homosexual            14   of the bumps after that first time?
  15   sex with me, I never seen him wearing a condom.     15          MR. GARABEDIAN: Objection.
  16   I've never seen one. He does not wear one.          16      A. Yeah, they still keep reappearing.
  17      Q. Okay. About how long after that first         17   They come and they go.
  18   incident of sexual abuse did you experience the     18   BY MR. CERRETA:
  19   bumps on your body or on your rectum that you       19      Q. Okay. And when was the most recent
  20   talked about earlier in this deposition?            20   outbreak?
  21      A. I don't know how long after. I just           21      A. After I use the medicine, they went
  22   looked one day and I noticed a lot of bumps on      22   away, and then they came back again. I was
  23   my behind.                                          23   using it up to before the time I came over here.
  24      Q. Had you ever had an outbreak of bumps         24   And last week I had to use it because they came
  25   before this incident of sexual abuse with           25   back. Although I'm using the medicine, they


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   1    still -- they still have not stopped appearing,     1      A. No, he was not my teacher. He had
   2    whenever I don't think about it there they are.     2   another class. But we were friends. We used to
   3       Q. Okay. In-between the incident with            3   play basketball together.
   4    Mr. Perlitz on the day you cut your foot and the    4      Q. Did you tell Andy during the school
   5    first appearance of the bumps, did you have any     5   day about the incident?
   6    other sexual partners in-between those two          6      A. No, it wasn't a school day, but it was
   7    events?                                             7   an activity day. Everybody were playing
   8            THE INTERPRETER: I'm sorry, before?         8   something, were playing games, some people were
   9    BY MR. CERRETA:                                     9   playing basketball, other sports, and some
  10       Q. Between the first incidence of sexual        10   people were playing dominos.
  11    abuse with Mr. Perlitz and the first outbreak of   11      Q. Do you know what grade Andy taught at
  12    the bumps, did you have any other sexual           12   Carenage?
  13    experiences?                                       13      A. Oh, I don't know.
  14            MR. GARABEDIAN: Objection.                 14      Q. Was he ever your teacher at Carenage?
  15       A. No.                                          15          MR. GARABEDIAN: Objection.
  16    BY MR. CERRETA:                                    16      A. He was a teacher at Carenage, but he
  17       Q. How long after the first incident of         17   was never my teacher. He was not my teacher.
  18    sexual abuse with Mr. Perlitz did you tell Andy,   18   BY MR. CERRETA:
  19    or Anncie, the Haitian teacher, about the sexual   19      Q. I'd like to move ahead to the fourth
  20    abuse?                                             20   incident, the last incident of abuse that you
  21            MR. GARABEDIAN: Objection.                 21   testified about today.
  22       A. Douglas had already abused me, then I        22          Where did you go after you left the
  23    told my teacher.                                   23   hotel?
  24    BY MR. CERRETA:                                    24      A. I took -- I took public
  25       Q. Do you remember -- can you -- strike         25   transportation, paid, and they dropped me off


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   1   that.                                                1   outside. I went outside and took a bus, public
   2          Do you remember about how much time           2   transportation, and went out in the streets.
   3   took place between the incident and you telling      3      Q. At the time of that fourth incident,
   4   Andy or Anncie about it?                             4   were you a student at the Village?
   5      A. I don't remember how long, but it was          5      A. The fourth time was I a student at the
   6   a while. I don't remember.                           6   Village?
   7      Q. Do you know if it was before or after          7      Q. Yes. At the time of the fourth
   8   the second incident of sexual abuse with             8   incident, were you a student at the Village?
   9   Mr. Perlitz?                                         9      A. Was I still a student the fourth time
  10          MR. GARABEDIAN: Objection.                   10   at the Village?
  11      A. I told him that after the fourth time.        11      Q. That is the question.
  12   BY MR. CERRETA:                                     12      A. Yeah, I was still there at the
  13      Q. I'm sorry, you didn't tell Andy until         13   project, at the program.
  14   after the fourth time, is that right?               14      Q. So after you left the hotel, did you
  15      A. Not after the fourth time, but a while        15   go back to the Village later that day?
  16   had passed before I told the teacher about it.      16      A. No. It bothered me so much that I
  17      Q. When you told Andy or Anncie, were you        17   didn't go back. I just went to the street.
  18   a student at Carenage?                              18      Q. Did you sleep that night in the
  19      A. Yes, I was a student at Carenage.             19   street?
  20   They were preparing me to send me to the            20      A. No, I didn't want to go back. No, I
  21   Village.                                            21   didn't go back to the Village, I just stayed
  22      Q. And was Andy a student -- pardon me.          22   outside. It bothered me too much. So I drank a
  23          Was Andy a teacher at Carenage?              23   lot of alcohol and slept in the street, I was
  24      A. Yes, Andy is a teacher at Carenage.           24   drunk.
  25      Q. Was he your teacher at Carenage?              25      Q. Did you go back to the Village at some


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   1    point after that?                                   1   probably easier. Thank you.
   2           MR. GARABEDIAN: Objection.                   2           MR. STEWART: Thank you.
   3       A. After it happened did I go back to the        3   BY MR. CERRETA:
   4    Village?                                            4      Q. So in a portion to answer to
   5    BY MR. CERRETA:                                     5   Interrogatory 28 you say that "Because of what
   6       Q. Yes. After it happened did you go             6   Douglas did to me I have had problems with
   7    back to the Village at some point?                  7   feelings of shame, humiliation, and panic."
   8       A. Yeah, after a while I went back               8           How often do you get these feelings of
   9    because I couldn't sleep, I couldn't continue       9   shame, humiliation, and panic?
  10    sleeping in the street, because the police kept    10      A. It happen often because people always
  11    harassing you, beating you, calling you a thief,   11   calling me -- they always calling me homosexual,
  12    because they said that thieves sleep in the        12   Mrs. Douglas. Every time someone said that it
  13    streets. So I went back. I just had to go          13   felt like -- it feels like they stab me with a
  14    back, just mustered up enough courage to go        14   knife.
  15    back, but I said that would be the last time. I    15      Q. So is it only when people make these
  16    said that would be the last time. Then the         16   comments that you get these feelings?
  17    Village closed.                                    17      A. Not just that, because they keep
  18       Q. About how much time elapsed between          18   saying that -- no, because they always saying to
  19    that last incident and you mustering up the        19   me that homosexuals don't work, so I feel like
  20    courage to go back to the Village?                 20   I'm bored with life in this day.
  21       A. You want to know how long I slept in         21      Q. About how long after the sexual abuse
  22    the street?                                        22   did you start having these feelings of shame,
  23       Q. Yes.                                         23   humiliation, and panic?
  24           MR. GARABEDIAN: Objection.                  24           MR. GARABEDIAN: Objection.
  25       A. I don't remember how long, but it was        25      A. How long after?


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   1   quite a while before I mustered enough courage       1   BY MR. CERRETA:
   2   to go back.                                          2      Q. About how long after the sexual abuse
   3   BY MR. CERRETA:                                      3   did you start to have these feelings of shame,
   4      Q. Did anybody at the Village ask you             4   humiliation, and panic?
   5   where you had been?                                  5          MR. GARABEDIAN: Objection.
   6          MR. GARABEDIAN: Objection.                    6      A. As soon as he did that to me I started
   7      A. Did anybody ask me where I was when I          7   feeling that way, and I felt like I wanted to
   8   got to the Village?                                  8   kill myself, which is why I started drinking. I
   9   BY MR. CERRETA:                                      9   wasn't -- I'm not the kind of person who used to
  10      Q. Did anybody at the Village ask you            10   drink.
  11   where you had been?                                 11   BY MR. CERRETA:
  12          MR. GARABEDIAN: Objection.                   12      Q. How much do you drink?
  13      A. No, no one asked me where I've been.          13          MR. GARABEDIAN: Objection.
  14   BY MR. CERRETA:                                     14      A. I drink all the time, because any time
  15      Q. I wanted to ask you a few questions           15   people call me Mrs. Douglas, they always calling
  16   about your answers to Interrogatory Number 28,      16   me Mrs. Douglas, so I drink.
  17   which is Exhibit 2. And maybe the interpreter       17   BY MR. CERRETA:
  18   could just read the Creole version as I read the    18      Q. Did you drink -- did you ever drink
  19   answer to Interrogatory 28.                         19   before the incidents of sexual abuse?
  20          MR. STEWART: I'm sorry, I don't              20      A. No.
  21   understand what you're asking there. Are you        21          MR. GARABEDIAN: Objection.
  22   asking her to translate what you're going to        22   BY MR. CERRETA:
  23   read aloud?                                         23      Q. Did you huff paint thinner before the
  24          MR. CERRETA: Yeah, sure. Just                24   incidents of sexual abuse?
  25   translate what I'm going to read aloud. That's      25          MR. GARABEDIAN: Objection.


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   1       A. Before Douglas abused me?                     1      A. Yeah, they told me that the thinner is
   2    BY MR. CERRETA:                                     2   going to mess up my brain, so I stopped, and
   3       Q. Yes. Were you using paint thinner             3   then after the abuse I started drinking alcohol.
   4    before Douglas abused you?                          4      Q. Okay. In your answer to Interrogatory
   5           MR. GARABEDIAN: Objection.                   5   28 you say "I have had problems concentrating,
   6       A. I used to before, but I'll give you an        6   sleeping, sadness, and trusting other people."
   7    example, they always telling me that this is        7          Did you ever have problems
   8    going to destroy my brain so I stopped doing it.    8   concentrating, sleeping, with sadness, and
   9    And then after it happened, they kept calling me    9   trusting other people before the sexual abuse?
  10    names, so I started drinking alcohol, a lot of     10          MR. GARABEDIAN: Objection.
  11    alcohol.                                           11      A. No, that happened after the abuse,
  12    BY MR. CERRETA:                                    12   after the abuse by Douglas.
  13       Q. Did you return to paint thinner abuse        13   BY MR. CERRETA:
  14    after the incidents of sexual abuse?               14      Q. And how often do you have these
  15       A. No, just alcohol.                            15   problems concentrating, sleeping, sadness, and
  16       Q. Before the sexual abuse, how often did       16   trusting other people?
  17    you use paint thinner?                             17      A. From time to time it happens.
  18           MR. GARABEDIAN: Objection.                  18      Q. Is it fair to say that it comes and it
  19       A. How often?                                   19   goes in periods?
  20    BY MR. CERRETA:                                    20          MR. GARABEDIAN: Objection.
  21       Q. Before the sexual abuse, how often did       21      A. Yes.
  22    you use paint thinner?                             22   BY MR. CERRETA:
  23       A. Before Douglas did that to me?               23      Q. You mentioned earlier that you had
  24       Q. Yes. Before Douglas sexually abused          24   lost a child, is that right?
  25    you, how often did you use paint thinner?          25      A. Yeah. I had a child. The child died

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   1       A. Every once in a while at night. When          1   very young.
   2    I did it, I did it at night and in the morning.     2      Q. Did the death of the child lead to any
   3       Q. You testified earlier that sometimes          3   of these problems that you've been talking about
   4    you would take the pain thinner rag into            4   in the aftermath of that awful experience?
   5    Carenage with you when you went to school?          5           MR. GARABEDIAN: Objection.
   6            MR. GARABEDIAN: Objection.                  6      A. I lost a child, but I felt like I can
   7       A. Yeah, I used to take the rag with the         7   have another child with another woman. But
   8    thinner, of paint thinner, but not the thinner      8   this, there's no remedy for this. I can have --
   9    itself.                                             9   what happened, I can never pass that. I can
  10    BY MR. CERRETA:                                    10   have another child. That's how I felt.
  11       Q. After the first instance of sexual           11   BY MR. CERRETA:
  12    abuse the day you cut your foot, did you ever      12      Q. Did you have any suicidal thoughts
  13    use paint thinner after that?                      13   after the death of the child?
  14            MR. GARABEDIAN: Objection.                 14           MR. GARABEDIAN: Objection.
  15       A. After the abuse?                             15      A. Yes, that gave me a problem, but --
  16    BY MR. CERRETA:                                    16   that was a problem, but once I didn't see the
  17       Q. Yes. Did you ever use paint thinner          17   child's mother to help me out, to console me, I
  18    after that first incidence of sexual abuse?        18   figure I could meet another woman and have
  19       A. After the first time, the second time?       19   another child.
  20       Q. After the first time.                        20   BY MR. CERRETA:
  21       A. Yeah, I kept on abusing thinner. Then        21      Q. Okay. Several times during the
  22    after I was abused by Douglas, then I started      22   questioning today your attorney, Mr. Garabedian,
  23    drinking alcohol.                                  23   has said, and this may not be an exact quote,
  24       Q. So after the abuse, you switched from        24   but "objection, I instruct him not to answer to
  25    paint thinner to alcohol?                          25   the extent that he's going to reveal


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   1   attorney/client communications."                    1          MR. KERRIGAN: Can he answer the
   2          Do you remember that?                        2   question?
   3          MR. GARABEDIAN: Objection.                   3          MR. GARABEDIAN: He doesn't know -- I
   4      A. Yes.                                          4   don't think he understands the question.
   5   BY MR. CERRETA:                                     5      A. I don't understand the question.
   6      Q. What does that mean to you? What did          6          MR. GARABEDIAN: Take a break for a
   7   you understand that instruction to me?              7   minute.
   8          MR. GARABEDIAN: Objection. I                 8          THE VIDEOGRAPHER: Going off the
   9   instruct him not to answer to the extent he's       9   record. The time is 6:49.
  10   going to reveal attorney/client communications.    10          (Whereupon, a recess was taken.)
  11      A. No, I can just say it's personal             11          THE VIDEOGRAPHER: Back on the record.
  12   between me and my attorney.                        12   The time is 6:58.
  13   BY MR. CERRETA:                                    13          MR. CERRETA: Thank you, sir. I have
  14      Q. Okay. Did you think he was asking            14   nothing further.
  15   you, or instructing you to be less than truthful   15   BY MR. BABBITT:
  16   in response to any of the attorneys' questions?    16      Q. Good afternoon, or good evening I
  17          MR. GARABEDIAN: Objection. Who -- I         17   suppose. My name is Bradford Babbitt, I
  18   instruct him not to answer to the extent he's      18   represent the Order of Malta American
  19   going to reveal attorney/client communications.    19   Association.
  20          THE INTERPRETER: I'm sorry, what was        20          Before we start, counsel have
  21   the question?                                      21   conferred at a break, and we just asked that the
  22          MR. GARABEDIAN: Who are you referring       22   interpreter, particularly with respect to
  23   to when you say "he"?                              23   objections, interpret and share with the witness
  24          MR. CERRETA: Let me rephrase. It was        24   verbatim what is said by all involved, so to
  25   a bad question.                                    25   make sure that the witness has a full


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   1   BY MR. CERRETA:                                     1   understanding of what's transpiring,
   2      Q. Did you think that Mr. Garabedian was         2   particularly when there's objections.
   3   instructing you to be less than truthful in         3      A. So does that mean not to answer?
   4   response to any of the attorneys' questions?        4          MR. GARABEDIAN: Let him ask the
   5          MR. GARABEDIAN: You can ask the              5   questions, and you'll just continue with the
   6   question.                                           6   answers, but we'll follow the same rules we
   7          Objection. I instruct him not to             7   followed before, except you want to do what?
   8   answer to the extent he's going to reveal           8          MR. BABBITT: I think the concern
   9   attorney/client communications.                     9   expressed among counsel before were just to make
  10      A. I don't know.                                10   sure that the objections are translated verbatim
  11   BY MR. CERRETA:                                    11   for the benefit of the witness, and so he has a
  12      Q. Have you done your best to tell the          12   better opportunity to understand what's being
  13   truth in response to all of the questions that     13   said.
  14   were asked of you today?                           14          MR. GARABEDIAN: I wasn't part of the
  15      A. Yes.                                         15   conference.
  16      Q. Was there ever a question that, after        16      A. Okay.
  17   Mr. Garabedian instructed you, you answered        17   BY MR. BABBITT:
  18   inaccurately on purpose?                           18      Q. Okay. Thank you.
  19          MR. GARABEDIAN: Objection. I                19          How did you first hear about 13th
  20   instruct him not to answer to the extent he's      20   Street Center?
  21   going to reveal attorney/client communications.    21      A. The kids in the street, the kids in
  22          THE WITNESS: Should I do the same           22   the street told me we went to a center together.
  23   thing, say the same thing again?                   23      Q. What were you told?
  24          MR. GARABEDIAN: Do you want to take a       24      A. Yeah, they said to me that they had a
  25   break and speak to us for a second?                25   center where they give you -- in the morning


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   1   they feed you, then you play ball, and then         1      Q. And all of these reasons, all of these
   2   afterwards you go to school, then you go back to    2   things, that you got food, a place to wash, play
   3   the street.                                         3   games, learn, see your friends, were these the
   4      Q. And at the 13th Street Center, they           4   reasons that he went to the 13th Street Center?
   5   gave you a place to wash?                           5          MR. GARABEDIAN: Objection.
   6          MR. GARABEDIAN: Objection.                   6      A. Was that why I went? Was that why I
   7      A. Where to shower, just to shower?              7   went there? Yeah, because in the street you
   8   BY MR. BABBITT:                                     8   don't -- yeah, that is why I went.
   9      Q. Yes, did they give you a place to             9   BY MR. BABBITT:
  10   shower?                                            10      Q. Okay. Thank you.
  11      A. Yeah, they give us a place to shower,        11          Have you ever heard of the Order of
  12   and we take soapy water, and they --               12   Malta American Association?
  13      Q. And they give you food?                      13      A. No.
  14      A. Yes.                                         14          MR. BABBITT: Thank you very much. I
  15      Q. And you had a place to play football?        15   have nothing further.
  16      A. Yes.                                         16          MR. GARABEDIAN: How much time do we
  17      Q. And a place to play basketball?              17   have left?
  18      A. Yes, we do play basketball.                  18          THE VIDEOGRAPHER: About 13 minutes.
  19      Q. And was 13th Street Center also a            19          MR. KERRIGAN: I'm sorry, Chris?
  20   place to learn to read?                            20          THE VIDEOGRAPHER: About 13 minutes.
  21      A. Yes.                                         21          MR. KERRIGAN: We're all set with the
  22      Q. Could you read before you went to the        22   translator issues? I mean we don't need to talk
  23   13th Street Center?                                23   about anything?
  24      A. No.                                          24          MR. STEWART: No. We can go ahead,
  25      Q. And was the center a place where you         25   and we can talk later.


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   1    could learn to write?                              1          MR. KERRIGAN: Thank you.
   2       A. Yeah, you can learn to write in the          2   BY MR. KERRIGAN:
   3    center, but I didn't get very good at it while     3      Q. Mr. Guillaume, my name is Michael
   4    at the center.                                     4   Kerrigan, I represent the Society of Jesus of
   5       Q. And I think you told us before 13th          5   New England.
   6    Street Center was a place you could also learn     6          THE INTERPRETER: I'm sorry, what's
   7    math?                                              7   the name?
   8       A. Yeah, you could learn math, but I            8          MR. KERRIGAN: The Society of Jesus of
   9    didn't get a chance to learn math. I didn't get    9   New England.
  10    to be very good at it.                            10   BY MR. KERRIGAN:
  11       Q. And the center was a place to get off       11      Q. Do you understand that you're still
  12    the streets during the day, was it?               12   under oath, and you still have to tell the truth
  13       A. Yeah, you spend a day there, you eat,       13   in answering my questions?
  14    you play, you learn, and then you bathe. And      14      A. Yes.
  15    then in the afternoon, we'll go back to the       15      Q. And you're going to tell me the truth
  16    street again.                                     16   just like you've been telling it through the
  17       Q. And did you have friends at the 13th        17   rest of the day today?
  18    Street Center?                                    18           MR. GARABEDIAN: Objection.
  19       A. Did I have friends at the 13th Street       19      A. Yes.
  20    Center?                                           20   BY MR. KERRIGAN:
  21       Q. Yes.                                        21      Q. If you don't understand any question
  22       A. Yes, I had a friend. I had a friend.        22   that I've asked you, you will tell the
  23       Q. Who was that?                               23   interpreter, correct?
  24       A. When I was at the 13th Street Center,       24      A. Yes.
  25    my friend was Guisman.                            25      Q. Mr. Guillaume, how do you spend your


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   1   time today? On an average day at Cap-Haïtien,        1      A. Yeah. I don't have a place to stay, I
   2   how do you spend your time?                          2   don't have a job. When I try looking for work,
   3         MR. GARABEDIAN: Objection.                     3   they told me that they don't give homosexuals
   4         THE INTERPRETER: I'm sorry, did you            4   jobs, what homosexuals do is just commit
   5   say objection?                                       5   homosexual acts.
   6         MR. KERRIGAN: He did.                          6      Q. Of the friends who drink with you,
   7      A. During the day at Cap-Haïtien, how do          7   were any of them abused by Doug Perlitz?
   8   I spend my day?                                      8          MR. GARABEDIAN: Objection.
   9   BY MR. KERRIGAN:                                     9      A. The friends who drink with me, did
  10      Q. Yes. How do you spend your day?               10   Douglas Perlitz abuse them?
  11      A. During the day when I find cars to            11   BY MR. KERRIGAN:
  12   wash, I wash them.                                  12      Q. That's the question.
  13      Q. What else do you do?                          13      A. Dolce, Nicodeme Dolce, Walky Joseph,
  14      A. And when I don't find -- when I don't         14   and Guisman. I don't drink with anyone else.
  15   get any cars to wash, I fill a bottle with          15      Q. You testified earlier that you try to
  16   alcohol and I drink so I can forget some of my      16   find cars to wash during the day, correct?
  17   problems.                                           17      A. Yeah, before drinking.
  18      Q. What else do you do with your time?           18      Q. When you go around to try to find cars
  19      A. I don't do anything else.                     19   to wash, what does that involve?
  20      Q. Do you spend time with any friends?           20          MR. GARABEDIAN: Objection.
  21      A. Where I am, sometimes my friends are          21      A. I could stand out in the street and I
  22   around, but sometimes they're not. Sometimes        22   see a car coming, and I ask the car "do you
  23   they are, but sometimes they're not.                23   want" -- I ask the driver if they want to wash
  24      Q. Does that mean sometimes you spend            24   the car.
  25   time with your friends, and sometimes you don't?    25   BY MR. KERRIGAN:

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   1       A. Sometimes I spend time with my                1      Q. Is it a difficult business these days
   2    friends, but sometimes I don't feel like I want     2   to be washing cars in the streets of
   3    to spend time with anyone.                          3   Cap-Haïtien?
   4       Q. When you spend time with your friends,        4      A. Yes, it's difficult.
   5    what do you do together?                            5      Q. It's difficult to find cars to wash on
   6       A. When I am with a friend what do I do?         6   an average day?
   7       Q. Yes.                                          7      A. Yeah, because there a lot of car
   8       A. The friends -- the friends that I             8   washes with motors, and we use our hands.
   9    spend time with, they drink also, so we just        9      Q. Who is "we"?
  10    drink until we get drunk, so that we use alcohol   10         MR. GARABEDIAN: Objection.
  11    to forget about our problems.                      11      A. Where we wash the cars, the other
  12       Q. Do all of your friends drink with you        12   guys, they have car washes, and we using --
  13    when you drink together?                           13   instead we using buckets. You know, guys like
  14       A. Not all of them, no.                         14   Walky, and Nicodeme Dolce also, we wash the cars
  15       Q. Do most of your friends drink with           15   by hand with a bucket, and Guisman also.
  16    you?                                               16   BY MR. KERRIGAN:
  17       A. Not all of them drink. A couple of           17      Q. Apart from those men, do you wash cars
  18    them, two or three of them drink.                  18   with anybody else on the streets of Cap-Haïtien?
  19       Q. You said that when your friends drink        19      A. No, we don't -- no, we don't wash cars
  20    with you you drink to forget your problems,        20   with anybody else, we just pick a spot to wash
  21    correct?                                           21   cars. But then the police is giving us problem,
  22       A. Yeah, we try to drink so we can forget       22   they say that we dirtying the street with mud
  23    about our problems.                                23   because of the dirt coming from under the car.
  24       Q. And these problems include being             24   And sometimes they damage our cans, and we have
  25    homeless?                                          25   to buy those cans to use for work.


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   1      Q. How much do you make on average              1      Q. Mr. Guillaume, when you want to work
   2   washing cars on the streets of Cap-Haïtien?        2   washing cars, you're able to do that, correct?
   3          MR. GARABEDIAN: Objection.                  3          MR. GARABEDIAN: Objection.
   4      A. Me personally, 200, 300, 500 gourdes.        4       A. When I want to wash cars -- what is
   5   BY MR. KERRIGAN:                                   5   it?
   6      Q. That's per day?                              6   BY MR. KERRIGAN:
   7      A. Yeah, per day. But some days might be        7      Q. When you want to wash cars, you are
   8   100 gourdes, 200 gourdes, and then some other      8   physically able to walk the streets of
   9   days you're not making anything at all.            9   Cap-Haïtien and wash cars that come by, is that
  10      Q. How much money would you need to earn       10   correct?
  11   to live comfortably in Cap-Haïtien?               11          MR. GARABEDIAN: Objection.
  12          MR. GARABEDIAN: Objection.                 12       A. Yeah, I'm a child of the street, I
  13      A. Myself personally, how much money           13   just go to the street, raise my hand and ask if
  14   would I have to earn?                             14   you want to wash your car. And the ones who
  15   BY MR. KERRIGAN:                                  15   don't want to wash the car just keep going, and
  16      Q. That's correct.                             16   they said they don't want -- they don't want to
  17          MR. GARABEDIAN: Objection.                 17   wash their car. Some of them will tell you they
  18      A. You mean how much money would I earn        18   don't have time to wash the car, but just wipe
  19   in the business that I'm in washing cars?         19   it down and take the dirt off, which I do, and
  20   BY MR. KERRIGAN:                                  20   they give me 25 gourdes.
  21      Q. How much would you have to earn             21   BY MR. KERRIGAN:
  22   washing cars or doing any work in order to live   22      Q. When somebody wants their car washed,
  23   comfortably in Cap-Haïtien?                       23   you are physically able to scrub the car and to
  24          MR. GARABEDIAN: Objection.                 24   wash the car, correct?
  25      A. How much money would I have to earn?        25          MR. GARABEDIAN: Objection.


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   1   BY MR. KERRIGAN:                                   1       A. Yeah. That's what I do when somebody
   2      Q. Correct. How much money?                     2   want to wash their car, I scrub the car and wash
   3          MR. GARABEDIAN: Objection.                  3   it.
   4      A. I don't know how much money I would          4   BY MR. KERRIGAN:
   5   have to earn.                                      5       Q. You have mentioned today that you were
   6   BY MR. KERRIGAN:                                   6   involved with at least two relationships with
   7      Q. How much does it cost to rent a place        7   women over the years, correct?
   8   to live in Cap-Haïtien?                            8          MR. GARABEDIAN: Objection.
   9          MR. GARABEDIAN: Objection.                  9       A. Yes, I was involved with two women in
  10      A. How much does it cost to rent a house       10   my life.
  11   in Cap-Haïtien?                                   11   BY MR. KERRIGAN:
  12   BY MR. KERRIGAN:                                  12       Q. One of the women was named Schnaidine,
  13      Q. Yes.                                        13   and you had a child with her?
  14      A. I don't know. My aunt and my                14       A. Yes.
  15   grandmother rent homes. I don't know how much     15       Q. Were you involved in any way in caring
  16   it would cost to rent a home.                     16   for that child?
  17          MR. KENNEDY: We're going to take a         17       A. Yes, I used to take care of the child.
  18   break to switch a tape, and then we'll come       18   But once the child passed away, then I didn't
  19   right back on.                                    19   take care of the child anymore.
  20          THE VIDEOGRAPHER: Going off the            20       Q. How old was the child when she died?
  21   record. The time is 7:19.                         21       A. The child was still young, didn't
  22          (Pause.)                                   22   learn to crawl yet.
  23          THE VIDEOGRAPHER: Back on the record.      23       Q. And you were able to have a
  24   The time is 7:25.                                 24   relationship with Schnaidine, is that correct?
  25   BY MR. KERRIGAN:                                  25       A. After the child, we weren't in any


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   1    kind of sexual relation.                            1   boyfriends, girlfriends.
   2       Q. I'm not talking sexual relationship.          2         MR. GARABEDIAN: Objection.
   3    I'm talking about before the child was born,        3      A. Do I have another woman that I'm
   4    after the child was born, right up until the        4   speaking with?
   5    child's death, you were able to have a              5   BY MR. KERRIGAN:
   6    relationship with Schnaidine, correct?              6      Q. Right.
   7           MR. GARABEDIAN: Objection.                   7      A. I have other women friends, but we
   8       A. Are you asking me if we had a relation        8   friends, we're not involved sexually. Like the
   9    before the child died, before the child was         9   women who have cars, they bring the cars to be
  10    born?                                              10   washed, but we're not involved, we're just
  11    BY MR. KENNEDY:                                    11   friends.
  12       Q. Correct.                                     12      Q. And you're able to keep those
  13           MR. GARABEDIAN: Objection.                  13   friendships and maintain those friendships?
  14       A. Yeah, we were involved in a relation,        14         MR. GARABEDIAN: Objection.
  15    that's why we had a child. We wouldn't have        15      A. Just friends that come to get their
  16    been able to have one otherwise.                   16   cars washed. But once they're done, I don't
  17    BY MR. KERRIGAN:                                   17   need to go back there.
  18       Q. You broke up with Schnaidine, or she         18   BY MR. KERRIGAN:
  19    broke up with you, after the death of the child?   19      Q. Are there a lot of people out of work
  20       A. Schnaidine left me.                          20   in Cap-Haïtien today, Mr. Guillaume?
  21       Q. And that was because she was sad over        21         MR. GARABEDIAN: Objection.
  22    the death of the child?                            22      A. Are there a lot of people out of work?
  23           MR. GARABEDIAN: Objection.                  23   BY MR. KERRIGAN:
  24       A. Yes.                                         24      Q. That's the question.
  25    BY MR. KERRIGAN:                                   25         MR. GARABEDIAN: Objection.

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   1       Q. You testified also that you had a             1      A. I don't know.
   2    girlfriend since Schnaidine, correct?               2   BY MR. KERRIGAN:
   3       A. Not a girlfriend, no, just a woman, a         3      Q. Do you see a lot of people on the
   4    prostitute.                                         4   streets who don't have jobs in Cap-Haïtien
   5       Q. What's her name?                              5   today?
   6       A. What's the name of the prostitute?            6          MR. GARABEDIAN: Objection.
   7       Q. Correct.                                      7      A. I see a lot of people in the street,
   8       A. Ruth.                                         8   but I don't know if they're without jobs. When
   9       Q. Ruth?                                         9   I'm in the street, I'm thinking of my own
  10           THE INTERPRETER: Yes.                       10   business, looking for my own.
  11           MR. KERRIGAN: Thank you.                    11   BY MR. KERRIGAN:
  12    BY MR. KERRIGAN:                                   12      Q. Have you tried to get any help for
  13       Q. And how often do you see Ruth?               13   your drinking?
  14       A. Not often. She doesn't want you to           14      A. I tried to get -- the help that I try
  15    see her, you won't see her. She's always in the    15   to get is looking for work. They don't want to
  16    street going everywhere, looking for business.     16   give me any work, they said they don't hire
  17       Q. Do you see Ruth in Cap-Haïtien?              17   homosexuals.
  18       A. Yes.                                         18      Q. Have you ever gone to get counseling
  19       Q. And you don't know how often you see         19   or therapy to help you with your drinking?
  20    Ruth?                                              20          MR. GARABEDIAN: Objection.
  21       A. No. One day she just shows up.               21      A. No.
  22       Q. Are you involved with any other              22   BY MR. KERRIGAN:
  23    relationships with women? And I don't              23      Q. Why not?
  24    necessarily mean sexual, I just mean               24      A. I don't trust anyone. I don't bother
  25    relationships, friends, acquaintances,             25   with anybody.


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   1       Q. You testified that you are taking an          1   I'm going to be very specific, okay, and I just
   2    ointment or a cream for the bumps that are on       2   ask that you give me very specific answers,
   3    your buttocks, is that correct?                     3   okay, as best you can.
   4       A. Yes, I have a cream.                          4      A. All right.
   5       Q. What's the name of that cream?                5      Q. The first time you were abused by Doug
   6       A. I don't know the name.                        6   Perlitz, how long did the abuse last?
   7       Q. Where do you get the cream?                   7          MR. GARABEDIAN: Objection.
   8       A. A nurse give it to me, Nurse                  8      A. How long?
   9    Monprophéte give it to me.                          9   BY MR. KERRIGAN:
  10       Q. Where does she get the cream?                10      Q. How long. That's the question.
  11       A. I don't know. She's a nurse working          11          MR. GARABEDIAN: Objection.
  12    at a hospital.                                     12      A. I don't know how long.
  13       Q. At the Justinian Hospital, is that           13   BY MR. KERRIGAN:
  14    correct?                                           14      Q. Would it have been 1 minute?
  15       A. Yes.                                         15      A. I don't know, no.
  16       Q. Did any doctor ever tell you that the        16      Q. Can you estimate for us? Would it
  17    bumps on your buttocks were caused by Doug         17   have been 1 minute, 5 minutes, 10 minutes, more?
  18    Perlitz?                                           18      A. The first time?
  19           MR. GARABEDIAN: Objection.                  19      Q. The first time only.
  20       A. No.                                          20      A. I don't know.
  21    BY MR. KERRIGAN:                                   21      Q. You can't tell us?
  22       Q. Did any nurse ever tell you that the         22      A. No.
  23    bumps on your buttocks were caused by Doug         23      Q. Okay. Second time you were abused by
  24    Perlitz?                                           24   Doug Perlitz, how long did the abuse last?
  25       A. No.                                          25          MR. GARABEDIAN: Objection.


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   1       Q. Did anyone ever tell you that the             1       A. Second time how long did it take?
   2    bumps on your buttocks were caused by Doug          2   BY MR. KERRIGAN:
   3    Perlitz?                                            3       Q. That's the question.
   4       A. No, no nurse have told me that.               4       A. How long did it take for him to do
   5       Q. Did anyone ever tell you that the             5   that to me?
   6    bumps on your buttocks were caused by Doug          6       Q. That's the question.
   7    Perlitz?                                            7       A. Maybe two months, the second time.
   8       A. No.                                           8       Q. Maybe you're misunderstanding.
   9       Q. Did you help anyone get in touch with         9       A. No, I don't understand.
  10    a lawyer regarding a case against Doug Perlitz?    10       Q. Okay. You tell me when you don't
  11            MR. GARABEDIAN: Objection.                 11   understand.
  12       A. No.                                          12       A. Okay.
  13    BY MR. KERRIGAN:                                   13       Q. What I'm asking is this. The second
  14       Q. Did you have any kinds of diseases or        14   time that you say Doug Perlitz abused you, when
  15    injuries before you were ever abused by Doug       15   you were with Mr. Perlitz and he was abusing you
  16    Perlitz?                                           16   physically, touching you, etcetera, how long did
  17       A. No, I did not have any disease. The          17   the abuse last that time?
  18    only thing I had was the cut when the glass fell   18          MR. GARABEDIAN: Objection.
  19    on my foot. I did not used to have bumps on by     19       A. I don't know. I don't know how long
  20    butt, on my behind.                                20   it took.
  21       Q. And I'm talking about any disease or         21   BY MR. KERRIGAN:
  22    condition apart from bumps.                        22       Q. Can you tell us if it was 1 minute,
  23       A. The only thing I had was the cut,            23   5 minutes, 10 minutes?
  24    that's it, no other disease.                       24          MR. GARABEDIAN: Objection.
  25       Q. Mr. Guillaume, the next few questions        25       A. I don't know. I don't know how long


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   1   it took. I don't know.                             1      A. I saw him -- did I see him naked at
   2   BY MR. KERRIGAN:                                   2   least one time?
   3       Q. Third time that you say Mr. Perlitz         3   BY MR. KERRIGAN:
   4   abused you, how long did the abuse last on that    4      Q. That's the question.
   5   occasion?                                          5      A. I saw him naked once. The other times
   6          MR. GARABEDIAN: Objection.                  6   he was wearing shorts and a T-shirt.
   7       A. I don't know. I don't know how long         7      Q. When you saw --
   8   it was.                                            8      A. Undershirt, I'm sorry.
   9   BY MR. KERRIGAN:                                   9      Q. Thank you.
  10       Q. You can't tell us how long?                10          When you saw Mr. Perlitz naked, did
  11       A. No, I don't know.                          11   you see any marks on his body?
  12       Q. Fourth time you say Mr. Perlitz abused     12      A. He was facing me, I saw him, he was
  13   you, how long did that abuse last?                13   facing me, but I didn't see any marks on him.
  14          MR. GARABEDIAN: Objection.                 14   But then he was -- he had his back to me and
  15       A. I wasn't looking at the time, I don't      15   then he lifted his shirt, and I saw a mark, a
  16   know. I wasn't checking how long it was taking.   16   scratch, something on his back, he said that he
  17   BY MR. KERRIGAN:                                  17   took a bullet.
  18       Q. So you can't tell us whether it was 1      18      Q. Where was the mark on his back?
  19   minute, 5 minutes, 10 minutes, more?              19      A. You know, you have a line in the
  20          MR. GARABEDIAN: Objection.                 20   middle of your back, next to it.
  21       A. No, I don't know.                          21      Q. That line in the middle of the back
  22   BY MR. KERRIGAN:                                  22   we'll call the spine, is that right?
  23       Q. On the occasions when Mr. Perlitz          23          MR. GARABEDIAN: Objection.
  24   abused you, Mr. Guillaume, did he ejaculate?      24      A. There is the spine, and then you have
  25       A. Did he ejaculate?                          25   the side that don't have the spine, that's where

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   1      Q. That was the question.                       1   the mark is.
   2      A. Did he ejaculate on me?                      2   BY MR. KERRIGAN:
   3      Q. That's the question.                         3      Q. Was the mark on Doug Perlitz's left
   4      A. Yeah, he always does, he always do it        4   side or his right side?
   5   in my behind.                                      5          MR. GARABEDIAN: Objection.
   6      Q. So all four times you believe that           6      A. One of them. I don't know if it was
   7   Mr. Perlitz ejaculated --                          7   the left or the right.
   8         THE INTERPRETER: I'm sorry. Were you         8   BY MR. KERRIGAN:
   9   finished?                                          9      Q. Was the mark on Mr. Perlitz's back, on
  10   BY MR. KERRIGAN:                                  10   his shoulder, or someplace else?
  11      Q. -- when he abused you?                      11      A. His back.
  12      A. Yes.                                        12      Q. Was it on the upper, middle, or lower
  13      Q. On any occasion in which you say that       13   back?
  14   Mr. Perlitz abused you, did you see him naked?    14          MR. GARABEDIAN: Objection.
  15         MR. GARABEDIAN: Objection.                  15      A. Right there on his back.
  16      A. When he was abusing me?                     16          MR. KERRIGAN: Let the record reflect
  17   BY MR. KERRIGAN:                                  17   that Mr. Guillaume, in my estimation, was
  18      Q. Correct.                                    18   pointing to his back just below the scapula
  19      A. Have I seen him naked?                      19   region.
  20      Q. Correct.                                    20   BY MR. KERRIGAN:
  21      A. Sometimes he wears shorts, and              21      Q. Did you notice any other marks on
  22   sometimes he's naked.                             22   Mr. Perlitz when you saw him without his clothes
  23      Q. So you saw him naked on at least one        23   on?
  24   occasion?                                         24          MR. GARABEDIAN: Objection.
  25         MR. GARABEDIAN: Objection.                  25      A. No.


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   1    BY MR. KERRIGAN:                                   1   or if there weren't any windows.
   2       Q. Did Mr. Perlitz have any hair on his         2      Q. Was there any kind of furniture in the
   3    chest?                                             3   room apart from the small bed you mentioned?
   4       A. Did he have hair? I didn't see any           4      A. No.
   5    hair on his chest. I don't know if he has hair     5      Q. There was no desk?
   6    now on his chest, but I didn't see any.            6      A. In the bedroom?
   7       Q. I'm talking about when you saw him.          7      Q. Yes.
   8       A. No, no, he did not have hair.                8      A. No, I didn't see a desk.
   9       Q. Did Mr. Perlitz have any hair around         9      Q. Where was the laptop?
  10    his penis?                                        10      A. The laptop is on the floor.
  11           MR. GARABEDIAN: Objection.                 11      Q. Were there any chairs in the room?
  12       A. Did he have hair on his penis?              12      A. No, his room does not have chairs.
  13    BY MR. KERRIGAN:                                  13      Q. Was there a carpet on the floor?
  14       Q. Around that area.                           14      A. There was a small bed on the floor.
  15       A. I wasn't paying attention to that. I        15      Q. Was there a carpet on the floor?
  16    was laying down. I don't remember anything        16      A. No, there was no carpet on the floor.
  17    about that.                                       17      Q. Was the small bed a mattress?
  18       Q. I'd like you to think back now to Doug      18      A. No, it's a bed like the beds you see
  19    Perlitz's room at Bel Air, okay?                  19   in a chapel.
  20       A. Okay.                                       20      Q. How many beds were in Doug Perlitz's
  21       Q. Think back to the first time you were       21   room?
  22    abused by Mr. Perlitz, okay? So we're thinking    22           MR. GARABEDIAN: Objection.
  23    now about the first time you were abused by       23      A. There has a bed -- it has a bed and a
  24    Mr. Perlitz, and you're in Mr. Perlitz's room.    24   carpet, you know, like the bed that you see in a
  25    Describe the room, please.                        25   chapel.

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   1     A. Where we were standing is white, there         1          MR. GARABEDIAN: Objection.
   2   are pictures on the wall, and he has a bed on       2   BY MR. KERRIGAN:
   3   the floor, and he always have his laptop in the     3      Q. How many beds?
   4   bedroom, and he has books also. I don't             4      A. How many beds are in the bedroom?
   5   remember anything else.                             5      Q. That's the question.
   6     Q. What was on the wall?                          6      A. When I went into the bedroom, there
   7     A. He has pictures on the wall, and also          7   was a small bed like the ones you see in a
   8   has the shelf for books, a shelf for books.         8   chapel. I don't know if there were any other
   9     Q. What were the pictures on the wall of?         9   beds.
  10     A. Picture of the kids in the project, in        10      Q. And was there a carpet on the floor or
  11   the project, and Caucasian, pictures of            11   not when you were there?
  12   Caucasian people.                                  12          MR. GARABEDIAN: Objection.
  13     Q. How many windows were in Doug                 13          He doesn't know what carpet means.
  14   Perlitz's room?                                    14      A. Like the ones in the chapel? A carpet
  15     A. How many windows on Doug Perlitz's            15   like goes all over the house.
  16   room?                                              16   BY MR. KERRIGAN:
  17     Q. That's the question.                          17      Q. A carpet or a rug is something soft
  18          MR. GARABEDIAN: Objection.                  18   and cushiony that you put on the floor to walk
  19     A. I don't know. When I go into the              19   on.
  20   bedroom I don't see any open windows, so I don't   20      A. That you could fold?
  21   know if there are any open windows.                21      Q. I don't know if you can fold it. Is
  22   BY MR. KERRIGAN:                                   22   there another word for carpet in Creole?
  23     Q. You don't know, yes or no, whether            23      A. Yeah, a carpet, it's something you
  24   there were any windows?                            24   could fold it, you fold it like the ones that
  25     A. I don't know if there were any windows        25   you see in the chapel.


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   1        Q. Where would you see a carpet in a          1   you see any students or kids from Bel Air
   2    chapel; at Project Pierre Toussaint, or           2   sleeping or hanging around outside Bel Air?
   3    somewhere else?                                   3         MR. GARABEDIAN: Objection.
   4        A. At the project, that's where I've seen     4      A. No. No, I didn't see any children.
   5    it.                                               5   BY MR. KERRIGAN:
   6        Q. You've never seen any beds in the          6      Q. And the second time Mr. Perlitz abused
   7    chapel at Project Pierre Toussaint?               7   you and you left Bel Air, did you see any
   8        A. No. In the chapel I didn't see any         8   children outside Bel Air when you left?
   9    bed.                                              9         MR. GARABEDIAN: Objection.
  10        Q. Were there any lights or lamps in         10      A. No, I didn't see any children.
  11    Doug's room when you were there the first time   11   BY MR. KERRIGAN:
  12    that you say he abused you?                      12      Q. And the third time that you say
  13        A. If there were any lights, the house       13   Mr. Perlitz abused you and you left Bel Air, did
  14    has lights.                                      14   you see any children outside of the house at
  15        Q. I'm talking about Doug's room.            15   Bel Air?
  16           MR. GARABEDIAN: Objection.                16         MR. GARABEDIAN: Objection.
  17        A. I don't know. They have lights in the     17      A. No, I didn't see any children.
  18    room, but I didn't see any lights on. I don't    18   BY MR. KERRIGAN:
  19    know.                                            19      Q. Mr. Guillaume, how tall are you?
  20    BY MR. KERRIGAN:                                 20      A. How tall am I?
  21        Q. Was there a door to Douglas Perlitz's     21      Q. That's the question.
  22    room when you were there?                        22         MR. GARABEDIAN: Objection.
  23        A. Yes, Douglas's door.                      23      A. I don't know my height.
  24        Q. Did the door have a lock on it?           24         MR. GARABEDIAN: How much time do we
  25        A. Yeah, to enter the house you have to      25   have left?


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   1    have a key. He has a key.                         1         MR. KERRIGAN: Two minutes.
   2           MR. GARABEDIAN: Objection.                 2      A. I don't know my height.
   3    BY MR. KERRIGAN:                                  3   BY MR. KERRIGAN:
   4       Q. When Doug was abusing you,                  4      Q. Do you know how tall you were in 2003
   5    Mr. Guillaume, was the door open or closed to     5   to 2004?
   6    his room?                                         6         MR. GARABEDIAN: Objection.
   7       A. He closed his door.                         7      A. No, I don't know.
   8       Q. Did Mr. Perlitz's room door lead out        8   BY MR. KERRIGAN:
   9    to the outside of Bel Air?                        9      Q. And what do you weigh today, do you
  10           MR. GARABEDIAN: Objection.                10   know?
  11       A. Douglas's bedroom door?                    11      A. I don't weigh myself, never weighed
  12    BY MR. KERRIGAN:                                 12   myself, so I don't know.
  13       Q. Correct.                                   13      Q. Do you know what you weighed back in
  14       A. Yes, it opened to the outside.             14   2003, 2004?
  15       Q. Did Douglas's room change in any way       15      A. No.
  16    on the different times when you were in that     16      Q. Now, have you understood my questions
  17    room?                                            17   today and have told me when you don't understand
  18           MR. GARABEDIAN: Objection.                18   my questions?
  19       A. Did the room change in any way?            19         MR. GARABEDIAN: Objection.
  20    BY MR. KERRIGAN:                                 20      A. Yes.
  21       Q. That's the question.                       21   BY MR. KERRIGAN:
  22       A. I don't know. I didn't see any             22      Q. And is there anything you'd like to
  23    changes.                                         23   change about any of the answers you've given me
  24       Q. When you left Bel Air after the first      24   today?
  25    time that you say Mr. Perlitz abused you, did    25         MR. GARABEDIAN: Objection.


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   1       A. No, no, because I did the best I could       1   the Society of Jesus, maybe the other
   2   to answer the questions that you asked me. No.      2   Defendants, they can chime in, is that we have
   3           MR. KERRIGAN: Thank you.                    3   no basis to conclude that there was any problem
   4           MR. STEWART: Can we go off the video        4   with the translation today. Your objection is
   5   record and stay on the transcribed record for       5   based upon your personal translator that you had
   6   just a moment?                                      6   here.
   7           THE VIDEOGRAPHER: Going off the video       7          MR. STEWART: True.
   8   record. The time is 8:07 p.m..                      8          MR. KERRIGAN: Apart from that, for me
   9           MR. STEWART: Can we get the                 9   right now, from my standpoint I have no basis to
  10   non-appearance -- can we attorneys just talk on    10   assume that this was anything but an accurate
  11   the record for a moment?                           11   translation.
  12           (All non-attorneys out of deposition       12          MR. STEWART: I understand that. I
  13   room.)                                             13   respect what you're saying. I'm not looking to
  14           MR. STEWART: The only thing I wanted       14   fight with you all about it today. I'm jut
  15   to put on the record is counsel were gracious      15   putting it out there that that is an issue that
  16   enough to do a little mini meet and confer, a      16   we know -- we believe to exist based on what our
  17   little mini conversation in-between the            17   guy said. I understand you would have no way of
  18   depositions with me regarding some issues with     18   knowing that. We're not saying you all let
  19   the translations today. There were some            19   something happen. We're not saying you all did
  20   specifically -- it appeared that the -- our        20   anything unfair. I'm not implying you all knew
  21   afternoon translator was cutting off the witness   21   something wasn't right, anything like that. We
  22   at times, having a conversation with him, not      22   just want to make that record clear so there's
  23   translating exactly what he was saying. For        23   no impeachment issue.
  24   example, if Mitchell, Mr. Garabedian said          24          Because I think Mr. Kennedy got
  25   "objection," what we understand her to be saying   25   side-tracked on one of those issues because of


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   1   is "your attorney doesn't like the question,"       1   the way the translator was reporting things back
   2   and instead of the Creole word for objection.       2   to him or replying back to him gave him a belief
   3          There was also some issues where the         3   that -- I believe that something was being said
   4   witness was stating back to her -- asking her       4   that was not, in fact, being said.
   5   back the question, repeating the question back      5          So we can talk about it later. I
   6   to her, and she was giving that back as an          6   appreciate what you're saying, Mike. I'll stop
   7   answer, and that is the time when I did speak       7   now.
   8   up. And I understand counsel's request that         8          MR. KERRIGAN: Let me correct my --
   9   only Mr. -- that only Mitchell make objections.     9   the Defendants have no reason to believe that
  10   I appreciate the indulgence, and I apologize for   10   this was anything but an accurate translation.
  11   stepping on your record. But there was             11   I think I had a triple negative there.
  12   clearly -- it was clearly getting confused.        12          MR. STEWART: Thank you, Maureen.
  13   There were a few things where she did not repeat   13          Thank you.
  14   it back as the witness was saying it.              14          (Whereupon, the deposition was
  15          So we're going to have our guy listen       15          concluded at 7:30 p.m.)
  16   to the audio and see what issues there are.        16
  17          Mr. Kerrigan indicated that this would      17
  18   be something that we would need to meet and        18
  19   confer about later. We're agreeable to that.       19
  20   But I just wanted to put that on the record        20
  21   before we left tonight.                            21
  22          Is that accurate to what I related to       22
  23   you, pretty much?                                  23
  24          MR. KERRIGAN: I think it is. And the        24
  25   only thing I would add to it, Mike, speaking for   25


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   1          CERTIFICATE                                  1           ------
   2          I, MAUREEN O'CONNOR POLLARD, LSR #473,                   ERRATA
   3   RMR, CLR, and Notary Public in and for the State    2           ------
   4   of Connecticut, do hereby certify that there        3   PAGE LINE CHANGE
   5   came before me on the 18th day of May, 2015, the    4   ____ ____ _________________________________
   6   person hereinbefore named, who was duly sworn to    5     REASON: __________________________________
   7   testify to the truth of their knowledge             6   ___ ____ __________________________________
   8   concerning the matters in this cause, and their     7     REASON: __________________________________
   9   examination reduced to typewriting under my         8   ____ ____ _________________________________
  10   direction and is a true record of the testimony.
                                                           9     REASON: __________________________________
                                                          10   ____ ____ _________________________________
  11          I further certify that I am neither
                                                          11     REASON: __________________________________
  12   attorney for or related or employed by any of
                                                          12   ____ ____ _________________________________
  13   the parties to the action, and that I am not a
                                                          13     REASON: __________________________________
  14   relative or employee of any attorney or counsel
                                                          14   ____ ____ _________________________________
  15   employed by the parties hereto or financially
                                                          15     REASON: _________________________________
  16   interested in the action.                          16   ____ ____ _________________________________
  17          In witness whereof, I have hereunto         17     REASON: _________________________________
  18   set my hand and seal this 23rd day of May, 2015.   18   ____ ____ _________________________________
  19                                                      19     REASON: _________________________________
  20     ________________________________________         20   ____ ____ _________________________________
  21     MAUREEN O'CONNOR POLLARD, License #473           21     REASON: _________________________________
  22     Realtime Systems Administrator, RMR              22   ____ ____ _________________________________
  23     Notary Commission Expires: 10/31/2017            23     REASON: _________________________________
  24                                                      24   ____ ____ _________________________________
  25                                                      25


                                          Page 267                                                   Page 269
   1          INSTRUCTIONS TO WITNESS                      1         ACKNOWLEDGMENT OF DEPONENT
   2                                                       2
                                                           3             I, __________________________, do
   3              Please read your deposition over             Hereby certify that I have read the foregoing
   4    carefully and make any necessary corrections.      4   pages, and that the same is a correct
   5    You should state the reason in the appropriate         transcription of the answers given by me to the
   6    space on the errata sheet for any corrections      5   questions therein propounded, except for the
                                                               corrections or changes in form or substance, if
   7    that are made.                                     6   any, noted in the attached Errata Sheet.
   8              After doing so, please sign the          7
   9    errata sheet and date it. It will be attached      8   _________________________________
  10    to your deposition.                                    JAMESLY GUILLAUME          DATE
                                                           9
  11              It is imperative that you return        10
  12    the original errata sheet to the deposing         11
  13    attorney within thirty (30) days of receipt of    12
  14    the deposition transcript by you. If you fail     13
                                                          14
  15    to do so, the deposition transcript may be
                                                          15   Subscribed and sworn
  16    deemed to be accurate and may be used in court.        To before me this
  17                                                      16   ______ day of _________________, 20____.
  18                                                      17   My commission expires: ________________
  19                                                      18
                                                               _______________________________________
  20                                                      19   Notary Public
  21                                                      20
  22                                                      21
  23                                                      22
                                                          23
  24                                                      24
  25                                                      25


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                  UNITED STATES DISTRICT COURT
                  DISTRICT OF CONNECTICUT
                                       Civil Action No.
                                       3:13-cv-01132(RNC)
        ****************************
        GERVIL ST. LOUIS, a/k/a ST.    Consolidated with:
        LOUIS GERVIL,                  3:13-cv-1225-RNC
                                       3:13-cv-1269-RNC
                       Plaintiff,      3:13-cv-1437-RNC
                                       3:13-cv-1480-RNC
             v.                        3:13-cv-1626-RNC
                                       3:13-cv-1627-RNC
        DOUGLAS PERLITZ, FATHER        3:13-cv-1628-RNC
        PAUL E. CARRIER, S.J.; HOPE    3:13-cv-1629-RNC
        E. CARTER; HAITI FUND,         3:13-cv-1630-RNC
        INC.; FAIRFIELD UNIVERSITY;    3:13-cv-1631-RNC
        THE SOCIETY OF JESUS OF NEW    3:13-cv-1632-RNC
        ENGLAND; SOVEREIGN MILITARY    3:13-cv-1633-RNC
        HOSPITALLER ORDER OF ST.       3:13-cv-1634-RNC
        JOHN OF JERUSALEM OF RHODES    3:13-cv-1635-RNC
        AND OF MALTA, AMERICAN         3:13-cv-1636-RNC
        ASSOCIATION, U.S.A.; a/k/a     3:13-cv-1637-RNC
        ORDER OF MALTA, AMERICAN       3:13-cv-1638-RNC
        ASSOCIATION, U.S.A.; JOHN      3:13-cv-1639-RNC
        DOE ONE; JOHN DOE TWO; JOHN    3:13-cv-1640-RNC
        DOE THREE; JOHN DOE FOUR;      3:13-cv-1641-RNC
        JOHN DOE FIVE; JOHN DOE SIX    3:13-cv-1642-RNC
        and JOHN DOE SEVEN,            3:13-cv-1644-RNC
                                       3:13-cv-1645-RNC
                       Defendants.     3:13-cv-1647-RNC
                                       3:13-cv-1648-RNC
                                       3:13-cv-1701-RNC
                                       3:13-cv-1767-RNC
                                       3:13-cv-1768-RNC
                                       3:13-cv-1769-RNC
                                       3:13-cv-1881-RNC
                                       3:13-cv-1904-RNC
                                       3:13-cv-1906-RNC
                                       3:13-cv-1907-RNC
        ******************************
        This document applies to:
        All of the above referenced cases
        And those to be filed
        ******************************
        CONFIDENTIAL - SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
             VIDEOTAPED DEPOSITION OF JASMIN JOSEPH

                   Tuesday, May 19, 2015
                          9:36 a.m.

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                                                     Page 2                                           Page 4
   1     VIDEOTAPED DEPOSITION OF JASMIN JOSEPH                1    APPEARANCES (Continued):
   2                                                           2
   3                                                           3    FOR THE DEFENDANT PAUL E. CARRIER, S.J.:
       Held At:                                                4      THEODORE J. FOLKMAN, ESQ.
   4                                                           5         MURPHY & KING
   5     Barcelo Puerto Plata                                  6        One Beacon Street, 21st Floor
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   9
                                                              10
  10   REPORTED BY:
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                                                              12      JEFFREY W. KENNEDY, ESQ.
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  25                                                          25


                                                     Page 3                                           Page 5
   1   APPEARANCES:                                            1   APPEARANCES (Continued):
   2   FOR THE PLAINTIFF:                                      2
   3     MITCHELL GARABEDIAN, ESQ.                             3   FOR THE DEFENDANT ORDER OF MALTA AMERICAN
   4     LU XIA, ESQ. (AM Session)                             4   ASSOCIATION, U.S.A.:
   5        LAW OFFICES OF MITCHELL GARABEDIAN                 5     BRADFORD S. BABBITT, ESQ.
   6        100 State Street, Sixth Floor                      6       ROBINSON & COLE LLP
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  10        lxia@garabedianlaw.com                            10       bbabbitt@rc.com
  11           -and-                                          11
  12     G. MICHAEL STEWART, ESQ.                             12   FOR THE DEFENDANT FAIRFIELD UNIVERSITY:
  13        SIMMONS HANLY CONROY                              13     JOHN CERRETA, ESQ.
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  20                                                          20
  21                                                          21
  22                                                          22
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  24                                                          24
  25                                                          25



                                                                                      2 (Pages 2 to 5)
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                                                   Page 6                                                Page 8
   1   APPEARANCES (Continued):                              1        PROCEEDINGS
   2                                                         2
   3   FOR THE DEFENDANT THE SOCIETY OF JESUS OF             3          THE VIDEOGRAPHER: We are now on the
   4   NEW ENGLAND:                                          4   record. My name is Chris Coughlin, and I'm a
   5     MICHAEL J. KERRIGAN, ESQ.                           5   videographer for Golkow Technologies. Today's
   6        SLOANE AND WALSH, LLP                            6   date is May 19, 2015, and the time is 9:36.
   7        Three Center Plaza, Suite 830                    7          This video deposition is being held in
   8        Boston, Massachusetts 02108                      8   Puerto Plata, Dominican Republic in the matter
   9        617-523-6010                                     9   of Gervil St. Louis, Plaintiffs versus Douglas
  10        mkerrigan@sloanewalsh.com                       10   Perlitz, Et Al, Defendants, in the United States
  11                                                        11   District Court for the District of Connecticut,
  12   Videographer: Christopher Coughlin                   12   Civil Action Number 3:13-cv-01132-RNC.
  13                                                        13          The deponent is Jasmin Joseph.
  14   Interpreter: Nathalie Coupet (PM Session)            14          Will counsel please identify
  15             Marilyn A. Leroy (AM Session)              15   yourselves for the record.
  16                                                        16          MR. CERRETA: My name is John Cerreta,
  17   Also Present:                                        17   Day Pitney, for Defendant Fairfield University.
  18   Jean Elyseé Pierre Louis, Interpreter                18          MR. KERRIGAN: Good morning. Good
  19                                                        19   morning, Mr. Joseph. My name is Michael
  20                                                        20   Kerrigan, I represent the Society of Jesus of
  21                                                        21   New England.
  22                                                        22          MR. FOLKMAN: Good morning. My name
  23                                                        23   is Ted Folkman, I represent Father Paul Carrier.
  24                                                        24          MR. BABBITT: Good morning. My name
  25                                                        25   is Bradford Babbitt, I represent the Order of


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   1               INDEX                                     1   Malta American Association.
   2     EXAMINATION                               PAGE      2          MR. KENNEDY: Good morning. Jeffrey
   3     JASMIN JOSEPH                                       3   Kennedy representing Hope Carter.
   4      BY MR. CERRETA                             10      4          MR. STEWART: Mike Stewart on behalf
   5      BY MR. FOLKMAN                             164     5   of the Plaintiffs.
   6      BY MR. KERRIGAN                            192     6          MR. LOUIS: Jean Elyseé Pierre Louis,
   7      BY MR. BABBITT                            219      7   Interpreter.
   8      BY MR. KENNEDY                             220
                                                             8          THE INTERPRETER: Marilyn Leroy,
   9
  10                                                         9   Interpreter.
  11          EXHIBITS                                      10          MR. GARABEDIAN: Mitchell Garabedian
  12     NO.      DESCRIPTION                       PAGE    11   representing Plaintiffs.
  13     1 Plaintiff Jasmin Joseph's Response               12          MS. XIA: Lu Xia for Plaintiffs.
           to Certain Defendants' First Set                 13          THE VIDEOGRAPHER: The court reporter
  14       of Interrogatories................... 11         14   is Maureen Pollard, and she will now swear in
  15     2 Complaint and Jury Trial Demand...... 16         15   the interpreter and the witness.
  16     3 Two sheets of paper with                         16
           hand-drawn diagram................... 94         17          MARILYN LEROY, Interpreter,
  17                                                        18   having been first duly sworn to translate the
  18                                                        19   testimony, translated the questions and answers
  19
                                                            20   as follows:
  20
                                                            21
  21
  22                                                        22           JASMIN JOSEPH,
  23                                                        23   having been first duly sworn, was examined and
  24                                                        24   testified as follows through the interpreter:
  25                                                        25


                                                                                 3 (Pages 6 to 9)
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   1      A. That's why I'm here.                        1          THE INTERPRETER: What's the
   2          THE VIDEOGRAPHER: Please begin.            2   university, please?
   3          DIRECT EXAMINATION                         3          MR. CERRETA: Fairfield University.
   4   BY MR. CERRETA:                                   4       A. Yes.
   5      Q. Good morning. Would you please state        5   BY MR. CERRETA:
   6   your name for the record?                         6       Q. Exhibit 1, are you familiar with this
   7      A. My name is Joseph Jasmin.                   7   document?
   8      Q. And do you sometimes go by Jasmin           8          MR. GARABEDIAN: Objection.
   9   Joseph?                                           9       A. Am I familiar with it?
  10      A. Sometimes, I always do.                    10   BY MR. CERRETA:
  11      Q. Okay. Should I call you Mr. Joseph?        11       Q. Yes. Have you ever seen this document
  12   Is that how you like to be addressed?            12   before?
  13      A. However you like.                          13       A. Have I seen it before, or have I ever
  14          MR. CERRETA: Okay. Before we go           14   seen it?
  15   further, Counsel, can we have the same           15       Q. Have you ever seen it or read it?
  16   stipulations as we had yesterday?                16       A. Have I seen it and read it? Yes.
  17          MR. GARABEDIAN: Sure. Can you recite      17       Q. Okay. Just incidentally, are you able
  18   them?                                            18   to read and write in Haitian Creole?
  19          MR. CERRETA: I believe they're            19       A. I don't read Creole or write Creole
  20   motions to strike and objections except as to    20   too well. I can read a little bit, and I can
  21   form are reserved, and that the witness will     21   write a little bit.
  22   have 60 days to read and sign.                   22       Q. Okay. In this document after about
  23          MR. GARABEDIAN: Thank you.                23   the first 25 or so pages, which is in English,
  24   BY MR. CERRETA:                                  24   it then switches to the Creole version of the
  25      Q. Okay. Mr. Joseph, have you ever gone       25   document. Would you mind just having a look and

                                          Page 11                                                Page 13
   1    by any other names besides Jasmin Joseph or      1   seeing if that document looks familiar to you?
   2    Joseph Jasmin?                                   2          (Witness reviewing document.)
   3       A. I have a nickname, Bwa. They call me       3      A. I don't remember.
   4    Bwa.                                             4   BY MR. CERRETA:
   5       Q. What -- does Bwa have an English           5      Q. Okay. Maybe it will help to go to the
   6    meaning?                                         6   last page of the document. Is that your
   7       A. No. I don't know. I just have a            7   signature on the last page?
   8    nickname called Bwa.                             8      A. Yes.
   9       Q. Okay. Any other nicknames or aliases       9      Q. And can you read what that says there
  10    that you've gone by?                            10   on the last page of that document?
  11       A. No.                                       11          MR. GARABEDIAN: Objection.
  12       Q. Okay. Before we got started today I       12      A. This is what's on the last page,
  13    asked the court reporter to mark as Exhibit 1   13   Jasmin Joseph, Joseph Jasmin.
  14    this document (handing).                        14   BY MR. CERRETA:
  15           (Whereupon, Joseph Exhibit Number 1,     15      Q. Okay. And what about the other text,
  16           Plaintiff Jasmin Joseph's Response to    16   is that something that you're able to read?
  17           Certain Defendants' First Set of         17          MR. GARABEDIAN: Objection.
  18           Interrogatories, was marked for          18      A. Fine.
  19           identification.)                         19   BY MR. CERRETA:
  20    BY MR. CERRETA:                                 20      Q. Do you remember reading that at the
  21       Q. Okay. Do you understand that you've       21   time you signed it?
  22    brought a lawsuit against Douglas Perlitz and   22      A. Yes.
  23    Fairfield University and a number of other      23      Q. And did you read the whole document
  24    Defendants in District Court in the United      24   before you signed it?
  25    States?                                         25      A. Yes.


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   1       Q. Okay. Was there anyone with you at          1   with my interpreter.
   2    the time you went through the document and        2      Q. Okay. And after reading it with your
   3    signed it?                                        3   attorney and your interpreter, did you then sign
   4           MR. GARABEDIAN: Objection. I               4   it?
   5    instruct him not to answer with regard to any     5      A. Yes.
   6    attorney/client communication.                    6      Q. And by signing it, did you understand
   7       A. Okay. Agreed.                               7   that you were verifying that the answers were
   8    BY MR. CERRETA:                                   8   true and accurate to the best of your ability?
   9       Q. Can you answer my question without          9      A. Yes, all the answers were true.
  10    revealing any conversations you had with your    10      Q. Just as a preliminary I'd like to give
  11    attorney?                                        11   you one more exhibit which has been marked as
  12           MR. GARABEDIAN: Objection. I              12   Exhibit 2.
  13    instruct him not to answer with regard to        13         (Whereupon, Joseph Exhibit Number 2,
  14    revealing attorney/client communication.         14         Complaint and Jury Trial Demand, was
  15       A. What my attorney said is correct.          15         marked for identification.)
  16    BY MR. CERRETA:                                  16   BY MR. CERRETA:
  17       Q. Okay. When Mr. Garabedian instructed       17      Q. Exhibit 2 is a document that's only in
  18    you just now, what did you understand that to    18   English, but does it look at all familiar to
  19    mean?                                            19   you?
  20           MR. GARABEDIAN: Objection. I              20      A. Yes.
  21    instruct him not to answer as to any             21      Q. Do you know what this document is?
  22    attorney/client communication.                   22      A. Well, I don't read English. I don't
  23           MR. CERRETA: Just to clarify, are you     23   read English.
  24    instructing him not to answer with respect to    24      Q. Sure. I understand.
  25    any attorney/client communications out of this   25         Do you know that as part of this

                                           Page 15                                                Page 17
   1   room?                                              1   lawsuit your attorneys filed on your behalf a
   2           MR. GARABEDIAN: I'm instructing him        2   complaint with the court in Connecticut?
   3   not to answer as to any attorney/client            3      A. Yes.
   4   communication.                                     4      Q. And did you ever come to know what was
   5           MR. CERRETA: Including the one -- the      5   in that complaint before it was filed?
   6   previous instruction here in front of us all?      6          MR. GARABEDIAN: I instruct him not to
   7           MR. GARABEDIAN: Any attorney/client        7   answer as to any attorney/client communication.
   8   communication. Any.                                8   Objection.
   9           Can we go off the record for a second?     9          MR. CERRETA: Was there an answer?
  10   I'll talk to him if you want.                     10   Could you translate what his answer was?
  11           MR. KERRIGAN: We should sort this out     11          THE INTERPRETER: There was no answer.
  12   early, we really should. It's your deposition.    12          MR. GARABEDIAN: Excuse me, can you
  13           MR. CERRETA: I think it's fine to go      13   repeat the question? Was it a yes or no
  14   off the record.                                   14   question?
  15           THE VIDEOGRAPHER: Going off the           15          MR. CERRETA: I think it was.
  16   record. The time is 9:48.                         16          MR. GARABEDIAN: Okay. He can answer
  17           (Whereupon, a recess was taken.)          17   the question yes or no.
  18           THE VIDEOGRAPHER: Back on the record.     18      A. Ask the question again?
  19   The time is 10:02.                                19   BY MR. CERRETA:
  20   BY MR. CERRETA:                                   20      Q. Okay. Did you ever come to know the
  21       Q. Mr. Joseph, do you understand that         21   allegations that were being made in the
  22   this document, Exhibit 1, consists of questions   22   complaint that was filed on your behalf?
  23   that the Defendants asked you to answer in        23      A. Yes.
  24   connection with this lawsuit?                     24      Q. But you don't ever remember reading
  25       A. Yes, I read it with my attorney and        25   this document, or a translation of this


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   1   document?                                          1      Q. Did you move to a residence in Blue
   2          MR. GARABEDIAN: Once again,                 2   Hills?
   3   objection. I instruct him not to answer as to      3      A. Yes.
   4   attorney/client communication. Answer yes or       4      Q. And do you know the address of the
   5   no.                                                5   place where you lived after you moved from
   6      A. Yes.                                         6   la Suisse?
   7   BY MR. CERRETA:                                    7      A. Yes.
   8      Q. Okay. We'll probably come back to one        8      Q. What was that?
   9   or both of those documents later.                  9      A. Ruelle Notre Dame, Number 47.
  10          What is your date of birth?                10      Q. And is that your current address?
  11      A. 1989.                                       11      A. Yes.
  12      Q. Do you remember the day and the month?      12      Q. Have you ever always lived there?
  13      A. Yes.                                        13      A. Yes.
  14      Q. Was it June 7th, 1989?                      14      Q. Was there ever a time when you moved
  15      A. Yes.                                        15   out to stay with a friend?
  16      Q. Where were you born?                        16      A. Yes.
  17      A. Haiti.                                      17      Q. When was that?
  18      Q. What part of Haiti?                         18      A. I don't remember.
  19      A. Cap-Haïtien.                                19      Q. Okay. Was it after you left PPT?
  20      Q. Are you familiar with a place called        20      A. Is it after I left PPT that I went to
  21   Plaine du Nord? I'm not sure if I'm saying that   21   live with a friend?
  22   right.                                            22      Q. Yes. Is it after you left PPT?
  23      A. What?                                       23      A. I don't remember.
  24      Q. P-L-A-I-N-E D-U N-O-R-D?                    24      Q. In Exhibit 1, in Interrogatory 2, it
  25      A. Yes.                                        25   says you lived with a friend named Dadou Aldors,


                                           Page 19                                                 Page 21
   1      Q. Is that part of Cap-Haïtien?                 1   is that right?
   2      A. Yes, that's where I was born.                2      A. Yes, Dadou Aldors.
   3      Q. After you were born, did you live in         3      Q. It says you lived with Dadou Aldors
   4   that section of Cap-Haïtien for a time?            4   for two to three years after Douglas abused you,
   5      A. No.                                          5   is that right?
   6      Q. Where did you live right when you were       6      A. After?
   7   born?                                              7      Q. Yes. Was it after Douglas abused you?
   8      A. La Suisse.                                   8      A. Yes.
   9      Q. Is la Suisse another section of              9      Q. But now you're back at Rue du Notre
  10   Cap-Haïtien?                                      10   Dame?
  11      A. Yes, but it's close by.                     11      A. Yes.
  12      Q. How long did you live in la Suisse?         12      Q. What made you move in with Dadou
  13      A. I don't remember.                           13   Aldors?
  14      Q. Was it just for a few years?                14      A. Why?
  15      A. I don't remember.                           15      Q. Yes. Why did you move from your
  16      Q. Do you remember your address when you       16   family home at Rue du Notre Dame to Dadou
  17   were living in la Suisse?                         17   Aldors?
  18      A. I was real young, I was very young          18      A. Because we were friends, we were
  19   when I left la Suisse, so I don't remember.       19   friends, we were living together.
  20      Q. Were you living in a residence, in a        20      Q. Okay. But in any event, you are now
  21   home?                                             21   back at Rue du Notre Dame at your family home,
  22      A. Yes.                                        22   correct?
  23      Q. Where did you move to after you left        23      A. Yes.
  24   la Suisse?                                        24      Q. Have you lived anywhere else in your
  25      A. Blue Hills.                                 25   life other than in la Suisse and Blue Hills, Rue


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   1   du Notre Dame, and at your friend Dadou Aldors's    1     Q. And how about your mother's name, what
   2   place?                                              2   was her name?
   3      A. No.                                           3      A. Otilia Joseph.
   4      Q. Your current home, how big a house is         4     Q. And she's now deceased, is that right?
   5   it?                                                 5      A. Yes.
   6      A. It's not a big house. It's just one           6      Q. When did she pass away?
   7   room that the family has.                           7      A. I don't remember. I was young.
   8      Q. Does it have bedrooms?                        8      Q. Do you have any memory of your mother?
   9      A. Just one.                                     9      A. Yes, I do, a lot.
  10      Q. How many people live there?                  10     Q. So do you remember about how old you
  11      A. A lot of us.                                 11   were when she died?
  12      Q. How many all together?                       12      A. No, I don't remember.
  13      A. I have five brothers, my father, my          13      Q. Do you remember how she died?
  14   wife, my child, I have five sisters, one whose     14      A. No. I know she was ill, but I don't
  15   name I don't remember.                             15   know what was wrong with her.
  16      Q. And does everybody live in the one           16     Q. Has your father ever remarried?
  17   room?                                              17      A. No.
  18      A. Yes.                                         18     Q. Are all of your brothers and sisters
  19      Q. When you were growing up, were all of        19   the biological children of both your mother and
  20   your brothers and sisters living there in that     20   your father?
  21   house with you the whole time?                     21          MR. GARABEDIAN: Objection.
  22      A. Yes.                                         22      A. Yes.
  23      Q. Are any of your brothers or sisters          23   BY MR. CERRETA:
  24   older than you?                                    24     Q. Your father, what does he do for work?
  25      A. Yes.                                         25     A. He used to work the field, but not


                                            Page 23                                                Page 25
   1      Q. How many?                                     1   anymore.
   2      A. One brother, one sister.                      2      Q. Was that agricultural work?
   3      Q. Could you give me the names of the two        3      A. Yes.
   4   who are older than you?                             4      Q. Is he retired now?
   5      A. Mackenson Joseph, Yvrose Joseph.              5      A. Yeah, he's getting older, so he
   6      Q. And how about the siblings of yours           6   stopped working.
   7   that are younger than you, what are their names?    7      Q. Is he the owner of the family home?
   8      A. Leothide Joseph, Makoulada Joseph,            8      A. Yes.
   9   Chinay Joseph. I don't remember my other -- my      9      Q. Your older brother, Mackenson Joseph,
  10   younger sister's name. It's a difficult name.      10   how old is he?
  11   I don't remember the name.                         11      A. 27 years old.
  12      Q. The sister whose name you don't              12      Q. Does he work?
  13   remember, does she also live at the home with      13      A. No.
  14   you?                                               14      Q. Do any of your brothers and sisters
  15      A. Just that the name is not a very             15   currently have a job?
  16   popular name. It's not an easy name to             16      A. No.
  17   remember, so I don't remember.                     17      Q. Have they previously been employed
  18      Q. But despite the fact that you don't          18   prior to this time?
  19   remember her name, does she live in the family     19      A. No.
  20   home with you?                                     20      Q. Did any of your brothers attend
  21      A. Yes, but she doesn't -- she's not            21   school?
  22   there the whole day. She just sleeps in the        22      A. No.
  23   house.                                             23      Q. I may have asked that wrong. I may
  24      Q. What's your father's name?                   24   have said brothers, but have any of your
  25      A. Calistene Joseph.                            25   siblings attended school?


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   1      A. Just me.                                      1   mother.
   2      Q. Am I right that you have one                  2      A. No.
   3   stepbrother?                                        3   BY MR. CERRETA:
   4          MR. GARABEDIAN: Objection.                   4      Q. Okay. He's your half-brother?
   5      A. I don't remember.                             5          MR. GARABEDIAN: Objection.
   6   BY MR. CERRETA:                                     6      A. Yes, that's what I said.
   7      Q. I was just looking at Interrogatory --        7   BY MR. CERRETA:
   8   the answer to Interrogatory 4 in Exhibit 1, it      8      Q. Okay. You mentioned that you're
   9   says "I have a stepbrother but I do not remember    9   married, is that right?
  10   his name." Is that right?                          10      A. When did I say that?
  11          MR. GARABEDIAN: Objection.                  11      Q. Are you married?
  12      A. Yes, I think so.                             12          MR. GARABEDIAN: Objection.
  13   BY MR. CERRETA:                                    13      A. No.
  14      Q. You think you do have a stepbrother?         14   BY MR. CERRETA:
  15      A. Yes.                                         15      Q. Is there a woman that you're in a
  16      Q. But you don't know his name?                 16   relationship with?
  17      A. Anderson Joseph.                             17      A. Yes.
  18      Q. And is that a stepbrother on your            18      Q. Did you refer to that woman as your
  19   father's side from a previous relationship of      19   wife previously?
  20   your father?                                       20      A. Yeah, that's what we say in Haiti, so
  21          MR. GARABEDIAN: Objection.                  21   I refer to her as my wife.
  22      A. Yes.                                         22      Q. Okay. How long have you been
  23   BY MR. CERRETA:                                    23   together?
  24      Q. Was your father previously married           24      A. I don't remember. I have a lot on my
  25   before he was married to your mother?              25   mind. My mind is not at peace. I don't

                                            Page 27                                             Page 29
   1          MR. GARABEDIAN: Objection.                   1   remember a lot of things.
   2       A. No.                                          2      Q. Do you have a child together?
   3    BY MR. CERRETA:                                    3      A. Yes.
   4       Q. But he did have another -- so how are        4      Q. What's the name of your wife?
   5    you related to your stepbrother?                   5      A. Fabiola Cardor.
   6          MR. GARABEDIAN: Objection.                   6      Q. And what's the name of your child?
   7          THE INTERPRETER: I'm sorry, again?           7      A. Jasmine Joseph.
   8    BY MR. CERRETA:                                    8      Q. And Jasmine is a girl, is she?
   9       Q. How are you related to your                  9      A. Yes.
  10    stepbrother?                                      10      Q. How old is she?
  11          THE INTERPRETER: I don't understand         11      A. Maybe a year.
  12    the question.                                     12      Q. Did you get together with your wife
  13          MR. CERRETA: Okay. It's a bad               13   after you were a student at PPT?
  14    question. Stepbrother is not going through        14          MR. GARABEDIAN: Objection.
  15    maybe.                                            15      A. After I left PPT, that's when I got
  16    BY MR. CERRETA:                                   16   involved with the woman.
  17       Q. Who is Anderson Joseph to you?              17   BY MR. CERRETA:
  18       A. My brother.                                 18      Q. Right now, all the people living in
  19       Q. He's your brother?                          19   your home, are any of them working?
  20       A. Yes.                                        20          MR. GARABEDIAN: Objection.
  21       Q. Okay. He's the son of your father?          21      A. No.
  22       A. Yes.                                        22   BY MR. CERRETA:
  23       Q. And the son of your mother?                 23      Q. Do you have any money coming in to pay
  24          THE INTERPRETER: I'm sorry?                 24   for expenses?
  25          MR. CERRETA: And the son of your            25          MR. GARABEDIAN: Objection.


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   1      A. No.                                           1   gourdes, 150 Haitian gourdes per day.
   2   BY MR. CERRETA:                                     2      Q. Are you actively looking for work
   3      Q. How about when you were a child, was          3   right now?
   4   your father working as an agricultural laborer      4          MR. GARABEDIAN: Objection.
   5   at that time?                                       5      A. No. When I look for work they don't
   6      A. Yeah, he used to do a little bit of           6   give me the job, they send me away.
   7   work.                                               7   BY MR. CERRETA:
   8      Q. And was he the only source of income          8      Q. So you stopped looking?
   9   for the whole family when you were growing up?      9      A. Yes, because -- I stop because they
  10      A. Yes.                                         10   give me nothing, they calling me names.
  11      Q. What was it like growing up in a one         11      Q. Were you ever a tailor?
  12   room house with so many people sharing all that    12      A. Yes.
  13   confined space?                                    13      Q. When did you do tailoring work?
  14          MR. GARABEDIAN: Objection.                  14      A. After I left to stay with my friend
  15      A. I had to do it.                              15   named Dadou.
  16   BY MR. CERRETA:                                    16      Q. Does Dadou work for a tailor?
  17      Q. Was it a difficult childhood for you?        17      A. Yeah, that's what he was, I used to
  18          MR. GARABEDIAN: Objection.                  18   work with him as a tailor.
  19      A. Very much so.                                19      Q. And was that when you were working for
  20   BY MR. CERRETA:                                    20   a man named Boss Gary? Is that right?
  21      Q. What were some of the problems that          21      A. Yes, in masonry.
  22   you had?                                           22      Q. Oh, Boss Gary is a mason?
  23          MR. GARABEDIAN: Objection.                  23      A. Yes.
  24      A. I had a lot of problems.                     24      Q. Did you receive masonry training from
  25   BY MR. CERRETA:                                    25   Boss Gary?


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   1      Q. Was there enough to eat?                      1      A. No, I wasn't learning, I was just
   2      A. No.                                           2   doing some working, and he would give me 100
   3      Q. Were there days when you went hungry,         3   gourde, 150 Haitian gourde.
   4   didn't have any food?                               4      Q. Have you had any other jobs?
   5      A. Yes.                                          5      A. No.
   6      Q. Prior to your wife, did you have any          6      Q. Do you do anything now to get -- to
   7   relationships with any other women?                 7   bring money in?
   8      A. No.                                           8      A. No.
   9      Q. And you don't have any other children         9      Q. How do you get by in terms of
  10   besides Jasmine?                                   10   day-to-day expenses?
  11      A. Just her.                                    11          MR. GARABEDIAN: Objection.
  12      Q. Are you currently employed?                  12      A. What do I do? Out in the street,
  13      A. No.                                          13   sometimes I take garbage out for people and they
  14      Q. Have you ever been employed?                 14   give me 50 gourdes, but that's not work, you
  15      A. No. But when I look for work they            15   don't call that work.
  16   don't give me work, because they said they don't   16   BY MR. CERRETA:
  17   hire homosexuals.                                  17      Q. Any other activities that you do to
  18      Q. Did you ever do masonry work in the          18   raise money?
  19   past?                                              19      A. No.
  20      A. I used to find day jobs as a mason.          20      Q. You mentioned previously that you're
  21      Q. When was the last time you did masonry       21   the only one of your brothers or sisters that
  22   work?                                              22   attended school, is that right?
  23      A. I don't remember.                            23          MR. GARABEDIAN: Objection.
  24      Q. What was the pay for a mason?                24      A. Yes, I said that.
  25      A. They would give me 100 Haitian               25   BY MR. CERRETA:


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   1       Q. What was the name of the first school         1      A. A friend told me that there was a
   2    you ever attended?                                  2   school at 13th Street that were helping kids, so
   3       A. St. Catherine.                                3   the friend took me to the school.
   4       Q. Where is St. Catherine's?                     4   BY MR. CERRETA:
   5       A. Cap-Haïtien.                                  5      Q. Do you remember your friend's name?
   6       Q. Is it in the Blue Hills section of            6      A. No.
   7    Cap-Haïtien?                                        7      Q. Do you remember how old you were when
   8       A. No.                                           8   you first went to the 13th Street school?
   9       Q. What section is it in?                        9      A. I don't remember.
  10       A. Cap-Haïtien, la Route National Number        10      Q. How long were you -- how long did you
  11    1.                                                 11   go to school at the 13th Street Center?
  12       Q. How long were you when you first went        12      A. How long?
  13    to St. Catherine's?                                13      Q. Yes. How long were you there?
  14       A. I don't remember what that was, but I        14      A. How long was I in school there?
  15    was young.                                         15      Q. Yes.
  16       Q. Why was it that you got to go to             16      A. Maybe a year or two.
  17    school?                                            17      Q. Do you remember any of your teachers
  18           MR. GARABEDIAN: Objection.                  18   there?
  19       A. Someone used to pay for my tuition,          19      A. In 13th Street?
  20    that person passed away, and we couldn't pay --    20      Q. Yes. Do you remember any of the
  21    the tuition couldn't be paid anymore, so I went    21   teachers at 13th Street?
  22    to -- my father couldn't pay the tuition, so I     22      A. I had a teacher RouRou. I had one, a
  23    went to 13th Street and went to school there.      23   teacher named Luckson.
  24    BY MR. CERRETA:                                    24      Q. How about Madam Calixte, does that
  25       Q. Who was the person that was paying           25   sound familiar?


                                            Page 35                                                 Page 37
   1    your tuition as St. Catherine's?                    1      A. Yes.
   2       A. I don't remember the person's name.           2      Q. What did Madam Calixte teach?
   3    The person died a long time ago. I was young.       3      A. She used to do Creole, math, French.
   4       Q. Was it a friend of your father's?             4      Q. How about Luckson?
   5       A. I don't know. I was young. I was a            5      A. Almost the same thing, Creole, French.
   6    child.                                              6      Q. Was there one other, RouRou? Was
   7       Q. And then after the person died, you           7   there one other teacher you mentioned in
   8    left St. Catherine's?                               8   attention to those two?
   9       A. Yes, because my father couldn't.              9      A. Yes.
  10       Q. How long did you attend                      10      Q. Did you have all these teachers at the
  11    St. Catherine's?                                   11   same time, or were they different grades?
  12       A. I don't remember.                            12          MR. GARABEDIAN: Objection.
  13       Q. In your interrogatories you say that         13      A. The same class. When we moved into
  14    you attended first grade at St. Catherine's for    14   Carenage, they were there, too.
  15    one year, is that right?                           15   BY MR. CERRETA:
  16       A. Could be, but it happened a long time        16      Q. What was a typical day like at the
  17    ago, I was just a child, so between that I don't   17   13th Street facility?
  18    remember.                                          18          MR. GARABEDIAN: Objection.
  19       Q. Okay. You mentioned previously after         19      A. We in school.
  20    you left St. Catherine's you went to PPT, is       20   BY MR. CERRETA:
  21    that right?                                        21      Q. Would you line up in the morning
  22       A. Yes, PPT 13th Street.                        22   outside the facility?
  23       Q. How did you hear about the 13th Street       23      A. Yes.
  24    school?                                            24      Q. About how many people would come in on
  25           MR. GARABEDIAN: Objection.                  25   a typical day to 13th Street?


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   1           MR. GARABEDIAN: Objection.                1      A. Yes, I have seen -- I used to see Andy
   2       A. I don't remember. I don't know.            2   at the center.
   3    BY MR. CERRETA:                                  3      Q. Was he an American?
   4       Q. Was there security before you got into     4      A. Yes.
   5    the facility in the morning?                     5      Q. Was he a white man?
   6       A. Yes, there is a security at the door.      6      A. Yes.
   7       Q. Would you be searched before you went      7      Q. Did you ever talk to Andy when you
   8    in?                                              8   were a student at 13th Street?
   9       A. Yes.                                       9      A. No, I didn't used to speak.
  10       Q. Were there ever occasions when            10      Q. How about Nick Preneta, does that
  11    students would be found with drugs on their     11   sound familiar?
  12    person when they were being searched?           12      A. Yes, I know Nicholas.
  13           MR. GARABEDIAN: Objection.               13      Q. Did you ever talk to him when you were
  14       A. Maybe when I'm out. But when I'm          14   a student at 13th Street?
  15    there, I've never seen it.                      15      A. Yes, we used to talk.
  16    BY MR. CERRETA:                                 16      Q. What was his job there at 13th Street?
  17       Q. After the search, what would be like      17          MR. GARABEDIAN: Objection.
  18    -- what would be the first activity of the      18      A. I don't remember.
  19    morning at the 13th Street facility?            19   BY MR. CERRETA:
  20       A. After the search, they ask us -- they     20      Q. At some point did you move from 13th
  21    have us come in, take a shower, we put on our   21   Street to a new facility called Carenage?
  22    uniform and go to class.                        22      A. Yes.
  23       Q. Would you have something to eat?          23      Q. Do you remember when that was?
  24       A. Yes.                                      24      A. No.
  25       Q. What kind of food would you get during    25      Q. Do you remember how old were you when


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   1   the day at the 13th Street facility?              1   you moved over to Carenage?
   2      A. We eat three times a day.                   2      A. How old I was?
   3     Q. Were there times when you wouldn't           3      Q. Yes.
   4   have any other food other than what you got at    4      A. No, I don't remember.
   5   the 13th Street facility?                         5      Q. Did you have any different teachers
   6         MR. GARABEDIAN: Objection.                  6   when you were at Carenage than you had
   7     A. Yes, I just eat the food, and then           7   previously at 13th Street?
   8   school.                                           8      A. Yes. I said that before, I said when
   9   BY MR. CERRETA:                                   9   we went from 13th to Carenage, the same teachers
  10     Q. Any of your brothers and sisters go to      10   went with us.
  11   the 13th Street facility with you?               11      Q. Did you ever meet a Haitian teacher
  12      A. No.                                        12   called Andy or Anncie at Carenage?
  13     Q. Were there any other teachers that you      13      A. No.
  14   knew at 13th Street?                             14      Q. At either Carenage or 13th Street, did
  15      A. Madam Merline, Antoinise.                  15   children ever bring paint thinner into the
  16     Q. Did you ever know a teacher named           16   building?
  17   Margarette?                                      17          MR. GARABEDIAN: Objection.
  18      A. Yes, I did.                                18      A. I don't know. If they do, they won't
  19     Q. How about Andy Shultheis, do you know       19   let you see it, so I don't know.
  20   him?                                             20   BY MR. CERRETA:
  21         MR. GARABEDIAN: Objection.                 21      Q. Did you ever see children on the
  22      A. What's the name?                           22   street doing paint thinner?
  23   BY MR. CERRETA:                                  23      A. Yes, I've seen it.
  24     Q. Andy Shultheis, does that sound             24      Q. Did you ever use paint thinner?
  25   familiar?                                        25      A. No.


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   1       Q. Why not? What made you not try it?           1   time that you were a student at Carenage, is
   2           MR. GARABEDIAN: Objection.                  2   that right?
   3       A. When I thought about it, I realized          3          MR. GARABEDIAN: Objection.
   4    that sniffing paint thinner and smoking, taking    4      A. Are you talking about it was before I
   5    drugs, was not going to help my brain.             5   went to Carenage, or after I left Carenage.
   6    BY MR. CERRETA:                                    6   BY MR. CERRETA:
   7       Q. Did you ever see Douglas Perlitz at          7      Q. My question was, was your first
   8    Carenage or at 13th Street?                        8   one-on-one interaction with Douglas Perlitz
   9       A. Yes, I used to see him both at 13th          9   after you left Carenage?
  10    Street and at Carenage.                           10          MR. GARABEDIAN: Objection.
  11       Q. How often would he be at those places?      11      A. Yes, yes, after I left Carenage and
  12       A. He stops at the school every two or         12   went to the Village, that's when.
  13    three days.                                       13   BY MR. CERRETA:
  14       Q. Would he stay the full day, or just         14      Q. So at some point was it decided that
  15    for a brief period?                               15   you were going to leave Carenage for a new
  16       A. He would spend like two or three hours      16   school?
  17    and then leave.                                   17      A. They took me out of Carenage and put
  18       Q. Would he go into your classroom and         18   me in a different school.
  19    see the class?                                    19      Q. What was the name of that school?
  20       A. Yes.                                        20      A. Mere Berge.
  21       Q. When did you first meet Douglas             21      Q. Is Mere Berge a school that's run by
  22    Perlitz?                                          22   PPT?
  23       A. I don't remember.                           23      A. PPT put me in that school. Douglas
  24       Q. Do you remember if it was when you          24   was paying my tuition. It's a private school.
  25    were at 13th Street?                              25      Q. Do you remember when you made the move


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   1          MR. GARABEDIAN: Objection.                   1   from Carenage to -- is it Mere Berge?
   2       A. Rue 13 and Carenage, I always see him.       2      A. No, I don't remember.
   3    BY MR. CERRETA:                                    3      Q. Do you remember how old you were?
   4       Q. Did you ever speak with him?                 4      A. When I left Carenage to went to the
   5       A. He'd speak with all of the students.         5   school called Mere Berge?
   6       Q. Would he address the class as a whole?       6      Q. That's right.
   7       A. Yes.                                         7      A. Maybe 15 or 16.
   8       Q. Did you ever have a one-on-one               8      Q. Was it around the year 2006?
   9    conversation with Douglas Perlitz?                 9          MR. GARABEDIAN: Objection.
  10          MR. GARABEDIAN: Objection.                  10      A. I don't remember the year.
  11       A. Are you talking about when I was at         11   BY MR. CERRETA:
  12    the 13th Street Center, or at Carenage?           12      Q. So how did you find out that you were
  13    BY MR. CERRETA:                                   13   going to be switching from Carenage to Mere
  14       Q. Yes, I'm sorry. Did you have a              14   Berge?
  15    one-on-one conversation at the time when you      15      A. Douglas took me out.
  16    were a student at 13th Street or Carenage?        16      Q. Was it Douglas that told you that you
  17          MR. GARABEDIAN: Objection.                  17   were going to be switching?
  18       A. No.                                         18      A. Yes, he told me that I was going to
  19    BY MR. CERRETA:                                   19   leave Mere Berge, he's going to put me in a
  20       Q. When was the first time you ever spoke      20   different school on the outside.
  21    to Douglas Perlitz one-on-one?                    21      Q. Where did he tell you this?
  22          MR. GARABEDIAN: Objection.                  22      A. I was at Carenage -- I was at the
  23       A. No, I don't remember.                       23   Village and at Carenage when he told me that.
  24    BY MR. CERRETA:                                   24   He saw me and he told me that.
  25       Q. But in any event, it was after the          25      Q. You were at the Village when he told


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   1   you you were going to Mere Berge?                   1   were going to be switching to Mere Berge, was
   2      A. He's going to put me in a school on           2   that before the first time that you say he
   3   the outside.                                        3   sexually abused you?
   4      Q. Okay. When you were a student at              4          MR. GARABEDIAN: Objection.
   5   Carenage, did you occasionally visit the            5      A. Yes, that was before he abused me that
   6   Village?                                            6   I went to the school, to the Mere Berge school.
   7          MR. GARABEDIAN: Objection.                   7   BY MR. CERRETA:
   8   Objection.                                          8      Q. During the time you were a student at
   9      A. Yes.                                          9   Mere Berge, were you still living in your family
  10   BY MR. CERRETA:                                    10   home with your father and brothers and sisters?
  11      Q. What would be the purpose of you going       11      A. Yeah, I was living at the house, but I
  12   to the Village?                                    12   used to do everything at the Village, shower,
  13      A. I used to go to the Village to shower,       13   food, eating, everything, and then I would go
  14   play ball, play basketball. They used to have      14   home.
  15   match between Carenage and the Village, you        15      Q. Were there other students that PPT was
  16   know, the same things you see in foreign           16   paying to go to Mere Berge at the time?
  17   countries.                                         17          MR. GARABEDIAN: Objection.
  18      Q. So there would be like a Carenage team       18      A. Yes, I believe that there were other
  19   versus a Village team in games at the Village?     19   students. I was not the only one.
  20      A. Yeah. Also they used to mix it. For          20   BY MR. CERRETA:
  21   example, if there weren't enough students at       21      Q. Do you know any of their names?
  22   Carenage they would take some of the students at   22      A. Yes.
  23   the Village to play against -- and put them with   23      Q. What were their names?
  24   Carenage to play against the Village.              24      A. Faniel, there was Faniel, there was
  25      Q. Besides those games, did you have any        25   Pinel, there's Vanel. That's it.

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   1   other visits to the Village while you were still    1     Q. So when you were attending Mere Berge,
   2   a student at Carenage?                              2   how would your day start in the morning on a
   3         MR. GARABEDIAN: Objection.                    3   school day?
   4      A. No.                                           4     A. When I was going to Mere Berge, you
   5   BY MR. CERRETA:                                     5   get there, but you have to wear your uniform at
   6      Q. So one day while you were playing in          6   home, then you go to school.
   7   one of these games, is that when Douglas            7     Q. So would you put your uniform on at
   8   informed you that you were going to switch over     8   home in the morning?
   9   to Mere Berge?                                      9     A. Yes.
  10      A. Yes.                                         10     Q. And then how would you get to Mere
  11      Q. And did anyone inform your father            11   Berge from your house?
  12   about this move?                                   12     A. I used to walk to school.
  13         MR. GARABEDIAN: Objection.                   13     Q. How long was the walk?
  14      A. No.                                          14     A. It would take between 30 to 40
  15   BY MR. CERRETA:                                    15   minutes.
  16      Q. They didn't have to get permission           16     Q. What time did the day start at Mere
  17   from anyone to switch you to another school?       17   Berge, a school day?
  18      A. No.                                          18     A. It was an afternoon school, not in the
  19      Q. Where was Mere Berge located?                19   morning.
  20      A. Cap-Haïtien.                                 20     Q. I see.
  21      Q. How far was it from Carenage?                21          From what time to what time would the
  22      A. It's a bit of a distance, because            22   school day last at Mere Berge?
  23   Carenage is in 29 A, and Mere Berge is in          23          MR. GARABEDIAN: Objection.
  24   Decattes Street.                                   24     A. We start noon, the day until 4.
  25      Q. When Douglas Perlitz informed you you        25   BY MR. CERRETA:


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   1       Q. Did you ever see Douglas Perlitz at          1   would you go to the Village after school?
   2    Mere Berge?                                        2          MR. GARABEDIAN: Objection.
   3       A. Just once.                                   3      A. I don't remember.
   4       Q. What was that one time?                      4          MR. GARABEDIAN: Can we take a break
   5       A. I don't remember. I don't remember.          5   for a few minutes?
   6    But I saw him in the school, in the office.        6          MR. CERRETA: Yes. Sure.
   7       Q. Was he in the office talking to a            7          THE VIDEOGRAPHER: Going off the
   8    teacher or administrator at the school?            8   record. The time is 11:05.
   9           MR. GARABEDIAN: Objection.                  9          (Whereupon, a recess was taken.)
  10       A. I don't know. I don't know.                 10          THE VIDEOGRAPHER: Back on the record.
  11    BY MR. CERRETA:                                   11   The time is 11:21.
  12       Q. Did he talk to you at all when he was       12   BY MR. CERRETA:
  13    there that one time at Mere Berge?                13      Q. Okay. Mr. Joseph, when you were
  14       A. No. I saw him, he didn't see me.            14   attending Mere Berge, did you have standing
  15       Q. So the day ended at Mere Berge around       15   permission to go to the Village before your day
  16    4:00 o'clock, is that right?                      16   started at Mere Berge?
  17       A. Yes.                                        17          MR. GARABEDIAN: Objection.
  18       Q. And what would you do after that?           18      A. I mentioned that already.
  19       A. I went home.                                19   BY MR. CERRETA:
  20       Q. On a typical day, would you go to the       20      Q. Who was it who told you you could come
  21    Village at all during the school day?             21   before the school day to the Village?
  22           MR. GARABEDIAN: Objection.                 22      A. Douglas.
  23       A. Yeah, after school I would go to the        23      Q. Did he tell you this when he told you
  24    Village to eat and play ball.                     24   that PPT would be paying for your tuition there?
  25    BY MR. CERRETA:                                   25      A. Yes.


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   1       Q. So on a typical school day, you'd get        1      Q. So when you would arrive at the
   2    out of Mere Berge at 4:00 o'clock, is that         2   Village in the morning, where would you go in
   3    right?                                             3   the facility?
   4           MR. GARABEDIAN: Objection.                  4      A. There's only one part of the Village.
   5       A. Yes, which means that before I go to         5   When you get in the Village, you're in the
   6    school I go to Village to eat, and then            6   Village.
   7    sometimes after school I go to the Village         7      Q. Were you able to just walk on to the
   8    again.                                             8   grounds, or did someone have to let you in?
   9    BY MR. CERRETA:                                    9      A. I knock, the security -- I knock and
  10       Q. Okay. Before school started at noon,        10   the security open the door.
  11    would you typically go to the village to have a   11      Q. And once you got inside, were there a
  12    meal?                                             12   number of different buildings at the Village
  13           MR. GARABEDIAN: Objection.                 13   grounds?
  14       A. Before school?                              14          MR. GARABEDIAN: Objection.
  15    BY MR. CERRETA:                                   15      A. Yes, they have different -- all type
  16       Q. Yes, before school.                         16   of homes.
  17       A. Yes.                                        17   BY MR. CERRETA:
  18       Q. Would you put your uniform on at home       18      Q. How is the Village laid out?
  19    and then go to the Village?                       19          MR. GARABEDIAN: Objection.
  20       A. Yes.                                        20      A. It's round, it has mango trees,
  21       Q. Was this every day, or just sometimes?      21   cherries, flowers, palm trees, and it has nut
  22           MR. GARABEDIAN: Objection.                 22   trees, pistachio, everything.
  23       A. Every day.                                  23   BY MR. CERRETA:
  24    BY MR. CERRETA:                                   24      Q. Does it have dormitory buildings where
  25       Q. How about after school, how often           25   some students live that are attending school at


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   1    the Village?                                       1      A. Yes.
   2       A. Yes, there's a dorm for the kids that        2      Q. Would other students be eating also?
   3    live in there, there's a chapel, there's a         3      A. Yes.
   4    basketball court, there's a football court.        4      Q. And those would be the students that
   5       Q. And when you would arrive in the             5   actually attended school at the Village?
   6    morning, did you have the run of the place, or     6      A. There were some that go to school in
   7    was there a particular place where you were        7   the Village, some other school outside, some the
   8    supposed to report in the morning?                 8   same school that I attended.
   9       A. No, when I'm in there I'm not limited,       9      Q. Do you know any of the names of the
  10    I can go anywhere in there.                       10   other schools that children would attend in
  11       Q. So on a typical day, what would you do      11   addition to Mere Berge?
  12    when you arrived at the Village?                  12      A. Yeah, plenty of other schools. Yeah,
  13       A. When I get there, if I didn't have          13   some of the names I do know.
  14    anything to eat I eat, or I play ball, I play     14      Q. What were those names?
  15    basketball.                                       15      A. Sacred Heart, Sacrè-Cœur, Nelson
  16       Q. Was there a particular place on the         16   Mandela, Martin Luther King, Christophiane,
  17    grounds where you would go to get some food?      17   Martin Luther King.
  18       A. Yes.                                        18      Q. Do you remember any of the names of
  19       Q. And were there other children eating        19   the boys who attended those other schools
  20    there at that spot?                               20   besides Mere Berge and the Village?
  21       A. Yeah, there were other children             21          MR. GARABEDIAN: Objection.
  22    sometimes eating.                                 22      A. I don't remember the name. It's been
  23       Q. Where in the facility was that spot         23   a long time since the Village closed down. I
  24    where food was served?                            24   don't -- some of them, I don't see them. I
  25           MR. GARABEDIAN: Objection.                 25   don't remember their names.


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   1      A. Where? At the Village.                        1   BY MR. CERRETA:
   2   BY MR. CERRETA:                                     2      Q. Do you remember the names of any of
   3      Q. Was there -- was it one particular            3   the Village students who you would see when you
   4   building at the Village where food was served?      4   went there in the morning?
   5      A. Yes.                                          5      A. No, I don't remember.
   6      Q. Where in the facility was that                6      Q. Do you remember the names of any of
   7   particular building?                                7   the staff or employees who were working at the
   8      A. Where? I don't understand.                    8   Village?
   9      Q. Well, was there a cafeteria at the            9      A. No, it's been a while since Village
  10   Village?                                           10   closed down. I could see their faces, but I
  11          MR. GARABEDIAN: Objection.                  11   don't remember the names.
  12      A. It's a large room, and it's cut into         12      Q. You do remember the name Douglas
  13   the kitchen in one part and then the dining room   13   Perlitz, right?
  14   in the other part.                                 14      A. Yes.
  15   BY MR. CERRETA:                                    15      Q. And you would see him at the Village,
  16      Q. Would -- I don't know if I'm getting         16   is that right?
  17   their names right, but I think you had             17      A. Yes.
  18   previously mentioned that Faniel, Pinel, and       18      Q. But you don't remember the names of
  19   Vanel were also students who were attending Mere   19   any other people who worked there in addition to
  20   Berge at the same time as you, is that right?      20   Douglas Perlitz?
  21      A. Yes.                                         21          MR. GARABEDIAN: Objection.
  22      Q. Would you see them in the morning when       22      A. Besides Douglas Perlitz? Besides
  23   you arrived getting food, too?                     23   Douglas Perlitz?
  24      A. At the Village?                              24   BY MR. CERRETA:
  25      Q. Yes, at the Village.                         25      Q. Yes, I was asking if you remember


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   1   anybody's name of the employees or the staff        1      Q. How about Father Paul?
   2   besides Douglas Perlitz.                            2      A. Twice.
   3           MR. GARABEDIAN: Objection.                  3      Q. Okay. Were those -- am I right that
   4      A. Are you talking about the staff, or           4   you also saw Father Paul in a different context
   5   the people responsible for the Village?             5   in addition to those two times at the Village?
   6   BY MR. CERRETA:                                     6          MR. GARABEDIAN: Objection.
   7      Q. Let's start with the staff.                   7      A. Yes.
   8      A. I only remember one person's name who         8   BY MR. CERRETA:
   9   used to be a staff.                                 9      Q. And did I get it right that you saw
  10      Q. What was that one person's name?             10   him in a car those other -- outside of the
  11      A. Robenson.                                    11   Village?
  12      Q. Okay. And then I think you just              12      A. Yeah, not in the Village.
  13   referred to, in addition to staff, what you        13      Q. Okay. How many times did you see him
  14   described as people responsible for the Village,   14   outside of the Village?
  15   is that right?                                     15      A. Once.
  16      A. Yeah, I didn't know you were talking         16      Q. Was he just driving in a car?
  17   about staff. I thought you were talking about      17      A. No, Douglas was driving.
  18   the people that were responsible for the           18      Q. Was Father Paul a passenger?
  19   Village. That's why I said that.                   19      A. Yes, next to Douglas. There were
  20      Q. Do you remember the names of any of          20   other staff in the car also.
  21   these people that you viewed as responsible for    21      Q. Was this just on the streets of
  22   the Village?                                       22   Cap-Haïtien?
  23      A. Yeah, I knew two other people, they          23      A. Yes.
  24   were -- Douglas was under them, so whatever he     24      Q. Okay. After you would get your food
  25   tells them -- whatever they tell Douglas, that's   25   in the morning at the Village, what would you do


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   1   what he tells.                                      1   next?
   2      Q. Who are those two people?                     2      A. Then I would go to school.
   3      A. There was Pere Paul, and Mrs. Carter.         3      Q. And then how about the occasions in
   4      Q. Okay. You saw both Father Paul and            4   the afternoons when you would come back to the
   5   Mrs. Carter at the Village, is that right?          5   Village after school, what was a typical day
   6      A. Yes.                                          6   like coming back in the afternoon?
   7      Q. Had you ever seen Father Paul anywhere        7          MR. GARABEDIAN: Objection.
   8   else before the Village?                            8      A. After school?
   9      A. I used to see him in the Village,             9   BY MR. CERRETA:
  10   sometimes in the car with Douglas.                 10      Q. Yes, after school.
  11      Q. Okay. Did you ever see him at                11      A. Sometimes if I get off school early, I
  12   Carenage?                                          12   would go to the Village. But if I get off
  13          MR. GARABEDIAN: Objection.                  13   school late, I just go home and stay at home,
  14      A. No.                                          14   then go to the Village the next day.
  15   BY MR. CERRETA:                                    15      Q. On average -- strike that.
  16      Q. Did you ever see him at 13th Street?         16          About how frequently would you go to
  17      A. No.                                          17   the Village after school?
  18          MR. GARABEDIAN: Objection.                  18          MR. GARABEDIAN: Objection.
  19   BY MR. CERRETA:                                    19      A. I used to do it often.
  20      Q. How about Madam Carter, did you ever         20   BY MR. CERRETA:
  21   see her anywhere outside the Village?              21      Q. If you had to estimate how many times
  22      A. In the Village.                              22   in a typical month when school was in session
  23      Q. How many times did you see Mrs. Carter       23   would you go to the Village after school, what
  24   in the Village?                                    24   would that number be?
  25      A. Once.                                        25      A. I could not estimate.


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   1      Q. Okay. In your lawsuit in this case           1   BY MR. CERRETA:
   2   you've alleged that Douglas Perlitz sexually       2      Q. So Douglas comes up to you at the
   3   abused you, is that right?                         3   mango tree, and then what happens?
   4      A. Twice. He abused me twice. The first         4      A. He said "Jasmin, I need you in my
   5   time he told me to come to his office. When I      5   office."
   6   get to his office, he touch my buttocks and my     6      Q. Had you had -- strike that. Sorry.
   7   front, and then I ran out.                         7          Was it typical for Doug to come up and
   8          And the second time I was in the            8   see you and speak with you while you were at the
   9   shower, I was bending down, and he came and put    9   Village in the mornings before school?
  10   his penis in my rectum, and I cried. And he       10          MR. GARABEDIAN: Objection.
  11   told me that "don't tell anyone, if you tell      11      A. Does he do that often?
  12   anyone I will put you out." And so I bought       12   BY MR. CERRETA:
  13   some poison to try to kill myself.                13      Q. Yeah, was this out of the ordinary for
  14      Q. Okay. I'd like to start first to talk       14   him to come up to the mango tree and start
  15   about the first incident that you just            15   talking to you?
  16   mentioned.                                        16          MR. GARABEDIAN: Objection.
  17          You mentioned that this happened in        17      A. Yeah, we used to have -- to talk
  18   Douglas's office, is that right?                  18   one-on-one, and then sometimes in a group. But
  19      A. Yeah, the first time he told me he          19   at that time I was alone, and then he said to
  20   needed me in his office. I went to the office.    20   come, he needed me to come to see him, to come
  21   When I reached the -- when I got to the office    21   and see him.
  22   he put his hand in my pants, and he touched my    22   BY MR. CERRETA:
  23   buttocks, and squeezed my buttocks, so I ran      23      Q. Okay. Do you know about how long you
  24   out.                                              24   had been attending Mere Berge at the time of
  25      Q. Did this happen in the morning before       25   this incident at the mango tree?


                                           Page 63                                                Page 65
   1    the school day at Mere Berge?                     1          MR. GARABEDIAN: Objection.
   2       A. Did that happen in the morning? Yes,        2      A. I don't know how long I had been
   3    in the morning.                                   3   there.
   4       Q. So what were you doing when Douglas         4   BY MR. CERRETA:
   5    came out -- came to see you to ask you to come    5      Q. So when he said "I need you to come to
   6    to his office?                                    6   my office," did you ask him any questions about
   7           MR. GARABEDIAN: Objection.                 7   why he wanted to see you in the office?
   8       A. I was at the Village. I wasn't doing        8      A. No.
   9    anything.                                         9      Q. How old were you at the time of this
  10    BY MR. CERRETA:                                  10   incident?
  11       Q. Were you in the area where food was        11      A. 16 years old.
  12    served?                                          12      Q. Okay. So do you walk with him to the
  13       A. I was sitting by a mango tree. It's        13   office?
  14    round, I was sitting under there. I was alone.   14      A. No.
  15    He came to me and said that he needed me.        15      Q. You did not.
  16       Q. When you were sitting at the mango         16          Did you and Douglas then go to the
  17    tree, had you already eaten when you arrived?    17   office?
  18           MR. GARABEDIAN: Objection.                18      A. No.
  19       A. Yes, I was sitting down.                   19      Q. Okay. What happened next then?
  20    BY MR. CERRETA:                                  20      A. He told me -- after he told me that,
  21       Q. Was that typical for you after you         21   he left.
  22    ate, to go sit at this mango tree?               22      Q. And then what happened?
  23           MR. GARABEDIAN: Objection.                23      A. Then two or three minutes later I went
  24       A. Yeah, I would sit somewhere to rest to     24   to see him.
  25    digest my food.                                  25      Q. Okay. So was Douglas saying in a few


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   1    minutes I'd like to see you in my office? Is       1    is Douglas when you walk in the door?
   2    that the nature of the conversation?               2       A. I already told you, he was in the
   3           MR. GARABEDIAN: Objection.                  3    office.
   4       A. No, he didn't say in a few minutes to        4       Q. I know, but does he have a desk in
   5    come, I want to see you in my office. He just      5    there?
   6    said "I want to see you in my office," so I        6       A. Yes, there is a desk.
   7    chose to go in two or three minutes because I      7       Q. How big of a room is it?
   8    didn't know what he wanted me for.                 8       A. I don't remember.
   9    BY MR. CERRETA:                                    9       Q. Did he have any other furniture in
  10       Q. So he says "I want to see you in my         10    there?
  11    office," and then he walks away?                  11           MR. GARABEDIAN: Objection.
  12       A. He said "I need you." I said "where?"       12       A. Yeah, I'm sure of it.
  13    He said "my office." And then I went to see       13    BY MR. CERRETA:
  14    him.                                              14       Q. Was his office in a room within a
  15       Q. Do you remember the time of day when        15    building?
  16    this happened?                                    16           MR. GARABEDIAN: Objection.
  17           MR. GARABEDIAN: Objection.                 17       A. Yes.
  18       A. I don't remember.                           18    BY MR. CERRETA:
  19    BY MR. CERRETA:                                   19       Q. So did you have to come through --
  20       Q. But it was before your school day?          20    from the outside did you have to walk into a
  21       A. Yes.                                        21    lobby or anything like that in order to get to
  22       Q. Were there a lot of other people there      22    the office?
  23    at the time?                                      23           MR. GARABEDIAN: Objection.
  24       A. There weren't a lot of people.              24       A. The house is his office.
  25       Q. Was there anybody kind of within            25    BY MR. CERRETA:

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   1   eyeshot that would have seen you two conversing     1      Q. Was there anybody else in the building
   2   at the mango tree?                                  2   when you walked in?
   3      A. No.                                           3      A. No.
   4      Q. So two to three minutes later you             4      Q. When you walk into the building, and
   5   arrive at Douglas's office, is that about right?    5   you're kind of walking in the door of the
   6      A. Yes.                                          6   building, where is the office situated as you
   7      Q. What was the distance from the mango          7   walk in?
   8   tree to the office?                                 8          MR. GARABEDIAN: Objection.
   9      A. Not too far.                                  9      A. When you walk into the office, let's
  10      Q. So you walk up to his office, and then       10   say this door, you walk into the office, and
  11   what happens?                                      11   then there's another door to -- that you have to
  12          MR. GARABEDIAN: Objection.                  12   open to go to Douglas's office.
  13      A. When I got there, he put his hand on         13   BY MR. CERRETA:
  14   my pants and touched my buttock, so I ran and      14      Q. Are there multiple rooms as you walk
  15   left.                                              15   into the building?
  16   BY MR. CERRETA:                                    16          MR. GARABEDIAN: Objection.
  17      Q. Did he say anything before he did            17      A. Yes.
  18   this?                                              18   BY MR. CERRETA:
  19      A. No.                                          19      Q. How big a building are we talking
  20      Q. So you walked in, and the first thing        20   here? Is it just one story?
  21   immediately he put his hand on your pants and      21          MR. GARABEDIAN: Objection.
  22   touched your buttocks?                             22      A. Yeah, they have several rooms, I
  23      A. He put his hand inside my pants, and         23   couldn't tell you that. And it's covered with
  24   touched, squeezed my buttocks.                     24   metal, with the foreign metal, but there are
  25      Q. So you walk in. Where in the office          25   several rooms in the building.


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   1    BY MR. CERRETA:                                    1      Q. Just as you first walked in, do you
   2       Q. So when you come into the office             2   have any recollection or not of where he was in
   3    itself, where in the room is the desk?             3   the office as you walked in that day?
   4            MR. GARABEDIAN: Objection.                 4          MR. GARABEDIAN: Objection.
   5       A. That I couldn't remember. I couldn't         5      A. When I walked in, he was sitting down.
   6    tell you. It's inside the office, but I            6   He stood up and faced me. Then he did it, what
   7    couldn't tell you where inside the office          7   he did.
   8    because I'm not there.                             8   BY MR. CERRETA:
   9    BY MR. CERRETA:                                    9      Q. Did he say anything?
  10       Q. Was this your first time in the             10      A. No, I didn't get a chance to say
  11    office?                                           11   anything because I was upset, I left.
  12       A. Yes.                                        12      Q. Did he say anything as you first
  13       Q. Do you remember if there were any           13   walked in?
  14    windows in the office?                            14      A. No. You asked me that already, he
  15       A. Yes.                                        15   didn't say anything.
  16       Q. Where was the window?                       16      Q. Okay. So he's sitting at his desk
  17            MR. GARABEDIAN: Objection.                17   when you walk in, is that right?
  18       A. In the house. In the room. From the         18      A. Yes. When I walked in, he got up.
  19    outside you could look through the window and     19      Q. And then he stood up, I believe you
  20    see his office.                                   20   said, right?
  21    BY MR. CERRETA:                                   21      A. Yes.
  22       Q. If you walk into the door of the            22      Q. And are you facing him at this point?
  23    office, is the window to your -- is it to your    23          MR. GARABEDIAN: Objection.
  24    right, is it right in front of you, is it to      24      A. Yes.
  25    your left?                                        25   BY MR. CERRETA:

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   1          MR. GARABEDIAN: Objection.                   1      Q. Do you say anything to him at this
   2      A. When you walk in, you could see the           2   point?
   3   window.                                             3      A. I said "here I am."
   4   BY MR. CERRETA:                                     4      Q. And then he approaches you, he walks
   5      Q. But where in the room is it? As you           5   towards you?
   6   walk into the door, when you walk into the door,    6      A. Yes.
   7   is the window over to your right, is it             7      Q. And then what happens after that?
   8   generally in the center of the room, is it to       8      A. He put his hand -- he put his hand
   9   the left of the room?                               9   inside my pants and squeezed my buttock.
  10          MR. GARABEDIAN: Objection.                  10      Q. Okay. Did he go around behind you to
  11      A. To the right.                                11   put his hands in your pants?
  12   BY MR. CERRETA:                                    12      A. Yes.
  13      Q. Okay. And how about the desk, any            13      Q. Okay. So when he's talking towards
  14   recollection where the desk is situated as you     14   you, does he physically walk around your person?
  15   walk in?                                           15          MR. GARABEDIAN: Objection.
  16          MR. GARABEDIAN: Objection.                  16      A. Yes.
  17      A. In the middle, in the middle of the          17   BY MR. CERRETA:
  18   room.                                              18      Q. And that was when he put his hands
  19   BY MR. CERRETA:                                    19   down your pants?
  20      Q. And as you walked in that day, do you        20      A. Yes.
  21   remember where Douglas was?                        21      Q. So at this point he squeezes your
  22          MR. GARABEDIAN: Objection.                  22   buttocks, right?
  23      A. He was in the office. It happened --         23      A. Yes.
  24   what he did to me, he did it in the office.        24      Q. How long did this embrace last?
  25   BY MR. CERRETA:                                    25          MR. GARABEDIAN: Objection.


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   1       A. Probably taking 30 to 45 seconds,             1      Q. I'm just wondering if, you know, in an
   2    because I was upset, I left.                        2   intervening half minute or whatever, if it -- I
   3    BY MR. CERRETA:                                     3   mean this must have come as a big shock to you
   4       Q. So did he have his hands on your              4   when he's got his hands on your buttocks, am I
   5    buttocks for 30 to 45 seconds?                      5   right?
   6       A. Yes, squeezing it.                            6          MR. GARABEDIAN: Objection.
   7       Q. Is he saying anything when he's doing         7      A. Yes, I didn't think he would.
   8    this?                                               8   BY MR. CERRETA:
   9       A. No. He didn't get a chance to say             9      Q. So you exit the room. Did you run out
  10    anything because I left.                           10   of the room?
  11       Q. He's just standing there squeezing           11      A. Yes.
  12    your buttocks?                                     12      Q. Did you say anything as you were
  13       A. Yes.                                         13   leaving?
  14       Q. Non-verbal?                                  14      A. No.
  15          MR. GARABEDIAN: Objection.                   15      Q. What did you do next?
  16       A. No.                                          16      A. I went -- I sat down and started
  17    BY MR. CERRETA:                                    17   thinking.
  18       Q. Is he making any kind of noises, or          18      Q. Where did you go sit down?
  19    doing anything?                                    19      A. At the same place.
  20          MR. GARABEDIAN: Objection.                   20      Q. At the mango tree?
  21       A. No, he didn't get a chance to.               21      A. Yes.
  22    BY MR. CERRETA:                                    22      Q. How long did you stay at the mango
  23       Q. Do you say anything while he's got his       23   tree?
  24    hands on your buttocks like this?                  24      A. A lot, a long time.
  25       A. No, I didn't say anything. I just            25      Q. Can you estimate in minutes or hours

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   1    left.                                               1   how long it was?
   2       Q. Okay. But you stood there for about           2      A. I wasn't thinking about how long it
   3    30 to 45 seconds, am I getting that right?          3   was. I was sitting for a -- for quite a while.
   4           MR. GARABEDIAN: Objection.                   4   Friends came and asked me what was wrong, I said
   5       A. Yes.                                          5   "nothing."
   6    BY MR. CERRETA:                                     6      Q. When you left the office and you were
   7       Q. What's going through your head at this        7   in route back to the mango tree, did you see
   8    time when he's got his hands on your buttocks       8   anyone as you were walking back?
   9    for 30 to 45 seconds?                               9          MR. GARABEDIAN: Objection.
  10       A. I'm thinking he shouldn't have done          10      A. Yeah, I saw the other boys, the other
  11    that. He's saying he wants to educate me, and      11   kids in the yard. I saw them when I was coming
  12    he violated me.                                    12   out.
  13       Q. While this is happening he's not             13   BY MR. CERRETA:
  14    actually speaking, though, right?                  14      Q. Were you running the whole way from
  15       A. No, he's not speaking.                       15   the office to the mango tree?
  16       Q. Okay. So you're saying this was your         16      A. I ran out. Once I got outside, I just
  17    thought process, that this guy is supposed to be   17   walked, I stopped running.
  18    educating me and now he's violating me, am I       18      Q. Do you remember the names of the boys
  19    right?                                             19   who came over to you at the mango tree and asked
  20       A. Yeah, I'm still thinking that.               20   you -- and spoke with you?
  21       Q. So after 30 to 45 seconds pass, what         21          MR. GARABEDIAN: Objection.
  22    makes you get out of there? What made you          22      A. No.
  23    leave?                                             23   BY MR. CERRETA:
  24       A. Right away I thought that he shouldn't       24      Q. Were they students from Mere Berge?
  25    have done that, so started thinking.               25      A. I don't remember.


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   1       Q. Did you go to school that day at Mere        1   don't remember the answer.
   2    Berge?                                             2      A. You don't remember?
   3       A. No, I didn't go to school.                   3      Q. I don't remember. I'm wondering if
   4       Q. So what did you do next after -- when        4   you could answer that question again.
   5    you -- did you eventually get up and walk away     5      A. I said it would take me between 30 to
   6    from the mango tree?                               6   40 minutes.
   7       A. Yeah, I was thinking for a while.            7      Q. Okay. So would you normally leave the
   8       Q. And then what did you do?                    8   Village to make sure you gave yourself enough
   9       A. Then I got up.                               9   time to get to Mere Berge before the school day
  10       Q. And where did you go?                       10   started at noon?
  11       A. I got up, and so I don't get too            11      A. Yes. I get to the school between 12
  12    stressed out, I play a little ball so I don't     12   and 1.
  13    get too stressed out.                             13      Q. Okay. Would you normally travel with
  14       Q. While you're playing ball, if you           14   the other students who would go to the Village
  15    remember, while you're playing ball should you    15   from Mere Berge?
  16    have already left to go to Mere Berge to start    16      A. When I -- when they there we go
  17    school?                                           17   together, and if not I go myself.
  18           MR. GARABEDIAN: Objection.                 18      Q. And would you walk?
  19       A. I said I didn't go to school that day.      19          MR. GARABEDIAN: Objection.
  20    BY MR. CERRETA:                                   20      A. Yes.
  21       Q. When you would be at the Village in         21   BY MR. CERRETA:
  22    the morning before going to school, was there     22      Q. So that day that this incident
  23    any staff that was kind of supervising you or     23   occurred, were there any of the other boys who
  24    monitoring you?                                   24   were also students at Mere Berge present that
  25       A. I don't remember.                           25   day?

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   1       Q. So if you're at the Village in the           1          MR. GARABEDIAN: Objection.
   2    morning, how long does it take you to get to       2      A. Yes.
   3    Mere Berge to start school?                        3   BY MR. CERRETA:
   4           MR. GARABEDIAN: Objection.                  4      Q. And at some point did they leave to go
   5       A. I leave my house at 7, and then at 12        5   to school?
   6    I take a shower, and then the next I go get        6          MR. GARABEDIAN: Objection.
   7    dressed and go to school.                          7      A. Yeah, the same thing, they do the same
   8    BY MR. CERRETA:                                    8   thing that I used to do.
   9       Q. When you would come so the Village           9   BY MR. CERRETA:
  10    before school, would you go directly from the     10      Q. Did they come up to you and say "are
  11    Village to Mere Berge to start your school day?   11   you coming to school today?"
  12           MR. GARABEDIAN: Objection.                 12      A. No. They just notice that I didn't go
  13       A. Yes, I get to Mere Berge, I eat, take       13   to school, the next day they ask "why didn't you
  14    a shower, play ball, and then put on my uniform   14   go to school?" I said "no reason."
  15    and go to school.                                 15      Q. Was there any staff at the Village
  16           You are asking me a question that you      16   that asked you, you know, "why haven't you left
  17    already asked me before, and I answered you       17   for school yet?"
  18    already.                                          18          MR. GARABEDIAN: Objection.
  19    BY MR. CERRETA:                                   19      A. No, that day no one knew that I didn't
  20       Q. How long would it take you to get from      20   go to school. I didn't stay. I went home.
  21    the Village to Mere Berge?                        21   BY MR. CERRETA:
  22           MR. GARABEDIAN: Objection.                 22      Q. Okay. Was there any staff at the
  23       A. I told you already.                         23   Village responsible for getting you off to
  24    BY MR. CERRETA:                                   24   school from the Village in the morning?
  25       Q. Would you mind telling me again? I          25          MR. GARABEDIAN: Objection.


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   1       A. No, because I know, I have a time to          1      A. Yes.
   2    get to school. Whenever it's time for me to get     2   BY MR. CERRETA:
   3    to school, just leave and go to school. The         3      Q. Was that typical, that you would take
   4    staff don't have to tell me.                        4   a shower in the morning before school at the
   5    BY MR. CERRETA:                                     5   Village?
   6       Q. So at some point you leave the Village        6      A. Yeah, I said that before.
   7    and you went directly home, is that right?          7      Q. So what happened with the second
   8       A. Yes.                                          8   incident?
   9       Q. Do you recall what time of day it was?        9      A. I was taking a shower and Douglas came
  10       A. No.                                          10   up, and I bent down, I was bending down, so he
  11       Q. Did you see anyone in your travels           11   came up and put his penis in my rectum. I
  12    from the Village to home?                          12   cried. I cried. He said "don't tell anyone.
  13       A. There were people in the school yard,        13   If you tell anyone, you're going to be put out."
  14    and then on my way to school in the street there   14   So that bothered me so much that I bought poison
  15    were other people.                                 15   so I could kill myself.
  16       Q. Did you talk to anybody?                     16      Q. Okay. So the facilities where the
  17       A. No.                                          17   showers were, what did that room look like at
  18       Q. When you got home, was there anybody         18   the Village?
  19    at your house?                                     19      A. It's not inside a house.
  20       A. Yes.                                         20      Q. Where is it?
  21       Q. Did you say anything about what              21      A. It's a distance from the home, from
  22    happened?                                          22   the buildings.
  23           MR. GARABEDIAN: Objection.                  23      Q. How many showers are there at this
  24       A. No.                                          24   facility?
  25    BY MR. CERRETA:                                    25      A. Not a lot. About three rooms with


                                             Page 83                                                Page 85
   1      Q. At some point after this, you claim            1   showers.
   2   that there was a second incident, is that right?     2      Q. As you're showering, is there anyone
   3      A. Yes.                                           3   else there while you're taking a shower before
   4      Q. How much time elapsed between the two          4   Douglas got there?
   5   incidents?                                           5      A. No.
   6      A. What do you mean? Are you talking              6      Q. In the intervening one to two months
   7   about how many days or how many months? About a      7   after the first incident, had you spoken with
   8   month or two later when he did it a second time.     8   Douglas at all since then?
   9      Q. In that month or two period, did you           9           MR. GARABEDIAN: Objection.
  10   tell anyone about this incident, the first          10      A. No, I didn't say anything.
  11   incident?                                           11   BY MR. CERRETA:
  12          MR. GARABEDIAN: Objection.                   12      Q. Had you ever seen him around the
  13      A. No.                                           13   Village?
  14   BY MR. CERRETA:                                     14      A. Yeah, I've seen him. I used to see
  15      Q. Okay. So the second incident one or           15   him.
  16   two months later, that also took place at the       16      Q. But you hadn't had a one-on-one
  17   Village, is that right?                             17   conversation in that intervening period?
  18      A. Both times were at the Village.               18           MR. GARABEDIAN: Objection.
  19      Q. Okay. Was that also in the morning            19      A. No.
  20   before school, or was it in the afternoon?          20   BY MR. CERRETA:
  21      A. It was in the afternoon. I was taking         21      Q. Okay. So when you're in the shower,
  22   a shower so I could get to school.                  22   is it private? Is there a stall around you to
  23      Q. It was in the afternoon, but you were         23   afford you privacy?
  24   showering before you went to school?                24      A. Yes, they are enclosed.
  25          MR. GARABEDIAN: Objection.                   25      Q. Okay. And did the enclosure have a


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   1   lock on it that you could lock the door to the       1      Q. So as you were bent over, he inserted
   2   shower?                                              2   his penis into your rectum, right?
   3      A. They don't have doors. There's a               3      A. Yes.
   4   wall, it's rather tall, so if you're in the          4      Q. Okay. And then you started to cry, is
   5   shower, and then somebody else there, they can't     5   that correct?
   6   see you.                                             6      A. Afterwards I cried.
   7      Q. And is there a curtain that affords            7      Q. Afterwards. So initially you weren't
   8   access in and out of the showers?                    8   crying at this point, is that right?
   9          MR. GARABEDIAN: Objection.                    9      A. Yes.
  10      A. Yes.                                          10      Q. And did he -- so did Douglas say
  11   BY MR. CERRETA:                                     11   anything while he had his penis inside your
  12      Q. So when you were standing in the              12   rectum?
  13   shower that morning, were you kind of facing        13           MR. GARABEDIAN: Objection.
  14   straight ahead at the water coming down on you?     14      A. Afterwards, after he was finished I
  15          MR. GARABEDIAN: Objection.                   15   was crying, he told me not to tell anyone, if I
  16      A. I already -- I wet myself, so I bend          16   did I'll get put out.
  17   down to scrub my feet, and then he went -- he       17   BY MR. CERRETA:
  18   walked from behind me and did what he did.          18      Q. During the period of the actual time
  19   BY MR. CERRETA:                                     19   that he had his penis inside your rectum, was it
  20      Q. Did he have to open up the curtain to         20   just complete silence during that period?
  21   get access to you in the shower?                    21           MR. GARABEDIAN: Objection.
  22      A. Yes, he did. He opened it.                    22      A. I was moving, and he held on to me.
  23      Q. At the time you bent down, did you            23   BY MR. CERRETA:
  24   know that there was anyone else around you?         24      Q. Were you resisting? Were you trying
  25          MR. GARABEDIAN: Objection.                   25   to get away from him?

                                             Page 87                                                 Page 89
   1       A. I saw him coming in. Coming in, I saw         1      A. So I could stand up.
   2    him. I let him because I didn't know that was       2      Q. Okay. And was he kind of physically
   3    what he was going to do. Since the first time       3   holding you in place so that you couldn't get
   4    he did it I was unhappy, I figured he wasn't        4   away from him?
   5    going to do it again a second time.                 5      A. Yeah, because, you know, he's a big
   6    BY MR. CERRETA:                                     6   guy, and I don't have the strength, so he was
   7       Q. Okay. So you're showering, and then           7   holding me.
   8    at some point you notice that he's in the shower    8      Q. Okay. But you were trying to get away
   9    area, too, is that right?                           9   from him?
  10       A. Yes.                                         10      A. Yeah, because, you know, I was wet and
  11       Q. If you can remember, about how much          11   slippery, but I tried to anyway.
  12    time elapsed from him coming into the shower       12      Q. About how long did the -- did this
  13    area and him coming upon you?                      13   last?
  14       A. I don't know how much time.                  14      A. I don't know how long it took from the
  15       Q. Okay. So when you were bent over, did        15   time it happened. That's all I was thinking
  16    Douglas say anything to you before he began to     16   about. Even if there was food I would not have
  17    assault you?                                       17   been able to eat. Even now if I'm eating and
  18           MR. GARABEDIAN: Objection.                  18   the thought comes to my mind, I stop eating.
  19       A. No, he didn't say anything.                  19      Q. Did Douglas Perlitz ejaculate at this
  20    BY MR. CERRETA:                                    20   time when he had his penis inside your rectum?
  21       Q. Did you say anything?                        21          MR. GARABEDIAN: Objection.
  22       A. No, I just showed him that I wasn't --       22      A. I don't think so.
  23    that I wasn't happy, so I cried, and he told me    23   BY MR. CERRETA:
  24    not to tell anyone or I'll get put out, he'll      24      Q. So at some point he stopped?
  25    put me out.                                        25      A. He could have, but because I was


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   1   moving he wasn't able to.                           1   the mango tree?
   2      Q. Okay. So after he stops, do you leave         2           MR. GARABEDIAN: Objection.
   3   the shower at that point?                           3      A. No.
   4      A. Yeah, I put my clothes on and left.           4   BY MR. CERRETA:
   5      Q. Was it then that you started to cry?          5      Q. At any point while you were at the
   6      A. I sat down.                                   6   mango tree, did you see anyone?
   7      Q. Okay. You sat down first before you           7      A. No. I fell asleep. While I was
   8   put your clothes on?                                8   sitting there, it's kind of round, but it's
   9      A. Yeah, I put on some shorts and I went         9   large, so I just sleep right there and went to
  10   outside and sat under the mango tee like I did     10   sleep.
  11   before.                                            11      Q. Do you remember what you did next
  12      Q. What exactly -- while you're -- before       12   after you left the mango tree?
  13   you left to go to the mango tree, did you say      13      A. I got up, went to a different shower
  14   anything to him before he started talking to       14   stall, and went home.
  15   you?                                               15      Q. So after you left the mango tree, you
  16         MR. GARABEDIAN: Objection.                   16   went back to shower?
  17      A. I didn't say anything to him. I              17      A. Yeah, I went to a different shower
  18   ignored him. He spoke with me.                     18   stall, took a shower, got dressed, and went
  19   BY MR. CERRETA:                                    19   home.
  20      Q. What were his -- as best you remember,       20      Q. Was that shower stall in the same
  21   what were his words to you at that moment?         21   vicinity as the other shower stall, or was it in
  22      A. He said not to tell anyone. If I do,         22   a completely different section of the Village
  23   I would get put out.                               23   altogether?
  24      Q. During the time of this incident, did        24           MR. GARABEDIAN: Objection.
  25   you get a look at Douglas Perlitz's body when he   25      A. Yeah, the same area, but they're

                                            Page 91                                                Page 93
   1   was naked?                                          1   separated.
   2      A. If I saw his body?                            2   BY MR. CERRETA:
   3      Q. Yes.                                          3      Q. When you got back to the shower
   4      A. I did, but I didn't check his body            4   stalls, was Doug Perlitz still there?
   5   out.                                                5      A. I did not see him.
   6      Q. And did he have all of his clothes off        6      Q. Was anyone at the showers when you got
   7   during this incident?                               7   there?
   8      A. Yes.                                          8      A. No.
   9      Q. And you did as well as you were               9           MR. CERRETA: Maybe this is a good
  10   showering, right?                                  10   time to break for lunch.
  11      A. Yes.                                         11           MR. GARABEDIAN: Yes.
  12      Q. Okay. Did you see any birthmarks or          12           THE VIDEOGRAPHER: Going off the
  13   anything on his body?                              13   record. The time is 12:27.
  14          MR. GARABEDIAN: Objection.                  14           (Whereupon, a luncheon recess was
  15      A. I don't remember.                            15           taken.)
  16   BY MR. CERRETA:                                    16
  17      Q. Was Douglas Perlitz wearing a condom         17
  18   at the time of this incident?                      18
  19      A. No.                                          19
  20      Q. So then after this happens, you, as          20
  21   you said, you went to the mango tree. Do you       21
  22   remember how long you stayed at the mango tree?    22
  23      A. A long time.                                 23
  24      Q. Did anyone -- did you see anyone as          24
  25   you left the shower area and were en route to      25


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   1         AFTERNOON SESSION                              1       Q. So the first thing I was going to ask
   2                                                        2   you to do is just to draw on that piece of paper
   3          THE VIDEOGRAPHER: Back on the record.         3   the outline of the grounds of the Village walls
   4   The time is 1:31. We need to swear in the new        4   as if -- as you would see them from overhead.
   5   interpreter.                                         5           MR. GARABEDIAN: Objection.
   6          NATALIE COUPET, Interpreter,                  6       A. While I'm drawing the limits, with
   7   having been first duly sworn to translate the        7   what am I going to draw the limits? When you
   8   testimony, translated the questions and answers      8   ask me -- if you ask me to draw a distance, if I
   9   as follows:                                          9   see this distance between the laptop and here, I
  10                                                       10   understand, I will draw it. But if you tell me
  11   BY MR. CERRETA:                                     11   to draw the distance of a Village, to what? I
  12       Q. Good afternoon, Mr. Joseph. I'm going        12   don't know.
  13   to give you what's been marked as Exhibit 3.        13   BY MR. CERRETA:
  14   It's a blank sheet of paper.                        14       Q. I'm not asking you to attempt to draw
  15           (Whereupon, Joseph Exhibit Number 3,        15   it to scale.
  16           Two sheets of paper with hand-drawn         16           MR. GARABEDIAN: Objection.
  17           diagram, was marked for                     17   BY MR. CERRETA:
  18           identification.)                            18       Q. I would just -- when you were a
  19   BY MR. CERRETA:                                     19   student at Carenage or 13th Street, did you ever
  20       Q. You can use my pen. Earlier today you        20   have occasion to draw pictures of things?
  21   were describing the layout of the Village. Do       21       A. Yes, we used to draw things.
  22   you remember that?                                  22       Q. Okay. So all I'm asking you to do is
  23       A. What, am I going to write on this?           23   just draw a picture of the Village walls as you
  24       Q. Yeah, I was going to ask you to draw a       24   would see them from overhead.
  25   little picture.                                     25       A. You know, if it's just about the

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   1            MR. CERRETA: Does he have his               1   Village wall, I can do that, I can take the Bic
   2    microphone?                                         2   pen and do the Village and do squares, if that's
   3            THE INTERPRETER: I'm going to put it        3   what you want.
   4    a little bit higher.                                4      Q. Yes, please.
   5    BY MR. CERRETA:                                     5      A. (Witness complies). So this is the
   6        Q. So earlier today, do you remember you        6   Village wall, and four squares, so the houses
   7    were describing the layout of the Village?          7   are in there (indicating).
   8        A. If you're asking me to do this, I            8      Q. The buildings are within the confines
   9    can't do it.                                        9   of the wall, is that what you're saying?
  10        Q. Well, let me just explain to you what       10      A. Yes.
  11    I'm asking, and then we can talk about whether     11      Q. Okay. Great. Would you add to your
  12    it's something you're capable of. Okay?            12   drawing within the four walls where on the
  13        A. I understand what you're saying, but I      13   ground Doug Perlitz's -- pardon me, where the
  14    won't be able to do it. Let's find another way.    14   building that housed Doug Perlitz's office was
  15            MR. GARABEDIAN: Let him finish the         15   within the Village?
  16    question.                                          16          MR. GARABEDIAN: Objection.
  17    BY MR. CERRETA:                                    17      A. I can't draw. I'm not good.
  18        Q. All I was going to ask you to do was        18   BY MR. CERRETA:
  19    earlier today you had described the Village, and   19      Q. I'm not -- you don't have to draw the
  20    correct me if I'm wrong, but I believe you had     20   building, but maybe just mark with an X where the
  21    described the Village as having -- as being a      21   building was.
  22    walled complex, is that right?                     22      A. I'm going to explain you a little bit
  23            MR. GARABEDIAN: Objection.                 23   something.
  24        A. Yes.                                        24      Q. Great.
  25    BY MR. CERRETA:                                    25      A. The wall, the Village wall is like


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   1   that. The road that goes to the Village gate is    1   trees.
   2   like that (indicating).                            2   BY MR. CERRETA:
   3      Q. Would you mind just adding in the road       3      Q. Okay. I'll rephrase. That's fine.
   4   just with a line?                                  4           Earlier today do you remember
   5      A. I don't need to draw this. This is           5   testifying about a mango tree that you would go
   6   the wall of the Village. This is the road here     6   to sit under to digest your food?
   7   (indicating).                                      7      A. Yeah, there are a lot of mango trees.
   8      Q. I was just wondering if you could add        8      Q. Was there a particular mango tree that
   9   in the road.                                       9   you would sit under?
  10          MR. GARABEDIAN: Let him finish what        10      A. There are no trees special. I just
  11   he was going to say.                              11   choose one and I sit underneath it.
  12          MR. CERRETA: Okay. I'm sorry to            12      Q. Do you remember -- okay. Do you
  13   interrupt.                                        13   remember the particular mango tree that you sat
  14      A. This is the Village wall. This is the       14   under after the first time that Douglas Perlitz
  15   road. When you get to here, that's the gate to    15   abused you?
  16   go inside the Village. The Village wall is like   16           MR. GARABEDIAN: Objection.
  17   that, the Village road is like that, and the      17      A. Yes.
  18   gate is here. When you get to the gate, when      18   BY MR. CERRETA:
  19   you get to the gate, there are flowers here,      19      Q. Okay. Could you just add that
  20   flowers are right and left.                       20   particular mango tree, just make a notation on
  21          And you continue, and the house -- the     21   the map where that was?
  22   building that houses Douglas's offices are on     22           MR. GARABEDIAN: Objection.
  23   the left under a mango tree. That's the gate.     23      A. On this piece of paper?
  24   You continue. When you get to the left, you get   24   BY MR. CERRETA:
  25   -- that's the entrance, and the building that     25      Q. Yes, please.

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   1   houses Douglas's -- Douglas is there               1      A. The house where Douglas was, when you
   2   (indicating).                                      2   enter the Village it's on the left side. When
   3   BY MR. CERRETA:                                    3   the mango tree -- when you go take a shower,
   4       Q. Okay. Would you mind just circling          4   bath, the mango tree is on the right-hand side.
   5   the area on there that would be where Douglas's    5      Q. Would you mind just adding a notation
   6   office is?                                         6   on the map to indicate where the mango tree is
   7       A. No problem (witness complies). But I        7   on this map -- on this document?
   8   do it here. Why didn't I do it there is because    8          THE INTERPRETER: Let me -- I didn't
   9   the road goes -- continues to the other houses.    9   finish translating. He wants to say something.
  10   That's why I put the house here. When you enter   10      A. I'm going to do something simpler,
  11   the Village like this, the house is like this.    11   okay? Let me do something simpler.
  12       Q. Okay. During the description I think       12   BY MR. CERRETA:
  13   you mentioned the mango tree?                     13      Q. Okay. Do what you'd like to do.
  14       A. Yes, there's a mango tree in front of      14      A. I'm starting. This is the road to go
  15   it.                                               15   inside the Village. Now I'm inside now. The
  16       Q. Okay. Would you mind just -- maybe         16   road inside now is here. Douglas's house is on
  17   just adding the mango tree, where it is, on the   17   the left-hand side. The road continues. The
  18   drawing?                                          18   mango tree is on the right-hand side, the one
  19          MR. GARABEDIAN: Objection.                 19   I'm used to sitting underneath. The mango tree
  20       A. Can I draw?                                20   is on the right side, the mango tree. That's
  21   BY MR. CERRETA:                                   21   the circle, that's this circle, the mango tree
  22       Q. Yes.                                       22   space around the mango tree.
  23          MR. GARABEDIAN: Objection.                 23          The house is on the left-hand side
  24          Which mango tree are you talking           24   when you enter. That's the road that continues
  25   about? I mean there's probably many mango         25   on to other houses. There's a small street, you


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   1   continue on that, it's a path, a little road,       1   both of these sheets as if they were one sheet
   2   and you go, you get to the showers (indicating).    2   of paper and one drawing of the Village grounds,
   3      Q. Okay. So just to make sure I'm                3   and then add the buildings and the adjacent
   4   getting it right, the path continues to the         4   showers to it, to the drawing, in relation to
   5   other buildings kind of off-screen here, and        5   the other things that you've already mentioned,
   6   then the showers would be somewhere over here?      6   the mango tree, the office. So --
   7          MR. GARABEDIAN: Let the record               7           MR. GARABEDIAN: Objection. It's a
   8   reflect we're working on the table now, off the     8   little late for that now. He's already drawn.
   9   sheet of paper.                                     9   Are you asking to rework this?
  10          MR. CERRETA: I was hoping to stay on        10           MR. CERRETA: No, I'm not.
  11   one sheet of paper, but it didn't work out.        11           THE INTERPRETER: Do you want me to
  12   Maybe we can add a second sheet of paper to the    12   translate what you just said?
  13   mix.                                               13           MR. CERRETA: Yes, please.
  14          MR. GARABEDIAN: Do you have any tape?       14       A. But what you're asking me to do
  15      A. So this is the road that goes on. The        15   here -- but what you're asking me to do is not
  16   arrow points to the showers, it leads to the       16   going to confuse me, because I'm not lying, I
  17   showers. The rest of the road leads to the         17   know the entire story of the Village, and I can
  18   other houses (indicating).                         18   -- this won't confuse me. I know what I'm
  19   BY MR. CERRETA:                                    19   saying.
  20      Q. Okay. Would you mind adding to the           20           MR. GARABEDIAN: Let him finish. He
  21   drawing where the showers would be?                21   didn't finish his answer. Did he finish his
  22          MR. GARABEDIAN: Objection.                  22   answer?
  23      A. They're not in the house. Beside the         23       A. I'm going to continue on this.
  24   house. They're not inside the houses. They're      24   BY MR. CERRETA:
  25   next to the houses.                                25       Q. That would be great.


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   1   BY MR. CERRETA:                                     1      A. This is the house that Douglas used as
   2      Q. I understand. Could you -- would you          2   his office. That's the other one. This is like
   3   mind just indicating where the houses are, and      3   a hallway or through-way, that's the last house
   4   then making some other indication with the pen      4   here, you go through here to go to the showers.
   5   to indicate where the showers would be, as you      5   That's what Douglas uses for his office.
   6   said, next to the houses?                           6   There's a hand-pump that -- in-between these two
   7      A. I already gave the example.                   7   houses, manual pump. On the right-hand side
   8      Q. You did. I just wanted to have a              8   there's one, just one. And then the rest here,
   9   record of it for this exhibit, and for you to       9   there's a basketball court and a soccer court, a
  10   add it with the pen.                               10   soccer field.
  11      A. (Witness complies). Is it okay if I          11      Q. Okay. Great. Would you just make a
  12   write it on here?                                  12   mark to indicate, as you were just describing,
  13      Q. Yes, please do. Please do.                   13   where the showers were?
  14      A. (Witness complies).                          14      A. I did the arrow here. That's the path
  15          MR. GARABEDIAN: This is getting             15   to go to the showers (indicating).
  16   confusing.                                         16      Q. Okay.
  17          Off the record for a second?                17      A. The showers are here. This is the
  18          MR. CERRETA: Sure.                          18   arrow (indicating).
  19          THE VIDEOGRAPHER: Going off the             19      Q. Great. And would you also add in the
  20   record. The time is 1:51.                          20   basketball courts that you were just describing?
  21          (Off the record discussion.)                21      A. (Witness complies). That's the
  22          THE VIDEOGRAPHER: Back on the record.       22   basketball here, it's here. The rest -- so it's
  23   The time is 1:52.                                  23   small, but I'm going to force myself to do it
  24   BY MR. CERRETA:                                    24   anyway. (Witness drawing). That's the soccer
  25      Q. Mr. Joseph, I just wanted you to treat       25   field.


                                                                    27 (Pages 102 to 105)
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   1      Q. Were you just indicating that, the            1   the Village who went there, too.
   2   drawing is not to scale, that the soccer field      2   BY MR. CERRETA:
   3   is actually much bigger, but that you kind of       3      Q. Okay, great. Thank you very much.
   4   ran out of room?                                    4          Before the break, you testified that
   5          MR. GARABEDIAN: The whole drawing is         5   you had seen Father Carrier at the Village on
   6   not to scale. Let's not -- come on, the whole       6   two occasions. Do I have that right?
   7   drawing is not to scale. None of it is to           7      A. Yes.
   8   scale. Are we going to make believe that this       8      Q. And am I right that you also saw him
   9   is to scale?                                        9   one more time when he was riding in a car
  10      A. I did it smaller because I already did       10   outside of the Village?
  11   the road and I didn't want to -- I didn't want     11      A. Yeah, he was going by in a car.
  12   to go over the wall, so you won't be able to see   12      Q. Do you have any other memories of
  13   the road. That's the road to go inside the         13   seeing Father Carrier on any other occasion?
  14   Village. That's why I did it smaller.              14      A. How many times?
  15   BY MR. CERRETA:                                    15      Q. I was just wondering, aside from those
  16      Q. Right. I mean the whole drawing is           16   three instances we were just talking about, if
  17   not to scale. I mean you're just doing your        17   you have any other memories of seeing him on any
  18   best here on the fly.                              18   other occasion.
  19          MR. GARABEDIAN: On two separate             19      A. No.
  20   pieces of paper, while he was working on the       20      Q. Okay. The first time you saw Father
  21   table, too.                                        21   Carrier at the Village, were you a student at
  22      A. Yes.                                         22   Mere Berge?
  23   BY MR. CERRETA:                                    23          THE INTERPRETER: Mere Berge?
  24      Q. Okay. Great. Thank you very much.            24          MR. CERRETA: I think it's M-E-R-E
  25      A. And also --                                  25   B-E-R-E-G-E.


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   1          MR. GARABEDIAN: No, there's no               1      A. Yes, that's where I was in school,
   2   question.                                           2   that's where I was going to school.
   3   BY MR. CERRETA:                                     3      Q. And the first time you saw Father Paul
   4      Q. Is there something else you wanted to         4   at the Village, was that during the period when
   5   add to the drawing?                                 5   you were a student at Mere Berge?
   6          MR. GARABEDIAN: There's no question          6          MR. GARABEDIAN: Objection.
   7   for you.                                            7      A. Yes.
   8      A. I wanted to be clear, I wanted to give        8   BY MR. CERRETA:
   9   you more explanation because it looks like you      9      Q. What do you remember about that first
  10   think I'm liar.                                    10   time you saw Father Carrier?
  11   BY MR. CERRETA:                                    11      A. What I remember?
  12      Q. Please, add more explanation.                12      Q. Yeah.
  13      A. I was going to give the following            13      A. I don't remember.
  14   explanation. I was going to make you understand    14      Q. You don't remember what he was doing
  15   that the house where we meet usually is here,      15   at the Village that day?
  16   there's another house, we learn a trade, that is   16      A. When I was at the Village? I wasn't
  17   here (indicating).                                 17   really concentrating on this, I was taking care
  18      Q. Did you ever go into that house to           18   of my own business.
  19   have meetings to learn a trade?                    19      Q. Okay. In either instance, do you have
  20      A. No, I didn't go there.                       20   any specific memory of what Father Carrier was
  21      Q. Was that a building that was used by         21   doing when he was at the Village?
  22   the students at the Village who attended school    22          MR. GARABEDIAN: Objection.
  23   there?                                             23      A. Yes, Father Paul was with Douglas,
  24          MR. GARABEDIAN: Objection.                  24   they were walking, and together they entered
  25      A. Yeah, there were students who went to        25   Douglas's office together.


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   1   BY MR. CERRETA:                                     1   me twice.
   2      Q. Do you remember if this was the first         2     Q. Okay. So this was after Douglas --
   3   time you had seen Father Paul at the Village, or    3   the two previous incidents you talked about
   4   the second?                                         4   where you claim that Douglas abused you, is that
   5      A. Second time.                                  5   correct?
   6      Q. Do you have any specific memory about         6     A. Yeah, after these two times that they
   7   the first time?                                     7   abused me.
   8      A. I saw them just like that, you know,          8     Q. So then you see Douglas and Father
   9   he was with Douglas, they were talking. But I       9   Paul going into the office, and you decide to
  10   was going to go to shower, so I don't know what    10   investigate what's going on in the office, is
  11   they said.                                         11   that right?
  12      Q. How did you know it was Father Paul?         12      A. Yeah.
  13      A. How did I know?                              13     Q. Was there anyone else around the
  14      Q. Yes.                                         14   Village when this was going on?
  15      A. Because in the picture Douglas used to       15     A. I didn't see any other person. There
  16   tell us this is Father Paul and we saw him. So     16   could be other people, I just didn't see them.
  17   he had told us, we saw that it was Father Paul.    17     Q. Were you concerned that other people
  18      Q. And on the second time, so you saw           18   might see you, you know, snooping on what was
  19   Douglas and Father Paul go into Douglas's          19   going on in Doug's office?
  20   office, is that right?                             20          MR. GARABEDIAN: Objection.
  21      A. Yeah, I saw them together, they were         21     A. Yeah, of course.
  22   walking. And then I looked through the window      22   BY MR. CERRETA:
  23   and I saw them all naked, they didn't have any     23     Q. Did you kind of look around to make
  24   shirt on.                                          24   sure no one saw you doing this?
  25      Q. Okay. Do you remember how far away           25          MR. GARABEDIAN: Objection.


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   1    from the building you were when you saw them       1      A. Yeah, where I was standing, I looked
   2    walk in?                                           2   around to see if there were people.
   3       A. Not very far.                                3   BY MR. CERRETA:
   4           (Videographer interruption.)                4      Q. Did you see anyone?
   5    BY MR. CERRETA:                                    5      A. No.
   6       Q. So after you saw them walk in, did you       6      Q. What time of day was this?
   7    follow them?                                       7      A. I don't remember.
   8       A. No.                                          8      Q. Do you remember if it was a school day
   9       Q. Did you go over to the window to see         9   when you had to be -- when you would be in
  10    what was going on inside of the office?           10   attendance at Mere Berge?
  11       A. Yes, I climbed over to see what was         11      A. I don't remember.
  12    going on through the window.                      12      Q. So when you got to the window, at this
  13       Q. So they walk into the office, and you       13   point were Douglas and Father Carrier fully
  14    go over to the window to see what's going on      14   clothed?
  15    inside, is that right?                            15          MR. GARABEDIAN: Objection.
  16       A. Yeah.                                       16      A. No.
  17       Q. Was there something that piqued your        17   BY MR. CERRETA:
  18    interest that made you want to see what was       18      Q. When you saw them walking into the
  19    going on between them in the office?              19   office, did they have shirts on?
  20           MR. GARABEDIAN: Objection.                 20      A. I just said, I told you they didn't
  21       A. Yeah.                                       21   have clothes on.
  22    BY MR. CERRETA:                                   22      Q. I was asking about before they went
  23       Q. What was that?                              23   into the office, did you see them walking into
  24       A. They abused me twice. I went to see         24   the office?
  25    if it was out of their own will that they abuse   25      A. Yes. At that time they did have


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   1   clothes on. When they got in, I looked through     1      Q. So as best you saw, it was just two
   2   the window, they didn't have shirts on.            2   guys standing there with their shirts off having
   3       Q. So by the time you got to the window,       3   a conversation?
   4   were their shirts removed?                         4          MR. GARABEDIAN: Objection.
   5       A. Yeah.                                       5      A. Yes.
   6       Q. How much time had passed between you        6   BY MR. CERRETA:
   7   seeing them go in and you getting in the window    7      Q. Did you see, were they touching each
   8   and looking in?                                    8   other at all?
   9       A. How much time passed, or how much time      9      A. They were standing face-to-face.
  10   it took?                                          10      Q. How much distance between them?
  11       Q. How much time did it take from the         11      A. Not -- face-to-face, not a lot of
  12   time that you saw them entering the office with   12   distance.
  13   their shirts on to the time that you got to the   13      Q. And how long did you -- were you
  14   window and looked in?                             14   standing at the window watching them?
  15          MR. GARABEDIAN: Objection.                 15      A. Not a long time.
  16       A. Four to five minutes.                      16      Q. The whole time were they just standing
  17   BY MR. CERRETA:                                   17   there face-to-face?
  18       Q. What were you doing in that four to        18      A. I came up, I got there, I saw them
  19   five minute period?                               19   standing there, they were all naked, I went
  20       A. What were they doing?                      20   down. I just needed to see.
  21       Q. What were you doing in that four to        21      Q. When you say "they were all naked,"
  22   five minute period?                               22   they did have pants on, though, right?
  23       A. I was sitting in the yard. I already       23      A. I already said it. I already said it.
  24   told you that.                                    24   They were all naked, but they had pants on.
  25       Q. So after four to five minutes, you         25      Q. I'm sorry, I was just trying to

                                         Page 115                                                Page 117
   1   decided to walk over to see what was going on      1   clarify, because I understood all naked to mean
   2   inside the office, is that correct?                2   no clothes.
   3      A. Yes.                                         3          MR. GARABEDIAN: Objection.
   4      Q. So when you get to the window and you        4          Calm down.
   5   peer in, what did you see?                         5      A. I already explained.
   6          MR. GARABEDIAN: Objection.                  6   BY MR. CERRETA:
   7      A. I saw Douglas and Father Paul without        7      Q. Do you remember anything else about
   8   any shirt on.                                      8   what you saw when you looked in?
   9   BY MR. CERRETA:                                    9      A. What other things there is -- is
  10      Q. Did they have pants on?                     10   there?
  11      A. Yes.                                        11      Q. I'm just asking if you remember
  12      Q. Were they both standing up?                 12   anything else about this incident.
  13      A. Yes.                                        13      A. Yeah, I remember that he abused me
  14      Q. Did they look like they were                14   twice.
  15   conversing?                                       15      Q. So after you walk away from the
  16          MR. GARABEDIAN: Objection.                 16   window, do you remember what you did next?
  17      A. Yes.                                        17      A. I went to sit.
  18   BY MR. CERRETA:                                   18      Q. Do you remember where you went to sit?
  19      Q. They were just talking with their           19      A. In the courtyard. I was sitting in
  20   shirts off?                                       20   the courtyard.
  21      A. Yes.                                        21      Q. Was there anybody else around when you
  22      Q. Did you see where -- had their shirts       22   were sitting in the courtyard?
  23   been discarded in the office somewhere? Did you   23      A. Yeah, the other kids that were playing
  24   see them anywhere?                                24   in the courtyard.
  25      A. I didn't see where they put them.           25      Q. Did you tell anybody what you had just


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   1    seen?                                             1   Carter was having a conversation with Doug
   2       A. No.                                         2   Perlitz?
   3       Q. What did you do after you got done          3      A. He/she used to tell us that, to us in
   4    sitting in the courtyard?                         4   the Village.
   5       A. What?                                       5          THE INTERPRETER: There's a confusion,
   6       Q. What did you do after you finished          6   the interpreter wants to explain. I said he/she
   7    sitting in the courtyard?                         7   because in Creole, "li" can be he or she, so I
   8       A. I washed myself, and then I went home.      8   don't know who he's talking about.
   9       Q. Did you tell anybody about what you         9   BY MR. CERRETA:
  10    had seen in the office between Doug and Father   10      Q. That pronoun you just used, "li," who
  11    Paul?                                            11   were you referring to?
  12           MR. GARABEDIAN: Objection.                12      A. Madam -- Hope Carter, Ms. Carter.
  13       A. No.                                        13      Q. Have you ever spoken to Hope Carter?
  14    BY MR. CERRETA:                                  14      A. It's not me personally, but when we
  15       Q. Do you remember when the first time        15   met she used to talk to all of us, all kids at
  16    you told someone about this incident between     16   the Village.
  17    Doug and Father Paul was?                        17      Q. Was she speaking through an
  18           MR. GARABEDIAN: Objection. I              18   interpreter?
  19    instruct him not to answer as to any             19      A. No, there was no translator, but
  20    attorney/client conversation.                    20   Douglas spoke Creole. When he spoke -- when she
  21           You can say when, you can answer when,    21   spoke English, he translated for her into
  22    but no conversations between you and your        22   Creole, for -- but when she only spoke a little
  23    attorney.                                        23   bit, Douglas spoke Creole.
  24       A. When I said that to someone, is that       24      Q. And what did she say that made you
  25    what you're saying?                              25   think that she was above Doug Perlitz at PPT?

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   1    BY MR. CERRETA:                                   1       A. She used to tell Douglas "let's go
   2       Q. Yes.                                        2   eat," and that in December we would get gifts.
   3       A. Who, or when?                               3   And it's true, we always got gifts, and this is
   4       Q. When.                                       4   -- that's how I saw it, I saw that.
   5           MR. GARABEDIAN: Just when.                 5       Q. Okay. So was there a time when you
   6       A. I don't remember when I said that to        6   were with a group of PPT children listening to
   7    someone.                                          7   Doug Perlitz and Hope Carter?
   8    BY MR. CERRETA:                                   8          MR. GARABEDIAN: Objection.
   9       Q. Other than your attorneys, have you         9       A. I don't understand what you said.
  10    ever told anybody about this incident between    10   BY MR. CERRETA:
  11    Doug and Father Paul?                            11       Q. Were you ever present with Doug
  12           MR. GARABEDIAN: Objection. I              12   Perlitz and Hope Carter when one or both of them
  13    instruct him not to answer as to any             13   were speaking?
  14    attorney/client conversation.                    14          MR. GARABEDIAN: Objection.
  15       A. Besides him, I never told anyone else.     15       A. Yeah, that's how I saw them talk.
  16    BY MR. CERRETA:                                  16   BY MR. CERRETA:
  17       Q. Earlier today, am I right that you         17       Q. How many times did you see them
  18    talked about both Hope Carter and Paul Carrier   18   talking?
  19    as being above Doug Perlitz at PPT? Is that      19          MR. GARABEDIAN: Objection.
  20    right?                                           20       A. Just once.
  21       A. Yeah.                                      21   BY MR. CERRETA:
  22       Q. How do you know that?                      22       Q. And on this one occasion, am I getting
  23       A. Everything they told Douglas was what      23   it right that she said that you were going to be
  24    was -- what was.                                 24   getting something for Christmas?
  25       Q. Well, were you ever present when Hope      25       A. Yes.


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   1      Q. And was she speaking English when she         1      A. No.
   2   was talking?                                        2      Q. Okay. And at this meeting, did Hope
   3      A. Yes.                                          3   Carter say "let's go eat"?
   4      Q. And was Douglas then explaining what          4      A. No.
   5   she was saying to you in Creole?                    5      Q. Okay. What exactly did she say?
   6      A. Yes.                                          6      A. I already said it.
   7      Q. Do you remember when this was?                7      Q. I thought she had said something about
   8      A. No, I don't remember.                         8   "let's go, we're going to eat." Am I
   9      Q. Do you remember where it was?                 9   misremembering that?
  10      A. In the Village.                              10           MR. GARABEDIAN: Objection.
  11      Q. Do you remember anything else that was       11      A. No. You asked me what she said. In
  12   said at that meeting?                              12   December we'll find gifts that Douglas will
  13      A. I don't remember.                            13   give, to distribute to us.
  14      Q. And is this what made you think that         14   BY MR. CERRETA:
  15   Hope Carter was above Douglas Perlitz at PPT?      15      Q. Did she say anything else?
  16      A. He needs to pee.                             16      A. No, she didn't. She said "go to
  17      Q. Would you mind just answering? I             17   school, work well, work well so you're going to
  18   think there's a question pending.                  18   be good."
  19          MR. GARABEDIAN: If he can. Yes or           19      Q. And all of this she was saying in
  20   no.                                                20   English, is that right?
  21      A. Yes. Can you ask the question again,         21      A. Yes, Douglas was translating.
  22   please?                                            22      Q. Was there anything else, other than
  23   BY MR. CERRETA:                                    23   that, that made you think she was above Douglas
  24      Q. The question was, is there anything          24   at PPT?
  25   else that made you think -- was there any -- I'm   25      A. No, just that.


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   1   sorry, why don't we take the break and I'll try     1      Q. Do you remember how long this meeting
   2   and re-ask the question.                            2   lasted?
   3          THE VIDEOGRAPHER: Going off the              3      A. I don't remember.
   4   record. The time is 2:27.                           4      Q. It was also your testimony earlier
   5          (Whereupon, a recess was taken.)             5   today that Father Paul was someone who was above
   6          THE VIDEOGRAPHER: Back on the record.        6   Douglas at PPT, is that right?
   7   The time is 2:39.                                   7      A. Yeah. Yes.
   8   BY MR. CERRETA:                                     8      Q. And I believe you previously testified
   9      Q. Okay. Mr. Joseph, at this meeting             9   that you saw Father Paul two times at the
  10   that we were discussing earlier, Hope Carter was   10   Village, is that correct?
  11   present, is that right?                            11      A. Yes.
  12      A. Yes.                                         12      Q. And you saw him one other time riding
  13      Q. And Doug Perlitz was there?                  13   in a car on the streets of Cap-Haïtien, is that
  14      A. Yes.                                         14   right?
  15      Q. And you yourself were there, is that         15      A. Yes.
  16   right?                                             16      Q. And was there anything else other than
  17      A. Yeah.                                        17   those three incidents that made you think Father
  18      Q. Do you remember who else was there?          18   Paul was above Doug Perlitz at PPT?
  19      A. All the little kids.                         19          MR. GARABEDIAN: Objection.
  20      Q. Do you remember any of their names?          20      A. No.
  21      A. No.                                          21   BY MR. CERRETA:
  22      Q. Anyone else other than the kids?             22      Q. Did anybody else ever tell you that
  23      A. Yeah, there was -- the staff was there       23   Father Paul was above Doug Perlitz at PPT?
  24   inside.                                            24      A. Other people told me?
  25      Q. Anyone else besides the staff?               25      Q. Yeah, was there anyone who told you


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   1   that?                                                1   attacks, less energy, lack of joy in life, and
   2      A. Who told me?                                   2   crying."
   3      Q. That's what I'm wondering. Did                 3      A. Drugs, I take drugs?
   4   anybody tell you that?                               4      Q. Is that true, do you take drugs?
   5      A. No.                                            5      A. No. I drink alcohol.
   6          MR. GARABEDIAN: Object. Instruct him          6      Q. Have you ever taken drugs?
   7   not to answer as to any attorney/client              7      A. No.
   8   communication.                                       8         THE INTERPRETER: I haven't finished
   9   BY MR. CERRETA:                                      9   reading the list.
  10      Q. Okay. Leaving aside your attorneys,           10      A. Up to now I remember.
  11   did anybody ever -- anybody else ever tell you      11         MR. GARABEDIAN: Let her finish the
  12   that Father Paul was above Doug Perlitz at PPT?     12   question.
  13          MR. GARABEDIAN: Objection. Instruct          13      A. I don't do crimes.
  14   him not to answer as to any attorney/client         14   BY MR. CERRETA:
  15   communication.                                      15      Q. Okay. Do you have problems sleeping?
  16      A. No.                                           16      A. Yeah.
  17   BY MR. CERRETA:                                     17      Q. How often do you have trouble
  18      Q. I'd like to ask you about the injuries        18   sleeping?
  19   that you suffered as a result of the abuse          19      A. How many times?
  20   you've claimed in this case.                        20      Q. Do you take any medication to deal
  21          After either of these incidents, did         21   with your sleeping problems?
  22   you go to see a doctor?                             22         MR. GARABEDIAN: Objection.
  23          MR. GARABEDIAN: Objection.                   23      A. I don't take medication. I don't
  24      A. What do you mean? I didn't go to a            24   have.
  25   doctor. I don't have money. All this is in my       25   BY MR. CERRETA:

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   1    head. It's in my head. What I want to say,          1      Q. Do you suffer from nightmares?
   2    it's because I shouldn't even come here to talk     2      A. What is a nightmare?
   3    about this, I shouldn't talk about this. This,      3      Q. A bad dream.
   4    it has ruined my future, and I know I'm never       4     A. Last night when I was at the hotel, I
   5    going to be the way I was before, never.            5   had a dream about what the guy did to me when I
   6    BY MR. CERRETA:                                     6   was -- while I was sleeping.
   7        Q. After the incident which you claim           7     Q. Is that a regular thing, that you have
   8    Mr. Perlitz put his penis inside your rectum,       8   that dream?
   9    did you have any physical injuries as a result      9      A. No. Yesterday I was dreaming and I
  10    of that incident?                                  10   was back at the Village with all the guys, and I
  11           MR. GARABEDIAN: Objection.                  11   remembered what the guy did to me.
  12        A. I wasn't hurt.                              12      Q. Okay. Have you ever had similar
  13    BY MR. CERRETA:                                    13   dreams about the incidents that you claim
  14        Q. What injuries have you suffered as a        14   happened?
  15    result of these incidents?                         15          MR. GARABEDIAN: Objection.
  16        A. What wrong I suffered? To answer this       16      A. I sometimes think of it when I'm
  17    question, I must tell you that I would need        17   awake, but it's the first time that it happened
  18    days. To explain to you the wrong that I           18   when I was sleeping.
  19    suffered, it would take me days.                   19   BY MR. CERRETA:
  20        Q. Maybe I can look at Interrogatory           20     Q. And do you have problems
  21    Number 28 in Exhibit 1. In there you say "I        21   concentrating?
  22    have suffered emotional pain and I have had        22      A. Yeah.
  23    problems with sleeping, nightmares,                23      Q. And what makes you think that your
  24    concentrating, shame, self-confidence, alcohol     24   problems concentrating are attributable to the
  25    abuse, drug abuse, sex, anger, flashbacks, panic   25   incidents that you claimed happened with


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   1    Mr. Perlitz?                                        1   abuse alcohol before these two incidents with
   2           MR. GARABEDIAN: Objection.                   2   Douglas Perlitz?
   3       A. Because he did something to me that he        3      A. Yes, once.
   4    wasn't supposed to do to me.                        4      Q. Before these incidents with Douglas
   5    BY MR. CERRETA:                                     5   Perlitz, you had only taken alcohol one time in
   6       Q. Any other reason why you think your           6   your life?
   7    problems concentrating are because of it?           7          MR. GARABEDIAN: Objection.
   8       A. Yeah, yeah, if he hadn't done that, I         8      A. Yes, when he did that, I just drank
   9    would have thought that what I have here is         9   alcohol once.
  10    natural, but this is what I have in my head that   10   BY MR. CERRETA:
  11    has an impact on me.                               11      Q. And how much do you drink alcohol now?
  12       Q. Before these two incidents that you          12      A. Now?
  13    claimed happened with Mr. Perlitz, did you ever    13      Q. Yes, now.
  14    have any problems concentrating?                   14      A. I don't want to strangle my life, so I
  15       A. No.                                          15   don't drink alcohol anymore.
  16       Q. Did you ever have any problems               16      Q. When did you stop drinking?
  17    sleeping?                                          17      A. I don't remember.
  18       A. No.                                          18      Q. Back when you were drinking, how much
  19       Q. Do you have problems with shame and a        19   did you drink?
  20    lack of self-confidence? Are those among the       20          MR. GARABEDIAN: Objection.
  21    injuries that you claim in this case?              21      A. A lot.
  22       A. Repeat, please.                              22   BY MR. CERRETA:
  23       Q. Shame and self-confidence, do you have       23      Q. How much is a lot? Would you have a
  24    problems with shame and a lack of                  24   drink every day?
  25    self-confidence?                                   25      A. Every day? I didn't do it -- one day,


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   1      A. Here I'm ashamed? Here?                        1   once in one day.
   2      Q. No. In Interrogatory 28 we had asked           2      Q. In your whole life, how many times
   3   you to describe each injury or condition that        3   have you had alcohol?
   4   you claim to have sustained as a result of the       4      A. Just once.
   5   incident alleged in the complaint, and among the     5      Q. You've only drank alcohol once in your
   6   injuries that you listed were shame and              6   whole life, is that correct?
   7   self-confidence.                                     7      A. Just once.
   8           THE INTERPRETER: This is bad                 8      Q. Okay. When you answered Interrogatory
   9   translation. This is really bad.                     9   28, did you say that alcohol abuse was among the
  10           MR. KERRIGAN: What are you reading,         10   injuries that were attributable to the abuse by
  11   Nathalie?                                           11   Douglas Perlitz?
  12           THE INTERPRETER: The translation to         12          MR. GARABEDIAN: Objection.
  13   Creole. I would not understand this.                13      A. What?
  14           MR. KERRIGAN: The interrogatories?          14   BY MR. CERRETA:
  15           THE INTERPRETER: 28.                        15      Q. When you answered Interrogatory 28 in
  16           MR. STEWART: Just read the English          16   Exhibit 1, did you say that alcohol abuse was
  17   and translate it.                                   17   one of the injuries you sustained as a result of
  18           MR. CERRETA: Why don't we read it off       18   Doug Perlitz's abuse?
  19   the English.                                        19          MR. GARABEDIAN: Objection.
  20      A. It's not that I had it, I still have          20      A. Yes.
  21   it. It's something if I had it, it would be in      21   BY MR. CERRETA:
  22   the past, but I still have it now. I have           22      Q. You did. Was that incorrect?
  23   problems to sleep, to eat, I don't live well.       23      A. Ask the question again, please.
  24   BY MR. CERRETA:                                     24      Q. Was that incorrect?
  25      Q. How about alcohol abuse, did you ever         25          MR. GARABEDIAN: Objection.


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   1       A. What? What is not true? Tell me.            1   and then you create trouble, and then after that
   2    BY MR. CERRETA:                                   2   people tell you you created trouble, you made
   3       Q. Is it true or untrue that alcohol           3   trouble.
   4    abuse is one of the injuries that you claim to    4      Q. Did anybody ever tell you that you
   5    have sustained as a result of Doug Perlitz's      5   created trouble because you had taken drugs?
   6    abuse?                                            6          MR. GARABEDIAN: Objection.
   7           MR. GARABEDIAN: Objection.                 7      A. There's some -- one person told me I
   8       A. Yeah. Yeah.                                 8   did trouble, created trouble, but they didn't
   9    BY MR. CERRETA:                                   9   tell me if I had taken drugs.
  10       Q. It is, even though you've only used        10   BY MR. CERRETA:
  11    alcohol one time in your whole life?             11      Q. Who was that one person?
  12       A. That's what made me drink. He did          12      A. A friend of mine.
  13    that to me and made me drink.                    13      Q. Do you know the friend's name?
  14       Q. One time?                                  14      A. No.
  15       A. Yes.                                       15      Q. Did the friend specify what exactly
  16       Q. Just the one time?                         16   the trouble was that you created?
  17       A. Yes.                                       17          MR. GARABEDIAN: Objection.
  18       Q. Okay. When was that one time that you      18      A. Yeah, he told me. He told me.
  19    drank?                                           19   BY MR. CERRETA:
  20           MR. GARABEDIAN: Objection.                20      Q. What did he tell you?
  21       A. I don't remember.                          21      A. I was sitting somewhere, and he went
  22    BY MR. CERRETA:                                  22   by and he called me and I didn't answer. He saw
  23       Q. Okay. Was it before or after you were      23   my eyes were small.
  24    abused by Douglas Perlitz?                       24      Q. So he saw your eyes were small, and on
  25       A. Before he abused me? After he abused       25   that basis did he accuse you of having taken


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   1   me, I was thinking, and I drank alcohol.           1   drugs?
   2      Q. One time?                                    2          MR. GARABEDIAN: Objection.
   3      A. Yes.                                         3      A. He told me, yeah, it's drugs that did
   4      Q. Okay. How long after the abuse did           4   that to me.
   5   you try alcohol for the first time?                5   BY MR. CERRETA:
   6      A. I don't remember. A friend of mine           6      Q. But as you sit here today, do you have
   7   was drinking alcohol, and I took some from him.    7   any recollection of ever taking drugs in your
   8      Q. How about drug abuse, is drug abuse          8   whole life?
   9   one of the injuries you claim as a result of       9      A. I already said it, it's my friend, I'm
  10   Doug Perlitz's abuse?                             10   not aware myself of having ever taken any, but
  11      A. Drugs? I don't remember ever taking         11   he told me this made me -- caused that on me.
  12   drugs.                                            12      Q. So he looked at your eyes, and then he
  13      Q. Okay. When you were answering               13   said based on how your eyes looked that he
  14   Interrogatory 28, did you say that drug abuse     14   thought you had taken drugs, is that right?
  15   was one of the injuries you sustained as a        15      A. Yes.
  16   result of Doug Perlitz's abuse?                   16      Q. But, in fact, you hadn't taken any
  17          MR. GARABEDIAN: Objection.                 17   drugs, is that right?
  18      A. I don't remember.                           18      A. Wow.
  19   BY MR. CERRETA:                                   19      Q. Is that a yes or a no?
  20      Q. But in any event, that's wrong?             20      A. It's very easy to understand.
  21      A. I might have taken it, I don't              21      Q. Is it a yes or a no to the question?
  22   remember, you know, when you do all these         22      A. Yes.
  23   troubles, and I don't remember.                   23      Q. But you're still claiming that drug
  24      Q. So you might have taken drugs?              24   abuse is one of the injuries that resulted from
  25      A. You can take drugs and you break this       25   Doug Perlitz's abuse?


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   1           MR. GARABEDIAN: Objection.                  1     A. Yes.
   2       A. Yeah.                                        2   BY MR. CERRETA:
   3    BY MR. CERRETA:                                    3     Q. So you do -- you have had sex with
   4       Q. Okay. And that's just based on this          4   your wife at least some times, am I right?
   5    one guy's observation of your eyes and his         5         MR. GARABEDIAN: Objection.
   6    accusation that you had been using drugs, is       6     A. Yes.
   7    that right?                                        7   BY MR. CERRETA:
   8           MR. GARABEDIAN: Objection.                  8     Q. Okay. How often do you have sex with
   9       A. Yes.                                         9   your wife?
  10    BY MR. CERRETA:                                   10         MR. GARABEDIAN: Objection.
  11       Q. Do you have problems with sex as a          11     A. How often?
  12    result of Doug Perlitz's abuse?                   12   BY MR. CERRETA:
  13       A. With whom?                                  13     Q. Yeah, how often.
  14       Q. Well, it says here in Interrogatory         14     A. You don't have money, you don't have
  15    Number 28 that sex is one of the injuries that    15   work, so you shouldn't take it, it's not -- you
  16    you sustained as a result of the incident         16   shouldn't expect it to be a habit to have sex
  17    alleged in the complaint.                         17   with your spouse whenever you want to.
  18       A. Yes.                                        18     Q. So you don't have sex with your spouse
  19       Q. Do you have a sexual relationship with      19   whenever you want to because you don't have
  20    your wife?                                        20   money and you don't have work, is that right?
  21           MR. GARABEDIAN: Objection.                 21         MR. GARABEDIAN: Objection.
  22       A. Yes.                                        22     A. Yeah, I'm not working.
  23    BY MR. CERRETA:                                   23   BY MR. CERRETA:
  24       Q. Do you have any problems being              24     Q. Do you have anger problems?
  25    intimate with your wife?                          25     A. Yes.

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   1           MR. GARABEDIAN: Objection.                  1      Q. Can you describe your anger problems?
   2       A. If I have a problem?                         2      A. Can I describe that problem?
   3    BY MR. CERRETA:                                    3      Q. Yes, please.
   4       Q. Yeah, do you have any problems with          4      A. When I'm right, I don't like people to
   5    intimacy and your sexual relationship with her?    5   discard my reasons, give me a knowledge that I'm
   6           THE INTERPRETER: Intimacy doesn't           6   right, or I can kill you on the spot.
   7    translate.                                         7      Q. Okay. So when you're right, when you
   8    BY MR. CERRETA:                                    8   feel that you're in the right, this leads to
   9       Q. Do you have any problem with your --         9   your anger problems? Am I getting that right?
  10    any problems with your sexual relationship with   10          MR. GARABEDIAN: Objection.
  11    your wife?                                        11      A. Yeah, when I am in the right and you
  12           MR. GARABEDIAN: Objection.                 12   are thrashing my reason, me being right, this
  13       A. I can say yes, because after what the       13   leads to me being furious.
  14    thing that Douglas did to me, any -- having sex   14   BY MR. CERRETA:
  15    with my wife is no longer on my mind.             15      Q. When you get furious, do you feel like
  16    BY MR. CERRETA:                                   16   you could kill someone on the spot? Am I
  17       Q. But you still do have a sexual              17   getting that right?
  18    relationship with your wife, is that right?       18          MR. GARABEDIAN: Objection.
  19           MR. GARABEDIAN: Objection.                 19      A. Yes.
  20       A. No.                                         20   BY MR. CERRETA:
  21    BY MR. CERRETA:                                   21      Q. Okay. Have you ever acted on those
  22       Q. Do you and your wife have a daughter?       22   feelings of impulse and lashed out violently
  23       A. Yes.                                        23   against anyone?
  24       Q. Is that your biological daughter?           24          MR. GARABEDIAN: Objection.
  25           MR. GARABEDIAN: Objection.                 25      A. I was always like that, even before


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   1   that happened to me.                                1   what happened?
   2   BY MR. CERRETA:                                     2      A. I pulled out a knife on him.
   3      Q. So is it fair to say even before Doug         3      Q. Did you attack him with the knife?
   4   Perlitz abused you, you always had something of     4      A. Yes. The other people that were
   5   a temper?                                           5   playing with us, they took the knife away from
   6      A. This made me more excited, even more.         6   me.
   7      Q. Before the incidents with Douglas             7      Q. So you didn't actually physically
   8   Perlitz, did you ever get in fights?                8   strike him with the knife?
   9      A. I didn't fight. I would get mad.              9      A. I threatened him. They held my hand
  10      Q. How about after, have you had any            10   back.
  11   physical altercations?                             11      Q. You were about to strike him with the
  12      A. Yeah, after what -- Douglas did that         12   knife when these people held you back?
  13   to me, I almost killed a young person like         13          MR. GARABEDIAN: Objection.
  14   myself in -- while playing ball.                   14      A. Yes.
  15      Q. Okay. Where was this? Where did this         15   BY MR. CERRETA:
  16   take place?                                        16      Q. And you think this bout of anger was
  17          MR. GARABEDIAN: Objection.                  17   attributable to your -- the incidents you claim
  18      A. Close to where I live. Close to my           18   happened with Douglas Perlitz?
  19   house.                                             19      A. Yeah, it made me more excited.
  20   BY MR. CERRETA:                                    20      Q. Do you ever have flashbacks to the
  21      Q. How long ago was it?                         21   incidents that you claim happened with Douglas
  22      A. I don't remember.                            22   Perlitz?
  23      Q. But it was after the two incidents           23          MR. GARABEDIAN: Objection.
  24   that you alleged happened with Douglas Perlitz?    24      A. Yes, I'm playing, and then it comes
  25      A. Yeah, so I just decided not to play          25   into my mind and I stop.

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   1    ball anymore.                                      1   BY MR. CERRETA:
   2       Q. What kind of ball game were you              2      Q. How often does that happen?
   3    playing when this incident happened?               3      A. Yeah, I don't really remember. But I
   4       A. Soccer, the same as I watch it on TV.        4   was at school, and even when the Village closed
   5       Q. And did you get into some sort of            5   I continued going to school, and I didn't have
   6    altercation with a person on the other team?       6   any more -- a friend was paying for the school,
   7           MR. GARABEDIAN: Objection.                  7   you know, school is not very expensive in Haiti,
   8       A. No, it's just that there was a goal,         8   but then the image went inside my mind and I
   9    and he said it wasn't a goal, so we started        9   couldn't continue, I lost -- I stopped at the
  10    fighting about it.                                10   exam -- I lost the exam, I just left the exam,
  11    BY MR. CERRETA:                                   11   and I also lost school.
  12       Q. And you say you almost killed him, is       12      Q. Okay. After the Village closed, what
  13    that right?                                       13   was the name of the school that you attended?
  14           MR. GARABEDIAN: Objection.                 14      A. They call it Lycee, which is a high
  15       A. Yes.                                        15   school.
  16    BY MR. CERRETA:                                   16      Q. Is that in Cap-Haïtien?
  17       Q. Did he sustain physical injuries?           17      A. Yes.
  18           MR. GARABEDIAN: Objection.                 18      Q. Is that a private school?
  19       A. I pulled out a knife on him.                19      A. Public.
  20    BY MR. CERRETA:                                   20      Q. Do you have to pay money to go there?
  21       Q. Did you use the knife on him?               21      A. It's not expensive.
  22       A. And he didn't have time -- he didn't        22      Q. How long did you go there after the
  23    have time to get hurt, and I pulled out a knife   23   Village closed?
  24    on him.                                           24      A. How long?
  25       Q. Okay. You pulled out a knife. Then          25      Q. How long.


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   1       A. Not even a year.                             1   frequently?
   2       Q. And a friend of yours was paying the         2           MR. GARABEDIAN: Objection.
   3    fees for you to attend this school, is that        3       A. Up to now, it's still now in my head.
   4    right?                                             4   It's something I'm never going to forget. When
   5       A. Yes, it wasn't very expensive.               5   I die I'm not -- when I have to die -- to die to
   6       Q. What was the friend's name?                  6   forget this, or will be alive.
   7       A. I don't remember his name, because it        7   BY MR. CERRETA:
   8    was the earthquake in Port-au-Prince, and I        8       Q. Is it something that's always on your
   9    don't know if he died or not. I don't remember     9   mind, is that what you're saying?
  10    his name.                                         10       A. Yes.
  11       Q. So after he stopped paying your fees,       11       Q. How about panic attacks, is that one
  12    did you lose touch with him?                      12   of the injuries you're claiming as a result of
  13       A. Yes, up to now.                             13   the incidents that you claim happened with Doug
  14       Q. Was this around the time of the             14   Perlitz?
  15    earthquake?                                       15       A. What is panic attack?
  16       A. 2010, January, 2010.                        16       Q. Well, when you were answering
  17       Q. Was this man a Haitian man?                 17   Interrogatory Number 28, did you say that panic
  18       A. Yes.                                        18   attacks was one of the injuries that you claim
  19       Q. Was he somebody you had known for a         19   to have sustained as a result of the incidents
  20    long time before?                                 20   with Douglas Perlitz?
  21       A. Yes. We grew up together. He has            21           MR. GARABEDIAN: Objection.
  22    some revenues.                                    22       A. Yes.
  23       Q. What are his revenues?                      23   BY MR. CERRETA:
  24           THE INTERPRETER: I'm sorry?                24       Q. So what did you mean when you said
  25    BY MR. CERRETA:                                   25   that?


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   1      Q. What are his revenues?                        1      A. What does it mean, panic attack?
   2          MR. GARABEDIAN: Objection.                   2      Q. What does it mean to you?
   3      A. His parents are sending money for him         3          MR. GARABEDIAN: Objection.
   4   -- to him.                                          4      A. You know, I can -- I can go somewhere
   5   BY MR. CERRETA:                                     5   to take care of my business, things that are
   6      Q. So in any event, at some point you            6   good for me, and then I just stop and I don't do
   7   didn't take your exams, and you stopped going to    7   it. For me this is a panic attack.
   8   that school, is that right?                         8   BY MR. CERRETA:
   9          MR. GARABEDIAN: Objection.                   9      Q. When you stop and you don't do it, do
  10      A. Yes, I didn't go to school anymore.          10   you have some fear that comes over you?
  11   BY MR. CERRETA:                                    11          MR. GARABEDIAN: Objection.
  12      Q. And you attribute this to flashbacks         12      A. Yeah, I calm myself down because I get
  13   to the abuse that made you not take those exams,   13   scared. I shut down because I get scared.
  14   is that right?                                     14   BY MR. CERRETA:
  15      A. What Douglas did to me.                      15      Q. Okay. How often does that happen?
  16      Q. Any other times where you've had these       16      A. Several times.
  17   problems with flashbacks?                          17      Q. Does it happen -- has it happened --
  18          MR. GARABEDIAN: Objection.                  18   could you put a number on it if you had to
  19      A. Up to now.                                   19   estimate?
  20   BY MR. CERRETA:                                    20          THE INTERPRETER: I have to explain
  21      Q. How often?                                   21   that concept. This is not Haitian. From 0 to
  22      A. Up to now.                                   22   10, is that what you want?
  23      Q. No, I know. But how often between            23   BY MR. CERRETA:
  24   this incident when you had the flashbacks and      24      Q. Well, does it happen once a month,
  25   you didn't take your exams until now, how          25   once a year? Can you make any sort of


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   1    approximation?                                     1   can't have problems with them anymore.
   2           MR. GARABEDIAN: Objection.                  2      Q. So before these incidents that you
   3       A. Every day.                                   3   claim happened with Douglas Perlitz, you had
   4    BY MR. CERRETA:                                    4   problems with gay people, is that right?
   5       Q. Has it happened today?                       5      A. What?
   6       A. Yeah, today I woke up, I went to eat,        6      Q. Is it right that before this incident
   7    and then I went back, because it's in my head.     7   happened with Douglas Perlitz that you had
   8       Q. Have you had problems with people in         8   problems with gay or homosexual people?
   9    authority and trusting people, especially          9      A. Yes.
  10    foreigners?                                       10      Q. But now you say you can't have
  11       A. A lot.                                      11   problems with gay or homosexual people, is that
  12       Q. How does that manifest itself?              12   right?
  13           MR. GARABEDIAN: Objection.                 13          MR. GARABEDIAN: Objection.
  14       A. I'm not happy.                              14      A. Yeah, because I'm one of them.
  15    BY MR. CERRETA:                                   15          MR. GARABEDIAN: Can we take a break
  16       Q. Do you get angry with people in             16   for a minute?
  17    authority, positions of authority over you?       17          MR. CERRETA: Sure.
  18       A. I don't understand.                         18          THE VIDEOGRAPHER: Going off the
  19       Q. Well, have you had problems trusting        19   record. The time is 3:29.
  20    people, in particular foreigners? Is that one     20          (Whereupon, a recess was taken.)
  21    of the injuries you're claiming in this case?     21          THE VIDEOGRAPHER: Back on the record.
  22       A. Even if I know someone, it's hard for       22   The time is 3:45.
  23    me to trust that person.                          23   BY MR. CERRETA:
  24       Q. Have you had problems thinking about        24      Q. Mr. Joseph, is another one of the
  25    bringing children into this world? Is that one    25   injuries that you're claiming resulted from Doug


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   1   of the injuries you're claiming?                    1   Perlitz's abuse suicidal thoughts?
   2      A. I already have one.                           2      A. Yes.
   3      Q. No, I know. But when you responded to         3      Q. And was there a particular incident in
   4   Interrogatory 28, you say "I have had problems      4   which you purchased poison in anticipation of an
   5   thinking about bringing children into this          5   attempted suicide?
   6   world."                                             6      A. Yes, a friend took it away from me.
   7      A. To have other children, yes.                  7      Q. When was that?
   8      Q. But you do have the one child already?        8      A. I don't remember.
   9      A. Yes.                                          9      Q. Was it after the incidents of sexual
  10      Q. So you were able to overcome those           10   abuse that you claim in this case?
  11   problems before you had your first child, is       11      A. Yes, when it happened.
  12   that right?                                        12      Q. Was it after the time that you had
  13          MR. GARABEDIAN: Objection.                  13   been attending the school that you went to after
  14      A. Yes, they were serious problems, but         14   PPT closed?
  15   they didn't impact me 100 percent.                 15          MR. GARABEDIAN: Objection.
  16   BY MR. CERRETA:                                    16      A. Yes.
  17      Q. Okay. Have you had problems with gay         17   BY MR. CERRETA:
  18   or homosexual people?                              18      Q. Do you remember whether it was before
  19      A. If I always had problem with people          19   or after the birth of your daughter?
  20   like that?                                         20      A. What?
  21      Q. Yes. Have you?                               21      Q. Do you remember whether this incident
  22      A. When I see people who are that -- I          22   happened before or after the birth of your
  23   used to have problems with people like that.       23   daughter?
  24   When I used to see them, I used to have problems   24      A. I don't remember.
  25   with gay people, but now that I'm one of them I    25      Q. Where did you get the poison?


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   1      A. I bought it.                                 1      Q. Did your friend know that you had
   2      Q. And this friend who threw it out, what       2   purchased this poison when he came over to your
   3    was that person's name?                           3   house?
   4      A. I don't remember his name.                   4      A. No.
   5      Q. Where were you storing the poison?           5      Q. Did you tell him "I bought this
   6      A. Where I put it?                              6   poison, I'm going to mix it in this water"?
   7      Q. Right.                                       7          MR. GARABEDIAN: Objection.
   8      A. Water I was going to drink, to drink         8      A. No. He saw it in my hand.
   9    down.                                             9   BY MR. CERRETA:
  10      Q. Did you purchase this poison from a         10      Q. What did he do with it after he took
  11    merchant of some kind?                           11   it out of your hand?
  12      A. Yes.                                        12      A. He threw it away.
  13      Q. After you purchased the poison, where       13      Q. Did he throw it in the garbage there
  14    did you put it?                                  14   at your house?
  15      A. In the water.                               15      A. No. He threw it on the ground and he
  16      Q. Did you put it in the water                 16   put -- he swept his foot on top of it.
  17    immediately afterwards?                          17      Q. Was this on the ground outside? Did
  18           MR. GARABEDIAN: Objection.                18   he take it outside of your house?
  19      A. After I -- you mean after I finished        19      A. Yes.
  20    buying it if I put it in water?                  20      Q. Do you know what type of poison it was
  21    BY MR. CERRETA:                                  21   that you purchased?
  22      Q. Yes.                                        22      A. Poison.
  23      A. Yeah, after I bought it I put it in         23      Q. Any particular label that the poison
  24    water, and the friend was there, he saw it and   24   had on it?
  25    took it away from me, from my hand.              25          MR. GARABEDIAN: Objection.


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   1       Q. Did he see you mixing the poison into       1      A. No. It's poison for rats. It kills
   2    the water?                                        2   people, too.
   3       A. He saw me put it, and then boom, he         3   BY MR. CERRETA:
   4    took it from my hand.                             4      Q. It was rat poison?
   5       Q. Where did this take place where he          5      A. What?
   6    took it out of your hand?                         6          THE INTERPRETER: He doesn't
   7       A. I don't remember.                           7   understand the term rat poison, which is a
   8       Q. Was it right outside of the store, or       8   different name, wording in French.
   9    just after you purchased it?                      9   BY MR. CERRETA:
  10           MR. GARABEDIAN: Objection.                10      Q. Was this the type -- was this poison
  11       A. No, it's not in front of the store.        11   that you purchased, was it something that people
  12    BY MR. CERRETA:                                  12   buy in order to kill rats?
  13       Q. Was it back at your house?                 13      A. Yes.
  14       A. Yes.                                       14      Q. And where was the store that you
  15       Q. You were at your house with your           15   bought it?
  16    friend, is that right?                           16          MR. GARABEDIAN: Objection.
  17       A. Yes.                                       17      A. Where is it?
  18       Q. Were any of the other people who live      18   BY MR. CERRETA:
  19    in your house present in the house?              19      Q. Yeah, where is that store?
  20       A. No.                                        20      A. Marketplace, I bought it at the
  21       Q. Everyone was out?                          21   market, at the market.
  22       A. Yes.                                       22      Q. Where is that marketplace in relation
  23       Q. Do you remember what time of day it        23   to your house?
  24    was?                                             24          MR. GARABEDIAN: Objection.
  25       A. No.                                        25      A. Not very far.


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   1    BY MR. CERRETA:                                   1   He told me that he was a victim.
   2       Q. So did you walk back from the               2      Q. Did he tell you that he was a victim
   3    marketplace to your house after you purchased     3   of abuse by Douglas Perlitz?
   4    it?                                               4      A. No. He just told me that the Village
   5          MR. GARABEDIAN: Objection.                  5   had closed, there's no more school, no more
   6       A. Yes, to take some water.                    6   food, and he's not functioning anymore.
   7    BY MR. CERRETA:                                   7      Q. Okay. Was he saying that he was a
   8       Q. Was your friend with you the whole          8   victim because the school had closed and he was
   9    time?                                             9   no longer able to attend there?
  10       A. No, when I got home, I saw him there.      10         MR. GARABEDIAN: Objection.
  11    He came to see me.                               11      A. He couldn't go to school, eat, shower,
  12       Q. Your friend was inside your house when     12   play soccer, the environment that we had.
  13    you got home?                                    13   BY MR. CERRETA:
  14       A. Yes.                                       14      Q. Did he ever tell you that he had been
  15       Q. No one else was inside the house?          15   abused by Douglas Perlitz?
  16       A. No.                                        16      A. No.
  17       Q. He had just let himself in?                17      Q. Have you ever been to -- are you
  18          MR. GARABEDIAN: Objection.                 18   familiar with a house called Bel Air?
  19       A. He came to see me.                         19      A. Yes.
  20    BY MR. CERRETA:                                  20      Q. What was Bel Air?
  21       Q. How much did the poison cost?              21      A. A house.
  22       A. 5 Haitian gourdes.                         22      Q. Have you ever been there?
  23       Q. Was the poison in a liquid form?           23      A. Once, I just went once there.
  24       A. No. Powder.                                24      Q. When did you go there?
  25       Q. Before you brought this lawsuit, had       25      A. One day Douglas told me he needed me,


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   1   you spoken with any of the other boys who claim    1   so I went to see him at Bel Air.
   2   that they were abused by Douglas Perlitz?          2     Q. Was this before or after the incidents
   3          MR. GARABEDIAN: Objection.                  3   that you claim happened with sexual abuse?
   4      A. Which guys?                                  4      A. Before that.
   5   BY MR. CERRETA:                                    5     Q. So were you at the Village when he
   6      Q. Any other boys who claimed that they         6   asked you to do this?
   7   were abused sexually by Douglas Perlitz.           7      A. Yes.
   8          MR. GARABEDIAN: Objection.                  8      Q. Were you a student at Mere Berge at
   9      A. Did I talk to them?                          9   the time?
  10   BY MR. CERRETA:                                   10      A. Yes, I used to go to school at Mere
  11      Q. Yes.                                        11   Berge.
  12      A. No.                                         12      Q. Did he tell you, when he asked you to
  13      Q. Did you ever talk to Wisky Jerome?          13   go over there, why he wanted you to go to
  14      A. Yes, I talked to him.                       14   Bel Air?
  15      Q. How long have you known Wisky Jerome?       15          MR. GARABEDIAN: Objection.
  16      A. How long?                                   16     A. He didn't tell me why.
  17      Q. How long have you known him?                17   BY MR. CERRETA:
  18      A. Do I know Wisky Jerome? How do I know       18     Q. Did you then go over to Bel Air?
  19   of him?                                           19          THE INTERPRETER: Sorry?
  20      Q. Yes. How long have you been known           20   BY MR. CERRETA:
  21   him?                                              21     Q. Did you then go over to the house in
  22      A. Ever since I was at the Village.            22   Bel Air?
  23      Q. Did Wisky Jerome ever talk to you           23      A. Yes.
  24   about sexual abuse by Douglas Perlitz?            24      Q. How did you get there?
  25      A. No, he didn't talk to me about abuse.       25      A. I paid a car.


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   1      Q. And what happened when you got there?        1          MR. CERRETA: I think I may be
   2      A. I knocked. There's a gate, there's a         2   through. Can we just go off the record for a
   3   guard, security guard.                             3   couple minutes?
   4      Q. Did you have a conversation with the         4          MR. GARABEDIAN: Sure.
   5   security guard?                                    5          THE VIDEOGRAPHER: Going off the
   6      A. Yes.                                         6   record. The time is 4:02.
   7      Q. What did you say?                            7          (Whereupon, a recess was taken.)
   8      A. I said? Where is Douglas? I've               8          THE VIDEOGRAPHER: Back on the record.
   9   come." And he said "wait for him."                 9   The time is 4:06.
  10      Q. What happened next?                         10          MR. CERRETA: Thank you for your time,
  11      A. He made me go in, go inside. I sat in       11   Mr. Joseph. I have no further questions.
  12   the yard waiting for Douglas.                     12      A. Okay.
  13      Q. And at some point did Douglas come to       13   BY MR. FOLKMAN:
  14   see you?                                          14      Q. Mr. Joseph, hi, my name is Ted
  15      A. Yes, he came out to talk to me.             15   Folkman, I'm Father Paul's lawyer.
  16      Q. What did he say?                            16          Father Paul Carrier never sexually
  17      A. He gave me a pat on the back, and he        17   abused you, right?
  18   said "go, we'll talk. Guy, go, we'll talk."       18          MR. GARABEDIAN: Objection.
  19      Q. Okay. So what happened next?                19      A. No.
  20      A. After that I just left. I left.             20   BY MR. FOLKMAN:
  21      Q. You just left?                              21      Q. Okay. You don't personally know who
  22      A. He said "you can go. We'll talk."           22   knew that --
  23      Q. So he was saying just go, we'll talk        23          MR. GARABEDIAN: Objection. Please
  24   another time?                                     24   don't yell at him.
  25      A. We'll talk.                                 25          MR. KERRIGAN: What are you talking


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   1      Q. Did this conversation take place             1   about?
   2   inside the house?                                  2         MR. GARABEDIAN: Keep your voice down.
   3      A. He never talked to me again.                 3         MR. FOLKMAN: Keep my voice down?
   4      Q. Well, he never talked to you again           4         MR. GARABEDIAN: Yes.
   5   that day?                                          5         MR. FOLKMAN: Okay.
   6      A. Yes, after that he -- that day he            6   BY MR. FOLKMAN:
   7   never spoke to me again.                           7     Q. You don't personally know -- can you
   8      Q. Okay. Where at Bel Air did this              8   hear me okay?
   9   conversation between you and Douglas take place    9      A. Yes.
  10   when he said "go, we'll talk"? Where were you     10     Q. Okay. You don't personally know who
  11   guys?                                             11   knew before September 15th, 2009 that Douglas
  12          MR. GARABEDIAN: Objection.                 12   had sexually abused you, do you?
  13      A. What do you mean?                           13         MR. GARABEDIAN: Objection.
  14   BY MR. CERRETA:                                   14         THE INTERPRETER: Could you repeat the
  15      Q. Were you inside the house?                  15   question, please?
  16      A. No.                                         16         MR. FOLKMAN: Sure.
  17      Q. Where were you?                             17   BY MR. FOLKMAN:
  18      A. Outside in the yard. After the gate,        18     Q. You don't personally know who knew
  19   inside the gate.                                  19   before September 15th, 2009 that Douglas Perlitz
  20      Q. And then so after he said this to you,      20   had sexually abused you?
  21   did you then exit back out the gate?              21         MR. GARABEDIAN: Objection.
  22      A. Yes, and I left.                            22     A. No, I didn't know anybody else.
  23      Q. And did you ever have occasion to go        23   BY MR. FOLKMAN:
  24   back to Bel Air?                                  24     Q. You didn't know anybody who had known
  25      A. No.                                         25   that Douglas had abused you, right?


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   1           MR. GARABEDIAN: Objection.                  1   going to translate what I say. Okay?
   2           THE INTERPRETER: I'm sorry. Repeat          2          MR. STEWART: Are you asking her to
   3    the question, please?                              3   read what you're reading, or are you going to --
   4    BY MR. FOLKMAN:                                    4          MR. FOLKMAN: I want her to translate
   5       Q. You don't know whether Paul Carrier          5   what I'm saying.
   6    knew that Douglas had abused you before            6          MR. STEWART: So she doesn't need that
   7    September 15th, 2009, do you?                      7   paper.
   8           MR. GARABEDIAN: Objection.                  8          MR. FOLKMAN: Except for her
   9       A. Father Paul abused me?                       9   reference.
  10    BY MR. FOLKMAN:                                   10          MR. STEWART: All right.
  11       Q. No, no, no. Let me try again.               11   BY MR. FOLKMAN:
  12           You don't know whether Paul Carrier        12      Q. Are you ready?
  13    knew that Douglas had abused you?                 13      A. I'm listening.
  14           MR. GARABEDIAN: Objection.                 14      Q. "Identify all persons who you believe
  15    BY MR. FOLKMAN:                                   15   actually knew that Perlitz was sexually abusing
  16       Q. Do you?                                     16   you at any time prior to September 15th, 2009,
  17       A. If I didn't know?                           17   and for each such person state the basis for
  18       Q. If you didn't know whether Paul             18   your belief."
  19    Carrier knew.                                     19          And your answer was "I do not
  20           MR. GARABEDIAN: Objection.                 20   personally know who knew before September 15th,
  21       A. I don't understand.                         21   2009 Douglas sexually abused me."
  22    BY MR. FOLKMAN:                                   22          That's true, right?
  23       Q. Let me read you something that you          23      A. Yes.
  24    said in your interrogatory answers, and tell me   24      Q. Okay. One of the things you said,
  25    if you agree with it, okay? I'm going to read     25   sir, when you were describing in your answers

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   1   you your answer to Question 24.                     1   the ways that you've been injured was that you
   2         MR. GARABEDIAN: There's no question           2   are troubled by the loss of PPT and educational
   3   before you.                                         3   opportunities.
   4     A. I have to see the question. I have to          4      A. Yes.
   5   see the question. I can't answer like that.         5      Q. And what did you mean by that?
   6   BY MR. FOLKMAN:                                     6      A. What that meant?
   7     Q. Okay. The question was, "Identify all          7      Q. Yes. What did you mean when you said
   8   persons who you believe actually knew" --           8   that, or wrote that?
   9     A. Is this in Creole?                             9      A. Well, yes, I lost all opportunities.
  10         MR. FOLKMAN: I'm reading in English.         10   Yes, I lost all opportunities. I'm not going to
  11   Why don't you translate the English, okay,         11   school anymore. Douglas spoiled my future. All
  12   Nathalie?                                          12   the projects I had for tomorrow, I don't have
  13   BY MR. FOLKMAN:                                    13   them anymore.
  14     Q. The question was, "Identify all               14      Q. And that's because PPT closed?
  15   persons who you believe actually knew" --          15      A. Yes.
  16         THE INTERPRETER: In English I have           16      Q. And PPT was really the source of your
  17   "you told."                                        17   educational opportunities in your life, right?
  18         MR. FOLKMAN: Number 24?                      18          MR. GARABEDIAN: Objection.
  19         THE INTERPRETER: 24. I'm sorry.              19          MR. FOLKMAN: Do you want me to try a
  20   BY MR. FOLKMAN:                                    20   different question?
  21     Q. I'll try one last time. "Identify all         21          THE INTERPRETER: Yes.
  22   persons" --                                        22   BY MR. FOLKMAN:
  23     A. Is there Creole here?                         23      Q. The educational opportunities that you
  24     Q. Stick with my question. Okay? I'm             24   had in your life came from PPT, right?
  25   going to ask it to you in English, Nathalie is     25      A. Yes.


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   1            MR. GARABEDIAN: Objection.                 1      A. Yeah.
   2    BY MR. FOLKMAN:                                    2      Q. If you had never gone to PPT, what
   3        Q. And the times in your life when other       3   sort of jobs would you have been able to apply
   4    people have been providing food for you to eat,    4   for?
   5    that's been PPT also, right?                       5          MR. GARABEDIAN: Objection.
   6            MR. GARABEDIAN: Objection.                 6      A. I wouldn't be the one giving it to me,
   7        A. Yes.                                        7   so only God knows.
   8    BY MR. FOLKMAN:                                    8   BY MR. FOLKMAN:
   9        Q. And the times in your life when people      9      Q. Would you have gotten any job training
  10    were providing you, for example, with shoes, a    10   anywhere else?
  11    little bit of money, that was also PPT, right?    11          MR. GARABEDIAN: Objection.
  12            MR. GARABEDIAN: Objection.                12      A. Excuse me, I have a question.
  13        A. Yes.                                       13   BY MR. FOLKMAN:
  14    BY MR. FOLKMAN:                                   14      Q. Okay.
  15        Q. Obviously you wouldn't have wanted         15          MR. GARABEDIAN: No questions. Just
  16    Doug Perlitz to stick around in your life after   16   answer the questions, don't ask them.
  17    he abused you?                                    17          MR. KERRIGAN: He's asking for
  18        A. I don't understand.                        18   clarification.
  19        Q. Well, he did something terrible to         19          MR. GARABEDIAN: Okay.
  20    you, you say, right?                              20      A. If he tells me not to ask questions,
  21        A. Yes.                                       21   I'm not going to ask questions.
  22        Q. So you're happy to have him out of         22          MR. GARABEDIAN: Go ahead, ask the
  23    your life?                                        23   question.
  24            MR. GARABEDIAN: Objection.                24      A. The questions you're asking me, it's
  25        A. No, it's always in my -- he hurt me.       25   in my papers? Did I say that, or you are just


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   1    He's always in my life.                            1   asking me questions like that?
   2    BY MR. FOLKMAN.                                    2   BY MR. FOLKMAN:
   3       Q. Yes. And you're glad that he's in            3      Q. No, I'm just asking you questions.
   4    jail and not around to hurt you anymore?           4      A. Is it questions that I said or --
   5       A. Yes, he's a bit far -- further away,         5      Q. Let me start again, okay?
   6    but I will never forget what he did to me.         6          MR. GARABEDIAN: Let him ask the
   7       Q. I understand.                                7   questions.
   8           And you wish that PPT had been able to      8   BY MR. FOLKMAN:
   9    stay open so that you can continue your            9      Q. Let me try one more time.
  10    education?                                        10          Where would you have gone to get job
  11           MR. GARABEDIAN: Objection.                 11   training if you had not gone to PPT?
  12       A. What I would like?                          12          MR. GARABEDIAN: Objection.
  13    BY MR. FOLKMAN:                                   13      A. I just said, only God knows.
  14       Q. Yes.                                        14   BY MR. FOLKMAN:
  15       A. Did I say that?                             15      Q. You don't know?
  16       Q. I'm asking.                                 16      A. No.
  17           MR. GARABEDIAN: Objection.                 17      Q. Who would have paid your tuition to go
  18       A. I don't know.                               18   to school if Doug Perlitz hadn't paid it?
  19    BY MR. FOLKMAN:                                   19          MR. GARABEDIAN: Objection.
  20       Q. Okay. If you had never gone to PPT,         20      A. The person who would have been able to
  21    where would you have gone to school?              21   pay if Douglas hadn't paid, only God knows.
  22           MR. GARABEDIAN: Objection.                 22   BY MR. FOLKMAN:
  23       A. I would just stay like that.                23      Q. You don't know?
  24    BY MR. FOLKMAN:                                   24      A. Yeah, I don't know. Only God knows,
  25       Q. Stay in the street you mean?                25   he knows who would have paid.


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   1       Q. Before you went to PPT, before you          1      A. Yes.
   2    went to the Village, you were sleeping on the     2      Q. Were you baptized before or after you
   3    street, right?                                    3   began to attend PPT?
   4       A. Yes.                                        4      A. I was baptized before.
   5       Q. If you hadn't gone to PPT, if you           5      Q. Were you confirmed?
   6    hadn't gone to the Village, would you have        6      A. Yes.
   7    continued to sleep on the street?                 7      Q. Were you confirmed before or after you
   8           MR. GARABEDIAN: Objection.                 8   started to attend PPT?
   9       A. Yeah, but I was in the Village.             9      A. I was confirmed before going to PPT.
  10    BY MR. FOLKMAN:                                  10      Q. And did you take First Communion?
  11       Q. I understand.                              11      A. Yes.
  12           Paul Carrier was not in the same place    12      Q. And was that also before you had first
  13    with you at either of the times that Doug        13   attended PPT?
  14    Perlitz sexually abused you, is that true?       14      A. Yes.
  15           MR. GARABEDIAN: Objection.                15      Q. Was there a church in Cap-Haïtien that
  16       A. No.                                        16   you attended?
  17    BY MR. FOLKMAN:                                  17      A. Yes.
  18       Q. You said that you saw Doug and Paul        18      Q. What was the name of that church?
  19    walking together or being together at one time   19      A. Saint Martin of Porres.
  20    at the Village.                                  20      Q. Of Fields?
  21           Do you remember that?                     21          MR. KERRIGAN: P-O-R-R-E-S.
  22       A. Yes.                                       22   BY MR. FOLKMAN:
  23       Q. They were speaking English together?       23      Q. Okay. Do you know who the pastor of
  24       A. Yes.                                       24   that church was?
  25       Q. And you have no idea what they were        25          MR. GARABEDIAN: Objection.

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   1   saying to each other, right?                       1       A. It's not a pastor. It's Catholic.
   2      A. Yes.                                         2   It's father.
   3      Q. Let me ask you about your religious          3   BY MR. FOLKMAN:
   4   background. And the reason I ask is because one    4       Q. Do you know who the father was at that
   5   of your answers for injuries that you say you      5   church?
   6   suffered was "I am afraid I broke God's law."      6       A. Yes.
   7   Okay?                                              7       Q. Did you make confessions to him? Of
   8      A. Yes.                                         8   course I don't want you to tell me anything you
   9      Q. Are you a Christian?                         9   said.
  10         MR. GARABEDIAN: Objection.                  10       A. Yes.
  11      A. A lot.                                      11       Q. Was he your priest?
  12   BY MR. FOLKMAN:                                   12       A. He wasn't my priest. He was the
  13      Q. You are a Christian?                        13   church's priest.
  14      A. Yes.                                        14       Q. He was the priest of your church?
  15      Q. And have you always been?                   15       A. Where I go, yes.
  16         MR. GARABEDIAN: Objection.                  16       Q. And do you still attend that church?
  17      A. Yeah, I'm no longer a Christian             17       A. Yes, I always go.
  18   because I disrespected God, Douglas raped me.     18       Q. Okay. You know who Cyrus Sibert is?
  19   BY MR. FOLKMAN:                                   19       A. If I know who it is?
  20      Q. Are you a Roman Catholic, or were you       20       Q. Yes.
  21   a Roman Catholic?                                 21       A. Yes, I know him. He's a journalist, a
  22         MR. GARABEDIAN: Objection.                  22   politician.
  23      A. Yes.                                        23       Q. A politician?
  24   BY MR. FOLKMAN:                                   24       A. Yes.
  25      Q. Were you baptized?                          25       Q. What does he do in politics?


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   1       A. I don't know. He's a politician.            1   right?
   2       Q. Have you ever heard his radio show?         2          MR. GARABEDIAN: Objection.
   3       A. Yes.                                        3      A. Yes.
   4       Q. Have you ever heard him discuss on his      4   BY MR. FOLKMAN:
   5    radio show the claims that Douglas Perlitz        5      Q. How did Cyrus Sibert know that you
   6    abused kids at PPT?                               6   were somebody who needed a lawyer?
   7            MR. GARABEDIAN: Objection.                7      A. How did he know?
   8       A. Yes.                                        8      Q. Yes.
   9    BY MR. FOLKMAN:                                   9      A. He was saying on the radio that there
  10       Q. When did you hear him talk about that      10   was this white guy who was helping kids, and he
  11    on the radio?                                    11   raped them. If there were children who were
  12       A. I don't remember when he was talking       12   victims to come to see him, he would help them
  13    about it.                                        13   find justice.
  14       Q. Was it before or after you filed this      14      Q. Okay. So you heard him say that on
  15    lawsuit?                                         15   the radio, and then you went to see him?
  16            MR. GARABEDIAN: Objection.               16      A. Yes. I tried to look for him.
  17       A. Was it before or after I went into         17      Q. Now, did you go by yourself, or did
  18    that -- I started this trial?                    18   you go with others?
  19    BY MR. FOLKMAN:                                  19      A. I was alone.
  20       Q. Yes.                                       20      Q. And what happened when you went to see
  21       A. Before I entered the trial I went to       21   him?
  22    go see Cyrus.                                    22      A. Yeah, I said "I'm victim, since I was
  23       Q. And I just want to make sure I             23   in the Village I'm a victim."
  24    understand what you mean when you say "the       24      Q. And what did he say?
  25    trial." Do you mean before you first met with    25      A. He said that he would put me in


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   1   your lawyers?                                      1   contact with the lawyers for what had happened
   2         MR. GARABEDIAN: Objection.                   2   to me so I could get justice.
   3      A. Ask the question, please.                    3      Q. Do you know whether he did anything to
   4         MR. GARABEDIAN: I instruct him not to        4   make sure that what you were telling him was
   5   reveal any attorney/client communications.         5   true before he was going to pass you along to
   6      A. No, I didn't say -- you're asking a          6   the lawyers?
   7   question, I'm answering your questions.            7          MR. GARABEDIAN: Objection.
   8   BY MR. FOLKMAN:                                    8      A. Did he believe it was true? I don't
   9      Q. Okay. I don't want you to tell me            9   know if he believed it.
  10   anything you said to your lawyers. Okay?          10   BY MR. FOLKMAN:
  11      A. No, I don't have a right to do it.          11      Q. I guess what I'm asking is, you told
  12      Q. And I don't want you to tell me             12   him that you had been abused?
  13   anything your lawyer said to you.                 13      A. If I told Cyrus? I told him I was a
  14      A. I don't have the right to do it.            14   victim.
  15      Q. Okay. I just want to make sure we           15      Q. You told him you were sexually abused
  16   understand each other.                            16   by Douglas Perlitz?
  17         So my question is, did you hear that        17          MR. GARABEDIAN: Objection.
  18   radio show that Cyrus has that you were talking   18      A. Yes.
  19   about a minute ago before or after the first      19   BY MR. FOLKMAN:
  20   time you met your lawyers?                        20      Q. And my question is, do you know
  21         MR. GARABEDIAN: Objection.                  21   whether, other than taking your word for it,
  22      A. I heard the show, radio show before.        22   whether he did anything else to check whether
  23   BY MR. FOLKMAN:                                   23   what you were saying was true or not?
  24      Q. And, in fact, Cyrus Sibert is the           24          MR. GARABEDIAN: Objection.
  25   person who introduced you to your lawyers,        25      A. What did he do?


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   1   BY MR. FOLKMAN:                                     1          THE INTERPRETER: 39?
   2      Q. That's what I'm asking.                       2          MR. FOLKMAN: Yes.
   3           MR. GARABEDIAN: Objection.                  3   BY MR. FOLKMAN:
   4      A. He took my -- wrote my name, phone            4      Q. It says "Plaintiff Jasmin Joseph" --
   5   number, he said the group of lawyers would call     5   Page 39. That's you, right?
   6   you.                                                6      A. Yes.
   7   BY MR. FOLKMAN:                                     7      Q. -- "respectfully demands judgment of
   8      Q. And how soon after that meeting did           8   20 million US dollars in damages."
   9   the lawyers call you?                               9          MR. GARABEDIAN: It doesn't say that.
  10      A. A week.                                      10   Objection.
  11      Q. Now, you know, don't you, that there         11   BY MR. FOLKMAN:
  12   were kids, young men, who sued Douglas Perlitz     12      Q. Let me read it exactly, "Respectfully
  13   just like you are now and who got money a few      13   demands judgment of $20,000,000 in damages
  14   years ago?                                         14   against each Defendant."
  15           MR. GARABEDIAN: Objection.                 15          MR. GARABEDIAN: Objection.
  16      A. There were -- I know that there were         16      A. Who --
  17   young men who complained against Douglas, who      17          MR. GARABEDIAN: Let the record
  18   sued Douglas, and I know they found justice. I     18   reflect that the interpreter is reading much
  19   don't know if they got money.                      19   more than you're reading.
  20   BY MR. FOLKMAN:                                    20   BY MR. FOLKMAN:
  21      Q. You don't know if they got money?            21      Q. Okay. Let's make sure we get it
  22      A. No. I know they found justice.               22   exactly right. All right?
  23      Q. You don't know if they had new cars?         23          MR. GARABEDIAN: Thank you.
  24           MR. GARABEDIAN: Objection.                 24   BY MR. FOLKMAN:
  25      A. No.                                          25      Q. "Wherefore Plaintiff Jasmin Joseph

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   1   BY MR. FOLKMAN:                                     1   respectfully demands damages of $20,000,000 in
   2       Q. You never heard anybody say they got         2   damages against each Defendant for each claim
   3   money?                                              3   Plaintiff Jasmin Joseph states against each
   4       A. No. I'm not in contact with anyone.          4   Defendant, punitive damages, plus costs,
   5       Q. You're not in contact with Francilien        5   interest, attorneys' fees, and such other and
   6   Jean-Charles?                                       6   further relief as this Court deems just and
   7       A. No. In the Village I used to know            7   equitable."
   8   them, to see them, but when the Village stopped     8      A. The people who abused, or the people
   9   I didn't see them anymore, I didn't go near         9   who are accused?
  10   them. When I took to the streets, there were       10          MR. FOLKMAN: Did you finish reading
  11   people who were saying "here are the faggots,      11   what I said first?
  12   the fags," that's why I didn't go to the streets   12          THE INTERPRETER: No.
  13   anymore. I stayed home.                            13          MR. FOLKMAN: You finish and then let
  14       Q. So your testimony is you've never           14   him ask, okay?
  15   heard that the kids who got justice also got       15   BY MR. FOLKMAN:
  16   money? That's not something you've ever heard?     16      Q. Okay. Did you know --
  17           MR. GARABEDIAN: Objection.                 17          THE INTERPRETER: Wait.
  18       A. I just know that they have justice.         18          MR. FOLKMAN: Sorry.
  19   BY MR. FOLKMAN:                                    19          MR. GARABEDIAN: I'm going to object
  20       Q. Now, I want to read you something from      20   to this and instruct him not to answer. She's
  21   Page 39 of your complaint, which is, I think,      21   not -- she's supposed to be interpreting your
  22   Exhibit 2.                                         22   questions, not reading documents.
  23           THE INTERPRETER: 1.                        23          MR. FOLKMAN: Well, Mitch, you're the
  24           MR. FOLKMAN: The complaint, I think        24   one that wanted me to read the whole thing into
  25   it's 2.                                            25   the record.


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   1          MR. GARABEDIAN: But you started it.          1   dollars?
   2   Okay. She's reading for you where she's             2           MR. GARABEDIAN: Objection. If you're
   3   supposed to be interpreting.                        3   referring to the pleading, I instruct him not to
   4          MR. FOLKMAN: I read this, and I              4   answer. That's not his statement.
   5   understand that she's translating what I read.      5           MR. FOLKMAN: You're instructing him
   6   Is that right, Nathalie?                            6   not to answer that question?
   7          THE INTERPRETER: I am.                       7           MR. GARABEDIAN: The pleading, if
   8          MR. FOLKMAN: Okay. Is that okay with         8   you're referring to the pleading.
   9   you, Mitch?                                         9           MR. FOLKMAN: I'm asking. Let me ask
  10          MR. GARABEDIAN: Okay. Continue.             10   it one more time. And if you want to instruct
  11          MR. FOLKMAN: Okay. Go ahead,                11   him, that's fine. I'm not asking about the
  12   Nathalie.                                          12   pleading, I'm asking about what he knew.
  13          THE INTERPRETER: I'm starting again.        13           MR. GARABEDIAN: Make that clear to
  14          MR. FOLKMAN: Okay.                          14   him.
  15   BY MR. FOLKMAN:                                    15   BY MR. FOLKMAN:
  16      Q. And that's what you're asking for from       16      Q. What I'm asking you, sir -- and if you
  17   the Court?                                         17   don't understand it, let me know, I'm asking you
  18      A. Yes.                                         18   if before you heard it today --
  19          MR. GARABEDIAN: Objection. Instruct         19      A. What did I just say now?
  20   him not to answer.                                 20      Q. Excuse me?
  21          That is a pleading. That's not his          21      A. What did I just say now? That's what
  22   statement.                                         22   I just told you now.
  23          MR. FOLKMAN: That's not his                 23      Q. I'm not following you. Let me ask my
  24   statement?                                         24   question and see if you can answer. Okay?
  25          MR. GARABEDIAN: That's a pleading.          25           Did you know before today --


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   1   You're reading from the complaint.                  1      A. You asked me the question. I told you
   2          MR. FOLKMAN: It's his complaint.             2   I don't understand.
   3          MR. GARABEDIAN: It's his -- it's not         3      Q. Okay. Try it one more time. And I'm
   4   a statement. It's a pleading.                       4   sorry if we're miscommunicating, I'm not trying
   5   BY MR. FOLKMAN:                                     5   to be difficult. Okay?
   6      Q. Did anybody ever tell you, sir, that          6          MR. STEWART: Just ask the question.
   7   you were asking for $20 million?                    7   BY MR. FOLKMAN:
   8          MR. GARABEDIAN: I instruct him not to        8      Q. All right. Did you know before today
   9   answer to the extent he's going to -- I claim       9   that you were asking a Court in the United
  10   the attorney/client privilege. I instruct him      10   States to make Father Carrier and the other
  11   not to answer and not to violate the               11   people that you're suing to pay you -- hang on,
  12   attorney/client privilege.                         12   I haven't finished -- to make you --
  13   BY MR. FOLKMAN:                                    13      A. To find justice. To find justice.
  14      Q. Let me ask a different question.             14          MR. GARABEDIAN: Let him finish. Let
  15          MR. GARABEDIAN: Ask it differently,         15   him finish.
  16   fine.                                              16   BY MR. FOLKMAN:
  17   BY MR. FOLKMAN:                                    17      Q. I know you want to find justice.
  18      Q. Did you know before Nathalie just read       18   That's not my question.
  19   that to you that you were asking for $20 million   19          My question is, did you know that you
  20   in this lawsuit?                                   20   were asking these people to pay $20 million
  21      A. I don't understand.                          21   before today?
  22      Q. Did you know before you just heard it        22      A. If I knew this is the money I was
  23   right now that you were asking a Court to make     23   asking for?
  24   Father Carrier and the other people who you've     24      Q. Before today.
  25   sued pay you 20 million in United States           25      A. If I knew if it was that money that I


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   1   was asking?                                         1   reason why you thought they were having a sexual
   2     Q. That amount.                                   2   relationship?
   3     A. Yes.                                           3      A. Yes.
   4     Q. Yes, you knew? And that's the amount           4      Q. And there's no other reason, right?
   5   that you think is the amount necessary to           5      A. No.
   6   compensate you for the harm you suffered?           6          MR. FOLKMAN: I have no more
   7     A. Yes.                                           7   questions. Thank you.
   8     Q. Okay. You asked --                             8      A. Okay.
   9         MR. KERRIGAN: What's he saying?               9          (Pause.)
  10   BY MR. FOLKMAN:                                    10   BY MR. KERRIGAN:
  11     Q. What did he say?                              11      Q. Are we ready to continue? Mr. Joseph,
  12     A. That's what all the fuss was about.           12   are you ready to continue?
  13   This is a simple question.                         13      A. Yes.
  14         MR. STEWART: Take a break.                   14      Q. Okay. I'm going to be asking you a
  15         MR. FOLKMAN: Are you going off the           15   few questions, Mr. Joseph. It won't be a lot.
  16   record, Mitch?                                     16   If you don't understand me, you tell me, okay?
  17         MR. GARABEDIAN: Yes.                         17      A. Okay.
  18         THE VIDEOGRAPHER: Going off the              18      Q. All right. You understand that you
  19   record. The time is 4:44.                          19   are still under oath; you took an oath before
  20         (Whereupon, a recess was taken.)             20   God to tell the truth?
  21         THE VIDEOGRAPHER: Back on the record.        21      A. Yes.
  22   The time is 4:55.                                  22      Q. So you're still required to tell the
  23   BY MR. FOLKMAN:                                    23   truth going forward, okay?
  24     Q. Sir, you have said that you believed          24      A. Yes.
  25   that Father Paul had a sexual relationship with    25      Q. Mr. Joseph, my name is Michael


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   1    Douglas Perlitz, is that true?                     1   Kerrigan, and I represent the Society of Jesus
   2           MR. GARABEDIAN: Objection.                  2   of New England.
   3       A. Yes.                                         3          Have you ever heard of an organization
   4    BY MR. FOLKMAN:                                    4   called the Society of Jesus of New England?
   5       Q. And the reason why you believe that is       5           MR. GARABEDIAN: Objection.
   6    because, number one, you saw them with their       6      A. No.
   7    shirts off in Douglas's office, as you told us?    7   BY MR. KERRIGAN:
   8       A. Yes.                                         8      Q. Mr. Joseph, did anyone other than
   9       Q. And because you thought that if              9   Douglas Perlitz sexually abuse you in all of
  10    Douglas could have sex with you, then he could    10   your life?
  11    do the same thing with Father Paul?               11      A. Besides Mr. Perlitz, if there were
  12       A. Yes.                                        12   other people?
  13       Q. Is there any other reason that you can      13      Q. Correct.
  14    give me why you thought that Father Carrier,      14      A. No, no other people, just Douglas.
  15    Father Paul, was having a sexual relationship     15      Q. Earlier today, Mr. Joseph, you
  16    with Douglas Perlitz?                             16   testified about a number of problems that you
  17           MR. GARABEDIAN: Objection.                 17   have that you believe were caused by Douglas
  18       A. Yeah, the reason I can say is because       18   Perlitz, correct?
  19    I saw them all naked in the room.                 19      A. What?
  20    BY MR. FOLKMAN:                                   20      Q. Earlier today you testified, that is
  21       Q. That's the thing you were telling           21   to say you told us that you suffer from a number
  22    Mr. Cerreta about, right?                         22   of problems because of Douglas Perlitz and his
  23       A. But isn't that the question he asked        23   abuse.
  24    me, too?                                          24      A. Because what he did to me, he caused a
  25       Q. Yes. What I'm asking is, that's the         25   lot of problems to me.


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   1      Q. Okay.                                        1      Q. After PPT closed, you were arrested?
   2      A. Caused me a lot of problems.                 2      A. After?
   3      Q. Thank you.                                   3      Q. After.
   4          Did any doctor or nurse ever tell you       4      A. Yeah, PPT closed, had closed already.
   5   that those problems were caused by Douglas         5      Q. Why were you arrested?
   6   Perlitz's abuse?                                   6      A. It's just an investigation that the
   7          MR. GARABEDIAN: Objection.                  7   police was conducting in the neighborhood, they
   8      A. I didn't go to the doctor, so how            8   just arrested me like that. And when they saw I
   9   would he know?                                     9   wasn't -- I didn't do it, so they freed me.
  10   BY MR. KERRIGAN:                                  10      Q. What were the police investigating?
  11      Q. So no doctor and no nurse ever told         11          MR. GARABEDIAN: Objection.
  12   you that those problems were caused by Douglas    12      A. I don't know.
  13   Perlitz's abuse?                                  13   BY MR. KERRIGAN:
  14      A. If they wouldn't -- for them to tell        14      Q. Were you ever told why you were
  15   me that, I would have needed to go to the         15   arrested?
  16   doctors. I didn't go to the doctors. I didn't     16      A. No, they didn't tell me.
  17   tell anyone.                                      17      Q. Were you placed in jail?
  18      Q. You never told any social workers,          18      A. No.
  19   either?                                           19      Q. Were you arrested at any other time
  20      A. If I didn't tell any social worker?         20   apart from this time you just told me about?
  21      Q. I'm asking if you ever told a social        21      A. No.
  22   worker that you had been abused by Douglas        22      Q. What's the name of your daughter,
  23   Perlitz.                                          23   please?
  24          MR. GARABEDIAN: Objection.                 24      A. Jasmine.
  25      A. I don't know what a social worker is.       25      Q. Are you active in Jasmine's life?


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   1    BY MR. KERRIGAN:                                  1      A. Yes.
   2        Q. Do you know what a counselor is?           2      Q. Tell me the ways in which you're
   3        A. Therapy?                                   3    active in Jasmine's life?
   4        Q. Yes. Therapy for your head, for your       4      A. What I do for her?
   5    brain.                                            5      Q. Correct.
   6        A. No.                                        6      A. I haven't done anything for her yet.
   7        Q. You don't know what that is?               7      Q. Why not?
   8        A. Therapy?                                   8      A. I'm not prepared for that.
   9        Q. Correct. Do you know what therapy is?      9      Q. Why are you not prepared?
  10        A. I've heard about therapy, but I don't     10          MR. GARABEDIAN: Objection.
  11    know if that's it, if that's what I -- what it   11      A. Why I'm not prepared?
  12    is.                                              12    BY MR. KERRIGAN:
  13        Q. You never sought treatment or therapy     13      Q. Correct.
  14    for your problems, is that correct?              14      A. Because God doesn't want me to be
  15        A. No.                                       15    prepared for it yet, because everything that's
  16        Q. Have you ever been arrested?              16    being done is God's will.
  17        A. Just once.                                17      Q. Why doesn't God want you to be
  18        Q. When --                                   18    prepared for your daughter?
  19        A. Just once.                                19          MR. GARABEDIAN: Objection.
  20        Q. Thank you.                                20      A. God knows.
  21           When was that?                            21    BY MR. KERRIGAN:
  22        A. I don't remember.                         22      Q. Do you provide any kind of money
  23        Q. Were you at PPT at the time you were      23    support for your daughter?
  24    arrested?                                        24      A. What is assistance?
  25        A. No, when PPT was closed.                  25      Q. Do you give any money to help feed

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   1   your daughter, clothe your daughter, keep her       1   money, will Cyrus Sibert get any of that money?
   2   housed?                                             2          MR. GARABEDIAN: Objection.
   3          MR. GARABEDIAN: Objection.                   3      A. In my hand from me? From me?
   4      A. Yes, I've given money to buy clothes          4   BY MR. KERRIGAN:
   5   and food for her.                                   5      Q. From anyone.
   6   BY MR. KERRIGAN:                                    6          MR. GARABEDIAN: Objection.
   7      Q. Where do you get the money?                   7      A. Anyone?
   8      A. Cyrus gives it to me.                         8   BY MR. KERRIGAN:
   9      Q. Who?                                          9      Q. Anyone.
  10      A. Cyrus.                                       10      A. No.
  11      Q. Cyrus Sibert?                                11      Q. So if you win this lawsuit and you get
  12      A. Cyrus Sibert.                                12   money, you will not give any of that money to
  13      Q. And how much money does Cyrus Sibert         13   Cyrus Sibert?
  14   give you?                                          14      A. No.
  15      A. $100.                                        15      Q. Do you have any agreement with Cyrus
  16      Q. How often does Cyrus Sibert give you         16   Sibert about this lawsuit?
  17   $100?                                              17      A. About what?
  18      A. Four times he give me money, four            18      Q. About the case that you brought.
  19   times.                                             19          MR. GARABEDIAN: Objection.
  20      Q. Four times. Name the four times. Was         20      A. No.
  21   it during a particular month that he gave you      21   BY MR. KERRIGAN:
  22   the money?                                         22      Q. Aside from your lawyers, Mr. Joseph,
  23      A. I don't remember if it was a                 23   aside from your lawyers, do you have an
  24   particular month.                                  24   agreement with anybody else about the case that
  25      Q. When was the last time you got $100          25   you've brought?


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   1   from Cyrus Sibert?                                  1          MR. GARABEDIAN: Objection. I
   2      A. I don't remember.                             2   instruct him not to answer as to any
   3      Q. Why did you get $100 from Cyrus               3   attorney/client conversation, communications.
   4   Sibert?                                             4          You can answer the question.
   5      A. Why?                                          5      A. No.
   6      Q. Correct.                                      6   BY MR. KERRIGAN:
   7      A. So I could buy food and clothes that I        7      Q. Apart from Cyrus Sibert, do you earn
   8   put on my back, so I could buy food and clothes.    8   money, or do you get money from any other
   9      Q. The money that you got from Cyrus             9   source, Mr. Joseph?
  10   Sibert, Mr. Joseph, is it in US dollars?           10          MR. GARABEDIAN: Objection.
  11      A. Yes.                                         11      A. No.
  12      Q. How much in total have you received          12   BY MR. KERRIGAN:
  13   from Cyrus Sibert, in total?                       13      Q. Why do you think Cyrus Sibert gives
  14          MR. GARABEDIAN: Objection.                  14   you the money for clothes and for food?
  15      A. $350.                                        15      A. I don't know.
  16   BY MR. KERRIGAN:                                   16      Q. Does Cyrus Sibert give money to anyone
  17      Q. When did you start getting money from        17   else that you know about?
  18   Cyrus Sibert?                                      18      A. I don't know.
  19      A. I don't remember.                            19      Q. How long have you been in your
  20      Q. Was it after PPT closed?                     20   relationship with your wife or girlfriend,
  21      A. Yes.                                         21   Jasmine?
  22      Q. Was it after you first met Mr. Sibert        22          MR. GARABEDIAN: Objection.
  23   about a lawsuit?                                   23          MR. FOLKMAN: Jasmine is the daughter.
  24      A. I don't remember.                            24          MR. KERRIGAN: I think they're both
  25      Q. If you win this lawsuit and you get          25   named after each other.


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   1         THE INTERPRETER: Jasmine, the wife?          1      Q. And who are the friends that you hang
   2         MR. KERRIGAN: Jasmine, the wife.             2   out with on the street?
   3         MR. GARABEDIAN: Objection.                   3      A. With whom?
   4     A. I don't remember.                             4      Q. Yes.
   5   BY MR. KERRIGAN:                                   5      A. Their names?
   6     Q. Has it been a year?                           6      Q. Names.
   7     A. I don't remember.                             7      A. A friend of mine called Wilgens.
   8     Q. You had testified earlier today, or           8      Q. Can you spell that?
   9   you told us earlier today that you live with       9         THE INTERPRETER: W-I-L-G-E-N-S.
  10   Jasmine and a number of other people at your      10      Q. Thank you. Who else?
  11   family home, correct?                             11      A. He's the only one.
  12         MR. GARABEDIAN: Objection.                  12      Q. And what do you do when you hang out
  13     A. Yes.                                         13   with Wilgens on the street?
  14   BY MR. KERRIGAN:                                  14      A. We walk. Where there's football,
  15     Q. How long has Jasmine lived at the            15   soccer, we go see it.
  16   family home with you?                             16      Q. You go watch soccer matches?
  17     A. I don't remember how long.                   17      A. Yes.
  18         MR. GARABEDIAN: Let me ask if he            18      Q. Do you do anything else?
  19   needs to take a break.                            19      A. No.
  20         Is your arm hurting you?                    20      Q. Do you try to find a job or try to
  21         THE WITNESS: Yes, it hurts, but we          21   find work?
  22   can continue.                                     22      A. When I go look for work, they
  23   BY MR. KERRIGAN:                                  23   humiliate me, they don't give me work.
  24     Q. Okay. We'll continue, Mr. Joseph. If         24      Q. How many times have you tried to find
  25   you need to stop, you just tell me. Do you        25   work?

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   1   understand?                                        1      A. Several times.
   2      A. Yes.                                         2      Q. How many is several?
   3      Q. All right. Tell me, Mr. Joseph, on an        3          MR. GARABEDIAN: Objection.
   4   average day, on a regular day, how do you spend    4      A. It's not one, two, or three days, it's
   5   your time?                                         5   several times.
   6          MR. GARABEDIAN: Objection.                  6   BY MR. KERRIGAN:
   7      A. Absolutely nothing.                          7      Q. Why do people humiliate you when you
   8   BY MR. KERRIGAN:                                   8   try to get work?
   9      Q. So you get up in the morning, what do        9      A. They say they don't give work to fags.
  10   you do on a regular day?                          10      Q. And how would these people know to
  11      A. I can wake up in the morning, and I         11   call you a fag?
  12   can play, I can go watch football on TV as        12      A. They know I was at the Village,
  13   something to leisure, but absolutely nothing      13   everybody. Everybody knows that whenever a
  14   else.                                             14   child was at the Village, they were -- they're
  15      Q. Do you play any sports or activities?       15   gay, because this is something that can be heard
  16      A. No.                                         16   in the street.
  17      Q. Where do you watch football?                17      Q. In the street there is talk that every
  18      A. Next to my house.                           18   child who attended the Village is gay?
  19      Q. Do you hang out on the street at all?       19      A. Yes.
  20          MR. GARABEDIAN: Objection.                 20      Q. In the street, is there talk that
  21      A. Yes.                                        21   every child who went to the Village was abused
  22   BY MR. KERRIGAN:                                  22   by Douglas Perlitz?
  23      Q. Do you hang out with friends on the         23      A. Yes.
  24   street?                                           24      Q. Do you believe that every child who
  25      A. Yes.                                        25   went to the Village was abused by Douglas


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   1   Perlitz?                                           1   last name.
   2          MR. GARABEDIAN: Objection.                  2      Q. Did you help anyone else?
   3      A. Yes.                                         3      A. No.
   4   BY MR. KERRIGAN:                                   4      Q. Did Frito tell you he was abused?
   5      Q. Why do you say that?                         5      A. Yes, he told me he was a victim.
   6      A. Because I was in the Village, he did         6      Q. A victim of whom?
   7   that to me, so I have in my head that another      7      A. He told me he was a victim. He didn't
   8   one that is in the Village, he could have done     8   give me any details.
   9   that to him, too.                                  9      Q. Did he tell you he was a victim of
  10      Q. Apart from the thought in your head,        10   Doug Perlitz?
  11   do you have any other reason for believing that   11      A. No.
  12   every child who attended the Village was abused   12      Q. Did he tell you he was a victim of
  13   by Doug Perlitz?                                  13   anyone?
  14          MR. GARABEDIAN: Objection.                 14      A. He told me he was a victim.
  15      A. Besides what is in my head?                 15      Q. Did Frito attend PPT at any time?
  16   BY MR. KERRIGAN:                                  16      A. Yes.
  17      Q. Correct.                                    17      Q. When?
  18      A. What is in my head is always in my          18      A. I don't remember.
  19   head.                                             19      Q. Do you know the name Frito Innocent?
  20      Q. Do you believe that every child who         20      A. Yes.
  21   went to the Village is entitled to justice?       21      Q. Is this the Frito that you're talking
  22          MR. GARABEDIAN: Objection.                 22   about?
  23      A. Yes.                                        23      A. Yes. There you go.
  24   BY MR. KERRIGAN:                                  24      Q. Do you know if Frito attended the
  25      Q. And what does justice mean?                 25   Village, 13th Street, Carenage?

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   1         MR. GARABEDIAN: Objection.                   1          MR. GARABEDIAN: Objection.
   2      A. What it means.                               2      A. Yeah, he was there.
   3   BY MR. KERRIGAN:                                   3   BY MR. KERRIGAN:
   4      Q. What does it mean to you?                    4      Q. Which portion of the project did Frito
   5      A. If one person did me wrong, make him         5   go to?
   6   pay for what he did to me, make him see that       6      A. What?
   7   what he did was not good.                          7      Q. Did Frito attend Carenage? Yes or no.
   8      Q. Mr. Joseph, did you help anyone get in       8      A. He was at Carenage and at 13th Street.
   9   touch with an attorney to bring a case against     9      Q. How about the Village?
  10   Doug Perlitz or PPT?                              10          MR. GARABEDIAN: Objection.
  11         MR. GARABEDIAN: Objection. I                11   BY MR. KERRIGAN:
  12   instruct him not to answer as to                  12      Q. Was Frito at the Village?
  13   attorney/client -- with regard to                 13          MR. GARABEDIAN: Objection.
  14   attorney/client communications.                   14      A. Yes.
  15         MR. KERRIGAN: It's a yes or no              15   BY MR. KERRIGAN:
  16   question.                                         16      Q. Mr. Joseph, do you understand a little
  17         MR. GARABEDIAN: You can answer yes or       17   bit of English?
  18   no, but you can't discuss any attorney/client     18          MR. GARABEDIAN: Objection.
  19   conversations.                                    19      A. Just a bit.
  20      A. Yes.                                        20   BY MR. KERRIGAN:
  21   BY MR. KERRIGAN:                                  21      Q. Where did you learn your English?
  22      Q. Who did you help?                           22      A. Where?
  23      A. Frito.                                      23      Q. Yes.
  24      Q. Does Frito have another name?               24      A. There are friends who were deported
  25      A. Frito, Frito. I don't remember his          25   who speak English in front of me. They were


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   1    abroad, and they were deported.                    1   free, but they didn't -- I didn't have money.
   2      Q. Were you ever taught English at               2      Q. When you went to the Justinian
   3    school?                                            3   Hospital, Mr. Joseph, that had nothing to do
   4      A. No.                                           4   with Douglas Perlitz's abuse, correct?
   5      Q. Mr. Joseph, have you ever heard the           5      A. Yeah, I wanted to go check if it was
   6    word Jesuit before?                                6   that that made me the way I am.
   7      A. No.                                           7      Q. You said your body felt hot, right?
   8      Q. Have you ever been to the Justinian           8      A. Yes.
   9    Hospital?                                          9      Q. That has nothing to do with Doug
  10      A. Yes.                                         10   Perlitz's abuse, right?
  11      Q. How many times have you been to the          11          MR. GARABEDIAN: Objection.
  12    Justinian Hospital?                               12      A. What?
  13           MR. GARABEDIAN: Objection.                 13   BY MR. KERRIGAN:
  14      A. Just once.                                   14      Q. Your body being hot has nothing to do
  15    BY MR. KERRIGAN:                                  15   with the abuse that you claim that you sustained
  16      Q. When was that?                               16   from Doug Perlitz, right?
  17      A. I don't know.                                17          MR. GARABEDIAN: Objection.
  18      Q. Was it after PPT closed?                     18      A. I don't know. Just a doctor knows.
  19      A. Yes.                                         19   BY MR. KERRIGAN:
  20      Q. Why did you go to Justinian Hospital?        20      Q. And the doctor never told you that?
  21      A. I just didn't feel well, and I just          21      A. Yeah, because I didn't have any money
  22    went to the hospital.                             22   to consult.
  23      Q. What was wrong with you?                     23      Q. Mr. Joseph, I want you to think back
  24      A. I didn't feel well.                          24   to Doug Perlitz's office in the Village. Okay?
  25      Q. Did you have a fever?                        25      A. What?

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   1      A. Yes. My body was hot.                         1      Q. I want you to think back to Doug
   2      Q. Did you receive any treatment at              2   Perlitz's office in the Village.
   3    Justinian Hospital?                                3      A. Why?
   4      A. No.                                           4      Q. Because I'm going to ask you a
   5      Q. Did you sign any paperwork for                5   question or two about it.
   6    Justinian Hospital?                                6      A. On this?
   7      A. I don't remember.                             7      Q. Right. I want you to picture in your
   8      Q. Did you see a doctor?                         8   mind what Doug Perlitz's office at the Village
   9      A. Yes.                                          9   looked like.
  10      Q. What did the doctor say was wrong?           10      A. If -- can I imagine it?
  11      A. What did he -- they tell me?                 11      Q. Yes. I want you to imagine it and
  12      Q. Correct.                                     12   just tell me when you're imagining it.
  13      A. He didn't tell me anything. I didn't         13          MR. GARABEDIAN: Objection.
  14    consult. I didn't consult.                        14      A. I don't understand.
  15      Q. Did anyone go with you to the hospital       15   BY MR. KERRIGAN:
  16    on that occasion?                                 16      Q. Okay. You said earlier that Doug
  17      A. No.                                          17   Perlitz's office had a window, right?
  18      Q. Did you talk to any nurses at the            18      A. Yes.
  19    hospital?                                         19      Q. Were there bars on the window?
  20      A. Yes.                                         20      A. If there were bars?
  21      Q. Did the nurses tell you anything was         21      Q. Right.
  22    wrong with you?                                   22      A. What do you mean "bars"?
  23      A. They didn't consult me because when I        23      Q. Bars like metal bars.
  24    went, I didn't have money. Since it was a state   24          MR. GARABEDIAN: Objection.
  25    hospital, I thought I could be cared for for      25      A. No.


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   1   BY MR. KERRIGAN:                                     1   would be a doctor.
   2     Q. Was there a screen on the window?               2      Q. And did a doctor ever tell you that?
   3         MR. GARABEDIAN: Objection.                     3      A. No. I didn't go to the hospital.
   4     A. What is a screen?                               4      Q. How much money would you need to earn,
   5   BY MR. KERRIGAN:                                     5   Mr. Joseph, in order to get your own house to
   6     Q. Was there any covering over the                 6   rent in Cap-Haïtien?
   7   window?                                              7          MR. GARABEDIAN: Objection.
   8      A. A window?                                      8      A. I don't know.
   9     Q. Was there a covering over the window?           9   BY MR. KERRIGAN:
  10         MR. GARABEDIAN: Objection.                    10      Q. How much money would you need to earn
  11      A. I don't understand.                           11   in order to live comfortably in Cap-Haïtien?
  12   BY MR. KERRIGAN:                                    12          MR. GARABEDIAN: Objection.
  13     Q. Was there glass on the window?                 13      A. I don't know.
  14         MR. GARABEDIAN: Was there glass on            14   BY MR. KERRIGAN:
  15   the window?                                         15      Q. If you could earn any amount of money
  16         Objection.                                    16   for work, what would that amount be?
  17     A. Aluminum window, you open them inside,         17          MR. GARABEDIAN: Objection.
  18   and the window was not closed.                      18      A. What?
  19   BY MR. KERRIGAN:                                    19   BY MR. KERRIGAN:
  20      Q. And the window was made of glass?             20      Q. If you could earn any amount of money
  21         MR. GARABEDIAN: Objection.                    21   for work, what would that amount be?
  22      A. No.                                           22          MR. GARABEDIAN: Objection.
  23   BY MR. KERRIGAN:                                    23      A. If I had work, and they asked me what
  24     Q. What was the window made of?                   24   wages I want?
  25     A. Aluminum window.                               25   BY MR. KERRIGAN:


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   1      Q. What color was the inside of Doug              1      Q. Correct.
   2    Perlitz's office?                                   2      A. I would like to know what wages I
   3      A. Inside and outside, just one color.            3   would earn from work?
   4      Q. What was that color?                           4      Q. Yes. What would you ask for?
   5      A. White.                                         5          MR. GARABEDIAN: Objection.
   6      Q. Were there any cabinets in the office?         6      A. How much I would ask to earn at work?
   7      A. Just a table.                                  7   BY MR. KERRIGAN:
   8      Q. Were there any papers in the office?           8      Q. Yes.
   9      A. I don't know.                                  9          MR. GARABEDIAN: Objection.
  10      Q. Were there any books in the office?           10      A. I don't know. I don't know. They
  11      A. I don't know.                                 11   will give me the money I earn for the work I do.
  12      Q. Have you been to any other hospitals          12   BY MR. KERRIGAN:
  13    apart from the Justinian Hospital?                 13      Q. And how much money would you ask for?
  14      A. No.                                           14          MR. GARABEDIAN: Objection.
  15      Q. Have you ever been diagnosed or told          15      A. I don't know. The money I deserve,
  16    that you have any kind of an illness or disease?   16   and they will give me the money I deserve for
  17           MR. GARABEDIAN: Objection.                  17   the work I do.
  18      A. What?                                         18   BY MR. KERRIGAN:
  19    BY MR. KERRIGAN:                                   19     Q. So you would not know how much to ask
  20      Q. Have you ever been told that you have         20   for?
  21    an illness or a disease?                           21          MR. GARABEDIAN: Objection.
  22      A. Who should have told me that?                 22      A. I don't know.
  23      Q. I'm asking if anyone ever told you            23   BY MR. KERRIGAN:
  24    that.                                              24      Q. You don't understand the question, or
  25      A. The only person who could have told me        25   you don't know the answer?


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   1          MR. GARABEDIAN: Objection.                   1     Q. Do you know what the Haiti Fund,
   2       A. I don't know the answer.                     2   Incorporated is?
   3    BY MR. KERRIGAN:                                   3     A. No.
   4       Q. Do you know how much a mason in              4     Q. Never heard of that name before?
   5    Cap-Haïtien makes?                                 5     A. No.
   6          MR. GARABEDIAN: Objection.                   6     Q. Do you know what the Order of Malta
   7       A. I don't know. I don't know.                  7   American Association is?
   8    BY MR. KERRIGAN:                                   8     A. No.
   9       Q. How much does a tailor in Cap-Haïtien        9     Q. You've never heard that name before?
  10    make?                                             10     A. No, no.
  11          MR. GARABEDIAN: Objection.                  11     Q. All right. I have no further
  12       A. I don't know.                               12   questions. Thank you.
  13    BY MR. KERRIGAN:                                  13     A. Okay.
  14       Q. Mr. Joseph, have you understood the         14   BY MR. KENNEDY:
  15    questions that I've asked you?                    15     Q. Now, Mr. Joseph, my name is Jeff
  16       A. Of course I understand. I answered.         16   Kennedy, I represent Hope Carter.
  17       Q. And when you didn't understand, you         17         Sir, before you came here today, did
  18    told me, correct?                                 18   you meet with Cyrus Sibert?
  19          MR. GARABEDIAN: Objection.                  19     A. Yes.
  20       A. Yes.                                        20     Q. When did you meet with him, sir?
  21    BY MR. KERRIGAN:                                  21     A. In the car, or bus.
  22       Q. Is there anything you'd like to change      22     Q. Did he travel with you here to the
  23    about the answers you've given to me?             23   deposition?
  24       A. No.                                         24     A. Yeah, we went inside the same car.
  25       Q. Have you answered my questions              25     Q. Okay. So you drove -- did Cyrus drive

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   1   completely?                                         1   you here to the deposition?
   2      A. If I have an answer for all?                  2      A. Yeah, we came together.
   3      Q. I'm asking if you've answered my              3      Q. Okay. Who else came with you, sir?
   4   questions completely.                               4      A. There are two other guys that came
   5          MR. GARABEDIAN: Objection.                   5   with us.
   6      A. Yes.                                          6      Q. Okay. And did Cyrus drive a car here
   7   BY MR. KERRIGAN:                                    7   from Haiti?
   8      Q. Okay. Thank you very much.                    8      A. We boarded the same Caribbean Tour.
   9      A. Me, too.                                      9      Q. Is that a bus, sir?
  10         MR. KERRIGAN: Off the record, I              10      A. Caribbean Tour.
  11   suppose.                                           11      Q. Caribbean Tour. Thank you.
  12          THE VIDEOGRAPHER: Going off the             12         And Cyrus was on the Caribbean Tour
  13   record. The time is 5:39.                          13   with you?
  14         (Whereupon, a recess was taken.)             14      A. Yes.
  15          THE VIDEOGRAPHER: Back on the record.       15      Q. Okay. Did you take the Caribbean Tour
  16   The time is 5:41.                                  16   bus from Haiti to the Dominican Republic, sir?
  17         THE INTERPRETER: This sheet, I'd like        17      A. Yes.
  18   to take care of it.                                18      Q. Okay. And when did you do that, sir?
  19   BY MR. BABBITT:                                    19      A. When?
  20      Q. Good afternoon, my name is Bradford          20      Q. Yes, sir.
  21   Babbitt, I represent the Order of Malta American   21      A. This Saturday.
  22   Association.                                       22      Q. This Saturday.
  23          Do you know what the Haiti Fund,            23         Okay. And you said there were two
  24   Incorporated is?                                   24   other gentlemen with you, sir?
  25      A. What?                                        25      A. Yes.


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   1       Q. Did you know those two other                1     Q. Sir, have you told Cyrus what
   2    gentlemen, sir?                                   2   Mr. Perlitz did to you, sir?
   3       A. Yes.                                        3         MR. GARABEDIAN: Objection.
   4       Q. Okay. And who were those two                4     A. I told him I was a victim.
   5    gentlemen, sir?                                   5   BY MR. KENNEDY:
   6       A. Jamesly, Geffrard.                          6     Q. But did you tell him specifically what
   7       Q. And did you know Jamesly and Geffrard       7   acts Mr. Perlitz did to you, sir?
   8    before you took the bus, sir?                     8         MR. GARABEDIAN: Objection.
   9       A. No.                                         9     A. No.
  10       Q. And did the four of you all sit            10   BY MR. KENNEDY:
  11    together on the bus, sir?                        11     Q. You've never told him specifically
  12           MR. GARABEDIAN: Objection.                12   what Mr. Perlitz did to you, sir?
  13       A. Yeah, we were sitting on the benches.      13     A. No.
  14    BY MR. KENNEDY:                                  14     Q. Sir, how many times have you met with
  15       Q. Okay. And how long was the bus ride,       15   Cyrus?
  16    sir?                                             16     A. I don't remember.
  17       A. I don't remember.                          17     Q. Is it more than twice, sir?
  18       Q. Okay. And did Cyrus pay for your bus       18     A. I don't remember.
  19    ticket, sir?                                     19     Q. Sir, are you aware other alleged
  20       A. If Cyrus paid it?                          20   victims have had their depositions taken in this
  21       Q. Yes.                                       21   lawsuit?
  22       A. Yes.                                       22         MR. GARABEDIAN: Objection.
  23       Q. And did Cyrus come to the hotel with       23   BY MR. KENNEDY:
  24    you, sir?                                        24     Q. Fair enough. Let me rephrase.
  25       A. Yes.                                       25         Sir, are you aware that other

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   1       Q. Okay. Is he staying at the -- he's          1   Plaintiffs have given depositions?
   2    staying at the same hotel you are, sir?           2          MR. GARABEDIAN: Objection.
   3           MR. GARABEDIAN: Objection.                 3      A. I don't know.
   4       A. No.                                         4          MR. KENNEDY: I don't think I have
   5    BY MR. KENNEDY:                                   5   anything further. Thank you very much for your
   6       Q. Okay. He's staying at a different           6   time, sir.
   7    hotel?                                            7          MR. GARABEDIAN: That's it?
   8           MR. GARABEDIAN: Objection.                 8          THE VIDEOGRAPHER: Going off the
   9       A. I don't remember in which hotel he is.      9   record. This concludes the May 19th, 2015
  10    BY MR. KENNEDY:                                  10   deposition, and the time is 5:50.
  11       Q. Okay. Now, during the bus ride, did        11          (Whereupon, the deposition was
  12    you discuss this lawsuit with Cyrus?             12          concluded.)
  13           MR. GARABEDIAN: Objection.                13
  14       A. No.                                        14
  15    BY MR. KENNEDY:                                  15
  16       Q. During the bus ride, did you discuss       16
  17    the lawsuit with the other two gentlemen, sir?   17
  18           MR. GARABEDIAN: Objection.                18
  19       A. No, no.                                    19
  20    BY MR. KENNEDY:                                  20
  21       Q. Okay. Now, since you've been in the        21
  22    Dominican Republic, have you met with Cyrus?     22
  23           MR. GARABEDIAN: Objection.                23
  24       A. No.                                        24
  25    BY MR. KENNEDY:                                  25


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   1          CERTIFICATE                                  1           ------
   2          I, MAUREEN O'CONNOR POLLARD, LSR #473,                   ERRATA
   3   RMR, CLR, and Notary Public in and for the State    2           ------
   4   of Connecticut, do hereby certify that there        3   PAGE LINE CHANGE
   5   came before me on the 19th day of May, 2015, the    4   ____ ____ _________________________________
   6   person hereinbefore named, who was duly sworn to    5     REASON: __________________________________
   7   testify to the truth of their knowledge             6   ___ ____ __________________________________
   8   concerning the matters in this cause, and their     7     REASON: __________________________________
   9   examination reduced to typewriting under my         8   ____ ____ _________________________________
  10   direction and is a true record of the testimony.
                                                           9     REASON: __________________________________
                                                          10   ____ ____ _________________________________
  11          I further certify that I am neither
                                                          11     REASON: __________________________________
  12   attorney for or related or employed by any of
                                                          12   ____ ____ _________________________________
  13   the parties to the action, and that I am not a
                                                          13     REASON: __________________________________
  14   relative or employee of any attorney or counsel
                                                          14   ____ ____ _________________________________
  15   employed by the parties hereto or financially
                                                          15     REASON: _________________________________
  16   interested in the action.                          16   ____ ____ _________________________________
  17          In witness whereof, I have hereunto         17     REASON: _________________________________
  18   set my hand and seal this 24th day of May, 2015.   18   ____ ____ _________________________________
  19                                                      19     REASON: _________________________________
  20     ________________________________________         20   ____ ____ _________________________________
  21     MAUREEN O'CONNOR POLLARD, License #473           21     REASON: _________________________________
  22     Realtime Systems Administrator, RMR              22   ____ ____ _________________________________
  23     Notary Commission Expires: 10/31/2017            23     REASON: _________________________________
  24                                                      24   ____ ____ _________________________________
  25                                                      25


                                          Page 227                                                   Page 229
   1          INSTRUCTIONS TO WITNESS                      1         ACKNOWLEDGMENT OF DEPONENT
   2                                                       2
                                                           3             I, __________________________, do
   3              Please read your deposition over             Hereby certify that I have read the foregoing
   4    carefully and make any necessary corrections.      4   pages, and that the same is a correct
   5    You should state the reason in the appropriate         transcription of the answers given by me to the
   6    space on the errata sheet for any corrections      5   questions therein propounded, except for the
                                                               corrections or changes in form or substance, if
   7    that are made.                                     6   any, noted in the attached Errata Sheet.
   8              After doing so, please sign the          7
   9    errata sheet and date it. It will be attached      8   _________________________________
  10    to your deposition.                                    JASMIN JOSEPH          DATE
                                                           9
  11              It is imperative that you return        10
  12    the original errata sheet to the deposing         11
  13    attorney within thirty (30) days of receipt of    12
  14    the deposition transcript by you. If you fail     13
                                                          14
  15    to do so, the deposition transcript may be
                                                          15   Subscribed and sworn
  16    deemed to be accurate and may be used in court.        To before me this
  17                                                      16   ______ day of _________________, 20____.
  18                                                      17   My commission expires: ________________
  19                                                      18
                                                               _______________________________________
  20                                                      19   Notary Public
  21                                                      20
  22                                                      21
  23                                                      22
                                                          23
  24                                                      24
  25                                                      25


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                  UNITED STATES DISTRICT COURT
                  DISTRICT OF CONNECTICUT
                                       Civil Action No.
                                       3:13-cv-01132(RNC)
        ****************************
        GERVIL ST. LOUIS, a/k/a ST.    Consolidated with:
        LOUIS GERVIL,                  3:13-cv-1225-RNC
                                       3:13-cv-1269-RNC
                       Plaintiff,      3:13-cv-1437-RNC
                                       3:13-cv-1480-RNC
             v.                        3:13-cv-1626-RNC
                                       3:13-cv-1627-RNC
        DOUGLAS PERLITZ, FATHER        3:13-cv-1628-RNC
        PAUL E. CARRIER, S.J.; HOPE    3:13-cv-1629-RNC
        E. CARTER; HAITI FUND,         3:13-cv-1630-RNC
        INC.; FAIRFIELD UNIVERSITY;    3:13-cv-1631-RNC
        THE SOCIETY OF JESUS OF NEW    3:13-cv-1632-RNC
        ENGLAND; SOVEREIGN MILITARY    3:13-cv-1633-RNC
        HOSPITALLER ORDER OF ST.       3:13-cv-1634-RNC
        JOHN OF JERUSALEM OF RHODES    3:13-cv-1635-RNC
        AND OF MALTA, AMERICAN         3:13-cv-1636-RNC
        ASSOCIATION, U.S.A.; a/k/a     3:13-cv-1637-RNC
        ORDER OF MALTA, AMERICAN       3:13-cv-1638-RNC
        ASSOCIATION, U.S.A.; JOHN      3:13-cv-1639-RNC
        DOE ONE; JOHN DOE TWO; JOHN    3:13-cv-1640-RNC
        DOE THREE; JOHN DOE FOUR;      3:13-cv-1641-RNC
        JOHN DOE FIVE; JOHN DOE SIX    3:13-cv-1642-RNC
        and JOHN DOE SEVEN,            3:13-cv-1644-RNC
                                       3:13-cv-1645-RNC
                       Defendants.     3:13-cv-1647-RNC
                                       3:13-cv-1648-RNC
                                       3:13-cv-1701-RNC
                                       3:13-cv-1767-RNC
                                       3:13-cv-1768-RNC
                                       3:13-cv-1769-RNC
                                       3:13-cv-1881-RNC
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                                       3:13-cv-1906-RNC
                                       3:13-cv-1907-RNC
        ******************************
        This document applies to:
        All of the above referenced cases
        And those to be filed
        ******************************
        CONFIDENTIAL - SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
             VIDEOTAPED DEPOSITION OF WADSON DORCINE

                   Wednesday, September 30th, 2015
                          9:14 a.m.

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   1     VIDEOTAPED DEPOSITION OF WADSON DORCINE               1   APPEARANCES (Continued):
   2                                                           2
   3                                                           3   FOR THE DEFENDANT HOPE E. CARTER:
       Held At:                                                4     JEFFREY W. KENNEDY, ESQ.
   4                                                           5        MILANO & WANAT LLC
   5     Barcelo Puerto Plata                                  6        471 East Main Street
   6     Carretera Luperón, km 5, Puerto Plata 547             7        Branford, Connecticut 06405
   7     Dominican Republic                                    8        203-315-7000
   8                                                           9        jkennedy@mwllc.us
   9
                                                              10
  10   REPORTED BY:
                                                              11   FOR THE DEFENDANT ORDER OF MALTA AMERICAN
  11   Maureen O'Connor Pollard, RMR, CLR, LSR #473
                                                              12   ASSOCIATION, U.S.A.:
  12   Realtime Systems Administrator
                                                              13     BRADFORD S. BABBITT, ESQ.
  13
                                                              14        ROBINSON & COLE LLP
  14
                                                              15        280 Trumbull Street
  15
                                                              16        Hartford, Connecticut 06103
  16
  17
                                                              17        860-275-8200
  18                                                          18        bbabbitt@rc.com
  19                                                          19
  20                                                          20
  21                                                          21
  22                                                          22
  23                                                          23
  24                                                          24
  25                                                          25


                                                     Page 3                                                Page 5
   1   APPEARANCES:                                            1   APPEARANCES (Continued):
   2   FOR THE PLAINTIFF:                                      2
   3     MITCHELL GARABEDIAN, ESQ.                             3   FOR THE DEFENDANT FAIRFIELD UNIVERSITY:
   4     LU XIA, ESQ.                                          4     JOHN W. CERRETA, ESQ.
   5       LAW OFFICES OF MITCHELL GARABEDIAN                  5       DAY PITNEY LLP
   6        100 State Street, Sixth Floor                      6       242 Trumbull Street
   7        Boston, Massachusetts 02109                        7       Hartford, Connecticut 06103
   8        617-523-6250                                       8       860-275-0100
   9        garabedianlaw@earthlink.com                        9       jcerreta@daypitney.com
  10       lxia@garabedianlaw.com                             10
  11           -and-                                          11   FOR THE DEFENDANT THE SOCIETY OF JESUS OF
  12     JO ANNA POLLOCK, ESQ.                                12   NEW ENGLAND:
  13        SIMMONS HANLY CONROY                              13     MICHAEL KERRIGAN, ESQ.
  14        One Court Street                                  14       SLOANE AND WALSH, LLP
  15        Alton, Illinois 62002                             15       Three Center Plaza, SUite 830
  16       jpollock@simmonsfirm.com                           16       Boston, Massachusetts 02108
  17                                                          17       617-523-6010
  18   FOR THE DEFENDANT PAUL E. CARRIER, S.J.:               18       mkerrigan@sloanewalsh.com
  19     AARON D. ROSENBERG, ESQ.                             19
  20       MURPHY & KING                                      20   Videographer: Christopher Coughlin
  21       One Beacon Street, Twenty First Floor              21
  22       Boston, Massachusetts 02108                        22   Interpreter: Philippe Chamy
  23       617-423-0400                                       23
  24       arosenberg@murphyking.com                          24   Also Present:
  25                                                          25   Jean Elyseé Pierre Louis, Interpreter


                                                                                       2 (Pages 2 to 5)
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   1          INDEX                                       1          MR. KENNEDY: Good morning. I'm Jeff
   2    EXAMINATION                           PAGE        2   Kennedy, I represent Hope Carter.
   3    WADSON DORCINE                                    3          MR. GARABEDIAN: Good morning.
   4    BY MR. BABBITT                         9          4   Mitchell Garabedian, I represent all Plaintiffs
   5    BY MR. KERRIGAN                         154       5   in the St. Louis matter, including Wadson
   6    BY MR. ROSENBERG                         172      6   Dorciné.
   7    BY MR. CERRETA                         173        7          THE INTERPRETER: Did you want to
   8    BY MR. KENNEDY                          175       8   swear me in?
   9                                                      9          MS. POLLOCK: Good morning. My name
  10                                                     10   is Jo Anna Pollock, and I also represent the
  11        EXHIBITS                                     11   Plaintiffs.
  12    NO.      DESCRIPTION                      PAGE   12          MS. XIA: Good morning, Lu Xia
  13    1 Plaintiff Wadson Dorcine's                     13   representing Plaintiffs.
          Response to Certain Defendants'                14          THE VIDEOGRAPHER: The court reporter
  14      First Set of Interrogatories......... 12
                                                         15   is Maureen Pollard, and she will now swear in
  15
  16
                                                         16   the witness and the interpreter.
                                                         17
  17
  18                                                     18          PHILIPPE CHAMY,
  19                                                     19   having been duly sworn to translate the
  20                                                     20   questions and answers to the best of his
  21                                                     21   ability, translated as follows:
  22                                                     22
  23                                                     23           WADSON DORCINE,
  24                                                     24   having been first duly sworn, was examined and
  25                                                     25   testified as follows through the interpreter:


                                             Page 7                                                      Page 9
   1        PROCEEDINGS                                   1         THE VIDEOGRAPHER: Please begin.
   2                                                      2         MR. BABBITT: Thank you.
   3          THE VIDEOGRAPHER: We are now on the         3         Before we get started, Counsel, will
   4   record. My name is Chris Coughlin, I'm a           4   you reserve -- we're going to reserve all
   5   videographer for Golkow Technologies. Today's      5   objections except as to form?
   6   date is September 30, 2015, and the time is        6         MS. POLLOCK: Sure.
   7   9:14 a.m..                                         7         MR. BABBITT: You want 60 days to read
   8          This video deposition is being held in      8   and sign?
   9   Puerto Plata, Dominican Republic, in the matter    9         MS. POLLOCK: Yes, please.
  10   of Gervil St. Lewis versus Douglas Perlitz, et    10         MR. BABBITT: We're waiving
  11   al, for the United States District Court,         11   notarization?
  12   District of Connecticut.                          12         MS. POLLOCK: Yes.
  13          The deponent is Wadson Dorciné.            13         DIRECT EXAMINATION
  14          Will counsel please identify               14   BY MR. BABBITT:
  15   yourselves for the record.                        15      Q. Good morning again, sir. I'm Brad
  16          MR. BABBITT: Good morning. I'm             16   Babbitt. Can you tell me what your full name
  17   Bradford Babbitt, I represent the American        17   is?
  18   Association of the Order of Malta.                18      A. My name is Wadson Dorciné.
  19          MR. KERRIGAN: Good morning,                19      Q. Is that spelled D-O-R-C-I-N-E?
  20   Mr. Dorciné. My name is Michael Kerrigan, and I   20      A. Yes.
  21   represent the Society of Jesus of New England.    21      Q. Thank you.
  22          MR. ROSENBERG: Good morning. Aaron         22         Do you go by any other nicknames?
  23   Rosenberg, I represent Father Paul Carrier.       23      A. No.
  24          MR. CERRETA: Good morning. John            24      Q. Do you know any other names that
  25   Cerreta representing Fairfield University.        25   people use to refer to you?


                                                                               3 (Pages 6 to 9)
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   1      A.    No.                                        1      A. I have every reason to tell the truth
   2      Q.    What is your date of birth?                2   today.
   3      A.    November 20, 1992.                         3      Q. And do you know of any reason you
   4      Q.    Thank you.                                 4   could not tell the truth today?
   5           Do you understand English?                  5      A. No.
   6       A. No.                                          6      Q. Thank you.
   7       Q. Do you speak Creole?                         7          I've put before you what I've marked
   8       A. Yes.                                         8   as Exhibit 1 in this case.
   9       Q. Do you read Creole?                          9          (Whereupon, Dorciné Exhibit Number 1,
  10       A. No.                                         10          Plaintiff Wadson Dorcine's Response to
  11       Q. Do you write Creole?                        11          Certain Defendants' First Set of
  12       A. No.                                         12          Interrogatories, was marked for
  13       Q. You understand that you've just taken       13          identification.)
  14    an oath to tell the truth?                        14   BY MR. BABBITT:
  15       A. Yes.                                        15      Q. Please take a look at it. And I'll
  16       Q. You swore to tell the truth before          16   state for the record the first portion is in
  17    God?                                              17   English, and then the Creole translation, or
  18       A. Yes.                                        18   maybe it's an English translation is first and
  19       Q. Do you believe in God?                      19   then the Creole appears behind it.
  20       A. Yes.                                        20          (Witness reviewing document.)
  21       Q. I'm going to ask you questions this         21   BY MR. BABBITT:
  22    morning.                                          22      Q. Have you had a chance to review
  23       A. Okay.                                       23   Exhibit 1?
  24       Q. And I need to get accurate and              24      A. Could you please repeat what you said?
  25    truthful answers. Okay?                           25      Q. Have you had a chance to review

                                           Page 11                                                Page 13
   1      A. Yes.                                          1   Exhibit 1?
   2      Q. The other lawyers sitting to my right         2      A. Yes.
   3   will also be asking you questions. They will        3      Q. Please take a look at the last page of
   4   also need to have you provide truthful and          4   Exhibit 1. Do you recognize your signature on
   5   accurate answers.                                   5   Exhibit 1?
   6          Please tell me if any of my questions        6      A. Yes.
   7   are confusing or unclear. Please don't answer a     7      Q. You signed that page?
   8   question unless you understand it.                  8      A. Yes.
   9          Are you having any difficulty                9      Q. Where were you when you signed the
  10   understanding our interpreter?                     10   page?
  11      A. I don't yet know the interpreter. I          11      A. I was in a hotel.
  12   don't know whether well interpreting or not well   12      Q. What hotel?
  13   interpreting for me.                               13      A. I don't remember which one.
  14      Q. Have you understood everything the           14      Q. What city was the hotel in?
  15   interpreter said to you in Creole so far today?    15      A. Cap-Haïtien.
  16      A. Yes.                                         16      Q. Is Cap-Haïtien where you lived at the
  17      Q. Okay. Have you taken any medicine            17   time you signed this document?
  18   today?                                             18      A. Yes.
  19      A. No.                                          19      Q. You've lived in Cap-Haïtien for most
  20      Q. Have you taken any drugs today?              20   of your life?
  21      A. No. I don't take drugs.                      21      A. Almost all my life.
  22      Q. Have you drunk any alcohol today?            22      Q. Where in Cap-Haïtien was this hotel?
  23      A. No.                                          23      A. I couldn't give you the address.
  24      Q. Do you know of any reason you cannot         24      Q. What neighborhood was it in?
  25   today give truthful and accurate testimony?        25      A. In downtown.


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   1       Q. Please keep your voice up so the          1      Q. Before you signed Exhibit 1, did you
   2    interpreter can hear you.                       2   understand what information was contained in it?
   3          Had you ever seen the hotel before you    3      A. Yes.
   4    went there to sign this document?               4      Q. And when you signed Exhibit 1 on that
   5       A. No.                                       5   last page, were you verifying that the
   6       Q. Where in the hotel were you when you      6   information contained in Exhibit 1 was true?
   7    signed the document?                            7      A. Yes.
   8       A. In a room.                                8      Q. As you sit here today, do you believe
   9       Q. What room?                                9   the information contained in Exhibit 1 is still
  10       A. I don't know.                            10   true?
  11       Q. Was it a bedroom? Was there a bed in     11      A. Yes.
  12    the room?                                      12      Q. When was the last time you talked to
  13       A. No.                                      13   Margarette Joseph?
  14       Q. Was it a public room, like a             14      A. I don't remember.
  15    restaurant?                                    15      Q. Have you spoken with her since PPT
  16       A. No.                                      16   closed?
  17       Q. Who else was in the room when you        17      A. I don't remember.
  18    signed it?                                     18      Q. Have you seen her since PPT closed?
  19       A. I had -- there were several companions   19      A. No.
  20    with me.                                       20      Q. Where does she live?
  21       Q. Who?                                     21      A. I don't know.
  22       A. My lawyer.                               22      Q. When did you last speak to Cyrus
  23       Q. Who else?                                23   Sibert?
  24       A. No one else.                             24      A. I don't remember the last time.
  25       Q. And when you say your lawyer, was        25      Q. Have you seen him at this hotel since


                                         Page 15                                                 Page 17
   1    Mr. Mitch in the room?                          1   you've been here?
   2       A. Yes.                                      2      A. Yes.
   3       Q. Any other lawyers?                        3      Q. Did you see him yesterday?
   4       A. All my lawyers.                           4      A. No.
   5       Q. Anyone other than your lawyers?           5      Q. Did you see him this morning?
   6       A. No.                                       6      A. No.
   7       Q. Did you put the date on the page          7      Q. When was the last time you saw him
   8    that's the last page of Exhibit 1?              8   here at this hotel?
   9       A. Yes.                                      9          MS. POLLOCK: Objection. Asked and
  10       Q. Was Cyrus Sibert with you when you       10   answered.
  11    signed the document?                           11      A. Last time I saw him was when we came
  12       A. No.                                      12   to the hotel on Saturday.
  13       Q. How about Margarette Joseph, was she     13   BY MR. BABBITT:
  14    there?                                         14      Q. He travelled with you to the hotel?
  15       A. No.                                      15      A. Yes.
  16       Q. How about Matthew, was he there?         16      Q. Did he buy your ticket?
  17       A. No.                                      17      A. Yes.
  18       Q. How about Jean Gary, was he there?       18      Q. Did you talk to him about this
  19       A. No.                                      19   deposition?
  20       Q. When you signed Exhibit 1 -- let me      20      A. No.
  21    start again.                                   21      Q. Did you talk to him about why you were
  22            Did you read Exhibit 1 before you      22   coming to this hotel?
  23    signed it?                                     23      A. No.
  24       A. No. I looked at it, and since I don't    24          MS. POLLOCK: I've got to object, and
  25    know how to read, a person read it for me.     25   instruct the witness not to disclose any


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   1   communications that would have been provided        1       A. No.
   2   from your lawyer to you.                            2       Q. Did you talk with Brismac about coming
   3          Can you interpret that?                      3   to this hotel?
   4          THE INTERPRETER: Can you repeat for          4       A. No.
   5   me?                                                 5       Q. Did you talk with Claude about coming
   6          MS. POLLOCK: Sure. I'm going to              6   to this hotel?
   7   object and instruct the witness not to disclose     7       A. No.
   8   any communications between his lawyers and him      8       Q. Did you talk with Claude about this
   9   on the basis of attorney/client privilege.          9   deposition?
  10      A. Okay.                                        10       A. No.
  11   BY MR. BABBITT:                                    11       Q. Did you talk with Claude about any
  12      Q. Did Cyrus tell you why he was buying         12   deposition?
  13   you a ticket to come here?                         13       A. No.
  14          MS. POLLOCK: Do you want me to just         14       Q. Did you talk with Brismac about any
  15   make -- keep saying same objection, or do you      15   deposition?
  16   want me to go through the whole --                 16       A. No.
  17          MR. BABBITT: I don't know whether he        17       Q. How many times have you been to the
  18   was translating for somebody else or whether any   18   Dominican Republic in your life?
  19   other lawyers were present at any time, so I       19       A. I've been one time to the Dominican
  20   don't know.                                        20   Republic. Twice I tried to come by going
  21          MS. POLLOCK: I understand.                  21   through the bushes, but I didn't end up doing
  22          MR. BABBITT: I get your objection.          22   it.
  23   I'm not asking for lawyer information, but I'm     23       Q. Did you tell anyone other than your
  24   asking to find out what Cyrus told him.            24   lawyers that you were coming here for this
  25          MS. POLLOCK: I understand. I                25   deposition?

                                           Page 19                                                Page 21
   1   understand.                                         1      A. No.
   2          So again, you can testify about              2      Q. Did you talk with anyone other than
   3   conversations that you had with Cyrus in            3   your lawyers about this deposition?
   4   general, but not about things that the lawyer       4      A. No.
   5   told Cyrus to tell you.                             5      Q. Do you have a phone?
   6      A. Okay.                                         6      A. No.
   7   BY MR. BABBITT:                                     7      Q. When did you last have a phone?
   8      Q. Did Cyrus tell you why he was buying          8      A. I had a telephone, and at one point it
   9   you a ticket to come here?                          9   got damaged, and I don't remember when it was
  10          MS. POLLOCK: Same objection.                10   damaged, and since then I don't have a phone.
  11          THE INTERPRETER: I will repeat from         11      Q. Do you send -- did you send -- when
  12   the record.                                        12   you had a phone, did you send text messages on
  13      A. No.                                          13   the phone?
  14   BY MR. BABBITT:                                    14      A. No.
  15      Q. Who else did you travel to this hotel        15      Q. Never did that?
  16   with?                                              16      A. No.
  17      A. I came, I travelled with Brisma, also        17          MS. POLLOCK: Objection. Asked and
  18   with Claude. I forget the other names. Cyrus       18   answered.
  19   Sibert.                                            19   BY MR. BABBITT:
  20      Q. Did you know Brismac Joseph from PPT?        20      Q. Did you ever send or receive e-mail on
  21      A. Yes.                                         21   your phone?
  22      Q. Did you know Claude from PPT?                22      A. No.
  23      A. Yes.                                         23      Q. Did you ever send or receive
  24      Q. Did you ask them -- did you ask              24   electronic mail or e-mail in any other way?
  25   Brismac Joseph why he was coming to this hotel?    25      A. No.


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   1       Q. Are you married?                          1      Q. Did she start working at the Village
   2       A. No.                                       2   after you attended Rue 13?
   3       Q. Have you ever been married?               3      A. Yes.
   4       A. No.                                       4      Q. Did she start working at the Village
   5       Q. Do you have any children?                 5   at the same time as you started attending the
   6       A. No.                                       6   Village?
   7       Q. Do you have a girlfriend?                 7      A. At the same time I was at the Village,
   8       A. No.                                       8   yes.
   9       Q. Have you ever had a girlfriend?           9      Q. Did she work every day at the Village?
  10       A. No.                                      10      A. No.
  11       Q. Where do you live today?                 11      Q. What days did she work at the Village?
  12       A. I live in Blue Hills.                    12      A. She used to work on Wednesdays, and
  13      Q. Blue Hills? Is that a neighborhood in     13   that's it.
  14    Cap-Haïtien?                                   14      Q. She only worked one day a week at the
  15       A. Yes.                                     15   Village?
  16      Q. How long have you lived in Blue Hills?    16      A. Yes.
  17       A. A lot of time. I don't remember.         17      Q. And what is your father's name?
  18      Q. Is the neighborhood of Blue Hills near    18      A. Jackilo Dorciné.
  19    the location of the Village that was part of   19      Q. And how old is he?
  20    PPT?                                           20      A. I don't know.
  21      A. It's the same neighborhood.               21      Q. Does he have a job?
  22      Q. Who lives with you in Blue Hills?         22      A. No.
  23       A. My parents.                              23      Q. Did he have a job?
  24       Q. What is your mother's name?              24      A. Yes.
  25       A. Vierge Marie Nelson.                     25      Q. What was his job?

                                         Page 23                                                Page 25
   1      Q.  How old is she?                           1      A. He was working in Pierre Toussaint.
   2      A.  I don't know.                             2      Q. What was his job in Pierre Toussaint?
   3      Q.  Does your mother have a job?              3      A. He used to tend the gardens, he was
   4      A.  No.                                       4   also a security guard, and he would do some
   5         THE INTERPRETER: For the court             5   washing -- watchman. He would be like a
   6   reporter, Vierge Marie like Virgin Maria.        6   security guard watching.
   7   BY MR. BABBITT:                                  7      Q. When did he work at PPT?
   8      Q. Has your mother ever had a job?            8      A. Every day.
   9      A. Yes.                                       9      Q. And how long did he work at PPT?
  10      Q. When did she have a job?                  10      A. A lot of time, because he was there
  11      A. The last time she had a job was at        11   right from the start of PPT all the way to the
  12   PPT, Pierre Toussaint.                          12   end.
  13      Q. What did she do at PPT?                   13      Q. When you say "the start of PPT," do
  14      A. She washed and ironed.                    14   you mean the start of the Village?
  15      Q. How long did she work at PPT?             15      A. Yes, the Village.
  16      A. I don't know. I don't remember.           16      Q. Do you remember what year the Village
  17      Q. Did she work at PPT while you were a      17   started?
  18   student there?                                  18      A. No.
  19      A. Yes.                                      19      Q. Did your father work at any other of
  20      Q. Was she work -- and when she worked at    20   the school -- any other portions or programs of
  21   PPT, did she work at the Village?               21   PPT other than the Village?
  22      A. Yes.                                      22      A. Just the Village.
  23      Q. Was she working at the Village when       23      Q. Did he -- did your father serve as the
  24   you were attending Rue 13?                      24   gatekeeper at the Village?
  25      A. No.                                       25      A. Yes.


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   1       Q. He was in charge of opening and               1   anymore?
   2    closing the gate when someone wanted to come        2      A. No.
   3    through the wall?                                   3      Q. Who lived in the house inside the
   4       A. Yes.                                          4   Village after your parents and you no longer
   5       Q. There was a large wall around the             5   lived there?
   6    Village, correct?                                   6      A. There was no one living in it. They
   7       A. Yes.                                          7   turned it into a schoolroom.
   8       Q. When your father worked at the                8      Q. The house you had been living in with
   9    Village, were you living in Blue Hills?             9   your mother and father was turned into a
  10       A. Yes.                                         10   schoolroom?
  11       Q. Did you ever live inside the Village?        11      A. Yes.
  12       A. Yes.                                         12      Q. And when you stopped living in the
  13       Q. Did your mother and father live with         13   Village with your parents, where did you go to
  14    you inside the Village?                            14   live?
  15       A. Yes.                                         15      A. I went to live in the same area in
  16       Q. Where in the Village did you live when       16   Blue Hills.
  17    you lived with your mother and father inside the   17      Q. What's the address of that place that
  18    Village?                                           18   you went to live in Blue Hills?
  19       A. It would be a little bit difficult for       19      A. I don't know. I don't have it.
  20    me to give you the exact location.                 20      Q. Do you still live in the same place?
  21       Q. Was there a house that you lived in          21      A. Yes.
  22    inside the Village with your mother and father?    22      Q. Before you moved -- before you started
  23       A. Yes.                                         23   living in the Village with your mother and
  24       Q. And did you live in that house               24   father, where were you living?
  25    throughout the time that your father worked at     25      A. St. Raphael.

                                            Page 27                                                Page 29
   1    the Village?                                        1      Q. Who did you live with in St. Raphael?
   2       A. No.                                           2      A. With my parents.
   3       Q. How long after your father started            3      Q. And when you left St. Raphael, you
   4    working at the Village did you start living in      4   went to live at the Village with your parents?
   5    the Village?                                        5      A. Yes.
   6       A. I couldn't tell you. I don't remember         6      Q. Did you ever live at the Village
   7    anymore.                                            7   with -- in the buildings with the other
   8       Q. Did you continue to live inside the           8   students, and not with your parents?
   9    Village with your mother and father until PPT       9      A. Yes, I was living as the children of
  10    closed?                                            10   the Village lived.
  11       A. No.                                          11      Q. When you say "children of the
  12       Q. When did you stop living inside the          12   Village," do you mean students of PPT?
  13    Village?                                           13      A. Yes.
  14       A. I can't give you the exact date. It's        14      Q. So you slept at night in a building
  15    Douglas that had thrown my parents out.            15   with other students?
  16       Q. Why did Douglas throw your parents           16      A. No.
  17    out?                                               17      Q. Where did you sleep at night when you
  18       A. It was his choice. He chose for them         18   were living as a children of the Village?
  19    no longer to live in the Village.                  19      A. At my parents' home.
  20       Q. Did your father continue working at          20      Q. So throughout the time that you lived
  21    the Village after Douglas did not want them to     21   at the Village, you lived with your parents in
  22    live there?                                        22   their home?
  23       A. Yes.                                         23      A. Yes.
  24       Q. Did Douglas ever say in your presence        24          THE INTERPRETER: The interpreter
  25    why he did not want your parents to live there     25   would like to make a comment.


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   1          There's an ambiguity with "living."           1   classroom, is that right?
   2   It doesn't necessarily mean sleeping. That's         2      A. He had thrown my parents out, but my
   3   why there was the confusion, in my opinion.          3   parents were still working in the Village.
   4          MR. BABBITT: Okay. Thank you. And             4      Q. And do you know if -- was it Douglas
   5   based on that, and I appreciate that.                5   Perlitz's decision to throw your parents out?
   6   BY MR. BABBITT:                                      6      A. Yes.
   7      Q. So throughout the time that you                7      Q. Did anybody else make that decision,
   8   lived --                                             8   to your knowledge?
   9          THE INTERPRETER: You can use that             9      A. I don't know.
  10   word.                                               10      Q. Did you live in Blue Hills before you
  11      Q. Throughout the time that your parents         11   started living in the Village with your parents?
  12   had a house inside the Village, did you sleep in    12      A. No.
  13   your parents' house at the Village?                 13      Q. So the first time you lived in Blue
  14      A. Yes.                                          14   Hills was after you were no longer living in the
  15      Q. How long did your parents have a house        15   Village with your parents?
  16   inside the Village before Douglas decided to        16      A. Yes.
  17   make it into a classroom?                           17      Q. Do you have any brothers?
  18      A. At a certain point in time while my           18      A. Yes.
  19   parents were living in the Village, they had        19      Q. What are their names?
  20   elsewhere the foundations of a house. And when      20      A. Wanderson Dorciné, Daniel Dorciné.
  21   Douglas asked them to leave, they went to live      21      Q. How old is Wanderson?
  22   on that foundation, and they used sheets to sort    22      A. I don't know.
  23   of create a shelter.                                23      Q. Is he older or younger than you?
  24      Q. Do you know how long your parents had         24      A. He's younger.
  25   a house inside the Village before Douglas           25      Q. Where does he live?

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   1    decided to make it into a classroom?                1      A. Blue Hills.
   2      A. No, I was too young to really recall           2      Q. Did he live with you and your mother
   3    the times.                                          3   when you were living at -- your mother and
   4      Q. When your father worked at the                 4   father when you were living at the Village?
   5    Village, was Doug Perlitz his boss?                 5      A. Yes.
   6      A. I didn't understand.                           6      Q. And does he still live with you and
   7      Q. When your father worked at the                 7   your mother and your father?
   8    Village, was Doug Perlitz in charge of the          8      A. Yes.
   9    Village?                                            9      Q. Is he married?
  10      A. I'm having trouble with understanding         10      A. No.
  11    the name. Are you speaking about Douglas           11      Q. Does he have any children?
  12    Perlitz?                                           12      A. No.
  13      Q. Yes, Douglas Perlitz.                         13      Q. Does he have a job?
  14      A. Yes. The answer is yes.                       14      A. No.
  15      Q. When your father worked at the                15      Q. Has he ever had a job?
  16    Village, Douglas Perlitz was in charge of the      16      A. No.
  17    Village?                                           17      Q. How about Daniel, how old is Daniel?
  18       A. Yes.                                         18      A. Six years old.
  19      Q. And when your mother worked at the            19      Q. And does he live with your mother and
  20    Village, was Douglas Perlitz in charge of the      20   your father and you?
  21    Village?                                           21      A. Yes.
  22       A. Yes.                                         22      Q. Do you have any sisters?
  23      Q. And I think you told us that Douglas          23      A. Yes.
  24    Perlitz decided at one point to change the house   24      Q. What are their names?
  25    that you were living in with your parents into a   25      A. Jakilene Dorciné.


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   1      Q. Any other sisters?                           1   and your father when you lived at the Village?
   2      A. Rosemida Dorciné, Jenniflore Dorciné.        2      A. Yes.
   3      Q. And how old is Jakilene?                     3      Q. Does Jenniflore have a job?
   4      A. I don't know.                                4      A. No.
   5      Q. Is she older or younger than you?            5      Q. Has she ever had a job?
   6      A. She's older.                                 6      A. No.
   7      Q. Where does she live?                         7      Q. Does she have any children?
   8      A. At the same place with mom and dad.          8      A. No.
   9      Q. Did she live with you and your mother        9      Q. Is she married?
  10    and your father when you were living at the      10      A. No.
  11    Village?                                         11      Q. How many rooms does the house you live
  12      A. Yes.                                        12   in have?
  13      Q. Does Jakilene have any children?            13      A. Three.
  14      A. No.                                         14      Q. Where was the first place you attended
  15      Q. Is she married?                             15   school?
  16      A. No.                                         16      A. I went to school in Beracca.
  17      Q. Does she have a job?                        17      Q. Where is that school?
  18      A. No.                                         18      A. In a place called Fort St. Michel.
  19      Q. Has she ever had a job?                     19      Q. Is Fort St. Michel a part of
  20      A. No.                                         20   Cap-Haïtien?
  21      Q. How old is Rosemida?                        21      A. Yes.
  22      A. I don't know.                               22      Q. Did you go to school when you were
  23      Q. Is she older or younger than you?           23   living in St. Raphael?
  24      A. Younger.                                    24      A. That I don't remember, because I was
  25      Q. Does she live with you and your mother      25   very, very young, and I moved to Cap-Haïtien


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   1    and father?                                       1   when I was five years old.
   2      A. Yes.                                         2      Q. So the first school that you remember
   3      Q. Did she live with you and your mother        3   attending was in Fort St. Michel in Cap-Haïtien,
   4    and your father when you lived at the Village?    4   is that right?
   5      A. Yes.                                         5      A. Yes.
   6      Q. Is she older or younger than Daniel?         6      Q. When you attended Beracca, was your
   7      A. She's older.                                 7   family living at the Village?
   8      Q. Does she have a job?                         8      A. Yes.
   9      A. No.                                          9      Q. How far away from the Village was
  10      Q. Has she ever had a job?                     10   Beracca?
  11      A. No.                                         11      A. It's quite a ways, but I couldn't say
  12      Q. Does she have any children?                 12   how much.
  13      A. No.                                         13      Q. Did you walk to Beracca? Sorry. Did
  14      Q. Is she married?                             14   you walk to Beracca?
  15      A. No.                                         15      A. Yes.
  16      Q. How about Jenniflore, how old?              16      Q. Would someone walk with you, or did
  17      A. I don't know.                               17   you walk alone?
  18      Q. Is she older or younger than you?           18      A. No, there was somebody walking with
  19      A. Younger.                                    19   me.
  20      Q. Is she older or younger than Daniel?        20      Q. Did your brothers go to Beracca with
  21      A. She's older than Daniel.                    21   you?
  22      Q. Does she live with your mother and          22      A. No.
  23    your father and you?                             23      Q. Did your sisters go to Beracca with
  24      A. Yes.                                        24   you?
  25      Q. Did she live with you and your mother       25      A. Yes.


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   1     Q. All three?                                1      A. Yes, she did.
   2     A. Two of them.                              2      Q. Rosemida did attend?
   3     Q. Which ones?                               3      A. Yes.
   4     A. Jakilene and Rosemida.                    4      Q. Did your brothers go to school?
   5     Q. And did you walk with them to and from    5      A. No.
   6   school?                                        6      Q. They never went to any school?
   7     A. No, with my father.                       7      A. Yes, they did.
   8     Q. Your father walked with you to school?    8      Q. What school did they attend?
   9     A. Yes, to take us to school.                9      A. I don't remember the names.
  10     Q. And would your father pick you up at     10      Q. What grades did you attend at Don
  11   school and walk you back home again?          11   Bosco?
  12     A. Yes.                                     12      A. I don't remember.
  13     Q. How many grades did you attend at        13      Q. You don't know whether -- let me start
  14   Beracca?                                      14   again.
  15     A. I don't remember.                        15          You don't remember whether you did the
  16     Q. How many years did you attend Beracca?   16   first and third grades at Don Bosco?
  17     A. I don't remember.                        17          THE INTERPRETER: The first and third
  18     Q. Did Beracca cost money to attend?        18   grades?
  19     A. Yes.                                     19          MR. BABBITT: First and third grades.
  20     Q. How much?                                20      A. It seems that I remember the second
  21     A. I don't know.                            21   year and the third year, but I'm not sure.
  22     Q. Who paid that?                           22   BY MR. BABBITT:
  23     A. My parents.                              23      Q. You're not sure, but you think you may
  24     Q. Why did you stop attending Beracca?      24   have attended the second year and third year at
  25     A. Because my parents could no longer       25   Don Bosco?


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   1    afford to pay.                                1     A. Yes.
   2       Q. What was the next school that you       2     Q. And did you attend the first and
   3    attended?                                     3   second grades at Beracca?
   4       A. I went to school in Don Bosco.          4     A. Yes, maybe.
   5       Q. Is Don Bosco a neighborhood in          5     Q. You're not sure?
   6    Cap-Haïtien, or is it a name of a school?     6     A. No. I don't remember everything.
   7       A. The name of a school.                   7     Q. Did Don Bosco cost money to attend?
   8       Q. Where is Don Bosco located?             8     A. Yes.
   9       A. I don't remember the name of the        9     Q. And who paid for that?
  10    neighborhood.                                10     A. My parents.
  11       Q. Is it a neighborhood in Cap-Haïtien?   11     Q. Why did you stop attending Don Bosco?
  12       A. Yes.                                   12     A. For economic reasons.
  13       Q. And when you attended Don Bosco, did   13     Q. Could your parents no longer afford
  14    you live with your parents at the Village?   14   Don Bosco?
  15       A. Yes.                                   15     A. That's right.
  16       Q. Did you walk to Don Bosco?             16     Q. What was the next school you attended?
  17       A. Yes.                                   17     A. I went to Rue 13, Street 13.
  18       Q. Did you walk with your father?         18     Q. Was Rue 13 part of PPT?
  19       A. Yes.                                   19     A. Yes, it was a PPT Center.
  20       Q. Did any of your brothers or sisters    20     Q. Did you attend Rue 13 every day?
  21    attend that school?                          21     A. Yes.
  22       A. Only sisters.                          22     Q. Did you walk there?
  23       Q. Which ones?                            23     A. Yes.
  24       A. Jakilene.                              24     Q. Did your father walk with you?
  25       Q. Rosemida did not attend?               25     A. No.


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   1      Q. Did anybody walk with you?                    1          THE VIDEOGRAPHER: Going off the
   2      A. No.                                           2   record. The time is 10:16.
   3      Q. Did your brothers attend Rue 13 with          3          (Whereupon, a recess was taken.)
   4   you?                                                4          THE VIDEOGRAPHER: Back on the record.
   5      A. No.                                           5   The time is 10:31.
   6      Q. How many grades did you attend at             6   BY MR. BABBITT:
   7   Rue 13?                                             7      Q. Mr. Dorciné, are your parents married?
   8      A. I don't remember.                             8      A. Yes.
   9      Q. Were you living with your mom and dad         9      Q. Do you recall when you started
  10   at the Village when you were attending Rue 13?     10   attending the Village?
  11      A. Yes.                                         11      A. The time I started attending the
  12      Q. Did you eat --                               12   Village as a child of the Village you mean?
  13      A. I correct myself. No, I correct              13      Q. As a student, yes. Thank you.
  14   myself. I had already left the Village, and I      14      A. Yes.
  15   was living at Blue Hills.                          15      Q. And when did you start attending the
  16      Q. At the time you started attending            16   Village as a student?
  17   Rue 13, Douglas had already decided that you and   17      A. I started as a student in the Village
  18   your parents had to leave the Village, is that     18   around the time of 2004 to 2005.
  19   correct?                                           19      Q. What grades did you attend at the
  20      A. Yes.                                         20   Village?
  21      Q. So you were -- at the time you               21      A. I don't remember.
  22   attended Rue 13, you were living with your         22      Q. How long did you stay at the Village
  23   parents and your siblings in a house in Blue       23   as a student?
  24   Hills?                                             24      A. It's very hard for me to give you
  25          MS. POLLOCK: Objection.                     25   times. Those calculations are hard for me. I


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   1   Mischaracterizes the witness's testimony.           1   can tell you approximately when I entered and at
   2          And just, so I'm now speaking with the       2   what approximate time the Village closed. That
   3   interpreter, when I make general objections you     3   I can give you.
   4   don't need to interpret. If you could only          4      Q. What was the approximate time that the
   5   interpret when I instruct him not to answer.        5   Village closed?
   6          THE INTERPRETER: Okay. That makes my         6      A. Around 2008, 2009.
   7   life easier.                                        7      Q. When you were attending the Village as
   8          MS. POLLOCK: Thank you.                      8   a student, did you sleep at the house that your
   9          MR. BABBITT: I don't think we got an         9   parents lived in?
  10   answer from the witness.                           10      A. No. When I was a student at the
  11          THE INTERPRETER: I'm sorry, can you         11   Village, I had already left the Village, so I
  12   repeat?                                            12   wasn't sleeping there.
  13          MR. BABBITT: Not a problem at all.          13      Q. And when you were a student at the
  14   BY MR. BABBITT:                                    14   Village, did you sleep in Blue Hills in the
  15      Q. At the time you attended Rue 13, you         15   house that your parents lived in?
  16   were living with your parents and your siblings    16      A. Yes.
  17   in a house in Blue Hills, is that correct?         17      Q. When you were a student at the
  18          MS. POLLOCK: Same objection.                18   Village, did you eat your meals at the Village,
  19      A. Yes.                                         19   or did you eat meals at the house in Blue Hills
  20          MS. POLLOCK: We've been going an            20   with your parents?
  21   hour. When you're at a good stopping point, I'd    21      A. In the Village.
  22   like to use the restroom.                          22      Q. Did it cost money to attend school at
  23          MR. BABBITT: If you'd want to use a         23   the Village?
  24   break, that's fine, we can take a break.           24      A. Yes. Douglas used to make my parents
  25          MS. POLLOCK: Thank you.                     25   pay.


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   1     Q.    How much?                                  1    that Douglas charged to be a student at the
   2     A.    200 gourdes.                               2    Village?
   3     Q.    How often?                                 3       A. I would remember their faces, but not
   4     A.    Every semester.                            4    -- I don't remember their names.
   5          THE INTERPRETER: The interpreter            5       Q. How many other people did Douglas
   6   maintains his interpretation.                      6    charge to be a student?
   7      A. Every semester.                              7       A. A lot, but I couldn't give you an
   8      Q. Did your parents -- did your father          8    exact number.
   9   tell you that Doug was requiring him to pay 200    9       Q. Did he charge the same amount, 200
  10   gourdes every semester to attend the Village?     10    gourdes per semester?
  11      A. Yes.                                        11       A. Yes.
  12      Q. Did your father pay Douglas for you to      12       Q. After the Village closed, did you
  13   attend the Village each year that you were at     13    attend school anywhere else?
  14   the Village as a student?                         14       A. I went to a center that was called
  15      A. Yes.                                        15    Boys Center.
  16      Q. Did it cost money to attend Rue 13?         16       Q. Where was that school located?
  17      A. No.                                         17       A. Rue 14.
  18      Q. Do you know anyone else who had to pay      18       Q. Was that in Cap-Haïtien?
  19   Douglas to attend the Village as a student?       19       A. Yes.
  20      A. I don't remember the names, but there       20       Q. How many years did you attend that
  21   were several.                                     21    school?
  22      Q. Did everyone have to pay, or just some      22       A. I don't remember.
  23   people have to pay to attend the Village as a     23       Q. Was it more than one year, or less
  24   student?                                          24    than one year?
  25      A. Not everybody, but a certain quantity       25       A. I don't remember.

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   1   of people, yes.                                    1      Q. What was the highest grade that you
   2      Q. Did your father ever tell you why            2   finished at the Village?
   3   Douglas was charging him for you to be able to     3      A. They used to put two classes together,
   4   be a student at the Village?                       4   and I got to what they used to call fourth and
   5      A. No.                                          5   fifth of their system of grading.
   6      Q. Did you ever come to understand why          6          THE INTERPRETER: The interpreter
   7   Douglas was charging for you to be a student at    7   would like to add that he's not sure what that
   8   the Village?                                       8   corresponds to in the American system of
   9      A. What I ended up understanding was that       9   grading.
  10   Douglas was a mean person.                        10      Q. What grade did you attend when you
  11          THE VIDEOGRAPHER: May I interrupt?         11   went to the Boys Center?
  12          Would you ask the witness if he could      12      A. Sixth.
  13   keep his voice up for the recording, please?      13          THE INTERPRETER: Same comment.
  14          THE INTERPRETER: Does the mic need to      14      Q. Did you live -- excuse me.
  15   be higher?                                        15          Did you sleep at the house with your
  16          THE VIDEOGRAPHER: No. Thank you,           16   mother and father when you attended Boys Center?
  17   sir.                                              17      A. At my parents' home you mean?
  18   BY MR. BABBITT:                                   18      Q. Yes.
  19      Q. You believe Douglas was charging you        19      A. Yes.
  20   to be a student at the Village because he was a   20      Q. Did you walk to Boys Center?
  21   mean person?                                      21      A. Yes.
  22      A. Yes.                                        22      Q. Why did you stop going to Boys Center?
  23      Q. Any other reason?                           23      A. Because they stopped.
  24      A. I don't have other reasons.                 24      Q. The school? Did the Boys Center
  25      Q. Do you know the names of anyone else        25   close?


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   1       A. Yes.                                         1   made it into the Dominican Republic country?
   2       Q. Did you take an examination at the end       2      A. Yes, that's right.
   3    of your sixth grade year?                          3      Q. Do you have training as a mason?
   4       A. Yes.                                         4      A. No, but I could still help out and
   5       Q. Did you pass the examination?                5   help the masons do their job by hauling
   6       A. No.                                          6   different -- the blocks, for example.
   7       Q. Did you attend any other schools after       7      Q. When was the last time you saw a
   8    Boys Center?                                       8   doctor?
   9       A. No.                                          9      A. It's been a long time. I've never had
  10       Q. Did you ever attend a school called         10   the financial means to see a doctor, even when I
  11    Sacred Heart Institute?                           11   was sick.
  12       A. I didn't go to the Sacred Heart, but        12      Q. When was the last time you saw a
  13    the Center held their classes at Sacred Heart.    13   nurse?
  14       Q. Boys Center held classes at Sacred          14      A. I've never done that. Only once I've
  15    Heart?                                            15   been to see a doctor, and that was a long time
  16       A. Yes.                                        16   ago.
  17       Q. Do you know what year Boys Center           17      Q. What did you go to see the doctor
  18    closed?                                           18   about when you saw the doctor a long time ago?
  19       A. No.                                         19      A. I was wounded.
  20       Q. Do you have a job today?                    20      Q. How were you wounded?
  21       A. No.                                         21      A. I was injured while wrestling.
  22       Q. Have you ever had a job?                    22      Q. How old were you when you were injured
  23       A. No.                                         23   while wrestling?
  24       Q. Have you tried to get jobs but not          24      A. I was about 14.
  25    been hired?                                       25      Q. And how were you injured when you were


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   1      A. I've tried many times to try to get a         1   wrestling?
   2   job. In the area where I lived I tried to get a     2      A. I got punched in the mouth, and my
   3   job in the construction industry as a mason, but    3   mouth had an issue.
   4   they do not accept anyone who went to the           4      Q. And you haven't seen a doctor since
   5   Village because they say that you're a faggot.      5   that time?
   6   If you went to PPT, that means that you were a      6      A. No.
   7   faggot. So they discriminate.                       7      Q. Have you seen a nurse since that time?
   8      Q. Have you ever tried to get a job              8      A. No.
   9   anywhere other than the area where you live?        9      Q. Did you ever see a doctor as a result
  10      A. Sometimes I try to get a job in other        10   of what Douglas Perlitz did to you?
  11   places where people won't recognize who I am,      11      A. It's true that I was sick because of
  12   and occasionally I've been able to get day job     12   that, sometimes I have a bad stomachache and a
  13   for one day, but not a permanent job.              13   really bad headache, but I've never had the
  14      Q. When you came to the Dominican               14   economic means to go to the hospital and get it
  15   Republic before this trip, did you try to get a    15   checked out.
  16   job here?                                          16      Q. You believe you've had a stomachache
  17          THE INTERPRETER: Here in the                17   as a result of what Douglas did to you?
  18   Dominican Republic?                                18      A. Most probably, because I never had any
  19          MR. BABBITT: In the Dominican               19   problem there before.
  20   Republic. I'm sorry.                               20      Q. And you believe you've had a headache
  21      A. I was never able to come here. I was         21   or headaches as a result of what Douglas did to
  22   stopped and expulsed from the company before I     22   you?
  23   could come over.                                   23      A. Yes, because it makes me -- it makes
  24      Q. I see. So this is -- is this trip to         24   me think a lot, it makes me -- it acts on me
  25   the Dominican Republic the first time you have     25   psychologically.


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   1      Q. But you haven't seen a doctor about           1      Q. Did you know anyone that attended
   2   these issues?                                       2   Carenage?
   3      A. I don't have the economic means.              3      A. I know several of them, but I don't
   4      Q. So you haven't seen a doctor because          4   remember their names.
   5   you don't have the economic means?                  5      Q. Before you attended the Village, did
   6          MS. POLLOCK: Objection. Vague.               6   you know anyone who was a student at the
   7      A. Yes.                                          7   Village?
   8   BY MR. BABBITT:                                     8      A. I would sometimes see them go by, but
   9      Q. And you haven't seen a nurse about            9   I didn't know their names.
  10   these issues?                                      10      Q. Did you use drugs when you attended
  11      A. No.                                          11   Rue 13?
  12      Q. Have you been to a hospital about your       12      A. No.
  13   stomachache or headache?                           13      Q. Did you use drugs when you attended
  14      A. No.                                          14   the Village?
  15      Q. Have you ever been arrested?                 15      A. I didn't ever take any drugs, except
  16      A. No.                                          16   moonshine, and the reason I took moonshine is
  17      Q. Have you ever sniffed paint thinner?         17   because of what happened inside the Village.
  18      A. No.                                          18      Q. What do you mean by "what happened
  19      Q. Do you know any -- if any of the boys        19   inside the Village"?
  20   who attended Rue 13 sniffed paint thinner?         20      A. So what happened was that Douglas
  21      A. I've seen that done, but I cannot give       21   would tell me to leave the class and throw me
  22   you names because I don't remember who they are.   22   out of the class because of the money my parents
  23      Q. When you were attending Rue 13, how          23   had not paid, and then he would take me into his
  24   many other boys attended with you?                 24   office and start touching me in my private
  25      A. I didn't have anyone with me. I was          25   parts, and he would put his penis in my behind.


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   1   the only one that went.                             1   And I didn't want this, but he forced me, and he
   2      Q. Please keep your voice up when you're         2   told me that if I didn't accept he would throw
   3   responding.                                         3   me out of the Village.
   4          THE INTERPRETER: The interpreter             4      Q. How many times did Douglas do that?
   5   would like that question to be reformulated,        5      A. Only one time.
   6   please.                                             6      Q. You never drank moonshine before that
   7          MR. BABBITT: Sure.                           7   happened?
   8          THE INTERPRETER: That last question.         8      A. No.
   9      Q. When you were attending Rue 13, how           9      Q. Did you ever drink any other kind of
  10   many other students attended Rue 13?               10   alcohol before that happened?
  11      A. There were a lot of other students,          11      A. No.
  12   but I can't give you a number. I couldn't tell     12      Q. When you drank -- do you still drink
  13   you how many.                                      13   moonshine?
  14      Q. Did you know any other students who          14      A. Yes.
  15   attended Rue 13 at the same time that you did      15      Q. How often?
  16   before you started attending Rue 13?               16      A. I couldn't tell you how many times.
  17      A. No.                                          17      Q. Every day?
  18      Q. Are you familiar with a school called        18      A. If I have the money to afford it, I
  19   Carenage?                                          19   do.
  20      A. I know of it, but I didn't go there.         20      Q. How do you get the money to afford it?
  21      Q. Was Carenage part of PPT?                    21      A. Sometimes I spend three or four months
  22      A. Yes.                                         22   without finding a job, but if I do find a job,
  23      Q. Did any of your brothers attend              23   then that's what I do with the money.
  24   Carenage?                                          24      Q. What kind of jobs have you had?
  25      A. My brothers, no, no.                         25      A. The work in construction, helping


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   1    masons, for example, buckets of mortar to be      1      A. I couldn't tell you how many times. I
   2    hauled.                                           2   don't remember.
   3       Q. When was the last time you had that         3      Q. Many times?
   4    kind of a job?                                    4      A. Yes.
   5       A. I don't remember.                           5      Q. After you became a student at the
   6       Q. Have you had that kind of a job in          6   Village, did you see Bill at the Village?
   7    2015, in this year?                               7      A. No.
   8       A. For 2015, I think I had two jobs of         8      Q. Once you became a student at the
   9    that kind.                                        9   Village, never saw Bill again?
  10       Q. When you say two jobs, how long did        10      A. That's right. No, I never saw him.
  11    you work in each of those two jobs?              11      Q. And Bill promised that you could
  12       A. Twice. In the year I did it twice.         12   attend the Village as a student?
  13    Each time from 8:00 a.m. to 4:00 p.m..           13      A. Yes.
  14       Q. So you've had a job only two days in       14      Q. And Bill made that promise to your
  15    this year?                                       15   parents when your father was the gatekeeper at
  16       A. Yes.                                       16   the Village?
  17       Q. Did any of the other students who          17      A. He promised this at the time that my
  18    attended Rue 13 use drugs?                       18   parents were living in the Village.
  19       A. I don't know.                              19      Q. And Douglas told your parents that was
  20       Q. Did any of the other student who           20   not correct, that promise was not correct?
  21    attended the Village use drugs?                  21      A. I couldn't say yes or no, because I
  22       A. I don't know.                              22   don't know what Douglas said to my parents.
  23       Q. What did you know about Rue 13 before      23      Q. Did you have to attend Rue 13 before
  24    you attended as a student?                       24   you could attend the Village?
  25       A. It was a white man named Bill that         25      A. Yes, that's what Douglas had asked.

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   1   built the Village. He promised my parents that     1      Q. And Douglas made that decision?
   2   we would all find a way to go into the Village.    2      A. Yes.
   3   But Douglas said this isn't correct, before --     3      Q. Did Douglas decide who got to go to be
   4   he threw my parents out and he said that before    4   a student at the Village?
   5   I could enter the Village I had to first go        5      A. He's not the one that had sent me to
   6   through to Rue 13.                                 6   the Village. When I was at Rue 13, Andy is the
   7      Q. Do you know anything more about the          7   one that sent me to the Village.
   8   white man named Bill who built the Village?        8      Q. Is that Andy Shultheis?
   9      A. No. I know only that he was an               9      A. What I gave you is what I know.
  10   engineer.                                         10      Q. What was Andy's role at Rue 13?
  11      Q. When you say Bill built the Village,        11      A. He's the one that I saw as being the
  12   did he design the buildings, did he build them    12   head of that Center.
  13   himself? What do you mean by that?                13      Q. Andy was the head of Rue 13?
  14      A. He was the engineer.                        14      A. Yes.
  15      Q. Was he Haitian, or did he come from         15      Q. And Rue 13 was part of PPT?
  16   some other country?                               16      A. Yes.
  17      A. No. A white man.                            17      Q. Was Douglas Andy's boss?
  18      Q. Do you know what country he came from?      18      A. Yes, of course.
  19      A. I don't know which country.                 19      Q. Did you see Andy every day when you
  20          THE INTERPRETER: The interpreter           20   were a student at Rue 13?
  21   would like to correct himself. Instead of a       21      A. No.
  22   white man, put a foreigner.                       22      Q. How often would you see Andy at Rue 13
  23   BY MR. BABBITT:                                   23   when you were a student there?
  24      Q. How often did you see Bill at the           24      A. He's always around, but not a specific
  25   Village before you became a student there?        25   day.


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   1      Q. Before you attended Rue 13, did you           1      Q. Before you attended Rue 13, did you
   2   know that the students at Rue 13 were provided      2   hear any rumors that Douglas Perlitz was abusing
   3   meals?                                              3   students at PPT?
   4      A. Yes.                                          4      A. No.
   5      Q. Before you attended Rue 13, did you           5      Q. Before you attended Rue 13, did you
   6   know that Rue 13 provided students a place to       6   ever hear anyone call students at PTT gay, or
   7   wash?                                               7   faggot?
   8      A. Yes.                                          8      A. No.
   9      Q. Before you attended Rue 13, did you           9      Q. When you attended Rue 13, what time
  10   know that Rue 13 taught student how to read        10   did school start?
  11   Creole?                                            11      A. I don't remember.
  12      A. Well, since it's a school, yes.              12      Q. What was the first thing you would do
  13      Q. And before you attended Rue 13, did          13   when you got to Rue 13 each day?
  14   you know that Rue 13 taught students math?         14      A. We would take a bath. They would give
  15      A. Yes.                                         15   us food. And then we went to school.
  16      Q. Before you attended Rue 13, did you          16      Q. Did they provide you with clothes to
  17   know that students at Rue 13 played football?      17   wear after your bath?
  18          THE INTERPRETER: That's American for        18      A. No, they would give us a uniform, a
  19   football.                                          19   pair of shorts, and a T-shirt.
  20          MR. BABBITT: I was thinking soccer.         20      Q. And did you wear the uniform while you
  21      A. Yes, I knew that.                            21   were attending school at Rue 13 each day?
  22      Q. Were these the reasons that you wanted       22      A. Yes.
  23   to attend Rue 13?                                  23      Q. What did you do after you took your
  24      A. Yes. It's what is reasons, because my        24   bath, had a meal, and changed into your uniform?
  25   parents could no longer do those things for me.    25      A. I went to school.


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   1      Q. Were there any other reasons that you         1     Q. What topics did you study?
   2   wanted to attend Rue 13?                            2     A. All the subjects that they teach in
   3      A. The reason I wanted to go to Rue 13 is        3   school.
   4   that I wanted a good place where I could learn      4     Q. Did you study history?
   5   so that I could become somebody in the future.      5     A. Yes.
   6      Q. And did you believe that Rue 13 was a         6     Q. Math?
   7   good place where you could learn?                   7     A. Yes.
   8      A. Yes.                                          8     Q. Creole?
   9      Q. Before you attended Rue 13, did anyone        9     A. Yes.
  10   tell you that Douglas Perlitz was sexually         10     Q. Science?
  11   abusing students at Rue 13?                        11     A. Yes.
  12      A. No. If I had known, I would not have         12     Q. Religion?
  13   gone.                                              13     A. Yes.
  14      Q. Before you attended Rue 13, did anyone       14     Q. How long would the classes last?
  15   tell you that Douglas Perlitz was sexually         15     A. I don't remember.
  16   abusing students at the Village?                   16     Q. Did you eat another meal at Rue 13?
  17      A. No.                                          17     A. Yes.
  18      Q. At any time during the period that you       18     Q. Did you leave Rue 13 in the middle of
  19   lived at the Village with your mom and your dad,   19   the day?
  20   did anyone tell you that Douglas Perlitz was       20     A. I would leave Rue 13 at 3:00 p.m..
  21   abusing students at the Village?                   21     Q. And was that the end of the day at
  22      A. No. This is something Douglas would          22   Rue 13, 3:00 p.m.?
  23   do in secret, and he would say that if you ever    23     A. Yes.
  24   tell anyone, you'll be thrown out of the           24     Q. So on a typical day, you would eat two
  25   Village.                                           25   meals at Rue 13?


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   1      A. Yes.                                          1   on Sundays?
   2      Q. And would you eat a meal in the               2      A. No.
   3   evening with your parents?                          3      Q. But you attended Monday through
   4      A. Yes.                                          4   Friday?
   5      Q. Did you know Nick Preneta?                    5      A. Yes.
   6      A. No, I don't remember.                         6      Q. Did you see Douglas Perlitz at Rue 13?
   7      Q. Did you know Jessica Lozier?                  7      A. Yes.
   8      A. I remember a Jessica, but I never knew        8      Q. How often?
   9   her last name.                                      9      A. I don't remember.
  10      Q. How did you know Jessica?                    10      Q. Every day?
  11      A. She was a foreigner.                         11      A. No.
  12      Q. What country did Jessica come from?          12      Q. What was he -- what would you see him
  13      A. I don't remember.                            13   do when he was at Rue 13?
  14          THE INTERPRETER: I'm sorry. The             14      A. I didn't see anything. I would just
  15   interpreter corrects himself.                      15   see him in the yard.
  16      A. I don't know.                                16      Q. You would see him in the yard, but you
  17      Q. Did you know Jessica when you were a         17   didn't see what he was doing?
  18   student at Rue 13, or when you were a student at   18      A. No.
  19   the Village, or some other time?                   19      Q. Did you ever see Hope Carter at
  20      A. When I was in the Village.                   20   Rue 13?
  21      Q. When you were at Rue 13, did you play        21      A. No.
  22   soccer?                                            22      Q. Did you ever see Father Paul Carrier
  23      A. No.                                          23   at Rue 13?
  24      Q. When you were at Rue 13, did you play        24      A. No.
  25   basketball?                                        25      Q. How did you learn that you were going

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   1      A. No.                                           1   to start attending the Village?
   2      Q. Did other students play basketball?           2      A. Andy is the one that told me. He said
   3      A. No.                                           3   "get ready, you're going to be going to the
   4      Q. Did other students play soccer?               4   Village."
   5      A. Yes. Other students, yes.                     5      Q. Did Andy say anything else to you
   6      Q. Do you remember the names of the              6   about that?
   7   teachers who taught you classes at Rue 13?          7      A. No. That's it.
   8      A. No, I don't remember their names.             8      Q. What time of day did you start
   9      Q. Other than Andy, were there any other         9   attending the Village?
  10   foreigners who worked at Rue 13?                   10      A. I don't remember.
  11      A. Yes.                                         11      Q. Did you start attending the Village at
  12      Q. Who was that?                                12   the beginning of the school year?
  13      A. I don't remember their names.                13      A. Yes.
  14      Q. How many other foreigners worked at          14      Q. Did the classes at Rue 13 take a break
  15   Rue 13?                                            15   during the summer months?
  16         THE INTERPRETER: I'm sorry, I'm going        16      A. I don't remember.
  17   to repeat the question.                            17      Q. Did the classes at the Village take a
  18      A. There were many. I don't remember.           18   break during the summer months?
  19      Q. Did you attend -- when you were a            19      A. Yes, they would take a break. They
  20   student at Rue 13, did you attend school every     20   would take a break.
  21   day?                                               21      Q. While you were attending -- I'm sorry.
  22      A. Yes.                                         22          While you were a student at Rue 13,
  23      Q. Did Rue 13 have school on Saturdays?         23   did you know that students at the Village ate
  24      A. No.                                          24   meals there?
  25      Q. Did Rue 13 have classes or have school       25      A. Yes.


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   1      Q. While you were a student at Rue 13,           1   you hear anyone suggest or hint that Douglas
   2   did you know that the Village gave students a       2   Perlitz was sexually abusing students at the
   3   place to live?                                      3   Village?
   4      A. Yes.                                          4      A. No. If I had heard any such things, I
   5      Q. When you were a student at Rue 13, did        5   would never have gone.
   6   you know that the Village taught student how to     6      Q. And before you attended the Village as
   7   read Creole?                                        7   a student, your father worked at the Village,
   8      A. Yes.                                          8   correct?
   9      Q. When you were a student at Rue 13, did        9      A. Yes.
  10   you know that the Village taught students how to   10      Q. Did he ever tell you before you became
  11   write Creole?                                      11   a student there that Doug Perlitz was abusing
  12      A. Yes.                                         12   students?
  13      Q. When you were a student at Rue 13, did       13      A. No. It was a secret.
  14   you know that the Village taught students math?    14      Q. Now, inside the Village, inside the
  15      A. Yes.                                         15   wall, there was a garden?
  16      Q. When you were a student at Rue 13, did       16      A. Yes.
  17   you know that the Village taught students          17      Q. And there was a school building?
  18   science?                                           18      A. Yes.
  19      A. Yes.                                         19      Q. Was there more than one school
  20      Q. When you were a student at Rue 13, did       20   building, or just one school building?
  21   you know that students at the Village played       21      A. Several.
  22   football -- soccer?                                22      Q. And in those several buildings, that's
  23      A. Yes.                                         23   where classes were held at the Village?
  24      Q. When you were a student at Rue 13, did       24      A. There were places where people stayed,
  25   you know that students at the Village played       25   there were offices, there were kitchen, there

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   1   basketball?                                         1   were places for the school itself, and there
   2      A. Yes.                                          2   were places where you could learn a craft.
   3      Q. Were these reasons that you wanted to         3      Q. There were buildings --
   4   attend the Village?                                 4      A. An occupation. I'm sorry.
   5      A. Yes, it was all of these reasons, and         5      Q. And there were buildings where
   6   so that I could have a better future.               6   students slept at night?
   7      Q. Were there any other reasons that you         7      A. Yes.
   8   wanted to attend the Village when you were a        8      Q. How many?
   9   student at Rue 13?                                  9      A. I don't know. I couldn't give you
  10      A. The reason I wanted to go to the             10   exact number.
  11   Village was that I wanted to continue my           11      Q. There was a place where the students
  12   schooling. I knew also I would get food, and my    12   played soccer?
  13   parents were not able to provide these for me.     13      A. Yes.
  14      Q. Before you attended the Village, did         14      Q. Was there a place where the students
  15   anyone tell you that Douglas Perlitz was           15   played basketball?
  16   sexually abusing students at the Village?          16      A. Yes.
  17      A. No.                                          17      Q. Was there a church, or a chapel?
  18      Q. Before you attended the Village, did         18      A. Yes.
  19   you hear anyone call Douglas Perlitz gay?          19      Q. Did Doug Perlitz have an office inside
  20      A. No.                                          20   the Village?
  21      Q. Before you attended the Village, did         21      A. Yes.
  22   you ever hear anyone call students at the          22      Q. What building was Douglas's office in?
  23   Village Douglas Perlitz's woman?                   23      A. I couldn't give you the positions as
  24      A. No.                                          24   we're not physically there in the yard.
  25      Q. Before you attended the Village, did         25      Q. Was Douglas's office in the same


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   1   building with the chapel?                            1   it doesn't appear we have an answer to one of
   2      A. No.                                            2   the questions before, but I think we have an
   3      Q. Was Douglas's office in the same               3   answer, but let me go back.
   4   building where classes were held?                    4           I asked you a moment ago the question
   5      A. No.                                            5   was there was a big mango tree in front of the
   6      Q. Was Douglas's office in the same               6   office, and could you tell me if that's true or
   7   building where you ate meals?                        7   not?
   8      A. No.                                            8      A. Yes.
   9      Q. What else was in the building with             9      Q. Thank you.
  10   Douglas's office?                                   10           How many times when you were a student
  11          THE INTERPRETER: I'm going to ask the        11   at the Village did you go into Doug Perlitz's
  12   question again, if it's okay.                       12   office?
  13      A. There were other rooms where Douglas's        13      A. Many times.
  14   office was, but I had never been inside.            14      Q. Why would you go into Doug Perlitz's
  15      Q. You don't know what those other rooms         15   office?
  16   were used for?                                      16      A. They would have us work, but they
  17      A. No.                                           17   would pay us 50 gourdes every two weeks, and
  18      Q. And in the time that you were a               18   this is the reason why I would go to his office.
  19   student at PPT -- at the Village, you never went    19      Q. You went to his office to collect your
  20   into those other rooms?                             20   pay?
  21      A. No.                                           21      A. Yes.
  22      Q. And in the time that you lived at the         22      Q. How many students when you were a
  23   Village with your parents, before you became a      23   student at the Village worked and were paid?
  24   student at the Village, you didn't go in those      24      A. All of them.
  25   other rooms?                                        25      Q. And was everybody paid 50 gourdes


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   1       A. No.                                           1   every two weeks?
   2       Q. Was there a great big tree in the yard        2      A. I don't know. I just gave the numbers
   3    in the middle of the Village?                       3   for myself, what I would receive.
   4       A. There are several trees.                      4      Q. What work did you do in return for the
   5       Q. Several trees in the yard in the              5   50 gourdes you were paid every two weeks?
   6    Village?                                            6      A. I would wash dishes, mop the floor,
   7       A. Yes.                                          7   and clean out the garden.
   8       Q. And was Douglas -- the building in            8      Q. And what would you do with the money
   9    which Douglas's office existed, was that            9   that you received from the school?
  10    building near the courtyard with the trees?        10      A. I would buy clothes.
  11       A. Yes. There was a big mango tree in           11      Q. Did you give the money, any of the
  12    front of the office.                               12   money that you received to your mother and
  13       Q. And was the building that the office         13   father?
  14    was in, was that near the building where the       14      A. Yes.
  15    kitchen was where you had your meals?              15      Q. And you walked to school -- when you
  16           MS. POLLOCK: Objection. Vague.              16   were a student at the Village, you walked to
  17       A. No.                                          17   school each day?
  18    BY MR. BABBITT:                                    18      A. Yes.
  19       Q. Would the students, when you were a          19      Q. Did you attend -- when you were a
  20    PPT student -- let me withdraw and start again.    20   student at the Village, did you attend every day
  21           When you were a student at the              21   that the school had classes?
  22    Village, did the students congregate around that   22      A. Yes.
  23    big mango tree between classes?                    23      Q. On the days that you attended school,
  24       A. Yes.                                         24   did you eat a meal at your mother and father's
  25       Q. I'm sorry, as I look at the transcript       25   house before going to school, or would you eat


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   1    at the school?                                    1     A. Experimental science.
   2       A. I ate at school.                            2     Q. Madame Nelta?
   3       Q. And eating the meal at school, was          3     A. She taught grammar.
   4    that the first thing you would do on a typical    4     Q. Master Patrice?
   5    day at the school?                                5     A. I think I gave it to you already.
   6       A. We would get to the school, and we          6     Q. Oh, Patrice and Master Patrice are the
   7    would have a place where we would have our        7   same people?
   8    uniforms, and we would take a bath and put on     8     A. Yes, it's the same person.
   9    our uniforms. Then we would eat.                  9     Q. Master Nelson?
  10       Q. You would keep your uniforms at the        10     A. Math.
  11    school?                                          11     Q. How about Master Daniel?
  12       A. It would stay in the dormitories where     12     A. French.
  13    the kids slept.                                  13     Q. How many classes would you take a day?
  14       Q. And did someone at the school wash         14     A. I don't remember. A lot.
  15    your uniforms for you?                           15     Q. Would you eat a meal in the middle of
  16       A. No. We would wash our own uniforms.        16   the day?
  17       Q. You would take your uniform home to        17     A. Yes.
  18    wash it, or would you wash it at the school?     18     Q. Did all of the students eat that
  19       A. I would wash it either at home or          19   midday meal together?
  20    inside the Village.                              20     A. Yes.
  21       Q. And after you took a bath and put on       21     Q. And did any of the staff or teachers
  22    your uniforms, you would then eat a meal?        22   eat the meal with you?
  23       A. Yes.                                       23     A. Yes.
  24       Q. Did all of the students eat together       24     Q. Did the teachers in the classes that
  25    at the same time?                                25   you took give exams, or examinations?


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   1      A. Yes.                                         1      A. Yes.
   2      Q. Did members of the staff and teachers        2     Q. And did you get a grade in each class
   3   also eat with you that morning meal?               3   that you took?
   4      A. Yes.                                         4      A. Yes.
   5      Q. What did you do after you ate that           5     Q. What did you do after the midday meal?
   6   meal?                                              6     A. We would go back to school.
   7      A. We went to school.                           7     Q. How many hours in the afternoon would
   8      Q. What subjects did you study?                 8   you go to school?
   9      A. All subjects that exist in the school.       9     A. We would only do one subject, and it
  10      Q. Who were your teachers at the school?       10   would last maybe one hour.
  11      A. There were many that would give             11     Q. And then what would you do?
  12   classes.                                          12     A. Then we would remove our uniforms.
  13      Q. Do you remember their names?                13     Q. And then what?
  14      A. I might remember a few names. It was        14     A. Then we would go to the yard and play.
  15   Mémé, there was Patrice, Judex, Madame Nelta,     15     Q. What games would you play?
  16   Master Patrice, Master Nelson, Master Daniel. I   16     A. Soccer, basketball.
  17   forget the names of the others.                   17     Q. How long would you play?
  18      Q. What subject did Mémé teach?                18     A. Don't remember.
  19      A. Art.                                        19     Q. Would you eat a meal at the end of the
  20      Q. And in art, did you draw, paint?            20   day at school?
  21      A. I would draw flowers. That's what I         21      A. Yes.
  22   used to do anyway.                                22     Q. Did you eat at school, or did you eat
  23      Q. What did Patrice teach?                     23   a meal at the end of the day with your mother
  24      A. He taught social science.                   24   and father?
  25      Q. How about Judex?                            25     A. At school.


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   1       Q. What time would you leave the Village        1      A. For -- not fights, we would have
   2    to go home?                                        2   verbal fights between students, that's the
   3       A. Around 4:00 p.m.                             3   reason why I was punished.
   4       Q. Did the Village hold classes on              4      Q. How often did you get into --
   5    Saturday and Sunday?                               5          THE INTERPRETER: I'm sorry. The
   6       A. No. It was closed to us. We weren't          6   deponent said I never fought in terms of a
   7    allowed to go to the Village those days.           7   physical fight with another student.
   8       Q. Did the Village take a break or a            8          Go ahead. I'm sorry.
   9    vacation at Christmastime?                         9      Q. And how often did you get into verbal
  10       A. There was a small break, not for a          10   fights with other students?
  11    long period of time.                              11      A. Many times.
  12       Q. Did the Village take a break in the         12      Q. And you never got into a physical
  13    summer months?                                    13   fight with another student at the Village?
  14       A. Yes.                                        14      A. No.
  15       Q. How long would that break take?             15      Q. Who decided your punishment?
  16       A. It lasts three months, but they could       16      A. All of the staff.
  17    sometimes give us just two months.                17      Q. Did you ever see Hope Carter at the
  18       Q. When you were a student at the Village      18   Village?
  19    during that summer break, what did you do?        19      A. Yes.
  20       A. There was nothing for me to do. I           20      Q. How many times?
  21    would just walk around, play, nothing else.       21      A. Many times.
  22       Q. Were you ever punished at the Village?      22      Q. What was Mrs. Carter doing at the
  23       A. Yes.                                        23   Village when you saw her there?
  24       Q. For what?                                   24      A. They would come when there were
  25       A. If I don't know my lessons they would       25   special activities organized at the school, they

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   1   punish me sometimes.                                1   would teach us how to play different games, and
   2      Q. How would they punish you if you did          2   they would bring us gifts. Many groups of
   3   not know your lessons?                              3   foreigners would come down.
   4          THE INTERPRETER: The interpreter             4      Q. Mrs. Carter would come with a group of
   5   would like to request a clarification.              5   foreigners?
   6      A. They would give me the chore of using         6      A. Yes.
   7   a sickle to clean out the fields.                   7      Q. And the groups, these groups of
   8      Q. So if you did not know your lessons,          8   foreigners would teach you how to play different
   9   you were punished by having to go cut the grass     9   games?
  10   in the fields with a sickle?                       10      A. Yes. For example football,
  11      A. You had to remove the bad weeds, for         11   basketball.
  12   example.                                           12      Q. Mrs. Carter would bring -- would come
  13      Q. How often were you punished like that?       13   to the school with groups who would bring you
  14      A. I don't remember.                            14   gifts?
  15      Q. More than once?                              15      A. Yes.
  16      A. Yes.                                         16      Q. How many times did you get a gift from
  17      Q. Were you punished for anything else at       17   a group that came with Mrs. Carter?
  18   the Village other than not knowing your lessons?   18      A. Many times.
  19      A. Yes.                                         19      Q. What gifts did you get?
  20      Q. For what?                                    20      A. Tennis shoes, shirts, cologne, candy.
  21      A. Fights between two kids.                     21      Q. Did you get these gifts only at
  22      Q. How often did you get into fights when       22   Christmastime, or at other times during the
  23   you were a student at the Village?                 23   year?
  24          THE INTERPRETER: The interpreter            24      A. It was during the Christmas, but also
  25   would like to correct himself.                     25   other vacation periods. And they would come and


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   1   teach us how to play soccer and basketball, they    1   is that a word that you have used instead of
   2   would bring us the special soccer shoes, and        2   Douglas?
   3   other gifts.                                        3      A. No, that's the word he would tell us,
   4      Q. Did Mrs. Carter speak Creole?                 4   he would use when he would tell us about this.
   5      A. I don't know. I know she would say a          5          MS. POLLOCK: I just want to ask him
   6   few words in Creole, but I don't think she spoke    6   real quick, do you want to go on a little bit
   7   Creole.                                             7   before lunch, or do you want to stop? It's
   8      Q. Did you speak Creole to her?                  8   totally up to you.
   9      A. No.                                           9          THE WITNESS: I'd like to take a
  10      Q. Did she speak Creole to you?                 10   break.
  11      A. No.                                          11          THE VIDEOGRAPHER: Going off the
  12      Q. Did you know the names of anyone else        12   record. The time is 12:02.
  13   who visited the school with Mrs. Carter?           13          (Whereupon, a recess was taken.)
  14      A. No. I only know Mrs. Carter and              14          THE VIDEOGRAPHER: Back on the record.
  15   Father Paul.                                       15   The time is 12:19.
  16      Q. Was Father Paul with Mrs. Carter each        16   BY MR. BABBITT:
  17   time that she was there?                           17      Q. Sir, I asked you earlier whether you
  18      A. I wouldn't know exactly.                     18   spoke to Hope Carter in Creole, and I believe
  19      Q. When you saw Mrs. Carter at the              19   you said no.
  20   Village, how long would she be at the Village?     20          Did you ever speak to Mrs. Carter
  21      A. I couldn't say exactly how long, but         21   through an interpreter?
  22   she would, for example, spend the day.             22      A. If I ever spoke through an interpreter
  23      Q. Would she stay at the Village when you       23   to interpret for me?
  24   saw her there, or would she stay somewhere else?   24      Q. Yes. I'm asking if you spoke to
  25         MS. POLLOCK: Objection. Vague.               25   Mrs. Carter using an interpreter.


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   1      A. I don't know, because I never myself          1      A. No. The person that interprets for us
   2   slept in the Village.                               2   when Mrs. Carter is speaking to us is Douglas.
   3   BY MR. BABBITT:                                     3      Q. That was the only person who ever
   4      Q. So you don't know whether Mrs. Carter         4   interpreted for Mrs. Carter was Douglas?
   5   slept in the Village because you didn't sleep       5      A. I don't know, but when she would be
   6   there?                                              6   speaking to us as a group, he was the one that
   7      A. That's right.                                 7   did that.
   8      Q. How many times did you see Father Paul        8      Q. So the only way you ever understood
   9   at the Village?                                     9   what Mrs. Carter was saying to you in a group
  10      A. Many times.                                  10   was because Douglas told you?
  11      Q. What was Father Paul doing at the            11      A. No. If they would -- if they had done
  12   Village when you saw him there?                    12   that, it wouldn't have gotten this far.
  13      A. I didn't see him do anything, but I          13      Q. Okay. So when Douglas -- I beg your
  14   know that he was there. I know that he was one     14   pardon.
  15   of the sponsors of the Village, so he would be     15           When Mrs. Carter spoke to you and
  16   around.                                            16   other students, Douglas Perlitz was always the
  17      Q. How do you know Father Paul was one of       17   person who interpreted for her?
  18   the sponsors of the Village?                       18      A. Yes.
  19      A. Douglas would often say to us.               19      Q. How about Father Paul, did you ever
  20      Q. What would Douglas say?                      20   speak in Creole to him?
  21      A. He would say "these people are the           21      A. No.
  22   backbone of the Village, it's thanks to them       22      Q. Did he speak in Creole to you?
  23   that the Village exists, and if it weren't for     23      A. No.
  24   them the Village wouldn't exist."                  24      Q. Did you speak to him through an
  25      Q. Did Douglas use the word "sponsor," or       25   interpreter at any time?


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   1       A. Douglas would be the one that would be        1   something else?
   2    interpreting for us when these people would be      2      A. In gourdes.
   3    addressing us as a group, but they did not speak    3      Q. Every week, or every two weeks, or
   4    to us individually.                                 4   some other period?
   5       Q. So Douglas was the only person who            5      A. Every month.
   6    ever interpreted for Father Paul?                   6      Q. Did you ever see Father Carrier at
   7       A. I don't know who interprets for Father        7   Bel Air?
   8    Paul in other circumstances, but when he would      8      A. No. I don't know that name.
   9    be speaking to our group, Douglas was the one       9      Q. Did you ever see Father Paul at
  10    that would interpret.                              10   Bel Air?
  11       Q. When you were a student at the               11      A. No.
  12    Village, did you know where Doug lived?            12      Q. Did you ever see Hope Carter at
  13       A. I don't know if he had other places          13   Bel Air?
  14    where he would stay, but I know that he would      14      A. No.
  15    sleep in Bel Air.                                  15      Q. Did you know a person by the name of
  16       Q. Before you became a student at the           16   Sylvester Tan?
  17    Village, when you were a student at Rue 13, did    17      A. Yes.
  18    Douglas live at Bel Air then?                      18      Q. Who was he?
  19       A. I don't know.                                19      A. A foreigner.
  20       Q. Did you ever go to Bel Air?                  20      Q. Where did he come from, do you know?
  21       A. Yes.                                         21      A. No.
  22       Q. How many times?                              22      Q. Do you remember when -- well, was he
  23       A. Many times.                                  23   at the Village?
  24       Q. Why did you go to Bel Air many times?        24      A. Yes, I would see him inside the
  25       A. I would go with my parents.                  25   Village.

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   1      Q. What were your parents doing at                1     Q. When did you see him inside the
   2   Bel Air?                                             2   Village?
   3      A. My parents were working at the                 3     A. I saw him many times.
   4   Village. But when it came time for them to           4     Q. How long did he -- well, withdrawn.
   5   collect their pay, what Douglas was paying them,     5   Let me start again.
   6   they would go to Bel Air.                            6         What was he doing when you saw him at
   7      Q. Were all of the staff members of the           7   the Village?
   8   Village paid at Bel Air?                             8     A. He would come and he would pray with
   9      A. I don't know.                                  9   us.
  10      Q. Did you ever go to Bel Air without            10     Q. Was Sylvester Tan a priest?
  11   your parents?                                       11     A. I don't know.
  12      A. No.                                           12     Q. How long was Sylvester Tan at the
  13      Q. Did you ever go inside the house at           13   Village?
  14   Bel Air?                                            14     A. I don't remember.
  15      A. No.                                           15     Q. Did you see Sylvester Tan at the
  16      Q. You would stay outside when your              16   Village before or after Douglas Perlitz sexually
  17   parents would go to get paid?                       17   abused you?
  18      A. I stayed in the yard.                         18     A. After.
  19      Q. Would your parents go inside the house        19     Q. Did you ever go hiking with Sylvester
  20   while you stayed in the yard, or would you and      20   Tan?
  21   your parents stay outside?                          21     A. No.
  22      A. Douglas would come out and take care          22     Q. Did you ever go on any trips with
  23   of them outside.                                    23   Sylvester Tan?
  24      Q. And would Douglas pay your parents in         24     A. No.
  25   Haitian gourdes, or Haitian dollars, or             25     Q. Did you go on a retreat with Sylvester


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   1   Tan?                                                 1      Q. How long did the Village continue to
   2      A. No.                                            2   function after Douglas was not allowed to come
   3      Q. Did you ever go on a retreat while you         3   to Haiti?
   4   were a student at the Village?                       4      A. I don't remember.
   5      A. What is a retreat?                             5      Q. Did you see the graffiti before or
   6      Q. Did you ever sleep overnight with              6   after you met Sylvester Tan?
   7   students from the Village at another location,       7      A. It was after Sylvester came.
   8   some other place?                                    8      Q. And you only saw graffiti about
   9      A. No.                                            9   Douglas Perlitz once, is that right?
  10      Q. Did you attend religious classes with         10      A. Yes.
  11   Madame Junie when you were a student at the         11      Q. When you saw graffiti that called
  12   Village?                                            12   Douglas a faggot, did you talk with any of the
  13      A. No.                                           13   other students about the graffiti?
  14      Q. Did you make your First Communion when        14      A. No. I'm a very private person.
  15   you were a student at the Village?                  15      Q. Did any of the other student talk to
  16      A. I have not had my First Communion.            16   you about the graffiti?
  17      Q. Are you a Roman Catholic?                     17      A. I overheard students speak about this,
  18      A. No.                                           18   but I couldn't tell you the names, but students
  19      Q. Now, there was a wall around the              19   were speaking about this.
  20   Village, you've told us. Did you ever see           20      Q. What did you overhear?
  21   graffiti about Doug Perlitz on the wall?            21      A. What was written.
  22      A. Outside the Village on the wall, they         22      Q. What did the students you overheard
  23   had written "Douglas is a faggot."                  23   say about the graffiti?
  24      Q. And did those words appear just once,         24      A. That's what I said. I didn't really
  25   or more than once?                                  25   dwell on it, I just overheard them mention

                                            Page 95                                                 Page 97
   1       A. They were written many, many times in         1   exactly what was on the wall.
   2    many places along the wall. They were written       2      Q. Did you talk about the graffiti with
   3    in red paint, and they were erased in yellow        3   any of your teachers?
   4    paint.                                              4      A. No.
   5       Q. Who wrote them in red paint?                  5      Q. Did you talk about the graffiti with
   6       A. I don't know.                                 6   any of the staff employed by the Village?
   7       Q. Who erased them in yellow paint?              7      A. Everybody saw it, but I myself had no
   8       A. I don't know.                                 8   comments about it.
   9       Q. When you say they were written many           9      Q. Did you overhear any of the teachers
  10    times in many places along the wall, were all of   10   talk about it?
  11    those many times written at the same -- on the     11      A. No.
  12    same night, or the same day?                       12      Q. Did you overhear any of the staff
  13       A. Only one time they wrote all of them.        13   members talk about it?
  14       Q. Did you see that graffiti before or          14      A. No.
  15    after Douglas Perlitz sexually abused you?         15      Q. After you saw the graffiti, did you
  16       A. That graffiti appeared when Douglas          16   believe that Doug Perlitz had sexually abused
  17    was no longer able to come to Haiti.               17   other students?
  18       Q. You saw the graffiti at a time when          18      A. I wasn't sure about it, but it crossed
  19    Douglas was no longer at the school?               19   my mind.
  20       A. When there were orders blocking him          20      Q. Before you saw the graffiti, did you
  21    from entering the country.                         21   believe that Doug Perlitz had sexually abused
  22       Q. Did you see that graffiti after the          22   any other students?
  23    school was closed, after the Village was closed?   23      A. Yes, I had supposed that this might be
  24       A. No. The Village was continuing. It           24   the case, because it was a village full of
  25    was still functioning.                             25   children, and I figured that I might not be the


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   1    only one subjected to this.                         1      Q. After you were abused by Doug Perlitz,
   2       Q. So after you had been sexually abused         2   did you know any students who slept at Doug's
   3    by Douglas Perlitz, you thought that other          3   house at Bel Air?
   4    students might also have been abused, is that       4      A. I don't know. And I'm never there --
   5    right?                                              5   I was never there at night, so I wouldn't know.
   6       A. I thought that it might be the case.          6      Q. Margarette Joseph worked at the
   7    But I had no proof, I didn't see anything.          7   Village, correct?
   8       Q. Before you were abused, did you ever          8      A. Yes.
   9    hear any student say that Doug Perlitz had          9      Q. What was her job?
  10    abused them?                                       10      A. I don't know.
  11       A. No.                                          11      Q. Did you ever talk to her when she was
  12       Q. Before you were abused by Doug               12   at the Village?
  13    Perlitz, did you believe that any other students   13      A. No.
  14    had been sexually abused by Doug Perlitz?          14      Q. Did she ever talk to the students when
  15       A. No.                                          15   you were part of that group?
  16       Q. Before you were abused by Doug               16      A. No.
  17    Perlitz, did you ever hear any teacher say that    17      Q. Did you see her at the Village every
  18    Doug Perlitz was gay?                              18   day?
  19       A. No.                                          19      A. No.
  20       Q. Before you were abused by Doug               20      Q. Did she have an office at the Village?
  21    Perlitz, did you ever hear any student say that    21      A. I don't know.
  22    Doug Perlitz was gay?                              22          MR. BABBITT: Okay. Why don't we take
  23       A. No.                                          23   a break for lunch. It's essentially 12:45.
  24       Q. Before you were abused by Doug               24          MS. POLLOCK: Sure.
  25    Perlitz, did you ever hear any teacher say that    25          THE VIDEOGRAPHER: Going off the


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   1    Doug Perlitz was forcing students to have sex       1    record. The time is 12:45.
   2    with him?                                           2          (Whereupon, a recess was taken.)
   3       A. No.                                           3
   4       Q. Before you were abused, did your              4
   5    father ever tell you that Doug Perlitz was gay?     5
   6       A. No.                                           6
   7       Q. Before you were abused, did your              7
   8    father ever tell you that Doug Perlitz was          8
   9    forcing students to have sex with him?              9
  10       A. No.                                          10
  11       Q. When your father worked at the               11
  12    Village, did he talk with Douglas every day that   12
  13    he was at the Village?                             13
  14       A. No.                                          14
  15       Q. Before you were abused, did you ever         15
  16    hear anyone say that Doug Perlitz was gay?         16
  17       A. No.                                          17
  18       Q. Before you were abused, did you ever         18
  19    hear anyone say that Doug Perlitz was forcing      19
  20    students to have sex with him?                     20
  21       A. No.                                          21
  22       Q. Before you were abused, did you know         22
  23    any students who slept at Doug's house at          23
  24    Bel Air?                                           24
  25       A. No.                                          25

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   1        AFTERNOON SESSION                         1      A. Yes.
   2                                                  2      Q. When you've seen Mr. Josnel Lecenat
   3         THE VIDEOGRAPHER: Back on the record.    3   many times with your lawyers, where was
   4   The time is 1:55.                              4   Mr. Lecenat, and where were you?
   5   BY MR. BABBITT:                                5      A. I saw him, but he wasn't next to me.
   6      Q. Good afternoon, Mr. Dorciné. We're       6   He was there, but he wasn't minding my business,
   7   back after lunch. Are you ready to proceed?    7   and I wasn't minding his.
   8      A. Yes.                                     8      Q. Were you in a building when you saw
   9      Q. You believe that Geffrard Lecenat was    9   him?
  10   abused by Douglas Perlitz, is that right?     10      A. Yes.
  11      A. That's what I think.                    11      Q. What building?
  12      Q. And what leads you to think that?       12      A. I couldn't tell you exactly. I saw
  13      A. Because when I went to meet with        13   him in a hotel and a lot of other places.
  14   people and my lawyers, he was also there.     14      Q. What was the name of the hotel you saw
  15      Q. Have you ever talked with Mr. Lecenat   15   him in?
  16   about his experiences with Doug?              16      A. I don't remember.
  17         MR. GARABEDIAN: Objection. And          17      Q. Was it the same hotel in which you
  18   instruct him not to answer to the extent it   18   signed your responses to the interrogatories
  19   involves attorney/client privilege.           19   which we've marked as Exhibit 1?
  20      A. No.                                     20      A. Yes.
  21   BY MR. BABBITT:                               21      Q. Have you ever talked with Mr. Josnel
  22      Q. How many times have you seen Geffrard   22   Lecenat about being abused by Doug Perlitz?
  23   Lecenat with your lawyers?                    23          MR. GARABEDIAN: Objection. I
  24      A. I couldn't tell you how many times.     24   instruct him not to answer about communication
  25      Q. Where does Mr. Lecenat live?            25   involving the attorney/client privilege.


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   1       A. Blue Hills.                             1   BY MR. BABBITT:
   2       Q. The same neighborhood that you live     2      Q. Did you talk with Mr. Josnel Lecenat
   3    in?                                           3   about coming here for this deposition?
   4       A. Yes.                                    4      A. No.
   5       Q. How often do you see him?               5      Q. You believe that Joseph Jean Pierre
   6       A. I don't see him often.                  6   was also abused by Douglas Perlitz?
   7       Q. You also believe that Josnel Lecenat    7      A. Yes. That's what I think.
   8    was abused by Mr. Perlitz?                    8      Q. Why do you think that?
   9       A. Yes, that's what I think.               9      A. The same reason. I saw him, we
  10       Q. Why do you think that?                 10   crossed paths at the lawyers.
  11       A. Because I also saw him at that same    11      Q. When did you first believe that Joseph
  12    place.                                       12   Jean Pierre had been abused by Douglas Perlitz?
  13       Q. What was the place that you saw        13          MR. GARABEDIAN: Objection. I
  14    Mr. Josnel Lecenat?                          14   instruct him not to answer as to any
  15       A. Where the people who were going to     15   communication involving the attorney/client
  16    introduce me to the lawyers were.            16   privilege.
  17       Q. Did you see Mr. Josnel Lecenat that    17          THE INTERPRETER: I can answer as
  18    same time you saw Mr. Geffrard Lecenat?      18   myself as interpreter?
  19       A. I don't remember.                      19          MR. BABBITT: He already gave the
  20       Q. How many times have you seen Josnel    20   answer.
  21    Lecenat with your lawyers?                   21          MR. GARABEDIAN: Tell him what I just
  22       A. Many times.                            22   said.
  23       Q. Where does Mr. Josnel Lecenat live?    23      A. The answer was when we crossed paths,
  24       A. Blue Hills.                            24   I suspected it.
  25       Q. Same neighborhood as you?              25   BY MR. BABBITT:


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   1      Q. When did you cross paths and begin            1      Q. And I'm sorry, the record doesn't
   2   suspecting that Mr. Joseph Jean Pierre had been     2   appear to have an answer to one of my earlier
   3   abused by Douglas Perlitz?                          3   questions.
   4          MR. GARABEDIAN: Objection. I                 4          I had asked, did you speak with Joseph
   5   instruct him not to answer as to any                5   Jean Pierre about being abused by Mr. Perlitz,
   6   communication involving the attorney/client         6   Mr. Garabedian objected, but said he could go
   7   privilege.                                          7   ahead and answer as long as he didn't answer as
   8          THE INTERPRETER: Can he answer the           8   to any communications involving attorney/client
   9   question?                                           9   privilege, but we didn't have an answer. So I
  10          MR. GARABEDIAN: Yes.                        10   guess I just repeat the question, you can repeat
  11      A. Could you repeat the question?               11   your objection.
  12   BY MR. BABBITT:                                    12          Did you ever speak with Joseph Jean
  13      Q. I'll pose a different question.              13   Pierre about being abused by Mr. Perlitz?
  14          Did you begin suspecting that               14          MR. GARABEDIAN: Note my objection
  15   Mr. Joseph Jean Pierre had been abused by Doug     15   with regard to any communication regarding the
  16   Perlitz before PPT closed?                         16   attorney/client privilege.
  17      A. It's not that I know. I saw him at a         17      A. No.
  18   place where kids who were victims of the Village   18   BY MR. BABBITT:
  19   also were at.                                      19      Q. Thank you.
  20      Q. Before PPT closed, did you think or          20          Now, with respect to Emile Jean
  21   suspect that Joseph Jean Pierre had been abused    21   Pierre, why is it that you think he was abused
  22   by Mr. Perlitz?                                    22   by Mr. Perlitz?
  23      A. No.                                          23          MR. GARABEDIAN: Objection. I
  24      Q. Before PPT closed, did you think that        24   instruct him not to answer as to any
  25   Geffrard Lecenat had been abused by Mr. Perlitz?   25   communication regarding the attorney/client


                                          Page 107                                                Page 109
   1       A. No.                                          1   privilege.
   2       Q. Before PPT closed, did you suspect           2      A. Could you repeat the question, please?
   3    that Josnel Lecenat had been abused by             3   BY MR. BABBITT:
   4    Mr. Perlitz?                                       4      Q. Why is it that you think Emile Jean
   5       A. No.                                          5   Pierre was abused by Mr. Perlitz?
   6       Q. Did you ever speak with Joseph Jean          6          MR. GARABEDIAN: Objection. I
   7    Pierre about being abused by Mr. Perlitz?          7   instruct him not to answer as to any
   8           MR. GARABEDIAN: Objection. I                8   communication involving the attorney/client
   9    instruct him not to answer as to any               9   privilege.
  10    communication involving attorney/client           10      A. I lost the question.
  11    privilege.                                        11          THE INTERPRETER: He keeps losing the
  12           Go ahead and answer.                       12   question when there's the objection, so I'm just
  13    BY MR. BABBITT:                                   13   going to ask it myself, okay?
  14       Q. You believe Emile Jean Pierre was also      14          MR. GARABEDIAN: Note my objection.
  15    abused by Mr. Perlitz, is that true?              15      A. It's just that I saw him at the place
  16       A. Regarding all of these people, these        16   where I was also going.
  17    are things that crossed my mind, yes.             17   BY MR. BABBITT:
  18       Q. And before PPT closed, did you think        18      Q. Was that the same place you saw
  19    that Emile Jean Pierre had been abused by         19   Geffrard Lecenat and Josnel Lecenat and Joseph
  20    Mr. Perlitz?                                      20   Jean Pierre?
  21       A. Again, it's something that I -- that        21      A. Yes.
  22    crossed my mind, but I don't know.                22      Q. And you also believe that Eliphete
  23       Q. Well, did it cross your mind before         23   Alibert was also abused by Mr. Perlitz?
  24    PPT closed?                                       24          MR. GARABEDIAN: Objection. I
  25       A. No, not before PPT closed.                  25   instruct him not to answer as to any


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   1   communication involving attorney/client              1      Q. And what did these students tell you
   2   privilege.                                           2   about what Douglas was doing in general?
   3      A. It crossed my mind. I thought he               3      A. They were saying that Douglas
   4   might have also been subject to that abuse.          4   committed sexual abuses.
   5   BY MR. BABBITT:                                      5      Q. But none of them told you that Douglas
   6      Q. Why do you think that?                         6   had committed sexual abuses to them?
   7      A. Because I saw him at the same place I          7      A. No.
   8   was going to.                                        8      Q. Did any of these students tell you
   9      Q. Was that the same place you saw Joseph         9   they were going to get money because Douglas had
  10   Jean Pierre and Geffrard Lecenat?                   10   abused them?
  11      A. Yes.                                          11      A. No.
  12      Q. Did you think that Eliphete Alibert           12      Q. Do you know if any students got money
  13   had been abused by Mr. Perlitz before PPT           13   because Douglas abused them?
  14   closed?                                             14      A. I have heard of this, but I don't know
  15      A. No.                                           15   it. I never knew what it was about.
  16      Q. I apologize, that was a poorly phrased        16      Q. Who have you heard received money?
  17   question. Let me rephrase it.                       17      A. I don't remember the names. The only
  18          Before PPT closed, did you think that        18   one I remember is Jean Gary who I heard has a
  19   Eliphete Alibert had been abused by Mr. Perlitz?    19   lot of money, but I don't know under what
  20      A. No.                                           20   circumstances.
  21      Q. Did you ever speak with Eliphete              21      Q. Was Jean Gary a student at PPT when
  22   Alibert about being abused by Douglas Perlitz?      22   you were there?
  23          MR. GARABEDIAN: Objection. I                 23      A. Yes.
  24   instruct him not to answer as to any                24      Q. He was at the Village when you were at
  25   communication involving attorney/client             25   the Village?

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   1    privilege.                                          1      A. Yes.
   2           He can answer.                               2      Q. Was he at the Village the whole time
   3           THE INTERPRETER: He answered no.             3   that you were at the Village?
   4    BY MR. BABBITT:                                     4      A. Yes.
   5       Q. Before PPT closed, none of these              5      Q. Where does he live now?
   6    individuals had told you that they were being       6      A. I don't know.
   7    abused by Mr. Perlitz, is that right?               7      Q. How much money did he get?
   8       A. No.                                           8          MR. GARABEDIAN: Objection.
   9       Q. In your response to Interrogatory No.         9      A. I don't know.
  10    23, you state that after the Village closed, you   10   BY MR. BABBITT:
  11    met many other kids and they told me about         11      Q. How do you know he got money?
  12    abuse, but I don't know their names.               12      A. I don't know for sure that he got
  13           MR. BABBITT: Go ahead and translate         13   money. I heard that he has money.
  14    that, please, and I'll ask a question.             14      Q. When was the last time you spoke with
  15       A. They didn't tell me their personal           15   Jean Gary?
  16    stories. They were talking about what Douglas      16      A. I don't remember.
  17    was doing in general, but not what Douglas did     17      Q. Did you talk to Jean Gary before you
  18    do them.                                           18   came to this deposition?
  19    BY MR. BABBITT:                                    19      A. No.
  20       Q. Where did you meet these students?           20      Q. Did you ever talk to Jean Gary about
  21       A. As I was walking around.                     21   signing a list to get a lawyer?
  22       Q. In Blue Hills neighborhood?                  22      A. No. The only thing, Jean Gary came to
  23       A. No.                                          23   my house, and he said "here, you can go to see
  24       Q. Where?                                       24   this person here." He gave me the coordinates
  25       A. In the City of Cap-Haïtien.                  25   of a person I could see that could help me get


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   1   justice and get a lawyer.                           1      A. No.
   2      Q. Why did Jean Gary come to your house          2      Q. Was it a radio station?
   3   and tell you that?                                  3      A. No.
   4      A. Because he knew I was part of Pierre          4      Q. Was it a house?
   5   Toussaint.                                          5      A. Yes.
   6      Q. Did Jean Gary ask you if you had been         6      Q. Was it Mr. Sibert's house?
   7   abused?                                             7      A. I don't know.
   8      A. No.                                           8      Q. Was it a part of town you'd never seen
   9      Q. Jean Gary just came to your house and         9   before?
  10   said "because you were at PPT, you should go to    10      A. Yes.
  11   this person to get justice"?                       11      Q. A part of Cap-Haïtien where you've
  12      A. No. He said simply that "I know you          12   lived all your life, never seen it before?
  13   were part of PPT, and since you were part of       13      A. No. And the reason why I didn't know
  14   PPT, if you suffered abuse, then here's the        14   Cap-Haïtien that well is that I stayed to my --
  15   person that you can go to that can help you find   15   I didn't walk around a lot, because if they
  16   a lawyer."                                         16   knew, people knew that you were part of PPT,
  17      Q. Who is that person that Jean Gary told       17   they would call you a faggot or call you
  18   you you could go to to help find a lawyer?         18   Mrs. Douglas.
  19      A. It's Cyrus Sibert.                           19      Q. Did anyone -- did you know anyone in
  20      Q. And did Jean Gary tell you how much          20   the part of town that you went to meet
  21   money he collected?                                21   Mr. Sibert in?
  22      A. No.                                          22      A. I didn't know people in the
  23      Q. Did Jean Gary tell you that he               23   neighborhood, but all of Cap-Haïtien knew what
  24   collected any money?                               24   had gone on.
  25      A. No.                                          25      Q. All of Cap-Haïtien knows that you were


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   1       Q. Did Jean Gary come to see you driving        1   a student at PPT?
   2    a car?                                             2       A. No. But whenever people in the town
   3       A. No.                                          3   see a group of guys in a particular place, and
   4       Q. Does he own a car?                           4   if they know one of them is there because of
   5       A. I don't know.                                5   this case, then they kind of suss you out.
   6       Q. Does he own a business?                      6       Q. When you met with Cyrus Sibert, what
   7       A. I don't know.                                7   did you say to him?
   8       Q. And after Jean Gary told you to go see       8       A. I said that I would like to meet with
   9    Cyrus Sibert, did you do that?                     9   the lawyer who is willing to meet with children
  10       A. I told him he could go, and I was           10   who were at Pierre Toussaint.
  11    planning on looking to see what I was going to    11       Q. What did Mr. Sibert say to you?
  12    do. But I just told him to go.                    12          MR. GARABEDIAN: Objection. I
  13       Q. And after you said that to Jean Gary,       13   instruct him not to answer as to any
  14    did you go see Cyrus Sibert?                      14   attorney/client communication.
  15       A. Yes.                                        15          THE WITNESS: Can I answer the
  16       Q. Where did you go see Cyrus?                 16   question?
  17       A. In the town.                                17          MR. GARABEDIAN: If it doesn't involve
  18       Q. Where in the town?                          18   a communication between your attorney and you.
  19       A. I couldn't tell you where exactly.          19       A. Can you repeat the question that the
  20       Q. What neighborhood?                          20   lawyer asked for me, please?
  21       A. I don't remember.                           21   BY MR. BABBITT:
  22       Q. Did Jean Gary tell you where to find        22       Q. What did Mr. Sibert say to you?
  23    Mr. Sibert?                                       23       A. He said "give me your phone number and
  24       A. Yes.                                        24   I will put you in touch with the lawyer."
  25       Q. Was it at a hotel?                          25       Q. Did he say anything else to you that


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   1    time you met with Mr. Sibert?                      1   to you that he knew Doug Perlitz was abusing
   2       A. No.                                          2   students?
   3       Q. Since the Village has closed, have you       3      A. No.
   4    ever talked with any other students at PPT who     4      Q. Did any teacher or staff member ever
   5    said they had not been abused by Mr. Perlitz?      5   say to you that that person knew Doug Perlitz
   6       A. This subject in general is a subject         6   was abusing students?
   7    that I never broach with anyone.                   7      A. No.
   8       Q. Never talk about Doug Perlitz or what        8      Q. How many times did Doug Perlitz
   9    he did to you?                                     9   sexually abuse you?
  10       A. No.                                         10      A. Only one time.
  11       Q. And that was true before the school         11      Q. When did this happen?
  12    closed, and it's still true today, correct?       12      A. This happened while school was going
  13       A. I don't speak about this with people.       13   on. While I was in class and Douglas was
  14    However, it sometimes comes back to me in my      14   proceeding to send home the kids who hadn't
  15    memory, and sometimes I have nightmares over      15   paid, it seemed that I was the only student that
  16    this, but I don't talk about this to other        16   hadn't paid, and the following happened.
  17    people.                                           17          He asked me to come to his office, and
  18       Q. Do you know, or did you know Met            18   when I went to his office he started touching
  19    Robinson at PPT?                                  19   me, he started touching my private parts. He
  20       A. Yes.                                        20   put his penis in my behind. I wasn't -- I
  21       Q. Did he work at PPT?                         21   didn't want this. I was against it. But he
  22       A. Yes.                                        22   kept forcing me, and he said if I didn't go
  23       Q. What was his job?                           23   along with it, he would kick me out of the
  24       A. I don't remember.                           24   Village.
  25       Q. Did you see him every day when you          25      Q. What year did this happen?

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   1    were at PPT?                                       1      A. I no longer remember.
   2       A. Yes.                                         2      Q. In your response to Interrogatory 19
   3       Q. And when you saw him, what was he            3   in Exhibit 1, you state that this happened in
   4    doing?                                             4   2006/2007.
   5       A. I wasn't following his actions.              5      A. Yes, that's what I said.
   6       Q. Did you ever see him doing anything?         6      Q. When you responded to that
   7       A. What do you mean, "anything"?                7   interrogatory, when you responded to that
   8       Q. Did you ever see Mr. Robinson doing          8   interrogatory, how did you know that was the
   9    anything at PPT?                                   9   year?
  10       A. I would see him in different parts in       10      A. When this happened, that's what I
  11    the school. I would see him in the kitchen, for   11   remembered.
  12    example.                                          12      Q. I'm sorry. When you responded to the
  13       Q. And what was he doing in the kitchen        13   interrogatories, that's what you remembered, is
  14    when you saw him?                                 14   that what you mean?
  15       A. It's not that I saw him doing               15      A. Yes, that's what I said. But a lot of
  16    anything, but I saw him walking through the       16   things can escape my mind. Very often I have
  17    kitchen.                                          17   trouble remembering things because my head does
  18       Q. When Douglas was not at PPT, was Met        18   not easily remember.
  19    Robinson in charge?                               19      Q. Is there any reason that the years
  20       A. I don't remember.                           20   2006, 2007 stuck out for you when you were
  21       Q. Was there anybody else that you think       21   responding to Interrogatory 19 and telling us
  22    was in charge when Doug wasn't there?             22   what year this happened?
  23       A. There were many people there, but I         23      A. Because those are the years in which
  24    don't know who was the boss.                      24   it happened.
  25       Q. Did Mr. Robinson ever say or indicate       25      Q. As you sit here today, you know it


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   1    happened in 2006, 2007, is that right?             1   supposed to go with him to his office?
   2       A. Yes. That's what I remember.                 2      A. He held me.
   3       Q. How long had you been at the Village         3      Q. How did he hold you?
   4    as a student before you were abused?               4      A. He held my hand and guided me.
   5       A. I don't remember.                            5      Q. On the day that Mr. Perlitz abused
   6       Q. How long after you were abused did the       6   you, was your father working at the Village?
   7    Village close?                                     7      A. Yes.
   8       A. My head cannot remember all of those         8      Q. What was he doing?
   9    things. I don't remember them. It's occasional     9          MR. GARABEDIAN: Objection.
  10    that I'm able to recall certain things.           10      A. I had already said what my father did
  11       Q. Were you abused by Mr. Perlitz before       11   in the Village. He was working as the
  12    or after the first time you met Jessica Lozier?   12   gatekeeper. He would also take care of the yard
  13       A. What was that again?                        13   maintenance with a sickle.
  14       Q. Were you abused by Mr. Perlitz before       14   BY MR. BABBITT:
  15    or after the first time that you met Jessica      15      Q. Is that what he was doing the day you
  16    Lozier?                                           16   got abused?
  17       A. Before that. That had already               17      A. Yes, that's what he always does.
  18    occurred.                                         18      Q. As Mr. Perlitz was walking holding
  19       Q. You had been abused before you met          19   your hand on the way to his office, did you see
  20    Jessica, is that right?                           20   your father?
  21       A. Yes.                                        21      A. No.
  22       Q. So when Mr. Perlitz abused you, did he      22      Q. What happened when you and Mr. Perlitz
  23    come to the class you were sitting in and tell    23   got to his office?
  24    you to leave the class?                           24      A. He started touching my private parts.
  25       A. Yes. He came to pick me up in the           25   He undressed me, and started touching my private


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   1    classroom in which I was.                          1   parts. And then he removed his pants. He only
   2       Q. And did he tell you to come to his           2   had his shirt on. And he put his penis in my
   3    office?                                            3   behind. And he forced me and forced me, and I
   4       A. Yes. He came to get me, and escorted         4   was not accepting, but he said that if you don't
   5    me to his office.                                  5   accept they will put -- throw me out of the
   6       Q. And what did he tell you when he came        6   Village.
   7    to get you?                                        7     Q. Mr. Perlitz took you into his office?
   8       A. He said "You owe the school. You             8     A. Yes.
   9    cannot stay in the classroom. Get out."            9     Q. Did he close the door?
  10       Q. When did he say that, when you were in      10     A. Yes.
  11    his office or when you were walking to his        11     Q. Is there a window in his office?
  12    office?                                           12     A. I don't remember.
  13           MR. GARABEDIAN: Objection.                 13     Q. Were the lights on in his office?
  14       A. While I was in the classroom. He said       14     A. Yes.
  15    "You owe the school. You can't stay in the        15     Q. What furniture was in his office?
  16    classroom. Get out."                              16     A. There's a table with drawers, that has
  17    BY MR. BABBITT:                                   17   drawers. It has -- there's also a chair, and a
  18       Q. Did he say anything else?                   18   sofa.
  19       A. No. And then he escorted me to go           19     Q. And you had been in his office every
  20    with him to his office.                           20   two weeks to collect your pay, correct?
  21       Q. Did he tell you you had to go to his        21          MR. GARABEDIAN: Objection.
  22    office?                                           22     A. Yes.
  23       A. No. He simply escorted me to his            23   BY MR. BABBITT:
  24    office without saying anything else.              24     Q. What was Mr. Perlitz wearing?
  25       Q. How did you know that you were              25     A. He had a pair of pants and a shirt.


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   1      Q. What kind of shirt?                            1   clothes?
   2      A. A T-shirt.                                     2      A. My clothes first.
   3      Q. What kind of pants?                            3      Q. Were you both standing when he started
   4      A. A camouflage pair of pants that has a          4   touching you?
   5   lot of -- like a cargo pant.                         5      A. Yes.
   6          MR. GARABEDIAN: Is that what he said,         6      Q. Were you facing him or facing away
   7   like a cargo pants?                                  7   from him?
   8          THE INTERPRETER: He said in Creole            8      A. When he first started unbuttoning me
   9   something else. I'm saying it in English.            9   he was standing in front of me, and then he had
  10   BY MR. BABBITT:                                     10   me turn around, and then he put me on the couch
  11      Q. What time of year was it?                     11   where he continued.
  12      A. I don't remember the month, but it was        12      Q. How did he put you on the couch?
  13   during the school year.                             13      A. He put my --
  14      Q. Did he say anything to you when you           14           (Interpreters speaking.)
  15   walked in the office?                               15      A. He had me lean on the couch, bend over
  16      A. What he said is what I told you.              16   on the couch, and then he put his penis in my
  17      Q. Did he say anything when you first            17   behind.
  18   walked into the office before he started            18      Q. Before he had you lean on the couch,
  19   touching you?                                       19   did he say anything to you?
  20      A. Before he started touching me?                20      A. He had started forcing me, and he said
  21      Q. Yes.                                          21   that if I didn't accept this, they would throw
  22      A. He didn't say anything. He simply             22   me out of the Village -- he would throw me out
  23   started undressing me.                              23   of the Village.
  24      Q. From the time you left the classroom          24      Q. And did he put his hand on your penis
  25   when he told you that you owed money to the         25   before he leaned you on the couch?


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   1    school and you had to leave to the time he had      1      A. Yes. He started touching all of my
   2    you in the office, he said nothing?                 2   private parts.
   3       A. No. The only thing he did was escort          3      Q. Did he try to kiss you?
   4    me to his office, close the door, and started to    4      A. No.
   5    proceed with the actions described.                 5      Q. Did he put your hands on his penis?
   6       Q. When he was holding your hand and             6      A. No.
   7    walking from the classroom to his office, did       7      Q. Did he put your hands on any other
   8    you see any students in the courtyard?              8   part of his body?
   9       A. No. Everybody was in school.                  9      A. No.
  10       Q. Was this before the midday meal, or          10      Q. And before he told you that you had to
  11    after the midday meal?                             11   accept this or he would throw you out of the
  12       A. I no longer recall.                          12   Village, he had already told you in the
  13       Q. What were you wearing?                       13   classroom that you had to leave the Village,
  14       A. I was wearing the uniform. That's            14   correct?
  15    what was on me.                                    15      A. He didn't say that I would have to
  16       Q. What did the uniform consist of?             16   leave the Village entirely. He said that so
  17       A. A shirt and a pair of pants.                 17   long as my parents didn't pay that I would have
  18       Q. Pants or shorts?                             18   to leave, but if my parents paid I would be able
  19       A. No, regular pants, long pants.               19   to come back.
  20       Q. When he started touching you, were you       20      Q. After Douglas unbuttoned and unzipped
  21    still wearing your clothes, or did he take your    21   your clothing, did he remove your pants?
  22    clothes off first?                                 22      A. He didn't remove my pants completely.
  23       A. The first thing he did was start to          23   He pulled them down.
  24    unbutton and unzip.                                24      Q. After he pulled them down, how long
  25       Q. Unbutton and unzip your clothes or his       25   did he touch you before he leaned you over the


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   1    couch?                                            1   very cold.
   2       A. This didn't take a lot of time.             2     Q. And you don't know whether there was a
   3       Q. Did he tell you that if you didn't          3   window in the room?
   4    accept this he would throw you out of the         4     A. I don't remember.
   5    Village before or after he leaned you over the    5     Q. How long did he have his penis in your
   6    couch?                                            6   butt?
   7       A. He said that many times. He said it         7     A. I don't remember.
   8    before, and he said it after.                     8     Q. Did he ejaculate?
   9       Q. How many times?                             9     A. I don't quite -- I don't quite know
  10       A. I don't remember, but he said it many      10   what happened or when it happened.
  11    times.                                           11     Q. After he took his penis from your
  12       Q. Did he say anything else?                  12   butt, did he say anything?
  13       A. No.                                        13     A. Yes, he said "if anyone ever finds
  14       Q. Did he remove your shirt?                  14   out, we're going to throw you out of the
  15       A. No.                                        15   Village." That's the only thing he said.
  16       Q. When did Douglas remove his pants?         16     Q. Did you say anything?
  17       A. He first unbuttoned my pants, and then     17     A. I couldn't say anything, because I
  18    he started fondling me, and then he unbuttoned   18   didn't understand what was going on. And also I
  19    his pants.                                       19   didn't want to be thrown out of the Village,
  20       Q. You've testified that he put his penis     20   because it was my only hope.
  21    in your butt. When he did so, did he wear a      21     Q. Did you get dressed?
  22    condom?                                          22     A. Yes.
  23       A. No.                                        23     Q. Did he get dressed?
  24       Q. Was he standing when he put his penis      24     A. Yes.
  25    in your butt?                                    25     Q. How long did you stay in the office


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   1     A. I wasn't looking, because I wasn't            1   after you got dressed?
   2   facing him.                                        2      A. Once I was dressed, he put me out.
   3      Q. Were your feet on the floor when you         3      Q. How long were you in his office from
   4   were leaning over the couch?                       4   the time you arrived to the time he put you out?
   5      A. Yes.                                         5      A. I don't remember.
   6     Q. When he put his penis in your butt,           6      Q. Where did you go when he put you out
   7   did you say anything?                              7   of the office?
   8      A. Yes.                                         8      A. He had me go back to the classroom.
   9      Q. What?                                        9      Q. Did he tell you where to go when you
  10      A. I said "it hurts, it hurts."                10   were leaving the office?
  11      Q. Did you yell that?                          11      A. He said "go back to your classroom."
  12      A. Yes, I yelled.                              12      Q. Did you go back to the same classroom
  13      Q. How many times?                             13   from which Doug had pulled you out of?
  14      A. I don't remember how many times, but I      14      A. Yes.
  15   was -- it was -- I was screaming, so I said it    15      Q. They were still studying the same
  16   many times.                                       16   subject?
  17     Q. Did any of the buildings at the              17      A. I wasn't thinking about anything other
  18   Village have air conditioning?                    18   than what had just happened to me at the time.
  19     A. Inside his office there was air              19      Q. Did you see anyone in the courtyard
  20   conditioning.                                     20   when you were going back to your classroom?
  21     Q. Doug Perlitz's office was air                21      A. No. I saw no one in the courtyard. I
  22   conditioned?                                      22   just went back to the classroom.
  23      A. I know it was very cold, but I don't        23      Q. At any time that you were in Douglas's
  24   know where it came from exactly, if it was some   24   office on the day he abused you in his office,
  25   type of a fan or something else. But it was       25   did Douglas offer you money?


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   1      A. No.                                           1   BY MR. BABBITT:
   2      Q. At any time when you were in the              2      Q. Did you ever hear anyone else mention
   3   office on the day that Doug Perlitz abused you      3   the name Cyrus Sibert and the fact that he was
   4   in his office, did Douglas offer you anything of    4   talking about Doug Perlitz on the radio?
   5   value in return for sex?                            5      A. No.
   6          MR. GARABEDIAN: Objection.                   6         MR. BABBITT: Mr. Garabedian wants to
   7      A. No. No. He only said that --                  7   take a break, and that's fine.
   8   threatened me and said that he would throw me       8         MR. GARABEDIAN: Ten minutes. Thanks.
   9   out of the Village.                                 9          THE VIDEOGRAPHER: Going off the
  10   BY MR. BABBITT:                                    10   record. The time is 3:06.
  11      Q. When you go back to the classroom, did       11         (Whereupon, a recess was taken.)
  12   you tell anybody in the classroom what had         12         THE VIDEOGRAPHER: Back on the record.
  13   happened?                                          13   The time is 3:32.
  14      A. No.                                          14   BY MR. BABBITT:
  15      Q. At any time before PPT closed, did you       15      Q. Mr. Dorciné, after Douglas abused you,
  16   tell any students at PPT what had happened?        16   you continued to attend school at the Village?
  17      A. No.                                          17      A. Yes.
  18      Q. At any time before PPT closed, did you       18      Q. You participated in the classes that
  19   tell any teacher at PPT what had happened?         19   the school offered?
  20      A. No.                                          20      A. Yes.
  21      Q. At any time before PPT closed, did you       21      Q. And your parents continued to be
  22   tell any staff member at PPT what had happened?    22   employed at the Village?
  23      A. No. I didn't tell this to anyone at          23      A. Yes.
  24   all. The only people I could have said             24      Q. Between the day that Douglas abused
  25   something to would have been Mrs. Carter or        25   you and the day that PPT closed, did you ever


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   1   Father Paul since they're the ones who were         1    talk to Douglas about what he had done?
   2   giving the money for the Village. But the           2       A. No.
   3   occasion never arose where I had the opportunity    3       Q. Before PPT closed, did you tell
   4   to do so.                                           4    Sylvester Tan that Douglas had abused you?
   5      Q. Why did you think that you could not          5       A. No.
   6   tell a teacher at PPT that Douglas had abused       6       Q. Did you tell Jessica?
   7   you?                                                7       A. No.
   8      A. I didn't -- I couldn't tell this to           8       Q. Did you know Brittany McLean?
   9   any of the teachers because they would not have     9       A. Yes.
  10   been able to do anything for me to begin with.     10       Q. Did you tell Brittany?
  11   The only people that I could have told would       11       A. No.
  12   have been the police, but I would have been        12       Q. Did you tell Nick Preneta?
  13   perhaps thrown in jail, or even been killed,       13       A. I don't remember that name.
  14   because justice is on the side of people who       14       Q. Did you tell Madame Junie?
  15   have money.                                        15       A. I never saw that person, because I
  16      Q. Did you ever hear Cyrus Sibert on the        16    wasn't part of catechism.
  17   radio?                                             17       Q. Did you tell Robinson?
  18      A. No.                                          18       A. No.
  19      Q. Did you ever hear that Cyrus Sibert in       19       Q. Did you tell Margarette Joseph?
  20   2007 was talking on the radio about Doug           20       A. No.
  21   Perlitz?                                           21       Q. Did you ever speak with anyone from
  22      A. I don't own a radio. I never listen          22    the United States Government about Douglas
  23   to the news.                                       23    Perlitz?
  24           MR. GARABEDIAN: Can we take a break?       24       A. No.
  25           MR. BABBITT: In a minute.                  25       Q. Before you started attending Rue 13,


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   1   had you ever heard of the Society of Jesus of       1      Q. What did you hear when you were a
   2   New England?                                        2   student at the Village about Fairfield
   3     A. No.                                            3   University?
   4     Q. While you were attending Rue 13, did           4      A. He would talk to us about Fairfield
   5   you hear that name, the Society of Jesus of New     5   University when Father Paul was there, he would
   6   England?                                            6   tell us that Father Paul was one of the people
   7     A. No.                                            7   that could help us get into Fairfield University
   8     Q. Before you started attending Rue 13,           8   as students.
   9   had you ever heard of the Haiti Fund?               9      Q. What did Douglas say about what grade
  10     A. No.                                           10   you would have to complete before you could
  11     Q. While you were attending Rue 13, did          11   attend Fairfield University?
  12   you hear about the Haiti Fund?                     12      A. We would have to finish school, we'd
  13     A. No.                                           13   have to complete our schooling.
  14     Q. While you were attending the Village,         14      Q. And what grade would you have had to
  15   did you hear about the Haiti Fund?                 15   complete to complete your schooling?
  16     A. No.                                           16      A. We would have to get to the level
  17     Q. Before you started attending Rue 13,          17   called philosophy.
  18   had you ever heard of the Order of Malta?          18      Q. And did the Village offer classes to
  19     A. No.                                           19   get you to the level called philosophy when you
  20     Q. At any time while you were attending          20   were a student at the Village?
  21   Rue 13, did you ever hear of the Order of Malta?   21      A. No. Inside the Village you only got
  22     A. No.                                           22   to the sixth year, and to complete your
  23     Q. At any time you were attending the            23   schooling you had to go somewhere else.
  24   Village, did you hear of the Order of Malta?       24      Q. I see. Okay.
  25     A. Yes. I've heard people speak about            25          Did Douglas say who would -- let me


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   1    it.                                                1   start again.
   2       Q. Who did you hear speak about it?             2          Did Douglas say anything else about
   3       A. Douglas used to tell us that they are        3   what you would have had to do in order to attend
   4    one of the people that are helping, that is        4   Fairfield University?
   5    helping the Village, one of the sponsors.          5      A. No.
   6       Q. Did he tell you what the Order of            6      Q. Did Douglas tell you how Father Paul
   7    Malta was?                                         7   was going to help you to get into Fairfield
   8       A. No.                                          8   University?
   9       Q. Tell me everything that Doug ever said       9      A. No.
  10    about the Order of Malta.                         10      Q. Have you had nightmares since Douglas
  11       A. The only thing he said, that it was a       11   Perlitz abused you?
  12    company or a group or something that was          12      A. Yes.
  13    helping, that was helping the Village.            13      Q. How often?
  14       Q. At any time before you started              14      A. Many times I've had bad dreams, but I
  15    attending Rue 13, had you heard of Fairfield      15   can't tell you how many times.
  16    University?                                       16      Q. Every night?
  17       A. No.                                         17      A. No.
  18       Q. At any time while you were attending        18      Q. Every week?
  19    Rue 13, had you heard of Fairfield University?    19      A. I can't give you a number. It's
  20       A. It's when I was in the Village that I       20   happened to me many times, but I couldn't tell
  21    heard speak about that.                           21   you how often.
  22       Q. You didn't hear anything about              22      Q. Do you believe that your nightmares
  23    Fairfield University before you started           23   are caused by what Douglas did to you?
  24    attending the Village?                            24      A. Yes. Also I continue to imagine what
  25       A. No.                                         25   he did, and that's the reason why I have


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   1   nightmares.                                         1   And I'm very closed in on myself, I have to hide
   2      Q. Is that what the nightmare consists           2   myself away.
   3   of, you imagining what Douglas did to you?          3      Q. Have you ever tried to get therapy for
   4      A. I think a lot about what happened, and        4   the emotional pain that you suffer?
   5   then when I sleep the dreams come.                  5      A. You have to have money for that, and I
   6      Q. What dreams?                                  6   don't have any.
   7      A. The dreams about what happened.               7      Q. Have you ever tried to get counseling
   8      Q. How long after the abuse did you have         8   with respect to the emotional pain that you
   9   the first nightmare that you believe was a          9   suffer?
  10   result of the abuse?                               10      A. I don't understand the word
  11          MR. GARABEDIAN: Objection.                  11   "counseling."
  12      A. I don't remember.                            12      Q. Did you ever try to get help of any
  13   BY MR. BABBITT:                                    13   kind for the pain that you suffer?
  14      Q. Do you have nightmares that are not          14      A. No.
  15   related to Doug Perlitz's abuse?                   15      Q. Do you suffer any physical pain as a
  16          MR. GARABEDIAN: Objection.                  16   result of Douglas Perlitz's abuse?
  17      A. Yes.                                         17      A. Yes.
  18   BY MR. BABBITT:                                    18      Q. Where do you suffer physical pain
  19      Q. How often?                                   19   today?
  20      A. Many times, but I can't give you a           20      A. My tummy hurts, my head hurts.
  21   quantity, because every time you go to sleep you   21      Q. And has your stomach hurt since 2006
  22   dream.                                             22   or 2007 when Mr. Perlitz abused you?
  23      Q. Do you have nightmares that are not          23      A. Ever since that time, my head and my
  24   related to Doug Perlitz's abuse more or less       24   stomach started to act up hurting me.
  25   often that you have nightmares that you believe    25      Q. Did it start the day of the abuse?

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   1   are related to Doug Perlitz's abuse?                1      A. No.
   2          MR. GARABEDIAN: Objection.                   2      Q. When did it start?
   3      A. No. Usually what happens is when I            3      A. It took about one or two weeks.
   4   think about that, the nightmares come.              4      Q. Your stomach and your head started
   5   BY MR. BABBITT:                                     5   hurting one or two weeks after the abuse?
   6      Q. Do you have nightmares that are not           6      A. Yes.
   7   related to Doug Perlitz's abuse more or less        7      Q. And they have hurt since then?
   8   often than you have nightmares that you believe     8      A. It's not all the time every day. It
   9   are related to Doug Perlitz's abuse?                9   just comes back. It comes back.
  10          MR. GARABEDIAN: Objection.                  10      Q. How often does it come back?
  11      A. I couldn't tell you how many dreams,         11      A. I couldn't tell you exactly how much,
  12   nightmares I have.                                 12   but it comes back very often. For example, in
  13   BY MR. BABBITT:                                    13   the course of one month, it can happen to me six
  14      Q. Do you suffer emotional pain as a            14   or seven times.
  15   result of Douglas Perlitz's abuse?                 15      Q. In the course of one month, your
  16      A. Yes.                                         16   stomach and your head can hurt six or seven
  17      Q. Describe that.                               17   times?
  18      A. Sometimes it drives me crazy. I feel         18      A. Or seven or eight times.
  19   like leaving, going somewhere, forgetting          19      Q. And that's been the case for eight or
  20   completely about Haiti, just going somewhere       20   nine years?
  21   else many times. I feel like I'm nothing, I'm      21      A. I didn't calculate the date.
  22   nothing in society. I feel as though I've been     22      Q. Has any doctor ever told you that your
  23   condemned by God, as though God has punished me.   23   stomach hurting is connected in any way to the
  24   Everywhere I go people refuse to give me work,     24   abuse that you say Mr. Perlitz inflicted on you?
  25   they humiliate me, and they call me a faggot.      25      A. No. I've never been to the doctors.


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   1    That's what I think is the case, because it's       1   Mr. Perlitz?
   2    ever since that happened that I'm suffering.        2     A. No.
   3       Q. When your stomach and your head hurt,         3     Q. Do you know anybody named Matthew?
   4    are you able to work?                               4     A. I remember that name, but this is not
   5       A. No.                                           5   someone I talked with.
   6       Q. When your stomach and your head hurt,         6     Q. How do you remember that name?
   7    are you able to eat?                                7     A. It seems that I've seen him with
   8       A. I can spend the whole day without             8   Cyrus, but it's not someone that I ever had
   9    eating anything.                                    9   conversations with.
  10       Q. When your stomach and your head hurt,        10     Q. Has Matthew ever given you any money?
  11    are you able to eat?                               11     A. No.
  12       A. It happens that I spend the whole day        12     Q. Has Cyrus ever given you any money?
  13    that I don't eat anything, and only when the       13     A. Yes.
  14    pain goes away I'm able to eat something.          14     Q. How many times?
  15       Q. When your stomach and your head hurt,        15     A. Twice, $100.
  16    are you able to sleep?                             16     Q. He gave you money two times?
  17       A. Pain does not allow you to sleep.            17     A. Yes.
  18    When you're suffering pain, you cannot neither     18     Q. Each time he gave you $100?
  19    eat nor sleep.                                     19     A. The first time he gave me 500 US -- I
  20       Q. What do you do when you're suffering         20   mean -- I'm sorry.
  21    stomach and head pain?                             21         The first time he gave me 100 US
  22       A. I can't do anything. And I don't have        22   dollars, and the second time he gave me 5,000
  23    the economic means to go see a doctor, so I just   23   Haitian gourdes.
  24    wait, I just wait until it goes away.              24     Q. When did he give you 100 US dollars?
  25       Q. Do you take any medicine of any kind         25     A. I don't remember the date.


                                           Page 147                                               Page 149
   1   when you have this pain?                             1      Q. Did he give you the 100 American
   2      A. No. It's happened that I buy pills in          2   dollars the first time you met him?
   3   the street, but these pills are not even -- are      3      A. No.
   4   not in conformity with any regulation.               4      Q. How many times have you met Cyrus
   5      Q. What are the pills that you buy in the         5   Sibert?
   6   street?                                              6      A. I don't remember how many times I met
   7      A. I buy Odone, O-D-O-N, and also other           7   him, but I met him several times.
   8   pills. I don't remember their names.                 8      Q. How many times did you meet him before
   9      Q. Who do you buy them from?                      9   he gave you 100 American dollars?
  10      A. People that are walking in the street         10      A. I don't remember.
  11   selling pills.                                      11      Q. Did you ask him for money?
  12      Q. Where do you get the money to buy             12      A. No.
  13   these?                                              13      Q. Did he just offer you the money?
  14      A. When I have a day of work, I can buy          14      A. He saw the situation, how I was
  15   one. They don't cost a lot of money. They cost      15   living, he saw how I was dressed, and it broke
  16   like 5 gourdes for one.                             16   his heart, and he decided to give me something.
  17      Q. And you've worked two days in the             17      Q. The 100 American dollars was a gift
  18   current year, in 2015, is that right?               18   from Cyrus to you?
  19      A. Yes.                                          19          MR. GARABEDIAN: Objection.
  20      Q. When is the last time you bought these        20      A. Yes.
  21   pills?                                              21   BY MR. BABBITT:
  22      A. I don't remember the last time I              22      Q. Did he tell you anything about the
  23   bought any.                                         23   gift that he gave you of 100 American dollars?
  24      Q. Have you ever talked to -- spoken with        24      A. No.
  25   someone named Matthew about your experience with    25      Q. How about the 5,000 Haitien gourdes,


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   1   when did he give you that?                          1          MR. GARABEDIAN: That's right.
   2      A. When I was coming here, he gave me            2   BY MR. BABBITT:
   3   5,000 gourdes.                                      3      Q. Have you received any money from any
   4      Q. Why did he do that?                           4   of your lawyers?
   5      A. He said -- I don't know why exactly,          5          MR. GARABEDIAN: Objection. Instruct
   6   but he said, you know, "you can't go just any       6   him not to answer based on attorney/client
   7   old way, you have to prepare yourself a little      7   privilege involving communications.
   8   bit to go, you have to put something on."           8          MR. BABBITT: It's your contention
   9      Q. Did you use the 5,000 Haitian gourdes         9   that the payment of money is communication?
  10   to buy clothes?                                    10          MR. GARABEDIAN: If there was payment,
  11      A. I bought a few things, because that          11   and we're not saying there was.
  12   money really cannot buy a lot of clothes.          12          MR. BABBITT: If there was, it's your
  13      Q. What few things did you buy?                 13   contention --
  14      A. I bought clothes. I bought things for        14          MR. GARABEDIAN: It's my contention --
  15   my -- to wear on my feet. And that's it.           15          MR. BABBITT: I'm going to make a
  16      Q. Since PPT closed, has anyone else            16   record, Mitch. Hang on.
  17   given you a gift of 100 American dollars?          17          It's your contention if there was any
  18          MR. GARABEDIAN: Objection. Instruct         18   payment by you to a witness, to your client,
  19   him not to answer as to any attorney/client        19   that's a form of communication?
  20   communication as it involves privilege.            20          MR. GARABEDIAN: Yes.
  21      A. Could you repeat the question, please?       21   BY MR. BABBITT:
  22   BY MR. BABBITT:                                    22      Q. Has anybody else given you a gift of
  23      Q. Since PPT closed, has anyone else            23   Haitian gourdes since PPT closed?
  24   given you a gift of 100 American dollars?          24      A. No.
  25          MR. GARABEDIAN: Same objection.             25      Q. Did Cyrus Sibert tell you where he got

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   1      A. No.                                           1   the money that he gave you?
   2   BY MR. BABBITT:                                     2          MR. GARABEDIAN: Objection.
   3      Q. Have you received any money from              3      A. No.
   4   Mr. Mitch?                                          4   BY MR. BABBITT:
   5           MR. GARABEDIAN: Objection. Instruct         5      Q. Did you promise to pay Cyrus back from
   6   him not to answer as it involves attorney/client    6   any money that you receive?
   7   communication. Don't answer.                        7      A. I don't know whether or not I will
   8           MR. BABBITT: The payment of money           8   ever get any money. The only thing I know is
   9   involves --                                         9   that he gave me something.
  10           MR. GARABEDIAN: Yes.                       10      Q. Did you promise to pay Cyrus back from
  11           MR. BABBITT: -- communication?             11   any money that you receive?
  12           MR. GARABEDIAN: Yes.                       12      A. No.
  13           MR. BABBITT: Okay.                         13      Q. Have you promised to pay -- to give
  14   BY MR. BABBITT:                                    14   Cyrus any money from your lawsuit?
  15      Q. Did any --                                   15      A. No.
  16           MR. GARABEDIAN: If there was.              16      Q. Has Cyrus told you that he will get
  17           MR. BABBITT: I don't know whether          17   money from your lawsuit?
  18   there was, we don't know whether there was, all    18      A. No.
  19   we know is you've now instructed the witness not   19      Q. Did Cyrus get money from the lawsuits
  20   to tell us whether he's received money from you.   20   that were settled before?
  21           MR. GARABEDIAN: Note my objection.         21          MR. GARABEDIAN: Objection.
  22           MR. BABBITT: Right. I get that. You        22      A. I don't know.
  23   have objected and instructed -- not only           23   BY MR. BABBITT:
  24   objected, you've instructed the witness not to     24      Q. Mr. Dorciné, did you understand the
  25   answer.                                            25   questions that I've asked you today?


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   1      A. Yes.                                          1      Q. Did Douglas say anything else about
   2      Q. And if you didn't understand my               2   the Society of Jesus of New England other than
   3   questions, you let me know, is that correct?        3   the Society was a sponsor of the Village?
   4      A. Yes.                                          4      A. No.
   5      Q. Is there anything you want to change          5      Q. When did Douglas mention the Society
   6   about your answers that you've given today?         6   of Jesus of New England?
   7      A. No.                                           7      A. While we were at a Mass.
   8           MR. BABBITT: Thank you. I have              8      Q. It was one time at the Mass?
   9   nothing further. Thank you.                         9      A. Yes.
  10           THE VIDEOGRAPHER: Going off the            10      Q. When was the Mass?
  11   record. The time is 3:58.                          11      A. I don't remember.
  12           (Whereupon, a recess was taken.)           12      Q. Do you know anything else,
  13           THE VIDEOGRAPHER: Back on the record.      13   Mr. Dorciné, about the Society of Jesus of New
  14   The time is 4:08.                                  14   England?
  15   BY MR. KERRIGAN:                                   15      A. No.
  16      Q. Mr. Dorciné, good afternoon.                 16      Q. Mr. Dorciné, do you have any friends
  17      A. Good afternoon.                              17   who did not go to PPT?
  18      Q. My name is Michael Kerrigan, and I           18      A. Yes.
  19   represent the Society of Jesus of New England.     19      Q. Do you have any young men/male friends
  20           We're back from a break, Mr. Dorciné,      20   who did not go to PPT?
  21   and you are still under oath. Do you understand    21         MR. GARABEDIAN: Objection.
  22   that?                                              22      A. Yes.
  23      A. Yes.                                         23   BY MR. KERRIGAN:
  24      Q. You understand you're still required         24      Q. And do you have male friends who are
  25   to tell the truth, correct?                        25   your age that did not go to PPT?


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   1      A. Yes.                                          1      A. Yes.
   2      Q. Earlier today in the deposition,              2      Q. What are some of their names, just
   3   Mr. Dorciné, you told Mr. Babbitt that you had      3   first names?
   4   not heard of the Society of Jesus of New            4      A. My friends?
   5   England, is that correct?                           5      Q. Yes.
   6      A. I hadn't heard spoken about it before,        6      A. Winson. Tiguy, T-I-G-U-Y, Tiguy.
   7   but when I was in the Village I heard people        7   That's it.
   8   speak about it.                                     8      Q. Do you have any other friends who did
   9      Q. And did you hear the name Society of          9   not go to PPT?
  10   Jesus of New England before you started            10      A. No.
  11   attending the Village?                             11      Q. Where does Winson live?
  12      A. No.                                          12      A. Blue Hills.
  13      Q. While you were at the Village, did you       13      Q. In the same neighborhood you're living
  14   hear the name Society of Jesus of New England?     14   in?
  15      A. Yes.                                         15      A. We don't live very close to one
  16      Q. What did you hear about the Society of       16   another, but it's the same area.
  17   Jesus of New England while you were at the         17      Q. Does Winson have a job?
  18   Village?                                           18      A. No.
  19      A. Douglas told us that they were one of        19      Q. How about Tiguy, where does Tiguy
  20   the sponsors of the Village. When we were at       20   live?
  21   the chapel one day, Father Paul and Douglas were   21      A. Madlin.
  22   there, and Father Paul was celebrating Mass for    22      Q. Is Madlin an area of town?
  23   us, and at the end of the Mass Douglas showed us   23      A. Yes.
  24   a badge that Father Paul was wearing, and he       24      Q. Is that near Blue Hills?
  25   said that that represented the Society of Jesus.   25      A. No.


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   1      Q. Where is that near?                           1   year, or more?
   2      A. Cap-Haïtien.                                  2      A. You have to go through 14 classes.
   3      Q. Does Tiguy have a job?                        3      Q. So that would be grade 14?
   4      A. I don't know.                                 4          MR. GARABEDIAN: Objection.
   5      Q. Do you have other friends that you            5      A. Yes.
   6   spend time with?                                    6   BY MR. KERRIGAN:
   7      A. No.                                           7      Q. And are there schools in Cap-Haïtien
   8      Q. Now, Mr. Dorciné, if you had not been         8   that go up to the 14th year, or 14th grade?
   9   abused by Douglas, would you have completed your    9      A. Yes.
  10   classes at the Village?                            10      Q. Can you name any of those?
  11      A. Yes. I was hoping for that.                  11      A. No.
  12      Q. And would you have continued on to           12      Q. Can you understand any English?
  13   another school?                                    13      A. No.
  14      A. Yes.                                         14      Q. What would you have studied at these
  15      Q. What school?                                 15   schools?
  16      A. I don't know.                                16      A. Which school?
  17      Q. What are the choices of schools?             17      Q. Any school. Would you have studied
  18      A. There are a lot of schools in the            18   something in particular?
  19   area. I don't remember the names, but there are    19      A. Do you mean when I would have gone to
  20   a lot of them.                                     20   university, or do you mean in the high school or
  21      Q. What are the names that you remember         21   in the regular elementary school?
  22   for these schools?                                 22      Q. The high school.
  23      A. No.                                          23      A. I thought of continuing my schooling
  24      Q. How many schools would be available          24   until I had finished.
  25   for you to go to after the Village?                25      Q. And are there universities available


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   1       A. That I had decided to go to, what do         1   to you in Haiti?
   2    you mean?                                          2      A. Yes, but they are not up to par.
   3       Q. I mean how many schools are there that       3      Q. What do you mean by that?
   4    you could have gone to?                            4      A. The quality of the education is not
   5       A. In Blue Hills itself there's no other        5   very good.
   6    school that had the higher grades.                 6      Q. What are the names of the universities
   7       Q. What about outside of Blue Hills, what       7   that would have been available to you in Haiti,
   8    other schools were available to you?               8   or that are available to you in Haiti?
   9       A. There are a lot of them. I don't             9      A. I don't remember the names.
  10    remember their names, but there are a lot of      10      Q. Have you ever tried to get into any of
  11    them.                                             11   the schools that go up to the 14th year?
  12       Q. Can you give me the name of one             12      A. No.
  13    school?                                           13      Q. Why not?
  14       A. I don't remember the names at all.          14      A. Because I didn't finish the schooling
  15       Q. And you think that you would have gone      15   that gets to those levels.
  16    to one of these schools that you can't remember   16      Q. What schooling would you need to
  17    the names of?                                     17   finish to get to that level?
  18       A. Yes.                                        18      A. You mean how to start in order to end
  19       Q. And what grade do these schools go up       19   up at the school that ends at the 14th year?
  20    to?                                               20      Q. That's right.
  21       A. To the last grade.                          21      A. You have to first finish the
  22       Q. What is the last grade?                     22   certificate level, and when you do the
  23       A. Philosophy.                                 23   certificate level there's an exam, and that
  24       Q. And what year of school would that be,      24   allows you to proceed on to the higher grades.
  25    sixth year, seventh year, eighth year, ninth      25      Q. Have you tried to get your certificate


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   1   and pass the certificate level?                     1   this year, correct?
   2      A. No, I wasn't able to get my head              2      A. Yes.
   3   together to remember anything to be able to pass    3      Q. Have you tried to find work?
   4   the test.                                           4      A. I tried to find work, but I wasn't
   5      Q. And have you tried more than once?            5   able to find any because they don't want to give
   6      A. Only one time.                                6   anyone -- they don't want to give gays jobs in
   7      Q. Do you plan to try again?                     7   the country.
   8      A. Yes, I'd like to try again, but I             8      Q. Why not?
   9   don't have the economic means.                      9      A. Because it's something which is
  10      Q. So it's a question of money, that's          10   humiliation.
  11   why you're not going back to school?               11      Q. What is humiliation?
  12          MR. GARABEDIAN: Objection.                  12      A. They insult you, they call you names,
  13      A. I'm not working, and my parents can't        13   they tell you "get out of here, faggot."
  14   afford to help me, so only money would be able     14      Q. Why do they do that?
  15   to help me.                                        15      A. I don't know. It's a humiliation.
  16   BY MR. KERRIGAN:                                   16      Q. Is there something wrong with being
  17      Q. How much would it cost for you to            17   gay in Haiti?
  18   complete the classes needed to get your            18      A. Yes.
  19   certificate?                                       19      Q. What is wrong about that?
  20      A. I don't know, because I never inquired       20      A. It's something which God condemns.
  21   about the prices. And every year the prices go     21      Q. Do you condemn that as well?
  22   up, they change, so I would have to see.           22      A. I have to condemn it because that's
  23      Q. You have never looked into how much it       23   what's in the bible and that's what they teach
  24   would cost?                                        24   at church.
  25      A. No.                                          25      Q. What religion are you, Mr. Dorciné?

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   1      Q. Are there any free schools or public          1      A. I am Protestant.
   2   schools in Haiti?                                   2      Q. Which Protestant church do you belong
   3      A. They do exist, but they don't get to          3   to?
   4   those levels.                                       4      A. Baptist.
   5      Q. Are there any charitable schools in           5      Q. And have you been a Baptist all your
   6   Haiti that get to that level?                       6   life?
   7      A. I don't know of any.                          7      A. Yes.
   8      Q. Mr. Dorciné, is the unemployment rate         8      Q. If you got a job, would you be
   9   in Haiti high?                                      9   physically able to work?
  10      A. Very high.                                   10          MR. GARABEDIAN: Objection.
  11      Q. How high is it? Do you know what             11      A. I'm not sure of that, because when I'm
  12   percentage of people are unemployed in Haiti?      12   in pain, the pain doesn't allow me to do
  13      A. No.                                          13   anything.
  14      Q. Are many of your friend out of work?         14   BY MR. KERRIGAN:
  15      A. No.                                          15      Q. When you say "pain," you're referring
  16      Q. Are many of your friends working?            16   to your stomach pain and your head pain?
  17      A. No.                                          17      A. Yes.
  18      Q. Okay. Are many of your friends not           18      Q. What have you done specifically to try
  19   working?                                           19   to find work?
  20      A. Yes.                                         20      A. What I do is I leave the area where
  21      Q. Okay. Can you name any of your               21   I'm in and I try to go find work elsewhere.
  22   friends who have a job?                            22      Q. What do you do when you try to go find
  23      A. I don't have any friends who have            23   work?
  24   jobs.                                              24      A. I try to look for work where I can
  25      Q. Now, you yourself have worked two days       25   help out the masons carry the loads of cement.


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   1      Q. Do you just walk up to job sites where        1      A. I couldn't tell you.
   2   people are working?                                 2      Q. Mr. Dorciné, how much does it cost in
   3      A. I ask them very often, they already           3   Cap-Haïtien to rent a place to live?
   4   have enough people, or sometimes they even have     4      A. I don't know. I'm not used to renting
   5   too many people already on-site.                    5   homes.
   6      Q. And that's why they won't give you            6      Q. How much would it cost to buy a place
   7   work?                                               7   to live?
   8      A. And what happens when I leave the area        8      A. I don't know. I'm not used to
   9   where I am to go find work elsewhere, since they    9   negotiating or seeing those prices. But the
  10   don't know who I am, I also don't find work.       10   people who are used to that say that it's very,
  11      Q. So even when people don't know that          11   very expensive.
  12   you went to the Village, you still can't find      12      Q. If you win your case against Douglas,
  13   work, correct?                                     13   do you expect to get money?
  14      A. That's right. And there are a lot of         14      A. I'm not thinking of that. The only
  15   people looking, because it's a country which has   15   thing is that I'm here to ask for justice.
  16   a very high unemployment rate.                     16      Q. What is justice?
  17      Q. How much does a mason worker earn in a       17      A. I don't know. The judge will know.
  18   month?                                             18      Q. Has Cyrus Sibert ever told you what
  19      A. A mason does not work per month.             19   you can expect from this case?
  20      Q. How often does a mason get paid?             20      A. No.
  21      A. The people carrying the loads of             21      Q. Has anyone other than your lawyers
  22   cement mortar, they get 250 gourdes per day.       22   told you what to expect from this case?
  23      Q. Is that a good rate?                         23      A. No.
  24      A. No.                                          24      Q. Mr. Dorciné, how do you spend your
  25      Q. What would be a good rate for a mason        25   days?

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   1   assistant to earn a day?                            1      A. I walk, and then I lie down during the
   2      A. I don't know what the rates are. I            2   day because I have nothing else to do.
   3   only know what they've given me when I have         3      Q. Do you do anything else?
   4   worked and when I have asked for work.              4      A. No.
   5      Q. What does a mason earn per day?               5      Q. Do you watch TV?
   6      A. I don't know. I'm not one of the              6      A. I don't have such things.
   7   people that is employed on the construction         7      Q. Do you talk on the phone?
   8   sites, so I don't know. They are all                8      A. Not often.
   9   independent and they make their own prices.         9      Q. When you talk on the phone, who do you
  10      Q. Have you ever washed cars for work in        10   talk to?
  11   the streets?                                       11      A. With my family, with my friends.
  12      A. No.                                          12      Q. What else do you do to spend your
  13      Q. Have you done any other work since           13   time, other than walk and lie down?
  14   leaving the Village, other than acting as a        14      A. If I have a little bit of money in my
  15   mason's assistant?                                 15   pocket I will buy moonshine, I will drink until
  16      A. No.                                          16   I fall down in the middle of street.
  17      Q. How many times since you left the            17      Q. How often has that happened?
  18   Village have you worked as a mason's assistant?    18      A. Many times, especially when that
  19      A. How many times since I left the              19   incident comes back to haunt my mind.
  20   Village?                                           20      Q. Do you ever play sports or soccer with
  21      Q. Correct.                                     21   your friends?
  22      A. I can't tell you how many times.             22      A. No.
  23      Q. Is it five times, or less?                   23      Q. Are you able to play sports if you
  24      A. More.                                        24   wanted to?
  25      Q. Is it ten times, or less?                    25      A. Yes.


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   1       Q. And you're able to take care of              1     A. Thank you.
   2   yourself each day?                                  2          THE VIDEOGRAPHER: Going off the
   3       A. What do you mean?                            3   record. The time is 4:44.
   4       Q. You're able to dress yourself, wash          4          (Pause.)
   5   yourself, feed yourself?                            5          THE VIDEOGRAPHER: Back on the record.
   6       A. Yes.                                         6   The time is 4:45.
   7       Q. If you want to go outside and go for a       7   BY MR. ROSENBERG:
   8   walk, you can do that, correct?                     8     Q. Good afternoon, sir. As I said
   9       A. I can't walk a lot, though, because          9   earlier, my name is Aaron Rosenberg, and I
  10   what happens is if I walk around the area where    10   represent Father Paul Carrier.
  11   I live, people will see me and will call me a      11          You said earlier that you're a
  12   faggot.                                            12   Baptist, correct?
  13       Q. But physically you're able to walk any      13     A. Yes.
  14   time you want to, correct?                         14     Q. And do you go to a particular church?
  15           MR. GARABEDIAN: Objection.                 15     A. Yes.
  16       A. No.                                         16     Q. How often would you say you go to
  17   BY MR. KERRIGAN:                                   17   church?
  18       Q. Why not?                                    18     A. Many times.
  19           THE INTERPRETER: Interpreter corrects      19     Q. Do you go every week?
  20   himself. The answer is yes.                        20     A. I couldn't tell you exactly, but
  21       Q. And you are able to go out and look         21   usually it's on Sunday once a week.
  22   for work if you want to, correct?                  22     Q. And where is the church that you go to
  23       A. It's not a question of whether I want,      23   now?
  24   it's whether or not I find any.                    24     A. In Cap-Haïtien.
  25       Q. No, but my question is exactly that.        25     Q. How far from where you live?


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   1   I want to know, if you want to go out and look      1      A. Quite a ways, but I couldn't tell you.
   2   for work, you are free to do that, correct?         2      Q. And is that the same church that
   3      A. When I'm not in pain, I can walk and          3   you've gone to your whole life?
   4   look around in many different places to look for    4      A. When I was in the Village, there were
   5   work.                                               5   Masses, but my own church was that other place.
   6      Q. Is there a lot of poverty in                  6      Q. So when you were in the Village, did
   7   Cap-Haïtien, Mr. Dorciné?                           7   you go to your other church, or did you not have
   8      A. Yes.                                          8   time because of the Village?
   9      Q. Have you seen a lot of this poverty           9      A. I continued to go, because on Saturday
  10   yourself?                                          10   and Sunday I was not at the Village.
  11      A. Yes.                                         11      Q. So when you were not at the Village on
  12      Q. And does the poverty affect people who       12   Saturday and Sundays, you did go to the same
  13   did not go to PPT?                                 13   church that you go to now?
  14      A. Yes.                                         14      A. Yes.
  15      Q. Mr. Dorciné, before Douglas hurt you,        15         MR. ROSENBERG: I have nothing else.
  16   is it correct to say that you got great benefit    16         THE VIDEOGRAPHER: Going off the
  17   from Rue 13 and great benefit from the Village?    17   record. The time is 4:48.
  18      A. Yes.                                         18         (Pause.)
  19      Q. Mr. Dorciné, have you understood my          19         THE VIDEOGRAPHER: Back on the record.
  20   questions to you today?                            20   The time is 4:49.
  21      A. Yes.                                         21   BY MR. CERRETA:
  22      Q. And if you didn't understand, you told       22      Q. Good afternoon, sir. My name is John
  23   me about that?                                     23   Cerreta for Fairfield University.
  24      A. Yes.                                         24         You testified earlier today that
  25           MR. KERRIGAN: Thank you very much.         25   Douglas told you and other students that Father


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   1   Paul could help you get into Fairfield              1      Q. Did you ever do any activities with
   2   University as students. Do I have that right?       2   Mrs. Carter?
   3      A. Yes.                                          3      A. No, not individually, but together as
   4      Q. Did Douglas tell you this when Father         4   a group I would meet with Mrs. Carter and we
   5   Paul was present?                                   5   would play football or basketball, and then
   6      A. Yes.                                          6   sometimes we would have meetings and they would
   7      Q. Do you remember how many times Douglas        7   talk to us. But as a group, again, we would
   8   told you this when Father Paul was present?         8   have a meeting with Mrs. Carter or Father Paul,
   9      A. Only one time.                                9   and Douglas always told us that they were the
  10      Q. Did Douglas ever tell you this when          10   backbone of the Village, that they were
  11   Father Paul was not present?                       11   sponsors.
  12      A. No. I don't know if he said it to            12      Q. And how many times did Douglas say
  13   other children, but not in front of me.            13   this to the group?
  14      Q. Did Douglas tell you anything else           14      A. In front of me, only once.
  15   about Fairfield University?                        15      Q. Okay. When was that, sir?
  16      A. No.                                          16      A. I don't remember. A lot of time has
  17      Q. While you were a student -- I'm sorry,       17   gone by.
  18   do you want to continue?                           18      Q. Okay. Now, you don't speak English,
  19      A. He simply said to us while I was a           19   do you, sir?
  20   student that Father Paul could -- had the          20      A. No.
  21   ability to help us get into Fairfield University   21      Q. And you've never spoken to
  22   if we finished school.                             22   Mrs. Carter, have you?
  23      Q. Do you remember him telling you              23      A. No.
  24   anything else about Fairfield University, other    24      Q. Have you ever been present when
  25   than that?                                         25   Douglas translated for Mrs. Carter to the group?


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   1      A. No.                                           1      A. If I was there?
   2      Q. While you were a student at PPT, did          2      Q. Yes, sir.
   3   anybody tell you anything else about Fairfield      3      A. Yes.
   4   University?                                         4      Q. And what did Douglas say?
   5      A. No.                                           5      A. He told us that they were the boss of
   6           MR. CERRETA: Thank you, sir. That's         6   the Village, the sponsors of the Village, and
   7   all I have.                                         7   that if they didn't -- if it weren't for them,
   8           THE VIDEOGRAPHER: Going off the             8   the Village would go to pieces, wouldn't exist.
   9   record. The time is 4:52.                           9      Q. Did Douglas say anything else about
  10           (Pause.)                                   10   Mrs. Carter?
  11           THE VIDEOGRAPHER: Back on the record.      11      A. No.
  12   The time is 4:52.                                  12      Q. So all Douglas told you was that she
  13   BY MR. KENNEDY:                                    13   was a supporter of the Village, correct?
  14      Q. Hi, Mr. Dorciné. I know we met               14      A. He said they were the pillars of the
  15   earlier this morning, my name is Jeff Kennedy, I   15   Village, and if those pillars weren't there the
  16   represent Hope Carter. I have some questions       16   pillars would come tumbling down.
  17   for you.                                           17      Q. And those were Douglas's words?
  18           It's my understanding you saw              18      A. That's what he was saying in their
  19   Mrs. Carter at the Village several times, is       19   presence.
  20   that correct?                                      20      Q. I believe you indicated you saw
  21      A. Yes.                                         21   Mrs. Carter -- I'm sorry, that you heard Douglas
  22      Q. I think you also indicated that she          22   speak with Mrs. Carter present one time, is that
  23   would come there and play activities and give      23   correct?
  24   gifts, is that correct?                            24      A. Yes.
  25      A. Yes.                                         25      Q. Okay. And how long was that meeting,


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   1    sir?                                               1      Q. Okay. Can you describe Andy for me?
   2       A. The talk you mean?                           2      A. He's very tall, but I can't give you
   3       Q. Yes, sir.                                    3   all the details.
   4       A. It didn't last very long, but I can't        4      Q. Well, why not, sir?
   5    give you an estimation on the time.                5      A. I don't remember everything about him.
   6       Q. Do you have a clear memory of that           6      Q. Did you spend a lot of time with Andy?
   7    meeting, sir?                                      7      A. I spent a good deal -- bit of time
   8       A. Yes.                                         8   with him.
   9       Q. Who else was present, sir?                   9      Q. Do you know if Andy had a Haitian
  10       A. All of the other kids in the group.         10   girlfriend, sir?
  11       Q. Can you tell me some of the names,          11      A. Yes.
  12    sir?                                              12      Q. Do you know what her name was, sir?
  13       A. I don't remember their names.               13      A. No.
  14       Q. You don't remember any of the students      14      Q. Did you ever speak to her, sir?
  15    that were present, sir?                           15      A. No.
  16       A. There are a lot of them. I don't            16      Q. When your dad was working at the
  17    remember them, though.                            17   Village, did he have occasion to speak to the
  18       Q. You can't remember one name, sir?           18   PPT students, sir?
  19       A. No, because some of the students that       19      A. I never saw that.
  20    were there were taking classes outside the        20      Q. But he worked there every day,
  21    Village, some of them were in the Village, and    21   correct, sir?
  22    it was not a very stable situation, so they       22      A. Yes.
  23    would sort of come and go.                        23      Q. And he would interact with the
  24       Q. Were some of these students that you        24   students, correct, because he was the
  25    went to school with at the Village, sir?          25   gatekeeper?

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   1       A. Yes.                                         1          MR. GARABEDIAN: Objection.
   2       Q. Can you describe Mrs. Carter for me          2      A. He would see them, but I didn't follow
   3    physically, sir?                                   3   what he was doing, and I don't know whether he
   4       A. You mean her physical appearance?            4   was actually engaged with them or not.
   5       Q. Yes, sir.                                    5   BY MR. KENNEDY:
   6       A. She is an older woman. She always has        6      Q. Okay. Did your dad know some of their
   7    her pants right -- very high on her waist, and     7   names?
   8    she always has a little satchel hanging. She       8      A. Yes, he knew their names, but I don't
   9    has a lot of varicose veins in all of her body.    9   know if he remembers their names.
  10       Q. Anything else you remember, sir?            10      Q. What about your mom, did your mom know
  11       A. No.                                         11   some of the PPT students?
  12       Q. Sir, do you remember Jessica Lozier,        12      A. Yes.
  13    sir?                                              13      Q. Okay. And would your mom have
  14       A. I remember her, but I can't describe        14   occasion to speak to the PPT students?
  15    her.                                              15      A. When she was doing the wash, she would
  16       Q. Now, how many times have you met            16   maybe ask them what their wash was or hand them
  17    Jessica Lozier, sir?                              17   back their wash, or if they needed things
  18       A. Many times.                                 18   ironed. That was about it.
  19       Q. But you can't describe her, can you?        19      Q. Have you spoken to your mom and dad
  20       A. I don't remember her face well enough       20   about the allegations about abuse by
  21    to describe it.                                   21   Mr. Perlitz?
  22       Q. Do you remember Andy Schultheis, sir?       22      A. No.
  23       A. Andy?                                       23      Q. I know that you testified earlier,
  24       Q. Yes, sir.                                   24   sir, that before Mr. Perlitz abused you, on
  25       A. Yes.                                        25   occasions you would have to go to his office to


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   1    pick up a paycheck, is that correct, or money?     1   his office, is that correct?
   2    I'm sorry. To pick up your pay. Is that            2      A. Yes.
   3    correct?                                           3      Q. Was his office in the same building as
   4       A. Yes.                                         4   where your class was, sir?
   5       Q. And on those occasions, was                  5      A. No.
   6    Mr. Perlitz ever by himself in the office?         6      Q. Okay. Was it in another building?
   7       A. No, there were always several kids           7      A. Yes.
   8    coming in and out.                                 8      Q. How far was the walk from the
   9       Q. Before Mr. Perlitz abused you, had you       9   classroom to the office that had -- I'm sorry,
  10    ever been alone with him, sir?                    10   to Mr. Perlitz's office?
  11       A. No.                                         11      A. I couldn't explain to you. It would
  12       Q. Now, I think you testified earlier          12   be hard for me to explain to you the distance
  13    that on the day that Mr. Perlitz abused you, he   13   because we're not physically on the site.
  14    came to your classroom, correct?                  14      Q. Okay. Well, in time, can you tell me
  15       A. Yes.                                        15   how long it would take to walk?
  16       Q. And at that time he told you to get         16      A. No, I didn't have a watch. I didn't
  17    out of the class because you hadn't paid, is      17   check to see how many minutes.
  18    that correct?                                     18      Q. And on the walk, did you pass other
  19           MR. GARABEDIAN: Objection.                 19   PPT students?
  20       A. Yes.                                        20      A. All of them were inside the classroom.
  21    BY MR. KENNEDY:                                   21      Q. Okay. Was there -- did you have to go
  22       Q. And he said that while the class was        22   through a yard to get to Douglas's office, sir?
  23    going on, correct?                                23      A. Yes. I had to cross the yard to leave
  24       A. Yes. Everybody was there. Everybody         24   the school to get to the office.
  25    was working inside the classroom.                 25      Q. And did you -- I believe you indicated

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   1      Q. Who was the teacher, sir?                     1   before that your dad would often clean the yard
   2      A. Many teachers. Every time one subject         2   with a sickle, is that correct?
   3   matter was finished, the teacher would leave and    3          MR. GARABEDIAN: Objection.
   4   the other would come in.                            4       A. Yes.
   5      Q. And do you have a clear memory of that        5   BY MR. KENNEDY:
   6   day, sir?                                           6       Q. And when you got to Mr. Perlitz's
   7      A. What happened to me you mean?                 7   office, was the door open -- was there a door to
   8      Q. Yes. Do you remember that day well?           8   his office?
   9      A. Yes.                                          9          MR. GARABEDIAN: Objection.
  10      Q. Who were some of the other students          10       A. Yes.
  11   that were in the class with you when Mr. Perlitz   11   BY MR. KENNEDY:
  12   came into the room?                                12       Q. When you got there, was it open or
  13      A. I don't remember their names. The            13   closed?
  14   class had many students, and it's been many -- a   14       A. He opened the door, and then closed
  15   long, long time since I've ever seen them.         15   it.
  16      Q. Were some of these people your               16       Q. And am I correct that Mr. Perlitz said
  17   friends, sir?                                      17   nothing to you from the time that you left the
  18      A. No, but since it's a village, we were        18   classroom until he began to abuse you in the
  19   all friends.                                       19   office?
  20      Q. Okay. So some of the people in the           20          MR. GARABEDIAN: Objection.
  21   class were your friends?                           21       A. No. He simply said we're going to the
  22      A. All the people inside the classroom          22   office. He had spoken to me in the classroom,
  23   were my friends.                                   23   and he spoke to me again inside the office.
  24      Q. Now, I believe you indicated that            24   BY MR. KENNEDY:
  25   Mr. Perlitz took you by the hand and led you to    25       Q. Okay. What did he say to you inside


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   1   the office?                                        1      A. He was working, but I don't know if he
   2          MR. GARABEDIAN: Objection.                  2   was near or far, because I didn't see him.
   3      A. He said "if you don't accept to do           3      Q. What about your mom, was your mom
   4   this with me, they're going to throw you out of    4   working on that day, sir?
   5   the Village." He forced me.                        5      A. No.
   6   BY MR. KENNEDY:                                    6      Q. She was not?
   7      Q. So he said this to you before he             7      A. No.
   8   started to touch you?                              8      Q. Besides Mrs. Carter and Father Paul,
   9          MR. GARABEDIAN: Objection.                  9   do you remember the name of any other white
  10      A. He said this many times, before and         10   visitors who visited the Village, sir?
  11   after.                                            11      A. They're the ones that I would see most
  12   BY MR. KENNEDY:                                   12   often. They're the ones that I was used to
  13      Q. He said it many times. How many             13   seeing.
  14   times, sir, before? How many times did he say     14      Q. I understand, sir.
  15   this before he started to touch you, sir?         15          But my question was, besides them,
  16      A. He told me that once, then he started       16   besides Mrs. Carter and Father Paul, do you
  17   to touch me. I wasn't in agreement. I started     17   remember the names of any other white person who
  18   screaming and yelling. And when he finished he    18   came to visit the Village?
  19   said if I ever say -- talk about this they're     19      A. No.
  20   going to throw me out of the Village.             20      Q. Sir, were you at the Village when it
  21      Q. Were you screaming and yelling before       21   closed?
  22   he put his penis in your behind, sir?             22      A. Yes.
  23      A. Yes.                                        23      Q. Do you remember an individual named
  24      Q. Were you screaming and yelling when he      24   Michael McCooey?
  25   fondled your genitals, sir?                       25      A. I don't remember that name.


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   1      A. No. I was pushing, pushing away with         1      Q. After Mr. Perlitz abused you, I think
   2   my hands. I wasn't in agreement, but he was        2   you indicated you went back to the classroom, is
   3   forcing me.                                        3   that correct?
   4      Q. At what point did you scream and yell,       4      A. Yes.
   5   sir?                                               5      Q. Were you upset or crying at that
   6           MR. GARABEDIAN: Objection.                 6   point, sir?
   7      A. When he put my penis -- his penis in         7      A. I wasn't crying, because I didn't want
   8   my behind.                                         8   people to know about this.
   9   BY MR. KENNEDY:                                    9      Q. Were you upset, sir?
  10      Q. I believe you just testified that you       10      A. Very.
  11   started to yell and scream before he did that,    11      Q. Did any student ask "where did you go
  12   sir, is that correct?                             12   with Mr. Perlitz?"
  13           MR. GARABEDIAN: Objection.                13      A. No.
  14      A. No.                                         14      Q. Sir, how did you get from Haiti to the
  15   BY MR. KENNEDY:                                   15   Dominican Republic for your deposition?
  16      Q. Okay. How long did you yell and             16          MR. GARABEDIAN: Objection.
  17   scream, sir?                                      17          THE INTERPRETER: The interpreter
  18           MR. GARABEDIAN: Objection.                18   would like to make a clarification for the
  19      A. I couldn't tell you how much time.          19   deponent.
  20   BY MR. KENNEDY:                                   20          MR. KENNEDY: Sure.
  21      Q. Was your father working that day, sir?      21      A. By bus.
  22      A. Yes.                                        22   BY MR. KENNEDY:
  23      Q. And was this during the time -- was         23      Q. And did you come with anybody else?
  24   this during the time of day when your dad would   24   Did you come by yourself on the bus, or did you
  25   have been working?                                25   come with other people?


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   1       A. I came with other people.                  1   records that recently come to light, or that
   2       Q. What other people did you come with,       2   Plaintiffs' counsel has just received access to,
   3    sir?                                             3   and there is insufficient time to review those
   4       A. I came with Cyrus, I came with Brisma,     4   for privilege before tomorrow's deposition.
   5    with Raynel, and with Claude.                    5          Is that right, Mitch?
   6       Q. And did you sit with anybody on the        6          MR. GARABEDIAN: Yes. We received
   7    bus, sir?                                        7   access to them earlier today, and we believe
   8       A. I was sitting with Brisma.                 8   there are more than 100 Facebook messages that
   9       Q. And did you discuss the fact that you      9   we have to review with regard to privilege
  10    were coming for a deposition with Brisma?       10   before we can produce them.
  11       A. No.                                       11          MR. CERRETA: And we'd like to go
  12       Q. Did you discuss with Cyrus anything       12   forward tomorrow on the understanding that if --
  13    about your lawsuit on the bus trip?             13   once the privilege review is complete and these
  14       A. No.                                       14   records are produced to us, that at a future
  15       Q. How long was the bus trip, sir?           15   block of time when we're all gathered together
  16       A. It was a lot of time, but I didn't        16   to depose other Plaintiffs, that if there's
  17    have a watch.                                   17   something in those Facebook records that we need
  18       Q. Several hours, sir?                       18   to question Mr. Saincirin about we'll have an
  19       A. Yes.                                      19   opportunity -- that you will produce them, and
  20       Q. And who paid for your bus ticket, sir?    20   we'll have an opportunity to question about the
  21       A. Cyrus.                                    21   Facebook records at a future time.
  22       Q. Sir, if you're successful in your         22          MR. GARABEDIAN: That's agreed.
  23    lawsuit, if you win your lawsuit, will you be   23          MR. CERRETA: And I think --
  24    giving any of the money to Cyrus?               24          MR. GARABEDIAN: As long as the
  25           MR. GARABEDIAN: Objection.               25   questioning is not redundant and repetitive.


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   1      A. No.                                         1          MR. CERRETA: Right.
   2   BY MR. KENNEDY:                                   2          And I think we also agreed that all
   3      Q. What about Margarette Joseph, will you      3   parties would bear their own costs for that.
   4   be giving Margarette Joseph any money, sir?       4   And also, within reason, that we would be
   5      A. No.                                         5   extended the same courtesy should a good faith
   6      Q. Sir, how did you hear that Jean Gary        6   issue come up at our upcoming depositions.
   7   had money?                                        7          MR. GARABEDIAN: Of course.
   8      A. Rumors.                                     8          MR. CERRETA: Okay. Great.
   9      Q. Who told you the rumors, sir?               9          THE VIDEOGRAPHER: This concludes the
  10      A. The population of Cap-Haïtien,             10   September 30, 2015 deposition of Mr. Dorciné.
  11   everybody was talking about how kids that were   11   Going off the record. The time is 5:28.
  12   in that Village saw them became rich.            12          (Whereupon, the deposition was
  13      Q. And you had heard that before you went     13          concluded.)
  14   to see Cyrus, correct?                           14
  15      A. Yes.                                       15
  16          MR. KENNEDY: I have nothing further.      16
  17   Thank you very much, sir.                        17
  18          THE VIDEOGRAPHER: Going off the           18
  19   record. The time is 5:23.                        19
  20          (Pause.)                                  20
  21          THE VIDEOGRAPHER: Back on the record.     21
  22   The time is 5:26.                                22
  23          MR. CERRETA: We just wanted to put on     23
  24   the record that, as I understand it from         24
  25   Plaintiffs' counsel, there are some Facebook     25


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   1          CERTIFICATE                                  1           ------
   2          I, MAUREEN O'CONNOR POLLARD, LSR #473,                   ERRATA
   3   RMR, CLR, and Notary Public in and for the State    2           ------
   4   of Connecticut, do hereby certify that there        3   PAGE LINE CHANGE
   5   came before me on the 30th day of September,        4   ____ ____ _________________________________
   6   2015, the person hereinbefore named, who was        5     REASON: __________________________________
   7   duly sworn to testify to the truth of their         6   ___ ____ __________________________________
   8   knowledge concerning the matters in this cause,     7     REASON: __________________________________
   9   and their examination reduced to typewriting        8   ____ ____ _________________________________
  10   under my direction and is a true record of the
                                                           9     REASON: __________________________________
                                                          10   ____ ____ _________________________________
  11   testimony.
                                                          11     REASON: __________________________________
  12          I further certify that I am neither
                                                          12   ____ ____ _________________________________
  13   attorney for or related or employed by any of
                                                          13     REASON: __________________________________
  14   the parties to the action, and that I am not a
                                                          14   ____ ____ _________________________________
  15   relative or employee of any attorney or counsel
                                                          15     REASON: _________________________________
  16   employed by the parties hereto or financially      16   ____ ____ _________________________________
  17   interested in the action.                          17     REASON: _________________________________
  18          In witness whereof, I have hereunto         18   ____ ____ _________________________________
  19   set my hand and seal this 6th day of October,      19     REASON: _________________________________
  20   2015.                                              20   ____ ____ _________________________________
  21                                                      21     REASON: _________________________________
  22     ________________________________________         22   ____ ____ _________________________________
  23     MAUREEN O'CONNOR POLLARD, License #473           23     REASON: _________________________________
  24     Realtime Systems Administrator, RMR              24   ____ ____ _________________________________
  25     Notary Commission Expires: 10/31/2017            25


                                          Page 195                                                   Page 197
   1          INSTRUCTIONS TO WITNESS                      1         ACKNOWLEDGMENT OF DEPONENT
   2                                                       2
                                                           3             I, __________________________, do
   3              Please read your deposition over             Hereby certify that I have read the foregoing
   4    carefully and make any necessary corrections.      4   pages, and that the same is a correct
   5    You should state the reason in the appropriate         transcription of the answers given by me to the
   6    space on the errata sheet for any corrections      5   questions therein propounded, except for the
                                                               corrections or changes in form or substance, if
   7    that are made.                                     6   any, noted in the attached Errata Sheet.
   8              After doing so, please sign the          7
   9    errata sheet and date it. It will be attached      8   _________________________________
  10    to your deposition.                                    WADSON DORCINE           DATE
                                                           9
  11              It is imperative that you return        10
  12    the original errata sheet to the deposing         11
  13    attorney within thirty (30) days of receipt of    12
  14    the deposition transcript by you. If you fail     13
                                                          14
  15    to do so, the deposition transcript may be
                                                          15   Subscribed and sworn
  16    deemed to be accurate and may be used in court.        To before me this
  17                                                      16   ______ day of _________________, 20____.
  18                                                      17   My commission expires: ________________
  19                                                      18
                                                               _______________________________________
  20                                                      19   Notary Public
  21                                                      20
  22                                                      21
  23                                                      22
                                                          23
  24                                                      24
  25                                                      25


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                                                                      Page 1
                  UNITED STATES DISTRICT COURT
                  DISTRICT OF CONNECTICUT
                                       Civil Action No.
                                       3:13-cv-01132(RNC)
        ****************************
        GERVIL ST. LOUIS, a/k/a ST.    Consolidated with:
        LOUIS GERVIL,                  3:13-cv-1225-RNC
                                       3:13-cv-1269-RNC
                       Plaintiff,      3:13-cv-1437-RNC
                                       3:13-cv-1480-RNC
             v.                        3:13-cv-1626-RNC
                                       3:13-cv-1627-RNC
        DOUGLAS PERLITZ, FATHER        3:13-cv-1628-RNC
        PAUL E. CARRIER, S.J.; HOPE    3:13-cv-1629-RNC
        E. CARTER; HAITI FUND,         3:13-cv-1630-RNC
        INC.; FAIRFIELD UNIVERSITY;    3:13-cv-1631-RNC
        THE SOCIETY OF JESUS OF NEW    3:13-cv-1632-RNC
        ENGLAND; SOVEREIGN MILITARY    3:13-cv-1633-RNC
        HOSPITALLER ORDER OF ST.       3:13-cv-1634-RNC
        JOHN OF JERUSALEM OF RHODES    3:13-cv-1635-RNC
        AND OF MALTA, AMERICAN         3:13-cv-1636-RNC
        ASSOCIATION, U.S.A.; a/k/a     3:13-cv-1637-RNC
        ORDER OF MALTA, AMERICAN       3:13-cv-1638-RNC
        ASSOCIATION, U.S.A.; JOHN      3:13-cv-1639-RNC
        DOE ONE; JOHN DOE TWO; JOHN    3:13-cv-1640-RNC
        DOE THREE; JOHN DOE FOUR;      3:13-cv-1641-RNC
        JOHN DOE FIVE; JOHN DOE SIX    3:13-cv-1642-RNC
        and JOHN DOE SEVEN,            3:13-cv-1644-RNC
                                       3:13-cv-1645-RNC
                       Defendants.     3:13-cv-1647-RNC
                                       3:13-cv-1648-RNC
                                       3:13-cv-1701-RNC
                                       3:13-cv-1767-RNC
                                       3:13-cv-1768-RNC
                                       3:13-cv-1769-RNC
                                       3:13-cv-1881-RNC
                                       3:13-cv-1904-RNC
                                       3:13-cv-1906-RNC
                                       3:13-cv-1907-RNC
        ******************************
        This document applies to:
        All of the above referenced cases
        And those to be filed
        ******************************
        CONFIDENTIAL - SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
             VIDEOTAPED DEPOSITION OF JEAN MOISE EMILE

                   Wednesday, October 28, 2015
                          9:01 a.m.

            Golkow Technologies, Inc. - 1.877.370.DEPS
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                                                 Page 2                                           Page 4
   1     VIDEOTAPED DEPOSITION OF JEAN MOISE EMILE         1    APPEARANCES (Continued):
   2                                                       2
   3                                                       3    FOR THE DEFENDANT PAUL E. CARRIER, S.J.:
       Held At:                                            4      TIMOTHY P. O'NEILL, ESQ.
   4     Iberostar Costa Dorada                            5         MURPHY & KING
   5     Carretera Luperon Km 4                            6        One Beacon Street, 21st Floor
   6     Marapica, Puerto Plata                            7        Boston, Massachusetts 02108
   7     Dominican Republic                                8        617-423-0400
   8
                                                           9        tpo@murphyking.com
   9
                                                          10
  10   REPORTED BY:
                                                          11    FOR THE DEFENDANT HOPE E. CARTER:
  11   Maureen O'Connor Pollard, RMR, CLR, LSR #473
                                                          12      JEFFREY W. KENNEDY, ESQ.
  12   Realtime Systems Administrator
                                                          13        MILANO & WANAT LLC
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  19                                                      19
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  23                                                      23
  24                                                      24
  25                                                      25


                                                 Page 3                                           Page 5
   1   APPEARANCES:                                        1   APPEARANCES (Continued):
   2   FOR THE PLAINTIFF:                                  2
   3     LU XIA, ESQ.                                      3   FOR THE DEFENDANT ORDER OF MALTA AMERICAN
   4        LAW OFFICES OF MITCHELL GARABEDIAN             4   ASSOCIATION, U.S.A.:
   5        100 State Street, Sixth Floor                  5     BRADFORD S. BABBITT, ESQ.
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   8        lxia@garabedianlaw.com                         8       Hartford, Connecticut 06103
   9           -and-                                       9       860-275-8200
  10     ELLYN H. HURD, ESQ.                              10       bbabbitt@rc.com
  11        SIMMONS HANLY CONROY                          11
  12        112 Madison Avenue                            12   FOR THE DEFENDANT FAIRFIELD UNIVERSITY:
  13        New York, New York 10016                      13     JOHN W. CERRETA, ESQ.
  14        212-784-6400                                  14       DAY PITNEY LLP
  15        ehurd@simmonsfirm.com                         15       242 Trumbull Street
  16           -and-                                      16       Hartford, Connecticut 06103
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  21        mstewart@simmonsfirm.com                      21
  22                                                      22
  23                                                      23
  24                                                      24
  25                                                      25



                                                                                  2 (Pages 2 to 5)
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                                               Page 6                                                   Page 8
   1   APPEARANCES (Continued):                            1        PROCEEDINGS
   2                                                       2
   3   FOR THE DEFENDANT THE SOCIETY OF JESUS OF           3          THE VIDEOGRAPHER: We are now on the
   4   NEW ENGLAND:                                        4   record. My name is Chris Coughlin, and I'm a
   5     REBECCA A. COBBS, ESQ.                            5   videographer for Golkow Technologies. Today's
   6        SLOANE AND WALSH, LLP                          6   date is October 28, 2015, and the time is
   7        Three Center Plaza, Suite 830                  7   9:01 a.m..
   8        Boston, Massachusetts 02108                    8          This video deposition is being held in
   9        617-523-6010                                   9   Puerto Plata, the Dominican Republic, in the
  10        rcobbs@sloanewalsh.com                        10   matter of Gervil, St. Louis, Plaintiffs, versus
  11                                                      11   Douglas Perlitz, et al, Defendants, in the
  12                                                      12   United States District Court for the District of
  13   Videographer: Christopher Coughlin                 13   Connecticut, Civil Action Number
  14                                                      14   3:13-cv-01132-RNC.
  15   Interpreter: Nathalie Coupet                       15          The deponent is Jean Louis Emile.
  16            Philippe Chamy                            16          Will counsel please identify
  17                                                      17   yourselves for the record.
  18   Also Present:                                      18          MR. CERRETA: Good morning. John
  19   Jean Elysée Pierre Louis, Interpreter              19   Cerreta for Fairfield University.
  20                                                      20          MR. O'NEILL: Timothy O'Neill
  21                                                      21   representing Paul Carrier.
  22                                                      22          MR. BABBITT: Bradford Babbitt, I
  23                                                      23   represent the American Association of the Order
  24                                                      24   of Malta.
  25                                                      25          MR. KENNEDY: Good morning. I'm Jeff


                                               Page 7                                                   Page 9
   1               INDEX                                   1   Kennedy, I represent Hope Carter.
   2    EXAMINATION                            PAGE        2          MS. COBBS: Good morning. I'm Rebecca
   3    JEAN MOISE EMILE                                   3   Cobbs, I represent the Society of Jesus of
   4     BY MR. CERRETA                          11        4   New England.
   5     BY MR. KENNEDY                          114       5          MS. XIA: Good morning. Lu Xia
   6     BY MR. BABBITT                         156        6   representing the Plaintiffs.
   7     BY MR. O'NEILL                        165         7          MR. STEWART: Mike Stewart on behalf
   8     BY MS. COBBS                          198         8   of the Plaintiffs.
   9     BY MR. STEWART                          207       9          MS. HURD: Ellyn Hurd for the
  10     BY MR. KENNEDY                          208      10   Plaintiffs.
  11                                                      11          THE VIDEOGRAPHER: The court reporter
  12
                                                          12   is Maureen Pollard, and she will now swear in
  13         EXHIBITS                                     13   the witness and the interpreter.
  14    NO.      DESCRIPTION                      PAGE
                                                          14
  15    1 Plaintiff Jean Moise Emile's
                                                          15          NATHALIE COUPET, Translator,
          Response to Certain Defendants'
                                                          16   having been duly sworn to translate the
  16      First Set of Interrogatories......... 12
  17    2 Copy of Jean Moise Emile's Passport...115       17   questions and the answers to the best of her
  18    3 Jean Moise Emile's Visa...............118       18   ability, translated as follows:
  19    4 Complaint and Jury Trial Demand......175        19
  20                                                      20          JEAN MOISE EMILE,
  21                                                      21   having been first duly sworn, was examined and
  22                                                      22   testified as follows through the interpreter:
  23                                                      23          MR. CERRETA: Mike, before we begin,
  24                                                      24   in prior depositions we agreed that all
  25                                                      25   objections except as to form will be reserved to


                                                                                3 (Pages 6 to 9)
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   1   the time of trial, motions to strike will be         1       Q. How about Creole, do you speak Haitian
   2   reserved until the time of trial. Also I think       2   Creole?
   3   that the Plaintiff will have 60 days to read and     3       A. Yes.
   4   sign.                                                4       Q. Are you able to read Creole?
   5          Is all of that agreeable?                     5       A. No.
   6          MR. STEWART: Agreed.                          6       Q. Are you able to write any Creole?
   7          I understood there was some dispute           7       A. No.
   8   last time about what constitutes a speaking          8       Q. I'm going to hand to you what's been
   9   objection. If I were to say "objection, vague,"      9   marked as Exhibit 1.
  10   I believe there was some feeling that that was a    10          (Whereupon, Emile Exhibit Number 1,
  11   speaking objection. Do I have a                     11          Plaintiff Jean Moise Emile's Response
  12   misunderstanding as to that?                        12          to Certain Defendants' First Set of
  13          MR. CERRETA: I don't think that was          13          Interrogatories, was marked for
  14   my --                                               14          identification.)
  15          MR. STEWART: How about this. Are we          15   BY MR. CERRETA:
  16   in agreement that if I say objection, I'm           16       Q. Do you recognize this document?
  17   preserving my objection and I don't have to --      17       A. Yes.
  18          MR. CERRETA: Yes, I think that's             18       Q. What is this document?
  19   fine.                                               19       A. This document, these are the questions
  20          MR. STEWART: Okay. Fair enough.              20   I -- they asked me on the paper so I could
  21   We'll just proceed that way then.                   21   answer them.
  22          You said objection for one is good for       22       Q. Do you remember receiving some written
  23   all, correct?                                       23   questions from the Defendants in this lawsuit?
  24          MR. CERRETA. Yes, I don't think I            24       A. Yes.
  25   said that. That has been the prior stipulation,     25       Q. And did you then provide answers to


                                             Page 11                                                 Page 13
   1    too.                                                1   those written questions?
   2            MR. STEWART: Thank you.                     2      A. Yes.
   3              EXAMINATION                               3      Q. If you wouldn't mind just flipping to
   4    BY MR. CERRETA:                                     4   about halfway through, the English stops and a
   5         Q. Good morning, Mr. Emile. Would you          5   Haitian version, a Haitian Creole version picks
   6    state your name for the record?                     6   up.
   7         A. Jean Moise Emile.                           7           MR. CERRETA: If you wouldn't mind
   8         Q. And what is your date of birth?             8   just flipping for him.
   9         A. June 1, 1989.                               9      A. Yes.
  10        Q. Do you understand that you just took        10      Q. Have you ever seen this Haitian Creole
  11    an oath to tell the truth at today's deposition?   11   version of this document?
  12         A. Yes.                                       12      A. I believe so.
  13         Q. Are you taking any medication today        13      Q. Are you able to read, say, the first
  14    that would prevent you from telling the truth at   14   sentence of the Creole version of the document?
  15    today's deposition?                                15      A. No.
  16         A. No.                                        16      Q. Did someone read those questions to
  17         Q. Are you taking any drugs that would        17   you?
  18    prevent you from testifying accurately at          18      A. Yes, my interpreters.
  19    today's deposition?                                19      Q. Did you then provide your answers to
  20         A. No.                                        20   those questions?
  21         Q. Do you speak any English, Mr. Emile?       21      A. Yes, I had a Bic in my hand and I was
  22         A. No.                                        22   correcting it, a pen Bic.
  23        Q. Do you understand any English when          23      Q. So you were able to make changes to a
  24    it's spoken?                                       24   written document to make sure all of the answers
  25         A. No.                                        25   were accurate?


                                                                           4 (Pages 10 to 13)
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   1      A. I believe so.                                1   BY MR. CERRETA:
   2      Q. If you wouldn't mind just flipping to        2      Q. -- answers to interrogatories?
   3   the very last page of the exhibit. Is that your    3      A. No.
   4   name written on the page?                          4      Q. Where was he when you were going
   5      A. I believe so.                                5   through the answers to the interrogatories?
   6      Q. Did you write your name on that page?        6          MR. STEWART: Objection.
   7      A. I believe so.                                7      A. He was sitting in another area.
   8      Q. And is that your signature?                  8   BY MR. CERRETA:
   9      A. Yes.                                         9      Q. On the signature it says that you
  10      Q. And do you understand that when you         10   signed the document on September 20, 2014, is
  11   gave that signature you were saying that all of   11   that correct?
  12   your answers to the Defendants' written           12          THE INTERPRETER: 2015?
  13   questions were truthful and accurate?             13          MR. CERRETA: September 20, 2014.
  14          MR. STEWART: Objection.                    14      A. I believe so.
  15      A. I believe so.                               15      Q. Would you mind just flipping back to
  16   BY MR. CERRETA:                                   16   the last page? Is that your handwriting there,
  17      Q. Where were you when you reviewed and        17   the number 20?
  18   signed the answers to the Defendants'             18      A. I believe so.
  19   interrogatories?                                  19      Q. And when you signed this document,
  20      A. At the hotel.                               20   were all of your answers truthful and accurate?
  21      Q. And you said that there was an              21          MR. STEWART: Objection.
  22   interpreter present with you, is that right?      22      A. I believe so.
  23      A. Yes.                                        23   BY MR. CERRETA:
  24      Q. Was there anyone else present?              24      Q. You don't have any reason to believe
  25      A. My lawyer.                                  25   that there was anything untruthful or inaccurate

                                           Page 15                                                 Page 17
   1       Q. Do you remember that lawyer's name?         1   about them, do you?
   2           MR. STEWART: Objection.                    2          MR. STEWART: Objection.
   3       A. No.                                         3      A. I believe so.
   4    BY MR. CERRETA:                                   4   BY MR. CERRETA:
   5       Q. Was it just one lawyer present?             5      Q. You believe all your answers were
   6           MR. STEWART: Objection.                    6   truthful and accurate, right?
   7       A. Yes, and one interpreter.                   7      A. I believe so.
   8    BY MR. CERRETA:                                   8      Q. Mr. Emile, did you look at any
   9       Q. Was anyone else present with you?           9   documents to prepare for today's deposition?
  10       A. I believe so.                              10       A. No.
  11       Q. Do you believe that there were others      11      Q. Did you review your answers, your
  12    with you when you signed the deposition -- I'm   12   prior answers to the interrogatories to get
  13    sorry, when you signed your answers to the       13   ready for today's deposition?
  14    interrogatories?                                 14          MR. STEWART: I'm going to object and
  15       A. My lawyers and the interpreter.            15   instruct him not to answer to the extent that it
  16       Q. Was there anyone else besides your         16   invades attorney/client privileges as to what he
  17    lawyers and your interpreter present?            17   and his attorneys discussed in preparation.
  18       A. I believe so.                              18   You've asked if he reviewed, he said yes, I
  19       Q. Who else was present?                      19   think that's sufficient, so I'm going to
  20       A. Cyrus.                                     20   instruct him not to answer as to specifically
  21       Q. Cyrus Sibert?                              21   what he discussed with his lawyers.
  22       A. Yes.                                       22          Don't answer.
  23       Q. Was he in the room with you when you       23          He actually said he did not look at
  24    went over these --                               24   the documents prior to coming here today. But
  25           MR. STEWART: Objection.                   25   same objection, same instruction.


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   1       A. Okay.                                       1     A. No.
   2   BY MR. CERRETA:                                    2     Q. Have you ever been married?
   3       Q. Did you watch any videos to get ready       3     A. No.
   4   for today's deposition?                            4     Q. Are you currently in a relationship?
   5          MR. STEWART: Same objection. You            5     A. No.
   6   cannot answer that.                                6     Q. Do you have any children?
   7   BY MR. CERRETA:                                    7     A. No.
   8       Q. Did you look at any photographs to          8     Q. Where do you live today?
   9   prepare for today's deposition?                    9     A. I'm at the hotel.
  10          THE INTERPRETER: Same objection.           10     Q. Where is your permanent address in
  11   BY MR. CERRETA:                                   11   Haiti?
  12       Q. Did anyone translate any documents for     12     A. Blue Hills, Ruelle Street Posé.
  13   you to get ready for today's deposition?          13     Q. Is there a street address for the
  14          MR. STEWART: Same objection.               14   house?
  15          MR. CERRETA: So just so the record is      15     A. No.
  16   clear, your position is that any videos he may    16     Q. Is that a house that you live in?
  17   have watched, or photographs he may have looked   17     A. Yes.
  18   at, or documents that he may have read or had     18     Q. Does anyone live there with you?
  19   translated to him are all protected by the        19     A. Yes.
  20   attorney/client privilege?                        20     Q. Who lives there with you?
  21          MR. STEWART: My objection is that          21     A. My family.
  22   you're asking him about conversations he had      22     Q. What are the names of the family
  23   with his attorneys, and you're asking him to      23   members who live with you?
  24   disclose the content of those discussions to      24     A. My Aunt Marthe.
  25   prepare for. You've asked if he met. You can      25     Q. Anyone else besides your Aunt Marthe?

                                           Page 19                                               Page 21
   1    ask did he meet, but to go into what did he       1      A. Yes, my family.
   2    discuss with us, how did he prepare, I don't      2      Q. What are their names?
   3    think is appropriate.                             3      A. One is called Jerry, there's Patrick,
   4            MR. CERRETA: I think --                   4   and Carlene.
   5            MR. STEWART: I'm sorry, sir.              5      Q. Anyone else besides your Aunt Marthe,
   6            MR. CERRETA: I think I just asked         6   Jerry, Patrick, and Carlene live at that house
   7    just if he had watched any videos or read any     7   with you?
   8    documents.                                        8      A. Friends.
   9            MR. STEWART: I think it's a fine hair     9      Q. What are the names of those friends?
  10    that you're -- respectfully, that you're         10      A. I don't know their names.
  11    splitting, sir, because you're asking him what   11      Q. But they live with you?
  12    did he do with us, and I think that's            12      A. Yes. They've just started living at
  13    privileged. If it's not --                       13   the house, but I don't know their names.
  14            MR. CERRETA: I guess we just have a      14      Q. When did they move in?
  15    difference of opinion. That's fine.              15      A. Last month.
  16            MR. STEWART: Yes, sir. Thank you.        16      Q. How big is the house?
  17    BY MR. CERRETA:                                  17      A. No.
  18       Q. Did you speak with anyone other than       18      Q. How many rooms are there in the house?
  19    your attorneys to get ready for today's          19      A. Two bedrooms.
  20    deposition?                                      20      Q. Do you share a bedroom with anyone?
  21       A. No.                                        21      A. Yes.
  22       Q. Do you have any documents relating to      22      Q. Who do you share a bedroom with?
  23    your time as a student at PPT?                   23      A. Patrick.
  24       A. No.                                        24      Q. How is Patrick related to you?
  25       Q. Are you married, Mr. Emile?                25      A. My family.


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    1       Q. What's the nature of your familial           1      Q. Did anyone live with you at the house
    2    relationship with Patrick?                         2   in Kiteyo?
    3       A. Family.                                      3      A. The same people I just mentioned.
    4       Q. Is he a brother of yours?                    4      Q. Is Kiteyo also in Blue Hills?
    5       A. No. Family.                                  5      A. No.
    6       Q. Is he a cousin of yours?                     6      Q. Before the house in Kiteyo, where did
    7       A. Family.                                      7   you live?
    8       Q. Is he a child of your Aunt Marthe?           8      A. I went -- I came to Blue Hills.
    9       A. No.                                          9      Q. Did you live at a different house in
   10       Q. So how is he related to you?                10   Blue Hills, not the one at Ruelle Posé?
   11       A. My family, other people.                    11      A. No, that house in Posé Street, Ruelle
   12       Q. Patrick is not your brother, right?         12   Posé.
   13           MR. STEWART: Objection.                    13      Q. You had lived there earlier, a
   14       A. No.                                         14   previous time?
   15    BY MR. CERRETA:                                   15      A. No. I was at Kiteyo before, and then
   16       Q. So who is Patrick's mother?                 16   I went to the house in Blue Hills.
   17       A. Frances.                                    17      Q. When you were first born, where were
   18       Q. Is Frances related to you?                  18   you living?
   19       A. Yes.                                        19         MR. STEWART: Objection.
   20       Q. Is Patrick a cousin of yours?               20      A. Kiteyo.
   21           MR. STEWART: Objection.                    21   BY MR. CERRETA:
   22       A. Yes.                                        22      Q. And were you living there with your
   23    BY MR. CERRETA:                                   23   parents as a child?
   24       Q. How about Jerry; you're related to          24      A. Yes. And after that I went to my
   25    Jerry you said?                                   25   family.

                                             Page 23                                              Page 25
   1       A. Yes.                                          1      Q. After that, you went to live with your
   2       Q. Is Jerry also a cousin of yours?              2   Aunt Marthe?
   3          THE INTERPRETER: Can you repeat the           3      A. Yes.
   4    question, please?                                   4      Q. How old were you when you went to live
   5       Q. Is Jerry also a cousin of yours?              5   with your Aunt Marthe?
   6       A. Yes.                                          6      A. I don't know.
   7       Q. Is Carlene a cousin of yours?                 7      Q. What are your parents -- what were the
   8       A. Yes.                                          8   names of your parents?
   9       Q. How long have you been living with            9      A. Medeline Bruno and Pierre Jérémie.
  10    your Aunt Marthe at the house in Blue Hills?       10      Q. And when you were a child, did you
  11       A. For -- it's been four years now.             11   live in Blue Hills with both of your parents?
  12       Q. Where did you live before you moved to       12      A. Yes.
  13    your current address in Blue Hills?                13      Q. Are both of your parents still living?
  14       A. Kiteyo.                                      14      A. My mother is still here, but my father
  15          Where I was living?                          15   passed away.
  16       Q. Yes. Where were you living before you        16      Q. When did your father pass away?
  17    moved to the house that you currently live in in   17      A. I don't remember. I don't know.
  18    Blue Hills?                                        18      Q. Were you a young child when your
  19       A. Kiteyo.                                      19   father passed away?
  20       Q. And you say you moved out of that            20      A. Yes.
  21    house in Kiteyo four years ago?                    21      Q. Was it before or after you started
  22       A. Yes.                                         22   going to PPT?
  23       Q. How long were you in the house in            23      A. He died before I went.
  24    Kiteyo?                                            24      Q. Do you have any memory of your father?
  25       A. Three years.                                 25          MR. STEWART: Objection.


                                                                          7 (Pages 22 to 25)
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   1       A. No.                                           1      A. No.
   2    BY MR. CERRETA:                                     2      Q. Do you see your mother regularly now?
   3       Q. Before he passed away, did he work?           3      A. No.
   4          MR. STEWART: Objection.                       4      Q. When was the last time you spoke with
   5       A. No.                                           5   your mother?
   6    BY MR. CERRETA:                                     6      A. Last month.
   7       Q. How about your mother, did she work           7      Q. When you were living with your aunt,
   8    when you were a young child?                        8   did your aunt -- I'm sorry. Strike that.
   9          MR. STEWART: Objection.                       9         Does your aunt work?
  10       A. No.                                          10      A. No.
  11    BY MR. CERRETA:                                    11      Q. Is your aunt married?
  12       Q. Do you have any brothers and sisters?        12      A. No.
  13       A. Yes.                                         13      Q. When you were living -- back when you
  14       Q. What are their names?                        14   were living with your mother, did your mother
  15       A. I have Samuel Pierre, Alexis Ninelson,       15   have any income to support the family?
  16    and Fredelin Emile.                                16      A. No.
  17       Q. And did they all live with you and           17      Q. Was your mother able to provide food
  18    your parents when you were young?                  18   and other necessities for the family?
  19       A. No.                                          19      A. No. No.
  20       Q. When you were a small child living           20      Q. So how were you able to get food to
  21    with your parents, did any of your siblings live   21   eat?
  22    with you?                                          22      A. So I used to ask my friends who used
  23          MR. STEWART: Objection.                      23   to give me.
  24       A. Just Alexis Ninelson.                        24      Q. How about after you moved in with your
  25    BY MR. CERRETA:                                    25   aunt, was your aunt able to provide food and

                                            Page 27                                                 Page 29
   1      Q. Not Fredelin?                                  1   other necessities for you and the other children
   2      A. No.                                            2   living there?
   3      Q. Is he a younger sibling of yours?              3       A. No.
   4      A. Yes.                                           4       Q. Have you ever lived anywhere else,
   5      Q. When you stopped living with your              5   other than the house where you lived with your
   6   parents and moved to live with your aunt, do you     6   parents as a small child or the residences that
   7   remember how old you were?                           7   you've lived in with your aunt?
   8      A. No.                                            8       A. No.
   9      Q. Was it before or after you started             9       Q. Has there ever been a time in your
  10   going to PPT?                                       10   life that you've lived on the streets?
  11      A. It's after.                                   11       A. Yes.
  12      Q. Why did you leave your parents' house         12       Q. And when was that?
  13   and move in with your aunt?                         13       A. I was at my house, then every morning
  14          MR. STEWART: Objection.                      14   I went to the city to go to the center.
  15      A. Because he told me to come to stay            15       Q. Was this when you were a child?
  16   with them instead.                                  16       A. The way I am now.
  17   BY MR. CERRETA:                                     17       Q. So you were an adult?
  18      Q. Was your father alive when you moved          18       A. No.
  19   to your aunt's house?                               19       Q. When you say the center, are you
  20      A. No, he had passed away.                       20   referring to a center affiliated with PPT?
  21      Q. Does your -- when you moved to your           21       A. Yes.
  22   aunt's, was your mother still living close by?      22       Q. Has there ever been a time in your
  23      A. No.                                           23   life when you have not had a place to sleep at
  24      Q. Did you still see your mother                 24   night?
  25   regularly after you moved to your aunt's house?     25          MR. STEWART: Objection.


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   1        A. Yes.                                        1   in Champin?
   2    BY MR. CERRETA:                                    2      A. No.
   3        Q. How old were you when you would not         3      Q. Does Samuel have a job?
   4    have a place to sleep at night?                    4      A. No.
   5        A. I don't know.                               5      Q. I'm sorry, would you remind me of the
   6        Q. Was it before or after you started          6   names of your other siblings?
   7    going to PPT?                                      7         MR. STEWART: Objection.
   8        A. Before I started going.                     8      A. Alexis Ninelson, yes.
   9        Q. Do you know if it was before or after       9   BY MR. CERRETA:
  10    you left your parents' house to go live with      10      Q. Alexis Ninelson, is that one person?
  11    your aunt?                                        11      A. Yes. He's my brother.
  12        A. Before.                                    12      Q. Where does he live?
  13        Q. Why did you have to -- why did you not     13      A. Champin.
  14    have a place to stay during that time?            14      Q. And is he working?
  15        A. I was in my aunt's house, and I had no     15      A. No.
  16    place to go to school, so I went to the center.   16      Q. Do you have a sister?
  17        Q. Has there ever been a time in your         17      A. Yes.
  18    life when you had to sleep out on the streets?    18      Q. And does she have a job?
  19        A. No.                                        19      A. No.
  20        Q. So at night you've always been able to     20      Q. How old is your sister?
  21    go back to a house to sleep?                      21      A. I don't know.
  22        A. Yes.                                       22      Q. Did any of your other siblings go to
  23        Q. You earlier mentioned that one of your     23   PPT?
  24    brothers is named Emile Fredelin. Do I have       24      A. No.
  25    that right?                                       25      Q. Are you currently employed?

                                            Page 31                                             Page 33
   1          THE INTERPRETER: Fredelin Emile.             1      A. No.
   2      Q. Fredelin Emile?                               2      Q. Have you ever been employed?
   3      A. Yes.                                          3      A. No.
   4      Q. Where does he live presently?                 4      Q. Have you ever received any wages for
   5          MR. STEWART: Objection.                      5   work?
   6      A. In a place called Champin.                    6      A. No.
   7          THE INTERPRETER: C-H-A-M-P-A-I-N.            7      Q. Have you ever done any mason work?
   8      Q. Is Champin part of Cap-Haïtien?               8      A. No.
   9      A. Yes.                                          9      Q. Have you ever washed cars for money?
  10      Q. How far is Champin from the Blue Hills       10      A. Yes.
  11   area?                                              11      Q. How often do you wash cars for money?
  12      A. Quite a distance.                            12      A. Twice.
  13      Q. Does your brother Fredelin have a job?       13      Q. Only twice?
  14      A. No.                                          14      A. Yes.
  15      Q. How often do you see your brother?           15      Q. When was that?
  16      A. Last month.                                  16      A. Last month.
  17      Q. You have another brother, Samuel, is         17      Q. How much money do you receive for
  18   that correct?                                      18   washing cars?
  19      A. Yes.                                         19      A. $20.
  20      Q. Where does Samuel live?                      20      Q. Is that 20 Haitian dollars?
  21      A. Champin.                                     21      A. Yes.
  22      Q. Does he live with Fredelin in Champin?       22      Q. Besides washing cars, have you ever
  23          THE INTERPRETER: Can you repeat the         23   had any other source of income?
  24   question?                                          24      A. No.
  25      Q. Do he and Fredelin share a residence         25      Q. Are you currently looking for work?


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   1       A. No.                                          1   work?
   2       Q. How are you able to support yourself         2      A. No.
   3    and have the food and other necessities?           3      Q. Have you ever received any money from
   4       A. I ask my friends. I don't find, I            4   Cyrus Sibert?
   5    don't have.                                        5      A. Yes. Sometimes I have needs, and I
   6       Q. You ask your friends for money?              6   just show up and he gives me a little bit of
   7       A. Yes, and food.                               7   money.
   8       Q. What are the names of the friends that       8      Q. How much money have you received from
   9    you ask for money and food?                        9   Cyrus Sibert?
  10       A. I don't know.                               10      A. $100.
  11       Q. Have you ever worked as a boatman or a      11      Q. 100 US dollars?
  12    ferry operator?                                   12      A. Haitian.
  13       A. Like a little wooden boat?                  13      Q. You say sometimes you'll show up when
  14       Q. Any boat.                                   14   you have needs and ask Cyrus for money?
  15       A. Yes.                                        15      A. Yes.
  16       Q. Did you receive money for that work?        16      Q. How many times have you asked Cyrus
  17       A. Yes, every person, two gourdes per          17   for money?
  18    person.                                           18      A. Well, during four times.
  19       Q. When was the last time you worked           19      Q. How much money did you receive from
  20    operating the little boat?                        20   Cyrus the first time you asked him for money?
  21       A. Last month.                                 21      A. $100.
  22       Q. And where do you do this work?              22      Q. 100 Haitian dollars, or US dollars?
  23       A. Blue Hills.                                 23      A. Haitian.
  24       Q. And is it kind of like a water taxi?        24      Q. When was that, the first time you
  25       A. Yes.                                        25   received money from Cyrus?


                                            Page 35                                                 Page 37
   1       Q. Do you own the boat?                         1        A. Last month.
   2       A. No.                                          2        Q. The first time you received money from
   3       Q. Who owns the boat?                           3   Cyrus was last month?
   4       A. My friend.                                   4        A. After.
   5       Q. Does your friend let you use it?             5        Q. Is it your testimony there have been
   6       A. Yes, when he drives it, and then he          6   four total occasions in which Cyrus Sibert has
   7   gets tired so he lets me do it.                     7   given you money?
   8       Q. How often does he let you operate the        8        A. Yes.
   9   boat?                                               9        Q. And when was the first time that he
  10       A. Every time he's tired.                      10   gave you money?
  11       Q. How often is that?                          11       A. I don't recall.
  12       A. Four times.                                 12        Q. Was it before or after you brought
  13       Q. Four times total?                           13   this lawsuit against the Defendants?
  14       A. Yes.                                        14        A. Before.
  15       Q. And are you -- were you able to keep        15       Q. When did you first meet Cyrus Sibert?
  16   all of the fares that you received from people     16        A. When I went to see him, I went to the
  17   those four times?                                  17   city, I went -- arrived at the city, I needed to
  18       A. No. I gave it to him.                       18   see him. I gave him his -- my phone number, he
  19       Q. Were you able to keep any of it for         19   took my name. That was the time.
  20   yourself?                                          20           MR. CERRETA: We've been going for a
  21       A. He gave me.                                 21   little while. Why don't we take a little break,
  22       Q. He gave you a portion?                      22   and we'll pick back up.
  23       A. Yes.                                        23           MR. STEWART: Thank you.
  24       Q. Besides the water taxi and washing          24           THE VIDEOGRAPHER: Going off the
  25   cars, do you have any other means of income from   25   record. The time is 9:59.


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   1          (Whereupon, a recess was taken.)            1          You can answer if you know.
   2          THE VIDEOGRAPHER: Back on the record.       2      A. When I went down to the city.
   3   The time is 10:15.                                 3   BY MR. CERRETA:
   4   BY MR. CERRETA:                                    4      Q. What year was this?
   5      Q. Mr. Emile, your siblings, Samuel             5      A. I don't know.
   6   Pierre, Alexis Ninelson Pierre, and Fredelin       6      Q. Was it before or after the earthquake
   7   Pierre, are they half siblings of yours?           7   in Haiti in 2010?
   8          THE INTERPRETER: Can you repeat the         8      A. Before the earthquake.
   9   names slower, please?                              9      Q. Did you know that a prior group of
  10          MR. CERRETA: Sure. Do you have the         10   Plaintiffs filed suit against the Defendants and
  11   realtime? It should be right there.               11   received money?
  12      A. They are my brothers and sisters.           12          MR. STEWART: Objection.
  13   BY MR. CERRETA:                                   13   BY MR. CERRETA:
  14      Q. Do they have a different father than        14      Q. I'm sorry, why don't I try to rephrase
  15   you?                                              15   just to make the question a little clearer.
  16      A. Same father.                                16          Did you know that a prior group of
  17      Q. And same mother?                            17   former students at PPT brought a case in court
  18      A. Yes.                                        18   against the Defendants and received money?
  19      Q. Before the break you were describing        19      A. Yes, I knew. But after that I went to
  20   the first time you met Cyrus Sibert. When was     20   see Cyrus so I could find my justice.
  21   that?                                             21      Q. So the first time you went to see
  22      A. It's when I went to the city, when I        22   Cyrus in the center of the city, was that after
  23   went down to the city.                            23   that prior group of former students --
  24      Q. The City of Cap-Haïtien?                    24          MR. STEWART: Objection.
  25      A. Yes.                                        25   BY MR. CERRETA:

                                           Page 39                                                Page 41
   1       Q. Why did you go to see Cyrus Sibert?         1       Q. -- received money?
   2       A. I went to see Cyrus, I went where he        2           MR. STEWART: Objection. I don't know
   3   was for a -- to explain to him something that      3   -- I just -- I'd tell him not to talk. I don't
   4   happened to me.                                    4   know what he was getting ready to say but he was
   5       Q. What made you want to go see Cyrus to       5   pointing to us, so I would tell him not to share
   6   explain this to him?                               6   any conversations he had with his attorneys.
   7       A. Well, there was -- I went to see him        7       A. Okay.
   8   because there was a white person who was taking    8   BY MR. CERRETA:
   9   care of me, and he chose to abuse me, so I went    9       Q. I don't want to hear -- you can answer
  10   to see him so he could make me -- help me find    10   my question. My question is not calling for you
  11   someone who could help me get justice.            11   to reveal any discussions with your attorneys.
  12       Q. How did you know that Cyrus Sibert         12           My question was just, the first time
  13   would be able to help you find justice?           13   you went to see Cyrus Sibert, was that before or
  14       A. Well, I used to hear people talk about     14   after the other students had received money?
  15   him, so I just went to him.                       15           MR. STEWART: Objection.
  16       Q. What did they say about him?               16       A. Can you repeat the question, please?
  17       A. He's a lawyer.                             17           MR. STEWART: The before or after I
  18       Q. Cyrus Sibert?                              18   think is throwing him off. I think it's
  19       A. Yes.                                       19   confusing him.
  20       Q. Who told you Cyrus Sibert was a            20           MR. CERRETA: Okay. Thank you.
  21   lawyer?                                           21           MR. STEWART: It's just not a -- I
  22       A. I've heard people talk about him.          22   don't think it's a phrase that is used, so I
  23       Q. When did you go to see Cyrus Sibert?       23   think it's tripping him up what you're asking
  24          MR. STEWART: Objection. Asked and          24   him. I think that's --
  25   answered.                                         25           MR. CERRETA: I'll try to rephrase it.


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   1           MR. STEWART: I know, I'm telling you       1       A. No, a lawyer called me.
   2   what I think, which is probably worth very         2       Q. What was that lawyer's name?
   3   little.                                            3       A. Mitch.
   4           MR. CERRETA: I appreciate it. Thank        4       Q. How long after this meeting was the
   5   you.                                               5   first time that you received money from Cyrus
   6   BY MR. CERRETA:                                    6   Sibert?
   7       Q. The first time you went to see Cyrus        7       A. I don't know.
   8   Sibert, was that after the other students had      8       Q. The first time you received money, was
   9   received money for their case?                     9   that before the time you went to the hotel to
  10           MR. STEWART: Objection.                   10   review and sign your interrogatories?
  11        A. Before. Before.                           11       A. No, no.
  12   BY MR. CERRETA:                                   12       Q. It was after you had signed the
  13       Q. So why -- what made you want to go         13   interrogatories?
  14   talk to Cyrus Sibert at that time?                14           MR. STEWART: Objection. Object to
  15        A. It's a white person who accused me --     15   the form of the question.
  16   who abused me, and so I went to see Cyrus so he   16       A. No.
  17   could get me my justice, could get me someone     17   BY MR. CERRETA:
  18   who could give me my justice.                     18       Q. Was the first time that you received
  19       Q. Did you have -- that first time when       19   money from Cyrus Sibert after you had already
  20   you went to see Cyrus, were you able to see him   20   signed your answers to interrogatories?
  21   and speak with him?                               21           MR. STEWART: Objection.
  22        A. Yes.                                      22       A. No.
  23           MR. STEWART: Hold on. Just one            23   BY MR. CERRETA:
  24   correction for the record. At line 36.02, it      24       Q. Earlier today you described how you
  25   says it is a white person who accused me, and     25   went to a hotel, you had a meeting, and then you


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   1   then she corrects and says --                      1   signed the answers to the interrogatories,
   2          THE INTERPRETER: I didn't correct.          2   right?
   3   He corrected himself. I'm saying exactly what      3        A. Yes.
   4   he said.                                           4        Q. At the time of that meeting, had you
   5          MR. STEWART: That's fine. We're just        5   received any money already from Cyrus Sibert?
   6   trying to make sure. I apologize, sir, please.     6        A. After.
   7          MR. CERRETA: No problem.                    7       Q. So the first time you received money
   8   BY MR. CERRETA:                                    8   from Cyrus Sibert was after that occasion when
   9      Q. So what did you tell Cyrus the first         9   you went to the hotel and signed your answers to
  10   time you went to see him?                         10   the interrogatories, correct?
  11      A. I told Cyrus that I was in this place,      11        A. Yes.
  12   there was a white person who was taking care of   12        Q. So did you go to see Cyrus Sibert that
  13   us, and he chose to abuse us, he abused us.       13   first time you received money from him?
  14      Q. Was that white person Douglas Perlitz?      14           MR. STEWART: Object.
  15       A. Yes.                                       15        A. No.
  16      Q. Did you tell Cyrus that?                    16   BY MR. CERRETA:
  17       A. Yes.                                       17        Q. Did you ask Cyrus Sibert for the
  18      Q. Before you told Cyrus, had you ever         18   money?
  19   told anyone else about Douglas Perlitz abusing    19        A. No.
  20   you?                                              20        Q. How did you come to receive the 100
  21       A. No.                                        21   Haitian dollars from Cyrus Sibert the first time
  22       Q. What did Cyrus say to you?                 22   he gave you money?
  23       A. He took my name, took my phone number,     23        A. Well, I'm in poverty, so he gave me a
  24   and he said he would call me.                     24   little bit of change.
  25       Q. And did he then call you?                  25        Q. Did you go to see him to ask him for


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   1   that?                                               1      A.   My interpreters.
   2      A. To ask for money?                             2      Q.   What were their names?
   3      Q. Yes.                                          3      A.   What's your name?
   4      A. Yeah, because I live in poverty, I owe        4      Q.   Just for the record, this gentleman
   5   money to people, give me a little bit of money      5   here?
   6   so I can organize myself.                           6           MR. STEWART: Elysée.
   7      Q. The second time you received money            7       A. Mr. Elysée.
   8   from Cyrus Sibert, how much did he give you?        8   BY MR. CERRETA:
   9      A. $100.                                         9       Q. Was there another interpreter also?
  10      Q. 100 Haitian dollars?                         10       A. No.
  11      A. Yes.                                         11           MR. STEWART: It happens. We all
  12      Q. And the third time you received money        12   forget names. It's okay. Don't be embarrassed.
  13   from Cyrus Sibert, how much money did he give      13   That's okay. We try to forget as much of this
  14   you?                                               14   as we can, this process.
  15      A. $100.                                        15   BY MR. CERRETA:
  16      Q. 100 Haitian dollars?                         16       Q. Before you brought your case against
  17      A. Yes.                                         17   the Defendants, did you ever put your name on a
  18      Q. And the fourth time you received money       18   list of victims of Douglas Perlitz?
  19   from Cyrus Sibert, how much did he give you?       19       A. No.
  20      A. $100.                                        20           MR. CERRETA: Could we go off the
  21      Q. 100 Haitian dollars?                         21   record for maybe one minute?
  22      A. Yes.                                         22           THE VIDEOGRAPHER: Going off the
  23      Q. Have you received any other money from       23   record. The time is 10:40.
  24   Cyrus Sibert?                                      24           (Whereupon, a recess was taken.)
  25      A. No.                                          25           THE VIDEOGRAPHER: Back on the record.


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   1      Q. What did you do with the money that           1   The time is 10:45.
   2   Cyrus gave you?                                     2   BY MR. CERRETA:
   3      A. Well, I'm in poverty, so sometimes I          3       Q. Mr. Emile, do you know a person named
   4   need to buy something, I bought it.                 4   Jean Gary, or Schoubert Hedouville?
   5      Q. When Cyrus gave you this money, did           5           THE INTERPRETER: Can you repeat the
   6   you agree to pay him back at some future time?      6   last name, please?
   7      A. When he gave me the money, did he             7           MR. CERRETA: Hedouville.
   8   agree for me to repay him?                          8       A. Yes, I used to be in the same place
   9      Q. Yes. Do you have an agreement with            9   with them, but now I'm not in the same place
  10   Cyrus Sibert to repay him the money he has given   10   where they are. I used to see them in there,
  11   you at some future time?                           11   inside.
  12      A. No. No.                                      12   BY MR. CERRETA:
  13      Q. If you receive money in this case,           13       Q. Have you ever heard that Jean Gary was
  14   will you be giving some of your money to Cyrus     14   collecting names for a list of victims of
  15   Sibert?                                            15   Douglas Perlitz?
  16          MR. STEWART: Objection.                     16       A. No.
  17      A. No.                                          17       Q. Have you ever heard of any list being
  18   BY MR. CERRETA:                                    18   circulated for people to put their names on to
  19      Q. Did you travel with Cyrus Sibert from        19   say that they were victims of Douglas Perlitz?
  20   the Dominican Republic to here -- excuse me,       20       A. No.
  21   from Haiti to the Dominican Republic? I'm          21       Q. Mr. Emile, what is the name of the
  22   sorry.                                             22   first school that you attended as a child?
  23      A. No.                                          23       A. St. Vincent of Paul.
  24      Q. Who did you travel with when you came        24       Q. How old were you when you went to
  25   from Haiti to the Dominican Republic?              25   St. Vincent de Paul?


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   1       A. I don't know.                                1      A. I went to the center.
   2       Q. You were born in 1989, is that right?        2      Q. Was that the center at 13th Street?
   3       A. Yes.                                         3      A. Yes.
   4       Q. In your interrogatories, you said that       4      Q. In your answers to interrogatories,
   5   you went to St. Vincent de Paul from about 2001     5   you say that you went to the center --
   6   to 2003, is that correct?                           6          THE INTERPRETER: Can you repeat the
   7       A. Yes.                                         7   beginning of the sentence?
   8       Q. So were you about 12 years old when          8      Q. In your answers to interrogatories,
   9   you started at St. Vincent de Paul?                 9   you say that you first went to the school at the
  10       A. Yeah.                                       10   center on 13th Street in about 2003, is that
  11       Q. And that was the first time that you        11   right?
  12   had ever gone to school, is that correct?          12      A. Yes.
  13       A. Yes.                                        13      Q. So at that point you would have been
  14       Q. When you started at St. Vincent             14   about 14 years old, is that right?
  15   de Paul, were you still living with your mother,   15      A. Yes.
  16   or had you already moved in with your aunt?        16      Q. What made you switch from St. Vincent
  17       A. In my aunt's house.                         17   de Paul to going to the center at 13th Street?
  18       Q. Did it cost money to go to the              18      A. I couldn't pay for the school anymore.
  19   St. Vincent de Paul school?                        19      Q. And was the 13th Street Center a place
  20       A. Yes.                                        20   you could go and you wouldn't have to pay any
  21       Q. Who paid for the cost of attendance at      21   money?
  22   St. Vincent de Paul?                               22      A. Yes.
  23       A. My friend.                                  23      Q. How did you hear about the school at
  24       Q. What were the names of these friends?       24   13th Street?
  25       A. It's a friend. I couldn't go to             25      A. I heard about it, because I heard that


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   1    school, so -- but I didn't know his name, he       1   if you're a child and there's no one to help you
   2    paid for me, and then he went away.                2   out, then you can go, you can go and go to
   3        Q. Did he tell you why he was paying for       3   school.
   4    the cost of the school?                            4       Q. Were friends of yours already going to
   5           MR. STEWART: Objection.                     5   the 13th Street Center when you first started
   6        A. No.                                         6   attending?
   7    BY MR. CERRETA:                                    7       A. No.
   8        Q. Was he a close friend of yours?             8       Q. How would you get to the 13th Street
   9        A. No. He was just walking by, and he          9   Center from your aunt's house in the mornings?
  10    saw me, I was complaining that I couldn't go to   10       A. It was 7:00 o'clock in the morning, I
  11    school, so he paid school for me, and then he     11   left my house at 6 in the morning, and I got
  12    left.                                             12   there at 7.
  13        Q. Do you know how much it cost to go to      13       Q. Did you walk?
  14    the St. Vincent de Paul school?                   14       A. Sometimes I go in the back of a car.
  15        A. It's $300.                                 15   Sometimes when I don't have money to pay for the
  16        Q. 300 Haitian dollars?                       16   one dollar for the car ride, I walk.
  17        A. Yes.                                       17       Q. Could you describe for me a typical
  18        Q. So did you attend the first, second,       18   day that you would have at the school at 13th
  19    and third grades at St. Vincent de Paul?          19   Street?
  20        A. Yes.                                       20       A. Sometimes I watch TV, I sit in a
  21        Q. Do you remember the names of your          21   classroom, I play ball, and we play a game
  22    teachers at St. Vincent de Paul?                  22   called square ball, something we do with socks.
  23        A. No.                                        23       Q. When you would arrive at 13th Street,
  24        Q. After the third grade at St. Vincent       24   would they also give you something to eat?
  25    de Paul, did you move on to a different school?   25       A. Yes.


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   1        Q. There would also be time for lessons,       1       Q. Did you ever talk to Andy when you
   2    school lessons during the day?                     2   were a student at 13th Street?
   3        A. No.                                         3       A. No.
   4        Q. You did attend classes at the 13th          4       Q. Did you ever see Douglas Perlitz at
   5    Street Center, though, right?                      5   13th Street?
   6        A. Yeah. I just went to go to learn in         6       A. Yes.
   7    school. But when school was out, they didn't       7       Q. How often would Douglas Perlitz be at
   8    make us stay somewhere, so to study. When          8   13th Street?
   9    school was out, they just let us go like that.     9       A. I don't know.
  10        Q. So on a typical day, what would be the     10       Q. You attended 13th Street, you did the
  11    first thing that the student would do when they   11   first and second grade there, is that right?
  12    would arrive in the morning at 13th Street?       12       A. Yes. They regrouped it and made it
  13            MR. STEWART: Objection.                   13   one class.
  14        A. When you get there they make you take      14       Q. And about how long were you a student
  15    a shower, to put a uniform, then you go to        15   at the 13th Street Center?
  16    class. They make you eat, and then you go to      16       A. I don't know.
  17    class.                                            17       Q. Do you think it was more than a year?
  18    BY MR. CERRETA:                                   18       A. I don't know.
  19        Q. When you would arrive in the morning       19       Q. Was Douglas Perlitz at the 13th Street
  20    at 13th Street, would you have to be searched     20   Center, say, more than once a week?
  21    before entering the premises?                     21       A. I don't know.
  22        A. Yeah, they check to see if you didn't      22       Q. What would Douglas Perlitz be doing
  23    have on you any blades or knives. If they         23   when you would see him at the 13th Street
  24    didn't find anything, they let you go in.         24   Center?
  25        Q. Did you ever see if they found blades      25       A. He used to show up, spend a little

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   1    or knives on anyone trying to come in?             1   time there, and leave.
   2          MR. STEWART: Objection.                      2       Q. Would he speak with staff?
   3        A. No.                                         3       A. I don't know.
   4    BY MR. CERRETA:                                    4       Q. Did he ever speak with the students?
   5        Q. Who were your teachers when you were        5       A. I don't know.
   6    attending 13th Street?                             6       Q. When you were at the 13th Street
   7        A. Margarita.                                  7   Center, did you ever speak to Douglas Perlitz?
   8        Q. What did Margarita teach?                   8       A. No.
   9        A. She used to teach us how to count, how      9       Q. Besides Andy and Douglas, did you ever
  10    to read. That's it.                               10   see any other white people at the 13th Street
  11        Q. Do you remember any other teachers at      11   Center?
  12    13th Street?                                      12       A. No.
  13        A. No.                                        13       Q. At some point -- I'm sorry.
  14        Q. Do you know a person named Andy            14       A. After that, Nicholas showed up one
  15    Schultheis?                                       15   day.
  16        A. Andy?                                      16       Q. After -- but this was after your time
  17        Q. Yes. Do you know Andy?                     17   at the 13th Street Center?
  18        A. Yes. Yes.                                  18       A. Yes, after that Nicholas came.
  19        Q. Was he at 13th Street?                     19       Q. Okay. But in terms of just your time
  20        A. Yes.                                       20   at the 13th Street Center, the only white people
  21        Q. What was his job at 13th Street?           21   who you saw there would have been Andy and
  22          MR. STEWART: Objection.                     22   Douglas, is that right?
  23        A. To -- his job was to see how children      23       A. I saw Andy, Nicholas, and Douglas.
  24    were functioning, were functioning.               24       Q. And that was it in terms of foreigners
  25    BY MR. CERRETA:                                   25   or white people at the 13th Street Center?


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   1       A. I don't know if there were any other         1      A. Yes.
   2   white people there, but as far as I'm concerned,    2      Q. Did you ever see Father Paul Carrier
   3   it's just Andy, Nicholas, and Douglas.              3   at Carenage?
   4       Q. Those are the only three that you            4      A. Yes.
   5   remember, to the best of your recollection?         5      Q. How often would Father Paul Carrier
   6       A. Yes.                                         6   visit when you were a student at Carenage?
   7       Q. So at some point you left 13th Street        7      A. Well, I don't know.
   8   Center and went to a different place for school,    8      Q. Do you have any recollection of a time
   9   right?                                              9   when Father Carrier came to visit Carenage?
  10       A. I went to Carenage.                         10      A. No.
  11       Q. Do you remember how old you were when       11      Q. At Carenage, did Father Paul Carrier
  12   you transitioned from 13th Street to Carenage?     12   ever speak to any of the students?
  13        A. No. No.                                    13      A. I don't know.
  14       Q. And at Carenage, did you -- were you        14      Q. Is it your testimony that you do
  15   still being taught by Margarita?                   15   remember seeing Father Carrier at Carenage?
  16       A. Yes. Yes.                                   16          MR. STEWART: Objection.
  17       Q. What grades did you attend when you         17      A. Yes, I used to see him.
  18   were at Carenage?                                  18   BY MR. CERRETA:
  19       A. Second and third.                           19      Q. But you don't remember how often he
  20       Q. At some point did Andy Schultheis           20   would come to Carenage?
  21   leave Haiti?                                       21      A. Yes.
  22       A. Yes.                                        22          MR. STEWART: Take a break?
  23       Q. And you previously mentioned Nicholas       23          MR. CERRETA: Sure.
  24   Preneta, am I right?                               24          THE VIDEOGRAPHER: Going off the
  25       A. Yes, Nicholas was there.                    25   record. The time is 11:14.

                                            Page 59                                                 Page 61
   1       Q. Did you also see Douglas Perlitz when        1          (Whereupon, a recess was taken.)
   2   you were a student at Carenage?                     2          THE VIDEOGRAPHER: Back on the record.
   3       A. Yes, he used to come, and then he            3   The time is 11:28.
   4   left.                                               4   BY MR. CERRETA:
   5       Q. How often would Douglas Perlitz come         5      Q. Mr. Emile, before we went on a break
   6   to Carenage?                                        6   you had said that you remember seeing Father
   7          MR. STEWART: Objection.                      7   Paul Carrier at Carenage during the time when
   8       A. I don't know.                                8   you were a student there, is that right?
   9   BY MR. CERRETA:                                     9      A. Yes.
  10       Q. Would you say it was approximately          10      Q. But you're not able to remember how
  11   once a week, or more than that?                    11   often he would visit there during your time as a
  12          MR. STEWART: Objection.                     12   student, is that right?
  13       A. I don't know.                               13      A. No.
  14   BY MR. CERRETA:                                    14      Q. Would Father Carrier come there with
  15       Q. Did you ever see any other Americans,       15   Douglas Perlitz?
  16   or white people, at Carenage?                      16      A. Yes.
  17       A. There could have been other people,         17      Q. And did Father Carrier ever speak to
  18   but I personally saw Douglas, he came, and then    18   the students at Carenage?
  19   he left.                                           19      A. I don't know.
  20       Q. Were there ever any visitors who came       20      Q. Did you ever speak to Father Carrier
  21   to Carenage?                                       21   when you were a student at Carenage?
  22       A. There could have been, that might have      22      A. No.
  23   come, but I personally didn't see any. I just      23      Q. Do you know Madame Carter, or Hope
  24   saw Douglas.                                       24   Carter?
  25       Q. Do you know Father Paul Carrier?            25      A. Yes.


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   1       Q. Did she ever visit Carenage?                 1   2006.
   2       A. Yes.                                         2       Q. The 2006 school year, was that your
   3       Q. Do you remember how often she visited        3   first year at Carenage?
   4    Carenage?                                          4       A. Yes.
   5       A. No.                                          5       Q. So when this incident of abuse
   6       Q. Did you ever speak to Hope Carter when       6   happened, had you just started attending
   7    you were a student at Carenage?                    7   Carenage?
   8       A. Only when I was at the Village.              8          MR. STEWART: Objection.
   9       Q. But at Carenage, you never spoke to          9       A. Yes.
  10    Mrs. Carter, is that right?                       10   BY MR. CERRETA:
  11       A. No.                                         11       Q. What time of year does the school year
  12       Q. At Carenage, did Mrs. Carter ever           12   begin, or did the school year begin at Carenage?
  13    speak to a group of students?                     13       A. The 2006 year, at the beginning of the
  14       A. I don't know.                               14   year for the 2006.
  15       Q. You don't have any memory of her            15       Q. I was just wondering if it was at the
  16    speaking to a group of students at Carenage?      16   beginning of the calendar year in January of
  17       A. No.                                         17   2006, or if the school year began at a different
  18       Q. Were there ever any other visitors          18   time of the year after a break.
  19    from the United States that came to Carenage      19          MR. STEWART: Objection.
  20    when you were a student there?                    20       A. I don't know.
  21          MR. STEWART: Objection.                     21   BY MR. CERRETA:
  22       A. I don't know if there were others.          22       Q. Was there -- at Carenage, would there
  23    But as far as I'm concerned, these are the        23   be a summer break during which no classes would
  24    people I used to see.                             24   be going on?
  25    BY MR. CERRETA:                                   25          MR. STEWART: Objection.


                                           Page 63                                                  Page 65
   1      Q. You don't have any recollection of any        1      A. Yes. There was a little break where
   2   other visitors coming to Carenage besides           2   they made us play ball, play dominos, and
   3   Mrs. Carter and Father Carrier?                     3   basketball.
   4      A. No.                                           4   BY MR. CERRETA:
   5      Q. In this case you have alleged that            5      Q. Was there any time during the year
   6   Douglas Perlitz sexually abused you, is that        6   when the Carenage school would be closed for a
   7   right?                                              7   break?
   8      A. Yeah. He took me, he forced me to             8      A. The school was closed, but we still
   9   pull down my pants, and he forced his penis into    9   stayed at Carenage to play ball and basketball.
  10   my butt.                                           10      Q. So the time you were abused by Douglas
  11      Q. When did this happen?                        11   Perlitz, was this after that break when a new
  12      A. At the beginning of the school year in       12   school -- when a new year of classes had just
  13   2006.                                              13   begun?
  14      Q. And was this when you were a student         14      A. At the time when there was school.
  15   at Carenage?                                       15      Q. Had the school -- had the year of
  16      A. Yes.                                         16   school just begun?
  17      Q. Was this the beginning of your second        17      A. Yes.
  18   year at Carenage?                                  18      Q. Do you remember what month of the year
  19      A. The second and third year, they              19   that was when school had just begun?
  20   regrouped and made it in one year.                 20      A. No.
  21      Q. When the incident of abuse happened at       21      Q. When this incident of abuse happened,
  22   the beginning of the school year in 2006, had      22   had you ever -- prior to this incident of abuse,
  23   you already been a student at Carenage during      23   had you ever spoken with Douglas Perlitz?
  24   the previous school year?                          24      A. No.
  25      A. At the beginning of the school year in       25      Q. So this was the first time that you


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   1   ever met him person-to-person?                      1   room, is that right?
   2      A. Yes.                                          2      A. No. He was at the school, and then he
   3      Q. Would you describe for me everything          3   made me go inside the classroom once.
   4   that happened during this incident of abuse?        4      Q. Okay. Douglas came into the
   5      A. No.                                           5   classroom, told Margarita that he wanted you to
   6          MR. STEWART: So they have a right to         6   come with him, right?
   7   have you -- to ask you questions about what         7      A. Yes.
   8   happened. Mr. Cerreta will try not to drag it       8      Q. And he then took you somewhere, right?
   9   out too long, but you need to say what happened,    9      A. Yes, he brought me to a little
  10   okay?                                              10   bedroom.
  11      A. Yes.                                         11      Q. As he was -- as you two were walking
  12          MR. STEWART: Go ahead and tell him          12   from the classroom to this other room, did he
  13   what happened.                                     13   say anything to you?
  14      A. I was in a classroom, he called me.          14      A. No, he just came, and he told me women
  15   He went with me inside a little room. He pulled    15   were not good, and he forced me to pull down my
  16   down my pants. He told me women are not good,      16   pants, and he forced his penis inside my butt.
  17   and he forced his penis inside my butt.            17      Q. But on that walk from the classroom to
  18   BY MR. CERRETA:                                    18   the room where he took you, did you two have any
  19      Q. What happened next?                          19   conversation at that point?
  20      A. He made me leave to go back to the           20      A. No. He just made me leave the
  21   classroom.                                         21   classroom. He said he needed me. He told the
  22      Q. When he came into the classroom to           22   lady he needed me, so she just let me go.
  23   call you, was class going on at that time?         23      Q. As you were walking, did you ask him
  24      A. Yes.                                         24   why he was taking you out of class?
  25      Q. Was your teacher in there with the           25      A. No. He said he needed me, that's all.


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   1    class?                                             1       Q. So he took you into a little room?
   2        A. Yes.                                        2        A. Yes.
   3        Q. What teacher was that?                      3        Q. And did you testify that it was a
   4        A. Margarita.                                  4   little bedroom? Is that right?
   5        Q. So Douglas walked in, and did he say        5        A. Yeah, a bedroom.
   6    something to Margarita?                            6        Q. There was a bed in the room?
   7        A. He told Margarita he needed me, and he      7        A. Yes.
   8    took me and brought me -- brought me outside,      8        Q. Did he say anything to you after you
   9    took me outside.                                   9   went into the room together?
  10        Q. At this point had you ever spoken to       10       A. Yeah. He said women were no good, not
  11    Douglas before?                                   11   to go get involved with women. Then he made me
  12        A. No.                                        12   pull my pants down, and put his penis in my
  13        Q. But he came in and he asked for you        13   butt.
  14    personally by name?                               14        Q. When you went into this room, did he
  15        A. Yes. Yes.                                  15   lock the door?
  16        Q. Did he say why he wanted you to come?      16           MR. STEWART: Objection.
  17        A. It's when he got there, he didn't          17        A. Yes.
  18    tell, he just called me, and he just went with    18   BY MR. CERRETA:
  19    me.                                               19        Q. How big was the room?
  20        Q. After he had taken you out of the          20       A. Well, I don't know.
  21    classroom, did he say anything to you?            21        Q. It had a bed, you said earlier?
  22        A. He said if I told that to anyone he        22        A. Yes. Yes.
  23    would put me -- throw me out.                     23        Q. Was there any other furniture?
  24        Q. After he had taken you out of the          24       A. I don't know.
  25    classroom, you say he brought you to another      25       Q. Were there any windows?


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   1       A. Yes, there was a little window.             1   managing the Carenage, if I didn't accept he
   2       Q. So when you walked in, you testified        2   would put me outside, he would throw me out.
   3    that he told you women were no good, is that      3       Q. Did Doug Perlitz ejaculate when he was
   4    correct?                                          4   assaulting you?
   5       A. Yes.                                        5         MR. STEWART: Objection.
   6       Q. And then before he abused you, did you      6       A. I don't know.
   7    respond to him when he said this?                 7   BY MR. CERRETA:
   8       A. No.                                         8      Q. At some point he stopped and took his
   9       Q. When he said this to you, were you          9   penis out of your butt, is that correct?
  10    standing up, or were you sitting down?           10       A. Yes.
  11       A. I was standing, and he forced me to        11       Q. And then what happened next?
  12    pull down my pants, and he put his penis in my   12      A. He forced me to -- he made me pull up
  13    butt, and he said if I told -- said that to      13   my pants, and he brought me to the classroom.
  14    anyone he would throw me out.                    14       Q. During the time this was happening,
  15       Q. When you say he forced you to pull         15   did anyone interrupt you?
  16    down your pants, did he physically pull the      16         MR. STEWART: Objection.
  17    pants down?                                      17      A. There was Madame -- Miss -- this was
  18       A. He forced me to do it, and then he put     18   this Miss, Mrs. that was coming, he heard it, so
  19    his penis inside my butt. He forced me.          19   he stopped. Then he made me pull my pants up,
  20       Q. Did he tell you to pull your pants         20   and then he brought me to the classroom.
  21    down?                                            21   BY MR. CERRETA:
  22       A. Yes.                                       22       Q. Okay. So there was someone
  23       Q. And did you then pull your pants down?     23   approaching from outside of the room?
  24       A. Yes.                                       24      A. Yes. He heard somebody's feet
  25       Q. Did you say anything?                      25   approaching, so he made me pull up my pants and


                                           Page 71                                                Page 73
   1      A. No.                                          1   brought me to the classroom.
   2      Q. Before he put his penis in your butt,        2       Q. Did he open the door after he made you
   3   did he touch you anywhere else?                    3   pull up your pants?
   4          MR. STEWART: Objection.                     4          MR. STEWART: Objection.
   5      A. He put his hand on my butt -- in my          5       A. Yes.
   6   butt, and they he put his penis inside my butt.    6   BY MR. CERRETA:
   7   BY MR. CERRETA:                                    7       Q. And when he opened the door, did you
   8      Q. Did he touch you anywhere else?              8   see this person who was approaching?
   9      A. No.                                          9       A. No, I didn't see the person, I just
  10      Q. Did he ever kiss you during this time?      10   heard that person's feet, and then he made me
  11          MR. STEWART: Objection.                    11   pull up my pants. He opened the door and he
  12      A. No.                                         12   made me -- and he brought me to the classroom.
  13   BY MR. CERRETA:                                   13       Q. When he opened the door, was there a
  14      Q. Did he make you touch him at all            14   person there outside the door?
  15   during this time?                                 15       A. No.
  16      A. No, just simply that he put his hand        16       Q. When you heard that person's feet, did
  17   to my butt, and then he put his penis inside my   17   that person knock on the door?
  18   butt, and he made me pull down my pants, and he   18       A. No.
  19   put his penis inside my butt. He said if I told   19       Q. During the whole time that this abuse
  20   anyone, he would throw me out.                    20   was going on, did you say anything to Douglas?
  21      Q. When he put his penis inside your           21       A. No.
  22   butt, did you attempt to resist?                  22       Q. Do you know how long this incident
  23          MR. STEWART: Objection.                    23   lasted from the time you went into this room to
  24      A. Well, he was the one -- it's not that       24   the time that Douglas brought you back to class?
  25   I could not accept, he was the one who was        25          MR. STEWART: Objection.


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   1      A. No.                                           1   brought you back to a class, is that right?
   2   BY MR. CERRETA:                                     2       A. Yes.
   3      Q. On the walk back after Douglas opened         3       Q. But this class was being taught by
   4   the door and you left this room, did you see        4   Madame Calixte?
   5   anyone on the way back to the classroom?            5       A. No. Margarita.
   6      A. I saw Ms. Calixte.                            6       Q. Okay. Was it the same class that you
   7      Q. Where was Madame Calixte?                     7   had left when Douglas took you out of the room?
   8      A. She was downstairs. She was going up.         8       A. Yes.
   9      Q. So the space between the classroom and        9       Q. Did Margarita say anything to you
  10   the room where Douglas took you, did you have to   10   after you arrived back in the class?
  11   go to a different floor by stairs?                 11       A. No. No.
  12      A. No.                                          12       Q. Did any of the other students talk
  13      Q. You saw Madame Calixte as you were           13   with you after you arrived back in the class?
  14   walking back to the classroom as she was going     14       A. No.
  15   up a set of stairs, is that right?                 15       Q. Did you tell anyone anything about why
  16      A. Yes.                                         16   Douglas had taken you out of the room?
  17      Q. Did you say anything to Madame               17          MR. STEWART: Other than your
  18   Calixte?                                           18   attorneys.
  19      A. No.                                          19   BY MR. CERRETA:
  20      Q. Did Douglas say anything?                    20       Q. That day, that day when this happened,
  21      A. No.                                          21   did you tell anyone?
  22      Q. You say you don't recollect whether          22       A. No.
  23   Douglas Perlitz ejaculated at the time he          23       Q. After this incident happened, did you
  24   sexually abused you?                               24   tell anyone about it before the day you went to
  25         MR. STEWART: Objection.                      25   go see Cyrus Sibert?


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   1      A. Yes.                                          1       A. No.
   2   BY MR. CERRETA:                                     2       Q. So Cyrus Sibert was the first person
   3      Q. You don't have any memory of whether          3   you ever told?
   4   that happened or whether it did not happen?         4       A. Yes.
   5      A. No.                                           5       Q. After this incident, did you continue
   6      Q. When the abuse was over, were you             6   attending Carenage?
   7   bleeding?                                           7       A. Yes.
   8      A. No.                                           8       Q. How old were you at the time of this
   9      Q. When you came back to the classroom,          9   incident?
  10   did Douglas say anything to Margarita?             10          MR. STEWART: Objection.
  11      A. No. He just made me enter the                11       A. I don't know.
  12   classroom. He just brought me inside the           12   BY MR. CERRETA:
  13   classroom, and made me go in. I just followed      13       Q. But it was your testimony earlier
  14   the class that the Mrs. was giving.                14   today that the incident occurred in 2006 at the
  15      Q. After you came back, did the Mrs. --         15   beginning of the year?
  16   was the Mrs. Margarita, is that right?             16          MR. STEWART: School year.
  17      A. No. Ms. Calixte.                             17   BY MR. CERRETA:
  18      Q. Okay. When Douglas came to get you at        18       Q. I'm sorry. Let me rephrase that,
  19   the time he abused you, he took you out of a       19   because I don't think I accurately characterized
  20   class and brought you to this other room, right?   20   the testimony.
  21      A. Yes.                                         21          Was it your testimony earlier today
  22      Q. And who was teaching that class that         22   that this incident occurred in 2006 at the
  23   he removed you from?                               23   beginning of the school year?
  24      A. Margarita.                                   24       A. Yes.
  25      Q. After the incident was over, he              25       Q. So at that time you would have been


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   1    approximately 17 years old, is that right?          1      Q. Did you and Douglas Perlitz ever
   2           MR. STEWART: Objection.                      2   discuss the incident of sexual abuse that had
   3        A. I don't remember.                            3   previously occurred?
   4    BY MR. CERRETA:                                     4      A. No.
   5        Q. So you continued as a student at             5      Q. Did Douglas Perlitz ever sexually
   6    Carenage after this incident, correct?              6   abuse you any other time?
   7        A. Yes.                                         7      A. No.
   8        Q. Did you complete that whole school           8      Q. After the incident of sexual abuse,
   9    year that was just beginning at Carenage?           9   did you consider not going back to Carenage?
  10        A. I don't remember.                           10          MR. STEWART: Objection.
  11        Q. At some point you left Carenage and         11      A. No, I always went.
  12    transitioned to become a student at the Village,   12   BY MR. CERRETA:
  13    right?                                             13      Q. Were you concerned that you might be
  14        A. Yes.                                        14   put in a similar situation where Douglas Perlitz
  15        Q. But you went to -- well, did you start      15   might try to abuse you again?
  16    attending the Village in 2007?                     16      A. I was scared, but I had to go anyway.
  17        A. Yes.                                        17      Q. Why did you have to go?
  18        Q. So between this incident of abuse at        18      A. Because I didn't have any possibility
  19    the beginning of the 2006 school year and when     19   to go anywhere else, that's where -- I couldn't
  20    you started attending the Village in 2007, were    20   find it.
  21    you attending classes at the Carenage -- at        21      Q. So why was it that at the end of the
  22    Carenage throughout that period?                   22   school year you moved on to the Village?
  23        A. Yes, I went to school in Rue 13 then,       23      A. Well, they just sent me there. I
  24    I went to the Carenage, and then I went to the     24   don't know why.
  25    Village.                                           25      Q. Who told you that you were going to be

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   1       Q. After the incident of abuse, you              1   moving from Carenage to the Village?
   2   continued going to Carenage up through the time      2      A. They call my name -- they called out
   3   you moved to the Village, is that accurate?          3   my name, they said I was supposed to go to the
   4       A. Yes.                                          4   Village, so I went to the Village.
   5      Q. Did you ever see Douglas Perlitz after         5      Q. And did you start at the Village at
   6   this incident occurred?                              6   the beginning of the 2007 school year?
   7       A. No.                                           7      A. Yes.
   8       Q. Was he ever again at Carenage during          8      Q. You testified previously that you saw
   9   the school day when you were there?                  9   Douglas Perlitz at the Village, right?
  10          THE INTERPRETER: During the school           10      A. Yes.
  11   day when you were there?                            11      Q. When you saw him, was that the first
  12       Q. After this incident occurred, did you        12   time you had seen him --
  13   ever see Douglas Perlitz at Carenage another        13      A. Can you repeat the question, please?
  14   time?                                               14      Q. Sure.
  15       A. Well, I saw him at the Village.              15          Was it your testimony previously that
  16   That's where I saw him.                             16   you saw Douglas Perlitz at the Village?
  17      Q. So you don't remember ever seeing him         17      A. Yes.
  18   again at Carenage after the incident of sexual      18      Q. When you saw him at the Village, was
  19   abuse?                                              19   that the first time you had seen Douglas Perlitz
  20       A. Yes.                                         20   since the incident of sexual abuse at Carenage?
  21      Q. Yes, you have no recollection?                21      A. Yes. When I got to the Village, I saw
  22       A. Yes.                                         22   him.
  23      Q. Did you ever speak to Douglas Perlitz         23      Q. And did you speak with him?
  24   after this incident of sexual abuse happened?       24      A. Just when we had the meeting at the
  25       A. When I went to the Village.                  25   place where we were eating, Madame Carter was


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   1    there, she was making a speech, and he was          1       A. No. When he called me, he made me
   2    translating for her, and he said as long as we      2   enter this bedroom only.
   3    had a good average, we could move -- go on to       3       Q. And that was the first time you had
   4    Fairfield -- to go to Fairfield.                    4   ever spoken with Douglas Perlitz?
   5       Q. This occurred when a lot of students          5       A. Yes, yes, when he called me when I was
   6    were assembled, is that right?                      6   in the classroom.
   7       A. Yes. Yes.                                     7       Q. And this incident when he was
   8       Q. And it was Douglas and Madame Carter          8   translating for Mrs. Carter, was this the second
   9    were the two people speaking to the group of        9   time that Douglas Perlitz had ever spoken to
  10    students?                                          10   you?
  11       A. And Father Paul.                             11       A. Yes, at the Village.
  12       Q. And this time, this was the first time       12       Q. Aside from those two times, was there
  13    that Douglas Perlitz had spoken to you since the   13   ever any other time that you spoke with Douglas?
  14    incident of sexual abuse, is that right?           14   I'm sorry. Strike that.
  15       A. Yes.                                         15          Aside from those two times, was there
  16       Q. So Madame Carter was speaking in             16   ever any other time that Douglas Perlitz spoke
  17    English during this meeting, is that right?        17   to you?
  18       A. She was speaking in English, and             18       A. No.
  19    Douglas was translating for her.                   19       Q. During the time you were just
  20       Q. And she said that if you had a good          20   describing that Douglas was speaking to the
  21    average you would move on to Fairfield             21   group, did Father Paul Carrier say anything to
  22    University?                                        22   the group?
  23       A. She said if we did all our classes,          23       A. Yes. He said that also, as long as we
  24    she would send us to Fairfield University.         24   finished our classes he would send us to
  25       Q. And this was Douglas translating that?       25   Fairfield University, there was a possibility


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   1       A. Yes.                                          1   for him to send us to Fairfield University.
   2      Q. Was the -- as Douglas translated it,           2      Q. So both Madame Carter and Father
   3   she said if you completed all your classes           3   Carrier said this to the group?
   4   Mrs. Carter would send you to Fairfield              4      A. Yes.
   5   University?                                          5      Q. And both Father Carrier and Madame
   6      A. He said anybody who would finish their         6   Carter were speaking in English when they were
   7   classes -- her classes -- his classes that           7   speaking, is that correct?
   8   Madame Carter and Father Paul were capable of        8      A. Yes, they were speaking English, and
   9   sending that person to University of Fairfield.      9   Douglas was translating it for them.
  10      Q. Do you remember anything else that            10      Q. Aside from this one time you've just
  11   Douglas said or that Douglas translated during      11   described, did you ever see Madame Carter at the
  12   this meeting?                                       12   Village on any other occasions?
  13       A. No.                                          13      A. Yeah, they come every December. They
  14      Q. Aside from this meeting, did you ever         14   appear in December. They come in December.
  15   speak with Douglas either one-on-one or in a        15   They bring things like tennis shoes, T-shirts,
  16   group on any other occasion?                        16   Fairfield University T-shirts and balls.
  17           MR. STEWART: Other than what he's           17      Q. Madame Carter would bring these items?
  18   testified to?                                       18      A. Yes.
  19       A. No.                                          19      Q. Would Madame Carter come with anyone
  20   BY MR. CERRETA:                                     20   else?
  21       Q. Sure.                                        21      A. I don't know if she came with other
  22           You had previously discussed the            22   people, but as far as I'm concerned, I saw her
  23   incident of sexual abuse when Douglas spoke to      23   every December, that's when she would come.
  24   you, correct? Douglas spoke to you during the       24      Q. You started at the Village in 2007,
  25   time that he was abusing you, am I right?           25   right?


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   1          MR. STEWART: Objection.                       1      Q. Did you ever speak to Father Carrier
   2       A. Yes.                                          2   one-on-one?
   3   BY MR. CERRETA:                                      3      A. Just when we were in a group.
   4       Q. So when you say every December, how           4      Q. How about Madame Carter, did you ever
   5   many Decembers are we talking about?                 5   speak to her one-on-one?
   6          MR. STEWART: Objection.                       6      A. No, just when we were in a group.
   7       A. I don't remember, but it's every              7      Q. Were there ever any other visitors
   8   December. It's in December I used to see her.        8   besides Father Carrier and Madame Carter that
   9   BY MR. CERRETA:                                      9   came to the Village?
  10       Q. Do you think that you were a student         10          MR. STEWART: Objection.
  11   at the Village during December of more than one     11      A. There could have been other visitors,
  12   year?                                               12   but as far as I'm concerned, the ones I saw were
  13          MR. STEWART: Objection.                      13   Madame Carter and Father Paul.
  14       A. Yes.                                         14   BY MR. CERRETA:
  15   BY MR. CERRETA:                                     15      Q. What grade did you start at when you
  16       Q. So you saw Madame Carter the first           16   went to the Village?
  17   December after you started at the Village, in       17      A. Second, third.
  18   December of 2007, is that correct?                  18      Q. Do you remember your teachers at the
  19          MR. STEWART: Objection.                      19   Village?
  20       A. Yes.                                         20      A. Yes. They were Master Mémé, Master
  21   BY MR. CERRETA:                                     21   Judex and Romel, and Madame Nelta.
  22       Q. Do you think -- was there another            22      Q. Do you remember what subject they
  23   occasion besides December of 2007 that you saw      23   taught?
  24   Madame Carter at the Village handing out these      24      A. For example, there's a class in the
  25   items?                                              25   afternoon, another person would come by and give


                                            Page 87                                                  Page 89
   1        A. No.                                          1   the class, another one person would come by and
   2        Q. So it was just the one time Madame           2   give that class. That's how it was.
   3    Carter brought the T-shirts and the balls and       3      Q. Did the different teachers teach
   4    other items?                                        4   different -- have their own subject that they
   5        A. Yes. Yes.                                    5   taught?
   6        Q. Did Madame Carter say anything on this       6      A. Yes.
   7    occasion when she brought the items?                7      Q. Do you remember what subject Madame
   8        A. No. She just gave them, and then they        8   Nelta taught?
   9    distributed them.                                   9      A. She used to give French classes.
  10        Q. Was Father Carrier there on this            10      Q. How about the others, do you remember
  11    occasion?                                          11   what subjects they taught?
  12        A. Yes.                                        12      A. Master Romel used to teach us Creole.
  13        Q. Did he say anything to the group?           13   Master Mémé teach us singing. And Judex used to
  14        A. No. Just when we were all in a group        14   teach us Haitian history.
  15    inside, that's the only time when he spoke to      15      Q. When you were a student at the
  16    us.                                                16   Village, did you sleep over there?
  17        Q. Was that the time that you spoke of         17      A. No, they didn't let us sleep.
  18    previously when he discussed getting --            18      Q. At the time when you were a student at
  19    completing all your classes and then potentially   19   the Village, were you living with your aunt in
  20    going on to Fairfield University?                  20   Blue Hills?
  21        A. Yes. Yes.                                   21      A. Yes.
  22        Q. Aside from that one time, has father        22      Q. Would you travel from your aunt's
  23    -- did you ever see Father Carrier speak to a      23   house to the Village every morning?
  24    group of students on any other occasion?           24      A. Yes.
  25        A. No.                                         25      Q. How would you get from your aunt's


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   1   house to the Village?                               1      A. Yes, I've seen her at the Village.
   2       A. I used to leave at 6:00 a.m., and got        2      Q. Have you ever spoken with her?
   3   to the Village at 7:00 a.m.. They made us take      3      A. Just once when I was playing ball, and
   4   a shower, eat, and then go to class. We used to     4   the ball went outside, and I told her to throw
   5   raise the flag, and then go to class.               5   the ball back to me.
   6       Q. Okay. So you say you would arrive            6      Q. Do you know Robinson?
   7   about 7:00 a.m., and then everyone would shower,    7       A. Yes.
   8   is that right?                                      8      Q. How do you know Robinson?
   9       A. Yes. They made us take a shower, eat,        9      A. He's a director of the school. He was
  10   raise the flag, and go to class.                   10   one of the directors of the school.
  11       Q. And how long would the classes last         11      Q. Did you ever speak with Robinson?
  12   after everyone showered, raised the flag, and      12      A. Sometimes he goes by, he looks and
  13   everyone ate?                                      13   then he goes by. Besides that, nothing else.
  14       A. I don't know.                               14      Q. But you never actually had a
  15       Q. After the classes, would there be more      15   conversation with Robinson?
  16   activities at the Village before the end of the    16       A. No.
  17   day?                                               17      Q. Did you remain a student at the
  18       A. Yes. After you finished the classes,        18   Village until it closed?
  19   then school would be out, and then there was a     19       A. Yes.
  20   yard where we would stay and study if we wanted,   20      Q. While you were a student at the
  21   and if we didn't want then we would play ball or   21   Village, did anybody ever tell you that they had
  22   basketball.                                        22   been sexually abused by Douglas Perlitz?
  23       Q. Well, what time would you go home at        23       A. No.
  24   the end of the day at the Village?                 24      Q. Did you ever hear any rumors or
  25       A. 7 to 6.                                     25   statements that Douglas Perlitz had abused

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   1       Q. Now, there were some students who            1   children other than you?
   2   would sleep over at the Village, is that right?     2          MR. STEWART: Objection.
   3       A. Yes. But me, they didn't let me stay         3      A. Just when -- just when Master Mémé and
   4   to sleep at the Village.                            4   Master Judex would call the kids fags.
   5       Q. Was there ever any night where you           5   BY MR. CERRETA:
   6   stayed over at the Village?                         6      Q. You heard Master Mémé and Master Judex
   7       A. No.                                          7   call the kids fags?
   8       Q. Were there any other -- strike that.         8      A. Yes. When they would send children --
   9          Do you know someone named Jessica            9   the children to do something and they didn't
  10   Lozier?                                            10   want, they would call the children names like
  11       A. Yes.                                        11   fag and Douglas girlfriend.
  12       Q. How do you know Jessica Lozier?             12      Q. Did they ever call you these names?
  13       A. I've seen her at the Village, but I         13      A. No. When they would call the children
  14   haven't spoken to her.                             14   that, these names, I would get mad when they
  15       Q. Have you ever spoken to Jessica             15   would say that.
  16   Lozier?                                            16      Q. And based on those names they were
  17       A. No.                                         17   calling the children, you believe that they knew
  18       Q. What would Jessica Lozier be doing          18   Douglas was abusing children?
  19   when you would see her at the Village?             19      A. Yes, they knew. Yes, they knew. They
  20       A. I used to see her, she would enter          20   decided to hide it, to make it a secret so they
  21   sometimes, she was walking in the yard, and she    21   wouldn't lose their jobs. Robinson had heard
  22   would enter an office, and leave. That's what I    22   about it and he left, and then Douglas went to
  23   saw her doing.                                     23   get Robinson back, so he came back, and then
  24       Q. How about Brittany McLean, do you know      24   Douglas left, and he never came back.
  25   Brittany McLean?                                   25      Q. Is the reason that you think that the


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   1   staff decided to hide it -- I'm sorry. Strike       1         AFTERNOON SESSION
   2   that.                                               2
   3          Mémé and Judex were calling certain          3          PHILIPPE CHAMY, Translator,
   4   kids names, is that right?                          4   having been duly sworn to translate the
   5       A. Yes.                                         5   questions and answers to the best of his
   6       Q. And based on those names, you believe        6   ability, translated as follows:
   7   that they had decided to hide the fact that         7
   8   Douglas was abusing children, is that correct?      8          THE VIDEOGRAPHER: Back on record.
   9          MR. STEWART: Objection.                      9   The time is 2:03.
  10       A. Yes, they decided to make it a secret.      10   BY MR. CERRETA:
  11   And Robinson had left because he heard they were   11       Q. Good afternoon, Mr. Emile. Before the
  12   calling the kids fags.                             12   break you were saying that you thought Robinson
  13   BY MR. CERRETA:                                    13   left the Village because he had heard some other
  14       Q. So Robinson heard that these two other      14   teachers calling some of the boys derogatory
  15   teachers were calling children fags?               15   names, is that right?
  16       A. Yes.                                        16       A. Yes.
  17       Q. And do you think that's why Robinson        17       Q. And based on that, you think that
  18   left PPT?                                          18   Robinson may have known that Douglas Perlitz was
  19       A. Yeah. Well, he just left, so I              19   abusing children, is that right?
  20   believe it was that.                               20       A. He heard them calling the children
  21       Q. Were you present -- I'm sorry.              21   faggots.
  22          Was Robinson present when you heard         22       Q. Did you ever speak to Robinson about
  23   these two other teachers call children fags and    23   why he had left?
  24   other derogatory names?                            24       A. No.
  25          MR. STEWART: Objection.                     25       Q. Aside from those names that Robinson


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   1      A. Yes, he was walking by.                       1   had heard, do you know of any other reason that
   2         MR. STEWART: Ready to break for               2   Robinson might have known about the abuse?
   3   lunch?                                              3       A. No.
   4         MR. CERRETA: Yes, I guess we might as         4       Q. After the Village closed, did you go
   5   well. Come back in an hour from now?                5   to another school?
   6         MR. STEWART: An hour is good.                 6       A. No.
   7         THE VIDEOGRAPHER: Going off the               7       Q. Did you ever attend classes through a
   8   record. The time is 12:49.                          8   program called Kids Alive?
   9         (Whereupon, a recess was taken.)              9       A. Yes.
  10                                                      10       Q. And was that a school program that
  11                                                      11   Kids Alive was running?
  12                                                      12       A. It gave food, and then it stopped.
  13                                                      13       Q. Do you remember what grades you
  14                                                      14   attended at the Kids Alive program?
  15                                                      15       A. First, second, and third. The same.
  16                                                      16       Q. For how long did you attend the Kids
  17                                                      17   Alive program?
  18                                                      18       A. I don't remember.
  19                                                      19       Q. Do you remember any of the teachers
  20                                                      20   that were at the Kids Alive program?
  21                                                      21       A. No.
  22                                                      22       Q. Are you familiar with a place called
  23                                                      23   Bel Air?
  24                                                      24       A. Yes, I remember, I went to Bel Air. I
  25                                                      25   had spoken to Douglas in Bel Air.


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   1       Q. How many times have you been to               1   basketball, is that correct?
   2    Bel Air?                                            2       A. Yes, with the other kids.
   3       A. Only one time.                                3       Q. And was this -- when you first arrived
   4       Q. And what is Bel Air?                          4   at Bel Air, do you have to go through a gate to
   5       A. It's a house.                                 5   get onto the property?
   6       Q. Is that the house where Douglas stayed        6       A. Yes.
   7    in Haiti?                                           7       Q. And then after you walked through the
   8       A. Yes.                                          8   gate, you saw this basketball game that was
   9       Q. Why did you go to Bel Air this one            9   going on?
  10    time?                                              10       A. Yes. I was standing in the yard, and
  11       A. I went to Bel Air to get money in            11   I saw them play basketball.
  12    order to pay for my transportation. And when I     12       Q. Did you speak to any of the people who
  13    was there, there was Mrs. Carter, there was        13   were there playing basketball?
  14    Father Paul, and they were playing basketball,     14       A. No. I only spoke to Douglas.
  15    and then there were some that were eating.         15       Q. Was Douglas out there playing
  16          THE INTERPRETER: And he was                  16   basketball as well?
  17    continuing.                                        17       A. No. He was standing there, and I
  18       A. There were some that were cooking            18   called him, I said I needed money to pay for my
  19    food.                                              19   transport. He gave me $10. And then I left.
  20       Q. So you went to Bel Air to get some           20       Q. Did you have any interaction with
  21    money for transportation, is that right?           21   Father Paul Carrier?
  22       A. Yes.                                         22       A. No.
  23       Q. And where did you need to go that you        23       Q. Did you have any interaction with
  24    needed this money for transportation?              24   Madame Carter on this occasion?
  25       A. I was going to go home.                      25       A. No. I saw her, but I didn't speak to

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   1       Q. To your aunt's home?                          1   her.
   2       A. Yes.                                          2       Q. Your discussion with Douglas Perlitz,
   3       Q. And was the money for a taxi ride or          3   did this take place in the yard outside of the
   4    something?                                          4   house?
   5       A. To pay for public transportation.             5       A. In the yard. I was standing in the
   6       Q. Was this when you were a student at           6   yard.
   7    the Village, or when you were at another one of     7       Q. And Douglas gave you the money for the
   8    the PPT schools?                                    8   public transportation?
   9       A. It was while I was in Carenage, I had         9       A. Yes, $10.
  10    been disciplined, and I was told to go home, so    10       Q. And after that, you left?
  11    I went to Bel Air to get money to be able to pay   11       A. Yes.
  12    for my transport home.                             12       Q. Did you ever return to Bel Air at any
  13       Q. Why had you been disciplined?                13   time after that?
  14       A. Because I was there late.                    14       A. No.
  15       Q. Who had sent you home?                       15       Q. Did you ever on any occasion go inside
  16       A. The security guard that was at the           16   of the actual house that was at Bel Air?
  17    gate.                                              17       A. No. No.
  18       Q. Do you know that person's name?              18       Q. Do you know a student at PPT named
  19       A. No.                                          19   Pina?
  20       Q. This one time when you went to               20       A. No.
  21    Bel Air, was it before or after the incident       21       Q. Did you ever hear about a student
  22    where Douglas Perlitz sexually abused you?         22   named Pina that said Douglas abused him?
  23       A. Before.                                      23          MR. STEWART: Objection.
  24       Q. So when you arrived at Bel Air, you          24       A. No.
  25    saw Mrs. Carter and Father Paul playing            25   BY MR. CERRETA:


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   1      Q. Did you ever hear about a student             1   okay?
   2   named Pina being kicked out of the Village after    2   BY MR. CERRETA:
   3   saying that Douglas abused him?                     3      Q. Mr. Emile --
   4          MR. STEWART: Objection.                      4          MR. STEWART: It's okay.
   5          THE INTERPRETER: The interpreter             5   BY MR. CERRETA:
   6   requests a clarification. Did you say Pina          6      Q. Mr. Emile, you've alleged in the case
   7   again, or Pita?                                     7   that you've brought that you suffered injuries
   8          MR. CERRETA: Pina, P-I-N-A.                  8   as a result of the abuse committed by Douglas
   9      A. I had seen that they had put him out,         9   Perlitz, is that right?
  10   that they had him leave, but I didn't know what    10      A. Yes.
  11   was the reason. Whether it was for abuse, I        11      Q. Have you ever been to see a doctor for
  12   didn't know that.                                  12   the injuries that you suffered as a result of
  13   BY MR. CERRETA:                                    13   the abuse?
  14      Q. So you are familiar with this student        14      A. No.
  15   named Pina?                                        15      Q. Have you ever been to a therapist or
  16      A. He was a student like me.                    16   counselor to talk about the injuries resulting
  17      Q. And he was kicked out of the Village?        17   from the abuse?
  18      A. Yes.                                         18          MR. STEWART: Objection.
  19      Q. But you don't know why he was kicked         19      A. No.
  20   out?                                               20   BY MR. CERRETA:
  21      A. No.                                          21      Q. What injuries are you claiming in this
  22      Q. Did you ever hear Pina say that              22   lawsuit as a result of the abuse?
  23   Douglas had abused him?                            23          MR. STEWART: Objection.
  24      A. No.                                          24      A. Justice.
  25      Q. Is Pina a nickname?                          25   BY MR. CERRETA:

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   1         MR. STEWART: Objection.                       1        Q. You'd like to receive justice?
   2      A. It's his name, the proper name.               2        A. Yes.
   3   That's the one I know anyway.                       3        Q. But how have you been injured by
   4   BY MR. CERRETA:                                     4   Douglas Perlitz's abuse?
   5      Q. Do you know a student named Luckson           5        A. I don't feel well at all. I don't
   6   Mesidor?                                            6   feel fine at all.
   7      A. I've seen him, but I don't really hang        7        Q. Any particular symptoms that you're
   8   out with him. I don't know him personally.          8   suffering from?
   9      Q. Besides the incident you spoke about          9           MR. STEWART: Objection.
  10   with Douglas Perlitz, have you ever been           10        A. I don't feel well. I don't feel that
  11   sexually abused by anyone else?                    11   I want to talk to anyone at all. I feel like I
  12         MR. STEWART: Objection.                      12   just want to sit in a corner. I don't feel
  13       A. No.                                         13   well. I want to be alone all the time, and when
  14   BY MR. CERRETA:                                    14   I'm alone I think about these things.
  15      Q. Have you ever reported the incident of       15   BY MR. CERRETA:
  16   sexual abuse committed by Douglas Perlitz to the   16        Q. Do you have problems with alcohol
  17   police?                                            17   abuse?
  18       A. No.                                         18        A. Sometimes if I think about what
  19      Q. Have you ever spoken to anyone from          19   Douglas has done to me, I drink some moonshine.
  20   the US Government about the incident of sexual     20        Q. How often do you drink moonshine?
  21   abuse committed by Douglas Perlitz?                21        A. Two or three times.
  22      A. Only to Mitch.                               22        Q. Two or three times ever?
  23         MR. STEWART: Move to strike.                 23        A. I don't remember. Sometimes I drink a
  24         You don't talk about things that you         24   little bit of moonshine when I remember these
  25   talked to me about or Ellyn or Lu or Mitch,        25   events, when it comes to mind. It's happened a


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   1    few times.                                          1   this to you?
   2         Q. Before the incident of sexual abuse,        2      A. People outside.
   3    had you ever taken any alcohol?                     3      Q. People in Cap-Haïtien?
   4         A. No.                                         4       A. Yes.
   5         Q. And how many times since the incident       5      Q. People in the Blue Hills area?
   6    of abuse would you say you've had alcohol to        6       A. Yes.
   7    drink?                                              7      Q. How often have you had these problems
   8            MR. STEWART: Objection.                     8   with people saying these things to you?
   9         A. Each time I think about this, I drink       9      A. Each time I call someone that I know,
  10    a little bit of moonshine.                         10   or I see them, they tell me "don't talk to us,
  11    BY MR. CERRETA:                                    11   we don't talk to faggots, we don't want to talk
  12         Q. Do you think that was -- do you think      12   to you."
  13    it's two or three times that you've had            13      Q. Do you claim that there's any other
  14    moonshine to drink since the incident of abuse?    14   problems that you have as a result of the abuse?
  15         A. Yes. Every time I think of it.             15          MR. STEWART: Objection.
  16         Q. Do you have any physical pain as a         16      A. Sometimes I ask for work, and they
  17    result of the abuse that you suffered by Douglas   17   won't give me any work because of what happened.
  18    Perlitz?                                           18   BY MR. CERRETA:
  19         A. Sometimes my stomach hurts, and I take     19      Q. What sort of work have you sought?
  20    a pill, and then I'm fine.                         20      A. Sometimes I ask to work in the
  21         Q. How often do you get these                 21   construction industry as a mason, for example,
  22    stomachaches?                                      22   and they won't give me the work.
  23         A. I don't know. But each time I feel         23          THE INTERPRETER: The interpreter
  24    it, I take a pill.                                 24   requests a clarification.
  25         Q. What kind of pill do you take?             25      A. So to do -- I ask for work in --

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   1       A. Ampicillin.                                   1   menial work in the construction industry, and
   2       Q. Do you have to get a prescription for         2   I'm refused.
   3   that pill?                                           3      Q. How many times have you sought work in
   4       A. When I take it, I feel good. When I           4   the construction industry since PPT closed?
   5   take it, I no longer feel what I felt before.        5      A. Every time I see them, I don't have
   6      Q. Where do you get these pills?                  6   any more money, my funds are getting low, I look
   7      A. Sometimes I buy them at the bodega.            7   for work, and I don't find any.
   8      Q. Have you been to a doctor about your           8      Q. Has anybody ever hired you to do any
   9   stomach problems?                                    9   construction work?
  10       A. No.                                          10      A. No.
  11       Q. Do you think the stomach problems are        11      Q. Do you know, can you remember how many
  12   related to Douglas Perlitz's sexual abuse?          12   times people have refused to hire you because of
  13       A. I don't know.                                13   the -- because they think you are Mrs. Douglas,
  14       Q. Do you claim that you have problems          14   or masisi, or something like that?
  15   with intimacy as a result of Douglas Perlitz's      15      A. I don't remember.
  16   sexual abuse?                                       16      Q. Are you currently looking for work
  17       A. Yes, I have problems, because the            17   actively?
  18   people think that I was one of the insiders, and    18      A. No.
  19   I was a faggot, and they think that they don't      19      Q. When was the last time you went out
  20   want to talk to me, they tell me they don't want    20   and tried to find some work?
  21   to communicate with me, and so I don't feel well    21      A. I don't remember.
  22   with them. I don't feel comfortable with these      22      Q. Earlier today you were describing how
  23   people that think that they know what happened      23   Father Paul and Madame Carter had talked about
  24   to me.                                              24   Fairfield University. Do you remember that?
  25       Q. Who are these people that have said          25      A. Yes.


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   1        Q. And do I have it right that they said        1   in those conversations?
   2    if you completed your classes, there could be an    2       A. No.
   3    opportunity for you to go to Fairfield              3       Q. Have you ever been arrested,
   4    University, you and the other students?             4   Mr. Emile?
   5          MR. STEWART: Objection.                       5       A. No.
   6        A. Yes.                                         6       Q. Have you ever used paint thinner?
   7    BY MR. CERRETA:                                     7          MR. STEWART: Objection.
   8        Q. While you were a student at PPT, did         8       A. No.
   9    you ever hear anything else about Fairfield         9          MR. CERRETA: Do you mind if we take a
  10    University?                                        10   break? I'm getting towards the end, I just want
  11        A. No.                                         11   to collect my thoughts.
  12        Q. Did you ever hear that Fairfield            12          MR. STEWART: What do you think, ten
  13    University was one of the sponsors of the          13   minutes or so?
  14    project?                                           14          MR. CERRETA: For me.
  15        A. Yes, they told me that it was a             15          MR. STEWART: That would be great.
  16    university that was very important for the         16          THE VIDEOGRAPHER: Going off the
  17    Village.                                           17   record. The time is 2:38.
  18        Q. Who told you that?                          18          (Whereupon, a recess was taken.)
  19        A. Mrs. Carter, and the second time it         19          THE VIDEOGRAPHER: Back on the record.
  20    was Douglas. Mrs. Carter, Father Paul, and         20   The time is 2:52.
  21    Douglas used to tell me that.                      21   BY MR. CERRETA:
  22        Q. When did they tell you this?                22       Q. Mr. Emile, do you think Nicholas
  23        A. The day we were gathered together as a      23   Preneta should have known that Douglas Perlitz
  24    group.                                             24   sexually abused you?
  25        Q. Was this the same day when the              25          MR. STEWART: Objection.


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   1   discussion was had about completing your classes     1      A. I don't think so.
   2   and potentially moving on to be a student at         2   BY MR. CERRETA:
   3   Fairfield University?                                3      Q. Do you think that Douglas told
   4       A. Yes.                                          4   Nicholas Preneta about everything he did?
   5       Q. Aside from that time, was there any           5          MR. STEWART: Objection.
   6   other time that you heard anything about             6      A. I don't think so.
   7   Fairfield University while you were a student at     7   BY MR. CERRETA:
   8   PPT?                                                 8      Q. How about Jessica Lozier, do you think
   9       A. It was only -- no, it was only when we        9   she should have known --
  10   were gathered together as a group.                  10          MR. STEWART: Objection.
  11       Q. On that one occasion when Father Paul        11   BY MR. CERRETA:
  12   and Madame Carter were speaking, with Douglas       12      Q. -- that Douglas Perlitz sexually
  13   interpreting?                                       13   abused you?
  14       A. Yes.                                         14          MR. STEWART: Sorry. Objection.
  15       Q. How many times did you see Father Paul       15      A. I don't think so.
  16   -- how many times would you estimate that you've    16   BY MR. CERRETA:
  17   seen Father Paul Carrier?                           17      Q. Was Jessica Lozier a leader of Project
  18       A. Well, I don't know.                          18   Pierre Toussaint?
  19       Q. Did you ever see Father Paul speaking        19      A. I don't think so.
  20   with Douglas Perlitz?                               20          MR. CERRETA: That's all I have.
  21       A. Yes, I've seen them stand together and       21   Thank you, sir.
  22   talk, but I don't speak English, so I don't know    22          MR. STEWART: Thank you, sir.
  23   what they were saying.                              23      A. Yes, thank you.
  24       Q. Okay. Do you know, do you have any           24          THE VIDEOGRAPHER: Going off the
  25   basis to know what was being said between them      25   record. The time is 2:55.


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   1          (Pause.)                                     1   sir?
   2          THE VIDEOGRAPHER: Back on the record.        2       A. No.
   3   The time is 2:56.                                   3       Q. Sir, when you came here from Haiti,
   4             EXAMINATION                               4   did you have a passport, sir?
   5   BY MR. KENNEDY:                                     5       A. Yes. Yes, I was home, and then I went
   6      Q. Hi, Mr. Emile.                                6   to the station, and there's a girl that called
   7      A. Hello.                                        7   me and she gave me the passport, and I got on
   8      Q. I know we met earlier this morning,           8   the bus.
   9   but let me -- but since it's been a while, let      9       Q. Who was the girl, sir?
  10   me reintroduce myself. I'm Jeff Kennedy, I         10       A. The girl that was standing in front of
  11   represent Hope Carter.                             11   the bus.
  12      A. Yes.                                         12       Q. Do you know who that was, sir?
  13      Q. And I have some questions for you            13       A. No.
  14   today, sir.                                        14       Q. Who called you, sir?
  15      A. Okay.                                        15       A. The lady.
  16      Q. First of all, sir, if there's any            16       Q. The lady who had the passport?
  17   question I ask you this afternoon that you don't   17       A. Yes. I had left home, I went to the
  18   understand, please ask me to rephrase it, I'd be   18   station, and the lady called me to get on the
  19   happy to do so.                                    19   bus.
  20      A. Yes.                                         20       Q. And you don't know who this lady who
  21      Q. And if you do respond, sir, I'm going        21   called you was, sir?
  22   to assume you understood my question.              22       A. No, I don't know.
  23      A. Okay.                                        23       Q. Did she speak Creole, sir?
  24      Q. If you need to take a break at any           24       A. Yes.
  25   time, you can let me know or let your counsel      25       Q. Do you know if she worked with Cyrus

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   1    know, we'd be happy to take a break, sir.          1   Sibert, sir?
   2        A. Yes.                                        2       A. No.
   3        Q. The only thing I ask is that if there       3       Q. Do you know if Cyrus helped you get
   4    is a question pending that you answer the          4   your passport, sir?
   5    question before you take a break.                  5       A. I don't think so.
   6           And it's the same rule as when              6       Q. Did she hand you the passport at the
   7    Mr. Cerreta was asking you questions, you're       7   bus station, sir?
   8    still sworn to tell the truth.                     8       A. Yes.
   9           You understand?                             9       Q. Okay. And then what did you do with
  10        A. Yes.                                       10   the passport, sir?
  11        Q. And you understand that you swore          11       A. She handed me the passport, I went on
  12    before God to tell the truth here today?          12   the bus, and I took the passport and I put it in
  13        A. Yes.                                       13   my suitcase. That's it.
  14        Q. And do you believe in God, sir?            14       Q. You don't know -- and I apologize if
  15        A. Yes.                                       15   I've already asked this, but you don't know this
  16        Q. Sir, I'm going to show you what's been     16   woman's name, sir?
  17    marked Exhibit 2 for identification.              17          MR. STEWART: Objection.
  18           (Whereupon, Emile Exhibit Number 2,        18       A. No.
  19           Copy of Jean Moise Emile's Passport,       19   BY MR. KENNEDY:
  20           was marked for identification.)            20       Q. Do you know if she worked for the
  21    BY MR. KENNEDY:                                   21   government, sir?
  22        Q. I realize that's a copy, but have you      22          MR. STEWART: Objection.
  23    ever seen that document before, sir?              23       A. No.
  24        A. No.                                        24   BY MR. KENNEDY:
  25        Q. Do you know what that document is,         25       Q. Sir, before you received your


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   1    passport, did you yourself do anything to obtain    1       A. No.
   2    the passport?                                       2       Q. Have you ever driven a motorcycle,
   3       A. I didn't. The only thing is that they         3   sir?
   4    handed me a passport, that's all.                   4       A. No.
   5       Q. So previously you didn't go to any            5       Q. Do you have a cell phone, sir?
   6    government building or facility and request a       6       A. Yes.
   7    passport, sir?                                      7       Q. And what is that number for that cell
   8       A. No.                                           8   phone, sir?
   9       Q. And, sir, I'm going to show you what's        9       A. 44167189.
  10    been marked Defendants' Exhibit 3 for              10       Q. And how long have you had that cell
  11    identification.                                    11   phone, sir?
  12           (Whereupon, Emile Exhibit Number 3,         12       A. Well, I don't remember.
  13           Jean Moise Emile's Visa, was marked for     13       Q. How did you afford to pay for that
  14           identification.)                            14   cell phone, sir?
  15    BY MR. KENNEDY:                                    15          MR. STEWART: Objection.
  16       Q. Have you ever seen that document             16       A. Well, I asked a friend, I had asked
  17    before, sir?                                       17   him, and he gave it to me, and I paid him for
  18       A. No.                                          18   it.
  19       Q. This is the first that you've seen it,       19   BY MR. KENNEDY:
  20    today, sir?                                        20       Q. Who was that friend, sir?
  21       A. Yes.                                         21       A. A friend that was passing, I was
  22       Q. Sir, go back to Exhibit Number 2. The        22   telling him I was going to look for work to buy
  23    photograph that's on that passport, do you know    23   a phone, and he took money out of his pocket and
  24    when that photograph was taken, sir?               24   he gave it to me so that I could go buy a phone.
  25       A. I don't think so, no.                        25       Q. What was that man's name, sir?


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   1      Q. Well, you don't know when the photo            1      A. He's a friend like this, like that, he
   2   was taken, sir?                                      2   was just passing through. I don't know.
   3      A. No.                                            3      Q. You don't know his name, sir?
   4      Q. Do you remember getting dressed up for         4      A. No.
   5   a photograph, sir, when you were in Haiti?           5      Q. When did this happen, sir, that he
   6          MR. STEWART: Objection.                       6   gave you the money to buy a phone?
   7      A. No.                                            7      A. I don't remember.
   8   BY MR. KENNEDY:                                      8      Q. How long have you had the phone, sir?
   9      Q. Sir, did you speak to Cyrus Sibert to          9         MR. STEWART: Objection.
  10   prepare for your deposition today?                  10      A. I don't remember.
  11          MR. STEWART: Objection. Instruct him         11   BY MR. KENNEDY:
  12   not to answer, attorney/client privilege.           12      Q. Is it more than a year, sir?
  13   BY MR. KENNEDY:                                     13         MR. STEWART: Objection.
  14      Q. Sir, do you carry any Haitian                 14      A. I don't remember.
  15   identification cards with you, sir?                 15   BY MR. KENNEDY:
  16          MR. STEWART: Objection.                      16      Q. Do you text with that phone, sir?
  17      A. No.                                           17      A. No.
  18   BY MR. KENNEDY:                                     18      Q. Do you e-mail, sir?
  19      Q. Do you have a driver's license, sir?          19      A. No.
  20          MR. STEWART: Objection.                      20      Q. Do you have an e-mail account, sir?
  21      A. No.                                           21      A. No.
  22   BY MR. KENNEDY:                                     22      Q. Sir, currently are you in contact with
  23      Q. Do you drive a car, sir?                      23   any other former PPT students?
  24      A. No.                                           24      A. I don't remember.
  25      Q. Do you drive a motorcycle, sir?               25      Q. You don't remember if you're in


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   1    contact with any former PPT students, sir?      1   sir?
   2        A. No.                                      2       A. No.
   3        Q. Do you still talk to any former PPT      3       Q. Do you know who Jamesly Guillaume is,
   4    students, sir?                                  4   sir, G-U-I-L-L-A-U-M-E?
   5        A. No.                                      5       A. No.
   6        Q. When is the last time that you spoke     6       Q. Sir, before you came here today to
   7    to any former PPT students, sir?                7   have your deposition taken, did you speak to any
   8        A. No, I don't talk to them at all.         8   former PPT student?
   9        Q. So you don't talk to any former PPT      9       A. No.
  10    students now?                                  10       Q. Are you aware that some other former
  11        A. No.                                     11   PPT students have come to the Dominican Republic
  12        Q. Do you know Raynel Odilbert, sir?       12   to have their deposition taken?
  13        A. I've heard them call out that name in   13          MR. STEWART: Objection.
  14    the Village, but I never spoke to him.         14       A. No.
  15        Q. What about Louis Saincirin, sir, have   15   BY MR. KENNEDY:
  16    you ever spoken to him?                        16       Q. Sir, when you went -- sir, you went to
  17        A. No.                                     17   Rue 13, correct?
  18        Q. Do you know who that is, sir?           18       A. Yes.
  19        A. Who was that?                           19       Q. And I believe you indicated before
  20        Q. I'm asking him, do you know who Louis   20   that you know who Andy Schultheis is?
  21    Saincirin is?                                  21       A. Yes. Andy, yes.
  22        A. No.                                     22       Q. Did you ever speak with Andy?
  23        Q. What about Jheempson Brismac Joseph,    23       A. No.
  24    sir, do you know who that is, sir?             24       Q. Are you aware that Andy can speak --
  25        A. No.                                     25   could speak Creole?


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   1       Q. What about Kensley Previl, sir, do you    1       A. He never spoke Creole in front of me.
   2   know who that is?                                2       Q. Were you aware if Andy had a Haitian
   3       A. No.                                       3   girlfriend, sir?
   4       Q. What about Emile Jean Pierre, do you      4          MR. STEWART: Objection.
   5   know who that is, sir?                           5       A. No.
   6       A. No.                                       6   BY MR. KENNEDY:
   7       Q. Do you know who Ilguens Jean is, sir?     7       Q. To the best of your understanding,
   8           MR. STEWART: Objection.                  8   sir, what was Andy's position at Rue 13?
   9           THE INTERPRETER: I'm sorry, can you      9       A. Well, what he would do is visit and go
  10   repeat that name for me?                        10   around everywhere to make sure everything was
  11           MR. KENNEDY: Sure. Would it help the    11   okay.
  12   interpreter if I spelled it?                    12       Q. Sir, did you enjoy your time at
  13           THE INTERPRETER: Can I take a look at   13   Rue 13?
  14   that paper for a minute?                        14          MR. STEWART: Objection.
  15           MR. KENNEDY: Not now.                   15       A. Well, the only thing I liked about it
  16           THE INTERPRETER: Spell it, please.      16   is the school itself, because schooling is very
  17           MR. KENNEDY: I-L-G-U-E-N-S.             17   hard to come by.
  18       A. No.                                      18   BY MR. KENNEDY:
  19       Q. Gesner Lecenat, do you know who that     19       Q. And were you given food at Rue 13,
  20   is, sir?                                        20   sir?
  21       A. No.                                      21       A. Yes.
  22       Q. Do you know who Wadson Dorciné is,       22       Q. And you were given some schooling at
  23   sir?                                            23   Rue 13, sir?
  24       A. No.                                      24          THE INTERPRETER: The interpreter
  25       Q. Do you know who Geffrard Lecenat is,     25   requests that the question be repeated.


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   1          MR. KENNEDY: Sure.                           1       Q. How many days a week do you think it
   2      Q. Did you go to classes at Rue 13, sir?         2   was, sir?
   3      A. Yes.                                          3       A. Five times in the week.
   4      Q. Did you learn to read and write at            4       Q. Can you tell me some of the other
   5   Rue 13, sir?                                        5   students who you went to the Village with, sir?
   6          MR. STEWART: Objection.                      6       A. I would see them, but I really don't
   7      A. They were showing us. I didn't quite          7   know their names.
   8   understand everything, but I was following          8       Q. Can you give me one name, sir?
   9   along.                                              9       A. I knew Pina. He's the only one whose
  10   BY MR. KENNEDY:                                    10   name I knew, because they had thrown him out, so
  11      Q. And who was showing you, sir?                11   I knew his name.
  12      A. Margarita.                                   12       Q. But you don't know the names of
  13      Q. And she was a teacher, sir?                  13   anybody else, sir?
  14      A. Yes.                                         14       A. No.
  15      Q. While you were at Rue 13, did you ever       15       Q. And how long did you go to the Village
  16   hear any rumor about Douglas Perlitz hurting any   16   for, sir?
  17   students, sir?                                     17       A. Well, I was in the Village for -- I
  18      A. No.                                          18   don't know how long.
  19      Q. When you were at Rue 13, did you at          19       Q. Was it over a year, sir?
  20   any time have any fear that Douglas Perlitz        20       A. I don't think so.
  21   would hurt you, sir?                               21       Q. What about at Carenage, sir, can you
  22      A. I didn't think so.                           22   tell me some of the names of the students that
  23      Q. Why didn't you think so, sir?                23   you went to Carenage with?
  24          MR. STEWART: Objection.                     24       A. I don't know their names.
  25      A. Because I knew he was a foreigner            25       Q. What about Rue 13, sir, can you give


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   1    there taking care of us, I wasn't thinking that    1   me the names of any students you went to Rue 13
   2    he would do this to us.                            2   with?
   3    BY MR. KENNEDY:                                    3       A. No.
   4        Q. And when you first went to Carenage,        4       Q. Sir, do you know who Marguerite Joseph
   5    sir, were you afraid that Douglas Perlitz would    5   is?
   6    hurt you?                                          6       A. No.
   7        A. I didn't think that.                        7       Q. Sir, did you ever tell Robinson that
   8        Q. And just so I'm clear, sir, you allege      8   Douglas Perlitz hurt you?
   9    that Douglas Perlitz hurt you in the year 2006,    9       A. No.
  10    correct?                                          10       Q. Sir, are you aware that other former
  11        A. Yes.                                       11   PPT students are claiming that Douglas Perlitz
  12        Q. It was not in 2005, correct?               12   hurt them?
  13        A. No, 2006.                                  13          MR. STEWART: Objection.
  14        Q. Okay. And as I understand it, at some      14       A. No.
  15    point you went to the Village, correct?           15   BY MR. KENNEDY:
  16        A. Yes.                                       16       Q. The first time that Cyrus gave you
  17        Q. Did you ever sleep at the Village,         17   money, sir, where were you?
  18    sir?                                              18       A. I was home.
  19        A. No.                                        19       Q. Did he come to your house, sir?
  20        Q. When you did go to the Village, sir,       20       A. I was home, and I was in need, so I
  21    how many days a week did you go?                  21   went to town, and he gave me money.
  22        A. Each time school was open, I would go.     22       Q. So when you say you were at home, you
  23        Q. And was that every day -- I'm sorry.       23   were in -- is it Blue Hills, sir?
  24    Was that five days a week, sir?                   24       A. Yes.
  25        A. I don't think so.                          25       Q. And where -- when you say in town,


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   1   where was Cyrus, sir?                               1   BY MR. KENNEDY:
   2      A. In Cap-Haïtien.                               2       Q. Yes, sir.
   3      Q. And did you have to take public               3       A. No.
   4   transportation from Blue Hills to the area where    4       Q. It was more than six months ago?
   5   Cyrus was in Cap-Haïtien?                           5       A. No.
   6      A. Yes.                                          6       Q. Sir, the fourth time that Cyrus Sibert
   7      Q. And how did you pay for the public            7   gave you money, do you remember when that was,
   8   transportation, sir?                                8   sir?
   9      A. $1.                                           9       A. Yes. I was in need, and I went to see
  10      Q. Did Cyrus give you the money for the         10   him.
  11   transportation, sir?                               11       Q. And when was that, sir?
  12      A. No.                                          12       A. I don't remember.
  13      Q. And the second time that Cyrus gave          13       Q. Was it in the last six months, sir?
  14   you, I believe it was 100 Haitian dollars, where   14       A. I don't remember.
  15   were you at the time that he gave you that         15       Q. Sir, when the lady handed you the
  16   money, sir?                                        16   passport to get on the -- before you got on the
  17      A. I was home. I was in need. I paid a          17   bus, sir, did she give you anything else?
  18   dollar for public transportation to go to him,     18       A. No.
  19   and he gave me what he gave me.                    19       Q. Sir, did you ever see Hope Carter at
  20      Q. Sir, going back to the first time that       20   Rue 13?
  21   Cyrus gave you money, how did you know to go to    21       A. Yes, I used to see her.
  22   him, sir?                                          22       Q. You used to see her at Rue 13?
  23      A. I went to town, and a friend of mine,        23       A. Yes.
  24   Pierre Jacky, showed me where to go to go and      24       Q. How many times, sir?
  25   see him, and I went to see him.                    25       A. I don't remember.


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   1        Q. Is Pierre Jacky a former PPT student?       1      Q. Was it more than once?
   2        A. No.                                         2      A. I don't remember.
   3        Q. Does Pierre Jacky work for Cyrus            3      Q. What was she doing when you saw her at
   4    Sibert, sir?                                       4   Rue 13?
   5        A. I don't think so.                           5      A. I saw her standing, looking around,
   6        Q. Do you know how Pierre Jacky knew           6   and then she left.
   7    Cyrus Sibert, sir?                                 7      Q. Did you speak to her, sir, at Rue 13?
   8            MR. STEWART: Objection.                    8      A. No.
   9        A. I don't think so.                           9      Q. Did you see her speak to anybody at
  10    BY MR. KENNEDY:                                   10   Rue 13, sir?
  11        Q. I'm sorry, sir, you don't know? I'm        11      A. No.
  12    still just a little confused about the answer,    12      Q. How long did she look around before
  13    sir. Let me re-ask it again.                      13   she left, sir?
  14            Do you know how Pierre Jacky knew         14      A. I don't remember.
  15    Cyrus Sibert, sir?                                15      Q. Was she with anybody when you saw her
  16            MR. STEWART: Objection.                   16   at Rue 13, sir?
  17        A. No.                                        17      A. She was the only one I saw there
  18    BY MR. KENNEDY:                                   18   standing.
  19        Q. And the third time that Cyrus Sibert       19      Q. So the answer is no, you didn't see
  20    gave you 100 Haitian dollars, when was that,      20   her with anybody, sir?
  21    sir?                                              21      A. Yes.
  22        A. I don't know.                              22      Q. Was Douglas there, sir, at the time
  23        Q. Was it in the last six months, sir?        23   you saw her standing at Rue 13?
  24            MR. STEWART: Objection.                   24      A. Yes, Douglas was inside. But she was
  25        A. The third time?                            25   standing alone.


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   1      Q. Did you see her speak to any student         1   BY MR. KENNEDY:
   2   at Rue 13, sir?                                    2       Q. You also testified earlier today that
   3      A. No, I just saw her standing there. I         3   Hope Carter and Father Paul spoke through -- I'm
   4   didn't hear her talk to any students.              4   sorry, had Doug Perlitz interpret for them and
   5      Q. And this occurred one time, sir?             5   spoke about students going to Fairfield
   6          MR. STEWART: Objection.                     6   University, is that correct?
   7      A. I don't remember.                            7       A. Yes, that's when we were in a group in
   8   BY MR. KENNEDY:                                    8   the Village.
   9      Q. Did you ever see Hope Carter at              9       Q. Okay. Sir, I was just confused,
  10   Carenage, sir?                                    10   because I asked you before how many times you
  11       A. Yes.                                       11   remember seeing Hope Carter at the Village --
  12      Q. How many times, sir?                        12   strike that. I'm sorry, sir. Let me re-ask it.
  13      A. I don't remember.                           13          Sir, did Hope Carter and Father Paul
  14      Q. Was it more than once, sir?                 14   say this to the group in the December meeting?
  15      A. I don't remember.                           15   Was this at the same time you got gifts?
  16      Q. Do you remember what she was doing          16       A. No. They spoke, and they said that if
  17   when you saw her at Carenage?                     17   we got good grades we would be able to go to
  18      A. I saw her there standing looking            18   Fairfield University perhaps, and then Douglas
  19   around, then she went in. And I went out, I was   19   had the gifts, and then he distributed them.
  20   drinking something. She was standing. And         20       Q. Okay. So, but the conversation about
  21   after that, I don't know what she did.            21   Fairfield University was at the same time that
  22      Q. How long did you see her standing           22   you got the gifts, is that correct?
  23   around at Carenage, sir?                          23       A. Yes, after they had made the speech.
  24      A. I don't remember.                           24       Q. When you said -- when you say they
  25      Q. Do you remember what she was wearing,       25   made the speech, who made the speech, sir?


                                         Page 135                                                Page 137
   1   sir?                                               1         MR. STEWART: Objection.
   2       A. No.                                         2       A. Mrs. Carter and Father Paul, and
   3       Q. Did you see -- did you speak to Hope        3   Douglas was interpreting.
   4   Carter when you saw her at Carenage, sir?          4   BY MR. KENNEDY:
   5       A. No.                                         5       Q. So did you see Mrs. Carter speaking to
   6       Q. Did you see Hope Carter speak to any        6   Douglas, sir?
   7   student at Carenage, sir?                          7       A. Yes, when we were standing together as
   8       A. I don't think so.                           8   a group.
   9       Q. Do you remember if Hope Carter was          9       Q. Fair to say, sir, you don't understand
  10   with anybody when you saw her at Carenage?        10   English, is that correct?
  11       A. I don't think so.                          11       A. No.
  12       Q. Do you remember what year you saw her      12       Q. Okay. So you don't know what
  13   at Carenage, sir?                                 13   Mrs. Carter and Douglas were talking about, do
  14       A. No.                                        14   you?
  15       Q. Do you remember seeing Hope Carter at      15       A. No. I don't speak English, I don't
  16   the Village, sir?                                 16   know.
  17       A. Yes.                                       17       Q. What other students were present when
  18       Q. How many times, sir?                       18   you heard this speech, sir?
  19       A. Only once. It was in the month of          19       A. There were a whole bunch of us.
  20   December.                                         20       Q. Right. Can you give me some names,
  21       Q. And that's the time that you were          21   sir?
  22   given some Christmas gifts, is that correct,      22       A. Well, I wasn't in the same grade as
  23   sir?                                              23   they were, so I don't know their names.
  24         MR. STEWART: Objection.                     24       Q. What grade were you in, sir?
  25       A. Yes.                                       25       A. In second and third.


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   1       Q. And at that point, sir, could you read       1   Haitian staff.
   2    and write Creole?                                  2          My question was, do you remember the
   3       A. Well, I speak Creole, but I can't            3   names of any PPT students that were present
   4    really write it.                                   4   during the speech that Hope Carter and Father
   5       Q. Sir, how long was the speech that Hope       5   Paul allegedly gave through Douglas about
   6    Carter and Father Paul gave through Douglas?       6   Fairfield University?
   7           MR. STEWART: Objection.                     7          MR. STEWART: Objection.
   8       A. I don't know.                                8      A. No.
   9    BY MR. KENNEDY:                                    9   BY MR. KENNEDY:
  10       Q. Was it more than a minute, sir?             10      Q. And, sir, I believe you testified
  11           MR. STEWART: Objection.                    11   earlier that you saw Hope Carter at Bel Air, is
  12       A. I don't know.                               12   that correct?
  13    BY MR. KENNEDY:                                   13      A. Yes.
  14       Q. What time of day was it, sir?               14      Q. And how many times did you see her at
  15       A. A day of December.                          15   Bel Air, sir?
  16       Q. Were any of the Haitian staff at the        16      A. Only one time, the one time I went to
  17    Village present, sir?                             17   Bel Air.
  18       A. They were standing outside.                 18      Q. And was that before or after the time
  19       Q. Can you tell me the names of the            19   where you claim you heard Mrs. Carter and Father
  20    Haitian staff that were standing outside?         20   Paul talking about Fairfield University?
  21       A. All the masters and mistresses of the       21          MR. STEWART: Objection.
  22    school that were there.                           22      A. Before.
  23       Q. What were some of their names, sir?         23   BY MR. KENNEDY:
  24           MR. STEWART: Objection.                    24      Q. So you saw her at Bel Air first, and
  25       A. Master Romel, for example, Master           25   then you saw her at the Village after, is that


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   1   Judex, there was Mémé, Madame Murta. Those are      1   correct?
   2   the names that I knew.                              2       A. Yes.
   3       Q. How did you know they were standing          3       Q. And I believe you indicated before
   4   outside, sir?                                       4   that you went to Bel Air to get money from Doug
   5       A. I saw them standing outside.                 5   Perlitz, is that correct?
   6       Q. Do you know if they heard the speech,        6       A. Yes.
   7   sir?                                                7       Q. And you went there, and you needed
   8          MR. STEWART: Objection.                      8   money for transportation, is that correct?
   9       A. No.                                          9       A. Yes.
  10   BY MR. KENNEDY:                                    10       Q. And that was the first time you had
  11       Q. And I believe you just -- you               11   ever been to Bel Air, sir?
  12   previously testified that you don't remember the   12       A. Yes.
  13   names of any other PPT student that was present    13       Q. Had Doug Perlitz ever given you money
  14   during the speech, correct?                        14   before that day, sir?
  15       A. If I didn't remember?                       15       A. No.
  16       Q. I'm sorry, sir.                             16       Q. How did you know to go ask Doug
  17          Do you remember the names of any PPT        17   Perlitz for money, sir?
  18   student that was present during the speech that    18       A. Well, I needed money to pay for
  19   Hope Carter and Father Paul gave through Douglas   19   transport, so I took a chance and I went up to
  20   Perlitz about Fairfield University?                20   Bel Air to see if I would find him, and luck had
  21       A. Yes, I saw them standing outside. The       21   it that he was there, so I asked him, and he
  22   names I remember I told you, it was Master         22   gave it to me, and I went.
  23   Judex, Mémé, Master Romel, Madame Murta.           23       Q. Had you ever asked him for money
  24       Q. Sir, that's not my question. My             24   before then, sir?
  25   question was not the name of the teachers or the   25           MR. STEWART: Objection.


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   1        A. No.                                          1       Q. Did you see Hope Carter interact with
   2    BY MR. KENNEDY:                                     2   Douglas Perlitz at Bel Air, sir?
   3        Q. Then how did you know that he might          3       A. No. When I got there, Douglas was
   4    give you money, sir?                                4   standing there, they were playing basketball, I
   5        A. Well, I just asked him, just like            5   asked Douglas for $10, and he gave it to me, and
   6    that.                                               6   I left.
   7        Q. How did you get to Bel Air, sir, that        7       Q. But you didn't see Hope Carter speak
   8    day?                                                8   to Douglas Perlitz at Bel Air, did you?
   9        A. I was walking, and then my feet were         9       A. No.
  10    hurting, and then I thought, well, let me go to    10       Q. The time you saw Hope Carter at
  11    Bel Air, I'll ask Douglas for money to -- $10 to   11   Bel Air, were you going to the Village, sir?
  12    take transportation.                               12       A. No, I was going home.
  13        Q. And where were you taking                   13       Q. I apologize, sir.
  14    transportation to, sir?                            14           The time when you saw Hope Carter,
  15        A. Home.                                       15   were you currently a student at the Village?
  16        Q. And home is Blue Hills, sir?                16       A. No, I was in Carenage.
  17        A. Yes.                                        17       Q. Sir, did you ever complain about the
  18        Q. And you had never been to Bel Air           18   food at the Village, sir?
  19    before, is that correct, sir?                      19       A. No, whatever they gave me, I took. I
  20        A. No.                                         20   didn't complain.
  21        Q. How did you know how to get there,          21       Q. So you don't -- you never complained
  22    sir?                                               22   to the teachers about the food, sir?
  23        A. Well, I knew vaguely where it was. I        23       A. No.
  24    went there, I found the house, Bel Air, I had      24           MR. STEWART: Do you think you've got
  25    the security guard let me in, I saw Douglas, and   25   a lot left? We've been going about an hour.


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   1    he gave me the $10. I saw Hope Carter and           1          MR. KENNEDY: We can take a five or
   2    Father Paul playing basketball. I asked Douglas     2   ten minute break.
   3    for the $10, and he gave it to me.                  3          MR. STEWART: Do you mind?
   4       Q. When you say you saw Hope Carter and          4          MR. KENNEDY: No, not at all.
   5    Father Paul playing basketball, were they           5          THE VIDEOGRAPHER: Going off the
   6    actually playing in a game, sir?                    6   record. The time is 3:58.
   7       A. Yes.                                          7          (Whereupon, a recess was taken.)
   8       Q. Sir, can you describe Hope Carter for         8          THE VIDEOGRAPHER: Back on the record.
   9    me physically?                                      9   The time is 4:13.
  10       A. An old lady.                                 10   BY MR. KENNEDY:
  11       Q. Anything else, sir?                          11      Q. Sir, it's fair to say Hope Carter was
  12       A. She is an old lady, and she pulls up         12   not a teacher at Rue 13, was she?
  13    her pants right up to her heart, and her body is   13      A. No.
  14    covered in these veins.                            14      Q. And it's also fair to say that Hope
  15       Q. What color are the veins, sir?               15   Carter was not a teacher at Carenage, was she?
  16       A. Green.                                       16      A. No.
  17       Q. Have you yourself ever said anything         17      Q. And it's also fair to say that Hope
  18    to Hope Carter through an interpreter, sir?        18   Carter was not a teacher at the Village, was
  19       A. No, only when we were in a group             19   she?
  20    together did I speak with her.                     20      A. No.
  21       Q. When you saw Hope Carter playing             21      Q. Sir, what was your understanding of
  22    basketball, was Douglas also playing, sir?         22   Hope Carter's role with PPT?
  23       A. No, he was just standing there. I            23      A. She was a person who was very
  24    called him, I asked him for the $10, he gave it    24   important.
  25    to me, and I left.                                 25      Q. What do you base that opinion on, sir?


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   1      A. Well, she was very important, because         1      A. Yes.
   2   whenever something was missing, or it was a         2      Q. Douglas never told you that Hope
   3   lack, it was to her that Douglas went to so that    3   Carter was above him, did she?
   4   the need would be filled. She was above             4      A. When we were in a group, however, he
   5   Douglas, so she was always there visiting. And      5   told me that those people were very important
   6   when she came to visit we would prepare food,       6   for the Village.
   7   and she would come and visit every area.            7      Q. What exactly did he say, sir?
   8      Q. Well, how do you know, sir, that she          8          MR. STEWART: Objection.
   9   was above Douglas?                                  9      A. Well, they were speaking English and
  10      A. Because if -- when they saw that she         10   Douglas was translating for them, and they were
  11   was coming, if the kids had not yet eaten, he      11   saying that they were people who were very
  12   would rush around to make sure to prepare the      12   important for the Village.
  13   food so that the kids would eat. Or for the        13   BY MR. KENNEDY:
  14   other things, too, he would make sure that the     14      Q. So Hope Carter and Father Paul told
  15   kids had done what they were supposed to do.       15   the students through Doug Perlitz that they were
  16   When Douglas knew that they were coming, Hope      16   very important people to the Village?
  17   Carter and Father Paul, he would make sure that    17      A. Yes. Douglas interpreted for them.
  18   there was food prepared for everyone. And when     18      Q. Do you remember exactly what they
  19   they would come down, they would visit             19   said, sir?
  20   everywhere. It's by their way of behaving and      20          MR. STEWART: Objection.
  21   the way that they were acting when they knew she   21      A. No, I don't speak English. Douglas
  22   was coming.                                        22   was translating for them.
  23      Q. It's by the way that Douglas was             23   BY MR. KENNEDY:
  24   acting, sir?                                       24      Q. You don't remember exactly what
  25      A. No, it's the way the people were             25   Douglas said, sir?


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   1   behaving themselves that I could see that they      1      A. In Creole or in English?
   2   were -- those people were important to the          2      Q. In Creole, sir.
   3   Village.                                            3      A. Yes, he said that these people were
   4      Q. I'm just trying to understand, sir.           4   very important for the Village.
   5   You say it's the way the people were behaving.      5      Q. Did he explain why they were very
   6   Which people are you referring to, sir?             6   important, sir?
   7      A. Mrs. Carter and Father Paul.                  7      A. No. He said that. He didn't add
   8      Q. Okay. Let's break it down here, sir.          8   anything to it.
   9          What was Mrs. Carter doing, sir? How         9      Q. He just said "these are important
  10   was she behaving?                                  10   people"?
  11      A. She was visiting all areas to make           11      A. Yes.
  12   sure that all areas were as they should be.        12      Q. Do you remember him saying anything
  13      Q. And was Father Paul doing the same           13   else, sir?
  14   thing, sir?                                        14      A. He didn't say anything else. He said
  15      A. Yes.                                         15   that if we managed to complete our schooling,
  16      Q. It's fair to say Hope Carter never           16   there was a possibility of sending us to
  17   told you that she was above Douglas, did she?      17   Fairfield.
  18      A. No, she never told me that. It's the         18      Q. Okay. Besides Douglas translating and
  19   way that they were behaving and the way that       19   saying that these are important people, and that
  20   they were acting that made me see that they were   20   there's a possibility of sending you to
  21   very important people.                             21   Fairfield, do you remember anything else that
  22      Q. And by you watching how they were            22   Douglas said at that time?
  23   behaving, that's the sole basis for your reason    23      A. No, that's all I heard him say. That
  24   to believe that Hope Carter was an important       24   was all.
  25   person to PPT?                                     25      Q. Sir, do you know what the Haiti Fund


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   1    is?                                               1   he came.
   2        A. No.                                        2   BY MR. KENNEDY:
   3        Q. You've never heard of that entity,         3      Q. Sir, have you ever been to Cyrus
   4    sir?                                              4   Sibert's radio station?
   5        A. No.                                        5      A. No.
   6        Q. Did you ever meet an individual named      6      Q. Have you ever heard of any -- I'm
   7    Brian Russell, sir?                               7   sorry.
   8        A. No.                                        8          Have you ever heard any of Cyrus
   9        Q. Sir, you were present at the time the      9   Sibert's radio shows, sir?
  10    Village closed, is that correct?                 10      A. No, I don't have a radio, but I did
  11        A. Yes.                                      11   hear people speak about him.
  12        Q. Did you ever meet an individual named     12      Q. When did you hear that, sir?
  13    Sylvester Tan?                                   13      A. From people that were in conversation,
  14        A. Yes, it's a person that was studying      14   people speak about him.
  15    in order to become a priest.                     15      Q. Can you give me the names of those
  16        Q. Did you actually meet him, sir?           16   people, sir?
  17        A. Sometimes he would gather us together     17      A. People passing by.
  18    and have us pray in the chapel, and then we      18      Q. You don't remember their names, sir?
  19    would leave.                                     19      A. No.
  20        Q. When you say, sir, "gather us," who is    20      Q. Do you remember what they said about
  21    -- who beside yourself are you speaking of?      21   Cyrus Sibert, sir?
  22        A. All the kids, he would gather us          22      A. They said Cyrus was a lawyer.
  23    together and have us pray, and then we would     23      Q. And were these people that went to
  24    leave.                                           24   PPT, sir?
  25        Q. Can you tell me some of the names of      25      A. No.

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   1   the kids, sir, that you would pray with with       1       Q. Do you know what those people's jobs
   2   Sylvester Tan?                                     2   were, sir?
   3       A. No, I don't know their names.               3       A. The people passing by you mean?
   4       Q. And, sir, do you know if Sylvester Tan      4       Q. Yes, sir.
   5   can speak Creole?                                  5       A. No, I don't know.
   6       A. No, he never spoke Creole in front of       6       Q. Sir, is it difficult to get a job in
   7   me.                                                7   Haiti right now?
   8       Q. And did you ever speak -- I apologize       8          MR. STEWART: Objection.
   9   if I have asked this, but did you ever speak to    9       A. Yes.
  10   Sylvester Tan, sir?                               10   BY MR. KENNEDY:
  11          MR. STEWART: Objection.                    11       Q. Is there a lot of unemployment, sir?
  12       A. No.                                        12          MR. STEWART: Objection.
  13   BY MR. KENNEDY:                                   13       A. Yes.
  14       Q. Sir, do you remember a white man named     14   BY MR. KENNEDY:
  15   Michael who came down right about the time the    15       Q. Are a lot of your friend unemployed,
  16   Village was closing?                              16   sir?
  17       A. Yes, I saw a white man, but I didn't       17          MR. STEWART: Objection.
  18   speak with him.                                   18       A. Well, I don't live in the same areas
  19       Q. And this was at the time the Village       19   they do, so I don't know.
  20   was closing, sir?                                 20   BY MR. KENNEDY:
  21       A. Yes.                                       21       Q. Are any members of your family
  22       Q. Did he address the student through an      22   working, sir?
  23   interpreter, sir?                                 23       A. No.
  24          MR. STEWART: Objection.                    24       Q. Sir, if you know, do you know how much
  25       A. No, I never saw him speak. I saw that      25   it costs to rent a home in Blue Hills?


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   1       A. No.                                           1          MR. STEWART: Thank you.
   2       Q. Sir, in total, how many times did you         2      A. Thank you.
   3    speak with Douglas Perlitz?                         3          THE VIDEOGRAPHER: Going off the
   4       A. I don't remember.                             4   record. The time is 4:45.
   5       Q. Sir, have you kept any writing or any         5          (Pause.)
   6    kind of diary or journal about your time at PPT?    6          THE VIDEOGRAPHER: Back on the record.
   7       A. No.                                           7   The time is 4:36.
   8       Q. What's the farthest grade that you've         8             EXAMINATION
   9    gotten to, sir?                                     9   BY MR. BABBITT:
  10       A. Second and third.                            10      Q. Good afternoon. I represent the
  11       Q. Do you have a girlfriend, sir?               11   American Association of the Order of Malta.
  12       A. No.                                          12          When you attended school at the
  13       Q. Have you ever had a girlfriend, sir?         13   Village, did you know a woman by the name of
  14       A. No.                                          14   Margarette Joseph?
  15       Q. Sir, did you have to pay any tuition         15      A. No.
  16    at Rue 13?                                         16      Q. Before you started attending Rue 13,
  17          MR. STEWART: Objection.                      17   did you know anyone who went to school there?
  18       A. No.                                          18      A. No. When I was going, they would put
  19    BY MR. KENNEDY:                                    19   the names of the students that were admitted on
  20       Q. Did you have to pay any tuition at           20   a bulletin board, and I saw my name, and that's
  21    Carenage, sir?                                     21   how I knew I was going.
  22          MR. STEWART: Objection.                      22      Q. But before your name appeared on that
  23       A. No.                                          23   bulletin board, you didn't know the names of
  24    BY MR. KENNEDY:                                    24   anyone else who attended that school, is that
  25       Q. Did you have to pay any tuition at the       25   correct?


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   1    Village, sir?                                       1       A. Well, there were a lot of kids, but I
   2           MR. STEWART: Objection.                      2   don't remember their names.
   3        A. No.                                          3       Q. I understand you don't remember their
   4    BY MR. KENNEDY:                                     4   names.
   5        Q. Bear with me.                                5           Before you started attending that
   6           Sir, when Douglas Perlitz hurt you,          6   school, did you know any of those kids?
   7    did you see Douglas naked at all, sir?              7           MR. STEWART: Asked and -- objection.
   8        A. No.                                          8       A. There were a bunch of children. There
   9        Q. Sir, I believe you testified earlier         9   were some that were in their own homes, and I
  10    that after Douglas hurt you, you went back to      10   don't know where they were, and there were some
  11    the classroom, is that correct, sir?               11   that were in the streets.
  12        A. Yes.                                        12   BY MR. BABBITT:
  13        Q. And can you tell me any of the              13       Q. Before you started attending Rue 13,
  14    students' names that were in that classroom,       14   did you know that the school provided food to
  15    sir?                                               15   the students that attended that school?
  16           MR. STEWART: Objection.                     16       A. It's when I got there that I saw that
  17        A. Well, I don't live in the same area as      17   they gave food and they gave everything.
  18    they do. I don't know their names.                 18       Q. Before you attended that school, you
  19    BY MR. KENNEDY:                                    19   didn't know what the school would give you?
  20        Q. So the answer is no, you can't tell me      20       A. No.
  21    the name of any other students that were in the    21       Q. Why did you want to go to Rue 13?
  22    classroom, is that correct?                        22       A. Well, simply to go to school, because
  23        A. No, I don't remember their names.           23   it's very difficult to get a school -- to find a
  24           MR. KENNEDY: That's all I have, sir.        24   school. I wanted to go to school.
  25    Thank you very much.                               25       Q. Before you started attending Carenage,


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   1   did you know anyone who attended -- who went to     1   was sexually abusing students anywhere at PPT?
   2   school there?                                       2      A. Before I went to Carenage?
   3       A. No. I don't remember, I don't                3      Q. Yes.
   4   remember their names. And it was the same           4      A. No.
   5   thing, some of them lived in other areas, and I     5      Q. Before you started attending the
   6   didn't know where they lived, and others were in    6   Village, did you know anyone who attended the
   7   the streets, so I don't remember their names.       7   Village?
   8       Q. Before you attended Carenage, did you        8      A. No.
   9   know that Carenage provided food to the students    9      Q. Before you attended the Village, did
  10   there?                                             10   you know that the students who went to school at
  11          MR. STEWART: Objection.                     11   the Village were fed there?
  12       A. Yes, when they were sending us, the         12         MR. STEWART: Objection.
  13   same setup they had in Rue 13, it was the same     13      A. Yes.
  14   that they had for Carenage as well.                14   BY MR. BABBITT:
  15   BY MR. BABBITT:                                    15      Q. Before you attended the Village, did
  16       Q. And you knew that before you started        16   you know that students at the Village had a
  17   attending Carenage, is that right?                 17   place to wash?
  18       A. Yes, the same setup they have in            18         MR. STEWART: Objection.
  19   Rue 13 is the same setup they have for Carenage.   19      A. Before I went to the Village?
  20       Q. Is that why you wanted to attend            20   BY MR. BABBITT:
  21   Carenage?                                          21      Q. Yes.
  22       A. No. Carenage was closed, they had           22      A. Yes, I knew.
  23   asked for the building back, so they had to go     23      Q. Before you attended the Village, did
  24   and move out elsewhere.                            24   you know that students at the Village learned to
  25       Q. Do you mean Carenage was closed, or         25   read Creole?


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   1    Rue 13 was closed?                                 1       A. Yes, they taught us to -- they taught
   2        A. Rue 13. They asked for the building         2   us to write Creole. But Creole is our language,
   3    back, so they had to move it elsewhere in          3   still we don't know how to write it well.
   4    another location.                                  4       Q. Before you attended the Village, did
   5        Q. And when Rue 13 closed, you wanted to       5   you know that students at the Village were
   6    attend Carenage to continue getting an             6   taught math?
   7    education?                                         7          MR. STEWART: Objection.
   8        A. Yes.                                        8       A. Yes.
   9        Q. Any other reasons you wanted to go to       9   BY MR. BABBITT:
  10    Carenage?                                         10       Q. Before you attended the Village, did
  11        A. Yes, for the school, because schooling     11   you know that students at the Village played
  12    is something which is very important.             12   football, soccer? His football.
  13        Q. Before you attended Carenage, did          13          MR. STEWART: Objection.
  14    anyone tell you that Doug Perlitz was sexually    14       A. Yes.
  15    abusing students at Carenage?                     15   BY MR. BABBITT:
  16        A. No.                                        16       Q. Were these reasons that you wanted to
  17        Q. Before you attended Carenage, did          17   attend the Village?
  18    anyone tell you that Doug Perlitz was sexually    18       A. The reason I went is for the
  19    abusing students at the Village?                  19   schooling. The schooling was very important.
  20        A. No.                                        20   The other things were there, and I was -- had no
  21        Q. Before you attended Carenage, did          21   issues with that, then that was fine. But the
  22    anyone tell you that Doug Perlitz was gay?        22   main reason was the schooling, because schooling
  23        A. No.                                        23   is very important.
  24        Q. Before you attended Carenage, did          24       Q. Are these all the reasons that you
  25    anyone suggest or hint to you that Doug Perlitz   25   attended the Village?


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   1      A. Yes, for the school.                          1   Village, did you ever hear that Doug Perlitz was
   2      Q. Okay. Before you attended the                 2   paying, or giving money, or paying money to
   3   Village, did any person tell you that Doug          3   students at the Village?
   4   Perlitz was sexually abusing students at the        4       A. No.
   5   Village?                                            5       Q. Before you started attending Rue 13,
   6          MR. STEWART: Objection.                      6   had you ever heard of the name the American
   7      A. No.                                           7   Association of the Order of Malta?
   8   BY MR. BABBITT:                                     8       A. No.
   9      Q. Before you attended the Village, did          9       Q. Before you started attending Carenage,
  10   any person suggest or hint that Doug Perlitz was   10   did you hear the name of the American
  11   sexually abusing students at the Village?          11   Association of the Order of Malta?
  12          MR. STEWART: Objection.                     12       A. No.
  13      A. No.                                          13       Q. At any time before you started
  14   BY MR. BABBITT:                                    14   attending the Village, did you ever hear the
  15      Q. There was a wall around the Village,         15   name the American Association of the Order of
  16   was there not?                                     16   Malta?
  17      A. Yes.                                         17       A. No.
  18      Q. Did you ever see graffiti on the wall        18       Q. At any time before PPT closed, did you
  19   relating to Doug Perlitz?                          19   hear the name the American Association of the
  20          MR. STEWART: Objection.                     20   Order of Malta?
  21   BY MR. BABBITT:                                    21       A. No.
  22      Q. Let's start with ever.                       22         MR. BABBITT: Thank you. I have
  23      A. Are you speaking about when I was            23   nothing further.
  24   already in the Village?                            24         THE VIDEOGRAPHER: Going off the
  25      Q. Well, let's start there.                     25   record. The time is 4:52.

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   1         When you were attending the Village,          1          (Whereupon, a recess was taken.)
   2   did you ever see graffiti on the wall in which      2          THE VIDEOGRAPHER: Back on the record.
   3   Doug Perlitz was mentioned?                         3   The time is 5:01.
   4         MR. STEWART: Objection.                       4             EXAMINATION
   5      A. No.                                           5   BY MR. O'NEILL:
   6   BY MR. BABBITT:                                     6       Q. Mr. Emile, my name is Timothy O'Neill.
   7      Q. At any other time before or after you         7   I introduced myself at the beginning. I am the
   8   were attending the Village, did you see graffiti    8   attorney for Paul Carrier.
   9   on the wall that mentioned Doug Perlitz?            9          Now, when the first attorney was
  10         MR. STEWART: Objection.                      10   questioning you, Mr. Emile, he asked you -- or
  11      A. No.                                          11   you told him in response to one of his questions
  12   BY MR. BABBITT:                                    12   that you went to see Cyrus Vance to help you
  13      Q. Did you ever hear anybody, any               13   find justice.
  14   students at PPT, talk about graffiti on the wall   14          MR. STEWART: Who is Cyrus Vance?
  15   that mentioned Doug Perlitz?                       15   BY MR. O'NEILL:
  16         MR. STEWART: Objection.                      16       Q. Cyrus Sibert. Sorry. Cyrus Vance was
  17      A. No.                                          17   an attorney general, I think. Cyrus Sibert.
  18   BY MR. BABBITT:                                    18       A. Yes.
  19      Q. Did you ever hear any students argue         19       Q. And I believe you also testified at
  20   with Doug Perlitz, demanding that Doug give them   20   that time that after you went to see Cyrus
  21   money?                                             21   Sibert, at that time he referred you to counsel,
  22         MR. STEWART: Objection.                      22   is that correct?
  23      A. No.                                          23       A. Yes.
  24   BY MR. BABBITT:                                    24       Q. And you retained counsel on August 13,
  25      Q. When you were a student at the               25   2013, I believe, is that correct?


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   1       A. I don't remember.                            1   this matter and who referred you to counsel."
   2       Q. Well, let's look at your                     2   You said, "I was referred to counsel by Cyrus
   3    interrogatories.                                   3   Sibert. I do not know where he resides. I
   4           Your answers to interrogatories were        4   retained counsel in approximately August of
   5    the truth, the whole truth, weren't they?          5   2013."
   6           MR. STEWART: Objection.                     6          Does that remind you of your answer to
   7       A. Yes.                                         7   the interrogatories that you retained counsel
   8    BY MR. O'NEILL:                                    8   approximately August of 2013?
   9       Q. And in fact, you looked at them with         9          MR. STEWART: Objection.
  10    the help of counsel and agents, perhaps, you      10      A. I don't remember which date.
  11    looked at them with a Bic pen in your hand so     11   BY MR. O'NEILL:
  12    you could make changes, is that right?            12      Q. Well, you said in answer to an
  13       A. Yes.                                        13   interrogatory under oath that it was
  14       Q. Even though you can't write and read?       14   approximately August 13th. Doesn't that help
  15           MR. STEWART: Objection.                    15   you remember that it was August 13th,
  16       A. Well, the interpreters were reading         16   approximately, of 2013?
  17    them for me, so I was making the corrections.     17          MR. STEWART: Objection. Asked and
  18    BY MR. O'NEILL:                                   18   answered. Also misstates what it says right
  19       Q. How were you making the corrections,        19   before you, Counsel.
  20    with the Bic pen?                                 20          MR. O'NEILL: Wait a minute. Make
  21       A. With a Bic.                                 21   your objection, please. Don't make a talking
  22       Q. How did you read the words?                 22   objection.
  23           MR. STEWART: Objection.                    23          MR. STEWART: I've made my objection.
  24       A. The interpreters were reading, and I        24          MR. O'NEILL: Just say objection.
  25    was making the corrections with a Bic.            25          MR. STEWART: Well, you keep saying


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   1   BY MR. O'NEILL:                                     1   the same thing over and over again.
   2       Q. You have -- do you have these answers        2   BY MR. O'NEILL:
   3   to interrogatories? It's an exhibit, I'll give      3      Q. Did you state under oath in your
   4   you that (handing). It's Number 1.                  4   answers to interrogatories that you retained
   5           If you look at number 12 on the             5   counsel approximately August, 2013?
   6   exhibit list, you can look at the Creole if you     6          MR. STEWART: Objection.
   7   want with the help of the interpreter, he'll        7      A. Yes.
   8   read it for you.                                    8   BY MR. O'NEILL:
   9           THE INTERPRETER: This is in English,        9      Q. All right. So when you signed those
  10   isn't it?                                          10   interrogatories, if you look at your signature
  11           MR. O'NEILL: There's Creole at the         11   on the back of the Creole one, they're signed
  12   end, the second part. There's English, and then    12   June 20, 2014. Do you see that?
  13   after that there's Creole.                         13          MR. STEWART: Objection. Objection.
  14           THE INTERPRETER: I don't see the           14      A. Yes.
  15   Creole. It doesn't matter.                         15   BY MR. O'NEILL:
  16           MR. O'NEILL: It should be in there.        16      Q. Okay. Where were they signed?
  17           THE INTERPRETER: We can use the            17      A. In the hotel.
  18   English or the Creole. Do you want to use the      18      Q. Which hotel?
  19   English or the Creole? Either way. I'll read       19      A. Mont Jolie.
  20   the interrogatory.                                 20      Q. What?
  21           MR. O'NEILL: Okay. I'll check the          21          THE INTERPRETER: M-O-N-T J-O-L-I-E,
  22   Creole.                                            22   two words.
  23   BY MR. O'NEILL:                                    23      Q. Who was present?
  24       Q. The Interrogatory Number 12 says            24      A. My interpreters and the lawyer.
  25   "Please state when you first retained counsel in   25      Q. Okay. What was the lawyer's name.


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   1   Not what he said, but what was his name?            1   here, he would be sitting over there where the
   2         MR. STEWART: Objection.                       2   other lawyer is.
   3      A. I don't remember.                             3       Q. Okay. Which other lawyer? There's a
   4   BY MR. O'NEILL:                                     4   bunch of them there.
   5      Q. You don't remember who the lawyer was?        5       A. At the end of the table.
   6         MR. STEWART: Objection.                       6       Q. Okay. How many feet is that, would
   7   BY MR. O'NEILL:                                     7   you say?
   8      Q. Is that your answer, you don't                8          MR. STEWART: Objection.
   9   remember who the lawyer was?                        9       A. I don't know.
  10         MR. STEWART: Objection.                      10   BY MR. O'NEILL:
  11      A. Yes, I remember that the lawyer was          11       Q. Okay. You're guessing, aren't you?
  12   Mitch.                                             12          MR. STEWART: Objection.
  13   BY MR. O'NEILL:                                    13       A. No.
  14      Q. Okay. Any other lawyers present that         14   BY MR. O'NEILL:
  15   you remember?                                      15       Q. You're telling me an accurate
  16      A. I don't remember the names of the            16   distance?
  17   other ones.                                        17          MR. STEWART: Objection.
  18      Q. Cyrus Sibert was present?                    18       A. The distance is as follows. If I were
  19      A. Yes, he was next --                          19   sitting at this end of the table there, Cyrus
  20      Q. Was --                                       20   would be sitting at the other end of the table
  21         MR. STEWART: Hold on, the answer was         21   over there.
  22   not completed, sir.                                22   BY MR. O'NEILL:
  23         MR. O'NEILL: It wasn't completed?            23       Q. That is approximately 12 places or 12
  24      A. He was next --                               24   chairs separate from where you pointed to where
  25         THE INTERPRETER: Next to something.          25   you said that Cyrus was, is that about right?


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   1    It's unclear.                                      1           MR. STEWART: Objection.
   2    BY MR. O'NEILL:                                    2       A. Yes.
   3        Q. Okay. Finish it. Next to what?              3   BY MR. O'NEILL:
   4        A. He was sitting somewhere else.              4      Q. All right. Now, you said to the first
   5        Q. Where?                                      5   lawyer when he asked you about your going to
   6           MR. STEWART: Objection.                     6   Cyrus to find justice, you said you already knew
   7        A. Next on the other side.                     7   that a group of students had been given money,
   8    BY MR. O'NEILL:                                    8   isn't that correct?
   9        Q. Well, you're at the hotel, you have to      9      A. They had already found their justice.
  10    try to tell us where he was sitting compared to   10       Q. You knew that they had received money,
  11    where you were sitting.                           11   didn't you?
  12        A. Yes, in the same hotel, but he wasn't      12           MR. STEWART: Objection.
  13    sitting next to me, he was sitting somewhere      13       A. Yes.
  14    else.                                             14   BY MR. O'NEILL:
  15        Q. All right. But you don't know where?       15      Q. In fact, you knew that some of them
  16        A. On another table.                          16   were driving around Cap-Haïtien in very fancy
  17           MR. STEWART: Objection.                    17   cars and automobiles and SUVs, didn't you?
  18    BY MR. O'NEILL:                                   18       A. I didn't see them. I knew that they
  19        Q. Another table near where you were?         19   had cars, but I never saw it. But I knew that
  20        A. No.                                        20   they had gotten their justice.
  21        Q. How far away?                              21      Q. Well, does getting justice mean
  22        A. A bit of distance.                         22   getting money in your mind?
  23        Q. What's a bit of distance? Can you          23           MR. STEWART: Objection.
  24    estimate it for us?                               24      A. No, I've heard them speak about
  25        A. For example, if I were sitting over        25   justice, so I was listening to find out what it


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   1   was, and I went to Cyrus to help him find my own    1   was filed before a judge in Federal Court in
   2   justice. But it's the judge that knows what the     2   Connecticut in your name? I'll show you it,
   3   justice is.                                         3   Exhibit 4 (handing).
   4   BY MR. O'NEILL:                                     4      A. No.
   5       Q. The judge. What judge?                       5      Q. Have you ever seen that before?
   6       A. The judge.                                   6      A. No.
   7       Q. Which judge?                                 7      Q. Did you know that a Complaint in your
   8          MR. STEWART: Objection.                      8   name was going to be filed on your behalf in
   9       A. The judge that will be deciding.             9   Connecticut?
  10   BY MR. O'NEILL:                                    10          MR. STEWART: I'm going to instruct
  11       Q. And so if the judge decides to give         11   him not to answer as to anything -- any
  12   you justice without giving you money, would you    12   conversations that he had with his attorneys,
  13   understand that you'd been given justice?          13   I'm going to direct him not to answer.
  14          MR. STEWART: Objection.                     14         MR. O'NEILL: Look, I'm sick of
  15       A. Yes.                                        15   hearing that objection. I'm not asking for
  16   BY MR. O'NEILL:                                    16   anything that his attorney said.
  17       Q. Okay. So you can go through all of          17          MR. STEWART: I'm making an objection.
  18   this, and if the judge gives you justice but no    18          MR. O'NEILL: You're giving him a
  19   money, you will think that you have justice?       19   signal not to answer the question.
  20       A. Yes.                                        20          MR. STEWART: I'm going to instruct
  21       Q. Okay. And what does justice mean,           21   him. I don't need to give him a signal, I'm
  22   then, if it doesn't mean money?                    22   going to say to him do not answer that question.
  23          MR. STEWART: Objection.                     23          MR. O'NEILL: Because why?
  24       A. No. It's the judge that knows what          24          MR. STEWART: If you would stop with
  25   the justice is.                                    25   the horrible interruptions.


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   1   BY MR. O'NEILL:                                     1          MR. O'NEILL: This is about the
   2      Q. But you're using the word justice,            2   hundredth objection like this that we've seen.
   3   you're seeking your justice. Tell me what you       3   Give me a basis for it.
   4   mean by it.                                         4          MR. STEWART: The basis is you're
   5           MR. STEWART: Objection.                     5   asking him what he was told.
   6      A. No, it's justice that I am seeking,           6          MR. O'NEILL: I'm not. I'm asking
   7   but it's the judge who will know what to give me    7   what he knows.
   8   for the justice that I'm seeking.                   8          MR. STEWART: You are asking him to
   9   BY MR. O'NEILL:                                     9   relate what he was told.
  10      Q. Well, what are you seeking? If you           10          MR. O'NEILL: I am not.
  11   can't tell me what it is, how will the judge       11          MR. STEWART: Sir, I know you want to
  12   know what it is?                                   12   keep saying the same thing over and over, but
  13           MR. STEWART: Objection.                    13   you have to let me say my part, and then you can
  14      A. The judge knows, the judge knows what        14   interrupt and say whatever, but I need to put
  15   that is. He knows what he will decide.             15   the whole thing on the record.
  16   BY MR. O'NEILL:                                    16          MR. O'NEILL: Put it on, because we'll
  17      Q. Okay. I don't think I'll go any              17   come back and do his deposition to get it again,
  18   further there.                                     18   I'm telling you that right now.
  19           Let's look at the complaint that's         19          MR. STEWART: What I'm saying to you
  20   been marked Exhibit 4.                             20   is you are asking him to provide information
  21           (Whereupon, Emile Exhibit Number 4,        21   that he was told by his attorneys.
  22           Complaint and Jury Trial Demand, was       22          MR. O'NEILL: That's what you're
  23           marked for identification.)                23   saying. I'm asking what he knows. And I'll
  24   BY MR. O'NEILL:                                    24   repeat, reading what I asked him before the
  25      Q. Have you ever seen the Complaint that        25   interruption.


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   1    BY MR. O'NEILL:                                    1   paragraph.
   2       Q. Did you know that a Complaint in your        2           Paragraph 99 of this complaint in
   3    name was going to be filed on your behalf in       3   English reads, and I'll read it for you, "In or
   4    Connecticut?                                       4   around 2005, when Plaintiff Jean Moise Emile was
   5           MR. STEWART: I still think it's             5   approximately 16 years of age, Defendant
   6    objection.                                         6   Perlitz, while in Haiti, engaged in explicit
   7           MR. O'NEILL: You're telling him not         7   sexual behavior and lewd and lascivious behavior
   8    to answer that question?                           8   with the Plaintiff, including but not limited to
   9           MR. STEWART: If it makes you happy          9   illicit sexual conduct with the Plaintiff."
  10    and it will move you along --                     10           Did Douglas Perlitz abuse you in or
  11           MR. O'NEILL: It would make me              11   around 2005?
  12    delighted.                                        12           MR. STEWART: Objection.
  13           MR. STEWART: I would love to see           13       A. No, it was in 2006, at the beginning
  14    that.                                             14   of the school year in 2006.
  15           Read it. Do you know the question,         15   BY MR. O'NEILL:
  16    Mr. Interpreter?                                  16       Q. And at the beginning of the school
  17           Without telling what you were told         17   year in 2006, you were 16 years old?
  18    by -- tell him without saying exactly what he     18       A. I don't remember.
  19    was told by his attorneys, he can answer that     19       Q. Well, when were you born?
  20    question.                                         20           MR. STEWART: Objection.
  21           Are we in agreement.                       21       A. I was born June 1, 1989.
  22           MR. O'NEILL: I would love that. Tell       22   BY MR. O'NEILL:
  23    Mitch that also.                                  23       Q. Doesn't that help you tell us how old
  24           MR. STEWART: Sir, it's not necessary       24   you were in 2006?
  25    to be nasty. Let's just finish this up, please.   25           MR. STEWART: Objection.


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   1           THE INTERPRETER: Sir, would you mind        1       A. No.
   2   repeating the question so I have it fresh?          2   BY MR. O'NEILL:
   3           MR. O'NEILL: I'm reading it from what       3       Q. Can you count?
   4   it was before, on line 108, line 13.                4          MR. STEWART: Objection.
   5   BY MR. O'NEILL:                                     5       A. No.
   6       Q. Did you know that a Complaint in your        6   BY MR. O'NEILL:
   7   name was going to be filed on your behalf in        7       Q. You can't count?
   8   Connecticut? And keeping in mind your               8          MR. STEWART: Objection.
   9   attorney's words not to mention what was told to    9   BY MR. O'NEILL:
  10   you by any attorney in your words.                 10       Q. Now, you went to the first grade, you
  11       A. No, I didn't know.                          11   already testified, at St. Vincent de Paul school
  12       Q. Okay. The date of the Complaint is          12   from the first to the third grade, is that
  13   filed -- could I see Exhibit 4? This is an         13   correct?
  14   exhibit in the case, and it's dated November 7,    14       A. Yes, second and third.
  15   2013.                                              15       Q. And then you went to Rue 13?
  16           Now, having in mind that you went          16       A. Yes.
  17   seeking justice to Cyrus Sibert in August -- or    17       Q. And you then went to there for the
  18   before August, that you retained an attorney       18   first and second grade?
  19   approximately in August, and that this Complaint   19       A. Yes.
  20   was filed with your name on it on or around        20       Q. And your first to third grade at
  21   November of 2013, the first thing the Complaint    21   St. Vincent de Paul was 2001 to 2003, isn't that
  22   says, and we'll read it -- could I have it again   22   correct?
  23   -- maybe not the very first, there's a long        23       A. Yes.
  24   prologue. We have to go to around -- I think       24       Q. And then the Rue 13 was 2003 to 2004,
  25   it's around 93 or 94, so let's do that,            25   and 2004 to 2005, the first and second grade


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   1    there, is that right?                              1          MR. STEWART: Objection.
   2           MR. STEWART: Objection.                     2      A. Yes.
   3        A. Second and third.                           3   BY MR. O'NEILL:
   4    BY MR. O'NEILL:                                    4      Q. Okay. Now, I'm a little confused, and
   5        Q. And then you went to the Carenage           5   I wonder if you can help me with what you have
   6    2005-'6, and 2006-'7 for the second grade and      6   said about your family.
   7    the third grade, right?                            7          Your father was Emile Jerome, is that
   8           MR. STEWART: Objection.                     8   correct?
   9        A. Yes, second and third.                      9      A. No. Pierre Jérémie.
  10    BY MR. O'NEILL:                                   10      Q. Your father was who?
  11        Q. And then you went to the Village in        11      A. He was a person.
  12    2007, you testified, I believe, and that would    12      Q. What was your father's name?
  13    be when you were 17 to 18?                        13      A. Pierre Jérémie.
  14           MR. STEWART: Objection.                    14      Q. Pierre Jaime?
  15        A. Yes.                                       15      A. Pierre Jérémie.
  16    BY MR. O'NEILL:                                   16      Q. If you look at the Interrogatory
  17        Q. So that's at least six years of            17   Answer Number 4, please, I'll read it, and the
  18    school, and you're still not out of the third     18   interpreter can interpret it. The question is,
  19    grade, correct?                                   19   "With regard to your family, please identify
  20        A. No. Every time I go they put me back       20   your parents, all of your siblings (including
  21    to the same grade again.                          21   biological, step, adopted, or foster siblings),
  22        Q. Your marks weren't very good, were         22   and all of your children (including biological,
  23    they?                                             23   adopted, step, and/or foster children)." That's
  24           MR. STEWART: Objection.                    24   the question.
  25        A. No.                                        25          I'll let you translate that. That's


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   1    BY MR. O'NEILL:                                    1   the question.
   2        Q. So when you say and you claim you           2           Your answer on Interrogatory 4 is, "My
   3    heard Hope Carter and others, apparently           3   father's name was Emile Jérémie" who is
   4    including Paul Carrier, promising children         4   deceased. "My mother's name is Medeline Bruno,
   5    assembled, including yourself, that they with      5   who lives in Champin, Cap-Haïtien and is not
   6    good marks and good attendance had an              6   working."
   7    opportunity to go to Fairfield University, you     7           MR. STEWART: Objection.
   8    at 18 years of age didn't think that was           8   BY MR. O'NEILL:
   9    addressed to you, did you?                         9      Q. Isn't it the case, Mr. Emile, and
  10            MR. STEWART: Objection.                   10   isn't it the practice in Haiti that a son would
  11        A. No, for all of us.                         11   be called after -- or a daughter, would use the
  12    BY MR. O'NEILL:                                   12   father's name, such as you have, using Emile?
  13        Q. Well, did you feel that you had a good     13           MR. STEWART: Objection.
  14    chance to go to Fairfield University based on     14   BY MR. O'NEILL:
  15    what was said?                                    15      Q. Your brother Emile Fredelin uses the
  16        A. Yes, if I finished my school.              16   name Emile as you do, isn't that right?
  17        Q. Well, you were already 18, is that         17      A. Yes.
  18    correct?                                          18      Q. And the other brothers that you list
  19            MR. STEWART: Objection.                   19   here use the last name of Pierre, Samuel Pierre,
  20        A. Yes.                                       20   Ninelson Pierre, and a sister Fredeline Pierre.
  21    BY MR. O'NEILL:                                   21   My question is, isn't that because your mother
  22        Q. In fact, in your answers to                22   had those three children with a man whose last
  23    interrogatories, you said what you hoped to get   23   name was Pierre?
  24    out of the Village was to learn to be a welder,   24      A. Well, he's the man who is the father,
  25    isn't that right?                                 25   that's how I found the name, so I gave it as it


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   1   was.                                                1   here Monday, didn't you, of this week?
   2      Q. Who is the man who is the father?             2       A. Yes.
   3      A. Pierre Jérémie.                               3       Q. So you didn't know until Monday of
   4      Q. Not Emile Jérémie?                            4   this week that you were going to be deposed?
   5         MR. STEWART: Objection.                       5       A. Yes, I came in Monday, and today I
   6   BY MR. O'NEILL:                                     6   knew.
   7      Q. You're saying your father's name is           7       Q. Today you knew what?
   8   not Emile Jérémie, but Pierre Jérémie?              8       A. I knew I was going to do a deposition.
   9      A. Yes.                                          9       Q. And that was the first time you knew
  10      Q. So did you give a wrong name when you        10   it was today?
  11   answered your interrogatories and called him       11       A. No. I knew that, but it's only today
  12   Emile Jérémie?                                     12   that I knew I was going to do it.
  13      A. I don't know.                                13       Q. When did you know that?
  14      Q. You don't know. All right.                   14       A. Since Monday.
  15         Prior introduction was Exhibit 2 and         15       Q. Since Monday.
  16   3. Exhibit 3 is a visa to come into the            16          You notice the date on your visa?
  17   Dominican Republic. Would you look at that         17          MR. STEWART: Objection.
  18   (handing)?                                         18   BY MR. O'NEILL:
  19         Was it your testimony that you've            19       Q. Do you see the date? I'll point it
  20   never seen that before?                            20   out.
  21      A. Yes.                                         21          MR. STEWART: Wait for a question.
  22      Q. How did you get into the Dominican           22          I'm sorry, sir, is there a question?
  23   Republic if that wasn't shown at the border?       23          MR. O'NEILL: Yes. Does he see the
  24         MR. STEWART: Objection.                      24   date of the visa.
  25      A. I simply showed them my passport. I          25   BY MR. O'NEILL:

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   1   showed them my passport, and then after that        1         Q. Do you see it says 21 October, 2015?
   2   they let me in. But I hadn't looked at this         2         A. Yes.
   3   before.                                             3         Q. That's only about a week ago, isn't
   4   BY MR. O'NEILL:                                     4   it?
   5      Q. Okay. And how long have you known             5      A. Yes.
   6   that you were coming here for a deposition?         6      Q. Do you know who got you this visa?
   7          MR. STEWART: Objection.                      7      A. No.
   8      A. I don't know.                                 8      Q. Did you know who you were going to be
   9   BY MR. O'NEILL:                                     9   coming with to be deposed? The other three
  10      Q. When did you first find out that you         10   people that were named as supposedly to come
  11   were coming here for a deposition?                 11   here for depositions, did you know their names?
  12      A. I don't know. I just went to the             12          MR. STEWART: Objection.
  13   station, they called my name, and I went in.       13      A. No.
  14      Q. That's only last week. Are you saying        14   BY MR. O'NEILL:
  15   you only knew you were going to be deposed last    15      Q. You didn't have any idea who they
  16   week?                                              16   were?
  17       A. No.                                         17      A. No.
  18      Q. So you knew before that?                     18      Q. Now, going back to Cyrus Sibert, how
  19      A. I simply went to the station, they           19   did you know that Cyrus Sibert could help you
  20   handed me the passport, I went on the bus, and I   20   find justice, as you've described it, or failed
  21   came in.                                           21   to describe it, as the case may be?
  22      Q. That was a week ago?                         22          MR. STEWART: Objection. Objection.
  23          MR. STEWART: Objection.                     23      A. I had explained that to him. He took
  24   BY MR. O'NEILL:                                    24   my phone number.
  25      Q. Or rather, that was Monday? You came         25   BY MR. O'NEILL:


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   1       Q. The question, think of the question,          1   you're right -- Cyrus Sibert's radio station or
   2    the question is, how did you know that Cyrus        2   house, whatever he uses?
   3    Sibert was a person that you would go to to find    3          MR. STEWART: Objection.
   4    justice for you?                                    4       A. No. It's just that I wanted to see
   5           MR. STEWART: Objection.                      5   him, so I went to the town, and I went to my
   6       A. It's because I had heard people speak         6   friend Pierre Jacky, and he showed me where to
   7    about him.                                          7   go.
   8    BY MR. O'NEILL:                                     8   BY MR. O'NEILL:
   9       Q. You'd heard people speak about the            9       Q. But you knew, you already knew you
  10    money that people got, didn't you?                 10   wanted to go to Cyrus Sibert, didn't you, before
  11       A. No. I heard them speak about justice.        11   you talked to your friend Pierre Jacky?
  12    I heard them say that they had found their         12          MR. STEWART: Objection.
  13    justice.                                           13       A. Yes, I had heard people speak about
  14       Q. Who said this?                               14   him, and I wanted to see him.
  15       A. People in the street.                        15   BY MR. O'NEILL:
  16       Q. Wait a minute. Don't you know any            16       Q. So you heard unnamed people, that you
  17    names?                                             17   can't tell us who they were, speak about Cyrus
  18           MR. STEWART: Objection.                     18   Sibert?
  19    BY MR. O'NEILL:                                    19       A. No.
  20       Q. Are you wandering around without             20       Q. No, that you didn't hear from unnamed
  21    knowing who said what?                             21   people that you were to -- that you could speak
  22           MR. STEWART: Objection.                     22   to Cyrus Sibert? That's a question.
  23       A. It's in the street that I heard this.        23       A. Could you clarify the question,
  24    BY MR. O'NEILL:                                    24   please?
  25       Q. In 2013?                                     25       Q. I asked you before, so you heard

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   1       A. I don't remember.                             1   unnamed people -- from unnamed people, that you
   2       Q. Well, you know that you went to Cyrus         2   can't tell us who -- that you can't tell us who
   3   Sibert at some point before August 13th, 2013?       3   they were, speak about Cyrus Sibert, didn't you
   4          MR. STEWART: Objection.                       4   tell us that? You said no. So I was asking,
   5       A. I don't remember.                             5   didn't you tell us that, basically.
   6   BY MR. O'NEILL:                                      6           MR. STEWART: Objection.
   7       Q. Didn't you go with a big crowd of             7        A. It's because it's people who were in
   8   young men after you heard about the money that       8   the street, I don't know who they are. I've
   9   had hit the streets in Cap-Haïtien and march on      9   heard those people in the street speak, I don't
  10   Cyrus Vance's radio station or house, whatever      10   know their names.
  11   he uses?                                            11   BY MR. O'NEILL:
  12          MR. STEWART: Objection.                      12        Q. As of this time in 2013, just before
  13   BY MR. O'NEILL:                                     13   you go to Cyrus Sibert to find justice for you,
  14       Q. Didn't you do that with Wisky Jerome         14   you have never told anyone that you were abused,
  15   and some other kids?                                15   is that correct?
  16          MR. STEWART: Objection.                      16        A. No.
  17          THE INTERPRETER: The interpreter             17        Q. And that's seven long years you don't
  18   requests a clarification. Sir, are you              18   mention it to any one person?
  19   referring to Cyrus Sibert?                          19        A. No.
  20          MR. O'NEILL: Yes. No. Didn't he              20        Q. No what?
  21   go --                                               21        A. No, I never told anyone anything.
  22   BY MR. O'NEILL:                                     22        Q. If you look at Interrogatory 24, and
  23       Q. Didn't you go with a big crowd of            23   I'll read it for you, you say in the question --
  24   young men after you heard about the money that      24   the question is of 24, "Identify all persons who
  25   hit the streets in Cap-Haïtien and march on --      25   you believe actually knew that Perlitz was


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   1   sexually abusing you at any time prior to           1            MR. STEWART: All right. Let's take a
   2   September 15, 2009, and for each such person,       2   break.
   3   state the basis of your belief."                    3          MR. O'NEILL: Okay.
   4          And you say, "I do not personally know       4          MR. STEWART: Let's check the time.
   5   who knew before September 15, 2009 that Douglas     5          THE VIDEOGRAPHER: Going off the
   6   sexually abused me."                                6   record. The time is 5:59.
   7          My question is, who knew after               7          (Whereupon, a recess was taken.)
   8   September 15, 2009 that Douglas abused you?         8          (Nathalie Coupet now interpreter.)
   9          MR. STEWART: Objection.                      9          THE VIDEOGRAPHER: Back on the record.
  10       A. Nobody.                                     10   The time is 6:11.
  11   BY MR. O'NEILL:                                    11          MR. O'NEILL: All right. Everyone
  12       Q. You've mentioned a person called Pina.      12   ready?
  13   Did Pina tell you he was sexually abused by Doug   13          THE INTERPRETER: Yes.
  14   Perlitz, Douglas Perlitz?                          14   BY MR. O'NEILL:
  15       A. No.                                         15      Q. Okay. Looking at Interrogatory Number
  16       Q. Your answer to Interrogatory Number 23      16   26, your answer which you gave under oath, you
  17   is, "A student named Pina said Douglas abused      17   said in the first sentence of that, and I'm
  18   him." Didn't you say that in your answers to       18   going to break it down, "I believe all the staff
  19   interrogatories?                                   19   who used to work at Project Pierre Toussaint
  20       A. No. No.                                     20   knew that Douglas was abusing kids."
  21       Q. So your Bic pen missed that? You            21          MR. O'NEILL: You can read that.
  22   should have crossed that out, shouldn't you?       22      Q. Now, my question is, having read that
  23          MR. STEWART: Objection.                     23   answer that you gave, I'm not interested in what
  24          Let's take a break after this one.          24   you believe, I want to know what facts you base
  25       A. I didn't know.                              25   the statement that all the staff knew that


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   1          MR. STEWART: Let's take a break.             1   Douglas was abusing kids, what facts that you
   2   BY MR. O'NEILL:                                     2   know are the basis of that statement.
   3      Q. But it's not true to say --                   3          MR. STEWART: Objection.
   4          MR. STEWART: Wait. Wait.                     4       A. Yes, they knew. They didn't want to
   5          MR. O'NEILL: I'm sorry.                      5   lose their jobs. They kept is as a secret.
   6          MR. STEWART: We're taking a break.           6   BY MR. O'NEILL:
   7          MR. O'NEILL: What?                           7       Q. You're not answering my question, with
   8          MR. STEWART: We're taking a break.           8   all due respect.
   9          MR. O'NEILL: You're taking a break?          9          The question is, what facts do you
  10          MR. STEWART: He answered. Didn't he         10   base that -- what did you know, what facts did
  11   answer your question? Did you get an answer to     11   you know that's the basis of the statement that
  12   your question?                                     12   Douglas was abusing kids, that that was known to
  13          MR. O'NEILL: Let me think.                  13   all the staff that Douglas was abusing kids?
  14          MR. STEWART: I thought he answered.         14   What's your basis for saying that? What are the
  15          MR. O'NEILL: My question --                 15   facts?
  16   BY MR. O'NEILL:                                    16          MR. STEWART: Objection.
  17      Q. No, you didn't answer the question. I        17       A. It was the teachers, they knew, but
  18   said, sir, your Bic pen missed that, you should    18   they didn't say anything because they were
  19   have crossed that out, shouldn't you? And you      19   afraid to lose their jobs when they would call
  20   said you didn't know. That's not an answer to      20   the children fags.
  21   my question. So I want an answer to that           21   BY MR. O'NEILL:
  22   question.                                          22       Q. How did you know that the whole staff
  23      A. Yes, I didn't know. And I saw them           23   knew that Perlitz was abusing the kids? What
  24   kick him out, but I didn't know whether it was     24   facts do you know?
  25   because of that reason.                            25          MR. STEWART: Objection.


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   1   BY MR. O'NEILL:                                    1   room right now?
   2       Q. Is it just something you heard from         2      A. Yes.
   3   others and didn't know yourself? Tell me the       3      Q. How many times more?
   4   facts.                                             4      A. Many, many.
   5          MR. STEWART: Objection.                     5          MR. STEWART: I object.
   6       A. Yeah, he did that to me. I knew he          6   BY MS. COBBS:
   7   had done that to me.                               7      Q. And you weren't friends with any other
   8   BY MR. O'NEILL:                                    8   students at Rue 13?
   9       Q. That's nothing to do with the question      9      A. No.
  10   I asked you.                                      10      Q. And when you were at Carenage, were
  11          What facts do you know that justifies      11   you friends with any of the other students at
  12   you saying that Douglas -- that the whole staff   12   Carenage?
  13   knew that Douglas was abusing kids? What facts    13      A. No.
  14   is in your head that you know and you can state   14      Q. Were there more students at Carenage
  15   right here?                                       15   than there were at Rue 13?
  16       A. No, I didn't know anything.                16      A. Yes.
  17          MR. O'NEILL: Your witness, Rebecca.        17      Q. And you weren't friends with any of
  18          THE VIDEOGRAPHER: Going off the            18   the students?
  19   record. The time is 6:16.                         19      A. No. No.
  20          (Whereupon, a recess was taken.)           20      Q. But while you were at Carenage, did
  21          THE VIDEOGRAPHER: Back on the record.      21   you play on sports teams with the other
  22   The time is 6:24.                                 22   students?
  23             EXAMINATION                             23          MR. STEWART: Objection.
  24   BY MS. COBBS:                                     24      A. Yeah, basketball, when I play
  25       Q. Good evening, Mr. Emile. I introduced      25   basketball they want to play, too, we play.

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   1   myself earlier today. My name is Rebecca Cobbs,    1   BY MS. COBBS:
   2   and I represent the Society of Jesus of New        2      Q. And did you sit next to other students
   3   England.                                           3   while you were at Carenage in the classroom?
   4          And, Mr. Emile, you understand that         4      A. Yes, but I don't remember their names.
   5   you are still under oath?                          5      Q. And while you were at Carenage, did
   6       A. Yes.                                        6   you sit next to them while you ate meals?
   7       Q. And please let me know if you need to       7      A. Yes.
   8   take a break at any time, and we can take a        8      Q. And would you have conversations with
   9   break.                                             9   them?
  10       A. I'm okay.                                  10      A. No.
  11       Q. Mr. Emile, what do you like to do for      11      Q. While you were at Carenage, you never
  12   fun?                                              12   had any conversation with your fellow students?
  13       A. I play basketball, play ball, play         13      A. No.
  14   square ball.                                      14      Q. While you were at Rue 13, did you ever
  15       Q. Do you do anything else in your            15   have any conversations with other students?
  16   leisure time?                                     16      A. No.
  17       A. No.                                        17      Q. Did you play on sports teams with
  18       Q. Mr. Emile, when you were at Rue 13,        18   other students while you were at Rue 13?
  19   were you friends with other students there?       19          MR. STEWART: Objection.
  20       A. No.                                        20      A. Yes, play ball.
  21       Q. About how many students were at            21   BY MS. COBBS:
  22   Rue 13?                                           22      Q. And did you sit next to other students
  23       A. There was many children. I can't           23   while you were at Rue 13 in your classes?
  24   count them all.                                   24      A. Yes.
  25       Q. More than the number of people in this     25      Q. But you never spoke ever with any of


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   1   your other students while you were at Rue 13?       1   Doug Perlitz translated regarding that
   2           MR. STEWART: Objection.                     2   conversation in December?
   3       A. No, only the Mrs., the miss.                 3       A. Yeah, he said if we did -- finished
   4   BY MS. COBBS:                                       4   all our classes and we had a good average, then
   5       Q. While you were at the Village, were          5   he had a possibility to send us to the
   6   you friends with any of the other students          6   University of Fairfield.
   7   there?                                              7       Q. Has Doug Perlitz ever translated any
   8       A. No.                                          8   other conversations for Father Carrier while you
   9       Q. Did you play on sports teams with them       9   were there?
  10   while you were at the Village?                     10       A. No.
  11       A. Yes, ball.                                  11       Q. Have you ever been involved in any
  12       Q. And you sat with them while you ate         12   other conversations with Father Carrier?
  13   your meals?                                        13       A. No.
  14       A. Yes.                                        14       Q. Has anyone ever translated anything on
  15       Q. And you sat next to them when you took      15   behalf of Father Carrier, other than Doug
  16   your classes?                                      16   Perlitz, during that December conversation?
  17       A. Yes.                                        17       A. No.
  18       Q. And did you ever have any                   18       Q. Have you ever personally spoken to
  19   conversations with any students during your time   19   Father Carrier?
  20   at the Village?                                    20       A. No.
  21       A. No.                                         21       Q. Has Father Carrier ever spoken
  22       Q. And this is from -- I think you             22   directly to you?
  23   testified earlier that the school day lasted       23       A. No.
  24   from 7:00 a.m. to 6 or so p.m., is that right?     24       Q. Mr. Emile, have you ever heard of the
  25       A. Yes.                                        25   Society of Jesus of New England?

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   1        Q. Did you have friends who were not           1      A. Yes, I've heard people talk about it.
   2    students at the Village?                           2      Q. And what have you heard people talk
   3        A. Yes, outside. Yes, outside the              3   about?
   4    Village.                                           4      A. Yes, they said that Father Paul and
   5        Q. But never anyone inside?                    5   the other, Sylvester, these are two people who
   6        A. No.                                         6   were Jesuits, and they were learning to become
   7        Q. Mr. Emile, I think you testified            7   priests.
   8    earlier that there was a conversation in           8      Q. Who is "they" when you said they said
   9    December where Douglas Perlitz translated          9   that Father Paul and Sylvester were studying to
  10    statements made by Father Carrier and Madame      10   be Jesuits?
  11    Carter, is that correct?                          11      A. The kids.
  12        A. Yes.                                       12      Q. Do you remember any of the kids'
  13        Q. Have you told us everything that you       13   names?
  14    remember about the contents of that               14      A. No. They were just going, walking by,
  15    conversation?                                     15   just walking by. I heard them say it, say that,
  16        A. No, just that I don't speak English.       16   and I saw Father Paul praying inside the chapel,
  17    I didn't hear the conversation because I don't    17   that's how I knew.
  18    speak English.                                    18      Q. Was this while you were at the
  19        Q. Well, during that conversation, Doug       19   Village?
  20    Perlitz was translating for Father Carrier and    20      A. Yes.
  21    Madame Carrier, is that correct? I'm sorry,       21      Q. Other than this one occasion where you
  22    Madame Carter. Excuse me.                         22   heard students passing by mention that Father
  23        A. Yes.                                       23   Carrier was -- and Sylvester were Jesuits, have
  24        Q. And have you told us everything based      24   you heard anyone else say anything about the
  25    on -- everything that you recall based on what    25   Jesuits?


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   1      A. No. No.                                       1   BY MR. KENNEDY:
   2      Q. Do you know anything else about the           2       Q. Hi. If you remember, my name is Jeff
   3   Jesuits?                                            3   Kennedy, I represent Hope Carter. I just have a
   4      A. No.                                           4   couple quick questions for you, sir.
   5          MR. STEWART: While you're looking at         5       A. Yes.
   6   your notes, can I talk to him for just a minute?    6       Q. Did you ever see Hope Carter make any
   7   We don't even need to go off the record, I just     7   hand gestures when she was with Doug Perlitz?
   8   want to get something clear.                        8       A. No. I saw her mouth talk, and that's
   9          THE VIDEOGRAPHER: Going off the              9   the only thing.
  10   record. The time is 6:38.                          10       Q. Okay. You never saw her make any hand
  11          (Whereupon, a recess was taken.)            11   gestures, did you, sir?
  12          THE VIDEOGRAPHER: Back on the record.       12       A. No.
  13   The time is 6:41.                                  13       Q. And you've never spoken personally to
  14   BY MS. COBBS:                                      14   Hope Carter, have you, sir?
  15      Q. Mr. Emile, have you told me everything       15       A. No.
  16   that you know about the Jesuits?                   16       Q. And she never spoke personally to you,
  17      A. Yes, it's -- yes.                            17   sir, did she?
  18      Q. You told me everything you know about        18       A. No.
  19   the Society of Jesus of New England?               19       Q. And it would be fair to say that Hope
  20      A. Yes.                                         20   Carter never gave you any advice, did she, sir?
  21      Q. Mr. Emile, how do you understand the         21       A. No.
  22   word conversation?                                 22          MR. KENNEDY: Okay. That's all I
  23      A. Conversation?                                23   have, sir. Thank you very much.
  24      Q. What does that mean?                         24          MR. STEWART: Before we shut it all
  25      A. When a person talks to another person.       25   down, on his passport and on his visa, his whole


                                          Page 207                                                Page 209
   1          MS. COBBS: I have no more questions.         1   passport number is on there. Can we agree to
   2          MR. STEWART: Just real quick.                2   mark through the last four numbers of the
   3              EXAMINATION                              3   passport number, please?
   4    BY MR. STEWART:                                    4         MR. O'NEILL: Sure.
   5       Q. Mr. Emile, did you ever talk to other        5         MR. STEWART: If there's no objection.
   6    students at Rue 13?                                6         MR. BABBITT: No objection.
   7       A. Yes, they used to tell me let's go           7         MR. STEWART: Thank you, ladies and
   8    play basketball, let's play ball, let's eat.       8   gentlemen.
   9       Q. Did you have the same type of                9         THE VIDEOGRAPHER: This concludes the
  10    conversation at Carenage?                         10   October 28, 2015 deposition of Jean Moise Emile.
  11       A. Yes, let's go --                            11   Going off the record. The time is 6:46.
  12       Q. Did you have the same type of talks at      12         (Whereupon, the deposition was
  13    Carenage?                                         13         concluded.)
  14       A. Yes.                                        14
  15          MR. STEWART: Okay. That's all.              15
  16          Anything, Madame?                           16
  17          MS. COBBS: No.                              17
  18          MR. STEWART: Jeff, did you have a           18
  19    couple?                                           19
  20          MR. KENNEDY: Incredibly brief.              20
  21          MR. STEWART: Mr. Babbitt, were you          21
  22    saying you had something?                         22
  23          MR. BABBITT: No.                            23
  24          MR. STEWART: Okay. Almost done.             24
  25              EXAMINATION                             25


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   1          CERTIFICATE                                  1           ------
   2          I, MAUREEN O'CONNOR POLLARD, LSR #473,                   ERRATA
   3   RMR, CLR, and Notary Public in and for the State    2           ------
   4   of Connecticut, do hereby certify that there        3   PAGE LINE CHANGE
   5   came before me on the 28th day of October, 2015,    4   ____ ____ _________________________________
   6   the person hereinbefore named, who was duly         5     REASON: __________________________________
   7   sworn to testify to the truth of their knowledge    6   ___ ____ __________________________________
   8   concerning the matters in this cause, and their     7     REASON: __________________________________
   9   examination reduced to typewriting under my         8   ____ ____ _________________________________
  10   direction and is a true record of the testimony.
                                                           9     REASON: __________________________________
                                                          10   ____ ____ _________________________________
  11          I further certify that I am neither
                                                          11     REASON: __________________________________
  12   attorney for or related or employed by any of
                                                          12   ____ ____ _________________________________
  13   the parties to the action, and that I am not a
                                                          13     REASON: __________________________________
  14   relative or employee of any attorney or counsel
                                                          14   ____ ____ _________________________________
  15   employed by the parties hereto or financially
                                                          15     REASON: _________________________________
  16   interested in the action.                          16   ____ ____ _________________________________
  17          In witness whereof, I have hereunto         17     REASON: _________________________________
  18   set my hand and seal this 1st day of November,     18   ____ ____ _________________________________
  19   2015.                                              19     REASON: _________________________________
  20                                                      20   ____ ____ _________________________________
  21     ________________________________________         21     REASON: _________________________________
  22     MAUREEN O'CONNOR POLLARD, License #473           22   ____ ____ _________________________________
  23     Realtime Systems Administrator, RMR              23     REASON: _________________________________
  24     Notary Commission Expires: 10/31/2017            24   ____ ____ _________________________________
  25                                                      25


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   1          INSTRUCTIONS TO WITNESS                      1         ACKNOWLEDGMENT OF DEPONENT
   2                                                       2
                                                           3             I, __________________________, do
   3              Please read your deposition over             Hereby certify that I have read the foregoing
   4    carefully and make any necessary corrections.      4   pages, and that the same is a correct
   5    You should state the reason in the appropriate         transcription of the answers given by me to the
   6    space on the errata sheet for any corrections      5   questions therein propounded, except for the
                                                               corrections or changes in form or substance, if
   7    that are made.                                     6   any, noted in the attached Errata Sheet.
   8              After doing so, please sign the          7
   9    errata sheet and date it. It will be attached      8   _________________________________
  10    to your deposition.                                    JEAN MOISE EMILE         DATE
                                                           9
  11              It is imperative that you return        10
  12    the original errata sheet to the deposing         11
  13    attorney within thirty (30) days of receipt of    12
  14    the deposition transcript by you. If you fail     13
                                                          14
  15    to do so, the deposition transcript may be
                                                          15   Subscribed and sworn
  16    deemed to be accurate and may be used in court.        To before me this
  17                                                      16   ______ day of _________________, 20____.
  18                                                      17   My commission expires: ________________
  19                                                      18
                                                               _______________________________________
  20                                                      19   Notary Public
  21                                                      20
  22                                                      21
  23                                                      22
                                                          23
  24                                                      24
  25                                                      25


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                  UNITED STATES DISTRICT COURT
                  DISTRICT OF CONNECTICUT
                                      Civil Action No.
                                      3:13-cv-01132(RNC)
        ****************************
        GERVIL ST. LOUIS, a/k/a ST.   Consolidated with:
        LOUIS GERVIL,                 3:13-cv-1225-RNC
                                      3:13-cv-1269-RNC
                       Plaintiff,     3:13-cv-1437-RNC
                                      3:13-cv-1480-RNC
             v.                       3:13-cv-1626-RNC
                                      3:13-cv-1627-RNC
        DOUGLAS PERLITZ, FATHER       3:13-cv-1628-RNC
        PAUL E. CARRIER, S.J.; HOPE   3:13-cv-1629-RNC
        E. CARTER; HAITI FUND,        3:13-cv-1630-RNC
        INC.; FAIRFIELD UNIVERSITY;   3:13-cv-1631-RNC
        THE SOCIETY OF JESUS OF NEW   3:13-cv-1632-RNC
        ENGLAND; SOVEREIGN MILITARY   3:13-cv-1633-RNC
        HOSPITALLER ORDER OF ST.      3:13-cv-1634-RNC
        JOHN OF JERUSALEM OF RHODES   3:13-cv-1635-RNC
        AND OF MALTA, AMERICAN        3:13-cv-1636-RNC
        ASSOCIATION, U.S.A.; a/k/a    3:13-cv-1637-RNC
        ORDER OF MALTA, AMERICAN      3:13-cv-1638-RNC
        ASSOCIATION, U.S.A.; JOHN     3:13-cv-1639-RNC
        DOE ONE; JOHN DOE TWO; JOHN   3:13-cv-1640-RNC
        DOE THREE; JOHN DOE FOUR;     3:13-cv-1641-RNC
        JOHN DOE FIVE; JOHN DOE SIX   3:13-cv-1642-RNC
        and JOHN DOE SEVEN,           3:13-cv-1644-RNC
                                      3:13-cv-1645-RNC
                       Defendants.    3:13-cv-1647-RNC
                                      3:13-cv-1648-RNC
                                      3:13-cv-1701-RNC
                                      3:13-cv-1767-RNC
                                      3:13-cv-1768-RNC
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                                      3:13-cv-1906-RNC
                                      3:13-cv-1907-RNC
        ******************************
        This document applies to:
        All of the above referenced cases
        And those to be filed
        ******************************
        CONFIDENTIAL - SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
                  VIDEOTAPED DEPOSITION OF
                  JHEEMPSON BRISMAC JOSEPH
                  Tuesday, September 29, 2015

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   1                                                   1    APPEARANCES (Continued):
   2        VIDEOTAPED DEPOSITION OF                   2
   3        JHEEMPSON BRISMAC JOSEPH                   3    FOR THE DEFENDANT PAUL E. CARRIER, S.J.:
   4                                                   4      TIMOTHY P. O'NEILL, ESQ.
   5                                                   5         MURPHY & KING
   6                                                   6        One Beacon Street, Twenty First Floor
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  10     Carretera Luperón, km 5, Puerto Plata 547    10
  11     Dominican Republic                           11    FOR THE DEFENDANT HOPE E. CARTER:
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  13                                                  13        MILANO & WANAT LLC
  14   REPORTED BY:                                   14        471 East Main Street
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  16   Realtime Systems Administrator                 16        203-315-7000
  17                                                  17        jkennedy@mwllc.us
  18                                                  18
  19                                                  19
  20                                                  20
  21                                                  21
  22                                                  22
  23                                                  23
  24                                                  24
  25                                                  25


                                             Page 3                                           Page 5
   1   APPEARANCES:                                    1   APPEARANCES (Continued):
   2   FOR THE PLAINTIFF:                              2
   3     MITCHELL GARABEDIAN, ESQ.                     3   FOR THE DEFENDANT ORDER OF MALTA AMERICAN
   4     LU XIA, ESQ.                                  4   ASSOCIATION, U.S.A.:
   5       LAW OFFICES OF MITCHELL GARABEDIAN          5     BRADFORD S. BABBITT, ESQ.
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  10       lxia@garabedianlaw.com                     10       bbabbitt@rc.com
  11           -and-                                  11
  12     ELLYN H. HURD, ESQ.                          12   FOR THE DEFENDANT FAIRFIELD UNIVERSITY:
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  18           -and-                                  18       jcerreta@daypitney.com
  19     JO ANNA POLLOCK, ESQ.                        19
  20        SIMMONS HANLY CONROY                      20
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  22        Alton, Illinois 62002                     22
  23       jpollock@simmonsfirm.com                   23
  24                                                  24
  25                                                  25



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   1   APPEARANCES (Continued):                             1         PROCEEDINGS
   2                                                        2
   3   FOR THE DEFENDANT THE SOCIETY OF JESUS OF            3          THE VIDEOGRAPHER: We are now on the
   4   NEW ENGLAND:                                         4   record. My name is Chris Coughlin, I'm a
   5     MICHAEL KERRIGAN, ESQ.                             5   videographer for Golkow Technologies. Today's
   6        SLOANE AND WALSH, LLP                           6   date is September 29, 2015, and the time is
   7        Three Center Plaza, Suite 830                   7   9:06 a.m..
   8        Boston, Massachusetts 02108                     8          This deposition is being held in
   9        617-523-6010                                    9   Puerto Plata, Dominican Republic, in the matter
  10        mkerrigan@sloanewalsh.com                      10   of Gervil St. Louis versus Douglas Perlitz, et
  11                                                       11   al, United States District Court, the District
  12                                                       12   of Connecticut, Civil Action Number
  13   Videographer: Christopher Coughlin                  13   3:13-cv-01132-RNC.
  14                                                       14          The deponent is Jheempson Brismac
  15   Interpreter: Nathalie Coupet                        15   Joseph.
  16                                                       16          Will counsel please identify
  17   Also Present:                                       17   yourselves for the record.
  18   Jean Elyseé Pierre Louis, Interpreter               18          MR. KERRIGAN: Good morning, Counsel.
  19                                                       19   Good morning, Mr. Joseph. My name is Michael
  20                                                       20   Kerrigan, I represent the Society of Jesus of
  21                                                       21   New England.
  22                                                       22          MR. CERRETA: Good morning. John
  23                                                       23   Cerreta representing Fairfield University.
  24                                                       24          MR. O'NEILL: Timothy O'Neill
  25                                                       25   representing the Reverend Paul Carrier.


                                                Page 7                                                    Page 9
   1               INDEX                                    1          MR. KENNEDY: Good morning. Jeff
   2     EXAMINATION              PAGE                      2   Kennedy representing Hope Carter.
   3     JHEEMPSON BRISMAC JOSEPH                           3          MR. BABBITT: I'm Bradford Babbitt
   4      BY MR. CERRETA           189                      4   representing the American Association of the
   5      BY MR. KENNEDY            193                     5   Order of Malta.
   6      BY MR. BABBITT          206
   7                                                        6          MR. GARABEDIAN: Good morning.
   8                                                        7   Mitchell Garabedian representing the Plaintiffs
   9          EXHIBITS                                      8   in the Gervil St. Louis matter, including the
  10     NO.     DESCRIPTION                        PAGE    9   deponent today, Jheempson Brismac Joseph.
  11     1 Complaint and Jury Trial Demand...... 19        10          MS. POLLOCK: Good morning. My name
  12     2 Plaintiff Jheempson Brismac                     11   is Jo Anna Pawlik from Simmons Hanly Conroy, and
           Joseph's Response to Certain                    12   I represent the Plaintiffs.
  13       Defendants' First Set of                        13          MS. XIA: Good morning. Lu Xia
           Interrogatories...................... 21
  14                                                       14   representing Plaintiffs.
         3  Mr. Joseph's National                          15          THE VIDEOGRAPHER: The court reporter
  15       Identification Card.................. 32        16   is Maureen Pollard, and she will now swear in
  16     4 Mr. Joseph's Passport................ 33        17   the witness and the interpreter.
  17                                                       18
  18                                                       19           NATHALIE COUPET,
  19                                                       20   having been duly sworn to translate the
  20                                                       21   testimony to the best of her ability, translated
  21
  22                                                       22   as follows:
  23                                                       23           JHEEMPSON BRISMAC JOSEPH,
  24                                                       24   having been first duly sworn, was examined and
  25                                                       25   testified as follows through the interpreter:


                                                                                 3 (Pages 6 to 9)
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   1          MR. KERRIGAN: Before we begin, I just         1       Q. Throughout the day we're going to be
   2   ask counsel, I'd like to have Elysée just            2   asking you questions, and we need you to answer
   3   identify himself for the record and his role         3   verbally; that is, with words.
   4   here, if that's alright.                             4           Do you understand that?
   5          MR. PIERRE LOUIS: My name is John             5       A. Okay.
   6   Elysée Pierre Louis, and I'm the interpreter for     6       Q. You have to keep your voice nice and
   7   the lawyers, Mitch and Jo Anna Pollock.              7   loud so that that man down there can hear you,
   8          MR. KERRIGAN: Thank you very much.            8   okay? Do you understand that?
   9          Jo Anna, a few administrative matters.        9       A. Yes.
  10          We'll agree to the usual stipulations;       10       Q. And I'll remind you. If we need to
  11   by that I mean we'll reserve all objections         11   have you keep your voice up, I'll try to remind
  12   except as to the form of the question, and          12   you, okay? Do you understand?
  13   reserve all motions to strike until the time of     13       A. Yes.
  14   trial. Is that fair?                                14       Q. Do you understand that you have been
  15          MS. POLLOCK: Sure.                           15   sworn in by our court reporter?
  16          MR. KERRIGAN: Would Mr. Joseph like          16       A. Okay.
  17   to read and sign the transcript?                    17       Q. Do you understand that you swore
  18          MS. POLLOCK: Yes. We request the             18   before God to tell the truth today?
  19   60 days.                                            19       A. Yes.
  20          MR. KERRIGAN: Okay. That's fine.             20       Q. Do you believe in God?
  21   And we'll waive the notary.                         21       A. Yes.
  22          MS. POLLOCK: Yes.                            22       Q. Do you understand that you're required
  23          MR. KERRIGAN: We agree for purposes          23   to tell the truth just like you would if you
  24   of objections, if any are to be made, that an       24   were in front of a judge?
  25   objection for one is an objection for all.          25       A. Yes.


                                            Page 11                                                 Page 13
   1           MS. POLLOCK: Sure.                           1       Q. Your attorney is next to you. If you
   2           MR. KERRIGAN: Do counsel have                2   need to speak to your attorney at any time, you
   3    anything else to add or anything in the way of      3   may, but if I ask you a question, please answer
   4    administrative? Good.                               4   the question before speaking to your attorney.
   5           Anything else, Jo Anna?                      5   Do you understand?
   6           MS. POLLOCK: No, thank you.                  6       A. Yes.
   7           DIRECT EXAMINATION                           7       Q. If you need to take a break, you will
   8    BY MR. KERRIGAN:                                    8   let me know, okay? You have to say yes or no.
   9       Q. Mr. Joseph, would you please state            9       A. Yes.
  10    your name, full name, for the record?              10       Q. If you don't understand any of my
  11       A. Joseph Brismac Jheempson. Brismac,           11   questions, you will tell me, correct?
  12    B-R-I-S-M-A-K. Brismac is correct. And             12       A. Okay.
  13    Jheempson is J-H-E-E-M-P-S-O-N.                    13       Q. It's important that you understand the
  14       Q. Is it okay if I call you Mr. Joseph          14   questions.
  15    for today?                                         15       A. Yes.
  16        A. Yes.                                        16       Q. Okay. Now, Mr. Joseph, are you taking
  17       Q. Mr. Joseph, my name is Michael               17   any kind of medication that would prevent you
  18    Kerrigan, I represent the Society of Jesus of      18   from testifying accurately today?
  19    New England. We're here today to take a            19       A. No.
  20    statement from you called a deposition. Do you     20       Q. Are you taking any drugs that would
  21    understand that's why you're here today?           21   prevent you from testifying accurately today?
  22        A. Yes.                                        22       A. I used to do that. I don't do that
  23       Q. It's because you brought a case or a         23   anymore.
  24    lawsuit against certain people, is that correct?   24       Q. When did you used to do drugs?
  25        A. Yes.                                        25       A. When I was in the streets.


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   1        Q. When was that?                             1      Q. Did you read anything to prepare for
   2        A. When I was sleeping in the streets.        2   today's statement?
   3    And then when I went in the Village, I stopped    3      A. No.
   4    doing that. I haven't -- doing that anymore.      4      Q. Did you speak with anyone to prepare
   5        Q. How old were you when you last did         5   for today's statement?
   6    drugs?                                            6      A. Yes.
   7        A. I don't remember. I don't remember         7      Q. With whom did you speak? And I just
   8    this.                                             8   want names, please.
   9        Q. Was it when you were a small child, or     9      A. With my lawyers only.
  10    a teenager?                                      10      Q. Do you know the names of the lawyers
  11        A. I don't remember.                         11   with whom you spoke?
  12        Q. What kind of drugs did you do?            12      A. One person I remember is Mitch.
  13        A. Thinners.                                 13      Q. Is Mitch in the room today?
  14        Q. Paint thinners?                           14      A. Yes.
  15        A. Paint thinners.                           15      Q. Where is he?
  16        Q. How often would you sniff paint           16      A. (Indicating).
  17    thinner?                                         17      Q. Which one?
  18        A. I don't remember.                         18      A. (Indicating).
  19        Q. You stopped using paint thinner before    19      Q. Okay. Thank you.
  20    you went to the Village, is that correct?        20          Did you speak with any of your other
  21        A. Yes.                                      21   lawyers?
  22        Q. Have you taken any other drugs besides    22      A. No.
  23    paint thinner?                                   23      Q. Did you speak with anyone besides your
  24        A. No, no.                                   24   lawyers?
  25        Q. Mr. Joseph, have you used any other       25      A. No.

                                           Page 15                                                 Page 17
   1    names other than Jheempson Brismac Joseph?        1      Q. Did you speak with Cyrus Sibert to
   2       A. No.                                         2   prepare for today?
   3       Q. You have a nickname, do you not?            3      A. No.
   4       A. In all the schools I've been to,            4      Q. Did you watch any videos or anything
   5    they've always called me Brisma.                  5   on TV to prepare for today?
   6       Q. Can you spell that, please? Is it           6      A. No.
   7    B-R-I-S-M-A-C?                                    7      Q. Mr. Joseph, have you kept any kind of
   8       A. My name is Brismac, but they call me        8   writings, or any kind of diary or journals about
   9    Brisma. So B-R-I-S-M-A.                           9   your time at PPT?
  10       Q. What about the name Briswoch,              10      A. No, I don't remember I did things like
  11    B-R-I-S-W-O-C-H?                                 11   that.
  12       A. No.                                        12      Q. Mr. Joseph, do you have any documents
  13       Q. You've never been called Briswoch?         13   that relate to PPT?
  14       A. I don't remember this. I don't             14      A. When I was in the Village you mean?
  15    remember.                                        15      Q. At any time when you were involved
  16       Q. Have you used any other names?             16   with PPT, any project/program from PPT.
  17       A. No.                                        17      A. I don't remember this.
  18       Q. When were you born, Mr. Joseph?            18      Q. Do you have any documents today that
  19       A. 1990, November 3rd.                        19   relate to your time at PPT?
  20       Q. Mr. Joseph, have you ever brought a        20      A. Repeat, please?
  21    case besides this case?                          21      Q. Do you have any documents today that
  22       A. No.                                        22   relate to PPT?
  23       Q. Have you ever been involved with any       23      A. Yes.
  24    other case other than this one?                  24      Q. What are those documents?
  25       A. No.                                        25      A. Papers when I was signing.


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   1       Q. Which papers did you sign?                    1       Q. Mr. Joseph, we've put in front of you
   2       A. Reports for this deposition.                  2   a document, and it's called Exhibit 1. Do you
   3       Q. Do you know the name of those reports?        3   see that document in front of you?
   4       A. No, I don't remember this.                    4       A. Yes.
   5       Q. Okay. Where do you live, Mr. Joseph?          5       Q. Do you recognize that document?
   6       A. Blue Hills, Cap-Haïtien.                      6       A. No, I don't remember.
   7       Q. What is your address?                         7       Q. I'm going to call this document a
   8       A. I don't have any address.                     8   Complaint. Okay. Do you understand when I say
   9       Q. Mr. Joseph, you speak Creole, is that         9   Complaint, I mean this document, Exhibit 1?
  10    correct?                                           10       A. Okay.
  11       A. Yes.                                         11       Q. The document is in English, I
  12       Q. Do you speak English?                        12   understand, but it's the case you've never seen
  13       A. No.                                          13   this before today?
  14       Q. Do you understand English?                   14       A. No, I don't remember this.
  15       A. No.                                          15       Q. Do you remember reviewing this
  16       Q. Do you speak any other language other        16   document at all?
  17    than Creole?                                       17       A. I don't remember at all.
  18       A. Just Creole.                                 18       Q. Do you know whether or not your
  19       Q. Can you write Creole?                        19   lawyers gave this to the court for you?
  20       A. I can write some words, just some            20       A. I don't remember. I can't tell you
  21    words I can write, but I can't write everything.   21   this.
  22       Q. What kind of words can you write in          22       Q. Do you know anything that's in your
  23    Creole?                                            23   complaint?
  24       A. Dad, mom, things like that.                  24       A. I don't know anything about it. I
  25       Q. You can write your name in Creole?           25   don't know.


                                             Page 19                                                 Page 21
   1      A. Yes.                                           1      Q. Thank you, Mr. Joseph.
   2      Q. Can you read Creole, Mr. Joseph?               2           Mr. Joseph, the next document I'm
   3      A. I'm not very good at that.                     3   going to give you has been marked as Exhibit 2.
   4      Q. Did you take reading classes for               4           (Whereupon, Joseph Exhibit Number 2,
   5   Creole?                                              5           Plaintiff Jheempson Brismac Joseph's
   6      A. Yes.                                           6           Response to Certain Defendants' First
   7      Q. How many years of classes did you              7           Set of Interrogatories, was marked for
   8   take?                                                8           identification.)
   9      A. I don't remember this.                         9           MR. KERRIGAN: For the record,
  10      Q. Mr. Joseph, I'm going to show you some        10   Exhibit 2 is entitled "Plaintiff Jheempson
  11   documents. I'm just going to ask you to see if      11   Brismac Joseph's Response to Certain Defendants'
  12   you recognize it.                                   12   First Set of Interrogatories." The document is
  13         MR. KERRIGAN: Jo Anna, that's                 13   dated July 11, 2014, for the benefit of counsel.
  14   Exhibit 1 (handing).                                14   BY MR. KERRIGAN:
  15         MS. POLLOCK: Thank you.                       15      Q. Mr. Joseph, would you please look at
  16         (Whereupon, Joseph Exhibit Number 1,          16   Exhibit 2? Are you looking at the document?
  17         Complaint and Jury Trial Demand, was          17           You have to say yes or no.
  18         marked for identification.)                   18      A. Yes.
  19         MR. KERRIGAN: Counsel, I've marked as         19      Q. Okay. And you are looking at the page
  20   Exhibit 1 the Complaint and Jury Demand for         20   that's in Creole, is that correct?
  21   Mr. Joseph. It's dated November 7, 2013. I          21      A. Yes.
  22   have full copies for Plaintiffs' counsel and for    22      Q. Mr. Joseph, could you read this for
  23   the witness, and the first page of the document     23   me? See this title here, would you please read
  24   for everybody else (handing).                       24   that for me, if you can?
  25   BY MR. KERRIGAN:                                    25           MS. POLLOCK: I was just going to say,


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   1    for the record, can you tell him what page         1       Q. And is that answer correct that you
   2    you're on?                                         2   read?
   3           MR. KERRIGAN: Sure. I'm on the first        3       A. Yes.
   4    page of the Creole version of the answers to       4       Q. Is there anything that is incorrect
   5    interrogatories, and there is no page number on    5   about that answer?
   6    it.                                                6       A. There might be some small mistakes,
   7    BY MR. KERRIGAN:                                   7   but all of here, everything is the truth.
   8        Q. Could you read it out loud, please, to      8       Q. Okay. Did you find any small mistakes
   9    the translator?                                    9   in that answer?
  10           MR. KERRIGAN: Could the translator         10       A. I don't remember Briswoch. I don't
  11    translate to English for us, please.              11   remember putting it.
  12        A. "The answers the Plaintiff Jheempson       12       Q. Mr. Joseph, have you seen this
  13    Brismac Joseph gave for the first series of       13   document before, Exhibit 2?
  14    interrogation of the defense."                    14       A. I don't remember.
  15    BY MR. KERRIGAN:                                  15       Q. Can you flip back to the first page in
  16        Q. You were able to read that line okay,      16   Creole? Have you seen that document before
  17    Mr. Joseph?                                       17   today?
  18        A. What I just read?                          18       A. I don't remember seeing this.
  19        Q. Yes. Were you able to do that okay?        19       Q. Do you remember reviewing any part of
  20        A. Yes.                                       20   those answers before today?
  21        Q. Would you turn to the next page,           21       A. I remember the first question, but I
  22    please? Do you see that up at the top of the      22   don't remember those.
  23    page there's a question that in English says      23       Q. Do you remember any of the other
  24    "Interrogatory No. 1"? Do you see that?           24   questions in this document, Exhibit 2?
  25        A. Yes.                                       25       A. I don't remember.

                                            Page 23                                                 Page 25
   1      Q. Okay. And just below that there is a          1      Q. Turn to the very last page, please.
   2   line in English which says "Answer to               2   Are you looking at the last page, Mr. Joseph?
   3   Interrogatory No. 1." Do you see that written       3      A. Yes.
   4   in Creole in front of you?                          4      Q. Do you recognize that page?
   5      A. Yes.                                          5      A. Yes.
   6      Q. Okay. And there's an answer just              6      Q. What is that page?
   7   underneath that.                                    7      A. I see Jheempson Brismac.
   8          Do you see that?                             8      Q. Is that page called a Verification
   9      A. I see it.                                     9   page?
  10      Q. Okay. And that's written in Creole,          10      A. Yeah.
  11   correct?                                           11      Q. Can you read that verification page
  12      A. Yes.                                         12   for the translator in a big loud voice?
  13      Q. Would you please read that to the            13      A. "I, Joseph Brismac, read the answers
  14   translator in a nice loud voice, as best you       14   that were written above and they are correct and
  15   can?                                               15   precise in my best capacity."
  16          MR. KERRIGAN: Would the translator          16          MS. POLLOCK: For the record, are you
  17   please translate into English his reading of it.   17   reading what this says, or what he said?
  18      A. "My name is Jheempson Brismac Joseph.        18          THE INTERPRETER: Which is the same.
  19   They know me as Briswoch. I was born on            19          MS. POLLOCK: Okay.
  20   November 3, 1990. I live in Delmas 32 in           20          MR. KERRIGAN: Thank you, Jo Anna.
  21   Port-au-Prince."                                   21   BY MR. KERRIGAN:
  22      Q. Thank you, Mr. Joseph.                       22      Q. You were able to read that
  23          Were you able to read that Creole           23   verification okay, Mr. Joseph?
  24   okay?                                              24      A. Yes.
  25      A. Yes.                                         25      Q. And is that verification correct?


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   1        A. Yeah. It might have mistakes, but           1   you?
   2    it's correct.                                      2      A. I don't remember exactly who looked --
   3        Q. The answers that you gave need to be        3   went through the questions with me, but I
   4    accurate. Do you believe that the answers that     4   remember there was someone.
   5    you gave in that document are accurate,            5      Q. Was it one person, or more than one
   6    Mr. Joseph?                                        6   person who went through these with you?
   7        A. Yes.                                        7      A. I don't remember how many people
   8        Q. Did anyone read the questions and           8   exactly.
   9    answers to you?                                    9      Q. Do you know if anyone checked your
  10        A. No, I don't remember this.                 10   answers to make sure that they were accurate?
  11        Q. When did you sign the verification?        11      A. What?
  12        A. I don't remember.                          12      Q. Did anyone check your answers to make
  13        Q. Is that your signature on the              13   sure they were correct?
  14    verification page?                                14      A. A person.
  15        A. Yes. Yes.                                  15      Q. Who?
  16        Q. The document says that the                 16      A. I don't remember.
  17    verification was signed on 11 July, 2014, is      17      Q. Was there anyone else there at the
  18    that correct?                                     18   hotel when you signed Exhibit 2, aside from your
  19        A. I don't remember this.                     19   lawyers and Cyrus Sibert?
  20        Q. Do you remember meeting with your          20      A. Well, we had the other kids in the
  21    lawyers to go over that document at any time?     21   hotel.
  22        A. Repeat for me, please?                     22      Q. What other kids?
  23        Q. Did you ever go over or review the         23      A. The other kids. I don't remember
  24    questions and answers with your lawyers at any    24   their names.
  25    time?                                             25      Q. Were these other kids from PPT?


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   1       A. Yes.                                         1      A. Yes.
   2       Q. When was that?                               2      Q. How many other kids from PPT were at
   3       A. I don't remember when.                       3   the hotel when you signed these answers?
   4       Q. Where was it?                                4      A. I don't remember this.
   5       A. Cap-Haïtien.                                 5      Q. Was it ten other kids?
   6       Q. Where in Cap-Haïtien?                        6      A. I don't remember at all.
   7       A. Haiti.                                       7      Q. You don't remember if it was more than
   8       Q. Were you at a hotel, or someplace            8   ten or less than ten?
   9    else?                                              9      A. I don't remember.
  10       A. At a hotel.                                 10      Q. And you don't remember the names of
  11       Q. Which hotel?                                11   any of the other kids?
  12       A. I don't remember the name. I don't          12      A. No.
  13    remember.                                         13      Q. How did you know they were from PPT?
  14       Q. How many attorneys were present?            14      A. I saw them. I recognized their face.
  15       A. When I came I was late, I didn't get a      15      Q. Did you sign any other papers at the
  16    chance to talk to them. I just barely saw them.   16   hotel that day besides the verification?
  17    They just came with the papers. They just came    17      A. No.
  18    with the papers.                                  18      Q. Were you given any documents or any
  19       Q. How many attorneys?                         19   papers at the meeting at the hotel?
  20       A. I don't remember.                           20      A. I don't remember. I don't remember.
  21       Q. What were the names of the attorneys?       21   I don't remember their giving me any other paper
  22       A. I don't remember.                           22   besides this document.
  23       Q. Was Cyrus Sibert there?                     23      Q. How did you get to the hotel in
  24       A. Yes, he was there.                          24   Cap-Haïtien in order to sign the answers?
  25       Q. Did Cyrus go over the answers with          25      A. I was in Port-au-Prince, Cyrus called


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   1   me to come because there were papers I needed to    1   you know?
   2   sign. I was in Port-au-Prince. I went to            2      A. I don't know this.
   3   Cap-Haïtien. When I got to the hotel -- I           3      Q. Mr. Joseph, I'm giving you what we
   4   didn't know how to get there, I asked. When I       4   have marked as Exhibit 3.
   5   found it, I found the hotel, so I went there.       5         (Whereupon, Joseph Exhibit Number 3,
   6   And when I got there, I saw Cyrus. He's the one     6         Mr. Joseph's National Identification
   7   I knew best.                                        7         Card, was marked for identification.)
   8        Q. What street was the hotel on in             8         MR. KERRIGAN: For counsel, this is
   9   Cap-Haïtien?                                        9   Mr. Joseph's national identification card.
  10        A. I don't remember which street.             10      A. Yes.
  11        Q. Now, Mr. Joseph, I'm just going to ask     11   BY MR. KERRIGAN:
  12   you one last time about this document for now.     12      Q. Mr. Joseph, have you had the chance to
  13           MS. POLLOCK: This document being           13   look at Exhibit 3?
  14   Exhibit 2?                                         14      A. Do I understand it?
  15           MR. KERRIGAN: This document being          15      Q. Have you looked at it?
  16   Exhibit 2.                                         16      A. I looked at it.
  17   BY MR. KERRIGAN:                                   17      Q. What is that document?
  18        Q. You believe that the answers you gave      18      A. My card.
  19   are accurate, is that correct?                     19      Q. What card?
  20           MS. POLLOCK: Objection. Asked and          20      A. National identification card.
  21   answered.                                          21      Q. Is that a card that is issued to you
  22        A. Yes, I believe that. There might be a      22   by the government of the Republic of Haiti?
  23   little error, but all are true.                    23      A. Yes.
  24   BY MR. KERRIGAN:                                   24      Q. When did you get that card?
  25        Q. When you say "there might be a little      25      A. I don't remember.

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   1   error," what do you mean?                           1       Q. Is that card accurate?
   2      A. Like the Briswoch thing, I don't              2       A. Yes, it is.
   3   remember this.                                      3       Q. Take your time and read all the
   4      Q. You believe that the document on the          4   information on that card, and after you're done
   5   whole is accurate?                                  5   reading, please tell us whether that information
   6      A. Yes.                                          6   is all correct.
   7      Q. And these answers are important,              7       A. (Witness complies).
   8   Mr. Joseph, because we use these in court and we    8           Yes, it's correct.
   9   might be giving these to a judge. Do you            9       Q. That's a picture of you on that card,
  10   understand that?                                   10   correct?
  11      A. Okay.                                        11       A. Yes.
  12      Q. You understand that?                         12       Q. Did anyone help you obtain that card?
  13      A. I understand.                                13       A. No, I went to do it, have it done.
  14      Q. And you understand that it's important       14       Q. Where did you have that done?
  15   to be truthful and accurate in this document?      15       A. Cap-Haïtien.
  16      A. Yes.                                         16       Q. Where in Cap-Haïtien?
  17      Q. All right. I'm going to call this            17       A. I don't remember.
  18   document your answers throughout this              18       Q. Mr. Joseph, I'm going to give you what
  19   deposition. Do you understand that?                19   we've marked as Exhibit 4.
  20      A. Okay.                                        20           (Whereupon, Joseph Exhibit Number 4,
  21      Q. All right. There's only one document         21           Mr. Joseph's Passport, was marked for
  22   that has Jheempson Brismac Joseph's answers, and   22           identification.)
  23   this is it, okay?                                  23           MR. KERRIGAN: For counsel, Exhibit 4
  24      A. Okay.                                        24   is a passport.
  25      Q. Mr. Joseph, who typed your answers, do       25   BY MR. KERRIGAN:


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   1       Q. Will you take a look at Exhibit 4, and       1       Q. Take your time now and read it
   2   let me know when you're done, Mr. Joseph?           2   closely.
   3         THE INTERPRETER: Can you repeat,              3           (Witness reviewing document.)
   4   please?                                             4       A. I see that it is correct.
   5       Q. Can you take a look at Exhibit 4, and        5   BY MR. KERRIGAN:
   6   let me know when you're done, Mr. Joseph?           6       Q. Thank you.
   7       A. I finished looking at it.                    7           Mr. Joseph, do you have a birth
   8       Q. What is Exhibit 4?                           8   certificate?
   9       A. This document?                               9       A. Yes.
  10       Q. Yes. What is that document?                 10       Q. Where is the birth certificate?
  11       A. That's a passport.                          11       A. I have it. I didn't come here with
  12       Q. That's your passport, correct?              12   it, but I do have it.
  13       A. Yes.                                        13       Q. Where is it?
  14       Q. When did you obtain that passport?          14       A. At home in Cap-Haïtien.
  15       A. When I was boarding the Caribe to come      15       Q. At the house where you live with your
  16   here, Caribe to come here.                         16   uncle?
  17       Q. What is the Caribe?                         17       A. With whom?
  18       A. The car.                                    18       Q. With your uncle?
  19       Q. When would that have been?                  19       A. Yes. And my mother.
  20       A. I don't remember the day. I don't           20       Q. Did you ever give your passport --
  21   remember the day.                                  21   excuse me.
  22       Q. Did anyone help you to get this             22           Did you ever give your birth
  23   passport?                                          23   certificate to your lawyers?
  24       A. Yes.                                        24       A. No, I gave it to Cyrus.
  25       Q. Who helped you?                             25       Q. Did Cyrus ask you for your birth

                                            Page 35                                                Page 37
   1      A. Cyrus.                                        1   certificate?
   2      Q. When did Cyrus help you?                      2       A. Yes, he asked.
   3      A. The same day I came here.                     3       Q. When was that?
   4      Q. The same day you came where?                  4       A. I don't remember when.
   5      A. When I was leaving Cap-Haïtien to come        5       Q. Did you give Cyrus a copy of your
   6   here.                                               6   birth certificate?
   7      Q. To come here for this deposition?             7       A. Yes, I gave him a copy and the
   8      A. Yes. Yes.                                     8   original.
   9      Q. Had you seen your passport before you         9       Q. Are there any other documents that you
  10   got on the bus to come to your deposition?         10   gave to Cyrus Sibert?
  11      A. No.                                          11       A. My voter's registration card.
  12      Q. Did anyone other than Cyrus Sibert           12       Q. Is the voter registration card
  13   help you obtain the passport?                      13   different from the national identification card?
  14      A. No.                                          14       A. It is the same.
  15      Q. Did you have to give any kinds of            15       Q. Take a look at Exhibit 3, please. Is
  16   documents or sign any papers in order to get the   16   that a voter registration card?
  17   passport?                                          17       A. Yes.
  18      A. No, I don't recall signing, ever             18       Q. Does it say on there that it's an
  19   signing anything.                                  19   electoral card?
  20      Q. Do you know how long it took for Cyrus       20       A. No. That's how we say it in Creole.
  21   Sibert to obtain this passport?                    21       Q. Did you give any other documents to
  22      A. No, no.                                      22   Cyrus Sibert?
  23      Q. Is the information on the passport           23       A. No, I don't remember giving anything
  24   accurate?                                          24   else, just that.
  25      A. Yes, it's correct.                           25       Q. Did you give any documents at all to


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   1    any of your lawyers, Mr. Joseph?                1       A. No, I don't remember this.
   2       A. Lawyers?                                  2       Q. Before you bought this phone a few
   3       Q. Correct, lawyers.                         3   months ago, did you have any other cell phones
   4       A. No.                                       4   at any time?
   5       Q. Do you have any licenses?                 5       A. No.
   6       A. No.                                       6       Q. What do you use the phone for?
   7       Q. Do you drive?                             7       A. I call people when I need them, and
   8       A. I don't drive.                            8   they call me when they need me. We talk over
   9       Q. Do you ride motorcycles?                  9   the phone.
  10       A. I don't ride. I don't know how to        10       Q. Do you call friends?
  11    ride a motorcycle.                             11       A. Yes.
  12       Q. Do you have a cell phone?                12       Q. Do you call former students of PPT?
  13       A. Yes.                                     13       A. No, I don't remember this.
  14       Q. What brand is the phone?                 14       Q. Do you send text messages with your
  15       A. I don't remember.                        15   phone?
  16       Q. Is it a Digicel phone?                   16       A. I don't know anything about that.
  17       A. Yes.                                     17       Q. Do you know what a text message is?
  18       Q. What is the number of that phone?        18       A. No, I don't know. I don't understand.
  19       A. 48703876.                                19       Q. Other than talking on the phone, do
  20       Q. 48703876, correct?                       20   you use the phone to send messages?
  21       A. Correct.                                 21       A. No.
  22       Q. How long have you had that phone?        22       Q. Does the phone have a camera?
  23       A. Just the other day.                      23       A. Yes, it has a camera, but not a big
  24       Q. Did you have a cell phone before the     24   one.
  25    phone you have now?                            25       Q. Do you use the camera?

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   1       A. No.                                       1      A. No, I don't have a memory card. It
   2       Q. When specifically did you get the cell    2   should have a memory card.
   3    phone?                                          3      Q. Have you taken any pictures with the
   4       A. I bought it.                              4   camera?
   5       Q. When?                                     5      A. No.
   6       A. Just the other day. I don't remember.     6      Q. Do you have any computers, or do you
   7       Q. Just a few days ago?                      7   use any computers?
   8       A. A few months.                             8          THE INTERPRETER: Do you want me to
   9       Q. How much did it cost?                     9   ask do you have and do you use, both?
  10       A. $150.                                    10          MR. KERRIGAN: I'll strike and
  11       Q. American dollars?                        11   rephrase. It was compound.
  12       A. Haitian.                                 12      Q. Do you have any computers, Mr. Joseph?
  13       Q. Haitian gourdes?                         13      A. I don't have it.
  14       A. Gourdes.                                 14      Q. Have you ever used a computer before?
  15       Q. Where did you get the money?             15      A. No, no.
  16       A. I worked washing cars to get it.         16      Q. Have you ever used e-mail before?
  17       Q. Did anyone give you the money to buy     17      A. E-mail, I don't understand.
  18    the phone?                                     18      Q. Do you know what e-mail is, or
  19       A. I worked.                                19   electronic mail?
  20       Q. No one gave you money to buy the         20      A. I don't know anything about this.
  21    phone?                                         21      Q. So you've never used e-mail, you have
  22          MS. POLLOCK: Asked and answered.         22   never sent an e-mail or received an e-mail?
  23       A. To buy the phone?                        23      A. No, I've never received nor sent. I
  24    BY MR. KERRIGAN:                               24   don't know anything about this.
  25       Q. Correct.                                 25      Q. Mr. Joseph, have you ever been


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   1    arrested before?                                  1       Q. In Cap-Haïtien?
   2       A. No.                                         2       A. Yes.
   3       Q. Have you ever been in trouble with the      3       Q. Where in Cap-Haïtien?
   4    police?                                           4      A. Blue Hills. Blue Hills.
   5       A. No.                                         5      Q. Was there a street address for your
   6       Q. Are you married?                            6   girlfriend's place in Blue Hills?
   7       A. No.                                         7      A. No, I don't know it.
   8       Q. Have you ever been married?                 8      Q. Who did she live with in Cap-Haïtien?
   9       A. No, I've never been married.                9       A. With her mother.
  10       Q. Do you have any children?                  10       Q. Anyone else?
  11       A. No.                                        11      A. No, no. I don't have other people.
  12       Q. Have you ever had any children?            12       Q. Did Junia go to the Village and attend
  13       A. No.                                        13   classes at the Village?
  14       Q. Have you ever had any stepchildren?        14       A. No. Inside they didn't take girls.
  15       A. It was just when I was in the Village,     15   Outside.
  16    after the Village closed I didn't get any idea   16          MS. POLLOCK: Can we take a break so I
  17    to do that.                                      17   can use the restroom?
  18       Q. Have you ever had any stepchildren?        18          MR. KERRIGAN: We can, sure.
  19       A. No.                                        19          THE VIDEOGRAPHER: Going off the
  20       Q. Do you have a girlfriend, Mr. Joseph?      20   record. The time is 10:11.
  21       A. I don't.                                   21          (Whereupon, a recess was taken.)
  22       Q. Have you ever had a girlfriend?            22          THE VIDEOGRAPHER: Back on the record.
  23       A. When I was in the Village. I told you      23   The time is 10:27.
  24    that already.                                    24   BY MR. KERRIGAN:
  25       Q. What was the name of your girlfriend       25      Q. Mr. Joseph, we're back from the break,


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   1   in the Village?                                    1   and you are still under oath. Do you understand
   2       A. She's not here. She's in Santo              2   that?
   3   Domingo. But her name was Junia.                   3      A. Yes.
   4       Q. Can you spell that for us, please?          4      Q. Have you ever heard the word SMS
   5       A. I don't know how.                           5   before?
   6       Q. Can you say the name for us again           6      A. No.
   7   slowly?                                            7      Q. Before the break we were talking about
   8       A. Junia.                                      8   your former girlfriend, Junia.
   9          THE INTERPRETER: I'm guessing it's          9      A. Yes.
  10   J-U-N-I-A.                                        10      Q. Okay. When did you and Junia
  11          MR. KERRIGAN: With that translator         11   separate?
  12   clarification, that was your comment, that's      12      A. I don't remember.
  13   fine.                                             13      Q. Did you separate while you were at the
  14       Q. Could you say it one more time for me?     14   Village?
  15       A. Junia.                                     15      A. Yes.
  16       Q. How long was Junia your girlfriend?        16      Q. Did you separate before the Village
  17       A. I don't remember.                          17   closed?
  18       Q. Was she your girlfriend the whole time     18      A. Yes, yes.
  19   you were at the Village?                          19      Q. Did Junia ever visit the Village?
  20       A. No. She left, she was in farmhouse,        20      A. No.
  21   rented house. She was a temporary rent, she       21      Q. Did you ever -- strike that.
  22   rented temporarily, and then she went to stay     22         Why did you and Junia separate?
  23   somewhere else. Then she went to Santo Domingo.   23      A. Not for anything special. She just
  24       Q. Where did she rent a place?                24   stopped talking to me.
  25       A. In the same project.                       25      Q. Your separation from Junia had nothing


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   1    to do with PPT, correct?                            1       Q. What are the names of all the people
   2       A. No.                                           2   that live in the house, please?
   3       Q. Did you separate -- strike that.              3       A. So there's Isema, last name is Isema.
   4           In this case, Mr. Joseph, you're             4   Last name Isema, I-S-M-A. First name Guerlin,
   5    claiming that Douglas Perlitz hurt you, is that     5   G-U-E-R-L-A-I-N. Then last name Isema again,
   6    correct?                                            6   first name J-E-A-N-D-L-I-N. Then third, last
   7       A. Yes.                                          7   name Isema again, and first name S-I-L-I-A-N-A.
   8       Q. Did you separate with Junia before or         8   Fourth person, last name Isema again, and first
   9    after Douglas Perlitz hurt you?                     9   name M-I-S-L-A-N-D-E. And my mother's sister,
  10       A. Before.                                      10   her name is Shirley, S-H-I-R-L-E-Y. And her
  11       Q. Have you had any other girlfriend            11   husband is Samuel. I don't remember their last
  12    apart from Junia?                                  12   names. And then there's me, too.
  13       A. No.                                          13       Q. What is the address of the house at
  14       Q. Where does Junia live now in Santo           14   Blue Hills where you live?
  15    Domingo?                                           15       A. I don't remember. There's none. I
  16       A. I don't know where she lives.                16   don't remember.
  17       Q. Now, Mr. Joseph, your father was             17       Q. How many rooms are in the house?
  18    Joseph Briac, B-R-I-A-C, is that correct?          18       A. Two bedrooms.
  19       A. Yes.                                         19       Q. Do all of your stepsisters and
  20       Q. Is he alive, or deceased?                    20   stepbrothers share a bedroom?
  21       A. He passed away.                              21       A. Yes.
  22       Q. When did he die?                             22       Q. Who sleeps in which bedrooms?
  23       A. I don't remember.                            23       A. Everybody sleeps in bedrooms. I'm the
  24       Q. How old were you when he died?               24   only one who lives in the dining room, I just
  25       A. I don't remember how old I was.              25   close it off with a curtain.


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   1        Q. Did he die before or after you were          1      Q. Is it common for many people to share
   2    involved with PPT?                                  2   a room to sleep in at the house in Blue Hills?
   3        A. After the Village closed.                    3      A. It's a project. It happens a lot.
   4        Q. When did the Village close?                  4      Q. Do people sleep in beds or on the
   5        A. About four or five months after              5   floor at the house in Blue Hills?
   6    Douglas did that to me.                             6      A. There are some who live -- who sleep
   7        Q. Did your father ever visit the               7   on the floor. Others who live -- who sleep on
   8    Village?                                            8   the bed, on beds.
   9        A. No.                                          9      Q. Do all of your stepsisters and
  10        Q. Your mother, Mr. Joseph, is Joseph          10   stepbrothers share sleeping rooms with your
  11    Milouse, M-I-L-O-U-S-E, correct?                   11   mother and your mother's sister and her husband?
  12        A. Yes.                                        12          MS. POLLOCK: Objection. Vague.
  13        Q. Is she alive today?                         13      A. Yes, they all sleep -- they all share
  14        A. Yes, she's still here.                      14   the bedroom. It's just one sister who lives
  15        Q. Where does she live?                        15   with her husband, she lives in her husband's
  16        A. Blue Hills.                                 16   home.
  17        Q. Who does she live with there?               17   BY MR. KERRIGAN:
  18        A. With her children and a little sister.      18      Q. Which sister is that?
  19        Q. Do you live with your mother?               19      A. Siliana Isema.
  20        A. Yes.                                        20      Q. How old is Guerlin, G-U-E-R-L-I-N?
  21        Q. Who lives in that house with you and        21      A. I don't remember their age.
  22    your mother? Give me their names, please.          22      Q. Older or younger than you?
  23        A. The four of us. Her children and a          23      A. I'm older.
  24    sister of hers, the husband of her sister, and a   24      Q. Is Guerlin a child or a teenager?
  25    little baby, too.                                  25      A. He's developed.


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   1        Q. How old is Jeandlin, J-E-A-N-D-L-I-N?     1       A. Yes.
   2        A. I don't remember their age.               2       Q. Now, Mr. Joseph, you had six other
   3        Q. Is she a child or -- excuse me. Is he     3   brothers and sisters who died, is that correct?
   4    a child or a teenager?                           4       A. Yes. They were with their father --
   5        A. Yes. He's a little boy.                   5   oh, stepfather.
   6        Q. How old is Siliana?                       6          (Translators talking.)
   7        A. She's a girl. She's living with her       7       A. On my father's side.
   8    husband.                                         8       Q. That would be on Joseph Briac's side
   9        Q. So she doesn't live in Blue Hills with    9   of the family?
  10    your mother, correct?                           10       A. Yes.
  11        A. Yes. She's not -- she doesn't live       11       Q. Did you know any of those siblings?
  12    there.                                          12       A. I had met them, but I was small, so I
  13        Q. Okay. How about your sister              13   didn't know really who they were.
  14    Miselande, how old is she?                      14       Q. How did they die?
  15        A. I don't know.                            15       A. There are those who died when they
  16        Q. Is she a child or a teenager?            16   were in infancy, those who died when they
  17        A. She's a child. She's not 18 yet.         17   started growing up, but none of those reached
  18        Q. Is she a teenager?                       18   15 years old of age.
  19        A. She's older than 13.                     19       Q. Did all of them die of natural causes?
  20        Q. How old is Shirley, your mother's        20       A. Disease, yes.
  21    sister?                                         21       Q. Did any of your stepbrothers or
  22        A. I don't know.                            22   stepsisters visit Project Pierre Toussaint?
  23        Q. She's older than you?                    23       A. No.
  24        A. I'm older.                               24       Q. Did any of your stepbrothers attend
  25        Q. Would Shirley be a teenager?             25   PPT, any program of PPT?

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   1       A. Yes. She has children, but she's           1       A. No.
   2    barely 18.                                       2       Q. Are there any other brothers and
   3       Q. How old is Samuel?                         3   sisters that you have that we have not talked
   4       A. I don't remember his name.                 4   about, Mr. Joseph?
   5       Q. Is he older than you?                      5       A. Just the people I mentioned are my
   6       A. Yes, a lot more.                           6   brothers and sisters, that I recognize them as
   7       Q. Does anyone else live at the house in      7   my brothers and sisters.
   8    Blue Hills with your mother?                     8       Q. Are there any others that you haven't
   9       A. Are there other people? No.                9   mentioned?
  10       Q. How long have you lived at that house     10       A. Just the ones I mentioned.
  11    with your mother?                               11       Q. Okay. Do any of your brothers or
  12       A. Me?                                       12   sisters work today, Mr. Joseph?
  13       Q. You.                                      13       A. No.
  14       A. I don't remember, but I started living    14       Q. Does your mother work?
  15    with my mother for a long time. It's been a     15       A. She's not working. She's just selling
  16    long time since I've lived with my mother.      16   secondhand clothes. That's what she does.
  17       Q. Were you living with your mother when     17       Q. Does your aunt work?
  18    you were taking classes at the Village?         18       A. No.
  19       A. Yes.                                      19       Q. Does your Uncle Samuel work?
  20       Q. And that was at the house in Blue         20       A. I don't know what line of work he
  21    Hills?                                          21   has -- does.
  22       A. Yes.                                      22       Q. He does work?
  23       Q. So you would have been living with        23       A. Yes, yes, he works, but I don't know
  24    your mother in Blue Hills at the time that      24   what he does. When he goes out, he just goes
  25    Douglas hurt you?                               25   out.


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   1       Q. Now, Mr. Joseph, you were born in          1       A. With my mother, brothers and sisters,
   2   Grande Rivière du Nord, correct?                  2   and my father-in-law.
   3       A. Yes.                                       3       Q. The same brothers and sisters and
   4       Q. The spelling for our stenographer is       4   father-in-law you've already told me about?
   5   G-R-A-N-D-E, R-I-V-I-E-R-E, D-U, N-O-R-D.         5          MS. POLLOCK: Stepfather?
   6          You left Grande Rivière du Nord in         6          THE INTERPRETER: Stepfather, I'm
   7   1999, is that correct?                            7   sorry.
   8       A. '99?                                       8       A. Yes, the same.
   9       Q. Yes.                                       9   BY MR. KERRIGAN:
  10       A. I don't remember.                         10       Q. When you were 12 years old you moved
  11       Q. In your answers to questions it says      11   to Blue Hills with your mother, is that correct?
  12   in 1999 you left Grande Rivière du Nord. Is      12          THE INTERPRETER: When you were?
  13   that correct?                                    13          MR. KERRIGAN: 12 years old.
  14       A. I don't remember. I don't remember.       14       A. Yes.
  15          MR. KERRIGAN: Jo Ann, I'm looking at      15   BY MR. KERRIGAN:
  16   Number 2 in the answer.                          16       Q. Who else lived with you at Blue Hills?
  17          MS. POLLOCK: Thank you.                   17       A. Just these people, with my stepfather.
  18   BY MR. KERRIGAN:                                 18   He hadn't left my mother yet.
  19       Q. After leaving Grande Rivière du Nord,     19       Q. What is your stepfather's name?
  20   you went to live in Cap-Haïtien in an area       20       A. Jean Batiel Isema. Last name Isema,
  21   called Fort St. Michel, is that correct?         21   first name J-E-A-N, second word B-A-T-I-E-L.
  22       A. Yes.                                      22       Q. Then, Mr. Joseph, you moved to
  23       Q. What street is Fort St. Michel --         23   Charrier, C-H-A-R-R-I-E-R, in Cap-Haïtien?
  24   strike that.                                     24       A. Yes.
  25          On what street did you live when you      25       Q. And when you moved there, it was

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   1   were in Fort St. Michel?                          1   around the time you began at Rue 13 at PPT,
   2       A. A place called Nan Saline. There's a       2   correct?
   3   lot of seawater.                                  3       A. No, after the Village closed.
   4       Q. Can you spell that street for us,          4       Q. You moved to Charrier after the
   5   please?                                           5   Village closed?
   6       A. It could be written as such, but I'm       6       A. Yes.
   7   not sure.                                         7       Q. Was there any time before you even
   8       Q. Okay. Do your best.                        8   went to the Village that you lived at Charrier
   9          THE INTERPRETER: So N-A-N, second          9   in Cap-Haïtien?
  10   word S-A-L-I-N-E.                                10       A. What?
  11          MS. POLLOCK: For the record, that was     11       Q. Before you started at the Village, was
  12   the interpreter's spelling, correct?             12   there any time that you lived at Charrier,
  13          THE INTERPRETER: Mm-hmm.                  13   Cap-Haïtien?
  14          MS. POLLOCK: Not the witness's.           14       A. After the Village closed, because of
  15          MR. KERRIGAN: Thank you.                  15   my uncle, after the earthquake he came to live
  16   BY MR. KERRIGAN:                                 16   here, and I went to stay with him.
  17       Q. Mr. Joseph, did you live on Rue du        17       Q. That's your Uncle Pierre Wilner,
  18   Peuple, R-U-E D-U P-E-U-P-L-E when you were in   18   W-I-L-N-E-R?
  19   Cap-Haïtien?                                     19       A. Yes.
  20       A. Yes. It's Nan Saline, that area           20       Q. What does your Uncle Pierre do for a
  21   that's called Rue du Peuple.                     21   living?
  22       Q. How long did you live there?              22       A. He works for PNH, which is the
  23       A. I don't remember.                         23   National Police.
  24       Q. Who did you live with when you first      24       Q. What is his role or title or position
  25   moved to Cap-Haïtien?                            25   with the police?


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   1      A. I can't tell you exactly, but just           1   Feuille, I went to stay there with my uncle.
   2   what I saw is that he doesn't wear a uniform.      2      Q. When you were living in
   3      Q. Does not?                                    3   Port-au-Prince, was it always with your uncle?
   4         THE INTERPRETER: He does not wear a          4      A. Yes.
   5   uniform.                                           5      Q. Did anyone else live with you and your
   6      Q. Does he wear a suit to work?                 6   uncle in Port-au-Prince?
   7      A. No. No, he doesn't.                          7      A. In the house?
   8      Q. Does he carry a gun?                         8      Q. Yes.
   9      A. I don't know. I've never seen a              9      A. Yes, his wife and his children.
  10   weapon.                                           10      Q. What is his wife's name?
  11      Q. You believe he's a policeman and not a      11      A. Her name is Esther, but I don't
  12   clerk or an administrative person?                12   remember her last name.
  13      A. He works in office, an office. And          13      Q. And what are the children's names?
  14   his card has PNH on it, but he doesn't wear a     14      A. Pierre Estaphanie.
  15   uniform.                                          15      Q. Anyone else?
  16      Q. Your Uncle Pierre's nickname is Nènè,       16      A. Pierre Wilnadji. So he has two
  17   N-E-N-E?                                          17   children, last name Pierre, P I-E-R R E, first
  18      A. Nènè.                                       18   name Willny, W-I-L-L-N-Y. Second child, last
  19         THE INTERPRETER: But an accent on the       19   name Pierre, first name Estephanie,
  20   upper left, lower right both times.               20   E-S-T-E-P-H-A-N-I-E. He has a child he had
  21      Q. How long did you live at Charrier in        21   prior to these two called, last name Pierre
  22   Cap-Haïtien after the Village closed?             22   again, and first name Wilnadji, W-I-L-N-A-D-J-I.
  23      A. I don't remember.                           23   And he just had a baby, I don't know the name of
  24      Q. From Charrier you moved to                  24   the baby yet.
  25   Port-au-Prince, is that correct?                  25      Q. When was it that you moved from


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   1      A. My uncle had gone first when I went          1   Port-au-Prince back to Blue Hills with your
   2   back to Blue Hills. When he got there he had       2   mother where you live now?
   3   someone send for me, and he sent me some money,    3       A. I remember it was in January I left
   4   and I went there. That's how.                      4   Port-au-Prince, and I went back to Blue Hills.
   5      Q. Is your Uncle Pierre your mother's           5       Q. In January of 2015?
   6   brother?                                           6       A. Yes, January, 2015.
   7      A. Yes, my mother's brother.                    7       Q. And you've lived with your mother,
   8      Q. It says in your answers to questions,        8   brothers, and sisters in Blue Hills since
   9   Mr. Joseph, that you moved to Port-au-Prince in    9   January, 2015?
  10   2013. Is that correct?                            10       A. Yes, up to now.
  11      A. I don't remember, but that could be         11       Q. So you've always had a place to live,
  12   true.                                             12   whether it be in Cap-Haïtien or Port-au-Prince,
  13      Q. What is the address where you live          13   all your life, isn't that correct, Mr. Joseph?
  14   today -- excuse me, strike that.                  14       A. Port-au-Prince or Cap-Haïtien?
  15         What is the address where you lived in      15       Q. Or Cap-Haïtien or Port-au-Prince.
  16   Port-au-Prince?                                   16       A. Yes. When I was in Port-au-Prince I
  17      A. In a place called Carrefour Feuille.        17   live at my uncle's, and when I'm in Cap-Haïtien
  18   So Carrefour is C-A-R-R-E-F-O-U-R, Feuille,       18   I live with my mother.
  19   F-E-U-I-L-L-E. In an open market called Mache     19       Q. So you always have place to stay,
  20   Tinèl. M-A-C-H-E, second word T-I-N-E-L, with     20   correct?
  21   on the E an accent upper left, lower right.       21       A. Well, in Port-au-Prince it's a rented
  22      Q. What is Delmas 32, D-E-L-M-A-S?             22   house, after a certain date where you have to
  23      A. It's an area.                               23   give it up. It's not a stable home.
  24      Q. An area of Port-au-Prince?                  24          But in Cap-Haïtien it is a stable
  25      A. Yes. After when I left Carrefour            25   home. It's my mother's house. It's in a


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   1    project.                                            1      Q. What school did you go to in
   2       Q. Is it correct, Mr. Joseph, that all           2   Cap-Haïtien?
   3    your life you've had someplace to stay, to live?    3      A. Rue 13, Carenage, in the Center in
   4       A. Yes.                                          4   relation -- related to the Village.
   5       Q. Have you ever been to school,                 5      Q. When you say Rue 13, Carenage, and the
   6    Mr. Joseph?                                         6   Village, are those all part of a bigger program?
   7       A. Yes, I went to school.                        7      A. The Village.
   8       Q. I want you to think back to the first         8      Q. When did you start going to Rue 13?
   9    time you ever went to school, and tell me when      9      A. I don't remember.
  10    that was.                                          10      Q. How old were you?
  11       A. When I was in Grande Rivière with my         11      A. I don't recall my age.
  12    father.                                            12      Q. Were you a child, or a teenager?
  13       Q. Where did you go to school there?            13      A. No, I wasn't a teenager. I was a
  14       A. Innovator.                                   14   child.
  15       Q. What is that?                                15      Q. Does Rue 13 have anything to do with
  16       A. The name of the school.                      16   PPT?
  17       Q. Was that a public school?                    17      A. Yes.
  18       A. I don't remember.                            18      Q. How is Rue 13 related to PPT?
  19       Q. How long were you?                           19      A. You have to go through there first
  20       A. I was a small child in kindergarten.         20   before you go to the Village.
  21       Q. Did the Innovator school have anything       21      Q. Why did you go to Rue 13?
  22    to do with Project Pierre Toussaint?               22      A. Why?
  23       A. No.                                          23      Q. Why.
  24       Q. What did you do at the Innovator             24      A. To eat, because I would stay all the
  25    school?                                            25   time in the streets, and to eat, and I wanted to


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   1       A. I just went to school.                        1   learn how to write my name. I couldn't write my
   2       Q. What did you do when you went to              2   name yet.
   3    school?                                             3       Q. Around that time when you started
   4       A. What I used to do?                            4   Rue 13, were you hanging out on the streets?
   5       Q. Yes.                                          5       A. Yes. Sometimes I slept in the street,
   6       A. Ate, I worked. I worked, I worked at          6   sometimes I slept at home.
   7    school.                                             7       Q. Did you sleep at home more than you
   8       Q. Did you play at school?                       8   slept in the street?
   9       A. Yes. I was a child.                           9       A. I used to sleep in the streets more.
  10       Q. How long were you at the Innovator           10       Q. If you had wanted to go home to sleep
  11    school?                                            11   at that time, were you free to go home to sleep?
  12       A. I don't remember.                            12       A. Yeah, I could.
  13       Q. Was the Innovator school free?               13       Q. You chose to sleep out in the streets,
  14       A. No, it wasn't free.                          14   correct?
  15       Q. Who paid for the school?                     15       A. Yeah, I was -- because in the streets
  16       A. My father. He hadn't passed away yet.        16   sometimes I felt better because I ate, and I
  17       Q. How long were you at the Innovator           17   washed cars.
  18    school, Mr. Joseph?                                18       Q. How did you hear about Rue 13,
  19       A. I don't remember.                            19   Mr. Joseph?
  20       Q. Did you stop going to the Innovator          20       A. It was a friend of mine, a friend I
  21    school at some point?                              21   had, a child like myself, he was washing cars,
  22       A. Yes.                                         22   but he was talking about Rue 13, Rue 13, so I
  23       Q. Did you go to another school after the       23   went with him. And when I got there they gave
  24    Innovator school?                                  24   me food, they gave me things to wear, and they
  25       A. Yes. I went to Cap-Haïtien.                  25   taught me how to write my name. That's why I


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   1   continued going to Rue 13.                         1      Q. How many other children were attending
   2       Q. Were those all good things that you         2   Rue 13 when you were there?
   3   got from Rue 13?                                   3      A. I can't count. There were a lot of
   4       A. Yeah, I ate.                                4   them, many.
   5       Q. What else did you get from Rue 13           5      Q. More than ten?
   6   besides clothes and food?                          6      A. A lot.
   7       A. And I played ball, and I found school       7      Q. More than 20?
   8   where they showed me how to write.                 8      A. I don't remember, but a lot of
   9       Q. What was the average day at Rue 13          9   children.
  10   like, Mr. Joseph? What did you do?                10      Q. Were there any teachers or instructors
  11       A. During the day?                            11   at Rue 13?
  12       Q. Let's start in the morning when you        12      A. Yeah, there were several teachers.
  13   arrived. Tell us what time you would arrive       13      Q. What were the names of some of the
  14   usually, and then what you would do throughout    14   other children who you met at Rue 13,
  15   the whole day.                                    15   Mr. Joseph?
  16       A. Sometimes I would get there, I would       16      A. I don't remember, but it's been such a
  17   arrive at 9:00 a.m. because I would walk to       17   long time since we've seen each other, I don't
  18   there. When I would get there we would watch      18   really remember. But if I saw them, I would
  19   TV, we would play games. And at 2:00 p.m. we      19   recognize them, and I would tell you I recognize
  20   had school. At 5:00 p.m. we left and we went      20   him and him.
  21   back to the streets, while those who had houses   21      Q. Can you remember the name or nickname
  22   went back home, and those who stayed in the       22   of anybody you met at Rue 13?
  23   streets went back to the streets. That's how we   23      A. Yes.
  24   did.                                              24      Q. Tell me the names of anyone you
  25       Q. In the morning would you get clothes       25   remember.


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   1    to put on?                                        1      A. James Marthe.
   2        A. No, not easy -- not often.                 2      Q. Can we spell that, please?
   3        Q. Would you have a place to bathe or         3      A. Another boy called Tidou, Emmanuel,
   4    take a shower?                                    4   Peter, Simon, St. Mark. And then I don't
   5        A. Yes, shower.                               5   remember the rest.
   6        Q. Did you get breakfast at Rue 13?           6      Q. Mr. Joseph, who Emmanuel be Emmanuel
   7        A. Yes.                                       7   Clervil?
   8        Q. Did you have a place to play at            8      A. Yes.
   9    Rue 13?                                           9      Q. Have you spoken to Emmanuel Clervil
  10        A. Yes.                                      10   recently?
  11        Q. Did you have a locker at Rue 13?          11      A. I haven't spoken to him at all since
  12        A. No.                                       12   the Village closed.
  13        Q. Did you get lunch at Rue 13?              13      Q. And that would have been what year,
  14        A. Yes.                                      14   Mr. Joseph?
  15        Q. And you said already you got some         15      A. Since we were inside the Village. I
  16    writing classes?                                 16   don't remember which year.
  17        A. Yes.                                      17      Q. Have you spoken to Tidou, Peter,
  18        Q. Were there any other classes?             18   Simon, or St. Mark at any time after you left
  19        A. Yes, there were other classes.            19   Rue 13?
  20        Q. What were the other classes?              20      A. The Village, or Rue 13?
  21        A. It got all the way to fifth year.         21      Q. Rue 13.
  22        Q. Did you get to make friends at Rue 13?    22      A. After I left Rue 13 I spoke to all of
  23        A. All the children, all of them, we were    23   these guys. But after I left the Village, then
  24    in the same place, so that's -- we were all      24   with none of them.
  25    friends. That's why I can say I had friends.     25      Q. Did Tidou, Peter, Simon, St. Mark, and


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   1    Emmanuel attend the Village with you?              1   Rue 13?
   2       A. Just James Marthe and Simon. The             2      A. He would turn on the television for
   3    other ones were already in there.                  3   us. But I don't know what else he would do. He
   4       Q. Have you spoken to any of these people       4   was always with us. I don't know what role he
   5    after the Village closed?                          5   played really.
   6       A. No.                                          6      Q. How about Madame Calixte, what did you
   7       Q. Have you spoken to any of those men          7   see her do?
   8    about your case?                                   8      A. Madame Calixte, in the morning when
   9       A. I haven't spoken to them at all since        9   we'd come in, there was a special spot where she
  10    the Village closed.                               10   would sit, and she would give us coffee and
  11       Q. Did you speak to any of those               11   bread, because that's what they gave us in the
  12    individuals about how Doug hurt you?              12   morning.
  13       A. I could never say something like that.      13      Q. What else would Madame Calixte do?
  14    I would be afraid for them to call me names.      14      A. That's all she did. I don't know
  15       Q. What kind of names?                         15   about anything else.
  16       A. They would say Douglas is rough, and        16      Q. What about Madame Margarita, what did
  17    Douglas is a fag.                                 17   you see her do?
  18       Q. And they would call you names?              18      A. She was doing -- giving class. That's
  19       A. No, because they didn't know what had       19   what she did exactly.
  20    happened to me. When this thing happened, I       20      Q. Which classes?
  21    didn't tell anyone about this, just to my         21      A. First year.
  22    lawyers.                                          22      Q. What did she teach?
  23       Q. Getting back to Rue 13, Mr. Joseph,         23      A. Write, she taught us to write, and to
  24    what were the names of all the teachers and       24   count.
  25    staff that you can remember who worked at         25      Q. Is this Margarita Joseph?


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   1   Rue 13.                                             1      A. I don't know her last name.
   2      A. I can tell you some of them, not all.         2      Q. Okay. And how about White, the
   3      Q. Tell me all the ones you remember,            3   security guard?
   4   please.                                             4      A. He was like a security guard, he was
   5      A. It was Andy, the white guy, he was the        5   providing security. When we would fight, he
   6   boss. There was Master Romere, Madame Calixte,      6   would separate us.
   7   Madame Margarita, Andy. There was a security        7      Q. Did he search you when you came to
   8   guard, we call him White, he used to separate us    8   Rue 13 in the morning?
   9   when we started fighting. There was a -- there      9      A. Yes.
  10   was one who used to cook the food, prepare the     10      Q. When you went to Rue 13, did you give
  11   food, her name was Roknise, but she passed away.   11   your real name to the teachers and the staff
  12   And there's another one who used to prepare the    12   there?
  13   food for us, she has a terrible nickname, I        13      A. Just not -- just not Brismac. They
  14   don't know if that's her real name, but her name   14   just knew me as Brisma.
  15   is Grimèl. And I don't know the rest.              15      Q. Your nickname?
  16      Q. What did Andy do as the boss at Rue          16      A. They've always called me Brisma.
  17   13?                                                17      Q. Did you receive any kind of documents
  18      A. I don't know what his exact position         18   or papers from anyone at Rue 13?
  19   was. He was always in his office.                  19      A. I don't remember that.
  20      Q. You called him the boss earlier of           20      Q. Did you ever see Douglas Perlitz at
  21   Rue 13, correct?                                   21   Rue 13?
  22      A. Yeah. He was managing everything,            22      A. Yeah, he used to come visit us.
  23   everything. They would tell you, "go see Andy      23      Q. How often?
  24   about it."                                         24      A. I don't remember.
  25      Q. What did you see Master Romere do at         25      Q. How often did you go to Rue 13?


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   1       A. Many times. I don't remember.               1   thing I knew was I was just checking to get food
   2       Q. Would you go there every day of the         2   and to stay there enough to be able to be sent
   3    week?                                             3   to the Village. That's all I know.
   4       A. Yes, every day. I was just hoping for       4        Q. And you were at Rue 13 for two years,
   5    them to send me to the Village.                   5   is that correct?
   6       Q. Did you do well at Rue 13?                  6        A. Yes.
   7       A. What kind of performance?                   7        Q. What grades did you complete at
   8       Q. All-around; in school, in getting           8   Rue 13?
   9    along with others?                                9        A. When I entered, I went to first year,
  10       A. Yeah, just kids like myself who would      10   and then they sent me to second year, and it was
  11    give -- hit me a lot.                            11   the same lady that was doing both.
  12       Q. Why?                                       12       Q. Did you enjoy your time at Rue 13,
  13       A. Not anything in particular. Just when      13   Mr. Joseph?
  14    he wants to be invincible, then he pulls your    14       A. Yeah, because that's where I found a
  15    ears and then you give him -- you hit him, and   15   little bit of food, and they showed me how to
  16    then you start fighting.                         16   write, so I liked it. I was happy.
  17       Q. Did you do well at Rue 13?                 17       Q. It was a good place to go, wasn't it?
  18           MS. POLLOCK: Objection. Vague.            18        A. Yes.
  19    Asked and answered.                              19       Q. Did you receive any religious
  20       A. Just the thing I just mentioned, the       20   instruction at Rue 13?
  21    kids liked to fight a lot. But yes.              21        A. No, they didn't show me this.
  22    BY MR. KERRIGAN:                                 22        Q. When you were at Rue 13, Mr. Joseph,
  23       Q. Were you ever thrown out of Rue 13?        23   did you at any time have any fear that Douglas
  24       A. What do you mean kicked out?               24   would harm you?
  25       Q. Were you ever told to leave Rue 13 for     25        A. When I was in Rue 13?


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   1   bad behavior?                                      1       Q. Correct.
   2        A. No. They might punish us.                  2       A. I wasn't afraid yet, because I didn't
   3        Q. Did you ever see any other white           3   know who he was. Andy was our boss. It's when
   4   visitors at Rue 13 aside from Douglas?             4   I got to the Village that he became the boss.
   5        A. Yeah, they came, but not often.            5       Q. And you had no reason to be afraid
   6        Q. Who did you see for white visitors at      6   when you were at Rue 13 that Douglas would harm
   7   Rue 13?                                            7   you, is that correct?
   8        A. I don't remember. I don't remember.        8       A. No, because I didn't know anything
   9        Q. Can you name anybody who visited           9   about him. As far as we knew, he was a visitor
  10   Rue 13 who was white?                             10   in Rue 13. I didn't know anything about him.
  11        A. No, I don't remember.                     11       Q. And you had no suspicions when you
  12        Q. When Douglas visited Rue 13, what         12   were at Rue 13 that Douglas would ever harm you,
  13   would he do?                                      13   is that correct?
  14        A. I don't know. We just saw him, that's     14       A. I didn't know who he was. I didn't
  15   all.                                              15   know anything about him.
  16           MS. POLLOCK: We've been going about       16       Q. Thank you.
  17   an hour. Can we take a break?                     17          MR. KERRIGAN: Jo Anna has asked for a
  18           MR. KERRIGAN: Sure, let me just --        18   break, so we'll take a break.
  19   I'll just finish with this.                       19          THE VIDEOGRAPHER: Going off the
  20           MS. POLLOCK: Sure.                        20   record. The time is 11:37.
  21   BY MR. KERRIGAN:                                  21          (Whereupon, a recess was taken.)
  22        Q. Mr. Joseph, what did you understand       22          THE VIDEOGRAPHER: Back on the record.
  23   Douglas's job was when you were at Rue 13?        23   The time is 12:01.
  24        A. I don't know. I was small. I didn't       24          MR. KERRIGAN: I'm going to make an
  25   have -- my mind wasn't so developed. The only     25   administrative note before we continue with the


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   1    questioning. This is something that counsel        1      A. Yes, it was too late.
   2    discussed during a break, and it's the             2      Q. Mr. Joseph, at some point you left Rue
   3    following.                                         3   13, correct?
   4           We're putting spellings of the names        4      A. Yes.
   5    on the record, obviously because these are not     5      Q. When was that?
   6    native to names a lot of us, and we find that      6      A. I don't remember.
   7    it's much easier both in reviewing and having a    7      Q. Why did you leave Rue 13?
   8    transcription made that we spell these names.      8      A. They took out the center, they sent it
   9    All of the spellings that have been made so far    9   to Carenage. The same center on Rue 13, they
  10    and all of the future spellings we're going to    10   sent it to Carenage. I was in there.
  11    agree are the translator's spellings as opposed   11      Q. What is Carenage?
  12    to the witness's spellings or my own spellings.   12      A. A center.
  13           Is that agreed, Jo Anna?                   13      Q. Did Rue 13 become Carenage?
  14           MS. POLLOCK: Yes.                          14      A. Yes, the same program.
  15           MR. KERRIGAN: Nathalie, you're okay        15      Q. Where was Carenage located?
  16    with that?                                        16      A. Almost next -- almost close to the
  17           THE INTERPRETER: Yes.                      17   square.
  18           MR. KERRIGAN: Great.                       18      Q. Which square?
  19    BY MR. KERRIGAN:                                  19      A. Carenage Portail Rouge.
  20        Q. Mr. Joseph, we are back on the record      20          THE INTERPRETER: It's an area,
  21    and you're still under oath. Do you understand    21   P-O-R-T-A-I-L, next word R-O-U-G-E.
  22    that?                                             22      Q. When you went to Carenage, how old
  23        A. Okay. Yes.                                 23   were you?
  24        Q. Before the break, Mr. Joseph, you had      24      A. I don't remember how old I was.
  25    indicated that when you were attending Rue 13,    25      Q. Did the same students and children at

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   1   you often times lived on the street, correct?       1   Rue 13 go over with you to Carenage?
   2       A. Yes, I was living in the streets, and        2      A. The same program, exactly the same.
   3   when I wanted I would go home.                      3      Q. Was it the same children as well?
   4       Q. You also indicated, Mr. Joseph, that         4      A. Yes.
   5   you sometimes chose to sleep overnight in the       5      Q. Was it the same staff as well?
   6   streets, is that correct?                           6      A. Same thing. Same thing. Just Andy,
   7       A. Yes. Yes.                                    7   he had already left Rue 13. We just had a new
   8       Q. Now, when you say you slept in the           8   white person called Nicholas who came to replace
   9   streets, Mr. Joseph, do you mean that you           9   Andy.
  10   actually slept on the street itself, or            10      Q. Did Nicholas replace Andy at Rue 13?
  11   someplace else?                                    11      A. Uh-uh. Andy was at Rue 13.
  12       A. I would sleep on people's -- like a         12      Q. Did Nick take over for Andy at
  13   gallery, people's galleries where they sell        13   Carenage?
  14   things or where they prepare food, where they      14      A. Is it him?
  15   sell. Sometimes I had a little job, and when I     15      Q. I'm sorry. Did Nicholas take over for
  16   finished doing it I wouldn't be able to go back    16   Andy at Carenage?
  17   home, so I slept under tin roofs or on the         17      A. Yes.
  18   floor, on the street on the gallery. This is to    18      Q. Did Andy ever work at Carenage?
  19   say I didn't sleep inside a house.                 19      A. No.
  20       Q. Okay. So it was outside?                    20      Q. Were there any other white people who
  21       A. Yes, outside.                               21   worked or volunteered at Carenage?
  22       Q. Now, when you say sometimes you would       22      A. No, I don't remember seeing any other
  23   finish a job late and couldn't go home, does       23   white person, just Nicholas.
  24   that mean it was too late at night for you to go   24      Q. Was there ever a white person named
  25   all the way back to Blue Hills?                    25   Brittany or Jessica at Carenage?


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   1       A. No, I don't remember that.                 1      A. Who?
   2       Q. Do you know the names Brittany or          2      Q. Nicholas.
   3   Jessica?                                          3      A. Yes.
   4       A. No.                                        4      Q. When you were at Carenage, Mr. Joseph,
   5       Q. When you were at Carenage, Mr. Joseph,     5   did you ever see any white visitors come to
   6   what did you do for activities there?             6   Carenage?
   7       A. Same activity I said earlier.              7      A. Yes, that happened, but not often.
   8       Q. Same activities as you performed at        8      Q. Who did you see for white visitors at
   9   Rue 13?                                           9   Carenage?
  10       A. Uh-huh. And they continued.               10      A. I don't know their names.
  11       Q. How long did you stay at Carenage?        11      Q. Were they men, or women, or children?
  12       A. I don't remember. I don't remember.       12      A. They were girls, and sometimes little
  13       Q. Mr. Joseph, I'm looking at your           13   white people, and men, too.
  14   answers to questions, I'm looking at Number 5,   14      Q. Did you recognize any of the white
  15   and you indicate that you went to Carenage and   15   people who visited?
  16   attended first and second grades. Is that        16      A. No.
  17   correct?                                         17      Q. Did anyone else visit Carenage other
  18       A. First and second year?                    18   than white people every now and again?
  19       Q. First and second year.                    19      A. Just the children's parents who would
  20       A. Yes.                                      20   come to visit, because sometimes they would have
  21       Q. That's correct?                           21   meetings. But besides that, no one else came.
  22       A. Yes.                                      22      Q. How often would you attend Carenage
  23       Q. You spent two years at Carenage?          23   when you were there, Mr. Joseph?
  24       A. I don't remember.                         24      A. Can you repeat the question, please?
  25       Q. But you attended first and second         25      Q. Sure.


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   1   grade at Carenage, correct?                       1          How often did you go to Carenage when
   2       A. Yes, I spent there.                        2   you were there? How many days of the week?
   3       Q. Spent what there?                          3       A. Well, I can't identify this, but
   4       A. I don't remember.                          4   sometimes I go the entire week, sometimes I
   5       Q. When you were at Carenage, Mr. Joseph,     5   don't.
   6   did you ever see Douglas there?                   6       Q. Would you say you would go the entire
   7       A. No, he wouldn't come often.                7   week more often than not?
   8       Q. How often would he come?                   8       A. I missed a few days in a week. That
   9       A. I don't remember. Just a few times.        9   happened.
  10       Q. When Douglas came to Carenage, what       10       Q. Were you a regular student at
  11   would you see him doing?                         11   Carenage?
  12       A. I don't remember things like that.        12          THE INTERPRETER: Can you rephrase the
  13       Q. When you were at Carenage, did you        13   question, please?
  14   have any idea of what Douglas's role was at      14          MR. KERRIGAN: Sure.
  15   Carenage, his job?                               15       Q. Were you regularly at Carenage?
  16       A. No, I didn't know anything.               16       A. What do you mean "regularly"?
  17       Q. What was Nicholas's job at Carenage?      17       Q. Most every day?
  18       A. Nicholas, oh, I thought you were          18       A. Yes, almost every day.
  19   talking about Douglas.                           19       Q. Were you ever ejected from Carenage,
  20       Q. No, I was. I'm now switching over to      20   or told to leave Carenage?
  21   Nicholas.                                        21       A. No, they never did that, unless you
  22       A. Yes. He replaced Andy's job, and          22   had bad behavior and they would punish you and
  23   everything he would say we would have to do.     23   say "go home and come back tomorrow."
  24       Q. Was Nick the manager or the boss of       24       Q. Were you punished at any time at
  25   Carenage when you were there?                    25   Carenage?


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   1        A. Well, I wasn't much trouble, so this        1       Q. How old were you?
   2    didn't happen often.                               2       A. I don't remember my age.
   3        Q. Did you enjoy your time at Carenage,        3       Q. Why did you leave Carenage?
   4    Mr. Joseph?                                        4       A. I don't know who did this, if it was
   5        A. Yes, not bad.                               5   Nicholas or Douglas, but they sent us to school
   6        Q. It was a good program?                      6   outside. I don't -- everybody who had reached
   7        A. Yes.                                        7   an average grade, they were sent to the Village.
   8        Q. You had food there. You had --              8       Q. Where were you sent?
   9        A. Yes.                                        9       A. In which school?
  10        Q. You had friends there?                     10       Q. Yes.
  11        A. Yes, all the kids.                         11       A. When I left Carenage and which school
  12        Q. You had good schooling there?              12   did they send me?
  13        A. Yes.                                       13       Q. Yes.
  14        Q. You had the chance to play ball there?     14       A. A school called Mèbèrge.
  15        A. Yeah, basket -- basketball.                15          THE INTERPRETER: Capital M-E, upper
  16        Q. Basketball.                                16   left lower right, B-E, upper left lower right,
  17           And you had nice people who were           17   G-E.
  18    working there to help you, correct?               18       A. Afternoon school, an afternoon school.
  19        A. Yes.                                       19       Q. Was that located on Rue 2?
  20        Q. At any time while you were at              20       A. Yes, of course.
  21    Carenage, Mr. Joseph, were you afraid that        21       Q. How long did you attend school at
  22    Douglas would hurt you in any way?                22   Mèbèrge?
  23        A. I didn't know anything about him.          23       A. One year. I spent one year there.
  24    It's when you know someone that you can be        24       Q. Would that have been third grade?
  25    afraid of them. I didn't know him.                25       A. Yes, third grade.


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   1        Q. So you had no fear that Douglas would       1      Q. Did that school have any connection
   2    hurt you while you were at Carenage?               2   with PPT?
   3        A. No, I didn't know him.                      3      A. I can't say yes for sure. Well, I
   4        Q. And you had no reason to suspect that       4   don't know, but I saw the white people, I saw
   5    Douglas would hurt you while you were at           5   Douglas who came to visit us inside the school,
   6    Carenage, correct?                                 6   and I saw Nicholas who came inside.
   7        A. No.                                         7      Q. How many times did Douglas visit
   8        Q. Did you have to pay any money to            8   Mèbèrge?
   9    attend Carenage?                                   9          THE INTERPRETER: I'm sorry, Douglas
  10        A. What money? Is it for the school? Is       10   you said?
  11    it for the administration, like a child goes to   11          MR. KERRIGAN: Douglas.
  12    school and they tell you it's $100 for the        12      A. I don't remember how often.
  13    entire year, something like that?                 13      Q. Did Douglas work there, or visit
  14        Q. Something like that. Did you or your       14   there?
  15    family ever pay any money for your time at        15      A. No, they sent us to that school, but
  16    Carenage?                                         16   Douglas was already inside the Village.
  17        A. No.                                        17      Q. When you saw Douglas at Mèbèrge, was
  18        Q. Did you or your family ever pay any        18   he working there, or was he visiting there?
  19    money for your time at Rue 13?                    19      A. He came to visit us because we were
  20        A. No.                                        20   part of the Village, both Rue 13 and Carenage.
  21        Q. At some point you left Carenage,           21   We had to go through there to go to the Village.
  22    correct?                                          22      Q. How about Nicholas, you saw Nicholas
  23        A. Yes.                                       23   at Mèbèrge?
  24        Q. When did you leave?                        24      A. Yes.
  25        A. I don't remember. I don't remember.        25      Q. How many times did you see Nicholas at


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   1   Mèbèrge?                                            1   off record now for our lunch break.
   2       A. I don't remember.                            2          MS. POLLOCK: For an hour?
   3       Q. When you saw Nicholas at Mèbèrge, was        3          MR. KERRIGAN: For an hour.
   4   he working there, or visiting there?                4          THE VIDEOGRAPHER: Going off the
   5       A. He wasn't working there.                     5   record. The time is 12:30.
   6       Q. He was visiting there?                       6          (Whereupon, a luncheon recess was
   7       A. He came to see us, yes.                      7          taken.)
   8       Q. Were there any other staffers or             8
   9   teachers at PPT who came to visit you at            9
  10   Mèbèrge?                                           10
  11       A. No.                                         11
  12       Q. Were there any white people who came        12
  13   to see you at Mèbèrge?                             13
  14       A. No, I didn't see other people.              14
  15       Q. White people, correct?                      15
  16       A. No.                                         16
  17       Q. You saw no white people at Mèbèrge          17
  18   other than Nicholas and Douglas, correct?          18
  19       A. Yes.                                        19
  20       Q. Who were your teachers at Mèbèrge?          20
  21       A. I don't remember their names -- her         21
  22   name, but it was a lady.                           22
  23       Q. What did you study?                         23
  24       A. Math, French, Creole, and history --        24
  25       Q. You were there for one year, correct?       25


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   1       A. -- and other subjects.                       1        AFTERNOON SESSION
   2          Yes.                                         2
   3       Q. When did you leave Mèbèrge?                  3         THE VIDEOGRAPHER: Back on the record.
   4       A. After, I don't really remember, after.       4   The time is 1:40.
   5   I don't remember who got the report card, it was    5   BY MR. KERRIGAN:
   6   either Douglas or Nicholas, to check if we got      6      Q. Mr. Joseph, we are back from our
   7   an average grade, then we were sent to the          7   break, and you are still under oath. Do you
   8   Village. It wasn't right away after the school      8   understand that?
   9   started, it took a little while, a little while.    9      A. Yes.
  10       Q. After you left Mèbèrge, did you go to       10      Q. Mr. Joseph, did you have the
  11   another school?                                    11   opportunity to eat lunch?
  12       A. Yes.                                        12      A. Yes.
  13       Q. Where did you go from there?                13      Q. Did you sit with anyone?
  14       A. At the Village.                             14      A. I was alone.
  15       Q. Is the Village part of PPT?                 15      Q. Did you speak with anyone during
  16       A. Yes, PPT itself.                            16   lunch?
  17          MS. POLLOCK: It's 12:30, and I don't        17      A. After that a friend came. He didn't
  18   know if you want to -- you probably don't have     18   ask me questions, I didn't ask him questions.
  19   time to go into everything on the Village, but     19      Q. Who was the friend who came?
  20   just use your judgment.                            20      A. He's at the hotel also.
  21          MR. KERRIGAN: Does the group have a         21      Q. What's his name?
  22   sense of whether we want to break for lunch?       22      A. I don't remember his name.
  23   Why don't we go ahead and do that then.            23      Q. Did you talk about the case?
  24          MS. POLLOCK: Break now?                     24      A. No.
  25          MR. KERRIGAN: New subject. We'll go         25      Q. Did you eat lunch with him?


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   1       A. I ate by myself. I didn't eat with           1   you repeated third grade. Is that correct, that
   2    him.                                               2   you repeated third grade?
   3       Q. And you met him after you ate lunch?         3       A. At the Village?
   4       A. No.                                          4       Q. Yes.
   5       Q. When did you meet him?                       5       A. I did the third class in the Village.
   6       A. I didn't meet him after that.                6       Q. How many years in total did you spend
   7       Q. Did you speak to anyone other than           7   at the Village?
   8    your lawyers on the break?                         8       A. I don't remember. I don't remember
   9       A. For the time now?                            9   that at all.
  10       Q. For the break we just had, did you          10       Q. You stayed at the Village until it
  11    speak to anyone other than your lawyers?          11   closed, is that correct?
  12       A. No, I didn't talk to anyone.                12       A. Yes.
  13       Q. Where did you eat lunch?                    13       Q. When did the Village close?
  14       A. Down there.                                 14       A. I don't remember.
  15       Q. Did you go to the buffet?                   15       Q. I'm going to tell you, Mr. Joseph,
  16       A. Yes.                                        16   that the Village closed in the summer of 2008.
  17       Q. And you sat by yourself?                    17   Will you accept that?
  18       A. Yes.                                        18       A. I don't know. I can't accept it.
  19       Q. Nobody joined you at any time?              19       Q. Did the Village close in the summer
  20       A. No.                                         20   months?
  21       Q. And nobody talked about the case with       21       A. I don't know. I don't remember when
  22    you?                                              22   it closed. I don't recall this.
  23       A. No.                                         23       Q. And one last time, Mr. Joseph, do you
  24       Q. Thank you.                                  24   recall what grades or what classes you attended
  25          Mr. Joseph, you went to the Village at      25   while you were at the Village? Was it first

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   1   some point, is that correct?                        1   grade, second grade, third grade, or something
   2      A. I don't understand.                           2   else?
   3      Q. After you went to Mèbèrge, you went to        3       A. I already had changed and went to the
   4   the Village, is that correct?                       4   fourth. The Village had closed.
   5      A. When I left the Village -- the school         5       Q. While you were at the Village, though,
   6   of Mèbèrge?                                         6   did you attend the first grade, second grade,
   7      Q. Correct.                                      7   third grade, or something else?
   8      A. Yes.                                          8       A. I don't understand that question.
   9      Q. What year did you start going to the          9       Q. Do you know what grades you attended
  10   Village?                                           10   when you were at the Village?
  11      A. I don't remember that.                       11       A. I remember, but when the Village
  12      Q. How old were you when you started            12   closed, I can't tell you directly which class I
  13   going to the Village?                              13   was.
  14      A. I don't remember the age, my age.            14       Q. Okay. When you were at the Village,
  15      Q. When you started at the Village, what        15   Mr. Joseph, did you live at the Village at any
  16   grade did you start?                               16   time?
  17      A. Second year.                                 17       A. To sleep there you mean?
  18      Q. Is that also called second grade?            18       Q. Yes.
  19      A. Yes, first, second class.                    19       A. No, I didn't sleep. I arrived there
  20      Q. And when you started at the Village,         20   at 5.
  21   you started the second grade, correct?             21       Q. You never slept over at the Village?
  22      A. Yes. They made me repeat.                    22       A. Once, I only slept once because there
  23      Q. In your answers to questions,                23   was a party at the Village, and then they put us
  24   Mr. Joseph, I'm looking at answer Number 5, you    24   out at midnight so we could go home.
  25   indicate that you were sent to the Village where   25       Q. Where did you sleep that night?


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   1        A. I went home.                               1         A. Yes, as long as I wasn't sick I would
   2        Q. So you never slept at the Village?         2   go.
   3        A. No.                                        3      Q. Mr. Joseph, what were some of the
   4        Q. You never slept there, correct?            4   classes that you took at the Village? What did
   5        A. No.                                        5   you study?
   6        Q. I just want to make sure we're clear       6      A. When I entered for the first time at
   7    on it. Is it correct to say that you never        7   the Village?
   8    slept at the Village?                             8      Q. Yes.
   9        A. No, I never slept at the Village.          9      A. Yes. And other subjects, for example
  10        Q. Thank you.                                10   the book has number two on it, second year, the
  11           You were living in Blue Hills at the      11   Joy of Reading.
  12    time you attended the Village?                   12      Q. Did you take any other classes at any
  13        A. Yes.                                      13   time while you were at the Village?
  14        Q. At what time in the morning would you     14      A. Yes, I remember I was doing third
  15    arrive at the Village, typically?                15   class.
  16        A. They told us 8:00 o'clock.                16      Q. And what did you study in third class?
  17        Q. Who is "they"?                            17      A. Math, French, Creole, and other books,
  18        A. That's the time when the school opened    18   I don't remember. And music with Master Mémé.
  19    so everybody from the outside could get in.      19      Q. Did you study anything else while you
  20        Q. And on the average day, Mr. Joseph,       20   were at the Village at any time?
  21    when would you leave the Village at the end of   21      A. To learn other things?
  22    the day?                                         22      Q. Yes.
  23        A. You mean I arrive at 7, 8:00 in the       23      A. Woodwork.
  24    morning, and what time I leave?                  24      Q. Carpentry?
  25        Q. That's what I'm asking.                   25      A. Yes.


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   1       A. 5, 6:00 o'clock, around that time.          1      Q. Did you study anything else at the
   2       Q. What would you do when you were at the      2   Village?
   3   Village? What types of activities, what types      3      A. No.
   4   of classes?                                        4      Q. Who were your -- strike that.
   5       A. What class I had?                           5         Did you play sports at the Village?
   6       Q. Yes. Tell me all the things you would       6      A. What sports? Ball, basketball?
   7   do at the Village.                                 7      Q. Any sports.
   8       A. I went to school, I played ball, I          8      A. Yes. I played ball, and I played
   9   played basketball. We used to watch movies. We     9   basketball in there.
  10   had some programs, some programs between us on    10      Q. Did you play soccer?
  11   the weekend. On Saturdays we did the cinema.      11      A. Yes.
  12       Q. How many days of the week would you        12      Q. Did you play anything else?
  13   attend the Village?                               13      A. Yes. Basketball, I played basketball,
  14       A. When I didn't have anything else to        14   too.
  15   do, I would always go. I don't remember how       15      Q. Did you receive any clothing from the
  16   many days.                                        16   Village?
  17       Q. Would you go to the Village Monday,        17      A. Yes. I remember they gave me a
  18   Tuesday, Wednesday, Thursday, Friday?             18   T-shirt with "Fairfield" on it.
  19       A. Except for Sundays.                        19      Q. Who gave you that?
  20       Q. So you'd go to the Village on              20      A. Madame Carter. It's Madame Carter who
  21   Saturday, too?                                    21   brought that for us, but she didn't want -- she
  22       A. Yes.                                       22   wasn't the one who gave it to me, there were
  23       Q. Did you go to the Village that many        23   people helping her. But she was there when they
  24   days during the week right up until the Village   24   were distributing it.
  25   closed?                                           25      Q. Who gave it to you?


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   1       A. I don't remember. It was a teacher.          1      A. When they came, they didn't stay, but
   2       Q. Was that some kind of a gift?                2   from those who came and stayed, I saw Sylvester,
   3       A. Yes, because she gave it to me. If           3   Brittany, and Jessica.
   4   somebody gives you something and you didn't have    4      Q. What is Sylvester's last name?
   5   it before, then it's a gift.                        5      A. I don't know that.
   6       Q. It was a gift from the teacher?              6      Q. What is Brittany's last name?
   7       A. It wasn't him directly. It's Madame          7      A. I don't know for any of them.
   8   Carter who came with it.                            8      Q. You don't know Jessica's last name?
   9       Q. Apart from the T-shirt, did you get          9      A. No.
  10   any other clothing from the Village?               10      Q. Did any other white people stay at the
  11       A. Yes, they did. Shorts, and every            11   Village or PPT while you were at the Village,
  12   December they give us tennis shoes.                12   apart from Sylvester, Brittany, and Jessica?
  13       Q. Any other clothing?                         13      A. Stay or visit?
  14       A. No, I don't remember they gave us --        14      Q. Stay.
  15   they gave me other clothing.                       15      A. No. No, I didn't see that.
  16       Q. When you say they gave us clothing, do      16      Q. Did you ever see Doug at the Village,
  17   you mean the other students at PPT?                17   Douglas?
  18       A. Yeah, all of us inside PPT, not to me       18      A. Oh, well, he was the boss.
  19   only, all of us in there.                          19      Q. What do you mean when you say "he was
  20       Q. Who were your teachers or instructors       20   the boss"?
  21   at the Village?                                    21      A. Because he was always looking for the
  22       A. I have Master Tchouway, and Mémé,           22   Village, he would always be looking for people
  23   Patrice, Master Daniel, and Madame Nelta.          23   to help him, and he's the one I knew best before
  24       Q. Any other teachers?                         24   any other people there.
  25       A. Master Claudino. I don't remember any       25      Q. When did you first meet Douglas at the


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   1   more.                                               1   Village?
   2          MR. KERRIGAN: For the record, I'm            2       A. When did I meet him?
   3   looking at answer to Interrogatory No. 6 for        3       Q. Yes.
   4   some spellings. Patrice, P-A-T-R-I-C-E, Mémé,       4       A. When I got to the Village, he's the
   5   M-E-M-E, Nelta, N-E-L-T-A, and that's as far as     5   one who had me registered.
   6   I can get us.                                       6       Q. And how often would you see Douglas
   7          THE INTERPRETER: C-L-A-U-D-I-N-O.            7   when you were at the Village?
   8   Master Tchouway, T-C-H-O-U-W-A-Y.                   8       A. I don't remember, but it's often,
   9      Q. Thank you, Mr. Joseph.                        9   because it's inside that he --
  10          What did Patrice teach you?                 10       Q. That he what?
  11      A. History.                                     11       A. What? What do you mean?
  12      Q. What did Mémé teach you?                     12       Q. When Douglas was at the Village, what
  13      A. Music.                                       13   did you see him doing?
  14      Q. What did Daniel teach you?                   14       A. Maybe he did things I didn't know
  15      A. French.                                      15   about, but he always made us understand that he
  16      Q. What did Nelta teach you?                    16   was our father inside the Village.
  17      A. French language.                             17       Q. Did Douglas tell you that he was your
  18      Q. What did Claudino teach you?                 18   father inside the Village?
  19      A. Math.                                        19       A. Well, it was him, everything we --
  20      Q. What did Tchouway teach you?                 20   whenever we had a problem inside, we went to see
  21      A. Creole.                                      21   him. He would organize everything inside. And
  22      Q. Did you ever see any white people at         22   it was only him that we really knew, and we were
  23   the Village while you were there?                  23   more at ease with him.
  24      A. Yes, often.                                  24       Q. When you say "we," who do you mean?
  25      Q. Who did you see?                             25       A. All, everyone inside the Village, all


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   1    the children.                                      1       Q. You only remember Carter and Carrier
   2       Q. Did Douglas set the rules for the            2   among the visitors?
   3    Village?                                           3       A. Yeah. I remember Father Paul and
   4       A. I can't tell you if it was him.              4   Madame Carter, but I don't remember. There
   5       Q. Did Douglas hire people and fire             5   might have been others, I just don't remember.
   6    people at the Village?                             6       Q. Why do you remember Father Carrier and
   7       A. How do you mean "fire"?                      7   Ms. Carter and nobody else?
   8       Q. Terminate, throw out.                        8       A. The other people didn't come often.
   9       A. Are you talking about the children           9   They would just make -- come for one visit and
  10    inside the Village, or people working there?      10   leave. But Father Paul and Madame Carter, they
  11       Q. People working there.                       11   gave us advice, they came to talk to us, and
  12       A. I can't tell you, because while I was       12   they prayed with us.
  13    there I never saw anybody being fired.            13       Q. Did anyone else come down to pray with
  14       Q. Was it Douglas who let people into the      14   you or to offer you advice or to spend time at
  15    Village and sent them away from the Village?      15   the Village besides Father Carrier and
  16    And it's the students I'm talking about this      16   Ms. Carter?
  17    time.                                             17       A. White people, or Haitians?
  18       A. Yes, he used to do that.                    18       Q. White people.
  19       Q. Were you ever thrown out of the             19       A. I don't remember any more. Sylvester
  20    Village by Douglas?                               20   used to pray with us in the chapel.
  21       A. No.                                         21       Q. How many times did you see Mrs. Carter
  22       Q. Did you ever see any white people           22   at the Village?
  23    visit the Village, Mr. Joseph? Visitors.          23       A. I don't remember how often.
  24       A. Right, right. Yes.                          24       Q. Was it five times?
  25       Q. Who did you see?                            25       A. I don't remember how many times at


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   1      A. I only remember about the people I            1   all, at all.
   2   told you about, Jessica, Silvester, and             2       Q. So it could have been one time that
   3   Brittany. I don't remember the names of the         3   you saw Ms. Carter at the Village?
   4   other people, but they used to come.                4       A. It's more, but I don't remember. It
   5      Q. Okay. Do you remember any other white         5   could have been twice or more.
   6   people who visited the Village at any time other    6       Q. When you saw Ms. Carter at the
   7   than Brittany, Jessica, and Sylvester?              7   Village, what was she doing?
   8          MS. POLLOCK: And Madame Carter?              8       A. She plays with the children, and in
   9      A. Yes, like Father Paul, Madame Carter          9   case there's a meeting we all regroup in the
  10   who was the big boss of the Village. I remember    10   chapel, and there we pray together and she gives
  11   these people, those people who didn't stay.        11   us advice. If there are gifts, she gives us the
  12   BY MR. KERRIGAN:                                   12   gifts.
  13      Q. Who else did you see visiting the            13       Q. Did you ever speak directly with
  14   Village for white people apart from Carrier and    14   Ms. Carter?
  15   Carter?                                            15       A. Sometimes I would have liked to talk
  16      A. I don't remember any more.                   16   to her, but I don't speak English and she speaks
  17      Q. You only remember Carter and Carrier?        17   English. I speak Creole.
  18      A. And then Jessica, Sylvester, and             18       Q. So you never spoke directly with
  19   Brittany.                                          19   Ms. Carter, correct?
  20      Q. Okay. Let's leave Sylvester, Jessica,        20       A. No, I never spoke to her.
  21   and Brittany off to the side for now. And I'm      21       Q. Why do you say she gave you advice?
  22   asking you who you saw for white people who were   22       A. She gave us advice so we would finish
  23   just visitors to the Village other than Carrier    23   school. If we learned really well, we finished
  24   and Carter.                                        24   school, she would send us to Fairfield
  25      A. I don't remember any more.                   25   University if we finished school. She would


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   1   always give us strength.                            1   project at the Village, was she?
   2       Q. She would send whom to Fairfield             2      A. Well, I can't know that for sure, but
   3   University?                                         3   I don't know all the bosses at the Village. The
   4       A. The children inside the Village. As          4   ones that I knew were Madame Carter and Father
   5   long as you finish school, you were intelligent,    5   Paul, those are the ones that I knew better.
   6   she had access, she had the power to make -- for    6      Q. Why would you call Madame Carter a
   7   that to happen.                                     7   boss of the Village?
   8       Q. For what to happen?                          8      A. All she did was come and give some
   9       A. She had access to Fairfield                  9   gifts and encouragement. Sometimes when they
  10   University.                                        10   come, there's some steps that they're doing,
  11       Q. To get students into Fairfield              11   that Douglas -- he's always looking for things,
  12   University?                                        12   and they participate in those activities.
  13       A. Yes, if you finished school.                13   Douglas always said that Madame Carter and
  14       Q. Who told you that Carter had access to      14   Father Paul used to help him to bring the
  15   get students into Fairfield University?            15   Village forward.
  16       A. She said that with her own mouth.           16       Q. Is that the only reason why you
  17       Q. Did you hear her say that?                  17   believe that Carter was a boss?
  18       A. Well, she didn't say it directly. But       18      A. Yes, because Douglas is always talking
  19   it was Robinson, and when Robinson wasn't there,   19   about her, he says she's always standing with
  20   then it was Douglas. That's what she said with     20   him in everything that's going on in the
  21   her own mouth. Well, she didn't say it with her    21   Village.
  22   own mouth, it's what people said that she had      22      Q. Did Douglas say anything else about
  23   said, because they would translate for her.        23   Ms. Carter?
  24       Q. When Ms. Carter -- strike that.             24      A. I don't remember.
  25          When you heard Ms. Carter speak, was        25      Q. Have you told us everything you


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   1   it always when you were with a group of PPT         1   remember about what Ms. Carter said at any time?
   2   students?                                           2      A. What do you mean?
   3       A. Yes, in the chapel we always --              3      Q. Do you remember anything else that
   4       Q. You always what?                             4   Ms. Carter said at any time?
   5       A. We were always regrouped in the              5      A. No, just advice so that we can
   6   chapel.                                             6   progress in school, that we behave well so that
   7       Q. When you say "we," you mean students         7   we can go far.
   8   at the Village?                                     8      Q. Is there anything else at all that
   9       A. When I say "we," it's all the children       9   Ms. Carter said to the group of students at the
  10   at PPT, and also the teachers and Douglas.         10   Village at any time?
  11   Well, Douglas was always there.                    11      A. No, I don't remember anything else.
  12       Q. Did you ever hear anyone say that           12      Q. Mr. Joseph, have you ever given money
  13   Ms. Carter was a donor, someone who gives money    13   to anybody as a gift?
  14   to help others?                                    14      A. Did they?
  15       A. No, I didn't hear that.                     15      Q. No, you. I'm asking you. At any time
  16       Q. Was Ms. Carter a nice woman?                16   have you ever given somebody money as a gift?
  17       A. She's nice when she's talking. She's        17      A. Yeah, my little brother, I've already
  18   always making all these gestures, and she's        18   gave him a dollar or two gourdes, what I have.
  19   always laughing.                                   19      Q. And you do that out of kindness, isn't
  20       Q. And when Ms. Carter spoke to the group      20   that right?
  21   of students at the Village, she was giving you     21      A. Yeah, it's my little brother.
  22   encouragement and encouraging you to drive to do   22      Q. That doesn't make you the big boss of
  23   great things, is that correct?                     23   your little brother, does it?
  24       A. Yes.                                        24      A. No. Well, I help him out, I stand
  25       Q. She was not the big boss of the             25   with him in solidarity. I bring him to school,


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   1    I help him there, so I can say that I'm his         1      Q. Does Father Carrier speak Creole?
   2    boss. I bring him to school, I help him with        2      A. No, he doesn't speak Creole.
   3    school, I give him food, and I do things for        3      Q. What language does he speak?
   4    him, activities, steps if my mother -- should my    4      A. I don't remember what language he
   5    mother pass away, then I would be the one in        5   speaks. Probably English or something.
   6    charge of him.                                      6      Q. How many times did you hear Father
   7       Q. To you, Mr. Joseph, if you help               7   Carrier speak to students in the chapel?
   8    someone like you help your brother, does that       8      A. Several times. I don't remember how
   9    make you the boss of your brother?                  9   often, but several.
  10       A. Yes, because I'm helping him.                10      Q. Do you remember when?
  11       Q. Let's talk about Father Carrier. How         11      A. No.
  12    often did you see Father Carrier at the Village?   12          THE INTERPRETER: Could we have a
  13       A. I don't remember how many times.             13   break, please?
  14       Q. Was it one time?                             14          MR. KERRIGAN: We can. We'll go off
  15       A. I don't remember how many times.             15   the record.
  16       Q. Do you remember, was it five times?          16          THE VIDEOGRAPHER: Going off the
  17       A. I said that I didn't remember how            17   record. The time is 2:32.
  18    often.                                             18          (Whereupon, a recess was taken.)
  19       Q. So you can't tell us how often Father        19          THE VIDEOGRAPHER: Back on the record.
  20    Paul visited the Village, correct?                 20   The time is 2:49.
  21       A. No, I can't tell you that indeed. I          21   BY MR. KERRIGAN:
  22    can't tell you this is how many times he came.     22      Q. Mr. Joseph, we're back after a break,
  23       Q. When you saw Father Carrier at the           23   and you are still under oath. Do you
  24    Village, what did you see him doing?               24   understand?
  25       A. He would come, but further he would          25      A. Yes.


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   1   play with the children, he would play with us,       1      Q. When you heard Father Carrier speak
   2   if he had advice to give us he would, like that.     2   through a translator, what did Father Carrier
   3       Q. Would Father Carrier do anything else         3   say?
   4   other than play with the children and give some      4      A. I don't remember everything, but he
   5   advice?                                              5   always said hello to us, asked how we were
   6       A. He prays with us, and when he leaves          6   doing, gave us advice. He would talk to us, and
   7   Haiti he gives some money to Douglas so he can       7   show us how to pray.
   8   give us. But I never got any of that money.          8      Q. Father Carrier is a priest, correct?
   9   That's what children say, but I don't know if        9      A. Yes, he's a Father, he's a priest.
  10   it's true.                                          10      Q. What religion does he belong to?
  11       Q. You never saw Father Carrier give any        11      A. Catholic.
  12   money to Douglas, correct?                          12      Q. What religion do you belong to?
  13       A. I don't know anything about that.            13      A. Catholic.
  14       Q. Would Father Carrier do anything else        14      Q. Is it usual for a priest to show other
  15   other than play with the kids, give some advice,    15   Catholics how to pray?
  16   and pray?                                           16      A. Yes, if he knows more than you, he can
  17       A. I don't remember other things.               17   show you.
  18       Q. Did you ever speak directly with             18      Q. That's what priests do, right?
  19   Father Carrier?                                     19      A. Well, I don't know what they do, but
  20       A. No.                                          20   Father Paul, that's what he did with us. So I
  21       Q. Did you ever hear Father Carrier             21   don't know exactly what they do.
  22   speak?                                              22      Q. What advice did Father Paul give to
  23       A. Yes, he sometimes talks in the chapel,       23   the group of students through a translator?
  24   and sometimes Robinson and Douglas translate for    24      A. He, same as with Madame Carter, he
  25   him.                                                25   would say -- tell us to continue school, to be


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   1   strong, not to engage in disorderly conduct, and    1   place, just like Father Carrier and Hope Carter,
   2   not to fight among each other, with one another.    2   correct?
   3       Q. Did Father Carrier say anything else         3      A. It was the best for me, because that's
   4   to the group of student through a translator at     4   where everything I found there, I found a
   5   any time?                                           5   school, I found food, even a toothbrush, that's
   6       A. I don't remember.                            6   what I found. I didn't have any other place.
   7       Q. Have you told us everything that you         7      Q. And did you do what you could,
   8   remember that you ever heard Father Carrier say     8   Mr. Joseph, to improve the Village when you were
   9   through a translator?                               9   there and make it a better place?
  10       A. Did I what?                                 10      A. What do you mean I did everything I
  11       Q. Do you remember anything else that          11   could?
  12   Father Carrier said to the students at the         12      Q. You behaved yourself, you went to
  13   Village at any time?                               13   class?
  14       A. I don't remember other things.              14      A. Yes, I behaved well. I never behaved
  15       Q. Why did you call Father Carrier the         15   such a way to get a red card. I didn't get red
  16   boss earlier today?                                16   cards in the Village.
  17       A. It's Douglas who told us. He would          17      Q. Did Father Carrier ever give anything
  18   always talk about Father Paul and Madame Carter,   18   to you directly?
  19   so we believed him because he's the one we knew,   19      A. With his own hands?
  20   so the one you know is the one you believe.        20      Q. With his own hands.
  21       Q. What did Douglas tell you about Father      21      A. No, no.
  22   Carrier?                                           22      Q. Did you ever get anything from Father
  23       A. He would say the same thing about           23   Carrier from someone else's hands?
  24   Father Paul and Madame Carter, he would say he's   24      A. I don't remember this.
  25   one of the -- he's someone who is helping him to   25      Q. Did you get any gifts from Hope


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   1   support the Village.                                1   Carter, directly from her hands?
   2      Q. What did Doug say -- strike that.             2       A. No. Whenever they do something for
   3         How did Father Carrier help the               3   us, they go through the Village. They don't do
   4   Village, according to Douglas?                      4   things directly.
   5      A. He didn't tell us exactly this is how         5       Q. Did you ever get anything from Hope
   6   Father Paul is helping the Village.                 6   Carter through someone else's hands?
   7      Q. What did Douglas tell you exactly             7       A. Yeah, the T-shirt, the Fairfield
   8   about Father Carrier?                               8   T-shirt. It was a teacher who gave me mine, but
   9      A. He didn't say anything, just Father is        9   he gave also to the other children. But she was
  10   always someone who is always trying to help him    10   there, she was there when they were distributing
  11   improve the Village, make the Village advance,     11   it.
  12   progress.                                          12       Q. Was there anything else other than the
  13      Q. Did Douglas say anything else about          13   T-shirt that you believe came from Mrs. Carter?
  14   Father Carrier?                                    14       A. I don't know about anything else. I
  15      A. I don't remember any other thing he          15   don't remember.
  16   said.                                              16       Q. Did you believe Douglas when he told
  17      Q. And you as a student of the Village,         17   the group of students that Father Carrier and
  18   Mr. Joseph, you were always trying to improve      18   Ms. Carter helped to support the project?
  19   the Village, too, weren't you?                     19       A. Yeah, he always talks about them
  20      A. What do you mean?                            20   saying good things.
  21      Q. I mean that you were trying to make          21       Q. And you believed Douglas?
  22   the Village a better place while you were there,   22       A. Yeah, everything he said, that's what
  23   correct?                                           23   we believed.
  24      A. For me it was the best.                      24       Q. Do you believe Douglas was an honest
  25      Q. And you tried to make it a better            25   man when he ran the Village?


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   1      A. When he was administrating the                1   and Nicholas.
   2   Village?                                            2      Q. How many students from PPT were there?
   3      Q. Correct.                                      3      A. I don't really remember.
   4      A. There are things -- I can say there           4      Q. Was it in the day, or the night?
   5   are things that he did, he's not a good person.     5      A. Afternoon, 2:00 p.m..
   6      Q. Is he an honest person?                       6      Q. Was this meeting held before or after
   7      A. Well, he would always give things, if         7   Douglas left PPT forever?
   8   you went to seek him he would always -- he would    8      A. After the Village closed.
   9   give you things. But after he did that to me, I     9      Q. Have you ever been to Bel Air at
  10   didn't think of him as a good person at all.       10   night?
  11   For me he was our father in there, in the          11      A. Just the time when I went to Bel Air
  12   Village. After that, I didn't think he was a       12   for the meeting.
  13   good person at all.                                13      Q. And that was an afternoon meeting,
  14      Q. Today do you believe that Douglas was        14   correct?
  15   an honest person back when he ran the Village?     15      A. Yes.
  16          MS. POLLOCK: Objection. Vague.              16      Q. Have you ever been to Bel Air at
  17   Asked and answered.                                17   night?
  18      A. What do you mean "honest"?                   18      A. No.
  19   BY MR. KERRIGAN:                                   19      Q. Do you know the name Met Robinson?
  20      Q. Tell the truth. Someone who tells the        20      A. Yes.
  21   truth is honest. Do you believe that Douglas       21      Q. Who is Met Robinson?
  22   told the truth when he was running the Village     22      A. He was inside the Village with us.
  23   when you were there?                               23      Q. What was his job in the Village?
  24      A. There are things I'm not able to tell        24      A. He's the one in charge of the
  25   you if he always told the truth. I don't know.     25   cashier's money, when we work for money and they


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   1        Q. You don't know whether Douglas told         1   give us 50 gourdes per week.
   2    the truth or not when he was running the           2      Q. Did you work for money?
   3    Village, correct?                                  3      A. Yes.
   4        A. I don't know anything about that.           4      Q. What did you do for money?
   5        Q. Have you ever visited a house called        5      A. I used to prepare the ground, sweep
   6    Bel Air?                                           6   tables, sweep the floor, and pick up the trash.
   7        A. Yes, but it had already closed.             7      Q. Did you do these chores all the time
   8        Q. You visited Bel Air once after the          8   while you were at the Village?
   9    Village had closed, is that correct?               9      A. Yeah, every week there was a group of
  10        A. Yes, yes.                                  10   people. It wasn't always the same people every
  11        Q. Was there anyone there?                    11   week.
  12        A. Yes, there were people.                    12      Q. Do you know -- oh, did Met Robinson
  13        Q. Who was there?                             13   have any other jobs other than handling the
  14        A. Nicholas, and Jessica, Brittany, and       14   cash?
  15    all the children of the Village, they invited     15      A. I don't remember what other things he
  16    for the meeting.                                  16   used to do directly, besides what I told you.
  17        Q. What meeting?                              17      Q. Do you know the name Margarette
  18        A. Nicholas was giving us strength, he        18   Joseph?
  19    said "don't take paint thinners, don't fight."    19      A. I know her, but I didn't know her last
  20        Q. Was there anything else said at the        20   name.
  21    meeting?                                          21      Q. Have you ever spoken to Margarette
  22        A. I don't remember other things.             22   Joseph?
  23        Q. Who else was at the meeting at             23      A. Yes, I used to speak with her when I
  24    Bel Air?                                          24   was in Rue 13 and Carenage, 13th Street and
  25        A. Brittany and Jessica, I remember them,     25   Carenage.


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   1       Q. Did Margarette Joseph have any job at         1       Q. Correct.
   2   the Village while you were there?                    2       A. Yes.
   3       A. No, I didn't see her working. And she         3       Q. And you were there almost every day of
   4   didn't come often at the Village.                    4   the week for many years, correct?
   5       Q. Have you ever spoken to Margarette            5       A. At this Village?
   6   Joseph about your case against Douglas?              6       Q. Correct.
   7       A. I never saw her -- since the trial            7       A. Yes.
   8   started, I never met her.                            8       Q. Now, you claim in your case that
   9       Q. Have you spoken to Margarette at any          9   Douglas hurt you, is that correct?
  10   time about how Douglas harmed you?                  10       A. Yes.
  11          THE INTERPRETER: How Douglas --              11       Q. Now I'm going to ask you, Mr. Joseph,
  12          MR. KERRIGAN: Harmed you.                    12   to tell us all in your own words what happened
  13       A. No.                                          13   to you, how it happened. And take a minute to
  14       Q. Mr. Joseph, at any time while you were       14   think about it, and you want to give us all the
  15   at the Village before Douglas hurt you, did you     15   details that you can remember. Okay? And when
  16   have any reason to fear Douglas?                    16   you're done, you tell us.
  17       A. No.                                          17       A. Okay.
  18       Q. Before Douglas hurt you, you never had       18       Q. Just give Nathalie a chance to
  19   any suspicions that Douglas would hurt you, is      19   translate for you, okay?
  20   that correct?                                       20       A. Okay.
  21       A. No, I never had doubts.                      21       Q. When you're ready, you go ahead.
  22       Q. If you had had any fear or concerns          22       A. I'm not ready yet.
  23   about Douglas hurting you, you would have been      23       Q. Take your time.
  24   able to tell that to somebody at the Village, is    24       A. I'm ready.
  25   that correct?                                       25       Q. Why don't you start with your day


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   1        A. If I knew this would happen, I would         1   before you encountered Douglas. Tell us when
   2    not have set a foot there.                          2   you arrived, where you arrived, what you were
   3        Q. And if you had any concerns about            3   doing. Tell us everything that led up to the
   4    Douglas, you could have raised them, or spoken      4   harm. Give the translator a chance now, and
   5    to the teachers at the Village about it, is that    5   she'll tell us.
   6    correct?                                            6      A. When school had started, it was around
   7        A. What would I tell the teacher?               7   8:30. I went in, in the room, in the class.
   8        Q. If you had any fear about Douglas.           8   When recess came, the bell rang, and we all went
   9           MS. POLLOCK: Before or after the             9   to play basketball with my friends. I was
  10    meeting?                                           10   playing and I fell, and I was bleeding. And all
  11           MR. KERRIGAN: Before.                       11   the kid were saying, "Brisma, you're hurt, take
  12        A. If I had doubts about him?                  12   off your pants so that your pants won't be
  13    BY MR. KERRIGAN:                                   13   soiled." And they said "go get bandage, go to
  14        Q. Correct.                                    14   the office."
  15        A. I don't understand about doubts.            15      Q. What happened next?
  16        Q. If you any fear of Douglas before he        16           MS. POLLOCK: For the record, you've
  17    abused you, would you have been able to tell       17   asked him to stop, right?
  18    someone at the Village about your fear?            18           MR. KERRIGAN: I've asked him to give
  19        A. I would not have been scared of him,        19   Nathalie a chance.
  20    because only after he did that to me, I would      20           MS. POLLOCK: I understand, just so it
  21    not have known that.                               21   don't look like he's just stopping.
  22        Q. Before Douglas hurt you, Mr. Joseph,        22      A. So what really happened, so I started
  23    you thought that the Village was a good, safe      23   walking towards the office, administration.
  24    place for you, is that correct?                    24   Douglas was there. He helped me. I wiped my
  25        A. Before he did that to me?                   25   leg. While I was just standing there, he made


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   1   me bend over the desk, and he was blind force on    1   Mike. I don't know where you're going with this
   2   me. And I was fighting back, but he's stronger      2   line of questioning, but you're clearly
   3   than I am, I lost my strength.                      3   approaching -- you've already entered the
   4   BY MR. KERRIGAN:                                    4   attorney/client privilege.
   5       Q. What happened next?                          5          MR. KERRIGAN: That's why I emphasized
   6       A. I didn't want. I didn't want. But he         6   the when.
   7   applied all his strength, and I lost my             7          MS. POLLOCK: That really gets into
   8   strength. He pulled down my shorts, and then he     8   what he told us, right?
   9   put his penis in my butt. I didn't say              9          MR. KERRIGAN: The question is just
  10   anything. I couldn't say anything, he would        10   when, though.
  11   have thrown me out. That's how it happened.        11          MS. POLLOCK: Well, you're very close.
  12          As I was leaving, I met a teacher,          12       A. I don't remember. I went to see
  13   met.                                               13   Cyrus. He was the first one I went to.
  14       Q. What happened next?                         14   BY MR. KERRIGAN:
  15       A. I stumbled upon this master, this           15       Q. Was Cyrus Sibert the first person you
  16   professor, while I was coming out of the office,   16   told about Douglas hurting you?
  17   but Douglas had already put a bandage and taken    17       A. Yes, first person.
  18   care of my leg. And I stumbled upon Mémé, and      18       Q. When did you first tell Cyrus Sibert
  19   said "Brisma, what are you doing here?" I          19   that Doug had hurt you?
  20   didn't answer. He said "Don't ever come here       20       A. I went to the Carenage Square just to
  21   when there's no one here."                         21   wash some cars and get a little bit of money to
  22          School had started again. I was -- I        22   get food. I saw -- some of my friends were
  23   had to go back in class.                           23   sitting there on the square, so I said "hi," and
  24       Q. What happened next?                         24   they said "hi," and I said "what's going on?"
  25       A. I went to class.                            25   And they said, "oh, this is something that has


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   1       Q. Did you finish your day at the               1   to do with the kids at the Village." And so I
   2   Village?                                            2   said "okay, I'm going to come sit and listen."
   3       A. Yes, I stayed, but I spent a bad day         3      Q. Is that when you went to go see Cyrus
   4   that day.                                           4   Sibert?
   5       Q. Did you stay until the end of the day        5       A. Yes, that's when I saw Cyrus.
   6   at 5 or 6:00 o'clock like usual?                    6       Q. When was that?
   7       A. Yes.                                         7       A. At the same time.
   8       Q. Did you tell anybody about the harm          8       Q. What year was it?
   9   that day?                                           9       A. I don't remember, but it wasn't a long
  10       A. No, I didn't have enough strength to        10   time. Two or three years.
  11   say that. I didn't say that to anybody else.       11      Q. Two or three years after Douglas hurt
  12   They could have called me Douglas's woman,         12   you?
  13   girlfriend, that I'm a fag. And if he had known    13       A. No, after I went to Cyrus.
  14   about it, he would have thrown me out.             14      Q. When did you go to see Cyrus the first
  15       Q. Who would have thrown you out?              15   time?
  16       A. Douglas.                                    16       A. Once when I was in the back, I was at
  17       Q. Since the day you were hurt by              17   the Carenage, I was looking to work and to wash
  18   Douglas, Mr. Joseph, have you told anybody that    18   cars, then I saw my friends, and I saw them, I
  19   he hurt you?                                       19   said "hello." And I recognized them because
  20       A. No. Besides my lawyers, I never told        20   they were like me in the Village, and we started
  21   anyone else because I don't have any strength --   21   talking. And I said "what's up, guys? What's
  22   enough strength to tell other people about it.     22   going on?" And he said "this is something
  23       Q. When did you first tell your lawyers        23   that's being done for -- that is in relation
  24   that Douglas hurt you? When?                       24   with the Village, that concerns the Village."
  25          MS. POLLOCK: I'm going to object,           25   Since I was a child of the Village, I sat down


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   1    to hear. And one after the other they went to      1   like your friends suggested before going into
   2    Cyrus, so I said "I'm going to Cyrus to explain    2   the office?
   3    to him."                                           3       A. When I thought I had -- there was sand
   4        Q. How long after Douglas hurt you did         4   sticking on my pants, so I took it off. It was
   5    you meet your friends at Carenage Square for       5   large pants, and I had shorts under on me. So I
   6    this meeting? I just want to know when.            6   went to care for the wound, for care for the
   7        A. I don't remember this.                      7   wound to the office. When I got there, I had
   8        Q. Mr. Joseph, I'm going to ask you some       8   blood on my leg. And I found Douglas there. He
   9    questions about the day when Douglas hurt you,     9   presented like he was going to help me, he was
  10    okay?                                             10   going to help me and take care of my wound. But
  11        A. Okay.                                      11   I had already wiped some blood from my leg.
  12        Q. Was that the only time that Douglas        12       Q. Did you take your pants off outside
  13    ever hurt you or abused you?                      13   before going into the office?
  14        A. Yes, just once.                            14       A. The big pants I had on, I had taken it
  15        Q. Did anyone else other than Douglas         15   already off near the basketball field.
  16    Perlitz ever sexually hurt you or abuse you?      16       Q. Was there anybody else in Douglas's
  17        A. No.                                        17   office when you went in there?
  18        Q. When you were playing ball with your       18       A. No, just him.
  19    friends, what were the names of your friends      19       Q. Was there anyone else in the building
  20    that morning?                                     20   when you went into Douglas's office?
  21        A. When I was playing basketball?             21       A. No. School was -- there was no
  22        Q. Yes, with whom?                            22   recess, school was ongoing and people were doing
  23        A. Yeah, we were playing, there were          23   their activities.
  24    children from the Village, but I don't remember   24       Q. So there were other people in the
  25    their names.                                      25   building, is that correct?


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   1        Q. You were at the Village, is that            1       A. No, there was no one.
   2    correct?                                           2      Q. Just Douglas?
   3        A. Yes.                                        3       A. Yes.
   4        Q. What office did you go into?                4      Q. When you went into the office, what
   5        A. Douglas's office --                         5   did you say to Douglas?
   6        Q. Where is that?                              6       A. I didn't tell him anything. When
   7        A. -- precisely.                               7   Douglas appeared, he saw I was bleeding, he saw
   8        Q. Sorry.                                      8   the blood, and he pretended like he was going to
   9        A. At the Village.                             9   help me.
  10        Q. Where was the office inside the            10          THE INTERPRETER: He needs to take a
  11    Village?                                          11   break.
  12        A. Inside, there's a number for the           12          MR. KERRIGAN: Okay.
  13    house, there's House 3, 4, 5, but I forgot the    13          THE VIDEOGRAPHER: Going off the
  14    number of the house, the house number.            14   record. The time is 3:38.
  15        Q. Why did you go to Douglas's office         15          (Whereupon, a recess was taken.)
  16    when you were hurt?                               16          THE VIDEOGRAPHER: Back on the record.
  17        A. Well, yeah, he's the one I found there     17   The time is 4:01.
  18    to take care of my wound.                         18          MS. POLLOCK: I'd like to just make a
  19        Q. What part of your body was hurt?           19   statement for the record, that counsel had
  20        A. My knee.                                   20   questioned the Plaintiff earlier about a line of
  21        Q. Which knee?                                21   questioning about who he had lunch with and who
  22        A. Right foot -- right leg.                   22   he sat by at lunch, and there was an error in
  23        Q. Was it your knee?                          23   translation that you may want to go back and
  24        A. Yes, my knee.                              24   revisit with him.
  25        Q. Had you taken your pants off outside       25          MR. KERRIGAN: Thank you.


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   1   BY MR. KERRIGAN:                                    1      A. There were chairs. I don't remember
   2      Q. Mr. Joseph, we're back from a break,          2   how many. There were pictures of children of
   3   and you are still under oath. Do you understand     3   the Village when we were doing our First
   4   that?                                               4   Communion. It was glued on the wall.
   5      A. Yes.                                          5      Q. Were there any other pictures on the
   6      Q. I understand from your attorney that          6   wall?
   7   you had a bit of headache, and we took a few        7      A. Pictures?
   8   minutes to get you some aspirin, is that            8      Q. Yes.
   9   correct?                                            9      A. No. I said there were pictures on the
  10      A. Yes.                                         10   wall, pictures of the kids for their First
  11      Q. And you're prepared to proceed now?          11   Communion.
  12      A. Yes.                                         12      Q. Other than the First Communion
  13      Q. Okay. Mr. Joseph, when you entered           13   pictures, were there any other pictures on the
  14   the office where Douglas was on the day that he    14   walls?
  15   hurt you, did he say anything to you?              15      A. No, I don't remember this.
  16      A. Before or --                                 16      Q. What color was Douglas's office?
  17      Q. Before.                                      17      A. I don't remember the color. I don't
  18      A. No.                                          18   remember the color.
  19      Q. So Douglas didn't say anything to you        19      Q. How long was it from when you entered
  20   before he hurt you?                                20   the office until Douglas hurt you?
  21      A. He gave me something to wipe my wound.       21      A. How long until now?
  22   While I was wiping my wound, he did that to me.    22      Q. No. When you first walked into
  23      Q. What was Douglas wearing?                    23   Douglas's office on the day he hurt you, how
  24      A. I don't remember that.                       24   much time passed from when you walked into the
  25      Q. Were you wearing a shirt?                    25   office until Douglas hurt you?


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   1        A. Me?                                         1      A. How much time went by?
   2        Q. Yes.                                        2      Q. Correct.
   3        A. I didn't have a shirt, I had a -- I         3      A. I don't remember.
   4    didn't have a T-shirt, I had a shirt, a uniform    4      Q. Did Douglas come up behind you?
   5    shirt on.                                          5      A. When?
   6        Q. You had a Village uniform shirt on?         6      Q. Just before he harmed you.
   7        A. Yes.                                        7      A. Yeah, he came behind me before.
   8        Q. Does Douglas's office have any              8      Q. When you were in the office, just
   9    windows?                                           9   before Douglas hurt you, did you see him coming
  10        A. Yes, it has.                               10   towards you?
  11        Q. How many?                                  11      A. No, I didn't hear. While I was wiping
  12        A. Just one. It's always closed.              12   my leg, and he had already come close to me, and
  13        Q. Was the window closed on the day that      13   he bent me over the desk and he was applying all
  14    Douglas hurt you?                                 14   his force on me.
  15        A. I didn't look at that.                     15      Q. Did Douglas have his clothes on when
  16        Q. Was there anything in Douglas's            16   he did that?
  17    office, any furniture, any desks, anything?       17      A. Yes.
  18        A. Yes.                                       18      Q. At any time did Douglas take his
  19        Q. What was in Douglas's office that day?     19   clothes off?
  20        A. There was a table, a desk, that's it,      20      A. No, I don't remember this.
  21    in the middle of the room, because the room is    21      Q. Did you see Douglas naked at any time?
  22    not very big. It was in the middle of the room,   22      A. No.
  23    of the office.                                    23      Q. Did you see Douglas's penis at any
  24        Q. Was there anything else in the office      24   time?
  25    but furniture?                                    25      A. I don't remember if I saw it, because


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   1   I was turning my back to him when he did that.      1      A. I don't know how long, because I can't
   2       Q. You indicated before that you tried to       2   be able to tell you. At that time I was a
   3   resist, is that correct?                            3   child.
   4       A. Yeah, I was resisting, I didn't want.        4      Q. How old were you at the time?
   5   But the more I resisted, the more he pushed, he     5      A. I don't remember. I wasn't 18, I
   6   pushed me, put pressure on me, and he has more      6   didn't turn 18 yet. 15 to 16.
   7   strength than I do. I didn't have enough            7      Q. In your answers, Mr. Joseph, you
   8   strength compared to his strength. I didn't         8   indicate you were 17 years old when the abuse
   9   want to. But the more I didn't want to, the         9   occurred, is that correct?
  10   more he pushed me. He cornered me over the         10      A. I don't remember. I don't remember.
  11   desk, on the desk.                                 11      Q. In your Complaint, you indicate that
  12       Q. Did you yell out to anyone?                 12   you were 17 years old when the abuse occurred.
  13       A. No, I didn't call out. I made a lot         13          MS. POLLOCK: Look at the Complaint.
  14   of -- I tweaked on my face because it hurt me a    14          What paragraph.
  15   lot.                                               15          MR. KERRIGAN: 99.
  16       Q. Why didn't you call out for help?           16          THE INTERPRETER: Could I have the
  17       A. He would have kicked me out right away      17   Creole?
  18   if I had made any noise. He would have put me      18          MS. POLLOCK: We don't have it in
  19   out on the spot. If I had known he would not       19   Creole.
  20   have -- would have put me out, then I would have   20   BY MR. KERRIGAN:
  21   yelled to -- for someone to free me. I didn't,     21      Q. Do you believe you were 17 when
  22   really didn't want, but he didn't give -- he       22   Douglas abused you?
  23   wouldn't have given me a chance, and would have    23      A. I could have been 17, but because when
  24   kicked me out.                                     24   that happened I wasn't 18 at all.
  25       Q. Did Douglas tell you that he would          25      Q. Did the abuse last for ten minutes?

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   1   kick you out if you said anything?                  1       A. I don't remember how long it last.
   2       A. No. I thought that. I had that               2       Q. Do you know if the abuse lasted for
   3   thought.                                            3   five minutes?
   4       Q. Why did you think that?                      4       A. I don't remember at all. I wasn't
   5       A. Because I know that if I made some           5   thinking about that.
   6   noise everybody would come, and he would put me     6       Q. So you have no idea of the time at
   7   out right away, he would kick me out right away.    7   all, correct?
   8       Q. Did you say anything to Douglas while        8       A. No, I don't have an idea of that.
   9   he was hurting you?                                 9       Q. After the abuse occurred, Mr. Joseph,
  10       A. No. I was fighting with my body, and        10   did Douglas say anything to you?
  11   the more I was fighting, trying to fight him       11       A. I don't remember what he told me. I
  12   off, the more he would corner me to the table,     12   don't remember.
  13   to the desk.                                       13       Q. Did somebody take your shorts off
  14       Q. Did Douglas wear a condom?                  14   before the abuse?
  15       A. I don't remember this because I was         15       A. Someone?
  16   turning my back to him.                            16       Q. Did either you or Douglas take off
  17       Q. Did Douglas ejaculate?                      17   your shorts?
  18       A. I was giving him my back, I don't           18       A. Did I take it off before?
  19   know.                                              19       Q. No. I would like to know if your
  20       Q. How long did Douglas have his penis         20   shorts were taken off before Douglas hurt you.
  21   inside you?                                        21       A. If I took my shorts off completely?
  22       A. I don't remember how long. I couldn't       22       Q. Were your shorts on or off when
  23   check.                                             23   Douglas hurt you?
  24       Q. Do you know if it was a few seconds,        24          MS. POLLOCK: Objection. Vague.
  25   or a few minutes?                                  25          Do you mean completely off? That's


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   1   what he's --                                        1      A. No, I didn't. But it hurt a lot.
   2          MR. KERRIGAN: Okay. Let's see how he         2      Q. What do you believe Mémé meant when he
   3   answers this one and see if it doesn't clarify.     3   told you not to come to the office by yourself?
   4      A. When he was doing this, when he was           4      A. Maybe he was aware of what could have
   5   going to do?                                        5   happened to me, that's what I think, and maybe
   6   BY MR. KERRIGAN:                                    6   he knew things.
   7      Q. Yes.                                          7      Q. Did Mémé ever tell you that he knew
   8      A. Yeah, it was only because I took off          8   that Douglas was abusing other people?
   9   my big pants.                                       9      A. No, he never told me that.
  10      Q. When Douglas was hurting you, did you        10      Q. Now, Mr. Joseph, did you ever speak to
  11   have your shorts pulled up to your waist or your   11   Douglas at any time after the abuse about the
  12   knees, or maybe your ankles?                       12   abuse?
  13      A. It was on me.                                13          THE INTERPRETER: Can you repeat the
  14      Q. How could Douglas put his penis into         14   question, please?
  15   your rectum if you had your shorts on?             15   BY MR. KERRIGAN:
  16      A. He was applying strength on me, and I        16      Q. Did you ever speak to Douglas at any
  17   had the shorts on. He applied even more            17   time after the abuse about the abuse?
  18   pressure. I had taken my pants, the big pants      18      A. No, I haven't talked to him.
  19   off. I still didn't want to, but I didn't have     19      Q. Mr. Joseph, did Douglas ever give you
  20   enough strength. And I didn't make any noise.      20   anything of value, like sneakers, in exchange
  21   He would kick me out. I was turning my back to     21   for sex?
  22   him, that's when he pulled my shorts down, while   22      A. No, I never got anything like that.
  23   I was wiping my wound.                             23   When I got something, it was when they were
  24      Q. So Douglas pulled your shorts down, is       24   distributing to all the children, and I got
  25   that correct?                                      25   mine. But he never gave me things special on


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   1       A. Yes. Yes.                                    1   the side.
   2       Q. After the abuse occurred, Mr. Joseph,        2      Q. So Douglas never gave you anything of
   3   how long did you stay in the office?                3   value in exchange for sex, correct?
   4       A. After he did that to me, he took care        4          MS. POLLOCK: Objection.
   5   of my wound and I went back to class. I went to     5   Mischaracterizes the witness's testimony.
   6   get my pants on the portion of the wall of the      6      A. No.
   7   school, I took my pants, and then went to class.    7   BY MR. KERRIGAN:
   8       Q. And Douglas didn't say anything to you       8      Q. Was my statement correct, Mr. Joseph?
   9   in the office after he had harmed you?              9          MS. POLLOCK: Same objection.
  10       A. No. I wasn't -- he didn't say               10   BY MR. KERRIGAN:
  11   anything. I was crying.                            11      Q. Did you understand my question?
  12       Q. Now, you said that you stumbled onto        12      A. What question?
  13   Mémé outside the office after the abuse,           13      Q. Okay. I'll ask it again just to be
  14   correct?                                           14   clear.
  15       A. Yes. As soon as I went out the door,        15          Douglas never gave you anything of
  16   I stumbled upon Mémé, upon him.                    16   value in exchange for sex, is that correct?
  17       Q. And what specifically did Mémé tell         17          MS. POLLOCK: Objection. Vague.
  18   you?                                               18      A. No, he never gave me anything. I
  19       A. He said "Brisma, what are you doing?        19   don't think he would have given me anything for
  20   What did you do?" He said "don't ever come here    20   that, because I would never have accepted.
  21   when you're on your own." I didn't say             21   BY MR. KERRIGAN:
  22   anything. I continued my -- I continued            22      Q. Did Douglas ever tell you that you
  23   walking, and I left.                               23   would suffer monetary or financial harm if you
  24       Q. Were you bleeding from your buttocks        24   didn't have sex with him?
  25   at any time, or from your rectum?                  25          THE INTERPRETER: Monetary or --


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   1           MR. KERRIGAN: Financial.                    1       Q. You said earlier that the Village
   2        A. I didn't say anything. He said if I         2   closed four to five months after the abuse.
   3    talked he would kick me out. That really made      3         MS. POLLOCK: Objection.
   4    me -- scared me a lot. I didn't say anything.      4   Mischaracterizes the witness's testimony.
   5    And I saw that everything that happened and all    5   BY MR. KERRIGAN:
   6    -- and I hadn't said anything and he still kick    6       Q. Are you now saying that you don't
   7    me out. Maybe he had come to hear something.       7   remember?
   8    That really hurt me a lot. He said if I told       8       A. That could have happened. Maybe I
   9    anyone else he would kick me out.                  9   have said that, but I don't remember.
  10    BY MR. KERRIGAN:                                  10       Q. As you sit here today, do you know how
  11        Q. When did Douglas tell you that?            11   much time passed between when Douglas hurt you
  12        A. One time. I don't remember. But            12   and the Village closed?
  13    after he did that to me.                          13         MS. POLLOCK: Objection. Asked and
  14        Q. It was after the abuse?                    14   answered.
  15        A. Yes.                                       15       A. I can't do this reasoning. I don't
  16        Q. Was it before the Village closed, or       16   remember.
  17    after the Village closed?                         17   BY MR. KERRIGAN:
  18        A. Before that.                               18       Q. After Douglas hurt you, did you remain
  19        Q. Did Douglas ever touch your penis?         19   a student at the Village?
  20        A. No.                                        20       A. Yes, I continued going.
  21        Q. Did Douglas ever touch your testicles?     21       Q. How much longer were you a student at
  22        A. Yes.                                       22   PPT after the abuse?
  23        Q. When?                                      23       A. I don't remember.
  24        A. At the time when he was taking the         24       Q. Did you seek any medical help for any
  25    shorts off from me.                               25   injury that you sustained from Douglas?


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   1       Q. How did he touch your testicles?             1       A. The wound he cared for?
   2       A. Well, he took the shorts -- he pulled        2       Q. No.
   3    the shorts down. He was applying strength on       3          When Douglas abused you, you said that
   4    me, and his hand fell on my penis.                 4   it was painful, correct?
   5       Q. On your penis, or your testicles?            5       A. Yes.
   6       A. On the balls.                                6       Q. Did you seek medical help for that
   7       Q. Did Douglas ever fondle your                 7   pain?
   8    testicles?                                         8          MS. POLLOCK: From Douglas?
   9       A. While he was taking the shorts,              9          MR. KERRIGAN: From anyone.
  10    pulling the shorts down, and he was bending me    10          MS. POLLOCK: This is confusing.
  11    over the desk, his hand fell on my penis.         11   Sorry.
  12       Q. On your penis or your testicles,            12       A. I didn't try to find anything. I
  13    Mr. Joseph?                                       13   didn't have the right inside the Village for
  14       A. On the balls.                               14   this. Everything, everything you do for
  15       Q. Now, Mr. Joseph, the abuse occurred         15   yourself, you have to go through them.
  16    about four to five months before the Village      16   BY MR. KERRIGAN:
  17    closed, is that correct?                          17       Q. How about outside the Village, did you
  18           MS. POLLOCK: Objection. Asked and          18   ever seek medical care outside the Village?
  19    answered.                                         19       A. What do you mean "outside"?
  20    BY MR. KERRIGAN:                                  20       Q. At the Justinien Hospital, or some
  21       Q. That's what you said earlier in the         21   other hospital?
  22    deposition, is that correct?                      22       A. No.
  23       A. Four to five months?                        23       Q. Was your body hurt by the abuse that
  24       Q. Yes.                                        24   Douglas gave you?
  25       A. I don't remember.                           25       A. There were a few weeks when my butt,


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   1    my bottom hurt. I couldn't sit, I couldn't          1      Q. How about any other part of your mind
   2    walk.                                               2   or body, do you believe that you have any other
   3       Q. During those few weeks, did you ever          3   harm that was caused by Douglas?
   4    seek any kind of medical care for your bottom?      4      A. When he did that to me I didn't feel
   5       A. No, I was suffering silently.                 5   well at all. And also, plus the fact that I
   6       Q. Would anyone have seen you suffering?         6   lost the Village, and I couldn't find work
   7       A. No, I didn't let anyone know, because         7   anywhere because of what he did to me.
   8    I knew, I felt if people knew they would tease      8      Q. Why do you believe you couldn't find
   9    me.                                                 9   work because of what Douglas did to you?
  10       Q. Tease you in what way?                       10      A. Because every time they recognize that
  11       A. They would have called me Douglas's          11   I was a child from the Village, whether I did it
  12    woman, fag. They would have tried to find out      12   or did not do it, whether that person did or
  13    how that is, how that happened.                    13   didn't do anything, they would say this is
  14       Q. And you did not want to be called a          14   Douglas's woman, girlfriend. They just
  15    fag?                                               15   recognize you as a child from the Village, they
  16       A. Yes.                                         16   say that then. Although I didn't tell anyone.
  17       Q. Why not?                                     17   This is like a knife striking me in the heart
  18       A. If somebody calls me that, I'm not           18   every time I hear that.
  19    going to be well at all, because I know guys are   19          When I do find work, they agree to
  20    not supposed to do that.                           20   give it to me. When I come back, depending on
  21       Q. Where did you learn that guys are not        21   what they heard from the other people, they say
  22    supposed to do that?                               22   we're not accepting you anymore because you're a
  23       A. Yeah, they're always talking about           23   fag, you're going to spoil the other people.
  24    that in the bible, and I know that this is not     24   That's why I think I'm damaged, and I can't
  25    good.                                              25   succeed in doing anything in my life.


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   1         Q. Do you believe it's wrong to be gay?        1      Q. Now, Mr. Joseph, you said, I believe,
   2         A. It's not good at all. It's not good.        2   that anybody who went to the Village, whether
   3         Q. Why not?                                    3   they were abused or not, is considered to be a
   4         A. It's not good. It shouldn't be              4   fag to people in Haiti, is that correct?
   5    happening. It shouldn't be done.                    5          MS. POLLOCK: Objection.
   6         Q. Do you believe it's a sin to be gay?        6   Mischaracterizes the witness's testimony.
   7         A. It's a big sin.                             7      A. Yes.
   8         Q. Was any other part of your body,            8   BY MR. KERRIGAN:
   9    Mr. Joseph, hurt by Mr. Douglas?                    9      Q. Is that true of --
  10         A. No.                                        10      A. As they don't need to know if you were
  11         Q. Did your bottom heal within several        11   abused or not, if you were in there. And if it
  12    weeks of the abuse?                                12   really happened to you, that's even worse.
  13         A. It wasn't the same way as before.          13      Q. So you believe that anyone who went to
  14    From time to time I feel so-so.                    14   the Village will have trouble finding a job in
  15         Q. What do you feel from time to time?        15   Haiti, is that correct?
  16         A. It used to hurt. It hurts less. I          16      A. Yes.
  17    wasn't able to sit. I would sit on one side.       17      Q. It doesn't matter whether you were
  18    But I started sitting correctly, and I see that    18   abused or not?
  19    it's starting -- the pain is fading away a bit.    19      A. Yes, as long as you were inside the
  20        Q. Are you saying you still have pain in       20   Village.
  21    your bottom even now?                              21      Q. And how would an employer know that
  22         A. I don't think so. I don't suspect so.      22   you were at the Village at some point?
  23         Q. So you have no more pain in your           23      A. When they go to ask for work, if they
  24    bottom, correct?                                   24   don't recognize us they say yes. Then we leave,
  25         A. No, I don't suspect that.                  25   then there are other people who do recognize us


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   1   who know this, and they say "oh, yeah, this guy,     1   just people who were abused, correct?
   2   he's a fag." In Blue Hills everybody knows you.      2       A. I can't tell you, but this affects
   3   At PPT, they know all of us at PPT, they say         3   everybody, whether abused or not, as soon as you
   4   "oh, that's a child from the Village."               4   were in the Village.
   5       Q. Is there a lot of unemployment in             5       Q. Have you tried getting work or getting
   6   Haiti, Mr. Joseph?                                   6   girlfriends outside of Blue Hills?
   7       A. A lot of people are not working in            7       A. Outside of Blue Hills? No, I'm not in
   8   Haiti.                                               8   these things. My heart is not in a happy place.
   9       Q. So a lot of people have difficulty            9   I don't want to have girlfriend.
  10   getting jobs who didn't go to the Village, isn't    10       Q. Have you tried to seek work outside of
  11   that right?                                         11   Blue Hills or Cap-Haïtien?
  12       A. I don't know anything about that.            12       A. Yeah.
  13       Q. Were you hurt in any other way by            13       Q. Where?
  14   Douglas, whether to your body or to your mind?      14       A. Sometimes I go to baker to wash cars.
  15       A. Yes, in my mind.                             15       Q. What is baker?
  16       Q. How?                                         16          (Interpreters talking.)
  17       A. I was thinking that everything -- I          17       A. Bakery.
  18   can't succeed in anything. I tried to do an         18       Q. Oh, the bakery.
  19   exam four times, I never succeeded. I'm not         19       A. Sorry. Bakery.
  20   good. I felt like throwing myself under a car.      20       Q. Is the bakery a place where a lot of
  21   I can't find food. And in class I always think      21   former PPT students gather?
  22   about what happened. And also the Village that      22       A. No. The baker where they do bread.
  23   I lost. Sometimes I walk, and I used to -- and      23   The bakery where they do bread.
  24   I became clean, and now I go back to the            24       Q. What city is that in?
  25   situation that I had left behind. I've never        25       A. Sometimes I go to Blue Hills,


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   1    felt good even one day.                             1   sometimes I go to city, because I looked -- I
   2        Q. Is there any other ways in which your        2   went to look for work in two bakeries already,
   3    mind has been harmed?                               3   one in Blue Hills and one in the city.
   4        A. Yes, especially in the area, you can't       4      Q. How many times have you tried to get
   5    do any cleaning work, can't talk to people, they    5   work with any employer?
   6    call you fag, especially in the area where I am,    6      A. I can't count. I always try to find
   7    girls and boys, every little boy that was in the    7   work. But, for example, when I wash a car, and
   8    Village. So that even sticks to me, even            8   I go to get the money, I say you can pay me how
   9    heavier load on me.                                 9   much you want, but then he recognize me as a
  10           (Interpreters speaking.)                    10   child from the Village, and then he gives me the
  11        A. I can't have any girlfriends.               11   money, and he said "oh, don't worry about that,
  12        Q. Why not?                                    12   you fag," and he hits me in my head and said
  13        A. Because of what happened to me.             13   "you fag." Everybody looks at me. I give back
  14        Q. What prevents you from getting a            14   his money. I don't feel well at all.
  15    girlfriend?                                        15           (Interpreters talking.)
  16        A. Because I don't have any means. I           16           THE INTERPRETER: I'm going to repeat.
  17    don't want things to happen to me, because I       17      A. I was looking for work and I found a
  18    have reached a certain level, I don't want this    18   car, I found a car, and I was working behind the
  19    misery to happen to my child. It's not easy for    19   car. When it was time to get the money, so I
  20    me to talk to people, to talk to girls,            20   asked for my money, there was a person. When I
  21    especially in Blue Hills since this spread         21   came up to that person he didn't want to give me
  22    throughout the place, the area, this rumor         22   money. He recognized that I was a child from
  23    spread throughout the area.                        23   the Village. I said "give me the money." He
  24        Q. And again, Mr. Joseph, the rumor            24   said "oh, can't you wait for me?" And I said
  25    affects everybody who went to the Village, not     25   "oh, give me the money you want. I'm going to


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   1   show it, show you." He said "you fag." I said       1      Q. Have you asked --
   2   nothing. I didn't say anything. He gave me the      2      A. -- what I have in my mind.
   3   money, and then he give me -- hit me in the head    3      Q. Have you asked anyone at the hospital
   4   and said "you fag." And everybody in the car        4   or any medical person to help you with your
   5   was looking at me. I was really ashamed. And I      5   mind?
   6   didn't spend the day with the driver, I just        6      A. No, I didn't talk to people about it.
   7   gave him back his money.                            7      Q. Mr. Joseph, after the Village closed,
   8   BY MR. KERRIGAN:                                    8   you went on to other schools, didn't you?
   9       Q. Mr. Joseph, have you ever tried to get       9      A. No, I stayed at the Village.
  10   help for the problems you believe you have with    10          After the Village closed?
  11   your mind that were caused by Douglas's abuse?     11      Q. Yes.
  12       A. No, I didn't try to get any                 12      A. Yes. Yes.
  13   assistance.                                        13      Q. Where did you go to school after the
  14       Q. Why not?                                    14   Village closed?
  15       A. I didn't look for help at all.              15      A. National School of Blue Hills.
  16       Q. Why?                                        16      Q. And at the National School of Blue
  17       A. It's always -- with Haitians you tell       17   Hills, you were able to complete the fourth
  18   them something in confidence, and they take your   18   grade, is that correct?
  19   confidence and spread it around, and they will     19      A. Yes.
  20   call me names. I didn't want that, so I didn't     20      Q. You were able to complete the fifth
  21   try to talk to them. It wouldn't do anything       21   grade, is that correct?
  22   for me anyway, and they would be calling me        22      A. Yes. I got to the sixth class.
  23   names.                                             23      Q. Did you complete the sixth grade
  24          MS. POLLOCK: Mike, it's been an hour,       24   class?
  25   do you want to take a break?                       25      A. Yeah, I did. Well, no, we were 35 of

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   1          MR. KERRIGAN: Sure. Do you want to           1   us who went to do the test, and I'm the only
   2   take one?                                           2   one -- we were 35, and I'm the only one who
   3          MS. POLLOCK: Sure.                           3   failed.
   4          THE VIDEOGRAPHER: Going off the              4       Q. Those who passed the sixth grade test,
   5   record. The time is 5:04.                           5   would they go on to other schooling?
   6          (Whereupon, a recess was taken.)             6       A. Yes. There was no primary school in
   7          THE VIDEOGRAPHER: Back on the record.        7   the school.
   8   The time is 5:18.                                   8       Q. Did those who passed the sixth grade
   9   BY MR. KERRIGAN:                                    9   test go on to another school?
  10      Q. Mr. Joseph, we're back from a break,         10       A. Yes.
  11   and you are still under oath. Do you               11       Q. What school?
  12   understand?                                        12       A. I don't know, but they went to another
  13      A. Yes.                                         13   school. They didn't stay in that school.
  14      Q. Mr. Joseph, if you were able to get          14       Q. Now, you went on to another school as
  15   help for your mind, would you seek that help?      15   well after the National School of Blue Hills,
  16      A. Yes -- no. Assistance for my mind to         16   correct?
  17   be at peace?                                       17       A. Yeah, when I didn't -- when I failed,
  18      Q. Correct.                                     18   I left that school and went to Port-au-Prince.
  19      A. Well, yeah.                                  19       Q. What school did you go to in
  20      Q. Is there anyone at the Justinien             20   Port-au-Prince?
  21   Hospital, or any other medical provider, who       21       A. Paraguay in Carrefour Feuille.
  22   could help you with your mind?                     22   C-A-R-R-E-F-O-U-R, F-E-U-I-L-L-E.
  23      A. In this manner, in this way, in this         23       Q. And what grade did you get up to at
  24   meaning, I don't think the hospital could do       24   the Paraguay school?
  25   anything for me --                                 25       A. I repeated the sixth year, because I


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   1   wasn't good.                                         1       A. Society of Jesus, I don't recall that.
   2      Q. Did you pass the sixth grade exam?             2       Q. Have you ever heard that name before,
   3      A. I failed it.                                   3   Society of Jesus of New England?
   4      Q. Have you been to any other schools             4       A. I don't know. If we're talking about
   5   after the Paraguay school?                           5   Jesuits, yes. But if not, no.
   6      A. No, I always stayed there.                     6       Q. Have you heard of the Jesuits before?
   7      Q. Have you had any other schools since           7       A. Yeah, because Father Paul is a Jesuit,
   8   the Paraguay school?                                 8   and Sylvester also is a part of that.
   9      A. No.                                            9       Q. Other than the fact that Father
  10      Q. Why not?                                      10   Carrier is a Jesuit and Sylvester Tan is a
  11      A. I didn't have any means, and I was            11   Jesuit, do you know anything else about the
  12   discouraged. It's only this year I passed the       12   Jesuits?
  13   exam. I succeeded in Paraguay school this year,     13       A. No, I don't know anything.
  14   and also Paraguay was less expensive.               14       Q. Now, Mr. Joseph, you had started to
  15      Q. Did you pass the sixth grade exam this        15   tell me earlier about a meeting that you had
  16   year, Mr. Joseph?                                   16   with some former PPT students at -- I believe,
  17      A. Yes.                                          17   was it Carenage Square?
  18      Q. Congratulations.                              18       A. Yes.
  19          Where do you go from here in school?         19       Q. And you don't recall when that meeting
  20      A. No, I'm not going to continue. I              20   was?
  21   don't have the means. I'm stopping here.            21       A. I don't remember.
  22      Q. You were able to work hard and get            22       Q. Was it after you passed the sixth
  23   through the sixth grade exam?                       23   grade exam, or before you passed the sixth grade
  24      A. Yes, I worked hard, hard, hard.               24   exam?
  25      Q. Did you study hard?                           25       A. At that time I failed the exam.


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   1        A. Yes.                                         1       Q. So it was before you passed the exam?
   2        Q. If you had the money, would you go on        2        A. Yes.
   3    to further schooling?                               3       Q. And why was it you met with the former
   4        A. Yes, I would continue to go.                 4   PPT students at Carenage Square?
   5        Q. So it's a matter of money?                   5       A. Well, I was looking for work, small
   6        A. Yes, I don't have money. I have no           6   jobs, you know, like washing cars. That's the
   7    one to help me.                                     7   place where I found majority of my jobs, get a
   8        Q. Did any of your brothers and sisters,        8   little bit of money to eat. I found my friends,
   9    Mr. Joseph, go up to the sixth grade in school?     9   I came up to them, I recognized them, I said
  10        A. Yes. My little brother is attending         10   "how are you doing?" And they told me that
  11    the eighth class.                                  11   something is happening here about the Village.
  12        Q. Are any of your other brothers and          12   Since I was a child of the Village, I sat down.
  13    sisters in school beyond sixth grade?              13   That's why I met them, I met people.
  14        A. No.                                         14       Q. Who was at that meeting?
  15        Q. Do you have any friends who have gone       15       A. Children of the Village. I don't
  16    past the sixth grade?                              16   remember their names. Not all of them, just
  17        A. Yes, I have friends who finished, I         17   some of them.
  18    was in school with them, and now they're in        18        Q. How many?
  19    eighth grade, and others are in tenth grade, and   19       A. I don't remember how many.
  20    some are in fourth grade.                          20       Q. You said earlier that one by one these
  21        Q. What is the highest grade that a            21   former students went to go see Cyrus Sibert?
  22    student can get to?                                22       A. They were forming a line. Cyrus might
  23        A. Twelfth grade.                              23   be where Mitch was. And the children, the line
  24        Q. Mr. Joseph, have you ever heard of the      24   started from there all the way here. Oh, he put
  25    Society of Jesus of New England?                   25   them aside at a certain distance so they


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   1   wouldn't hear.                                      1   him his phone number and he will call me. But
   2       Q. So there was a line of former PPT            2   he didn't tell me anything.
   3   students, and they were lining up to talk to        3      Q. And you told Cyrus about the abuse
   4   Cyrus Sibert?                                       4   right there?
   5       A. Until the time we got to Cyrus.              5      A. Yes.
   6       Q. Did anyone tell you that you should          6      Q. Mr. Joseph, before you were abused by
   7   put in your name so that you could bring a case     7   Douglas, had you ever heard of Cyrus Sibert?
   8   against Douglas?                                    8      A. I don't know him. I had never heard
   9       A. No, I didn't talk to anyone about            9   of him.
  10   that.                                              10      Q. You never heard him on the radio
  11       Q. Did anyone ever ask you to put your         11   before you were abused?
  12   name on a list?                                    12      A. No. I don't have a radio.
  13       A. Except for my lawyers, I didn't             13      Q. Before you were abused, did you ever
  14   speak -- tell anybody about it.                    14   see writing on the wall at the Village?
  15       Q. About the abuse?                            15      A. My eyes never saw that.
  16       A. No, I didn't find anyone for that.          16      Q. Did you ever see any writing on the
  17       Q. Did you speak to Cyrus after waiting        17   wall about Douglas?
  18   in line to speak with him?                         18      A. No.
  19       A. Yeah, I spoke to him.                       19      Q. Did you ever see any kind of writing
  20       Q. And what did you tell him?                  20   or graffiti about Douglas and his abuse of PPT
  21       A. When I came up to him, I said "hello."      21   boys at any time?
  22   He said "what do you want?" I said "I'm just       22          THE INTERPRETER: Can you repeat the
  23   sitting here, I saw all my friends sitting here,   23   question, please?
  24   and I just sat here to see what was being said."   24   BY MR. KERRIGAN:
  25   He said there was something being done about the   25      Q. Did you ever see any writings or


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   1    Village, "if you have -- you want to tell your     1   graffiti about Douglas abusing PPT boys at any
   2    truth, you can tell your truth. Don't lie, just    2   time?
   3    tell the truth." You have to tell him what         3        A. I never saw that.
   4    went -- what happened.                             4        Q. After you spoke with Cyrus Sibert
   5        Q. Did Sibert mention Douglas?                 5   about the abuse, did anyone contact you about
   6        A. No, he didn't talk to me about              6   your discussion with Cyrus?
   7    Douglas. He asked me one question about him,       7           MS. POLLOCK: I'm going to object and
   8    "as a child in the Village, did you know about     8   instruct the witness not to disclose any
   9    Douglas? Do you recognize Douglas?" I said         9   conversations that you had with your attorneys.
  10    "yes." When I said that, "did he do sex with      10           Interpreter, can you please interpret
  11    you, sexual relations with you? If that           11   that?
  12    happened, say the truth, don't lie. If he         12           THE INTERPRETER: I'm sorry, can you
  13    didn't do that to you, just leave."               13   repeat your objection?
  14        Q. What did you tell Sibert?                  14           MS. POLLOCK: I'm objecting, and
  15        A. "I have to tell you, it was hard for       15   instructing the witness not to disclose any
  16    me to tell this to you if I don't really know     16   conversations that he's had with his attorneys.
  17    you." He said "I'm a journalist," now I can       17        A. Okay.
  18    talk to him. Although I didn't feel good          18           THE INTERPRETER: Can you repeat the
  19    telling him, I still told him, I took it upon     19   question?
  20    myself to tell him and tell him the truth.        20           MR. KERRIGAN: Sure.
  21    That's how I met him. That's how he knew that     21           THE INTERPRETER: I have it.
  22    something like that happened to me.               22        A. I gave him my phone number. It was my
  23        Q. What did you think that Cyrus was          23   little aunt's phone number. Cyrus did call.
  24    going to do for you?                              24   And Cyrus said "Brisma, you will get a phone
  25        A. I don't understand. He said to give        25   call." I said "who is it going to be?" He said


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   1   "just let the person call you, talk, tell the      1       Q. Do you know the name Rodlin Rodney
   2   truth, and you will know who it is." And really    2   Romeus?
   3   indeed, I received an international phone call.    3      A. I know the name Rodney, but I don't
   4          MR. KERRIGAN: Is that the end?              4   know his last name.
   5          THE INTERPRETER: Yes.                       5      Q. And what do you mean about Rodney?
   6   BY MR. KERRIGAN:                                   6       A. He was -- he went through Rue 13 and
   7       Q. Was the international phone call from       7   Carenage, and he went to the Village also, but
   8   a lawyer?                                          8   he wasn't at the school at the Village.
   9       A. Yes.                                        9       Q. Do you know anything else about
  10       Q. What was the lawyer's name?                10   Rodney?
  11       A. He presented himself as Mitch's --         11       A. No.
  12   Mitch -- lawyer Mitch.                            12       Q. Mr. Joseph, when you hired Mitchell as
  13       Q. In your answer to the questions that       13   your lawyer, were you aware that there were
  14   we looked at earlier, Mr. Joseph, on answer       14   other PPT students who had got money through
  15   Number 12, it says that you retained counsel in   15   cases against Doug Perlitz?
  16   approximately August of 2013. Is that correct?    16       A. No, I didn't know. Only very -- a
  17       A. I can't recall the date.                   17   long time after that.
  18       Q. Do you have any reason to doubt your       18       Q. When you hired Mitchell as your
  19   answer to Number 12?                              19   attorney, were you aware that any cases had been
  20       A. No, I don't have doubts. But I might       20   brought against Douglas?
  21   not recall in which year that happened.           21       A. No, I didn't know that.
  22       Q. Did you hire the attorney, Mitch, as       22       Q. Before you hired Mitchell as your
  23   your attorney?                                    23   attorney, had you seen any PPT student driving
  24          MS. POLLOCK: I'm going to instruct         24   fancy cars, or buying nice things for
  25   the witness this answer should only be answered   25   themselves?


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   1    yes or no.                                        1       A. It's only when I was deep in the case,
   2        A. Yes.                                       2   I had come from Port-au-Prince to come sign
   3    BY MR. KERRIGAN:                                  3   papers, and then I heard people talk about the
   4        Q. Do you know when that was?                 4   guys. But that was a long time afterwards.
   5        A. I don't remember when.                     5       Q. A long time after you hired Mitch?
   6        Q. Do you know the name Jean Gary?            6       A. Yes.
   7        A. Yes, I've heard about that person,         7       Q. Did you ever get any money from Cyrus
   8    because that person was at the Village.           8   Sibert?
   9        Q. Do you know anything else about Jean       9       A. Yes, that happened, but not often.
  10    Gary, other than that he was at the Village?     10       Q. When was the first time you got money
  11        A. I don't know anything about him.          11   from Cyrus?
  12        Q. Did Jean Gary ever talk to you about      12       A. I remember they gave us before the
  13    your case or any case about Douglas?             13   first paper -- they sent the first papers for me
  14        A. No, I didn't speak about that. I've       14   to sign, he gave me 100 gourdes to pay a car.
  15    never seen -- I don't see Jean Gary.             15   One other time so I could leave Port-au-Prince
  16        Q. Do you know the name Schoubert            16   and come here. And he knew I didn't have
  17    Hedouville?                                      17   anybody to help me, so he gave me 1,000 gourdes
  18        A. Yes, strikes -- rings a bell. He was      18   so I could go back to Port-au-Prince. He knew I
  19    at the Village.                                  19   didn't have my mother then here, or anyone to
  20        Q. Do you know anything else about           20   help me here.
  21    Schoubert Hedouville, other than he was at the   21       Q. Did he give you 100 gourdes or 1,000
  22    Village?                                         22   gourdes?
  23        A. No.                                       23       A. 100 gourdes the first time.
  24        Q. Do you know the name Frisnel Jean?        24       Q. When was that?
  25        A. I don't remember that name.               25       A. The first time when I just met him


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   1   when I said -- when I met the kids in Carenage      1       A. Haitian dollars.
   2   and I was looking for a way to talk to him, I       2       Q. What did you use that money for?
   3   sat down.                                           3       A. I bought a shirt, jeans, tennis shoes,
   4       Q. And Cyrus gave you 100 gourdes after         4   a little perfume, and I also bought food, all of
   5   you told --                                         5   that.
   6       A. To pay a car, for a car.                     6       Q. Did you use that money for anything
   7       Q. What was the car for?                        7   else?
   8       A. Probably transportation car so I could       8       A. No, it wasn't even enough for
   9   go back home.                                       9   everything I wanted to do. It's done. It's
  10       Q. Home to Blue Hills?                         10   finished. It's gone.
  11       A. Yes, so I could go back to Blue Hills.      11       Q. Are the clothes that you're wearing
  12       Q. Why would he give you that money?           12   today bought with money that Cyrus gave you?
  13       A. We didn't ask. He gave it to us. He         13       A. Yeah. This, jeans, these shoes, the
  14   said so we could pay a car to leave.               14   majority of things I came with here.
  15       Q. And then on another occasion, you said      15       Q. Why did Cyrus give you the money for
  16   that Cyrus gave you 1,000 gourdes to get           16   that?
  17   transportation so you could sign some documents    17       A. He said he was going to go somewhere
  18   for your case, is that correct?                    18   for my complaint, that's why he gave me the
  19       A. Yes.                                        19   money, so I could buy everything I needed,
  20       Q. Where were you going, from                  20   suitcase, so I could come here.
  21   Port-au-Prince to where?                           21       Q. Did you get any other money from Cyrus
  22       A. I was at Port-au-Prince. While I was        22   Sibert at any time?
  23   in Port-au-Prince I went to Cap-Haïtien just to    23       A. Before that he gave me 100 US dollars.
  24   sign. He said "come, there's a document you        24       Q. When did he give you that?
  25   have to sign." I signed the paper. He gave me      25       A. I don't recall. When I came to sign a


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   1   1,000 gourdes so I could sign the paper and go      1   paper.
   2   back, so I could pay the car to go back home, to    2       Q. What was that money for?
   3   go back.                                            3       A. So I could find food. And I told him
   4      Q. Okay. Was this Exhibit 2 the document         4   I didn't have shoes, so he gave me shoes,
   5   you signed when you came to Cap-Haïtien?            5   sandals, as a gift.
   6      A. I don't remember. I signed several            6       Q. When Cyrus gave you the gift of
   7   documents.                                          7   sandals and money, that didn't make him the boss
   8      Q. At any other time did Cyrus Sibert            8   of you, did it?
   9   give you any money?                                 9       A. No. He didn't give me the sandals.
  10      A. Yes, especially when I come from             10       Q. When Cyrus gave you the money that you
  11   Port-au-Prince -- I come to Port-au-Prince, when   11   told us about --
  12   I go back he always gives me 1,000 gourdes.        12       A. Money to buy sandals.
  13      Q. How many times has he given you 1,000        13       Q. When Cyrus gave you that money, that
  14   gourdes?                                           14   didn't mean he was the boss of you, correct?
  15      A. I don't remember how often.                  15       A. Yeah, he was sort of my boss, because
  16      Q. Did Cyrus give you any money to have         16   he was helping me. When somebody is helping
  17   you come here today?                               17   you, he's sort of your boss.
  18      A. Yes.                                         18       Q. Did you receive anything else from
  19      Q. How much?                                    19   Cyrus, whether it be money or gifts or clothes,
  20      A. In total, I was sick in my head, I           20   or anything at all?
  21   told him that, and he gave me $400, then $2,000    21       A. Clothes, never. After these two
  22   for clothes, so a total of 2,400 Haitian           22   there, I don't think so. Just money he gave me.
  23   dollars, not other types of dollars.               23   He just gave me money.
  24      Q. Are those gourdes or dollars, or is it       24       Q. Have you told us all the money that
  25   the same thing?                                    25   Cyrus has ever given you?


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   1        A. Did I tell you everything?                   1          MS. POLLOCK: No problem.
   2        Q. Yes.                                         2   BY MR. KERRIGAN:
   3        A. That's what I remember. That's what          3      Q. Did you receive money from anybody
   4    I'm telling. It didn't happen often.                4   else in connection with your case against
   5        Q. Do you expect, Mr. Joseph, to get            5   Douglas, apart from Cyrus?
   6    money if you win your case against Douglas?         6          MR. GARABEDIAN: Objection. Instruct
   7        A. No, I don't know. It depends on what         7   him not to answer as to any attorney/client
   8    the judge says. I'm going to accept it.             8   communication.
   9        Q. Even if it's no money, will you accept       9          MR. KERRIGAN: Can we have one
  10    it?                                                10   attorney making objections, please?
  11        A. Yeah, what he decides is what I will        11          MS. POLLOCK: Objection. I instruct
  12    accept.                                            12   the witness not to answer as to any
  13        Q. If you get any money from your case,        13   communications with his attorneys. The witness
  14    Mr. Joseph, will Cyrus Sibert get any of that      14   can answer about communications with anyone else
  15    money?                                             15   other than his attorneys.
  16        A. That could happen. I don't know.            16      A. No.
  17    They will know.                                    17   BY MR. KERRIGAN:
  18        Q. Do you know if Cyrus has received any       18      Q. Mr. Joseph, how do you spend your
  19    money from any case brought against Douglas?       19   average days these days? What do you do on any
  20        A. I don't know these things.                  20   day, any given day?
  21        Q. Has any other student from PPT talked       21      A. Oh, you mean things that are good for
  22    to you about their case against Douglas?           22   me, like activities like playing, things like
  23        A. Can you repeat, please?                     23   that?
  24        Q. Yes.                                        24      Q. Anything at all. How do you spend
  25           Has any former student from PPT talked      25   your time?


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   1    to you about their cases against Douglas?           1          MS. POLLOCK: Objection.
   2       A. Are you talking about -- are those the        2       A. I don't know which day.
   3    people you're asking me, are they the one who       3   BY MR. KERRIGAN:
   4    won their cases against Douglas?                    4       Q. Any day.
   5       Q. Them, or anybody else.                        5       A. One thing I like to do is to listen to
   6       A. No, they didn't tell me anything. I           6   music. Since the Village closed, I haven't
   7    don't talk to them.                                 7   spent one day where I played or my heart was
   8       Q. Have you received any money from any          8   happy.
   9    of your lawyers for this case?                      9       Q. When you get up in the morning, what
  10           MS. POLLOCK: I'm going to object and        10   do you do typically during your day? Do you go
  11    instruct the witness not to answer the question.   11   out in the street? Do you hang around with
  12           MR. KERRIGAN: And your objection is         12   friends? What do you do?
  13    based on the fact that this could get into         13       A. It's not every day that I go out to
  14    communications?                                    14   the street. Sometimes I just stay home, and I
  15           MS. POLLOCK: I think you're there.          15   eat whatever my mother gives to me. Sometimes
  16           MR. KERRIGAN: You think the transfer        16   just stay home.
  17    of money from a lawyer to a client is a            17       Q. Are you able to take care of yourself?
  18    communication?                                     18       A. No.
  19           MS. POLLOCK: Yes. I think you're            19       Q. Are you able to dress yourself in the
  20    there.                                             20   morning and get up and go out for a walk if you
  21           MR. KERRIGAN: I disagree with you.          21   need to, or go out into the street?
  22           MS. POLLOCK: That's fine. I'm still         22       A. Yeah, I can do that whenever, but I
  23    instructing him not to answer.                     23   don't do this really often because my heart is
  24           MR. KERRIGAN: So I'll reserve my            24   not happy.
  25    right.                                             25       Q. You're able to go out to try to find


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   1   work whenever you want to?                          1   eating, my friend came, he sat with me on the
   2       A. Yeah, if I find I can go look for it,        2   table. You asked me if I was eating with him,
   3   but it's not easy for me to find.                   3   asking if we're sitting and eating together, I
   4       Q. Are you able to play any games or            4   said no because I thought -- we were at the same
   5   sports if you choose to do so?                      5   table, my food was here and his food was there,
   6       A. Sports, I don't do any sports.               6   but we weren't eating together. We were just at
   7       Q. Are you able to if you wanted to?            7   the same table.
   8       A. Yes, if I were happy, if my heart were       8       Q. Who was sitting at the table with you?
   9   at peace when I wake up. When I wake up, first      9       A. A friend called Claude.
  10   thing I have in my mind is where am I going to     10       Q. Does Claude have a case against
  11   find a spoonful of food for me to eat.             11   Douglas?
  12       Q. Do you hang around with your friends?       12       A. I can't tell you. But since I see him
  13       A. No. A friend may come and see how I'm       13   here with me, I think that.
  14   doing and leave. I don't hang out with friends,    14       Q. Did you talk with Claude during lunch?
  15   I don't walk with them, I don't hang out outside   15       A. Yeah, we talked.
  16   with them.                                         16       Q. What did you talk about?
  17           MR. KERRIGAN: Jo Anna, I'm going to        17       A. He said he didn't really like the
  18   put a belated objection on the record. You had     18   food. He said "what food do you prefer?" I
  19   given one instruction not to answer, I objected    19   said "rice, juice, I don't like the rest."
  20   and reserved on it, then there was the double      20   That's it.
  21   team effort. I'm going to belatedly object to      21       Q. Did you talk about anything else with
  22   that if it wasn't clear. If you'd like I'll        22   Claude?
  23   re-ask the question, you can put the instruction   23       A. No. I was sitting first, and I
  24   on the record, or you can accept the belated       24   finished first, so I left.
  25   objection.                                         25       Q. Have you understood all of my other


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   1          MS. POLLOCK: You're belatedly                1   questions, Mr. Joseph?
   2   objecting that both lawyers objected?               2       A. Yeah, I understand.
   3          MR. KERRIGAN: No, I'm counting your          3       Q. And have you answered all of my other
   4   instruction as the valid instruction here.          4   questions accurately?
   5   There was a second instruction not to answer, so    5       A. Yes.
   6   I just want to get on the record --                 6       Q. Thank you.
   7          MS. POLLOCK: No problem. That's              7         MS. POLLOCK: Do you want to take a
   8   fine.                                               8   break? It's been an hour.
   9          MR. KERRIGAN: Very good.                     9         THE VIDEOGRAPHER: Going off the
  10          MS. POLLOCK: We're getting on the           10   record. The time is 6:17.
  11   record the fact that you're objecting to my        11         (Whereupon, a recess was taken.)
  12   instructing the witness after Mitchell             12         THE VIDEOGRAPHER: Back on the record.
  13   instructed the witness not to answer, correct?     13   The time is 6:25.
  14          MR. KERRIGAN: Correct.                      14   BY MR. CERRETA:
  15          MS. POLLOCK: Okay. No problem.              15       Q. Good evening, Mr. Joseph. I
  16          MR. KERRIGAN: And I disagree with           16   introduced myself a long time ago at the
  17   your instruction, and we'll reserve on that for    17   beginning of the day, but my name is John
  18   when we need to raise it. Thanks.                  18   Cerreta, I'm the lawyer for Fairfield
  19   BY MR. KERRIGAN:                                   19   University.
  20       Q. Mr. Joseph, have you understood the         20         You testified earlier today that you
  21   questions I've asked you today?                    21   received a T-shirt with a Fairfield University
  22       A. Just one question I didn't really           22   logo on it, is that right?
  23   understand. I answered quickly, briefly.           23       A. It was written "Fairfield."
  24       Q. Which question didn't you understand?       24       Q. Were those handed out to you and the
  25       A. I was in the room, I was sitting            25   other boys at the Village?


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   1      A. Yes, yes.                                     1   was there any other reason that you thought
   2      Q. Did you ever receive any other                2   Madame Carter was affiliated with Fairfield
   3   merchandise that had a Fairfield University logo    3   University?
   4   on it?                                              4          MS. POLLOCK: Other than what the
   5      A. No, I don't remember that.                    5   witness testified to?
   6      Q. You also testified earlier today about        6      A. No, she said it, and she had those
   7   being told that if you completed all your           7   shirts. I don't know. She said once we're
   8   classes you might be able to attend Fairfield       8   done, she would -- we're finished, she would
   9   University someday, is that right?                  9   help us.
  10      A. Yes, Ms. Carter told us that.                10   BY MR. CERRETA:
  11      Q. And was it your testimony that               11      Q. Did she say anything else other than
  12   Ms. Carter told you that through someone           12   that to make you think she was affiliated with
  13   interpreting into Creole, is that right?           13   Fairfield University?
  14      A. Yes.                                         14      A. No, I don't remember she said
  15      Q. Was it just one time that Madame             15   anything, because she would always give us
  16   Carter through an interpreter told you that?       16   advice to give us strength.
  17      A. I don't remember how many times she          17      Q. Do you remember Madame Carter saying
  18   said that.                                         18   anything else about Fairfield University, other
  19      Q. Did anybody else tell you that?              19   than what you've already told me?
  20      A. Douglas, Douglas always told us that.        20      A. I don't remember. Just what I said is
  21      Q. Do you know how many times Douglas           21   what I remember.
  22   told you that?                                     22      Q. While you were a student of PPT, do
  23      A. No, I don't remember.                        23   you remember anyone else telling you anything
  24      Q. What exactly would you have to do in         24   else about Fairfield University?
  25   order to get into Fairfield University?            25      A. No. After Hope Carter, Madame Carter


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   1      A. Madame Carter, since she was a part of        1   and Douglas, they talked about that, and when
   2   that university, if we did school very well, one    2   Madame Carter would come it would -- Douglas and
   3   day would come if we worked well, and we had a      3   Robinson would translate, and I didn't hear
   4   good behavior at school and at home, she had        4   anything else besides that. But everybody knew,
   5   access to that university, and then we could go.    5   all the kids knew. She said that in our
   6      Q. Would you have to complete your               6   presence, in front of all the kids in the
   7   classes at the Village in order to go to            7   Village.
   8   Fairfield University?                               8       Q. But other than what you've told me,
   9      A. Talking about finishing, I'm talking          9   she didn't say anything else that you can
  10   about school.                                      10   remember?
  11      Q. What grade would you have to go up to        11       A. No, I don't remember.
  12   in order to get into Fairfield University?         12       Q. How about Douglas, other than what
  13      A. Madame Carter said that when we were         13   you've told me already, do you remember anything
  14   done, she could do something like that because     14   else that Douglas told you about Fairfield
  15   she had access.                                    15   University?
  16      Q. Done with what?                              16       A. No, I don't remember anything else.
  17      A. With school, we were done with school.       17       Q. While you were a student at PPT, do
  18      Q. Up to the twelfth grade?                     18   you remember being told anything else about
  19      A. Yes, twelfth grade.                          19   Fairfield University?
  20      Q. What made you think that Madame Carter       20       A. I don't remember.
  21   was a part of Fairfield University?                21          MR. CERRETA: Thank you very much.
  22      A. She said it also. And because of             22   BY MR. KENNEDY:
  23   these T-shirts she always gave us, she made us     23       Q. Hi, Mr. Joseph. I know we met a long
  24   understand that, believe that.                     24   time ago this morning, I'm Jeff Kennedy, I
  25      Q. Other than the T-shirts she gave you,        25   represent Hope Carter. I have some questions


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   1   for you.                                            1   me, sir?
   2          How many times did Mrs. Carter speak         2      A. She's not a young person, she's an old
   3   to you through an interpreter?                      3   person. Her hair is not black. She always wore
   4      A. I don't remember. You know, she               4   glasses. She doesn't wear skirts a lot, she
   5   doesn't speak Creole. Every time she comes          5   always puts pants on, wears pants.
   6   there's always someone to translate for her.        6      Q. Anything else, sir?
   7      Q. And these translators were either             7      A. I don't have any other details.
   8   Douglas or Robinson?                                8         And she has a hump.
   9      A. Yes.                                          9      Q. Sir, do you know Kensley Previl?
  10      Q. But as we sit here today, you don't          10      A. I don't remember this person.
  11   remember how many times that she spoke through     11      Q. What about Ilguens Jean?
  12   these individuals to you or a group of students?   12      A. Ilguens how?
  13      A. Often, often. Several times. I don't         13      Q. Do you know him, sir?
  14   know.                                              14      A. No, I don't know him.
  15      Q. Okay. And you mentioned earlier today        15      Q. Do you know who that is, sir?
  16   that there was an indication through an            16      A. Where is he? If you tell me, if I
  17   interpreter that Mrs. Carter had access to         17   know him.
  18   Fairfield University, is that correct?             18      Q. Do you know a former PPT student named
  19      A. Yes, she said this thing.                    19   Ilguens Jean?
  20      Q. And she told you that through an             20      A. Yes, I know him.
  21   interpreter, is that your testimony?               21      Q. Okay. And have you spoken to him
  22      A. Yes.                                         22   recently, sir?
  23      Q. Okay. And how many times did she tell        23      A. Yeah, we talk, we make jokes.
  24   you that through an interpreter?                   24      Q. When is the last time that you saw
  25      A. I don't remember how often.                  25   him, sir?


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   1        Q. Was it more than once?                      1       A. Since he stays close by, I see him all
   2        A. I don't remember at all.                    2   the time.
   3        Q. Okay. And you also indicated before         3       Q. Okay. Are you aware that he came to
   4    that many times Mrs. Carter would say things to    4   the Dominican Republic to have his deposition
   5    give you strength, is that correct?                5   taken, sir?
   6        A. Yes, in school, "don't have bad             6       A. Ilguens?
   7    behavior, don't fight."                            7       Q. Yes, sir.
   8        Q. Okay. How many times did she say that       8       A. Yes, I remember that.
   9    through an interpreter, or a group of students?    9       Q. Okay. And did you speak to him after
  10    I'm sorry.                                        10   he came back from the Dominican Republic?
  11        A. I didn't count how many times.             11       A. After he came back, I didn't see him.
  12        Q. Now, I think you indicated before that     12   I think he went out.
  13    -- strike that. I'm sorry.                        13       Q. Okay. So you didn't -- you haven't
  14            Was Mrs. Carter nice to you?              14   spoken to him since he's been back from the
  15        A. Yes. She's not a bad person.               15   Dominican Republic, sir?
  16        Q. How was she nice to you, sir?              16       A. No, I didn't see him.
  17        A. Yeah, when she's talking among us,         17       Q. Do you know an individual named Emile
  18    when we are meeting, when she's talking she's     18   Jean Pierre, a former PPT student?
  19    always smiling, laughing, and she's always        19       A. Yes, I know him.
  20    shaking her head.                                 20       Q. Is he a friend of yours, sir?
  21        Q. Okay. I think you also indicated that      21       A. We don't talk like telling jokes, but
  22    she also brought gifts, is that correct?          22   he always calls me and I always call him when I
  23        A. Yes, she brought gifts, shirts,            23   see him, wherever I am and he's there.
  24    T-shirts.                                         24       Q. Do you have a cell phone, sir?
  25        Q. Can you describe her physically for        25       A. Yes, I have.


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   1        Q. Okay. And have you ever spoken to          1       A. I can't tell you his nationality.
   2    Ilguens Jean on your cell phone?                  2       Q. Do you know if he was Haitian, sir?
   3        A. Yeah, I've called him.                     3       A. No, he was a white person. He can't
   4        Q. So you have his phone number, sir?         4   be Haitian.
   5        A. I don't know his number by heart.          5       Q. And who else was at that meeting
   6        Q. You don't know his number by heart,        6   besides Mitch, sir?
   7    but you do have his phone number, sir?            7       A. Cyrus.
   8        A. Yes, I do have his number.                 8       Q. And were other former PPT students
   9        Q. What about Emile Jean Pierre, do you       9   there, sir?
  10    have his phone number, sir?                      10       A. Yes, we were all, all of us concerned.
  11        A. No, I don't.                              11       Q. And when was -- and when was this
  12        Q. Have you ever called him on the phone,    12   meeting, sir?
  13    sir?                                             13       A. I don't remember, but it didn't happen
  14        A. Who?                                      14   a long time ago. This year.
  15        Q. Emile Jean Pierre.                        15       Q. It happened this year?
  16        A. I don't have his phone number.            16       A. Yes, this year.
  17        Q. Now, are you aware that Emile Jean        17       Q. Do you know what month in 2015, sir?
  18    Pierre came to the Dominican Republic to have    18       A. I don't remember the month.
  19    his deposition taken, sir?                       19       Q. Okay. And did Cyrus speak to the
  20        A. Yes, I know.                              20   group, sir?
  21        Q. Did you speak to him about his            21          MS. POLLOCK: I'm going to instruct
  22    deposition, sir?                                 22   the witness, caution the witness not to disclose
  23        A. If I see him he'll say "Brisma," I say    23   any conversations that were given to you or any
  24    "Emile," and that's it.                          24   other students by Mitchell or any other lawyer
  25        Q. Sir, I think you just indicated to me     25   on the grounds of attorney/client privilege.

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   1   that you knew that both Emile Jean Pierre and      1      A. Cyrus was translating for the person
   2   Ilguens Jean came for their depositions in the     2   who came to present Mitch.
   3   Dominican Republic. How did you know that, sir?    3   BY MR. KENNEDY:
   4      A. I didn't -- I knew because I didn't          4      Q. And was the person who came to present
   5   see them, and I asked for them. They told me       5   Mitch a lawyer?
   6   they had gone to the Dominican Republic. And       6      A. I don't know.
   7   also I was aware with regards to people, I saw     7      Q. Okay. And what did Cyrus say to the
   8   them at the hotel.                                 8   group, sir?
   9      Q. Which hotel, sir?                            9          MS. POLLOCK: I'm going to instruct
  10      A. In Cap-Haïtien. I don't remember the        10   the witness not to answer this question on the
  11   name.                                             11   grounds of attorney/client privilege.
  12      Q. Was there a meeting at this hotel?          12          MR. KENNEDY: Okay. We'll make a note
  13      A. Yes.                                        13   for the record.
  14      Q. And who was at this meeting, sir?           14      A. Can you repeat the question, please?
  15      A. Someone who came to present Mitch, but      15   BY MR. KENNEDY:
  16   I don't remember.                                 16      Q. My question was, and what did Cyrus
  17      Q. Do you know an individual named Paul        17   say to the group, sir?
  18   Kendrick, sir?                                    18          MS. POLLOCK: Again I'm instructing
  19      A. Paul Ehrlich?                               19   the witness not to answer the question on the
  20      Q. No. Paul Kendrick, sir.                     20   grounds of the attorney/client privilege.
  21      A. No, I don't remember that person.           21          MR. KENNEDY: For the record, I object
  22      Q. Was the person who came to present          22   to your objection.
  23   Mitch a white person, sir?                        23   BY MR. KENNEDY:
  24      A. Yes.                                        24      Q. Is Cyrus an attorney, sir?
  25      Q. Was he an American, sir?                    25      A. I remember he said he was a


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   1   journalist, but I don't remember if he said he      1       A. It's Cyrus who made us travel.
   2   was a lawyer, too.                                  2       Q. Sir, how long was the trip from Haiti
   3       Q. Cyrus isn't representing you, is he,         3   to the Dominican Republic?
   4   sir?                                                4       A. I didn't have anything in my hand to
   5       A. I don't know anything about that.            5   verify, but we got to a place where we stepped
   6   What do you mean, "represent"?                      6   out of the bus, and we boarded another bus.
   7       Q. He's not representing you as a lawyer,       7       Q. And was that in the Dominican
   8   is he, sir?                                         8   Republic, sir?
   9       A. I don't know. No.                            9       A. Yes. When we got there, we took a
  10       Q. And did you come from Haiti to the          10   taxi to come here.
  11   Dominican Republic with Cyrus?                     11       Q. And did you all sit together on the
  12       A. Yes.                                        12   bus, sir?
  13       Q. Okay. And how did you come to the           13          MS. POLLOCK: Objection. Vague.
  14   Dominican Republic?                                14   BY MR. KENNEDY:
  15       A. He gave me money so I could buy what I      15       Q. Did you all sit on the first bus
  16   needed. Because of the hurricane it didn't         16   coming from Haiti to the Dominican Republic?
  17   happen, he said he would call me again. After      17       A. All the people who left Cap-Haïtien?
  18   he called me, he said he was going to wait for     18       Q. Yes, sir.
  19   me on Carenage Square so we could travel, and I    19       A. When we had to come get down, I saw
  20   came at 7:00 p.m., I waited for him. When I        20   some of them, but not all of them. And the
  21   waited for him, I saw him, we went -- we crossed   21   people I did see were me, Raynel, Wadson, and
  22   the yard where the car is. I sat, he checked       22   Cyrus. That's the people. These are people I
  23   his passport, he made his check inside the         23   recognize, and I remember their faces.
  24   office. When we started our trip -- we started     24       Q. And on this trip, did you discuss your
  25   our trip when he finished checking the passport,   25   lawsuit with Cyrus?

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   1   he checked everything, then we boarded the,         1       A. While I was sitting in the car?
   2   one-by-one, the car, and we started our trip.       2       Q. On the bus, yes, sir.
   3       Q. And I believe from earlier testimony         3       A. I didn't talk to Cyrus about that.
   4   today, Cyrus provided you with your passport, is    4       Q. Okay. And since you've been in the
   5   that correct, sir?                                  5   Dominican Republic, have you spoken to Cyrus
   6       A. Yes, he found it.                            6   about your deposition, sir?
   7       Q. You had never seen the passport              7       A. No, I didn't talk to him. When I went
   8   before, sir?                                        8   to eat earlier, I did see him.
   9       A. No.                                          9       Q. Is he staying at the Barcelo, sir,
  10          MS. POLLOCK: Counsel, you're at seven       10   this hotel?
  11   hours and you still have another lawyer to ask     11       A. Yes, that's where I saw him.
  12   questions.                                         12       Q. Sir, you yourself are staying at this
  13          MR. KENNEDY: Okay.                          13   hotel, correct?
  14   BY MR. KENNEDY:                                    14       A. Barcelo Hotel.
  15       Q. Now, sir, who else travelled with you       15       Q. Yes.
  16   besides Cyrus?                                     16       A. Yes, yes, where I am.
  17       A. There were three of us.                     17       Q. Are you sharing a room with anybody,
  18       Q. What were the names? Who were the           18   sir?
  19   three people, sir, three other people? I'm         19       A. Yes.
  20   sorry.                                             20       Q. And who is that, sir?
  21       A. Wadson, and Cyrus, me, too, and             21       A. Wadson. I forgot his last name.
  22   Raynel. And another person who was doing the       22          MR. KENNEDY: Just a matter of
  23   trip with us.                                      23   housekeeping, could you just state the basis for
  24       Q. And do you know who that other person       24   your objection?
  25   was, sir?                                          25          MS. POLLOCK: Attorney/client


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   1   privilege.                                         1          CERTIFICATE
   2          MR. KENNEDY: On the question about          2          I, MAUREEN O'CONNOR POLLARD, LSR #473,
   3   Cyrus speaking to the group?                       3   RMR, CLR, and Notary Public in and for the State
   4          MS. POLLOCK: Yes.                           4   of Connecticut, do hereby certify that there
   5          MR. KENNEDY: That's the basis of the        5   came before me on the 29th day of September,
   6   objection --                                       6   2015, the person hereinbefore named, who was
   7          MS. POLLOCK: Yes.                           7   duly sworn to testify to the truth of their
   8          MR. KENNEDY: -- is attorney/client          8   knowledge concerning the matters in this cause,
   9   privilege?                                         9   and their examination reduced to typewriting
  10          MS. POLLOCK: Yes. He was                   10   under my direction and is a true record of the
  11   interpreting for someone else who I'm almost      11   testimony.
  12   positive was a lawyer at my firm.                 12          I further certify that I am neither
  13          MR. KENNEDY: Okay. Thank you very          13   attorney for or related or employed by any of
  14   much, sir.                                        14   the parties to the action, and that I am not a
  15          THE VIDEOGRAPHER: Going off the            15   relative or employee of any attorney or counsel
  16   record. The time is 6:59.                         16   employed by the parties hereto or financially
  17          (Pause.)                                   17   interested in the action.
  18          THE VIDEOGRAPHER: Back on the record.      18          In witness whereof, I have hereunto
  19   The time is 6:59.                                 19   set my hand and seal this 5th day of October,
  20   BY MR. BABBITT:                                   20   2015.
  21       Q. Good afternoon. I'm Bradford Babbitt.      21
  22   I represent the American Association of the       22     ________________________________________
  23   Order of Malta.                                   23     MAUREEN O'CONNOR POLLARD, License #473
  24          At any time before PPT closed, did you     24     Realtime Systems Administrator, RMR
  25   hear the name Haiti Fund?                         25     Notary Commission Expires: 10/31/2017


                                         Page 207                                                Page 209
   1      A. I don't understand these words.              1          INSTRUCTIONS TO WITNESS
   2      Q. Have you ever heard -- did you ever          2
   3   hear, before PPT closed, the words Haiti Fund      3              Please read your deposition over
   4   together like that?                                4    carefully and make any necessary corrections.
   5      A. I don't remember that.                       5    You should state the reason in the appropriate
   6      Q. At any time before PPT closed, did you       6    space on the errata sheet for any corrections
   7   hear the name Order of Malta?                      7    that are made.
   8      A. I don't remember this thing.                 8              After doing so, please sign the
   9      Q. I'm sorry, just to be clear, before          9    errata sheet and date it. It will be attached
  10   PPT closed, you don't remember ever hearing the   10    to your deposition.
  11   name Order of Malta?                              11              It is imperative that you return
  12      A. I've never heard things like that,          12    the original errata sheet to the deposing
  13   about things like that. I don't know. I don't     13    attorney within thirty (30) days of receipt of
  14   know.                                             14    the deposition transcript by you. If you fail
  15          MR. BABBITT: Okay. That's the only         15    to do so, the deposition transcript may be
  16   questions I have. Thank you.                      16    deemed to be accurate and may be used in court.
  17          THE VIDEOGRAPHER: This concludes the       17
  18   September 29, 2015 deposition of Mr. Joseph.      18
  19   Going off the record. The time is 7:01.           19
  20          (Whereupon, the deposition was             20
  21          concluded.)                                21
  22                                                     22
  23                                                     23
  24                                                     24
  25                                                     25


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   1           ------                                     1         LAWYER'S NOTES
               ERRATA                                     2   PAGE LINE
   2           ------                                     3   ____ ____ _______________________________
   3   PAGE LINE CHANGE                                   4   ____ ____ _______________________________
   4   ____ ____ _________________________________        5   ____ ____ _______________________________
   5     REASON: __________________________________       6   ____ ____ _______________________________
   6   ___ ____ __________________________________        7   ____ ____ _______________________________
   7     REASON: __________________________________       8   ____ ____ _______________________________
   8   ____ ____ _________________________________        9   ____ ____ _______________________________
   9     REASON: __________________________________      10   ____ ____ _______________________________
  10   ____ ____ _________________________________
                                                         11   ____ ____ _______________________________
  11     REASON: __________________________________
                                                         12   ____ ____ _______________________________
  12   ____ ____ _________________________________
                                                         13   ____ ____ _______________________________
  13     REASON: __________________________________
                                                         14   ____ ____ _______________________________
  14   ____ ____ _________________________________
                                                         15   ____ ____ _______________________________
  15     REASON: _________________________________
                                                         16   ____ ____ _______________________________
  16   ____ ____ _________________________________
  17     REASON: _________________________________
                                                         17   ____ ____ _______________________________
  18   ____ ____ _________________________________       18   ____ ____ _______________________________
  19     REASON: _________________________________       19   ____ ____ _______________________________
  20   ____ ____ _________________________________       20   ____ ____ _______________________________
  21     REASON: _________________________________       21   ____ ____ _______________________________
  22   ____ ____ _________________________________       22   ____ ____ _______________________________
  23     REASON: _________________________________       23   ____ ____ _______________________________
  24   ____ ____ _________________________________       24   ____ ____ _______________________________
  25                                                     25


                                             Page 211
   1         ACKNOWLEDGMENT OF DEPONENT
   2
   3             I, __________________________, do
       Hereby certify that I have read the foregoing
   4   pages, and that the same is a correct
       transcription of the answers given by me to the
   5   questions therein propounded, except for the
       corrections or changes in form or substance, if
   6   any, noted in the attached Errata Sheet.
   7
   8   _________________________________
       JHEEMPSON BRISMAC JOSEPH DATE
   9
  10
  11
  12
  13
  14
  15   Subscribed and sworn
       To before me this
  16   ______ day of _________________, 20____.
  17   My commission expires: ________________
  18
       _______________________________________
  19   Notary Public
  20
  21
  22
  23
  24
  25


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                  UNITED STATES DISTRICT COURT
                  DISTRICT OF CONNECTICUT
                                       Civil Action No.
                                       3:13-cv-01132(RNC)
        ****************************
        GERVIL ST. LOUIS, a/k/a ST.    Consolidated with:
        LOUIS GERVIL,                  3:13-cv-1225-RNC
                                       3:13-cv-1269-RNC
                       Plaintiff,      3:13-cv-1437-RNC
                                       3:13-cv-1480-RNC
             v.                        3:13-cv-1626-RNC
                                       3:13-cv-1627-RNC
        DOUGLAS PERLITZ, FATHER        3:13-cv-1628-RNC
        PAUL E. CARRIER, S.J.; HOPE    3:13-cv-1629-RNC
        E. CARTER; HAITI FUND,         3:13-cv-1630-RNC
        INC.; FAIRFIELD UNIVERSITY;    3:13-cv-1631-RNC
        THE SOCIETY OF JESUS OF NEW    3:13-cv-1632-RNC
        ENGLAND; SOVEREIGN MILITARY    3:13-cv-1633-RNC
        HOSPITALLER ORDER OF ST.       3:13-cv-1634-RNC
        JOHN OF JERUSALEM OF RHODES    3:13-cv-1635-RNC
        AND OF MALTA, AMERICAN         3:13-cv-1636-RNC
        ASSOCIATION, U.S.A.; a/k/a     3:13-cv-1637-RNC
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        ASSOCIATION, U.S.A.; JOHN      3:13-cv-1639-RNC
        DOE ONE; JOHN DOE TWO; JOHN    3:13-cv-1640-RNC
        DOE THREE; JOHN DOE FOUR;      3:13-cv-1641-RNC
        JOHN DOE FIVE; JOHN DOE SIX    3:13-cv-1642-RNC
        and JOHN DOE SEVEN,            3:13-cv-1644-RNC
                                       3:13-cv-1645-RNC
                       Defendants.     3:13-cv-1647-RNC
                                       3:13-cv-1648-RNC
                                       3:13-cv-1701-RNC
                                       3:13-cv-1767-RNC
                                       3:13-cv-1768-RNC
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                                       3:13-cv-1881-RNC
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                                       3:13-cv-1906-RNC
                                       3:13-cv-1907-RNC
        ******************************
        This document applies to:
        All of the above referenced cases
        And those to be filed
        ******************************
        CONFIDENTIAL - SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
             VIDEOTAPED DEPOSITION OF RAYNEL ODILBERT

                   Monday, September 28, 2015
                          9:09 a.m.

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   1     VIDEOTAPED DEPOSITION OF RAYNEL ODILBERT              1   APPEARANCES (Continued):
   2                                                           2   FOR THE DEFENDANT PAUL E. CARRIER, S.J.:
   3                                                           3     TIMOTHY P. O'NEILL, ESQ.
       Held At:                                                4        MURPHY & KING
   4     Barcelo Puerto Plata                                  5        One Beacon Street, Twenty First Floor
   5     Carretera Luperón, km 5, Puerto Plata 547             6        Boston, Massachusetts 02108
   6     Dominican Republic                                    7        617-423-0400
   7                                                           8        tpo@murphyking.com
   8                                                           9
   9   REPORTED BY:                                           10   FOR THE DEFENDANT HOPE E. CARTER:
  10   Maureen O'Connor Pollard, RMR, CLR, LSR #473
                                                              11     JEFFREY W. KENNEDY, ESQ.
  11   Realtime Systems Administrator
                                                              12        MILANO & WANAT LLC
  12
                                                              13        471 East Main Street
  13
                                                              14        Branford, Connecticut 06405
  14
                                                              15        203-315-7000
  15
                                                              16        jkennedy@mwllc.us
  16
                                                              17
  17
  18                                                          18   FOR THE DEFENDANT ORDER OF MALTA AMERICAN
  19                                                          19   ASSOCIATION, U.S.A.:
  20                                                          20     BRADFORD S. BABBITT, ESQ.
  21                                                          21        ROBINSON & COLE LLP
  22                                                          22        280 Trumbull Street
  23                                                          23        Hartford, Connecticut 06103
  24                                                          24        860-275-8200
  25                                                          25        bbabbitt@rc.com


                                                     Page 3                                                     Page 5
   1   APPEARANCES:                                            1   APPEARANCES (Continued):
   2   FOR THE PLAINTIFF:                                      2   FOR THE DEFENDANT FAIRFIELD UNIVERSITY:
   3     MITCHELL GARABEDIAN, ESQ.                             3     JOHN W. CERRETA, ESQ.
   4       LAW OFFICES OF MITCHELL GARABEDIAN                  4       DAY PITNEY LLP
   5        100 State Street, Sixth Floor                      5       242 Trumbull Street
   6        Boston, Massachusetts 02109                        6       Hartford, Connecticut 06103
   7        617-523-6250                                       7       860-275-0100
   8        garabedianlaw@earthlink.com                        8       jcerreta@daypitney.com
   9           -and-                                           9
  10     ELLYN H. HURD, ESQ.                                  10   FOR THE DEFENDANT THE SOCIETY OF JESUS OF
  11        SIMMONS HANLY CONROY
                                                              11   NEW ENGLAND:
  12        112 Madison Avenue
                                                              12     MICHAEL KERRIGAN, ESQ.
  13       New York, New York 10016
                                                              13       SLOANE AND WALSH, LLP
  14        212-784-6400
                                                              14       Three Center Plaza, Suite 830
  15       ehurd@simmonsfirm.com
                                                              15       Boston, Massachusetts 02108
  16           -and-
                                                              16       617-523-6010
  17     JO ANNA POLLOCK, ESQ.
  18        SIMMONS HANLY CONROY
                                                              17       mkerrigan@sloanewalsh.com
  19        One Court Street                                  18
  20        Alton, Illinois 62002                             19
            618-259-2222                                      20   Videographer: Christopher Coughlin
  21       jpollock@simmonsfirm.com                           21
  22                                                          22   Interpreter: Nathalie Coupet
  23                                                          23
  24                                                          24   Also Present:
  25                                                          25   Jean Elyseé Pierre Louis, Interpreter


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   1             INDEX                                                  1          MR. KERRIGAN: Feel free.
   2   EXAMINATION                                    PAGE              2          THE WITNESS: Raynel Odilbert.
   3   RAYNEL ODILBERT
   4   BY MR. O'NEILL                                 9                 3          MR. KERRIGAN: Good to meet you.
   5   BY MR. CERRETA                                  109              4          I'm an attorney representing the
   6   BY MR. KERRIGAN                                  137             5   Society of Jesus of New England.
   7   BY MR. KENNEDY                                   169             6          MR. CERRETA: Good morning. John
   8   BY MR. BABBITT                                 198
   9                                                                    7   Cerreta for Fairfield University.
  10                                                                    8          MR. KENNEDY: Good morning. I'm
  11       EXHIBITS                                                     9   Jeffrey Kennedy. I represent Hope Carter.
  12   NO.      DESCRIPTION                       PAGE
  13   1 Complaint and Jury Trial Demand...... 9
                                                                       10          MR. BABBITT: Good morning. Bradford
  14   2 Plaintiff Raynel Odilbert's                                   11   Babbitt on behalf of the American Association of
         Response to Certain Defendants'                               12   the Order of Malta.
  15     First Set of Interrogatories......... 10                      13          MR. GARABEDIAN: Good morning.
  16   3 Copy of Raynel Odilbert's Birth
         Certificate.......................... 10                      14   Mitchell Garabedian representing all Plaintiffs
  17                                                                   15   in the Gervil St. Louis matter, including Raynel
       4   Copy of Raynel Odilbert's Passport... 11                    16   Odilbert.
  18
       5   Copy of Raynel Odilbert's Visa....... 11
                                                                       17          MS. POLLOCK: Jo Anna Pollock from
  19                                                                   18   Simmons Hanly Conroy, and I represent the
       6  List of Claimants covered by the                             19   Plaintiffs.
  20     2013 Settlement Agreement............105                      20          MS. HURD: Ellyn Hurd from Simmons
  21   7 Document titled Pending Related
         Cases................................106                      21   Hanly Conroy representing the Plaintiffs.
  22                                                                   22          THE VIDEOGRAPHER: The court reporter
       8   List of names........................108                    23   is Maureen Pollard, and she will now swear in
  23
  24
                                                                       24   the witness and the interpreter.
  25                                                                   25


                                                              Page 7                                                Page 9
   1          PROCEEDINGS                                               1          NATHALIE COUPET,
   2                                                                    2   having been duly sworn to translate the
   3          THE VIDEOGRAPHER: We are now on the                       3   testimony to the best of her ability, translated
   4   record. My name is Chris Coughlin, and I'm a                     4   as follows:
   5   videographer for Golkow Technologies.                            5
   6          Today's date is September 28, 2015,                       6           RAYNEL ODILBERT,
   7   and the time is 9:09 a.m..                                       7   having been first duly sworn, was examined and
   8          This video deposition is being held in                    8   testified as follows through the interpreter:
   9   Puerto Plata, Dominican Republic in the matter                   9           DIRECT EXAMINATION
  10   of Gervil St. Louis, Plaintiff, versus Douglas                  10   BY MR. O'NEILL:
  11   Perlitz, et al, Defendants, in the United States                11       Q. As you heard, my name is Timothy
  12   District Court for the District of Connecticut,                 12   O'Neill, and I represent Father Carrier.
  13   Civil Action Number 3:13-cv-01132-RNC.                          13           MR. O'NEILL: I'm going to start by
  14          The deponent is Raynel Odilbert.                         14   introducing premarked exhibits. Exhibit 1 is
  15          Will counsel please identify                             15   the Complaint in this matter filed November 7,
  16   yourselves and swear in the witness -- and state                16   2013.
  17   whom you represent.                                             17          (Whereupon, Odilbert Exhibit Number 1,
  18          MR. O'NEILL: My name is Timothy                          18          Complaint and Jury Trial Demand, was
  19   O'Neill, and I represent the Reverend Paul                      19          marked for identification.)
  20   Carrier.                                                        20           MR. O'NEILL: I didn't make copy for
  21          MR. KERRIGAN: Good morning,                              21   everyone, but there are four or five copies
  22   Mr. Odilbert. My name is Michael Kerrigan, and                  22   here.
  23   I represent --                                                  23           MR. GARABEDIAN: As long as the
  24          THE INTERPRETER: He's telling you his                    24   deponent has a copy.
  25   name.                                                           25           MR. O'NEILL: He does.


                                                                                            3 (Pages 6 to 9)
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   1          MR. O'NEILL: Next I will mark as           1      A. I came here with the other guys for
   2   Exhibit 2 Plaintiff Raynel Odilbert's response    2   the deposition.
   3   to certain interrogatories.                       3      Q. Who are the other guys?
   4          (Whereupon, Odilbert Exhibit Number 2,     4      A. I don't remember their names.
   5          Plaintiff Raynel Odilbert's Response       5      Q. Didn't you know them from before?
   6          to Certain Defendants' First Set of        6      A. I recognized them, but I didn't
   7          Interrogatories, was marked for            7   remember their names.
   8          identification.)                           8      Q. You recognized them from being
   9          MR. O'NEILL: I will introduce as           9   students at the Village?
  10   Exhibit 3 a copy of Mr. Odilbert's birth         10      A. Yes, they were students at the Pierre
  11   certificate.                                     11   Toussaint Village.
  12          (Whereupon, Odilbert Exhibit Number 3,    12      Q. How long have you known Cyrus Sibert?
  13          Copy of Raynel Odilbert's Birth           13      A. Since 2013.
  14          Certificate, was marked for               14      Q. You didn't know him before then?
  15          identification.)                          15      A. No.
  16          MS. POLLOCK: Is there an extra copy       16      Q. Did you know of him? Did you know
  17   of Exhibits 1 through 3 for me?                  17   that he was on the radio, for example?
  18          MR. CERRETA: You can take mine            18      A. Yes, I knew he was on the radio, but I
  19   (handing).                                       19   didn't know him.
  20          MS. POLLOCK: Thank you. Do you have       20      Q. But you met him in 2013?
  21   the Complaint, an extra copy of Exhibit 1?       21      A. Yes.
  22          MR. CERRETA: I think you have it.         22      Q. For the first time?
  23          MS. POLLOCK: I see it. Thank you.         23      A. For the first time.
  24          MR. O'NEILL: For Exhibit 4, a copy of     24      Q. Now, next month in October,
  25   your passport, Mr. Odilbert's passport           25   Mr. Odilbert, you turn 29, don't you, 29 years


                                          Page 11                                               Page 13
   1   photograph.                                       1   old?
   2         (Whereupon, Odilbert Exhibit Number 4,      2       A. Yes.
   3         Copy of Raynel Odilbert's Passport,         3      Q. You're 28 right now, but by October --
   4         was marked for identification.)             4   your birth date is October what?
   5         MR. GARABEDIAN: Jo Anna, do you have        5      A. October 25th. October 25th, 1986.
   6   Exhibit 3?                                        6      Q. Now, we introduced a copy of your
   7         MR. O'NEILL: Finally, Exhibit 5, a          7   birth certificate as Exhibit -- I didn't save
   8   copy of the Visa to the Dominican Republic.       8   one for myself -- Exhibit 3?
   9         (Whereupon, Odilbert Exhibit Number 5,      9       A. Yes.
  10         Copy of Raynel Odilbert's Visa, was        10      Q. Did you have a copy of your birth
  11         marked for identification.)                11   certificate before?
  12         MS. POLLOCK: Is there an extra copy        12      A. No.
  13   of Exhibit 5?                                    13      Q. Is this the first time this copy that
  14         MR. CERRETA: I have one down here          14   your -- how did this copy come into being? Who
  15   (handing).                                       15   got it for you?
  16   BY MR. O'NEILL:                                  16      A. Cyrus Sibert.
  17      Q. Mr. Odilbert, how long have you been       17      Q. Okay. Was that recently that he got
  18   here in Barcelo, the luxury resort Barcelo?      18   you that birth certificate?
  19      A. Since Saturday.                            19      A. It's been a while.
  20      Q. And how did you get here?                  20       Q. A year?
  21      A. I came here with Cyrus.                    21      A. About a year.
  22      Q. Cyrus who?                                 22       Q. Okay. Do you read Creole?
  23      A. Sibert.                                    23      A. I'm not very good at it.
  24      Q. And who else? Did you come with            24      Q. You did the first grade, the second
  25   anyone else, Cyrus Sibert and anyone else?       25   grade, the third grade, the fourth grade, the


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   1    fifth grade, and the sixth grade, and you can't     1       A. The school is called Sacré Coeur,
   2    read Creole?                                        2   Sacred Heart.
   3        A. I'm not good at reading in Creole.           3       Q. What else did you study in sixth grade
   4        Q. Well, what does that mean? Can you           4   at Sacred Heart School?
   5    read the newspaper, for example, in Haiti?          5       A. And then I learned mathematics, but I
   6        A. I'm not very good at reading.                6   didn't learn anything else after that because I
   7        Q. Well, can you read a newspaper?              7   didn't learn any other language.
   8        A. There are things that I'm able to            8       Q. All right. At the Village, or the
   9    read, but not everything.                           9   Village, you studied social studies, didn't you?
  10        Q. Well, tell me what things you can           10       A. Yes.
  11    read.                                              11       Q. And who was your instructor in social
  12        A. Some things, but I can't tell you           12   studies at the Village?
  13    directly.                                          13       A. Patrice.
  14        Q. You don't remember the things you can       14       Q. What did the teacher by the name of
  15    read?                                              15   Mémé teach? M-E-M-E.
  16        A. For example, if I see my name, I'll be      16       A. Mathematics.
  17    able to read it.                                   17       Q. Now, all this while in the sixth
  18        Q. What else?                                  18   grade, the fifth grade, the fourth grade, the
  19        A. If I see my child's name, I will be         19   third grade, the second grade, and the first
  20    able to read it, my parents' name, my father, my   20   grade, you were learning Creole, weren't you?
  21    mother's name, I will be able to read it.          21       A. I was learning Creole French, but I
  22        Q. Just names?                                 22   wasn't very good at school.
  23        A. Yes.                                        23       Q. But they didn't hold you back to keep
  24        Q. Can you read your birth certificate?        24   you in the first grade, did they? They moved
  25    Can you read that to me, what it says?             25   you on to the second grade, the third grade, the

                                             Page 15                                                Page 17
   1       A. There are a lot of things I can see.          1   fourth grade, and the sixth grade?
   2       Q. Tell me what they are.                        2          MS. POLLOCK: Objection. Vague.
   3       A. I see my date of birth, my name, I'll         3       A. I had -- I reached the average, had
   4    be able to read those.                              4   average grades.
   5       Q. What else?                                    5   BY MR. O'NEILL:
   6       A. Nothing else.                                 6       Q. Did they test you on Creole?
   7       Q. You studied French in school?                 7       A. I didn't reach the average grade in
   8       A. I was in sixth class, I started to            8   Creole.
   9    learn, and I was -- I learned more French than      9       Q. Did you take tests is the question.
  10    anything else. But I wasn't good at it. I          10       A. Yes.
  11    wasn't -- small classes.                           11       Q. Did you have to write the answers out
  12       Q. You did the sixth grade twice, didn't        12   in the tests?
  13    you?                                               13       A. Some things I did write, but not
  14       A. Twice.                                       14   everything. I didn't write everything.
  15       Q. You did it once at the Village, the          15       Q. What did you write?
  16    Village?                                           16       A. I don't remember. It's been a long
  17       A. I did second -- I did third year,            17   time.
  18    fourth year, fifth year, sixth year at the         18       Q. When you were in school at the Village
  19    Village.                                           19   starting in 2004, having been born in 1986, how
  20       Q. And you also did sixth year at another       20   old were you in 2004, using your mathematics?
  21    school after the Village, didn't you? You          21       A. I'm going to think a little bit to
  22    repeated sixth grade?                              22   calculate this.
  23       A. I repeated sixth grade.                      23       Q. Okay. Take your time.
  24       Q. What was the name of the school you          24       A. I was 23 years old.
  25    repeated it at?                                    25       Q. In 2004?


                                                                           5 (Pages 14 to 17)
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   1       A. Let me think again.                          1       A. Mm-hmm.
   2       Q. Sure.                                        2       Q. So you would have been 18 in 2004. Do
   3       A. I can't -- I don't know. I'm not very        3   you agree?
   4   good in math.                                       4       A. Say it again.
   5       Q. According to my calculations, you            5       Q. Okay. You agree 1996, you were 10?
   6   would have turned 19 in -- I mean 18, sorry, in     6       A. One second. Yes, I agree.
   7   October, 2004. Does that seem right or correct?     7       Q. So if you added another ten years,
   8   You don't have to agree, but that's the way I       8   let's do it this way, if you add another ten
   9   calculated it.                                      9   years to that, 1996, that would be 2006. In
  10       A. I didn't calculate this, because I'm        10   2006, you would turn 20 in 2006?
  11   not very good in math.                             11       A. Yes.
  12       Q. Okay. Will you accept the fact that         12       Q. So subtract two years from 2006; 2005,
  13   in 2004, up until October or your birth date in    13   2004?
  14   October, you were 18, and then -- rather 17, and   14          MS. POLLOCK: What did he say?
  15   then you turned 18 in October, 2004?               15       A. Yes, it's 18 years old.
  16       A. But I'm not good in math, so I don't        16   BY MR. O'NEILL:
  17   know.                                              17       Q. So you agree in 2004 in October you
  18       Q. Well, if we count from your birthday,       18   turned 18, is that fair to say?
  19   and math tells us that you were 17 until you       19       A. I was 10 in 1996. Okay. In 2004, I
  20   turned 18 in October, 2004, will you accept that   20   was 18.
  21   as the age you were at that time?                  21       Q. All right. October, 2004.
  22          MS. POLLOCK: Objection to form.             22       A. October 25th.
  23          MR. GARABEDIAN: Objection.                  23       Q. Now, you live at Ruelle Capoise, or
  24          MR. KERRIGAN: Can we have one counsel       24   how do you say it, where you live now?
  25   objecting, please?                                 25       A. Yes.

                                            Page 19                                              Page 21
   1      A. I should be the one calculating it. I         1      Q. How do you say it?
   2   didn't calculate it.                                2      A. Yes, it's Ruelle Capoise.
   3   BY MR. O'NEILL:                                     3      Q. Ruelle Capoise. I never studied
   4      Q. Well, calculate it then.                      4   French, forgive my pronunciation.
   5          MS. POLLOCK: Object to the form.             5           And you live near the airport?
   6   BY MR. O'NEILL:                                     6      A. Yes.
   7      Q. Do you want a pen?                            7      Q. Who do you live there with?
   8      A. Can you help me out, please, to               8      A. I live at a cousin's house, a female
   9   calculate?                                          9   cousin.
  10      Q. You were born 1986 in October. You           10      Q. And what's her name?
  11   turned 10 in 1996, 10 years later, October?        11      A. Madame Moïse, Ms. Moïse.
  12          MS. POLLOCK: What is the witness            12      Q. How do you spell that last name, do
  13   saying? What is he asking you?                     13   you know?
  14          THE INTERPRETER: I was 10 years old?        14      A. M-O-I, with the two dots, S-E.
  15          MS. POLLOCK: You need to let us know        15      Q. How long have you lived there?
  16   that.                                              16      A. A long time. I don't really remember,
  17      A. Yes.                                         17   but it's been a while.
  18   BY MR. O'NEILL:                                    18      Q. Well, how many years?
  19      Q. You agree in October, 1996, you turned       19      A. I don't remember.
  20   10?                                                20      Q. Is there something wrong with your
  21      A. Yes.                                         21   memory?
  22      Q. So if you count from 1996 to 2004,           22           MS. POLLOCK: Objection, Counsel.
  23   that will be eight years, wouldn't it, '97, '98,   23           MR. O'NEILL: Make an objection, and
  24   count it on your fingers, '97, '98, '99, 2000,     24   that's all you do, and he can answer the
  25   2001, 2002, 2003, 2004?                            25   question.


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   1          MS. POLLOCK: Understand.                      1       Q. Why did you live on the streets when
   2          MR. O'NEILL: Let's hear that question         2   you had a perfectly good place to sleep?
   3    again.                                              3       A. It wasn't my house. It was my
   4        A. I don't know how many years I've been        4   family's house.
   5    living at her house, because until now I'm still    5       Q. Well, you're there now?
   6    there. I'm still living there.                      6       A. I sleep there. I sleep there, but
   7    BY MR. O'NEILL:                                     7   that doesn't mean that they're in charge of me.
   8        Q. Do you have trouble remembering dates        8   I just sleep there.
   9    and times?                                          9       Q. Well, he's 27 years old, why would
  10        A. I can remember years, but not dates.        10   they be in charge of him? 28, sorry.
  11    Because the place where I am now, I've been        11       A. They are not in charge of me.
  12    going there ever since I was a child, I've         12       Q. That's right. Why would they be in
  13    always slept there.                                13   charge of you at any point that you've been
  14        Q. In 2015, you lived there full-time in       14   living there from 2012 on?
  15    this Ruelle Capoise? You lived there in 2015?      15       A. They're not in charge of me. I just
  16        A. Full-time.                                  16   sleep in their house. They are not in charge of
  17        Q. 2014, last year, did you live there?        17   me.
  18        A. All the time. That's where I sleep.         18       Q. You're the father of a baby boy,
  19        Q. 2013, did you live there?                   19   aren't you?
  20        A. Yes. I've always stayed there.              20       A. Yes.
  21        Q. 2012, did you live there?                   21       Q. How old is he?
  22        A. I was there.                                22       A. 17 months.
  23        Q. 2011, did you live there?                   23       Q. 17 months, so nearly a year and a half
  24        A. Since I was small, I've always been         24   old?
  25    there.                                             25       A. He's not almost a year and a half. He

                                             Page 23                                                Page 25
   1       Q. Well, you said in your interrogatories        1   is one year and a half in one month. A mistake
   2   you lived in the streets for several years,          2   I made, my mistake.
   3   didn't you?                                          3       Q. And what is your baby boy's name?
   4       A. Yes.                                          4       A. Raynelson Odilbert, same as my name.
   5       Q. So you weren't living at Ruelle               5       Q. Can you spell that?
   6   Capoise in the years you were living in the          6       A. R-A-Y-N-E-L-S-O-N, last name
   7   streets?                                             7   O-D-I-L-B-E-R-T.
   8       A. She -- sometimes I went to sleep at           8       Q. Raynelson Odilbert.
   9   her place, she would go get me in the street,        9          When was he born? What's his date of
  10   but sometimes she wouldn't find me, so I would      10   birth?
  11   always be there.                                    11       A. I don't remember the month.
  12       Q. So you weren't living in the streets?        12       Q. It was in 2014 that he was born,
  13       A. I used to live in the street also, but       13   correct?
  14   from time to time they would always come to get     14       A. No.
  15   me.                                                 15       Q. What year was he born?
  16       Q. Why were you living in the streets           16       A. Wait, wait, wait, wait. Let me see.
  17   where you had a house you could go to and sleep     17   Let me verify.
  18   in?                                                 18       Q. Okay. Is it correct to say he was
  19       A. When I moved from the rural area, I          19   born in 2014?
  20   went straight to the streets. But I wasn't          20       A. Yes, it's correct.
  21   interested in going there, although these people    21       Q. Are you a proud father?
  22   were my family, I didn't stay there all the         22       A. Yes.
  23   time. Only when I went to the Village, then I       23       Q. Do you take care and look after your
  24   stayed there all the time, and I used to go         24   son?
  25   sleep there on weekends.                            25       A. When I have, when I don't have, then


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   1   he just stays like that. But I still stay with     1       A. It's in the same area, but I can't
   2   the -- his mother. And, you know, Haiti, it's a    2   tell you what distance. I don't have anything
   3   country of high unemployment. When I don't have    3   to measure, you know.
   4   I don't have.                                      4       Q. How long does it take you to walk from
   5      Q. Okay. What's the mother's name?              5   Rosemichelle's house to your mother's house?
   6      A. Her name is Rosemichelle. One word,          6       A. I've never checked. I don't know.
   7   R-O-S-E-M-I-C-H-E-L-L-E, last name D-O-S-S-O-U.    7       Q. Well, is it a long walk, or a short
   8      Q. D-O-S-S-O --                                 8   walk?
   9      A. U.                                           9          MS. POLLOCK: Objection. Vague.
  10      Q. -- U.                                       10       A. Not long.
  11          Okay. Where does she live?                 11   BY MR. O'NEILL:
  12      A. In a place called Dondon.                   12       Q. Very short?
  13      Q. Dondon?                                     13          MS. POLLOCK: Objection. Vague.
  14          THE INTERPRETER: D-O-N-D-O-N.              14       A. A small time, small -- not long.
  15      Q. How far is that from Cap-Haïtien?           15   BY MR. O'NEILL:
  16      A. When you take a cab, Haitian public         16       Q. How do you support your baby boy and
  17   transportation, you go to Dondon, the area of     17   Rosemichelle?
  18   Dondon, you pay $15 Haitian money.                18       A. I used to do motorcycle taxi, that's
  19      Q. How long does it take you in a cab to       19   what I'm doing now. But at the time I was in
  20   get from Cap-Haïtien to Dondon?                   20   Dominican Republic, I was working under banana
  21      A. When it's motorcycle taxi, you pay 100      21   trees, that's what I did to take care of
  22   gourdes, and it takes you an hour.                22   Rosemichelle.
  23      Q. She lives, this woman -- I can't say        23       Q. How long have you had a relationship,
  24   her name, I'm sorry.                              24   man and woman, with Rosemichelle?
  25          THE INTERPRETER: Rosemichelle.             25       A. She was my girlfriend for three years,


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   1           MR. O'NEILL: Rosemichelle.                 1   and then it's been three years since we've had
   2           THE INTERPRETER: Michelle.                 2   the child, so I've been with her for a total of
   3       Q. Rosemichelle, what's her address?           3   six years.
   4    What sheet does she live on?                      4      Q. Well, your child isn't three years
   5       A. Dondon.                                     5   old.
   6       Q. That's a town, isn't it? Where in           6      A. No, my child is not three years old
   7    Dondon does she live?                             7   yet, but I was -- we were boyfriend-girlfriend
   8       A. On the outskirts of Dondon.                 8   for three years before.
   9       Q. Well, what's the address?                   9      Q. So three years before the birth of
  10       A. Within Dondon there are several            10   your son you have had a relationship with
  11    districts, and she lives within the district     11   Rosemichelle, is that true?
  12    called Lapaix.                                   12      A. Yes.
  13       Q. How is that spelled?                       13      Q. So you've had a relationship with her
  14           THE INTERPRETER: It means peace.          14   for a total of about four years, is that
  15    L-A-P-A-I-X.                                     15   correct?
  16       Q. Your mother lives in Dondon, doesn't       16      A. It's been six years.
  17    she?                                             17      Q. Six years. Okay.
  18       A. My mother lives in Dondon.                 18          So that puts us back to -- this is
  19       Q. Does she live near Rosemichelle?           19   2015, so we're back at 2000 -- six years, 2010,
  20       A. Rosemichelle lives at my mother's          20   2009?
  21    house.                                           21      A. We were boyfriend-girlfriend since
  22       Q. Do you stay with Rosemichelle?             22   2009. But at that time she wasn't living at the
  23       A. She lives at her mother's house.           23   same area, she was living in Port-au-Prince.
  24       Q. And how far is that from your mother's     24      Q. Well, you were living in 2009 in
  25    house in Dondon?                                 25   Cap-Haïtien?


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   1       A. I was staying in Cap-Haïtien.                1   talking about?
   2       Q. So how could you have a relationship         2       A. Sex.
   3   with Rosemichelle if she's in Port-au-Prince?       3       Q. No, I'm not talking about what he was
   4       A. She's from the same area as I am. We         4   doing. Where?
   5   talked. She went to Port-au-Prince to work, we      5       A. Dondon.
   6   continued talking over the phone.                   6       Q. Okay. Let's analyze the years.
   7       Q. Did you see her during that year when        7          In 2010, you were repeating the sixth
   8   she was in Port-au-Prince?                          8   grade in Sacré Coeur, if that's the right name
   9       A. She was in Port-au-Prince for a long         9   of the school, isn't that correct?
  10   time. I didn't see her then.                       10          MS. POLLOCK: Objection. Misstates.
  11       Q. So when did she come to an area that        11       A. Yes.
  12   you could see her, either Dondon or Cap-Haïtien?   12   BY MR. O'NEILL:
  13       A. She came to Dondon. At that time I          13       Q. So you weren't working anywhere at
  14   was in Santo Domingo. I don't remember what        14   that point, were you?
  15   year, but I was in Santo Domingo, but I talked     15       A. I wasn't working.
  16   to her over the phone, she was in -- when she      16       Q. In 2011, you were no longer at Sacré
  17   was in Port-au-Prince. Then she came back to       17   Coeur, correct?
  18   Dondon, and she was working in Port-au-Prince.     18       A. I wasn't. I wasn't in school in 2011.
  19       Q. When you say she came back to Dondon,       19       Q. Were you working anywhere?
  20   was that just for a visit, or was she back         20       A. At all that time, during that time I
  21   living in Dondon?                                  21   was in Santo Domingo, I would prepare the soil,
  22       A. Yes.                                        22   I would help grow the bananas with Spanish
  23       Q. Yes what?                                   23   people.
  24       A. She came -- she left Port-au-Prince.        24       Q. Are you saying that you were in Santo
  25   She came to Dondon. But, you know, I was here.     25   Domingo in 2011?


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   1   She didn't stay very long in Dondon.                1       A. I was in Santo Domingo in 2011, but I
   2      Q. Where did she go then after she didn't        2   don't remember the month.
   3   stay long in Dondon?                                3       Q. How long were you in Santo Domingo?
   4      A. She took her car -- she went to               4       A. I did nine months.
   5   Cap-Haïtien, and then she took her car, she went    5       Q. Did you have a Passport?
   6   back to Port-au-Prince.                             6       A. No. I used to go through the bushes.
   7      Q. And can you help us as to what year           7       Q. So you were an illegal resident of
   8   that was?                                           8   Santo Domingo?
   9      A. I don't know which year.                      9       A. No. I didn't have papers. No.
  10      Q. How long before she got pregnant and         10   There's a place I used to stay, there's a place
  11   had a baby?                                        11   called Hatillo Palma where I used to stay where
  12      A. Okay. I remember the year she came.          12   all the bananas are, and that's where I used to
  13   She came in 2012, beginning of 2012.               13   stay. There are no immigration there, you're
  14      Q. Came where?                                  14   safe.
  15      A. She left Port-au-Prince, she came to         15       Q. How much money did you make in that
  16   Dondon. I went to Santo Domingo, I was in Santo    16   nine-month stay in Santo Domingo?
  17   Domingo, that's where I was living. I left         17       A. Well, sometimes I work, sometimes I
  18   Dondon, I left her in Dondon. While I was in       18   don't work, but the days I did work I earned 250
  19   there she went back to Port-au-Prince. While I     19   pesos for the day. But sometimes I work,
  20   was here, I went back to Haiti at the end of       20   sometimes I don't work.
  21   2012, December, 2012, and she came in 2013, and    21       Q. Well, how much did you work?
  22   we were doing things there, and she had a big      22       A. I don't remember, because I stayed a
  23   belly.                                             23   long time there.
  24      Q. And when you say "we were doing things       24       Q. Did you save a lot of money?
  25   there, and she had a big belly," where are you     25          MS. POLLOCK: Objection. Vague.


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   1       A. No. Money to -- for food, I was              1          THE INTERPRETER: You met Cyrus Sibert
   2   renting a house. When I came back to Haiti, I       2   where? I'm sorry, continue.
   3   didn't have any money. I didn't put any money.      3          MR. O'NEILL: In August, 2013. Number
   4   BY MR. O'NEILL:                                     4   -- does he need to know the number?
   5       Q. You made enough just to live on in           5       A. I met Cyrus Sibert on December, 2013,
   6   Santo Domingo?                                      6   not August.
   7       A. Yes, just to live.                           7       Q. Well, let's look at your answers to
   8       Q. And when you came back to Haiti, would       8   ints and we'll find that.
   9   that have been in 2012?                             9          MR. O'NEILL: If anyone has it, let me
  10       A. I went back to Haiti in 2012.               10   know.
  11       Q. Do you remember the month?                  11          MR. KERRIGAN: Number 12.
  12       A. At the end of 2012.                         12          MR. O'NEILL: Thank you.
  13       Q. Well, you were only nine months in          13   BY MR. O'NEILL:
  14   Santo Domingo, so I assume you were back in        14       Q. Look at Interrogatory Number 12 in
  15   Haiti by 2012. If you were in Santo Domingo in     15   Creole. Can you read that?
  16   2011 for nine months, you must have come back to   16       A. This question?
  17   Haiti by 2012, right?                              17          MS. POLLOCK: For the record, Counsel,
  18       A. In 2012, I went back to Haiti from the      18   we're looking at Exhibit 2, correct?
  19   Dominican Republic. In 2011, the end of 2011, I    19          MR. O'NEILL: Yes, in the Haitian part
  20   went to Santo Domingo. And at the end of 2012      20   of it.
  21   -- at the end of 2011, I was in Santo Domingo.     21   BY MR. O'NEILL:
  22   At the end of 2012, around the seventh -- I        22       Q. The English says, 12, "Please state
  23   remember how many months I spent, but I don't      23   when you first retained counsel in this matter
  24   remember when I came back to Haiti. And I          24   and who referred you to counsel." And you said
  25   haven't gone back to Santo Domingo since then,     25   "I was referred to counsel by Cyrus Sibert in


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   1   only now that I return.                             1   August, 2013."
   2      Q. So can you tell me with a reasonable          2          Do you see that in Haitian? Is that
   3   or fair amount of certainty that you were back      3   wrong, incorrect?
   4   in Haiti in 2012?                                   4      A. I forgot. I didn't remember. But it
   5      A. In 2012, I went back to Haiti.                5   was in December, 2013.
   6      Q. Now, inasmuch as you were in Haiti in         6      Q. So it is incorrect? Your
   7   some part of 2011, did you have any job in Haiti    7   interrogatory answer there is not correct?
   8   when you were there before you went to Santo        8      A. Is not correct.
   9   Domingo?                                            9      Q. All right.
  10      A. No work in Haiti.                            10          MR. O'NEILL: I think we'll take a ten
  11      Q. When you -- I'm sorry. Go on.                11   minute break.
  12      A. Now I'm doing taxi, now.                     12          THE VIDEOGRAPHER: Going off the
  13      Q. In 2012 when you came back to Haiti,         13   record. The time is 10:11.
  14   did you have any work that you did?                14          (Whereupon, a recess was taken.)
  15      A. I don't have a job. I didn't have a          15          THE VIDEOGRAPHER: Back on the record.
  16   job.                                               16   The time is 10:30.
  17      Q. Let's move to 2013. In 2013, in              17   BY MR. O'NEILL:
  18   August of 2013, you said you, in your              18      Q. Mr. Odilbert, we were talking about
  19   interrogatories, you met Cyrus Vance who           19   the year 2013, and I called your attention to an
  20   referred you to an attorney?                       20   interrogatory that said that you had met Cyrus
  21          THE INTERPRETER: You met who?               21   Sibert to refer you to an attorney in August,
  22   BY MR. O'NEILL:                                    22   2013, and you corrected that, said that's wrong,
  23      Q. Cyrus. I was confusing Sibert with           23   and it was December, 2013. Do you see that? Do
  24   the Attorney General of the United States. I       24   you agree with that? That's where we left off?
  25   meant Cyrus Sibert.                                25      A. I believe so.


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   1        Q. Now, in 2013, you are living where?        1   Palma.
   2        A. I still was at the same place at my        2      Q. I understand. We've been through
   3    family's house.                                   3   that.
   4        Q. At your family's house.                    4          And you were involved in a robbery in
   5           And was Rosemichelle living with you       5   Dominican Republic where someone robbed you, is
   6    at your family house?                             6   that correct?
   7        A. No, she wasn't staying in my family's      7      A. Yes.
   8    house.                                            8      Q. Just tell us what happened.
   9        Q. Where was she in 2013?                     9      A. Yeah, I was working on a Saturday, I
  10        A. Rosemichelle?                             10   had just got my money, my wages, and I saw a
  11        Q. Yes.                                      11   group of thugs, called tigere in Spanish, and
  12        A. She was at Dondon. She was still my       12   they wanted to give me -- to strike me with a
  13    girlfriend.                                      13   machete. God saved me on that day. That's why
  14        Q. I understand.                             14   I went back to Haiti and I never came back to
  15        A. In 2013, she had a big belly.             15   that country. They stole 6,000 pesos from me.
  16        Q. Okay. And you were seeing her then        16      Q. Are you saved that money up?
  17    when you would go to Dondon?                     17      A. No.
  18        A. Yeah, I always saw her when I went        18          MR. O'NEILL: That's a lot of
  19    there.                                           19   translation. What is he saying, Nathalie?
  20        Q. She didn't come to Cap-Haïtien?           20      A. They took the money from me. They
  21        A. She used to go to Cap-Haïtien to my --    21   were going to strike me with a machete. They
  22    came to my family's house once in a while.       22   ran after me, and I ran, I fled. And I was --
  23        Q. Did she stay with you overnight in        23   before when they came up to me I was being --
  24    your family house once in a while?               24   making the ridicule, so I wouldn't give them the
  25        A. No, she didn't sleep at my family's       25   money, but I had to give them the money. But


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   1   house.                                             1   they still gave me -- struck me with the machete
   2       Q. Where did she sleep?                        2   here. And I started yelling for help. And I
   3       A. She has family in Cap-Haïtien, when         3   ran, and I ran into a neighborhood where there
   4   she goes to Cap-Haïtien she sleeps there.          4   were people.
   5       Q. Now, we talked about earlier that you       5       Q. Now, I believe in your interrogatories
   6   were doing a repeat of the sixth grade in 2010,    6   it said that you received an injury to your
   7   is that correct?                                   7   hand, not your head.
   8       A. I repeated sixth grade.                     8       A. Yeah, I was hurt in this hand, too,
   9       Q. And then in 2011, you were living in        9   because this hand is damaged.
  10   Cap-Haïtien for a while, and then went to the     10       Q. Which hand? Show me.
  11   Dominican Republic, is that correct?              11       A. This hand (indicating).
  12       A. In 2011.                                   12       Q. Where is the damage? How is it
  13       Q. Yes.                                       13   damaged?
  14       A. Yes.                                       14       A. It's completely damaged. I can't do
  15       Q. Is that correct?                           15   this (indicating).
  16       A. Yes, that's correct.                       16       Q. You can't make a fist?
  17       Q. And then in late 2011, you went for a      17       A. No.
  18   period of time to the Dominican Republic?         18       Q. And after that, you came back to
  19       A. A while, yes.                              19   Cap-Haïtien?
  20       Q. Now, in Cap-Haïtien, you never had a       20       A. I went back to my country. I didn't
  21   job at that time, 2011, did you?                  21   go back to Santo Domingo.
  22       A. I wasn't working then. 2011, in 2011       22       Q. And that was in 2012?
  23   I wasn't working in Cap-Haïtien, but I went to    23       A. 2012 I went back to Haiti.
  24   the Dominican Republic and I was working with     24       Q. And I believe you said you didn't do
  25   figs and bananas in a place called Hatillo        25   any work in Cap-Haïtien in 2012, you didn't have


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   1   a job, is that still correct?                       1   Argumentative.
   2          MS. POLLOCK: Objection. Asked and            2      A. Can you ask the question again,
   3   answered.                                           3   please?
   4   BY MR. O'NEILL:                                     4   BY MR. O'NEILL:
   5       Q. Based on your memory.                        5      Q. You were approached by some boys who
   6       A. In 2012, no, I didn't have any jobs.         6   had been at Project Pierre Toussaint, and they
   7   Only in 2013 did I find someone to give me a        7   gave you a thing to sign your name on a list to
   8   motorcycle to drive, not very long ago.             8   take to Mr. Sibert, didn't they?
   9       Q. Well, we'll get there.                       9      A. I don't know these two boys. I on my
  10          When did you first meet Cyrus Sibert?       10   own went to find Cyrus, and I talked to him.
  11          MS. POLLOCK: Objection. Asked and           11      Q. You have never -- up until 2013, you
  12   answered.                                          12   never told anyone that you were abused by
  13       A. I met Cyrus Sibert in 2013, I think,        13   Douglas Perlitz, did you?
  14   because I went to talk to him to tell him that     14      A. No, I didn't say that to anyone.
  15   Douglas had abused me.                             15      Q. And you know in August, 2013 a bunch
  16   BY MR. O'NEILL:                                    16   of students from PPT got a lot of money, don't
  17       Q. Okay. And do you know when that was?        17   you?
  18   When as opposed to what, when that was when you    18      A. I know they got justice. But I came
  19   met him. Was it spring, summer, fall, or           19   here to find my own justice on my own, because
  20   winter?                                            20   we were in the same Village, all of us.
  21       A. I don't know.                               21      Q. What's the Creole word for justice?
  22       Q. Well, you said in your answers before       22          THE INTERPRETER: You're asking me?
  23   we took a break that you corrected the             23          MR. O'NEILL: I'm asking him.
  24   interrogatory answer that said you met him in      24          THE INTERPRETER: I'll tell him.
  25   August, '13, to be referred to counsel in          25          MR. O'NEILL: Well, what word does he


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   1   August, whatever the date was, August, 2013, you    1   use for justice?
   2   said that's wrong, it was December, correct?        2       A. That's how you say in Creole, justice.
   3           MS. POLLOCK: Objection. Misstates           3   BY MR. O'NEILL:
   4   the witness's testimony.                            4       Q. Had you ever used that word before
   5   BY MR. O'NEILL:                                     5   2013? Had you ever heard it? Did you ever
   6       Q. Do you recall that answer?                   6   speak it before 2013?
   7       A. Yes, I think it was in the month --          7       A. Before 2013? I went to Cyrus Sibert
   8   during the month of December.                       8   to talk to him. I knew he couldn't give me --
   9       Q. How did you happen to go to see Cyrus        9   that Cyrus could not give me justice, only the
  10   Vance -- Cyrus Sibert who you never met before?    10   judge can give justice. He can only publish it.
  11       A. Because he's on the radio. I was sort       11       Q. That's not the question I asked. Do
  12   of forced to go to find -- to see him so he        12   you have the question I asked in mind? The
  13   could give me justice. Or not to give me           13   question was, and I'll read it back from the
  14   justice, I went to see him because he was a        14   transcript here, have you ever used that word
  15   journalist.                                        15   before 2013, the word justice?
  16       Q. Some boys came and put your name on a       16       A. No.
  17   list, didn't they?                                 17       Q. In August, 2013, you agreed that you
  18       A. What? Who?                                  18   found out that a bunch of boys that had been at
  19       Q. You signed your name on a list? Wisky       19   the school got a big pile of money, didn't you?
  20   Jerome and some other boys came, and you signed    20          MS. POLLOCK: Objection. Vague,
  21   your name on a list, didn't you?                   21   argumentative.
  22       A. I don't remember.                           22       A. Yes, yes.
  23       Q. When you say you don't remember, it         23   BY MR. O'NEILL:
  24   could have happened, you just forget?              24       Q. And how did you connect that fact,
  25           MS. POLLOCK: Objection.                    25   that these group of boys that had been at the


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   1   school you attended got a big pile of money, how    1   me a little bit of money for me to eat, but he
   2   did you connect that with Cyrus Sibert?             2   hasn't helped me really 100 percent. Yes.
   3      A. I went to Cyrus not because the boys          3      Q. He has given you money. How much
   4   had gotten money, I went to see Cyrus just to       4   money did he give you?
   5   talk to him, to tell him what happened, had         5      A. Well, once he gave me 1,000 Haitian
   6   happened to me.                                     6   gourdes. After that I forgot the amounts he
   7      Q. Why did you go to Cyrus to tell him           7   gave me.
   8   what happened?                                      8      Q. But he gave you money that you've now
   9      A. Because I know he's a journalist.             9   forgotten the amounts?
  10      Q. You knew that he had helped those            10      A. It hasn't been just one time that he's
  11   other boys get a big pile of money, didn't you?    11   given me money. Sometimes I go to see him and I
  12          MS. POLLOCK: Objection. Vague,              12   said "oh, things are really bad," and so he
  13   argumentative.                                     13   gives me a little bit of money so we can buy
  14      A. I knew he had helped the other boys          14   food. But he doesn't give me money easily,
  15   find justice.                                      15   often.
  16   BY MR. O'NEILL:                                    16      Q. Do you ask him for money more times
  17      Q. Well, justice meant, at least in part,       17   than he gives you money?
  18   a big pile of money, didn't it?                    18      A. Well, sometimes I ask him, you know,
  19          MS. POLLOCK: Objection. Vague,              19   so things are not good for me, I ask him. But I
  20   argumentative.                                     20   don't ask him all the time all the time, because
  21      A. It depends on the judge.                     21   he can't give me.
  22   BY MR. O'NEILL:                                    22      Q. How many times have you asked him for
  23      Q. And you agree you found that out, that       23   money since you first met him?
  24   they got their justice, which included a big       24      A. I don't remember how often, how many
  25   pile of money, in August of 2013?                  25   times.


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   1          MS. POLLOCK: Objection. Vague,               1       Q. Ten times?
   2   argumentative.                                      2       A. I don't remember.
   3      A. Yes, in the form of money.                    3       Q. Well, asking someone for money is
   4   BY MR. O'NEILL:                                     4   something that you would remember, isn't it?
   5      Q. And these young men began to drive            5          MS. POLLOCK: Objection.
   6   around in fancy SUVs?                               6   Argumentative.
   7      A. Well, I don't know the price of those         7       A. Yeah, I don't remember, because I
   8   cars. I'm on foot, but I have seen them driving     8   don't always ask him when I need it. He gives
   9   cars.                                               9   me sometimes.
  10      Q. Built new homes, some of them, didn't        10   BY MR. O'NEILL:
  11   they?                                              11       Q. Is anyone else giving you money?
  12      A. Mm-hmm.                                      12       A. None at all.
  13      Q. Is that yes?                                 13       Q. Marguerite Joseph?
  14      A. Yes.                                         14       A. She doesn't give me money. Marguerite
  15      Q. Okay. And you knew that in August or         15   lives in Port-au-Prince, I don't see her at all.
  16   shortly thereafter that these things were          16       Q. Anyone else give you money?
  17   happening with this group of boys, or young men?   17       A. These are friends, I have friends,
  18          MS. POLLOCK: Objection. Vague,              18   friends.
  19   compound.                                          19       Q. What friends have given you money?
  20      A. I didn't know. I didn't know. I              20       A. I have a friend whose name is Gerald,
  21   didn't know.                                       21   he gave me 1,000 gourdes once.
  22   BY MR. O'NEILL:                                    22       Q. Anyone else?
  23      Q. Okay. Did Cyrus Sibert give you some         23       A. No.
  24   money to help you out?                             24       Q. Did Cyrus Sibert help you buy the
  25      A. Well, he can give me -- he has given         25   motorcycle?


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   1       A. No, the motorcycle isn't mine.                1   Mischaracterizes the witness's testimony.
   2       Q. Whose is it?                                  2   Vague. Argumentative.
   3       A. I'm driving it for somebody else.             3      A. Because I know Cyrus Sibert is a
   4   Every day I give some -- a portion of my wages.      4   journalist, he is able to publish this for me,
   5       Q. When did you start making money by            5   have this published for me, that's why I went to
   6   riding a motorcycle?                                 6   see him.
   7       A. It has been four months that I've been        7   BY MR. O'NEILL:
   8   driving a motorcycle. After six months the           8      Q. You knew that he had helped those
   9   motorcycle goes to me, it's a contract. Every        9   other boys, didn't you?
  10   day I give 300 gourdes, whether I work or not.      10          MS. POLLOCK: Objection. Asked and
  11       Q. And you've had it for -- if I                11   answered.
  12   understand that correctly, you've been driving      12      A. I knew.
  13   it for four months, only for four months?           13   BY MR. O'NEILL:
  14       A. Four months.                                 14      Q. All right. When you went to see him,
  15       Q. That's in 2015 then, this year?              15   where did you go?
  16       A. Yes, I started this year.                    16      A. Carenage.
  17       Q. And before that in Cap-Haïtien, you've       17      Q. Is that a place in Cap-Haïtien?
  18   never worked?                                       18      A. Yes.
  19       A. I wasn't working. I've done some             19      Q. Is that where his home is?
  20   other little activities, but I've been -- that's    20      A. That's not where he lives, but that's
  21   really begging, I was begging.                      21   where he goes. But there's another person who
  22       Q. So when these group of young men             22   lives there. The person's name is Matthyeu.
  23   showed up in Cap-Haïtien in August, 2013 and        23      Q. Matthyeu. Who is Matthyeu?
  24   clearly had received a lot of money, it was         24      A. One of his friends.
  25   after that that you went to see Cyrus Sibert,       25      Q. Is that who you went to see?

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   1    correct?                                            1      A. No, it's Cyrus, but the house is
   2           MS. POLLOCK: Objection. Vague.               2   Matthyeu's mother's house, but sometimes Cyrus
   3       A. I went to see Cyrus in 2013. It's             3   goes there because Matthyeu is his friend.
   4    really after that.                                  4      Q. Can you spell this Matthyeu for me?
   5    BY MR. O'NEILL:                                     5      A. Matthyeu, M-A-T-T-H-Y-E-U.
   6       Q. After that.                                   6      Q. What kind of work does Matthyeu do?
   7           And it was because you had found out         7      A. I don't know what his work -- what
   8    that Cyrus Sibert helped that group of boys get     8   kind of work he does.
   9    what you called justice and a lot of money that     9      Q. Does he work for Cyrus?
  10    you went to see him?                               10      A. Yes, maybe he is working for Cyrus.
  11           MS. POLLOCK: Objection.                     11      Q. What did you tell Matthyeu? Is that
  12    Mischaracterizes the witness's testimony.          12   who you saw when you went to see Cyrus?
  13    Vague.                                             13          MS. POLLOCK: Objection. Compound.
  14       A. I'm not them and they are not me. I          14      A. No, I didn't see Matthyeu. I saw
  15    went to get justice on my own, because they're     15   Cyrus directly.
  16    not me and I'm not them.                           16   BY MR. O'NEILL:
  17    BY MR. O'NEILL:                                    17      Q. And where was Cyrus? Was he in
  18       Q. The question wasn't that. Answer my          18   Matthyeu's house?
  19    question. I'll read my question again, and try     19          THE INTERPRETER: Where was Matthyeu?
  20    and answer the question I'm asking.                20          MR. O'NEILL: No. Where was Cyrus.
  21           The question is, it was because you         21      A. There's a room in there where they
  22    found out that Cyrus Sibert helped that group of   22   sold clothes, it's in the house, it's a room
  23    boys get what you called justice and a lot of      23   that they rent out to people who make clothes,
  24    money that you went to see him?                    24   but the house belongs to Matthyeu's mom. I met
  25           MS. POLLOCK: Objection.                     25   Cyrus there. That's Cyrus who I saw there.


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   1       Q. How did you know he was going to be        1      A. He just -- so he could -- I went to
   2    there?                                           2   see him so he could publish it for me. And I
   3       A. That's where he goes.                      3   also knew -- I went to see him also because I
   4       Q. Every day?                                 4   knew he had helped the other boys. And also
   5       A. Not every day, but sometimes he's at       5   because he was the biggest -- the greatest
   6    the radio station.                               6   journalist in Cap-Haïtien, that he could help
   7       Q. Does he have a home in Cap-Haïtien,        7   me.
   8    Cyrus?                                           8   BY MR. O'NEILL:
   9       A. I don't know his house. I don't know       9      Q. And up to that point, you had never
  10    his house.                                      10   told anyone that you were abused.
  11       Q. So you go in, you see him in              11          MS. POLLOCK: Is that a question?
  12    Matthyeu's house, and he's in a room there?     12   BY MR. O'NEILL:
  13           MS. POLLOCK: Objection.                  13      Q. Is that correct?
  14    Mischaracterizes the witness's testimony.       14      A. I told Cyrus.
  15       A. In a room where they make clothes,        15      Q. Is that the first person you ever told
  16    they sew clothes.                               16   that you were abused?
  17    BY MR. O'NEILL:                                 17          MS. POLLOCK: Objection. Asked and
  18       Q. That's where Cyrus was?                   18   answered.
  19       A. That's where he received me.              19      A. He was the first person.
  20       Q. Was he sewing clothes?                    20   BY MR. O'NEILL:
  21       A. No. He just asked the people for          21      Q. In what year was this?
  22    authorization to receive me.                    22      A. 2013.
  23       Q. All right. Did they know you were         23      Q. And you were reporting abuse going
  24    coming?                                         24   back at least nine years?
  25       A. Here?                                     25          MS. POLLOCK: Objection.

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   1       Q. No.                                        1   Mischaracterizes the witness's testimony.
   2          Did Cyrus know that you were coming to     2   Assumes facts not in evidence.
   3   see him?                                          3       A. I don't understand the question.
   4       A. I didn't tell Cyrus I was coming, but      4   BY MR. O'NEILL:
   5   I came to see him anyway. I knew he was a         5       Q. Well, you, at least in your
   6   journalist.                                       6   interrogatories, claim two sets of abuse?
   7       Q. So you wanted him to write something       7       A. Yes.
   8   about you?                                        8       Q. And if we are to believe what you say
   9       A. Yes, I wanted that.                        9   in the interrogatories, one of the abuse
  10       Q. Did he write something about you?         10   incidents happened before you went to the
  11       A. About me, or for me?                      11   Village, and the second happened after you went
  12       Q. No, about you. Did he print something     12   to the Village?
  13   in a newspaper? Did he -- you say he's a         13       A. Yes.
  14   journalist. What did he do as a journalist for   14       Q. And that means it happened before
  15   you?                                             15   December, 2004, right?
  16          MS. POLLOCK: Objection. Compound.         16          MS. POLLOCK: Objection. Vague.
  17       A. I was talking, he was writing.            17       A. It happened at the beginning of 2004.
  18   BY MR. O'NEILL:                                  18   BY MR. O'NEILL:
  19       Q. You were what?                            19       Q. So the beginning of 2004 to 2013 is
  20       A. I was talking, he was writing.            20   how many years?
  21       Q. You were not seeing him because he was    21       A. It's nine years.
  22   a journalist, you were seeing him because he     22       Q. Nine years before?
  23   helped the other boys get money, weren't you?    23       A. Yes.
  24          MS. POLLOCK: Counsel, there's no need     24       Q. And you had told no one for nine
  25   to raise your voice at my client.                25   years?


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   1        A. No one.                                     1          MR. O'NEILL: You're saying it
   2        Q. Not your mother?                            2   mischaracterizes the witness's testimony.
   3        A. My mother, no.                              3          MS. POLLOCK: The witness's testimony.
   4        Q. Not your girlfriend?                        4   He told you about December, 2014, now you're
   5        A. No, I never would say this to my            5   completely trying to get him to say it was
   6    girlfriend.                                        6   December, 2014.
   7        Q. Did you know that the boys that got a       7          MR. O'NEILL: You're arguing. You're
   8    lot of money had been sexually abused by           8   not telling me what the misstatement was.
   9    Perlitz?                                           9          MS. POLLOCK: I just explained it to
  10        A. I didn't know, because they didn't         10   you. I'm not arguing.
  11    tell me that.                                     11          MR. O'NEILL: The record will speak
  12        Q. Why did you think they got justice and     12   for itself. When you object, object.
  13    money then in August, 2013?                       13          MS. POLLOCK: I am doing so.
  14        A. Because they were victims.                 14          MR. O'NEILL: And don't characterize
  15        Q. Victims of whom?                           15   the objection, that's not what you do. You can
  16        A. Douglas Perlitz.                           16   do that with the judge later, and you won't get
  17        Q. So you knew that in August, 2013?          17   very far.
  18           MS. POLLOCK: Objection. Vague.             18          MS. POLLOCK: I don't need to argue.
  19        A. I knew that, but they didn't tell me       19   Just proceed, Counsel.
  20    to my face. They didn't say "this is what         20   BY MR. O'NEILL:
  21    Douglas did to me."                               21      Q. Let's go on to the last question that
  22    BY MR. O'NEILL:                                   22   was asked. The question was, now, you said that
  23        Q. I understand.                              23   you were referred to an attorney by Cyrus Sibert
  24        A. They didn't explain.                       24   in December, 2013, isn't that correct?
  25        Q. Now, you said that you were referred       25      A. I think December or November.


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   1   to an attorney by Cyrus Sibert in December,         1       Q. Well, can you choose between the two
   2   2013, is that correct?                              2   of them?
   3          MS. POLLOCK: Objection.                      3       A. I think it's one of these two months.
   4   Mischaracterizes the witness's testimony.           4   Please write down that I think it's one of these
   5          MR. O'NEILL: Wait a minute. How are          5   two months.
   6   you -- you're making a statement -- wait a          6       Q. Well, it's written down when you say
   7   minute. You're making a statement on the            7   it. She's writing everything down. Okay.
   8   objection, Ms. Pollock. It's not -- you object      8          Now, at this time that you were --
   9   and you don't make a statement. If you're           9   when you met Mr. Sibert in November or December
  10   saying it mischaracterized the witness's           10   and he referred you to a particular attorney, is
  11   testimony, put on the record how that question     11   that a different occasion than the occasion
  12   mischaracterized his testimony.                    12   you've spoken about when you went seeking
  13          MS. POLLOCK: I don't want to make a         13   justice and found him in Mr. Matthyeu's house?
  14   speaking objection.                                14       A. I don't understand the way you said
  15          MR. O'NEILL: Then don't make one.           15   it.
  16          MS. POLLOCK: Don't interrupt me when        16       Q. You have given us a date of November
  17   I'm talking.                                       17   or December, 2013 that Mr. Sibert gave you
  18          MR. O'NEILL: Okay.                          18   reference to an attorney. Do you understand
  19          MS. POLLOCK: I don't want to violate        19   that much?
  20   Federal Rules by making a speaking objection, so   20       A. Yes.
  21   I'm making an objection to the form and allowing   21       Q. You have also testified that after you
  22   you to proceed.                                    22   knew that a bunch of young men received justice
  23          MR. O'NEILL: You're not.                    23   and money, and that Cyrus Sibert had some role
  24          MS. POLLOCK: If you have a question,        24   in that, you went to see him. You've testified
  25   ask me.                                            25   to that, too, haven't you?


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   1          MS. POLLOCK: Objection.                      1       Q. Well, let's look at Interrogatory
   2   Mischaracterizes his testimony.                     2   Number 12 again in Creole. The English
   3       A. My testimony is that Cyrus is a              3   translation of this interrogatory, and you have
   4   journalist, he helped the other boys get            4   the Haitian Creole in front of you, "Please
   5   justice. I needed justice on my own. I went to      5   state when you first retained counsel in this
   6   see him to give my testimony.                       6   matter and who referred you to counsel." And
   7   BY MR. O'NEILL:                                     7   your answer was under oath, "I was referred to
   8       Q. Okay. So those are two separate --           8   counsel by Cyrus Sibert in August, 2013."
   9   are those two separate occasions? The first         9          Do you see that?
  10   time you went to see him was after -- when you     10          MR. O'NEILL: Interpret it for him, or
  11   were seeking justice and you told him about the    11   tell him -- read it in Creole.
  12   abuse, and another time was when he told you       12          THE INTERPRETER: I'm going to tell
  13   about the attorney, two separate times?            13   you what it says in Creole, because I'm not sure
  14       A. I don't understand the question.            14   of the translation.
  15       Q. Well, let's try again. Listen               15          MR. O'NEILL: Just --
  16   carefully.                                         16          MS. POLLOCK: What's your --
  17          The first time that you saw Cyrus           17          MR. O'NEILL: I don't want to hear.
  18   Sibert was when you went to seek justice with      18          MS. POLLOCK: I want to hear her
  19   him, and you told him that you had been abused,    19   concern about translation.
  20   is that correct? That's the first time you went    20          MR. O'NEILL: Well, then, I don't. I
  21   to see him?                                        21   want you to read the Creole.
  22       A. That was the first time.                    22          THE INTERPRETER: I'm going to read
  23       Q. Was the time that he told you --            23   his answer.
  24   Sibert gave you the name of an attorney, was       24   BY MR. O'NEILL:
  25   that a separate time?                              25       Q. Do you understand --

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   1       A. He said no, he was going to present          1          MR. O'NEILL: What's he saying?
   2    the case to a lawyer, but I didn't know the        2          THE INTERPRETER: August, maybe it's
   3    lawyer's name.                                     3   November, December.
   4       Q. He told you on a separate occasion           4   BY MR. O'NEILL:
   5    about the lawyer's name, didn't he, in December    5       Q. You already corrected that earlier in
   6    of 2013?                                           6   this deposition and said it was December, not
   7       A. After I met with him to give my              7   August.
   8    testimony, I never met him again during that       8          MS. POLLOCK: There's no need to raise
   9    year, because I had my own activities. I met       9   your voice, Counsel.
  10    him during a different year.                      10          MR. O'NEILL: I'm not raising my
  11       Q. When did you meet him again? After          11   voice. This is the way I speak. Don't try and
  12    this first meeting, when did you meet Cyrus       12   make a record that's not true.
  13    Sibert again?                                     13          MS. POLLOCK: You're raising your
  14       A. I don't remember when I met him. I          14   voice at the end of your question, Counsel.
  15    see him go by, but he's not -- it's not           15   We'll watch the video. Proceed.
  16    important for me to talk to him.                  16          MR. O'NEILL: It will be on the video.
  17       Q. What's the name of the attorney that        17   My voice is my voice, that's the way I am in
  18    Mr. Sibert gave you?                              18   court, or every other place. So you'll have to
  19       A. The lawyer's name is Mitch.                 19   live with it.
  20       Q. Was that the only name?                     20          MS. POLLOCK: No, I don't.
  21       A. That's the only name.                       21          MR. O'NEILL: Stop interrupting, which
  22       Q. When did he tell you that Mitch was         22   is purposeful.
  23    the lawyer that he was referring you to?          23          MS. POLLOCK: Stop raising your voice
  24       A. I don't remember directly, because I        24   at my client, and when you do I'm going to make
  25    can't remember the times.                         25   a record of it.


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   1          MR. O'NEILL: It will be on the                1   was in August that he referred you by name to an
   2   record.                                              2   attorney, you said that was incorrect, that it
   3          MS. POLLOCK: Good.                            3   was in December. And then you've come back and
   4   BY MR. O'NEILL:                                      4   said it was November or December. And so what
   5      Q. "Please state when you first retained          5   are you saying now, you don't even know?
   6   counsel in this matter," and your answer, at         6      A. Well, generally I could say maybe it
   7   least in English, is "I was referred to counsel      7   could have been in August. It looks like it
   8   by Cyrus Sibert in August, 2013."                    8   would -- was more towards August, because that
   9          My question is, you changed that              9   escape me a lot, a lot, a lot.
  10   earlier in this deposition and said that was        10      Q. And this sudden discovery happened
  11   incorrect, that it was in December, and I           11   while we were on break?
  12   believe now you're saying it was either November    12          MS. POLLOCK: Objection.
  13   or December, is that correct?                       13   Mischaracterizes the witness's testimony.
  14      A. Yes.                                          14   Argumentative.
  15          MR. O'NEILL: The videographer tells          15   BY MR. O'NEILL:
  16   me he's running out of tape, so we'll take a        16      Q. Is that true?
  17   break.                                              17      A. Well, it was while I was answering the
  18          THE VIDEOGRAPHER: Going off the              18   questions, and I was coming out of -- when I was
  19   record. The time is 11:28.                          19   coming out of the bathroom I was thinking, you
  20          (Whereupon, a recess was taken.)             20   know, I was thinking, that's a reflection,
  21          THE VIDEOGRAPHER: Back on the record.        21   thinking that I had -- that it was more the
  22   The time is 11:42.                                  22   month of August.
  23   BY MR. O'NEILL:                                     23      Q. So you want to change your testimony
  24      Q. Now, just before we broke off,                24   again?
  25   Mr. Odilbert, you said that it was November or      25      A. I want to come back to August.


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   1    December, 2013 when Cyrus Sibert told you the       1   Because I had a problem in my head, my memory
   2    name of the attorney that he was referring you      2   doesn't hold many things.
   3    to, is that correct?                                3      Q. Okay. Let's look at the complaint.
   4        A. This question is very confusing to me,       4      A. Because when I was hit --
   5    because I don't remember the month. I don't         5      Q. I don't need any more explanation.
   6    recall.                                             6          MS. POLLOCK: If the witness has
   7        Q. You already told us it was November or       7   something to say --
   8    December, didn't you?                               8          MR. O'NEILL: There's no question in
   9        A. Yes, but I don't really remember             9   front of him.
  10    directly-directly the month. I don't really        10   BY MR. O'NEILL:
  11    remember.                                          11      Q. Let's look at the Complaint, which is
  12        Q. Did something happen between the time       12   Exhibit 1, I think. I have to look and see. Is
  13    you left this room for a recess and coming back    13   that right?
  14    that has caused you to change your testimony?      14          MR. KERRIGAN: Yes, 1.
  15            MS. POLLOCK: Objection.                    15      A. Is this in English?
  16    Mischaracterizes the record.                       16   BY MR. O'NEILL:
  17        A. No. It's because I say that I don't         17      Q. It's in English.
  18    remember the month, that's why I'm saying          18          Were you ever told that a Complaint
  19    November or December. I was thinking, I was        19   was filed on your behalf in Federal Court in
  20    thinking for myself that I wasn't recalling the    20   Connecticut?
  21    exact month. I'm happy you asked the question      21      A. They didn't tell me that.
  22    again.                                             22      Q. Did you ever see a Complaint?
  23    BY MR. O'NEILL:                                    23      A. What do you mean, how complaint?
  24        Q. But what is -- you changed the written      24      Q. Did you ever see? This is a
  25    answer under oath to the interrogatories that it   25   Complaint, Exhibit 1.


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   1       A. I don't remember seeing this.                1       Q. And you wrote that yourself?
   2       Q. You don't remember what?                     2       A. Yes.
   3       A. I don't remember seeing a document           3       Q. It says in this document, read the
   4   that I submitted, a Complaint.                      4   Creole to him, "Siyen annba," from that line.
   5       Q. Do you understand that you have a case       5       A. Which line?
   6   that's pending in a court in Connecticut? On        6       Q. The last line before the signature.
   7   your behalf something was filed in a court in       7         THE INTERPRETER: Can I --
   8   Connecticut?                                        8         MR. O'NEILL: No, just read it.
   9       A. Do I know, or do I understand?               9       A. I signed there.
  10       Q. Both.                                       10   BY MR. O'NEILL:
  11       A. Yes, I know, and I understand.              11       Q. Do you agree that you signed this on
  12       Q. Could I just see the exhibit? If you        12   the 19th of September, 2014?
  13   look at the back of this exhibit, will you         13       A. Yes.
  14   accept my representation that this Complaint was   14       Q. Where did you sign this?
  15   filed, according to the Exhibit 1, November 7,     15       A. In Haiti.
  16   2013, and there's a bunch of attorneys, but one    16       Q. And where in Haiti?
  17   of them is Mitchell Garabedian? Do you see         17       A. In hotel in Cap-Haïtien.
  18   that?                                              18       Q. And who was present when you signed
  19          MR. O'NEILL: Can you point out the          19   it?
  20   name Mitchell Garabedian to him on the             20       A. Mitch.
  21   Complaint, please?                                 21       Q. Anyone else?
  22       A. Yes, I accept.                              22       A. Mitch was there. There were other
  23   BY MR. O'NEILL:                                    23   people besides him, I forgot their names.
  24       Q. Do you know that only one instance of       24       Q. Was Sibert there?
  25   sexual abuse is alleged in that Complaint?         25       A. He might have been there, but he

                                            Page 71                                                Page 73
   1       A. I was a victim twice of sexual abuse         1   wasn't at same place where I was.
   2    by Douglas. He put his penis in my butt hole       2       Q. How could he have been there and not
   3    twice. It's not because I agreed to it. He was     3   be in the same place?
   4    going to throw me out if I didn't do it.           4       A. We were not on the same table, on the
   5       Q. My question is, do you know -- listen        5   same place. Maybe he was in the yard,
   6    to my question, please. Do you know that only      6   courtyard. It's a hotel.
   7    one instance of sexual abuse is alleged in the     7       Q. I'm only interested in what he
   8    Complaint that I just showed you?                  8   observed. Did he observe that Sibert was there?
   9       A. No.                                          9          MS. POLLOCK: Objection.
  10       Q. You don't know that.                        10       A. Well, I didn't see Cyrus, but I think
  11           Now, let's look at Exhibit Number 2, I     11   he might have been there. That's what I told
  12    believe are the interrogatories. Look at the      12   you.
  13    Creole version, at the very last page.            13   BY MR. O'NEILL:
  14           MS. POLLOCK: The verification?             14       Q. Were you able to read this document
  15    BY MR. O'NEILL:                                   15   that you signed that's marked Exhibit 2?
  16       Q. Verification. Do you see that?              16       A. This is Number 2?
  17       A. Mm-hmm.                                     17          MR. O'NEILL: Just the Creole part,
  18       Q. Yes or no?                                  18   was he able to read?
  19       A. Yes.                                        19       A. Can I read this?
  20       Q. Is that your signature?                     20          MR. O'NEILL: No, was he able to read
  21       A. That's my signature. I don't know for       21   it?
  22    the rest.                                         22       A. I looked and I signed.
  23       Q. Okay. And your signature is Raynel          23       Q. Were you able to read it?
  24    Odilbert?                                         24       A. I didn't read everything in there.
  25       A. Yes.                                        25       Q. Did you read anything in there?


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   1       A. I read some of it, because                  1   nothing in there asking questions from
   2    everything -- the majority of it is the truth,    2   attorneys.
   3    so I read a little bit.                           3          MS. POLLOCK: I understand that that's
   4       Q. The majority is the truth, but you          4   not your intent right now. What I don't want to
   5    read a little bit?                                5   happen is for the witness to start talking about
   6       A. I read the majority of it, and I left       6   it. So I'm just telling him he can answer the
   7    the rest.                                         7   question to the extent he doesn't disclose
   8       Q. Why don't you start --                      8   conversations with his attorney. So I'm asking
   9       A. I can't read a little bit.                  9   the interpreter, please provide that.
  10       Q. Why don't you start --                     10          MR. O'NEILL: You know, that's just a
  11       A. When I read, my head.                      11   continuation of interruption. The question is a
  12           MR. O'NEILL: Well, is he still            12   simple question, and I expect a simple answer.
  13    speaking?                                        13          MS. POLLOCK: That's good.
  14       A. No.                                        14          MR. O'NEILL: Let's try the question
  15       Q. Finish the answer, then, in case I         15   again.
  16    interrupted it.                                  16          MS. POLLOCK: No. I want the
  17       A. That's it. I can't read a lot because      17   interpreter to instruct the witness not to
  18    my head.                                         18   disclose conversations he had with his counsel.
  19       Q. You can't read a lot, but you read the     19   Go ahead.
  20    majority of it?                                  20       A. I'm not giving you any answer to that
  21       A. I read it.                                 21   question.
  22       Q. Okay. So why don't you start with          22   BY MR. O'NEILL:
  23    Number 1 and read the Creole to me, both the     23       Q. Did Cyrus Sibert go through the
  24    question and answer.                             24   questions and answers with you prior to the
  25           (Witness reading aloud.)                  25   document being typed?

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   1       A. I'm done.                                   1          THE WITNESS: No.
   2       Q. Okay. And did everyone sit around           2       Q. Who did?
   3    when you read every one of those questions and    3       A. I was alone on a table.
   4    answers before you signed it?                     4       Q. I'm not talking about when he was
   5       A. Yeah, they waited for me.                   5   reading. I'm talking about how this document
   6       Q. How long was that?                          6   was formed based on answers you had given at
   7       A. I don't remember exactly. I didn't          7   another time.
   8    have a watch.                                     8       A. I don't know how they did this
   9       Q. When you signed this document, it was       9   document.
  10    already typed, wasn't it?                        10       Q. Well, they had to know the answers in
  11       A. Yeah, it was already typed.                11   order to type them out, didn't they?
  12       Q. So you had gone through the questions      12       A. Yes, they knew the answers, of course.
  13    and answers with someone else before this        13       Q. How did they know the answers?
  14    document was typed, isn't that correct?          14       A. That's when I went to give my
  15       A. I don't understand what you said.          15   testimony, when I gave my testimony along with
  16       Q. Well, let's try it again.                  16   Cyrus.
  17          You had gone through the questions and     17       Q. That was way back when you said Cyrus
  18    gave answers to someone prior to the document    18   was writing things down when he asked you
  19    being typed up, isn't that correct?              19   questions?
  20          MS. POLLOCK: I'm going to -- hold on,      20       A. Yes.
  21    please. I'm going to object and make sure that   21       Q. That was back in, are you saying,
  22    the witness is not going to -- instruct the      22   August of 2013?
  23    witness not to testify to any conversations he   23       A. Yes.
  24    actually had with counsel.                       24       Q. That was the only time you met with
  25          MR. O'NEILL: Wait a minute. There's        25   Cyrus where he asked you questions?


                                                                       20 (Pages 74 to 77)
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   1       A. That's the only time I met him.               1       Q. You were 22 going on 23, to be exact,
   2       Q. And he asked you questions that became        2   isn't that right?
   3    the answers here?                                   3       A. Yes.
   4       A. Yes.                                          4       Q. So you're an adult?
   5       Q. Okay. And that all happened, now you          5       A. Yes, I was independent.
   6    say, in August, 2013?                               6       Q. Sure.
   7       A. Yes.                                          7           MR. O'NEILL: What was all that?
   8       Q. Are you sure?                                 8       A. Well, yeah, but Douglas ruined my
   9       A. Yes, it's in August, 2013.                    9   chances. He ruined my life. It's at the
  10       Q. All right. Now, in December, 2004,           10   Village that I could have gone to big school and
  11    you went into the Village, isn't that correct?     11   go to big university and become a big boss. But
  12       A. Yes.                                         12   since that didn't work out, I went back to the
  13       Q. And the Village is an area surrounded        13   streets, and to look for food. I couldn't live
  14    by a big wall with places where the students can   14   on -- I couldn't depend on my family for that.
  15    live, is that correct?                             15           MR. O'NEILL: What's the word he used
  16       A. Yes.                                         16   in Creole for "boss" just now?
  17       Q. And you were there for, I believe you        17           THE INTERPRETER: Boss.
  18    said, about three and a half years, is that        18           MR. O'NEILL: He said boss?
  19    correct?                                           19           THE INTERPRETER: Yes.
  20            THE WITNESS: Yes.                          20       Q. Boss Mo, do you remember Boss Mo?
  21       Q. Until the Village closed?                    21       A. Yes.
  22       A. Douglas threw me out once.                   22       Q. Why was he called Boss Mo?
  23       Q. I'm not asking that question. I asked        23       A. Because he used to fix plumbing, he
  24    him the question I asked. So let's get that.       24   used to drive a car. That was his name. That's
  25            The question is, you were there for, I     25   how we were told his name was. He used to be a


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   1    believe you said, three and a half years, is        1   driver inside the Village.
   2    that correct? You said yes. The next question       2       Q. Now, at this time, now we're talking
   3    is, until the Village closed? You were there        3   2009, didn't you join up with a thing called
   4    until the Village closed?                           4   Boys Center?
   5           MS. POLLOCK: Objection. Asked and            5       A. This organization is the one that made
   6    answered.                                           6   me go to Sacré Coeur, but I remember it was in
   7        A. He had put me out once, and then I           7   2010.
   8    went -- came back again, and I stayed there         8       Q. Okay. What did you do in 2009? You
   9    until the Village closed.                           9   didn't join the Boys Center?
  10    BY MR. O'NEILL:                                    10       A. I remember the Boys Center opened in
  11        Q. And when was the Village closed?            11   2010.
  12        A. I think in 2009.                            12       Q. And what was it? What did they do?
  13        Q. Okay. And what did you do after the         13       A. Well, in general, they used to give us
  14    Village closed?                                    14   uncooked food so we could bring home. By that
  15        A. I went back to the street.                  15   time we knew that the Village had closed. I
  16        Q. Why didn't you just go to your family       16   didn't know the source of it, but they gave us
  17    house?                                             17   uncooked food.
  18        A. No, I could always go back to sleep at      18          And also they put me -- they enabled
  19    my family's house, but they were not in charge     19   me to go to the school called Sacré Coeur. And
  20    of my belly, feeding me, so...                     20   it would give us a little bit of money every
  21        Q. You were 23 at this point, right?           21   15 days, 150 Haitian dollars.
  22    You're not a kid anymore.                          22       Q. Okay. And that started in 2010?
  23        A. I'm not a child, yeah.                      23       A. Yes, I remember it started in 2010,
  24        Q. You're 23?                                  24   beginning of 2010.
  25        A. But I was looking for things to eat.        25       Q. All right. Did you ever hear of a


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   1   group called Kids Alive?                            1       A. My mother was really very, very -- had
   2       A. Yeah, at the Boys Center where I was         2   so many problems. I don't even know where I
   3   at, the badge that I had was Boys Center and        3   went.
   4   Kids Alive.                                         4       Q. What kind of problems with your
   5       Q. So it was the same thing?                    5   mother?
   6       A. It wasn't the same thing, but it went        6          MS. POLLOCK: I'm sorry, let him
   7   through Kids Alive to give us the help, the         7   finish. Let's get the correct translation.
   8   assistance.                                         8       A. My mother didn't know where I was.
   9       Q. How did you live in the street? What         9   BY MR. O'NEILL:
  10   did you do both before you got into the Village    10       Q. What was wrong with your mother that
  11   and after this time?                               11   you had to leave?
  12       A. I used to wipe cars, wash cars, and         12       A. My mother was paying the school, then
  13   beg. That's it. There was nothing else.            13   she didn't have the means anymore. And also I
  14       Q. How did you beg? Who did you beg            14   had bad luck. So I left the house.
  15   from?                                              15       Q. What was the -- I'm sorry.
  16       A. People walking. Any person.                 16       A. She didn't have the means to pay for
  17       Q. How did you eat on the street?              17   school. I saw that all the kids were going to
  18       A. In my mouth.                                18   school, so I had to go to the streets.
  19       Q. No. How did you get money to eat?           19       Q. What was the bad luck that you had?
  20   Did you get enough to eat, or were you starving?   20       A. I don't know.
  21       A. I used to finish leftovers. When            21       Q. Well, you said your mother didn't have
  22   somebody eats, and the leftovers, I would eat      22   the means, and I also had bad luck. Well, what
  23   them.                                              23   kind of bad luck? What do you mean?
  24       Q. Now, you were born where?                   24       A. I used to fight with the other kids a
  25       A. Me? In a place called St. Michel de         25   lot.

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   1   Latalay.                                            1       Q. In Dondon?
   2       Q. And you had -- what was your mother's        2       A. Yes.
   3   name?                                               3       Q. Why did you go to Cap-Haïtien?
   4       A. Rosemary Fareus, my mother's name was        4          THE INTERPRETER: Why didn't you?
   5   Rosemary, last name F-A-R-E-U-S.                    5          MR. O'NEILL: Why did he.
   6       Q. About 1998 you moved from this               6       A. When I arrive there I went straight to
   7   St. Michel --                                       7   the streets. I was working with cars, sleeping
   8         MR. O'NEILL: What did he call it, de          8   in the streets. I didn't have really any
   9   Latalay?                                            9   objective, just working in the streets, washing
  10         THE INTERPRETER: de Latalay.                 10   cars. I had a lot of difficult times. The
  11       Q. -- de Latalay, you moved from there         11   older guys were hitting me a lot, but I took it
  12   with your mom to Dondon, is that right?            12   upon myself and stuck it out.
  13       A. Yes. My mother went with me to              13       Q. Where was -- when you moved to Dondon
  14   Dondon.                                            14   with your mother, did your brother and two
  15       Q. And Dondon in 1998, you left there          15   sisters come with you?
  16   eventually and came to Cap-Haïtien when you were   16       A. Mm-hmm.
  17   12 years of age?                                   17       Q. You have to say yes or no.
  18         THE INTERPRETER: I'm sorry, can you          18       A. Yes.
  19   repeat the question?                               19       Q. Okay. Your brother, is it Ocilien
  20       Q. Sure.                                       20   Jonas?
  21         And you left this Dondon where you           21       A. Yes.
  22   were staying with your mother and went to          22       Q. Is he younger or older than you?
  23   Cap-Haïtien at 12 living on the streets?           23       A. He's younger. I was 10 when he was
  24       A. I was in the streets.                       24   born.
  25       Q. Why did you leave your mother?              25       Q. Okay. And your two sisters, Odilene


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   1    and Roselene --                                    1   another question.
   2        A. Roselene.                                   2          Did you, your mother -- when you moved
   3        Q. -- Roselene, are they older or              3   with your mother to Dondon, who lived in the
   4    younger?                                           4   house in Dondon that your mother moved to?
   5        A. They're older.                              5       A. I don't remember exactly who was
   6        Q. Okay. And did they live with your           6   there.
   7    mother?                                            7       Q. Your brothers, or your brother?
   8        A. They have their husbands.                   8       A. My sister was there, the guy my mother
   9        Q. Did they live with your mother in that      9   is with, his children were there, kids all
  10    house?                                            10   living together.
  11            Now, your father's name was --            11          MR. O'NEILL: Okay. Lunchtime.
  12            MS. POLLOCK: She's got to translate.      12          THE VIDEOGRAPHER: Going off the
  13        A. They live on the outskirts of Dondon,      13   record. The time is 12:30.
  14    but they have their husbands. They live in the    14          (Whereupon, a luncheon recess was
  15    little wooden houses, but their husbands are in   15          taken.)
  16    Santo Domingo.                                    16
  17    BY MR. O'NEILL:                                   17
  18        Q. Your father's name was Tiroulaud           18
  19    Odilbert? I'm not saying it right. What's your    19
  20    father's name?                                    20
  21        A. My father's name was Alteis Odilbert.      21
  22        Q. Can you spell the Alteis?                  22
  23        A. A-L-T-E-I-S. Last name Odilbert,           23
  24    O-D-I-L-B-E-R-T.                                  24
  25        Q. Where did he live, then, in 1998?          25


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   1       A. He died, passed away a long time ago.        1        AFTERNOON SESSION
   2   I didn't know him.                                  2
   3       Q. How old were you when he passed away?        3          THE VIDEOGRAPHER: Back on the record.
   4       A. I was a baby.                                4   The time is 1:39.
   5       Q. You had two stepbrothers?                    5   BY MR. O'NEILL:
   6       A. I have one, just one brother with not        6       Q. Good afternoon, Mr. Odilbert.
   7   the same father.                                    7       A. To you, too, sir.
   8       Q. Okay. And did your father and mother,        8       Q. Okay. On that good note, we'll start.
   9   did they separate before he died?                   9          Based on your answers to
  10          When you moved to --                        10   interrogatories, Mr. Odilbert, it's fair to say
  11          MS. POLLOCK: She's got to translate.        11   that you were in one way or another involved in
  12          MR. O'NEILL: Sorry. I understand            12   PPT, Project Pierre Toussaint, institutions from
  13   Creole, so...                                      13   the time you were at Rue 13 all the way to 2008
  14       A. After he passed away, my mother and I       14   or '9 -- 2009?
  15   went into Dondon, went to Dondon, and she took a   15       A. Yes.
  16   husband in Dondon, so she reside in Dondon.        16       Q. And up until December of 2008 when you
  17       Q. So she had another man who lived with       17   went into the Village, all that time you were in
  18   her in Dondon?                                     18   the other institutions, Rue 3, Rue 13, you were
  19       A. Not while she was with my father.           19   living in the street?
  20   After my father passed away, she took another      20          MS. POLLOCK: Counsel, you said
  21   husband.                                           21   December, 2008.
  22       Q. Okay.                                       22          MR. O'NEILL: Did I?
  23       A. And they are married until now. They        23          MS. POLLOCK: Yes.
  24   are still married. But he's not my father.         24   BY MR. O'NEILL:
  25       Q. My question -- well, let me ask             25       Q. December, 2004, sorry, it should be.


                                                                         23 (Pages 86 to 89)
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   1   Prior to 2004 -- so let me rephrase the             1   any education going on, or was it just a place
   2   question.                                           2   to go and have a meal and maybe wash up or
   3          Until December of 2004 when you went         3   something?
   4   into the Village, all the time that you were in     4       A. There was Master Romere, Madame
   5   the other institutions, that's the Rue 3 and 4,     5   Calixte, Junie, Margarita, they were all teacher
   6   the Rue 3 and 13, you were on the street, living    6   for kids. For myself personally, I had Master
   7   on the street?                                      7   Romere doing class for me.
   8       A. I was on the street. I only ate at           8        Q. What did they teach?
   9   the center. I ate at the center. I went to          9       A. It's not like a regular school where
  10   school at noon. At 5:00 p.m. everybody was free    10   you spent all day in school. They showed --
  11   to go back to the street.                          11   when you came, they showed you a little -- some
  12       Q. So the answer is yes, you were living       12   little things to do here and there, like
  13   on the streets when you were in Rue 3 and Rue      13   little -- to solve little math problems, but you
  14   13?                                                14   didn't go stay all day.
  15       A. Yes, I was in the street.                   15        Q. Okay. Now, in the Complaint that was
  16       Q. Do you recall when you first started        16   filed in, I think it was September, we said --
  17   in Rue 3?                                          17           MS. POLLOCK: No.
  18       A. I forgot this, because it happened          18           MR. O'NEILL: Let me just look at
  19   very long -- a long time ago.                      19   that.
  20       Q. We know that you went to live in the        20   BY MR. O'NEILL:
  21   streets, by your previous answers, in 1998, you    21        Q. September, 2014.
  22   left Dondon and came to Cap-Haïtien and lived in   22           MS. POLLOCK: The Complaint?
  23   the streets from 1998 on, is that right?           23           MR. O'NEILL: Sorry. That was the
  24       A. Yes.                                        24   answers to ints I was on.
  25       Q. How long were you at Rue 3 before you       25           MR. KERRIGAN: Is it the November 7th?


                                           Page 91                                                  Page 93
   1   went to Rue 13?                                     1   First page.
   2      A. I don't really remember. I didn't             2           MR. O'NEILL: I'm looking here,
   3   really go regularly. I just used to go to eat       3   November 7, 2013, sorry.
   4   once in a while, and I used to go to Rue 13 more    4   BY MR. O'NEILL:
   5   than anywhere else.                                 5      Q. Is that correct?
   6      Q. You were in Rue 13 until you were             6           MS. POLLOCK: Can you ask the question
   7   admitted to the Village in December, 2004,          7   again?
   8   correct? You were going to Rue 13?                  8   BY MR. O'NEILL:
   9      A. Yes, 2001, 2002, when it just opened,         9      Q. So the Complaint as filed was filed in
  10   that's when I started going.                       10   November 7, 2013. And in the 99th paragraph of
  11      Q. To where?                                    11   that Complaint, which I know you haven't read,
  12      A. In Rue 13.                                   12   but it's the document that's in court, it says
  13      Q. Rue 13.                                      13   "In or around 2004" --
  14          Okay. So you were at Rue 13 from 2001       14           MR. O'NEILL: You can try and say
  15   to 2008, December?                                 15   that.
  16          MS. POLLOCK: Counsel, you said 2008         16      Q. Since "In or around 2004, when
  17   again.                                             17   Plaintiff" --
  18          MR. O'NEILL: Did I say 2008?                18           THE INTERPRETER: Could I have the
  19          MS. POLLOCK: Yes.                           19   document, please, so I can read it?
  20   BY MR. O'NEILL:                                    20           MR. O'NEILL: I'll read the portion,
  21      Q. 2004, correct?                               21   and then you can translate it.
  22      A. Yeah. I saw you wrote 2008, but it's         22           MS. POLLOCK: Did somebody take his
  23   2004.                                              23   exhibit?
  24      Q. 2004 is the answer.                          24           THE INTERPRETER: I have it.
  25          What happened at Rue 13? Was there          25   BY MR. O'NEILL:


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   1       Q. So Number 99, "In or around 2004, when       1          The question is, was Brittany
   2   Plaintiff Raynel Odilbert was approximately         2   upstairs, to your knowledge, when that second
   3   17 years of age, Defendant Perlitz engaged in       3   incident happened?
   4   explicit sexual behavior and lewd and lascivious    4       A. Yeah, because that's where they were
   5   behavior, including but not limited to illicit      5   staying, all the way up there.
   6   sexual contact with the Plaintiff."                 6       Q. Well, how did you know that she was
   7           MR. O'NEILL: You can read that to           7   there?
   8   him.                                                8       A. That's where he lived.
   9       Q. Did Perlitz abuse you in and around          9       Q. Brittany lived there?
  10   2004?                                              10       A. Yeah, that's where she lived.
  11       A. Douglas forced me so he could put his       11       Q. So you didn't actually see her?
  12   penis in my butt twice. It's not that I agreed     12       A. I used to see Brittany in Bel Air,
  13   to it, but he would have put me out, thrown me     13   because that's where she used to live.
  14   out of the Village if I didn't agree to it.        14       Q. I understand that.
  15       Q. The question was, the Complaint that I      15          But the night that -- or the day that
  16   read and was translated for you states that it     16   Douglas Perlitz brought you there to have sex
  17   was in and around 2004 when Douglas Perlitz        17   with you after you'd been kicked out, did you
  18   engaged in explicit sexual behavior with you.      18   see Brittany, observe her, see her in Bel Air?
  19   Is that true?                                      19       A. I didn't sleep there the second time.
  20       A. Yes.                                        20   It was about 10:00 p.m.. They give me a little
  21       Q. It's true?                                  21   bit of money to buy some food, and then I went
  22       A. Yes.                                        22   down. I didn't see them, but I knew that's
  23       Q. When was the second incident? You say       23   where they slept, that's where they lived. They
  24   there's only one incident in the Complaint, but    24   were sleeping.
  25   you say there were two. When was the second        25       Q. I understand. But he didn't see them?

                                            Page 95                                                 Page 97
   1    one?                                               1      A. No.
   2           MS. POLLOCK: Objection.                     2      Q. But you knew that Brittany was already
   3    Mischaracterizes the record. Misstates the         3   there at the time the second sexual abuse
   4    witness's testimony.                               4   happened? You knew she was there?
   5       A. It happened twice to me.                     5      A. I don't know. But I know that these
   6    BY MR. O'NEILL:                                    6   people, they don't stay out very late. After
   7       Q. In the second time that it happened,         7   they're done in the Village, they're done
   8    you said that you had been kicked out of the       8   working in the Village, they go to sleep. They
   9    Village by Perlitz, and that he offered to let     9   don't take -- they don't go for walks. So they
  10    you back in if you had sex with him, is that      10   were in their rooms.
  11    true?                                             11      Q. Okay. Let me rephrase the question.
  12       A. Yes.                                        12   Maybe I can do it better.
  13       Q. And I believe in your interrogatories,      13          When that second incident happened
  14    but you tell me if this is your memory, in your   14   where Douglas brought you to Bel Air, and it was
  15    interrogatories you say that when that second     15   after you had been kicked out of the Village, he
  16    incident happened, Brittany was sleeping          16   brings you to Bel Air, you knew by that time
  17    upstairs, or was upstairs, is that correct?       17   Brittany had already arrived from United States?
  18    Nicholas and Brittany, you said, were upstairs.   18      A. She was in Haiti. She was in Haiti.
  19       A. Yes, they were sleeping upstairs.           19   She was in Haiti.
  20    Yeah, but, you know, Douglas is the one in        20      Q. Now --
  21    charge of all the white people that come in to    21      A. Andy wasn't in Haiti. That's the one
  22    Haiti. They are not allowed to knock on his       22   who wasn't there.
  23    door if he doesn't call them.                     23      Q. I want you to describe in as much
  24       Q. The question had to do with Brittany,       24   detail as you remember what happened in the
  25    not what you answered.                            25   second incident. How did you meet up with Doug


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   1    Perlitz? How did you happen to get to Bel Air?     1   back to the Village if I didn't agree to it.
   2    Tell me all of the circumstances that happened.    2       Q. Okay. And tell us what the sex was.
   3        A. The second time?                            3       A. He forced me. He put -- he forced me
   4        Q. Yes, the second time.                       4   to put my hands on the wall, and he put his
   5        A. I was washing cars. Douglas went by.        5   penis in my butt.
   6    I was washing cars in a bar/restaurant, then       6       Q. Okay. And what else?
   7    Douglas came by in a Land Cruiser Toyota. He       7       A. And then he asked me to put -- he put
   8    told me, "Raynel, I need you. Go to Bel Air, I     8   his -- he asked me to put his penis in my mouth,
   9    need you." I didn't know why he said that.         9   and he was rolling my tits, too. At 10:00 p.m.,
  10        Q. Well, you already had sex with him         10   he had me leave, he gave me a little bit of
  11    before. Didn't you suspect that he was looking    11   money. And I went back. On the next day, I
  12    for more sex?                                     12   went back. He made me come back to the Village
  13        A. I didn't suspect anything. Since he        13   to go to school.
  14    was the one allowing me to go back to go to       14       Q. He made you go back to the Village?
  15    school and to go back into the Village, I went    15   You wanted to go back to the Village.
  16    to Bel Air. And when I got to Bel Air, he said    16       A. I want. He told me the next day come
  17    "this is what you have to do. If you want to go   17   to the Village.
  18    to school, if you want to have a good life, you   18       Q. Well, you wanted to go to the Village,
  19    have to have sex with me." I had to let him put   19   didn't you?
  20    his penis in my butt.                             20       A. I wanted to go to the Village to go to
  21        Q. Wait a minute. We'll get to that.          21   school.
  22           MS. POLLOCK: Are you finished              22       Q. Yes. And that's what --
  23    interpreting what he said?                        23       A. That was my only hope. I didn't have
  24        A. So I could go back to the Village.         24   any hope.
  25    BY MR. O'NEILL:                                   25       Q. And that's why you had sex with him?


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   1      Q. Okay. So he, Perlitz, said to you             1      A. It's not because of that directly, but
   2   that "you can go back to the Village if you have    2   he forced me.
   3   sex with me"?                                       3      Q. Well, the force was the ultimatum that
   4      A. Yes.                                          4   you couldn't get back to the Village unless you
   5      Q. And you agreed?                               5   had sex; that's the force, isn't it?
   6      A. He put pressure, he forced me to              6          MS. POLLOCK: Objection.
   7   agree.                                              7   Mischaracterizes the witness's testimony.
   8      Q. Well, how did he force you? Other             8      A. Yeah, he forced me a lot. He
   9   than telling you unless you did that you            9   presented this image to me, he said it's in the
  10   wouldn't be able to come back to the Village,      10   Village that you can become someone. He forced
  11   other than that, what else did he do that forced   11   me.
  12   you?                                               12   BY MR. O'NEILL:
  13      A. He was forcing me. He touched me. He         13      Q. So that's pressure? That's pressure
  14   forced me to have sex with him.                    14   on you?
  15      Q. Well, did you agree to have sex with         15      A. Yeah, he pressured me.
  16   him so you could get back into the Village?        16      Q. And you agreed?
  17      A. Yeah, he forced me a lot. He put             17      A. I accepted.
  18   pressure on me. And I said I agreed, but he was    18      Q. And you were 21 -- you were probably
  19   putting a lot of pressure on me. And he did        19   22 years old at that point?
  20   that on Sunday, I remember it was a Sunday, and    20      A. I don't remember how old I was.
  21   I went back on Monday.                             21      Q. Well, Brittany didn't get to Bel Air
  22      Q. So the pressure that he put on you was       22   until October of 2007. Will you accept that?
  23   you would never get back into the Village unless   23          THE INTERPRETER: October?
  24   you did what he wanted you to do?                  24      Q. October, 2007. She was at a language
  25      A. I would have never been able to come         25   school when she came in August, and by October


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   1    she was at the Village working for PPT, and she     1          Schoubert Hedouville. I know
   2    lived at Bel Air from about October on. So will     2   Schoubert very well.
   3    you accept that this incident happened when         3          Francilien Jean-Charles. I know him
   4    Brittany was there after October of 2000 -- what    4   very well. He's -- he has big dreadlocks all
   5    did I say, 2000 --                                  5   the way down here.
   6           THE INTERPRETER: 7.                          6      Q. His butt?
   7    BY MR. O'NEILL:                                     7      A. Down here. Lower back.
   8        Q. -- 7, or into 2008, you're not sure of       8          Jimmy Jesula. I know Jimmy very well.
   9    the date, right?                                    9          Fredelin Legrand. Who is this
  10        A. I didn't understand.                        10   Fredelin Legrand? This one I don't remember.
  11        Q. If Brittany -- will you accept the          11          James Mathieu. I know James very
  12    fact that Brittany didn't arrive in Haiti until    12   well.
  13    August of 2017?                                    13          Denis Mesamour. I know him very well.
  14           MS. POLLOCK: 2017? Your dates are           14   We have the same godmother who baptized us.
  15    all over the place.                                15          Luckson Mesidor. I know him well.
  16           MR. O'NEILL: 2007.                          16          Mackenson Michel. I know him well.
  17           THE INTERPRETER: You said 2017.             17          Francklyn Pierre. I know him well.
  18           MR. O'NEILL: Sorry, we haven't even         18          Robens Pierre. I know him well.
  19    gotten to 2017 yet.                                19          Romeus Rodlin Rosanne. I know him.
  20        A. I don't know.                               20   But it's Rodney, not Rodlin.
  21    BY MR. O'NEILL:                                    21      Q. Okay.
  22        Q. Will you accept the representation          22          THE VIDEOGRAPHER: Can we go off the
  23    that I'm telling you, that she didn't get there    23   record for one minute? I'm having a technical
  24    until 2017, August?                                24   difficulty.
  25        A. I accept this.                              25          MR. O'NEILL: Do you want to go off?


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   1        Q. There's a list of names, and I               1   Yes.
   2    probably won't pronounce them correctly, so I'll    2          THE VIDEOGRAPHER: Going off the
   3    ask our wonderful interpreter to go through a       3   record. The time is 2:16.
   4    list of names, and you tell me if you knew these    4          (Pause.)
   5    people while you were at PPT. That's all I want     5          (Whereupon, Odilbert Exhibit Number 6,
   6    to know, "yeah, I knew them," "no, I didn't."       6          List of Claimants covered by the 2013
   7            MR. O'NEILL: Okay. Just the number,         7          Settlement Agreement, was marked for
   8    you don't -- just say the number, just go down      8          identification.)
   9    the names starting with Joseph Jean-Charles.        9          THE VIDEOGRAPHER: Back on the record.
  10        A. Joseph Jean-Charles. I know him.            10   The time is 2:18.
  11        Q. Okay.                                       11   BY MR. O'NEILL:
  12        A. Benson Alcime. I know Benson.               12      Q. Now that it's been marked as
  13            Kenson Baptiste. Yes, I know Kenson        13   Exhibit 6, the list of names, would you begin
  14    Baptiste.                                          14   reading where you left off and finish the list?
  15            Jean Ronald Belonne. I know him.           15      A. Okay.
  16    He's my friend.                                    16          Noel Smith. I know him really,
  17            Donald Cadet. I know Donald, Donald.       17   really, really well.
  18            Edier Dorsainvil. Didi Dorsainvil, I       18      Q. Who?
  19    know him. We call him Didi.                        19      A. Noel Smith.
  20            Emmanuel Dorvil. I know him. He's          20          Thony Vall. I know Thony.
  21    from someplace in Haiti.                           21          Michael Saintelus. I know him very
  22            Peterson Eugene. I know him.               22   well.
  23            Fredlin Fils-Aime. I know him well.        23      Q. Do you know -- these people that you
  24            Peterson Gedeus. He's my friend.           24   know very well, know them now, you meet them,
  25    Peterson, I know him very well, he's my friend.    25   you see them?


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   1          MS. POLLOCK: Objection. Vague.               1          Johnson Audate. I know Audate very
   2       A. So yes, these are all people I know          2   well.
   3   from Rue 13 or from the Village. Peterson           3      Q. There's one additional page on that
   4   Gedeus, Robens Louis, I know him very, very         4   that I -- we'll mark it as the next exhibit,
   5   well, we are always together. They always put       5   Exhibit 8.
   6   us together in the Village. And they would take     6          (Whereupon, Odilbert Exhibit Number 8,
   7   our dirty clothes, and we would always be           7          List of names, was marked for
   8   together.                                           8          identification.)
   9       Q. Okay.                                        9   BY MR. O'NEILL:
  10       A. And Smith is a little guy, I know him.      10      Q. So these names, there's seven more,
  11   Robens Pierre, he's my friend, we've always been   11   just the names.
  12   in the street together in Rue 13. There's only     12      A. James Mathieu. I know him.
  13   one guy I don't really know.                       13          Luckson Mesidor. I know Luckson
  14       Q. Thank you. I'm going to show you now        14   Mesidor.
  15   what's been marked Exhibit 7.                      15          Robens Pierre. I know Robens Pierre
  16          MR. O'NEILL: And just read the first        16   very well.
  17   name. We don't need to read Douglas Perlitz's      17          Romeus Rodlin Rosanne.
  18   name.                                              18          Noel Smith. I know him well, well.
  19          (Whereupon, Odilbert Exhibit Number 7,      19   He's my friend.
  20          Document titled Pending Related Cases,      20          Jimmy Jesula. I know him well.
  21          was marked for identification.)             21          Michel Mackenson. I know him well.
  22   BY MR. O'NEILL:                                    22   He's from Fort Liberté, it's a place.
  23       Q. The same way, if you know them, have        23          MR. O'NEILL: You will be pleased to
  24   Mr. Odilbert identify them as people he knows or   24   know, Mr. Odilbert, that I have no further
  25   doesn't know.                                      25   questions.

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   1        A. Gervil St. Louis. I know him really         1       A. To you also, I thank you, too.
   2    well.                                              2         MS. POLLOCK: Do we want to take a
   3          Ilguens Jean. I know Ilguens Jean.           3   break?
   4          Felix Pierre. Well, I might recognize        4         MR. O'NEILL: It's up to you guys. I
   5    him by his face. By the name, it's been a while    5   wouldn't mind ten minutes.
   6    since we were in the Village.                      6         MS. POLLOCK: Sure.
   7        Q. That's okay.                                7         THE VIDEOGRAPHER: Going off the
   8        A. Wisky Jerome. I know him very well.         8   record. The time is 2:24.
   9          Jose Bernardin. I know him well.             9         (Whereupon, a recess was taken.)
  10    He's my friend.                                   10         THE VIDEOGRAPHER: Back on the record.
  11          Jheempson Brismac. I know Jheempson         11   The time is 2:41.
  12    Brismac very well.                                12   BY MR. CERRETA:
  13          Eliphete Alibert. I know him well.          13       Q. Good afternoon, Mr. Odilbert. I
  14          Christophe Faustin. Yeah, he's a            14   introduced myself earlier, but my name is John
  15    friend from the Village.                          15   Cerreta, I represent Fairfield University.
  16          Dimitry Joseph. I know him.                 16       A. Okay.
  17           Dorat Jean. I know him very well.          17       Q. Do you remember the first time you met
  18          Eliodor Fleuridor. I know him.              18   Douglas Perlitz?
  19          Frisnel Jean. I know Frisnel Jean.          19       A. I forget. I don't remember.
  20          Gesner Lecenat. I know him well.            20       Q. When did you first start attending a
  21          Jamesly Guillaume. I know James very        21   school or a center affiliated with PPT?
  22    well.                                             22       A. I don't remember. I don't remember
  23          Jasmin Joseph. Yes, I know Jasmin.          23   when.
  24          Jean Moise Emile. I know Emile very         24       Q. Where was the first place that you
  25    well.                                             25   went that was part of PPT?


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   1        A. The first one I went to was Rue 3, but      1       A. I remember two, Manuel and Robinson.
   2    I didn't go a lot there, it was just to go eat.    2       Q. Did you ever see Douglas Perlitz at
   3        Q. Is Rue 3 3rd Street?                        3   the 3rd Street Center?
   4        A. Yes.                                        4       A. Well, I haven't seen him there. I
   5        Q. And at the time that you went to the        5   didn't stay there also, so I don't know. But he
   6    3rd Street Center, were you living on the          6   used to delegate to people working there, so he
   7    streets at that time?                              7   would be in the street driving, that's where I
   8        A. I was living in the streets.                8   saw him.
   9        Q. How did you hear about the place at         9       Q. Okay. So is it your testimony that
  10    3rd Street?                                       10   you don't have any recollection of actually
  11        A. Well, there's a place where they sell      11   seeing Douglas Perlitz at the 3rd Street Center?
  12    a lot of secondhand clothes, and there was a      12       A. No.
  13    street seller selling these secondhand clothes,   13       Q. But you would see him in the streets
  14    said to me, "hey, look, there's a center there    14   -- I'm sorry.
  15    where they give small street kids food to eat."   15       A. But the center is his. But he has
  16    So I looked for that place, for that center       16   people working there who are in charge of
  17    where I could go.                                 17   everything. Even if the boss isn't -- the
  18        Q. And what would a typical day be like       18   master isn't there, everything is working. The
  19    there at the 3rd Street Center? What would you    19   owner.
  20    do when you got there?                            20       Q. Do you remember seeing anyone else at
  21        A. I never spent an entire day at 3rd         21   PPT who was a white person or an American, at
  22    Street. I usually go to the one in 13th Street.   22   the 3rd Street Center?
  23        Q. Can you estimate how many times you        23       A. Well, I don't remember. I don't
  24    went to the 3rd Street Center?                    24   remember.
  25        A. I can't evaluate. I don't remember.        25       Q. Do you know a man named Andy

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   1        Q. Okay. Do you think you went to the          1   Shultheis?
   2    3rd Street Center more than, say, ten times?       2      A. I remember, I seen Andy at Rue 13.
   3       A. Not more. I don't remember how long.         3      Q. But you don't have any recollection of
   4    But I walk there and I don't go. But when 13th     4   seeing Andy at 3rd Street Center?
   5    Street opened, I went there regularly.             5      A. No, I didn't see him.
   6        Q. Did you ever set foot inside the 3rd        6      Q. How many times did Douglas Perlitz
   7    Street Center?                                     7   sexually abuse you?
   8        A. Yeah.                                       8      A. He forced me, he put his penis in my
   9        Q. And you say you never spent a full day      9   butt twice. It's not because I agree to it. He
  10    there, though, is that right?                     10   told me if I didn't agree he would throw me out.
  11        A. No, I didn't spend a full day in Rue       11          Did you understand what I said?
  12    3, 3rd Street.                                    12      Q. Yes.
  13        Q. Was the program just for a part of the     13          Would you tell me everything you can
  14    day, or would you leave before the day's          14   remember about the first time that Douglas
  15    activities were over?                             15   Perlitz abused you?
  16        A. The program -- well, I went to eat.        16      A. He took me in front of the classrooms,
  17    When I finished eating, I went -- I left. I       17   around 6:00 p.m., he took me in a car, in a red
  18    don't know how long it last.                      18   car, in a red Nissan to Bel Air. When I got to
  19        Q. Do you remember any of the students        19   Bel Air he was watching TV with me. He laid out
  20    who attended the 3rd Street Center with you?      20   a bed on the floor for me. I laid down. When I
  21       A. I remember Francilien, Robel, Wilnaud,      21   woke up at night I saw Douglas was touching all
  22    and then I forgot the rest.                       22   my body, and he forced his penis inside my butt.
  23       Q. Do you remember any of the teachers         23      Q. How old were you this first time that
  24    there or the staff there at the 3rd Street        24   Douglas Perlitz sexually abused you?
  25    Center?                                           25      A. 17.


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   1       Q. So when he pulled up around 6:00 p.m.,       1      A. He didn't explain.
   2   did he say anything to you?                         2      Q. So you had some dinner. Did Douglas
   3       A. He said "come with me." He's a white         3   eat the food with you? Did you share a meal
   4   guy, so I said -- so I went with him. But I was     4   together?
   5   in the street.                                      5      A. I don't remember everything because I
   6       Q. Did you know him when he pulled up?          6   was small, young.
   7   Had you ever met him before?                        7      Q. Okay. You were 17 years old at this
   8       A. I used to see him at the center.             8   time, is that right?
   9       Q. Which center was that?                       9      A. But I wasn't very well developed. You
  10       A. 13th Street, 13th Street.                   10   know, I was in the street.
  11       Q. So he said "come with me." Did he           11      Q. Do you remember anything else about
  12   give any explanation of why he wanted you to       12   when you were eating the food, any conversations
  13   come with him?                                     13   that you had with Douglas during the meal?
  14       A. No. He didn't explain anything to me.       14      A. No.
  15   And even when I laid down on the bed, I never      15      Q. How much time elapsed between when you
  16   thought this would happen, because I didn't know   16   got there and when it was bedtime, when Douglas
  17   he was a fag, that he would put his penis in my    17   prepared the bed?
  18   butt.                                              18      A. I don't know. I don't know how long.
  19       Q. So when he pulled up in the Nissan, do      19   He just made the bed for me. And later I saw
  20   you remember anything else he said to you other    20   that he laid down next to me, behind my back.
  21   than get into the car?                             21      Q. After you ate and you were watching
  22          MS. POLLOCK: Objection.                     22   TV, was Douglas sitting with you during the time
  23   Mischaracterizes the witness's testimony.          23   you were watching TV?
  24   BY MR. CERRETA:                                    24      A. He was sitting. I don't remember if
  25       Q. I'm sorry, let me rephrase that. I          25   he was sitting, but he was watching, and he was


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   1   don't want to mischaracterize his testimony.        1   on the bed.
   2       A. He said "come with me to my house." I        2      Q. Okay. So after the meal, did you go
   3   didn't know why. I didn't know.                     3   to Douglas's bedroom to watch TV?
   4       Q. Okay. But you did get into the car?          4      A. We were eating in Douglas's bedroom,
   5       A. I did enter the car.                         5   and that's -- in there we were watching TV.
   6       Q. Do you remember speaking to Douglas in       6   That's what I remember. The rest I don't
   7   the car at all on the way, on the drive?            7   remember.
   8       A. No.                                          8      Q. So after you watched TV and he
   9       Q. There was no conversation between you        9   prepared the bed, did he say anything to you
  10   in the car?                                        10   before the sexual abuse started?
  11       A. I didn't talk to him. I didn't talk         11      A. He didn't say anything. He just laid
  12   to him, just climbed in the car. In Bel Air we     12   out the bed and put a pillow under my head.
  13   just watched TV. He gave me some food. We          13   When I woke up in the middle of the night,
  14   continued watching television. And he laid down    14   that's when I saw Douglas next to me, and he
  15   the bed for me on the floor, and I went in the     15   forced me to -- he put his penis in my butt.
  16   bed.                                               16   But I wasn't aware of anything. He didn't
  17          When I woke up in the middle of the         17   explain anything.
  18   night, I saw that he was touching all my body,     18      Q. When you woke up, was Douglas already
  19   and his -- I saw his penis in my butt. And when    19   assaulting you?
  20   I woke up totally, he stood up and went to his     20      A. Yes. Exactly.
  21   bed. He scared me so much that he didn't allow     21      Q. Did you say anything?
  22   me to say that to anyone.                          22      A. I didn't say anything. I was scared.
  23       Q. When you first arrived and he gave you      23      Q. Did he say anything to you when you
  24   some food, did he explain why he had invited you   24   woke up?
  25   over?                                              25      A. He didn't say anything. He just said


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   1   don't say anything (indicating). Don't say          1   Rue 13. There were little -- I was inside the
   2   anyone -- don't tell anyone.                        2   center, but there were little children outside.
   3       Q. During this incident when he was             3   I took the car to go to Rue 13.
   4   assaulting you, did he ejaculate?                   4       Q. So when you woke up, you waited for a
   5       A. I didn't ejaculate, but I was                5   car?
   6   bleeding. My butt was hurting, and there was a      6       A. Yes.
   7   little bit of blood, a little bit.                  7       Q. What car were you waiting for?
   8       Q. After he was done, did he say anything       8       A. Tacoma Toyota that brings children to
   9   to you after that?                                  9   the Rue 13 Center.
  10       A. No. He said "don't tell anyone."            10       Q. So who was driving that car that
  11       Q. When you got to Bel Air that evening,       11   picked you up; the Toyota Tacoma was it?
  12   did you see anyone else in the house?              12       A. I think it was Andy, Andy.
  13       A. I didn't look in the yard to see if I       13       Q. Did you say anything to Andy about
  14   could see anyone. Douglas brought me downstairs    14   what had happened?
  15   right away in his bedroom, because his bedroom     15       A. Mm-mm, I never said that, anything.
  16   is a bit on the -- separated from the rest.        16       Q. When you woke -- I'm sorry, continue.
  17       Q. So is it your testimony that you            17       A. This is between God and myself, and
  18   didn't see anyone else besides Douglas at          18   Douglas who knew what he did.
  19   Bel Air that evening?                              19       Q. Was Andy there at Bel Air when you
  20       A. I didn't see anyone. But Andy was in        20   woke up in the morning?
  21   Haiti, I don't know if he was inside or not.       21         THE INTERPRETER: Was Andy?
  22       Q. That first incident, did anything else      22   BY MR. CERRETA:
  23   happen by way of sexual abuse other than Douglas   23       Q. Was Andy there at Bel Air when you
  24   putting his penis in your butt?                    24   woke up in the morning?
  25       A. I just bled a little bit. I said            25       A. Well, Andy came, but I was somewhere

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   1    that.                                              1   where there was a pipe, and there was a pipe.
   2       Q. That first incidence of abuse, was           2   Andy saw me in the yard. When the car came,
   3    there any kissing or anything like that?           3   there were other children there that were all
   4           MS. POLLOCK: Objection. Vague.              4   going to the center, we used to go to a place
   5       A. No.                                          5   where we could buy figs, bananas, and bread. He
   6    BY MR. CERRETA:                                    6   didn't think I had slept there. He saw me over
   7       Q. Was there any other abuse besides what       7   there, and he saw me there.
   8    you've told me that first time, that first         8      Q. Did Andy pull up in the Toyota Tacoma
   9    incident?                                          9   to pick you and the other children up?
  10       A. No.                                         10      A. Yeah, he went inside the center with
  11       Q. So what happened after the abuse was        11   the car, with all the children, and he made them
  12    over?                                             12   come out so they could ring the bell to prepare
  13           MS. POLLOCK: Objection. Vague.             13   the meal. He entered with the car with all the
  14       A. After that I continued going to             14   children. He made all the children come out.
  15    Rue 13.                                           15   He prepared the meal, the food, and he rang the
  16    BY MR. CERRETA:                                   16   bell so that all the children would come in.
  17       Q. I'm sorry, that was a bad question.         17          After ringing the bell so that the
  18           Immediately after the abuse was over,      18   children could eat and wash, he made us leave,
  19    did you stay in the bedroom for the rest of the   19   get out again, so we would come back at noon.
  20    night?                                            20      Q. Okay. The morning after the first
  21       A. Yes. Yes, but I woke up very, very,         21   incident of abuse, did Andy pick you up at Bel
  22    very early. I remember that. I woke up very       22   Air in a Toyota Tacoma?
  23    early.                                            23      A. When I entered, I didn't see the
  24       Q. So what happened when you woke up?          24   Tacoma inside. It's in the morning I saw the
  25       A. I waited for the car to bring me to         25   Tacoma in the yard. But Andy didn't see me in


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   1   the yard. After all the children gathered, we      1   became drunk, that took you away from the beach?
   2   all entered the Tacoma, and we left.               2       A. He saw that I was drunk, said he won't
   3       Q. Was there anybody else in the Tacoma        3   let me go back to the Village. After I was -- I
   4   besides Andy and the other children and you?       4   sobered up, I tried to sneak into the car to go
   5       A. I think John could have been there,         5   back to the Village. I didn't think he would
   6   but I don't remember.                              6   throw me out because of that. I didn't think
   7       Q. Who is John?                                7   that.
   8       A. A white guy. It's a woman, a girl.          8       Q. So did you ask him not to be thrown
   9   She spent maybe three months in Haiti. She left    9   out?
  10   and Andy had stayed behind.                       10       A. I asked "why are you kicking me out?"
  11       Q. Is her name Joan?                          11   He said I'm unbearable, I'm drunk, he can't let
  12       A. Joan.                                      12   me in. I said "well, it's during the summer
  13       Q. At some point when you were attending      13   months, I'm trying to have fun." He said -- he
  14   the Village, am I right that it was your          14   wouldn't listen.
  15   testimony that you were kicked out for a time?    15       Q. How old were you at the time of this
  16       A. Yes. Yes.                                  16   incident?
  17       Q. Why were you kicked out?                   17          THE INTERPRETER: The second incident?
  18       A. Because we went to the beach, all the      18          MS. POLLOCK: Incident of abuse?
  19   kids from the Village, even Douglas was there,    19       A. About 22.
  20   maybe other white people were there, I don't      20   BY MR. CERRETA:
  21   know. I was having too much fun, I guess, and I   21       Q. Let me just try to ask the question
  22   became drunk. Douglas didn't want me to come      22   again. I'm sorry.
  23   back to the Village. Even the bus didn't let me   23          How old were you at the time of the
  24   in. So in hiding, I went to the Village with      24   second incident of sexual abuse by Douglas
  25   all -- in the bus with all the kids.              25   Perlitz?

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   1           When I got there, I went to sleep. I       1       A. I think about 23 years old, something
   2   wanted to go to sleep. Douglas called the          2   like that.
   3   staff, an employee from the staff, and said        3       Q. So when you -- when he told you that
   4   "have Raynel leave." I went up to Bel Air.         4   you were being kicked out of the Village, did
   5   Douglas put me to sleep in the Land Cruiser.       5   you then caress him? Is that your testimony?
   6           The next day I went back to the            6       A. I said "please, don't put me out
   7   Village. He made me pack up my things, my          7   because I don't have anything else," but he
   8   clothes, and he put me out. All the caressing I    8   didn't listen to me.
   9   did, he didn't accept it, and he put me out,       9       Q. Okay. Was it your testimony a minute
  10   kicked me out.                                    10   ago "all the caressing I did, he didn't accept
  11       Q. Okay. So there was an incident at the      11   it, and he put me out, kicked me out"? Is that
  12   beach where you became drunk, is that right?      12   right?
  13       A. Mm-mm. You know, during the summer         13       A. Yeah, he didn't listen to me, he
  14   months I'm on vacation, so I was trying to have   14   kicked me out anyway.
  15   fun.                                              15       Q. But were you trying to caress him in
  16       Q. School was not in session during -- at     16   an attempt to get him not to kick you out?
  17   the time of this incident? It was summer break    17       A. No, with words.
  18   from the Village.                                 18       Q. With words. No touching?
  19       A. Yeah. Each summer we go, we always go      19       A. No, no. With words.
  20   to the beach to have fun.                         20       Q. You testified a little while ago that
  21       Q. Who else was at the beach this day?        21   you have some memory problems, is that right?
  22       A. All the students inside the project,       22       A. Yeah, I have problems to remember
  23   they were all there. All the employees were       23   things.
  24   there, too.                                       24       Q. And did you mention that was related
  25       Q. So was it Douglas that, when you           25   to an incident which you were hit on the head?


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   1       A. Ask the question again.                      1       Q. Who from Fairfield University came to
   2       Q. The memory problems, was it your             2   the Village?
   3   testimony earlier today that those are related      3       A. Father Paul and Madame Carter, they
   4   to an incident in which you were hit on the         4   were representatives of Fairfield. And these
   5   head?                                               5   two people were the heads, the boss of the
   6       A. No, because when I was at the Village,       6   Village. They were in charge of the Village.
   7   because of what Douglas did to me, I have           7       Q. Did you ever talk to Father Paul?
   8   problems remembering and working well, that's       8       A. We used to talk to Father Paul in
   9   why I didn't go far in my school.                   9   group, all gathered in a group, and Douglas was
  10       Q. At some point were you hit on the head      10   translating for us.
  11   by a band of robbers with a machete?               11       Q. Do you remember how many times you met
  12       A. After the Village was closed I went to      12   Father Paul?
  13   Santo Domingo, thugs caught me, and they hit me    13       A. I met him every December. Every time
  14   with the machete. They stole 6,000 pesos from      14   we were about to have a vacation, he would bring
  15   me.                                                15   gifts, and like tennis shoes. And Douglas
  16       Q. Your memory problems, have they come        16   always said it's thanks to Father Paul and
  17   on since the incident which you were hit with      17   Madame Carter that we were able to have these
  18   the machete?                                       18   gifts.
  19       A. Since before. I've always had               19      Q. Every December at the Village would
  20   problems thinking. After I was hit, I became --    20   you see Father Paul and Madame Carter?
  21   I would become dizzy if I made too many mental     21       A. They come in December. But also not
  22   efforts. And when I drink something cold, I        22   only in December, some other times, but I don't
  23   feel it here (indicating).                         23   remember. But every December 21st, they come,
  24       Q. Okay. Have you ever been arrested?          24   both of them, with gifts for us.
  25       A. Well, they arrested me once, but I          25       Q. So when they would come for the group,

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   1    didn't stay in prison. I wasn't in prison for      1   is that when Douglas would translate things that
   2    long time. Because the police is always abusing    2   Father Paul was saying to the group?
   3    the street children.                               3       A. Yes, he translated for the group. He
   4           MS. POLLOCK: Just answer yes or no.         4   said things, but I don't remember what he said.
   5    BY MR. CERRETA:                                    5   I don't recall.
   6       Q. What were you arrested for on that           6       Q. Was it your testimony a moment ago
   7    time?                                              7   that you understood Hope Carter to be a
   8       A. For nothing. I didn't do anything. I         8   representative of Fairfield University? Is that
   9    was walking, the police saw me, and they           9   right?
  10    arrested me.                                      10       A. It's not that I thought, I knew she
  11       Q. When was this?                              11   was a representative of Fairfield University,
  12       A. At night.                                   12   and she was one of the person in charge of the
  13       Q. Do you remember how old you were?           13   project for sure.
  14       A. I don't remember. I used to live in         14       Q. How did you know that she was a
  15    the streets, I used to walk all night.            15   representative of Fairfield University?
  16       Q. Do you remember if it was before or         16       A. At the Village they would always talk
  17    after the Village closed?                         17   about this university. And they themselves were
  18       A. Before, before. I wasn't at the             18   talking about that university, and Douglas used
  19    Village at that time.                             19   to talk to us about that university. And she
  20       Q. In the interrogatories that you             20   made a promise to us that when we're done
  21    answered, I'm looking at the answer to            21   studying here we could go study in that
  22    Interrogatory Number 69, you indicate in there    22   university. But Douglas was probably lying.
  23    that Fairfield University was an organization     23       Q. Okay. So what do you remember Douglas
  24    that came to the Village, is that right?          24   saying about the university?
  25       A. Yes.                                        25       A. I don't remember. I don't remember


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   1   what they used to say about the university. But     1   Douglas telling you anything about Fairfield
   2   I remember that when Hope, Ms. Carter, and          2   University?
   3   Father Paul used to come, they would say that --    3      A. Well, Father Paul was there, and he
   4   he would say that it's thanks to these people       4   translated. Father Paul used to say that I
   5   that we had such nice tennis shoes. But I don't     5   guess in English, and so he would translate that
   6   remember what they would say about the              6   into Creole. He would say that if we finished
   7   university, Fairfield University.                   7   our classes, since they were person -- the
   8       Q. He would say it's thanks to the              8   people in charge of the project and they were
   9   university that you had nice tennis shoes?          9   representatives of Fairfield University, they
  10       A. Thanks to Madame Carter and Father          10   were there to convey this message to us, Father
  11   Paul. About the university, what I remember is     11   Paul and Hope Carter -- and Madame Carter. And
  12   that he would say if we would finish all our       12   he used to say that in their presence.
  13   classes, we would be able to go study in that      13      Q. It was Douglas that would say this in
  14   university.                                        14   their presence?
  15       Q. Who would say that?                         15      A. When they were there.
  16       A. Douglas.                                    16      Q. And as best as you could tell, Douglas
  17       Q. Did anybody else besides Douglas ever       17   was translating something that Father Paul was
  18   say that?                                          18   saying in English?
  19       A. No. In Haiti the person in charge of        19      A. Yes. Douglas was translating what
  20   the Village was Douglas, but overseas it was       20   Father Paul and Madame Carter were saying.
  21   Madame Carter and Father Paul.                     21          Let me add something. A lot of us, we
  22          MS. POLLOCK: Can we take a break            22   were happy, we thought we were going to study at
  23   whenever you've got a good stopping point?         23   Fairfield University.
  24          MR. CERRETA: Yes, we can take a break       24      Q. And you thought you were going to do
  25   right now.                                         25   this once you finished your classes at the


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   1           THE VIDEOGRAPHER: Going off the             1   Village?
   2   record. The time is 3:32.                           2       A. Yeah, I always thought that.
   3           (Whereupon, a recess was taken.)            3       Q. Do you remember anybody else saying
   4           THE VIDEOGRAPHER: Back on the record.       4   anything else about Fairfield University?
   5   The time is 3:43.                                   5       A. No.
   6   BY MR. CERRETA:                                     6       Q. After that incident at the beach when
   7       Q. Okay, sir. Before the break, you             7   you got drunk and were kicked out of the
   8   testified that Doug told you if you would finish    8   Village, how much time passed before you were
   9   all of your classes you would be able to go         9   allowed back in?
  10   study at Fairfield University, is that right?      10       A. Three months. Three months. Three
  11       A. Not just me, all us -- all of us.           11   months during the summer break.
  12       Q. You and the other group of students at      12       Q. So were you allowed back in right at
  13   the Village, is that right?                        13   the beginning of the next school year after the
  14       A. Yes, he used to say that in front of        14   summer break?
  15   -- in the presence of Father Paul and Madame       15       A. After he abused me, that's when I
  16   Carter.                                            16   returned to the Village.
  17       Q. Other than that, do you remember him        17       Q. Did you -- were you let back in right
  18   saying anything else to you about Fairfield        18   at the beginning of the school year, or had you
  19   University?                                        19   missed some time while you had been kicked out?
  20       A. Well, I don't remember what he used to      20       A. I didn't miss any time.
  21   say besides that.                                  21       Q. So you were able to start on time at
  22       Q. Do you think that he did say other          22   the beginning of that 2007 school year?
  23   things about Fairfield University?                 23       A. 2007?
  24       A. Well, I don't know. I can't think.          24       Q. That was the question, yes, 2007
  25       Q. Do you remember anyone else besides         25   school year.


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   1      A. Yes.                                           1      Q. And then did you, in fact, make
   2      Q. So just to clarify, when you were              2   efforts to buy the pants that Sunday night?
   3   kicked out of the Village, you didn't actually       3      A. No, I didn't -- I didn't do efforts to
   4   miss any time at all from school, from the           4   buy the pants in the evening. It was in the
   5   actual school lessons during the time you were       5   morning. I went to place on the bridge where
   6   kicked out, is that right?                           6   they hang clothes, and I bought pants for 100
   7      A. I didn't miss anything. I spent three          7   gourdes. Then I went and took a public
   8   months from the summer break outside, but he         8   transportation taxi to go to the Village, and I
   9   made me come back after that. But to be able to      9   got there really early.
  10   come back physically, physically, he put his        10      Q. On the Sunday after he abused you for
  11   penis in my butt, so that's why I could come        11   the second time, did Douglas also say that he
  12   back.                                               12   would come from Miami with the uniform shirt?
  13      Q. But that second incident of abuse, it         13      A. The uniforms were already available.
  14   took place while it was still the summer break      14   He had already come back from Miami, they were
  15   from school at the Village, is that right?          15   already available, and it's written on them
  16      A. The second incident, it was still             16   "Project Pierre Toussaint Venerable."
  17   vacation time. It happened to me on Sunday, and     17      Q. So when did you get your shirt; was it
  18   on Monday the school opened.                        18   that first Monday when you got to school, or did
  19      Q. So the very next day was the first day        19   you get it on the Sunday evening after the
  20   of school?                                          20   second incident of abuse?
  21      A. He asked me to buy pants, that he             21      A. No, when I got to the Village they
  22   would give me the shirt. The shirt would come       22   gave me the shirt, and they gave me shoes, too,
  23   from Miami. He would come from Miami with the       23   also. They gave me a suitcase, books, suitcase,
  24   uniform. He had me buy pants, and then when I       24   undershirt, and toothbrush so I could go to
  25   got to the Village he gave me the shirt.            25   school. But he wasn't the one who gave me that,


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   1        Q. Okay. The second incident of abuse           1   there are teachers who distribute those.
   2    occurred on a Sunday, you had previously            2      Q. Do you know a place in Cap-Haïtien
   3    testified, is that right?                           3   called Rue 12A?
   4        A. Yes.                                         4      A. Yes. The Center is between Rue 12 and
   5        Q. And then the next day, you went to           5   Rue 13, that's how the Center is. If you don't
   6    school back at the Village on a Monday, is that     6   say Rue 12, then it's Rue 13, it's between these
   7    right?                                              7   two there. You understand?
   8        A. But I didn't go to Bel Air to get the        8      Q. When you're talking about the Center,
   9    car. I came from my house directly with my          9   are you referring to the 13th Street Center?
  10    clothes. When I got there, all the Village --      10      A. Yes.
  11    the Village kids told me, "what?" I said "well,    11          MR. CERRETA: That's all I have.
  12    if you see me here it's because the boss of the    12   Thank you.
  13    Village told me I could come back."                13          THE VIDEOGRAPHER: Going off the
  14        Q. This was on that Monday morning?            14   record. The time is 3:48.
  15        A. Yes, it was Monday morning.                 15          (Pause.)
  16        Q. When did Douglas tell you to buy the        16          THE VIDEOGRAPHER: Back on the record.
  17    pants?                                             17   The time is 4:09.
  18        A. The same evening. He said "make all         18   BY MR. KERRIGAN:
  19    the efforts you can to buy one, just one pair of   19      Q. Mr. Odilbert, my name is Michael
  20    pants." And I made efforts to buy blue pants       20   Kerrigan, I represent the Society of Jesus of
  21    indeed.                                            21   New England. And I have a few questions for you
  22        Q. So he abused you the second time on a       22   today. Okay?
  23    Sunday, and then -- was it then that he told you   23          Mr. Odilbert, are you taking any kind
  24    to buy the pants, after the abuse?                 24   of medication that would affect your ability to
  25        A. Yes.                                        25   testify today?


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   1        A. No, I didn't take any medicine.            1       Q. Have you always believed in God?
   2        Q. Are you taking any drugs that would        2       A. Yes, because I've always prayed.
   3    affect your ability to testify today?             3       Q. Have you always had a strong
   4        A. No.                                        4   relationship with God?
   5        Q. Have you ever taken drugs?                 5       A. I've been always praying, praying.
   6        A. Mm-mm.                                     6       Q. How often do you pray?
   7        Q. Have you ever sniffed paint thinner?       7       A. Unlimited number of times, because in
   8        A. When I was in the street I used to         8   a single day I can pray three times.
   9    take thinners when I was really, really young.    9       Q. Your faith has always been strong?
  10        Q. How young?                                10       A. I've always had faith up to now.
  11        A. When I had just left my house, when       11       Q. And you have a strong faith today?
  12    another boy made me take thinners.               12       A. I have good faith, strong faith.
  13        Q. How old were you when you took the        13       Q. What is your religion?
  14    paint thinner?                                   14       A. I'm a Baptist.
  15        A. Maybe about 12 years old. I had just      15       Q. Have you always been a Baptist?
  16    left home. I didn't use it for a long time       16       A. But it's been a while since I've gone
  17    because it didn't do me well. That was an        17   to church. I have a little problem, that's why
  18    experience.                                      18   I didn't go to church. But I've always been
  19        Q. How many times did you sniff paint        19   Baptist. I'm a Baptist.
  20    thinner?                                         20       Q. What is the little problem that leads
  21        A. I forgot how many.                        21   you not to go to church?
  22        Q. Would it be ten times?                    22       A. It's personal.
  23        A. Not ten times, not even.                  23       Q. Personal in what way?
  24        Q. Less than ten?                            24       A. I have a problem because I'm trying to
  25        A. Less, but I don't remember.               25   find a way to give money to my wife, and I

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   1        Q. When was the last time you sniffed         1   haven't been to church for a while, but that's
   2    paint thinner?                                    2   because I have so many things. I don't sit.
   3        A. I don't remember. It was a long time       3   I'm always doing something. I'm always riding
   4    ago.                                              4   the motorcycle.
   5        Q. Was it when you were 12 years old?         5       Q. Were you born a Baptist?
   6        A. Mm-hmm. When I was in the street I         6       A. The Village -- when I was born, I was
   7    was 12.                                           7   a Baptist. But the Village was Catholic so I
   8        Q. Now, Mr. Odilbert, if you don't            8   did my First Communion, but then I returned to
   9    understand anything I'm asking you, you will      9   my original religion.
  10    tell me, correct?                                10       Q. Do you have a church in Haiti that you
  11        A. Yes.                                      11   attend now?
  12        Q. Okay? Is that fair?                       12       A. Yes.
  13        A. Okay.                                     13       Q. What's the name of that church?
  14        Q. Mr. Odilbert, what did you do to          14       A. Village Christophe, and the pastor at
  15    prepare for today's deposition?                  15   this church is Sentanne.
  16        A. I prayed to God, to ask God for           16       Q. Can you spell that for me, please?
  17    strength.                                        17       A. Pastor Sentanne, S-E-N-T-A-N-N-E.
  18        Q. Do you believe in God?                    18       Q. Mr. Odilbert, aside from praying, what
  19        A. Mm-hmm.                                   19   else did you do to prepare for today's
  20        Q. What is your religion?                    20   statement?
  21           Excuse me. Is that a yes or a no?         21       A. I don't believe in anything else but
  22        A. Yes.                                      22   God.
  23        Q. Yes, you believe in God?                  23       Q. In preparing for today's statement,
  24        A. Yes, I believe in God, because I pray     24   Mr. Odilbert, did you read any papers?
  25    to God.                                          25       A. What document?


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   1        Q. Any documents.                              1      A. That's his nickname, Claude is his
   2        A. I didn't read any document.                 2   nickname, that's not his real name. I don't
   3        Q. Did you speak to anyone to prepare for      3   remember the name of the other ones.
   4    today's statement?                                 4      Q. What is Claude's real name?
   5        A. I talked to God so he could give me         5      A. I don't remember.
   6    strength so I could testify about what Douglas     6      Q. Did you do anything else to prepare
   7    did to me.                                         7   for today's statement, Mr. Odilbert, other than
   8        Q. Did you speak to any people to prepare      8   pray to God?
   9    for today's statement?                             9      A. I just prayed, prayed. I didn't do
  10        A. No.                                        10   anything else. I already said that twice here.
  11        Q. Did you speak to Cyrus Sibert about        11      Q. Mr. Odilbert, earlier you said you
  12    today's statement?                                12   hadn't been to church in a while because you'd
  13        A. No.                                        13   been busy trying to get money to send to your
  14        Q. Did you talk to any of the other men       14   girlfriend, is that correct?
  15    who came to Puerto Plata with you about the       15      A. She's not my girlfriend. Because we
  16    deposition?                                       16   had a child together, she's the mother of my
  17        A. No.                                        17   child. That's why I didn't go to church. I
  18        Q. Did you talk to the other men who came     18   will look for a way to go back to church.
  19    with you to Puerto Plata about your case?         19      Q. Do you consider Rosemichelle to be
  20        A. No. We don't have the same file, the       20   your girlfriend?
  21    same case.                                        21      A. She's the mother of my child.
  22        Q. Did you talk to them about your case       22      Q. Do you still have a relationship with
  23    at any time?                                      23   Rosemichelle?
  24        A. No.                                        24      A. Yes.
  25        Q. Did any of the others who came with        25      Q. What is the nature of your

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   1    you to Puerto Plata talk to you about their        1   relationship?
   2    cases?                                             2       A. She's the mother of my child. We are
   3       A. We didn't talk about that at all.            3   in love. We have a child together. We are
   4       Q. Did you talk about anything with the         4   raising a child together, and his mind is not
   5    others?                                            5   good yet.
   6       A. No, no.                                      6       Q. You've been together with Rosemichelle
   7       Q. How long is the ride from Haiti to           7   for more than six years now, is that right?
   8    Puerto Plata?                                      8       A. It's not more than six years. We were
   9       A. I left Haiti at 8:00 o'clock. I got          9   three years as boyfriend and girlfriend. It's
  10    to Santiago at noon. I didn't look at the time    10   not more than six years, but it could be six
  11    when I got here, but I think it was about 2:30    11   years.
  12    on Saturday. I think it was about 2:00 o'clock,   12       Q. How many years do you think?
  13    2, 2:30, around that time. I didn't have any      13       A. It's six years.
  14    watch.                                            14       Q. You think it's six years?
  15       Q. Who travelled with you?                     15       A. We were three months -- three years
  16       A. From Haiti?                                 16   boyfriend and girlfriend. We have a 17-month
  17       Q. Yes.                                        17   old son together, and she carried the baby for
  18       A. Cyrus.                                      18   nine months, so it's going to be six years.
  19       Q. Anyone else?                                19       Q. You've had a good relationship with
  20       A. There were other people, but it was         20   Rosemichelle over the years?
  21    these guys, the guys, the kids. But the person    21       A. Yes, and I love her.
  22    in charge of the trip, during the trip was        22       Q. And you intend to stay with
  23    Cyrus.                                            23   Rosemichelle?
  24       Q. What are the names of the others who        24       A. Yes, we will get married.
  25    came with you and Cyrus?                          25       Q. And you intend to raise the child


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   1    together, correct?                                1       Q. And why do you call the case personal,
   2       A. Together, yes.                              2   Mr. Odilbert?
   3       Q. And you've been able to have a good         3       A. I wouldn't want to tell her that,
   4    relationship with Rosemichelle and your son,      4   because she can't do anything for me.
   5    correct?                                          5       Q. Do you want to talk to Rosemichelle
   6       A. I get along well with her. But she          6   about the case?
   7    was rude, but I have -- I will correct that.      7       A. I'm not going to tell her about this
   8       Q. But other than some rudeness from           8   case.
   9    Rosemichelle, you're able to have a good          9       Q. Why not?
  10    relationship with her, correct?                  10       A. It's my decision.
  11       A. I have better spirit, better mind than     11       Q. Do you want to talk to Rosemichelle
  12    her. I'm going to educate her so that we have    12   about the abuse?
  13    better relations. I was talking to her. When I   13       A. I won't tell her that. I'm ashamed
  14    say I'm schooling her, it means I'm talking to   14   because she's a woman. She's a girl. If I tell
  15    her.                                             15   her that, she might leave me.
  16       Q. And how do you plan to educate her?        16       Q. Why do you think that?
  17    What does she need to learn?                     17       A. She's going to say I'm a fag.
  18       A. "Darling, I'm with you, don't be rude,     18       Q. What's wrong with being a fag?
  19    because the child, we have to raise him          19       A. It's something really, really bad.
  20    together."                                       20       Q. Do you believe that it's bad?
  21       Q. Mr. Odilbert, you intend to stay in a      21       A. I know that. I know that. There was
  22    loving relationship with Rosemichelle?           22   a country called Sodom, God destroyed it because
  23       A. Yes. I'm going to stay with her, yes.      23   of that, for gay stuff.
  24       Q. Do you have a good relationship with       24       Q. You believe it's bad to be gay?
  25    your son?                                        25       A. Something really, really bad. Really


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   1      A. Yes.                                         1   bad.
   2      Q. And you're able to enjoy time with           2       Q. Is that the culture in Haiti, that it
   3   your son?                                          3   is really bad to be gay?
   4      A. Yes.                                         4       A. The bible tells you this is not good.
   5      Q. Nothing prevents you from enjoying           5       Q. How about in Haiti?
   6   time with your son, right?                         6       A. They think that this is not good at
   7      A. No.                                          7   all. You don't hang out with fags.
   8         MS. POLLOCK: Objection.                      8       Q. Have you told anyone other than Cyrus
   9   BY MR. KERRIGAN:                                   9   Sibert that you were abused by Doug Perlitz?
  10      Q. Do you play with your son at all?           10       A. No.
  11      A. Yes.                                        11       Q. You said earlier that you are working
  12      Q. And you're able to do that?                 12   to earn money that you can give to your
  13      A. Yeah, I play with him. I play with          13   girlfriend and to your son, is that correct?
  14   him. I play with him because I love him a lot.    14       A. Yes. I'm working to give them food,
  15      Q. And you have great enjoyment from your      15   to give my son food.
  16   son in your life, correct?                        16       Q. And are you working hard to try to get
  17      A. Yes. And he's plump and big guy.            17   money to your wife -- to your girlfriend and
  18      Q. He's healthy?                               18   your son?
  19      A. Yeah. I love him.                           19       A. I work hard, hard, hard, because I'm
  20      Q. Have you ever talked to Rosemichelle        20   driving a motorcycle, this is hard, and it's
  21   about your case?                                  21   dangerous. I might be driving, and I have an
  22      A. No.                                         22   accident with a car coming in quickly. And, you
  23      Q. Why not?                                    23   know, the motorcycle is not mine, so I'm working
  24      A. Because this is personal, stays with        24   very hard for myself and for the owner of the
  25   me.                                               25   motorcycle.


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   1        Q. You're healthy, Mr. Odilbert?                1       A. From 6:00 a.m. until 11:00 p.m. I'm
   2        A. I'm not healthy right now because I          2   still out. I have to make money to put gas in
   3    had a fever, and the fever attacked me, and this    3   the motorcycle, and to eat, and to have money
   4    is where it came out (indicating).                  4   for the owner. As long as I haven't made that
   5        Q. You're pointing to your mouth, your          5   money, I can't stop.
   6    lip?                                                6       Q. How much do you earn an average day?
   7        A. Yes.                                         7       A. Sometimes 700 gourdes, I give 300
   8        Q. Apart from the fever, are you healthy?       8   gourdes to the owner, I put 200 gourdes of gas,
   9        A. I'm not a guy who relaxed, I think, a        9   I eat with 100 gourdes, and 100 gourdes I keep
  10    lot, because the type of life, my lifestyle, I     10   in my pocket so I can give -- send to the child.
  11    don't really like.                                 11   Sometimes I earn less.
  12        Q. Are you able to work hard every day to      12       Q. What's the best day you've ever had,
  13    earn money?                                        13   how much did you earn?
  14        A. Every day, Sundays, Monday, all days.       14       A. Saturday, Sundays, and when school is
  15    I never rest. I rest when I'm next to the baby,    15   open, then I earn more.
  16    then I rest for a while.                           16       Q. And what's the highest you've ever
  17        Q. That's when you enjoy time with your        17   earned on a day?
  18    son?                                               18       A. 800 gourdes.
  19        A. Yeah, then I rest. I stay three days        19       Q. When will you have paid off the owner
  20    with him, and then I rest.                         20   for the motorcycle?
  21        Q. How often do you spend time with your       21       A. I will -- the week that I'm here, I
  22    son?                                               22   will have to pay him. I will owe him during
  23        A. When I'm in Cap-Haïtien I do spend          23   that week.
  24    15 days, every two days, I see the child every     24       Q. When will you own the motorcycle?
  25    two days, but I always send something -- every     25       A. There are two months left, so because

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   1   two weeks. But I always send something for him       1   this week I'm here, I won't pay, so it's going
   2   before that.                                         2   to be two months and one week.
   3      Q. You send a gift or money?                      3       Q. And after the motorcycle is all paid
   4      A. A little bit, a little bit of money so         4   for, you get to keep the 300 gourdes?
   5   they buy something. If I send 500, 300. I have       5      A. Yes, they will be mine.
   6   to eat myself, too, I can't send everything.         6       Q. And you intend to keep working as a
   7      Q. When you say you send 500 or 300, do           7   motorcycle taxi after that?
   8   you mean 300 or 500 Haitian gourdes?                 8      A. Yes, I will, because I will be able to
   9      A. Gourdes, gourdes, yes.                         9   benefit more from it.
  10      Q. Does the injury to your hands from the        10       Q. Do you work any other jobs other than
  11   machete attack prevent you from working?            11   as a motorcycle taxi?
  12      A. It prevents me from driving the               12       A. No.
  13   motorcycle, but I make an effort, I find a way,     13      Q. Do you pay rent for someplace to live?
  14   because I have responsibilities, and make           14      A. No, I don't pay a house -- for a
  15   efforts so I can work. But to raise heavy           15   house.
  16   things, if I would want to take these things,       16       Q. Where do you live?
  17   see, it doesn't go in that hand (indicating).       17       A. I live at a cousin's house.
  18      Q. Does the machete injury to your head          18       Q. What is your cousin's name?
  19   prevent you from working?                           19          MS. POLLOCK: Objection. Asked and
  20      A. If I take some -- if I drink something        20   answered.
  21   really cold, then it goes here and really hurts,    21       A. Madame Moïse.
  22   I have a headache here. And I can't carry heavy     22   BY MR. KERRIGAN:
  23   things, heavy loads.                                23       Q. How much would it cost you if you
  24      Q. What hours during the day do you work,        24   wanted to get a house or an apartment?
  25   Mr. Odilbert?                                       25      A. No, Douglas trashed my life, I have no


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   1   more value. He spoiled my life. I don't know.      1   treatment in Haiti for your injuries in the
   2   I don't have any money.                            2   machete attack?
   3      Q. How much does it cost to buy a house         3       A. No, no. I showed it to some doctor,
   4   where you live?                                    4   can it become like this, make a fist, he said
   5      A. I don't know. I don't have money.            5   no.
   6      Q. How much does it cost to rent an             6       Q. Which doctor did you see?
   7   apartment where you live?                          7       A. Justinien, just showed the hand, can
   8          THE INTERPRETER: The interpreter            8   that hand -- can I make a fist like that one, he
   9   would like to add an explanation. There are no     9   said no. This one is damaged forever, that's
  10   apartments, so it's either a house that you       10   permanent.
  11   rent, usually they rent, or you buy.              11       Q. Your left hand is damaged?
  12          MR. KERRIGAN: Thank you. Shall I           12       A. Forever, forever because I can't make
  13   re-ask just to make sure we're all clear on it?   13   much effort with it.
  14   BY MR. KERRIGAN:                                  14       Q. Did the doctor at Justinien Hospital
  15      Q. How much does it cost to rent a house       15   give you any medication?
  16   or a room where you live?                         16       A. No.
  17      A. I don't have the experience of renting      17       Q. Have you received any other treatment
  18   anything. People who rent houses who would be     18   at the Justinien Hospital for anything?
  19   able to know.                                     19       A. No.
  20      Q. Mr. Odilbert, you have a little mark        20       Q. Mr. Odilbert, have you ever sought any
  21   on your head, a little bit of a mark that I can   21   kind of medical or mental health treatment for
  22   see across the table. I wonder, is that a scar    22   the abuse that you say that Doug Perlitz gave to
  23   from the machete attack?                          23   you?
  24      A. It went from here all the way to the        24       A. I've always thought about it. That
  25   middle of my head.                                25   makes me hopeless and feel sorry for myself,

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   1      Q. Can you please show the camera where         1   because I'm always thinking about it. That's
   2   the machete mark is?                               2   why I will trust -- I won't trust anyone with my
   3      A. (Indicating).                                3   child.
   4      Q. Where does it start?                         4      Q. Have you received any kind of medical
   5      A. Here, it goes all the way to here            5   or mental health treatment for the problems that
   6   (indicating).                                      6   you say you have because of the abuse?
   7      Q. Okay. Thank you.                             7      A. No.
   8         Did you receive medical treatment for        8      Q. Why not?
   9   that?                                              9      A. I don't know. I didn't have money to
  10      A. I was in Santo Domingo, there were          10   get care.
  11   some Haitians, they brought me quickly to the     11      Q. Did you have money when you went to
  12   hospital when they saw me. I stayed 15 days at    12   see the doctor for your hands?
  13   the hospital. After that, they talked to me and   13      A. I didn't have money. I don't have
  14   said come back. I never went back. I went back    14   money. I just showed the doctor, I showed him
  15   to Haiti with the bandage, with my -- the         15   my hand. I asked an explanation.
  16   bandage on my hand. I was damaged. I was          16      Q. Did you have to pay any money to the
  17   bleeding.                                         17   doctor at Justinien Hospital for that?
  18      Q. What's the name of the hospital where       18      A. No, I didn't pay money for this.
  19   you were treated in Santo Domingo?                19      Q. Do you have any injuries to your body
  20      A. Wait a second. Just give me one             20   today because of the abuse that you say Doug
  21   second. Let me remember.                          21   Perlitz gave to you?
  22      Q. Take your time.                             22      A. Blood to come out? Or my mind?
  23      A. Laguna Salada. It means lagoon, salty       23      Q. We want to talk about your body first.
  24   lagoon. It's a state hospital, public hospital.   24   Do you have any injuries today?
  25      Q. Did you receive any treatment, medical      25      A. No, I don't.


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   1       Q. How about your mind, Mr. Odilbert?           1       A. No.
   2       A. My mind is upset, because I'm always         2       Q. Do your friends work?
   3   thinking.                                           3       A. Some of them work. Some of them are
   4       Q. About what?                                  4   in the streets, the kids from the Village, and
   5       A. What Douglas did to me. I feel               5   they're in the streets.
   6   isolated. I'm nothing in society. And I'm           6       Q. What are the names --
   7   hopeless.                                           7       A. Some of them are washing cars to live.
   8       Q. You have hope in your son.                   8       Q. What are the names of your friends?
   9       A. I have hope for my son, because I can        9       A. I have a lot of friends. I don't
  10   raise him from this, and I will make everything    10   remember them all. I have a good friend called
  11   I can to put him to school -- through school.      11   Rocky, Andy. Robens was my friend, now he's not
  12       Q. And you're working to have a better         12   my friend anymore, he doesn't have time for me.
  13   life for yourself and your son and Rosemichelle?   13   I have Peterson Gedeus also. Mesamour. Thony
  14       A. Yes.                                        14   is my friend. I don't remember all of them. We
  15       Q. And you hope for a better life for you      15   used to play soccer in the Village. When I see
  16   all?                                               16   them in the street, we talk.
  17       A. I hope that. I believe in God. I            17       Q. You talk about everyday things, like
  18   hope that.                                         18   the girlfriend, the son, work?
  19       Q. And you're working hard?                    19       A. Yes.
  20       A. I work hard.                                20       Q. Do any of your friends talk about any
  21       Q. And you're able to work hard?               21   of their cases?
  22       A. Well, I make an effort, but I               22       A. We don't talk about cases. Since
  23   shouldn't be working hard with that hand.          23   we're friends, we -- when we see each other we
  24   Because someone who would have what I have in my   24   talk, but we don't talk about cases.
  25   hand would not be working, but I have to           25       Q. Have any of your friends talked to you

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   1    motivate myself because I have a wife and a        1   about abuse that they have had?
   2    child.                                             2      A. No.
   3        Q. And it's the left hand you're talking       3      Q. Have any of your friends told you that
   4    about?                                             4   they were not abused at PPT?
   5        A. This hand (indicating).                     5      A. I don't have friends who talk about
   6        Q. You're still able to work even with         6   that.
   7    your left hand trouble, correct?                   7      Q. Do you have friends who did not go to
   8        A. I'll continue. I'm not alone here.          8   PPT?
   9        Q. Do you have any friends that you spend      9      A. Yes, I have friends that didn't go to
  10    time with?                                        10   PPT.
  11        A. I have friends, but I don't stay with      11      Q. Are they working?
  12    friends.                                          12      A. I don't know if they're working. But
  13        Q. Do you spend time with your friends?       13   even in Santo Domingo I have friends. They
  14        A. I hang out with my friends sometimes.      14   didn't go to PPT.
  15        Q. What do you do when you hang out with      15      Q. You said earlier to Mr. O'Neill that
  16    your friends?                                     16   unemployment is very high in Haiti today, is
  17        A. We don't really stay together. When        17   that correct?
  18    we meet in the street we make jokes, we crack     18      A. Oh, my God, almost three-quarters of
  19    jokes, they ask me how my son and my wife are     19   the people in the country don't work. That's
  20    doing, and I tell them.                           20   why Haitians don't know if they can work or not,
  21        Q. Anything else you do with your             21   they can't find work.
  22    friends?                                          22      Q. So it's very difficult for all
  23        A. No.                                        23   Haitians to find work?
  24        Q. Have you talked to your friends about      24      A. Very, very hard. There's no work in
  25    your case?                                        25   that country.


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   1       Q. If you could have any amount of money        1       A. I would like to talk about it. But
   2   for a job, what would that amount be,               2   could that person solve the problem I have in my
   3   Mr. Odilbert?                                       3   mind? No, that person wouldn't be able to solve
   4          MS. POLLOCK: Objection. Vague.               4   it.
   5       A. If you're not through with school, if        5       Q. Is the only reason why you're not
   6   you don't have -- if you haven't finished           6   seeking help now for your mind because it costs
   7   school, you can't find work in Haiti. People        7   money?
   8   who were not good in school will not find work      8       A. I don't know if it costs money.
   9   in Haiti. If Douglas had given me the               9       Q. Have you ever tried to get help for
  10   opportunity to finish school, I could have found   10   your mind?
  11   a good job. I could have been president also.      11       A. I never tried to present my case.
  12   BY MR. KERRIGAN:                                   12       Q. Why?
  13       Q. President of?                               13       A. For nothing special.
  14       A. Of the country. If you're good in           14       Q. If you wanted to get help, could you
  15   school, you could be president.                    15   go to the Justinien Hospital for your mind?
  16       Q. You told us earlier you weren't good        16       A. In Haiti, if you go to the hospital
  17   in school, correct?                                17   they won't take care of you.
  18       A. But if I had continued, I could have        18       Q. Where could you get treatment for your
  19   learned slowly but surely. If I went from first    19   mind?
  20   class to sixth class, that shows you that I        20       A. I don't know. I don't know.
  21   could learn. I'm not as good as the others.        21       Q. Mr. Odilbert, have you ever heard of
  22       Q. If there had been no abuse --               22   the Society of Jesus of New England?
  23          MS. POLLOCK: What's he saying?              23       A. I've heard of it, but I don't know
  24          THE INTERPRETER: He just repeated the       24   anything about it.
  25   question. He was going to answer it.               25       Q. Mr. Odilbert, do you expect if you win


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   1   BY MR. KERRIGAN:                                    1   your case to get money?
   2       Q. If there had been no abuse, what grade       2      A. Just the judge will know about that.
   3   would you have gone up to?                          3      Q. Do you expect to get money?
   4       A. If there hadn't been any abuse, the          4      A. I want justice. I don't know what I'm
   5   Village would have been here, I would have          5   going to get.
   6   finished it and studied some big thing. I           6      Q. What does "justice" mean to you?
   7   wanted to learn diplomacy, and I would have been    7      A. The judge knows. The judge gives
   8   good in that.                                       8   justice.
   9       Q. Where can you study diplomacy in             9      Q. If you were to get money from this
  10   Haiti?                                             10   suit, would Cyrus Sibert get any money?
  11       A. Since Douglas said when we were             11      A. I don't know. It depends on the
  12   through with classes we would go to University     12   judge.
  13   of Fairfield, I would have gone there to study,    13      Q. Have you told Cyrus Sibert that you
  14   at the University of Fairfield.                    14   would pay him back money at any time in
  15       Q. Are there universities in Haiti?            15   connection with your case?
  16       A. They are not normal.                        16      A. I don't have money to pay Cyrus.
  17          MS. POLLOCK: When you're at a good          17      Q. Have you ever told Cyrus Sibert that
  18   point, can we take a break?                        18   you would pay him money if you won your case?
  19          MR. KERRIGAN: Sure. I don't have a          19      A. No.
  20   lot more.                                          20      Q. Do you know if Cyrus Sibert has ever
  21          MS. POLLOCK: Okay.                          21   been paid in connection with any of the cases
  22   BY MR. KERRIGAN:                                   22   brought by PPT students?
  23       Q. Mr. Odilbert, getting back to your          23      A. I don't know if he got money, or if he
  24   mind now, okay? Do you want to seek help, to       24   didn't get money from that.
  25   seek to talk to somebody about your mind?          25      Q. Mr. Odilbert, what does Douglas


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   1    Perlitz look like?                                 1    anymore.
   2        A. He has white hair. He always wear           2        Q. If it were to reopen, would you go
   3    glasses. He walks like a crab, like a fag. He      3    back?
   4    always has glasses. And he has a big head.         4        A. With Douglas heading it, or somebody
   5        Q. Does he have a mustache or a beard?         5    else?
   6        A. No. He has normal hair, healthy hair,       6        Q. With somebody else heading it.
   7    face, with white glasses, smaller than the ones    7        A. In doubt I would not have gone. I
   8    you have, smaller, smaller. And his head is        8    would still think it's the same people, the same
   9    big, big.                                          9    person.
  10        Q. Is he fat, or slender?                     10        Q. How is the PPT property being used
  11           MS. POLLOCK: Objection. Vague.             11    today?
  12        A. He's not slim. He's not sexy.              12        A. What does "property" mean?
  13    BY MR. KERRIGAN:                                  13        Q. How is the Village being used today?
  14        Q. When Doug Perlitz abused you,              14    Is anybody using it?
  15    Mr. Odilbert, did you see his naked body?         15        A. I don't know. When I go by, I see the
  16        A. No. Douglas abused me, forced me           16    gate is closed, and everything is closed,
  17    twice physically, he put his penis in my butt.    17    boarded. Everything is boarded up.
  18    But it's not because I agreed to it, it's         18        Q. Mr. Odilbert, have you understood my
  19    because he forced me, twice.                      19    questions today?
  20        Q. When Douglas abused you twice,             20        A. Yes.
  21    Mr. Odilbert, did you see his body?               21        Q. And when you didn't understand my
  22        A. I didn't have the opportunity to see       22    questions, you told me, correct?
  23    it.                                               23        A. Yes, mm-hmm.
  24        Q. Mr. Odilbert, would you agree with me      24        Q. Is that a yes?
  25    that Project Pierre Toussaint was a good          25        A. Yes.

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   1   project?                                            1      Q. And you've answered my questions
   2          MS. POLLOCK: Objection. Vague.               2   accurately today as best you were able?
   3       A. It would have been a good project if         3      A. Yes.
   4   Douglas wouldn't be the head of it.                 4          MR. KERRIGAN: Thank you. No further
   5   BY MR. KERRIGAN:                                    5   questions.
   6       Q. And leaving Douglas aside for the            6          THE VIDEOGRAPHER: Going off the
   7   moment, were there a lot of good people working     7   record. The time is 5:12.
   8   at PPT helping a lot of students like yourself?     8          (Whereupon, a recess was taken.)
   9       A. The Haitians, I don't know if they           9          THE VIDEOGRAPHER: Back on the record.
  10   were good or not. If you put Douglas aside, if     10   The time is 5:23.
  11   he hadn't abused us, if the Village would still    11   BY MR. KENNEDY:
  12   be there, we would have functioned as a Village.   12      Q. Hi, Mr. Odilbert. We met a while ago
  13   In Haiti, if there would be a good white person,   13   this morning. My name is Jeff Kennedy, I
  14   it would function well up to now, and the          14   represent Hope Carter, and I have some questions
  15   children in that Village would have a nice         15   for you.
  16   trade, and they would be making progress.          16          Have you ever met Mrs. Carter?
  17       Q. And you received benefits from PPT,         17      A. Yes, I've seen her. She represents
  18   correct? You were helped?                          18   Fairfield. She was in charge of the project.
  19       A. The benefits I got that I was in            19      Q. Okay. Well, you said you saw
  20   school, sometimes they give us food, even if       20   Mrs. Carter, correct?
  21   it's not good food. These are the benefits I       21      A. Yes.
  22   had.                                               22      Q. Did you ever speak to Mrs. Carter?
  23       Q. And if PPT were open today, you would       23      A. Yes. We talked to them in group, and
  24   go back?                                           24   Douglas translate for us.
  25       A. I don't think it's going to open            25      Q. Did Douglas ever translate something


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   1    that Mrs. Carter said?                             1   times, how many times, but I've seen her at the
   2        A. I don't remember, but of course he has      2   Village.
   3    translated for her for sure.                       3       Q. So you saw her at other times besides
   4        Q. Okay. But you don't know what --            4   Christmastime, sir?
   5    strike that.                                       5       A. Yeah, besides Christmas vacation, I --
   6           You don't speak English, do you, sir?       6   they didn't stay long, but I saw them. Because
   7        A. No.                                         7   they not stable in Haiti. Just Douglas is
   8        Q. Okay. And did you ever see                  8   stable in Haiti.
   9    Mrs. Carter and Douglas speaking?                  9       Q. I'm sorry, I don't understand that,
  10        A. Yes, when we're talking in the kitchen     10   sir. Why is only Douglas stable in Haiti?
  11    in a group, he talk to her.                       11       A. He's the one directing the project,
  12        Q. But you don't know what they said, do      12   administrating the project in Haiti.
  13    you?                                              13       Q. So Douglas was the administrator of
  14        A. I don't know. There are things that        14   the project in Haiti?
  15    Douglas translated for them, but I don't          15       A. Yes, he was the owner of the project
  16    remember.                                         16   in Haiti.
  17        Q. So as we sit here today, you don't         17       Q. And the other times that you saw
  18    remember what Douglas translated about            18   Mrs. Carter besides Christmastime at the
  19    Mrs. Carter saying, do you?                       19   Village, what did you see her doing?
  20        A. What I said is that Douglas used to        20       A. Nothing. I didn't see her, she just
  21    translate for Madame Carter and Father Paul       21   came to visit. So since they are in charge of
  22    also, and he would say that it's thanks to them   22   the project in Miami, they came to visit to see
  23    that we had these nice gifts.                     23   how the project was running.
  24        Q. Was Douglas translating what Madame        24       Q. So it's your testimony, sir, that
  25    Carter was saying?                                25   Mrs. Carter was in charge of the project in

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   1       A. Yes.                                         1   Haiti -- I'm sorry, in Miami?
   2       Q. And what was Mrs. Carter saying              2       A. Yes.
   3   through Douglas's translation?                      3       Q. And how do you know that, sir?
   4      A. I don't remember. I don't remember.           4       A. Douglas used to say that in the
   5   I don't remember.                                   5   presence with Father Paul also, everything we
   6      Q. And how many times did you see                6   benefited, it was thanks to these people that we
   7   Mrs. Carter at the Village?                         7   were able to benefit from them. Thanks to
   8      A. I don't remember how many times, but          8   Madame Carter and Father Paul, that's how we
   9   every December she would come, before vacation      9   were able to benefit. He would say that in
  10   she would come with Father Paul. After that, I     10   their presence.
  11   don't know. I don't remember.                      11       Q. And that's something Douglas said,
  12      Q. Okay. And that's when -- I think you         12   correct?
  13   testified earlier that's when Mrs. Carter and      13       A. Yes.
  14   Father Paul brought Christmas presents,            14       Q. You never heard Mrs. Carter say that,
  15   sneakers, is that correct?                         15   did you?
  16      A. They came with the tennis shoes from         16       A. Douglas would say that in their
  17   Miami, many box -- tennis boxes. And they          17   presence.
  18   handed over a box to every child with              18       Q. I know that Douglas said -- that you
  19   undershirts, underwear, our Christmas gift.        19   testified that Douglas said it in her presence.
  20      Q. Besides those times where you saw            20   But my question is, sir, you never heard
  21   Mrs. Carter at the Village and providing           21   Mrs. Carter say that?
  22   Christmas gifts, did you see her at any other      22       A. I don't know, because I don't speak
  23   times at the Village?                              23   English.
  24      A. I've seen her at the Village many            24       Q. Okay. Sir, I apologize, because
  25   times, not one time. I don't remember how many     25   you've been asked a lot of questions today I'll


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   1   be jumping around on some topics.                  1      Q. And who else was with Mrs. Carter that
   2          Sir, can you describe Mrs. Carter for       2   day, sir?
   3   me physically?                                     3      A. Sometimes Father Paul is there.
   4       A. Yes. She's a girl, she has a hump in        4      Q. Well, how many times did you see --
   5   her back. She's curved, inclined towards the       5   how many times did you see Mrs. Carter at
   6   front. She has a hump. And she was starting to     6   Bel Air?
   7   become an old lady. When she would put pants,      7      A. I don't remember how often.
   8   it would be under her heart. And her -- she had    8      Q. But you remember one time in the
   9   veins on her legs that -- like balls, little       9   morning?
  10   balls, blue, blue, blue.                          10      A. Yes, once in the morning.
  11       Q. Anything else, sir?                        11      Q. Any other time?
  12       A. I don't remember anything else.            12      A. Maybe other times, but I don't
  13       Q. Did you ever see Mrs. Carter at            13   remember.
  14   Rue 13, sir?                                      14      Q. And do you remember the name of the
  15       A. I don't remember seeing her in Rue 13.     15   American volunteer that was working at the
  16       Q. Did you ever see Mrs. Carter at            16   Village during the time you saw Mrs. Carter at
  17   Bel Air?                                          17   Bel Air in the morning?
  18       A. Yes, I've seen her with Father Paul in     18      A. I don't remember. If you ask me who
  19   Bel Air. We go in a group together to the         19   was the driver, I can tell you.
  20   Village in the morning.                           20      Q. Who was the driver?
  21       Q. Who goes in a group to the Village in      21      A. Boss Mo.
  22   the morning, sir?                                 22      Q. And who was Boss Mo's job, sir?
  23       A. The kids, kids from the Village.           23      A. Driver. Driver.
  24       Q. So the kids from the Village went to       24      Q. Sir, who was Robinson?
  25   Bel Air with Mrs. Carter and Father Paul?         25      A. After Douglas in the Village, he was

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   1       A. Let me explain well to you.                 1   the director, Haitian director.
   2       Q. Sure.                                       2      Q. Did Robinson work with PPT while
   3       A. The kids in the Village that do not         3   Douglas was working there?
   4   sleep in the Village every morning, they go up     4      A. Yes.
   5   to Bel Air, they take the car to go to the         5      Q. And did you ever speak to Robinson
   6   Village. If Madame Carter is there, if Father      6   about the abuse that you claim Mr. Perlitz did
   7   Paul is there, they go together.                   7   to you, sir?
   8       Q. They go together from Bel Air to the        8      A. No.
   9   Village, sir?                                      9      Q. Sir, who is Margarette Joseph?
  10       A. Yes, yes. They go from Bel Air to the      10      A. Was a girl working at the project.
  11   Village.                                          11      Q. When you say she was a girl, how old
  12       Q. And did you ever go in a car from          12   was she, sir?
  13   Bel Air to the Village with Mrs. Carter?          13      A. I don't know her age.
  14       A. Yes, I've taken the car with Madame        14      Q. Do you know what her job was at the
  15   Carter inside.                                    15   Village?
  16       Q. And that was in the morning you went       16      A. She was working. I don't know what
  17   from Bel Air to the Village?                      17   kind of job she had. She was working.
  18       A. In the morning, I would need to wake       18      Q. Are you still in contact with
  19   up at 5, 5:30, 6 to find the car, because this    19   Margarette Joseph, sir?
  20   would happen very early.                          20      A. No.
  21       Q. So what time would you go from Bel Air     21      Q. When is the last time that you spoke
  22   to the Village, sir, on that day, I'm sorry, if   22   to Margarette Joseph?
  23   you remember? On the day that you took the car    23      A. We haven't spoken for a long time,
  24   with Mrs. Carter from Bel Air to the Village.     24   because Margarette lives in -- doesn't live in
  25       A. I don't remember what time exactly.        25   Cap-Haïtien.


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    1      Q. When you say a long time, sir, have          1       Q. Okay. Did you talk to him after his
    2   you spoken since you filed this lawsuit?           2   deposition was taken, sir?
    3      A. When the project was running.                3       A. No.
    4      Q. Okay. So the last time you spoke to          4       Q. Have you seen him since his deposition
    5   Margarette Joseph was when PPT was still up and    5   was taken?
    6   running?                                           6       A. I might have seen him, but I didn't
    7       A. Yeah. You know, she was working             7   talk to him about this.
    8   there, so we talked a lot, often.                  8       Q. You might have seen him.
    9      Q. But you haven't spoken to her since          9          Did you also have a chance to talk to
   10   that time, sir?                                   10   him?
   11       A. Since that time I haven't seen nor         11       A. I might have talked to him -- them,
   12   talked to her.                                    12   but it wasn't about deposition.
   13       Q. Okay. What about Robinson, sir, are        13       Q. When you say talked to them, who is
   14   you still in contact with Robinson?               14   "them," sir?
   15       A. I've never seen -- very hard to see        15       A. With him.
   16   Robinson, or I've never seen Robinson. He lives   16       Q. Okay. You meant him.
   17   in Cap-Haïtien, but I don't see him.              17       A. But we talk about their positions.
   18      Q. Have you ever spoken to Robinson            18       Q. What positions, sir?
   19   alone, sir?                                       19       A. Deposition.
   20       A. When I was at the project, when I          20       Q. Did you talk about the deposition?
   21   needed something I went to Robinson.              21       A. No.
   22       Q. Were you close to Robinson, sir?           22       Q. So he didn't tell you what type of
   23          MS. POLLOCK: Objection. Vague.             23   questions you might be asked?
   24   BY MR. KENNEDY:                                   24       A. He couldn't have tell me that, because
   25       Q. Fair enough. Let me rephrase it.           25   we don't have the same file.

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    1       A. I don't understand.                         1       Q. Okay. Did he tell you that he went to
    2       Q. Fair enough.                                2   the Dominican Republic, sir?
    3           Were you friendly with Robinson, sir?      3       A. I knew he came.
    4       A. He was a teacher, so I was his friend.      4       Q. How did you know that?
    5   He was the director of the Village.                5       A. I drive taxi, motorcycle taxi where
    6       Q. And if you had a problem, would you         6   the Caribbean busses turn, I'm always there.
    7   speak to Robinson about a problem?                 7   When the busses, Caribbean busses come, I always
    8       A. If I need shoes, I talk to Robinson.        8   go there with my motorcycle to see if I can get
    9   He's an agronomist. And then the agronomist        9   some people.
   10   gives me equipment to prepare the soil. If I      10       Q. And did you see him get off a
   11   need tennis shoes, he make me prepare the soil.   11   Caribbean bus?
   12   I talk to Robinson to give me a little bit of     12       A. I saw him coming from -- stepping out
   13   money to buy the shoes.                           13   of the bus.
   14       Q. Did you ever talk to Robinson about        14       Q. And was he with anybody, sir?
   15   the fact that Mr. Perlitz was abusing you?        15       A. I wasn't looking at everything,
   16       A. No.                                        16   because I was on my bike.
   17       Q. Sir, do you know Kensley Previl?           17       Q. Was Cyrus with him?
   18       A. No.                                        18       A. Sure.
   19       Q. Do you know Ilguens Jean, sir?             19       Q. Did you speak to him at that point,
   20       A. Yes.                                       20   sir?
   21       Q. Is he a friend of yours?                   21       A. Who? Who?
   22       A. Yes.                                       22       Q. I apologize.
   23       Q. Do you know that he came and had his       23          Did you speak to Ilguens Jean at that
   24   deposition taken in the Dominican Republic?       24   time?
   25       A. I know that.                               25       A. No.


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    1       Q. So it was at a later time you spoke to       1   Dominican Republic to have his deposition taken?
    2   him?                                                2       A. But I can say the same thing, I saw
    3       A. No. I was working. Sometimes I don't         3   all these guys where the Caribbean bus make a
    4   see these guys at all.                              4   turn, and I saw them come out of the bus.
    5       Q. When you saw Cyrus get off the bus,          5       Q. Can you tell me the names of all the
    6   off the Caribbean bus, did you speak to him,        6   guys that you saw?
    7   sir?                                                7       A. That came to the deposition already?
    8       A. No.                                          8       Q. Yes, sir.
    9       Q. Sir, how many times have you spoken to       9       A. I don't remember the name of all of
   10   Cyrus?                                             10   them. Antoine Bernardin, Wisky Jerome, the
   11       A. About what?                                 11   closest to me, Emile Jean Pierre, Dorat.
   12       Q. Okay. Fair enough.                          12       Q. Is that Dorat?
   13          About your lawsuit, sir.                    13       A. Dorat. And I forgot the other ones.
   14       A. I talked to Cyrus in 2013.                  14       Q. Does Gesner Lecenat sound correct?
   15       Q. Okay. And besides 2013, any other           15       A. Yes.
   16   time, sir?                                         16       Q. Are these your friends, sir?
   17       A. No.                                         17       A. Since we were at the Village together,
   18       Q. Now, sir, you came to the Dominican         18   we're friends. We used to play soccer there.
   19   Republic with Cyrus, correct?                      19       Q. And do you still talk to these guys?
   20       A. Yes, we've talked. But after that, I        20       A. I don't see them. We don't see each
   21   didn't ask -- explain anything about the case.     21   other very often.
   22   We didn't talk about the case, because after I     22       Q. Now, sir, very early in your
   23   filed a complaint in 2013, I didn't complain to    23   deposition Mr. O'Neill asked you about going to
   24   him anymore because he already knew.               24   see Cyrus Sibert at the radio station. Do you
   25       Q. Okay. So it's your testimony, sir,          25   remember that?


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    1   that you've only spoken to Cyrus Sibert one time    1          MS. POLLOCK: Objection.
    2   in 2013 about your lawsuit?                         2   Mischaracterizes the witness's testimony.
    3       A. About the lawsuit.                           3          MR. KENNEDY: There's no
    4       Q. Okay. And that's true even though you        4   characterization of any testimony.
    5   rode -- you took a bus from Haiti to the            5          MS. POLLOCK: Misstates the witness's
    6   Dominican Republic with Cyrus this last             6   testimony.
    7   Saturday?                                           7          MR. KENNEDY: Okay. All right. Fair
    8          MS. POLLOCK: Objection. Asked and            8   enough.
    9   answered.                                           9   BY MR. KENNEDY:
   10       A. I don't understand what you said.           10      Q. Sir, the first time you met with
   11   BY MR. KENNEDY:                                    11   Cyrus, was it at the radio station, or
   12       Q. You took a bus here from Haiti,             12   Matthyeu's house?
   13   correct, sir?                                      13      A. Matthyeu's house.
   14       A. Mm-mm.                                      14      Q. Okay. And earlier you indicated you
   15       Q. You took a bus with Cyrus, correct?         15   were sort of forced to go to see Mr. Sibert?
   16       A. Yes.                                        16          MS. POLLACK: Objection. Vague.
   17       Q. I just want to be clear. You didn't         17   Misstates the witness's testimony.
   18   talk about the lawsuit?                            18   BY MR. KENNEDY:
   19       A. No.                                         19      Q. Sir, I'm looking at your deposition
   20       Q. Okay. What about Emile Jean Pierre,         20   testimony from earlier today, "How did you go to
   21   do you know him?                                   21   see Cyrus Vance -- Cyrus Sibert who you never
   22       A. I know him.                                 22   met before?" And your answer was "Because he
   23       Q. Is he a friend of yours?                    23   was on the radio, I was sort of forced to go
   24       A. We were in the Village together.            24   find -- to see him so he could give me justice."
   25       Q. Do you know that he came to the             25          What did you mean by that, sir? Why


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    1   were you forced to go see him?                      1      A. Andy used to tell us that she was a
    2       A. I tried to look for Cyrus because he's       2   doctor and she was his girlfriend. And she was
    3   a journalist. He could transmit this over the       3   also an employee at the Justinien Hospital.
    4   radio.                                              4      Q. Do you know any student from PPT who
    5       Q. Did you ever speak on the radio, sir?        5   went to Justinien Hospital and was treated by
    6       A. Cyrus speaks on the radio. I don't.          6   her, sir?
    7       Q. I know Cyrus does, but did he ever           7      A. I don't know.
    8   interview you on the radio, sir?                    8      Q. And how do you know she was an
    9       A. No.                                          9   employee at the Justinien Hospital?
   10       Q. Sir, did you know Nick Preneta?             10      A. Andy used to tell us she's working at
   11       A. Nicholas.                                   11   the hospital.
   12       Q. How did you know him, sir?                  12      Q. Sir, do you know Frisnel Jean?
   13       A. He was working in the project.              13      A. Was it a kid at the Village?
   14       Q. And could you speak Creole, sir?            14      Q. I'm not sure. I'm just asking if you
   15       A. I was already in the Village. He was        15   know this person.
   16   in the Carenage.                                   16      A. Maybe the face I would recognize, but
   17       Q. But do you know if he could speak           17   the name I don't know.
   18   Creole, sir?                                       18      Q. What about Emmanuel Clervil?
   19       A. He spoke Creole.                            19      A. I know Emmanuel.
   20       Q. Okay. And did you ever speak to him,        20      Q. How do you know Emmanuel?
   21   sir?                                               21      A. I knew an Emmanuel at the Village, was
   22       A. I was at the Village, and you're not        22   there when I was there.
   23   allowed to go to Carenage.                         23      Q. Do you still see that person now?
   24       Q. Who was the American volunteer that         24      A. No.
   25   was working at the Village while you were there?   25      Q. What about the person -- what about


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    1       A. Inside the Village?                          1   Frisnel Jean, do you see that person?
    2       Q. Yes, sir, at the Village.                    2       A. Maybe the face I would recognize, but
    3       A. Jessica was at the Village also.             3   I don't remember the name.
    4       Q. Okay. And could Jessica speak Creole,        4       Q. Have you seen that face recently?
    5   sir?                                                5       A. No, because you need to know the name
    6       A. They had started learning Creole, but        6   to remember the face.
    7   they weren't good. They couldn't speak clearly,     7       Q. Sir, how many times were you at
    8   clearly, very, very clearly. We, the kids in        8   Bel Air?
    9   the project, we had to show them how to talk.       9       A. I don't remember how often. I don't
   10       Q. Now, sir, did you know Andy                 10   remember how often, how many times.
   11   Shultheis's girlfriend, sir?                       11       Q. Sir, I'm looking at one of your
   12       A. A Haitian?                                  12   interrogatory responses.
   13       Q. Yes.                                        13          MR. KENNEDY: For you, Counsel, I'll
   14       A. A doctor.                                   14   tell you it's Number 28.
   15       Q. Yes, sir.                                   15          MS. POLLOCK: Thank you.
   16       A. I haven't spoken to her.                    16   BY MR. KENNEDY:
   17       Q. Okay. Did you, when she was -- have         17       Q. Sir, it indicates in Interrogatory
   18   you ever met her, sir?                             18   Number 28 in the answer that "people call me
   19       A. I used to see her, but I never talked       19   names and I don't feel part of society."
   20   to her.                                            20       A. I don't understand.
   21       Q. You never spoke to her, sir?                21       Q. Do people call you names?
   22       A. No.                                         22       A. Yes, they tell me I'm a fag.
   23       Q. Where did you see her, sir?                 23       Q. And is this in Cap-Haïtien?
   24       A. At Rue 13 with Andy in a car.               24       A. Cap-Haïtien, in the area of the
   25       Q. How do you know she's a doctor, sir?        25   Village, around the Village.


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    1       Q. And how often does that happen to you,       1       Q. It's just assumed you were abused?
    2   sir?                                                2       A. They think, yes, that.
    3       A. Several times.                               3       Q. Before you went to see Cyrus, did you
    4       Q. And who are these people that say            4   speak to any former PPT students, sir?
    5   this?                                               5          MS. POLLOCK: Ever?
    6       A. I don't remember who tells me that,          6       A. No.
    7   but several people have told me that.               7   BY MR. KENNEDY:
    8       Q. Do your sisters live in Cap-Haïtien?         8       Q. Fair enough. Let me rephrase it.
    9       A. No.                                          9          Before you went to see Cyrus, did you
   10       Q. Does your brother live in Cap-Haïtien?      10   speak to any former PPT students about Douglas
   11       A. No.                                         11   Perlitz's abuse?
   12       Q. Did they ever live in Cap-Haïtien?          12       A. No, I haven't told the students that.
   13       A. No.                                         13       Q. So the only person you've told is
   14       Q. Where does Rosemichelle live?               14   Cyrus, correct?
   15          MS. POLLOCK: Objection. Asked and           15       A. Cyrus, yes.
   16   answered.                                          16       Q. Sir, while you were a student at PPT,
   17       A. Dondon.                                     17   did you ever hear any rumors that Douglas
   18   BY MR. KENNEDY:                                    18   Perlitz was abusing boys?
   19       Q. I'm sorry? Oh, Dondon.                      19       A. Cyrus was transmitting this over the
   20          How far is Dondon -- you might have         20   air.
   21   already answered this, I don't remember. How       21       Q. And Cyrus was doing that while you
   22   far is Dondon from Cap-Haïtien?                    22   were a student at PPT?
   23       A. When you take a car, you pay $15 to         23       A. Yes.
   24   get there. When you take a motorcycle taxi, 100    24       Q. The second time you were abused by
   25   gourdes.                                           25   Mr. Perlitz, had Cyrus already transmitted the


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    1      Q. Has Rosemichelle ever heard anybody           1   rumors about Mr. Perlitz?
    2   call you a fag?                                     2      A. Not yet.
    3      A. No.                                           3      Q. So Cyrus's transmittals on the radio
    4      Q. What about your brothers, have they           4   happened after you were abused for the second
    5   ever heard anybody call you that name?              5   time?
    6      A. No.                                           6      A. Yes.
    7      Q. What about your sisters?                      7         MS. POLLOCK: Can we take a break?
    8      A. No.                                           8   Are you okay?
    9      Q. Have any of your friends heard you            9         MR. KENNEDY: I'm almost done. If you
   10   called that name?                                  10   want to take a quick break.
   11      A. No.                                          11         MS. POLLOCK: You look like you're --
   12      Q. If you know, how did the people who          12      A. Break.
   13   called you that name, how did they know?           13         MR. KENNEDY: Okay.
   14          MS. POLLOCK: Objection.                     14         THE VIDEOGRAPHER: Going off the
   15      A. It was already on the air, radio, on         15   record. The time is 6:09.
   16   the radio. Once there was a child at the           16         (Whereupon, a recess was taken.)
   17   Village, when he went outside, if he had any       17         THE VIDEOGRAPHER: Back on the record.
   18   type of dispute, they always say "it's Douglas's   18   The time is 6:18.
   19   woman, fag." That's what people Haiti say if       19   BY MR. KENNEDY:
   20   they know -- once they know you were at the        20      Q. So, sir, I just want to be clear about
   21   Village, that's what they say.                     21   something.
   22   BY MR. KENNEDY:                                    22         The first time that you heard rumors
   23      Q. Just by virtue of going to the               23   about Douglas Perlitz abusing any boy besides
   24   Village, people --                                 24   yourself was Cyrus Sibert's transmittal on the
   25      A. Anybody at the Village.                      25   radio?


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    1       A. I don't know.                                1       A. No.
    2       Q. Sir, I think you just testified that         2       Q. Sir, who paid for your bus ticket
    3   while you were at PPT you never heard -- strike     3   here?
    4   that. I'm sorry.                                    4       A. Cyrus.
    5           Sir, I think you testified that the         5       Q. Sir, how much, if you know, how much
    6   first time that you heard rumors about Douglas      6   in total has Cyrus given you?
    7   Perlitz abusing boys was through Cyrus Sibert's     7          MS. POLLOCK: Objection. Answered and
    8   radio transmittal.                                  8   answered.
    9       A. Yes, it was over the radio.                  9          MR. KENNEDY: Sorry, I can't remember
   10       Q. Okay. Sir, do you know if any               10   the answer.
   11   graffiti was written on the wall at PPT about      11          MS. POLLOCK: It's been a long day if
   12   Douglas Perlitz abusing boys?                      12   you can't remember answers.
   13       A. Yeah, they wrote on the wall. Yeah,         13       A. In total?
   14   they did write that.                               14   BY MR. KENNEDY:
   15       Q. Do you know who wrote it, sir?              15       Q. Yes, sir.
   16       A. I don't know.                               16       A. For the bus?
   17       Q. And do you know when it was written,        17       Q. In general, sir.
   18   sir?                                               18       A. One day Cyrus gave me a little bit of
   19       A. I don't know.                               19   money. I forgot how much he gave me.
   20       Q. Were you a student at PPT when it was       20       Q. And that happened one time, sir?
   21   on the wall?                                       21       A. Maybe.
   22       A. I was a student.                            22       Q. Okay. Could it have been more than
   23       Q. And was that graffiti on the wall           23   one time, sir?
   24   before you were abused for the second time, sir?   24       A. Maybe once or twice.
   25       A. I was already abused.                       25       Q. Did he personally give you the money,


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    1       Q. So you were abused before -- you were        1   or was it one of his workers, sir?
    2   abused for the second time before the graffiti      2        A. Cyrus doesn't give me money often,
    3   was on the wall?                                    3   that's why I tell you maybe twice.
    4       A. That's when the project was about to         4        Q. My question was, sir, when he does
    5   stop, I had already been abused a second time.      5   give you money, does he himself give you the
    6       Q. Okay. Sir, I think you indicated             6   money, or is it one of his workers, sir?
    7   earlier that you know a Jean Gary?                  7        A. Sometimes he's the one who gives me a
    8           THE INTERPRETER: You indicated              8   little bit of money.
    9   earlier that?                                       9        Q. Sir, you're staying at this hotel, at
   10       Q. Sir, I think you indicated earlier          10   the Barcelo?
   11   that you know a Jean Gary, is that correct?        11        A. That's where I'm staying, yes.
   12       A. Yeah, I know him.                           12        Q. And are you sharing a room with
   13       Q. How do you know him, sir?                   13   anybody, sir?
   14       A. At the Village.                             14           MS. POLLOCK: Objection. Asked and
   15       Q. And are you friendly with him, sir?         15   answered.
   16       A. When we were at the Village we were         16        A. I'm sharing a bedroom with somebody
   17   all like a big family, we were all friends.        17   else.
   18       Q. And has he helped you in any way with       18   BY MR. KENNEDY:
   19   your lawsuit, sir?                                 19        Q. Who is that person, sir?
   20       A. Helped me? No.                              20        A. Claude.
   21       Q. He never asked you to put your name on      21        Q. Okay.
   22   a list, sir?                                       22           MR. KENNEDY: That's all I have.
   23       A. No.                                         23   Thank you very much, sir.
   24       Q. Do you know if he was putting a list        24           THE VIDEOGRAPHER: Going off the
   25   together?                                          25   record. The time is 6:25.


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    1          (Pause.)                                    1       Q. Before you went to the Village, did
    2          THE VIDEOGRAPHER: Back on the record.       2   you know that the Village provided a place for
    3   The time is 6:25.                                  3   the students to live?
    4   BY MR. BABBITT:                                    4       A. Yes, I knew that.
    5       Q. I represent the American Association        5       Q. Before you went to the Village, did
    6   of the Order of Malta. My name is Brad Babbitt.    6   you know that students at the Village were
    7          At any time before PPT closed, had you      7   taught to read?
    8   ever heard the name Haiti Fund?                    8       A. Yes.
    9       A. No.                                         9       Q. Did you know that students were taught
   10       Q. At any time before PPT closed, had you     10   to write Creole?
   11   ever heard the name the American Association of   11       A. Yes.
   12   the Order of Malta?                               12       Q. Did you know before you went to the
   13       A. No.                                        13   Village that students were taught math?
   14       Q. Before you started attending Rue 13,       14       A. Yes.
   15   why did you want to go to that school?            15       Q. Did you know before you went to the
   16       A. It was free. Because it was free.          16   Village that students had the opportunity to
   17       Q. Before you started attending Rue 13,       17   play football and basketball and other games?
   18   did you know that that school provided food to    18       A. Yes. Inside they have soccer and a
   19   its students?                                     19   basketball field.
   20       A. Yes.                                       20       Q. Were these reasons that you wanted to
   21       Q. Did you know that Rue 13 provided          21   attend the Village?
   22   classes in how to read Creole?                    22       A. Yes.
   23       A. Yes.                                       23       Q. Were there any other reasons?
   24       Q. Before you attended Rue 13, did you        24       A. No other reason.
   25   know that the school taught its students how to   25       Q. Earlier in the deposition you were

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    1   write Creole?                                      1   asked questions about Exhibit 7 -- excuse me, 6,
    2       A. Yes.                                        2   7 and 8, and I've put those before you, sir.
    3       Q. Before you attended the school, did         3   And you told us that you knew some of the names,
    4   you know that the school taught math?              4   the people whose names are on those lists.
    5       A. Yes.                                        5      A. Yes.
    6       Q. Did you know that Rue 13 provided its       6      Q. And some of those people you said you
    7   students with a place to wash?                     7   knew very well?
    8       A. Yes.                                        8      A. Yes.
    9       Q. Before you attended the school, did         9      Q. And the people that you got to know
   10   you know that the school provided opportunities   10   very well, you got to know them through your
   11   to play football or basketball?                   11   time at PPT, correct?
   12       A. Yes, they make us play ball.               12      A. Yes.
   13       Q. And were these reasons -- were these       13      Q. You lived with some of them?
   14   some of the reasons, or all of the reasons that   14      A. Yes.
   15   you attended that school, in addition to it       15      Q. And you played football and basketball
   16   being free?                                       16   with them?
   17       A. They were important for me, that's why     17      A. Yes, every day. We played ball every
   18   I went there, yes.                                18   day together.
   19       Q. Were there any other reasons you went      19      Q. And you would eat your meals with them
   20   to the school?                                    20   when you were at the Village?
   21       A. No other reason.                           21      A. We -- together we lived -- we ate in a
   22       Q. Okay. Before you went to the Village,      22   big kitchen.
   23   did you know that the Village provided food to    23      Q. And you were at the Village for
   24   its students?                                     24   several years?
   25       A. I knew it.                                 25      A. Yes.


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    1       Q. And some of the people on the list           1         INSTRUCTIONS TO WITNESS
    2   that you said you knew very well were also there    2
    3   for those years?                                    3             Please read your deposition over
    4       A. Yes.                                         4   carefully and make any necessary corrections.
    5       Q. And while you were at the Village, you       5   You should state the reason in the appropriate
    6   didn't know that Doug Perlitz was abusing any of    6   space on the errata sheet for any corrections
    7   these students, correct?                            7   that are made.
    8       A. No.                                          8             After doing so, please sign the
    9           MR. BABBITT: Thank you. I have              9   errata sheet and date it. It will be attached
   10   nothing further.                                   10   to your deposition.
   11           THE VIDEOGRAPHER: This concludes the       11             It is imperative that you return
   12   September 28th, 2015 deposition. Going off the     12   the original errata sheet to the deposing
   13   record. The time is 6:32.                          13   attorney within thirty (30) days of receipt of
   14           MS. POLLOCK: I want to make sure we        14   the deposition transcript by you. If you fail
   15   put on the record. With the witness, I think       15   to do so, the deposition transcript may be
   16   it's a 60-day arrangement for read and sign?       16   deemed to be accurate and may be used in court.
   17           MR. BABBITT: That's what we've done,       17
   18   yes.                                               18
   19           MR. KERRIGAN: To read and sign?            19
   20           MS. POLLOCK: Yes.                          20
   21           THE VIDEOGRAPHER: We're going off the      21
   22   record. The time is 6:32.                          22
   23           (Whereupon, the deposition was             23
   24           concluded.)                                24
   25                                                      25


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    1          CERTIFICATE                                  1           ------
    2          I, MAUREEN O'CONNOR POLLARD, LSR #473,                   ERRATA
    3   RMR, CLR, and Notary Public in and for the State    2           ------
    4   of Connecticut, do hereby certify that there        3   PAGE LINE CHANGE
    5   came before me on the 28th day of September,        4   ____ ____ _________________________________
    6   2015, the person hereinbefore named, who was        5     REASON: __________________________________
    7   duly sworn to testify to the truth of their         6   ___ ____ __________________________________
    8   knowledge concerning the matters in this cause,     7     REASON: __________________________________
    9   and their examination reduced to typewriting        8   ____ ____ _________________________________
   10   under my direction and is a true record of the
                                                            9     REASON: __________________________________
                                                           10   ____ ____ _________________________________
   11   testimony.
                                                           11     REASON: __________________________________
   12          I further certify that I am neither
                                                           12   ____ ____ _________________________________
   13   attorney for or related or employed by any of
                                                           13     REASON: __________________________________
   14   the parties to the action, and that I am not a
                                                           14   ____ ____ _________________________________
   15   relative or employee of any attorney or counsel
                                                           15     REASON: _________________________________
   16   employed by the parties hereto or financially      16   ____ ____ _________________________________
   17   interested in the action.                          17     REASON: _________________________________
   18          In witness whereof, I have hereunto         18   ____ ____ _________________________________
   19   set my hand and seal this 4th day of October,      19     REASON: _________________________________
   20   2015.                                              20   ____ ____ _________________________________
   21                                                      21     REASON: _________________________________
   22     ________________________________________         22   ____ ____ _________________________________
   23     MAUREEN O'CONNOR POLLARD, License #473           23     REASON: _________________________________
   24     Realtime Systems Administrator, RMR              24   ____ ____ _________________________________
   25     Notary Commission Expires: 10/31/2017            25


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    1         ACKNOWLEDGMENT OF DEPONENT
    2
    3             I, __________________________, do
        Hereby certify that I have read the foregoing
    4   pages, and that the same is a correct
        transcription of the answers given by me to the
    5   questions therein propounded, except for the
        corrections or changes in form or substance, if
    6   any, noted in the attached Errata Sheet.
    7
    8   _________________________________
        RAYNEL ODILBERT          DATE
    9
   10
   11
   12
   13
   14
   15   Subscribed and sworn
        To before me this
   16   ______ day of _________________, 20____.
   17   My commission expires: ________________
   18
        _______________________________________
   19   Notary Public
   20
   21
   22
   23
   24
   25


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    1         LAWYER'S NOTES
    2   PAGE LINE
    3   ____ ____ _______________________________
    4   ____ ____ _______________________________
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                  UNITED STATES DISTRICT COURT
                  DISTRICT OF CONNECTICUT
                                       Civil Action No.
                                       3:13-cv-01132(RNC)
        ****************************
        GERVIL ST. LOUIS, a/k/a ST.    Consolidated with:
        LOUIS GERVIL,                  3:13-cv-1225-RNC
                                       3:13-cv-1269-RNC
                       Plaintiff,      3:13-cv-1437-RNC
                                       3:13-cv-1480-RNC
             v.                        3:13-cv-1626-RNC
                                       3:13-cv-1627-RNC
        DOUGLAS PERLITZ, FATHER        3:13-cv-1628-RNC
        PAUL E. CARRIER, S.J.; HOPE    3:13-cv-1629-RNC
        E. CARTER; HAITI FUND,         3:13-cv-1630-RNC
        INC.; FAIRFIELD UNIVERSITY;    3:13-cv-1631-RNC
        THE SOCIETY OF JESUS OF NEW    3:13-cv-1632-RNC
        ENGLAND; SOVEREIGN MILITARY    3:13-cv-1633-RNC
        HOSPITALLER ORDER OF ST.       3:13-cv-1634-RNC
        JOHN OF JERUSALEM OF RHODES    3:13-cv-1635-RNC
        AND OF MALTA, AMERICAN         3:13-cv-1636-RNC
        ASSOCIATION, U.S.A.; a/k/a     3:13-cv-1637-RNC
        ORDER OF MALTA, AMERICAN       3:13-cv-1638-RNC
        ASSOCIATION, U.S.A.; JOHN      3:13-cv-1639-RNC
        DOE ONE; JOHN DOE TWO; JOHN    3:13-cv-1640-RNC
        DOE THREE; JOHN DOE FOUR;      3:13-cv-1641-RNC
        JOHN DOE FIVE; JOHN DOE SIX    3:13-cv-1642-RNC
        and JOHN DOE SEVEN,            3:13-cv-1644-RNC
                                       3:13-cv-1645-RNC
                       Defendants.     3:13-cv-1647-RNC
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                                       3:13-cv-1767-RNC
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                                       3:13-cv-1904-RNC
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                                       3:13-cv-1907-RNC
        ******************************
        This document applies to:
        All of the above referenced cases
        And those to be filed
        ******************************
        CONFIDENTIAL - SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
             VIDEOTAPED DEPOSITION OF GEFFRARD LECENAT

                    Wednesday, May 20, 2015
                            9:35 a.m.

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                                                       Page 2                                            Page 4
    1     VIDEOTAPED DEPOSITION OF GEFFRARD LECENAT              1    APPEARANCES (Continued):
    2                                                            2
    3                                                            3    FOR THE DEFENDANT PAUL E. CARRIER, S.J.:
        Held At:                                                 4      THEODORE J. FOLKMAN, ESQ.
    4                                                            5         MURPHY & KING
    5     Barcelo Puerto Plata                                   6        One Beacon Street, 21st Floor
    6     Carretera Luperón, km 5, Puerto Plata 547              7        Boston, Massachusetts 02108
    7     Dominican Republic                                     8        617-423-0400
    8
                                                                 9        tjf@murphyking.com
    9
                                                                10
   10   REPORTED BY:
                                                                11    FOR THE DEFENDANT HOPE E. CARTER:
   11   Maureen O'Connor Pollard, RMR, CLR, LSR #473
                                                                12      JEFFREY W. KENNEDY, ESQ.
   12   Realtime Systems Administrator
                                                                13        MILANO & WANAT LLC
   13
                                                                14        471 East Main Street
   14
   15
                                                                15        Branford, Connecticut 06405
   16
                                                                16        203-315-7000
   17
                                                                17        jkennedy@mwllc.us
   18                                                           18
   19                                                           19
   20                                                           20
   21                                                           21
   22                                                           22
   23                                                           23
   24                                                           24
   25                                                           25


                                                       Page 3                                            Page 5
    1   APPEARANCES:                                             1   APPEARANCES (Continued):
    2   FOR THE PLAINTIFF:                                       2
    3     MITCHELL GARABEDIAN, ESQ.                              3   FOR THE DEFENDANT ORDER OF MALTA AMERICAN
    4     LU XIA, ESQ.                                           4   ASSOCIATION, U.S.A.:
    5        LAW OFFICES OF MITCHELL GARABEDIAN                  5     BRADFORD S. BABBITT, ESQ.
    6        100 State Street, Sixth Floor                       6       ROBINSON & COLE LLP
    7        Boston, Massachusetts 02109                         7       280 Trumbull Street
    8        617-523-6250                                        8       Hartford, Connecticut 06103
    9        garabedianlaw@earthlink.com                         9       860-275-8200
   10        lxia@garabedianlaw.com                             10       bbabbitt@rc.com
   11           -and-                                           11
   12     G. MICHAEL STEWART, ESQ.                              12   FOR THE DEFENDANT FAIRFIELD UNIVERSITY:
   13     JO ANNA POLLOCK, ESQ.                                 13     JOHN W. CERRETA, ESQ.
   14        SIMMONS HANLY CONROY                               14       DAY PITNEY LLP
   15        One Court Street                                   15       201 Broad Street
   16        Alton, Illinois 62002                              16       Stamford, Connecticut 06901
   17        618-259-2222                                       17       860-275-0665
   18        mstewart@simmonsfirm.com                           18       jcerreta@daypitney.com
   19        jpollock@simmonsfirm.com                           19
   20                                                           20
   21                                                           21
   22                                                           22
   23                                                           23
   24                                                           24
   25                                                           25



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    1   APPEARANCES (Continued):                                  1        PROCEEDINGS
    2                                                             2
    3   FOR THE DEFENDANT THE SOCIETY OF JESUS OF                 3          THE VIDEOGRAPHER: We are now on the
    4   NEW ENGLAND:                                              4   record. My name is Chris Coughlin, I'm a
    5     MICHAEL J. KERRIGAN, ESQ.                               5   videographer for Golkow Technologies. Today's
    6        SLOANE AND WALSH, LLP                                6   date is May 20, 2015, and the time is 9:35 a.m..
    7        Three Center Plaza, Suite 830                        7          This video deposition is being held in
    8        Boston, Massachusetts 02108                          8   Puerto Plata, Dominican Republic, in the matter
    9        617-523-6010                                         9   of Gervil St. Louis, Plaintiff, versus Douglas
   10        mkerrigan@sloanewalsh.com                           10   Perlitz, Et Al, Defendants, in the United States
   11                                                            11   District Court for the District of Connecticut,
   12   Videographer: Christopher Coughlin                       12   Civil Action Number 3:13-cv-01132-RNC.
   13                                                            13          The deponent is Geffrard Lecenat.
   14   Interpreter: Nathalie Coupet                             14          Will counsel please identify
   15                                                            15   yourselves for the record?
   16   Also Present:                                            16          MR. KERRIGAN: Good morning,
   17   Jean Elyseé Pierre Louis, Interpreter                    17   Mr. Lecenat. My name is Michael Kerrigan, I'm a
   18                                                            18   lawyer representing the Society of Jesus of New
   19                                                            19   England.
   20                                                            20          MR. CERRETA: Good morning. My name
   21                                                            21   is John Cerreta, representing Defendant
   22                                                            22   Fairfield University.
   23                                                            23          MR. FOLKMAN: Good morning. My name
   24                                                            24   is Ted Folkman, and I am Father Paul Carrier's
   25                                                            25   lawyer.


                                                        Page 7                                                Page 9
    1              INDEX                                          1          MR. BABBITT: I'm Bradford Babbitt, I
    2    EXAMINATION                                  PAGE        2   represent the Order of Malta American
    3    GEFFRARD LECENAT                                         3   Association.
    4    BY MR. KERRIGAN                                 10
    5    BY MR. CERRETA                                173        4          MR. KENNEDY: Good morning. I'm
    6    BY MR. FOLKMAN                                 177       5   Jeffrey Kennedy, I represent Hope Carter.
    7    BY MR. BABBITT                               188         6          MS. POLLOCK: I'm Jo Anna Pollock from
    8    BY MR. KENNEDY                                 189       7   Simmons Hanly Conroy, and I represent the
    9                                                             8   Plaintiffs.
   10
   11        EXHIBITS                                             9          MR. STEWART: Mike Stewart on behalf
   12    NO.      DESCRIPTION                         PAGE       10   of the Plaintiffs.
   13    1 Geffrard Lecenat's birth                              11          MR. GARABEDIAN: Mitchell Garabedian
           certificate.......................... 14              12   representing Plaintiffs. Good morning.
   14                                                            13          MS. XIA: Lu Xia representing
         2    Copy of Geffrard Lecenat's
   15        Passport............................. 17            14   Plaintiffs.
   16    3    Copy of Geffrard Lecenat's Visa...... 17           15          MR. KERRIGAN: Maureen, could you
   17    4    Complaint and Jury Trial Demand...... 18           16   please swear in the witness and the interpreter?
   18    5    Plaintiff Geffrard Lecenat's                       17
             Response to Certain Defendants'                     18          NATHALIE COUPET, Interpreter,
   19        First Set of Interrogatories......... 21
   20    6    Plaintiff Geffrard Lecenat's First                 19   having been first duly sworn to translate the
             Supplemental Response to Certain                    20   testimony, translated the questions and answers
   21        Defendants' First Set of                            21   as follows:
             Interrogatories...................... 25            22
   22                                                            23          GEFFRARD LECENAT,
   23
   24                                                            24   having been first duly sworn, was examined and
   25                                                            25   testified as follows through the interpreter:


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    1          DIRECT EXAMINATION                           1      Q. Apart from the case against Douglas,
    2   BY MR. KERRIGAN:                                    2   have you brought any other cases in court?
    3      Q. Mr. Lecenat, we're here to ask you            3      A. No.
    4   some questions today, but before we get started     4      Q. Okay. I'm going to tell you a little
    5   I want to speak to your attorney, okay?             5   bit about why we are here today. We are here to
    6      A. No problem.                                   6   ask you questions about your case. Do you
    7          MR. KERRIGAN: Mitch, we'll agree, as         7   understand that's why you're here?
    8   we have been agreeing at these depositions, that    8      A. Yes.
    9   all objections except as to the form of the         9      Q. Okay. A moment ago you put your hand
   10   question and all motions to strike will be         10   up and you swore to tell the truth. Do you
   11   reserved until the time of trial. Is that          11   understand that?
   12   agreed?                                            12      A. Yes.
   13          MR. GARABEDIAN: Yes.                        13      Q. Do you understand that you swore an
   14          MR. KERRIGAN: And I believe that the        14   oath before God to tell the truth today?
   15   standing agreement has been that the witness       15      A. Yes.
   16   would like to read and sign the deposition         16      Q. Do you believe in God?
   17   transcript, and would like 60 days from the date   17      A. A lot.
   18   of receipt in order to do that, is that correct?   18      Q. Okay. Good.
   19          MR. GARABEDIAN: That's right.               19          If at any time you do not understand
   20          MR. KERRIGAN: Okay. Are we waiving          20   my question, you tell me, please. Is that okay?
   21   notaries with these?                               21      A. Okay.
   22          MR. GARABEDIAN: Yes.                        22      Q. All right. I don't want you to be
   23          MR. KERRIGAN: All right. That's             23   nervous.
   24   fine.                                              24      A. I'm not afraid.
   25          Anything else we need to put on the         25      Q. Okay. Good. Good.


                                             Page 11                                                Page 13
    1   table?                                              1          What we're trying to do is get
    2          MR. GARABEDIAN: No.                          2   truthful, accurate answers from you.
    3   BY MR. KERRIGAN:                                    3      A. That's why I came here.
    4      Q. Would you please state your name for          4      Q. Very good.
    5   the record?                                         5      A. To tell the truth.
    6      A. Geffrard Lecenat.                             6      Q. Sorry. Very good.
    7      Q. What is your date of birth, please?           7          Are you able to testify today?
    8      A. August 13th, eighth month, 1990.              8          MR. GARABEDIAN: Objection.
    9          THE VIDEOGRAPHER: Nathalie, would you        9      A. Yes.
   10   ask the witness to use a louder voice, please?     10   BY MR. KERRIGAN:
   11      A. Okay.                                        11      Q. Are you taking any medicine or drugs
   12   BY MR. KERRIGAN:                                   12   that would prevent you from testifying
   13      Q. Mr. Lecenat, have you ever given a           13   truthfully today?
   14   statement like this in the past?                   14      A. No.
   15      A. I don't understand the question.             15      Q. Do you understand the translator okay?
   16      Q. Have you ever had questions asked of         16      A. I understand when you talk about
   17   you in a deposition before?                        17   drugs.
   18          MR. GARABEDIAN: Objection.                  18      Q. Do you understand the translator when
   19      A. I don't understand.                          19   she speaks to you?
   20   BY MR. KERRIGAN:                                   20      A. I understand what the interpreter
   21      Q. Have you ever brought a lawsuit              21   says.
   22   before, or a case in court?                        22      Q. Okay. When you answer questions
   23      A. Yes.                                         23   today, I ask that you answer verbally, that is
   24      Q. When was that?                               24   to say with your mouth.
   25      A. After Douglas abused me.                     25      A. I can also speak louder, it's just


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    1   that, you know...                                   1         THE INTERPRETER: He's pointing at me.
    2      Q. Yes. Please try to keep your voice            2   He wants me to help him.
    3   up. You're wearing a microphone, and we need to     3   BY MR. KERRIGAN:
    4   hear you when you speak. Okay?                      4      Q. One question is, do you recognize
    5      A. Okay.                                         5   anything else about that document other than
    6      Q. That man down there needs to hear you,        6   your family name?
    7   too. Okay? Good.                                    7      A. I see my signature. I see Geffrard
    8          Do you speak English?                        8   Lecenat.
    9      A. No.                                           9      Q. You don't know what that document is
   10      Q. Do you understand any English?               10   otherwise?
   11      A. No.                                          11         MR. GARABEDIAN: Objection.
   12      Q. Do you speak Haitian Creole?                 12      A. I already said since -- talking to the
   13      A. I speak Creole. It's my native               13   interpreter -- since you speak Creole, help me
   14   tongue, mother tongue.                             14   figure it out.
   15      Q. Do you read Creole?                          15   BY MR. KERRIGAN:
   16      A. Not a lot. A little bit.                     16      Q. I'm just asking if you recognize the
   17      Q. You're able to read some Creole?             17   document. Yes or no.
   18      A. A little bit.                                18      A. I recognize the document.
   19      Q. Are you able to write in Creole?             19         MR. GARABEDIAN: Excuse me. Just
   20      A. A little bit.                                20   answer the question.
   21      Q. I'm going to show you a few pieces of        21   BY MR. KERRIGAN:
   22   paper and ask you a question or two about them,    22      Q. Does this document have a name?
   23   Mr. Lecenat. For the record, that's Exhibit 1.     23      A. I recognize it.
   24          (Whereupon, Exhibit Number 1, Geffrard      24      Q. What is it?
   25          Lecenat's birth certificate, was            25      A. I see my name on it, so I acknowledge


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    1         marked for identification.)                   1   this is something I've seen before.
    2         MR. GARABEDIAN: Can you identify it?          2      Q. Let's go to Exhibit 2, please.
    3         MR. KERRIGAN: I'm going to ask him            3           (Whereupon, Exhibit Number 2, Copy of
    4   to, Mitch.                                          4           Geffrard Lecenat's Passport, was
    5   BY MR. KERRIGAN:                                    5           marked for identification.)
    6      Q. Mr. Lecenat, are you looking at the           6   BY MR. KERRIGAN:
    7   document in front of you?                           7      Q. Are you looking at Exhibit 2,
    8      A. Yes.                                          8   Mr. Lecenat?
    9      Q. Do you recognize that document?               9      A. Yeah, I saw it.
   10      A. Yes.                                         10      Q. What is that document?
   11      Q. What is that document?                       11      A. I see my name on it.
   12      A. I see my family name.                        12      Q. Do you know what that document is?
   13      Q. Do you know what that document is?           13      A. I see my name on it.
   14      A. I see my family name on it.                  14      Q. Otherwise can you tell us what that
   15      Q. Is that a birth certificate for you?         15   document is? Yes or no.
   16         MR. GARABEDIAN: Objection.                   16      A. No.
   17      A. It's my family name, it's my family          17      Q. Okay. Could I ask you, please, to
   18   name on it.                                        18   look at Exhibit 3? Have you looked at
   19   BY MR. KERRIGAN:                                   19   Exhibit 3, Mr. Lecenat?
   20      Q. Other than your family name, do you          20           (Whereupon, Exhibit Number 3, Copy of
   21   recognize anything on that document?               21           Geffrard Lecenat's Visa, was marked
   22      A. I don't speak Creole very -- oh, since       22           for identification.)
   23   you speak Creole you can help me, talking to the   23      A. I saw it.
   24   interpreter.                                       24   BY MR. KERRIGAN:
   25      Q. I don't speak Creole.                        25      Q. What is that document?


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    1      A. I see my name on it.                        1      A. Yeah, they were correct.
    2      Q. Can you tell us what that document is?      2      Q. Okay. For the record, Exhibit 1 is
    3      A. You speak Creole, help me.                  3   the Baptismal certificate for Mr. Lecenat with a
    4      Q. The interpreter is not here to read         4   Bates stamp Geffrard Lecenat 1.
    5   documents for you unless we ask her to. She's     5          MR. GARABEDIAN: He has to say
    6   just here to translate what you say and what I    6   something.
    7   say.                                              7   BY MR. KERRIGAN:
    8      A. Me, too, I don't read.                      8      Q. For the record, Exhibit 2 is
    9      Q. I ask you to look at Exhibit 4,             9   Mr. Lecenat's Passport, which is marked Bates
   10   please.                                          10   stamped Geffrard Lecenat 2.
   11          (Whereupon, Exhibit Number 4,             11          For the record, Exhibit 3 is the
   12          Complaint and Jury Trial Demand, was      12   Dominican Republic Visa for Mr. Lecenat
   13          marked for identification.)               13   identified Bates stamped number Geffrard Lecenat
   14   BY MR. KERRIGAN:                                 14   3.
   15      Q. Are you looking at Exhibit 4,              15          And Exhibit 4, for the record, is
   16   Mr. Lecenat?                                     16   Geffrard Lecenat's Complaint and Jury Trial
   17      A. Yes, I'm looking at it.                    17   Demand dated November 7, 2013. For the record,
   18      Q. Do you see your name right here at the     18   the exhibit is the entirety of the complaint.
   19   top of the page?                                 19   Counsel around the table were given only the
   20      A. Yes.                                       20   first page. We're trying to save trees.
   21      Q. Do you recognize that document?            21          MR. STEWART: Appreciate it. Thank
   22      A. Yes.                                       22   you.
   23      Q. What is that document?                     23   BY MR. KERRIGAN:
   24      A. I've already seen it.                      24      Q. And the last document, Mr. Lecenat --
   25      Q. Do you know what's in that document?       25   why don't you move the other documents to the


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    1      A. I don't read English.                       1   side, please. One of the last documents
    2      Q. Do you know anything about that             2   (handing). That's Exhibit 5.
    3   document other than the fact that your name is    3           (Whereupon, Exhibit Number 5,
    4   on the document?                                  4           Plaintiff Geffrard Lecenat's Response
    5         MR. GARABEDIAN: Objection.                  5           to Certain Defendants' First Set of
    6      A. I don't read English.                       6           Interrogatories, was marked for
    7   BY MR. KERRIGAN:                                  7           identification.)
    8      Q. Do you know, have you ever read this        8   BY MR. KERRIGAN:
    9   document, Exhibit 4, in Creole?                   9       Q. Have you looked at Exhibit 5,
   10         MR. GARABEDIAN: Objection.                 10   Mr. Lecenat?
   11      A. I read it, but the people translating      11       A. Well, it's in English. I see it.
   12   for me were the ones who helped me read it in    12   It's in English, so I don't know.
   13   Creole.                                          13       Q. Okay. Mr. Lecenat, why don't you pick
   14   BY MR. KERRIGAN:                                 14   up Exhibit 5 and turn to the middle of the
   15      Q. When did you read it?                      15   document where you'll see that -- a page in
   16      A. When they gave it to me.                   16   Creole.
   17      Q. When was that?                             17           MR. KERRIGAN: You're looking for the
   18      A. I don't remember.                          18   Creole translation, Mitch, which is in the
   19      Q. When you had the document read to you,     19   middle. Thank you, Mitch.
   20   Mr. Lecenat, was the information that you        20   BY MR. KERRIGAN:
   21   received accurate?                               21       Q. Mr. Lecenat, are you looking at a
   22         MR. GARABEDIAN: Objection.                 22   portion of Exhibit 5 that is in Creole? Are you
   23      A. When they read it to me?                   23   looking at the document?
   24   BY MR. KERRIGAN:                                 24       A. I see it, but I don't read Creole.
   25      Q. Yes.                                       25       Q. Okay. Do you recognize what that


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    1   document is?                                        1   Exhibit 5, please? Are you looking at the last
    2          MR. GARABEDIAN: Yes or no.                   2   page of Exhibit 5?
    3     A. Yes, I know, but I don't really read           3      A. Yes.
    4   Creole, so...                                       4      Q. Is that your signature on the page?
    5   BY MR. KERRIGAN:                                    5      A. Yes.
    6     Q. Okay. Mr. Lecenat, it's okay if you            6      Q. When you signed this document, were
    7   can't read Creole. That's okay. You just tell       7   you certifying that the information in the
    8   me. No trouble. Okay?                               8   answers is correct and truthful?
    9     A. Okay. I don't read Creole.                     9      A. They're all the truth. They're all
   10     Q. Okay. I'm going to tell you that this         10   true.
   11   document are answers that you gave to us to        11      Q. Mr. Lecenat, where were you when you
   12   questions that we asked of you. Let me put it      12   worked with the interpreter to answer these
   13   another way.                                       13   questions? Were you in Haiti?
   14          You brought a case against certain          14      A. Yes.
   15   people and organizations, and they are called      15      Q. Where in Haiti?
   16   Defendants.                                        16      A. In a hotel. I was in a hotel.
   17     A. Okay.                                         17      Q. Were you in a hotel in Cap-Haïtien, or
   18     Q. The Defendants asked you questions and        18   Port-au-Prince?
   19   you gave the Defendants answers in this            19      A. In Cap-Haïtien.
   20   document, Exhibit 5.                               20      Q. Were there any attorneys present when
   21     A. Yes.                                          21   you worked on these answers? And that's a yes
   22     Q. Do you remember doing that?                   22   or no question.
   23     A. Yes.                                          23      A. Yes.
   24     Q. Okay. When you were answering these           24      Q. How many? I just want the number.
   25   questions, did you have help from an               25      A. My lawyers and my translators.

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    1   interpreter?                                        1      Q. How many lawyers? A number, please.
    2          MR. GARABEDIAN: Objection. I                 2      A. Just my lawyers and the translators.
    3   instruct him not to answer any questions            3      Q. How long did it take you to complete
    4   concerning attorney/client privilege.               4   these answers?
    5          Don't talk about conversations with          5         MR. GARABEDIAN: Objection.
    6   your lawyers, just the interpreter.                 6      A. I don't remember.
    7   BY MR. KERRIGAN:                                    7   BY MR. KERRIGAN:
    8      Q. Did an interpreter help you answer            8      Q. Do you remember how long the meeting
    9   these questions? Yes or no.                         9   was with your lawyers and your translator?
   10      A. Yes.                                         10         MR. GARABEDIAN: Objection.
   11      Q. Did you confirm that the information         11      A. I don't remember.
   12   in these answers is correct?                       12   BY MR. KERRIGAN:
   13          MR. GARABEDIAN: Objection. I                13      Q. And here, Mr. Lecenat, is the last
   14   instruct him not to answer as to any               14   document for now. That's Exhibit 6.
   15   attorney/client privileged conversation.           15         (Whereupon, Exhibit Number 6,
   16          You may want to ask him did you             16         Plaintiff Geffrard Lecenat's First
   17   confirm that these answers were correct when you   17          Supplemental Response to Certain
   18   spoke to the interpreter.                          18         Defendants' First Set of
   19          MR. KERRIGAN: Let's see if he can           19         Interrogatories, was marked for
   20   answer.                                            20         identification.)
   21      A. Yes, all the answers I gave are              21   BY MR. KERRIGAN:
   22   correct. I'm telling the truth.                    22      Q. Can you please take a look at
   23   BY MR. KERRIGAN:                                   23   Exhibit 6?
   24      Q. Very good.                                   24         MR. GARABEDIAN: Do we have another
   25          Can you turn to the last page of            25   copy of Exhibit 6 for me?


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    1          MR. KERRIGAN: Sure, I have copies for        1          For the record, Exhibit 6 is Plaintiff
    2   everybody.                                          2   Geffrard Lecenat's First Supplemental Response
    3   BY MR. KERRIGAN:                                    3   to Certain Defendants' First Set of
    4      Q. Mr. Lecenat, have you looked at               4   Interrogatories, and that document is dated
    5   Exhibit 6?                                          5   September 20, 2014.
    6      A. I saw it, but I don't read English.           6      A. If I said it, okay.
    7      Q. Can you please flip a few pages into          7   BY MR. KERRIGAN:
    8   that document until you come to Creole? One         8      Q. Thank you.
    9   more page, please. There you go.                    9          Okay. Mr. Lecenat, how old are you
   10          Do you recognize that page,                 10   today?
   11   Mr. Lecenat? If you don't, it's okay, you just     11      A. I was born on August 13th, eighth
   12   tell me.                                           12   month, 1990.
   13      A. I recognize it, but you know I don't         13      Q. How old does that make you today?
   14   read Creole.                                       14      A. I'll be 25 on August 13th.
   15      Q. I'm going to tell you that those are         15      Q. Do you have any other names other than
   16   some more answers that you gave to the             16   Geffrard Lecenat?
   17   Defendants.                                        17      A. Geffrard Lecenat.
   18      A. Okay.                                        18      Q. Do you have any other names besides
   19      Q. Does that help you recognize the             19   that?
   20   document?                                          20          MR. GARABEDIAN: Objection.
   21      A. If I remember this document?                 21      A. Geffrard is the name.
   22      Q. Correct.                                     22   BY MR. KERRIGAN:
   23      A. If you ask me questions, I'll see.           23      Q. Do your friends call you Geffrard?
   24      Q. Go to the last page, please. One more        24      A. Geffrard Lecenat, Geffrard.
   25   page, please. There we are. Can you please         25      Q. Does your family call you Geffrard?

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    1   look at that page with me? Are you looking at       1      A. That's my name.
    2   the page?                                           2      Q. Mr. Geffrard, in preparing to come
    3      A. Yes, I'm looking at it.                       3   here today, did you speak to anyone? Yes or no.
    4      Q. Is that your signature?                       4          MR. GARABEDIAN: Objection. I
    5      A. Yes.                                          5   instruct him not to answer as to any
    6      Q. Do you understand that by signing that        6   attorney/client privileged conversations.
    7   document you are certifying that the information    7      A. I spoke to my lawyers.
    8   is accurate and truthful?                           8   BY MR. KERRIGAN:
    9      A. Yes, everything I say is the truth.           9      Q. Anyone other than your lawyers?
   10      Q. Do you believe that what is in this          10      A. My lawyers.
   11   document, Exhibit 6, is truthful as well?          11      Q. Did you speak to Cyrus Sibert to
   12      A. Everything I said is true.                   12   prepare for today?
   13      Q. And you believe that everything in           13      A. No.
   14   this document is true as well because you signed   14      Q. Do you know who Cyrus Sibert is?
   15   it certifying it's true?                           15      A. I know who it is.
   16           MR. GARABEDIAN: Objection.                 16      Q. Who is Cyrus Sibert?
   17      A. If I said it, it's the truth.                17      A. Someone who doesn't tolerate people to
   18   BY MR. KERRIGAN:                                   18   do us wrong.
   19      Q. Thank you. Thank you Mr. Lecenat, for        19      Q. Is Cyrus Sibert a journalist?
   20   looking at those documents with me.                20      A. Yes.
   21           MR. KERRIGAN: For the record,              21      Q. Is Cyrus Sibert a radio host?
   22   Exhibit 5 is Plaintiff Geffrard Lecenat's          22      A. Yes.
   23   Response to Certain Defendants' First Set of       23      Q. Is Cyrus Sibert a politician in Haiti?
   24   Interrogatories. The document is dated July 11,    24      A. Yes.
   25   2014.                                              25      Q. Did you look at any documents to


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    1   prepare for today, Mr. Lecenat?                   1   the street, they say I'm Douglas's wife, I'm a
    2          MR. GARABEDIAN: Objection.                 2   fag, so she left me.
    3      A. Yes.                                        3      Q. What is her name?
    4   BY MR. KERRIGAN:                                  4      A. I don't remember her name anymore, she
    5      Q. What did you look at?                       5   humiliated me, so...
    6      A. Everything I said.                          6      Q. How did she humiliate you?
    7      Q. Did you look at any paper to prepare        7      A. I was walking in the street and people
    8   for today?                                        8   were saying, "oh, here is the little fag,
    9      A. I can't read.                               9   Douglas's fag." She left me because she didn't
   10      Q. So you didn't look at any paper to         10   want to be the girlfriend of a fag.
   11   prepare for today?                               11      Q. When did she leave you?
   12      A. I looked at them.                          12      A. I don't remember.
   13      Q. Did you look at any pictures or            13      Q. Did she leave you in 2015?
   14   photographs to prepare for today?                14      A. I don't remember.
   15      A. I didn't look at pictures, photos, or      15      Q. Did she leave you in 2014?
   16   drawings.                                        16      A. I don't remember.
   17      Q. Did you watch any TV or videos to          17      Q. How long were you together?
   18   prepare for today?                               18      A. I don't even remember that.
   19      A. No.                                        19      Q. Was it a period of days, weeks, or
   20     Q. Mr. Lecenat, earlier today you said         20   months that you were together?
   21   that you write a little bit of Creole, is that   21          MR. GARABEDIAN: Objection.
   22   correct?                                         22      A. Well, you know, we were -- I decided
   23      A. A bit.                                     23   to break up also because we were in the street,
   24     Q. Have you ever written down anything         24   and they -- people were calling me a fag, and
   25   about your case or your time at Project Pierre   25   faggot, and that I was Douglas's fag, so she ran

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    1   Toussaint?                                        1   away from me, and I don't remember.
    2     A. I don't understand the question.             2   BY MR. KERRIGAN:
    3     Q. Have you ever written down anything          3      Q. How long were you together before you
    4   about your time at Project Pierre Toussaint?      4   broke up?
    5     A. I don't understand.                          5      A. I don't remember. I don't remember.
    6     Q. Have you ever written any letters            6      Q. You can't tell us whether you were
    7   about PPT?                                        7   together for a day, many days, weeks, months?
    8         MR. GARABEDIAN: Objection.                  8          MR. GARABEDIAN: Objection.
    9     A. No.                                          9      A. I don't remember.
   10   BY MR. KERRIGAN:                                 10   BY MR. KERRIGAN:
   11     Q. Do you know what e-mail is?                 11      Q. Did you have any other girlfriends
   12         MR. GARABEDIAN: Objection.                 12   apart from this girlfriend?
   13     A. No.                                         13      A. No, because -- I don't have any
   14   BY MR. KERRIGAN:                                 14   because they don't want to be called a
   15     Q. Do you know what the internet is?           15   girlfriend of a fag, Douglas's fag. I have no
   16     A. I don't know about the internet.            16   value in their eyes.
   17     Q. Do you know what text messaging is?         17      Q. Do you have any children, Mr. Lecenat?
   18     A. I don't know anything about that.           18      A. No.
   19     Q. Mr. Lecenat, are you married?               19      Q. Have you ever had any children?
   20     A. No.                                         20      A. No.
   21     Q. Have you ever been married?                 21      Q. Where do you live today?
   22     A. No.                                         22      A. Blue Hills.
   23     Q. Do you have a girlfriend?                   23      Q. Where is that?
   24     A. I had a girlfriend, but because             24      A. Right next to the Village.
   25   Douglas put his penis in my butt, everyone on    25      Q. It's in Haiti?


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    1      A. Yes.                                         1   from the translator, because Mike raised it the
    2      Q. Is there a street address where you          2   other day.
    3   live in Blue Hills?                                3   BY MR. KERRIGAN:
    4      A. Right next to the PPT Village.               4      Q. How old is Fancoli?
    5      Q. How far from the PPT Village? How            5      A. Same age, I don't know. I don't
    6   long does it take you to walk from your home to    6   remember.
    7   PPT Village?                                       7      Q. What is Fancoli's last name, or
    8          MR. GARABEDIAN: Objection.                  8   surname?
    9      A. I can't control that.                        9      A. Lecenat.
   10   BY MR. KERRIGAN:                                  10      Q. What is your little sister's name who
   11      Q. Do you know how long it takes for you       11   lives at the house with you at Blue Hills?
   12   to walk from the home at Blue Hills to the PPT    12      A. Jolie Lecenat.
   13   Village?                                          13      Q. Does anyone else live at the house at
   14      A. About 30 minutes.                           14   Blue Hills with you?
   15      Q. Does anyone live with you at the house      15      A. But I left the area because too many
   16   at Blue Hills?                                    16   people are calling me a girlfriend fag, so I
   17      A. My grandmother and grandfather.             17   left the area.
   18      Q. What is your grandfather's name,            18      Q. Who else lives at the house with you
   19   please?                                           19   at Blue Hills?
   20      A. Amos.                                       20          MR. GARABEDIAN: Objection.
   21      Q. Your grandfather's name is Amos?            21      A. I already told you, my little brother
   22      A. Yes.                                        22   and my little sister.
   23      Q. What is your grandmother's name?            23   BY MR. KERRIGAN:
   24      A. Maze.                                       24      Q. Is there anyone else?
   25          THE INTERPRETER: M-A-Z-E.                  25      A. I have other brothers and sisters that

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    1           MR. KERRIGAN: That's the translator's      1   don't stay there, and there's also Emmanuel
    2   spelling?                                          2   Lecenat who stays at Blue Hills.
    3           THE INTERPRETER: Yes. I'm sorry,           3      Q. Emmanuel Lecenat lives at Blue Hills?
    4   yes.                                               4      A. Yes.
    5   BY MR. KERRIGAN:                                   5      Q. Does Emmanuel live in the same house
    6       Q. Who else lives at the house at Blue         6   as your grandparents and you and your little
    7   Hills?                                             7   brother and sister?
    8       A. My little brother, my little sister.        8      A. Yes, he stays at the same house with
    9       Q. What's your little brother's name?          9   my grandparents, little brother, and little
   10       A. Fancoli.                                   10   sister.
   11           MR. KERRIGAN: Could I ask the             11      Q. Emmanuel is your brother, correct?
   12   translator to attempt a spelling?                 12      A. Yes.
   13       A. Just --                                    13      Q. How old is he?
   14           THE INTERPRETER: F-A-N-C-O-L-I.           14      A. I don't remember.
   15   BY MR. KERRIGAN:                                  15      Q. Does anyone else live at the house in
   16       Q. How old is Fancoli?                        16   Blue Hills?
   17           MR. GARABEDIAN: Objection.                17      A. My grandparents, brothers, sister.
   18           Where did she get that spelling from?     18      Q. Have you told us everybody who lives
   19           MR. KERRIGAN: I asked her for it.         19   at the house in Blue Hills with you?
   20   It's clear for the record. It didn't come from    20      A. Emmanuel, Fancoli, Jolie, Gesner
   21   the witness, that's clear.                        21   Lecenat.
   22           MR. GARABEDIAN: It didn't come from       22      Q. Gesner, G-E-S-N-E-R, Lecenat?
   23   the witness.                                      23      A. I don't know.
   24           MR. KERRIGAN: That's why I asked the      24      Q. Is Gesner your brother?
   25   translator, and made clear on the record it was   25      A. Yes.


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    1     Q. How old is he?                                1      Q. Is she a little child also?
    2     A. I don't remember.                             2      A. Yes.
    3     Q. Does anyone else live with you at the         3      Q. How old is she?
    4   house in Blue Hills?                               4      A. I don't know.
    5     A. I already said no. Brother, sister,           5      Q. Do you have any other brothers or
    6   and my grandparents.                               6   sisters?
    7     Q. What about Frandy Lecenat,                    7      A. No.
    8   F-R-A-N-D-Y?                                       8      Q. Is your father alive?
    9     A. In Santo Domingo.                             9      A. Yes.
   10     Q. Is Frandy your brother?                      10      Q. What's his name?
   11     A. Yes.                                         11      A. Lefranc Lecenat.
   12     Q. What does Frandy do in the Dominican         12      Q. Where does Lefranc live?
   13   Republic?                                         13      A. Dominican Republic.
   14     A. He's installing electricity in houses.       14      Q. In Santo Domingo?
   15     Q. How old is Frandy?                           15      A. Santiago.
   16     A. I don't know. I don't remember.              16      Q. Does he have a job?
   17     Q. How long has he been an electrician?         17      A. Yes, he's working with the
   18     A. He learned it in Santo Domingo. I            18   electricity.
   19   don't know.                                       19      Q. Is he an electrician?
   20     Q. Today he lives in the Dominican              20      A. Electricity. That's his work.
   21   Republic?                                         21      Q. When you were growing up, was Lefranc
   22     A. Yes, Santo Domingo.                          22   living with you at the house in Blue Hills?
   23     Q. You have another sister named Ginia,         23          MR. GARABEDIAN: Objection.
   24   G-I-N-I-A, Lecenat?                               24      A. No.
   25     A. Yes, another sister. She's also in           25   BY MR. KERRIGAN:


                                            Page 39                                                Page 41
    1   Santo Domingo -- in the Dominican Republic, I'm    1      Q. Has Lefranc ever been a part of your
    2   sorry.                                             2   life?
    3      Q. Does Ginia have a job in the Dominican       3         MR. GARABEDIAN: Objection.
    4   Republic?                                          4      A. No.
    5      A. No.                                          5   BY MR. KERRIGAN:
    6      Q. How old is Ginia?                            6      Q. Has Lefranc ever provided money to
    7      A. I don't know.                                7   support the family in Haiti?
    8      Q. Do you have any other brothers and           8         MR. GARABEDIAN: Objection.
    9   sisters that we haven't discussed already?         9      A. No.
   10      A. Yes. I have Caroline.                       10   BY MR. KERRIGAN:
   11      Q. Where does Caroline live?                   11      Q. Is Lefranc a part of your life today?
   12      A. Piqueline, and Caroline also.               12      A. No. If he had been there, I don't
   13      Q. What's Caroline's last name?                13   think Douglas would have abused me.
   14      A. Lecenat. And Piqueline Lecenat also.        14      Q. Why not?
   15      Q. Where does Caroline live?                   15      A. He would have been around, and how
   16      A. With her father and son in the              16   would have Douglas found me to put his penis in
   17   Dominican Republic.                               17   my butt.
   18      Q. Does Caroline have a job?                   18      Q. Do you receive any kind of money or
   19      A. There are small children.                   19   support from Lefranc?
   20      Q. How old?                                    20      A. No.
   21      A. I don't know.                               21      Q. Is your mother still alive?
   22      Q. Where does Piqueline Lecenat live?          22      A. She passed away.
   23      A. Same place, Dominican Republic.             23      Q. When?
   24      Q. With her father?                            24      A. I don't remember.
   25      A. Yes.                                        25      Q. What was her name?


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    1     A.    Irene Lamour.                               1      A. The people I listed are the ones that
    2     Q.    How old was she when she died?              2   were in the house.
    3     A.    I was a child, I don't know.                3      Q. Was there a time when all of your
    4     Q.    Did your mother raise you?                  4   brothers and sisters lived together at the house
    5          MR. GARABEDIAN: Objection.                   5   at Blue Hills?
    6      A. No, she died. I was a small child.            6           MR. GARABEDIAN: Objection.
    7   BY MR. KERRIGAN:                                    7      A. I don't really know, because I didn't
    8      Q. Who raised you?                               8   really stay in the house, I was always in the
    9          MR. GARABEDIAN: Objection.                   9   street.
   10      A. Well, I was in the streets, I was to         10   BY MR. KERRIGAN:
   11   throw away trash and wash cars, but then Douglas   11      Q. How many rooms did the house in Blue
   12   came and he took me and he said he would give me   12   Hills have?
   13   education so I could be somebody else, so I        13      A. Three.
   14   could help my family and help myself. But          14      Q. What are those rooms?
   15   that's not what he had in mind, he just thought    15      A. Three bedrooms, three bedrooms where
   16   about putting his penis in my butt.                16   we put our bodies, we...
   17   BY MR. KERRIGAN:                                   17      Q. On the times when you slept at Blue
   18      Q. Did your grandmother or grandfather          18   Hills when you were growing up, did you share a
   19   help to raise you when you were living at Blue     19   bedroom with your brothers and sisters or other
   20   Hills?                                             20   family?
   21          MR. GARABEDIAN: Objection.                  21           MR. GARABEDIAN: Objection.
   22      A. Well, I was far from them usually            22      A. I can't remember this. I was a child.
   23   because when I was small I stayed in the streets   23   I was small. I was young.
   24   more often.                                        24   BY MR. KERRIGAN:
   25   BY MR. KERRIGAN:                                   25      Q. How about today, do you spend any time


                                             Page 43                                                 Page 45
    1      Q. When you were a young boy,                    1   at the house at Blue Hills?
    2   Mr. Lecenat, how many people lived in the house     2          MR. GARABEDIAN: Objection.
    3   at Blue Hills with you?                             3      A. For now I've sort of abandoned the
    4          MR. GARABEDIAN: Objection.                   4   area. I don't go there anymore because
    5      A. When I was a small boy I lived in the         5   everybody is calling me fag, Douglas's
    6   streets. I told you I wasn't staying in a           6   girlfriend. That give me problems. That makes
    7   house. I spent my whole life in the streets.        7   me feel humiliated, so I just abandoned the
    8   BY MR. KERRIGAN:                                    8   area.
    9      Q. When you were growing up, did you             9   BY MR. KERRIGAN:
   10   spend your nights at the house in Blue Hills and   10      Q. Where do you live today?
   11   the days in the streets?                           11      A. I don't remember the place. I don't
   12          MR. GARABEDIAN: Objection.                  12   know.
   13      A. When I was small, I don't know               13      Q. What city?
   14   anything about when I was small.                   14      A. Cap-Haïtien.
   15   BY MR. KERRIGAN:                                   15      Q. You just live in a different part of
   16      Q. Do you recall when you were growing          16   Cap-Haïtien?
   17   up, did you spend any time sleeping at the house   17      A. Yes, I just looked for another place
   18   at Blue Hills?                                     18   to stay.
   19          MR. GARABEDIAN: Objection.                  19      Q. Do you stay in a house?
   20      A. I was a child, I don't remember. I           20      A. A little room.
   21   was small.                                         21      Q. Where?
   22   BY MR. KERRIGAN:                                   22      A. I don't remember where.
   23      Q. Do you recall at any time how many           23      Q. Do you live with a friend or a family
   24   people lived at the house in Blue Hills when you   24   member?
   25   were growing up?                                   25      A. I'm the only one there.


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    1      Q. Do you rent this place?                       1   area because it was too much because people were
    2      A. I rented it for six months.                   2   saying I'm a fag. That gave me a lot of
    3      Q. How much did it cost you to rent it           3   problems. I lost my girlfriend, and all these
    4   for six months?                                     4   problems. I went to see him and ask him to
    5      A. 2,500 gourdes.                                5   please help me. He helped me, and he gave me a
    6      Q. That's Haitian gourdes?                       6   little bit of money so I could find a place to
    7          MR. KERRIGAN: The answer is yes.             7   stay.
    8          THE INTERPRETER: Yes.                        8   BY MR. KERRIGAN:
    9   BY MR. KERRIGAN:                                    9       Q. Why did you go to Cyrus Sibert?
   10      Q. How long have you lived at the place         10           MR. GARABEDIAN: Objection.
   11   that you are renting in Cap-Haïtien?               11       A. I went to see Cyrus because there was
   12          MR. GARABEDIAN: Objection.                  12   too many problems in the neighborhood. They
   13      A. A day, one of these days, I don't            13   were calling me too many names, a fag. There
   14   remember.                                          14   were too many problems, so I went to see him and
   15   BY MR. KERRIGAN:                                   15   to explain, ask him if he could help me. So he
   16      Q. You don't know how long you've been          16   helped me, he found a way to help me out.
   17   living there?                                      17   BY MR. KERRIGAN:
   18          MR. GARABEDIAN: Objection.                  18       Q. Of all the people in Cap-Haïtien, why
   19      A. I don't remember when I entered --           19   did you pick Cyrus Sibert to go to?
   20   when I went in for the first time.                 20           MR. GARABEDIAN: Objection.
   21   BY MR. KERRIGAN:                                   21       A. Because I knew he was the one who
   22      Q. When did you leave your neighborhood         22   could help me.
   23   in Cap-Haïtien because, as you say, people were    23   BY MR. KERRIGAN:
   24   calling you names?                                 24       Q. Why did you think that Cyrus Sibert
   25      A. I don't understand the question.             25   could help you?


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    1      Q. You said earlier that you left the            1      A. It's a person who has a good heart,
    2   Blue Hills area because people were calling you     2   he's very sensitive, and he -- if he can help
    3   names, correct?                                     3   you, he will find a way to help you out.
    4      A. Yes.                                          4      Q. Had you ever gone to Cyrus Sibert
    5      Q. When did you leave the area?                  5   before this with any problems?
    6      A. When they started calling me names, I         6           MR. GARABEDIAN: Objection.
    7   didn't feel well. When I had too many problems      7      A. I had spoken to him already.
    8   with it, I went to see Cyrus, and I explained it    8   BY MR. KERRIGAN:
    9   to him. He gave me a little bit of money so I       9      Q. Did you go to Cyrus Sibert because you
   10   could find a place to stay.                        10   heard that he would help people who were abused
   11      Q. When was that?                               11   by Doug Perlitz?
   12      A. I don't remember.                            12           MR. GARABEDIAN: Objection.
   13      Q. Was it before or after Project Pierre        13      A. Yes, I met him because of that,
   14   Toussaint closed?                                  14   because I was abused.
   15      A. When it had closed already, at that          15   BY MR. KERRIGAN:
   16   time, around that time, so I left the area, and    16      Q. Where did you hear that?
   17   I went to talk to him, and he gave me a little     17           MR. GARABEDIAN: Objection.
   18   bit of money so I could look for a place, and I    18      A. I didn't hear that. I don't remember.
   19   stayed there a few months.                         19   BY MR. KERRIGAN:
   20      Q. Did you go to Cyrus Sibert before or         20      Q. Did you hear it on Sibert's radio
   21   after the Haitian earthquake in 2010?              21   program?
   22          MR. GARABEDIAN: Objection.                  22      A. Just there was a guy at the Village,
   23      A. Far -- long time after that, around          23   and he was looking for people, for names, he had
   24   the period, you know, when this was becoming too   24   a list, I had put my name on that list, and we
   25   much, I went to Cyrus Sibert, and I left the       25   brought it to Cyrus.


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    1       Q. Who was the person that had the list         1      A. No.
    2   at the Village?                                     2   BY MR. KERRIGAN:
    3       A. One of the guys from the Village.            3      Q. Did you get any kind of clothes, or
    4       Q. What was his name?                           4   any kind of materials, or any gifts from Cyrus
    5       A. I don't remember his name. Jean-Gary,        5   Sibert at any time?
    6   Jean-Gary.                                          6      A. No.
    7       Q. You put your name on the list?               7      Q. Did you get anything from Cyrus Sibert
    8       A. Yes, I put my name on the list.              8   at any time other than the 300 US dollars?
    9       Q. Did you see, were there other names on       9      A. He just gave me $300 so I could find a
   10   the list?                                          10   place to sleep, to find clothes, and to find
   11       A. I wasn't looking. I just put my name.       11   food, and to go to the hospital also.
   12       Q. Do you know how many other names were       12      Q. And did you discuss your case with
   13   on the list?                                       13   Cyrus Sibert when you got the $300 from him?
   14       A. I just put my name on the list. I           14         MR. GARABEDIAN: Objection.
   15   wasn't checking.                                   15      A. No.
   16       Q. What did Jean-Gary tell you about the       16   BY MR. KERRIGAN:
   17   list?                                              17      Q. Did you tell Cyrus Sibert that you had
   18          MR. GARABEDIAN: Objection.                  18   been abused by Doug Perlitz?
   19       A. The kids who were in the Village, all       19      A. Just to tell him -- I just went to see
   20   the kids in the Village should put their name on   20   him and told him I have problems, if he could
   21   it.                                                21   help me to please help me.
   22   BY MR. KERRIGAN:                                   22      Q. Did you tell him about the problems
   23       Q. All the kids in the Village?                23   with people calling you names like Mrs. Douglas
   24       A. Yes, if you were in the Village, he         24   and faggot?
   25   didn't need to know anything else, you just put    25      A. Yeah, because I have problems with my


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    1   your name on it.                                    1   head, just problems in general because people
    2      Q. When you put your name on the list,           2   were calling me fag, Douglas's girlfriend, if he
    3   Mr. Lecenat, was that before or after PPT           3   could help me, I want to find a place to stay,
    4   closed?                                             4   to buy clothes, to find food, and also to go to
    5         MR. GARABEDIAN: Objection.                    5   the hospital because my butt was hurting at that
    6      A. It had already shut down. It wasn't           6   time.
    7   open anymore.                                       7      Q. Did you talk about anything else with
    8   BY MR. KERRIGAN:                                    8   Cyrus Sibert at the time that you asked him for
    9      Q. When you put your name on the list,           9   help?
   10   Mr. Lecenat, was that before or after the          10          MR. GARABEDIAN: Objection.
   11   Haitian earthquake?                                11      A. No.
   12      A. I don't remember.                            12   BY MR. KERRIGAN:
   13      Q. You said that Cyrus Sibert gave you          13      Q. Do you know why Cyrus Sibert would
   14   money. How much?                                   14   give you money?
   15      A. $300.                                        15          MR. GARABEDIAN: Objection.
   16      Q. United States dollars?                       16      A. Just I told him I have a problem, and
   17      A. Yes.                                         17   he helped me the best as he could.
   18      Q. Can you remember when you got that           18   BY MR. KERRIGAN:
   19   money from Cyrus Sibert?                           19      Q. Did Cyrus Sibert give money to anyone
   20      A. I just went to get it, just to get it.       20   else in Cap-Haïtien that you know about?
   21   I asked and he gave it to me.                      21      A. No, I don't know.
   22      Q. Other than the 300 US dollars, did you       22      Q. Mr. Lecenat, do you plan to stay at
   23   get any more money from Cyrus Sibert at any        23   the place where you're staying now for the
   24   time?                                              24   future?
   25         MR. GARABEDIAN: Objection.                   25          MR. GARABEDIAN: Can we take a break


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    1   when you finish?                                   1   to buy food? Yes or no.
    2          MR. KERRIGAN: Sure, let's just get an       2      A. Yes.
    3   answer.                                            3      Q. Did you use some of the money to buy
    4          MR. GARABEDIAN: Objection.                  4   clothes?
    5      A. I don't understand the question.             5      A. Yes.
    6   BY MR. KERRIGAN:                                   6      Q. Did you use some of the money to get
    7      Q. Okay. Right now you're living in a           7   hospital care?
    8   rental place in Cap-Haïtien, correct?              8      A. Yes.
    9      A. Yes, I rented it for six months.             9      Q. Why did you go to the hospital for
   10      Q. Do you plan to stay there after the         10   hospital care?
   11   six-month rental is over?                         11      A. Because my butt was hurting. Since
   12      A. Well, the place I am now, that's where      12   Douglas put his penis in my butt, from time to
   13   I should stay, because I don't have money, and    13   time my butt hurts. I've been suffering from
   14   after the six-month period is over I don't know   14   that for a long time, up until now.
   15   where I'll be staying.                            15      Q. Which hospital did you go to,
   16      Q. Mr. Lecenat, your attorney has asked        16   Mr. Lecenat?
   17   for a break, so we're going to take a brief       17      A. Justinian.
   18   break. Okay?                                      18      Q. Did you see a doctor?
   19          MR. GARABEDIAN: Thank you.                 19      A. No, a nurse. I talked to a nurse.
   20          THE VIDEOGRAPHER: Going off the            20      Q. What was the nurse's name?
   21   record. The time is 10:58.                        21      A. I don't remember.
   22          (Whereupon, a recess was taken.)           22      Q. What did you tell the nurse?
   23          THE VIDEOGRAPHER: Back on the record.      23      A. I explained to her what had happened
   24   The time is 11:13.                                24   to me. I told her it was a white guy who -- he
   25   BY MR. KERRIGAN:                                  25   promised to give me education, he took me for --


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    1      Q. Mr. Lecenat, we're back from a break,        1   to give me education so that I would become
    2   and you're still under oath. Do you understand     2   someone in the future. But that wasn't true.
    3   that?                                              3   He just wanted to put his penis in my butt. So
    4      A. Yes.                                         4   he just took me just to put his penis in my
    5      Q. Okay. Before we took the break, you          5   butt.
    6   said that Cyrus Sibert gave you 300 US dollars     6          She told me don't be discouraged, she
    7   to get things like food, clothing, and hospital    7   would help me from time to time to find some
    8   care, correct?                                     8   medication.
    9          MR. GARABEDIAN: Objection.                  9      Q. Did the nurse say anything else to
   10      A. And also to find a place to stay.           10   you?
   11   BY MR. KERRIGAN:                                  11      A. She just said "don't be discouraged,
   12      Q. Okay. Did you use that money to buy         12   don't give yourself any problems." She was
   13   food? Yes or no.                                  13   going to help me as best as she could. She
   14      A. What was more necessary for me was to       14   would give me a little bit of medication, but I
   15   find a place to stay, to sleep.                   15   don't have money to buy it, but that's what she
   16      Q. Okay. So you used the money to help         16   said.
   17   find a place to sleep, correct?                   17      Q. Did the nurse examine you?
   18      A. Find a place to sleep, find food, go        18      A. I don't understand.
   19   to the hospital, and find -- and buy clothes,     19      Q. Did the nurse look at your buttocks?
   20   some clothes.                                     20          MR. GARABEDIAN: Objection.
   21      Q. Did you use some of the money that          21      A. No, she saw me crying, and I told her
   22   Cyrus Sibert gave you to find a place to sleep?   22   my butt hurt, so she gave me some advice, and
   23   Yes or no.                                        23   she prescribed me a bunch of medicine so I could
   24      A. Yes.                                        24   find a little bit of -- I could feel better.
   25      Q. Okay. Did you use some of the money         25   BY MR. KERRIGAN:


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    1      Q. At any point -- I'm sorry.                    1           MR. GARABEDIAN: Objection.
    2          THE INTERPRETER: That's it, feel             2      A. Just the ones I could buy I bought.
    3   better.                                             3   The money wasn't enough. I just bought a few
    4      Q. At any point while you were talking to        4   pills so I could find some -- so I could feel
    5   this nurse, Mr. Lecenat, did you take your pants    5   better, some relief, so I could find some
    6   off so the nurse could look at what you claim       6   relief.
    7   was hurting?                                        7   BY MR. KERRIGAN:
    8           MR. GARABEDIAN: Objection.                  8      Q. How many pills?
    9      A. No.                                           9      A. I don't remember.
   10   BY MR. KERRIGAN:                                   10      Q. Did you take the pills?
   11      Q. Did you fill out any paperwork when          11      A. Yes, I had them.
   12   you went to the Justinian Hospital to be seen by   12      Q. How long did you take the pills for?
   13   the nurse?                                         13           MR. GARABEDIAN: Objection.
   14      A. No, I just spoke to the nurse, and she       14      A. I don't remember how long.
   15   understood.                                        15   BY MR. KERRIGAN:
   16      Q. The nurse gave you a prescription for        16      Q. Did you take the pill once a day,
   17   medication, you said. What kind of medication?     17   twice a day, three times a day, something else?
   18      A. I don't remember.                            18           MR. GARABEDIAN: Objection.
   19      Q. Did you ever get that medication?            19      A. I don't remember how long, just that I
   20      A. I don't have any money to buy the            20   took them.
   21   medication.                                        21   BY MR. KERRIGAN:
   22      Q. What about the money that Cyrus Sibert       22      Q. Did the pills help with the pain that
   23   gave you?                                          23   you were feeling in your buttocks?
   24      A. It wasn't enough.                            24      A. I felt a little bit of relief, but...
   25      Q. Did you give any of the money that you       25      Q. But what?

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    1   got from Cyrus Sibert to the nurse or to            1      A. Because up to now it still hurts.
    2   Justinian Hospital?                                 2      Q. And we'll come back to that,
    3      A. Just it could buy a little bit of the         3   Mr. Lecenat. For now, I just want to see if you
    4   medicine, but it wasn't enough to buy what I        4   had any other hospital visits apart from the
    5   needed, the ones I needed.                          5   visit you just told us all about --
    6      Q. So you spent some of the money you got        6          MR. GARABEDIAN: Objection.
    7   from Cyrus Sibert at the Justinian Hospital,        7   BY MR. KERRIGAN:
    8   correct?                                            8      Q. -- after PPT closed.
    9           MR. GARABEDIAN: Objection.                  9      A. That's the only time I went to the
   10      A. I bought medicine with some of the           10   hospital.
   11   money that Cyrus gave me, but I didn't pay the     11      Q. Mr. Lecenat, when you went to the
   12   hospital.                                          12   Justinian Hospital, was that after the Haitian
   13   BY MR. KERRIGAN:                                   13   earthquake?
   14      Q. Who did you pay for the medicine?            14          MR. GARABEDIAN: Objection.
   15      A. Just had the paper in my hand, I just        15      A. The month that just went by.
   16   went to a pharmacy, I bought the ones I could      16   BY MR. KERRIGAN:
   17   buy, and the ones I couldn't, I just left them.    17      Q. Okay.
   18      Q. Where was the pharmacy?                      18      A. Last month.
   19      A. The pharmacy inside the hospital             19      Q. So you went to the Justinian Hospital
   20   itself.                                            20   and talked to the nurse last month, is that
   21      Q. The pharmacy at Justinian Hospital?          21   correct?
   22      A. Yes.                                         22      A. Yes.
   23      Q. Were you given pills, or cream, or           23      Q. Does that mean that Cyrus Sibert gave
   24   something else from the pharmacy at Justinian      24   you the money for the hospital last month as
   25   Hospital?                                          25   well?


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    1         MR. GARABEDIAN: Objection.                    1   ball, and the police came in the area, they took
    2      A. I explained to him the problem and he         2   me in. I spent 26 days.
    3   helped me, for everything, so I could eat, find     3   BY MR. KERRIGAN:
    4   a place I could sleep, and I could go to the        4      Q. Why were you arrested?
    5   hospital, I could buy a shirt to put on,            5      A. Because of my hairdo.
    6   T-shirt.                                            6      Q. When you say you spent 26 days, do you
    7   BY MR. KERRIGAN:                                    7   mean 26 days in jail?
    8      Q. Did you get the money from Cyrus              8      A. Yes.
    9   Sibert last month?                                  9      Q. Where was the jail?
   10         MR. GARABEDIAN: Objection.                   10      A. At Cap-Haïtien.
   11      A. That's what I just said.                     11      Q. What district or area of Cap-Haïtien
   12   BY MR. KERRIGAN:                                   12   was the jail?
   13      Q. Okay. Is the shirt that you're               13          MR. GARABEDIAN: Objection.
   14   wearing today a shirt that you bought with money   14      A. Inside the city.
   15   from Cyrus Sibert?                                 15   BY MR. KERRIGAN:
   16      A. No.                                          16      Q. Do you know what street?
   17      Q. Are any of the clothes you're wearing        17      A. I don't remember.
   18   today bought with money you received from Cyrus    18      Q. Did anyone ever tell you why you were
   19   Sibert?                                            19   arrested?
   20         MR. GARABEDIAN: Objection.                   20      A. No, they never -- I never had a trial.
   21      A. Yes, the tennis shoes.                       21      Q. Did anyone tell you why you were
   22   BY MR. KERRIGAN:                                   22   arrested?
   23      Q. What brand are the tennis shoes?             23      A. No.
   24         MR. GARABEDIAN: Objection.                   24      Q. Why do you think you were arrested
   25      A. When I buy I don't look at the brands,       25   because of your hairstyle?


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    1   I just try them on, and then I buy them.            1      A. The way my hairdo made me -- that gave
    2   BY MR. KERRIGAN:                                    2   them some problems, and I spent 26 days in
    3      Q. Whatever feels comfortable?                   3   prison.
    4      A. Yeah, I buy it. It's good for me, so          4      Q. Why do you think your hairdo gave them
    5   I buy it.                                           5   problems?
    6      Q. Okay. Mr. Lecenat, does Jean-Gary             6          MR. GARABEDIAN: Objection.
    7   also use the name Schoubert Hedouville?             7      A. Because there were many of us on the
    8           MR. KERRIGAN: I'm handing a spelling        8   field, we were all playing, but there were just
    9   to the translator to help her translate.            9   three of us who had done our hair that way. But
   10      A. They call him Schoubert also.                10   there were other people there, but they took me.
   11           MR. KERRIGAN: For the record and for       11   So that's why I think they put me in jail
   12   counsel, the little sticky I handed is spelled     12   because of my hair.
   13   S-C-H-O-U-B-E-R-T, H-E-D-O-U-V-I-L-L-E.            13   BY MR. KERRIGAN:
   14           MR. GARABEDIAN: Whose handwriting is       14      Q. What do you think it was about your
   15   that?                                              15   hair that led to your being arrested?
   16           MR. FOLKMAN: It's my handwriting.          16          MR. GARABEDIAN: Objection.
   17           MR. GARABEDIAN: Attorney Folkman's?        17      A. I shaved all this part and I left that
   18           MR. FOLKMAN: Yes.                          18   part (indicating).
   19   BY MR. KERRIGAN:                                   19   BY MR. KERRIGAN:
   20      Q. Mr. Lecenat, have you ever been              20      Q. You shaved the sides of your head and
   21   arrested?                                          21   you left the hair on the top of your head there?
   22      A. Just once.                                   22      A. Yes.
   23      Q. When was that?                               23      Q. Does that kind of a haircut indicate
   24           MR. GARABEDIAN: Objection.                 24   any kind of membership maybe in a gang in
   25      A. I had just done my hair, I was playing       25   Cap-Haïtien?


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    1         MR. GARABEDIAN: Objection.                  1       A. Yes.
    2     A. I don't know. I don't know.                  2   BY MR. KERRIGAN:
    3   BY MR. KERRIGAN:                                  3       Q. It wasn't the National Police that
    4     Q. And you know nothing else about why          4   arrested you, correct?
    5   you were arrested, is that correct?               5       A. National Police?
    6     A. Just for that.                               6       Q. Military.
    7     Q. Did the police hurt you in any way           7       A. Just the Haitian Police. I don't
    8   when you were arrested?                           8   know.
    9     A. Yeah, they threw me in the car.              9       Q. Were you arrested at any other time
   10     Q. Did the police hurt you in any way          10   other than this time you just told me about?
   11   during the term of your arrest?                  11       A. No.
   12         MR. GARABEDIAN: Objection.                 12       Q. Have you ever done drugs, Mr. Lecenat?
   13     A. I don't understand.                         13           MR. GARABEDIAN: Objection.
   14   BY MR. KERRIGAN:                                 14       A. I don't understand.
   15     Q. When you were thrown in the car, as         15   BY MR. KERRIGAN:
   16   you describe it, did you hurt any part of your   16       Q. Have you ever sniffed paint thinner?
   17   body?                                            17       A. No. I drink alcohol, and I smoke
   18         MR. GARABEDIAN: Objection.                 18   cigarettes.
   19     A. Yeah, I hit myself.                         19       Q. You've never sniffed paint thinner, is
   20   BY MR. KERRIGAN:                                 20   that correct?
   21     Q. Where?                                      21       A. No. I just drink alcohol. Because of
   22     A. Inside the car when they threw me in.       22   the sexual abuse that Douglas did on me, I just
   23     Q. I'm sorry.                                  23   feel I have to smoke and drink alcohol to find a
   24         What part of the body hit the car?         24   little bit of relief, and to drop my body
   25     A. My back.                                    25   somewhere, so that sleep takes me away and I

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    1      Q. Did you hurt any other part of your         1   don't think.
    2   body when you were thrown in the car?             2      Q. At any point in your life,
    3      A. No, the way I fell, I fell on my back.      3   Mr. Lecenat, have you sniffed paint thinner?
    4      Q. Were you abused in any way while you        4          MR. GARABEDIAN: Objection.
    5   were in jail for 26 days?                         5      A. No, since Douglas put his penis in my
    6          MR. GARABEDIAN: Objection.                 6   butt, then I feel -- then I started drinking
    7      A. They just arrested me.                      7   alcohol, local alcohol, kleren, and smoking
    8   BY MR. KERRIGAN:                                  8   cigarettes, and I think about -- sometimes about
    9      Q. Were you fed each day you were in jail      9   just jumping in the sea so I don't think.
   10   for those 26 days?                               10   BY MR. KERRIGAN:
   11          MR. GARABEDIAN: Objection.                11      Q. Mr. Lecenat, I'm going to ask you the
   12      A. They give you food twice a day, but        12   question again, and I'm just going to ask you to
   13   bad food.                                        13   listen to just my question and try to answer
   14   BY MR. KERRIGAN:                                 14   just my question as best you can. Okay?
   15      Q. Did you fill out or sign any paperwork     15      A. Could you allow me to answer the
   16   in connection with your arrest?                  16   questions the way I do?
   17          MR. GARABEDIAN: Objection.                17      Q. Absolutely.
   18      A. No.                                        18          And the question is, at any point in
   19   BY MR. KERRIGAN:                                 19   your life, have you sniffed paint thinner?
   20      Q. Did you know the names of the officers     20          MR. GARABEDIAN: Objection.
   21   who arrested you?                                21      A. No.
   22      A. No.                                        22   BY MR. KERRIGAN:
   23      Q. Was it Cap-Haïtien police that             23      Q. Okay. Thank you.
   24   arrested you?                                    24          Do you know what marijuana is?
   25          MR. GARABEDIAN: Objection.                25      A. I don't know what it is. I don't


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    1   understand.                                        1      A. Wash dishes, sweep the floor with a
    2      Q. Do you know what Cocaine is?                 2   mop and with a broom.
    3      A. No, I don't know.                            3      Q. Did you do any other chores at the
    4      Q. Do you know what heroin is?                  4   Village?
    5      A. I don't know.                                5      A. Yes. Wash cooking pots, and all these
    6      Q. Apart from the alcohol and smoking           6   things I used to do.
    7   cigarettes, have you taken any other kind of       7      Q. Did you have any other job at any
    8   alcohol or drugs that you haven't mentioned?       8   point in your life besides the job at the
    9          MR. GARABEDIAN: Objection.                  9   Village?
   10      A. Just local alcohol and cigarettes.          10      A. No.
   11   BY MR. KERRIGAN:                                  11      Q. When you were working at the Village,
   12      Q. What kind of alcohol?                       12   who paid you the 50 gourdes every Saturday?
   13      A. Kleren, Haitian alcohol.                    13      A. Robenson was in charge of the money,
   14      Q. What is Haitian alcohol?                    14   so he was the one who gave me the money.
   15      A. With sugarcane.                             15      Q. Was Robenson in charge of the Village?
   16      Q. Do you purchase that alcohol?               16      A. After Douglas, he was the one.
   17      A. Yes, I drink it a lot.                      17      Q. What did you call Robenson when he was
   18      Q. And you have to buy it, correct?            18   working at the Village?
   19          MR. GARABEDIAN: Objection.                 19          MR. GARABEDIAN: Objection.
   20      A. Why do I have to buy this is because I      20      A. Master Robenson.
   21   don't get respect. Since Douglas did that to      21   BY MR. KERRIGAN:
   22   me, I feel that I need to drink alcohol and       22      Q. Okay. And as you understood it, at
   23   smoke cigarettes. It's because this dominates     23   the Village, Doug was in charge and Master
   24   me. I can't walk in the streets, people there     24   Robenson was under Doug, is that correct?
   25   disrespect me. I have no value in this society.   25          MR. GARABEDIAN: Objection.


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    1   BY MR. KERRIGAN:                                   1     A. Yes.
    2      Q. Mr. Lecenat, when did you start              2   BY MR. KERRIGAN:
    3   drinking alcohol?                                  3     Q. Mr. Lecenat, when did you first go to
    4      A. Ever since Douglas abused me, he put         4   school as a young child?
    5   his penis in my butt.                              5     A. In 13th Street.
    6      Q. When did you start smoking?                  6     Q. Okay. Was 13th Street the first time
    7      A. Since Douglas put his penis in my            7   you had ever gone to school?
    8   butt.                                              8     A. Yes, it was the first time.
    9      Q. You never drank or smoked before?            9     Q. Okay. Now, Mr. Lecenat, you and I
   10      A. No, I never drank or smoked before          10   have been using certain names like Project
   11   that.                                             11   Pierre Toussaint and PPT. Do you understand
   12      Q. Mr. Lecenat, are you employed? Do you       12   when I say "PPT," I'm talking about Project
   13   have a job?                                       13   Pierre Toussaint?
   14      A. No.                                         14         MR. GARABEDIAN: Objection.
   15      Q. Have you ever had a job?                    15     A. Yes.
   16      A. No. When I go look for a job, they          16   BY MR. KERRIGAN:
   17   tell me I'm a fag, I stick around where fags      17     Q. Okay. Was 13th Street a part of PPT?
   18   are, so I feel humiliated. I have no value.       18     A. Yes.
   19      Q. Did you ever have a job before you          19     Q. How did you hear about 13th Street?
   20   were abused by Mr. Perlitz?                       20     A. Because I went by there, I went there,
   21      A. Yeah, I used to be in the Village and       21   and they sent me to PPT.
   22   I used to work there, they used to give me 50     22     Q. Who sent you to PPT?
   23   gourdes every Saturday when I was at the          23     A. People in charge.
   24   Village.                                          24     Q. How did you first hear about PPT?
   25      Q. For doing what?                             25     A. When they sent me there.


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    1      Q. Did your grandparents send you to PPT?        1      A. 2002, from 2002 to 2003.
    2      A. No.                                           2      Q. Thank you.
    3      Q. Who sent you to PPT?                          3          At the 13th Street Center, tell me
    4      A. I was in 13th Street, my behavior,            4   what daily routine was, the daily activities
    5   they sent me to PPT.                                5   there.
    6      Q. How did you hear about 13th Street            6          MR. GARABEDIAN: Objection.
    7   Center?                                             7      A. You're talking about 13th Street?
    8      A. I was in the streets, I would always          8   BY MR. KERRIGAN:
    9   go by. Yes.                                         9      Q. That's correct.
   10      Q. When you first heard about the 13th          10      A. Well, we used to play ball. In the
   11   Street Center, Mr. Lecenat, how old were you?      11   morning we used to take a shower, to wash, to
   12          MR. GARABEDIAN: Objection.                  12   eat, around 11:00 o'clock we ate, at noon, then
   13      A. I don't remember.                            13   we went to school.
   14   BY MR. KERRIGAN:                                   14      Q. What time in the morning would you
   15      Q. When did you first go to the 13th            15   arrive usually at 13th Street Center?
   16   Street Center?                                     16      A. 5:00 a.m., 9, 8, 10.
   17      A. I don't understand the question.             17      Q. Sometime in the morning?
   18      Q. When you first went to the 13th Street       18      A. Yes, in the morning. In the morning
   19   Center, how old were you?                          19   when I come by foot.
   20      A. I don't remember.                            20      Q. When you came in the morning to the
   21      Q. When you were living in the street           21   13th Street Center, would somebody let you in by
   22   before going to the 13th Street Center,            22   opening the gate?
   23   Mr. Lecenat, what was it like living in the        23      A. Yes, there was a security guard.
   24   street? Describe that for us, please.              24      Q. What was his name?
   25          MR. GARABEDIAN: Objection.                  25      A. I don't remember his name.


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    1      A. I was in the streets. I was with a            1      Q. Did you have any kind of an
    2   group of children all together, and sometimes we    2   identification card to get into 13th Street?
    3   slept in the streets, I slept in the street.        3      A. No.
    4   One day I went by the gate, and they let us go      4      Q. Did you give your name or any
    5   in, inside. There were a bunch of children in       5   information to the people at 13th Street?
    6   there, so I went there every day, that's how --     6      A. They knew my name.
    7   that's how it was.                                  7      Q. Did you give them your name?
    8   BY MR. KERRIGAN:                                    8      A. I told them my name.
    9      Q. Do you -- strike that.                        9      Q. Did you give them the name Geffrard
   10          Who did you hang out with on the            10   Lecenat?
   11   streets back then? What were the names?            11      A. Yes.
   12          MR. GARABEDIAN: Objection.                  12      Q. Did you give the people at 13th Street
   13      A. I don't remember their names.                13   any other name at any time?
   14   BY MR. KERRIGAN:                                   14      A. Geffrard Lecenat, that's how -- that
   15      Q. When you first went to 13th Street           15   was my name.
   16   after the gate was opened for you, how long did    16      Q. After the security guard let you into
   17   you attend 13th Street Center?                     17   the 13th Street Center, usually, usually,
   18      A. 2002, 2003.                                  18   Mr. Lecenat, what would you do?
   19      Q. Okay.                                        19          MR. GARABEDIAN: Objection.
   20      A. To 2003.                                     20   BY MR. KERRIGAN:
   21      Q. And how old would you have been in           21      Q. What would be next?
   22   2002 or 2003?                                      22      A. When I went inside, then I went to
   23      A. I don't remember. I don't remember.          23   wash, I went to wash, and then after -- and then
   24      Q. Okay. Is it correct that you began           24   I went to eat breakfast, and then I went to play
   25   going to 13th Street Center in about 2002?         25   football. At 11 they gave us food again, and at


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    1   noon I went to school.                              1      Q. Would she teach you history?
    2      Q. Were you given a uniform to wear at           2      A. Yes.
    3   13th Street Center?                                 3      Q. Would she teach you religion?
    4          MR. GARABEDIAN: Objection.                   4      A. Yes.
    5      A. Yes, pants, short -- shorts, blue             5      Q. What else would she teach you?
    6   shorts and a red T-shirt.                           6         MR. GARABEDIAN: Objection.
    7   BY MR. KERRIGAN:                                    7      A. The things I just said.
    8      Q. Did you have a locker?                        8   BY MR. KERRIGAN:
    9      A. No, they were all piled up together.          9      Q. Anything else?
   10   When you get there, just take one when school is   10      A. What you said.
   11   -- when there's school.                            11      Q. Did you have any other teachers at the
   12      Q. When you came to the 13th Street             12   13th Street Center apart from Ms. Merline?
   13   Center on any given day, would you be searched     13      A. Ms. Margarita, she was teaching the
   14   by security?                                       14   second year students.
   15      A. Yes, he used to search me to see if I        15      Q. Were you ever a second year student?
   16   have any blades.                                   16      A. Yes.
   17      Q. Did security ever find any blades on         17      Q. Did you stay back and do the first
   18   you?                                               18   year twice?
   19      A. No.                                          19         MR. GARABEDIAN: Objection.
   20      Q. Did security ever take any weapons           20      A. I did the second year, but the way
   21   from you?                                          21   they were working with me wasn't correct, so I
   22      A. No.                                          22   did again the first year at the Village.
   23      Q. Did security ever take any drugs from        23   BY MR. KERRIGAN:
   24   you?                                               24      Q. Okay. Tell me what Madam Margarita
   25      A. No.                                          25   taught you in your second year at the 13th

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    1      Q. After you ate lunch at the 13th Street        1   Street Center.
    2   Center, usually what would you do next?             2      A. Same thing, she taught all subjects.
    3      A. At noon I went to school.                     3      Q. The same subjects as Ms. Merline
    4      Q. What did you study at school?                 4   taught you?
    5         MR. GARABEDIAN: Objection.                    5      A. Yes, she did all of them.
    6      A. What I used to learn? Education.              6      Q. Did you have any other teachers at the
    7   BY MR. KERRIGAN:                                    7   13th Street Center?
    8      Q. What subjects?                                8          MR. GARABEDIAN: Objection.
    9         MR. GARABEDIAN: Objection.                    9      A. I don't remember their names. There
   10      A. Ms. Merline in first year used to            10   were many, but I don't remember their names.
   11   teach us every subject.                            11   BY MR. KERRIGAN:
   12   BY MR. KERRIGAN:                                   12      Q. Okay. Were these other teachers
   13      Q. Which subjects would Madam Merline           13   Haitian teachers?
   14   teach you?                                         14      A. Yes.
   15         MR. GARABEDIAN: Objection.                   15      Q. How many other Haitian teachers were
   16      A. All first year books, those ones.            16   there?
   17   BY MR. KERRIGAN:                                   17      A. I don't remember.
   18      Q. Would she teach you math?                    18      Q. Were all the classes taught in Creole?
   19      A. Everything.                                  19      A. I don't understand.
   20      Q. Would she teach you English?                 20      Q. When you were taking classes at the
   21      A. No.                                          21   13th Street Center, you only spoke Creole,
   22      Q. Would she teach you Creole?                  22   correct, Mr. Lecenat?
   23      A. Yes.                                         23      A. All the subjects.
   24      Q. Would she teach you science?                 24      Q. When you spoke to your teachers at the
   25      A. Yes.                                         25   13th Street Center and they spoke to you, you


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    1   all spoke in Creole, correct?                       1   him it was Andy. Douglas always came by.
    2      A. Yes.                                          2   BY MR. KERRIGAN:
    3      Q. There was no English spoken there?            3     Q. How often would Douglas Perlitz come
    4      A. No.                                           4   by the 13th Street Center?
    5      Q. Were there any members of the staff at        5      A. I don't remember.
    6   the 13th Street Center that you can remember,       6     Q. Would Douglas visit the 13th Street
    7   apart from the teachers that you told us about?     7   Center every day?
    8      A. Yes, there was Andy. Andy was there.          8      A. I don't remember.
    9      Q. Who was Andy?                                 9     Q. Was it your understanding,
   10      A. A white guy.                                 10   Mr. Lecenat, that Douglas was in charge of 13th
   11      Q. What did Andy do at 13th Street              11   Street and Andy was underneath Douglas?
   12   Center?                                            12          MR. GARABEDIAN: Objection.
   13      A. He was in charge.                            13      A. Yes. Yes, it was the same project.
   14      Q. Was he American?                             14   BY MR. KERRIGAN:
   15      A. Yes.                                         15      Q. Were there rules at the 13th Street
   16      Q. Were there any other white people at         16   Center?
   17   the 13th Street Center that you saw when you       17          MR. GARABEDIAN: Objection.
   18   were there who worked at 13th Street Center?       18      A. Yeah, there were principles. There's
   19          MR. GARABEDIAN: Objection.                  19   nowhere where you don't have principles.
   20      A. There were other white people, but I         20   BY MR. KERRIGAN:
   21   don't remember.                                    21      Q. Who made the rules or principles at
   22   BY MR. KERRIGAN:                                   22   the 13th Street Center?
   23      Q. Did Andy speak Creole?                       23     A. Teachers, they always made principles
   24      A. Yes, a lot.                                  24   on how -- on how we were supposed to behave.
   25      Q. Were there any other staff at the 13th       25     Q. Did anyone else visit the 13th Street

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    1   Street Center that you can remember?                1   Center while you were there apart from Doug
    2          MR. GARABEDIAN: Objection.                   2   Perlitz?
    3      A. I don't remember their names.                 3          MR. GARABEDIAN: Objection.
    4   BY MR. KERRIGAN:                                    4      A. Douglas used to come by often.
    5      Q. Did you have any friends at the 13th          5   BY MR. KERRIGAN:
    6   Street Center?                                      6      Q. Did you ever talk to Douglas when he
    7      A. Yeah, all the kids inside were my             7   visited the 13th Street Center?
    8   friends. We were all in the same place.             8      A. No.
    9      Q. What are the names of your friends at         9      Q. Did Douglas speak Creole?
   10   the 13th Street Center?                            10      A. A lot.
   11      A. I don't remember their names. I don't        11      Q. Did Douglas ever speak to the students
   12   remember.                                          12   at the 13th Street Center as a group?
   13      Q. Do you remember the names of any of          13      A. I don't know if he did when I wasn't
   14   your friends at the 13th Street Center?            14   there, but he didn't used to do that.
   15      A. I don't remember them.                       15      Q. What did you see Doug doing when he
   16      Q. Do you stay in touch with any of your        16   visited the 13th Street Center?
   17   friends from the 13th Street Center today?         17          MR. GARABEDIAN: Objection.
   18          MR. GARABEDIAN: Objection.                  18      A. When he used to come, I wasn't looking
   19      A. No.                                          19   at him.
   20   BY MR. KERRIGAN:                                   20   BY MR. KERRIGAN:
   21      Q. Mr. Lecenat, when you were at the 13th       21      Q. So you don't know what Douglas Perlitz
   22   Street Center between 2002 or 2003, did you ever   22   did when he visited the 13th Street Center, is
   23   see any visitors come to the 13th Street Center?   23   that correct?
   24          MR. GARABEDIAN: Objection.                  24      A. I don't know. I don't know.
   25      A. Douglas came by often, because after         25      Q. Apart from Douglas, did you ever see


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    1   anyone else visit the 13th Street Center while      1     Q. Okay. And, Mr. Lecenat, the white
    2   you were there?                                     2   people that you saw at the 13th Street Center
    3      A. I already said I didn't, no.                  3   were Douglas Perlitz, Andy, Nicholas, and
    4      Q. Okay.                                         4   another Nicholas, and those are the only names
    5          THE INTERPRETER: I didn't, no.               5   that you know, is that correct?
    6      Q. Apart from Douglas Perlitz, did you           6         MR. GARABEDIAN: Objection.
    7   see any other white people visit the 13th Street    7     A. I told you, these are the people I
    8   Center?                                             8   used to see.
    9          MR. GARABEDIAN: Objection.                   9   BY MR. KERRIGAN:
   10      A. No, just the Village, when I was at          10     Q. And you don't remember seeing any
   11   PPT I used to see white people. There were         11   other white people at 13th Street, correct?
   12   white people, I used to see them.                  12         MR. GARABEDIAN: Objection.
   13   BY MR. KERRIGAN:                                   13     A. It's Douglas I used to see. But there
   14      Q. Okay. We'll get to the Village in a          14   are other people, a bunch of other people, but
   15   minute. Stay with me on 13th Street Center.        15   maybe I wasn't going on that day, it's only
   16          Is it correct to say that you never         16   Douglas that I saw.
   17   saw any other white people visit the 13th Street   17   BY MR. KERRIGAN:
   18   Center other than Douglas?                         18     Q. Okay. When you finished your classes
   19          MR. GARABEDIAN: Objection.                  19   on a regular day at 13th Street Center, what
   20      A. I told you, when I'm there, I was used       20   would you do at that point?
   21   to seeing Douglas. I don't know when I was not     21         MR. GARABEDIAN: Objection.
   22   there. But I was used to seeing Douglas.           22     A. I went back home.
   23   BY MR. KERRIGAN:                                   23   BY MR. KERRIGAN:
   24      Q. Sure. And I'm asking you only what           24     Q. About what time would you go home on
   25   you saw when you were there, Mr. Lecenat.          25   the average day?

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    1          Apart from Douglas, did you ever see         1      A. Around four to five.
    2   any white people visit the 13th Street Center?      2      Q. Would you get a meal before you went
    3      A. I just -- I answered the question             3   home?
    4   already.                                            4      A. Yes.
    5      Q. Okay. And the answer is you did not           5      Q. And you'd sleep at the house in Blue
    6   see any white people other than Doug Perlitz at     6   Hills?
    7   the 13th Street Center, correct?                    7          MR. GARABEDIAN: Objection.
    8          MR. GARABEDIAN: Objection. Visiting?         8      A. Yes.
    9      A. Besides Andy, Douglas, and the white          9   BY MR. KERRIGAN:
   10   people who were already there, I've never seen     10      Q. Now, at some point you moved from the
   11   any other white person visit.                      11   13th Street Center to the Village, is that
   12   BY MR. KERRIGAN:                                   12   correct?
   13      Q. Okay. Thank you. Visit 13th Street,          13      A. I didn't decide to leave. They sent
   14   is that correct?                                   14   me to the Village, the teachers sent me to the
   15      A. No.                                          15   Village.
   16      Q. So just to finish up, Mr. Lecenat, the       16      Q. Did the teachers decide that it was
   17   only white people that you ever saw at the 13th    17   time for you to go to the Village at some point?
   18   Street Center were Douglas, correct? Andy?         18      A. Yeah, Andy, you know, once they see
   19      A. There's a white guy Nicholas. There          19   the way you behave, your behavior, then they
   20   were a lot of white guys, but I don't remember     20   send you to the Village.
   21   their name.                                        21      Q. Do you believe that Andy chose you to
   22      Q. Okay. Well, you just gave us a new           22   go to the Village?
   23   name, Nicholas. Thank you.                         23          MR. GARABEDIAN: Objection.
   24      A. There were two Nicholases. I knew the        24      A. It's not only Andy. They got together
   25   first one.                                         25   and they made an account, and they decided the


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    1   people who were going, and I was among them.        1   Street Center?
    2   BY MR. KERRIGAN:                                    2          MR. GARABEDIAN: Objection.
    3      Q. Do you know anyone else who decided           3      A. No.
    4   that it was time for you to go to the Village?      4   BY MR. KERRIGAN:
    5      A. I don't remember.                             5      Q. Everything was free?
    6      Q. Were you a good student at the 13th           6      A. Yes.
    7   Street Center?                                      7      Q. You felt safe at the 13th Street
    8           MR. GARABEDIAN: Objection.                  8   Center?
    9      A. It was -- it was a good school.               9      A. It wasn't too bad.
   10   BY MR. KERRIGAN:                                   10     Q. Did you ever complain about safety
   11      Q. Were you happy at the 13th Street            11   when you were at the 13th Street Center?
   12   Center?                                            12          MR. GARABEDIAN: Objection.
   13           MR. GARABEDIAN: Objection.                 13     A. I don't understand.
   14      A. I don't understand.                          14   BY MR. KERRIGAN:
   15   BY MR. KERRIGAN:                                   15      Q. Were you ever afraid when you were at
   16      Q. Was the 13th Street Center a good,           16   the 13th Street Center?
   17   safe place for you to go during the day, and get   17          MR. GARABEDIAN: Objection.
   18   meals, and play games?                             18      A. Afraid of what?
   19           MR. GARABEDIAN: Objection.                 19   BY MR. KERRIGAN:
   20      A. Yes, but before it was the best place        20      Q. Afraid that someone might hurt you at
   21   for me. But with regards to the sufferings that    21   the 13th Street Center.
   22   I am enduring right now, it was the worst place    22          MR. GARABEDIAN: Objection.
   23   for me to go.                                      23      A. No.
   24   BY MR. KERRIGAN:                                   24   BY MR. KERRIGAN:
   25      Q. At the time you were at 13th Street          25      Q. When did you first go to the Village,

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    1   Center, Mr. Lecenat, before you were ever           1   Mr. Lecenat?
    2   abused, you enjoyed your time there, isn't that     2          MR. GARABEDIAN: Do you want to take a
    3   right?                                              3   break for lunch now?
    4          MR. GARABEDIAN: Objection.                   4     A. 2004 to 2005.
    5      A. It wasn't really a nice time because I        5          MR. KERRIGAN: I'm content to do
    6   would go back home on foot, and I had so many       6   whatever the witness and counsel want to do.
    7   troubles before I finally got to my house.          7          MR. GARABEDIAN: Let's take a break
    8   BY MR. KERRIGAN:                                    8   for lunch.
    9      Q. And the troubles you had were from the        9          THE VIDEOGRAPHER: Going off the
   10   street, correct?                                   10   record. The time is 12:28.
   11      A. Yeah, I saw that day after day I would       11          (Whereupon, a luncheon recess was
   12   go back home, and every morning I would go back    12          taken.)
   13   to 13th Street.                                    13
   14      Q. And 13th Street was a good place for         14
   15   you to be at that time, right?                     15
   16          MR. GARABEDIAN: Objection.                  16
   17      A. That was a place I spent my days.            17
   18   BY MR. KERRIGAN:                                   18
   19      Q. And the people there were good people        19
   20   helping you?                                       20
   21          MR. GARABEDIAN: Objection.                  21
   22      A. They were good people in there.              22
   23   BY MR. KERRIGAN:                                   23
   24      Q. When did you first -- strike that.           24
   25          Did you pay any money to go to 13th         25


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    1        AFTERNOON SESSION                            1      Q. And those were the reasons why you
    2                                                     2   went to 13th Street, correct?
    3          THE VIDEOGRAPHER: Back on the record.      3         MR. GARABEDIAN: Objection.
    4   The time is 1:31.                                 4      A. Yes, for these reasons.
    5   BY MR. KERRIGAN:                                  5   BY MR. KERRIGAN:
    6      Q. Mr. Lecenat, we are back from a break,      6      Q. Thank you.
    7   and we are going to continue --                   7         Now, just before we left for our
    8          THE INTERPRETER: Can we wait just one      8   lunch, Mr. Lecenat, you had told us that you
    9   minute, please?                                   9   were selected to go to the Village, correct?
   10          MR. KERRIGAN: Oh, sure, sure.             10      A. That's not the question you asked me.
   11          (Pause.)                                  11   You asked me when, what year I went to the
   12          THE INTERPRETER: Okay.                    12   Village.
   13   BY MR. KERRIGAN:                                 13      Q. You have a good memory.
   14      Q. Mr. Lecenat, we are back from our          14         Do you recall the year you went to the
   15   lunch break, and we're going to continue with    15   Village?
   16   your deposition.                                 16         MR. GARABEDIAN: Objection.
   17          You are still under oath. Do you          17      A. 2004 to 2005.
   18   understand that?                                 18   BY MR. KERRIGAN:
   19      A. Yes.                                       19      Q. Okay. Mr. Lecenat, was it the
   20      Q. Okay. Thank you.                           20   teachers and Andy at 13th Street that selected
   21          Mr. Lecenat, when you went to school      21   you to go to the Village?
   22   at the 13th Street Center, you went there        22         MR. GARABEDIAN: Objection.
   23   because you got food, you got some schooling,    23      A. Yes.
   24   you got some education, you got to play games,   24   BY MR. KERRIGAN:
   25   is that correct?                                 25      Q. When you were at the 13th Street

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    1          MR. GARABEDIAN: Objection.                 1   Center, did you have a good relationship with
    2      A. Yes.                                        2   your teachers and with Andy?
    3   BY MR. KERRIGAN:                                  3         MR. GARABEDIAN: Objection.
    4      Q. Was there any other reason that you         4      A. I don't understand.
    5   went to 13th Street Center?                       5   BY MR. KERRIGAN:
    6      A. It's because I didn't find anyone to        6      Q. Did you get along with -- were you
    7   help me out. I was in dire need, so I found       7   friends with your teachers at the 13th Street
    8   people -- I found that place, so I just went.     8   Center?
    9      Q. And the reasons that I mentioned were       9      A. Yes.
   10   the reasons why you went to 13th Street?         10      Q. Could you talk to the teachers about
   11          MR. GARABEDIAN: Objection.                11   any issues or problems you were having?
   12      A. Can you tell them -- say again the         12      A. I was at ease with them.
   13   reasons?                                         13      Q. Did you have different teachers when
   14   BY MR. KERRIGAN:                                 14   you went to the Village?
   15      Q. Yes, I can.                                15         MR. GARABEDIAN: Objection.
   16          You went to 13th Street because you       16      A. Other teachers.
   17   got to play games, correct?                      17   BY MR. KERRIGAN:
   18      A. I used to play there, yes.                 18      Q. Can you tell me, please, is the
   19      Q. And you went to 13th Street because        19   Village part of PPT, or was it part of PPT when
   20   you wanted to get some education, is that        20   you were there?
   21   correct?                                         21         MR. GARABEDIAN: Objection.
   22      A. Yes.                                       22      A. I don't understand the question.
   23      Q. And you went to 13th Street because        23   BY MR. KERRIGAN:
   24   you wanted to get some food?                     24      Q. In 2004 and 2005 when you went to the
   25      A. Yes.                                       25   Village, was that part of PPT?


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    1      A. Yeah, it's the same, Village and PPT.        1   remember, but I don't know all, I don't remember
    2      Q. Okay. Is PPT -- strike that.                 2   all.
    3          Is the Village located somewhere            3      Q. Was there a fence around the Village
    4   different from the 13th Street Center?             4   when you were there?
    5          MR. GARABEDIAN: Objection.                  5      A. Yes.
    6      A. Somewhere else.                              6      Q. What kind of fence?
    7   BY MR. KERRIGAN:                                   7      A. A big fence with blocks.
    8      Q. Where was the Village located?               8      Q. What were the blocks made of?
    9      A. Blue Hills.                                  9      A. I don't know.
   10      Q. How far is that from 13th Street            10      Q. How tall was the fence?
   11   Center?                                           11         MR. GARABEDIAN: Objection.
   12          MR. GARABEDIAN: Objection.                 12      A. It was high.
   13      A. I don't know. A good distance.              13   BY MR. KERRIGAN:
   14   BY MR. KERRIGAN:                                  14      Q. Taller than you?
   15      Q. Can you please describe the Village         15         MR. GARABEDIAN: Objection.
   16   for us? What did it look like when you were       16      A. Yes.
   17   there?                                            17   BY MR. KERRIGAN:
   18          MR. GARABEDIAN: Objection.                 18      Q. When you started going to the Village,
   19      A. I can't describe.                           19   did you go to any one of the buildings that you
   20   BY MR. KERRIGAN:                                  20   mentioned to us?
   21      Q. Can you describe anything about the         21         MR. GARABEDIAN: Objection.
   22   Village, whether it had any trees, any            22      A. I don't remember.
   23   buildings, any gardens, any football fields?      23   BY MR. KERRIGAN:
   24      A. Yes, there were houses, there was a         24      Q. What color were the buildings at the
   25   soccer field, a basketball court, and a lot of    25   Village when you were there?


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    1   trees, and there were gardens also.                1      A. I don't remember.
    2      Q. Was there anything else at the Village       2      Q. Who were your teachers at the Village?
    3   that you remember regarding things like            3      A. So I have Mémé, Daniel, Judex,
    4   buildings and gardens, anything that was around    4   Patrice, and Ms. Nelta.
    5   the Village?                                       5      Q. That's five teachers. Do you remember
    6          MR. GARABEDIAN: Objection.                  6   any more teachers that you had at the Village?
    7      A. Just -- I just know that all these           7      A. I don't remember the other ones.
    8   things were in there.                              8      Q. Okay. Let's start with Daniel. What
    9   BY MR. KERRIGAN:                                   9   did he teach you?
   10      Q. How many buildings were in the              10      A. French.
   11   Village?                                          11      Q. Was Daniel Haitian?
   12      A. A lot of houses. I don't remember.          12      A. Yes.
   13      Q. Were there any offices at the Village       13      Q. Did he teach anything else?
   14   when you were there?                              14      A. No.
   15      A. Yeah, there were offices.                   15      Q. What grade did Daniel teach?
   16      Q. Was there any kind of a church there?       16      A. All classes. He used to go in all
   17      A. A chapel.                                   17   classes, that's how he did.
   18      Q. Were there any schools there?               18      Q. When you had Daniel, what class were
   19      A. Yes.                                        19   you in? What grade, first, second, third,
   20      Q. How many school buildings were there?       20   fourth?
   21      A. I don't remember.                           21      A. In third, but he was in all classes.
   22      Q. How many houses were there?                 22      Q. How about Madam Nelta, was she
   23      A. Houses inside the Village itself?           23   Haitian?
   24      Q. That's correct.                             24      A. Yes, Haitian.
   25      A. There were houses in there, I               25      Q. What did she teach you?


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    1      A. Grammar.                                 1   teachers you had?
    2      Q. What grade were you in when Madam        2      A. I don't remember.
    3   Nelta taught you?                              3      Q. Judex is a man, correct?
    4      A. She taught all classes.                  4      A. Yes.
    5      Q. What grade were you in when Ms. Nelta    5      Q. Did you have any white teachers, white
    6   taught you?                                    6   skinned teachers at the Village?
    7      A. Third. But also in second, she went      7         MR. GARABEDIAN: Objection.
    8   to all classes.                                8      A. No.
    9      Q. And how about Mémé, what did Mémé        9   BY MR. KERRIGAN:
   10   teach you?                                    10      Q. Did you receive any kind of a report
   11      A. Creole.                                 11   card for your classes at the Village?
   12      Q. Was Mémé Haitian?                       12         MR. GARABEDIAN: Objection.
   13      A. Yes.                                    13      A. Yeah, I did receive a report card.
   14      Q. What grade were you in when Mémé        14   BY MR. KERRIGAN:
   15   taught you?                                   15      Q. How often would you receive report
   16      A. Third. All classes.                     16   cards for your classes?
   17      Q. So all grades?                          17      A. In all classes I went to. After exams
   18          MR. GARABEDIAN: Objection.             18   they gave us a report card.
   19      A. All classes. She was teaching Creole.   19      Q. Would you have exams one time per
   20   BY MR. KERRIGAN:                              20   year?
   21      Q. How about Patrice, what did Patrice     21      A. Just I had exams, and then they gave
   22   teach you?                                    22   me a report card.
   23      A. Social sciences.                        23      Q. What would you do with the report card
   24      Q. Is Patrice a man?                       24   when you got it?
   25      A. Yes.                                    25      A. Just looked at the grades to give it

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    1      Q. What grade were you in when Patrice      1   back, I just look at the average and gave it
    2   taught you social sciences?                    2   back.
    3      A. He was doing social sciences in all      3      Q. Were you a good student at the
    4   classes.                                       4   Village?
    5      Q. And last, Judex, what did Judex teach    5      A. Not too bad.
    6   you?                                           6      Q. Did you get into any trouble at the
    7      A. Experimental science.                    7   Village?
    8      Q. Is Judex Haitian?                        8         MR. GARABEDIAN: Objection.
    9      A. Yes.                                     9      A. I don't understand.
   10      Q. What grade were you in when Judex       10   BY MR. KERRIGAN:
   11   taught you?                                   11      Q. Were you ever punished at the Village?
   12      A. He was the experimental science         12      A. Yes.
   13   teacher. He taught all classes.               13      Q. How many times?
   14      Q. Can you remember any of your other      14      A. I don't remember how many.
   15   teachers at the Village, Mr. Lecenat?         15      Q. What were you punished for?
   16      A. I don't remember. I don't remember      16      A. If I got into a fight with somebody
   17   their names.                                  17   else.
   18      Q. You did have other teachers, though?    18      Q. How often would you get into fights
   19          MR. GARABEDIAN: Objection.             19   with other people at the Village?
   20      A. There were other ones, but I don't      20      A. I don't remember.
   21   remember. I don't remember.                   21      Q. Less than ten times?
   22   BY MR. KERRIGAN:                              22      A. I don't remember. I don't remember.
   23      Q. Were your other teachers Haitian?       23      Q. Were you punished at the Village for
   24      A. Yes. Haitians.                          24   anything other than fighting?
   25      Q. Do you remember how many other          25      A. When I didn't know my -- the course


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    1   material.                                          1      Q. What time would you arrive at the
    2      Q. When you were punished for fighting,         2   Village in the morning?
    3   what was the punishment?                           3      A. 7:00 o'clock.
    4      A. I had to do field work, agricultural,        4      Q. Was there a gate or security that you
    5   to take out weeds.                                 5   had to go through to get into the Village?
    6      Q. Did you do the field work at the             6      A. Yes.
    7   Village?                                           7      Q. Would you be searched?
    8      A. I don't understand.                          8      A. No.
    9      Q. When you were punished and had to do         9      Q. After you arrived at the Village on an
   10   weeding or agricultural work, was that work at    10   average day, what would you do after you came
   11   the Village?                                      11   through the gate?
   12          MR. GARABEDIAN: Objection.                 12          MR. GARABEDIAN: Objection.
   13      A. Yes, inside the Village.                    13      A. I would go in, I would eat, they would
   14   BY MR. KERRIGAN:                                  14   ring the bell for school to start, I would raise
   15      Q. Who punished you?                           15   the flag, and I would go to school.
   16      A. The teachers.                               16   BY MR. KERRIGAN:
   17      Q. So the teachers gave out punishments?       17      Q. Would there be time for you to play
   18          MR. GARABEDIAN: Objection.                 18   games during the day?
   19      A. Yeah.                                       19      A. I have a little bit of time.
   20   BY MR. KERRIGAN:                                  20      Q. How many times a day would you eat at
   21      Q. Did the teachers also handle                21   the Village?
   22   discipline at the Village?                        22      A. Three times.
   23      A. Yes.                                        23      Q. What times would you eat?
   24      Q. Did the teachers also manage all of         24      A. Morning, noon, and afternoon.
   25   the students at the Village?                      25      Q. At what time would the school day end

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    1          MR. GARABEDIAN: Objection.                  1   at the Village?
    2      A. I don't understand.                          2      A. I don't understand.
    3   BY MR. KERRIGAN:                                   3      Q. Would you be allowed to end classes
    4      Q. Did the teachers run the program at          4   for the day at the Village?
    5   the Village?                                       5          THE INTERPRETER: Would you be allowed
    6      A. What program?                                6   to end --
    7      Q. The school program at the Village.           7          MR. GARABEDIAN: Objection.
    8      A. Yes.                                         8      A. No.
    9      Q. When you received your report cards,         9   BY MR. KERRIGAN:
   10   Mr. Lecenat, would you take them home with you?   10      Q. At some point during the day, would
   11          MR. GARABEDIAN: Objection.                 11   you go home from the Village?
   12      A. They showed me the grades, so I handed      12          MR. GARABEDIAN: Objection.
   13   it back.                                          13      A. Yes, at 6:00 o'clock.
   14   BY MR. KERRIGAN:                                  14   BY MR. KERRIGAN:
   15      Q. Did you ever keep any of your report        15      Q. 6:00 o'clock in the afternoon?
   16   cards from the Village?                           16      A. Yes.
   17      A. When they gave it to me, I looked at        17      Q. Would classes end at 6:00 o'clock in
   18   the grades and I handed it over.                  18   the afternoon?
   19      Q. Tell us, please, Mr. Lecenat, what          19      A. No. School ended around noon, 1, and
   20   would a regular day at the Village for you be     20   I stayed in lessons, and when 6:00 o'clock --
   21   like?                                             21   when it got -- when it was 6:00 o'clock I went
   22          MR. GARABEDIAN: Objection.                 22   back home.
   23   BY MR. KERRIGAN:                                  23      Q. What lessons would you take?
   24      Q. What would you do?                          24      A. Lessons, the ones they worked on me --
   25      A. I don't remember.                           25   worked with me on, those ones.


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    1      Q. Would that be like extra help or a            1      A. No, because I don't sleep in there.
    2   tutor?                                              2   They just gave me a place to sleep.
    3          MR. GARABEDIAN: Objection.                   3      Q. Did you sleep on the floor?
    4      A. Yeah, there were teachers for that.           4      A. Yeah, a big thing on the floor, I just
    5   BY MR. KERRIGAN:                                    5   lie down.
    6      Q. Would you play games in the afternoon         6      Q. Were there other students there
    7   before going home?                                  7   overnight?
    8          MR. GARABEDIAN: Objection.                   8      A. There were other students inside.
    9      A. I used to play ball, basketball.              9      Q. How many?
   10   BY MR. KERRIGAN:                                   10      A. I don't remember.
   11      Q. When you left PPT on a regular day,          11      Q. Was there somebody, either a teacher
   12   would you go back home to Blue Hills?              12   or a master, who looked over the children at
   13          MR. GARABEDIAN: Objection.                  13   night?
   14      A. Yes.                                         14          MR. GARABEDIAN: Objection.
   15   BY MR. KERRIGAN:                                   15      A. I don't remember, but I just know I
   16      Q. How would you get from the Village to        16   slept twice inside.
   17   Blue Hills?                                        17   BY MR. KERRIGAN:
   18      A. I don't understand.                          18      Q. The second time you slept overnight at
   19      Q. When you left the Village and went           19   the Village, Mr. Lecenat, when was that?
   20   home to Blue Hills, would you walk?                20      A. There was a party and I couldn't go,
   21      A. No, I went to sleep at my                    21   so I just stayed to sleep in house number two.
   22   grandparents.                                      22      Q. Did you sleep in the same area as you
   23      Q. And how would you get to your                23   had slept the first time?
   24   grandparents' house from the Village?              24      A. Yeah, I slept inside.
   25      A. The Village is close.                        25      Q. Were there other students there

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    1      Q. Did you walk?                                 1   sleeping in the second house with you?
    2      A. Yes.                                          2      A. There were other students in there.
    3      Q. How long would the walk take?                 3      Q. How many?
    4      A. Three minutes, about.                         4      A. I don't remember.
    5      Q. While you were at the Village,                5      Q. Was there a teacher or a master or an
    6   Mr. Lecenat, you didn't live at the Village, you    6   adult there with the students overnight?
    7   lived at Blue Hills, is that correct?               7           MR. GARABEDIAN: Objection.
    8          MR. GARABEDIAN: Objection.                   8      A. I just remember I slept in there. I
    9      A. Yes, I used to sleep at Blue Hills at         9   don't remember people who were there inside.
   10   my grandparents' house.                            10   BY MR. KERRIGAN:
   11   BY MR. KERRIGAN:                                   11      Q. Were you able to sleep well on both
   12      Q. And there were -- strike that.               12   occasions?
   13          Were there any times that you slept at      13      A. I fixed the bed on the floor and I
   14   the Village?                                       14   just lied down.
   15      A. I slept twice.                               15      Q. Did anyone bother you when you slept
   16      Q. When was the first time you slept at         16   over at the Village on these two times?
   17   the Village?                                       17           MR. GARABEDIAN: Objection.
   18      A. When I was doing my First Communion,         18      A. No.
   19   in order for me to wake up early they had me       19   BY MR. KERRIGAN:
   20   stay there.                                        20      Q. Mr. Lecenat, were there any American
   21      Q. Where did you sleep at the Village?          21   teachers at the Village while you were there?
   22      A. Second house.                                22           MR. GARABEDIAN: Objection.
   23      Q. Did you sleep with other students?           23      A. No.
   24      A. Just inside, I lie down on the bed.          24   BY MR. KERRIGAN:
   25      Q. Did you have your own bed?                   25      Q. Were there any white teachers at the


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    1   Village while you were there?                       1   Paul, and other white people, when they would
    2         MR. GARABEDIAN: Objection.                    2   talk to us in December, they would bring tennis
    3      A. No.                                           3   shoes and T-shirts so we could put on our backs.
    4   BY MR. KERRIGAN:                                    4      Q. Were the white visitors to the Village
    5      Q. Did you ever see any white men or             5   tourists?
    6   women at the Village while you were there?          6          MR. GARABEDIAN: Objection.
    7         MR. GARABEDIAN: Objection.                    7      A. When -- I don't know, when white
    8      A. That came from the outside or what?           8   people would come Douglas always said -- he
    9   BY MR. KERRIGAN:                                    9   would make us come in a group, and it was
   10      Q. Any white person.                            10   Ms. Carter and Father Paul, he always said they
   11      A. No. That came from the outside or --         11   were special people, they were important people
   12      Q. Sure, that came from the outside.            12   for the project, they made the project go on,
   13      A. Yes, there are a lot of white people,        13   and he always spoke about them.
   14   Madam Carter, Father Paul, and a lot of other      14   BY MR. KERRIGAN:
   15   white people that come with them.                  15      Q. When Doug spoke about Madam Carter and
   16      Q. Other than Madam Carter and Pere Paul,       16   Pere Paul, were Madam Carter and Pere Paul
   17   were there any other white people who came to      17   always with a group of other white people?
   18   PPT whose names you know?                          18          THE INTERPRETER: I'm sorry. Can you
   19         MR. GARABEDIAN: Objection.                   19   repeat the question, please?
   20      A. No, Madam Carter and Father Paul,            20   BY MR. KERRIGAN:
   21   Douglas always talked about them, and he said      21      Q. When Douglas would talk to a group of
   22   they were the one who were sponsorizing (ph) the   22   students about Madam Carter and Pere Paul, were
   23   project, they would always provide assistance.     23   Madame Carter and Pere Paul always with another
   24   These are the two names of the people I know.      24   group of people?
   25   BY MR. KERRIGAN:                                   25          MR. GARABEDIAN: Objection.

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    1      Q. Did you ever see Doug Perlitz at the          1      A. Yeah, they were with other groups of
    2   Village?                                            2   white people who came.
    3      A. Yes, I used to see them -- to see him.        3   BY MR. KERRIGAN:
    4      Q. How often would you see Douglas               4      Q. How often did you see Madam Carter at
    5   Perlitz at the Village?                             5   the Village with a group of people?
    6      A. All the time.                                 6          MR. GARABEDIAN: Objection.
    7      Q. Did you ever speak to Douglas at the          7      A. Several times. When there's about to
    8   Village at any time?                                8   have a vacation, they come with groups of
    9      A. No, I didn't.                                 9   people, we play soccer and basketball. Father
   10      Q. When you saw Douglas at the Village,         10   Paul is there, too.
   11   what was he doing?                                 11   BY MR. KERRIGAN:
   12      A. He was the one in charge. He was             12      Q. And did you ever see Hope Carter alone
   13   always there.                                      13   at the Village, that is to say without a group
   14      Q. What did you see him doing at the            14   of people with her?
   15   Village?                                           15          MR. GARABEDIAN: Objection.
   16      A. He used to come, go inside his office.       16      A. She always comes in a group with
   17   I don't know what he used to do, just enter his    17   Father Paul, herself, and other groups of white
   18   office.                                            18   people.
   19      Q. Did Douglas ever speak to the students       19          MR. KERRIGAN: Mr. Lecenat, we're
   20   at the Village as a group?                         20   going to take a very brief break so we can
   21      A. Yes, he always did that. He always           21   switch the tape.
   22   did that.                                          22          THE VIDEOGRAPHER: Going off the
   23      Q. How often would Douglas speak to the         23   record. The time is 2:18.
   24   students as a group?                               24          (Whereupon, a recess was taken.)
   25      A. Several times. Ms. Carter, Father            25          THE VIDEOGRAPHER: Back on the record.


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    1   The time is 2:27.                                   1      A. Besides what Douglas said, I don't
    2   BY MR. KERRIGAN:                                    2   know anything.
    3      Q. Mr. Lecenat, we are back after a brief        3   BY MR. KERRIGAN:
    4   break, and I'm going to continue with the           4      Q. Now, Mr. Lecenat, did you ever have
    5   questions.                                          5   the opportunity to visit -- well, strike that.
    6      A. Yes.                                          6          Have you ever heard of a place called
    7      Q. Mr. Lecenat, did you personally speak         7   Bel Air?
    8   to Hope Carter at any time?                         8          MR. GARABEDIAN: Objection.
    9         MR. GARABEDIAN: Objection.                    9      A. I don't understand the question.
   10      A. No.                                          10   BY MR. KERRIGAN:
   11   BY MR. KERRIGAN:                                   11      Q. Have you ever heard the words
   12      Q. Did you, Mr. Lecenat, personally speak       12   "Bel Air" before?
   13   to Pere Paul at any time?                          13      A. Yeah, I've heard that.
   14         MR. GARABEDIAN: Objection.                   14      Q. What is Bel Air?
   15      A. No.                                          15      A. I don't know. I heard of it. I heard
   16   BY MR. KERRIGAN:                                   16   people talk about it.
   17      Q. Did you ever hear Pere Paul or Madam         17      Q. Do you have any idea what Bel Air is?
   18   Carter speak to Douglas Perlitz?                   18      A. Bel Air where Douglas stays, that's
   19         MR. GARABEDIAN: Objection.                   19   all I knew.
   20      A. No, I never heard them.                      20      Q. Where is Bel Air?
   21   BY MR. KERRIGAN:                                   21      A. Bel Air, I don't know where it is.
   22      Q. Did Douglas Perlitz tell you anything        22      Q. Is it in America?
   23   else about Pere Paul and Hope Carter other than    23          MR. GARABEDIAN: Objection.
   24   what you told us before the break?                 24      A. Cap-Haïtien.
   25         MR. GARABEDIAN: Objection.                   25   BY MR. KERRIGAN:

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    1      A. Just that they make us form a group,          1      Q. Where in Cap-Haïtien?
    2   they talked to us in a group. Then when Douglas     2      A. I don't know.
    3   talks about Madam Carter or Father Paul, he says    3      Q. What neighborhood?
    4   that they sponsor the project, they are the         4      A. I don't know.
    5   back-up of the project, they are important          5      Q. Have you ever been to Bel Air?
    6   people for the project. That's all I know.          6      A. Just once when Douglas abused me in
    7   BY MR. KERRIGAN:                                    7   Bel Air.
    8      Q. Did you understand that to mean,              8      Q. When was that?
    9   Mr. Lecenat, that Pere Paul and Hope Carter         9      A. Once, I needed something, I think it
   10   provided money to the project?                     10   was shoes, and he said to come and get it from
   11          MR. GARABEDIAN: Objection.                  11   him at Bel Air. When I got there, he was just
   12      A. What I understand is that Father Paul        12   laughing and laughing. He asked me to take off
   13   and Madame Carter used to sponsor the project,     13   my pants. I didn't want to. I was crying. He
   14   they would help the project, and that they were    14   forced me to take them off. He took my pants
   15   important people. That's all I know.               15   off, and he put his penis in my butt.
   16   BY MR. KERRIGAN:                                   16      Q. We'll talk about that in just a
   17      Q. And you learned all of that from what        17   moment, Mr. Lecenat.
   18   Doug Perlitz told you, correct?                    18          Apart from that one time, you've never
   19          MR. GARABEDIAN: Objection.                  19   been to Bel Air, is that correct?
   20      A. That's what Douglas said.                    20      A. No.
   21   BY MR. KERRIGAN:                                   21      Q. That's correct?
   22      Q. And other than what Douglas told you,        22      A. I've never been to Bel Air, no.
   23   you don't know anything else about Pere Paul and   23      Q. Apart from that one time?
   24   Hope Carter, is that correct?                      24      A. No.
   25          MR. GARABEDIAN: Objection.                  25      Q. At the Village, Mr. Lecenat, were


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    1   there any therapists or social workers?            1         MR. GARABEDIAN: Objection.
    2          MR. GARABEDIAN: Objection.                  2      A. I don't understand.
    3          THE INTERPRETER: Apart from -- I'm          3   BY MR. KERRIGAN:
    4   sorry, repeat the question? Apart from?            4      Q. Were your teachers at the Village
    5          MR. KERRIGAN: Were there any                5   helpful to you in helping you get education?
    6   therapists or social workers at the Village.       6         MR. GARABEDIAN: Objection.
    7      A. I don't understand the question.             7      A. Yes, they were useful to me to find
    8   BY MR. KERRIGAN:                                   8   education.
    9      Q. Do you know what a therapist is?             9   BY MR. KERRIGAN:
   10      A. I don't understand. If I understood,        10      Q. And your teachers did good work at the
   11   I would tell you.                                 11   Village, correct?
   12      Q. Sure.                                       12         MR. GARABEDIAN: Objection.
   13          Do you remember someone named Giovani      13      A. They did good work. But Douglas, he
   14   at the Village?                                   14   abused me, that's what he did, he put his penis
   15      A. Yes.                                        15   in my butt.
   16      Q. What did Giovani do?                        16   BY MR. KERRIGAN:
   17      A. I don't remember what he used to do.        17      Q. I'm not talking about Douglas. I'm
   18      Q. When you were at the Village before         18   talking about your teachers.
   19   anyone ever abused you, Mr. Lecenat, did you      19      A. I'm talking about every person.
   20   feel safe there?                                  20      Q. And I'm just talking about the
   21          MR. GARABEDIAN: Objection.                 21   teachers.
   22      A. I don't understand the question.            22         Your teachers did good work for you at
   23   BY MR. KERRIGAN:                                  23   the Village, isn't that right?
   24      Q. When you were a student at the Village      24         MR. GARABEDIAN: Objection.
   25   and you came into the Village and were behind     25      A. Yes.

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    1   the big walls, did you feel safe?                  1   BY MR. KERRIGAN:
    2          MR. GARABEDIAN: Objection.                  2      Q. And your teachers helped a lot of
    3      A. Yeah, but I did feel safe there, but I       3   students at the Village, correct?
    4   wish I had never gone to the Village because       4           MR. GARABEDIAN: Objection.
    5   then Douglas would have never put his penis in     5      A. Yes.
    6   my butt, and I would not suffer the pain that I    6   BY MR. KERRIGAN:
    7   have now.                                          7      Q. Now, you have testified that
    8   BY MR. KERRIGAN:                                   8   Mr. Perlitz abused you at Bel Air, and we're
    9      Q. Before you were abused, Mr. Lecenat,         9   going to talk about that in a moment.
   10   did you ever raise any concerns about safety at   10      A. Okay.
   11   the Village --                                    11      Q. But first I would like to know, how
   12          MR. GARABEDIAN: Objection.                 12   many times did Douglas Perlitz abuse you?
   13   BY MR. KERRIGAN:                                  13      A. Douglas put his penis in my butt
   14      Q. -- to any of the staff?                     14   twice, two different occasions.
   15          MR. GARABEDIAN: Objection.                 15      Q. Okay. I want you to focus, please,
   16      A. I don't understand the question.            16   Mr. Lecenat, on the first time Mr. Perlitz
   17   BY MR. KERRIGAN:                                  17   abused you.
   18      Q. Did you ever tell any of your teachers      18      A. Yes, first time I went for First
   19   at the Village that you felt afraid when you      19   Communion.
   20   were at the Village?                              20      Q. Okay. I'm just going to ask you to do
   21          MR. GARABEDIAN: Objection.                 21   something for us, okay? I would like you to
   22      A. No.                                         22   tell all of us exactly what happened the first
   23   BY MR. KERRIGAN:                                  23   time Douglas Perlitz abused you. And I will put
   24      Q. Were there good people at the Village       24   my pen down and will listen to you tell the
   25   trying to help you with your education?           25   story, okay? And I'd like you to tell us


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    1   everything you remember about the first time.      1      Q. When was your First Communion in 2006?
    2   And the only -- go ahead.                          2      A. 2006.
    3      A. I'm ready. I'm waiting for you.              3      Q. What month?
    4      Q. Okay. Good. The only thing I want to         4      A. I don't remember.
    5   tell you is you want to give the translator a      5      Q. The retreat house was not part of PPT,
    6   chance to translate what you're saying, okay?      6   is that correct?
    7      A. Okay.                                        7      A. No, it was far.
    8      Q. Whenever you're ready, please.               8          MR. GARABEDIAN: Objection.
    9      A. First time, it was when I was going to       9      A. It's a mother -- nuns who live there.
   10   do my First Communion. I was doing a retreat,     10   We were above, and the nuns were below.
   11   an exam retreat. If I passed the exam I get to    11   BY MR. KERRIGAN:
   12   do my Communion, if I don't I can't do it.        12      Q. What was the name of the retreat
   13          Douglas gave the order around that         13   house?
   14   nobody was supposed to close the door -- their    14      A. I don't remember the name.
   15   door. Everybody was in a different room,          15      Q. Where in Cap-Haïtien was the retreat
   16   bedroom. And at night he came to me and he said   16   house?
   17   to scratch his back for him. When I was           17      A. It's like you're going up rival.
   18   scratching his back for him, he said "take off    18      Q. What is rival?
   19   your pants." I didn't understand. I was           19      A. The bank, going up the bank.
   20   surprised. He said "take off your pants." I       20      Q. The bank of the river?
   21   was crying. I didn't understand. He held me.      21          MR. GARABEDIAN: Objection.
   22   He forced me. He took off his -- my pants and     22      A. Coastline.
   23   put his penis in my butt. When I was crying, he   23   BY MR. KERRIGAN:
   24   said if I say -- tell anyone he will turn me      24      Q. Thank you.
   25   out. The things that cause me problem is that I   25          What was the name of the retreat


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    1   would not have any education anymore, and this     1   house?
    2   gave me problems, and I didn't tell anyone.        2      A. I don't know the name. I forgot the
    3      Q. Is there anything more that you              3   name.
    4   remember, Mr. Lecenat?                             4      Q. What's the Order of the nuns who live
    5      A. The second time when he abused me?           5   there?
    6      Q. First time.                                  6          MR. GARABEDIAN: Objection.
    7      A. That's it.                                   7     A. Catholic nuns. I don't know.
    8      Q. You've told us everything you remember       8   BY MR. KERRIGAN:
    9   about the first time?                              9      Q. Do you know what the nuns were called?
   10      A. Yeah, he forced me. He held me. I           10          MR. GARABEDIAN: Objection.
   11   couldn't run away. He put his hand on my butt     11      A. We were not at the same spot. We were
   12   and he put his penis in my butt.                  12   above, and they were below.
   13      Q. Is there anything else you remember,        13   BY MR. KERRIGAN:
   14   Mr. Lecenat, about the first instance of abuse?   14      Q. Did you see any nuns while you were
   15      A. I don't remember.                           15   there?
   16      Q. I'm going to ask you a few questions        16      A. I wasn't looking. They were upstairs,
   17   about it, okay?                                   17   and we were down.
   18      A. I'm waiting. I'm listening.                 18      Q. What color was the house?
   19      Q. Where was the retreat house?                19      A. I don't remember.
   20      A. It was in Cap-Haïtien somewhere,            20      Q. How many rooms were in the house?
   21   inside the city, some street.                     21      A. A lot. I don't know.
   22      Q. What year would this have been?             22      Q. How many floors did the house have?
   23      A. 2006.                                       23          THE INTERPRETER: One. In French,
   24      Q. What month?                                 24   Haitian culture, Haitian, first --
   25      A. I don't remember.                           25          MR. KERRIGAN: Now, let's be clear,


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    1   this is the translator.                             1      Q. What were the names of the kids who
    2           THE INTERPRETER: Translator                 2   went to the house?
    3   explaining. One floor means there was the           3      A. I was so shocked when Douglas put his
    4   second -- it was the second, there was just --      4   penis in my butt that I don't really remember
    5   there was a ground floor and just one floor on      5   about the kids.
    6   top. Thank you.                                     6      Q. You don't remember the names of any
    7           MR. GARABEDIAN: Objection.                  7   kids who came?
    8           MR. KERRIGAN: Thank you for the             8          MR. GARABEDIAN: Objection.
    9   clarification. So it's clear for the record,        9      A. I don't remember.
   10   that was Nathalie, our interpreter, explaining a   10   BY MR. KERRIGAN:
   11   cultural concept. Now we'll go back to the         11      Q. Did you share a room with anybody at
   12   questioning.                                       12   the retreat house?
   13   BY MR. KERRIGAN:                                   13      A. I was in my own room. Every child had
   14      Q. Were there any other buildings near          14   his own room, his or her.
   15   the house?                                         15      Q. How long was the retreat?
   16      A. I don't remember. I just know where I        16      A. I don't remember.
   17   was staying at.                                    17      Q. Was it a number of days?
   18      Q. How did you get to the retreat house?        18      A. Several days. I don't remember.
   19      A. I was just taking a class for the            19      Q. On what day of the retreat did Douglas
   20   exam, there was a woman there with us just         20   abuse you?
   21   teaching us so I could have my communion.          21          MR. GARABEDIAN: Objection.
   22      Q. How did you get to the retreat house?        22      A. The first day of the retreat, on the
   23   Did you drive or walk?                             23   first day.
   24      A. There was a car going up the Village         24   BY MR. KERRIGAN:
   25   that took us and -- took us.                       25      Q. What time of the day did Douglas abuse

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    1      Q. Who drove?                                    1   you?
    2      A. I don't remember his name.                    2           MR. GARABEDIAN: Objection.
    3      Q. How many people went to the retreat           3      A. Repeat the question, please.
    4   house?                                              4   BY MR. KERRIGAN:
    5         MR. GARABEDIAN: Objection.                    5      Q. Did the abuse happen in the morning,
    6      A. Douglas, and the woman who was                6   in the afternoon, or at night?
    7   teaching us, and us.                                7           MR. GARABEDIAN: Objection.
    8   BY MR. KERRIGAN:                                    8      A. Afternoon.
    9      Q. What was her name?                            9   BY MR. KERRIGAN:
   10      A. I forgot her name.                           10      Q. What time in the afternoon?
   11      Q. Was that a Haitian woman?                    11      A. Evening. It was dark.
   12      A. Yes, she was Haitian.                        12      Q. What had you done earlier in the day
   13      Q. Who else went to the house?                  13   at the retreat house?
   14      A. Us, the kids.                                14      A. Prayers, and then we passed an exam.
   15      Q. How many kids?                               15   I don't remember.
   16         MR. GARABEDIAN: Objection.                   16      Q. Where was your room located in the
   17      A. I don't remember. There were a lot.          17   retreat house?
   18   Each one was in a separate bedroom.                18           MR. GARABEDIAN: Objection.
   19   BY MR. KERRIGAN:                                   19      A. I don't remember.
   20      Q. Can you estimate for us? Was it more         20   BY MR. KERRIGAN:
   21   than 20 kids who went to the house?                21      Q. Were there stairs that led from the
   22      A. I don't remember.                            22   first floor to the second floor?
   23      Q. Was it more than 50 kids who went to         23      A. Yeah, there were stairs.
   24   the house?                                         24      Q. Was there a hallway where all the
   25      A. I don't remember.                            25   rooms were located?


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    1      A. Yes, there was a corridor.                  1      A. A bed.
    2      Q. Was your room close to the stairs, or       2   BY MR. KERRIGAN:
    3   far from the stairs?                              3      Q. Anything else?
    4          MR. GARABEDIAN: Objection.                 4      A. Something for me to pee.
    5      A. Well, in the corridor, just go by, and      5      Q. Was there anything else in your room,
    6   walk by, and then you enter the room.             6   Mr. Lecenat?
    7   BY MR. KERRIGAN:                                  7      A. Toilet.
    8      Q. Was your room on the left side or the       8      Q. Anything else?
    9   right side of the corridor?                       9      A. I don't remember.
   10      A. I don't remember.                          10      Q. What were you wearing before Doug
   11      Q. Were there children in each of the         11   Perlitz came in?
   12   rooms on the second floor, Mr. Lecenat?          12      A. I had jeans on, I slept with them.
   13          MR. GARABEDIAN: Objection.                13   But he had some shorts. He came close to me and
   14      A. Every child was in a room.                 14   asked me to scratch his back. He asked me to
   15   BY MR. KERRIGAN:                                 15   take off my pants. I said "no." I didn't
   16      Q. Was every room filled on the second        16   understand. I was crying. I didn't understand.
   17   floor?                                           17   He forced me. He put his hand on my butt. He
   18      A. On the first floor?                        18   put his penis in my butt.
   19      Q. On the floor where the bedrooms were.      19      Q. Where were you when Mr. Perlitz came
   20          MR. GARABEDIAN: Objection.                20   into the room?
   21      A. Every child in a room.                     21      A. I was on my bed.
   22   BY MR. KERRIGAN:                                 22      Q. Were you awake?
   23      Q. Were all the doors open to the rooms?      23      A. I was about to sleep. I had turned
   24          MR. GARABEDIAN: Objection.                24   off the light to sleep.
   25      A. He said not to close it, meant don't       25      Q. When Mr. Perlitz came in, what was he


                                         Page 135                                               Page 137
    1   lock it, just push it.                            1   wearing?
    2   BY MR. KERRIGAN:                                  2      A. Shorts, and his back was naked.
    3     Q. At the time the abuse occurred,              3      Q. He was not wearing a shirt, correct?
    4   Mr. Lecenat, were the doors to the students'      4          MR. GARABEDIAN: Objection.
    5   rooms open or closed?                             5      A. No, his back was naked.
    6          MR. GARABEDIAN: Objection.                 6   BY MR. KERRIGAN:
    7     A. He just said don't lock it, you just         7      Q. What color were the shorts?
    8   push it, when he comes he can open it. Don't      8      A. I don't remember.
    9   lock it.                                          9      Q. When Mr. Perlitz came in, did he say
   10   BY MR. KERRIGAN:                                 10   anything to you?
   11     Q. Do you know if the other kids' doors        11      A. He asked me to scratch his back for
   12   were open or closed when the abuse occurred?     12   him.
   13          MR. GARABEDIAN: Objection.                13      Q. Did you scratch his back?
   14     A. He just gave the order that no one          14      A. While I was scratching his back, he
   15   should lock the doors.                           15   said to take off my pants. I said "why?" I was
   16   BY MR. KERRIGAN:                                 16   surprised. He said "take it off." I was
   17     Q. Was your door open or closed when Doug      17   crying. He forced me to take off my pants, and
   18   Perlitz came to you that evening?                18   he put his penis in my butt.
   19          MR. GARABEDIAN: Objection.                19      Q. When you were scratching Mr. Perlitz's
   20     A. It was -- I just pushed the door, I         20   back, were you standing or sitting?
   21   didn't lock it. If he turns the knob just once   21      A. On the bed, I raised to sit, and I
   22   he can come in.                                  22   scratch his back.
   23   BY MR. KERRIGAN:                                 23      Q. Was Mr. Perlitz standing or sitting
   24     Q. What was in that room?                      24   when you were scratching his back?
   25          MR. GARABEDIAN: Objection.                25      A. He came and he sat next to the bed,


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    1   and on the bed, and he said to scratch his back.    1   break.
    2      Q. So you were both sitting on the bed           2          MR. GARABEDIAN: We'll be back.
    3   when you were scratching his back?                  3          THE VIDEOGRAPHER: Going off the
    4      A. I was lying down. And when he asked           4   record. The time is 3:08.
    5   me to scratch his back, I sat on the bed and I      5          (Whereupon, a recess was taken.)
    6   scratch his back.                                   6          THE VIDEOGRAPHER: Back on the record.
    7      Q. Could you see his back?                       7   The time is 3:21.
    8      A. No, it was dark. I couldn't see.              8   BY MR. KERRIGAN:
    9      Q. How long did you scratch his back for?        9      Q. Mr. Lecenat, we're back from our
   10      A. I don't remember.                            10   break, and I'm going to continue with a few more
   11      Q. When Doug told you to take off your          11   questions about the first instance of abuse.
   12   pants and you refused, did Doug do anything to     12      A. I'm listening.
   13   make you take off your pants?                      13      Q. When Mr. Perlitz touched your
   14         MR. GARABEDIAN: Objection.                   14   buttocks, did he also touch your penis or your
   15      A. I was crying. And he was taking off          15   testicles?
   16   my pants, he was touching and forcing it. I was    16      A. He put his hand on my butt, and he put
   17   crying, and he forced it. He put his -- he laid    17   his penis inside my butt.
   18   his hand on my butt, and he put his penis inside   18      Q. He did not touch your penis or your
   19   my butt.                                           19   testicles, correct?
   20   BY MR. KERRIGAN:                                   20      A. He just put his hand on my butt, and
   21      Q. Did Mr. Perlitz take your pants off?         21   put his penis inside my butt.
   22      A. Yeah, he forced them to come off, and        22      Q. When you say Mr. Perlitz put his penis
   23   he put his penis in my butt.                       23   inside your butt, do you mean that he put his
   24      Q. Did you have a shirt on?                     24   penis inside your rectum?
   25      A. I had a --                                   25          MR. GARABEDIAN: Objection.


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    1          THE INTERPRETER: Like the white              1      A. I don't understand the question.
    2   underneath.                                         2   BY MR. KERRIGAN:
    3          MR. GARABEDIAN: Objection.                   3      Q. Do you know what a rectum is?
    4      A. Undershirt. I had an undershirt on.           4      A. Help me understand the question.
    5   BY MR. KERRIGAN:                                    5      Q. Do you know what the opening between
    6      Q. Did Mr. Perlitz take off his own              6   your buttocks is called?
    7   shorts?                                             7      A. I don't know.
    8          MR. GARABEDIAN: Objection.                   8      Q. Did Mr. Perlitz put his penis in the
    9      A. Yes, he took off his shorts and he put        9   opening that's between your buttocks?
   10   his penis in his -- in my butt.                    10      A. He put his penis inside my butt.
   11   BY THE INTERPRETER:                                11      Q. How long did Mr. Perlitz abuse you
   12      Q. Did Mr. Perlitz take your pants off          12   during this instance?
   13   all the way, or just pull them down?               13      A. I don't remember.
   14      A. Lowered his shorts, and he put his           14      Q. Can you tell us whether it was 1
   15   penis in my butt.                                  15   minute, 5 minutes, 10 minutes, anything?
   16      Q. Did he lower your pants, or did he           16      A. I don't remember.
   17   take your pants off?                               17         THE INTERPRETER: The interpreter
   18      A. Yes, he took off my pants. He raised         18   wants to say I didn't have time to finish
   19   them lower -- he dropped my pants.                 19   interpreting the question. He answered before I
   20      Q. So he lowered your pants?                    20   finished.
   21      A. He lowered.                                  21         MR. GARABEDIAN: Note my objection.
   22          THE INTERPRETER: I'm getting tired,         22   BY MR. KERRIGAN:
   23   I'm sorry. I need a break.                         23      Q. Mr. Lecenat, at the time Mr. Perlitz
   24          MR. KERRIGAN: Sure.                         24   was abusing you, were you on your stomach, or on
   25          Mr. Lecenat, we're going to take a          25   your side, or on your back?


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    1       A. I was lying down like this, and he put       1   way?
    2   his penis in my butt.                               2      A. Yes. He held me so I couldn't run. I
    3       Q. Were you on your stomach?                    3   was crying. He held me down. He forced me, he
    4       A. Yes.                                         4   took -- forced my pants off and he put his penis
    5       Q. You were in the bed, correct?                5   in my butt.
    6       A. Yes.                                         6      Q. Where did he put his hands on you when
    7       Q. Douglas was in the bed, too?                 7   he was holding you?
    8       A. He put his penis in my butt, he forced       8      A. He threw me on the bed, and he put
    9   it to enter. I was crying.                          9   both his hands on the side of the bed so I
   10       Q. Was he on the bed --                        10   couldn't run.
   11       A. He was -- and then he put it in my          11      Q. Did Mr. Perlitz wear a condom?
   12   butt, he was pressuring me and told me if I told   12      A. I don't know. He just put his penis
   13   anyone he would put -- throw me out. He was        13   in my butt.
   14   pressuring me.                                     14      Q. After he left, what did you do?
   15       Q. Was Mr. Perlitz talking to you while        15         MR. GARABEDIAN: Objection.
   16   he was abusing you?                                16      A. I was sitting in a corner. I was
   17          MR. GARABEDIAN: Objection.                  17   crying. I became really sad. It was tormenting
   18       A. I was crying. He was hurting me.            18   me. It gave me a lot of problems.
   19   Because I was crying, he said if somebody comes    19   BY MR. KERRIGAN:
   20   here he will throw me out, and I won't have -- I   20      Q. Was there any bleeding from your
   21   won't find any school to go to.                    21   buttocks or from the opening between your
   22   BY MR. KERRIGAN:                                   22   buttocks afterwards?
   23       Q. Did he tell you that while he was           23         MR. GARABEDIAN: Objection.
   24   abusing you?                                       24      A. When he was done, I felt my butt was
   25       A. Yes, while he was putting his penis         25   wet, and I sat in a corner. I was crying. I


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    1   inside my butt, I was crying, and he was hurting    1   became sad. And that gave me a lot of problems.
    2   me.                                                 2   BY MR. KERRIGAN:
    3      Q. Did you yell out?                             3      Q. Were you bleeding from anywhere?
    4          MR. GARABEDIAN: Objection.                   4           MR. GARABEDIAN: Objection.
    5      A. I was crying.                                 5      A. I just said, I just felt my butt was
    6   BY MR. KERRIGAN:                                    6   wet, and up to now it still hurts.
    7      Q. Were you crying loudly?                       7   BY MR. KERRIGAN:
    8          MR. GARABEDIAN: Objection.                   8      Q. Did you tell anybody at the retreat
    9      A. I was crying. I was making noise. He          9   house about what happened?
   10   said if I made any noise he would throw me out.    10      A. No, because he put pressure on me.
   11   BY MR. KERRIGAN:                                   11   And after he told me that, he said if I told
   12      Q. Did you continue to make noise and           12   anyone he would throw me out of the Village, I
   13   cry?                                               13   wouldn't go to school anymore, I wouldn't have
   14      A. I was continuing -- I was still              14   my Communion, so the pressure took ahold on me.
   15   crying, he stood up and left, and he told me if    15      Q. Mr. Lecenat, did you tell anybody,
   16   I told anyone that he would throw me out of the    16   apart from your lawyers, about the abuse that
   17   Village, and I wouldn't have any school to go      17   Mr. Perlitz gave you on this occasion at the
   18   to.                                                18   retreat house?
   19      Q. Did Mr. Perlitz ejaculate?                   19           MR. GARABEDIAN: Objection. I
   20          MR. GARABEDIAN: Objection.                  20   instruct him not to answer as to any
   21      A. When he finished, I felt my butt was         21   attorney/client conversation.
   22   wet.                                               22      A. I don't understand the question.
   23   BY MR. KERRIGAN:                                   23   BY MR. KERRIGAN:
   24      Q. While he was abusing you, did                24      Q. Did you ever tell anyone about the
   25   Mr. Perlitz hold you, or cover your mouth in any   25   first time Mr. Perlitz abused you at the retreat


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    1   house?                                             1   to get there, the road, and I would see him and
    2         MR. GARABEDIAN: Objection. I                 2   he would give it to me.
    3   instruct him not to answer as to any               3          When I got to Bel Air, the gate was
    4   attorney/client conversations.                     4   open, Douglas was in the courtyard. I went to
    5         Did you tell anyone other than your          5   him. He took me -- we went down the stairs in a
    6   lawyers about the first time Douglas Perlitz       6   room, bedroom. When I got there, he was just
    7   abused you, not his lawyers, but anyone else.      7   laughing, laughing. I didn't understand. I was
    8      A. When that happened I didn't have             8   surprised. He said to take off my shoes -- my
    9   anyone. I didn't tell anyone about it.             9   pants. I said "why?" He said "because I will
   10   BY MR. KERRIGAN:                                  10   put my penis in your butt." I was crying. I
   11      Q. Did you continue with the retreat?          11   didn't want. He held me. He forced me. He
   12      A. Yeah. But, you know, I was there, I         12   took off my pants and he put his penis in my
   13   wasn't there. My spirit was somewhere else.       13   butt.
   14   There was no peace inside me. The teachers used   14          When he was -- I was crying. He was
   15   to work on some things, but I was there, I        15   hurting me. And he put pressure on me and he
   16   wasn't really there, I wasn't really following.   16   said if I tell anyone about it he would throw me
   17   I always thought about the fact that -- about     17   outside of the Village, no more school. And the
   18   Douglas putting his penis inside my butt. That    18   pressure, I took -- I bowed to the pressure, and
   19   gave me a lot of problems.                        19   I didn't tell anyone. And I left, and I went
   20      Q. Did you make your First Communion?          20   back home.
   21      A. Yes.                                        21      Q. Do you remember anything else about
   22      Q. Did you continue your classes back at       22   that second incident of abuse, Mr. Lecenat?
   23   the Village after this?                           23      A. No.
   24         MR. GARABEDIAN: Objection.                  24      Q. I'm going to ask you a few follow-up
   25      A. Yes.                                        25   questions, okay?


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    1   BY MR. KERRIGAN:                                   1      A. I'm listening.
    2      Q. When was the next time that                  2      Q. The house at Bel Air, what color is
    3   Mr. Perlitz abused you, Mr. Lecenat? What year?    3   that house?
    4      A. Douglas put his penis in my butt for a       4      A. I don't remember.
    5   second time in 2007.                               5      Q. How many rooms in the house at
    6      Q. What month in 2007?                          6   Bel Air?
    7      A. I don't remember.                            7      A. I don't know. I didn't go check how
    8      Q. Between the first abuse in 2006 and          8   many rooms there were.
    9   the second instance of abuse in 2007, did you      9      Q. Is there a garage at Bel Air?
   10   ever talk to Douglas Perlitz about it?            10      A. I don't know. I don't know.
   11           MR. GARABEDIAN: Objection.                11      Q. Which door did you enter at Bel Air?
   12      A. On the abuse?                               12      A. The gate was already open and Douglas
   13   BY MR. KERRIGAN:                                  13   was in the yard, the courtyard. I went down a
   14      Q. Yes.                                        14   few stairs, and in.
   15      A. No. I got scared. I was scared of           15      Q. When you went down the stairs, were
   16   him. I never talked.                              16   they outside stairs or inside stairs?
   17      Q. Now, Mr. Lecenat, again I'll ask you        17         MR. GARABEDIAN: Objection.
   18   to tell us all about the second time that you     18      A. Outside.
   19   were abused by Mr. Perlitz. Tell us everything    19   BY MR. KERRIGAN:
   20   that you remember, and just go slowly so our      20      Q. What were you wearing?
   21   translator can get everything. Can you do that?   21      A. Jeans, T-shirt, shirt, tennis shoes.
   22      A. Yes. The second time Douglas put his        22      Q. I'm sorry.
   23   penis in my butt, it was a day I said I needed    23         What was Mr. Perlitz wearing?
   24   something, shoes, I don't remember. He told me    24      A. His clothes. I don't remember which
   25   to go see him in Bel Air. He explain me the way   25   clothes.


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    1      Q. He was dressed, though, correct?             1   don't remember.
    2      A. I don't remember how he was.                 2      Q. Was there anything else in the room?
    3      Q. When you walked inside the house at          3      A. I was so shocked, I was crying so much
    4   Bel Air, what did you see in the first room you    4   because Douglas put his penis in my butt. I
    5   entered?                                           5   wasn't really checking anything. I was just
    6         MR. GARABEDIAN: Objection.                   6   trying to manage my problems and the stress,
    7         THE INTERPRETER: When you went inside        7   because Douglas put his penis in my butt.
    8   the house in Bel Air what? I'm sorry.              8      Q. Was there anything on the walls in the
    9   BY MR. KERRIGAN:                                   9   room?
   10      Q. What did you see in the first room          10      A. I don't remember.
   11   that you entered?                                 11      Q. Were there windows in the room?
   12      A. I didn't want to go check anything. I       12      A. I don't remember. That's not what I
   13   just wanted to go and get something from          13   went to check.
   14   Douglas, and Douglas put his penis in my butt.    14      Q. Was it light or dark in the room?
   15      Q. Do you remember what the inside of the      15      A. It was dark, totally dark. It was
   16   house at Bel Air looked like, Mr. Lecenat?        16   afternoon.
   17         MR. GARABEDIAN: Objection.                  17      Q. Was the door to the room open or
   18      A. I didn't check. I didn't go to visit        18   closed?
   19   Bel Air. That's not what I went for. That's       19      A. It was closed.
   20   not what I went for.                              20      Q. Was there anybody else at the house at
   21   BY MR. KERRIGAN:                                  21   Bel Air at that time?
   22      Q. Was it morning, afternoon, or evening       22      A. No.
   23   when you went to Bel Air?                         23      Q. Did you walk through any other rooms
   24      A. Afternoon.                                  24   at Bel Air other than the bedroom?
   25      Q. What time in the afternoon?                 25      A. No.

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    1     A. I don't remember.                             1      Q. Did you hear anybody else at the house
    2     Q. It was light outside?                         2   at Bel Air?
    3     A. The sun had gone down.                        3      A. Just us. I was crying after he put
    4     Q. Was it evening?                               4   his penis in my butt. I wasn't checking all
    5     A. Not very dark, but it was really in           5   that.
    6   the afternoon.                                     6      Q. Was there a security guard present
    7     Q. What room in the house at Bel Air did         7   when you first arrived at Bel Air?
    8   the abuse occur in?                                8      A. I didn't see anyone besides Douglas.
    9          MR. GARABEDIAN: Objection.                  9      Q. Did you cry out or make noise while
   10     A. I don't remember.                            10   you were being abused, Mr. Lecenat?
   11   BY MR. KERRIGAN:                                  11          MR. GARABEDIAN: Objection.
   12     Q. Was it a kitchen?                            12      A. I was crying. I was yelling, you're
   13     A. No, you go down a few stairs and then        13   hurting me.
   14   you enter, I don't know which room, bedroom it    14   BY MR. KERRIGAN:
   15   was, I don't know what it was, what bedroom it    15      Q. How long did Mr. Perlitz abuse you on
   16   was.                                              16   this occasion?
   17     Q. Was it a bedroom?                            17          MR. GARABEDIAN: Objection.
   18     A. I don't know. It was a room or               18      A. I don't remember.
   19   bedroom, and you go down a few stairs. I don't    19   BY MR. KERRIGAN:
   20   really recall inside.                             20      Q. Can you tell us in any way, whether it
   21     Q. Was there a bed in the room?                 21   was 1 minute, 5 minutes, 10 minutes, something
   22     A. I remember there was a bed, but I            22   else?
   23   forgot about it really.                           23          MR. GARABEDIAN: Objection.
   24     Q. Just one bed in the room?                    24      A. I don't remember.
   25     A. I remember there was a bed, but I            25   BY MR. KERRIGAN:


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    1      Q. Where in the room did the abuse occur,        1      Q. Did Mr. Perlitz have his pants or his
    2   Mr. Lecenat?                                        2   shorts on or off while he was abusing you?
    3          MR. GARABEDIAN: Objection.                   3          MR. GARABEDIAN: Objection.
    4      A. Inside the room he put his hand on me.        4      A. He was fighting with me. He took my
    5   And I was crying, he was forcing me. He held        5   pants down, and then he put his penis. I didn't
    6   me, he forced me, and then he put his penis in      6   have time to admire him. I was so shocked. I
    7   my butt.                                            7   was crying. I wasn't looking at this, checking
    8   BY MR. KERRIGAN:                                    8   this.
    9      Q. Were you on the floor?                        9   BY MR. KERRIGAN:
   10      A. He made me bow, and on the bed, and          10      Q. Did Mr. Perlitz ejaculate?
   11   then he put his penis in my butt.                  11      A. I don't know, but when he finished, he
   12      Q. Did Mr. Perlitz make you bend over?          12   finished, he let me go. I don't know.
   13          THE INTERPRETER: Bend over. Thank           13      Q. Was there any wetness or fluid on your
   14   you.                                               14   buttocks when Mr. Perlitz finished?
   15      A. He had me bend, and he put his penis         15          MR. GARABEDIAN: Objection.
   16   inside my butt.                                    16      A. I felt that my butt was sweating, then
   17   BY MR. KERRIGAN:                                   17   he let me go when he was done. He told me if I
   18      Q. Did Mr. Perlitz take down your pants?        18   told anyone he would throw me out, no more
   19      A. Yeah, he forced me. I didn't want to.        19   school. The pressure took ahold on me. I
   20   I was crying. We were fighting. But he forced      20   became sad. And I went back home.
   21   me, and then he took it off and put his penis in   21   BY MR. KERRIGAN:
   22   my butt.                                           22      Q. Did Mr. Perlitz wear a condom?
   23      Q. You resisted, Mr. Perlitz?                   23      A. I don't know.
   24      A. I was crying. I was making noise, I          24      Q. Did you bleed from anywhere after this
   25   was crying, and he was putting pressure. He        25   abuse?

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    1   said anyone -- tell anyone about it he's going      1          MR. GARABEDIAN: Objection.
    2   to put me outside, I'm not going to go to school    2      A. I just felt that my butt was sweating,
    3   anymore, he's going to throw me out of the          3   and he let me go, and I put back -- put my
    4   Village.                                            4   clothes back on, and I went back home.
    5      Q. Did you fight back at all?                    5   BY MR. KERRIGAN:
    6          MR. GARABEDIAN: Objection.                   6      Q. You went back home to Blue Hills?
    7      A. I can't fight with him because he's a         7      A. Yes.
    8   big guy, and he was holding me.                     8      Q. After that, did you tell anyone about
    9   BY MR. KERRIGAN:                                    9   the second time that Mr. Perlitz abused you,
   10      Q. Did you see Mr. Perlitz's body at any        10   apart from your lawyers?
   11   point when he was abusing you on this occasion?    11          MR. GARABEDIAN: Objection. I
   12          MR. GARABEDIAN: Objection.                  12   instruct the witness not to violate any
   13      A. No. I was crying, just crying when he        13   attorney/client conversations -- discuss any
   14   put his penis in my butt, only that.               14   attorney/client conversations. Don't tell
   15   BY MR. KERRIGAN:                                   15   anyone -- I'm sorry, go ahead.
   16      Q. Do you know whether or not Mr. Perlitz       16      A. I never told anyone. I was afraid
   17   had any clothes on?                                17   that he would throw me out.
   18          MR. GARABEDIAN: Objection.                  18   BY MR. KERRIGAN:
   19      A. Yeah, he had a T-shirt on, a shirt.          19      Q. Now, did you talk to Mr. Perlitz at
   20   BY MR. KERRIGAN:                                   20   any time after the second abuse about the abuse?
   21      Q. While he was abusing you, did                21      A. No. On the contrary, if I -- no, on
   22   Mr. Perlitz keep his T-shirt on?                   22   the contrary, if I saw him come I would go away
   23          MR. GARABEDIAN: Objection.                  23   in the other direction. I would sit very far
   24      A. Yes, he had his shirt, T-shirt on.           24   from him and pretend not to see him.
   25   BY MR. KERRIGAN:                                   25      Q. After the second time Mr. Perlitz


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    1   abused you, Mr. Lecenat, did you continue with      1          MR. GARABEDIAN: Objection.
    2   your classes at the Village?                        2      A. No.
    3      A. Yeah, I did, but it's like someone who        3   BY MR. KERRIGAN:
    4   is not really there, I couldn't concentrate         4      Q. Did Mr. Perlitz ever give you anything
    5   during any class, I was always thinking about       5   in exchange for sex?
    6   the fact that he put his penis in my butt. I        6          MR. GARABEDIAN: Objection.
    7   was always thinking about it, I was sad, and        7      A. No.
    8   that gave me a lot of problems.                     8   BY MR. KERRIGAN:
    9      Q. How much longer did you take classes          9      Q. Now, Mr. Lecenat, do you believe that
   10   at the Village after the second time Mr. Perlitz   10   you have suffered injury or harm as a result of
   11   abused you?                                        11   the abuse that Mr. Perlitz gave to you?
   12          THE INTERPRETER: How much longer you        12      A. Yes, because he put his penis in my
   13   took --                                            13   butt twice.
   14          MR. KERRIGAN: Classes at the Village.       14      Q. Tell us all the ways in which you
   15          MR. GARABEDIAN: Objection.                  15   believe you were harmed because of Doug
   16      A. I don't really remember. It's all the        16   Perlitz's abuse.
   17   way until when the Village was -- stopped          17          MR. GARABEDIAN: Objection.
   18   working.                                           18      A. I am a victim, of course. This thing
   19   BY MR. KERRIGAN:                                   19   made me lose my girlfriend. I lost my
   20      Q. You continued taking classes right up        20   girlfriend. We were walking together and
   21   until the Village closed, is that correct?         21   someone told her, "look, you're with this fag.
   22      A. Yeah, I did go to school, but I              22   That's Douglas's fag girlfriend." She dropped
   23   couldn't really work at school because of the      23   me as soon as -- she dropped me right away after
   24   fact that Douglas put his penis in my butt. I      24   that. She doesn't want to talk to me anymore.
   25   was there, I was sitting there, but I wasn't       25   She doesn't want to be the girlfriend of a fag.


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    1   really there.                                       1   And I felt like killing myself, that's why I
    2      Q. Mr. Lecenat, the second time                  2   have to drink alcohol and to smoke cigarettes.
    3   Mr. Perlitz abused you, did he ever touch your      3   When I feel that, that gives me a lot of
    4   penis or your testicles?                            4   problems, that's why I had to take to the woods
    5          MR. GARABEDIAN: Objection.                   5   and go to Santo Domingo. I really suffered a
    6      A. He put his hand on my butt, and he put        6   lot of miseries. If I could find names for a
    7   his penis in my butt.                               7   little solution so I could forget some of that,
    8   BY MR. KERRIGAN:                                    8   some of these things.
    9      Q. Did he put his hands on your penis or         9   BY MR. KERRIGAN:
   10   testicles?                                         10       Q. Are there any other ways that you
   11      A. He put his hand on my butt, and he put       11   believe you've suffered as a result of the abuse
   12   his penis in my butt.                              12   by Mr. Perlitz?
   13      Q. But did he touch your penis or your          13       A. Yeah, I feel that I lost -- I have no
   14   testicles, Mr. Lecenat?                            14   hope. I'm losing strength. I'm not really
   15          MR. GARABEDIAN: Objection.                  15   living. I'm in the world, but I have no value,
   16      A. No, he didn't touch my front parts.          16   no importance. I'm here, but I feel like I'm
   17   BY MR. KERRIGAN:                                   17   abandoned.
   18      Q. Did Mr. Perlitz ever give you money or       18       Q. Are there any other ways, Mr. Lecenat,
   19   any kind of a gift or clothes or shoes in          19   that you believe you have suffered as a result
   20   exchange for the abuse that he gave you?           20   of abuse by Mr. Perlitz?
   21          MR. GARABEDIAN: Objection.                  21       A. I feel sometimes I want to drown
   22      A. No.                                          22   myself. When I think too much, I can't sleep.
   23   BY MR. KERRIGAN:                                   23   Sometimes when I go to bed I think about that
   24      Q. Did Mr. Perlitz ever give you anything       24   Douglas put his penis in my butt. When I
   25   valuable in exchange for sex?                      25   finally get to sleep, I have nightmares, so I


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    1   can't sleep. I have difficulty sleeping.            1   could find work. Because of Douglas putting his
    2      Q. And is there anything else,                   2   penis in my butt, everybody is saying "here
    3   Mr. Lecenat, any other ways you believe you've      3   comes the fag." I feel like I would kill
    4   suffered?                                           4   myself. I don't really live. I'm not really a
    5      A. Yeah, I have all the problems because         5   person who is here.
    6   of that.                                            6     Q. When you go to try to get work,
    7      Q. All the problems that you've just told        7   Mr. Lecenat, how do people know that you should
    8   us about, correct?                                  8   be called Mrs. Perlitz, or a fag?
    9          MR. GARABEDIAN: Objection.                   9          MR. GARABEDIAN: Objection.
   10      A. Some of them I don't remember also.          10   BY MR. KERRIGAN:
   11   BY MR. KERRIGAN:                                   11     Q. How would anyone know about that?
   12      Q. Is there anything else that you can          12     A. They knew I was at the Village. They
   13   remember today that you believe you're suffering   13   knew I was at the Village.
   14   from because of abuse by Doug Perlitz?             14     Q. So people in Cap-Haïtien, if they know
   15      A. I have more problems. Every time I go        15   you're from the Village, then they will call you
   16   somewhere to ask for a little bit of work to       16   Mrs. Perlitz and fag?
   17   help myself out, when I get there they say         17     A. Yes, when they know that you're at the
   18   "you're a fag, you're Douglas's girlfriend," I     18   Village.
   19   feel like I could kill myself. And I want to       19     Q. Does it matter whether or not you were
   20   find a solution because I'm suffering too much     20   abused?
   21   because of what Douglas did to me.                 21          MR. GARABEDIAN: Objection.
   22      Q. Now, Mr. Lecenat, did you ever have          22     A. When I go somewhere I feel that I'm --
   23   trouble sleeping before the abuse?                 23   there's no -- there's no stop to it, there's no
   24      A. When Douglas put his penis in my butt,       24   end to it, they always say Ms. Gay, Ms. Fag, and
   25   that's when I started getting all these            25   that goes up to my head. That hurts my head.


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    1   problems.                                           1   BY MR. KERRIGAN:
    2      Q. Did you have any of these problems            2      Q. Mr. Lecenat, are there people that
    3   before the abuse, Mr. Lecenat?                      3   went to the Village who were not abused by Doug
    4          MR. GARABEDIAN: Objection.                   4   who are still called fag?
    5      A. It's when Douglas put his penis in my         5          MR. GARABEDIAN: Objection.
    6   butt that I started having these problems. Up       6      A. I don't know.
    7   to now, I'm still suffering because sometimes my    7   BY MR. KERRIGAN:
    8   butt hurts. Now, right now it hurts.                8      Q. Do you know why people would call you
    9   BY MR. KERRIGAN:                                    9   a fag if you never told them you were abused?
   10      Q. Your buttocks hurt?                          10          MR. GARABEDIAN: Objection.
   11      A. Yes, my butt.                                11      A. As long as you were in the Village,
   12      Q. And how often does that hurt?                12   they knew that the white people were in charge
   13      A. All the time. I'm just like that, and        13   there, and if you were at the Village then you
   14   then I feel that it hurts.                         14   are a fag. They don't need to know anything
   15      Q. How often do you feel helpless, or           15   else.
   16   hopeless, as you say?                              16   BY MR. KERRIGAN:
   17      A. Every time -- every time I think about       17      Q. And you can't get a job if you're a
   18   what Douglas did to me, then I feel I have no      18   fag, is that correct?
   19   hope. If I only had -- I don't have no one to      19      A. Yes. When I get -- when I get
   20   help me out. If I had someone, I could find        20   somewhere, when I go somewhere, they say they
   21   support and wouldn't have all these problems,      21   don't give jobs to fags.
   22   all these sufferings.                              22      Q. Is that because the Haitian culture is
   23      Q. When you say if you had someone, do          23   against homosexuality?
   24   you mean someone like a doctor?                    24          MR. GARABEDIAN: Objection.
   25      A. No. If I could only help myself, if I        25      A. As soon as they see me they give me


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    1   that name, they call me that name. And I can        1   forget it, but I can't forget it.
    2   also say that Douglas destroyed my life in that     2      Q. Do you drink every day?
    3   way.                                                3          MR. GARABEDIAN: Objection.
    4   BY MR. KERRIGAN:                                    4      A. When this thing -- when it goes to my
    5      Q. How many times have you tried to get a        5   head, I just think about it, and I drink and I
    6   job after PPT closed?                               6   smoke, I try to find a little solution to see if
    7          MR. GARABEDIAN: Objection.                   7   I could calm down somewhere.
    8      A. Several times I couldn't find.                8   BY MR. KERRIGAN:
    9   BY MR. KERRIGAN:                                    9      Q. Can you tell me whether you drink
   10      Q. How many?                                    10   every day or not?
   11      A. Several. I don't know. I don't               11          MR. GARABEDIAN: Objection.
   12   remember.                                          12      A. Yeah, I drink alcohol.
   13      Q. You've said earlier that you'd like to       13   BY MR. KERRIGAN:
   14   try to find a solution to your problems. Have      14      Q. Every day?
   15   you sought any treatment from a doctor?            15          MR. GARABEDIAN: Objection.
   16          MR. GARABEDIAN: Objection.                  16      A. Not every day, but I remember when
   17   BY MR. KERRIGAN:                                   17   Douglas put his penis in me, I have no other
   18      Q. Apart from the visit to the Justinian        18   reflection, I just drink alcohol. That's it.
   19   Hospital you've already talked about today.        19   BY MR. KERRIGAN:
   20          MR. GARABEDIAN: Objection.                  20      Q. Do you smoke every day?
   21      A. I never went to the hospital after           21      A. I already said when I think about what
   22   that.                                              22   Douglas, that he put his penis in my butt, I
   23   BY MR. KERRIGAN:                                   23   smoke cigarettes.
   24      Q. Have you ever tried to get therapy or        24      Q. Is that every day or not?
   25   counseling to help you with your problems?         25      A. When I think that Douglas put his

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    1          MR. GARABEDIAN: Objection.                   1   penis in my butt, that's when I do that. Then
    2      A. No, just once I know that I went to           2   it goes to my head.
    3   the hospital, and then...                           3      Q. And you can't tell me how often that
    4   BY MR. KERRIGAN:                                    4   is?
    5      Q. How do you spend your average day             5          MR. GARABEDIAN: Objection.
    6   these days, Mr. Lecenat?                            6      A. When I think about that, I just stay
    7          MR. GARABEDIAN: Objection.                   7   like that, and that gives me a lot of problems,
    8      A. Well, I just stay like that. I wash           8   and then I have to smoke and I drink alcohol. I
    9   myself, then I go to sleep. I always think          9   try to find a little solution. There's no set
   10   about what Douglas did to me. Sometimes I beg      10   time for this.
   11   someone -- I beg and someone gives me 20 to 25     11   BY MR. KERRIGAN:
   12   gourdes, then with the money I smoke and I drink   12      Q. Mr. Lecenat, is there a lot of poverty
   13   alcohol. I try to forget what happened, but it     13   in Cap-Haïtien?
   14   can never get out of my head.                      14          MR. GARABEDIAN: Objection.
   15   BY MR. KERRIGAN:                                   15      A. I don't understand the question.
   16      Q. How often do you drink alcohol?              16   BY MR. KERRIGAN:
   17      A. Many times. I can't know. I can't            17      Q. Are there a lot of poor people in
   18   check.                                             18   Cap-Haïtien?
   19      Q. How often do you smoke?                      19      A. A lot.
   20      A. Many times. I don't know.                    20      Q. Are there a lot of people without jobs
   21      Q. Do you drink every day?                      21   in Cap-Haïtien?
   22      A. When this thing goes to my head I just       22          MR. GARABEDIAN: Objection.
   23   stay like that, and I think about how he put his   23      A. A lot. I'm one of them. If my
   24   penis in my butt. When I have money I buy          24   parents had had a job, then they would have been
   25   alcohol and I smoke. I try to see if I can         25   able to help me and Douglas wouldn't have found


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    1   me to put his penis in my butt, and for me to      1          MR. GARABEDIAN: Objection.
    2   suffer up to now, to suffer with the pain up to    2      A. I don't trust anyone. I don't trust
    3   now.                                               3   anyone else except people who are close to me.
    4   BY MR. KERRIGAN:                                   4   BY MR. KERRIGAN:
    5      Q. And are there a lot of people without        5      Q. And, Mr. Lecenat, you've brought this
    6   jobs in Cap-Haïtien?                               6   case against Douglas Perlitz and others. What
    7          MR. GARABEDIAN: Objection.                  7   do you want out of this case?
    8      A. There are a lot of people without            8      A. I want justice.
    9   work.                                              9      Q. What does "justice" mean?
   10   BY MR. KERRIGAN:                                  10      A. I want justice. Because Douglas
   11      Q. How much money would you need to live       11   abused me, I want to have my life back for a
   12   in a good place in Cap-Haïtien?                   12   second time, a second life. I want to see that
   13          MR. GARABEDIAN: Objection.                 13   I'm living. And what Douglas did to me, I don't
   14      A. I would like you to ask -- talking to       14   want to think about it anymore. I want justice.
   15   the interpreter -- ask him also how much money    15      Q. Would you also like to obtain money as
   16   to buy my life.                                   16   a result of this case?
   17          MR. KERRIGAN: That's a question for        17          MR. GARABEDIAN: Objection.
   18   the interpreter?                                  18      A. I want justice and what I deserve, I
   19          THE INTERPRETER: For you.                  19   want justice.
   20   BY MR. KERRIGAN:                                  20   BY MR. KERRIGAN:
   21      Q. I'm afraid I ask the questions,             21      Q. Does that include money?
   22   Mr. Lecenat.                                      22          MR. GARABEDIAN: Objection.
   23      A. I don't have money to buy my life. No       23      A. No. I didn't say that. I just said I
   24   amount is worth my life.                          24   want justice.
   25      Q. But my question was different,              25   BY MR. KERRIGAN:

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    1   Mr. Lecenat.                                       1      Q. Mr. Lecenat, have you understood the
    2          My question was, how much money would       2   questions that I've asked you today?
    3   you need to get a good place in Cap-Haïtien?       3      A. Yeah, I understand the questions.
    4          MR. GARABEDIAN: Objection.                  4      Q. And if you didn't understand my
    5      A. What's more important is my life.            5   questions you told me, is that right?
    6   BY MR. KERRIGAN:                                   6          MR. GARABEDIAN: Objection.
    7      Q. You don't know how much it would cost        7      A. I told you.
    8   to get a decent place in Cap-Haïtien?              8   BY MR. KERRIGAN:
    9          MR. GARABEDIAN: Objection.                  9      Q. And is there anything that you want to
   10      A. It's my life that's more important. I       10   change about any of the answers that you've
   11   don't know. I don't know how much money I would   11   given to me today?
   12   need. Douglas -- Douglas condemned me, my life    12      A. No, everything is fine.
   13   is nothing.                                       13          MR. KERRIGAN: Thank you very much,
   14   BY MR. KERRIGAN:                                  14   Mr. Lecenat.
   15      Q. But I'm asking you something a little       15          MR. GARABEDIAN: Let's take a break.
   16   bit different, it's just a question about how     16          THE VIDEOGRAPHER: Going off the
   17   much money it would cost to get you a decent      17   record. The time is 4:35.
   18   place to live in Cap-Haïtien.                     18          (Whereupon, a recess was taken.)
   19          MR. GARABEDIAN: Objection.                 19          THE VIDEOGRAPHER: Back on the record.
   20      A. I don't know.                               20   The time is 4:51.
   21   BY MR. KERRIGAN:                                  21   BY MR. CERRETA:
   22      Q. Okay. And tell me, Mr. Lecenat, if          22      Q. Good afternoon, Mr. Lecenat. My name
   23   you could get help for your problems, whether     23   is John Cerreta, and I represent Defendant
   24   through a therapist or a doctor, would you try    24   Fairfield University.
   25   to get that help?                                 25          Have you ever heard of an organization


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    1   called Fairfield University?                        1   that Fairfield University was one of the
    2      A. Yes, Douglas told us about that               2   companies that was helping the Village?
    3   university Fairfield, and one day we had            3     A. Yes, he was always saying that.
    4   T-shirts with the name Fairfield on it, and it      4     Q. Did anybody else tell you that
    5   was Ms. Carter and Father Paul who came with the    5   Fairfield University was one of the companies
    6   T-shirts.                                           6   that was helping the Village?
    7      Q. Did Ms. Carter and Father Paul come to        7     A. Douglas, he rounded up in a group, he
    8   the Village?                                        8   would always talk and say that.
    9      A. Yes. Douglas always talked about              9     Q. Did Douglas tell you how Fairfield
   10   these two people, he said they sponsorize (ph)     10   University was helping the Village?
   11   the project, they help the project, and they're    11     A. Just he said that they were the ones
   12   important for the project.                         12   who were giving -- providing help, aid, and
   13      Q. Did Douglas hand out the T-shirts that       13   sponsorizing the Village. After that, I don't
   14   had Fairfield University on them?                  14   know.
   15      A. It's Douglas -- it's Father Paul and         15     Q. Did he tell you that Fairfield
   16   Ms. Carter who came with them. Douglas             16   University was providing goods for the Village?
   17   distributed them. He rounded up everybody. It      17          MR. GARABEDIAN: Objection.
   18   was in December, during the month of December      18     A. The only thing is that he would always
   19   when -- Christmastime, he came with shorts and     19   say that this is a company that -- when he would
   20   tennis shoes. And Douglas explained to us          20   regroup us, he would say the University of
   21   that -- what university Fairfield was on our       21   Fairfield is the company that would always
   22   T-shirt.                                           22   provide aid or sponsorize the Village. That's
   23      Q. Okay. Did you get a T-shirt that said        23   what I remember. He would always say that.
   24   Fairfield University?                              24   BY MR. CERRETA:
   25      A. Yes.                                         25     Q. Okay. Did Douglas tell you anything

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    1      Q. Did the other children at the Village         1   else about Fairfield University?
    2   get T-shirts that said Fairfield University?        2      A. Only what I told you there.
    3      A. Not everyone. Not every child.                3      Q. Okay. Has anybody, other than your
    4      Q. Do you remember how many children got         4   attorneys in this case, ever told you anything
    5   the T-shirts?                                       5   else about Fairfield University?
    6      A. I don't remember how many children got        6          MR. GARABEDIAN: Objection. I
    7   the T-shirt. All the kids.                          7   instruct him not to answer with regard to the
    8      Q. Was this around Christmastime?                8   attorney/client privilege, with regard to any
    9      A. Yeah, during Christmastime.                   9   communications with his attorneys. You can talk
   10      Q. Were the T-shirts a Christmas present?       10   about anybody else but your attorneys.
   11      A. Yeah. T-shirts, shirts, and tennis           11      A. Only Douglas.
   12   shoes.                                             12   BY MR. CERRETA:
   13      Q. In response to the written questions         13      Q. Do you have any other information
   14   that we sent you before --                         14   about the help that Fairfield University was
   15      A. Yes.                                         15   providing PPT?
   16      Q. -- you said that you understood that         16          MR. GARABEDIAN: Objection.
   17   Fairfield University was one of the companies      17      A. Just that, what I said. What I said
   18   that was helping the Village.                      18   is the only thing I know.
   19          Do you remember saying that in              19          MR. CERRETA: Okay. Thank you very
   20   response to our written questions?                 20   much, Mr. Lecenat. That's all I have for you.
   21      A. Douglas always said it's a company.          21   BY MR. FOLKMAN:
   22   Douglas always said -- always talked about the     22      Q. Sir, I told you this morning, and I'll
   23   people helping the companies -- the Village,       23   remind you, my name is Ted Folkman, I'm Paul
   24   sponsorizing the Village and giving help.          24   Carrier's lawyer. Okay?
   25      Q. Was it Douglas Perlitz that told you         25      A. Okay.


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    1      Q. Aside from the times at the Village           1      Q. Do you know that he found money?
    2   that you said you saw Father Carrier, did you       2      A. I don't know, but I know he found
    3   ever see Father Carrier at any other time?          3   justice.
    4           MR. GARABEDIAN: Objection.                  4      Q. Did he ask you to put your name on the
    5      A. It's always with Ms. Carter at the            5   list before he found justice, or after he found
    6   Village. They always come, Ms. Carter, Father       6   justice?
    7   Paul, and they come with other white people         7          MR. GARABEDIAN: Objection.
    8   also. They come to visit. They take pictures,       8      A. He had already found his justice. I
    9   and they play soccer and basketball.                9   wasn't there.
   10   BY MR. FOLKMAN:                                    10   BY MR. FOLKMAN:
   11      Q. Did you ever see Father Carrier              11      Q. Do you know why he found justice
   12   anywhere other than the Village?                   12   before you even brought your lawsuit?
   13           MR. GARABEDIAN: Objection.                 13          MR. GARABEDIAN: Objection.
   14      A. I see him at the Village. That's             14          What was the question?
   15   where I'm used to seeing him. He comes to          15   BY MR. FOLKMAN:
   16   visit, him, Ms. Carter, with a group of white      16      Q. Do you know why he, Jean-Gary, found
   17   people.                                            17   justice before you even brought your lawsuit?
   18   BY MR. FOLKMAN:                                    18          MR. GARABEDIAN: Objection.
   19      Q. And you never saw him anywhere else,         19      A. I don't know.
   20   right?                                             20   BY MR. FOLKMAN:
   21           MR. GARABEDIAN: Objection.                 21      Q. Did you see anybody else sign that
   22      A. I was at the Village, that's where I         22   list?
   23   used to see him. I didn't see him anywhere         23      A. I put my name on the list. I don't
   24   else. It's when I'm in the Village that I used     24   know.
   25   to see him.                                        25      Q. So you didn't see anybody else sign

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    1   BY MR. FOLKMAN:                                     1   it?
    2      Q. Okay. Let me ask you about the young          2      A. I wrote my name down. But I don't
    3   man named Jean-Gary we were talking about this      3   know.
    4   morning.                                            4      Q. Do you know who he gave the list to?
    5           Do you remember that?                       5      A. He gave it to Cyrus.
    6      A. Yes.                                          6      Q. And how do you know that?
    7      Q. Did you know that Jean-Gary had               7      A. Because my name was on it.
    8   brought a lawsuit against Douglas Perlitz in        8      Q. You know that Jean-Gary gave the list
    9   2012?                                               9   with your name on it to Cyrus because your name
   10           MR. GARABEDIAN: Objection.                 10   was on it?
   11      A. I don't know when he brought a               11          MR. GARABEDIAN: Objection.
   12   lawsuit, but I know when I did.                    12          THE INTERPRETER: I'm sorry. Repeat,
   13   BY MR. FOLKMAN:                                    13   please?
   14      Q. Do you know that he ever brought a           14   BY MR. FOLKMAN:
   15   lawsuit?                                           15      Q. Sure. You know that Jean-Gary gave
   16           MR. GARABEDIAN: Objection.                 16   the list with your name on it to Cyrus because
   17      A. The only thing I know is that he had a       17   your name was on a list?
   18   list in his hand, and he was taking the names of   18          MR. GARABEDIAN: Objection.
   19   people, and I put my name on that list so I        19      A. It's not because of that.
   20   could find my justice.                             20   BY MR. FOLKMAN:
   21   BY MR. FOLKMAN:                                    21      Q. Why is it? How do you know?
   22      Q. Do you know that he found his justice?       22      A. Because my name was on it, I just put
   23           MR. GARABEDIAN: Objection.                 23   my name on it. I couldn't make it that I would
   24      A. Yes.                                         24   be the one to do it just because my name is on
   25   BY MR. FOLKMAN:                                    25   the list.


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    1       Q. Did Jean-Gary say to you "put your           1   carrying blocks at a construction site or doing
    2   name on this list and then I will take it to        2   cement, and the person who was running the place
    3   Cyrus"?                                             3   didn't know you, he wouldn't say you're a fag or
    4       A. I put my name on the list because I          4   you're a masisi, would he?
    5   wanted to see Cyrus. I put my name on the list      5          MR. GARABEDIAN: Objection.
    6   so I could be in contact with Cyrus.                6      A. I never go to look for a job in places
    7       Q. And you knew when you signed the list        7   I don't know. I only go to places that I know.
    8   that it was going to be going to Cyrus?             8   BY MR. FOLKMAN:
    9           MR. GARABEDIAN: Excuse me. I know           9      Q. So you've only ever applied for jobs
   10   you're not doing it on purpose, but you're         10   with people who know you?
   11   getting a little loud. Could you keep it down a    11      A. Yeah, I go to people who could give me
   12   little?                                            12   a job, and when I get there they're just making
   13           MR. FOLKMAN: Okay.                         13   fun of me, they say I'm a fag.
   14           MR. GARABEDIAN: Objection.                 14      Q. And those are people you already know,
   15       A. Yes.                                        15   right?
   16   BY MR. FOLKMAN:                                    16          MR. GARABEDIAN: Objection.
   17       Q. Okay. What jobs are you qualified to        17      A. Yes.
   18   do if you were to get a job?                       18   BY MR. FOLKMAN:
   19       A. In the neighborhood around my house, I      19      Q. Now, you told Mr. Kerrigan, I think,
   20   know how to build houses, I can carry blocks, do   20   just very briefly that you had gone into the
   21   cement, and -- but I just show up and people say   21   forest and gone to Santo Domingo, is that right?
   22   "you're a fag." I have no value, no importance.    22      A. I had too many problems. When Douglas
   23       Q. Where did you learn those skills?           23   put his penis in my butt, I was always thinking
   24       A. I don't understand.                         24   about that. That's problems for all my life.
   25       Q. Where did you learn how to build            25   And I was trying to find a little solution and


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    1   houses?                                             1   see if I could forget that Douglas put his penis
    2      A. No, I didn't say I can build houses.          2   in my butt. And I have so many problems, and I
    3   What I say was I can do the cement and I can        3   can't sleep.
    4   carry blocks.                                       4      Q. So you did go to Santo Domingo, yes?
    5      Q. You said before that people won't hire        5          MR. GARABEDIAN: Objection.
    6   you because they know that you're from the          6      A. Yeah, my girlfriend left me. In the
    7   Village, and that people from the Village are       7   neighborhood I have no value, so I took to the
    8   masisi or Mrs. Perlitz, is that right?              8   woods, to the bushes, and people make fun of me.
    9      A. Yes.                                          9   I always think about that, that my girlfriend
   10      Q. When you meet somebody that you              10   left me, and I don't live well.
   11   haven't met before, do they know that you were     11   BY MR. FOLKMAN:
   12   in the Village?                                    12      Q. When you got to Santo Domingo, did you
   13          MR. GARABEDIAN: Objection.                  13   look for work?
   14      A. No, the ones who knew, they are the          14          MR. GARABEDIAN: Objection.
   15   ones who tell me I'm a fag. Those who don't,       15      A. Work under banana trees.
   16   they don't.                                        16   BY MR. FOLKMAN:
   17   BY MR. FOLKMAN:                                    17      Q. Okay. And when you got that work, did
   18      Q. So if you went to apply for a job with       18   the people that you asked for the job call you a
   19   someone who didn't know you, they wouldn't call    19   fag or masisi?
   20   you a fag, right?                                  20          MR. GARABEDIAN: Objection.
   21          MR. GARABEDIAN: Objection.                  21      A. No, they didn't know.
   22      A. That depends where I go to look for          22   BY MR. FOLKMAN:
   23   the job. I don't have any profession.              23      Q. Right. And if you applied for work
   24   BY MR. FOLKMAN:                                    24   with people in Cap-Haïtien that you didn't know,
   25      Q. If you went to apply for a job               25   do you know what they would tell you?


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    1          MR. GARABEDIAN: Objection.                   1   Catholic?
    2      A. Yeah, they would say you're a                 2      A. No.
    3   girlfriend of a fag. They don't stick -- they       3      Q. Is there a Catholic Church in
    4   don't hang out with fags. That is what they         4   Cap-Haïtien that you've ever attended?
    5   would tell me.                                      5      A. Blue Hills.
    6   BY MR. FOLKMAN:                                     6      Q. There's a church in Blue Hills?
    7      Q. Even people who didn't know you went          7      A. Yes. That's where I did my First
    8   to the Village and had never seen you before?       8   Communion.
    9          MR. GARABEDIAN: Objection.                   9      Q. Does it have a priest?
   10      A. I don't understand.                          10      A. There's no Catholic Church without a
   11   BY MR. FOLKMAN:                                    11   father.
   12      Q. If you went to somebody in Cap-Haïtien       12      Q. And is that your church? Do you think
   13   that had never met you before and didn't know      13   of it as your church?
   14   that you went to the Village, would that person    14           MR. GARABEDIAN: Objection.
   15   know anything about you?                           15      A. It's not my church.
   16          MR. GARABEDIAN: Objection.                  16   BY MR. FOLKMAN:
   17      A. No, they're not going to say anything        17      Q. When you go to church, is that where
   18   bad about me. But if there's somebody that goes    18   you go?
   19   by that knows that -- if I'm in an area and that   19           MR. GARABEDIAN: Objection.
   20   person tells me I'm a masisi, so the person who    20      A. I used to go to Catholic Church, but
   21   didn't know will know about it also.               21   now I'm not choosing Catholic Church anymore.
   22   BY MR. FOLKMAN:                                    22           MR. FOLKMAN: I have no more
   23      Q. But you've never applied for a job           23   questions. Thank you.
   24   with someone who didn't know you?                  24           (Pause.)
   25          MR. GARABEDIAN: Objection.                  25   BY MR. BABBITT:


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    1      A. I'm scared, because of humiliation,           1      Q. Good afternoon. I'm Bradford Babbitt.
    2   and the suffering, and I have no -- I don't         2          Have you ever heard of the Haiti Fund?
    3   trust people, that's why I don't go -- I don't      3      A. No, I don't know.
    4   hang out with people, because of what happened      4      Q. How about the Society of Jesus of New
    5   to me already. I think all the time, and I'm        5   England?
    6   trying to find out how God can help me out.         6      A. I don't remember.
    7   BY MR. FOLKMAN:                                     7      Q. How about the Order of Malta American
    8      Q. So those are the reasons why you have         8   Association?
    9   not applied for a job with someone that you         9      A. I don't remember.
   10   don't know?                                        10          MR. BABBITT: Okay. Thank you.
   11           MR. GARABEDIAN: Objection.                 11   That's all I have.
   12      A. Because Douglas put his penis in my          12          (Pause.)
   13   butt, I'm afraid that people -- I have no          13   BY MR. KENNEDY:
   14   self-confidence. I'm afraid that people at         14      Q. Hi, Mr. Lecenat, my name is Jeff
   15   work, if I find a job somewhere, they will tell    15   Kennedy, I represent Hope Carter.
   16   the people who don't know that I'm Douglas's       16          A couple moments ago you told Attorney
   17   girlfriend, so everybody at the work -- at work    17   Folkman that you saw Hope Carter play
   18   will know.                                         18   basketball?
   19   BY MR. FOLKMAN:                                    19          MR. GARABEDIAN: Objection.
   20      Q. You were baptized a Roman Catholic,          20   BY MR. KENNEDY:
   21   right?                                             21      Q. Is that correct?
   22      A. Yes.                                         22      A. I don't understand that question.
   23      Q. And you had your First Communion?            23      Q. Sir, previously you testified that you
   24      A. Yes.                                         24   saw Hope Carter play basketball and play soccer,
   25      Q. And were you confirmed as a Roman            25   is that correct?


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    1           MR. GARABEDIAN: Objection.                  1      Q. Did you talk about your lawsuit, sir?
    2       A. I don't remember I ever said that.           2         MR. GARABEDIAN: Objection.
    3   BY MR. KENNEDY:                                     3      A. No.
    4       Q. Did you ever see Hope Carter play            4   BY MR. KENNEDY:
    5   basketball?                                         5      Q. Sir, have you ever told Cyrus
    6       A. I don't remember ever seeing that.           6   specifically the -- strike that. I'm sorry.
    7       Q. Did you ever see Hope Carter play            7         Sir, have you ever told Cyrus
    8   soccer?                                             8   specifically what you claim Douglas Perlitz did
    9       A. I don't remember I said that.                9   to you?
   10       Q. Okay. Sir, how did you get here             10         MR. GARABEDIAN: Objection.
   11   today?                                             11      A. Repeat the question, please.
   12           MR. GARABEDIAN: Objection.                 12   BY MR. KENNEDY:
   13       A. I came with a bus, in a bus.                13      Q. Okay. Sir, have you ever told Cyrus
   14   BY MR. KENNEDY:                                    14   specifically what you claim Douglas Perlitz did
   15       Q. And who was on the bus with you, sir?       15   to you?
   16       A. Cyrus Sibert, Jasmin Joseph, and            16         MR. GARABEDIAN: Objection.
   17   Jamesly.                                           17      A. Just -- I just talked to him to ask
   18       Q. And did Cyrus pay for your bus ticket,      18   him to put me in contact with my lawyers.
   19   sir?                                               19   BY MR. KENNEDY:
   20       A. He's the one who made me come here,         20      Q. Okay. But you've never told him
   21   it's thanks to him. I don't know.                  21   specifically what you claim Doug Perlitz did to
   22       Q. But do you know if he paid for your         22   you?
   23   bus ticket, sir?                                   23         MR. GARABEDIAN: Objection. I
   24       A. If I'm here today, here, it's thanks        24   instruct him not to answer as to any
   25   to him. I don't know.                              25   attorney/client communication.

                                           Page 191                                               Page 193
    1      Q. Okay. Is he paying for your hotel             1         THE INTERPRETER: Do I translate?
    2   room, sir?                                          2         MR. GARABEDIAN: You can repeat it.
    3          MR. GARABEDIAN: Objection. I                 3         MR. KERRIGAN: Sure, Nathalie.
    4   instruct him not to answer as to attorney/client    4          MR. GARABEDIAN: I'm sorry.
    5   conversation.                                       5         MR. CERRETA: He gave an answer that
    6      A. I don't know.                                 6   wasn't translated before you gave that
    7   BY MR. KENNEDY:                                     7   instruction.
    8      Q. Now, during the course of your bus            8         MR. GARABEDIAN: Would you, please?
    9   trip from -- did you take the bus from              9      A. I remember I talked to him when I put
   10   Cap-Haïtien to the Dominican Republic, sir?        10   my name on the list. I told him just put me in
   11      A. Yes.                                         11   contact with my lawyers because Douglas put his
   12      Q. How long was that bus trip, sir?             12   penis in my butt, and I am a victim.
   13      A. I didn't check the time.                     13   BY MR. KENNEDY:
   14      Q. Was it several hours, sir?                   14      Q. So you did tell Cyrus that Douglas put
   15      A. I don't know. I didn't check.                15   his penis in your butt, sir?
   16      Q. Okay. Was it more than an hour, sir?         16      A. Yes, because I needed to be in contact
   17      A. I don't remember.                            17   with my lawyers.
   18      Q. Okay. During that bus trip, did you          18      Q. Sir, if you win your lawsuit and
   19   speak to Cyrus?                                    19   you're awarded money damages, will Cyrus be
   20      A. No.                                          20   receiving any of your money damages?
   21      Q. Did you speak to Jamesly?                    21         MR. GARABEDIAN: Objection.
   22      A. We were having fun in the bus, talking       22      A. The Court should give me justice, and
   23   about football and music.                          23   what I deserve. I never signed any contract
   24      Q. Okay.                                        24   with Cyrus.
   25      A. Telling jokes.                               25   BY MR. KENNEDY:


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    1      Q. So you don't have any agreement with          1         INSTRUCTIONS TO WITNESS
    2   Cyrus that if you're awarded money damages that     2
    3   you'll be providing him with some of those          3             Please read your deposition over
    4   damages?                                            4   carefully and make any necessary corrections.
    5          MR. GARABEDIAN: Objection.                   5   You should state the reason in the appropriate
    6      A. I have no contract signed with him.           6   space on the errata sheet for any corrections
    7   BY MR. KENNEDY:                                     7   that are made.
    8      Q. Okay. I know you don't have any               8             After doing so, please sign the
    9   contract signed. But do you have any oral           9   errata sheet and date it. It will be attached
   10   agreement?                                         10   to your deposition.
   11          MR. GARABEDIAN: Objection.                  11             It is imperative that you return
   12      A. No, no.                                      12   the original errata sheet to the deposing
   13   BY MR. KENNEDY:                                    13   attorney within thirty (30) days of receipt of
   14      Q. So you don't have any agreements with        14   the deposition transcript by you. If you fail
   15   Cyrus at all, sir?                                 15   to do so, the deposition transcript may be
   16          MR. GARABEDIAN: Objection.                  16   deemed to be accurate and may be used in court.
   17      A. No.                                          17
   18          MR. KENNEDY: Okay. I have nothing           18
   19   further. Thank you very much.                      19
   20          THE VIDEOGRAPHER: This concludes the        20
   21   May 20th, 2015 deposition. Going off the           21
   22   record. The time is 5:31.                          22
   23          (Whereupon, the deposition was              23
   24          concluded.)                                 24
   25                                                      25


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    1          CERTIFICATE                                  1           ------
    2          I, MAUREEN O'CONNOR POLLARD, LSR #473,                   ERRATA
    3   RMR, CLR, and Notary Public in and for the State    2           ------
    4   of Connecticut, do hereby certify that there        3   PAGE LINE CHANGE
    5   came before me on the 20th day of May, 2015, the    4   ____ ____ _________________________________
    6   person hereinbefore named, who was duly sworn to    5     REASON: __________________________________
    7   testify to the truth of their knowledge             6   ___ ____ __________________________________
    8   concerning the matters in this cause, and their     7     REASON: __________________________________
    9   examination reduced to typewriting under my         8   ____ ____ _________________________________
   10   direction and is a true record of the testimony.
                                                            9     REASON: __________________________________
                                                           10   ____ ____ _________________________________
   11          I further certify that I am neither
                                                           11     REASON: __________________________________
   12   attorney for or related or employed by any of
                                                           12   ____ ____ _________________________________
   13   the parties to the action, and that I am not a
                                                           13     REASON: __________________________________
   14   relative or employee of any attorney or counsel
                                                           14   ____ ____ _________________________________
   15   employed by the parties hereto or financially
                                                           15     REASON: _________________________________
   16   interested in the action.                          16   ____ ____ _________________________________
   17          In witness whereof, I have hereunto         17     REASON: _________________________________
   18   set my hand and seal this 25th day of May, 2015.   18   ____ ____ _________________________________
   19                                                      19     REASON: _________________________________
   20     ________________________________________         20   ____ ____ _________________________________
   21     MAUREEN O'CONNOR POLLARD, License #473           21     REASON: _________________________________
   22     Realtime Systems Administrator, RMR              22   ____ ____ _________________________________
   23     Notary Commission Expires: 10/31/2017            23     REASON: _________________________________
   24                                                      24   ____ ____ _________________________________
   25                                                      25


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    1         ACKNOWLEDGMENT OF DEPONENT
    2
    3             I, __________________________, do
        Hereby certify that I have read the foregoing
    4   pages, and that the same is a correct
        transcription of the answers given by me to the
    5   questions therein propounded, except for the
        corrections or changes in form or substance, if
    6   any, noted in the attached Errata Sheet.
    7
    8   _________________________________
        GEFFRARD LECENAT          DATE
    9
   10
   11
   12
   13
   14
   15   Subscribed and sworn
        To before me this
   16   ______ day of _________________, 20____.
   17   My commission expires: ________________
   18
        _______________________________________
   19   Notary Public
   20
   21
   22
   23
   24
   25


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                                                                       Page 1
                  UNITED STATES DISTRICT COURT
                  DISTRICT OF CONNECTICUT
                                       Civil Action No.
                                       3:13-cv-01132(RNC)
        ****************************
        GERVIL ST. LOUIS, a/k/a ST.    Consolidated with:
        LOUIS GERVIL,                  3:13-cv-1225-RNC
                                       3:13-cv-1269-RNC
                       Plaintiff,      3:13-cv-1437-RNC
                                       3:13-cv-1480-RNC
             v.                        3:13-cv-1626-RNC
                                       3:13-cv-1627-RNC
        DOUGLAS PERLITZ, FATHER        3:13-cv-1628-RNC
        PAUL E. CARRIER, S.J.; HOPE    3:13-cv-1629-RNC
        E. CARTER; HAITI FUND,         3:13-cv-1630-RNC
        INC.; FAIRFIELD UNIVERSITY;    3:13-cv-1631-RNC
        THE SOCIETY OF JESUS OF NEW    3:13-cv-1632-RNC
        ENGLAND; SOVEREIGN MILITARY    3:13-cv-1633-RNC
        HOSPITALLER ORDER OF ST.       3:13-cv-1634-RNC
        JOHN OF JERUSALEM OF RHODES    3:13-cv-1635-RNC
        AND OF MALTA, AMERICAN         3:13-cv-1636-RNC
        ASSOCIATION, U.S.A.; a/k/a     3:13-cv-1637-RNC
        ORDER OF MALTA, AMERICAN       3:13-cv-1638-RNC
        ASSOCIATION, U.S.A.; JOHN      3:13-cv-1639-RNC
        DOE ONE; JOHN DOE TWO; JOHN    3:13-cv-1640-RNC
        DOE THREE; JOHN DOE FOUR;      3:13-cv-1641-RNC
        JOHN DOE FIVE; JOHN DOE SIX    3:13-cv-1642-RNC
        and JOHN DOE SEVEN,            3:13-cv-1644-RNC
                                       3:13-cv-1645-RNC
                       Defendants.     3:13-cv-1647-RNC
                                       3:13-cv-1648-RNC
                                       3:13-cv-1701-RNC
                                       3:13-cv-1767-RNC
                                       3:13-cv-1768-RNC
                                       3:13-cv-1769-RNC
                                       3:13-cv-1881-RNC
                                       3:13-cv-1904-RNC
                                       3:13-cv-1906-RNC
                                       3:13-cv-1907-RNC
        ******************************
        This document applies to:
        All of the above referenced cases
        And those to be filed
        ******************************
        CONFIDENTIAL - SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
             VIDEOTAPED DEPOSITION OF GESNER LECENAT

                    Wednesday, July 29, 2015
                           9:02 a.m.

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                                                      Page 2                                             Page 4
    1     VIDEOTAPED DEPOSITION OF GESNER LECENAT               1   APPEARANCES (Continued):
    2                                                           2
    3                                                           3   FOR THE DEFENDANT HOPE E. CARTER:
    4                                                           4     JEFFREY W. KENNEDY, ESQ.
    5   Held At:                                                5        MILANO & WANAT LLC
    6     Barcelo Puerto Plata                                  6        471 East Main Street
    7     Carretera Luperón, km 5, Puerto Plata 547             7        Branford, Connecticut 06405
    8     Dominican Republic                                    8        203-315-7000
    9                                                           9        jkennedy@mwllc.us
   10                                                          10
   11   REPORTED BY:                                           11   FOR THE DEFENDANT ORDER OF MALTA AMERICAN
   12   Maureen O'Connor Pollard, RMR, CLR, LSR #473           12   ASSOCIATION, U.S.A.:
   13   Realtime Systems Administrator                         13     BRADFORD S. BABBITT, ESQ.
   14                                                          14        ROBINSON & COLE LLP
   15                                                          15        280 Trumbull Street
   16                                                          16        Hartford, Connecticut 06103
   17                                                          17        860-275-8200
   18                                                          18        bbabbitt@rc.com
   19                                                          19
   20                                                          20
   21                                                          21
   22                                                          22
   23                                                          23
   24                                                          24
   25                                                          25


                                                      Page 3                                             Page 5
    1   APPEARANCES:                                            1   APPEARANCES (Continued):
    2   FOR THE PLAINTIFF:                                      2
    3     MITCHELL GARABEDIAN, ESQ.                             3   FOR THE DEFENDANT FAIRFIELD UNIVERSITY:
    4     LU XIA, ESQ.                                          4     JOHN W. CERRETA, ESQ.
    5        LAW OFFICES OF MITCHELL GARABEDIAN                 5       DAY PITNEY LLP
    6        100 State Street, Sixth Floor                      6       242 Trumbull Street
    7        Boston, Massachusetts 02109                        7       Hartford, Connecticut 06103
    8        617-523-6250                                       8       860-275-0100
    9        garabedianlaw@earthlink.com                        9       jcerreta@daypitney.com
   10        lxia@garabedianlaw.com                            10
   11           -and-                                          11   FOR THE DEFENDANT THE SOCIETY OF JESUS OF
   12     G. MICHAEL STEWART, ESQ.                             12   NEW ENGLAND:
   13        SIMMONS HANLY CONROY                              13     LYDIA C. KNIGHT, ESQ.
   14        One Court Street                                  14       SLOANE AND WALSH, LLP
   15        Alton, Illinois 62002                             15       Three Center Plaza, Suite 830
   16        mstewart@simmonsfirm.com                          16       Boston, Massachusetts 02108
   17                                                          17       617-523-6010
   18   FOR THE DEFENDANT PAUL E. CARRIER, S.J.:               18       lknight@sloanewalsh.com
   19     THEODORE J. FOLKMAN, ESQ.                            19
   20       MURPHY & KING, P.C.                                20   Videographer: Christopher Coughlin
   21       One Beacon Street, 21st Floor                      21
   22       Boston, Massachusetts 02108                        22   Interpreter: Nathalie Coupet
   23       617-423-0400                                       23
   24       tjf@murphyking.com                                 24   Also Present:
   25                                                          25   Jean Elyseé Pierre Louis


                                                                                        2 (Pages 2 to 5)
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    1              INDEX                                    1   of Malta.
    2    EXAMINATION                            PAGE        2          MR. STEWART: Mike Stewart on behalf
    3    GESNER LECENAT                                     3   of the Plaintiff.
    4    BY MR. CERRETA                           8         4          MS. XIA: Lui Xia for Plaintiffs.
    5    BY MR. FOLKMAN                          133        5
    6    BY MR. KENNEDY                          142        6         NATHALIE COUPLET, Translator,
    7    BY MS. KNIGHT                         167          7   having been first duly sworn to translate the
    8    BY MR. BABBITT                         175         8   questions and answers accurately to the best of
    9                                                       9   her ability, translated as follows:
   10                                                      10
   11         EXHIBITS                                     11           GESNER LECENAT,
   12    NO.      DESCRIPTION                      PAGE    12   having been first duly sworn, was examined and
   13    1 Complaint and Jury Trial Demand...... 10
                                                           13   testified as follows through the translator:
   14    2 Plaintiff Gesner Lecenat's
                                                           14
           Response to Certain Defendants'
                                                           15          MR. CERRETA: Good morning. Before we
   15      First Set of Interrogatories......... 12
   16                                                      16   start, Mr. Stewart, could we have the standard
   17                                                      17   stipulations we've had in the past?
   18                                                      18          MR. STEWART: We can.
   19                                                      19          DIRECT EXAMINATION
   20                                                      20   BY MR. CERRETA:
   21                                                      21      Q. Would you please state your name.
   22                                                      22      A. My name is Lecenat Gesner.
   23                                                      23      Q. And what is your date of birth?
   24                                                      24      A. Tenth month, ninth day of the year
   25                                                      25   1991.

                                               Page 7                                                    Page 9
    1        PROCEEDINGS                                    1      Q. Do you understand you just swore to
    2                                                       2   tell the truth at your testimony today?
    3           THE VIDEOGRAPHER: We are now on the         3      A. Yes.
    4   record. My name is Chris Coughlin, I'm a            4      Q. Is there any problem that would
    5   videographer for Golkow Technologies.               5   prevent you from telling the truth at your
    6           Today's date is July 29, 2015, and the      6   testimony today?
    7   time is 9:02 a.m..                                  7      A. Nothing. There's nothing.
    8           This video deposition is being held in      8      Q. Are you taking any medication that
    9   Puerto Plata, Dominican Republic, in the matter     9   might impair your abilities today?
   10   of Gervil, St. Louis versus Douglas Perlitz, et    10      A. No.
   11   al, in the United States District Court,           11      Q. Do you understand the interpreter when
   12   District of Connecticut.                           12   she's speaking to you?
   13           The deponent is Gesner Lecenat.            13      A. Yes.
   14           Will counsel please identify               14      Q. Mr. Lecenat, do you speak any English?
   15   yourselves for the record.                         15      A. No.
   16           MR. CERRETA: Good morning. My name         16      Q. Are you able to understand any English
   17   is John Cerreta for Fairfield University.          17   when it's spoken to you?
   18           MR. FOLKMAN: Good morning. Ted             18      A. No.
   19   Folkman for Father Paul Carrier.                   19      Q. Do you speak Haitian Creole?
   20           MS. KNIGHT: Good morning. Lydia            20      A. Yes. I'm a Haïtian, I speak Haitian
   21   Knight for the Society of Jesus of New England.    21   Creole.
   22           MR. KENNEDY: Good morning. Jeff            22      Q. Are you able to read Creole?
   23   Kennedy for Hope Carter.                           23      A. Not very well.
   24           MR. BABBITT: I'm Bradford Babbitt, I       24      Q. Are you able to read a little bit of
   25   represent the American Association for the Order   25   Creole?


                                                                                 3 (Pages 6 to 9)
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    1       A. A little bit, just a little bit. A           1   of your knowledge?
    2   little bit, just a little bit, because I didn't     2      A. Yes.
    3   have time -- you know, I just can do it a little    3      Q. I'm going to give you another
    4   bit.                                                4   document. This one has been marked as
    5       Q. Are you able to write any Creole?            5   Exhibit 2.
    6       A. Not very well. I can't write in              6          (Whereupon, Lecenat Exhibit Number 2,
    7   Creole.                                             7          Plaintiff Gesner Lecenat's Response to
    8       Q. I'd like to direct your attention to         8          Certain Defendants' First Set of
    9   what's been premarked as Exhibit 1.                 9          Interrogatories, was marked for
   10           (Whereupon, Lecenat Exhibit Number 1,      10          identification.)
   11           Complaint and Jury Trial Demand, was       11   BY MR. CERRETA:
   12           marked for identification.)                12      Q. Do you recognize this document,
   13   BY MR. CERRETA:                                    13   Mr. Lecenat?
   14       Q. Mr. Lecenat, do you see your name at        14      A. Yes.
   15   the top of that document?                          15      Q. What is this document?
   16       A. Yes, I see my name.                         16      A. I don't know.
   17       Q. Do you know what this document is?          17      Q. Would you mind just flipping the
   18       A. I had a document like that, I signed        18   document to about halfway through?
   19   it, but it's an interpreter who helped me          19          MR. STEWART: Do you want him to do
   20   because I couldn't -- I couldn't understand.       20   the Haitian?
   21   It's someone who helped me.                        21          MR. CERRETA: Yes, to the first page
   22       Q. I'm going to represent to you that          22   of the Haitian.
   23   this is a document called a Complaint that was     23      A. I see it. I see it's in Creole, but I
   24   filed on your behalf to start your case against    24   can't read it.
   25   certain people and certain organizations who are   25   BY MR. CERRETA:

                                             Page 11                                                 Page 13
    1   the Defendants. Do you remember a document like     1      Q. Okay. I'm going to represent to you
    2   that?                                               2   that these are some questions that the people in
    3          MR. STEWART: Objection.                      3   organizations who are the Defendants sent to you
    4       A. I remember a document like this. I           4   in this case. Do you remember that?
    5   signed something like that, but it's someone who    5          MR. STEWART: Objection.
    6   told me what it is because I couldn't understand    6      A. I don't remember.
    7   it.                                                 7   BY MR. CERRETA:
    8   BY MR. CERRETA:                                     8      Q. Do you remember receiving some written
    9       Q. Did someone read its contents to you?        9   questions in this case?
   10       A. Yes.                                        10          MR. STEWART: Objection.
   11       Q. Was it an interpreter who helped you        11      A. If I remember what?
   12   understand the contents of the document?           12   BY MR. CERRETA:
   13          MR. STEWART: I'm going to object to         13      Q. Did you ever have to answer any
   14   the extent that you're asking about                14   questions from the Defendants in this case in
   15   attorney/client privileges and instruct him not    15   writing?
   16   to answer.                                         16      A. Yes.
   17          You started to drift into what his          17      Q. And did someone read the questions to
   18   conversations with his attorneys might have        18   you in Creole?
   19   been. It's the word "understand."                  19      A. There was someone to help me
   20   BY MR. CERRETA:                                    20   understand, because I don't know anything.
   21       Q. Do you remember when this document was      21      Q. And did you answer the questions?
   22   read to you?                                       22      A. I had someone to help me understand
   23       A. No.                                         23   them, and when I answered I answered.
   24       Q. When the document was read to you,          24      Q. Mr. Lecenat, could I ask you to flip
   25   were all of its contents accurate, to the best     25   to the very last page of that document? Is that


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    1   your signature on the last page?                    1   anything to prepare for today's deposition. And
    2      A. Yes.                                          2   you can answer that question yes or no.
    3      Q. Do you remember giving that signature         3       A. Everything I said, I am the one who
    4   after you had answered the written questions?       4   said them. I'm the one who recalled them, so
    5      A. Yes.                                          5   I'm the one who will say them again.
    6      Q. And did you understand that when you          6       Q. Okay. Before you came into the room
    7   signed your name you were saying that the           7   to testify today, did you do anything to get
    8   answers were true and accurate to the best of       8   ready for today's testimony? And I only want
    9   your knowledge?                                     9   you to answer yes or no.
   10      A. Yes.                                         10       A. Just I only spoke to my lawyer, that's
   11      Q. Were your answers true and accurate to       11   it.
   12   the best of your knowledge?                        12       Q. Okay. Did you have a chance to review
   13          MR. STEWART: Objection.                     13   any documents to get ready for today's
   14      A. Yes.                                         14   deposition?
   15   BY MR. CERRETA:                                    15          MR. STEWART: Object.
   16      Q. When you gave your answers to these          16          To the extent that you're asking him
   17   written questions, was there anyone else besides   17   to disclose attorney/client conversations or
   18   you and the interpreter there?                     18   invade the provenance of attorney/client
   19          MR. STEWART: Objection.                     19   communications, I instruct him not to answer.
   20          To the extent that you're asking for        20       A. I understand the question, but it's
   21   conversations between him and his attorney,        21   between me and my lawyers.
   22   seeking to invade the attorney/client privilege,   22   BY MR. CERRETA:
   23   instruct my client not to answer.                  23       Q. Right. I don't want you to tell me
   24          What are you looking for?                   24   anything that was said between you and your
   25          MR. CERRETA: I thought it was a yes         25   lawyers. I don't want you to disclose any the

                                            Page 15                                                  Page 17
    1   or no question.                                     1   conversations that you had with your lawyers.
    2   BY MR. CERRETA:                                     2   But what I was asking was if you read any
    3      Q. When you gave your answers to these           3   documents to get ready, which you can answer yes
    4   questions, was there anyone else besides you and    4   or no.
    5   the interpreter present? And you can answer         5      A. Well, I didn't -- I can't read, so I
    6   that yes or no.                                     6   didn't take any document to read them.
    7          MR. STEWART: Same objection.                 7      Q. Okay. Did you look at any videos or
    8      A. The interpreter and I.                        8   pictures to get ready?
    9   BY MR. CERRETA:                                     9      A. No.
   10      Q. Was it just the interpreter and you?         10      Q. Did you talk with anyone else, other
   11          MR. STEWART: Same objection.                11   than your attorneys?
   12      A. Yes.                                         12      A. No.
   13   BY MR. CERRETA:                                    13      Q. Do you have a brother named Geffrard
   14      Q. Do you remember where you were when          14   Lecenat?
   15   you were giving these answers?                     15      A. Yes.
   16      A. I don't know.                                16      Q. Do you know that he was deposed here
   17      Q. Did you do anything to prepare for           17   in the Dominican Republic back in May?
   18   today's deposition beforehand?                     18      A. Yes.
   19          MR. STEWART: To the extent that             19      Q. Did you talk to him about his
   20   you're asking about attorney/client                20   deposition?
   21   conversations, I'm going to instruct him not to    21      A. No.
   22   answer. If you want to know something else, you    22      Q. When was the last time you talked to
   23   can ask that.                                      23   your brother?
   24   BY MR. CERRETA:                                    24      A. We talk all the time. We talk almost
   25      Q. I was just wondering if you did              25   every day because we stay at the same place, but


                                                                            5 (Pages 14 to 17)
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    1   we never talk about things like that.               1          MR. STEWART: Objection.
    2      Q. So you haven't had any conversations          2      A. I forgot all my past. I live for the
    3   with your brother about his deposition back in      3   present.
    4   May?                                                4   BY MR. CERRETA:
    5         MR. STEWART: Objection.                       5      Q. Okay. Do you remember where she
    6      A. No.                                           6   lived?
    7   BY MR. CERRETA:                                     7      A. I don't remember things like that.
    8      Q. Have you talked to your brother about         8      Q. Did she live in Haiti?
    9   your upcoming deposition that you're here for       9      A. Yes, I remember, but -- yes, she lived
   10   today?                                             10   in Haiti, but I don't remember.
   11      A. No.                                          11      Q. Did she live in Cap-Haïtien?
   12      Q. Do you ever talk about the case that         12      A. I don't remember from which region.
   13   you both have in the court in the United States?   13      Q. Did you ever go to her house?
   14      A. We never talk about this. We talk            14      A. No.
   15   about other things, but we never talk about        15      Q. Where would you get together with her?
   16   this.                                              16      A. In the street.
   17      Q. Did you talk with anybody else to get        17      Q. And you can't remember even
   18   ready for today's deposition, besides your         18   approximately how long you two were together, is
   19   attorneys?                                         19   that right?
   20      A. No.                                          20          MR. STEWART: Objection.
   21      Q. Are you married, Mr. Lecenat?                21      A. No.
   22      A. No.                                          22   BY MR. CERRETA:
   23      Q. Have you ever been?                          23      Q. Besides this one relationship, have
   24      A. I was never married. I'm not married.        24   you had any other relationships?
   25      Q. Do you have -- are you in a                  25      A. No.


                                             Page 19                                                 Page 21
    1   relationship currently?                             1      Q. Do you have any children?
    2      A. No.                                           2      A. No.
    3      Q. Have you had any prior relationships,         3      Q. Where do you live right now?
    4   any previous girlfriends?                           4      A. I live in Cap-Haïtien.
    5      A. I had a girlfriend, but I don't have a        5      Q. What part of Cap-Haïtien?
    6   girlfriend now.                                     6      A. In the area called Blue Hills.
    7      Q. What was her name?                            7      Q. Is there a street or an address for
    8      A. I don't have a girlfriend, so I can't         8   where you live in the Blue Hills?
    9   give her name.                                      9      A. I don't have a number. I don't have a
   10      Q. What was the name of your previous           10   street. I just stay at Blue Hills.
   11   girlfriend who you're no longer with?              11      Q. Do you stay at a house in Blue Hills?
   12      A. Well, I wasn't with her anymore, it's        12      A. Yes.
   13   been -- so I forgot her name.                      13      Q. Who else lives with you at the house
   14      Q. Well, when did you two go out?               14   in Blue Hills?
   15      A. I don't remember these things. It's          15      A. All my family.
   16   over.                                              16      Q. What are the names of the people who
   17      Q. How old are you now?                         17   live there with you?
   18      A. I'm 24 years old.                            18      A. I have my brother Geffrard. I have my
   19      Q. How old were you when you went out           19   sister Djoulie and Ginia. I have my brother
   20   with this girl?                                    20   Emmanuel and Francoly. I have my grandmother,
   21      A. I don't remember.                            21   Maze; my grandfather, Amos; my aunt, Jessica.
   22      Q. How long were you together?                  22   We all live together. We're many. There's many
   23      A. I don't remember things like that.           23   of us in the house.
   24      Q. Just roughly. Was it days, many days,        24      Q. Okay. You mentioned Djoulie. Is that
   25   weeks, months, years that you were together?       25   one of your sisters who lives in the house?


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    1      A. Ginia.                                        1      A. I don't know.
    2      Q. How old is she?                               2      Q. Did he ever live with you as you two
    3      A. I don't remember.                             3   were growing up?
    4      Q. Is she younger than you, or older than        4      A. He used to come, but he never stayed,
    5   you?                                                5   and then he left.
    6      A. Older.                                        6      Q. Do you know what he does for work?
    7      Q. Does she do anything for work?                7      A. He works with electricity.
    8      A. She's not working.                            8      Q. Do you know how old he is?
    9      Q. Francoly Lecenat, is that one of the          9      A. No.
   10   siblings you mentioned?                            10      Q. Is he younger or older than you?
   11      A. Francoly. Francoly.                          11      A. He's older.
   12      Q. How old is Francoly?                         12      Q. Ingly Lecenat, that's another one of
   13      A. I don't remember.                            13   the sisters you mentioned, am I getting that
   14      Q. Is he younger or older than you?             14   right?
   15      A. Smaller.                                     15      A. Yes.
   16      Q. Is he a child or a grown man?                16      Q. Does she live in the Dominican
   17      A. It's a child.                                17   Republic, too?
   18      Q. Is he under ten?                             18      A. Yes.
   19      A. I don't know. I don't know his age,          19      Q. Do you know how old Ingly is?
   20   because he's smaller.                              20      A. No.
   21      Q. Does he go to school?                        21      Q. Do you know what she does for work?
   22      A. No.                                          22      A. No.
   23      Q. Emmanuel Lecenat, is that one of the         23      Q. Is she younger or older than you?
   24   ones you mentioned?                                24      A. She's older.
   25      A. He's my brother.                             25      Q. Were you two ever living in the same

                                             Page 23                                                 Page 25
    1      Q. Is he younger or older than you?              1   home when you were growing up as children?
    2      A. He's younger.                                 2      A. No.
    3      Q. Is he a small kid?                            3      Q. How about Carline Lecenat, how old is
    4      A. He's a child.                                 4   she?
    5      Q. Does he go to school?                         5      A. I don't know. Carline and Caroline,
    6      A. No.                                           6   they're two small children, I don't know how old
    7      Q. Geffrard Lecenat, that's your brother?        7   they are.
    8      A. Yes.                                          8      Q. Where do Carline and -- do Carline and
    9      Q. Does he live with you at the house in         9   Caroline both live in the Dominican Republic?
   10   Blue Hills?                                        10      A. Yes.
   11      A. Yes.                                         11      Q. Do they live -- who do they live with
   12      Q. Does he have a job?                          12   in the Dominican Republic?
   13      A. No.                                          13      A. With their father.
   14      Q. Do you have any other brothers or            14      Q. Do you have any other brothers or
   15   sisters who are not living with you at the house   15   sisters, other than those you've mentioned?
   16   in Blue Hills?                                     16      A. No.
   17      A. Yes.                                         17      Q. I'm sorry, you mentioned a Ginia
   18      Q. What are their names?                        18   Lecenat? Do you have a sister named Ginia
   19      A. I have Carline, Caroline, and Ingly,         19   Lecenat?
   20   three girls. I have a brother Frantzdy.            20      A. Yes.
   21      Q. Where does Frantzdy live, your               21      Q. Where does Ginia live?
   22   brother?                                           22      A. Sometimes she goes to the Dominican
   23      A. In the Dominican Republic.                   23   Republic, sometimes she stays in the same house
   24      Q. How long has he been living in the           24   with us.
   25   Dominican Republic?                                25      Q. Where is she residing right now?


                                                                           7 (Pages 22 to 25)
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    1      A. Now she went to the Dominican             1      A. Yes.
    2   Republic.                                       2      Q. What is his name?
    3      Q. How long ago did she leave for the        3      A. Lefran Lecenat.
    4   Dominican Republic?                             4      Q. Does he have a job?
    5      A. I don't remember.                         5      A. He works with electricity, electricity
    6      Q. Is she younger or older than you?         6   field, field of electricity.
    7      A. She's younger.                            7      Q. What part of the Dominican Republic
    8      Q. Do you know how old she is?               8   does he live in?
    9      A. No.                                       9      A. I don't know. I don't. I don't.
   10      Q. Is she a teenager, or an adolescent?     10      Q. Have you ever been to visit him in the
   11      A. A child. She's a child.                  11   Dominican Republic?
   12      Q. Okay. So she does also live with her     12      A. No.
   13   father in the Dominican Republic?              13      Q. When you were growing up in
   14      A. Yes.                                     14   Cap-Haïtien, was your father present and part of
   15      Q. And her father is not your father, is    15   your life?
   16   that correct?                                  16      A. No.
   17      A. We have the same father.                 17      Q. Did your father provide any money to
   18      Q. Oh, you have the same father.            18   support the family back in Haiti?
   19          Do you have the same mother?            19           MR. STEWART: Objection.
   20      A. Yes, we have the same mother, but our    20      A. No.
   21   mother died.                                   21   BY MR. CERRETA:
   22      Q. Was your mother's name Irène Lamour?     22      Q. When was the last time you saw your
   23   Am I getting that right?                       23   father?
   24      A. Yes.                                     24      A. I don't remember.
   25      Q. When did your mother pass away?          25      Q. Do you have any memory of meeting your


                                          Page 27                                               Page 29
    1      A. I don't remember.                         1   father and speaking with him?
    2     Q. Before I ask about that, do you have       2          THE TRANSLATOR: Do you have any
    3   any other siblings, other than the ones that    3   memory of?
    4   we've gone through today?                       4      Q. Of meeting your father and speaking
    5      A. I don't have any other.                   5   with him.
    6      Q. How old were you when your mother         6      A. I don't remember that.
    7   passed away?                                    7      Q. Okay. Was there ever a time when your
    8      A. I don't remember.                         8   father and your mother were living together in
    9     Q. Were you a small child?                    9   the same place?
   10      A. Yes.                                     10          MR. STEWART: Objection.
   11     Q. Were you attending school at the time?    11      A. No.
   12     A. When my mother died, I was living in      12   BY MR. CERRETA:
   13   the street.                                    13      Q. Do I have it right that you said
   14     Q. Was it before or after you started        14   previously your grandparents also live with you
   15   going to PPT?                                  15   at the house in Blue Hills?
   16     A. When my mother died, before I was         16      A. Yes.
   17   going to PPT.                                  17      Q. And what is your grandfather's name?
   18      Q. Do you have any memory of your mother?   18      A. Amos Lamour.
   19      A. I don't remember.                        19      Q. Does he do anything for work?
   20     Q. Before she passed away, did she do        20      A. He's not -- he wasn't -- he's not
   21   anything for work?                             21   working. He used to do landscaping. Now he's
   22      A. No.                                      22   not working anymore.
   23      Q. Okay. And you previously mentioned       23      Q. Your grandfather Amos, was that your
   24   your father. Is he currently living in the     24   mother's father?
   25   Dominican Republic?                            25      A. Yes.


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    1      Q. And what is your grandmother's name?          1   mean you and all of your siblings who live there
    2      A. Maze.                                         2   at the house in Blue Hills?
    3      Q. Does your grandmother do anything for         3      A. Yes.
    4   work?                                               4      Q. And then who lives in the -- or who
    5      A. No.                                           5   sleeps in the other bedroom?
    6      Q. And is your grandmother your mother's         6      A. My grandmother and grandfather.
    7   mother?                                             7      Q. How long have you been living at that
    8      A. Yes.                                          8   house in Blue Hills?
    9      Q. So how many people altogether are             9      A. I don't remember.
   10   living at the house in Blue Hills?                 10      Q. Do you have any memory of living
   11          MR. STEWART: Objection.                     11   anywhere else besides the house in Blue Hills?
   12      A. I don't remember how many we are.            12          MR. STEWART: Objection.
   13   BY MR. CERRETA:                                    13      A. No, I don't remember this.
   14      Q. Okay. Well, it's your two                    14   BY MR. CERRETA:
   15   grandparents, right?                               15      Q. Do you know where you were born?
   16      A. They're the old people.                      16      A. I was born in Champin.
   17      Q. And then there's you.                        17      Q. Is that in Haiti?
   18          Are you presently living at the house       18      A. Yes.
   19   in Blue Hills?                                     19      Q. Is that a town or a city?
   20      A. Yes.                                         20      A. No.
   21      Q. And the siblings that we discussed           21      Q. Is Champin part of Cap-Haïtien?
   22   that are not living in the Dominican Republic,     22      A. Yes.
   23   are all of them also living at the house in Blue   23      Q. How far is it from the Blue Hills
   24   Hills?                                             24   section where you live?
   25      A. Yes.                                         25      A. I don't remember. I don't know.


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    1      Q. Is there anybody else living with you         1      Q. So have you been living at this house
    2   all at the house in Blue Hills?                     2   in Blue Hills all your life?
    3      A. Just us, we family members together.          3      A. Yes.
    4      Q. How many rooms does the house in Blue         4      Q. Was there ever a time in your life
    5   Hills have?                                         5   when you were spending some time on the streets
    6      A. Two bedrooms.                                 6   with no place to sleep at night?
    7      Q. What other rooms besides the two              7      A. Yes.
    8   bedrooms are there in the house?                    8      Q. Was that after your mother passed
    9      A. No.                                           9   away?
   10      Q. Is there a kitchen?                          10      A. Yes.
   11      A. No.                                          11      Q. How old were you when you --
   12      Q. Is there kind of a living area or a          12      A. I don't remember.
   13   common area besides the two bedrooms?              13      Q. Were you a small child?
   14      A. No.                                          14      A. Yes.
   15      Q. Is it just the two bedrooms, and those       15      Q. Why was it that you had to be on the
   16   are the only two rooms in the house?               16   streets?
   17      A. Yes.                                         17      A. Because I had nowhere to go.
   18      Q. So do you have to share a bedroom with       18      Q. Before this, had you been living at
   19   some of your other family members at the house     19   the house in Blue Hills with your mother and
   20   in Blue Hills?                                     20   your other siblings?
   21      A. Yes.                                         21      A. Yes.
   22      Q. Who do you share a bedroom with at the       22      Q. And then after your mother died, did
   23   house?                                             23   you have to leave the home?
   24      A. All the kids together.                       24      A. Yes.
   25      Q. When you say "all the kids," do you          25      Q. Why was that, that you had to leave?


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    1      A. Because I wasn't living well. I had           1   they do.
    2   no life inside the house.                           2   BY MR. CERRETA:
    3      Q. Did any of your other brothers or             3      Q. When you were living in the streets,
    4   sisters leave the house with you and go out into    4   would you wash cars and sweep cars?
    5   the streets?                                        5      A. Yes.
    6           MR. STEWART: Objection.                     6      Q. Where would you sleep?
    7      A. Yes.                                          7      A. In the street, on the porches of
    8   BY MR. CERRETA:                                     8   people's houses.
    9      Q. What were their names?                        9      Q. With the money that you got from
   10      A. Geffrard. Beside him, I don't know,          10   washing the cars, did you use that to get some
   11   because I didn't go often back to the house.       11   food?
   12      Q. How long were you out on the streets         12      A. Yes.
   13   not staying at the house?                          13      Q. Were there ever times when you weren't
   14      A. I don't remember.                            14   able to earn enough money to get some food?
   15      Q. Was it a matter of years, or was it a        15      A. Yes.
   16   shorter period than a year, if you had to          16      Q. Did you ever have any other -- did you
   17   estimate?                                          17   ever have any problems with the police while you
   18           MR. STEWART: Objection.                    18   were out on the street?
   19      A. Several years.                               19          MR. STEWART: Objection.
   20           MR. STEWART: I want to take a break,       20      A. I didn't have any problems with the
   21   is this okay? Take a break.                        21   police. When the police was in the street it
   22           MR. CERRETA: Yes. Absolutely.              22   was better for me because I had protection, I
   23           THE VIDEOGRAPHER: Going off the            23   felt safer.
   24   record. The time is 9:55.                          24   BY MR. CERRETA:
   25           (Whereupon, a recess was taken.)           25      Q. Were the streets of Cap-Haïtien a


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    1          THE VIDEOGRAPHER: Back on the record.        1   dangerous place for a child to be living back
    2   The time is 10:09.                                  2   then?
    3   BY MR. CERRETA:                                     3      A. Yes.
    4      Q. Mr. Lecenat, before the break I               4      Q. What were some of the dangers that you
    5   believe you had said that you lived on the          5   faced as a child living on the streets in
    6   streets for a period of several years after your    6   Cap-Haïtien?
    7   mother died, is that right?                         7      A. Sometimes bottles would be thrown,
    8      A. Yes.                                          8   there would be big strikes that would be a
    9      Q. And were you with your brother                9   danger for us.
   10   Geffrard a lot of the times when you were out on   10      Q. When you say a big strike, was this
   11   the streets?                                       11   like a demonstration in the streets with a lot
   12      A. Yes.                                         12   of people gathered?
   13      Q. Were there other people with whom you        13      A. Yes. They would burn tires and throw
   14   spent time while you were out on the streets?      14   bottles.
   15          THE TRANSLATOR: Can you repeat,             15      Q. Were you ever hit with a bottle, or a
   16   please?                                            16   tire, or any other object?
   17      Q. Were there others with whom you spent        17      A. They've thrown bottles, I've already
   18   time while you were out on the streets?            18   been hit by a bottle, and after that I just
   19      A. Yeah, on the street there are a lot of       19   accepted my fate.
   20   children, always a lot of children.                20      Q. You were hit by a bottle, is that
   21      Q. What would a typical day be like out         21   right?
   22   on -- for a child living out on the streets?       22      A. Yes, bottles have hit me. I was hit
   23          MR. STEWART: Objection.                     23   by bottles.
   24      A. A child in the streets, well, all day        24      Q. Were you ever threatened physically by
   25   they wash cars, they sweep cars, that's what       25   anyone, aside from the bottle incident?


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    1      A. I don't understand.                           1      A. No.
    2      Q. Did you ever get into an altercation,         2      Q. So at some point after several years
    3   a physical altercation, with another person         3   of living on the streets, did you return to the
    4   while you were living on the streets?               4   house in Blue Hills?
    5      A. We are always fighting among                  5      A. No. It's a long time after that that
    6   ourselves.                                          6   I went back to the house in Blue Hills.
    7      Q. How often did you get in fights when          7      Q. What prompted you to go back to the
    8   you were living on the streets?                     8   house in Blue Hills?
    9      A. I don't remember.                             9      A. After I was at the PPT.
   10      Q. Could you put any kind of general            10      Q. Okay. Did the people at PPT encourage
   11   number on it; say less than five times, more       11   you to go back to the house in Blue Hills?
   12   than ten times, any general estimate?              12      A. I went back.
   13          MR. STEWART: Objection.                     13      Q. What made you want to go back to the
   14      A. I don't remember.                            14   house?
   15   BY MR. CERRETA:                                    15      A. I went back because I wanted to
   16      Q. Were these fights with other children        16   find -- to get education, that's why I went
   17   who were also living on the streets?               17   back.
   18      A. Yes.                                         18      Q. Did the people at PPT say you needed
   19      Q. Did you ever get into a physical             19   to go back to the house in order to further your
   20   altercation with an adult when you were a child    20   education?
   21   living on the streets?                             21      A. Yes.
   22      A. No.                                          22      Q. Who at PPT told you that?
   23      Q. Were you ever threatened with any            23      A. The teachers.
   24   sexual abuse while you were a child living on      24      Q. Was this the teachers at 13th Street?
   25   the streets?                                       25      A. Yes.

                                            Page 39                                                  Page 41
    1          MR. STEWART: Objection.                      1      Q. When you went back, were your
    2      A. No.                                           2   grandparents living at the house in Blue Hills?
    3   BY MR. CERRETA:                                     3      A. Yes.
    4      Q. How about other kids that you used to         4      Q. While you were on the streets, had
    5   see on the streets, did you ever see anyone else    5   they always been still living at the house in
    6   get in a physical altercation?                      6   Blue Hills?
    7      A. I don't know. I don't remember.               7      A. Yes.
    8      Q. Were there other kids on the streets          8      Q. Were they happy to have you back in
    9   who were ever threatened with sexual abuse?         9   the house in Blue Hills?
   10          MR. STEWART: Objection.                     10          MR. STEWART: Objection.
   11      A. I don't know.                                11      A. Yes.
   12   BY MR. CERRETA:                                    12   BY MR. CERRETA:
   13      Q. Did you ever carry any weapons when          13      Q. When you had first left the house in
   14   you were living on the streets?                    14   Blue Hills, had your grandparents forced you out
   15          MR. STEWART: Objection.                     15   into the streets?
   16      A. No.                                          16      A. They didn't see me. They didn't get a
   17   BY MR. CERRETA:                                    17   chance to see me.
   18      Q. Were there other children on the             18      Q. Does that mean that you left without
   19   streets who carried weapons?                       19   them knowing that you were leaving the house?
   20          MR. STEWART: Objection.                     20      A. Yes.
   21      A. I don't know.                                21      Q. How often would -- well, did you ever
   22   BY MR. CERRETA:                                    22   see your grandparents during the time you were
   23      Q. Besides the house in Blue Hills and          23   living on the streets?
   24   the period of time when you were living on the     24      A. No.
   25   streets, have you ever lived anywhere else?        25      Q. So when you returned back to the house


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    1   in Blue Hills to live, was it the first time you    1   some shows on radio, that's why I know who he
    2   had seen them since you had left several years      2   is.
    3   earlier?                                            3       Q. Is Cyrus Sibert a journalist in
    4      A. Yes.                                          4   Cap-Haïtien?
    5      Q. Are you currently employed,                   5       A. Yes.
    6   Mr. Lecenat?                                        6       Q. Is Cyrus Sibert a politician in
    7      A. No.                                           7   Cap-Haïtien?
    8      Q. Have you ever been employed?                  8       A. Of course.
    9          MR. STEWART: Objection.                      9       Q. Has Cyrus Sibert ever given you any
   10      A. I used to have work, I used to mix the       10   money?
   11   cement and to make it rise, but then they called   11       A. He has given me money.
   12   me fag, Douglas's girlfriend, so I couldn't find   12       Q. How much money has he given you?
   13   work anymore, so I stayed home, lying down         13       A. I've gotten 300 US dollars from Cyrus
   14   sleeping.                                          14   Sibert.
   15   BY MR. CERRETA:                                    15       Q. When did he give you the money?
   16      Q. When was the last time you did the           16       A. I don't remember exactly. It's when I
   17   mixing cement work?                                17   go to see him when I have problems, he's helped
   18      A. I don't remember.                            18   me.
   19      Q. Did you work for a particular person         19       Q. When did you first meet Cyrus Sibert?
   20   or company?                                        20       A. I don't remember.
   21      A. A person. A person. I couldn't find          21       Q. Was it before or after PPT closed?
   22   any work for a company, so it's a person who was   22       A. What? Excuse me?
   23   building his or her house.                         23       Q. Did you meet Cyrus Sibert before or
   24      Q. So would you be hired to do the              24   after PPT closed down?
   25   masonry work for just a particular job for a       25       A. After PPT closed.


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    1   small set of days?                                  1      Q. Did you meet Cyrus Sibert before or
    2     A. I don't understand the question.               2   after you brought this case that we're here for
    3     Q. Have you ever had steady masonry work          3   today?
    4   for an employer?                                    4      A. I met with Cyrus Sibert before I
    5          MR. STEWART: Objection.                      5   brought charges in this case.
    6     A. No, not a lot of times.                        6      Q. Who introduced you to Cyrus Sibert?
    7   BY MR. CERRETA:                                     7      A. A friend, a little friend called Jean
    8     Q. How frequently have you gotten these           8   Gary.
    9   jobs doing masonry work?                            9      Q. Did you know Jean Gary from PPT?
   10     A. I don't remember.                             10      A. Yes.
   11     Q. How much would you be paid when you           11      Q. Was Jean Gary someone who brought a
   12   were doing this masonry work?                      12   case against the Defendants before you did?
   13     A. 250 gourdes a day.                            13          MR. STEWART: Objection.
   14     Q. Have you ever done any other work             14      A. No, it's after Jean Gary did that, he
   15   beside the masonry jobs?                           15   told me that, and he brought me to Cyrus.
   16     A. No.                                           16   BY MR. CERRETA:
   17     Q. What do you do now to get money?              17      Q. Was this after Jean Gary got some
   18     A. Nothing.                                      18   money from his case?
   19     Q. Do you have any source of income to           19          MR. STEWART: Objection.
   20   support yourself?                                  20      A. Yes.
   21     A. No.                                           21   BY MR. CERRETA:
   22     Q. Do you know a man named Cyrus Sibert?         22      Q. So what did Jean Gary say to you
   23      A. Yes.                                         23   before he brought you to see Cyrus Sibert?
   24     Q. How do you know him?                          24      A. He was in the Village, same place
   25     A. I've met him, and I know he's done            25   where I was, and he said since you were in the


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    1   Village, I'm going to bring you to Cyrus Sibert    1   the Village, or 13th Street, and Carenage, and
    2   so he can explain to him, so Cyrus can find        2   you said you were willing to tell the truth,
    3   someone that can help me.                          3   then you could get your name on the list, is
    4      Q. Did Jean Gary tell you to put your           4   that right?
    5   name on a list?                                    5      A. I don't understand.
    6      A. Yes.                                         6      Q. Well, in order to get your name on the
    7      Q. What did he tell you about the list?         7   list you had to have been a student at the
    8   Why were you putting your name on this list?       8   Village, or Carenage, or 13th Street, is that
    9          MR. STEWART: Objection.                     9   right?
   10      A. He didn't say anything. He just said        10      A. Yes.
   11   write your name on the list, and he will bring    11      Q. And you also had to say that you were
   12   the list to Cyrus.                                12   willing to -- that you would tell the truth,
   13   BY MR. CERRETA:                                   13   right?
   14      Q. Were other people putting their name        14      A. Of course.
   15   on the list at the same time as you?              15      Q. So after you have your name on the
   16      A. Yes.                                        16   list, what happens next in the process?
   17      Q. Who else was putting their name on the      17      A. I don't know.
   18   list?                                             18      Q. Well, at some point after your name
   19      A. I don't remember.                           19   was on the list, were you introduced to Cyrus
   20      Q. Was your brother Geffrard putting his       20   Sibert?
   21   name on the list?                                 21      A. Yes.
   22      A. Yes.                                        22      Q. And was it Jean Gary that introduced
   23      Q. Did putting your name on the list mean      23   you to Cyrus Sibert?
   24   that you wanted to bring a case, too, like Jean   24      A. Yes.
   25   Gary had done?                                    25      Q. What was the purpose of your meeting

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    1      A. Yes.                                         1   with Cyrus Sibert?
    2      Q. Could anybody put their name on this         2      A. Because, because it's Cyrus who could
    3   list?                                              3   help me find someone to do this, to find justice
    4          MR. STEWART: Objection.                     4   for what had happened to me.
    5      A. No.                                          5      Q. When did -- after you met with -- when
    6   BY MR. CERRETA:                                    6   you met with Cyrus and Jean Gary, is that when
    7      Q. Who was able to put their name on the        7   Cyrus Sibert gave you the money?
    8   list?                                              8          MR. STEWART: Objection.
    9          MR. STEWART: Objection.                     9      A. No.
   10      A. Only children who were at the Village,      10   BY MR. CERRETA:
   11   who were at the center on Street -- Rue 13, and   11      Q. When did you get money from Cyrus
   12   who were at the Carenage.                         12   Sibert?
   13   BY MR. CERRETA:                                   13      A. I don't remember.
   14      Q. Were there any other criteria that you      14      Q. Was it all -- was it a lump sum
   15   had to satisfy to get your name on the list?      15   payment of 300 US dollars that you received?
   16          MR. STEWART: Objection.                    16      A. No. When I called him he would give
   17      A. Yes.                                        17   me $100. In all he gave me $300.
   18   BY MR. CERRETA:                                   18      Q. So after the initial meeting between
   19      Q. What were those?                            19   you and Jean Gary and Cyrus, at some point you
   20          MR. STEWART: Objection.                    20   called Cyrus up, am I right about that?
   21      A. Also the requirement we had to satisfy      21      A. Yes.
   22   before we could put our name on the list was to   22      Q. What did you say to Cyrus?
   23   tell the truth, not to lie.                       23      A. I don't remember.
   24   BY MR. CERRETA:                                   24      Q. Did you ask him for money?
   25      Q. So if you were a child who had been at      25      A. No.


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    1      Q. As a result of this conversation,             1           Besides the food and the doctors'
    2   though, he gave you some money, is that right?      2   visits, have you used the money from Cyrus for
    3          MR. STEWART: Objection.                      3   anything else?
    4      A. No. When I had a problem, he helped           4      A. No. It's for me to eat and to go to
    5   me. He helped me as much as he could.               5   the doctors.
    6   BY MR. CERRETA:                                     6      Q. Do you still have some of the 300
    7      Q. What was --                                   7   left?
    8      A. In the manner he could.                       8      A. No.
    9      Q. What was the problem you were having          9      Q. Has your brother Geffrard also
   10   that led him to give you the first $100?           10   received some money from Cyrus?
   11      A. Sometimes I'm hungry, sometimes I            11           MR. STEWART: Objection.
   12   don't feel well, and when I go to see him then     12      A. I don't know.
   13   he helps me as much as he -- the way he can.       13   BY MR. CERRETA:
   14      Q. How many times has he given you some         14      Q. Do you know if your brother Geffrard
   15   money?                                             15   got an apartment?
   16      A. Three times.                                 16           THE TRANSLATOR: We don't have
   17      Q. Was it $100 each time?                       17   apartments.
   18      A. Yes.                                         18      Q. Let me repeat the question. Just -- I
   19      Q. How long ago was the last $100               19   think there were some confusion with the word
   20   payment?                                           20   apartment and the interpreter.
   21      A. I don't remember.                            21           Do you know if your brother Geffrard
   22      Q. What have you done with this $300?           22   used some of -- strike that.
   23      A. It's problems like when I'm hungry and       23           Do you know if your brother Geffrard
   24   I don't feel well, then I call him and he gives    24   got a place to live different from the house in
   25   me, and then it solves the problem.                25   Blue Hills?

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    1      Q. So do you use the money for food?             1      A. What? Excuse me?
    2      A. Yes.                                          2      Q. Does your brother Geffrard have
    3      Q. Anything else? Is there anything else         3   anyplace to live different than the family home
    4   that you use the money to buy?                      4   in Blue Hills?
    5      A. Well, I don't feel well, then I go to         5      A. I don't know.
    6   the clinic for consultation. And the rest of        6      Q. But you have never been to a place
    7   the money, I eat it.                                7   where Geffrard is living, other than the house
    8      Q. So do you use some of the money for           8   in Blue Hills, is that right?
    9   doctors' visits?                                    9          MR. STEWART: Objection.
   10      A. Yes. Sometimes I feel that my head is        10      A. We have a family house, a family -- a
   11   hurting, so I go to the doctors.                   11   house of family members, they live in Mont
   12      Q. What doctor do you go to?                    12   Rouge. And we have other family members who
   13      A. I don't remember.                            13   live in a house, but I don't know if Geffrard
   14      Q. Is it a doctor in Cap-Haïtien?               14   stays there, I don't know.
   15      A. Yes.                                         15   BY MR. CERRETA:
   16      Q. Is that Justinien Hospital?                  16      Q. Does Geffrard stay with you at the
   17      A. No.                                          17   house in Blue Hills?
   18      Q. Do you ever -- do you have any papers        18      A. Yes.
   19   or documents related to your treatment with this   19      Q. You're not aware of Geffrard staying
   20   doctor?                                            20   anywhere else at a new residence since receiving
   21      A. No.                                          21   money from Cyrus Sibert, are you?
   22      Q. Do you have -- so you mentioned food         22          MR. STEWART: Objection.
   23   and medicine or doctors' visits. Is there          23          Well, that assumes --
   24   anything else that you've used with the $300 you   24          MR. CERRETA: You're right. Let me
   25   received -- I'm sorry. Strike that.                25   ask a different question.


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    1   BY MR. CERRETA:                                     1      A. I don't know.
    2      Q. You're not aware of your brother              2      Q. Have you ever been arrested,
    3   Geffrard living anywhere other than the house in    3   Mr. Lecenat?
    4   Blue Hills, is that right?                          4      A. No.
    5      A. I don't know.                                 5      Q. Have you ever used drugs?
    6      Q. Does Geffrard sleep in the house in           6      A. No.
    7   Blue Hills with you and your other family           7      Q. Have you ever sniffed paint thinner?
    8   members every night?                                8      A. No.
    9      A. Sometimes he's not there. Sometimes           9      Q. When you were a child living on the
   10   he doesn't sleep there. I don't know where he      10   streets, would some of the children sniff paint
   11   sleeps then.                                       11   thinner?
   12      Q. When Cyrus Sibert gave you the money,        12          MR. STEWART: Objection.
   13   did you have to agree to pay it back some day?     13      A. I don't know.
   14      A. No, he didn't give me with any               14   BY MR. CERRETA:
   15   conditions attached.                               15      Q. Do you know of anybody in Cap-Haïtien
   16      Q. If you get money from this lawsuit,          16   who sniffs paint thinner?
   17   are you going to give some of it to Cyrus          17          MR. STEWART: Objection.
   18   Sibert?                                            18      A. I don't know.
   19      A. I didn't have any agreement regarding        19          MR. STEWART: Are you getting ready to
   20   money with Cyrus.                                  20   move into a new topic?
   21      Q. Well, agreements aside, are you going        21          MR. CERRETA: Yes. Do you want to
   22   to give him a portion of any money you receive     22   take a break?
   23   from this lawsuit?                                 23          MR. STEWART: Yes.
   24          MR. STEWART: Objection.                     24          MR. CERRETA: Sure.
   25      A. I don't know if I'm going to get any         25          THE VIDEOGRAPHER: Going off the


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    1   money, so I don't know if I'm -- I can't know       1   record. The time is 10:57.
    2   whether I'm going to give somebody money or not.    2         (Whereupon, a recess was taken.)
    3   BY MR. CERRETA:                                     3         THE VIDEOGRAPHER: Back on the record.
    4      Q. Did Jean Gary receive money from his          4   The time is 11:08.
    5   lawsuit?                                            5   BY MR. CERRETA:
    6         MR. STEWART: Objection.                       6      Q. Mr. Lecenat, have you ever attended --
    7      A. I saw Jean Gary, I saw his life               7         THE TRANSLATOR: One moment. I'm
    8   changed, so maybe he got some money, I don't        8   sorry. I'm putting my microphone on. Sorry.
    9   know.                                               9         MR. CERRETA: No problem.
   10   BY MR. CERRETA:                                    10   BY MR. CERRETA:
   11      Q. In what ways did his life change?            11      Q. Mr. Lecenat, have you ever attended
   12      A. The way I saw him, I saw he wasn't the       12   school?
   13   same.                                              13      A. Yes.
   14      Q. How was he different?                        14      Q. When did you first go to school?
   15      A. He used to stay -- to sleep at               15      A. I went to the school called
   16   people's house, now he has his own house where     16   St. Vincent, St. Vincent de Paul.
   17   he stays. That's why I say this.                   17      Q. How old were you when you went to
   18      Q. Do you know if Cyrus Sibert got a            18   St. Vincent's?
   19   portion of the money that Jean Gary got?           19      A. I don't remember.
   20         MR. STEWART: Objection.                      20      Q. Do you think you were around 8 or
   21      A. Can you repeat the question, please?         21   9 years old maybe?
   22   BY MR. CERRETA:                                    22         MR. STEWART: Objection.
   23      Q. Do you know if Cyrus Sibert got a            23      A. I don't remember.
   24   portion of the money that Jean Gary received       24   BY MR. CERRETA:
   25   from his lawsuit?                                  25      Q. Where is St. Vincent de Paul?


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    1      A. Blue Hills.                                   1   BY MR. CERRETA:
    2      Q. What grade did you attend there?              2      Q. Did you know that that was a place
    3      A. First and second year.                        3   where you could go in to get a meal?
    4      Q. Did you have to pay money to be a             4          MR. STEWART: Objection.
    5   student at St. Vincent de Paul?                     5      A. Yes.
    6      A. I don't know, because I wasn't the one        6   BY MR. CERRETA:
    7   taking care of things for myself, they just told    7      Q. Was it also a place where you could go
    8   me to go to school.                                 8   to get some education?
    9      Q. Who told you to go to school?                 9      A. Yes.
   10      A. My parents.                                  10      Q. Did any of your brothers or sisters go
   11      Q. Was this before your mother passed           11   to 13th Street with you?
   12   away?                                              12      A. Me and Geffrard.
   13      A. Yes.                                         13      Q. Describe a typical day at 13th Street.
   14      Q. So you did first and second grade at         14      A. I don't remember.
   15   St. Vincent de Paul, is that right?                15      Q. Well, in the morning when you arrived,
   16      A. Yes.                                         16   would somebody have to let you into the school?
   17      Q. Was your brother Geffrard attending          17      A. The gate is always open for all the
   18   school at that time?                               18   children in the street, living in the street.
   19      A. I don't know.                                19      Q. So you would arrive in the morning.
   20      Q. Why did you stop attending St. Vincent       20   Would there be an employee of the school waiting
   21   de Paul?                                           21   there for you?
   22      A. Because we didn't have -- there were         22      A. Yeah, there were always a staff
   23   no means.                                          23   inside.
   24      Q. Did your mother pass away while you          24      Q. Did you have to be searched before you
   25   were a student at St. Vincent de Paul, or after    25   came onto the premises?


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    1   you had already left?                               1      A. No.
    2      A. My mother hadn't died yet when I was          2      Q. So after you arrived in the morning,
    3   at St. Vincent de Paul, it's just there were no     3   what would happen at the school?
    4   means for me to go.                                 4      A. They gave us uniforms so we can sit in
    5      Q. How long after you stopped attending          5   classes.
    6   St. Vincent de Paul did your mother pass away?      6      Q. Would you have breakfast there at the
    7      A. I don't know.                                 7   school?
    8      Q. So after you left St. Vincent de Paul,        8      A. Yes.
    9   did you attend a different school?                  9      Q. And then would you learn some lessons
   10      A. I went to Rue 13.                            10   from the teachers there at the school?
   11      Q. When you first started attending             11      A. After the school let us go, we just
   12   Rue 13, was that before or after your mother       12   all spread out and left. There was no real
   13   passed away?                                       13   place for us to learn lessons, so if you
   14      A. When I was at Rue 13, my mother hadn't       14   remembered you did, if you forgot what the
   15   died yet.                                          15   teacher said then you just forgot.
   16      Q. How did you first hear about Rue 13?         16      Q. Do you remember any of the teachers
   17      A. I don't remember.                            17   there at the 13th Street school?
   18      Q. Who told you to start attending that         18      A. Some of them I remember, some of them
   19   school?                                            19   I forgot.
   20      A. I don't remember.                            20      Q. Okay. What were the names of the ones
   21      Q. How did you hear about the school at         21   you remember?
   22   13th Street?                                       22      A. There was Master Romère, Madame
   23          MR. STEWART: Objection.                     23   Calixte, and Excellent.
   24      A. Because I used to walk in the street,        24      Q. Master Romère?
   25   and I used to see it.                              25      A. Romère.


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    1      Q. Romère.                                   1   Street?
    2         What subject -- what did he teach?        2      A. Yes.
    3      A. I forgot.                                 3      Q. Did you do any other grades at 13th
    4      Q. Was he one of your teachers?              4   Street?
    5      A. Yes.                                      5      A. No.
    6      Q. Madam Calixte, do you remember what       6      Q. When you were at 13th Street, was this
    7   she taught?                                     7   -- was any of the period when you were at 13th
    8      A. No.                                       8   Street the time when you had taken to the
    9      Q. Was she one of your teachers?             9   streets and were living in the streets?
   10      A. Yes.                                     10      A. Yes.
   11      Q. How about Excellent, do you remember     11          THE VIDEOGRAPHER: I'm getting
   12   what he taught?                                12   interference from somebody's cell phone. Make
   13      A. No.                                      13   sure your phones are off, please. Thank you.
   14      Q. Was he one of your teachers?             14   BY MR. CERRETA:
   15      A. He was doing surveillance, surveilling   15      Q. When you were at 13th Street, was this
   16   us, watching over us.                          16   the time that you were encouraged to go back to
   17      Q. Master Romère, Madam Calixte, and        17   the family home at Blue Hills?
   18   Excellent, were they Haitian?                  18      A. That time they were going to send me
   19      A. Yes.                                     19   to PPT.
   20      Q. Did they speak Creole?                   20      Q. When you say they were going to send
   21      A. Yes.                                     21   you to PPT, do you mean that they were going to
   22      Q. Were there any white people who worked   22   send you to a place called the Village?
   23   at 13th Street?                                23      A. Yes.
   24      A. Yes.                                     24      Q. And as part of the process of going to
   25      Q. Who? What white people worked at 13th    25   the Village, is one of the things you did move


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    1   Street?                                         1   back to the house in Blue Hills?
    2      A. I don't remember them.                    2          THE TRANSLATOR: Can you rephrase the
    3      Q. Do you remember a person by the name      3   question, please?
    4   of Andy Schultheis?                             4          MR. CERRETA: Let me rephrase it.
    5      A. Yes.                                      5   BY MR. CERRETA:
    6      Q. Did you ever speak to Andy?               6      Q. When you were moving to the Village,
    7      A. Yes, I used to speak to Andy.             7   is one of the things you did as part of that
    8      Q. What was Andy's role there at the 13th    8   process move back into your home at Blue Hills?
    9   Street Center?                                  9      A. No. They were going to send me to the
   10          MR. STEWART: Objection.                 10   Village so I could continue school.
   11      A. Andy was managing Rue 13. He was a       11      Q. Right. But did any of the teachers or
   12   director of Rue 13.                            12   staff at 13th Street encourage you to move back
   13   BY MR. CERRETA:                                13   into the family home in Blue Hills?
   14      Q. Were there any other white people who    14      A. Yes, Andy encouraged me to go back.
   15   worked at Rue 13?                              15      Q. Did Andy say that that was something
   16      A. There were other white people, but I     16   you needed to do in order to make the move to
   17   don't remember them. I don't remember their    17   the Village?
   18   names.                                         18      A. No, it was no obligation, but since
   19      Q. Do you remember anybody else's name      19   there were children who had a place to stay,
   20   who was a worker at 13th Street?               20   place where they could go sleep, their house,
   21      A. No.                                      21   they should go there. Those who did not would
   22      Q. How long were you a student at 13th      22   go to the Village and sleep there. But I had a
   23   Street?                                        23   place to stay, I had my home.
   24      A. I don't remember.                        24      Q. Got it. Thank you.
   25      Q. Did you do the third grade at 13th       25          Did you ever see Douglas Perlitz at


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    1   13th Street?                                       1   13th Street with you, are you still -- do you
    2      A. When I was in Rue 13, I did see him,         2   still see any of them from time to time?
    3   he used to come by. But he was at the Village,     3      A. Yes, I see some of them.
    4   he was administering the Village.                  4      Q. Who do you see?
    5      Q. How often would he come to 13th              5      A. I don't remember. When I see them,
    6   Street?                                            6   then I remember that I went to Rue 13 with them.
    7      A. I don't remember.                            7   But I don't remember them, I don't remember
    8      Q. Was it every day, or every week, or          8   their name.
    9   less than that?                                    9      Q. Did you ever see any visitors at 13th
   10      A. I don't remember. I don't know. I           10   Street when you were a student there?
   11   don't know. I don't remember.                     11      A. Yes, I did see visitors.
   12      Q. What would Douglas Perlitz do when he       12      Q. How often would visitors come?
   13   came to 13th Street?                              13      A. I don't remember.
   14          MR. STEWART: Objection.                    14      Q. Would any of these visitors be white
   15      A. I don't know.                               15   people not from Haiti?
   16   BY MR. CERRETA:                                   16      A. Yes.
   17      Q. Did you ever talk to Douglas Perlitz        17      Q. Do you know any of their names?
   18   when he came to 13th Street?                      18      A. No.
   19      A. No.                                         19      Q. So at some point you moved from 13th
   20      Q. Did he ever come into the classroom         20   Street to the Village, is that right?
   21   that you were in at 13th Street?                  21      A. Yes.
   22      A. I've never seen that.                       22      Q. What grade was that?
   23      Q. Do you remember any of the names of         23      A. When I left Rue 13?
   24   your fellow students at 13th Street?              24      Q. Yes. What grade did you go into at
   25      A. No.                                         25   the Village?


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    1      Q. Well, was your brother Geffrard a            1      A. I was continuing with the third year.
    2   student at 13th Street at the same time as you?    2      Q. Was it in the middle of the school
    3      A. Yes.                                         3   year that you made the move to the Village?
    4          MR. STEWART: Wait.                          4      A. I don't remember.
    5      A. Yes, Geffrard used to go to the school       5      Q. How many grades did you do at the
    6   at Rue 13.                                         6   Village?
    7          MR. STEWART: I apologize. I thought         7      A. I did fourth and fifth year together,
    8   I heard "no."                                      8   and then I entered sixth.
    9   BY MR. CERRETA:                                    9      Q. Okay. So just to make sure I have it
   10      Q. Do you remember anyone else besides         10   right, did you do -- when you first started at
   11   Geffrard who was your fellow student there at     11   the Village, you continued on with third grade,
   12   13th Street?                                      12   and then you did fourth, fifth, and you started
   13         THE TRANSLATOR: Can you repeat the          13   sixth all at the Village, is that right?
   14   question, please?                                 14      A. The fourth and fifth year, they
   15      Q. Did you have any friends at 13th            15   happened in the same room, so they gave us books
   16   Street?                                           16   for both years at once.
   17      A. Yes. It was just one place where            17      Q. So did you go through both the fourth
   18   we're all friends.                                18   and the fifth grade in a single year?
   19      Q. Do you remember any of the names of         19      A. Yes.
   20   those friends?                                    20      Q. When you moved on to the Village, did
   21      A. No.                                         21   you then have different teachers for your
   22      Q. Have you kept in touch with anyone who      22   classes?
   23   used to go to 13th Street with you?               23      A. Yes.
   24      A. I don't understand the question.            24      Q. Do you remember the names of your
   25      Q. Of the students that used to go to          25   teachers at the Village?


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    1      A. Yes.                                          1      A. Yes.
    2      Q. What were their names?                        2      Q. How would you get from the family home
    3      A. I had Master Patrice, Master Judex,           3   in Blue Hills to the Village to start school?
    4   Mémé, Ronel, Madam Nelta, Master Daniel, Edrice,    4      A. On foot.
    5   Mr. Daniel, Mr. Edrice, and Robinson, that's it.    5      Q. When you started at the Village, was
    6      Q. Ronel, what subject did Ronel teach?          6   your brother Geffrard going to the Village as
    7      A. Creole.                                       7   well?
    8      Q. Edrice I believe you mentioned, what          8      A. No. They sent me to the Village
    9   subject did Edrice teach?                           9   before him.
   10      A. Math.                                        10      Q. When you started at the Village, was
   11      Q. Master Daniel, what subject did Master       11   your brother Geffrard living with you in the
   12   Daniel teach?                                      12   family home in Blue Hills?
   13      A. French.                                      13      A. Yes.
   14      Q. Did you also mention Patrice? How            14      Q. So when you would first arrive at the
   15   about the subject for Patrice?                     15   Village in the morning, what would you do?
   16      A. Social sciences.                             16      A. When I got there, I wasn't going to
   17      Q. Judex, what subject was Judex                17   school yet, they made me go in and leave before
   18   teaching?                                          18   I went to school.
   19      A. Experimental science.                        19      Q. Why did you have to go in and leave
   20      Q. Madam Nelta, what subject?                   20   before you went to school?
   21      A. French.                                      21      A. I don't know.
   22      Q. You also mentioned Robinson. Was             22      Q. So what did you do after you were told
   23   Robinson one of your teachers?                     23   to leave?
   24      A. He was administering the Village after       24      A. I left.
   25   Douglas, besides Douglas.                          25      Q. At some point were you able to come


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    1      Q. So was he someone who reported to             1   back and actually go to school?
    2   Douglas?                                            2      A. Yes.
    3      A. Yes.                                          3      Q. Was there a gate that you had to go in
    4      Q. If I could just back up, something I          4   to get onto the grounds of the Village in the
    5   had meant to ask you, when you were at 13th         5   morning?
    6   Street, how did you find out that you were being    6      A. Yes.
    7   selected to move on to the Village?                 7      Q. Did you have to be searched before you
    8      A. It's Andy who told me they were going         8   came into the Village?
    9   to send me to the Village.                          9      A. Yes, they used to search when I used
   10      Q. Did he say why you were being sent to        10   to leave and when I used to enter.
   11   the Village?                                       11      Q. Could you describe for me the grounds
   12      A. He didn't tell me why, but he told me        12   of the Village? What did the compound look
   13   that he was sending me to the Village.             13   like?
   14      Q. Did everybody get to move on to the          14      A. I can't.
   15   Village?                                           15      Q. Well, were there buildings there at
   16      A. No.                                          16   the Village?
   17      Q. Were you happy to be selected to move        17      A. There are houses in there, but they're
   18   on?                                                18   not buildings.
   19      A. I wasn't the only one. There were            19      Q. So there's more than one house?
   20   other people they chose to go to the Village,      20      A. Yes.
   21   but I was happy anyway. I was -- of course I       21      Q. Are there any other structures on the
   22   was happy.                                         22   grounds?
   23      Q. So when you started at the Village, am       23      A. There's a school. There's a kitchen.
   24   I right that you're now living back in the         24   There are houses where the children sleep.
   25   family home in Blue Hills? Right?                  25   There are offices. And there's a room, there's


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    1   a room where they teach a trade.                    1          THE TRANSLATOR: Can you repeat the
    2      Q. Any other fields or courts for                2   beginning of the question, please?
    3   recreation?                                         3      Q. Were there more children who slept at
    4      A. There's a foot -- soccer field.               4   the Village, or did most of the children leave
    5   There's a basketball field where people can         5   at the end of the day and go back to their
    6   play.                                               6   homes?
    7      Q. Is there anything else you remember           7          MR. STEWART: Objection.
    8   about the Village from your time there as a         8      A. More children slept there.
    9   student?                                            9   BY MR. CERRETA:
   10      A. No.                                          10      Q. What time would you leave for the day
   11      Q. What would your typical day be like          11   to go back to your home?
   12   when you arrived at the Village, then what         12      A. I don't remember.
   13   happens next for a student like yourself at the    13      Q. So around 1:00 p.m. there would be a
   14   Village?                                           14   bell that would ring for the lunchtime meal, is
   15      A. I don't know.                                15   that right?
   16      Q. Would there be classes?                      16      A. Yes.
   17      A. Yes.                                         17      Q. So after lunch, would you do anything
   18      Q. When you would arrive at the Village         18   else on a typical day before leaving?
   19   in the morning, where would you report to start    19      A. Yes, I had lessons. After class,
   20   the day?                                           20   after class I went home.
   21      A. No.                                          21      Q. Would that be in the afternoon when
   22      Q. My question was, when you first come         22   class would end for the day?
   23   into the Village in the morning, where do you go   23      A. Yes. Afternoon, yes.
   24   at the very beginning of the day?                  24      Q. Would it still be light out when you
   25      A. I go to the yard. I go to the yard.          25   would leave?


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    1      Q. Are there other students there at the         1      A. Yes.
    2   yard when you arrive typically?                     2      Q. Did you ever stay the night at the
    3      A. Yes.                                          3   Village?
    4      Q. Okay. And what would happen at the            4      A. No.
    5   yard?                                               5      Q. Did you ever see Douglas Perlitz at
    6      A. We sit, and then we go to the kitchen.        6   the Village?
    7   There's a little bell that rings, so we go to       7      A. That's the only place where he was a
    8   have breakfast in the morning, to eat the little    8   director, that's where he stayed. That's where
    9   thing, and then something small, and then we go     9   he was.
   10   to the classroom.                                  10      Q. What was Douglas Perlitz's role at the
   11      Q. After you had those classes, would           11   Village?
   12   there be another opportunity to have a meal at     12      A. I don't know what role he had, but he
   13   the Village?                                       13   was managing the Village.
   14      A. After that, when classes were over we        14      Q. So when you would see Douglas at the
   15   used to sit in the yard, and around noon or        15   Village, what are some of things you would see
   16   1:00 p.m. it would ring and we would go to eat.    16   him doing?
   17      Q. After that meal, what would you do           17      A. Well, every day he was at the Village,
   18   next?                                              18   but when I was in class I don't know what he was
   19      A. I used to go back home.                      19   doing.
   20      Q. I think you had mentioned earlier that       20      Q. Would Douglas sometimes speak to all
   21   some students actually slept over at the Village   21   of the children in a group?
   22   and stayed there, is that right?                   22      A. Yes.
   23      A. Yes.                                         23      Q. How often would he do that?
   24      Q. As between the two, did more stay            24      A. I don't remember.
   25   over, or were more --                              25      Q. How often -- well, did you ever speak


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    1   to Douglas at the Village?                          1   them.
    2      A. Yes, I talked to him.                         2      Q. When did Douglas tell you this?
    3      Q. How often would you speak with                3      A. We were eating in the kitchen, Madame
    4   Douglas?                                            4   Carter and Father Paul would be standing in
    5      A. I don't remember.                             5   front of us, and he would tell us that.
    6      Q. Was it an every day thing, or maybe           6      Q. Were a lot of students gathered around
    7   once a week, less than once a week?                 7   when he told you this?
    8      A. I don't remember.                             8           MR. STEWART: Objection.
    9      Q. Besides Douglas, were there anybody --        9      A. Yes, when he would tell us that, all
   10   was there anybody else there that was not a        10   the children would be together, gathered
   11   Haitian, white people who weren't Haitian?         11   together when we were eating together.
   12      A. I don't know.                                12   BY MR. CERRETA:
   13      Q. Do you remember ever seeing any white        13      Q. And would he tell you this in Creole?
   14   people at the Village besides Douglas?             14      A. Yes.
   15      A. Yes, there are always white people           15           THE TRANSLATOR: Could we increase the
   16   coming, visitors coming.                           16   -- it's a little hot in here. Is that possible?
   17      Q. How often would visitors come?               17   BY MR. CERRETA:
   18      A. I don't remember.                            18      Q. Do you remember any other times when
   19      Q. Do you remember the names of any of          19   Father Paul or Mrs. Carter were at the Village?
   20   the visitors?                                      20      A. I don't remember.
   21      A. The people, the visitors whose names I       21      Q. Had you ever spoken with Mrs. Carter?
   22   remember are Madame Carter and Father Paul.        22      A. I didn't speak to -- I didn't speak to
   23      Q. How many times did you see Father Paul       23   Madame Carter because I don't speak English.
   24   at the Village?                                    24   And when she comes to the Village, she greets
   25      A. Several times.                               25   people, and then she is always with Douglas


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    1      Q. Did you ever speak to Father Paul when        1   walking around and talking.
    2   he was at the Village?                              2      Q. How many times did you see Mrs. Carter
    3      A. I didn't talk to him because I don't          3   at the Village? The question was, how many
    4   speak English.                                      4   times did you see Mrs. Carter at the Village?
    5      Q. Have you ever spoken with Father Paul         5          THE TRANSLATOR: How many times --
    6   either at the Village or anywhere else?             6      Q. Did you see Mrs. Carter at the
    7      A. I don't speak English. I've never --          7   Village.
    8   I don't talk to him, but I've seen him often at     8      A. I don't remember.
    9   the Village.                                        9      Q. Did you ever see any other white
   10      Q. What would Father Paul be doing when         10   people or other non-Haitians at the Village?
   11   you would see him at the Village?                  11      A. Many. I've seen many.
   12      A. Sometimes he would bring us to the           12      Q. Do you remember anybody else's name?
   13   chapel to pray, he would conduct the prayers.      13      A. No.
   14      Q. Did Douglas ever introduce the               14      Q. Have you ever heard of an organization
   15   students to Father Paul?                           15   called Fairfield University?
   16          MR. STEWART: Objection.                     16      A. Yes.
   17      A. Yes, he let us know that Father Paul         17      Q. What did you hear about Fairfield
   18   and Madame Carter were -- who they were, because   18   University?
   19   they were the boss of the Village.                 19      A. Just that when Father Paul and Madame
   20   BY MR. CERRETA:                                    20   Carter would come, Douglas gave us a T-shirt
   21      Q. Was there anything else that Douglas         21   with Fairfield University written on it. I
   22   told you about Father Paul and Mrs. Carter?        22   don't know any other thing, just that the
   23      A. I don't know. He just told us that           23   T-shirt, there was Fairfield University written
   24   they were the bosses and they were -- and that     24   on it.
   25   they were above Douglas, that Douglas came after   25      Q. Had Fairfield University given those


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    1   T-shirts for the students?                          1   car to get there.
    2          MR. STEWART: Objection.                      2      Q. So would you leave from your home in
    3      A. When Father Paul and Ms. Carter came          3   Blue Hills every day and get a car to Sacred
    4   to see us, it was written University of             4   Heart?
    5   Fairfield on it, so of course they come from        5      A. Yes.
    6   Fairfield University.                               6      Q. How long were you attending school at
    7   BY MR. CERRETA:                                     7   Sacred Heart?
    8      Q. Do you know anything else about               8      A. Just one year. One year.
    9   Fairfield University, other than the T-shirts       9      Q. And was PPT paying for your tuition at
   10   that were given out by Father Paul and             10   the Sacred Heart school?
   11   Mrs. Carter?                                       11      A. PPT was paying for it, and then it
   12      A. No.                                          12   closed, and then I had to stop for good.
   13      Q. After the Village closed, did you go         13      Q. So after PPT closed, then I think you
   14   to any more schooling after that?                  14   were mentioning that you had some sort of
   15      A. No, I didn't find any other type of          15   opportunity through Kids Alive, is that right?
   16   education. After that, a long time after that      16      A. No. I was learning a trade there, I
   17   they open a program called Kids Live.              17   was learning how to build buildings, and I
   18          MR. FOLKMAN: For the transcript,            18   stopped then, and then I stopped until now
   19   sorry to interrupt, is he saying Kids Alive?       19   because I don't have money.
   20          THE TRANSLATOR: Maybe. Kids Alive?          20      Q. So when did you stop attending the
   21   Yes, that's what he's saying.                      21   Kids Alive program?
   22      A. And they paid the construction of a          22      A. When it stopped. When it closed.
   23   building for me. But I didn't have any more        23      Q. Have you had any schooling since the
   24   means during the middle of the year, so I didn't   24   program came to a close through Kids Alive?
   25   have any possibilities to continue, so I stopped   25      A. I didn't go to any other school.

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    1   for good.                                           1      Q. Have you ever heard of a place called
    2   BY MR. CERRETA:                                     2   Bel Air?
    3      Q. I apologize, maybe -- I think maybe           3      A. Yes.
    4   the question was imprecise.                         4      Q. What is Bel Air?
    5          But was there -- did you ever leave          5      A. That's where Douglas stayed.
    6   the Village to go to a different school called      6      Q. Have you ever been to Bel Air?
    7   Sacred Heart?                                       7      A. Just one time.
    8      A. Yes. It's when I left the -- I don't          8         MR. STEWART: Can we pause for a
    9   know if it's a place or education program called    9   moment off the record?
   10   certificate, sixth grade exam, state exam, then    10         THE VIDEOGRAPHER: Going off the
   11   I went to the seventh grade at Sacré Coeur.        11   record. The time is 12:17.
   12      Q. And was that, your attendance at that        12         (Pause.)
   13   program, was that sponsored by PPT?                13         THE VIDEOGRAPHER: Back on the record.
   14      A. Yes.                                         14   The time is 12:18 -- I'm sorry, 12:17.
   15      Q. Who decided that you would go to get         15   BY MR. CERRETA:
   16   this certificate at Sacred Heart?                  16      Q. Okay. So you have been to the house
   17      A. At the Village there was no seventh          17   in Bel Air one time, is that right?
   18   grade. After you're done with the sixth grade,     18      A. Yes.
   19   when someone passed the exam, then they send you   19      Q. Do you remember when you went to the
   20   to another school outside.                         20   house in Bel Air?
   21      Q. So where was Sacred Heart?                   21      A. I don't remember.
   22      A. Cap-Haïtien.                                 22      Q. Was it while you were a student at the
   23      Q. How would you get there to attend            23   Village?
   24   classes?                                           24      A. Yes.
   25      A. They used to give me money to get a          25      Q. Why did you go?


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    1      A. I went to get some shoes from Douglas,        1      A. I don't remember.
    2   and a woman -- and a lady called Madame Junie so    2      Q. And was that the only time that you
    3   I could do my First Communion.                      3   ever were at the house in Bel Air?
    4      Q. Are you Catholic?                             4      A. Yes.
    5      A. Yes.                                          5      Q. Do you remember what grade you were in
    6      Q. And as part of your participation in          6   when you were preparing for your First
    7   the program at the Village, were you receiving      7   Communion?
    8   the sacraments?                                     8      A. I don't remember.
    9      A. Yes.                                          9      Q. Was your brother Geffrard also
   10      Q. And Junie, was she the person who was        10   receiving his communion as part of the group?
   11   getting you ready for your First Communion?        11          MR. STEWART: Objection.
   12      A. Yes.                                         12      A. Yes.
   13      Q. So did she bring you to Bel Air?             13   BY MR. CERRETA:
   14      A. Yes. Douglas said that he was going          14      Q. Was Geffrard with you when you went to
   15   to be there, but it's Junie who was going to       15   get the shoes?
   16   give me the shoes.                                 16      A. Yes.
   17      Q. So you went with Junie. Was anybody          17          MR. CERRETA: Why don't we break for
   18   else there with you when you took this trip to     18   lunch.
   19   Bel Air?                                           19          THE VIDEOGRAPHER: Going off the
   20      A. There were several of us who were            20   record. The time is 12:25.
   21   about to do our First Communion, so we all went    21          (Whereupon, a luncheon recess was
   22   together to get the shoes.                         22          taken.)
   23      Q. Okay. So you arrived, and did you            23
   24   actually go into the house?                        24
   25      A. I went in, and then I left right away,       25


                                             Page 87                                                Page 89
    1   and I went home.                                    1        AFTERNOON SESSION
    2      Q. Was there a person at the front gate          2
    3   who had to let you into the grounds?                3          THE VIDEOGRAPHER: Back on the record.
    4      A. Yeah, there were people opening the           4   The time is 1:35.
    5   gate.                                               5   BY MR. CERRETA:
    6      Q. And then did you, Junie, and the other        6      Q. Good afternoon, Mr. Lecenat. When we
    7   students walk into the Bel Air house?               7   left off we were talking about -- one of the
    8      A. Yes.                                          8   last things we talked about was your First Holy
    9      Q. Was Douglas there?                            9   Communion preparation.
   10      A. Yes.                                         10      A. Yes.
   11      Q. Did he have the shoes?                       11      Q. I believe you had said that was led by
   12      A. He was the one who had the shoes for         12   a woman named Junie, is that right?
   13   us. He was the one who bought it for us, and       13      A. Yes.
   14   told us to come take them at the house in          14      Q. What was involved in preparing for the
   15   Bel Air, above there. We all went there, up        15   First Holy Communion?
   16   there.                                             16      A. We were talking about God, how to
   17      Q. Was there anybody else at the house at       17   pray, what not to do, and how we sing.
   18   Bel Air when you went in?                          18      Q. And would these classes take place
   19          MR. STEWART: Objection.                     19   during school at the Village?
   20      A. Yes, all the children about to do            20      A. Yes.
   21   their First Communion were there, plus Madame      21      Q. As part of your preparation for First
   22   Junie.                                             22   Holy Communion, did you also at some point make
   23   BY MR. CERRETA:                                    23   a retreat off the premises of the Village?
   24      Q. About how long did you stay at the           24      A. Yes.
   25   house in Bel Air?                                  25      Q. Where was this retreat?


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    1      A. Rival.                                        1   there's a cross on top of the hill, she made us
    2      Q. Where is Rival?                               2   go up the hill, and then we went down, and then
    3      A. Cap-Haïtien.                                  3   we went to sleep.
    4      Q. How far is it from the Village?               4      Q. So at the end of those activities, you
    5      A. There's a big distance, big distance.         5   say that Douglas told you not to lock your door,
    6      Q. What is this place in Rival?                  6   is that right?
    7      A. That's the place, home, the place of a        7      A. He said all the children, with no
    8   lot of sisters. That's where Douglas brought        8   exception, lock your doors, because when he
    9   us.                                                 9   would come in he would -- it would be easy for
   10      Q. And what were you doing at this place        10   him to wake us up so we could go pray.
   11   for the sisters in Rival?                          11      Q. Did he make this as an announcement to
   12      A. Douglas, who made Madame Junie go with       12   all of the children who were staying over that
   13   us so we can be prepared for communion.            13   night in Rival?
   14      Q. Did your brother Geffrard go on this         14      A. Yes.
   15   retreat to Rival also?                             15      Q. Do you recall about how many children
   16      A. Yes.                                         16   were staying over the night in Rival?
   17      Q. And did you stay over the night at           17      A. I don't remember.
   18   Rival?                                             18      Q. Could you say if it was less than ten,
   19      A. Yes.                                         19   more than ten, more than 20, anything like that?
   20      Q. In this case, are you claiming that          20      A. I don't know. I don't remember.
   21   Douglas Perlitz sexually abused you?               21      Q. Did everybody have their own room to
   22      A. Yes.                                         22   stay in that night at Rival?
   23      Q. How many times total did Douglas             23      A. Yes.
   24   Perlitz sexually abuse you?                        24      Q. So after Douglas made the
   25      A. Twice.                                       25   announcement, did you go to the room that you

                                             Page 91                                                Page 93
    1      Q. And the first time, when was the first        1   were supposed to be sleeping in that night in
    2   time that you claim Douglas Perlitz sexually        2   Rival?
    3   abused you?                                         3       A. Yes.
    4      A. At Rival.                                     4       Q. What did you do next?
    5      Q. All right. Would you tell me what             5       A. I entered, I didn't lock the door, and
    6   happened when Douglas sexually abused you?          6   I went to bed, because he told me not to lock
    7      A. Yes.                                          7   it.
    8      Q. Please, please describe it.                   8       Q. Did you close the door but not lock
    9      A. At the end of the month in 2006,              9   it?
   10   Douglas said that Junie would come to prepare us   10       A. Yes, I closed it, but I didn't lock
   11   and would bring us to the Rival, and he said not   11   it.
   12   to lock the doors, so I did not lock the doors,    12       Q. Was your brother Geffrard staying in a
   13   because Junie would prepare us, so I did not       13   different room that night?
   14   lock my door. And I saw the door open, but I       14       A. Yes.
   15   wasn't scared because Douglas said he was          15       Q. Did you see him at all before you went
   16   coming. And then I felt -- he put his hand         16   to bed that night?
   17   there, and he was putting his fingers inside my    17       A. Yes.
   18   butt hole. I didn't accept it, so I went out.      18       Q. Where was his room in relation to
   19   And Douglas said if I said that he would put me    19   yours?
   20   out, he would throw me out of the Village.         20       A. I don't remember.
   21      Q. Okay. So this day at Rival for the           21       Q. Do you remember anything about how the
   22   First Communion retreat, were there activities     22   building was set up at Rival?
   23   during the day before you went to your room to     23       A. I don't remember.
   24   sleep at night?                                    24       Q. Do you remember if there were more
   25      A. The lady was making us pray. And             25   than one stories to the building?


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    1      A. Yes, there's one below and one above.         1      Q. What happened after that? Did Douglas
    2      Q. Do you remember which floor you were          2   say anything as he was walking in?
    3   sleeping on?                                        3      A. No.
    4      A. Above. I was above.                           4      Q. And then did he approach you while you
    5      Q. Were any of the children below, or            5   were lying in the bed?
    6   were all of the children above on the same floor    6      A. Yes.
    7   as you?                                             7      Q. At this point had you had a look at
    8      A. All the children were in the rooms, in        8   Douglas? Do you remember facing him at this
    9   the bedrooms above.                                 9   point?
   10      Q. And how about the nuns, where were the       10      A. He entered. You know, it's a very
   11   nuns staying at Rival?                             11   rapid action. Right away, right after that I
   12      A. I don't know where they staying,             12   felt he was turning his fingers in my butt. I
   13   because they just brought me there. I don't        13   left right away, and I went to the lady, I went
   14   know.                                              14   to the lady.
   15      Q. When you were getting ready for bed          15      Q. Okay. When Douglas came in, were you
   16   that night, did you see any of the nuns going to   16   wearing either shorts or pants as pajamas?
   17   their rooms?                                       17      A. Shorts.
   18      A. I don't know.                                18      Q. And when you say Douglas put his
   19      Q. What did the room that you slept in          19   fingers in your butt, did he do that over the
   20   that night look like?                              20   shorts, or did he somehow get the shorts off?
   21      A. There was only a bed, a little table,        21           MR. STEWART: Objection.
   22   a light, and there was a little cross. And         22      A. With my shorts on.
   23   besides that, there was nothing else.              23   BY MR. CERRETA:
   24      Q. Were there any windows?                      24      Q. How long was he doing that until you
   25      A. Yes.                                         25   stood up and got out of there, as you say?


                                            Page 95                                                 Page 97
    1      Q. How many windows?                             1      A. I don't know. I don't remember.
    2      A. I don't know.                                 2      Q. Was it an immediate reaction by you,
    3      Q. So when you went in, did you change           3   or did you say anything to him first?
    4   your clothes into something to sleep in?            4          THE TRANSLATOR: I'm sorry, can you
    5      A. Yes.                                          5   repeat that? Is it an immediate reaction or --
    6      Q. And then did you lay down to go to            6      Q. Did you react immediately to what he
    7   sleep for the night?                                7   was doing, or did you say anything to him first?
    8      A. Yes.                                          8      A. No, because I didn't accept, I didn't
    9      Q. Do you know how much time passed              9   agree, so I left. I went outside quickly to go
   10   between when you went in to go to bed tonight --   10   see -- to go to the lady, to the woman lady.
   11   go to bed at night and when Douglas came to your   11      Q. Who was the lady that you went to see?
   12   room?                                              12      A. Madame Junie.
   13      A. No.                                          13      Q. The woman who was running the First
   14      Q. Did you, in fact, fall asleep for a          14   Communion program, is that right?
   15   time, or were you still awake when Douglas came    15      A. Yes.
   16   into the room?                                     16      Q. Where was she?
   17      A. I was about to fall asleep, but I            17      A. In the chapel, she was waiting for
   18   hadn't started yet.                                18   every child that Douglas was waking up to go
   19      Q. Okay. And what's the first thing you         19   pray. And after that you could go back to your
   20   remember about Douglas entering your room?         20   room.
   21      A. He opened the door. I heard the door         21      Q. I see.
   22   opening.                                           22          So was -- when Douglas had told you to
   23      Q. Did you look up when you heard the           23   keep your doors unlocked, did he also tell you
   24   door opening?                                      24   that he would be coming to wake you up to go see
   25      A. No.                                          25   Madam Junie to pray? Do I have that right?


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    1      A. Yes.                                          1   all of the lights off?
    2      Q. Did you say anything to Douglas when          2      A. All the lights were off, but when he
    3   he started to put his fingers in your butt?         3   came in he turned them on.
    4      A. No.                                           4      Q. Did you happen to see what Douglas was
    5      Q. What about when you got to see Madam          5   wearing?
    6   Junie in the chapel, what did you say to her?       6      A. No.
    7      A. Nothing. When I got there she made me         7      Q. So when you got back to your room,
    8   pray. When I was finished praying she -- I went     8   what did do you next?
    9   back in my room to sleep.                           9      A. I entered the room and I went to bed.
   10      Q. So when you got up to leave, back in         10      Q. What happened the next day in the
   11   the room with Douglas, after he puts his fingers   11   morning when you woke up?
   12   in your butt, does he say anything to you at       12           MR. STEWART: Objection.
   13   that point as you're getting out of there?         13      A. On the following morning we all took a
   14          THE TRANSLATOR: Can you repeat the          14   shower, put our clothes on, and we went back to
   15   question, please?                                  15   the Village.
   16      Q. After Douglas put his fingers -- as          16   BY MR. CERRETA:
   17   Douglas was putting his fingers in your butt and   17      Q. Were there any other activities at
   18   you got up to leave, did Douglas say anything to   18   Rival related to the First Holy Communion
   19   you as that was happening?                         19   preparation that next day?
   20          MR. STEWART: Objection.                     20      A. No.
   21      A. Yes.                                         21      Q. Did you see Douglas that next day?
   22   BY MR. CERRETA:                                    22      A. Yes.
   23      Q. What did he say?                             23      Q. Did you talk to him?
   24      A. He said not to tell anyone, because if       24      A. No.
   25   I told he would throw me out of the Village.       25      Q. Did you see your brother the next day?


                                            Page 99                                               Page 101
    1      Q. Did he say this as you were heading           1      A. Yes. My brother, yes.
    2   towards the door?                                   2      Q. Did you speak with him the next
    3      A. Yes.                                          3   morning?
    4      Q. After you went to see Madam Junie, did        4         MR. STEWART: Objection.
    5   you then go back to the room where you were         5      A. Yes, we talked.
    6   sleeping?                                           6   BY MR. CERRETA:
    7      A. Yes.                                          7      Q. Did you tell him what had happened to
    8      Q. Was Douglas still there when you got          8   you the night before?
    9   back?                                               9      A. No.
   10      A. He had left.                                 10      Q. What did you two talk about?
   11      Q. About how long of a walk was it from         11      A. We talked about things related to
   12   your room to the chapel where you had to go to     12   school, about the games we were going to play.
   13   see Madam Junie?                                   13   We never talked about these things.
   14      A. I don't remember.                            14      Q. At some point after this incident, did
   15      Q. Was it on the same floor, or did you         15   you ever tell your brother what happened to you
   16   have to go on some stairs?                         16   at Rival that night?
   17      A. On the same level.                           17      A. No.
   18      Q. And did you have to pass other rooms         18      Q. So am I right, then, that you have
   19   as you were going to the chapel?                   19   never told your brother Geffrard about what
   20      A. Yes.                                         20   happened to you at Rival that night?
   21      Q. Did you see anyone from the time you         21         MR. STEWART: Objection.
   22   left the room to the time you got to Madam         22      A. No.
   23   Junie?                                             23   BY MR. CERRETA:
   24      A. No.                                          24      Q. Do you know that your brother also
   25      Q. When Douglas came into your room, were       25   claims that he was sexually abused by Douglas


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    1   Perlitz?                                            1   opportunities you had there?
    2          MR. STEWART: Objection.                      2          MR. STEWART: Objection.
    3      A. I don't know.                                 3      A. Yes.
    4   BY MR. CERRETA:                                     4   BY MR. CERRETA:
    5      Q. Has your brother ever told you                5      Q. The teachers there were helping you to
    6   anything about abuse by Douglas Perlitz?            6   learn things, is that right?
    7          MR. STEWART: Objection.                      7      A. Yes.
    8      A. No.                                           8      Q. And you also had meals and other
    9   BY MR. CERRETA:                                     9   opportunities as part of being a Village
   10      Q. So after this first incident, did you        10   student, right?
   11   continue on at the Village?                        11      A. Yes.
   12      A. Yes.                                         12      Q. So I was just wondering if the threat
   13      Q. Did you tell anyone what had happened        13   that Douglas was making of kicking you out of
   14   to you?                                            14   there was something that had an effect on you
   15          MR. STEWART: Objection.                     15   not telling people.
   16          To the extent that you're asking him        16          MR. STEWART: Objection.
   17   to disclose conversations with his attorney or     17      A. Yes.
   18   privileged communications, I instruct him not to   18   BY MR. CERRETA:
   19   answer that.                                       19      Q. When this happened to you the first
   20          MR. CERRETA: Let me rephrase the            20   time, did you know Douglas well?
   21   question.                                          21      A. Yes.
   22          MR. STEWART: Okay. Thank you.               22      Q. Had you ever seen Douglas engage in
   23   BY MR. CERRETA:                                    23   any behavior like this before?
   24      Q. Between this incident and the time           24      A. I had never seen that before.
   25   that the Village -- that you left the Village      25      Q. Before this incident, did you trust

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    1   and were no longer a student there, did you tell    1   him?
    2   anyone about this incident?                         2      A. Yes.
    3      A. I didn't say that to anyone, except           3          MR. CERRETA: Do you want to take a
    4   for my lawyer, I told him.                          4   break?
    5      Q. I don't want you to tell me what you          5          THE TRANSLATOR: Yes. Thank you.
    6   told your lawyer.                                   6          THE VIDEOGRAPHER: Going off the
    7          MS. XIA: Can you translate that?             7   record. The time is 2:14.
    8          THE TRANSLATOR: Excuse me. I'm               8          (Whereupon, a recess was taken.)
    9   sorry.                                              9          THE VIDEOGRAPHER: Back on the record.
   10          I will need a break in about ten            10   The time is 2:25.
   11   minutes.                                           11   BY MR. CERRETA:
   12   BY MR. CERRETA:                                    12      Q. Mr. Lecenat, could I just go back? I
   13      Q. Why didn't you tell someone what had         13   was a little confused about the answer.
   14   happened?                                          14          At Rival, what did Douglas Perlitz say
   15      A. Because I know it's a personal matter.       15   to the group about locking the door? What was
   16      Q. Was it because Douglas had threatened        16   his instructions?
   17   to kick you out of the program if you told         17      A. He said not to lock the door because
   18   anyone?                                            18   he was going to come to wake us up to go pray.
   19      A. Yes.                                         19      Q. Okay. Thank you.
   20      Q. And was that something that concerned        20          So after this incident at Rival, you
   21   you, the prospect of being no longer able to       21   then continued on as a student at the Village,
   22   attend school at the Village?                      22   is that right?
   23      A. I don't understand the question.             23          THE TRANSLATOR: Can you repeat? I'm
   24      Q. Well, did you view going to school at        24   sorry.
   25   the Village as a good thing for you, the           25   BY MR. CERRETA:


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    1      Q. After this incident at Rival, did you         1   right about that?
    2   continue on as a student at the Village?            2      A. That was for me to do my First
    3      A. Yes.                                          3   Communion.
    4      Q. Did you ever discuss what happened at         4      Q. Right.
    5   Rival with Douglas?                                 5          Were these the same shoes now after
    6         MR. STEWART: Objection.                       6   the First Communion that had become worn out in
    7      A. No.                                           7   the intervening period?
    8   BY MR. CERRETA:                                     8          THE TRANSLATOR: That had come worn
    9      Q. At some point after Rival, was there a        9   out?
   10   second incident of abuse involving Douglas?        10      Q. Were these the First Communion shoes,
   11         THE TRANSLATOR: I'm sorry, repeat the        11   the shoes that you were telling us about, that
   12   question? Sorry.                                   12   had become worn out?
   13      Q. After the incident at Rival, was there       13      A. Yes.
   14   a second incident of abuse involving Douglas?      14      Q. So when you went to Douglas's office,
   15      A. Yes.                                         15   was he expecting you, or did you go there kind
   16      Q. When did that happen?                        16   of without an appointment?
   17      A. At the Village in his office.                17      A. He wasn't -- his off -- he was going
   18      Q. Do you remember how much time passed         18   to his office. When he came to the yard I asked
   19   between the first incident and the second?         19   the teacher for permission to go see him in his
   20      A. A few months.                                20   office.
   21      Q. So would you describe the second             21      Q. Were you in this teacher's class at
   22   incident?                                          22   the time, is that why you needed to ask this
   23      A. Yes.                                         23   particular teacher?
   24      Q. Please describe it for us.                   24      A. Yes, I was in the room.
   25      A. While I was in school, my shoes              25      Q. Do you remember the name of this


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    1   were -- had holes, so I asked permission to go      1   teacher?
    2   to Douglas's office to get some money to buy new    2      A. I don't remember.
    3   ones. So I went to his office, and he was           3      Q. Do you remember what time of day it
    4   sitting in a chair, and I stood right next to       4   was?
    5   him. Then he started touching my body. He put       5      A. No.
    6   his finger in my butt. So I just left. I            6      Q. So did you -- strike that.
    7   thought it would be better for me to do the rest    7          How far did you have to walk from the
    8   of the year with my shoes in that state. He         8   class that you were in to Douglas's office?
    9   didn't accept.                                      9      A. There's a big distance, quite a
   10          MR. STEWART: He didn't accept --            10   distance. I don't remember.
   11          THE TRANSLATOR: He didn't accept when       11      Q. Did you knock at the door when you
   12   he put his finger in his --                        12   arrived at his office?
   13          MR. STEWART: Okay.                          13      A. Yes.
   14          MR. CERRETA: Can we go off the record       14      Q. And did he then say "come in," or
   15   for a few seconds?                                 15   something like that?
   16          MR. STEWART: Please.                        16      A. Yes.
   17          THE VIDEOGRAPHER: Going off the             17      Q. Was this the first time that you two
   18   record. The time is 2:31.                          18   had been alone together since the previous
   19          (Pause.)                                    19   incident at Rival?
   20          THE VIDEOGRAPHER: Back on the record.       20      A. Yes.
   21   The time is 2:32.                                  21      Q. Were you at all concerned going into
   22   BY MR. CERRETA:                                    22   the office based on your previous experience at
   23      Q. Mr. Lecenat, am I right that you had         23   Rival?
   24   previously received some shoes from PPT that       24      A. Yes.
   25   time you went to the house at Bel Air? Am I        25      Q. So what did you say to Douglas when


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    1   you walked in?                                      1   remember the part of my body. He was touching
    2      A. My -- the things were -- had holes in         2   all my body.
    3   them, so I went to him for money so I could buy     3      Q. Do you have any specific recollection
    4   new ones. Then he started touching my body and      4   of him touching your chest?
    5   touching my butt. I left right away. I said         5      A. All my body. He touched all my body.
    6   I'd rather stay the way I am with my shoes in       6      Q. Did he ever touch your genitals?
    7   the way they are rather -- and I did not accept     7         MR. STEWART: Objection.
    8   to do that.                                         8      A. All my body. All my body. And then
    9      Q. So when you --                                9   he put his finger in my butt, and then I didn't
   10          THE TRANSLATOR: Instead of "he              10   accept, so I left.
   11   touched my butt," "he put his finger in my         11   BY MR. CERRETA:
   12   butt."                                             12      Q. When you say all your body, did he
   13      Q. So when you came in and asked for the        13   touch your head, for example? Is that one of
   14   new shoes, did Douglas say anything before he      14   the body parts that he touched?
   15   approached you and touched your body?              15         MR. STEWART: Objection.
   16      A. No.                                          16      A. He didn't touch my head, but he
   17      Q. Okay. So was Douglas sitting down in         17   touched all my body, all my body parts.
   18   a chair when you first walked into the office?     18   BY MR. CERRETA:
   19      A. Yes.                                         19      Q. How about your legs, was he touching
   20      Q. And then after you asked him the             20   your legs during this time?
   21   question about the shoes, and he approaches you,   21         MR. STEWART: Objection.
   22   how much time passed between you asking the        22      A. No.
   23   question and him getting to you and touching       23   BY MR. CERRETA:
   24   you?                                               24      Q. Your feet, did he touch your feet?
   25          MR. STEWART: Objection.                     25         MR. STEWART: Objection.


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    1      A. I went in, and I was standing in front        1     A. I was in front of him, he was sitting,
    2   of him, and right away he came up to me and he      2   so all my body.
    3   started touching my body and putting his finger     3   BY MR. CERRETA:
    4   in my butt hole, and I left. I thought I would      4     Q. How about your feet?
    5   rather do the rest of the year with my shoes        5          MR. STEWART: Objection.
    6   like that, and I just left. And I wasn't -- I       6     A. I was standing, he was sitting, so no.
    7   didn't agree.                                       7   BY MR. CERRETA:
    8   BY MR. CERRETA:                                     8     Q. Did he ever touch your penis?
    9      Q. When you say he touched your body,            9          MR. STEWART: Objection.
   10   where did he first touch your body?                10     A. No.
   11      A. On my body. All over my body. And            11   BY MR. CERRETA:
   12   then he put his fingers in my butt hole, and       12     Q. When he put his fingers in your butt,
   13   then I left. I said I'd rather do the rest of      13   did he do that over your pants, or under?
   14   the year with my -- the holes in my shoes. I       14          MR. STEWART: Objection.
   15   didn't agree.                                      15     A. My uniform pants, I had them on.
   16      Q. When he first approached you and             16   BY MR. CERRETA:
   17   touched you, do you remember which body part he    17     Q. How long did he have his fingers in
   18   touched first?                                     18   your butt before you got out of there?
   19          MR. STEWART: Objection.                     19          MR. STEWART: Objection.
   20      A. I don't remember.                            20     A. I don't remember. He spent longer
   21   BY MR. CERRETA:                                    21   than the first time, but I don't remember.
   22      Q. When you said that he touched all over       22   BY MR. CERRETA:
   23   your body, can you describe specifically which     23     Q. Did you say anything to him when he
   24   portions of your body he was touching?             24   was doing this?
   25      A. My body he was touching. I don't             25          MR. STEWART: Objection.


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    1      A. I just told him I don't accept, I            1   someone about either the first or the second
    2   don't agree.                                       2   time?
    3   BY MR. CERRETA:                                    3         MR. STEWART: Objection.
    4      Q. Did he say anything?                         4         To the extent that it asks him to
    5      A. He said that he wasn't giving me any         5   reveal any conversations he had with his
    6   money to buy the shoes because I don't want to     6   attorneys, I'm instructing him not to answer.
    7   do what he wants me to do.                         7   To the extent that he can answer without
    8      Q. Did he say anything else besides that?       8   revealing any conversations between his
    9      A. No.                                          9   attorneys, he may do so.
   10      Q. What did his office look like?              10         MR. CERRETA: Maybe I can just
   11      A. There's a window, there's a sofa,           11   rephrase.
   12   there's a desk, there's a chair, there are        12         MR. STEWART: Please.
   13   pictures glued on the wall. These are pictures    13   BY MR. CERRETA:
   14   that when Mrs. Carter and Father Paul -- they     14      Q. Between that day of the second
   15   are in those pictures, too. These are group       15   incident and the day you put your name on Jean
   16   photos we take when white people come, and they   16   Charles' list, did you tell anyone about what
   17   are glued to the wall.                            17   had happened in either of these incidents?
   18      Q. When you came in, where was Douglas         18         MS. XIA: It's not Jean Charles.
   19   sitting in the office?                            19         MR. CERRETA: Jean Gary. I apologize.
   20          MR. STEWART: Excuse me. Glued or           20      A. No.
   21   taped?                                            21   BY MR. CERRETA:
   22          THE TRANSLATOR: It's glued.                22      Q. Why didn't you tell anyone?
   23          MR. STEWART: Thank you.                    23      A. Because they were things that were
   24          THE TRANSLATOR: But --                     24   personal.
   25          MR. STEWART: It's okay.                    25      Q. Were you afraid of Douglas, is that


                                          Page 115                                               Page 117
    1      A. He was sitting in a chair in the             1   part of the reason why you didn't tell anyone?
    2   office.                                            2      A. Yes.
    3   BY MR. CERRETA:                                    3      Q. What did you think Douglas would do if
    4      Q. Do I have it right that there was both       4   you told someone?
    5   a desk chair and a sofa?                           5      A. He would have thrown me out. At that
    6      A. Yes.                                         6   time he was managing the Village. If I told
    7      Q. So was he behind his desk in the desk        7   anyone about it he would throw me out. That
    8   chair?                                             8   would have been worse for me, I wouldn't have
    9      A. Well, no, he can pull the chair, and         9   anyplace to go to.
   10   put it wherever he wants to.                      10      Q. Have you ever spoken with any of the
   11      Q. Where was it when you walked in?            11   staff or faculty at PPT about what Douglas did
   12      A. Well, the chair was not in the middle       12   to you?
   13   of the room. It was on the side. I was            13      A. No, I've never spoke to anyone.
   14   standing right next to Douglas, and to the        14      Q. Mr. Lecenat, I'm just going to read to
   15   chair, too.                                       15   you from one of your answers to the
   16      Q. What did you do after you left the          16   interrogatories. I'm going to read the English
   17   office?                                           17   translation. I'm at Page 9, number 26. A
   18      A. I left, went back to the classroom.         18   part -- just a part of this answer says that,
   19      Q. Was that the same classroom from which      19   quote, "The staff knew because people wrote
   20   you had come?                                     20   Douglas is a faggot on the walls before Douglas
   21      A. Yes.                                        21   left. I believe Robinson and Margarette Joseph
   22      Q. That day, did you tell anyone what had      22   knew before people wrote on the wall."
   23   happened?                                         23          MR. STEWART: I'm marking that, for
   24      A. No.                                         24   the record, that paragraph on Exhibit Number 2
   25      Q. When was the first time you told            25   in the English version and showing it to the


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    1   translator. Those are my marks on there.            1      A. If I had already done it, I would have
    2          MR. CERRETA: That's fine.                    2   accepted it with Douglas.
    3          MR. STEWART: I don't know if you             3          MR. STEWART: I think he's saying if
    4   prefer to read it in the Creole.                    4   he was gay.
    5          THE TRANSLATOR: I'm going to say what        5          MR. CERRETA: All right. Do you mind
    6   he said first.                                      6   if we take a five minute break?
    7      A. Yes.                                          7          MR. STEWART: No, I don't. Thank you.
    8   BY MR. CERRETA:                                     8          THE VIDEOGRAPHER: Going off the
    9      Q. Do you remember giving that answer to         9   record. The time is 3:01.
   10   the interrogatory?                                 10          (Whereupon, a recess was taken.)
   11      A. Yes.                                         11          THE VIDEOGRAPHER: Back on the record.
   12      Q. Why is it that you believe Robinson          12   The time is 3:17.
   13   and Margarette Joseph knew before people wrote     13   BY MR. CERRETA:
   14   on the wall?                                       14      Q. Mr. Lecenat, before the first incident
   15      A. According to how they saw -- because         15   with Douglas, had you ever had a sexual
   16   of the way they saw Douglas behave with some of    16   experience with a girl?
   17   the children, there were some that he liked        17          MR. STEWART: Objection.
   18   more, those he was mistreating more, and they      18      A. Earlier I did not understand your
   19   were afraid of losing their job, that's why they   19   question. I thought you were asking me if I had
   20   didn't say anything.                               20   sex, sexual relations with a man, if I -- that's
   21      Q. Aside from those personal                    21   why I said if I had done it I would have
   22   observations, was there any other reason why you   22   accepted with Douglas.
   23   believe that?                                      23   BY MR. CERRETA:
   24      A. No.                                          24      Q. I was just wondering if, prior to that
   25      Q. Other than your attorneys, have you          25   time of that first incident, if you had ever had


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    1   told anyone else about what Douglas did to you?     1   a sexual experience with a girl.
    2       A. No.                                          2         MR. STEWART: Same objection.
    3       Q. Has anybody else from PPT ever told          3      A. Mm-hmm.
    4   you about abuse that they suffered?                 4         THE TRANSLATOR: He said mm-hmm.
    5       A. No.                                          5   BY MR. CERRETA:
    6       Q. When Douglas abused you the first time       6      Q. Is that a yes?
    7   at Rival, had you ever had a sexual experience      7      A. Yes.
    8   prior to that?                                      8      Q. How many sexual experiences had you
    9          MR. STEWART: Objection.                      9   had with girls before the incident?
   10          I'm just going to add that's a              10         MR. STEWART: Objection.
   11   harassing question, and I hope we don't go too     11         THE TRANSLATOR: How many times have
   12   far down this road.                                12   you had sexual experiences with --
   13           MR. BABBITT: I'm sorry, I can't hear       13   BY MR. CERRETA:
   14   you.                                               14      Q. How many sexual experiences had you
   15          MR. STEWART: It's a harassing               15   had with girls before the incident?
   16   question to ask. It implies that there's --        16      A. I don't know.
   17   it's harassing. I hope we don't go too far down    17      Q. Do you know how many different girls
   18   the road. Go ahead.                                18   you had been with before the incident?
   19          THE TRANSLATOR: Do you want me to           19         MR. STEWART: Objection.
   20   translate that?                                    20      A. No.
   21           MR. STEWART: No. Just translate what       21   BY MR. CERRETA:
   22   he asked, obviously.                               22      Q. In this case, Mr. Lecenat, you're
   23          THE TRANSLATOR: I did.                      23   claiming that what Douglas did to you injured
   24           MR. STEWART: Not my objection. My          24   you. Am I right about that?
   25   objection is just for the record.                  25      A. A lot.


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    1      Q. Would you tell me how these                   1   a fair characterization?
    2   experiences with Douglas has affected you?          2           MR. STEWART: Objection.
    3          MR. STEWART: Objection.                      3      A. Yes.
    4      A. This really hurt me. I felt like              4   BY MR. CERRETA:
    5   someone who was an outcast. It's like a car, a      5      Q. But can you estimate for me how
    6   defenseless car running around everywhere and       6   frequently that is?
    7   that is hitting everybody on its way and that is    7      A. I don't remember.
    8   completely destroyed, a boat that goes from         8      Q. How long after the incidence of abuse
    9   island to island and is involved in a shipwreck,    9   by Douglas did you start drinking alcohol?
   10   and it's like I'm stabbed with a knife through     10      A. I don't remember.
   11   my heart, what Douglas did to me. I have small     11      Q. Are you able to remember when the
   12   nephews, and that's why I'm protecting them, so    12   first time was you had a drink?
   13   that what Douglas did to me never happens to       13           MR. STEWART: Objection.
   14   them.                                              14      A. No.
   15   BY MR. CERRETA:                                    15   BY MR. CERRETA:
   16      Q. Can you tell me what specifically --         16      Q. Besides alcohol, what other problems
   17   what specific effects the abuse has had on your    17   do you attribute to the abuse by Douglas?
   18   life?                                              18      A. Douglas killed my future. I don't
   19      A. Yes.                                         19   have any more future. I don't have a future
   20      Q. Would you tell me?                           20   anymore.
   21      A. I feel I'm a outcast from society. I         21      Q. What makes you say that, that you
   22   have no more hope in life. Because of what         22   don't have a future?
   23   happened to me I can't be at ease when I'm in      23      A. I don't see hope anywhere anymore.
   24   the street. I have -- because everybody is         24      Q. Do you think that if Douglas didn't
   25   calling me Douglas's wife. I have no more hope.    25   abuse you, you would have more hope?

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    1   It's like I was stabbed in the heart. I'm like      1      A. A lot.
    2   a defenseless car running amuck, a boat that        2      Q. Any other symptoms or problems that
    3   goes from island to island that is shipwrecked.     3   you think are attributable to what you
    4   Sometimes I drink alcohol without knowing any --    4   experienced with Douglas?
    5   without even noticing it.                           5      A. Yes.
    6       Q. Before the abuse by Douglas, had you         6      Q. What are those?
    7   ever had alcohol?                                   7      A. Sometimes I just stay like that, and
    8       A. No, I had never -- I never drank             8   my head for one full month is hurting because of
    9   alcohol. After this thing, I started drinking       9   what he did.
   10   alcohol.                                           10     Q. So do you have frequent headaches? Is
   11       Q. How often do you drink alcohol now?         11   that right?
   12       A. I don't remember.                           12      A. Yes.
   13       Q. On average in a typical week, how many      13      Q. Did you used to get headaches before
   14   drinks do you have?                                14   the abuse?
   15       A. I don't remember. I don't remember.         15      A. No.
   16       Q. Would you say that you have more than       16      Q. How often do these headaches come?
   17   one drink a day on the average, or something       17      A. I don't remember.
   18   less than that?                                    18      Q. Any other injuries or problems that
   19           MR. STEWART: Objection.                    19   you attribute to the abuse by Douglas?
   20       A. When I'm drinking, I never have the         20          MR. STEWART: Objection.
   21   chance of knowing how much I drink. I just         21      A. Yes.
   22   drink.                                             22   BY MR. CERRETA:
   23   BY MR. CERRETA:                                    23      Q. Okay. What are those?
   24       Q. So am I right that on the instances         24      A. He made me -- he ruined my life. All
   25   that you do drink, you drink to excess, is that    25   my life he ruined.


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    1      Q. How did he ruin it?                          1   Douglas?
    2          MR. STEWART: Objection.                     2          MR. STEWART: Objection.
    3   BY MR. CERRETA:                                    3      A. I said the problems already.
    4      Q. You had mentioned that sometimes in          4   BY MR. CERRETA:
    5   the streets people call you Madam Douglas. Do I    5      Q. Okay. I think way back at the
    6   have that right?                                   6   beginning of the day, if I'm remembering it
    7          THE TRANSLATOR: Douglas's wife?             7   correctly, did you say that you've had some
    8      Q. Douglas's wife, is that right?               8   trouble getting work due to your association
    9          THE TRANSLATOR: No. Madame Douglas          9   with Douglas?
   10   for me, it's not -- you say people in the         10          MR. STEWART: I just object to the
   11   streets call you?                                 11   question.
   12      A. Yeah, because sometimes I have to stay      12      A. Yes, because of the young men, kids
   13   in my house, in the house, because the other      13   who -- they want to get my job, so they tell me
   14   kids calling me Douglas's woman.                  14   "you're Douglas's woman" so I can leave. Since
   15      Q. How often does this happen, that            15   I don't feel comfortable, I just leave the job.
   16   people call you Douglas's woman?                  16   BY MR. CERRETA:
   17      A. I don't remember.                           17      Q. So have there been times when you've
   18      Q. Are these all people that you know?         18   gotten work, but left due to harassment at the
   19          MR. STEWART: Objection.                    19   job site?
   20      A. There are people I don't even know.         20          MR. STEWART: Objection.
   21   Sometimes I just go by and then I see people      21      A. Yes.
   22   pointing their fingers at me, people I don't      22   BY MR. CERRETA:
   23   even know.                                        23      Q. When did you first start doing masonry
   24   BY MR. CERRETA:                                   24   work?
   25      Q. How do these people know, if you know?      25      A. I don't remember.

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    1          MR. STEWART: Objection.                     1      Q. Was it before or after you were a
    2   BY MR. CERRETA:                                    2   student at PPT that you first started?
    3      Q. Do you know how these people associate       3          MR. STEWART: Objection.
    4   you with Douglas?                                  4      A. I don't remember.
    5          MR. STEWART: Objection.                     5   BY MR. CERRETA:
    6      A. Because if you at the Village, because       6      Q. Okay. Have there been any times that
    7   of what happened at the Village, if they know      7   you have been turned down for jobs because of
    8   you were there they would call you Douglas's       8   people's perceptions about your experiences with
    9   woman.                                             9   Douglas?
   10   BY MR. CERRETA:                                   10          MR. STEWART: Objection.
   11      Q. In your experience, do the other            11      A. I don't understand the question.
   12   people who were students at the Village also      12   BY MR. CERRETA:
   13   have this problem with being called names?        13      Q. Really what I'm wondering is if one of
   14          MR. STEWART: Objection.                    14   the injuries that you're claiming in this case
   15          THE TRANSLATOR: Can you repeat the         15   is that Douglas's abuse has affected your
   16   question, please?                                 16   ability to find work.
   17   BY MR. CERRETA:                                   17          MR. STEWART: Objection.
   18      Q. I'm just wondering if you've seen           18      A. It's not only to find work. It's my
   19   others who were students at the Village           19   entire life that he blocked.
   20   experience similar taunts.                        20   BY MR. CERRETA:
   21          MR. STEWART: Objection.                    21      Q. But is the -- is one of those problems
   22      A. I don't know.                               22   the ability to find work?
   23   BY MR. CERRETA:                                   23      A. I don't understand.
   24      Q. Are there any other injuries that you       24      Q. Have you ever been turned down for a
   25   attribute to your experience of abuse by          25   job because people think you're Douglas's woman,


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    1   or something like that?                            1   BY MR. CERRETA:
    2          MR. STEWART: Objection.                     2      Q. -- from the abuse?
    3      A. I was working, I left the job, and           3      A. I could have gone, but since I didn't
    4   there's no place for me to find work. I'm not      4   have any means, I'm forced to stay the way I am.
    5   working right now.                                 5      Q. Do you know a Joseph Jean Pierre?
    6   BY MR. CERRETA:                                    6      A. Yes.
    7      Q. Do you think that you would have             7      Q. Did you ever see Douglas touch him or
    8   better luck finding work if you had not been       8   do anything to him?
    9   abused by Douglas?                                 9      A. I was with Joseph Jean Pierre, we were
   10      A. A lot.                                      10   standing there, we were talking about Douglas
   11      Q. Why do you think that?                      11   had lost a radio inside the Village. Because it
   12      A. Because it's people who harmed me, the      12   was close to the Village, Douglas came out and
   13   reason -- it's because people are teasing me      13   decided to search our home, because it was close
   14   that I cannot -- about Douglas that I cannot      14   to the Village, to see if we were the ones who
   15   find work.                                        15   had stolen the radio. And then while Joseph was
   16      Q. So when you go to find work, have           16   standing in front of me, he pinched his butt and
   17   there been times when you've been teased and      17   said "your butt is starting to be big."
   18   refused a job?                                    18      Q. Was this while you were a student at
   19      A. No, it's not people who refuse to give      19   the Village?
   20   me the job, who tease me, it's when I'm walking   20      A. Yes.
   21   the street everybody is calling me Douglas's      21      Q. Did this happen at your house in Blue
   22   woman.                                            22   Hills, is that where?
   23      Q. So how does that affect your ability        23          THE VIDEOGRAPHER: Going off the
   24   to work?                                          24   record. The time is 3:49.
   25      A. I don't understand the question.            25          (Off the record discussion.)


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    1      Q. What effect does the teasing of the          1          THE VIDEOGRAPHER: Back on the record.
    2   people of the streets have on your ability to      2   The time is 3:49.
    3   find work?                                         3      A. It was outside the Village, we were
    4          MR. STEWART: Objection.                     4   outside, so we were home, and so he decided to
    5      A. The only thing, why I'm not -- I             5   search the home of each one of us, and he did
    6   didn't commit suicide, it's because it would be    6   that to Joseph in my presence.
    7   a bigger sin, God does not want this. That's       7   BY MR. CERRETA:
    8   why I'm still here.                                8      Q. Aside from that one incident, did you
    9   BY MR. CERRETA:                                    9   ever see Douglas touch any of the other students
   10      Q. Does the teasing on the streets, has        10   inappropriately?
   11   that given you suicidal thoughts?                 11      A. No.
   12          MR. STEWART: Objection.                    12          MR. CERRETA: That's all I have.
   13      A. That's not the only reason why. It's        13   Thank you, Mr. Lecenat.
   14   when -- every time I think about that, what       14          (Pause.)
   15   happened to me.                                   15   BY MR. FOLKMAN:
   16   BY MR. CERRETA:                                   16      Q. Mr. Lecenat, did you ever see Father
   17      Q. Have you ever been to a therapist to        17   Paul Carrier anywhere other than at the Village?
   18   talk about the emotional problems you've had as   18      A. Besides the Village, I saw Father Paul
   19   a result of the abuse?                            19   in a Catholic Church in Blue Hills.
   20          MR. STEWART: Objection.                    20      Q. And what was he doing when you saw him
   21      A. I don't understand the question.            21   at that church?
   22   BY MR. CERRETA:                                   22      A. Then at that time, he was going to do
   23      Q. Have you ever been to any doctor for        23   Communion. He had the clothes, priestly clothes
   24   treatment for the injuries you suffered --        24   on him, and he was going to celebrate Mass with
   25          MR. STEWART: Objection.                    25   the father of that church, the priest of that


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    1   church.                                            1      A. Yes.
    2      Q. Was Douglas Perlitz there?                   2      Q. And aside from that time, have you
    3      A. Yes.                                         3   ever worked for anybody else for money?
    4      Q. Did you take Communion?                      4      A. No. I can't find -- I've never found
    5      A. Yes.                                         5   work besides that, because everybody is calling
    6      Q. Was this your First Communion?               6   me Douglas's wife everywhere in the street.
    7      A. Yes.                                         7      Q. What have you done to find work?
    8      Q. And there was a priest from the local        8         THE TRANSLATOR: I'm sorry?
    9   parish there?                                      9      Q. What have you done to find work?
   10      A. Yes.                                        10      A. I didn't do anything.
   11      Q. Do you know the name of that priest?        11      Q. Do you wash cars in the street?
   12      A. Yes.                                        12      A. Yes.
   13      Q. What is his name?                           13      Q. And you get paid for that?
   14      A. Eddie Eustache.                             14      A. Yeah, I wash cars, sometimes they give
   15          THE TRANSLATOR: E-U-S-T-A-C-H-E.           15   you 50 gourdes for that, but that won't even buy
   16      Q. Is Father Eustache the parish priest        16   you food. But since this is all I have for the
   17   at that church today?                             17   time being, that's what I do.
   18          MR. STEWART: Objection.                    18      Q. And aside from washing cars, is there
   19      A. No.                                         19   anything else that you do for money?
   20   BY MR. FOLKMAN:                                   20      A. No. It's just when I mix the cement,
   21      Q. Aside from the occasion when you saw        21   I make the cement, but besides that there's
   22   Father Carrier and another priest at your First   22   nothing else.
   23   Communion at that church, did you ever see        23      Q. So I want to make sure I understand.
   24   Father Carrier anywhere else outside of the       24         When you mix the cement, is that
   25   Village?                                          25   something you've done more than once?

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    1     A. No, I just saw him at the Village.            1      A. Several times.
    2     Q. When was the last time you asked              2      Q. And do you get paid for that?
    3   someone for a job?                                 3      A. Yeah.
    4          MR. STEWART: Objection.                     4      Q. How much do you get paid?
    5     A. I don't remember.                             5      A. 250 gourdes a day.
    6   BY MR. FOLKMAN:                                    6      Q. And who are you working for when
    7     Q. Was it more than a year ago, can you          7   you're mixing cement?
    8   say?                                               8      A. For my own, for me, or for my family.
    9          MR. STEWART: Objection.                     9      Q. Who is paying you when you're mixing
   10     A. I don't know.                                10   cement?
   11   BY MR. FOLKMAN:                                   11      A. The person who ask me to do the work.
   12     Q. How many times have you asked someone        12      Q. Okay. And who is that person?
   13   for a job?                                        13      A. I don't know.
   14     A. I don't remember.                            14      Q. Okay. Does that person call you
   15     Q. Have you ever asked anybody for a job?       15   Douglas's woman?
   16     A. I don't understand the question.             16          MR. STEWART: Objection.
   17     Q. Well, you told us today that you             17      A. It's the other kids, those who are not
   18   worked for a man who was building a house.        18   working, they're calling me this so that I can
   19     A. Yes.                                         19   leave my work so they can take it.
   20     Q. And so you asked him for a job?              20   BY MR. FOLKMAN:
   21     A. It's not a job. I just work a few            21      Q. Okay. And when these other people are
   22   days. That's not a job.                           22   calling you Douglas's woman, then you stop
   23     Q. Was he paying you?                           23   working because they say that to you?
   24     A. Yes, 250 gourdes a day.                      24          MR. STEWART: Objection.
   25     Q. For a few days?                              25      A. Yes.


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    1   BY MR. FOLKMAN:                                     1   that. But I was just one day like that hanging
    2      Q. Okay. Aside from mixing cement and            2   out, and then my head hurt, so I went to Cyrus
    3   washing cars, what other jobs do you believe you    3   and he gave me $100, and I bought food with it,
    4   are qualified to do?                                4   and I gave some of the money to my family.
    5      A. Nothing else.                                 5   BY MR. FOLKMAN:
    6      Q. You said that Jean Gary has a house           6      Q. And you went to see the doctor?
    7   now, right?                                         7      A. Yes.
    8          MR. STEWART: Objection.                      8      Q. And this happened one time, or more
    9      A. Of course.                                    9   than one time?
   10   BY MR. FOLKMAN:                                    10          MR. STEWART: Objection.
   11      Q. Do you know where he lives?                  11      A. I don't remember.
   12          MR. STEWART: Objection.                     12   BY MR. FOLKMAN:
   13      A. No.                                          13     Q. You said that you had heard Douglas
   14   BY MR. FOLKMAN:                                    14   saying to the group of kids in the Village that
   15      Q. When was the last time you saw               15   Father Carrier and Hope Carter were the bosses.
   16   Margarette Joseph?                                 16          Do you remember that?
   17      A. I don't remember. I don't know.              17      A. It's not that I heard. I was present.
   18      Q. Have you seen her since you filed this       18   He used to tell us that.
   19   lawsuit?                                           19      Q. Right.
   20          MR. STEWART: Objection.                     20          And did he tell you that more than
   21      A. No.                                          21   once?
   22   BY MR. FOLKMAN:                                    22      A. I don't know, but Douglas used to tell
   23      Q. Have you ever discussed with her the         23   us that he was under the orders of Madame Carter
   24   claims that you're bringing against Douglas        24   and Father Paul. That's what he told us.
   25   Perlitz?                                           25      Q. Okay. And you know he told you that


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    1          MR. STEWART: Objection.                      1   once, and you don't know for sure whether he
    2      A. I've never seen her, so I don't               2   told you it more than once, is that fair?
    3   discuss with her.                                   3          MR. STEWART: Objection.
    4   BY MR. FOLKMAN:                                     4      A. I don't remember.
    5      Q. When was the last time you saw Marisse        5   BY MR. FOLKMAN:
    6   Pierre?                                             6      Q. What other kind of things would
    7          MR. STEWART: Objection.                      7   Douglas Perlitz tell the group when the whole
    8          THE TRANSLATOR: Louis?                       8   group was together?
    9          MR. FOLKMAN: Marisse, woman's name,          9          MR. STEWART: Objection.
   10   Marisse.                                           10          MR. FOLKMAN: What's the basis of the
   11      A. I don't understand.                          11   objection?
   12   BY MR. FOLKMAN:                                    12          MR. STEWART: It's overly broad. What
   13      Q. Do you know someone named Marisse            13   else did he tell them? Did he tell them about
   14   Pierre?                                            14   Jesus? Did he tell them about Pere Paul? Did
   15      A. I don't know.                                15   he tell them about Madame Carter? Did he tell
   16      Q. You said earlier that you had used           16   them about math? Did he tell them about
   17   some of the $300 that Cyrus Sibert had given you   17   reading? Did he tell them about soccer, his
   18   to go to see a doctor. Do you remember that?       18   favorite team? That's what you want to know,
   19      A. Yeah. He gave me the money, it's when        19   every conversation he had?
   20   my head hurts, then -- but the rest of the money   20          MR. FOLKMAN: I'll rephrase.
   21   I gave to my family so they could prepare food.    21   BY MR. FOLKMAN:
   22      Q. When your head was hurting, was that         22      Q. Do you remember other things that
   23   because of what Douglas Perlitz had done to you?   23   Douglas Perlitz told the group of kids when they
   24          MR. STEWART: Objection.                     24   were together?
   25      A. I don't know. I don't know about             25          MR. STEWART: Same objection.


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    1      A. I don't remember.                            1          MR. STEWART: Objection.
    2          MR. FOLKMAN: I have no more                 2       A. I don't know.
    3   questions.                                         3   BY MR. KENNEDY:
    4          MR. STEWART: Are you okay? Do you           4       Q. And how long was the bus ride from
    5   want to keep going? Do you want to take a          5   Haiti to the Dominican Republic, sir?
    6   break?                                             6          MR. STEWART: Objection.
    7          THE WITNESS: I'm okay.                      7       A. I don't remember.
    8   BY MR. KENNEDY:                                    8   BY MR. KENNEDY:
    9      Q. Good afternoon, Mr. Lecenat. My name         9       Q. Is it more than two hours, sir?
   10   is Jeff Kennedy, I represent Hope Carter.         10       A. I don't remember.
   11          You've been asked a lot of questions       11       Q. Did you sit on the -- I'm sorry.
   12   this afternoon, so I'm going to actually be       12          Did you sit next to Emile Jean Pierre
   13   jumping around a little on my questioning.        13   or Kensley or Mr. Ilguens on the bus, sir?
   14          Sir, how did you get here from Haiti       14          THE TRANSLATOR: Mr. Ilguens.
   15   for your deposition?                              15          MR. KENNEDY: Ilguens, I believe it
   16      A. In a car.                                   16   is.
   17      Q. And did you drive the car, sir?             17       A. No, we were each in a different row.
   18      A. There were a group of people inside a       18   BY MR. KENNEDY:
   19   car.                                              19       Q. Did you speak -- I'm sorry, strike
   20      Q. Who was in the car, sir?                    20   that. I'm sorry.
   21      A. A lot of passengers.                        21          Now, are you aware, sir, that those
   22      Q. And who were these passengers, sir?         22   other individuals, besides Mathieu, are coming
   23          MR. STEWART: Objection.                    23   here to have their deposition taken as well?
   24      A. I don't know.                               24       A. Of course.
   25   BY MR. KENNEDY:                                   25       Q. And did you discuss the deposition

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    1      Q. Was it a bus, sir?                           1   with any of those individuals, sir?
    2      A. It's the Caribbean bus, Caribbean            2     A. No.
    3   Tour.                                              3     Q. Did you discuss the lawsuits in any
    4      Q. So you came on a Caribbean Tour bus,         4   way with those individuals, sir?
    5   sir?                                               5          THE TRANSLATOR: With these
    6      A. Yes.                                         6   individuals?
    7      Q. Who did you come with, sir?                  7          MR. KENNEDY: Yes.
    8      A. The five of us, we were five people          8     A. No.
    9   inside, we all came here.                          9     Q. And, sir, you're staying here at the
   10      Q. Which five people, sir?                     10   Barcelo hotel, sir?
   11      A. Myself, Emile Jean Pierre, Ilguens,         11     A. Of course. I'm here. I'm coming from
   12   Kensley, and Mathieu.                             12   Haiti.
   13      Q. Who is Mathieu, sir?                        13     Q. Okay. And how long have you been
   14      A. Cyrus was already in the Dominican          14   here, sir?
   15   Republic, and he said to go to Mathieu and meet   15          MR. STEWART: Objection.
   16   with him.                                         16     A. I don't remember.
   17      Q. Does Mathieu work with Cyrus?               17   BY MR. KENNEDY:
   18         MR. STEWART: Objection.                     18     Q. Is it more than two days, sir?
   19      A. I don't know.                               19     A. I don't remember.
   20   BY MR. KENNEDY:                                   20     Q. Okay. And are you sharing a room with
   21      Q. Who paid for your bus ticket, sir?          21   anybody, sir?
   22         MR. STEWART: Objection.                     22     A. Yes.
   23      A. I don't know.                               23     Q. Who are you sharing a room with, sir?
   24   BY MR. KENNEDY:                                   24     A. I don't understand. Kensley.
   25      Q. Do you know if Cyrus did, sir?              25     Q. And have you and Kensley discussed


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    1   your lawsuits, sir?                                 1   Republic, you met Cyrus, correct?
    2      A. No.                                           2          THE TRANSLATOR: When you got to the
    3      Q. Okay. Now, since you've come to the           3   Dominican Republic --
    4   Dominican Republic, sir, have you met with          4      Q. You met Cyrus, correct?
    5   Cyrus?                                              5      A. Yes, that's where he said he was going
    6      A. I saw Cyrus when we went all the way          6   to wait for us.
    7   up to Santiago, then I took a car, and I haven't    7      Q. Okay. And my question, sir, was,
    8   -- and since then, I haven't seen him to talk or    8   prior to taking the bus with Mathieu from Haiti
    9   anything. I haven't seen him.                       9   to the Dominican Republic, had you ever met
   10      Q. Okay. You went to Santiago first             10   Mathieu before?
   11   before coming here, sir?                           11      A. I've seen him several times.
   12      A. We went to Santiago, that's where we         12      Q. Okay. In what context have you seen
   13   took the bus called Caribbean Tour to come here.   13   him, sir?
   14      Q. Okay. But I thought you indicated            14          MR. STEWART: Objection.
   15   earlier, sir, that Cyrus was already in the        15      A. I don't know.
   16   Dominican Republic, sir.                           16   BY MR. KENNEDY:
   17          MR. STEWART: Objection.                     17      Q. Did you see him in Haiti, sir?
   18      A. That's where he was waiting for us.          18      A. Who?
   19   BY MR. KENNEDY:                                    19      Q. Mathieu.
   20      Q. In Santiago?                                 20      A. He's Haitian. I saw him in Haiti.
   21      A. Yeah. He was waiting for us at the           21      Q. Okay. And did you discuss your
   22   place -- the site where the Caribbean busses       22   lawsuit with him, sir?
   23   stop, the first stop for the cars coming from      23      A. No.
   24   Haiti.                                             24      Q. What did you discuss with him, sir?
   25      Q. Okay. And then did he drive you here,        25          MR. STEWART: Objection.


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    1   sir?                                                1      A. Nothing. We were just listening to
    2           MR. STEWART: Objection.                     2   music and watching TV, and then we got here.
    3      A. No, we just went in a car to come             3   BY MR. KENNEDY:
    4   here.                                               4      Q. Okay. Sir --
    5   BY MR. KENNEDY:                                     5          MR. KENNEDY: Mike, can I see
    6      Q. Okay. Who drove that car, sir?                6   Exhibit 2? Thanks.
    7      A. I don't know.                                 7   BY MR. KENNEDY:
    8      Q. And who was in that car, sir?                 8      Q. Sir, I'm going to show you what was
    9      A. Myself, Ilguens, Kensley, Emile Jean          9   previously marked as Exhibit 2. I'll represent
   10   Pierre, and Mathieu.                               10   to you these were answers that you gave to
   11      Q. Sir, do you know Mathieu's last name?        11   Defendants' questions to you.
   12      A. No.                                          12          My question, sir, is, did Cyrus help
   13      Q. Had you ever met Mathieu before this         13   you answer these questions, sir?
   14   trip, sir?                                         14      A. It's not Cyrus. I had an interpreter
   15      A. It's when we're coming here Mathieu          15   who was helping me understand.
   16   was waiting for us in the Dominican Republic, he   16      Q. Who is the interpreter, sir?
   17   was already there, and he was going to bring us.   17          MR. STEWART: I'm going to object,
   18   He's the one who brought us.                       18   because now you're -- I'm instructing him not to
   19           THE TRANSLATOR: Yes, that's what he        19   answer any more questions about the legal team
   20   said.                                              20   that helped him to answer the questions.
   21      Q. I'm a little confused, sir.                  21          MR. KENNEDY: Let me see if I can
   22           You took the bus with Mathieu from         22   rephrase for you.
   23   Haiti to the Dominican Republic, correct?          23          MR. STEWART: You're asking who --
   24      A. Yes.                                         24          MR. KENNEDY: Let's see if this will
   25      Q. And then when you got to the Dominican       25   do it.


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    1   BY MR. KENNEDY:                                    1      A. No.
    2      Q. Sir, was the interpreter any of your         2      Q. Did you ever tell your brother -- I'm
    3   attorneys?                                         3   sorry, I'm going to mispronounce his name --
    4      A. No.                                          4   Geffrard you were ever abused, sir?
    5      Q. Okay. Then who was the interpreter,          5      A. No.
    6   sir?                                               6      Q. Did you ever tell any of your other
    7          MR. STEWART: No, I'm going to object        7   siblings you had been abused, sir?
    8   and instruct him not to answer on the grounds      8      A. No.
    9   that you're seeking to invade attorney/client      9      Q. Did you ever tell Margarette Joseph
   10   privilege.                                        10   you were abused, sir?
   11          Just because the interpreter is not        11      A. No.
   12   one of his attorneys does not mean the            12      Q. Sir, it's fair to say you can't speak
   13   interpreter does not work for his attorneys or    13   English?
   14   is an agent of the attorneys, employed by the     14      A. I don't speak English. I speak
   15   attorneys to assist the attorneys.                15   Creole.
   16          MR. CERRETA: Just to clarify, the          16      Q. So you can't understand when people
   17   identity of the interpreter is privileged?        17   are speaking English, correct?
   18          MR. STEWART: Yes. What do you need         18      A. No.
   19   to know for?                                      19      Q. It's also fair to say you've never
   20          MR. FOLKMAN: That's a different            20   spoken to Mrs. Carter?
   21   question whether it's privileged.                 21          MR. STEWART: Objection.
   22          MR. STEWART: If they work for us, if       22      A. I don't speak English, so I can't
   23   we have hired them to assist us, doesn't matter   23   speak with Madame Carter.
   24   who they were. They're working for us to help     24   BY MR. KENNEDY:
   25   us prepare this case. Doesn't matter who they     25      Q. Okay. And Madame Carter never taught

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    1   are, they work for us. Who is my secretary?        1   you, did she, sir?
    2   Doesn't matter, she works for me.                  2         MR. STEWART: Never what, sir?
    3          MR. FOLKMAN: That's the position?           3         MR. KENNEDY: Taught.
    4          MR. STEWART: That is the position.          4      A. I don't speak English. It's just -- I
    5   BY MR. KENNEDY:                                    5   never spoke to Madame Carter. It's just when
    6      Q. Sir, besides your attorneys, and I           6   she would come in, she would be with Douglas,
    7   don't want to know about any conversations         7   and they would walk together. I never spoke to
    8   you've had with your attorneys, have you told      8   her.
    9   anyone else about Mr. Perlitz's abuse?             9   BY MR. KENNEDY:
   10          MR. STEWART: Would you mind expanding      10      Q. Okay. And I believe earlier you
   11   that to attorneys or anyone that works for his    11   indicated, sir, that you saw Douglas and
   12   attorneys?                                        12   Mrs. Carter talking, is that correct, sir?
   13          MR. KENNEDY: I'll leave it. You can        13      A. Yeah, I saw them talking.
   14   put an objection.                                 14      Q. But you don't know what they were
   15          MR. STEWART: I'll object, and              15   talking about, do you, sir?
   16   instruct him not to answer as to any              16      A. I don't know.
   17   conversations he had with his attorneys or        17      Q. Okay. And that's because you don't
   18   anyone working for his attorneys.                 18   speak English, sir?
   19      A. No.                                         19         MR. STEWART: Objection.
   20   BY MR. KENNEDY:                                   20      A. Yes.
   21      Q. Did you ever tell Jean Gary that you        21   BY MR. KENNEDY:
   22   were abused, sir?                                 22      Q. Sir, can you describe Mrs. Carter for
   23      A. No.                                         23   me physically?
   24      Q. Did you ever tell Cyrus you were            24      A. Yes.
   25   abused, sir?                                      25      Q. Please do, sir.


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    1     A. She's an old woman. She has wrinkles           1      Q. Sir, do you have a clear memory of the
    2   over her hands, arms. She always puts pants         2   second time that Mr. Perlitz abused you?
    3   under her heart up here. And she has a little       3      A. Yes, I remember.
    4   pocket around her waist. She has glasses.           4          MR. STEWART: Why don't we take a
    5          MR. FOLKMAN: Is that more information        5   break.
    6   than you wanted, Jeff?                              6          MS. XIA: Do you need a break,
    7   BY MR. KENNEDY:                                     7   Nathalie?
    8     Q. Was she nice to the students, sir?             8          MR. STEWART: Let's take a short
    9          MR. STEWART: Objection.                      9   break.
   10     A. I don't know.                                 10          MR. KENNEDY: Sure.
   11   BY MR. KENNEDY:                                    11          THE VIDEOGRAPHER: Going off the
   12     Q. Okay. Sir, what year did you get your         12   record. The time is 4:33.
   13   First Communion, sir?                              13          (Whereupon, a recess was taken.)
   14          THE TRANSLATOR: What year did you get       14          THE VIDEOGRAPHER: Back on the record.
   15   your First --                                      15   The time is 4:46.
   16          MR. KENNEDY: First Communion. I'm           16          MR. STEWART: I don't think that was
   17   sorry.                                             17   clear about -- I think there was some confusion
   18     A. In 2006.                                      18   about the phrase "clear memory." I don't know
   19     Q. Sir, I apologize for jumping around.          19   that that translates real well. I just wanted
   20          Do you know where -- I believe her          20   to -- you can do with that what you want.
   21   name was Madam Junie lives?                        21          MS. XIA: It's better if it's a verb.
   22     A. No.                                           22          MR. STEWART: I think you probably got
   23     Q. Sir, what time of day do you claim            23   -- the first time I don't think he understood
   24   Mr. Perlitz abused you the first time that he      24   what you were asking him. I think the way -- my
   25   abused you, sir?                                   25   understanding it has to be more of a "do you


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    1           MR. STEWART: Objection.                     1   remember" --
    2           MR. KENNEDY: Fair enough.                   2          MS. XIA: Clearly.
    3      A. I don't remember.                             3          MR. STEWART: -- "clearly" as opposed
    4   BY MR. KENNEDY:                                     4   to "a clear memory." It's just one of those
    5      Q. Okay. Was it the morning, was it the          5   quirks in the language. You do what you want
    6   afternoon, or the evening, sir?                     6   with it.
    7      A. I don't remember. I don't remember.           7          MR. KENNEDY: I appreciate that.
    8      Q. Sir, do you have a clear memory of the        8          MR. STEWART: It's your deal. That's
    9   first time Mr. Perlitz abused you?                  9   what I understand.
   10           MR. STEWART: Objection.                    10          MR. KENNEDY: Let me try that.
   11      A. I don't remember.                            11          THE TRANSLATOR: If it's any -- that's
   12   BY MR. KENNEDY:                                    12   how I translated it, as do you remember clearly,
   13      Q. What about the second time, sir, do          13   do you remember clearly, instead of clear
   14   you have a clear memory of the second time he      14   memory. If you could avoid nominalization and
   15   abused you?                                        15   go into --
   16      A. I don't understand the question.             16          MR. STEWART: I don't know what that
   17      Q. I believe you testified before that          17   means, so I can't avoid it because I have no
   18   you claim that Mr. Perlitz abused you two times.   18   idea what you just said, so I don't know what
   19      A. Yes.                                         19   nominalization means.
   20      Q. I'm trying to understand if you have a       20          THE TRANSLATOR: Instead of having
   21   clear memory of the second time that Mr. Perlitz   21   nouns ending in I-O-N, complicated nouns, if you
   22   abused you.                                        22   could have -- instead focus on the verb.
   23           MR. STEWART: Objection.                    23   Instead of "having a memory," "if you can
   24           MR. KENNEDY: I'll try it again.            24   remember" would be better.
   25   BY MR. KENNEDY:                                    25   BY MR. KENNEDY:


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    1      Q. Sir, can you remember the second time        1   Douglas stayed in his chair, sir?
    2   Mr. Perlitz abused you?                            2      A. Yes, he was sitting in a chair.
    3      A. Yes.                                         3      Q. And Douglas never got up from the
    4      Q. Sir, can you tell me in your own words       4   chair, sir?
    5   from beginning, middle, to end what occurred,      5      A. No. I was the only one standing.
    6   sir?                                               6      Q. Okay. What about the door, sir, did
    7         MR. STEWART: Objection.                      7   you close the door?
    8      A. I don't understand.                          8      A. Yeah. But where I went in, I found it
    9   BY MR. KENNEDY:                                    9   closed, so I -- when I went in I found the door
   10      Q. Sir, what is your memory of that            10   closed, so when I went in I closed it behind me.
   11   event?                                            11      Q. Okay. Sir, besides the two times that
   12      A. I don't understand. I don't                 12   you claim Mr. Perlitz abused you, had you ever
   13   understand the question.                          13   been alone with Mr. Perlitz?
   14      Q. Sir, I believe you just indicated           14          MR. STEWART: Objection.
   15   before that you remember --                       15      A. No.
   16         THE TRANSLATOR: You?                        16   BY MR. KENNEDY:
   17   BY MR. KENNEDY:                                   17      Q. Okay. So, sir, is it fair to say that
   18      Q. -- that you remember Mr. Perlitz            18   the only two times you were alone with
   19   abused you a second time, correct?                19   Mr. Perlitz, he abused you?
   20      A. Yes.                                        20      A. Yes.
   21      Q. Okay. Tell me about that abuse, sir.        21      Q. Sir, before Mr. Perlitz abused you for
   22      A. I already gave all the details.             22   the first time, had you ever heard any rumors
   23      Q. Okay. Could you give them to me             23   that Mr. Perlitz had abused any other children?
   24   again, sir?                                       24      A. I've never heard that. I had never
   25         MR. STEWART: Objection.                     25   heard that.

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    1      A. I already gave the details.                  1      Q. Okay. Now, sir, you also testified
    2          MR. STEWART: It's okay. Just one            2   about Mr. Perlitz searching for a stolen radio,
    3   more time tell him what happened. He's entitled    3   is that correct, sir?
    4   to ask, so just one more time tell him what        4      A. Other kids had -- inside the Village,
    5   happened.                                          5   they took it, and he was looking for it, he
    6      A. I had shoes with holes in them, so I         6   searched the houses of all of us who were living
    7   went to Douglas. I asked permission to the         7   close to the Village.
    8   teacher to go where he was. I went to get some     8      Q. Okay. And I believe you indicated
    9   money from him to buy shoes.                       9   that when Mr. Perlitz came to search your house,
   10          I went to Douglas's office. I was          10   that Joseph Jean Pierre was there, is that
   11   standing really close to him. He started          11   correct?
   12   touching me, and then I felt his fingers inside   12      A. Yes. Joseph Jean Pierre and I were
   13   my butt hole. I was not -- I didn't agree with    13   telling jokes. Douglas came by and he pinched
   14   that. I thought I would rather stay like that     14   his butt, and he said that his butt was getting
   15   with my -- with the holes in my shoes. I did      15   big.
   16   not accept to do this.                            16      Q. Okay. Sir, was that incident before
   17   BY MR. KENNEDY:                                   17   Mr. Perlitz -- before, I'm sorry, before you
   18      Q. Was there a door on Mr. Perlitz's --        18   claim Mr. Perlitz abused you for the first time?
   19   door to Mr. Perlitz's office, sir?                19          MR. STEWART: Objection.
   20      A. Yes.                                        20      A. No. He had abused me before.
   21      Q. When you arrived, was it open or            21   BY MR. KENNEDY:
   22   closed, sir?                                      22      Q. Okay. So that incident happened after
   23      A. It was closed. I knocked, and he told       23   you had been abused?
   24   me to come in.                                    24      A. Yes.
   25      Q. Okay. I believe you indicated before        25      Q. Okay. Sir, since the two times that


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    1   Mr. Perlitz abused you, have you had sexual     1   BY MR. KENNEDY:
    2   relations with a woman?                         2       Q. Why do you believe that, sir?
    3          MR. STEWART: Objection.                  3       A. Because one day Andy was coming out
    4      A. Yes.                                      4   from Rue 13 center, he was coming to Bel Air, he
    5   BY MR. KENNEDY:                                 5   found a boy called Tabouta, and Tabouta was with
    6      Q. How many times, sir?                      6   Douglas, and Andy was mad because Tabouta was
    7          MR. STEWART: Objection.                  7   with Douglas. And Tabouta explained to Andy
    8      A. I don't remember. I don't know.           8   what happened, and Andy didn't want to stay in
    9   BY MR. KENNEDY:                                 9   Haiti, that's why he left.
   10      Q. Is it more than five, sir?               10       Q. Do you know what Tabouta told Andy
   11          MR. STEWART: Objection.                 11   happened?
   12      A. I don't know.                            12       A. He explained to Andy what Douglas had
   13   BY MR. KENNEDY:                                13   done. Tabouta explained to Andy what happened
   14      Q. Sir, how many times did you see          14   to him, and that's when Douglas didn't accept
   15   Mrs. Carter at the Village?                    15   it, and that's when he decided to leave Haiti
   16      A. I don't remember.                        16   and go back to his country.
   17      Q. When you did see her, sir, what was      17       Q. And were you going to Rue 13 at that
   18   she doing?                                     18   time, sir?
   19      A. She used to come to bring a ball so we   19       A. Yes. I hadn't been sent to the
   20   could play. She used to bring clothes so we    20   Village yet. I was going to Rue 13.
   21   could play soccer and basketball. She would    21       Q. Did Tabouta tell you this story, sir?
   22   organize games inside so we could play.        22       A. Yeah, he explained to us what
   23      Q. Okay. Sir, I'm going to turn your        23   happened. That's what we all knew.
   24   attention back to Exhibit 2 for a moment.      24       Q. When did he do that, sir?
   25          Sir, do you believe Andy Schultheis     25       A. I don't remember.


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    1   knew that Douglas Perlitz abused you, sir?      1      Q. Was it before Mr. Perlitz abused you,
    2          MR. STEWART: Objection.                  2   sir?
    3      A. I don't know.                             3      A. Yeah, the time I was in Rue 13.
    4   BY MR. KENNEDY:                                 4      Q. So Tabouta told you this story when
    5      Q. What about Robinson, sir, do you          5   you were at Rue 13, sir?
    6   believe Robinson knew that Douglas Perlitz      6      A. Not only me. Several guys, several
    7   abused you, sir?                                7   kids. He told that to several kids.
    8      A. I don't know.                             8      Q. Who were the other kids?
    9      Q. Sir, do you know -- sir, do you           9          MR. STEWART: Objection.
   10   believe that Andy Schultheis knew that         10      A. I don't know. I couldn't remember.
   11   Mr. Perlitz posed a risk --                    11   BY MR. KENNEDY:
   12          MR. STEWART: Objection.                 12      Q. Do you know what year Tabouta told you
   13          MR. KENNEDY: Let me finish.             13   this story, sir?
   14   BY MR. KENNEDY:                                14      A. I don't remember.
   15      Q. -- to the children at PPT?               15      Q. Did you speak to any of the Haitian
   16          MR. STEWART: Excuse me.                 16   staff about what Tabouta told you, sir?
   17          Objection.                              17      A. No.
   18          THE TRANSLATOR: Do you want me to       18      Q. Did you speak to any of the American
   19   translate?                                     19   volunteers about what Tabouta told you, sir?
   20          MR. KENNEDY: Do you want me to          20      A. No.
   21   re-read it, and then he can object?            21      Q. Do you know Nick Preneta, sir?
   22          THE TRANSLATOR: So you want me to       22      A. How? What?
   23   translate this?                                23      Q. Do you know an individual named Nick
   24          MR. KENNEDY: If you can.                24   Preneta, sir?
   25      A. Yes.                                     25      A. No.


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    1      Q. Okay. Do you know an individual named        1   play basketball or football?
    2   Jessica Lozier?                                    2      A. Yes, I used to.
    3      A. I know Jessica, but I didn't know her        3      Q. Did you play every day when you were
    4   last name.                                         4   at the Village?
    5      Q. Did you ever speak to Jessica?               5      A. No.
    6      A. I never told anything to Jessica.            6      Q. How often do you think you would play
    7      Q. Why not, sir?                                7   basketball or football when you were at the
    8          MR. STEWART: Objection.                     8   Village?
    9      A. Mm-hmm. It was -- this was a personal        9      A. I don't remember how many times.
   10   matter.                                           10      Q. Would you play maybe once a week?
   11   BY MR. KENNEDY:                                   11          MR. STEWART: Objection.
   12      Q. Did you ever tell Jessica what Tabouta      12      A. I don't remember.
   13   told you, sir?                                    13   BY MS. KNIGHT:
   14          MR. STEWART: Objection.                    14      Q. Do you play basketball and football
   15      A. No.                                         15   now?
   16   BY MR. KENNEDY:                                   16          MR. STEWART: Objection.
   17      Q. Sir, is Tabouta a nickname?                 17      A. Now?
   18      A. No. It's his nickname. It's not his         18   BY MS. KNIGHT:
   19   real name.                                        19      Q. Yes.
   20      Q. Okay. What's his real name, sir?            20      A. No, I don't play.
   21      A. I don't know his name. I don't              21      Q. Do you watch basketball or football?
   22   remember.                                         22      A. Yes.
   23      Q. Okay. Did Tabouta eventually go to          23      Q. Where do you like to watch?
   24   the Village, sir?                                 24      A. On television.
   25      A. Several times they sent him to the          25      Q. Do you watch on television at home, or

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    1   Village, but he never stays. Sometimes he comes    1   do you go somewhere to watch?
    2   and goes, but he never stayed. I don't know the    2      A. There's a place where they make people
    3   reason why.                                        3   pay so they can come in and watch.
    4      Q. Do you know what Tabouta claims              4      Q. And you go there?
    5   Douglas did to him, sir?                           5      A. Yes. When there are soccer matches, I
    6      A. I don't know.                                6   go see it there.
    7      Q. Sir, what does the term "big chief"          7      Q. Do you go with anyone when you go
    8   mean to you?                                       8   there?
    9      A. I don't know.                                9          MR. STEWART: Objection.
   10      Q. Have you ever used that term before?        10      A. I myself only go there.
   11      A. I don't do that. I've never done            11   BY MS. KNIGHT:
   12   that.                                             12      Q. You don't go with any of your brothers
   13          MR. KENNEDY: I have nothing further.       13   or sisters that you live with now?
   14   Thank you very much.                              14      A. I don't think they like soccer, but
   15   BY MS. KNIGHT:                                    15   I'm the only one to go. I don't know if they go
   16      Q. Mr. Lecenat, my name is Lydia Knight.       16   see other -- see it in other places.
   17   I just have a few questions for you.              17      Q. How often do you go watch soccer?
   18          Are you aware that you're still under      18      A. I don't remember.
   19   oath to tell the truth?                           19      Q. Do you have a favorite team?
   20      A. Yes.                                        20          MR. STEWART: Objection.
   21      Q. I think you told us that at the             21      A. I like Brazil, when Brazil plays.
   22   Village there were -- there was basketball and    22   BY MS. KNIGHT:
   23   football, is that right?                          23      Q. How often -- sorry. Strike that.
   24      A. Yes.                                        24          When you're not washing cars or
   25      Q. When you were at the Village, did you       25   working with the cement, what else do you do


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    1   besides watch soccer, for example?                  1   when you were at the Village.
    2      A. When I'm not doing anything, when             2          Can you remember if you ever saw
    3   there's no soccer match, then I just lie on my      3   Father Carrier with any other priests?
    4   bed.                                                4      A. I've never seen Father Paul with other
    5      Q. Are there any other sports that you           5   priests in the Village, but I did see him in a
    6   like to watch?                                      6   church at Blue Hills.
    7          MR. STEWART: Objection.                      7      Q. Is that the time that you've already
    8      A. No.                                           8   told us about during your Communion?
    9   BY MS. KNIGHT:                                      9      A. Yes.
   10      Q. How often do you think you wash cars         10      Q. Were there any other priests that you
   11   or do mason work?                                  11   ever saw with Father Carrier, whether it was at
   12      A. I don't remember how many times.             12   the Village or elsewhere, other than the priest
   13      Q. How much money do you think you make         13   you already told us about?
   14   in a week from doing the -- washing the cars or    14          THE TRANSLATOR: Can you repeat the
   15   the mason work?                                    15   question, please?
   16      A. I don't know. I don't know how many          16   BY MS. KNIGHT:
   17   opportunities I will have to work in a week, so    17      Q. Were there any other priests that you
   18   I can't know how much money I will make.           18   ever saw with Father Carrier, whether it was at
   19      Q. So sometimes do you work once a week?        19   the Village or elsewhere, other than the priest
   20      A. Yeah.                                        20   that you already told us about?
   21      Q. And sometimes will you work more than        21      A. I've never seen him with other
   22   one time per week?                                 22   priests.
   23      A. I can't remember.                            23      Q. Have you ever seen any other priests
   24      Q. Sometimes do you work every day during       24   at the Village, other than Father Carrier?
   25   the week?                                          25          MR. STEWART: Objection.


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    1          MR. STEWART: Objection.                      1      A. Just Father Paul at the Village.
    2      A. I don't understand that question.             2   BY MS. KNIGHT:
    3   BY MS. KNIGHT:                                      3      Q. Were there any priests at Rue 13 other
    4      Q. Do you work every day during the week,        4   than, or rather just -- I'll rephrase. Sorry.
    5   or have you worked every day during the week?       5          MR. STEWART: Thank you.
    6          MR. STEWART: Objection.                      6   BY MS. KNIGHT:
    7      A. No.                                           7      Q. Were there any priests at Rue 13?
    8   BY MS. KNIGHT:                                      8      A. I don't know.
    9      Q. Do you have a girlfriend now?                 9      Q. Has anyone ever told you about what
   10          MR. STEWART: Objection.                     10   the other people got that were from the Village
   11      A. No.                                          11   for bringing a case against the Defendants?
   12   BY MS. KNIGHT:                                     12          MR. STEWART: Hold on.
   13      Q. When is the last time you had a              13          MS. KNIGHT: Other than --
   14   girlfriend?                                        14          MR. STEWART: It got a little
   15          MR. STEWART: Objection.                     15   confusing, Madame. What I see is has anyone
   16      A. I don't remember.                            16   ever told you about what -- I don't understand
   17   BY MS. KNIGHT:                                     17   the question, Madame. I'm sorry. Would you
   18      Q. If -- or when you have a girlfriend,         18   redo that one, please?
   19   is that someone that you would spend time with     19          MS. KNIGHT: You can call me Lydia.
   20   during the week, during the day?                   20   You don't need to call me Madame.
   21          MR. STEWART: Objection.                     21          MR. STEWART: Lydia, would you mind
   22      A. When I had one we used to talk every         22   redoing that one, please?
   23   day, but I don't have, so I just stay like that.   23          MS. KNIGHT: Yes.
   24   BY MS. KNIGHT:                                     24   BY MS. KNIGHT:
   25      Q. I'm going to switch back to the time         25      Q. Do you know what --


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    1          THE TRANSLATOR: I'm sorry, one               1     July 29, 2015 deposition of Gesner Lecenat.
    2   second, please. Thank you. Okay. Sorry.             2     Going off the record. The time is 5:26.
    3   BY MS. KNIGHT:                                      3           (Whereupon, the deposition was
    4      Q. Do you know what other Plaintiffs got         4           concluded.)
    5   from the previous case that was brought against     5
    6   the Defendants?                                     6
    7          MR. STEWART: I would object and              7
    8   instruct him not to answer about any                8
    9   conversations he might have had with his            9
   10   attorneys.                                         10
   11          MS. KNIGHT: I think he can answer yes       11
   12   or no.                                             12
   13      A. I don't know.                                13
   14   BY MS. KNIGHT:                                     14
   15      Q. Mr. Lecenat, do you now try to get           15
   16   work every day?                                    16
   17      A. No.                                          17
   18      Q. When do you try to get work?                 18
   19      A. I don't -- I never try.                      19
   20          MS. KNIGHT: Those are all the               20
   21   questions that I have. Thank you.                  21
   22          MR. BABBITT: Do you want to take a          22
   23   break?                                             23
   24          THE TRANSLATOR: How long is it going        24
   25   to be, do you think?                               25

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    1          MR. BABBITT: I can't predict what the        1          CERTIFICATE
    2   answers are, but I don't think it will be very      2          I, MAUREEN O'CONNOR POLLARD, LSR #473,
    3   long.                                               3   RMR, CLR, and Notary Public in and for the State
    4          THE TRANSLATOR: About 20 minutes?            4   of Connecticut, do hereby certify that there
    5          MR. BABBITT: I'm not sure. It may be         5   came before me on the 28th day of July, 2015,
    6   less than that.                                     6   the person hereinbefore named, who was duly
    7          THE TRANSLATOR: Okay. Let's                  7   sworn to testify to the truth of their knowledge
    8   continue.                                           8   concerning the matters in this cause, and their
    9          (Off the record discussion.)                 9   examination reduced to typewriting under my
   10   BY MR. BABBITT:                                    10   direction and is a true record of the testimony.
   11      Q. Good afternoon. I'm Bradford Babbitt,        11          I further certify that I am neither
   12   I represent the American Association of the        12   attorney for or related or employed by any of
   13   Order of Malta.                                    13   the parties to the action, and that I am not a
   14          Before you started attending PPT, had       14   relative or employee of any attorney or counsel
   15   you ever heard of the American Association of      15   employed by the parties hereto or financially
   16   the Order of Malta?                                16   interested in the action.
   17      A. No.                                          17          In witness whereof, I have hereunto
   18      Q. Before you retained a lawyer to file         18   set my hand and seal this 4th day of August,
   19   this lawsuit, had you ever heard of the American   19   2015.
   20   Association of the Order of Malta?                 20
   21      A. No.                                          21     ________________________________________
   22          MR. BABBITT: I don't have anything          22     MAUREEN O'CONNOR POLLARD, License #473
   23   further. Thank you.                                23     Realtime Systems Administrator, RMR
   24          MR. STEWART: Good work.                     24     Notary Commission Expires: 10/31/2017
   25          THE VIDEOGRAPHER: This concludes the        25


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    1         INSTRUCTIONS TO WITNESS                      1         ACKNOWLEDGMENT OF DEPONENT
    2                                                      2
                                                           3             I, __________________________, do
    3             Please read your deposition over             Hereby certify that I have read the foregoing
    4   carefully and make any necessary corrections.      4   pages, and that the same is a correct
    5   You should state the reason in the appropriate         transcription of the answers given by me to the
    6   space on the errata sheet for any corrections      5   questions therein propounded, except for the
                                                               corrections or changes in form or substance, if
    7   that are made.                                     6   any, noted in the attached Errata Sheet.
    8             After doing so, please sign the          7
    9   errata sheet and date it. It will be attached      8   _________________________________
   10   to your deposition.                                    GESNER LECENAT           DATE
                                                           9
   11             It is imperative that you return        10
   12   the original errata sheet to the deposing         11
   13   attorney within thirty (30) days of receipt of    12
   14   the deposition transcript by you. If you fail     13
                                                          14
   15   to do so, the deposition transcript may be
                                                          15   Subscribed and sworn
   16   deemed to be accurate and may be used in court.        To before me this
   17                                                     16   ______ day of _________________, 20____.
   18                                                     17   My commission expires: ________________
   19                                                     18
                                                               _______________________________________
   20                                                     19   Notary Public
   21                                                     20
   22                                                     21
   23                                                     22
                                                          23
   24                                                     24
   25                                                     25


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    1           ------                                     1         LAWYER'S NOTES
                ERRATA                                     2   PAGE LINE
    2           ------                                     3   ____ ____ _______________________________
    3   PAGE LINE CHANGE                                   4   ____ ____ _______________________________
    4   ____ ____ _________________________________        5   ____ ____ _______________________________
    5     REASON: __________________________________       6   ____ ____ _______________________________
    6   ___ ____ __________________________________        7   ____ ____ _______________________________
    7     REASON: __________________________________       8   ____ ____ _______________________________
    8   ____ ____ _________________________________        9   ____ ____ _______________________________
    9     REASON: __________________________________      10   ____ ____ _______________________________
   10   ____ ____ _________________________________
                                                          11   ____ ____ _______________________________
   11     REASON: __________________________________
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   17     REASON: _________________________________
                                                          17   ____ ____ _______________________________
   18   ____ ____ _________________________________       18   ____ ____ _______________________________
   19     REASON: _________________________________       19   ____ ____ _______________________________
   20   ____ ____ _________________________________       20   ____ ____ _______________________________
   21     REASON: _________________________________       21   ____ ____ _______________________________
   22   ____ ____ _________________________________       22   ____ ____ _______________________________
   23     REASON: _________________________________       23   ____ ____ _______________________________
   24   ____ ____ _________________________________       24   ____ ____ _______________________________
   25                                                     25


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